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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


                            Case No. 23-1289

                             PACIFICORP,
                              PETITIONER,
                                   v.
                FEDERAL ENERGY REGULATORY COMMISSION,
                             RESPONDENT.



                      PETITION FOR REVIEW


      Pursuant to Rule 15(a) of the Federal Rules of Appellate Procedure,

 Fed. R. App. P. 15(a) and Section 313(b) of the Federal Power Act, 16

 U.S.C. 825l(b), Petitioner PacifiCorp hereby petitions this Court for

 review of the following orders issued by Respondent Federal Energy

 Regulatory Commission (“FERC”) in Docket Nos. RM22-14-000 and

 RM22-14-001:

      (1)   Improvements to Generator Interconnection Procedures and
            Agreements, Order No. 2023, FERC Docket No. RM22-14-000,
            184 FERC ¶ 61,054 (July 28, 2023) (“Order No. 2023”)
            (attached as Attachment A); and

      (2)   Improvements to Generator Interconnection Procedures and
            Agreements, Notice Of Denial Of Rehearing By Operation Of
            Law And Providing For Further Consideration, FERC Docket
            No. RM22-14-001, 184 FERC ¶ 62,163 (September 28, 2023)
            (“September 2023 Order”) (attached as Attachment B).
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      This Petition proceeds from FERC’s issuance of Order No. 2023, a

 new rule that seeks to promulgate reforms to the interconnection study

 processes of public utility transmission providers of electricity, and

 FERC’s subsequent denial of Petitioner’s request for rehearing on that

 rule. FERC issued Order No. 2023 in the normal course of its informal

 rulemaking authority, and Petitioner challenged the legality of discrete

 issues to ensure the rule will work as intended and in accordance

 with law.

      This Court has subject matter jurisdiction over this Petition under

 Section 313(b) of the Federal Power Act. 16 U.S.C. § 825l(b). Petitioner

 is a public utility, as defined under the Federal Power Act such that it

 will be required to comply with Order No. 2023, 16 U.S.C. § 824(e), and

 is a party to FERC’s rulemaking proceeding.        On August 25, 2023,

 Petitioner timely filed a request for rehearing before FERC of Order No.

 2023, which rehearing request was deemed denied on September 24,

 2023 by operation of FERC’s Rules of Practice and Procedure, 18 CFR

 385.713(f), and subsequently denied by FERC through its September

 2023 Order. 16 U.S.C. § 825l(b). Petitioner has timely filed this Petition

 with this Court within 60 days of both FERC’s September 2023 Order

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 and the September 24, 2023 denial of Petitioner’s rehearing request. See

 id. Section 313(b) of the Federal Power Act explicitly designates the

 United States Court of Appeals for the District of Columbia Circuit as a

 proper venue for obtaining review of FERC’s orders. See id.

      Finally, Petitioner has also attached to this Petition the Corporate

 Disclosure Statement required by Rule 26.1 of the Federal Rules of

 Appellate Procedure, Fed. R. App. P. 26.1, and Circuit Rule 26.1, D.C.

 Cir. R. 26.1, (as Attachment C); and a Certificate of Service (as

 Attachment D).




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      Dated: October 17, 2023

                                    Respectfully Submitted,

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                             Attachment A
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                                      184 FERC ¶ 61,054
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

                                               18 CFR Part 35

                                [Docket No. RM22-14-000; Order No. 2023]

                 Improvements to Generator Interconnection Procedures and Agreements

                                           (Issued July 28, 2023)

         AGENCY: Federal Energy Regulatory Commission.

         ACTION: Final rule.

         SUMMARY: The Federal Energy Regulatory Commission (Commission or FERC) is

         adopting reforms to its pro forma Large Generator Interconnection Procedures, pro forma

         Small Generator Interconnection Procedures, pro forma Large Generator Interconnection

         Agreement, and pro forma Small Generator Interconnection Agreement to address

         interconnection queue backlogs, improve certainty, and prevent undue discrimination for

         new technologies. The reforms are intended to ensure that the generator interconnection

         process is just, reasonable, and not unduly discriminatory or preferential.

         EFFECTIVE DATE: This final rule will become effective [INSERT DATE 60 DAYS

         AFTER DATE OF PUBLICATION IN THE FEDERAL REGISTER]

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         Docket No. RM22-14-000                                                        -2-

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                                             184 FERC ¶ 61,054
                                        UNITED STATES OF AMERICA
                                 FEDERAL ENERGY REGULATORY COMMISSION

         Before Commissioners: Willie L. Phillips, Acting Chairman;
                               James P. Danly, Allison Clements,
                               and Mark C. Christie.

          Improvements to Generator Interconnection                                            Docket No. RM22-14-000
          Procedures and Agreements

                                                            ORDER NO. 2023

                                                               FINAL RULE

                                                          (Issued July 28, 2023)

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         I.         Introduction

                    This final rule requires all public utility transmission providers to adopt revised

         pro forma Large Generator Interconnection Procedures (LGIP), pro forma Small

         Generator Interconnection Procedures (SGIP), pro forma Large Generator

         Interconnection Agreements (LGIA), and pro forma Small Generator Interconnection
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         Agreements (SGIA).1 These revisions will ensure that interconnection customers are able

         to interconnect to the transmission system in a reliable, efficient, transparent, and timely

         manner, and will prevent undue discrimination.

                Twenty years ago the Commission issued Order No. 2003, in which the

         Commission required all public utilities that own, control, or operate facilities used for

         transmitting electric energy in interstate commerce to have on file standard procedures

         and a standard agreement for interconnecting generating facilities larger than 20

         megawatts (MW) (called the pro forma LGIP and the pro forma LGIA).2 The

         Commission stated its expectation that the changes would prevent undue discrimination,

         preserve reliability, increase energy supply, and lower wholesale prices for customers by


                1
                  Section 201(e) of the Federal Power Act (FPA) defines “public utility” to mean
         “any person who owns or operates facilities subject to the jurisdiction of the Commission
         under this subchapter.” 16 U.S.C. 824(e). A non-public utility that seeks voluntary
         compliance with the reciprocity condition of a tariff may satisfy that condition by filing a
         tariff, which includes the pro forma LGIP, the pro forma SGIP, the pro forma LGIA, and
         the pro forma SGIA. See Standardization of Generator Interconnection Agreements &
         Procs., Order No. 2003, 68 FR 49846 (Aug. 19, 2003), 104 FERC ¶ 61,103, at PP 1, 616
         (2003), order on reh’g, Order No. 2003-A, 69 FR 15932 (Mar. 5, 2004), 106 FERC ¶
         61,220, order on reh’g, Order No. 2003-B, 70 FR 265 (Jan. 19, 2005), 109 FERC ¶
         61,287 (2004), order on reh’g, Order No. 2003-C, 70 FR 37661 (July 18, 2005), 111
         FERC ¶ 61,401 (2005), aff’d sub nom. Nat’l Ass’n of Regul. Util. Comm’rs v. FERC,
         475 F.3d 1277 (D.C. Cir. 2007) (NARUC v. FERC). As stated in the pro forma LGIP,
         pro forma LGIA, pro forma SGIP, and pro forma SGIA, transmission provider “shall
         mean the public utility (or its designated agent) that owns, controls, or operates
         transmission or distribution facilities used for the transmission of electric energy in
         interstate commerce and provides transmission service under the [Transmission
         Provider’s Tariff]. The term . . . should be read to include the Transmission Owner when
         the Transmission Owner is separate from the Transmission Provider.” Pro forma LGIP
         section 1; pro forma LGIA art. 1; pro forma SGIP attach. 1; pro forma SGIA attach. 1.
                2
                    Order No. 2003, 104 FERC ¶ 61,103 at P 2.
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         increasing the amount and variety of new generation that would compete in the wholesale

         electricity market.3 The Commission further stated that the standard procedures would

         facilitate market entry for generation competitors by reducing interconnection costs and

         time.4 In Order No. 2006, the Commission adopted standard procedures and a standard

         agreement for interconnecting generating facilities no larger than 20 MW (called the

         pro forma SGIP and the pro forma SGIA), citing the same purposes outlined in Order

         No. 2003.5

                The electricity sector has transformed significantly since the issuance of Order

         Nos. 2003 and 2006. The growth of new resources seeking to interconnect to the

         transmission system and the differing characteristics of those resources have created new

         challenges for the generator interconnection process. These new challenges are creating

         large interconnection queue backlogs and uncertainty regarding the cost and timing of

         interconnecting to the transmission system, increasing costs for consumers. Backlogs in

         the generator interconnection process, in turn, can create reliability issues as needed new

         generating facilities are unable to come online in an efficient and timely manner. While




                3
                    Id. P 1.
                4
                    Id. P 12.
                5
                Standardization of Small Generator Interconnection Agreements & Procs.,
         Order No. 2006, 111 FERC ¶ 61,220, at PP 15, 35-36, order on reh’g, Order No. 2006-A,
         70 FR 71760 (Dec. 30, 2005), 113 FERC ¶ 61,195 (2005), order granting clarification,
         Order No. 2006-B, 71 FR 42587 (July 27, 2006), 116 FERC ¶ 61,046 (2006).
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         the Commission recognized these issues and sought to address them in Order No. 845,6 it

         is clear that further action is needed. Therefore, we believe that it is necessary to reform

         the Commission’s standard interconnection procedures and agreements to ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner, thereby ensuring that rates, terms, and

         conditions for Commission-jurisdictional services are just, reasonable, and not unduly

         discriminatory or preferential.

                Accordingly, we adopt reforms to the Commission’s pro forma LGIP and pro

         forma LGIA. Specifically, as explained in detail in this final rule, we adopt reforms to:

         (1) implement a first-ready, first-served cluster study process;7 (2) increase the speed of

         interconnection queue processing; and (3) incorporate technological advancements into

         the interconnection process.




                6
                 See Reform of Generator Interconnection Procs. & Agreements, Order No. 845,
         83 FR 21342 (May 9, 2018), 163 FERC ¶ 61,043, at P 24 (2018), order on
         reh’g, Order No. 845-A, 84 FR 8156 (Mar. 6, 2019) 166 FERC ¶ 61,137, order on
         reh’g, Order No. 845-B, 168 FERC ¶ 61,092 (2019).
                7
                  A first-ready, first-served cluster study process improves efficiency in the
         interconnection study process by including the following elements: increased access to
         information prior to entering the queue; a mechanism to study interconnection requests in
         groups where all interconnection requests in the group are equally queued and of equal
         study priority; and increased financial commitments and readiness requirements to enter
         and proceed through the queue. In contrast, the existing first-come, first-served serial
         study process in the pro forma LGIA and LGIP provides limited information to
         interconnection customers prior to entering the queue, assigns interconnection requests an
         individual queue position based solely on the date of entry into the queue, and contains
         limited financial and readiness requirements.
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                First, in order to implement a first-ready, first-served cluster study process, this

         final rule requires: (1) transmission providers to publicly post available information

         pertaining to generator interconnection; (2) transmission providers to use cluster studies

         as the interconnection study method; (3) transmission providers to allocate cluster study

         costs on a pro rata and per capita basis; (4) transmission providers to allocate network

         upgrade costs based on a proportional impact method; (5) interconnection customers to

         pay study and commercial readiness deposits as part of the cluster study process; (6)

         interconnection customers to demonstrate site control at the time of submission of the

         interconnection request; and (7) transmission providers to impose withdrawal penalties

         on interconnection customers for withdrawing from the interconnection queue, with

         certain exceptions. We also require transmission providers to adopt a transition process

         to move from the existing serial interconnection process to the new cluster study process.

                Second, in order to increase the speed of interconnection queue processing, this

         final rule: (1) eliminates the reasonable efforts standard for conducting interconnection

         studies and imposes a financial penalty on transmission providers that fail to meet

         interconnection study deadlines; and (2) establishes an affected system study process and

         associated pro forma affected system agreements.

                Third, in order to incorporate technological advancements into the interconnection

         process, this final rule requires transmission providers to: (1) allow more than one

         generating facility to co-locate on a shared site behind a single point of interconnection

         and share a single interconnection request; (2) evaluate the proposed addition of a

         generating facility at the same point of interconnection prior to deeming such an addition
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         a material modification if the addition does not change the originally requested

         interconnection service level; (3) allow interconnection customers to access the surplus

         interconnection service process once the original interconnection customer has an

         executed LGIA or requests the filing of an unexecuted LGIA; (4) use operating

         assumptions in interconnection studies that reflect the proposed charging behavior of an

         electric storage resource; and (5) evaluate the list of alternative transmission technologies

         enumerated in this final rule during the generator interconnection study process. This

         final rule also requires interconnection customers requesting to interconnect a non-

         synchronous generating facility to: (1) provide the transmission provider with the models

         needed for accurate interconnection studies; and (2) have the ability to maintain power

         production at pre-disturbance levels and provide dynamic reactive power to maintain

         system voltage during transmission system disturbances and within physical limits.

         Finally, this final rule requires that all newly interconnecting large generating facilities

         provide ride through capability consistent with any standards and guidelines that are

         applied to other generating facilities in the balancing authority area on a comparable

         basis.

                  We also adopt reforms to the pro forma SGIP and pro forma SGIA. Specifically,

         as explained in detail in this final rule, for small generating facilities we propose reforms

         to incorporate the enumerated alternative transmission technologies into the

         interconnection process, and to provide modeling and ride through requirements for non-

         synchronous generating facilities.
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                   Many of the reforms adopted in this final rule track the Notice of Proposed

         Rulemaking’s8 (NOPR) proposed reforms closely. However, as discussed more fully

         below, we have revised aspects of the reforms pertaining to the cluster study process,

         allocation of cluster study and network upgrade costs, increased financial commitments

         and readiness requirements, financial penalties for delayed interconnection studies, the

         affected system study process, pro forma affected system agreements, the material

         modification process, operating assumptions for interconnection studies, incorporating

         the enumerated alternative transmission technologies, and ride through requirements.

         Additionally, as discussed more fully below, we decline to adopt the NOPR proposals

         pertaining to informational interconnection studies, shared network upgrades, the

         optional resource solicitation study, and the alternative transmission technologies annual

         report.

                   We recognize that transmission providers have undertaken efforts to address

         interconnection queue management issues. This final rule is not intended to divert or

         slow the potential progress represented by those efforts, and we encourage transmission

         providers to continue to innovate to remedy their identified interconnection queue

         management issues. We note that the compliance obligations that result from this final

         rule will be evaluated in light of the independent entity variation standard for regional




                   8
                  Improvements to Generator Interconnection Procs. & Agreements, 87 FR 39934
         (July 5, 2022), 179 FERC ¶ 61,194 (2022) (NOPR).
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         transmission organizations (RTO) and independent system operators (ISO) and the

         consistent with or superior to standard for non-RTO/ISO transmission providers.9

                A.       Historical Framework: Order Nos. 2003, 2006, and 845

                In Order No. 2003, the Commission recognized a need for a standard set of

         interconnection procedures for transmission providers and a single, uniformly applicable

         interconnection agreement for large generating facilities.10 The Commission noted that

         generator interconnection is a “critical component of open access transmission service

         and thus is subject to the requirement that utilities offer comparable service under the

         [pro forma open access transmission tariff (tariff)].”11 The Commission found that it was

         appropriate to establish a standard set of generator interconnection procedures to

         “minimize opportunities for undue discrimination and expedite the development of new

         generation, while protecting reliability and ensuring that rates are just and reasonable.”12

         To this end, the Commission adopted the pro forma LGIP and pro forma LGIA and




                9
                    Order No. 2003, 104 FERC ¶ 61,103 at P 26; see infra Section IV.
                10
                  Order No. 2003, 104 FERC ¶ 61,103 at P 11. Large generating facilities are
         defined to mean “a Generating Facility having a Generating Facility Capacity of more
         than 20 MW.” Pro forma LGIP section 1.
                11
                  Order No. 2003, 104 FERC ¶ 61,103 at P 9 (citing Tenn. Power Co., 90 FERC ¶
         61,238 (2000)).
                12
                     Id. P 11.
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         amended its regulations to require all transmission providers to incorporate these standard

         procedures and agreement into their tariffs.13

                To initiate the generator interconnection process set forth in the Commission’s pro

         forma LGIP,14 the interconnection customer submits an interconnection request for its

         proposed generating facility that includes preliminary documentation of the site of the

         proposed generating facility, certain technical information about the proposed generating

         facility, and the expected commercial operation date of the proposed generating facility,

         along with a refundable deposit of $10,000.15 After the transmission provider determines

         that the interconnection request is complete, the interconnection request enters the

         transmission provider’s interconnection queue with other pending interconnection

         requests and is assigned a queue position based on the time and date of its receipt.16 The

         queue position determines the order in which the transmission provider studies the

         interconnection requests in its interconnection queue.17




                13
                     18 CFR 35.28(f)(1) (2022).
                14
                   While we provide a broad description of the process in the Commission’s pro
         forma LGIP as background here, we recognize that many transmission providers have
         adopted (and the Commission has accepted) variations to many of the terms in the
         Commission’s pro forma LGIP and pro forma LGIA. Consequently, some or many of
         the details of a particular transmission provider’s generator interconnection procedures
         may vary considerably from the broad description provided here.
                15
                     Order No. 2003, 104 FERC ¶ 61,103 at P 35; pro forma LGIP sections 3.1, 3.4.
                16
                     Pro forma LGIP section 4.1.
                17
                     Id.
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                Transmission providers must schedule a scoping meeting with the interconnection

         customer to discuss possible points of interconnection for the proposed generating facility

         and exchange technical information, which is followed by a series of interconnection

         studies to evaluate the proposed interconnection in detail.18 Transmission providers study

         interconnection requests in three phases: (1) the interconnection feasibility study

         (feasibility study);19 (2) the interconnection system impact study (system impact study);20

         and (3) the interconnection facilities study (facilities study).21 These studies contain the

         power flow, short circuit, and stability analyses necessary to: (1) identify any adverse




                18
                     Order No. 2003, 104 FERC ¶ 61,103 at P 36; pro forma LGIP sections 3.4.4,
         6-8.
                19
                  The pro forma LGIP defines a feasibility study as “a preliminary evaluation of the
         system impact and cost of interconnecting the Generating Facility to the Transmission
         Provider’s Transmission System.” The scope of a feasibility study is described in section 6
         of the pro forma LGIP. Pro forma LGIP sections 1, 6.
                20
                    The pro forma LGIP defines a system impact study as “an engineering study
         that evaluates the impact of the proposed interconnection on the safety and reliability of
         Transmission Provider’s Transmission System and, if applicable, an Affected System.”
         In particular, a system impact study identifies and details “the system impacts that would
         result if the Generating Facility were interconnected without project modifications or
         system modifications, focusing on the Adverse System Impacts identified in the
         [feasibility study], or to study potential impacts, including but not limited to those
         identified in the Scoping Meeting.” Id. section 1.
                21
                    The pro forma LGIP defines a facilities study as “a study conducted by the
         Transmission Provider or a third-party consultant for the Interconnection Customer to
         determine a list of facilities (including Transmission Provider’s Interconnection Facilities
         and Network Upgrades as identified in the [system impact study]), the cost of those
         facilities, and the time required to interconnect the Generating Facility with the
         Transmission Provider’s Transmission System.” The scope of a facilities study is
         described in section 8 of the pro forma LGIP. Id. sections 1, 8.
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         impacts on the transmission providers’ transmission system or any affected systems;22

         (2) determine the interconnection facilities and network upgrades23 needed to reliably

         interconnect the generating facility; and (3) estimate the interconnection customer’s cost

         responsibility for these facilities.24 The pro forma LGIP requires that transmission

         providers use reasonable efforts to complete: (1) feasibility studies within 45 calendar

         days; (2) system impact studies within 90 calendar days; and (3) facilities studies within

         90 or 180 calendar days, depending on the interconnection customer’s requested accuracy

         margin.25

                At the completion of the facilities study, the pro forma LGIP requires the

         transmission provider to issue a report on the best estimate of the costs to effectuate the

         requested interconnection and provide a draft generator interconnection agreement to the




                22
                  The pro forma LGIP defines an affected system as an electric system other than
         the transmission provider’s transmission system that may be affected by the proposed
         interconnection. Id. section 1; pro forma LGIA art. 1.
                23
                   For purposes of this final rule, unless otherwise noted, “network upgrades” refer
         to interconnection-related network upgrades. More specifically, the pro forma LGIP and
         pro forma LGIA provide that, “Network Upgrades shall mean the additions,
         modifications, and upgrades to the Transmission Provider’s Transmission System
         required at or beyond the point at which the Interconnection Facilities connect to the
         Transmission Provider’s Transmission System to accommodate the interconnection of the
         Large Generating Facility to the Transmission Provider’s Transmission System.” Pro
         forma LGIP section 1; pro forma LGIA art. 1.
                24
                  Order No. 2003, 104 FERC ¶ 61,103 at PP 35-37; pro forma LGIP sections 6–8.
         The interconnection customer is responsible for the actual costs of interconnection
         studies and any necessary restudies. Pro forma LGIP section 13.3.
                25
                     Pro forma LGIP sections 6.3, 7.4, 8.3.
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         interconnection customer.26 If the interconnection customer wishes to proceed, after

         negotiations, the interconnection customer enters into a generator interconnection

         agreement with the transmission provider or, in specific circumstances, requests that the

         transmission provider file the agreement with the Commission unexecuted.27 The

         transmission provider is responsible for the construction of all network upgrades, but, as

         further discussed below, the interconnection customer has the option to build these

         facilities in certain circumstances.28

                Similar to Order No. 2003, in Order No. 2006, the Commission recognized the

         need for standardized interconnection procedures and agreements for small generating

         facilities with a capacity of 20 MW or less.29 In addition to establishing a pro forma

         interconnection study process for small generating facilities similar to the process for




                26
                 Order No. 2003, 104 FERC ¶ 61,103 at P 38. Section 11.1 of the pro forma
         LGIP requires the transmission provider to tender a draft LGIA to the interconnection
         customer “in the form of Transmission Provider’s FERC-approved standard form LGIA.”
                27
                   If the transmission provider and interconnection customer execute an LGIA that
         conforms to the transmission provider’s Commission-approved standard form LGIA, the
         agreement does not need to be filed with the Commission (if the transmission provider
         has such a standard form LGIA on file and submits an Electronic Quarterly Report).
         Alternatively, the transmission provider must file an LGIA with the Commission for
         review and approval if: (1) the interconnection customer determines that negotiations
         with the transmission provider over the terms of an LGIA are at an impasse and requests
         submission of the unexecuted LGIA with the Commission; or (2) the LGIA does not
         conform to the transmission provider’s Commission-approved standard form LGIA. See
         Order No. 2003-A, 106 FERC ¶ 61,220 at P 201; pro forma LGIP sections 11.2-11.3.
                28
                     Order No. 2003, 104 FERC ¶ 61,103 at PP 351-354; pro forma LGIA art. 5.1.3.
                29
                     Order No. 2006, 111 FERC ¶ 61,220 at P 36.
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         large generating facilities established in Order No. 2003, the Commission included: (1) a

         “fast track process”30 that uses technical screens to evaluate a certified small generating

         facility no larger than 2 MW; and (2) a “10 [kilowatt (kW)] inverter process”31 that uses

         the same technical screens to evaluate a certified inverter-based small generating facility

         no larger than 10 kW.32 The Commission later issued Order No. 792,33 in which the

         Commission revised the pro forma SGIP and pro forma SGIA to provide for

         interconnection customers to receive point of interconnection information in advance of

         submitting an interconnection request, increase the threshold for participation in the fast

         track process to five MW, and to specifically include electric storage devices.34

                In response to concerns voiced to the Commission about interconnection queue

         management, in 2007, the Commission held a technical conference,35 and later issued an

         order36 addressing interconnection queue issues in RTOs/ISOs. In the order, the



                30
                     Pro forma SGIP section 2.1.
                31
                     Id. attach. 5.
                32
                     Order No. 2006, 111 FERC ¶ 61,220 at PP 36, 38-39.
                33
                 Small Generator Interconnection Agreements & Procs., Order No. 792,
         78 FR 73240 (Dec. 5, 2013), 145 FERC ¶ 61,159 (2013), clarifying, Order No. 792-A,
         146 FERC ¶ 61,214 (2014).
                34
                     See Order No. 792, 145 FERC ¶ 61,159 at P 1.
                35
                Interconnection Queuing Practices, Notice of Technical Conference, Docket
         No. AD08-2-000 (issued Nov. 2, 2007).
                36
                 Interconnection Queuing Pracs., 122 FERC ¶ 61,252 (2008) (2008 Technical
         Conference Order).
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         Commission noted that some transmission providers were not processing their

         interconnection queues within the timelines established in the pro forma LGIP, and in

         certain cases, were greatly exceeding them.37 The Commission stated that, although it

         “may need to [impose solutions] if the RTOs and ISOs do not act themselves,” each

         RTO/ISO would have an opportunity to work with its stakeholders to develop its own

         solutions.38 As further discussed below, following the order, multiple RTOs/ISOs

         submitted queue reform proposals to the Commission, some of which moved away from

         a so-called “first-come, first-served” approach (whereby interconnection requests are

         processed in the order they are received) to a so-called “first-ready, first-served”

         approach (whereby interconnection requests are processed based on when

         interconnection customers meet certain project development milestones).39 The reason

         for this move was to allow interconnection customers with interconnection requests for

         generating facilities more likely to achieve commercial operation to move faster instead

         of being delayed by interconnection requests that were higher in the interconnection

         queue but making limited or no progress towards commercial operation and creating

         unreasonable queue delays.




                37
                     Id. P 3.
                38
                     Id. P 8.
                39
                  See, e.g., Sw. Power Pool, Inc., 128 FERC ¶ 61,114 (2009); Midwest Indep.
         Transmission Sys. Operator, Inc., 124 FERC ¶ 61,183 (2008); Cal. Indep. Sys. Operator
         Corp., 124 FERC ¶ 61,292 (2008).
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               In 2018, the Commission issued Order No. 845, in which the Commission made

         the most comprehensive revisions to the pro forma LGIP and pro forma LGIA since their

         adoption in Order No. 2003. In Order No. 845, the Commission concluded that reforms

         to the pro forma LGIP and pro forma LGIA were needed to mitigate concerns regarding

         systemic inefficiencies, remedy discriminatory practices, and address recent

         developments, including changes in the resource mix and emergence of new

         technologies.40 The Commission therefore adopted reforms designed to improve

         certainty for interconnection customers, promote more informed interconnection

         decisions, and enhance the generator interconnection process.41

               B.        Regional Transmission Planning and Cost Allocation and Generator
                         Interconnection Advance Notice of Proposed Rulemaking

               On July 15, 2021, the Commission issued an Advance Notice of Proposed

         Rulemaking (ANOPR) in Docket No. RM21-17-000, presenting potential reforms to the

         Commission’s requirements governing the regional transmission planning and cost

         allocation and generator interconnection processes.42 Specific to the generator

         interconnection process, the Commission sought comment on whether and which reforms

         may be necessary to ensure a more purposeful integration of the generator




               40
                    Order No. 845, 163 FERC ¶ 61,043 at P 7.
               41
                    Id. P 2.
               42
                  Bldg. for the Future Through Elec. Reg’l Transmission Planning & Cost
         Allocation & Generator Interconnection, 86 FR 40266 (July 15, 2021), 176 FERC ¶
         61,024 (2021) (ANOPR).
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         interconnection process with the regional transmission planning and cost allocation

         processes, establish a faster and more efficient interconnection queueing process, and

         promote a more efficient and cost-effective allocation of network upgrade costs.43 For

         instance, the Commission noted that the cost of network upgrades can depend largely on

         both the timing of when the interconnection customer enters the interconnection queue

         and where the interconnection customer proposes to interconnect its generating facility.

         Therefore, the Commission noted, interconnection customers may submit multiple

         interconnection requests in an effort to determine the most favorable point of

         interconnection44 that minimizes their network upgrade costs.45 The Commission stated

         that this practice, in turn, may lead to late-stage withdrawals of the excess

         interconnection requests, which can then impede the transmission provider’s ability to

         process its interconnection queue in an efficient manner. As a result, the Commission

         stated that it may be time to consider reforms to the generator interconnection process

         that would make it more efficient and ensure that generating facilities that are more

         “ready” than others are not unduly delayed in the interconnection queue.




                43
                     Id. P 5.
                44
                  The pro forma LGIP defines point of interconnection as “the point, as set forth
         in Appendix A to the Standard Large Generator Interconnection Agreement, where the
         Interconnection Facilities connect to the Transmission Provider’s Transmission System.”
         Pro forma LGIP section 1.
                45
                     ANOPR, 176 FERC ¶ 61,024 at P 41.
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                On April 21, 2022, the Commission issued a Notice of Proposed Rulemaking

         (Transmission Planning and Cost Allocation NOPR) proposing reforms to its existing

         regional transmission planning and cost allocation requirements in the same proceeding

         as it issued the ANOPR.46 While the Transmission Planning and Cost Allocation NOPR

         did not address many of the concerns raised by the Commission in the ANOPR with

         respect to the generator interconnection queue process, the Commission noted in the

         Transmission Planning and Cost Allocation NOPR that it would continue to review the

         record and that it expected to address possible inadequacies through subsequent

         proceedings that propose reforms, as warranted, related to that topic.47 The Commission

         took that next step with the reforms proposed in the NOPR in this proceeding, many of

         which we adopt in this final rule.

                C.       Notice of Proposed Rulemaking

                On June 16, 2022, the Commission issued the NOPR, proposing reforms focused

         on improving aspects of the pro forma LGIP, pro forma LGIA, pro forma SGIP, and pro

         forma SGIA. The Commission also sought comment on, but did not propose, tariff

         revisions on other issues.

                First, the Commission proposed reforms focused on improving interconnection

         processes to ensure interconnection customers can proceed in an efficient and timely



                46
                Bldg. for the Future Through Elec. Reg’l Transmission Plan. & Cost Allocation
         & Generator Interconnection, 87 FR 26504 (May 4, 2022), 179 FERC ¶ 61,028 (2022).
                47
                     Id. P 10.
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         manner.48 Among those, the Commission proposed to: (1) require transmission

         providers to offer an optional informational interconnection study to serve as additional

         information for prospective interconnection customers in deciding whether to submit an

         interconnection request and set minimum requirements for transmission providers to

         publicly post available information pertaining to generator interconnection;49 (2) require

         transmission providers to implement a first-ready, first-served cluster study process that

         allocates costs associated with cluster studies and identified network upgrades consistent

         with the discussion below;50 and (3) impose more stringent financial commitments and

         readiness requirements on interconnection customers, including increased study deposits,

         more stringent site control requirements, a commercial readiness framework, and higher

         withdrawal penalties.51 To implement these reforms, the Commission also proposed to

         require transmission providers to establish a transition process.52

                Second, the Commission proposed three reforms to increase the speed of

         interconnection queue processing, including: (1) revisions to eliminate the reasonable

         efforts standard for interconnection study processing;53 (2) revisions to establish an



                48
                     NOPR, 179 FERC ¶ 61,194 at P 4.
                49
                     Id. PP 42-52.
                50
                     Id. PP 56-101.
                51
                     Id. PP 104-148.
                52
                     Id. PP 150-160.
                53
                     Id. PP 168-173.
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         affected system study process, along with necessary pro forma affected system

         agreements;54 and (3) revisions to establish an optional resource solicitation study.55

                Finally, the Commission proposed three reforms to incorporate technological

         advancements into the interconnection study process. With these reforms, the

         Commission proposed to require transmission providers to: (1) increase flexibility in the

         generator interconnection process by allowing generating facilities to co-locate, allow the

         interconnection customer to request the addition of a generating facility to an existing

         interconnection request, increase the availability of surplus interconnection service, and

         allow interconnection customers to propose operating assumptions for their generating

         facilities;56 (2) incorporate the enumerated alternative transmission technologies into the

         interconnection study process at the request of the interconnection customer;57 and (3) list

         required modeling standards for inclusion in all interconnection requests that include

         inverter-based resources (IBRs), as well as require certain performance standards from

         IBRs during system disturbances.58




                54
                     Id. PP 182-215.
                55
                     Id. PP 223-237.
                56
                     Id. PP 242-288.
                57
                     Id. PP 297-302.
                58
                     Id. PP 328-341.
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                In response to the NOPR, 189 comments were filed.59 These comments have

         informed our determinations in this final rule.

                D.     Joint Federal-State Task Force on Electric Transmission

                On June 17, 2021, the Commission established a Joint Federal-State Task Force on

         Electric Transmission (Task Force) to formally explore broad categories of transmission-

         related topics.60 The Commission explained that the development of new transmission

         infrastructure implicated a host of different issues, including generator interconnection.

         The Task Force is comprised of all FERC Commissioners as well as representatives from

         10 state commissions nominated by the National Association of Regulatory Utility

         Commissioners (NARUC), with two originating from each NARUC region.61 The

         Task Force convenes for multiple formal meetings annually, which are open to the

         public. Since its creation and as of the date of issuance of this final rule, the Task Force

         has met seven times.

                The discussion at the May 2022 meeting focused on interconnection issues,

         including generator interconnection queue processes and backlogs. The Task Force


                59
                  Appendix A lists the entities that submitted comments on the NOPR and the
         shortened names used through this final rule to describe those entities.
                60
                  Joint Fed.-State Task Force on Elec. Transmission, 175 FERC ¶ 61,224, at
         PP 1, 6 (2021).
                61
                   An up-to-date list of Task Force members, as well as additional information on
         the Task Force, is available on the Commission’s website at:
         https://www.ferc.gov/TFSOET. Public materials related to the Task Force, including
         transcripts from public meetings, are available in the Commission’s eLibrary in Docket
         No. AD21-15-000.
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         members discussed: the primary challenges preventing more efficient processing of

         interconnection queues; specific improvements to interconnection processes (such as

         tighter applicant requirements to enter and remain in the queue, clustering, fast tracking,

         tighter deadlines on transmission providers completing studies, and minimizing

         reiterative studies); and how to balance near-term improvements to the interconnection

         procedures with longer-term regional transmission planning and development.62

         II.    Overall Need for Reform

                A.       NOPR

                In the NOPR, the Commission noted that the serial first-come, first-served study

         process was adopted at a time when most interconnection requests were for large

         traditional generating facilities that would use readily available transmission capacity.63

         The Commission stated that the continued use of this process in the face of dramatic

         changes to the electric power industry, principally the surge in interconnection requests,

         the rapidly changing resource mix, evolving market forces, and the emergence of new

         technologies, has led to a growing backlog of interconnection requests and study delays

         for many transmission providers.64 The Commission also stated that these

         interconnection queue backlogs and study delays create uncertainty and inhibit project



                62
                Joint Fed.-State Task Force on Elec. Transmission, Notice of Meeting, Docket
         No. AD21-15-000 (issued Apr. 22, 2022).
                63
                     NOPR, 179 FERC ¶ 61,194 at P 18.
                64
                     Id. PP 18-20.
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         developers’ ability to interconnect generating facilities to the transmission system.65 The

         Commission preliminarily found that the existing pro forma LGIP, pro forma LGIA,

         pro forma SGIP, and pro forma SGIA may be insufficient to ensure that new generating

         facilities are able to interconnect to the transmission system in a reliable, efficient,

         transparent, and timely manner and to thereby ensure that rates, terms, and conditions for

         Commission-jurisdictional services are just, reasonable, and not unduly discriminatory or

         preferential.66 Further, because the interconnection queue backlogs and study delays

         afflicting generator interconnection service nationwide hinder the timely development of

         new generation and thereby stifle competition in the wholesale electric markets, the

         Commission also preliminarily found that the Commission’s pro forma LGIP, pro forma

         LGIA, pro forma SGIP, and pro forma SGIA result in rates, terms, and conditions in the

         wholesale electric markets that are unjust, unreasonable, and unduly discriminatory or

         preferential.




                65
                  Id. P 19 (citing Joint Fed.-State Task Force on Elec. Transmission, Technical
         Conference, Docket No. AD21-15-000, Tr. 15:21-16:1 (Ted Thomas) (May 6, 2022)
         (May Joint Task Force Tr.) (“Houston, we have a problem. As stated in the NARUC
         ANOPR comments, existing methods for interconnecting new resources to the
         transmission grid are inadequate and inefficient because of the time necessary to
         interconnect new resources and the corresponding network upgrade costs.”)).
                66
                    Id. P 22 (citing May Joint Task Force Tr. 23:6-11 (Riley Allen) (“Ultimately,
         this system is not working efficiently now and those inefficiencies translate into costs.
         It’s not just cost on the developers, but I find from my decades of experience that, if there
         are inefficiencies in the system, they ultimately have to be borne by the loads and
         ratepayer interests.”)).
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                The Commission stated that its preliminary findings were based on several

         features of the Commission’s existing generator interconnection procedures and

         agreements that are of concern, specifically: (1) the information (or lack thereof)

         available to prospective interconnection customers and the commitments required of

         them to enter and progress through the interconnection queue; (2) the reliance on a serial

         first-come, first-served study process and the standard to which transmission providers

         are held for meeting interconnection study deadlines; (3) the protocols for affected

         systems studies; (4) the provisions for studying new or hybrid generation technologies

         and considering alternative transmission technologies; and (5) the performance

         requirements for non-synchronous generating facilities, including wind, solar, and

         electric storage facilities.67

                The Commission found that some of the same issues persist in the small

         generating facility context and, therefore, proposed limited reforms to the pro forma

         SGIP and pro forma SGIA to incorporate alternative transmission technologies into the

         interconnection process and to provide modeling and performance requirements for non-

         synchronous generating facilities.68




                67
                   Id. PP 23-36 (citing May Joint Task Force Tr. 70:20-71:6 (Matthew Nelson)
         (analogizing reiterative studies to going to the supermarket to buy ingredients for a recipe
         without knowing how much the ingredients cost, finding out at the register that they cost
         too much for your budget, and having to “go home, get a new recipe, and start it all over
         again”)).
                68
                     Id. P 5.
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                B.     Comments

                The vast majority of commenters overwhelmingly agree with the Commission’s

         preliminary conclusion that there is a need to reform the Commission’s pro forma

         interconnection procedures and agreements to ensure that interconnection customers are

         able to interconnect to the transmission system in a reliable, efficient, transparent, and

         timely manner, thereby ensuring that rates, terms, and conditions for Commission-

         jurisdictional services are just, reasonable, and not unduly discriminatory or

         preferential.69 These commenters generally agree that the unprecedented volume of


                69
                   ACE-NY Initial Comments at 2; ACE-NY Reply Comments at 5; AEE Initial
         Comments at 3, 5; AEE Reply Comments at 5; AES Initial Comments at 2; Affected
         Interconnection Customers Initial Comments at 2; Ameren Initial Comments at 2;
         APPA-LPPC Reply Comments at 2; Avangrid Initial Comments at 6, 8; Bonneville Initial
         Comments at 3; CESA Initial Comments at 3; CESA Reply Comments at 1; Clean
         Energy Associations Initial Comments at 8; Clean Energy Buyers Initial Comments at 3;
         Clean Energy States Initial Comments at 2-3; Colorado Commission Initial Comments at
         1; Consumers Energy Initial Comments at 2; Cypress Creek Initial Comments at 1;
         Dominion Initial Comments at 4; EEI Initial Comments at 2; EEI Reply Comments at 3;
         EDF Renewables Initial Comments at 1-2; Enel Initial Comments at 2; Energy Keepers
         Initial Comments at 2; Evergreen Action Initial Comments at 1; Eversource Initial
         Comments at 2; Fervo Energy Initial Comments at 2; Google Initial Comments at 2;
         Guzman Energy Initial Comments at 2; Hannon Armstrong Initial Comments at 1;
         Hydropower Commenters Initial Comments at 5; Illinois Commission Initial Comments at
         2-3, 5; Interwest Initial Comments at 3; Interwest Reply Comments at 2; ISO-NE Initial
         Comments at 2-3; MISO TOs Initial Comments at 2, 6; NARUC Initial Comments at 3;
         New Jersey Commission Initial Comments at 4-9; NY Commission and NYSERDA Initial
         Comments at 3; NV Energy Initial Comments at 3; Ohio Commission Consumer
         Advocate Initial Comments at 3-4; OMS Initial Comments at 2; Ørsted Initial Comments
         at 5; Pine Gate Initial Comments at 8; PJM Initial Comments at 1, 4; PJM Coalition Initial
         Comments at 1; RWE Renewables Initial Comments at 1; Senators Hickenlooper and
         King Initial Comments at 1-2; Shell Initial Comments at 5-6; State Agencies Initial
         Comments at 1-2; TAPS Initial Comments at 1; Union of Concerned Scientists Reply
         Comments at 1; UMPA Initial Comments at 1; WATT Coalition Initial Comments at 1;
         Xcel Initial Comments at 8.
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         generation in the interconnection queue, which is almost equal to the current U.S.

         generation fleet, has resulted in severe backlogs in interconnection processes across the

         country.70 For example, the Ohio Commission Consumer Advocate states that “there is

         an urgent need to clear the current generator interconnection queue backlog and to

         facilitate timely and economic interconnection of new resources in a way that responds to

         current and future market conditions.”71 EEI recognizes that, despite many efforts

         underway across the country to fix individual transmission provider interconnection

         queue processes, there is still a need for the Commission to address backlogs and

         improve certainty in the interconnection queue process.72 Several commenters assert that

         these interconnection backlogs have resulted in commercial uncertainty regarding both

         the magnitude of identified upgrade costs and the timeline for completion of

         interconnection studies, delayed project development, increased costs for consumers due




                70
                   AEE Initial Comments at 3; Apple Initial Comments at 1; Bonneville Initial
         Comments at 3; Clean Energy Buyers Initial Comments at 3; Colorado Commission
         Initial Comments at 2, 8-11; EDF Renewables Initial Comments at 2; Evergreen Action
         Initial Comments at 1; Eversource Initial Comments at 2; Interwest Initial Comments at
         1-2; NV Energy Initial Comments at 2-3; Ohio Commission Consumer Advocate Initial
         Comments at 3-4; Ørsted Initial Comments at 2; Senators Hickenlooper and King Initial
         Comments at 1-2; U.S. Chamber of Commerce Initial Comments at 5; UMPA Initial
         Comments at 1.
                71
                     Ohio Commission Consumer Advocate Initial Comments at 3-4.
                72
                     EEI Reply Comments at 3.
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         to the prevention of new supply from reaching the market, and impaired reliability.73

         Senators Hickenlooper and King note that, in the past decade, 23% of proposed

         generating facilities reached commercial operation, while 72% were withdrawn.74

         ELCON and APPA-LPPC both argue that uncertainty, on the part of both transmission

         provider and generator project developer, inevitably leads to an increase in costs to

         consumers.75 U.S. DOE submits a recent report published by the Lawrence Berkeley

         National Laboratory, which finds that interconnection costs in MISO have escalated as

         the number of interconnection requests has increased.76 Specifically, the report finds that

         interconnection costs in MISO doubled for projects completed between 2019-2021

         compared to projects completed prior to 2018, and cost estimates tripled for projects still

         active in the queue between the same time periods. Some commenters agree that the

         existing interconnection rules in the pro forma LGIP and pro forma LGIA create an




                73
                   ACE-NY Initial Comments at 2; AEE Initial Comments at 4; EDF Renewables
         Initial Comments at 2; ELCON Initial Comments at 2; Fervo Energy Initial Comments at
         2; PJM Coalition Initial Comments at 2; Xcel Reply Comments at 1.
                74
                   Senators Hickenlooper and King Initial Comments at 1 (citing Joseph Rand et
         al., Lawrence Berkeley Nat’l Lab., Queued Up: Characteristics of Power Plants Seeking
         Transmission Interconnection (Apr. 2022) (Queued Up 2022),
         https://emp.lbl.gov/sites/default/files/queued_up_2021_04-13-2022.pdf)).
                75
                     ELCON Initial Comments at 2; APPA-LPPC Initial Comments at 2.
                76
                  U.S. DOE Initial Comments at 1 (citing Joachim Seel et al., Lawrence Berkeley
         Nat’l Lab., Interconnection Cost Analysis in the MISO Territory at 1 (Oct. 2022)).
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         incentive for interconnection customers to submit interconnection requests even if they

         are not prepared to move forward with their projects, in order to secure a favorable

         position in the interconnection queue or in an attempt to obtain locations with available

         transmission capacity.77 They assert that the withdrawal of each speculative

         interconnection request triggers reassessments and possible restudies by the transmission

         provider that can increase the timing and interconnection cost for lower-queued

         interconnection requests. Several commenters point to ambitious climate goals (such as

         the United States’ commitment to reducing net greenhouse gas emissions by 50-52% by

         2030 under the Paris Climate Agreement) and argue that: (1) these changes will likely

         spur greater investment in new generation and exacerbate the delays in processing

         interconnection requests; and/or (2) without an efficient and transparent interconnection

         process, none of the clean energy generating facilities intended to meet these goals can be




                77
                  Clean Energy Buyers Initial Comments at 3; Dominion Initial Comments at 4-5;
         PJM Initial Comments at 12; U.S. Chamber of Commerce Initial Comments at 4-5.
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         effectively deployed.78 Consumers Energy argues that delays in processing

         interconnection requests will exacerbate resource adequacy challenges.79

               A small subset of commenters, while supporting an overall need for reform,

         disagree with some of the Commission’s preliminary conclusions about the need for

         reform.80 A few other commenters claim that there is no basis for the Commission’s

         preliminary conclusion that speculative projects that enter the interconnection queue and

         later withdraw, causing cascading restudies, are responsible for interconnection queue


               78
                   AEP Initial Comments at 2; Affected Interconnection Customers Initial
         Comments at 2; Allen Meyer Initial Comments at 1; Apple Initial Comments at 1;
         Bretton C Little Initial Comments at 1; Colorado Commission Initial Comments at 13-14;
         EDF Renewables Initial Comments at 2-3 (referencing Inflation Reduction Act, Pub. L.
         No. 117-169 (2022)); ELCON Initial Comments at 2; Evergreen Action Initial Comments
         at 2; GSCE Initial Comments at 5-6; Individual Signatories Initial Comments at 1-2;
         Interwest Comments at 1-2; National Grid Initial Comments at 2; Payton Alaama Reply
         Comments at 1; Pine Gate Reply Comments at 3-4; Rick K Lathrop Reply Comments
         at 1; Shell Initial Comments at 6; State Agencies Initial Comments at 8-9 (citing Int’l
         Energy Agency, Net Zero by 2050: A Roadmap for the Global Energy Sector (2021)
         https://www.iea.org/reports/net-zero-by-2050; The United States’ Nationally Determined
         Contribution (2021),
         https://www4.unfccc.int/sites/ndcstaging/PublishedDocuments/United%20States%20of%
         20America%20First/United%20States%20NDC%20April%2021%202021%20Final.pdf;
         White House, FACT SHEET: Biden Administration Jumpstarts Offshore Wind Energy
         Projects to Create Jobs (Mar. 29, 2021), https://www.whitehouse.gov/briefing-
         room/statements-releases/2021/03/29/fact-sheet-biden-administration-jumpstarts-
         offshore-wind-energy-projects-to-create-jobs/); Sue Hilton Initial Comments at 1; Union
         of Concerned Scientists Reply Comments at 6; Vistra Initial Comments at 4.
               79
                    Consumers Energy Initial Comments at 7.
               80
                  For instance, Affected Interconnection Customers disagree with the
         Commission’s reference to a nationwide shortage of qualified engineers and contend that
         the Commission fails to support this conclusion with any evidence beyond statements
         made by CAISO and MISO. Affected Interconnection Customers Initial Comments at 14
         (citing NOPR, 179 FERC ¶ 61,194 at P 20 n.67).
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         backlogs.81 A few commenters assert that the Commission did not take into account

         pertinent factors affecting interconnection queue sizes, such as an increase in the

         development of smaller, more diverse generating facilities.82

                Three comments note that various transmission providers use vastly different

         interconnection procedures from the pro forma procedures established in Order No. 2003

         and argue that there is an insufficient legal foundation under FPA section 206 to

         demonstrate that all of these approved interconnection procedures are unjust,

         unreasonable, and unduly discriminatory or preferential.83 Southern disagrees entirely

         with the Commission’s preliminary conclusion that there is a need for reform.84 Southern

         argues that the Commission based its proposed actions in the NOPR on conjecture and

         thus failed to provide substantial evidence or engage in reasoned decision-making to

         demonstrate that the current interconnection processes are unjust and unreasonable.85 In




                81
                   CREA and NewSun Initial Comments at 35-37 (countering that interconnection
         requests do not reach commercial operation due to other reasons such as permitting or
         financing difficulties); NextEra Initial Comments at 4; Public Interest Organizations
         Initial Comments at 1-7 (arguing that the rate of queue withdrawal has been consistent
         over the last decade); SEIA Reply Comments at 1.
                82
               AEE Initial Comments at 6-7; Pine Gate Reply Comments at 4; SEIA Reply
         Comments at 1.
                83
                  Early Adopters Coalition Initial Comments at 1-2; PacifiCorp Initial Comments
         at 9; Southern Initial Comments at 10-11.
                84
                     Southern Initial Comments at 10-12; Southern Reply Comments at 1, 4.
                85
                  Southern Initial Comments at 10 (citing Emera Me. v. FERC, 854 F.3d 9, 24
         (D.C. Cir. 2017)); Southern Reply Comments at 1, 4.
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         addition, Southern contends that the Commission’s proposals are arbitrary and capricious

         because they impose a broadly applicable remedy to a problem that does not exist

         uniformly.86

                Southern further asserts that the Commission failed to provide any actual evidence

         that its proposals will reduce interconnection queue backlogs or increase certainty for

         interconnection customers.87

                Some commenters argue that the sum of the NOPR may actually slow study

         processes, increase backlogs, and may unintentionally increase costs to ratepayers.88 For

         example, CAISO asserts that shortening study timelines results in rushed, unreliable

         studies which would ultimately require more iteration and longer interconnection queue

         processing times.89 Additionally, NextEra argues that the NOPR provides few, if any,

         solutions relevant to those regions that have already implemented cluster studies yet

         continue to experience significant study delays.90 Further, some commenters oppose any




                86
                     Southern Initial Comments at 11-12.
                87
                     Id. at 10; Southern Reply Comments at 5.
                88
                  CAISO Initial Comments at 3; Dominion Initial Comments at 7; New York
         State Department Initial Comments at 2; NextEra Reply Comments at 2; NRECA Initial
         Comments at 7.
                89
                     CAISO Initial Comments at 3.
                90
                     NextEra Reply Comments at 7.
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         generic one-size-fits-all reform, arguing that queue reform is best left to the regional

         level.91

                Several commenters generally support the suite of proposed reforms in their

         entirety.92 As discussed in detail in each section below discussing individual reforms,

         most commenters either support specific proposals or suggest that the Commission

         prioritize certain proposed reforms. For instance, Consumers Energy supports reforms

         that increase the speed of interconnection queue processing because it claims that the

         reforms provide clarity for resource planners and interconnection customers as well as

         improve the reliability of the bulk electric system and the clean energy resource

         transformation.93 Google urges the Commission to prioritize reforms that provide a level

         playing field for both utility-backed resources and independent power producer-

         developed resources.94 Google also expresses concern that the layering of increased

         study deposits, more stringent site control requirements, the proposed commercial

         readiness requirements, and withdrawal penalties may place undue burden on

         interconnection customers if the Commission does not also adopt proposals for more




                91
                     Avangrid Initial Comments at 36-37; Southern Initial Comments at 14-15.
                92
                  APPA-LPPC Initial Comments at 2-3; APPA-LPPC Reply Comments at 2;
         Apple Initial Comments at 1; ACORE Initial Comments at 2; Amazon Initial Comments
         at 2; Evergreen Action Initial Comments at 1-4; Individual Signatories Initial Comments
         at 1; PJM Coalition Initial Comments at 2.
                93
                     Consumers Energy Initial Comments at 10-11.
                94
                     Google Initial Comments at 3.
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         publicly available interconnection information, firm study deadlines, and penalties for

         missed study deadlines.95

                Some commenters support adopting most or all of the limited reforms to the pro

         forma SGIP and pro forma SGIA proposed in the NOPR.96 For instance, Microgrid

         Resources asserts that including the proposed reforms in the pro forma SGIP is necessary

         to reflect the operating assumptions of, and to provide equitable treatment for, microgrids

         and other behind-the-meter resources.97 Microgrid Resources asserts that, if the

         Commission succeeds in expediting interconnections for large generating facilities, while

         small generating facility interconnections languish, it will bias the system against smaller

         local generating facilities that are the backbone of community resilience.

                C.        Commission Determination

                Based on the record, including comments submitted in response to the NOPR, as

         discussed below, we find that there is substantial evidence to support the conclusion that

         the existing pro forma generator interconnection procedures and agreements are unjust,


                95
                     Id. at 16.
                96
                    Bonneville Initial Comments at 24 (supporting applying some of the
         Commission’s proposed reforms to the pro forma SGIP and pro forma SGIA (e.g.,
         commercial readiness requirements), but asking that transmission providers be granted
         flexibility to determine which reforms should be applicable to small generator procedures
         and agreements); IREC Initial Comments at 3 (stating that the pro forma SGIP lacks the
         necessary provisions to safely and reliably interconnect storage to the electric grid while
         enabling its unique operating characteristics); Microgrid Resources Initial Comments at
         8-9; Xcel Initial Comments at 19 (supporting applying reforms to small generating
         facilities requesting energy only interconnection service).
                97
                     Microgrid Resources Initial Comments at 8-9.
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         unreasonable, and unduly discriminatory or preferential.98 We therefore adopt the

         preliminary findings in the NOPR concerning the need for reform99 and, pursuant to FPA

         section 206, conclude that certain revisions to the pro forma open access transmission

         tariff and the Commission’s regulations are necessary to ensure rates that are just,

         reasonable, and not unduly discriminatory or preferential. Specifically, we find that the

         existing pro forma generator interconnection procedures and agreements are insufficient

         to ensure that interconnection customers are able to interconnect to the transmission

         system in a reliable, efficient, transparent, and timely manner, thereby ensuring that rates,

         terms, and conditions for Commission-jurisdictional services are just, reasonable, and not

         unduly discriminatory or preferential. Absent reform, the current interconnection process

         will continue to cause interconnection queue backlogs, longer development timelines, and

         increased uncertainty regarding the cost100 and timing of interconnecting to the

         transmission system. These backlogs and delays, and the resulting timing and cost

         uncertainty,101 hinder the timely development of new generation and thereby stifle




                98
                     16 USC 824e(a); 18 CFR 385.206 (2022).
                99
                     NOPR, 179 FERC ¶ 61,194 at PP 18-36.
                100
                    See May Joint Task Force Tr. 74:9-21 (Andrew French) (stating that generator
         developers complain principally about cost certainty and cost sharing and that “cost
         certainty is the much bigger issue” given that “an essential element of being able to sell a
         product is to know what your inputs are so you can market it”).
                101
                    See May Joint Task Force Tr. 23:18-25 (Jason Stanek) (expressing frustration
         with the status quo and agreement that it is “no longer tenable” considering the inability
         of generators to interconnect in a timely manner, e.g., there are “2,500 projects under
         study [in the MACRUC region] and about a half of them have been in the queue since at
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         competition in the wholesale electric markets resulting in rates, terms, and conditions that

         are unjust, unreasonable, and unduly discriminatory or preferential.

                Indeed, recent data support the Commission’s preliminary findings in the NOPR

         that the dramatic increase in the number of interconnection requests and limited

         transmission capacity are increasing interconnection queue backlogs across all regions of

         the country.102 As of the end of 2022, there were over 10,000 active interconnection

         requests in interconnection queues throughout the United States, representing over 2,000

         gigawatts (GW) of potential generation and storage capacity.103 This potential generation

         is the largest interconnection queue size on record, more than four times the total volume

         (in GW) of the interconnection queues in 2010, and a 40% increase over the

         interconnection queue size from just the year prior.104 These trends are not exclusive to

         any one region of the country. Instead, every single region has faced an increase in both

         interconnection queue size and the length of time interconnection customers are spending




         least 2001”).
                102
                   Joseph Rand et al., Lawrence Berkeley Nat’l Lab., Queued Up:
         Characteristics of Power Plants Seeking Transmission Interconnection, at 7-8 (Apr.
         2023) (Queued Up 2023), https://emp.lbl.gov/sites/default/files/queued_up_2022_04-06-
         2023.pdf; see also Order No. 845, 163 FERC ¶ 61,043 at P 305 (requiring transmission
         providers to post interconnection study metrics). See Appendix B to this final rule, which
         provides an overview of recent data based on reporting by transmission providers in
         compliance with Order No. 845.
                103
                      Queued Up 2023 at 7-8.
                104
                      Id. at 10.
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         in the interconnection queue prior to commercial operation in recent years.105 This is true

         for RTO/ISO and non-RTO/ISO regions alike. The non-RTO/ISO west and southeast

         regions both have faced queue size increases ranging from tripling to a 12-fold increase

         while also seeing longer timelines between interconnection requests and commercial

         operation dates.106 Furthermore, the uncertainty and delays in the interconnection queues

         have resulted in fewer than 25% of interconnection requests, by capacity, reaching

         commercial operation between 2000 and 2017 in any region of the country—with some

         regions as low as 8%.107

                Additionally, recent data continue to show that interconnection customers are

         waiting longer in the interconnection queue before withdrawing their interconnection

         requests,108 even as overall interconnection study timelines are increasing in many

         regions.109 For example, AEE states that, as of February 2022, all 2,274 projects waiting

         for an interconnection agreement in the PJM interconnection queue had been waiting for

         a year or more; 33% (758 projects) had been waiting more than 500 days, 22% (497

         projects) have been stuck for more than two years, and 7% (166 projects) have been



                105
                      Id. at 9, 32.
                106
                      Id. at 9, 32.
                107
                      Id. at 3, 21.
                108
                    Id. at 25 (reporting that, although the median withdrawal duration has been
         relatively consistent over time, the mean withdrawal duration and distributions have
         edged higher in recent years).
                109
                      Id. at 27.
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         waiting more than three years.110 NV Energy explains that several western utilities that

         are not currently part of an RTO/ISO are experiencing an unprecedented high volume of

         requests in excess of the utility’s peak load.111 AEE notes that wait times for generating

         facilities in interconnection queues nationwide have increased from 2.1 years for

         generating facilities built in 2000-2010 to 3.7 years for those built in 2011-2021.112 And

         despite efforts to address these challenges,113 interconnection queue backlogs and delays




                110
                  AEE Initial Comments at 4 (citing Advanced Energy Economy, “In PJM,
         Renewable Energy Projects Are Getting Stuck” (February 2022), https://blog.aee.net/in-
         pjm-renewable-energy-projects-are-getting-stuck).
                111
                   NV Energy Initial Comments at 2-3. NV Energy explains that it has a peak
         load of 9,400 MW with an interconnection queue backlog for projects totaling more than
         27,000 MW; Idaho Power has a peak load of 3,751 MW with an interconnection queue
         backlog of over 18,000 MW; PacifiCorp has a peak load of 13,000 MW with an
         interconnection queue backlog of over 45,000 MW; and APS has a peak load of 7,600
         MW with an interconnection queue backlog of over 50,000 MW.
                112
                    AEE Initial Comments at 4 (citing Queued Up 2022); see also ACE-NY Initial
         Comments at 2 (arguing that the ability of New York to meet its clean energy goals is
         threatened by an interconnection process that is too slow); Affected System
         Interconnection Customers Initial Comments at 2 (stating that Affected System
         Interconnection Customers have navigated the generator interconnection queues of
         various transmission providers around the country and experienced firsthand the
         inefficiencies and delays, which represent the greatest obstacle to achieving commercial
         operation of a new energy project); GSCE Initial Comments at 5-6 (contending that an
         average of 6,000 MW of new solar, wind, and batteries must be added each year until
         2045 to reach California’s electric sector carbon-neutrality requirement, but that over the
         past decade California has only succeeded with adding an average of 1,000 MW of
         utility-scale solar and 300 MW of wind to the transmission system each year).
                113
                      Order No. 845, 163 FERC ¶ 61,043 at P 24.
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         have persisted and worsened. For generating facilities built in 2022, wait times in the

         interconnection queue saw a marked increase to now roughly five years.114

                Delays in the interconnection study process are an important contributor to

         interconnection queue backlogs nationwide. For instance, based on the recent

         interconnection study metrics transmission providers posted in compliance with Order

         No. 845, of the 2,179 interconnection studies completed in 2022, 68% were issued late.115

         Furthermore, at the end of 2022, an additional 2,544 studies were delayed (i.e., ongoing

         and past their deadline).116 All of the RTOs/ISOs except CAISO and 14 non-RTO/ISO

         transmission providers reported delayed studies at the end of 2022.117

                Consistent with the NOPR, we find that numerous factors have contributed to the

         increasing volume of interconnection requests, including a rapidly changing resource




                114
                   Queued Up 2023 at 31; see also Shell Initial Comments at 6 (describing
         multiple instances of five to six years until execution of an interconnection agreement,
         four years waiting for an initial “kick-off” call, two years waiting for a feasibility study,
         three years waiting for a system impact study, and over two years waiting for a facilities
         study).
                115
                   This is based on data provided by transmission providers in compliance with
         Order No. 845. See Appendix B to this final rule for the underlying data. Note that data
         from SPP is omitted here and in follow-on references to Order No. 845 data in this
         determination. This is because during 2022, SPP was transitioning to a new
         interconnection study process, and thus its data is not comparable to the other
         transmission providers.
                116
                      Id. Note that the vast majority of these studies (2,211) were in PJM.
                117
                   Id. CAISO revised the interconnection study deadlines of their queue cluster
         14 to account for the unprecedented increase in interconnection requests. Cal. Indep. Sys.
         Operator Corp., 176 FERC ¶ 61,207 (2021).
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         mix, market forces, and emerging technologies. For example, the interconnection queues

         in all parts of the country are now predominantly made up of comparatively new

         technologies that have operating characteristics and generally shorter construction cycles

         that were not taken into account when the Commission issued Order No. 2003, such as

         solar, battery storage, and hybrid resources, as older, larger generating facilities retire.118

         The Colorado Commission notes that solar projects account for roughly half of the

         cumulative requests in the five RTO/ISO queues and likely an even greater percentage of

         the most recent requests.119 In addition to the drastic increase in the number of

         interconnection requests in all regions of the country, evidence shows that

         interconnection studies have increased in complexity since the Commission issued Order

         No. 2003, potentially straining transmission provider resources.120 At the same time, we

         find that available transmission capacity has been largely or fully utilized in many

         regions, creating situations where interconnection customers face significant network




                118
                    Queued Up 2023 at 9; see also Colorado Commission Comments at 9 (stating
         that the growth of solar project interconnection requests is a significant cause of the
         overall supply and demand imbalance across all RTOs/ISOs as well as other regions).
                119
                      Colorado Commission Initial Comments at 9.
                120
                   See, e.g., NYISO Initial Comments at 6-7 (stating that “[s]tudies are only
         becoming more complex with the expanding scope of ISO/RTOs’ interconnection
         responsibilities”); Xcel Initial Comments at 7 (stating that “in many cases study models
         with large clusters are difficult to solve . . . Ensuring new transmission lines are realistic
         and even validating substation designs and locations takes significant work to be done
         properly”).
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         upgrade cost assignments to interconnect their proposed generating facilities.121 For

         example, as referenced by the U.S. DOE, a recent report finds that interconnection costs

         in MISO doubled for generating facilities for which the interconnection studies were

         completed between 2019 and 2021 as compared to those completed prior to 2019, and

         cost estimates tripled for proposed generating facilities still active in the interconnection

         queue between the same time periods.122 These cost increases are similar to those being

         faced in NYISO and PJM, where interconnection costs, per kW, have doubled (or more)

         for recently completed generating facilities.123 As a result, we find that this combination

         of increased volume of diverse interconnection requests and insufficient transmission

         capacity leading to higher costs to interconnect, which can result in interconnection




                121
                     See, e.g., ACORE Initial Comments at 2 (noting that “upgrades based on
         generation interconnection may be a sub-optimal, expensive, and ultimately ineffective
         way to accomplish transmission expansion”); AEE Initial Comments at 3 (asserting that
         “inefficient and impeded interconnection processes lead to unacceptable delays and
         artificially high interconnection costs”); EDF Renewables Initial Comments at 3.
                122
                   Joachim Seel et al., Generator Interconnection Cost Analysis in the
         Midcontinent Independent System Operator (MISO) Territory, at 1, 4-5 (2022),
         https://emp.lbl.gov/interconnection_costs.
                123
                    Julia Mulvaney Kemp et al., Interconnection Cost Analysis in the NYISO
         Territory (2023), https://emp.lbl.gov/publications/interconnection-cost-analysis-nyiso
         (showing that costs have doubled for generating facilities studied since 2017, relative to
         costs for generating facilities studied from 2006 to 2016); Joachim Seel et al.,
         Interconnection Cost Analysis in the PJM Territory (2023),
         https://emp.lbl.gov/publications/interconnection-cost-analysis-pjm (showing that costs for
         recent “complete” generating facilities have doubled on average relative to costs from
         2000-2019).
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         request withdrawals, has resulted in longer interconnection queue processing times and

         larger, more delayed interconnection queues.

                In response to comments asserting that the Commission did not take into account

         other factors affecting interconnection queue sizes, such as the development of smaller,

         more diverse generating facilities, in its preliminary findings on the need for reform in

         the NOPR,124 we find that the record shows that interconnection queue sizes are

         increasing in both number of interconnection requests and in total MW capacity in all

         regions of the country and such increases are not due to an influx of any particular size of

         proposed generating facility. Moreover, data show that the median duration for all

         generating facilities that enter the interconnection queue hovers around 30 months,

         independent of the size of the interconnection request.125

                Interconnection queue backlogs and delays have created uncertainty for

         interconnection customers regarding the timing and cost of ultimately interconnecting to

         the transmission system. We agree with commenters that such uncertainty, on the part of

         both transmission provider and interconnection customer, may lead to an increase in costs




                124
                    See, e.g., Pine Gate Reply Comments at 4 (stating that “the days of . . . large,
         conventional resources are waning as the majority of interconnection requests are now
         comprised of smaller, more diverse resource” and that “[l]arger interconnection queues
         are, to a certain extent, a natural byproduct of this change”); SEIA Reply Comments at 1
         (contending that interconnection requests have increased in number “because newer
         projects are smaller and have less capacity” and “[m]ore interconnection requests are
         needed to integrate the same amount of generation capacity into the grid”).
                125
                      Queued Up 2023 at 29.
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         to consumers.126 First, delayed interconnection study results or unexpected cost increases

         can disrupt numerous aspects of generating facility development.127 Cost uncertainty

         poses an especially significant obstacle because interconnection customers may not be

         able to finance substantial increases in unexpected interconnection costs. Second,

         transmission providers may face uncertainty regarding the size and makeup of the

         interconnection queue and the commercial viability of the project in the interconnection

         queue, creating inefficiencies in the study process, increasing interconnection study costs,

         and delayed study results. Such uncertainty, either on the part of transmission providers

         or interconnection customers, are ultimately passed through to consumers through higher

         transmission or energy rates.128 Increases in energy rates may result from wholesale

         customers having limited access to new and more competitive supplies of generation.

         Conversely, efficient interconnection queues and well-functioning wholesale markets

         deliver benefits to consumers by driving down wholesale electricity costs.

                As the interconnection queue backlogs and study delays continue and even

         increase, we find that the Commission’s existing rules contained in the pro forma LGIP,

         pro forma LGIA, pro forma SGIP, and pro forma SGIA result in rates, terms, and


                126
                See, e.g., Ameren Initial Comments at 2; ELCON Initial Comments at 2;
         ELCON Initial Comments at 2; Xcel Initial Comments at 8.
                127
                   See, e.g., Interwest Initial Comments at 8 (contending that “[t]he harm to
         interconnection customers associated with interconnection study delays can be significant
         and costly, including liquidated damages if compliance with a commercial operation
         deadline is at risk”).
                128
                      Ameren Initial Comments at 2.
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         conditions for Commission-jurisdictional services that are unjust, unreasonable, and

         unduly discriminatory or preferential. Not only do the problems described above lead to

         an inability of interconnection customers to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner, they also hinder the timely

         development of new generation, thereby stifling competition in the wholesale electric

         markets. We, therefore, find that reform to the Commission’s existing pro forma

         generator interconnection procedures and agreements is necessary.

                Our findings that the existing pro forma LGIP, pro forma LGIA, pro forma SGIP,

         and pro forma SGIA must be reformed are based on the following features of these

         existing rules: (1) the information (or lack thereof) available to prospective

         interconnection customers and the commitments required of them to enter and progress

         through the interconnection queue; (2) the reliance on a serial first-come, first-served

         study process and the “reasonable efforts” standard that transmission providers are held

         to for meeting interconnection study deadlines; (3) the protocols (or lack thereof) for

         affected system studies; (4) the provisions for studying new generating facility

         technologies and evaluating the list of alternative transmission technologies enumerated

         in this final rule; and (5) the modeling or performance requirements (or lack thereof) for

         non-synchronous generating facilities, including wind, solar, and electric storage

         facilities. We discuss each of these five features below.

                First, we find that existing pro forma generator interconnection procedures and

         agreements fail to contain a process by which an interconnection customer can obtain

         information about potential interconnection costs at a specific location or point of
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         interconnection prior to submitting an interconnection request. Without this information,

         it is difficult for interconnection customers to assess the commercial viability of a

         specific proposed generating facility prior to entering the interconnection queue.129

         Furthermore, we find that for interconnection customers, the pro forma interconnection

         procedures and agreements fail to include meaningful financial commitment

         requirements to enter and stay in the interconnection queue and lack of stringent

         requirements to establish the commercial viability of proposed generating facilities.130

         As a result, interconnection customers often submit multiple interconnection requests for

         proposed generating facilities at various points of interconnection, knowing that not all of

         the proposed generating facilities will reach commercial operation, as an exploratory

         mechanism to obtain information to allow the interconnection customer to choose to

         proceed with the interconnection request representing the most favorable site in terms of

         potential interconnection-related costs.131 For instance, recent interconnection study


                129
                   See, e.g., Fervo Energy Initial Comments at 2-3 (stating that “the incidence of
         interconnection applications simply intended to solicit information discovery from the
         transmission provider . . . is a significant defect in today’s queue process”); Google Initial
         Comments at 4 (asserting that “there is extreme information asymmetry in the
         interconnection process,” with transmission owners and their affiliates having greater
         access than independent power producers to information on the relative cost of
         interconnection at different points).
                130
                    See, e.g., Dominion Initial Comments at 4 (stating that “owners of speculative
         projects remain in the queue process for as long as they possibly can in the hopes that
         their project somehow becomes viable”); U.S. Chamber of Commerce Initial Comments
         at 5 (concurring with the NOPR that there is a “lack of stringent financial commitments
         and readiness requirements on interconnection customers”).
                131
                  See, e.g., Clean Energy Associations Initial Comments at 11 (stating that “[i]n
         most cases, customers must actually enter the queue to ascertain what upgrade costs they
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         metrics posted by transmission providers continue to show that some interconnection

         customers are withdrawing interconnection requests before any studies are completed.132

         While interconnection customers may withdraw at any stage of the interconnection

         process, to do so before any study is completed indicates that interconnection customers

         may lack information prior to entering the interconnection queue and are entering to

         obtain valuable information about the commercial viability of their proposed projects

         vis-à-vis other interconnection customers in the queue or cluster.

                Second, the existing serial first-come, first-served study process in the pro forma

         LGIP requires transmission providers to process interconnection requests in the order in

         which the transmission provider receives them. This approach creates incentives for

         interconnection customers to submit exploratory or speculative interconnection requests

         pursuant to which interconnection customers seek to secure valuable queue positions as

         early as possible, even if they are not prepared to move forward with the proposed

         generating facility. Such generating facilities are often not commercially viable and,

         thus, the interconnection customers ultimately withdraw from the interconnection queue.




         will be responsible for”); Clean Energy Buyers Initial Comments at 3 (stating that
         inefficiencies in the serial study queue are “compounded by exploratory interconnection
         requests that are based on developers’ attempts to obtain locations with available
         transmission capacity”); NY Commission and NYSERDA Initial Comments at 6-7
         (stating that “increased access to valuable information . . . could deter developers from
         submitting multiple, speculative [interconnection requests]”).
                132
                   Based on data provided by transmission providers in compliance with Order
         No. 845 (showing that 35% of withdrawals in 2022 took place before any studies had
         been completed). See Appendix B to this final rule for the underlying data.
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         We agree with commenters that the withdrawal of speculative interconnection requests

         that trigger reassessments and possible restudies by the transmission provider can delay

         the timing and increase the cost to interconnect for lower-queued interconnection

         requests.

                In summary, we find that the lack of (1) access of information about a specific

         location or point of interconnection prior to submitting an interconnection request and

         (2) meaningful financial commitments in the pro forma interconnection procedures and

         agreements for interconnection customers to enter and stay in the interconnection queue,

         as well as the existing serial first-come, first-served study process, all incentivize

         interconnection customers to submit speculative interconnection requests that contribute

         to interconnection study backlogs, delays, and uncertainty, and, in turn, unjust and

         unreasonable Commission-jurisdictional rates.

                We disagree with commenters’ assertions that there is no basis to find that

         speculative interconnection requests are responsible for interconnection queue backlog

         and delays. We highlight that more than 70% of interconnection requests were

         withdrawn from the interconnection queue between 2000 and 2017.133 Although we

         recognize that there are various reasons an interconnection customer may withdraw its

         request from the interconnection queue, a withdrawal indicates an inability to reach

         commercial operation. Because a withdrawal can trigger costly restudies and create



                133
                  Queued Up 2023 at 18 (reporting that 72% of all interconnection requests
         submitted from 2000-2017 were withdrawn).
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         uncertainty in the interconnection process for interconnection customers and transmission

         providers alike, withdrawals of commercially non-viable interconnection requests from

         the interconnection queue is a significant contributing factor to interconnection queue

         backlogs and delays.134 Late-stage withdrawals of interconnection requests are also

         increasing.135 Late-stage withdrawals present a significant problem, as they can trigger

         restudies for other interconnection customers that can result in significant increases to the

         interconnection costs attributed to those customers and the timeline for completion of

         interconnection studies, which can result in further late-stage withdrawals, thus

         exacerbating the interconnection queue backlogs and delays.136

                We also find that interconnection queue backlogs and delays, and the

         accompanying uncertainty, are further compounded because transmission providers have

         limited incentive to perform interconnection studies in a timely manner. Under the

         pro forma LGIP, transmission providers are held to a “reasonable efforts” standard in

         completing interconnection studies consistent with their tariff-imposed deadlines.

         However, this standard offers significant discretion to the transmission providers in

         extending their own deadlines. The record demonstrates that a majority of transmission



                134
                    See, e.g., Ohio Commission Consumer Advocate Initial Comments at 8 (stating
         that “[e]ach withdrawn project entails PJM restudy on lower-queued projects, which
         delays the processing of new service queues and may have the consequence of a cascade
         of withdrawals”).
                135
                      Queued Up 2023 at 22.
                136
                      See, e.g., AEE Initial Comments at 4-5; Queued Up 2023 at 22.
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         providers across the country regularly fail to meet interconnection study deadlines.137

         Despite pervasive delays in completing interconnection studies by transmission

         providers, we acknowledge that transmission providers have faced few, if any,

         consequences for failing to meet their tariff-imposed study deadlines under the

         reasonable efforts standard.138 This outcome stands in stark contrast to interconnection

         customers that face financial and commercial consequences due to late interconnection

         study results and may be considered withdrawn from the interconnection queue for

         failing to meet their tariff-imposed deadlines.139 For these reasons, we find that the

         existing pro forma LGIP requirement for transmission providers to make a reasonable

         effort to meet interconnection study deadlines contributes to the interconnection study

         backlogs, delays, and uncertainty that erects barriers to new generation.140 Therefore, we


                137
                    For example, based on data submitted by transmission providers in compliance
         with Order No. 845, 80% of transmission providers had delayed studies in at least one of
         the past three years (2020-2022) and 57% had delayed studies in at least two. See
         Appendix B, tbls. 3 & 4. See also NARUC Initial Comments at 13 (stating “nearly all
         transmission providers across the country, including many transmission providers that
         have implemented queue reforms, regularly fail to meet interconnection study
         deadlines”).
                138
                    See, e.g., Clean Energy Associations Initial Comments at 43-44 (stating that
         “[a]t present, there is no specific incentive for delivering on-time and accurate studies,
         and late or inaccurate studies bring few if any consequences”).
                139
                   See, e.g., ACE-NY Initial Comments at 3 (“Project developers have strict
         deadlines they must adhere to in the interconnection process, with penalties that include
         the forced withdrawal of the project from the queue.”).
                140
                   See, e.g., NARUC Initial Comments at 13-14 (contending that “the tendency to
         miss deadlines introduces uncertainty in a process that is important to bringing new
         generation online in a timely and cost-effective manner”).
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         find that the use of a reasonable efforts standard in the existing pro forma LGIP results in

         Commission-jurisdictional rates that are unjust and unreasonable.

                Third, the pro forma LGIP includes no requirements regarding how or when

         transmission providers should complete affected system studies. Without requirements,

         affected system studies often lag behind those completed by the transmission provider to

         whose transmission system the interconnection customer proposes to interconnect (the

         so-called host transmission provider) and are sometimes completed very late in the

         interconnection process, causing an additional round of delays and cost uncertainty for

         interconnection customers.141 Additionally, for transmission providers that have

         procedures for how to complete affected system studies in their tariffs or other documents

         (e.g., business practice manuals or joint operating agreements), the procedures are not

         consistent, may be hard for interconnection customers to locate, and may not represent

         the actual practices in use by the transmission provider, thus still creating uncertainty for

         interconnection customers. As a result, we find that the lack of consistent requirements

         for affected system modeling and procedures results in Commission-jurisdictional rates

         that are unjust, unreasonable, and unduly discriminatory or preferential.

                Fourth, we find that the Commission’s pro forma LGIP fails to accommodate the

         operating characteristics and technical capabilities of electric storage resources when it


                141
                   See, e.g., MISO Initial Comments at 72 (stating that “the need to wait for
         affected systems studies is the cause of the majority of delays in the MISO study
         process”); May Joint Task Force Tr. 65:2-8 (Dan Scripps) (citing affected systems studies
         as “a growing source of delay and cost uncertainty for interconnection customers, both in
         terms of just the timelines involved and the difficulty in pinning those down”).
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         comes to specific interconnection procedures and modeling. As stated above, the

         interconnection queues predominantly consist of new technologies which have operating

         characteristics that differ from synchronous resources and were not anticipated when the

         Commission established the pro forma generator interconnection procedures and

         agreements in Order Nos. 2003 and 2006. Specifically, electric storage resources can be

         charged and dispatched on a flexible, as-available basis, and are less likely than

         synchronous generating facilities to withdraw energy from the transmission system

         during peak load conditions or discharge during light load conditions.142 However, the

         existing pro forma generator interconnection procedures and agreements do not

         contemplate these operating characteristics or technical capabilities of electric storage

         resources. As a result, we find that electric storage resources (whether standalone, co-

         located generating facilities, or part of a hybrid generating facility), may be studied under

         inappropriate operating assumptions (e.g., charging at full capacity during peak load

         conditions) that result in assigning unnecessary network upgrades and increased costs to

         interconnection customers. Therefore, we find that the Commission’s pro forma LGIP’s

         lack of ability to modify operating assumptions for electric storage resources results in




                142
                    See, e.g., Bonneville Initial Comments at 22-23 (stating that “storage resources
         are less likely to charge during peak load conditions or discharge during light load
         conditions, and . . . those considerations can be factored into assumptions used in
         interconnection studies”); NARUC Initial Comments at 37 (stating that “assuming that an
         energy storage device will withdraw energy during peak demand . . . fails to recognize
         that those resources are likely to be highly responsive to price signals from the
         transmission provider and can improve reliability”).
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         Commission-jurisdictional rates that are unjust, unreasonable, and unduly discriminatory

         or preferential.

                Additionally, the record supports a finding that the existing pro forma

         interconnection procedures regarding material modifications do not provide for consistent

         evaluation of technology additions to an existing interconnection request.143 We find that

         the record demonstrates that automatically deeming a request to add a generating facility

         to an existing interconnection request to be a material modification creates a significant

         barrier to access to the transmission system.144 As a result, we find the existing

         pro forma LGIP and pro forma LGIA results in Commission-jurisdictional rates that are

         unjust and unreasonable.

                Finally, the record supports a finding that the Commission’s pro forma LGIP and

         pro forma SGIP fail to require the consideration of alternative transmission technologies

         that can be deployed more quickly to be used as network upgrades in place of, and at a

         lower cost than, traditional network upgrades.145 In addition, commenters contend that

         some alternative transmission technologies could provide substantial benefits by


                143
                   See, e.g., NARUC Initial Comments at 35 (stating that the “loss of queue
         position as a result of adding a generating facility that does not increase the requested
         service level or cause reliability issues . . . is an inefficient and discriminatory outcome”).
                144
                See, e.g., AEE Initial Comments at 40-41; Public Interest Organizations Initial
         Comments at 45-47; SEIA Initial Comments at 38-39.
                145
                    See, e.g., NARUC Initial Comments at 38 (stating that “failing to consider
         alternative transmission technologies that can be deployed both more quickly and at
         lower costs than network upgrades may render Commission-jurisdictional rates unjust
         and unreasonable”); OMS Initial Comments at 19 (agreeing that “failing to consider these
         alternative transmission technologies runs the risk of implementing longer lead-time
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         resolving thermal overloads and avoiding voltage collapse, allowing for better use of the

         existing transmission system, improving reliability, and reducing interconnection request

         withdrawals, restudies, and overall interconnection delays.146 We find that failing to

         require transmission providers to evaluate the list of alternative transmission technologies

         enumerated in this final rule results in interconnection customers paying more than is just

         and reasonable to reliably interconnect new generating facilities, resulting in

         Commission-jurisdictional rates that are unjust, unreasonable, and unduly discriminatory

         or preferential. Because the benefits of the enumerated alternative transmission

         technologies identified above are present across all interconnection processes, regardless

         of the size of the interconnection request, we find that the failure to evaluate the

         enumerated alternative transmission technologies results in both the pro forma LGIP and

         pro forma SGIP being unjust, unreasonable, and unduly discriminatory or preferential.




         network upgrades at a higher cost”).
                146
                    See, e.g., AEE Initial Comments at 42 (stating that alternative transmission
         technologies “provide benefits beyond potential cost savings, including maximizing
         limited rights-of-way and potentially avoiding or minimizing environmental and property
         impacts that can bog down siting and permitting proceedings”); Ohio Commission
         Consumer Advocate Initial Comments at 15 (stating that “[t]hese grid-enhancing
         technologies (‘GETs’) can improve operations, enhance system reliability, contribute to
         capacity, and more” and “[s]ome [grid-enhancing technologies] could provide substantial
         benefits by resolving thermal overloads and avoiding voltage collapse, among other
         things”); WATT Coalition Initial Comments at 2 (referring to the report Unlocking the
         Queue with Grid Enhancing Technologies that showed that application of the three grid-
         enhancing technologies in the Kansas and Oklahoma transmission systems would enable
         twice as much renewable energy to interconnect out of the queues without any traditional
         transmission upgrades.).
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                Fifth, we find that the Commission’s existing pro forma LGIP and pro forma

         SGIP do not include a modeling requirement for non-synchronous generating facilities,

         which is necessary to enable the transmission provider to assess and model the facility’s

         ability to respond appropriately to transmission system disturbances. These modeling

         requirements include: (1) a validated, user-defined root mean square (RMS) positive

         sequence dynamic model; (2) an appropriately parameterized, generic library RMS

         positive sequence dynamic model; and (3) a validated electromagnetic transient (EMT)

         model, if the transmission provider performs an EMT study as part of the interconnection

         study process. Additionally, we find that accurate and validated models are necessary to

         address study delays and to ensure that transmission providers identify the necessary

         interconnection facilities and network upgrades to accommodate the interconnection

         request and appropriate assignment of interconnection costs. As a result, we find that the

         lack of a modeling requirement for non-synchronous generating facilities in the pro

         forma LGIP and pro forma SGIP results in rates that are unjust, unreasonable, and unduly

         discriminatory or preferential.

                Furthermore, the physical characteristics of synchronous generating facilities

         allow them to continue to inject electric current during transmission system disturbances,

         as required by the pro forma LGIA and pro forma SGIA. 147 However, non-synchronous

         generating facilities do not face a comparable requirement and many cease injecting


                147
                   Pro forma LGIA art. 9.7.3 and pro forma SGIA art. 1.5.7 require synchronous
         generating facilities to remain “connected to and synchronized with” the transmission
         system during system disturbances.
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         current through “momentary cessation,” which creates reliability issues on the

         transmission system.148 Moreover, without requirements for non-synchronous generating

         facilities to remain connected to and synchronized with the transmission system,

         interconnection studies may not accurately model expected behavior and identify the

         appropriate interconnection facilities and network upgrades to accommodate the

         interconnection request, skewing the assignment of interconnection costs. As a result,

         we find that the lack of comparable requirements for non-synchronous generating

         facilities to remain “connected to and synchronized with the [t]ransmission [s]ystem” in

         the pro forma LGIA and pro forma SGIA results in rates that are unjust, unreasonable,

         and unduly discriminatory or preferential.

                In response to commenters that express broad opposition to the need for reform,

         we disagree with assertions that the existence of regional variation in interconnection

         procedures across the country creates an insufficient legal foundation under FPA section

         206 to demonstrate that rates are unjust, unreasonable, and unduly discriminatory or

         preferential. Similarly, we disagree with assertions that reforms to the pro forma

         generator interconnection procedures and agreements are arbitrary and capricious

         because the problems identified herein do not exist uniformly. As an initial matter, the


                148
                   See, e.g., NERC Initial Comments at 9 (stating that “improper planning and
         operation of [non-synchronous resources] can pose a significant risk to . . . reliability”
         and adding that “risk mitigation measures . . . have been inconsistently adopted by
         industry”); MISO TOs Initial Comments at 32-33 (concurring with the Commission that
         “with more and more non-synchronous generation facilities entering the interconnection
         queue, the lack of a requirement for such resources to respond to system disturbances
         becomes ‘more consequential’”).
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         “Commission may rely on ‘generic’ or ‘general’ findings of a systemic problem to

         support imposition of an industry-wide solution.”149 That some interconnection

         processes may fare better in the face of industry-wide challenges would be “as

         unastonishing as it is irrelevant.”150 The Commission may reasonably rely on rulemaking

         to address the systemic drivers leading to widespread interconnection queue backlogs and

         delays, notwithstanding regional variation among interconnection procedures.

               Moreover, as noted above, every region of the country is seeing an increase in

         both interconnection queue size and the length of time interconnection customers are

         spending in the interconnection queue prior to commercial operation in recent years.151

         Furthermore, the uncertainty and delays in the interconnection queues have resulted in

         fewer than 25% of interconnection requests, by capacity, reaching commercial operation

         between 2000 and 2017 in any region of the country—with some regions as low as 8%.152

         For example, only 10% of interconnection requests, by capacity, have reached

         commercial operation in the non-RTO/ISO southeast region between 2000 and 2017.153

         Additionally, the challenges being faced across the country will be further compounded




               149
                    S.C. Pub. Serv. Auth. v. FERC, 762 F.3d 41, 67 (D.C. Cir. 2014) (quoting
         Interstate Nat. Gas Ass’n of Am. v. FERC, 285 F.3d 18, 37 (2002)).
               150
                     Id. (quoting Wis. Gas v. FERC, 770 F.2d 1144, 1157 (D.C. Cir. 1985)).
               151
                     Queued Up 2023 at 9, 32.
               152
                     Id. at 3, 21.
               153
                     Id. at 21.
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         in the future given the recent spikes in interconnection queue sizes. In the non-RTO/ISO

         southeast region, the interconnection queue size has more than tripled between 2014 and

         2022, with the increase predominantly made up of solar, storage, and hybrid generating

         facilities, adding potential complexity to future interconnection queue study processes.154

         To the extent existing pro forma interconnection procedures, such as first-come, first-

         served study processes, have worked in the past for smaller or less complex queues, such

         experience is not indicative of what will be necessary in the future to ensure that a

         growing number of interconnection requests are processed in a reliable, efficient,

         transparent, and timely manner.155 Finally, as recognized in Order No. 2003,

         interconnection queue delays may “provide[] an unfair advantage to utilities that own

         both transmission and generation facilities,”156 making it exceedingly necessary that

         interconnection delays are addressed in all regions of the country, especially those where

         transmission providers continue to own both transmission and generation.157 As

         discussed above, because interconnection queue backlogs and delays afflict generator

         interconnection service nationwide, which hinders the timely development of new

         generation and thereby stifles competition in the wholesale electric markets, reforms are




                154
                      Id. at 9.
                155
                See, e.g., Public Interest Organization Initial Comments at 17; R Street Initial
         Comments at 3.
                156
                      Order No. 2003, 104 FERC ¶ 61,103 at P 11.
                157
                      See, e.g., Pine Gate Initial Comments at 15; AEE Reply Comments at 22.
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         necessary to ensure Commission-jurisdictional rates are just, reasonable, and not unduly

         discriminatory or preferential.

                We are not persuaded by commenters’ concerns that the reforms proposed in the

         NOPR, many of which we adopt in this final rule, will be counterproductive in addressing

         the need for reform. As discussed in more detail throughout this final rule, we believe

         that the reforms adopted herein, as a whole, will improve the efficiency of study

         processes, reduce interconnection queue backlogs, and thereby ensure just, reasonable,

         and not unduly discriminatory or preferential rates. We believe that, on balance, the

         reforms will produce efficiencies by, for example, reducing speculative interconnection

         requests and interconnection request withdrawals, which in turn will reduce the time and

         resources spent in interconnection studies and restudies thereby decreasing

         interconnection queue backlogs and delays. Additionally, the majority of the individual

         reforms that the Commission proposed in the NOPR and we adopt in this final rule have

         already been implemented in one or more regions in order to improve the interconnection

         process, demonstrating incremental improvements. This final rule uses some of these

         individual and incremental improvements as a basis for a broad suite of reforms that, in

         their entirety, have not yet been adopted by any region and we believe will ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner. In some cases, such as for the

         commercial readiness reforms adopted in this final rule, we have significantly modified

         the NOPR proposal based on comments received.
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                Having concluded that the existing pro forma generator interconnection

         procedures and agreements are unjust, unreasonable, and unduly discriminatory or

         preferential, we turn, as we are required to do under FPA section 206,158 to determining

         the replacement rate, described—at some length—below.

         III.   Reforms

                A.       Reforms to Implement a First-Ready, First-Served Cluster Study
                         Process

                         1.    Interconnection Information Access

                               a.     Need for Reform

                                      i.     NOPR

                The Commission noted its concern regarding the lack of information available to

         prospective interconnection customers regarding potential interconnection costs prior to

         submitting an interconnection request.159 The Commission stated that, without this

         information, it is difficult for interconnection customers to assess the viability of a

         specific proposed generating facility. Subsequently, interconnection customers submit

         multiple speculative interconnection requests in an attempt to obtain information through

         the system impact study process about the costs associated with various project

         configurations. The Commission preliminarily found that the Commission’s pro forma




                158
                   16 USC 824e(a); see, e.g., FERC v. Electric Power Supply Ass’n, 577 US 260,
         277 (2016) (“If FERC sees a violation of [the just and reasonable] standard, it must take
         remedial action.”)
                159
                      NOPR, 179 FERC ¶ 61,194 at P 40.
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         LGIP and pro forma LGIA are unjust, unreasonable, and unduly discriminatory or

         preferential and that reforms are needed to allow interconnection customers to

         interconnect in a reliable, efficient, transparent, and timely manner, thereby ensuring that

         rates, terms, and conditions for Commission-jurisdictional services are just, reasonable,

         and not unduly discriminatory or preferential.160

                                      ii.    Comments

                 Several commenters contend that it is a rational response to a lack of pre-

         interconnection queue information for interconnection customers to submit multiple

         interconnection requests to gain information on which interconnection sites are favorable

         and hedge risks, which leads to withdrawals that exacerbate unmanageable

         interconnection queue backlogs.161 ELCON and Environmental Defense Fund argue that

         the lack of sufficient information and unexpected cost escalation are the primary reasons

         interconnection requests are withdrawn, leading to delays and inefficiencies.162

                 Many commenters agree with the goal of providing additional information prior to

         entering the interconnection queue.163 Some commenters state that additional


                 160
                       Id. P 39.
                 161
                   AES Initial Comments at 3; Affected Interconnection Customers Initial
         Comments at 30; Clean Energy Buyers Initial Comments at 5-6; CREA and NewSun
         Initial Comments at 45; Environmental Defense Fund Initial Comments at 3; ELCON
         Initial Comments at 3; Northwest and Intermountain Initial Comments at 5; Public
         Interest Organizations Initial Comments at 18.
                 162
                       Environmental Defense Fund Initial Comments at 3; ELCON Initial Comments
         at 4.
                 163
                       ACORE Reply Comments at 3; AEE Initial Comments at 9; AEP Initial
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         information prior to entering the interconnection queue is beneficial,164 in particular

         access to information on potential network upgrades and the cost and time to

         interconnect.165 Many commenters expect that potential interconnection customers’

         access to additional information prior to entering the interconnection queue will reduce

         speculative interconnection requests, thus promoting reliability and cost savings by

         encouraging more optimal interconnection requests that can be processed more efficiently

         and at lower overall cost.166

                Several commenters note the importance of additional interconnection information

         access in light of the other reforms proposed in the NOPR. AES contends that it would



         Comments at 12; AES Initial Comments at 3; Affected Interconnection Customers Initial
         Comments at 30; APS Initial Comments at 4; Bonneville Initial Comments at 5; Clean
         Energy Buyers Initial Comments at 7; CREA and NewSun Initial Comments at 44;
         ELCON Initial Comments at 3-4; Enel Initial Comments at 9; Google Initial Comments
         at 15; MISO Initial Comments at 20-21; NARUC Initial Comments at 4; NESCOE Reply
         Comments at 2-3; NY Commission and NYSERDA Initial Comments at 6-8; NYISO
         Initial Comments at 16; NYTOs Initial Comments at 8; Pacific Northwest Utilities Initial
         Comments at 13; PJM Initial Comments at 45; Puget Sound Initial Comments at 5;
         WAPA Initial Comments at 5.
                164
                      AEP Initial Comments at 12; APS Initial Comments at 4.
                165
                 EEI Reply Comments at 7-8; New Jersey Commission Initial Comments at 23;
         NV Energy Initial Comments at 13.
                166
                    Affected Interconnection Customers Initial Comments at 30; Clean Energy
         States Initial Comments at 3; Duke Southeast Utilities Initial Comments at 6;
         Environmental Defense Fund Initial Comments at 3; ELCON Initial Comments at 3-4;
         Fervo Energy Initial Comments at 2-3; Google Initial Comments at 4-5; NARUC Initial
         Comments at 4-5; NESCOE Reply Comments at 3; New Jersey Commission Initial
         Comments at 20-22; New York State Department Initial Comments at 8; Pacific
         Northwest Utilities Initial Comments at 13; Public Interest Organizations Initial
         Comments at 18; Puget Sound Initial Comments at 5; SDG&E Initial Comments at 3-4.
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         be inequitable for the Commission to increase security deposits to stay in the

         interconnection queue under the NOPR proposal to increase study and LGIA deposits

         without requiring transmission providers to provide sufficient information to

         interconnection customers.167 Vistra asserts that the proposals to provide additional

         information will complement the exclusive site control proposals and provide an avenue

         for prospective interconnection customers to select the most viable sites on which to

         obtain rights and develop a location, which is a costly and time-consuming process,

         before entering the interconnection queue.168 Northwest and Intermountain argue that, in

         order for the other proposed reforms in the NOPR to be effective, potential

         interconnection customers must have a solution to the problem of identifying optimal

         interconnection locations and configurations that is timely, cost-effective, and accurate.169

                Google contends that pre-queue information is necessary because there is an

         extreme information asymmetry between independent power producers and transmission

         owners and their generating affiliates, which have greater access to planning information,

         including load growth, relative cost of interconnecting at different points, points of

         chronic congestion where upgrades might be needed, and planned local upgrades.170

         Google asserts that this information asymmetry is particularly pronounced in the non-



                167
                      AES Initial Comments at 13.
                168
                      Vistra Initial Comments at 4.
                169
                      Northwest and Intermountain Initial Comments at 9.
                170
                      Google Initial Comments at 3-4.
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         RTO/ISO regions, and allows transmission owners and their affiliates to identify the best

         locations for interconnection more quickly than independent power producers.

                On the other hand, Dominion argues that there is no evidence in the record that a

         lack of information is slowing down the interconnection queue process or that

         transmission providers are not engaged in good faith reviews of interconnection

         requests.171 According to Dominion, the Commission should focus on making the

         interconnection process more efficient and speedier, and the best way to achieve these

         goals is through the first-ready, first-served cluster study reform. While APPA-LPPC

         support transparency in the generator interconnection process and share the

         Commission’s view that the availability of transmission system information should

         reduce the incentive to submit speculative interconnection requests, they argue that

         sufficient information is currently publicly available.172

                                      iii.   Commission Determination

                We find that, absent reforms to require transmission providers to provide

         additional interconnection information, which can be used by interconnection customers

         prior to submitting an interconnection request, speculative interconnection requests

         will likely remain at current levels and continue to contribute to interconnection study

         delays and add costs to the interconnection process. Although submitting multiple

         interconnection requests to gain information may be a rational response to a lack of


                171
                      Dominion Reply Comments at 8-9.
                172
                      APPA-LPPC Initial Comments at 11.
Document Accession #: 20230728-3060            Filed Date: 07/28/2023
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         pre-interconnection queue information, this practice increases interconnection study

         delays.173 We also agree with commenters that additional access to interconnection

         information is a valuable goal174 as it can increase the likelihood that an interconnection

         request is viable when submitted. We disagree with commenters that current information

         requirements are sufficient.175 While certain information is currently available through

         the feasibility study process, as part of our reforms discussed below, we eliminate the

         feasibility study. Therefore, we find it necessary to provide a means for interconnection

         customers to obtain additional information prior to entering the interconnection queue.

         We concur with comments that additional access to interconnection information prior to

         entering the interconnection queue is important for interconnection customers to make




                173
                   See AES Initial Comments at 3; Affected Interconnection Customers Initial
         Comments at 30; Clean Energy Buyers Initial Comments at 5-6; CREA and NewSun
         Initial Comments at 45; Environmental Defense Fund Initial Comments at 3; ELCON
         Initial Comments at 3; Northwest and Intermountain Initial Comments at 5; Public
         Interest Organizations Initial Comments at 18.
                174
                   ACORE Reply Comments at 3; AEE Initial Comments at 9; AEP Initial
         Comments at 12; AES Initial Comments at 3; Affected Interconnection Customers Initial
         Comments at 30; APS Initial Comments at 4; Bonneville Initial Comments at 5; Clean
         Energy Buyers Initial Comments at 7; CREA and NewSun Initial Comments at 44;
         ELCON Initial Comments at 3-4; Enel Initial Comments at 9; Google Initial Comments
         at 15; MISO Initial Comments at 20-21; NARUC Initial Comments at 4; NESCOE Reply
         Comments at 2-3; NY Commission and NYSERDA Initial Comments at 6-8; NYISO
         Initial Comments at 16; NYTOs Initial Comments at 8; Pacific Northwest Utilities Initial


         Comments at 13; PJM Initial Comments at 45; Puget Sound Initial Comments at 5;
         WAPA Initial Comments at 5.
                175
                      APPA-LPPC Initial Comments at 9.
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         informed decisions, particularly given the increased requirements for interconnection

         customers adopted in this final rule, such as increased study deposits and site control, as

         discussed below.176 We also agree that commenters raise a valid concern that an

         information asymmetry exists between independent power producers and transmission

         owner affiliates, in particular in non-RTO/ISO regions.177

                                b.    Informational Interconnection Study

                                       i.    NOPR Proposal

                In the NOPR, the Commission proposed to revise the Commission’s pro forma

         LGIP to require transmission providers to offer an informational interconnection study

         for prospective interconnection customers.178 The Commission proposed that the

         informational interconnection study would provide cost estimates for the transmission

         provider’s interconnection facilities and network upgrade costs specific to the

         interconnection scenario detailed in the study agreement. The Commission also proposed

         to include new definitions for an informational interconnection study and informational

         interconnection study agreement.




                176
                    AES Initial Comments at 13; Northwest and Intermountain Initial Comments
         at 9; Vistra Initial Comments at 4.
                177
                      Google Initial Comments at 3-5.
                178
                      NOPR, 179 FERC ¶ 61,194 at P 42.
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         Docket No. RM22-14-000                                                                - 65 -

                Under the Commission’s proposal, prospective interconnection customers could

         request up to five separate informational interconnection studies at a time.179 The

         Commission explained that each configuration of an interconnection request would

         require a separate informational interconnection study. The Commission proposed that

         the informational interconnection study would be at the interconnection customer’s

         expense, and each study would require a $10,000 deposit, subject to a true-up based on

         actual study costs.

                The Commission proposed that, within seven business days of the receipt of a

         prospective interconnection customer’s request for an informational interconnection

         study, the transmission provider would have to provide the prospective interconnection

         customer with an informational interconnection study agreement.180 The Commission

         explained that the informational interconnection study agreement would specify the

         technical data that the prospective interconnection customer must provide and an estimate

         of the expected costs of the study, including, to the extent known by the transmission

         provider, an estimate of the study costs expected to be incurred by any relevant affected

         systems. Under the proposal, the prospective interconnection customer would have 10

         business days to execute the agreement and deliver it to the transmission provider, along

         with the relevant technical data and study deposit, after which the transmission provider

         would have 45 calendar days to complete the study.


                179
                      Id. P 43.
                180
                      Id. P 44.
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                The Commission proposed that the informational interconnection study would

         consist of a sensitivity analysis based on the assumptions specified in the informational

         interconnection study agreement.181 Under the proposal, the informational

         interconnection study would identify potential interconnection facilities and network

         upgrades that may be required to interconnect the prospective interconnection customer’s

         proposed generating facility, including an approximation of the costs of such

         interconnection facilities and network upgrades. The Commission noted that the

         transmission provider would also coordinate with affected systems that may be impacted

         by the prospective interconnection customer’s request to provide information on affected

         systems-related issues.

                The Commission proposed an informational interconnection study agreement

         form, which explains that the informational interconnection study is performed solely for

         informational purposes and is not binding on either party.182 The proposed agreement

         also requires the study report to provide specific information, including, at a minimum:

         (1) preliminary identification of any circuit breaker short circuit capability limits

         exceeded; (2) preliminary identification of any thermal overload or voltage limit

         violations; and (3) estimated network upgrade costs related to the identified overloads

         and violations.




                181
                      Id. P 45.
                182
                      Id. P 46.
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                The Commission sought comment on: (1) whether the informational

         interconnection study, as proposed, would provide prospective interconnection customers

         with sufficient and timely information to inform decision-making prior to submitting an

         interconnection request; (2) whether transmission providers should be required to

         establish a request window of a limited number of days each year in which potential

         interconnection customers can request an optional informational interconnection study;

         and (3) the burdens on transmission providers of conducting informational studies and

         whether other options, such as the proposal discussed below for public interconnection

         information, might strike a better balance of providing interconnection customers with

         useful information while making efficient use of transmission provider resources.183

                Additionally, the Commission proposed to add new section 3.1.2 to the pro forma

         LGIP, which provides that interconnection customers evaluating different options (such

         as different sizes, sites, or voltages) are encouraged but not required to use the new

         informational interconnection study proposed in the NOPR before entering the cluster

         study.184

                                         ii.   Comments

                                               (a)   Comments in Support

                Several commenters support the NOPR proposal to require transmission providers

         to offer an informational interconnection study to prospective interconnection


                183
                      Id. PP 47-48.
                184
                      Id. P 66.
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         customers.185 Several commenters agree that the informational interconnection study

         proposal could reduce the number of speculative or other interconnection requests186 and

         improve the efficiency of siting decisions.187 Some commenters expect that these

         changes will have other benefits for the interconnection process, including cost savings

         from fewer and more viable interconnection requests,188 a reduced need for project

         withdrawals and queue restudies,189 and reduced burden on transmission providers, which

         will result in fewer interconnection study delays.190

                MISO and Fervo Energy state that it is helpful for a prospective interconnection

         customer to compare how various MW sizes, points of interconnection, or other scenarios

         could affect costs, especially for prospective interconnection customers that cannot

         perform such analysis in house, and that the NOPR’s informational interconnection study


                185
                    Affected Interconnection Customers Initial Comments at 30; Clean Energy
         States Initial Comments at 4; Consumers Energy Initial Comments at 3; Duke Southeast
         Utilities Initial Comments at 6; Evergreen Action Initial Comments at 3; Fervo Energy
         Initial Comments at 2; Illinois Commission Initial Comments at 6; Interwest Initial
         Comments at 4, 7; NESCOE Reply Comments at 2; Public Interest Organizations Initial
         Comments at 18; Southern Initial Comments at 28; Tesla Initial Comments at 4; Tri-State
         Initial Comments at 5.
                186
                   Fervo Energy Initial Comments at 2-3; Google Initial Comments at 4; NRECA
         Initial Comments at 13; NY Commission and NYSERDA Initial Comments at 6-8.
                187
                 Duke Southeast Utilities Initial Comments at 6-7; ISO-NE Initial Comments at
         18; NARUC Initial Comments at 5; NRECA Initial Comments at 13; Pine Gate Initial
         Comments at 13-14; Tesla Initial Comments at 4.
                188
                      Evergreen Action Initial Comments at 3; NARUC Initial Comments at 5.
                189
                      Evergreen Action Initial Comments at 3; NRECA Initial Comments at 13.
                190
                      Google Initial Comments at 4.
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         proposal would assist in these goals.191 Pacific Northwest Organizations argue that,

         without upfront interconnection cost information, independent power producers may be

         discouraged from entering the interconnection queue if they are subjected to higher

         withdrawal fees, which may result in preventing them from being considered in request

         for proposals (RFPs) in the Pacific Northwest.192

                Some commenters stress the importance of the informational interconnection

         study in light of the other reforms proposed in the NOPR. For instance, Northwest and

         Intermountain aver that the informational study will be the primary resource for

         interconnection customers to demonstrate the feasibility and cost effectiveness of their

         interconnection plan and will serve as the foundation for subsequent negotiations for the

         documents that will establish commercial readiness of their project for the cluster study

         process.193 Pacific Northwest Organizations assert that the NOPR’s proposed

         commercial readiness framework would be problematic in the region without something

         like the informational interconnection study to discover costs before entering the

         queue.194




                191
                      Fervo Energy Initial Comments at 2; MISO Initial Comments at 22.
                192
                      Pacific Northwest Organizations Initial Comments at 3-4.
                193
                      Northwest and Intermountain Initial Comments at 6-7.
                194
                      Pacific Northwest Organizations Initial Comments at 3.
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                Several commenters are generally supportive of the NOPR proposal but either

         (1) offer qualifications to that support195 or (2) request specific changes to the proposal.196

                                             (b)    Comments in Opposition

                Many commenters oppose the NOPR proposal to require transmission providers to

         offer an informational interconnection study to prospective interconnection customers.197

         Many commenters argue that the informational interconnection study proposal could be a




                195
                   Idaho Power Initial Comments at 3 (stating that it only supports the proposal if
         the informational interconnection study requirements are less prescriptive and allow for
         more flexibility); NRECA Initial Comments at 8 (stating that it does not oppose the
         proposal as long as the final rule includes a larger package of reforms to reduce
         speculative interconnection requests and speed up interconnection queues as well as
         affords reasonable flexibility on compliance); Ohio Commission Consumer Advocate
         Initial Comments at 6 (stating that informational studies should not interfere with other
         interconnection studies).
                196
                    ACE-NY Initial Comments at 10; Avangrid Initial Comments at 21; Clean
         Energy Buyers Initial Comments at 7; ELCON Initial Comments at 4-5; NY Commission
         and NYSERDA Initial Comments at 6-7; Pattern Energy Initial Comments at 20; Pine
         Gate Initial Comments at 11-13; Southern Initial Comments at 28.
                197
                    AECI Initial Comments at 3; AEP Initial Comments at 7; AEP Reply
         Comments at 2; APPA-LPPC Initial Comments at 3; Avangrid Initial Comments at 21;
         Bonneville Initial Comments at 3; CAISO Initial Comments at 5; Clean Energy
         Associations Initial Comments at 13; Dominion Reply Comments at 5; EEI Initial
         Comments at 11; EEI Reply Comments at 7-8; Enel Initial Comments at 9; ENGIE Initial
         Comments at 2; Eversource Initial Comments at 5; Indicated PJM TOs Initial Comments
         at 12; Indicated PJM TOs Reply Comments at 14; Longroad Energy Reply Comments at
         3; NextEra Initial Comments at 5; NextEra Reply Comments at 8; North Dakota
         Commission Initial Comments at 3-4; NV Energy Initial Comments at 14; OMS Initial
         Comments at 5; Ørstead Initial Comments at 7; PG&E Initial Comments at 9; PJM Initial
         Comments at 45; PPL Initial Comments at 4; SEIA Initial Comments at 3; SPP Initial
         Comments at 2, 3-4; Vermont Electric and Vermont Transco Initial Comments at 3;
         WIRES Initial Comments at 8.
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         burden or divert resources,198 which they contend would increase delays for the

         interconnection queue and other studies.199 Dominion insists that the decision as to

         whether to offer informational interconnection studies should be the transmission


               198
                   AECI Initial Comments at 3; AEE Reply Comments at 5-6; AEP Initial
         Comments at 7-8; AEP Reply Comments at 2; AES Initial Comments at 4; Alliant
         Energy Initial Comments at 4; APPA-LPPC Initial Comments at 9; APS Initial
         Comments at 5; Bonneville Initial Comments at 3; CAISO Initial Comments at 6; Clean
         Energy Buyers Initial Comments at 6; Clean Energy States Initial Comments at 4;
         Dominion Reply Comments at 5-6; Environmental Defense Fund Reply Comments at 5;
         EEI Initial Comments at 11-12; EEI Reply Comments at 8-9; ELCON Initial Comments
         at 4-5; Enel Initial Comments at 9; ENGIE Initial Comments at 2; Eversource Initial
         Comments at 5; Google Initial Comments at 5; Idaho Power Initial Comments at 3;
         Indicated PJM TOs Initial Comments at 12; Indicated PJM TOs Reply Comments at 14;
         Longroad Energy Reply Comments at 4-5; MISO Reply Comments at 17; National Grid
         Initial Comments at 9; NESCOE Reply Comments at 2; NextEra Reply Comments at 8-9,
         11-12; New Jersey Commission Initial Comments at 21; North Dakota Commission
         Initial Comments at 3-4; NRECA Initial Comments at 14; NV Energy Initial Comments
         at 14; NYISO Initial Comments at 16; OMS Initial Comments at 5; Pine Gate Initial
         Comments at 12; PPL Initial Comments at 4-6; SDG&E Initial Comments at 3-4; SEIA
         Initial Comments at 3; SEIA Reply Comments at 4; SoCal Edison Initial Comments at
         12; Tesla Initial Comments at 4; Vermont Electric and Vermont Transco Initial
         Comments at 3; WIRES Initial Comments at 8.
               199
                   AECI Initial Comments at 3; AEP Initial Comments at 7-8; AEP Reply
         Comments at 2-3; AES Initial Comments at 4; Alliant Energy Initial Comments at 4; APS
         Initial Comments at 4; Bonneville Initial Comments at 3; CAISO Initial Comments at 6;
         Dominion Initial Comments at 9; Duke Southeast Utilities Initial Comments at 7-8;
         Environmental Defense Fund Reply Comments at 5; EEI Initial Comments at 11;
         ELCON Initial Comments at 4-5; Eversource Initial Comments at 5-6; Google Initial
         Comments at 5; Idaho Power Initial Comments at 3; Indicated PJM TOs Initial
         Comments at 13; MISO Reply Comments at 17; National Grid Initial Comments at 7,
         10-11; NESCOE Reply Comments at 2; NextEra Reply Comments at 8; New Jersey
         Commission Initial Comments at 21; North Dakota Commission Initial Comments at 3-4;
         NRECA Initial Comments at 14; NYISO Initial Comments at 16-19; OMS Initial
         Comments at 5; Pennsylvania Commission Initial Comments at 11; PG&E Initial
         Comments at 9; PG&E Reply Comments at 5; Pine Gate Initial Comments at 12; PJM
         Initial Comments at 45; PPL Initial Comments at 4; SEIA Initial Comments at 4; SoCal
         Edison Initial Comments at 12; Tesla Initial Comments at 4.
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         provider’s and must have limits.200 Longroad Energy states that transmission-

         interconnected generating facilities are typically complex facilities with unique operating

         characteristics which would be poorly approximated in simplified studies.201

         Environmental Defense Fund states that, while it supported the informational

         interconnection studies proposal in its initial comments, after review of the other

         comments submitted, it recommends that the Commission reconsider the proposal and

         ensure that any informational interconnection study reform not delay other

         interconnection processes.202

                Several commenters contend that the informational interconnection study proposal

         would not likely be valuable.203 Clean Energy Associations assert that the proposed


                200
                      Dominion Reply Comments at 5.
                201
                      Longroad Energy Reply Comments at 7.
                202
                      Environmental Defense Fund Reply Comments at 5.
                203
                   AEE Initial Comments at 9-10; AEE Reply Comments at 5-6; AEP Initial
         Comments at 7; AEP Reply Comments at 2; Alliant Energy Initial Comments at 4;
         CAISO Initial Comments at 5-6; Clean Energy Associations Initial Comments at 14;
         CREA and NewSun Initial Comments at 42; Dominion Reply Comments at 5; EEI Initial
         Comments at 12; EEI Reply Comments at 8; Enel Initial Comments at 9; ENGIE Initial
         Comments at 2; Eversource Initial Comments at 5-6; Indicated PJM TOs Initial
         Comments at 12; Indicated PJM TOs Reply Comments at 14; ISO-NE Initial Comments
         at 19; Longroad Energy Reply Comments at 3; MISO Initial Comments at 20-21; MISO
         Reply Comments at 17-18; NextEra Initial Comments at 5, 10-11; NextEra Reply
         Comments at 9; North Dakota Commission Initial Comments at 4; NRECA Initial
         Comments at 14; NV Energy Initial Comments at 14; NYISO Initial Comments at 17;
         OMS Initial Comments at 5; Pacific Northwest Utilities Initial Comments at 8 n.13;
         PG&E Initial Comments at 9; PG&E Reply Comments at 4; PJM Initial Comments at 45;
         SDG&E Initial Comments at 3-4; SEIA Initial Comments at 3; SEIA Reply Comments at
         3; SoCal Edison Initial Comments at 11-12; WIRES Initial Comments at 8.
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         informational interconnection study would provide no information related to stability-

         driven network upgrades, rendering it near-useless in areas where stability limits are most

         typically the driver of network upgrades.204 APPA-LPPC warn that informational

         interconnection studies could engender controversy because prospective interconnection

         customers would, notwithstanding the informational nature of the studies, likely rely

         upon the study results in making investment decisions, even though the informational

         study results would inevitably diverge from the actual interconnection study results.205

                Several commenters argue that the proposal is not an improvement over the status

         quo.206 National Grid and NextEra assert that it is unclear how the proposal would save

         any time compared to the status quo, and that the best way for an interconnection

         customer to obtain the necessary information is by entering and proceeding through the

         interconnection queue with transmission providers focusing on actual studies.207 NextEra

         adds that the proposed informational interconnection study is only informative in extreme

         cases, such as very limited capacity available on a transmission line, which the

         interconnection customer should be able to identify themselves.208




                204
                      Clean Energy Associations Initial Comments at 14.
                205
                      APPA-LPPC Initial Comments at 12.
                206
                National Grid Initial Comments at 9; New Jersey Commission Initial
         Comments at 21; Vermont Electric and Vermont Transco Initial Comments at 3.
                207
                      National Grid Initial Comments at 9; NextEra Initial Comments at 12.
                208
                      NextEra Initial Comments at 12.
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                CREA and NewSun express concern that the NOPR proposal places too much

         reliance on the usefulness of the informational interconnection study in order to justify

         the financial readiness and commitment NOPR proposals.209 They assert that the

         informational interconnection study is not a useful replacement for the feasibility study,

         which takes into account the impact of other interconnection customers in the

         interconnection queue cluster. Therefore, CREA and NewSun ask the Commission to

         instead retain the feasibility study as part of the cluster study process to allow

         interconnection customers to obtain cluster-level information on likely costs and network

         upgrades before proceeding further with major deposits and irretrievable commitments.

                Several commenters point to the experience with similar studies in SPP and MISO

         as evidence that the optional informational interconnection study proposal will be little-

         used in practice.210 SPP reports that its interconnection customers explained that their

         time could be more effectively spent working on the more definitive system impact

         studies, that the feasibility and preliminary impact studies did not provide results that




                209
                      CREA and NewSun Initial Comments at 46-47.
                210
                   AEE Initial Comments at 10; AEP Initial Comments at 8,12; Clean Energy
         Associations Initial Comments at 14; Enel Initial Comments at 9-10; Longroad Energy
         Reply Comments at 3-4; MISO Initial Comments at 21; NextEra Reply Comments at 8;
         Omaha Public Power Initial Comments at 3; SEIA Reply Comments at 3; SPP Initial
         Comments at 3. NextEra argues that transmission providers with large numbers of
         interconnection requests have tried optional interconnection studies and have not found
         them to be useful. NextEra Reply Comments at 10.
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         could be relied on in making business decisions, and that this same outcome would be

         true of the proposed informational interconnection study.211

                Several commenters point to the inability of the informational interconnection

         studies to provide reliable cost estimates212 and believe that the information provided in

         these studies will be quickly outdated.213 The New Jersey Commission is concerned that

         this approach may not materially reduce the uncertainty interconnection customers

         currently face.214 In particular, many commenters contend that the informational

         interconnection study is not meaningful in the context of a cluster interconnection

         process.215 Commenters argue that, because the informational interconnection study does

         not provide information on other interconnection customers that would enter the


                211
                      SPP Initial Comments at 3.
                212
                   AEP Initial Comments at 8; Ameren Initial Comments at 5; CAISO Initial
         Comments at 5; Clean Energy Associations Initial Comments at 14; CREA and NewSun
         Initial Comments at 43; Cyprus Creek Initial Comments at 13; Enel Initial Comments at
         9; Interwest Initial Comments at 7-8; NextEra Initial Comments at 5; NRECA Initial
         Comments at 14; PJM Initial Comments at 45; SoCal Edison Initial Comments at 11-12.
                213
                   AEP Initial Comments at 8; Alliant Energy Initial Comments at 4; Dominion
         Initial Comments at 10; Enel Initial Comments at 9; Eversource Initial Comments at 9;
         Interwest Initial Comments at 7-8; PJM Initial Comments at 45; PJM TOs Initial
         Comments at 13; SEIA Reply Comments at 4.
                214
                      New Jersey Commission Initial Comments at 21.
                215
                    Id.; AEE Initial Comments at 9-10; Avangrid Initial Comments at 23-24; Clean
         Energy Associations Initial Comments at 14; CREA and NewSun Initial Comments at 43;
         Dominion Reply Comments at 6; EEI Initial Comments at 12; EEI Reply Comments at 8;
         Enel Initial Comments at 9; Eversource Initial Comments at 9-10; ISO-NE Initial
         Comments at 18-19; MISO Initial Comments at 21; NRECA Initial Comments at 14;
         NV Energy Initial Comments at 14; PJM Initial Comments at 45; PPL Initial Comments
         at 5; SEIA Initial Comments at 4-5; SEIA Reply Comments at 3-4; SoCal Edison Initial
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         interconnection queue at the same time, there is no guarantee that the study results will

         even approximate the actual network upgrade costs determined by the cluster results.216

                Some commenters expect the proposal will work against the Commission’s goal of

         faster interconnection queue processing.217 Some commenters state that any reduction in

         speculative interconnection requests will be offset by an increase in speculative

         informational interconnection requests, which would require transmission providers to

         shift their focus from the actual interconnection queue to this more burdensome

         informational interconnection process, which is outside of their interconnection study

         process.218 NRECA states that, if the proposal is included in the final rule, the




         Comments at 12; SPP Initial Comments at 2-3.
                216
                    AEE Initial Comments at 9-10; CAISO Initial Comments at 5-6; CREA and
         NewSun Initial Comments at 44; Dominion Initial Comments at 10; Duke Southeast
         Utilities Initial Comments at 7; EEI Reply Comments at 8; Indicated PJM TOs Initial
         Comments at 13; ISO-NE Initial Comments at 18-19; MISO Initial Comments at 22;
         NextEra Initial Comments at 11-12; New Jersey Commission Initial Comments at 21;
         PG&E Reply Comments at 5; PPL Initial Comments at 5; SEIA Reply Comments at 3-4;
         SoCal Edison Initial Comments at 12.
                217
                  AEE Reply Comments at 6; AEP Initial Comments at 11; Avangrid Initial
         Comments at 22-23; CAISO Initial Comments at 6; Dominion Reply Comments at 6-7;
         National Grid Initial Comments at 7; NESCOE Reply Comments at 2; NV Energy Initial
         Comments at 14; Pennsylvania Commission Initial Comments at 11-12.
                218
                    AECI Initial Comments at 4; AEP Initial Comments at 11; APPA-LPPC Initial
         Comments at 11-12; Bonneville Initial Comments at 3 (citing NOPR, 179 FERC ¶ 61,194
         at PP 20, 22, 166); Clean Energy Buyers Initial Comments at 6; Dominion Reply
         Comments at 6; NextEra Initial Comments at 12; NYISO Initial Comments at 17;
         Pennsylvania Commission Initial Comments at 11 (explaining that because the
         informational study is not binding on any party, the study does not move projects through
         the interconnection queue).
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         Commission should ensure that it is limited and is not expanded into an elaborate serial

         study process prior to the cluster study process.219 Avangrid notes that some transmission

         providers have recently eliminated interconnection studies to reduce interconnection

         queue processing time.220 Pennsylvania Commission asserts that the Commission should

         assess the results of the NOPR’s proposed reforms before requiring any new study

         processes that may further slow the interconnection queue process.221

                Several commenters note the challenge of staffing to fulfill the informational

         interconnection study requirements given the limited number of qualified planners and

         engineers.222

                Several commenters urge the Commission to weigh the benefits against the

         burdens to determine whether to adopt the informational interconnection study

         proposal.223 WAPA states that, while it agrees that it is important to provide prospective

         interconnection customers with additional information, it has concerns about the




                219
                      NRECA Initial Comments at 14.
                220
                      Avangrid Initial Comments at 23 (citing NOPR, 179 FERC ¶ 61,194 at P 56
         n.111).
                221
                      Pennsylvania Commission Initial Comments at 11-12.
                222
                   Id. at 11; AEP Initial Comments at 10-11; APPA-LPPC Initial Comments at
         12; Avangrid Initial Comments at 22-23; Bonneville Initial Comments at 5; Eversource
         Initial Comments at 5-6; Indicated PJM TOs Initial Comments at 12; Indicated PJM TOs
         Reply Comments at 14; LADWP Initial Comments at 2; OMS Initial Comments at 5.
                223
                Ameren Initial Comments at 5; R Street Initial Comments at 9; Xcel Initial
         Comments at 20.
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         proposed timelines and penalties, the potential amount of informational interconnection

         study requests it could receive, and its ability to process up to five simultaneous

         informational interconnection study requests per interconnection customer.224 According

         to Vermont Electric and Vermont Transco, even if the informational interconnection

         studies envisioned by the NOPR provide interconnection customer benefits, the burdens

         of providing informational interconnection studies with cost estimates under the NOPR’s

         short proposed time frames and low deposit amounts would be considerable especially

         for smaller companies such as Vermont Electric and Vermont Transco.225 Other

         commenters contend that the informational interconnection study proposal has

         insufficient benefits.226

                Given PJM’s opposition to the informational interconnect study, it recommends

         modifying the proposed new section 3.1.2 to the pro forma LGIP to encourage, but not

         require, interconnection customers evaluating different project characteristics to use a

         prescreening tool, such as the queue scope tool PJM is developing, prior to submitting an

         interconnection request.227


                224
                      WAPA Initial Comments at 4-5.
                225
                      Vermont Electric and Vermont Transco Initial Comments at 3.
                226
                   Id.; AEP Initial Comments at 7; AES Initial Comments at 4; EEI Initial
         Comments at 11; ENGIE Initial Comments at 2; NextEra Initial Comments at 10-11;
         Ørstead Initial Comments at 7; PJM Initial Comments at 45; SEIA Initial Comments at 3.
                227
                    PJM Initial Comments at 19 (explaining that the queue scope is an interactive
         prescreening tool that will allow interconnection customers to screen potential points of
         interconnection and assess grid capacity (head room) based on a given amount of MW
         injection or withdrawal at a given point of interconnection and that the tool will be
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                                     iii.   Commission Determination

                We decline to adopt the NOPR proposal to modify the pro forma LGIP to require

         transmission providers to offer an informational interconnection study for prospective

         interconnection customers. We are persuaded by commenters’ concerns that requiring an

         informational interconnection study could divert the transmission provider’s resources

         away from the cluster studies we require in this final rule and undermine the benefits of

         those reforms that seek to reduce interconnection study delays, costs, and burden on

         constrained engineering labor. Moreover, we agree with commenters that highlight the

         various limitations of an informational interconnection study. Notably, an informational

         interconnection study, as proposed in the NOPR, would have provided a serial, snapshot-

         in-time analysis on the impact of a single interconnection request, but, in the context of

         the subsequent cluster study, the actual impact of an interconnection request within a

         larger cluster would reflect different assumptions and differ from the informational

         interconnection study, providing minimal or no value to interconnection customers. The

         cost estimates that result from such an informational interconnection study would bear

         little correspondence to costs determined during a cluster study process and thus provide

         minimal value to interconnection customers.

                We also find persuasive comments that the informational interconnection study

         requirement proposed in the NOPR is not the most effective way to provide


         available at no charge). PJM’s proposed section 3.1.2 of the pro forma LGIP would read:
         “Interconnection Customers evaluating different options . . . to use the prescreening tool
         (Section 6.1 of this LGIP) before entering the Cluster Study.”
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         interconnection customers with the needed pre-interconnection queue information. At

         the same time, we continue to believe that there is a lack of information available to

         prospective interconnection customers prior to entering the interconnection queue,

         especially given other interconnection customer-related reforms adopted in this final

         rule.228 Therefore, as discussed below, we adopt the NOPR proposal to set minimum

         requirements for transmission providers to publicly post available information pertaining

         to generator interconnection.229 We find that the posting of this information provides a

         better balance between the benefits of additional information for prospective

         interconnection customers and the burdens on transmission providers.

                In response to commenters that support the informational interconnection study

         NOPR proposal, below we explain how several of the NOPR proposals that we adopt in

         this final rule address their specific concerns. To address commenters’ concerns with the

         number of speculative interconnection requests,230 we adopt more stringent site control

         requirements and increased commercial readiness deposit requirements,231 which we

         believe will better address these concerns than the informational interconnection study

         proposal. Additionally, we find that the minimum requirements for transmission




                228
                      See Northwest and Intermountain Initial Comments at 6-7.
                229
                      See infra Section III.A.1.c.iii.
                230
                   Fervo Energy Initial Comments at 2-3; Google Initial Comments at 4; NRECA
         Initial Comments at 13; NY Commission and NYSERDA Initial Comments at 6-8.
                231
                      See infra Sections III.A.6.b.iii, III.A.6.c.iii.
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         providers to publicly post available information pertaining to generator interconnection232

         and the existing requirements in section 2.3 of the pro forma LGIP for transmission

         providers to post up-to-date base case study models on their Open Access Same-time

         Information System (OASIS) or other password-protected websites will improve the

         efficiency of siting decisions233 and will provide interconnection customers with

         information about the feasibility of their interconnection plans.234

                We are not persuaded that the informational interconnection study proposal would

         benefit the interconnection process through: (1) cost savings from fewer, more feasible

         interconnection requests;235 (2) a reduced need for interconnection request withdrawals

         and restudies;236 and (3) accurate upfront interconnection cost information.237 On the

         contrary, the Commission’s adoption of the cluster study reforms in this final rule238

         means that the serial nature of the informational interconnection study would fail to



                232
                      See infra Section III.A.1.c.iii.
                233
                 Duke Southeast Utilities Initial Comments at 6-7; ISO-NE Initial Comments at
         18; NARUC Initial Comments at 5; NRECA Initial Comments at 13; Pine Gate Initial
         Comments at 13-14; Tesla Initial Comments at 4.
                234
                  Northwest and Intermountain Initial Comments at 6-7; Pacific Northwest
         Organizations Initial Comments at 3.
                235
                      Evergreen Action Initial Comments at 3; NARUC Initial Comments at 5.
                236
                      Evergreen Action Initial Comments at 3; NRECA Initial Comments at 13.
                237
                  Fervo Energy Initial Comments at 2; MISO Initial Comments at 22; Pacific
         Northwest Organizations Initial Comments at 3-4.
                238
                      See infra Section III.A.2.
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         reflect the outcome of the cluster study, and thus would provide minimal, if any, benefits

         to interconnection customers.239 We also no longer believe that adopting the

         informational interconnection study proposal would reduce burdens on transmission

         providers.240 This is because the record overwhelmingly demonstrates that the proposal

         would result in additional burdens on transmission providers and would likely cause

         transmission providers to divert resources from their cluster study process to conduct

         informational interconnection studies,241 thus increasing study delays and costs.

         Similarly, we decline CREA and NewSun’s request that the Commission retain the


                239
                    See AEE Initial Comments at 9-10; Avangrid Initial Comments at 23-24; Clean
         Energy Associations Initial Comments at 14; CREA and NewSun Initial Comments at 43;
         Dominion Reply Comments at 6; EEI Initial Comments at 12; EEI Reply Comments at 8;
         Enel Initial Comments at 9; Eversource Initial Comments at 9-10; ISO-NE Initial
         Comments at 18-19; MISO Initial Comments at 21; New Jersey Commission Initial
         Comments at 21; NRECA Initial Comments at 14; NV Energy Initial Comments at 14;
         PJM Initial Comments at 45; PPL Initial Comments at 5; SEIA Initial Comments at 4-5;
         SEIA Reply Comments at 3-4; SoCal Edison Initial Comments at 12; SPP Initial
         Comments at 2-3.
                240
                   See Google Initial Comments at 5 (arguing that the informational
         interconnection study requirement alone would likely increase the burden on transmission
         providers in a way that would lengthen delays).
                241
                   Id.; AECI Initial Comments at 3; AEE Reply Comments at 5-6; AEP Initial
         Comments at 7-8; AEP Reply Comments at 2; AES Initial Comments at 4; Alliant
         Energy Initial Comments at 4; APPA-LPPC Initial Comments at 9; APS Initial
         Comments at 5; Bonneville Initial Comments at 3; CAISO Initial Comments at 6; Clean
         Energy Buyers Initial Comments at 6; Clean Energy States Initial Comments at 4;
         Dominion Reply Comments at 5-6; Environmental Defense Fund Reply Comments at 5;
         EEI Initial Comments at 11-12; EEI Reply Comments at 8-9; ELCON Initial Comments
         at 4-5; Enel Initial Comments at 9; ENGIE Initial Comments at 2; Eversource Initial
         Comments at 5; Idaho Power Initial Comments at 3; Indicated PJM TOs Initial
         Comments at 12; Indicated PJM TOs Reply Comments at 14; Longroad Energy Reply
         Comments at 4-5; MISO Reply Comments at 17; National Grid Initial Comments at 9;
         NESCOE Reply Comments at 2; New Jersey Commission Initial Comments at 21;
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         feasibility study instead of the informational interconnection study. As we discuss below,

         the feasibility study was required for the serial study process but is no longer relevant for

         the cluster study process.242 We believe that our requirement for transmission providers

         to publicly post certain interconnection information will provide interconnection

         customers with the information they need prior to entering the interconnection queue, and

         therefore decline to adopt CREA and NewSun’s request to maintain the feasibility study.

                Because we do not adopt the NOPR proposal to require transmission providers to

         offer an informational interconnection study, we decline to adopt the proposal to add new

         section 3.1.2 to the pro forma LGIP to encourage interconnection customers to use the

         informational interconnection study.

                                 c.      Public Interconnection Information

                                         i.     NOPR Proposal

                In the NOPR, the Commission proposed to require transmission providers to

         maintain and make publicly available an interactive visual representation of available

         interconnection capacity (commonly known as a “heatmap”) as well as a table of relevant

         interconnection metrics that allow prospective interconnection customers to see certain



         NextEra Reply Comments at 8-9, 11-12; North Dakota Commission Initial Comments at
         3-4; NRECA Initial Comments at 14; NV Energy Initial Comments at 14; NYISO Initial
         Comments at 16; OMS Initial Comments at 5; Pine Gate Initial Comments at 12; PPL
         Initial Comments at 4-6; SDG&E Initial Comments at 3-4; SEIA Initial Comments at 3;
         SEIA Reply Comments at 4; SoCal Edison Initial Comments at 12; Tesla Initial
         Comments at 4; Vermont Electric and Vermont Transco Initial Comments at 3; WIRES
         Initial Comments at 8.
                242
                      See infra Section III.A.2.f.iii.
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         estimates of a potential generating facility’s effect on the transmission provider’s

         transmission system.243 Specifically, the Commission proposed to revise section 6.4 of

         the pro forma LGIP to require transmission providers to post on their public website a

         heatmap of estimated incremental injection capacity (in MW) available at each bus in the

         transmission provider’s footprint under N-1 conditions, as well as provide a table of

         results showing the estimated impact of the addition of a proposed project (based on the

         user-specified MW amount, voltage level, and point of interconnection) for each

         monitored facility impacted by the proposed project on: (1) the distribution factor;

         (2) the MW impact (based on the proposed project size and the distribution factor); (3)

         the percentage impact on the monitored facility (based on the MW values of the proposed

         project and the monitored facility rating); (4) the percentage of power flow on the

         monitored facility before the proposed project; and (5) the percentage power flow on the

         monitored facility after the injection of the proposed project. The Commission explained

         that these metrics would be calculated based on the power flow model of the cluster study

         or restudy with the transfer simulated from each bus to the whole transmission provider’s

         footprint (to approximate Network Resource Interconnection Service (NRIS)), and with

         the incremental capacity at each bus decremented by the existing and queued generation

         in the cluster (based on the existing or requested interconnection service limit of the

         generation). The Commission proposed to require transmission providers to update this

         information within 30 days after the completion of each cluster study and restudy.


                243
                      NOPR, 179 FERC ¶ 61,194 at P 51.
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                The Commission sought comment on whether: (1) there are any security concerns

         with this proposed requirement; and (2) the assumptions specified for the analysis are the

         right set of assumptions.244

                                        ii.   Comments

                                              (a)   Comments in Support

                Many commenters express support for the NOPR’s proposal to require

         transmission providers to provide public interconnection information.245 Several

         commenters agree that the NOPR proposal will provide valuable information to

         interconnection customers before they enter the interconnection queue.246 Several


                244
                      Id. P 52.
                245
                   ACE-NY Initial Comments at 11; AES Initial Comments at 3; Affected
         Interconnection Customers Initial Comments at 30; APPA-LPPC Initial Comments at 13;
         CAISO Initial Comments at 7; CESA Initial Comments at 7; Clean Energy Associations
         Initial Comments at 12; Clean Energy Buyers Initial Comments at 6-7; Colorado
         Commission Initial Comments at 8; Consumers Energy Initial Comments at 3; CREA and
         NewSun Initial Comments at 44-45; Duke Southeast Utilities Initial Comments at 6;
         Environmental Defense Fund Initial Comments at 3; Environmental Defense Fund Reply
         Comments at 2-3; ELCON Initial Comments at 4; ENGIE Initial Comments at 2;
         Evergreen Action Initial Comments at 3; Fervo Energy Initial Comments at 2; Google
         Initial Comments at 14; Google Reply Comments at 6; Illinois Commission Initial
         Comments at 6; Interwest Initial Comments at 7; New Jersey Commission Initial
         Comments at 11-12; Northwest and Intermountain Initial Comments at 9-10; NY
         Commission and NYSERDA Initial Comments at 8; Ørsted Initial Comments at 7;
         Pattern Energy Initial Comments at 23; Pine Gate Initial Comments at 13; Public Interest
         Organizations Initial Comments at 18-19; R Street Initial Comments at 8, 10; Southern
         Initial Comments at 28; Tesla Initial Comments at 6-7; Vistra Initial Comments at 1, 4.
                246
                    Alliant Energy Initial Comments at 5; Clean Energy Associations Initial
         Comments at 12; CREA and NewSun Initial Comments at 44-45; Duke Southeast
         Utilities Initial Comments at 6; EEI Initial Comments at 12-13; ELCON Initial
         Comments at 6; ENGIE Initial Comments at 2; Evergreen Action Initial Comments at 3;
         Fervo Energy Initial Comments at 2-3; Illinois Commission Initial Comments at 6;
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         commenters aver that the proposal could reduce the number of interconnection requests

         withdrawn247 and therefore could reduce costs for all parties.248 Alliant Energy and Clean

         Energy Associations also see value in the standardized format of the proposed public

         interconnection information.249 R Street states that a properly done visual representation

         of interconnection capacity can be a “powerful decentralized self-screening tool.”250

         R Street states that better information and simpler deliverability requirements shift

         congestion performance risk to generating facilities while reducing barriers to entry.251

         The Ohio Commission Consumer Advocate states that the visual map of available

         interconnection capacity would be useful both to transmission providers and


         Indicated PJM TOs Initial Comments at 14; Indicated PJM TOs Reply Comments 6; ISO-
         NE Initial Comments at 26-27; New Jersey Commission Initial Comments at 12; NY
         Commission and NYSERDA Initial Comments at 8; Ohio Commission Consumer
         Advocate Initial Comments at 7; Pacific Northwest Utilities Initial Comments at 13;
         SEIA Initial Comments at 5.
                247
                    CESA Initial Comments at 9; CESA Reply Comments at 3; Consumers Energy
         Initial Comments at 3; CREA and NewSun Initial Comments at 44-45; Duke Southeast
         Utilities Initial Comments at 6; Environmental Defense Fund Initial Comments at 3; EEI
         Initial Comments at 12-13; ELCON Initial Comments at 6; Evergreen Action Initial
         Comments at 3; Google Initial Comments at 14; Illinois Commission Initial Comments at
         6-7; New Jersey Commission Initial Comments at 12; NY Commission and NYSERDA
         Initial Comments at 8; Pacific Northwest Utilities Initial Comments at 13; SEIA Initial
         Comments at 5.
                248
                Evergreen Action Initial Comments at 3; New Jersey Commission Initial
         Comments at 12.
                249
                Alliant Energy Initial Comments at 5; Clean Energy Associations Initial
         Comments at 12.
                250
                      R Street Initial Comments at 10.
                251
                      R Street Reply Comments at 2.
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         interconnection customers and would encourage information sharing on transmission

         system congestion during the interconnection process.252 Google argues that making

         these data publicly available to consumers would allow buyers to make informed choices

         regarding power procurement.253 Additionally, Google asserts that there needs to be a

         standard of reasonable care applied to ensure that the publicly available information is

         reasonably current and useful to avoid exploratory interconnection requests.254 SEIA

         argues that greater transparency will increase competition between merchant and utility

         developed generating facilities, benefiting consumers.255 Illinois Commission contends

         that, if properly implemented, the NOPR proposal will increase the pace at which new

         generating facilities can connect to the transmission system, furthering state policy

         objectives.256

                Some commenters contend that the proposal to provide public interconnection

         information is not overly burdensome.257 APPA-LPPC members report that the

         information posting and interactive capability described in the NOPR could be feasibly


                252
                      Ohio Commission Consumer Advocate Initial Comments at 7.
                253
                      Google Initial Comments at 4.
                254
                      Google Reply Comments at 7.
                255
                      SEIA Reply Comments at 5.
                256
                      Illinois Commission Initial Comments at 6.
                257
                APPA-LPPC Initial Comments at 16; Clean Energy Associations Initial
         Comments at 12-13; Google Initial Comments at 14; New York State Department Initial
         Comments at 8; Pennsylvania Commission Initial Comments at 13; SEIA Initial
         Comments at 6.
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         implemented with available industry system simulation tools.258 Clean Energy

         Associations state that heatmaps should be as automated as possible, without significant

         commitments of staff or resources.259

                Several commenters point to the fact that some transmission providers are already

         developing such tools as evidence that these tools are unlikely to cause further delays to

         stressed interconnection queues or additional burden on transmission providers.260 For

         instance, some commenters note that MISO already offers a heatmap that represents

         geographically advantageous siting locations.261 Several commenters also note that PJM

         is developing such a tool.262 PJM states that in 2023 its queue scope tool will provide a

         congestion map with colors or symbols indicating the worst flowgate loading at each

         point of interconnection.263 SPP states that it is also developing a tool to be implemented




                258
                      APPA-LPPC Initial Comments at 16.
                259
                      Clean Energy Associations Initial Comments at 13.
                260
                Id. at 12; Environmental Defense Fund Reply Comments at 3; ENGIE Initial
         Comments at 2-3; Pennsylvania Commission Initial Comments at 13.
                261
                CESA Reply Comments at 5; Fervo Energy Reply Comments at 3; OMS Initial
         Comments at 3, 6; R Street Initial Comments at 10; SEIA Initial Comments at 6.
                262
                   CESA Reply Comments at 4; Fervo Energy Reply Comments at 3; Indicated
         PJM TOs Initial Comments at 14; Ohio Commission Consumer Advocate Initial
         Comments at 7; Pennsylvania Commission Initial Comments at 13; PJM Initial
         Comments at 48; PPL Initial Comments at 9; R Street Initial Comments at 10; SEIA
         Initial Comments at 6.
                263
                      PJM Initial Comments at 46-47.
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         by 2025 that would provide much of the functionality described in the Commission’s

         public information proposal to new interconnections.264

                Several commenters contend that the public information proposal is a more

         reasonable balance of costs and benefits relative to the informational interconnection

         study proposal.265 Pennsylvania Commission states that, once a public information tool is

         established, it may require fewer ongoing resources, continuing to inform interconnection

         customers while freeing those resources for additional interconnection studies as

         compared to the proposed informational interconnection study.266

                                             (b)    Comments in Opposition

                A few commenters oppose the NOPR proposal to require transmission providers

         to provide public interconnection information.267 A larger number of commenters

         express reservations about the proposal,268 in particular regarding its usefulness269 or the



                264
                      SPP Initial Comments at 4.
                265
                   Ameren Initial Comments at 5; APPA-LPPC Initial Comments at 16; APS
         Initial Comments at 5; Bonneville Initial Comments at 5; Pennsylvania Commission
         Initial Comments at 13; PJM Initial Comments at 45-48; R Street Initial Comments at 10.
                266
                      Pennsylvania Commission Initial Comments at 13.
                267
                   Avangrid Reply Comments at 4; El Paso Electric Initial Comments at 8; PG&E
         Initial Comments at 9.
                268
                   AEP Initial Comments at 13; Idaho Power Initial Comments at 3; NextEra
         Initial Comments at 12-13; Omaha Public Power Initial Comments at 4; PacifiCorp Initial
         Comments at 13-14; SPP Initial Comments at 4; Tri-State Initial Comments at 4; WAPA
         Initial Comments at 7-8.
                269
                   AEP Initial Comments at 13; Idaho Power Initial Comments at 3; ISO-NE
         Initial Comments at 17; Longroad Energy Reply Comments at 7; Omaha Public Power
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         burden it creates.270 Other commenters request that the Commission make public

         interconnection information posting optional.271

                Several commenters argue that the proposal to require transmission providers to

         provide public interconnection information is not useful,272 particularly because it might

         not provide sufficient detail273 or commercially actionable information for

         interconnection customers.274 Commenters explain that heatmaps are specific to a

         moment in time and thus not representative of actual available injection across the

         transmission system, which is ever-changing.275 NextEra observes that heatmaps do not

         contain actionable information for interconnection and instead focus on energy prices and


         Initial Comments at 4; PacifiCorp Initial Comments at 13-14; SPP Initial Comments at 4;
         WAPA Initial Comments at 7-8.
                270
                   AECI Initial Comments at 5; Dominion Initial Comments at 12; National Grid
         Initial Comments at 7; NextEra Initial Comments at 12-13; Omaha Public Power Initial
         Comments at 4; PacifiCorp Initial Comments at 13-14; SPP Initial Comments at 4.
                271
                AEP Initial Comments at 13; Avangrid Initial Comments at 21-22; SPP Initial
         Comments at 4.
                272
                   Dominion Initial Comments at 13; Idaho Power Initial Comments at 3; ISO-NE
         Initial Comments at 17; NextEra Initial Comments at 12; New York State Department
         Initial Comments at 8; NYISO Initial Comments at 17; Omaha Public Power Initial
         Comments at 4; PacifiCorp Initial Comments at 14.
                273
                 AECI Initial Comments at 5; Dominion Initial Comments at 13; Longroad
         Energy Reply Comments at 7; National Grid Initial Comments at 8; New York State
         Department Initial Comments at 8; Omaha Public Power Initial Comments at 4.
                274
                   AEE Initial Comments at 9; Cypress Creek Initial Comments at 13; NextEra
         Initial Comments at 12.
                275
                 AECI Initial Comments at 5; AEP Initial Comments at 13; New York State
         Department Initial Comments at 8; NYISO Initial Comments at 17.
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         congestion.276 ISO-NE, MISO, and Omaha Public Power note that a visual

         representation of interconnection capacity cannot account for all of the conditions

         identified in a system impact study, including different system stresses, operability issues

         (e.g., N-1-1), stability and voltage issues, and weak transmission system issues.277

         Longroad Energy asserts that generator interconnection heatmaps or hosting capacity

         maps can be of some use for interconnections to the distribution system but are unlikely

         to be beneficial for projects interconnecting at transmission voltages.278

                Some commenters do not believe that the heatmap proposal will appreciably

         reduce speculative interconnection requests.279 MISO explains that, in its experience,

         few interconnection customers use its interconnection heatmap tool and instead tend to

         use their own tools.280 Puget Sound states that, even with a heatmap, if an

         interconnection customer has a request that would require energy transfer across

         balancing authorities, it would have to submit an interconnection request to get

         information on the scope of necessary network upgrades.281 NV Energy asserts that a

         heatmap of its transmission system would be of little value, appearing as though there is


                276
                      NextEra Initial Comments at 12.
                277
                 ISO-NE Initial Comments at 17; MISO Initial Comments at 26 (citing NOPR,
         179 FERC ¶ 61,194 at P 50 & n.105); Omaha Public Power Initial Comments at 4.
                278
                      Longroad Energy Reply Comments at 7.
                279
                      Idaho Power Initial Comments at 3; PPL Initial Comments at 9.
                280
                      MISO Initial Comments at 25-26.
                281
                      Puget Sound Initial Comments at 6.
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         no available transfer capacity, because the generation in its interconnection queue is more

         than five times the level of NV Energy load.282 Meanwhile, Puget Sound states that a

         heatmap of its territory would only account for generation and interconnection capacity in

         its balancing authority footprint even though its transmission goes beyond this

         footprint.283

                Several commenters contend that a heatmap tool as proposed would be less useful

         in a cluster study than it is in a serial process because it cannot include similarly queued

         generation.284 Ohio Commission Consumer Advocate questions whether it will capture

         the “dynamic elements” of cluster studies and restudies.285 PacifiCorp and AEP state that

         the mere fact that an area is not shown as congested on a heatmap does not mean that it

         will be a suitable interconnection location, particularly if multiple interconnection

         customers seek to interconnect there.286

                Longroad Energy and PacifiCorp express concern that the heatmap tools would

         not be restricted to prospective interconnection customers and could instead be used by




                282
                      NV Energy Initial Comments at 10.
                283
                      Puget Sound Initial Comments at 6.
                284
                 CAISO Initial Comments at 8; CREA and NewSun Initial Comments at 48;
         Duke Southeast Utilities Initial Comments at 6-7; MISO Initial Comments at 26; Ohio
         Commission Consumer Advocate Initial Comments at 7; PacifiCorp Initial Comments at
         15.
                285
                      Ohio Commission Consumer Advocate Initial Comments at 7.
                286
                      AEP Initial Comments at 13; PacifiCorp Initial Comments at 15.
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         third-party consultants for their own business interests; for instance, real estate

         speculators could use the information to secure exclusive site control for locations that

         show significant generator interconnection capacity.287 According to Longroad Energy,

         such risk is particularly harmful to wind and solar generation interconnection customers’

         needs for large tracts of land to accommodate their generation equipment.288

                Some commenters assert that maintaining the heatmap and posting required

         information on available interconnection capacity would be burdensome for transmission

         providers, especially in non-RTO/ISO regions.289 Similarly, NV Energy states that it

         participates in the CAISO energy imbalance market and its energy management system

         does not currently have the technical functionality to build an interactive map that shows

         information like the available interconnection capacity.290 Some commenters argue that

         the heatmaps may provide insufficient benefit to justify cost, resources, and time it would

         take to produce them.291 Omaha Public Power further asserts that interconnection




                287
                      Longroad Energy Reply Comments at 7; PacifiCorp Initial Comments at 15.
                288
                      Longroad Energy Reply Comments at 7.
                289
                    National Grid Initial Comments at 7-8; PacifiCorp Initial Comments at 13; Tri-
         State Initial Comments at 7.
                290
                      NV Energy Initial Comments at 10.
                291
                   Dominion Initial Comments at 13; National Grid Initial Comments at 8;
         NextEra Initial Comments at 12; New York State Department Initial Comments at 8;
         Omaha Public Power Initial Comments at 4; Pacific Northwest Utilities Initial Comments
         at 14; PPL Initial Comments at 9; Tri-State Initial Comments at 4; WAPA Initial
         Comments at 7.
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         customers will likely find it more valuable for a transmission provider invest in more

         reliable and consequential studies.292 Pacific Northwest Utilities assert that the

         Commission should present additional data regarding the benefits of requiring a heatmap

         before mandating their use.293 Clean Energy Associations recommend that the

         Commission consider other means of increasing information to prospective

         interconnection customers, such as public scoping meetings prior to the prospective

         interconnection customers entering the interconnection queue.294

                Some commenters express concern that the public information proposal will

         impose new costs on ratepayers and market participants.295 WAPA states that, given its

         defined appropriations and budgets, it is difficult to create new programs, unlike for larger

         investor-owned utilities or RTOs/ISOs.296 Dominion estimates that implementation would

         require a large up-front financial commitment, potentially for third-party software and

         personnel hours, and longer-term financial commitment to maintain such a site.297




                292
                      Omaha Public Power Initial Comments at 4.
                293
                      Pacific Northwest Utilities Initial Comments at 14.
                294
                      Clean Energy Associations Initial Comments at 14.
                295
                New York State Department Initial Comments at 8; SoCal Edison Initial
         Comments at 13.
                296
                      WAPA Initial Comments at 7.
                297
                      Dominion Initial Comments at 12.
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         NV Energy contends that creating such a heatmap showing interconnection capabilities

         would require finding an eligible software, an ongoing expense.298

                 Several commenters speak to the burden of additional staffing needs to provide

         public interconnection information. National Grid states that the interactive visual

         representation tool, even if contracted from a third party, would require significant time

         commitments from numerous personnel with relevant and advanced expertise in

         transmission and interconnection engineering.299 Tri-State notes that the Commission has

         recognized the lack of available engineers and that imposing a heatmap requirement

         would exacerbate the problem.300 Dominion and Duke Southeast Utilities state that any

         additional process would require additional financial and personnel resources, and also

         burden the same personnel that are already engaged in managing the interconnection

         queue.301 El Paso Electric argues that transmission providers should not be required to

         allocate human resources from interconnection studies to monthly transmission line

         capacity estimates because the staff reallocation could cause interconnection study

         backlogs.302 PacifiCorp states that this burden will be particularly onerous to




                 298
                       NV Energy Initial Comments at 10.
                 299
                       National Grid Initial Comments at 7-8.
                 300
                       Tri-State Initial Comments at 8.
                 301
                       Dominion Initial Comments at 13; Duke Southeast Utilities Initial Comments
         at 7.
                 302
                       El Paso Electric Initial Comments at 7.
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         transmission providers outside RTO/ISO regions, which have comparatively few

         transmission staff available.303

                Several commenters suggest that interconnection customers, on their own or with

         consultants, can perform studies with the available information that would provide

         estimates on available capacity similar to that produced under the NOPR proposal.304

         PPL states that interconnection customers can make their own such maps using

         transmission planning models the Commission makes available following a Freedom of

         Information Act request.305 APPA-LPPC argue that the Commission fails to establish

         that the information already available to prospective interconnection customers under the

         existing pro forma LGIP, along with the substantial supplement implemented with Order

         No. 845, is inadequate.306 SoCal Edison states that the information included in the NOPR

         proposal and more is already available if interconnection customers request it from the

         Commission for their own studies or use studies developed by transmission providers.307

         The Ohio Commission Consumer Advocate states that the determination of a suitable site




                303
                      PacifiCorp Initial Comments at 13.
                304
                  Id. at 15; AEP Initial Comments at 8; APPA-LPPC Initial Comments at 9;
         El Paso Electric Initial Comments at 7; PPL Initial Comments at 9; SoCal Edison Initial
         Comments at 14.
                305
                      PPL Initial Comments at 9.
                306
                      APPA-LPPC Initial Comments at 9.
                307
                      SoCal Edison Initial Comments at 14.
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         depends largely on the location and geography of the resources, which is publicly

         available from national labs and the U.S. Energy Information Administration.308

                Several commenters state that sufficient data are already required to be posted on

         OASIS.309 According to Idaho Power, Order No. 2003-A required interconnection study

         reports to be publicly available and provide locational and cost information for previously

         studied interconnections, but this has not reduced the amount of interconnection requests

         at congested locations.310 SoCal Edison and NYISO state that this information is already

         available in FERC Form 715, where it is protected with a non-disclosure agreement as

         critical energy infrastructure information (CEII) and has the benefit of being available in

         one centralized location.311 On the other hand, ACE-NY disagrees with the assertion that

         FERC Form 715 provides sufficient information for interconnection customers to do their

         own analysis, asserting that the FERC Form 715 database base cases do not contain

         sufficient data about the generation interconnection queue and study assumptions and are

         therefore inadequate.312 Rather, ACE-NY argues that more detailed base cases such as

         those currently being made available by MISO and PJM, should be required.




                308
                      Ohio Commission Consumer Advocate Initial Comments at 6-7.
                309
                   Duke Southeast Utilities Initial Comments at 6-7; Idaho Power Initial Comments
         at 3; NV Energy Initial Comments at 10; PacifiCorp Initial Comments at 14-15.
                310
                      Idaho Power Initial Comments at 3.
                311
                      NYISO Initial Comments at 17; SoCal Edison Initial Comments at 14.
                312
                      ACE-NY Reply Comments at 3-4.
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                Several commenters state that the usefulness of public interconnection information

         proposal will depend on the implementation details.313 For example, Illinois Commission

         and CESA recognize that the accuracy of the heatmaps is an important part of how useful

         they will be.314 Puget Sound states that it has considered creating such a heatmap but has

         concerns about its effectiveness given implementation challenges.315 SPP states that

         technology, information, and tools are quickly evolving and that a standardization tool

         might be obsolete before it is implemented.316 CESA explains that currently CAISO

         provides static, snapshot-in-time transmission capability estimates that are helpful but do

         not capture locational granularity or other projects already in the interconnection queue,

         making it difficult to make an informed project siting decision and at times requiring data

         requests of CAISO.317 For this reason, CESA stresses that the heatmaps and associated

         data must be made available in a user-friendly format. CREA and NewSun argue that the

         Commission should be careful not to overestimate the ability to forecast interconnection

         costs and project viability that will ultimately result from a cluster study.318 Several

         commenters stress that any potential increase in transparency and interconnection process


                313
                  CESA Initial Comments at 8-9; Illinois Commission Initial Comments at 6;
         Puget Sound Initial Comments at 6; SPP Initial Comments at 4.
                314
                      CESA Initial Comments at 9; Illinois Commission Initial Comments at 6.
                315
                      Puget Sound Initial Comments at 6.
                316
                      SPP Initial Comments at 4.
                317
                      CESA Initial Comments at 8.
                318
                      CREA and NewSun Initial Comments at 48.
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         performance resulting from this proposal must outweigh the additional burden imposed

         on transmission providers.319

                                              (c)    Comments on Specific Proposal

                                                     (1)   Metrics

                While some commenters agree with the Commission’s proposed table of

         metrics,320 multiple commenters suggest additional metrics that should be posted.321 For

         instance, Public Interest Organizations request information on the available

         interconnection capacity (including, at a minimum, a snapshot of existing available

         interconnection capacity and associated transmission during high load conditions for each

         substation) including projects already in the interconnection queue, and the capacity those

         projects are requesting,322 as well as metrics on whether power flows from a point of

         interconnection are likely to serve low income and people of color communities (which

         would be consistent with Executive Order 13985).323 Other commenters suggest that the


                319
                  Cypress Creek Initial Comments at 14; EEI Initial Comments at 12-13;
         Eversource Initial Comments at 11; New Jersey Commission Initial Comments at 22-23;
         New York State Department Initial Comments at 8-9.
                320
                      NOPR, 179 FERC ¶ 61,194 at P 51.
                321
                    Ameren Initial Comments at 5; Bonneville Initial Comments at 7; Clean
         Energy Buyers Initial Comments at 7-8; MISO Initial Comments at 25 (agreeing that the
         five data points are sufficient but adding that, if the first is provided, then prospective
         interconnection customers can calculate the other four).
                322
                      Public Interest Organizations Initial Comments at 19-20.
                323
                   Public Interest Organizations Reply Comments at 11-12 (citing 16 U.S.C. 824(a);
         Nat’l Ass’n for Advancement of Colored People v. FPC, 425 U.S. 662, 669-670 (1976);
         Executive Order 13985, “Executive Order on Advancing Racial Equity and Support for
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         posted metrics should also include: circuit strength and the harmonics of transmission

         system elements;324 limiting elements at a substation or associated transmission

         infrastructure;325 the level of congestion and resource curtailment by location (historic,

         current, and/or expected);326 overload conditions;327 contingencies that drive the impacts

         to the monitored facility;328 for a given transmission line, information on the circuit (e.g.,

         single or double), the conductor type, pole types, the ratings of the equipment, and the

         age of the equipment;329 flowgate data, such as disconnect switches, breakers,

         transformers, conductors, series reactors, and ground clearances of lines;330 change file

         models of network upgrades for deliverability in advance of providing study results;331




         Underserved Communities Through the Federal Government” (Jan. 20, 2021)); see also
         Navajo Utility Initial Comments at 9.
                324
                      SEIA Initial Comments at 6.
                325
                   AES Initial Comments at 5-7; Hannon Armstrong Initial Comments at 2;
         Pattern Energy Initial Comments at 23; Public Interest Organizations Initial Comments at
         19.
                326
                   AEP Initial Comments at 13; Clean Energy Associations Initial Comments at
         12; Pine Gate Initial Comments at 14.
                327
                      Ameren Initial Comments at 6; R Street Initial Comments at 10.
                328
                      Pattern Energy Initial Comments at 23.
                329
                      NextEra Initial Comments at 11.
                330
                   AES Initial Comments at 6; Pattern Energy Initial Comments at 23; Pine Gate
         Initial Comments at 14; SEIA Reply Comments at 4.
                331
                AES Initial Comments at 5; Pine Gate Initial Comments at 14; SEIA Reply
         Comments at 5.
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         base case models paired with contingencies including local contingencies (below

         200 kV);332 incremental injection capacity available at each bus in the transmission

         provider’s footprint under N-1 conditions with a five-year outlook;333 the rating of the

         monitored facility;334 estimated costs of interconnection or transmission service,

         including where interconnection is likely to be costly and not costly;335 proposed

         upgrades in the region that could affect interconnection requests;336 lists of potential

         upgrades that would be needed to export power to other regions or that would allow the

         transmission provider to increase injection capacity at each substation;337 more granular

         load growth data, defined by region, which could be combined with existing and planned

         generation and congestion to view anticipated system changes;338 and the share that all

         generating facilities contribute to a network upgrade along with their share of allocated

         costs.339 Tesla requests information that would particularly developers of non-



                332
                      AES Initial Comments at 5; SEIA Reply Comments at 5.
                333
                      AES Initial Comments at 5; SEIA Reply Comments at 5.
                334
                      Pattern Energy Group Initial Comments at 23; SEIA Reply Comments at 5.
                335
                      Bonneville Initial Comments at 5; Eversource Initial Comments at 11.
                336
                   Ørsted Initial Comments at 7; Pattern Energy Initial Comments at 23; Public
         Interest Organizations Initial Comments at 19; SEIA Reply Comments at 5.
                337
                  Clean Energy Associations Initial Comments at 13; Public Interest
         Organizations Initial Comments at 20-21.
                338
                      Google Initial Comments at 6, 14.
                339
                      AES Initial Comments at 5-7, 13-14.
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         synchronous generating facilities to decide what project controls might be best suited for

         a given point of interconnection, including: the number of generating facilities and

         power control devices (including series compensation systems, static synchronous

         compensator devices and other power control devices) that are two busses away from the

         given point of interconnection; the circuit breaker short circuit ratings of the nearest

         substation; and the maximum and minimum fault current in megavolt amperes (MVA) at

         the given point of interconnection.340

                Several commenters highlight that additional information regarding transmission

         system conditions, such as previous cluster studies and models, posted in a secure way

         subject to CEII processes, would allow interconnection customers to conduct their own

         initial analyses of system conditions and desirable points of interconnection.341 SoCal

         Edison states that, alternatively, the transmission providers could identify areas where

         new generation is desired, guided by state processes identifying the locations that can

         accommodate additional generation currently or locations intended for types of

         generation sought state policy.342




                340
                      Tesla Initial Comments at 7.
                341
                   ACE-NY Initial Comments at 11; AES Initial Comments at 5; Clean Energy
         States Alliance Initial Comments at 4; CREA and NewSun Initial Comments at 47;
         ENGIE Initial Comments at 3; NextEra Reply Comments at 9; PJM Initial Comments at
         7; PPL Initial Comments at 9; SEIA Reply Comments at 4.
                342
                      SoCal Edison Initial Comments at 14-15.
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                Some commenters oppose these requests for additional metrics. Dominion notes

         that tracking and providing the information requested by Public Interest Organizations,

         including documenting the study process, providing enhanced interconnection queue

         tracking, and metrics on constraints that cause bottlenecks, would be burdensome, taking

         engineers’ time, slowing down the cluster study process, and diverting resources.343 EEI

         and WIRES contend that certain information on transmission line design, such as circuit

         type, conductor type, and pole type, would be overly burdensome and offer little benefit,

         adding that this information could invite potential disputes or be used to threaten to the

         reliability of the transmission system or for commercial gain if the information is not

         subject to confidentiality protections.344 EEI also asserts that any additional information

         beyond that proposed in the NOPR would complicate the interconnection process by

         adding another potential area of dispute and risks potential “backseat driving” by the

         interconnection customer, while the transmission provider is responsible for performing

         and standing by its study results.345

                Some commenters disagree as to the appropriate level of granularity of the

         required metrics. SEIA and ENGIE support the NOPR proposal to require transmission

         providers to post bus-level interconnection capacity constraints.346 Dominion disagrees,


                343
                      Dominion Reply Comments at 8.
                344
                      EEI Reply Comments at 9-10; WIRES Reply Comments at 5-6.
                345
                      EEI Reply Comments at 9-10.
                346
                      ENGIE Initial Comments at 2-3; SEIA Initial Comments at 5.
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         arguing that requiring capacity constraint information to be provided at the bus-level is

         outside the scope of the NOPR and would not necessarily be useful in a networked

         system where injection at one bus will affect the capability at other buses and significant

         additional power flow analysis would be required to determine these values at each

         bus.347 According to Dominion, information about bus-level interconnection capacity

         constraints makes more sense where the system is radial in nature and injection capability

         at one bus is not dependent on contingencies or injections at another bus. Eversource

         adds that bus level information will not provide significant benefits because it may be too

         simplistic if it is not based on N-1 conditions or if it fails to incorporate stability

         considerations.348 Public Interest Organizations state that many utilities provide hosting

         capacity information on their websites at the distribution level in heatmaps or tables, in

         particular to help distributed solar interconnection customers, and this information is

         required by states and updated regularly.349 Public Interest Organizations ask the

         Commission to require analogous hosting capacity information to be provided by

         transmission providers for all potential generation locations with exemptions for urban

         substations where there is limited potential for generation development. PJM requests




                347
                      Dominion Reply Comments at 8-9.
                348
                      Eversource Initial Comments at 11.
                349
                   Public Interest Organizations Initial Comments at 20 (citing National
         Renewable Energy Laboratory, Advanced Hosting Capacity Analysis,
         https://www.nrel.gov/solar/market-research-analysis/advanced-hosting-capacity-
         analysis.html).
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         that, rather than requiring that all buses be made available in a large RTO/ISO, a

         transmission provider should be allowed to screen and only present the majority of the

         feasible points of interconnection.350 As an alternative to providing information at every

         bus, Tri-State states that a transmission provider could post the most recent cluster study

         to provide information for the buses that were studied as opposed to studying all buses on

         the system, while also making clear that the heatmap does not reflect interconnection

         requests in neighboring systems.351 Similarly, Bonneville argues that cluster studies

         would not provide the incremental injection capacity at each bus on the transmission

         provider’s system, which would warrant a separate study, and therefore, transmission

         providers should be afforded flexibility to provide this capacity information as it becomes

         available.352

                Some commenters argue that the proposed heatmap is not an ideal way to present

         public interconnection information. For instance, Illinois Commission states that it is not

         immediately evident what information maps posted to an RTO/ISO website would

         reflect.353 For example, Illinois Commission questions whether congestion maps would

         reflect present congestion or congestion that might arise after generating facilities

         interconnect. Fervo Energy states that additional research might be needed to determine


                350
                      PJM Initial Comments at 48-49.
                351
                      Tri-State Initial Comments at 8.
                352
                      Bonneville Initial Comments at 6-7.
                353
                      Illinois Commission Initial Comments at 6.
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         the most useful informational suite.354 Clean Energy Associations proposes, and SEIA

         supports, that two maps, one for Energy Resource Interconnection Service (ERIS) and

         one for capacity or NRIS, should be made available where appropriate, and notes that in

         ISO-NE overlapping impact analysis is used to determine eligibility for capacity NRIS.355

         Finally, Clean Energy Associations and ISO-NE recommend that the Commission

         consider allowing information to be qualitative, such that, rather than a “hosting map,”

         transmission providers could post a map and accompanying report regarding system

         conditions at various points on the transmission system.356

                                                    (2)     Security of Critical Information

                  Several commenters express concern that the NOPR’s proposed heatmap and/or

         metrics may create a security risk357 by, among other things, indicating areas where

         transmission is heavily loaded and more vulnerable to interference.358 In particular,

         LADWP and Bonneville express concerns over sharing distribution factor and MW



                  354
                        Fervo Energy Reply Comments at 3.
                  355
                        Clean Energy Associations Initial Comments at 12; SEIA Reply Comments
         at 5.
                  356
                        Clean Energy Associations Reply Comments at 3; ISO-NE Initial Comments
         at 17.
                  357
                EEI Reply Comments at 9-10; Indicated PJM TOs Initial Comments at 15;
         LADWP Initial Comments at 3; NRECA Initial Comments at 16-17; PacifiCorp Initial
         Comments at 16; PPL Initial Comments at 8; SoCal Edison Initial Comments at 13-14;
         WIRES Reply Comments at 5-6.
                  358
                LADWP Initial Comments at 3; PacifiCorp Initial Comments at 16; PPL Initial
         Comments at 8.
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         impact, which they believe could identify highly stressed transmission lines, as well as

         concerns with identifying the line locations, which are not currently provided publicly.359

         LADWP further expresses concern with CEII issues that may arise from publicly

         releasing a table of metrics regarding the estimated impact of a potential generating

         facility.360

                 Other commenters counter that the security risks associated with the NOPR

         proposal are reasonable or non-existent. For example, Pacific Northwest Utilities and

         Puget Sound states that the purpose of the heatmap is to provide an overview of

         interconnection capacity, which is unlikely to implicate CEII, and thus the risk of

         unrestricted critical infrastructure information should be low.361 Indicated PJM TOs and

         PPL state that a visual map with limited information, excluding reliability constraints or

         other particular information that could be used to identify vulnerabilities, could be made

         public without security concerns and highlight PJM as a good example of this.362 Xcel

         states that it does not have security concerns about posting estimated injection capacity




                 359
                       Bonneville Initial Comments at 6; LADWP Initial Comments at 3.
                 360
                       LADWP Initial Comments at 3.
                 361
                Pacific Northwest Utilities Initial Comments at 15; Puget Sound Initial
         Comments at 6-7.
                 362
                       Indicated PJM TOs Initial Comments at 14-15; PPL Initial Comments at 8-9.
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         but that some of the more detailed information should be limited.363 MISO states that it

         is currently unaware of any security concerns associated with the proposal.364

                While SoCal Edison and Southern assert that there should be no requirement on

         transmission providers to make public or display any CEII or confidential information,365

         other commenters contend that the CEII label should not be used to unreasonably impede

         interconnection customers’ access to interconnection information necessary to understand

         the cost and other impacts of locating their projects in different areas of the transmission

         system.366 Some commenters recommend that the Commission require transmission

         providers to make CEII data available only to interconnection customers who meet

         restricted access requirements, such as through a secure portal or subject to a

         confidentiality agreement.367 Pattern Energy asks that this information be made available

         through a cost-free process that takes no longer than two weeks,368 and Pine Gate adds

         that the retrieval of this information should not require background checks, as required by




                363
                      Xcel Initial Comments at 22.
                364
                      MISO Initial Comments at 27.
                365
                      SoCal Edison Initial Comments at 14; Southern Initial Comments 28.
                366
                   CESA Reply Comments at 4; Google Reply Comments at 7; Pattern Energy
         Initial Comments at 24.
                367
                 Google Reply Comments at 7; Indicated PJM TOs Initial Comments at 15;
         ISO-NE Initial Comments at 17; NRECA Initial Comments at 16; Pattern Energy Initial
         Comments at 24; SEIA Initial Comments at 6; SEIA Reply Comments at 5.
                368
                      Pattern Energy Initial Comments at 24.
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         certain transmission providers.369 EEI suggests that transmission providers should have

         the discretion to identify sensitive information that should be withheld.370 Clean Energy

         States add that the Commission may want to limit access to permitted users, controlling

         the copying and dissemination of data, or take other security measures.371

                                                    (3)    Miscellaneous

                SEIA requests that the Commission require transmission providers to use the most

         recent available study models as well as the most recently completed system impact study

         in creating their data results.372

                A few commenters express concern with the proposal to require updated

         information 30 days after the completion of each cluster study and restudy and instead

         request that the Commission allow for regional flexibility on the timing of updates.373

         MISO states that, as written, the NOPR proposal would require it to update the tool

         available to help interconnection customers pre-screen for potential points of

         interconnection each time a regional system impact study is issued, which would be

         numerous times during a calendar year due to the configuration of MISO’s transmission



                369
                      Pine Gate Initial Comments at 14.
                370
                      EEI Initial Comments at 13.
                371
                      Clean Energy States Initial Comments at 5.
                372
                      SEIA Initial Comments at 6.
                373
                   Bonneville Initial Comments at 8; El Paso Electric Initial Comments at 7;
         MISO Initial Comments at 26; Pacific Northwest Utilities Initial Comments at 14; PJM
         Initial Comments at 49; Tri-State Initial Comments at 7.
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         system.374 PJM states that it is not feasible for an RTO/ISO as large as PJM to update an

         interactive public interconnection information tool within 30 days after completing a

         cluster restudy.375 PJM states that, once the tool includes light load results, it will be

         uploading four to six datasets a year with each dataset including millions of points of

         interconnection flowgate records, which may eventually not be feasible to maintain from

         a storage perspective. According to El Paso Electric, the interconnection queue changes

         often as interconnection customers withdraw their requests and therefore transmission

         providers should not be required to update capacity line estimates monthly because the

         burden on staff could increase interconnection study delays.376 Tri-State explains that

         only a subset of buses and lines are studied in each cluster study, so to require an estimate

         of the injection capacity at every bus in each cluster study to be posted within 30 days

         would greatly increase the scope and cost and would likely have a negative impact on the

         time to complete the study and cause rates to increase.377

                On the other hand, Ørsted notes that any system representation needs to be

         frequently updated to be useful and avoid the risk of becoming out-of-date,378 and Public

         Interest Organizations state that hosting capacity data should be updated at least



                374
                      MISO Initial Comments at 26-27.
                375
                      PJM Initial Comments at 49.
                376
                      El Paso Electric Initial Comments at 7.
                377
                      Tri-State Initial Comments at 7.
                378
                      Ørsted Initial Comments at 6.
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         quarterly.379 Environmental Defense Fund argues that the public interconnection

         information should be updated immediately at the end of each cluster request window so

         that interconnection customers using that information are informed of generating

         facilities being studied that may impact transmission capacity.380

                                                     (4)    Requests for Flexibility

                Several commenters request flexibility from the Commission with respect to the

         particular information included in a potential heatmap.381 Dominion asserts that the

         proposal is overly prescriptive and that the Commission should focus on the goal itself

         rather than uniformity.382 Clean Energy Associations state that the heatmaps may need to

         be tailored to the services offered by a particular transmission provider, because their

         services are not uniform.383 Several commenters claim that flexibility will help ensure

         that the information provided is useful and understandable, and will place a reasonable

         level of burden on transmission providers.384 MISO states that flexibility is reasonable



                379
                      Public Interest Organizations Initial Comments at 20.
                380
                      Environmental Defense Fund Initial Comments at 3.
                381
                    Avangrid Initial Comments at 21-22; Bonneville Initial Comments at 6-8;
         Dominion Initial Comments at 14; MISO Initial Comments at 27; NY Commission and
         NYSERDA Initial Comments at 8; NYTOs Initial Comments at 8; Pacific Northwest
         Utilities Initial Comments at 14; PJM Initial Comments at 48; Puget Sound Initial
         Comments at 6; SEIA Initial Comments at 6; Southern Initial Comments at 28; SPP
         Initial Comments at 4; WAPA Initial Comments at 7-8.
                382
                      Dominion Initial Comments at 13.
                383
                      Clean Energy Associations Initial Comments at 12.
                384
                      Avangrid Initial Comments at 21-22; Bonneville Initial Comments at 6-8;
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         given the burden on transmission providers of maintaining a heatmap tool relative to the

         limited value of frequent updates given that few interconnection customers use this tool

         and its inability to include future queued projects that will be relevant to the prospective

         interconnection customer.385 Bonneville also argues that flexibility is needed to ensure

         consistency with security requirements.386 On the other hand, Cypress Creek asserts that,

         as a broad consideration, the particular types of information to be made transparent that

         are valuable should be determined by the Commission in consultation with market

         participants who are best positioned to identify information relevant to financing and

         constructing new projects.387

                Several commenters ask for flexibility in the way information is shared. SEIA

         states that whether the data are in a map or other format is not as important as the product

         itself.388 NYTOs expect that flexibility would allow regions to adopt some form of the

         virtual tool as long as it is clear that the information is illustrative, non-binding, and

         subject to change.389 NRECA states that smaller generation and transmission



         Cypress Creek Initial Comments at 14; MISO Initial Comments at 27; NY Commission
         and NYSERDA Initial Comments at 7-8; NYTOs Initial Comments at 8; Pacific
         Northwest Utilities Initial Comments at 14; WAPA Initial Comments at 8.
                385
                      MISO Initial Comments at 26-27.
                386
                      Bonneville Initial Comments at 6.
                387
                      Cypress Creek Initial Comments at 14.
                388
                      SEIA Initial Comments at 6.
                389
                      NYTOs Initial Comments at 9.
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         cooperatives may be able to just post a table with bus names and injection capability and

         present the same useful information in a more economical way.390 NV Energy states that,

         if it were to post to its OASIS the CAISO locational marginal price map with a link to

         CAISO’s OASIS to provide a list of interchange limits and interchange schedules, this

         would be just as valuable as a map for its own transmission system.391

                 Some commenters argue that transmission providers that already provide public

         interconnection information should have flexibility to use their existing systems to

         comply.392 However, Environmental Defense Fund avers that this flexibility should not

         extend to transmission providers who, prior to the NOPR, were without a substantial

         public interconnection information system, because they have no sunk costs related to

         public interconnection information systems.393

                 Several commenters express concern that heatmaps would be technically difficult

         to implement outside of RTOs/ISOs and ask the Commission to provide non-RTO/ISO

         regions with flexibility in how they comply with the mapping tool.394 Tri-State states




                 390
                       NRECA Initial Comments at 16.
                 391
                       NV Energy Initial Comments at 10.
                 392
                       Environmental Defense Fund Reply Comments at 4; OMS Initial Comments
         at 6.
                 393
                       Environmental Defense Fund Reply Comments at 4.
                 394
                  Dominion Initial Comments at 12-14; NRECA Initial Comments at 16; NV
         Energy Initial Comments at 10; PPL Initial Comments at 9; Puget Sound Initial
         Comments at 5-6; Tri-State Initial Comments at 8.
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         that, in non-RTO/ISO regions, it is common for multiple transmission providers to use a

         single substation, making injection capacity dependent on interconnection requests in

         neighboring interconnection queues and their associated study assumptions.395 Tri-State,

         therefore, encourages the Commission to permit variations among heatmaps, adding that

         entities in non-RTOs/ISOs should not be required to study every bus.396

                Xcel recommends that the Commission consider applying the requirement only in

         RTO/ISO regions or granting non-RTO/ISO transmission providers sufficient time, such

         as two years, to comply.397 WAPA asks the Commission to first require data

         visualization by larger utilities, wait approximately 18 months after implementation, and

         then measure the benefits of interactive tools produced by larger utilities, giving

         stakeholders a chance to comment before extending the heatmap requirement.398

                On the other hand, some commenters expressly argue that uniformity should be

         required inside and outside of RTO/ISO regions.399 Google states that such publicly

         available information would begin to address the critical information advantage that

         transmission owners have over independent power producers, particularly in non-




                395
                      Tri-State Initial Comments at 8.
                396
                      Id.; see also Eversource Initial Comments at 11.
                397
                      Xcel Initial Comments at 22.
                398
                      WAPA Initial Comments at 8.
                399
                Environmental Defense Fund Reply Comments at 3; Fervo Energy Reply
         Comments at 3; Google Initial Comments at 6; R Street Initial Comments at 10.
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         RTO/ISO regions.400 R Street notes that non-RTO/ISO regions may have additional

         challenges in implementing such a tool but states that this should not eliminate their

         requirement to do so and those regions could be granted extra implementation time.401

                                              (d)    Requests for Clarification or Technical

                                                     Conference

                Several commenters seek clarification on the information transmission providers

         are required to present in the heatmap, use of that information, who has the responsibility

         of presenting the information, timing of updating that information and recovery of costs

         for providing this information. PJM asks that the Commission clarify that an interactive

         visual congestion map could comply, instead of requiring its specific form.402

                APPA-LPPC ask the Commission to clarify that it is not proposing that

         transmission providers be required to conduct any individualized analyses or take any

         action in response to particular prospective interconnection customers’ use of the

         interactive tools.403

                Some commenters request that the Commission make clear that the public

         information is published only as a guide and not as a binding or definitive statement of




                400
                      Google Reply Comments at 6.
                401
                      R Street Initial Comments at 10.
                402
                      PJM Initial Comments at 48.
                403
                      APPA-LPPC Initial Comments at 13-14.
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         available interconnection capacity or costs.404 Xcel asks the Commission to clarify that

         transmission providers have no liability associated with the posting of public

         information.405 EEI urges the Commission to make clear that interconnection customers

         that rely exclusively on this information, including these maps, do so at their own risk.406

                Eversource asks that the Commission clarify that “no information would be

         required to be made available before the conclusion of the first cluster study.”407

                Dominion seeks clarification that, in an RTO/ISO context, the proposed

         requirements to maintain a visual representation would apply to the RTO/ISO, and not

         additionally to individual transmission owners.408

                Several commenters request clarification on how the public information proposal

         will be funded.409 Some commenters assert that a user-pays model is the only appropriate

         funding mechanism because not all interconnection customers will use the public

         information tools, and the transmission provider or their customers should not be required


                404
                    AECI Initial Comments at 5; AEE Initial Comments at 9; AEP Initial
         Comments at 13; Ameren Initial Comment at 6; CAISO Initial Comments at 8; Duke
         Southeast Utilities Initial Comments at 6-7; EEI Initial Comments at 12-13; National
         Grid Initial Comments at 8-9; New York State Department Initial Comments at 8;
         NYISO Initial Comments at 17; NYTOs Initial Comments at 9.
                405
                      Xcel Initial Comments at 22.
                406
                      EEI Initial Comments at 13.
                407
                      Eversource Initial Comments at 11.
                408
                      Dominion Initial Comments at 14.
                409
                    National Grid Initial Comments at 8; PacifiCorp Initial Comments at 14; Tri-
         State Initial Comments at 7-8.
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         to pay for work that only benefits some.410 Tri-State asserts that it might increase the

         $5,000 application fee to cover the significant heatmap costs.411

                AEP, Tesla, and ACORE ask the Commission to initiate a proceeding and hold a

         technical conference to, among other things, identify useful information tools that could

         be feasibly developed, establish uniform and transparent study assumptions, share best

         practices, and help less sophisticated interconnection customers learn to use available

         tools and information to lessen their own risk before entering an interconnection queue.412

                                       iii.   Commission Determination

                We adopt, without modification, the NOPR proposal to revise pro forma LGIP

         section 6.4, now section 6.1, to require transmission providers to publicly post available

         information pertaining to generator interconnection (i.e., public interconnection

         information or a heatmap). We require transmission providers to update the heatmap

         within 30 calendar days after the completion of each cluster study and cluster restudy.

         Such heatmaps must be calculated under N-1 conditions and studied based on the power

         flow model of the transmission system with the transfer simulated from each point of

         interconnection to the whole transmission provider’s footprint (to approximate NRIS),

         and with the incremental capacity at each point of interconnection decremented by the




                410
                      National Grid Initial Comments at 8; PacifiCorp Initial Comments at 14.
                411
                      Tri-State Initial Comments at 8.
                412
                ACORE Reply Comments at 3, AEP Initial Comments at 13, 15; Tesla Initial
         Comments at 6.
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         existing and queued generation at that location (based on the existing or requested

         interconnection service limit of such generation). We require transmission providers to

         provide the following information as outputs at each point of interconnection: (1) the

         distribution factor; (2) the MW impact (based on the proposed project size and the

         distribution factor); (3) the percentage impact on each impacted transmission facility

         (based on the MW values of the proposed project and the facility rating); (4) the

         percentage of power flow on each impacted transmission facility before the proposed

         project; and (5) the percentage power flow on each impacted transmission facility after

         the injection of the proposed project.

                We find that the benefit of providing further transparency to interconnection

         customers about potential points of interconnection outweighs the added administrative

         burden to transmission providers. Commenters generally support supplementing the

         existing publicly available interconnection information and note their broad support for

         the NOPR proposal.413 Many commenters further assert that the heatmap will provide


                413
                   ACE-NY Initial Comments at 11; AES Initial Comments at 3; Affected
         Interconnection Customers Initial Comments at 30; APPA-LPPC Initial Comments at 13;
         CAISO Initial Comments at 7; CESA Initial Comments at 7; Clean Energy Associations
         Initial Comments at 12; Clean Energy Buyers Initial Comments at 6-7; Colorado
         Commission Initial Comments at 8; Consumers Energy Initial Comments at 3; CREA and
         NewSun Initial Comments at 44-45; Duke Southeast Utilities Initial Comments at 6;
         Environmental Defense Fund Initial Comments at 3; Environmental Defense Fund Reply
         Comments at 2-3; ELCON Initial Comments at 4; ENGIE Initial Comments at 2;
         Evergreen Action Initial Comments at 3; Fervo Energy Initial Comments at 2; Google
         Initial Comments at 14; Google Reply Comments at 6; Illinois Commission Initial
         Comments at 6; Interwest Initial Comments at 7; New Jersey Commission Initial
         Comments at 11-12; Northwest and Intermountain Initial Comments at 9-10; NY
         Commission and NYSERDA Initial Comments at 8; Ørsted Initial Comments at 7;
         Pattern Energy Initial Comments at 23; Pine Gate Initial Comments at 13; Public Interest
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         valuable information to interconnection customers before they enter the interconnection

         queue,414 and as SEIA explains, interconnection customers currently lack substantial

         information prior to entering the interconnection queue, which is valuable in determining

         whether to proceed with a proposed generating facility.415 In particular, the information

         that we require transmission providers to provide to prospective interconnection

         customers will allow such interconnection customers to learn about available

         interconnection capacity as well as other metrics that reflect the impact of the addition of

         a proposed generating facility to the transmission provider’s transmission system at a

         particular point of interconnection. Such information may allow a prospective

         interconnection customer to estimate expected congestion,416 and, in turn, to assess likely




         Organizations Initial Comments at 18-19; R Street Initial Comments at 8, 10; R Street
         Reply Comments at 2; Southern Initial Comments at 28; Tesla Initial Comments at 6-7;
         Vistra Initial Comments at 1, 4.
                414
                    Alliant Energy Initial Comments at 5; Clean Energy Associations Initial
         Comments at 12; CREA and NewSun Initial Comments at 44-45; Duke Southeast
         Utilities Initial Comments at 6; EEI Initial Comments at 12-13; ELCON Initial
         Comments at 6; ENGIE Initial Comments at 2; Evergreen Action Initial Comments at 3;
         Fervo Energy Initial Comments at 2-3; Google Initial Comments at 4; Illinois
         Commission Initial Comments at 6; Indicated PJM TOs Initial Comments at 14; Indicated
         PJM TOs Reply Comments 6; ISO-NE Initial Comments at 26-27; New Jersey
         Commission Initial Comments at 12; NY Commission and NYSERDA Initial Comments
         at 8; Ohio Commission Consumer Advocate Initial Comments at 7; Pacific Northwest
         Utilities Initial Comments at 13; SEIA Initial Comments at 5.
                415
                      SEIA Initial Comments at 6.
                416
                      Google Initial Comments at 14.
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         network upgrades triggered by a proposed generating facility or the possibility of

         curtailment of a proposed generating facility.

                With access to this type of information, a prospective interconnection customer

         will be able to better assess the viability of a proposed generating facility before it

         submits an interconnection request and therefore may be able to submit fewer exploratory

         and unviable interconnection requests. We believe that, by reducing the number of

         speculative interconnection requests, this reform will reduce the delays caused by

         restudies triggered by interconnection request withdrawals and overcrowded

         interconnection queues.417 We believe that this information is also beneficial in the

         cluster study context, contrary to some commenters’ concerns regarding the availability

         of information about the composition of the cluster and the effect of the other proposed

         generating facilities in the cluster. In fact, interconnection customers will be able to

         evaluate the viability of their proposed generating facility in the context of a cluster by

         using the publicly posted information as a baseline and incorporating the cluster

         information that transmission providers are required to post, during the customer

         engagement window, per new pro forma LGIP section 3.4.5 (Customer Engagement



                417
                    See CESA Initial Comments at 9; CESA Reply Comments at 3; Consumers
         Energy Initial Comments at 3; CREA and NewSun Initial Comments at 44-45; Duke
         Southeast Utilities Initial Comments at 6; Environmental Defense Fund Initial Comments
         at 3; EEI Initial Comments at 12-13; ELCON Initial Comments at 6; Evergreen Action
         Initial Comments at 3; Google Initial Comments at 14; Illinois Commission Initial
         Comments at 6-7; New Jersey Commission Initial Comments at 12; NY Commission and
         NYSERDA Initial Comments at 8; Pacific Northwest Utilities Initial Comments at 13;
         SEIA Initial Comments at 5.
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         Window). Further, the heatmap requirement will standardize the information available to

         interconnection customers across regions and such standardization will provide

         interconnection customers with consistency as they assess the viability of proposed

         generating facilities, including where to site them, across regions.418 Despite MISO’s

         assertion that interconnection customers typically use their own tools to conduct analyses,

         as opposed to MISO’s heatmap, several commenters identify MISO’s heatmap tool as an

         example of a transmission provider posting generator interconnection information that is

         useful for prospective interconnection customers.419 Therefore, we continue to find that it

         is important to make similar information available to prospective interconnection

         customers across the country to ensure comparable access to information and the above

         mentioned resultant benefits of such information for the interconnection process.


                418
                   See, e.g., Alliant Energy Initial Comments at 5; Clean Energy Associations
         Initial Comments at 12.
                419
                    ACE-NY Initial Comments at 11; AES Initial Comments at 3; Affected
         Interconnection Customers Initial Comments at 30; APPA-LPPC Initial Comments at 13;
         CAISO Initial Comments at 7; CESA Initial Comments at 7; Clean Energy Associations
         Initial Comments at 12; Clean Energy Buyers Initial Comments at 6-7; Colorado
         Commission Initial Comments at 8; Consumers Energy Initial Comments at 3; CREA and
         NewSun Initial Comments at 44-45; Duke Southeast Utilities Initial Comments at 6;
         Environmental Defense Fund Initial Comments at 3; ELCON Initial Comments at 4;
         ENGIE Initial Comments at 2; Evergreen Action Initial Comments at 3; Fervo Energy
         Initial Comments at 2; Google Initial Comments at 14; Google Reply Comments at 6;
         Illinois Commission Initial Comments at 6; Interwest Initial Comments at 7; New Jersey
         Commission Initial Comments at 11-12; Northwest and Intermountain Initial Comments
         at 9-10; NY Commission and NYSERDA Initial Comments at 8; Ørsted Initial
         Comments at 7; Pattern Energy Initial Comments at 23; Pine Gate Initial Comments at
         13; Public Interest Organizations Initial Comments at 18-19; R Street Initial Comments at
         8, 10; Southern Initial Comments at 28; Tesla Initial Comments at 6-7; Vistra Initial
         Comments at 1, 4.
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                Some commenters assert that the NOPR proposal is not useful420 in part because it

         does not provide sufficient detail and may not correspond with future study conditions,421

         its usefulness depends on its implementation,422 and it is unlikely to address cost

         uncertainty challenges.423 In response to such objections, we find that the public

         interconnection information requirements we adopt in this final rule will provide further

         transparency of interconnection conditions, but, as we have acknowledged above, will

         remain non-binding and therefore cannot provide cost certainty. We recognize that this

         requirement does not provide real-time transmission system information, but we find that

         this information is valuable to prospective interconnection customers before they enter

         the interconnection queue.

                We disagree with commenters that assert that the NOPR proposal is overly

         burdensome.424 By moving the pro forma LGIP from a serial to a cluster study process,




                420
                   Dominion Initial Comments at 13; Idaho Power Initial Comments at 3; ISO-NE
         Initial Comments at 17; NextEra Initial Comments at 12; New York State Department
         Initial Comments at 8; NYISO Initial Comments at 17; Omaha Public Power Initial
         Comments at 4; PacifiCorp Initial Comments at 14.
                421
                Dominion Initial Comments at 13; New York State Department Initial
         Comments at 8; Omaha Public Power Initial Comments at 4.
                422
                Indicated PJM TOs Initial Comments at 14; New York State Department Initial
         Comments at 8; NYTOs Initial Comments at 9; SPP Initial Comments at 4.
                423
                      AEE Initial Comments at 9; Cypress Creek Initial Comments at 13.
                424
                   Dominion Initial Comments at 13; National Grid Initial Comments at 8; New
         York State Department Initial Comments at 8; NextEra Initial Comments at 12; Omaha
         Public Power Initial Comments at 4; Pacific Northwest Utilities Initial Comments at 14;
         PPL Initial Comments at 9; Tri-State Initial Comments at 4; WAPA Initial Comments at
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         the reforms adopted in this final rule will reduce the number of studies and restudies

         performed by transmission providers, therefore reducing the burden on both transmission

         providers and their staff. In addition, as commenters assert, and we agree, the

         information posting and interactive capability we require in this final rule could feasibly

         be implemented with available industry system simulation tools.425 We also agree with

         Clean Energy Associations that providing these data in a standardized format should be a

         “relatively low-impact” requirement for transmission providers.426 This appears to be

         consistent with comments from Dominion that suggests that the majority of the burden

         associated with complying with this reform will be through an up-front financial

         commitment in new software, rather than ongoing costs.427 Having made such software

         commitments, though, transmission providers should be able to automate much of the

         heatmap development, without significant commitments of staff or resources. In doing

         so, we expect the ongoing costs of maintaining such a heatmap to be relatively low.

         Moreover, because transmission providers must use the most recent cluster study or




         7.
                425
                   APPA-LPPC Initial Comments at 13; Pennsylvania Commission Initial
         Comments at 13, which explains that transmission providers are already implementing
         these tools further illustrates the point: heatmaps will not likely cause further delay in
         already-stressed queues.
                426
                    Clean Energy Associations Initial Comments at 23-13; see also ACORE Reply
         Comments at 3 (stating that collaboration to increase automation of interconnection
         studies is a best practice that could be adopted elsewhere).
                427
                      Dominion Initial Comments at 12.
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         cluster restudy to populate the heatmap, they will not face the burden of individualized

         analyses, which addresses the concern raised by some commenters.428

                We adopt the requirement for transmission providers to update the heatmaps

         within 30 calendar days after the completion of each cluster study and cluster restudy.

         We recognize the need to balance the burden of a specific update frequency with the

         value of ensuring uniform, up-to-date information that can inform prospective

         interconnection customers evaluating whether to enter the next cluster. While some

         commenters support the timeline proposed in the NOPR,429 others argue that it is overly

         burdensome or, given the division of their footprint into regions that have different

         timelines, would trigger frequent updates. We find that the requirements we adopt here

         establish an appropriate period of time because, as discussed above, once the necessary

         software is in place, updating the heatmap after the completion of a study is expected to

         be largely automated without significant commitments of staff or resources. As the

         record demonstrates, such heatmaps can be implemented with available industry system

         simulation tools430 and with a standardized format that causes the burden to be a




                428
                      See APPA-LPPC Initial Comments at 13-14.
                429
                    Environmental Defense Fund Initial Comments at 3; Ørsted Initial Comments
         at 6; Public Interest Organizations Initial Comments at 20.
                430
                APPA-LPPC Initial Comments at 13-14; Pennsylvania Commission Initial
         Comments at 13.
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         “relatively low-impact” requirement for transmission providers,431 once transmission

         providers have invested in new software.432

                In response to Eversource, which asks the Commission to clarify that the heatmap

         would not be required to be made available before the first cluster study concludes,433 we

         agree and further clarify that the heatmap would not be required to be made available

         until after the transition period. In response to El Paso Electric’s comments regarding the

         burden of a monthly update,434 we clarify that the heatmaps must be updated within 30

         calendar days after the completion of each cluster study and cluster restudy, not on a

         cycle of every 30 calendar days.

                In response to comments from PJM, Bonneville, and Tri-State requesting

         flexibility for the posting of information for points of interconnection that have yet to be

         studied,435 we clarify that transmission providers need to provide updates only for

         anything that has changed in the most recent cluster study or restudy after the first cluster

         study after the Commission-approved effective date of the transmission provider’s filing




                431
                    Clean Energy Associations Initial Comments at 23-13; see also ACORE Reply
         Comments at 3 (stating that collaboration to increase automation of interconnection
         studies is a best practice that could be adopted elsewhere).
                432
                      Dominion Initial Comments at 12.
                433
                      Eversource Initial Comments at 11.
                434
                      El Paso Electric Initial Comments at 7.
                435
                   Bonneville Initial Comments at 6; PJM Initial Comments at 48-49; Tri-State
         Initial Comments at 8.
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         in compliance with this final rule. Requiring transmission providers to study each

         potential point of interconnection, rather than just those requested in each cluster, would

         expand the scope of this requirement. In turn, requiring such expanded studies would be

         inconsistent with ensuring that interconnection customers are able to interconnect in a

         reliable, efficient, transparent, and timely manner. In response to PJM, which states that

         transmission providers should be allowed to use prescreened datasets that capture a

         majority of the feasible points of interconnection that remove existing generator buses on

         the low side of the generator step-up unit, rather than using all buses to populate the

         heatmap,436 we agree that the heatmap may not differ significantly between the existing

         generating facility’s point of interconnection on the low voltage side of the generating

         facility’s step-up unit and the high voltage side of the step-up unit. If that is the case, this

         final rule provides transmission providers with the flexibility to populate the heatmap

         with only the high side of the step-up unit.

                In response to comments arguing that the Commission has failed to demonstrate

         that information already made available is inadequate,437 we disagree. The heatmap

         requirement is distinct from information that transmission providers are already required



                436
                      PJM Initial Comments at 48-49.
                437
                    APPA-LPPC Initial Comments at 9; Duke Southeast Utilities Initial Comments
         at 6-7; Idaho Power Initial Comments at 3; New York State Department Initial
         Comments at 8; NV Energy Initial Comments at 10; NYISO Initial Comments at 17;
         Ohio Commission Consumer Advocate Initial Comments at 6-7; PacifiCorp Initial
         Comments at 14-15; PG&E Initial Comments at 9-10; SoCal Edison Initial Comments at
         14.
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         to provide. The existing pro forma LGIP requires transmission providers to post the

         interconnection models and assumptions on OASIS or a password-protected website. But

         the information that we require to be posted in compliance with this final rule is the

         output of such models and assumptions. We believe that publicly posting such resulting

         output is necessary to aid prospective interconnection customers in their decision-making

         prior to entering the interconnection queue. While interconnection customers, on their

         own or through the hiring of consultants, may be capable of performing studies with

         information already published by transmission providers to arrive at information similar

         to that required as part of this final rule, we believe that making high-level information

         more easily accessible to all prospective interconnection customers is needed to remedy

         unjust and unreasonable Commission-jurisdictional rates. While Order No. 845 and

         FERC Form 715 do require certain, more detailed information to be filed with the

         Commission and/or posted on OASIS or a password-protected website,438 access to this

         information has not addressed the problem of speculative interconnection requests that

         we aim to remedy with several reforms adopted in this final rule.

                We recognize the need to balance security concerns with the benefits of additional

         transparency. While some commenters express security-related concerns with the NOPR

         proposal,439 as discussed below, we are not modifying the Commission’s CEII


                438
                      Order No. 845, 163 FERC ¶ 61,043 at P 236.
                439
                Bonneville Initial Comments at 6; Indicated PJM TOs Initial Comments at 15;
         LADWP Initial Comments at 3; NRECA Initial Comments at 16-17; PacifiCorp Initial
         Comments at 16; PPL Initial Comments at 8; SoCal Edison Initial Comments at 13-14.
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         procedures,440 which we believe are sufficient to address security concerns raised in

         comments. Some commenters state that publicly posting information that indicates areas

         of transmission congestion or constraints is a risk as these areas are more vulnerable. We

         are not persuaded by these concerns and note that location-specific congestion

         information is already publicly available in RTO/ISO markets. Moreover, the

         Commission’s regulations already provide that, upon request, transmission providers

         must make available all data used to calculate available transfer capability, total transfer

         capability, capacity benefit margin, and transmission reliability margin for any

         constrained posted paths publicly available (including the limiting element(s) and the

         cause of the limit (e.g., thermal, voltage, stability)).441 Additionally, we find these

         concerns to be speculative, particularly in light of the fact that MISO already provides

         similar information over a large area. Rather, we agree with those commenters that do

         not believe that the NOPR proposal introduces additional security concerns.442

                In response to concerns from PPL and LADWP regarding the distribution factor

         analysis being made public,443 we are not persuaded and find these concerns to be

         speculative as well. MISO has long made distribution factors publicly available and


                440
                   18 CFR 388.113 (2022), which govern “the procedures for submitting,
         designating, handling, sharing, and disseminating [CEII] submitted to or generated by the
         Commission” (emphasis added).
                441
                      18 CFR 37.6(b)(2) (2022).
                442
                      MISO Initial Comments at 27.
                443
                      LADWP Initial Comments at 3; PPL Initial Comments at 8-9.
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         states it is currently unaware of any security concerns associated with the proposal.444 As

         such, there is no evidence in the record to suggest this posting has raised any concerns in

         the past. Moreover, we observe that the distribution factor analyses informing the

         heatmaps are the result of multi-year forward projections that inevitably diverge from

         actual, real-time conditions, mitigating any potential concerns with publicly posting this

         information.

                We are similarly unpersuaded by potential data confidentiality concerns.445 As

         with distribution factors, we find such concerns to be speculative and contrary to the

         experience of MISO, which, for the last several years, has already provided this

         information publicly,446 as well as contrary to the statements of commenters that support

         the NOPR proposal and do not raise data confidentiality concerns.447


                444
                      MISO Initial Comments at 27.
                445
                      Bonneville Initial Comments at 6; PPL Initial Comments at 9.
                446
                   Rod Walton, MISO Introduces New Generation Interconnection Online Tool,
         Power and Engineering (May 19, 2020), at https://www.power-eng.com/om/miso-
         introduces-new-generation-interconnection-online-tool/#gref.
                447
                   Affected Interconnection Customers Initial Comments at 30; AES Initial
         Comments at 3; ACE-NY Initial Comments at 11; APPA-LPPC Initial Comments at 13;
         CAISO Initial Comments at 7; CESA Initial Comments at 7; Clean Energy Associations
         Initial Comments at 12; Clean Energy Buyers Initial Comments at 7-8; Colorado
         Commission Initial Comments at 8; Consumers Energy Initial Comments at 3; CREA and
         NewSun Initial Comments at 44-45; Duke Southeast Utilities Initial Comments at 6;
         Environmental Defense Fund Initial Comments at 3; ELCON Initial Comments at 4;
         ENGIE Initial Comments at 2; Evergreen Action Initial Comments at 3; Fervo Energy
         Initial Comments at 2; Google Initial Comments at 14; Google Reply Comments at 6;
         Interwest Initial Comments at 7; Illinois Commission Initial Comments at 6; New Jersey
         Commission Initial Comments at 11- 12; NY Commission and NYSERDA Initial
         Comments at 8; Northwest and Intermountain Initial Comments at 9-10; Ørsted Initial
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                We provide further clarification in response to comments regarding the scope of

         analysis and assumptions which must provide the basis for the heatmaps. In response to

         comments from Public Interest Organizations,448 we decline to specifically require the

         heatmap to be studied at high load conditions. Instead, we reiterate that such heatmap

         should be based on the power flow model of the cluster study or restudy. While such

         cluster studies are often simulated at high load conditions, we understand that

         transmission providers typically conduct interconnection studies by studying a variety of

         situations. As such, we clarify that the information posted, for consistency and

         actionability, must not only be based on the cluster studies, but also must reflect the most

         limiting result of each of these situations studied.

                We find that it is necessary for the heatmaps to reflect N-1 conditions because

         transmission systems are operated to withstand N-1 contingencies. To the extent that

         such information was not calculated under N-1 conditions, the results would not be useful

         or sufficiently actionable to potential interconnection customers. As Eversource asserts,

         point of interconnection level information would be too simplistic if it is based only on

         N-0 conditions and would not provide prospective interconnection customers with the

         information necessary to select viable points of interconnection.449 Similarly, we find



         Comments at 7; Pine Gate Initial Comments at 13; Public Interest Organizations Initial
         Comments at 18-19; R Street Initial Comments at 8, 10; Southern Initial Comments at 28;
         Tesla Initial Comments at 6-7; Vistra Initial Comments at 1,4.
                448
                      Public Interest Organizations Initial Comments at 20.
                449
                      Eversource Initial Comments at 11.
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         that it is necessary for such posted information to approximate NRIS because such level

         of interconnection service is generally subject to more stringent requirements and

         therefore, reflecting this type of service will cover both types of interconnection requests,

         whether they are NRIS or ERIS.450 Similar to information calculated under only N-0

         conditions, to the extent such a heatmap was not calculated to approximate NRIS, the

         results would not be useful or sufficiently actionable to a significant portion of

         interconnection customers.

                In response to comments from AES,451 we decline to require the heatmaps to

         include a five-year outlook of available interconnection capacity. The purpose of the

         heatmaps is to provide potential interconnection customers an idea of the amount of

         interconnection capacity available at the conclusion of each cluster study or restudy.

         Because we are requiring transmission providers to consider pending generating facilities

         when collating the information to make public, interconnection customers will be aware


                450
                    Specifically, the pro forma LGIP defines NRIS service as “an Interconnection
         Service that allows the Interconnection Customer to integrate its Large Generating Facility
         with the Transmission Provider’s Transmission System (1) in a manner comparable to that
         in which the Transmission Provider integrates its generating facilities to serve native load
         customers; or (2) in an RTO or ISO with market-based congestion management, in the
         same manner as Network Resources. Network Resource Interconnection Service in and of
         itself does not convey transmission service.” Pro forma LGIP section 1. Whereas, the
         pro forma LGIP defines ERIS as “an Interconnection Service that allows the
         Interconnection Customer to connect its Generating Facility to the Transmission
         Provider’s Transmission System to be eligible to deliver the Generating Facility’s electric
         output using the existing firm or nonfirm capacity of the Transmission Provider’s
         Transmission System on an as available basis. Energy Resource Interconnection Service
         in and of itself does not convey transmission service.” Id. (emphasis added).
                451
                      AES Initial Comments at 5-7.
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         of some of the future conditions on the transmission system. Further, any requirement to

         produce forecasts would place an additional burden on transmission providers that we

         find would outweigh its usefulness to interconnection customers.

                In response to comments from Alliant Energy and Clean Energy Associations

         arguing that the assumptions used to produce the heatmap should be made clear to

         users,452 we find that the assumptions used to produce the heatmap should be consistent

         with those used in the interconnection cluster studies. As those assumptions are already

         required to be publicly posted, along with the models themselves,453 the assumptions used

         to produce the heatmap will be publicly posted via these preexisting requirements.

                Tri-State describes difficulties associated with multiple transmission providers that

         inhabit a single substation. In such situations, we clarify that transmission providers must

         populate the required heatmaps using the results from their interconnection studies. In

         response to the Illinois Commission, we clarify that the heatmaps must represent

         potential congestion that might result after a generating facility interconnects, not present

         congestion values. The heatmap must reflect the base case assumptions from the most

         recent cluster study or cluster restudy. Such studies are not intended to analyze current

         operational conditions.




                452
                Alliant Energy Initial Comments at 5; Clean Energy Associations Initial
         Comments at 12-13.
                453
                      Order No. 845, 163 FERC ¶ 61,043 at P 236; pro Forma LGIP section 2.3.
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                We next respond to specific objections raised regarding the heatmaps’ required

         level of granularity and scope, requested flexibilities regarding alternatives to the adopted

         reform, and clarifications regarding which transmission providers are required to provide

         heatmaps, whether heatmaps are non-binding, and how costs related to the heatmaps

         requirement are to be recovered. We decline to alter the level of granularity of the

         heatmaps from that proposed in the NOPR. As Ameren and MISO attest,454 the five data

         points proposed in the NOPR are reasonable and sufficient to provide a high-level

         comparison between several points of interconnection, and therefore to satisfy the goals

         of this reform.

                Similarly, consistent with support from ENGIE and SEIA,455 we adopt the scope

         of the heatmap requirement proposed in the NOPR, which is the amount of point of

         interconnection-level interconnection capacity available to be injected at each point of

         interconnection. We decline to expand the scope of the reporting. We believe that the

         scope of information that we require transmission providers to publicly post appropriately

         balances the burdens on transmission providers associated with providing this

         information with the benefits that might be realized by prospective interconnection

         customers of having ready access to this information. In response to Dominion, which

         argues that point of interconnection-level information may not necessarily be useful



                454
                 Ameren Initial Comments at 5; Bonneville Initial Comments at 7; Clean
         Energy Buyers Initial Comments at 7-8; MISO Initial Comments at 25.
                455
                      ENGIE Initial Comments at 2-3; SEIA Initial Comments at 5.
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         because, in a networked system, injection at one point of interconnection will affect the

         capability at other points of interconnection,456 we agree that injections at one location

         affect capabilities at other locations. Because the information provided by the

         transmission provider accounts for full transmission system conditions, interconnection

         customers should have the information they need to approximate the impact of their

         potential generating facility on the transmission system. For example, interconnection

         customers will know if they are proposing to interconnect near constrained regions even

         if those constraints are not necessarily at the proposed point of interconnection.

                We decline to require transmission providers to provide additional interconnection

         information metrics, as requested by some commenters.457 While we are supportive of

         increased transparency, we are not persuaded that the benefits of such information would

         outweigh the burden of tabulating and posting such information.

                In response to ISO-NE, we decline to require that the heatmap be qualitative

         only.458 We find that providing information only qualitatively would not provide

         interconnection customers information they could use to adequately mitigate risks such as


                456
                      Dominion Reply Comments at 8-9.
                457
                    AEP Initial Comments at 13; AES Initial Comments at 5-7; Bonneville Initial
         Comments at 5; Clean Energy Associations Initial Comments at 12-13; CREA and
         NewSun Initial Comments at 43-44; ENGIE Initial Comments at 3; Eversource Initial
         Comments at 11; Google Initial Comments at 6, 14; Hannon Armstrong Initial Comments
         at 2; Pattern Energy Initial Comments at 23; Pine Gate Initial Comments at 14; Public
         Interest Organizations Reply Comments at 11-12; SEIA Initial Comments at 6; SoCal
         Edison Initial Comments at 14-15; Tesla Initial Comments at 7.
                458
                      Eversource Initial Comments at 11.
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         obtaining site control and providing significant deposits to the transmission provider in

         order to enter the interconnection queue. Thus, providing only qualitative information

         would be insufficient to address the lack of information available to interconnection

         customers prior to entering the interconnection queue, which leads to speculative

         interconnection requests and the problems identified in the need for reform section above.

                In response to requests for flexibility for transmission providers to identify and

         post alternative heatmaps,459 we decline to grant such additional flexibility. In this final

         rule, we establish a set of required information that transmission providers must publicly

         provide. We believe that this level of information is what is needed to address the lack of

         information available to interconnection customers prior to entering the interconnection

         queue, and therefore remedy the unjust and unreasonable Commission-jurisdictional rates

         discussed in Section II of this final rule. We therefore disagree that the proposal is overly

         prescriptive,460 as we believe that the required information is necessary to adequately

         inform prospective interconnection customers. While we establish a set of required

         information, in response to comments from Clean Energy Associations that the heatmap




                459
                   Avangrid Initial Comments at 21-22; Bonneville Initial Comments at 6-8;
         Clean Energy Associations Initial Comments at 12; Dominion Initial Comments at 14;
         MISO Initial Comments at 27; NY Commission and NYSERDA Initial Comments at 8;
         NYTOs Initial Comments at 8; Pacific Northwest Utilities Initial Comments at 14; PJM
         Initial Comments at 48; Puget Sound Initial Comments at 6; SEIA Initial Comments at 6;
         Southern Initial Comments at 28; WAPA Initial Comments at 7-8.
                460
                      Dominion Initial Comments at 13.
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         may need to be tailored to the services offered by a particular transmission provider,461

         and comments from Bonneville that flexibility would allow transmission providers to

         determine whether a different methodology would more clearly identify interconnection

         capability for interconnection customers,462 we note that if transmission providers find

         value in providing additional or different information, they may propose such variations

         on compliance.

                While we acknowledge that, as a result of the relative interconnection queue sizes

         and load levels, many transmission providers may have heatmaps that indicate negative

         interconnection capacity and thereby would simply be “red,”463 we agree with R Street

         that providing a visual representation of available interconnection capacity is a best

         practice and should be required nationwide.464 Moreover, we find that there is value in

         providing an all “red” heatmap, as such information will demonstrate to prospective

         interconnection customers the potential and likely network upgrade-related consequences

         associated with interconnecting. In other words, an all “red” heatmap sends a valuable

         signal to interconnection customers regarding where proposed generating facilities may

         be more or less economic to interconnect prior to entering the interconnection queue.




                461
                      Clean Energy Associations Initial Comments at 12.
                462
                      Bonneville Initial Comments at 7-8.
                463
                      See PacifiCorp Initial Comments at 15.
                464
                      See R Street Initial Comments at 10.
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                Not only is there value in requiring this information from all transmission

         providers, we are not persuaded that the burden is so great as to outweigh the benefits for

         non-RTO/ISO transmission providers and for smaller transmission providers.465 We

         acknowledge that RTOs/ISOs are operationally different from their non-RTO/ISO

         counterparts and that RTOs/ISOs are often more technologically advanced, but the

         requirement is to reproduce interconnection studies and publish the results in a heatmap.

         No commenter attests that existing interconnection studies in non-RTO/ISO regions fail

         to evaluate point of interconnection-level interconnection injection capability. Moreover,

         we find that by publicly reproducing the results of existing interconnection studies, the

         heatmaps will address the need for additional interconnection information that exists in

         both RTOs/ISOs and non-RTOs/ISOs. In other words, we find that there are unjust and

         unreasonable Commission-jurisdictional rates stemming from the lack of this information

         for prospective interconnection customers both within and outside of RTOs/ISOs and that

         this problem must be remedied. Additionally, as Environmental Defense Fund

         comments, at least one other relatively small transmission owner posts an interactive

         capacity heatmap for its distribution system comparable to that required by this final




                465
                    Dominion Initial Comments at 12; NRECA Initial Comments at 16; NV Energy
         Initial Comments at 10; PPL Initial Comments at 9; Puget Sound Initial Comments at 5-
         6; Tri-State Initial Comments at 7-8.
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         rule.466 Thus, contrary to comments from PPL,467 we find that smaller transmission

         providers are able to provide this information to prospective interconnection customers

         and that the benefits outweigh the burdens.

                In response to comments from the NY Commission and NYSERDA asking for

         flexibility to ensure that the information is accessible and understandable,468 we do not

         think that such flexibility is needed—we specifically require the information to be

         contained within an interactive map and posted on transmission providers’ websites for

         this purpose. Contrary to comments from NV Energy,469 we find that the interactive map

         is necessary to ensure accessibility and understandability. Absent the map, potential

         interconnection customers would need to separately map injection points of

         interconnection to specific locations.

                In response to comments from PJM and NV Energy requesting flexibility for

         transmission providers, in lieu of the heatmap, to post congestion information and a link

         to OASIS with interchange limits and schedules, we decline to grant such flexibility. We

         find that there are meaningful differences between the results of planning studies, such as

         those used in the interconnection process, and operational data, like congestion and



                466
                   Environmental Defense Fund Reply Comments at 3-4 (citing Central Hudson
         Gas & Electric Corp., Solar PV Hosting Capacity Map, https://www.cenhud.com/en/my-
         energy/distributed-generation/solar-pv-hc-map/).
                467
                      PPL Initial Comments at 9.
                468
                      NY Commission and NYSERDA Initial Comments at 7.
                469
                      NV Energy Initial Comments at 10.
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         interchange schedules. Interconnection studies are generally conducted at a specific

         high-stress point in time for injection at a specific point of interconnection to determine

         flows across the whole transmission system, while operational data are simply the

         accumulation of real-time and/or day-ahead results. Thus, posting such operational data

         would only introduce timing differences and could not substitute for the deliverability

         analyses conducted in the interconnection processes.

                In response to NYTOs, we clarify that the information displayed in the heatmap

         will be illustrative, non-binding, and subject to change.470 We agree with Tri-State’s

         statement that transmission providers must also caveat that the results do not account for

         affected system impacts. As we have acknowledged, one primary driver of the available

         interconnection capacity is the composition of the interconnection customer’s cluster, and

         the heatmap cannot reflect those additional interconnection requests prior to the end of

         the customer request window.

                In response to requests to clarify the funding mechanism associated with the

         heatmap requirement,471 we clarify that transmission providers, not interconnection

         customers, are responsible for paying for costs associated with posting the relevant

         heatmaps required in pro forma LGIP section 6.1. However, we note that, to the extent

         such costs are properly recoverable in transmission rates consistent with existing



                470
                      NYTOs Initial Comments at 9.
                471
                    National Grid Initial Comments at 8; PacifiCorp Initial Comments at 14; Tri-
         State Initial Comments at 7-8.
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         Commission accounting and ratemaking policy, such rate treatment is appropriate, and

         this final rule does not preclude such treatment. We find that this reform will improve

         overall interconnection queue efficiency to the benefit of transmission customers,

         consistent with Commission policy.472

                In response to Dominion, which requests clarification in the RTO/ISO context,473

         we clarify that within an RTO/ISO, the heatmap requirement applies to the RTO/ISO,

         rather than to an individual transmission owner in an RTO/ISO. Thus, transmission

         owners in RTOs/ISOs are not required to separately post their own visual representations

         and results.

                Finally, in response to concerns from WAPA about federal power marketing

         agencies having defined budgets and appropriations,474 we note that transmission

         providers may explain specific circumstances on compliance and justify why any

         deviations are either “consistent with or superior to” the pro forma LGIP or merit an

         independent entity variation in the context of RTOs/ISOs.




                472
                      Order No. 845, 163 FERC ¶ 61,043 at P 37.
                473
                      Dominion Initial Comments at 14.
                474
                      WAPA Initial Comments at 7-8.
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                         2.    Cluster Study Process

                               a.      Need for Reform and Interconnection Study Procedures

                                       i.    NOPR Proposal

                To remedy what may now be an unjust and unreasonable interconnection process,

         the Commission proposed to eliminate the serial first-come, first-served study process in

         the pro forma LGIP and instead require transmission providers to use a first-ready, first-

         served cluster study process.475 The Commission explained that under a first-ready, first-

         served cluster study process, transmission providers would perform larger

         interconnection studies encompassing numerous proposed generating facilities, rather

         than separate studies for each individual interconnection request. Under the NOPR

         proposal, transmission providers would perform a single cluster study and cluster restudy

         each year, the particulars of which are further discussed below.

                                       ii.   Comments

                Many commenters support the elimination of the serial study process and the use

         of the proposed cluster study process.476 Several commenters assert that the proposed


                475
                      NOPR, 179 FERC ¶ 61,194 at P 64.
                476
                  ACE-NY Initial Comments at 2; ACORE Initial Comments at 4; AEE Initial
         Comments at 10; AEE Reply Comments at 8; AEP Reply Comments at 3-4; AES Initial
         Comments at 9; Amazon Initial Comments at 2-3; Ameren Initial Comments at 6; APPA-
         LPPC Initial Comments at 14; Apple Initial Comments at 1; APS Initial Comments at 6;
         Avangrid Initial Comments at 10, 11; Avangrid Reply Comments at 4; Bonneville Initial
         Comments at 3; CAISO Initial Comments at 8; Clean Energy Associations Initial
         Comments at 19; Clean Energy Buyers Initial Comments at 8; Clean Energy States Initial
         Comments at 5; Colorado Commission Initial Comments at 8; Cypress Creek Initial
         Comments at 12; Dominion Initial Comments at 14; Duke Southeast Utilities Initial
         Comments at 1; Environmental Defense Fund Reply Comments at 6; EEI Initial
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         cluster study process will increase efficiency in the interconnection process by

         diminishing delays and backlogs in processing interconnection queues.477 Several

         commenters also believe that the proposed cluster study process will result in fewer

         interconnection request withdrawals478 and will discourage speculative interconnection




         Comments at 2, 5; EEI Reply Comments at 4-5; El Paso Electric Initial Comments at 4;
         NERC Initial Comments at 26; Enel Initial Comments at 11; EPSA Initial Comments at
         5-6; Evergreen Action Initial Comments at 3; Eversource Initial Comments at 12; Fervo
         Energy Initial Comments at 3; Fervo Energy Reply Comments at 3; Idaho Power Initial
         Comments at 1, 4; Illinois Commission Initial Comments at 7; Indicated PJM TOs Initial
         Comments at 10; Iowa Commission Initial Comments at 3; ISO-NE Initial Comments at
         19; MISO Initial Comments at 28; NARUC Initial Comments at 6; National Grid Initial
         Comments at 3-4; Navajo Utility Initial Comments at 12; NESCOE Initial Comments at
         9; NextEra Initial Comments at 13; Northwest and Intermountain Initial Comments at 2;
         NV Energy Initial Comments at 4; NY Commission and NYSERDA Initial Comments at
         5; NYISO Initial Comments at 10-11; NYTOs Initial Comments at 7; Ohio Commission
         Consumer Advocate Initial Comments at 7; Omaha Public Power Initial Comments at 4;
         OMS Initial Comments at 7; OPSI Initial Comments at 3-4; Ørsted Initial Comments at 7;
         OSPA Reply Comments at 15; Pacific Northwest Utilities Initial Comments at 1;
         Pennsylvania Commission Initial Comments at 5-6; Pine Gate Initial Comments at 14;
         PJM Initial Comments at 16; Public Interest Organizations Initial Comments at 25; Puget
         Sound Initial Comments at 4, 5; R Street Initial Comments at 8; SDG&E Initial
         Comments at 2; SEIA Initial Comments at 7; SoCal Edison Initial Comments at 3; State
         Agencies Initial Comments at 2, 12; Tesla Initial Comments at 1; Tri-State Initial
         Comments at 3; U.S. Chamber of Commerce Initial Comments at 6; UMPA Initial
         Comments at 2; WAPA Initial Comments at 8; WIRES Initial Comments at 5.
                477
                   AEP Initial Comments at 16; Amazon Initial Comments at 2-3; Apple Initial
         Comments at 1; Consumers Energy Initial Comments at 4; Environmental Defense Fund
         Initial Comments at 5; EEI Initial Comments at 2, 5; ELCON Initial Comments at 2, 8;
         EPSA Initial Comments at 6; Idaho Power Initial Comments at 4; Indicated PJM TOs
         Initial Comments at 10; NV Energy Initial Comments at 4; Ohio Commission Consumer
         Advocate Initial Comments at 8; Pennsylvania Commission Initial Comments at 5-6;
         Pine Gate Initial Comments at 14; Public Interest Organizations Initial Comments at 25;
         SEIA Initial Comments at 7; WIRES Initial Comments at 6.
                478
                AEP Initial Comments at 16; Dominion Initial Comments at 14; ELCON Initial
         Comments at 9; EPSA Initial Comments at 7; Ohio Commission Consumer Advocate
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         requests.479 Some commenters assert that, from the interconnection customer’s

         perspective, the proposed cluster study process provides more certainty on timing and

         cost.480 Several commenters state that they have already implemented some of the

         proposed cluster study process reforms.481

                Dominion states that another benefit of moving to the proposed cluster study

         process is that, if a proposed generating facility is not ready for its cluster study, it can

         join the next cluster rather than losing its interconnection queue position as occurs in a

         serial study process.482 Dominion asserts that, as a result, the proposed cluster study

         process removes the incentive for an interconnection customer to “reserve a spot in line”

         for a proposed generating facility is not yet viable. Ohio Commission Consumer

         Advocate believes that larger interconnection studies encompassing numerous proposed

         generating facilities would be especially beneficial for interconnection customers with

         multiple proposed generating facilities in close geographical proximity.483 Avangrid



         Initial Comments at 8; SEIA Initial Comments at 7.
                479
                   Clean Energy States Initial Comments at 5; Colorado Commission Initial
         Comments at 8; ELCON Initial Comments at 9; EPSA Initial Comments at 6; SoCal
         Edison Initial Comments at 3-4.
                480
                      Avangrid Initial Comments at 11; Dominion Initial Comments at 14.
                481
                  APS Initial Comments at 6; Duke Southeast Utilities Initial Comments at 2;
         MISO Initial Comments at 28; PacifiCorp Initial Comments at 16; SPP Initial Comments
         at 5.
                482
                      Dominion Initial Comments at 15.
                483
                      Ohio Commission Consumer Advocate Initial Comments at 8.
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         believes that applying this concept to more regions will lead to a more guided and

         proactive build-out of new generation and required transmission upgrades.484

                Several commenters argue that the proposed cluster study process will foster

         renewable resource development and aid in meeting national and/or state clean energy

         and carbon emissions reduction goals.485 Puget Sound states that over the past year, it

         has seen unprecedented numbers of interconnection requests in response to the resource

         solicitation process and a demand for new renewable energy sources.486 Puget Sound

         adds that it has experienced a backlogged interconnection queue, entry of speculative

         interconnection requests, and uncertainty for interconnection customers relying on

         higher-queued interconnection requests to complete the interconnection process for their

         proposed generating facilities to be feasible. Clean Energy States assert that, because

         wind and solar projects can be relatively small, clustering should help smaller projects

         share the cost of interconnection studies and upgrades, thereby providing them a viable

         path through the interconnection process.487

                Some commenters support the use of the proposed cluster study process, so long

         as it is coupled with additional requirements, some of which the Commission proposed in




                484
                      Avangrid Initial Comments at 11.
                485
                   Apple Initial Comments at 1; Navajo Utility Initial Comments at 12; SoCal
         Edison Initial Comments at 4; State Agencies Initial Comments at 12.
                486
                      Puget Sound Initial Comments at 4-5.
                487
                      Clean Energy States Initial Comments at 5.
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         the NOPR.488 AEE recommends that the Commission consider further reforms to

         harmonize study assumptions and more closely link generator interconnection and long-

         term regional transmission planning processes.489 R Street states that the Commission

         should consider an interconnection study approach that uses transparent, realistic study

         assumptions.490 Clean Energy Associations argue that certain conservative

         assumptions—such as NERC standard TPL-001’s extreme contingency cases—can lead

         to the identification of unreasonably large and costly upgrades.491 Clean Energy

         Associations also assert that the Commission should make clear in its final rule whether

         moving from a serial study process to a cluster study process should or should not be

         accompanied by any change in the interconnection standards and assumptions used in

         those studies.492 Ameren generally supports the proposal to move to a first-ready, first-

         served cluster study process, but argues that this move without other reforms is unlikely

         to clear the interconnection queue backlog.493 NERC states that its support for cluster



                488
                   AEP Initial Comments at 6, 16; Ameren Initial Comments at 6; Cypress Creek
         Initial Comments at 12; CREA and NewSun Initial Comments at 10, attach. A; CREA
         and NewSun Reply Comments at 8; Enel Initial Comments at 11; Eversource Initial
         Comments at 13; Invenergy Initial Comments at ii; NRECA Initial Comments at 8, 18;
         PPL Initial Comments at 10; SoCal Edison Initial Comments at 4.
                489
                      AEE Initial Comments at 10.
                490
                      R Street Reply Comments at 2.
                491
                      Clean Energy Associations Initial Comments at 28.
                492
                      Id. at 21.
                493
                      Ameren Initial Comments at 6.
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         studies is predicated on parallel enhancements for model validation with actual installed

         equipment and a true-up prior to interconnection.494

                Other commenters express some concern with the move to the proposed cluster

         study process. For example, Enel states that cluster studies increase interdependence

         between interconnection requests, with a greater likelihood that multiple interconnection

         customers are responsible for a single network upgrade, which creates a paradigm where

         one interconnection customer’s actions, such as withdrawing from the interconnection

         queue, can have drastic impacts on many other interconnection customers.495 Enel also

         asserts that, while the proposed cluster study process has some benefits, recent cluster

         studies are resulting in significant regional transmission constraints with very high

         associated network upgrade costs and long construction schedules. Enel contends that

         the proposed cluster study process can still reduce interdependency and succeed if there

         are much smaller, more local, regional groupings of interconnection requests in cluster

         studies and lower minimum impact thresholds for determining network upgrades. Enel

         says the Commission should adopt these two practices if it adopts the proposed cluster

         study process.

                Some commenters note that, where the demand for generator interconnection

         significantly exceeds the available supply of interconnection access, the NOPR’s

         proposed cluster study process and interconnection queue management reforms alone


                494
                      NERC Initial Comments at 26.
                495
                      Enel Initial Comments at 12-13.
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         may be insufficient to address the backlog of interconnection requests.496 Other

         commenters assert that under these circumstances, some form of interconnection request

         prioritization may be needed to effectively allocate scarce interconnection access to the

         lowest-cost or highest-value proposed generating facilities.497

                Several commenters state that, while they support the use of the proposed cluster

         study process, the Commission should allow variation among transmission providers in

         the makeup of the study process.498 Some commenters argue that regional variations

         should be permitted, especially where transmission providers have already implemented a

         first-ready, first-served cluster study process.499 Environmental Defense Fund, on the

         other hand, argues that the Commission should provide limited flexibility for

         transmission providers to demonstrate in their compliance filing that a preexisting cluster




                496
                      AEE Reply Comments at 8; Cypress Creek Initial Comments at 12.
                497
                      NARUC Initial Comments at 11-12; Western Regulators Initial Comments at 1.
                498
                   AEP Initial Comments at 16; APPA-LPPC Initial Comments at 14; Avangrid
         Initial Comments at 10; Dominion Initial Comments at 14; EEI Initial Comments at 5;
         Eversource Initial Comments at 13; NARUC Initial Comments at 6-7; NEPOOL Initial
         Comments at 14; NRECA Initial Comments at 18-19; Omaha Public Power Initial
         Comments at 4; OMS Initial Comments at 8.
                499
                    AEP Initial Comments at 16; APPA-LPPC Initial Comments at 14; Idaho
         Power Initial Comments at 4; Indicated PJM TOs Initial Comments at 10-11, 16; MISO
         Initial Comments at 31-32; NextEra Reply Comments at 7; NYISO Initial Comments at
         10-11; Pacific Northwest Utilities Initial Comments at 2; SoCal Edison Initial Comments
         at 4; U.S. Chamber of Commerce Initial Comments at 6-7; WIRES Initial Comments at
         6-7.
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         study process is substantially similar to the process established in the Commission’s final

         rule.500

                Pacific Northwest Utilities and CREA and NewSun urge the Commission to allow

         flexibility for transmission providers to design the cluster study process to implement

         either a single-phase or two-phase cluster study process.501 Pacific Northwest Utilities

         contend that requiring full commercial readiness in a single-phase study process, as

         proposed in the NOPR, significantly restricts an interconnection customer’s ability to

         enter the interconnection queue.502 Pacific Northwest Utilities argue that a two-phase

         approach provides greater accessibility to some interconnection customers by not

         requiring commercial readiness for entry into the first phase. According to Pacific

         Northwest Utilities, this is because all interconnection customers who have attained site

         control will have information about the network upgrades needed to meet the

         interconnection requirements of the cluster and the expected cost responsibility for each

         interconnection customer in the cluster. Pacific Northwest Utilities aver that this

         information reduces the potential for interconnection customers to withdraw from phase

         two and, therefore, should reduce the need for additional restudies that might slow or stall

         the interconnection process.



                500
                      Environmental Defense Fund Reply Comments at 7.
                501
                   CREA and NewSun Reply Comments at 12-13; Pacific Northwest Utilities
         Initial Comments at 6, 8-9.
                502
                      Pacific Northwest Utilities Initial Comments at 7-8.
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                Some commenters argue that it may not be appropriate to mandate the proposed

         cluster study process for every transmission provider as cluster studies can be complex,

         expensive, and not the most efficient or necessary approach for all proposed generating

         facilities or circumstances.503 Some commenters generally support the use of cluster

         studies if transmission providers retain discretion to use the existing serial study

         process.504 Vermont Electric and Vermont Transco notes that not all interconnection

         requests need to be studied in a cluster format, and that this has frequently been the

         situation in New England, where interconnection queue bottlenecks have historically

         been locational and driven by state clean energy procurement efforts.505 ISO-NE requests

         that the Commission consider a more targeted approach for clusters triggered by

         geographic or electric proximity among interconnection requests, rather than a blanket

         clustering process for all interconnection requests.506 Instead of mandating a clustering in

         all regions, ISO-NE contends that the Commission consider the expanded use of

         clustering in areas with larger concentrations of proposed generating facilities, while




                503
                      SPP Initial Comments at 5.
                504
                   AECI Initial Comments at 5; AEP Reply Comments at 4; Avangrid Reply
         Comments at 4-5; CREA and NewSun Initial Comments at 44; ELCON Initial Comments
         at 9; NextEra Initial Comments at 15; Southern Initial Comments at 6; Vermont Electric
         and Vermont Transco Initial Comments at 2-3.
                505
                      Vermont Electric and Vermont Transco Initial Comments at 2.
                506
                      ISO-NE Initial Comments at 24.
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         allowing use of serial studies for customers seeking to interconnect in areas with low

         activity, where serial studies could proceed relatively quickly.

                National Grid asks for clarification as to whether the proposed cluster study

         process encompasses energy or capacity interconnection service requests, or both.507

                Some commenters contend that the Commission should encourage relevant state

         entities to consider the efficient coordination of their state-jurisdictional interconnection

         process with Commission-jurisdictional interconnection processes.508 Avangrid argues

         that sizable distributed energy resources should be aggregated and included in the broader

         cluster study of large and small Commission-jurisdictional generating facilities. Pine

         Gate suggests the Commission require transmission providers, on compliance, to

         “document how they will ensure that any serial processes for state-jurisdictional

         interconnection agreements will interact with the required cluster study process” and

         explain how the interconnection queue position of qualifying facilities (QFs) will not be

         prejudiced by the transition to a cluster study process.509

                                       iii.   Commission Determination

                We adopt the NOPR proposal to revise the pro forma LGIP and pro forma LGIA

         to make cluster studies the required interconnection study method. We find that the

         move from the serial study process in the pro forma LGIP to the proposed cluster study


                507
                      National Grid Initial Comments at 16.
                508
                      Avangrid Initial Comments at 12.
                509
                      Pine Gate Initial Comments at 15.
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         process, alongside the other reforms adopted in the final rule, will remedy the unjust and

         unreasonable rates discussed in Section II of this final rule. Specifically, we believe that

         this reform will help remedy the problems of the existing interconnection process for

         large generating facilities in several ways. First, the cluster study process will increase

         efficiency because transmission providers can perform larger interconnection studies

         encompassing many proposed generating facilities, rather than separate studies for each

         individual interconnection customer.510 The cluster study process will provide greater

         certainty to interconnection customers, regarding both the timing of studies and the

         magnitude of network upgrade costs. Coupled with the increased financial commitments

         and requirements to enter the interconnection queue, such as a demonstration of site

         control, as discussed further below, the cluster study process will also disincentivize

         interconnection customers from submitting interconnection requests for speculative

         generating facilities and ensure that ready, more viable proposed generating facilities can




                510
                    NOPR, 179 FERC ¶ 61,194 at P 64; May Joint Task Force Tr. 46:15-19
         (Clifford Rechtschaffen) (stating that CAISO’s cluster process has been helpful and
         important for improving interconnection queue processing and that clustering “is a best
         practice and should be promoted”); EEI Initial Comments at 2, 5; ELCON Initial
         Comments at 2, 8; EPSA Initial Comments at 6; Idaho Power Initial Comments at 4;
         Indicated PJM TOs Initial Comments at 10; Pennsylvania Commission Initial Comments
         at 5-6; see also May Joint Task Force Tr. 43:25-44:4 (Riley Allen) (“Clustering helps the
         regions identify what I’ll call the backbone or trunk facilities that provide efficiencies in
         the system to the benefit ultimately of ratepayers. New England has been relying on
         clustering and I’m told that that’s going very well.”); 42:3-9 (Gladys Brown Dutrieuille)
         (explaining that clustering has two goals: minimizing the study time and minimizing the
         first mover disadvantage by sharing costs among those resources that need the same
         upgrades).
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         proceed through the study process.511 We also expect that the cluster study process will

         result in fewer withdrawals because conducting a single cluster study and cluster restudy

         will minimize delays that arise from proposed generating facility interdependencies under

         the existing serial study process, in which lower-queued interconnection customers can

         strategically and monetarily benefit from network upgrades and associated costs borne

         earlier in the interconnection process by higher-queued interconnection customers. We

         further expect that the cluster study process will minimize the risk of cascading restudies

         when an interconnection customer withdraws.512

                We are not persuaded by Enel’s request that the Commission adopt smaller, more

         local regional groupings of proposed generating facilities in interconnection studies and

         lower minimum impact thresholds for determining upgrades.513 We find the record

         insufficient to support these additional requirements. We also decline requests to allow

         transmission providers to either continue to use a serial study process or to create a

         parallel serial study process514 because, as discussed further below, we find that



                511
                   ELCON Initial Comments at 9; EPSA Initial Comments at 6; NYTOs Initial
         Comments at 7; Ohio Commission Consumer Advocate Initial Comments at 8; SoCal
         Edison Initial Comments at 4; State Agencies Initial Comments at 12.
                512
                   Cypress Creek Initial Comments at 12; Dominion Initial Comments at 14;
         SEIA Initial Comments at 7.
                513
                      Enel Initial Comments at 13.
                514
                   AECI Initial Comments at 5; AEP Reply Comments at 4; Avangrid Reply
         Comments at 4-5; CREA and NewSun Initial Comments at 44; ELCON Initial Comments
         at 9; SPP Initial Comments at 5; Vermont Electric and Vermont Transco Initial
         Comments at 2-3.
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         establishing in the pro forma LGIP a separate interconnection process outside the cluster

         study process could detract from transmission providers’ efforts to efficiently process

         cluster studies, and would be insufficient to ensure that interconnection customers are

         able to interconnect to the transmission system in a reliable, efficient, transparent, and

         timely manner.

                In response to requests to allow variation in how clusters are formed,515 we

         emphasize that the reforms to the pro forma LGIP adopted in this final rule do not

         prescribe how transmission providers should form clusters.

                In response to National Grid,516 we decline to clarify whether the proposed cluster

         study process encompasses energy or capacity interconnection service requests. “Energy

         interconnection requests” and “capacity interconnection requests” are not defined terms

         in the pro forma LGIP, and we decline to define them here. We do not believe that such

         detail is needed for transmission providers to implement the reforms adopted herein.

                In response to Avangrid,517 we encourage relevant state entities to consider the

         efficient coordination of their state-jurisdictional interconnection processes with

         Commission-jurisdictional interconnection processes.




                515
                Clean Energy States Initial Comments at 10; CREA and NewSun Reply
         Comments at 12-13; Pacific Northwest Utilities Initial Comments at 6-9; R Street Initial
         Comments at 11.
                516
                      National Grid Initial Comments at 16.
                517
                      Avangrid Initial Comments at 12.
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                In response to requests to create some form of generating facility prioritization,518

         we are neither persuaded that such prioritization is needed, nor do we have an adequate

         record to dictate how generating facility prioritization should be implemented in a just,

         reasonable, and not unduly discriminatory or preferential manner.

                Finally, we decline to adopt the following proposals advocated by some

         commenters because they are outside the scope of this proceeding: (1) AEE’s request

         that the Commission consider further reforms to more closely link generator

         interconnection and long-term regional transmission planning process;519 (2) Cypress

         Creek’s request to require transmission providers to allow interconnection customers to

         seek energy-only injection as a default and provide a subsequent process (needed to

         address capacity-market constructs) by which an interconnection customer can add firm

         rights;520 (3) Pine Gate’s suggestion for the Commission to require transmission

         providers to document on compliance how they will ensure that any serial study

         processes for state-jurisdictional interconnection agreements will interact with the

         required cluster study process and explain how the interconnection queue position of QFs

         will not be prejudiced by the transition to a cluster study process;521 and (4) AEE’s and




                518
                   AEE Reply Comments at 8; Cypress Creek Initial Comments at 12; NARUC
         Initial Comments at 11-12; Western Regulators Initial Comments at 1.
                519
                      AEE Initial Comments at 10.
                520
                      Cypress Creek Initial Comments at 8-9.
                521
                      Pine Gate Initial Comments at 15.
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         Clean Energy Associations’ request that the Commission also harmonize study standards

         and assumptions.522 We find that these proposals are outside the scope of this proceeding

         as the Commission did not propose specific reforms on these issues, and we find an

         inadequate record to fully consider or adopt these requested changes.

                                   b.      Defined Terms in the Pro Forma LGIP and Pro Forma
                                           LGIA

                                           i.    NOPR Proposal

                   In the NOPR, the Commission proposed to add several new defined terms (such as

         cluster, cluster study process, and cluster request window) and to revise several defined

         terms (such as stand alone network upgrade and material modification) in section 1 of the

         pro forma LGIP and article 1 of the pro forma LGIA.523

                                           ii.   Comments

                   Starting with the proposed definition of stand alone network upgrade, a few

         commenters support the Commission’s proposal.524 Tri-State suggests adding to the

         definition of stand alone network upgrade that a transmission provider’s interconnection

         facilities may be shared by more than one generating facility in a given cluster study,

         including a co-located resource.525



                   522
                         AEE Initial Comments at 10; Clean Energy Associations Initial Comments at
         21, 28.
                   523
                         NOPR, 179 FERC ¶ 61,194 at P 65.
                   524
                         Ameren Initial Comments at 9; MISO Initial Comments at 32.
                   525
                         Tri-State Initial Comments at 25.
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                Other commenters oppose the proposed revisions to the definition of stand alone

         network upgrade. Clean Energy Associations argue that the proposal to modify the

         definition of stand alone network upgrade to restrict it to those needed only for a single

         interconnection customer is problematic and counterproductive.526 Clean Energy

         Associations contend that allowing interconnection customers the right to self-build

         interconnection facilities and stand alone network upgrades since Order No. 845 has

         served as a welcome relief valve to transmission providers’ lengthy construction

         timelines, giving customers increased control of both the time and cost for building these

         upgrades. As an alternative, Clean Energy Associations suggest an approach similar to

         ISO-NE’s for network upgrades that are needed for multiple interconnections where an

         independently developed elective network upgrade, if selected by all of the

         interconnection customers in the cluster that require the network upgrade, can take the

         place of the incumbent-built cluster enabling network upgrade.

                Pine Gate states that in its experience, after Order No. 845, transmission providers

         have taken a very narrow view of the facilities that constitute stand alone network

         upgrades, and thus the potential for interconnection customers to exercise the option to

         build has not been fully realized.527 Pine Gate asserts that the proposed change would

         further restrict the opportunity for interconnection customers to exercise the option to


                526
                      Clean Energy Associations Initial Comments at 22-23.
                527
                  Pine Gate Initial Comments at 63-64 (citing Comments of Pine Gate, Docket
         No. RM21-17-000, at 9-10 (filed Oct. 12, 2021); Order No. 2003, 104 FERC ¶ 61,103 at
         PP 85, 353).
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         build, exacerbate construction delays, and result in a lack of competition to construct

         stand alone network upgrades, ultimately harming consumers. Pine Gate therefore

         recommends that the Commission not modify the definition of stand alone network

         upgrade as proposed and instead grant the interconnection customer with the largest

         projected impact on a potential stand alone network upgrade facility the ability to elect

         the option to build with priority falling to each interconnection customer based on the

         next largest impact on the stand alone network upgrades.

                Enel argues that the Commission should not adopt the proposed substantive

         revisions to the definition of stand alone network upgrades and should instead expand the

         definition of stand alone network upgrades to include upgrades to an existing

         transmission facility which involves a transmission line or substation being entirely

         rebuilt.528 Enel offers suggestions for implementing a third-party option that would give

         interconnection customers more control over the cost and schedule of larger network

         upgrades, resolving a frequent barrier to bringing needed generating facilities online. To

         that end, Enel states that pro forma LGIA article 5.1 could be modified to specify that the

         option to build is only eligible for stand alone network upgrades funded by a single

         interconnection customer, while the proposed third-party option could be used for all

         stand alone network upgrades, including line and substation rebuilds.




                528
                      Enel Initial Comments at 55-56.
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                Moving to the proposed definition of material modification, some commenters

         support the Commission’s proposal.529 Ørsted urges the Commission to ensure that under

         the newly proposed definition of material modification, any changes to a proposed

         generating facility that occur on the generating facility side of the point of

         interconnection that do not result in changes to the electrical output at the point of

         interconnection or the electrical characteristics of the generating facility’s

         interconnection: (1) will not be deemed to be a material modification; and (2) will not

         result in the termination of the interconnection customer’s queue position.530

                Ameren suggests that the Commission consider clarifying the proposed definition

         of material modification, so that cost and timing are factors to be considered in addition

         to when the transmission provider determines changes to the point of interconnection are

         otherwise material (e.g., from an electrical standpoint).531 Ameren states that the

         Commission may want to consider whether the change should only be triggered by a

         change to the point of interconnection or whether a change to the inverters or other pieces

         of equipment in the interconnecting generating facility, which could require other

         upgrades, should also result in the determination of a material modification.




                529
                      Ameren Initial Comments at 9; MISO Initial Comments at 32.
                530
                      Ørsted Initial Comments at 8.
                531
                      Ameren Initial Comments at 9.
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                EPSA asks the Commission to be clearer in determining a standard definition of a

         material modification.532 EPSA argues that, at minimum, the Commission should direct

         each RTO/ISO or each NERC region to establish clear criteria for the evaluation of

         material modifications.

                                      iii.   Commission Determination

                We adopt the proposed revisions to section 1 of the pro forma LGIP and article 1

         of the pro forma LGIA to revise and add several defined terms. Specifically, we adopt

         the proposed revisions to the definition of stand alone network upgrade to clarify that, for

         a network upgrade to be eligible for treatment as a stand alone network upgrade, the

         network upgrade must be required for only one interconnection customer and must meet

         the other existing requirements in the definition of stand alone network upgrade. We

         address further modifications to the definition of stand alone network upgrade below

         where discussing network upgrade cost allocation (Section III.A.4.c of this final rule).

         We also adopt the proposed revisions to the definition of material modification, which

         account for the equal interconnection queue position of proposed generating facilities that

         are part of the same cluster. We also modify the NOPR proposal to define

         interconnection facilities study report.

                With respect to the definition of stand alone network upgrade, in response to Clean

         Energy Associations’ concerns, we note that we do not remove the right to self-build

         interconnection facilities and stand alone network upgrades established in Order No. 845.


                532
                      EPSA Initial Comments at 13.
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         Rather, we are explicitly maintaining the status quo, which is to say that, under the

         existing pro forma LGIP, there is no potential for a stand alone network upgrade to be

         shared by more than one interconnection customer. With the revision proposed in the

         NOPR and adopted here, we are ensuring that within the structure of a cluster study

         process adopted in this final rule, stand alone network upgrades continue to be defined as

         only those required for a single interconnection customer, and therefore the option to

         build is only available for a single interconnection customer. Were we to not adopt this

         revision, multiple interconnection customers could potentially attempt to construct the

         same stand alone network upgrades, leading to confusion and potentially lengthy

         negotiations and/or disputes regarding which interconnection customer had the right to

         construct the stand alone network upgrade. Additionally, with regard to Clean Energy

         Associations’ request that the Commission consider an approach similar to ISO-NE’s for

         certain upgrades that are needed for multiple interconnections, we decline to adopt this

         approach because it is outside the scope of this proceeding. We are not proposing in this

         proceeding to modify the pro forma LGIP to address the cost responsibility and division

         of work between interconnection customers that may share cost allocation for stand alone

         network upgrades.

                Similarly, Tri-State, Pine Gate, and Enel argue that the Commission should

         expand the definition of stand alone network upgrade, thereby expanding the right of

         interconnection customers to build certain network upgrades. These requests are outside

         the scope of this proceeding, which is not proposing to modify the scope of

         interconnection customers’ option to build certain stand alone network upgrades but
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         rather is only revising definitions insofar as is necessary to implement reforms adopted

         elsewhere in this final rule. For the same reason, we decline to expand the definition of

         material modification, as Ørsted, Ameren, and EPSA request.533

                               c.      Definitive Point of Interconnection

                                       i.    NOPR Proposal

                In the NOPR, the Commission proposed to add new section 3.1.2 to the pro forma

         LGIP and therein to require interconnection customers to select a definitive point of

         interconnection to be studied no later than the execution of the cluster study agreement.

         The Commission also proposed that, upon mutual agreement, the transmission provider

         may make reasonable changes to the requested point of interconnection to facilitate

         efficient generator interconnection of clustered interconnection requests at common

         points of interconnection.534

                                       ii.   Comments

                MISO supports the Commission requiring the selection of a definitive point of

         interconnection when executing the cluster study agreement; however, MISO encourages

         the Commission to require the selection of a definitive point of interconnection even

         earlier, as part of the interconnection request.535 MISO notes that requiring an earlier




                533
                   See Ameren Initial Comments at 9; EPSA Initial Comments at 13; Ørsted
         Initial Comments at 8.
                534
                      NOPR, 179 FERC ¶ 61,194 at P 66.
                535
                      MISO Initial Comments at 33-34.
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         selection of the definitive point of interconnection will assist in interconnection queue

         processing, as a transmission provider would not be able to begin modeling work if the

         interconnection customer is permitted to wait until a later point in time to select its

         definitive point of interconnection. MISO further argues that the definitive point of

         interconnection (even if subject to change) should be selected prior to any scoping

         meeting. MISO also supports the proposed language that limits the ability of the

         interconnection customer to change its point of interconnection after the submission of

         interconnection request.

                  Other commenters do not support the Commission’s proposal to require a

         definitive point of interconnection when executing the cluster study agreement.536

         ACE-NY supports making the demonstration of a feasible point of interconnection a

         requirement for a generating facility to move into the facilities study phase of the

         generator interconnection process.537

                  Pine Gate and CREA and NewSun assert that the Commission should modify its

         proposal to permit interconnection customers to request alternative points of

         interconnection.538 Pine Gate argues that the Commission should permit interconnection

         customers to request a study of a primary and secondary point of interconnection within


                  536
                  ACE-NY Initial Comments at 3; CREA and NewSun Initial Comments at 47;
         Pine Gate Initial Comments at 15.
                  537
                        ACE-NY Initial Comments at 3-4.
                  538
                        CREA and NewSun Initial Comments at 47-48; Pine Gate Initial Comments at
         15-16.
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         one or two electrical buses, then select a point of interconnection restudy after receiving

         initial cluster study results.539 Similarly, CREA and NewSun assert that the Commission

         should permit alternative points of interconnection, and collective points of

         interconnection for proposed generating facilities in a cluster (e.g., those that could

         connect to a single substation), to be proposed and studied, at least through the system

         impact study in order to obtain more complete cost information.540

                Enel suggests that, in the second paragraph of proposed section 3.1.2 of the

         pro forma LGIP, the Commission should change the word “make” to “propose” in the

         following quoted language: “For purposes of clustering Interconnection Requests,

         Transmission Provider may make reasonable changes to the requested Point of

         Interconnection.”541 Enel explains that this would clarify that any such changes can only

         be made with the consent of the interconnection customer, as specified in the proposed

         new final sentence to that paragraph.

                                       iii.   Commission Determination

                We adopt the proposed section 3.1.2 of the pro forma LGIP insofar as it requires

         an interconnection customer to select a definitive point of interconnection to be studied

         when executing the cluster study agreement, with one modification discussed below.




                539
                      Pine Gate Initial Comments at 15-16.
                540
                      CREA and NewSun Initial Comments at 47-48.
                541
                      Enel Initial Comments at 82.
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                Requiring interconnection customers to select a definitive point of interconnection

         when executing the cluster study agreement allows the interconnection customer to

         submit its interconnection request with a proposed point of interconnection, participate in

         the scoping meeting during the customer engagement window, and receive feedback on

         its proposed point of interconnection. We believe that this strikes the right balance

         between allowing for flexibility and potential adjustments to the point of interconnection,

         based on discussion with the transmission provider and the transmission provider’s

         detailed knowledge of its transmission system, and providing transmission providers with

         the information necessary to conduct the cluster study, thus reducing the potential for

         restudies that would be required if interconnection customers could change their points of

         interconnection later in the process.

                We decline to: (1) require that the definitive point of interconnection be selected

         earlier (e.g., as part of the interconnection request);542 (2) only require that the definitive

         point of interconnection be selected later (e.g., at the facilities study phase);543 or (3)

         permit interconnection customers to submit multiple alternative points of interconnection

         for study in a single interconnection request.544 We believe that requiring the selection of

         a definitive point of interconnection earlier in the cluster study process, as suggested by




                542
                      See MISO Initial Comments at 33.
                543
                      See ACE-NY Initial Comments at 3-4.
                544
                See CREA and NewSun Initial Comments at 47-48; Pine Gate Initial
         Comments at 15-16.
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         MISO, would deprive interconnection customers of information that could aid in their

         selection. Similarly, we believe that requiring the selection of a definitive point of

         interconnection after the cluster study, as suggested by ACE-NY, or allowing multiple

         points of interconnection to be studied before the interconnection customer is required to

         select the definitive point of interconnection, as suggested by Pine Gate and CREA and

         NewSun, fails to take into account the fact that, if an interconnection customer changes

         the definitive point of interconnection after the cluster study, it will likely impact the

         study results of the other interconnection customers in the cluster and could lead to

         restudies and delays. We do not believe that the alternatives suggested by commenters

         would remedy the unjust and unreasonable status quo described in Section II of this final

         rule.

                 Finally, we agree with Enel’s suggestion to change the word “make” to “propose”

         in pro forma LGIP section 3.1.2. We modify that section to state: “For purposes of

         clustering Interconnection Requests, Transmission Provider may propose reasonable

         changes to the requested Point of Interconnection.”545 We agree that this clarifies that

         any such changes can only be made with the consent of the interconnection customer.




                 545
                       Enel Initial Comments at 82.
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                               d.      Cluster Request Window and Customer Engagement
                                       Window

                                       i.   NOPR Proposal

                In the NOPR, the Commission proposed to add new section 3.4.1 (Cluster Request

         Window) to the pro forma LGIP to require interconnection customers to submit an

         interconnection request during the cluster request window—a 45-calendar day period

         with the start date to be determined by each transmission provider (with the annual start

         date for the transmission provider’s cluster request window included in its LGIP).546 The

         transmission provider would consider all interconnection requests accepted during this

         period to have equal queue priority for purposes of the cluster study. The Commission

         also proposed to add in pro forma LGIP section 3.1.1 (Initial Study Deposit) a non-

         refundable application fee of $5,000 to be submitted with the interconnection request.

         The Commission further proposed that interconnection customers must cure deficient

         interconnection requests within 10 business days after receipt of notice from the

         transmission provider, but no later than the close of the cluster request window.

                The Commission also proposed to add new pro forma LGIP section 3.4.5

         (Customer Engagement Window), which provides that, following the close of the cluster

         request window, the transmission provider begins a 30-calendar day customer

         engagement window.547 New pro forma LGIP section 3.4.5 also requires the




                546
                      NOPR, 179 FERC ¶ 61,194 at P 67.
                547
                      Id.
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         transmission provider to post within the first 10 business days following the close of the

         cluster request window a list of interconnection requests for that cluster.

                                      ii.    Comments

                Clean Energy Associations support the proposal to require interconnection

         customers to submit interconnection requests during the cluster request window.548

         MISO supports the Commission requiring a definitive application deadline as part of the

         implementation of cluster studies, and equal interconnection queue priority for all

         interconnection requests submitted prior to that deadline, but does not see an intrinsic

         value in a defined application start time.549 MISO supports granting interconnection

         customers flexibility to submit an interconnection request earlier than the beginning of a

         cluster request window. Noting that, under proposed pro forma LGIP section 3.4.5,

         interconnection requests that are deemed valid during the customer engagement window

         are placed into the cluster study, Southern proposes that if an interconnection request is

         not deemed valid, the interconnection request should be withdrawn from the

         interconnection queue.550




                548
                      Clean Energy Associations Initial Comments at 19.
                549
                    MISO Initial Comments at 35 (noting that, under the MISO tariff, all
         interconnection requests received after the application deadline “shall be applied towards
         the following Definitive Planning Phase cycle”) (citing MISO, FERC Electric Tariff,
         attach. X, § 3.3.1 (158.0.0)).
                550
                      Southern Initial Comments at 37.
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                MISO expresses concern that the timelines listed in the customer engagement

         window for posting information are impractical.551 MISO asserts that the Commission

         should not require a posting so near to the close of the cluster request window because

         the transmission provider must devote its resources to reviewing the interconnection

         requests for deficiencies.552 MISO contends that this information would only be useful at

         this time to interconnection customers with speculative interconnection requests that may

         be trying to determine if their proposed generating facility is economically viable and that

         may be trying to identify a point of interconnection change to increase the viability of

         their interconnection requests.

                MISO argues that the Commission should not require any informational posting

         pertaining to an interconnection request prior to the interconnection customer’s

         finalization of the interconnection request because a definitive point of interconnection

         has not yet been selected.553 MISO highlights that the proposed pro forma LGIP section

         3.4.5 requires the transmission provider’s OASIS posting to include “(3) the station or

         transmission line where the interconnection will be made.”554 However, MISO notes that

         an interconnection customer is not required to select a definitive point of interconnection




                551
                      MISO Initial Comments at 36.
                552
                    Id. (stating that a majority of its interconnection requests are submitted on the
         last day of the application window, or two days prior at most).
                553
                      Id. at 36-37.
                554
                      Id. at 37.
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         until the end of the customer engagement window. As such, MISO contends that the

         posting requirement is impossible if the transmission provider is required to post the

         point of interconnection. MISO argues that the Commission should not require any

         posting until a reasonable period after the interconnection customer is required to select

         its definitive point of interconnection and the information is complete, such as when the

         customer engagement window is completed and cluster studies are about to begin.

                Regarding the makeup of the cluster, Clean Energy States assert that the cluster

         study process should allow for changes in the makeup of the cluster, and that the study

         process may identify ways to improve a cluster to provide better performance for the

         transmission system, such as by adding or subtracting certain interconnection requests

         from the cluster.555 Clean Energy States assert that a transmission provider should be

         able to modify the cluster in response to interconnection customer changes or study

         findings without threatening the interconnection customer’s queue priority or paying

         penalties.

                EPSA argues that the final rule should specify that transmission providers are

         required to work with interconnection customers during the customer engagement

         window and study agreement negotiation in a manner that is fair and equitable regarding

         the study models to be used, data verification, and stakeholder engagement—regardless




                555
                      Clean Energy States Initial Comments at 8-9.
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         of the planning or procurement method used by the prospective interconnection

         customer.556

                Enel recommends that the Commission consolidate the interconnection request

         and cluster and facilities study agreements into a single study agreement to be submitted

         at the time of application.557 Enel also recommends that the Commission include

         language in the pro forma LGIP that provides that transmission providers will not post

         information about interconnection requests proceeding through or withdrawing from the

         interconnection queue until all interconnection requests submitted within a cluster request

         window successfully meet their milestone requirements to proceed, withdraw, or fail to

         cure their breach within the specific cure period.558

                Regarding the length of the cluster request window, some commenters support the

         proposed 45-calendar day time frame for the cluster request window.559 Although it

         supports the 45-calendar day time frame, Eversource suggests the Commission add more

         structure to this element of its proposal by establishing rules that enable potential




                556
                      EPSA Initial Comments at 7.
                557
                      Enel Initial Comments at 13.
                558
                      Id. at 48.
                559
                Eversource Initial Comments at 13; Clean Energy Associations Initial
         Comments at 19.
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         interconnection customers to be informed of when the request windows will be open and

         how to prepare to apply.560

                Other commenters argue that the proposed 45-calendar day time frame for the

         cluster request window is too short and should be increased to 60 calendar days.561 ISO-

         NE states that, based on its experience implementing its forward capacity market process,

         each of the cluster study windows proposed in the NOPR should be extended to help

         ensure an efficient cluster study process.562 Pine Gate also argues that a longer cluster

         request window would reduce the burden on transmission providers by providing more

         time to administer their deficiency notice processes.563 Pine Gate explains that, for larger

         interconnection customers that may be developing numerous interconnection requests for

         multiple transmission providers, overlapping cluster request windows are likely.

         Additionally, Pine Gate contends that, as contemplated by the NOPR, it is likely that

         increased requirements and additional information for interconnection customers will be




                560
                      Eversource Initial Comments at 13.
                561
                   ISO-NE Initial Comments at 22-23; Pine Gate Initial Comments at 16; PJM
         Initial Comments at 19-20.
                562
                   ISO-NE Initial Comments at 22. ISO-NE requests that the Commission
         consider the following windows for the cluster study process: (i) cluster request window
         – 60 calendar days; (ii) customer engagement window – 90 calendar days; (iii) cluster
         study – 270 to 365 calendar days (depending on the size of a given cluster); (iv) cluster
         restudy – 150 calendar days; and (v) facilities study – 90 to 180 calendar days. Id. at 23.
                563
                      Pine Gate Initial Comments at 16.
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         due at the time of interconnection queue entry (e.g., the complex modeling required to be

         submitted) and burdensome to accommodate in the proposed time frame.

                On the other hand, some commenters argue that a shorter cluster request window

         is appropriate. CAISO argues that longer cluster request windows result in low quality

         requests because interconnection customers have more time within the window to fix

         their submissions.564 CAISO contends that its use of a shorter 15-day interconnection

         request completeness window followed by a longer validation and scoping meeting

         window have significantly improved interconnection request quality and the speed with

         which CAISO processes requests. 565 Similarly, Tri-State recommends that the cluster

         request window be shortened because, based on its experience, most interconnection

         requests submitted in the cluster request window are received the last two days of the

         request window.566

                Regarding the requirement for correcting deficiencies in the proposed pro forma

         LGIP section 3.4.4 (Deficiencies in Interconnection Request), Tri-State argues that

         requiring interconnection customers to provide any requested information within



                564
                      CAISO Initial Comments at 9.
                565
                   Id. (citing CAISO, CAISO Tariff, app. DD, §§ 3.5.1, 3.5.2.2 (16.0.0); id. §
         6.1.2 (21.0.0)).
                566
                     Tri-State states that during its 2022 definitive interconnection system impact
         study request window, 75% of the interconnection requests were received during the last
         two days of the request window, and 50% of the interconnection requests were received
         in the last two days of the 2021 definitive interconnection system impact study request
         window. Id. at 10.
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         10 business days after receiving notice of deficiencies in the interconnection request, but

         no later than the close of the cluster request window, does not take into account that most

         requests are not submitted until the last day of the cluster request window.567

                Regarding the number of cluster request windows opened each year, a couple of

         commenters argue that there should be more than one cluster request window per year.568

         Clean Energy States assert that, because presumably there will be fewer generator

         interconnection studies to be done, transmission providers should provide opportunities

         more frequently (e.g., quarterly) for interconnection customers to submit interconnection

         requests.569 Environmental Defense Fund argues that the Commission should require that

         the cluster request windows occur bi-annually, rather than once a year, to reduce the

         delay caused by missing a cluster request window while still covering a large enough

         time period that a number of interconnection requests will be included in each cluster.570

                Southern generally agrees with the Commission that a cluster study process,

         including the individual facilities study, should be completed within a year, but

         recommends eliminating unnecessary delays, such as multiple, overlapping clusters, by

         only permitting one cluster study at a time (i.e., that a new cluster should not commence




                567
                      Tri-State Initial Comments at 27.
                568
                Clean Energy States Initial Comments at 9; Environmental Defense Fund Initial
         Comments at 4.
                569
                      Clean Energy States Initial Comments at 9.
                570
                      Environmental Defense Fund Initial Comments at 4.
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         until the previous cluster has been completed).571 According to Southern, under this

         format, an annual cluster study can be performed because the previous cluster study

         process has been completed. Southern asserts that overlapping cluster study processes

         will not help end interconnection queue backlogs and uncertainty, but rather add to them.

                Regarding the length of the customer engagement window, Clean Energy

         Associations support the proposed 30-calendar day time frame for the customer

         engagement window as a baseline.572 A number of commenters argue that the proposed

         30-calendar day customer engagement window is too short and recommend a longer

         window.573 Duke Southeast Utilities argue that, based on experience with Duke

         Carolinas Utilities’ cluster study process, which includes a 60-calendar day customer

         engagement window, the proposed 30-calendar day customer engagement window may

         not provide sufficient time to facilitate robust engagement.574 Duke Southeast Utilities

         therefore urge the Commission to adopt a 60-calendar day customer engagement window.

         Xcel describes PSCo’s recent interconnection queue reform, which extended the




                571
                      Southern Initial Comments at 23-24.
                572
                      Clean Energy Associations Initial Comments at 19.
                573
                   APS Initial Comments at 10-11; CAISO Initial Comments at 8, 10-11; Duke
         Southeast Utilities Initial Comments at 8; ISO-NE Initial Comments at 23; Tri-State
         Initial Comments at 9-10; PJM Initial Comments at 20.
                574
                      Duke Southeast Utilities Initial Comments at 8.
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         customer engagement window to 95 calendar days to allow interconnection customers

         additional time to reevaluate their readiness in a way that includes other customers.575

                ISO-NE suggests a 90-calendar day customer engagement window.576 In addition,

         ISO-NE suggests that the Commission clarify that transmission providers may withdraw

         interconnection requests for which the models and data do not meet the requirements

         following the customer engagement window in order to improve efficiency. ISO-NE

         further asks that the Commission recognize the role of the participating transmission

         owners in performance of interconnection studies and build time into the cluster study

         time frames that accounts for this coordination.

                Indicated PJM TOs argue that there should be a 30-calendar day window after the

         date that the cluster request window closes, and between the time the transmission

         provider posts the interconnection cases for the cluster study and the cluster study

         commences, during which interconnection customers qualified to receive CEII

         information have the opportunity to conduct their own studies with the transmission

         provider’s base case and the new interconnection service requests. Indicated PJM TOs

         assert that during this time, interconnection customers should be able to withdraw their

         interconnection request with minimal financial impact.577



                575
                  Xcel Initial Comments at 21 (citing Pub. Serv. Co. of Colo., Docket No. ER22-
         2087-000 (Aug. 9, 2022) (delegated order)).
                576
                      ISO-NE Initial Comments at 23.
                577
                      Indicated PJM TOs Reply Comments at 6-7.
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                APS states that multiple customers requesting individual scoping meetings could

         place a significant burden on the transmission provider to schedule several meetings

         under a condensed time frame if the customer engagement window remains 30 calendar

         days.578 For example, APS states that, assuming all notifications of valid interconnection

         requests are made by the time the customer engagement window starts, the

         interconnection customer has 15 business days to request an individual meeting and, if an

         interconnection customer uses all 15 business days, that is a minimum 21 calendar days

         out of the total 30 calendar days of the overall customer engagement window. APS

         contends that this leaves nine calendar days at most (i.e., no more than seven business

         days) to schedule an individual customer meeting, which could be less if there are

         holidays occurring within the customer engagement window.

                Similarly, Tri-State argues that the proposed 30-day customer engagement

         window is not sufficient to meet the purpose of the customer engagement window and

         recommends it be extended to allow adequate time to cure deficiencies and hold

         individual scoping meetings.579 Tri-State argues that a 75-day customer engagement

         window would give interconnection customers an opportunity to: (1) assess the viability

         of their proposed generating facilities before committing to the interconnection process




                578
                      APS Initial Comments at 10.
                579
                      Tri-State Initial Comments at 9, 10.
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         and subjecting themselves to a withdrawal penalty; and (2) cure deficiencies in their

         interconnection requests.580

                                        iii.   Commission Determination

                 We adopt the proposed new pro forma LGIP section 3.4.1 (Cluster Request

         Window), which provides that interconnection customers must submit an interconnection

         request during a specified period—the cluster request window—a 45-calendar day period

         with the start date to be determined by each transmission provider. We also adopt the

         non-refundable $5,000 application fee required to be submitted with the interconnection

         request.581 We also adopt the requirement that interconnection customers provide

         requested information within 10 business days of receiving an interconnection request

         deficiency notice but no later than the close of the cluster request window, as proposed

         and adopted in new pro forma LGIP section 3.4.4 (Deficiencies in Interconnection

         Request), but we modify that section to clarify the timeline for curing deficiencies. We

         modify the proposed new pro forma LGIP section 3.4.5 (Customer Engagement

         Window) and extend the customer engagement window from 30 days to 60 calendar

         days.

                 To ensure clarity for both interconnection customers and transmission providers,

         based on the record, we believe that 45 calendar days is a sufficient window to



                 580
                       Id. at 9.
                 581
                 We note that the application fee is separate from the initial study deposit,
         commercial readiness deposit, and deposit in lieu of site control.
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         adequately notify prospective interconnection customers of the formation of a new cluster

         but not so long as to delay the processing of the interconnection queue.

                Contrary to commenters’ assertions, we are not persuaded to extend the cluster

         request window. We do not believe that more time is needed for transmission providers

         to work with interconnection customers that submitted invalid interconnection requests to

         cure deficiencies, particularly given the limit we adopt on the time for such additional

         information to be submitted by interconnection customers, and because the start date of

         the cluster request window will be included in the transmission provider’s LGIP for

         prospective interconnection customers. We similarly do not believe that shortening the

         cluster request window would result in fewer “low quality” interconnection requests, as

         CAISO argues. Given the package of reforms adopted in this final rule, we expect fewer

         speculative interconnection requests and that interconnection customers will be more

         likely as a result of this final rule to submit interconnection requests for proposed

         generating facilities that they believe are viable and ready to move forward in the

         interconnection process.

                As for Tri-State’s concern about the requirement for correcting deficiencies in new

         pro forma LGIP section 3.4.4 (Deficiencies in Interconnection Request),582 we clarify

         that the 10-business day window is the maximum time allowed to submit a response.

         This means that an interconnection customer that submits its interconnection request

         more than 10 business days before the close of the cluster request window will have a full


                582
                      Tri-State Initial Comments at 27.
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         10 business days to submit a response, whereas an interconnection customer that does not

         submit its interconnection request until less than 10 business days before the close of the

         cluster request window will have however many days remain in the cluster request

         window to respond to any deficiencies. Accordingly, we modify pro forma LGIP section

         3.4.4 to provide that if the interconnection customer does not respond before the

         deadline: (1) the interconnection request is immediately deemed withdrawn (without the

         cure period provided under pro forma LGIP section 3.7); (2) the application fee is

         forfeited to the transmission provider; and (3) because the cluster study has not

         commenced, the study deposit and commercial readiness deposit are returned to the

         interconnection customer.

                We decline to adopt revisions to the pro forma LGIP to require biannual or

         quarterly cluster study windows, as suggested by Clean Energy States and Environmental

         Defense Fund. Based on the record, we are not convinced that mandating multiple

         cluster request windows per year will result in a more efficient cluster study process,

         especially considering the various sizes of transmission provider footprints and

         interconnection queues. As we adopt an annual cluster study process, an annual cluster

         request window will allow transmission providers to dedicate resources to the cluster

         request window only once per year, dedicating their resources to the remainder of the

         cluster study process for the rest of the year. We also are not convinced by

         Environmental Defense Fund’s concern with interconnection customers missing a cluster

         request window, as the date of the start of the cluster request window will be in each

         transmission provider’s LGIP, providing sufficient notice for prospective interconnection
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         customers to prepare required application materials accordingly. We do not believe that

         additional rules are needed to govern how transmission providers will inform

         interconnection customers about the cluster request window.

                We disagree with Southern’s suggestion that the cluster study process should only

         permit transmission providers to conduct one cluster study at a time (i.e., eliminating the

         possibility of conducting multiple cluster studies at any time). Prohibiting the

         transmission provider from conducting overlapping cluster studies, in the instance where

         it is necessary to process cluster subgroups or to process delayed studies, would delay the

         interconnection process for interconnection customers. We therefore find that this

         suggestion would contribute to more backlogs and uncertainty, as delays to any cluster

         study would significantly delay cluster studies for all remaining interconnection requests

         in an interconnection queue and would be insufficient to ensure that interconnection

         customers are able to interconnect to the transmission system in a reliable, efficient,

         transparent, and timely manner. Transmission providers with the capacity to conduct

         multiple cluster studies at a given time should be permitted to do so to facilitate more

         effective and efficient interconnection processes.

                In response to MISO’s concern about posting requirements close to the conclusion

         of the cluster request window, we reiterate that we are extending the length of the

         customer engagement window from the proposed 30 calendar days to 60 calendar days,

         which will allow transmission providers a total of 60 calendar days from the close of the

         cluster request window to post the list of interconnection requests for that cluster.
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                MISO argues that the Commission should not require any OASIS posting prior to

         the interconnection customer’s finalization of the interconnection request because a

         definitive point of interconnection would have not yet been selected.583 While we

         recognize MISO’s concern about transmission providers posting interconnection request

         information on OASIS that may later change, we find that providing as much information

         as possible to interconnection customers early in the customer engagement window

         provides important transparency to improve interconnection queue processing. Providing

         information about other interconnection requests that may be studied within the same

         cluster to interconnection customers considering whether to execute a cluster study

         agreement and to continue with the cluster, may help them determine the viability of their

         proposed generating facilities, making it less likely that interconnection customers will

         withdraw later in the cluster study process, triggering delays and restudies and the

         associated problems discussed in Section II of this final rule.

                We disagree with Clean Energy States’ assertion that a cluster should be able to be

         modified in response to interconnection customer changes or study findings without

         threatening the interconnection customer’s relative queue priority or paying penalties.584

         Any interconnection customer that submits a valid interconnection request during the

         customer request window will become part of the cluster, if the interconnection customer

         chooses to execute a cluster study agreement by the end of the customer engagement


                583
                      MISO Initial Comments at 36-37.
                584
                      Clean Energy States Initial Comments at 9.
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         window. The transmission provider may not modify the makeup of the cluster or pick

         and choose which interconnection customers to keep in the cluster in the way Clean

         Energy States describes. We also note that interconnection customers can request a

         modification assessment pursuant to section 4.4 of the pro forma LGIP.

                Regarding the customer engagement window, we adopt the NOPR proposal to add

         a new section 3.4.5 (Customer Engagement Window) to the pro forma LGIP, which

         provides that, following the close of the cluster request window, the transmission provider

         begins a customer engagement window. Additionally, we modify the proposal to extend

         the customer engagement window from 30 calendar days, as proposed, to 60 calendar

         days. Under this provision, the transmission provider must post new cluster information

         on OASIS with details of each interconnection request for that cluster, including

         information on the amount of interconnection service and the location of the proposed

         generating facility, within the first 10 business days of the customer engagement window.

         While we extend the customer engagement window from 30 calendar to 60 calendar days,

         we retain the proposed 10 business day deadline by which the transmission provider

         must post new cluster information on OASIS. We find that it is more beneficial for

         interconnection customers to have this information as early as possible, such that they are

         able to assess the composition of the cluster and make informed choices moving forward

         with their interconnection requests earlier rather than later in the customer engagement

         window. Further, during the customer engagement window, an interconnection customer

         may withdraw its interconnection request without penalty.
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                We extend the customer engagement window to 60 calendar days in response to

         numerous commenters’ arguments that 30 calendar days is insufficient to adequately

         engage with interconnection customers in a cluster, including based on experience

         implementing a similar cluster study process to that we require as part of this final rule.585

         By extending the customer engagement window, we provide transmission providers with

         additional time to conduct individual meetings with interconnection customers that

         submitted interconnection requests within the cluster request window, lessening the

         burden on transmission providers, particularly larger transmission providers such as

         RTOs/ISOs.586 At the same time, we provide interconnection customers with more time

         to consider information collected during this period of engagement with the transmission

         provider—including the makeup of the cluster—and assess the continued viability of

         their proposed generating facilities before withdrawal of the interconnection request will

         incur a penalty. For example, the interconnection customer can assess the expected costs

         of potential network upgrades and the impact of those costs on the viability of its

         proposed generating facility in the context of the size and location of other

         interconnection requests in the cluster. Interconnection customers will have 46 calendar

         days to consider the posted information (which must be posted within 10 business days

         after the start of the customer engagement window). Not only will this longer time


                585
                    Duke Southeast Utilities Initial Comments at 8; PJM Initial Comments at 20;
         Xcel Initial Comments at 21 (citing Pub. Serv. Co. of Colo., Docket No. ER22-2087-000
         (Aug. 9, 2022) (delegated order)).
                586
                      PJM Initial Comments at 20; ISO-NE Initial Comments at 23.
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         period for interconnection customers to consider whether to withdraw their

         interconnection requests prior to the start of the cluster study save interconnection

         customers’ resources by avoiding future penalties, but it will also result in more efficient

         interconnection queue processing with fewer withdrawals later in the cluster study

         process—withdrawals that can trigger restudies and cause the problems discussed in

         Section II of this final rule.

                We reject Southern’s suggestion that if an interconnection request is not deemed

         valid,587 the interconnection request should be withdrawn from the interconnection queue.

         Under new section 3.4.5 of the pro forma LGIP, any interconnection requests not deemed

         valid at the close of the customer engagement window will not be included in the cluster.

         This provision is designed to ensure that interconnection customers and transmission

         providers have sufficient time to conduct scoping meetings and to discuss and

         comprehensively evaluate whether interconnection requests are fully valid during the

         customer engagement window. We find that forced withdrawals prior to the close of the

         customer engagement window could result in potentially valid interconnection requests

         being rejected prior to allowing for interconnection customers and transmission providers

         to discuss alternative interconnection options, exchange information that could impact

         such options, and conduct due diligence informed by information discussed during the

         customer engagement window per the provisions set forth in new pro forma LGIP section

         3.4.6 detailing scoping meetings.


                587
                      Southern Initial Comments at 37.
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                In response to EPSA,588 we note that transmission providers and interconnection

         customers should always work in a manner that is fair and nondiscriminatory, including

         during the customer engagement window and study agreement negotiation.

                We decline to adopt MISO’s suggestion that transmission providers allow

         interconnection customers to submit an interconnection request prior to the beginning of

         the cluster request window. We note that the cluster request window is specifically

         designed to structure when transmission providers should expect interconnection

         customers to submit interconnection requests for assessment. We find that allowing

         interconnection request submission prior to the cluster request window may be

         burdensome to transmission providers, who would have to dedicate staff and resources

         towards assessing the viability of interconnection requests before the designated request

         window opening, instead of concentrating their resources towards the prior stage of the

         interconnection process.

                We agree with Enel’s recommendation that the Commission include language in

         the pro forma LGIP that, in the cluster study process, the transmission provider will not

         post detailed information about interconnection requests proceeding or withdrawing until

         all interconnection requests successfully meet their milestone requirements to proceed,

         withdraw, or fail to cure their breach within the specific cure period. We note that

         transmission providers are required to post this information at the conclusion of the

         cluster request window, at which point interconnection customers must provide


                588
                      EPSA Initial Comments at 7.
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         significant requirements to proceed. We find that maintaining confidentiality early in the

         customer engagement window stage is appropriate to reduce opportunities for developers

         to gain competitive advantage over others before interconnection requests have been

         finalized and accepted by the transmission provider. We therefore adopt the following

         modification to section 3.4.5 of the pro forma LGIP (addition in italics): “Within

         ten (10) Business Days after the close of the Cluster Request Window, Transmission

         Provider shall post on its OASIS site a list of Interconnection Requests for that Cluster.

         The list shall identify, for each anonymized Interconnection Request[s]: (1) the requested

         amount of Interconnection Service; (2) the location by county and state; (3) the station or

         transmission line or lines where the interconnection will be made; (4) the projected In-

         Service Date; (5) the type of Interconnection Service requested; and (6) the type of

         Generating Facility or Facilities to be constructed, including fuel types, such as wind,

         natural gas, coal, or solar. The transmission provider must ensure that project

         information is anonymized and does not reveal the identity or commercial information of

         interconnection customers with submitted requests.” Further, as discussed below, we

         modify section 3.4.6 of the pro forma LGIP to require that transmission providers

         exercise the use of non-disclosure agreements to maintain confidentiality of identifying

         or commercially sensitive information for all other interconnection customers in a group

         scoping meeting.
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                                e.      Scoping Meeting

                                        i.    NOPR Proposal

                In the NOPR, the Commission proposed to renumber and revise section 3.4.4 of

         the pro forma LGIP as section 3.4.6 to provide that, during the proposed customer

         engagement window, transmission providers must hold a scoping meeting with all

         interconnection customers whose valid interconnection requests were received in that

         cluster request window.589 Revised section 3.4.6 of the pro forma LGIP would also

         require transmission providers to hold individual customer-specific scoping meetings, at

         the interconnection customer’s request, which must be requested by no later than 15

         business days after the close of the cluster request window.

                                        ii.   Comments

                MISO supports the Commission requiring individual customer-specific scoping

         meetings only when requested by interconnection customers.590 APS agrees that a single

         scoping meeting with all interconnection customers in the cluster during the customer

         engagement window is beneficial to transmission providers and eases the burden of

         scheduling individual meetings with all parties. However, APS has concerns about

         security and confidentiality.591 APS notes that, currently, each interconnection customer

         in the interconnection queue is provided a queue number that becomes the only


                589
                      NOPR, 179 FERC ¶ 61,194 at P 68.
                590
                      MISO Initial Comments at 35-36.
                591
                      APS Initial Comments at 10.
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         identifying information posted publicly. APS requests that the Commission provide

         clarity on whether the requirements to treat additional information as confidential no

         longer apply or if there is a form of good utility practice as it pertains to holding a single

         scoping meeting without revealing the identities of the other interconnection customers

         involved and some examples thereof.

                MISO expresses concern that the timelines listed in the customer engagement

         window for posting information are impractical. MISO asserts that the Commission

         should not require a posting so near the close of the request window because the

         transmission provider must devote its resources to reviewing the interconnection requests

         for deficiencies.592

                Enel and AEE argue that the Commission should also require transmission

         providers and transmission owners to hold individual, customer-specific scoping

         meetings at the request of the interconnection customer before the customer commits to

         entering the cluster.593 Enel states that an individual pre-interconnection queue scoping

         meeting would be an opportunity for the interconnection customer to ask basic questions

         that can help inform economically significant decisions an interconnection customer

         faces in deciding to enter the interconnection queue.594 As an alternative to requiring a

         pre-interconnection queue meeting, Enel suggests that the Commission could require


                592
                      MISO Initial Comments at 36.
                593
                      AEE Initial Comments at 10; Enel Initial Comments at 10.
                594
                      Enel Initial Comments at 10.
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         transmission providers to maintain an electronic inbox where prospective interconnection

         customers could submit interconnection-related questions and be guaranteed a response

         in time to inform decisions on entering the interconnection queue.

                PJM believes that “grouping kick off meetings” will reduce the burden on

         transmission owners and providers of scheduling and participating in hundreds of

         meetings, and the burden on interconnection customers of waiting for their meeting to be

         scheduled.595 PJM requests clarification that a transmission provider may group requests

         for this customer engagement window unless an interconnection customer requests

         otherwise.

                Tri-State asks the Commission to consider providing only one week to schedule

         the requested individual customer-specific scoping meeting if the interconnection

         customer does not request a scoping meeting until the fifteenth business day.596

                Noting the difficulty of coordinating in-person scoping meetings, SEIA requests

         that the Commission clarify that both generating facility-specific and cluster scoping

         meetings must provide the option for interconnection customers to attend via

         teleconference, which is currently not available in all regions.597 Enel suggests that, for

         all scoping meetings, the Commission should require transmission owners, not just

         interconnection customers and transmission providers, to attend; otherwise, Enel


                595
                      PJM Initial Comments at 20-21.
                596
                      Tri-State Initial Comments at 27.
                597
                      SEIA Initial Comments at 8.
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         continues, there could be crucial questions that the transmission provider may not be able

         to answer.598

                                       iii.   Commission Determination

                We adopt, in part, the proposed revisions to section 3.4.6 of the pro forma LGIP,

         and therefore require that, during the customer engagement window, transmission

         providers hold a scoping meeting with all interconnection customers whose

         interconnection requests were received in that cluster request window. We decline to

         adopt the NOPR proposal to require transmission providers to hold individual customer-

         specific scoping meetings at the interconnection customer’s request.

                These revisions to the pro forma LGIP align the timing and purpose of scoping

         meetings between transmission providers and interconnection customers with the

         adoption of the cluster study process in this final rule. We do not believe that providing

         the option for interconnection customers to request an individual customer-specific

         scoping meeting is necessary to ensure that interconnection customer-specific questions

         are answered as interconnection customers consider whether to remain in the

         interconnection queue for the cluster study or to withdraw their interconnection request.

         We find that this requirement would be comparatively inefficient and burdensome for

         transmission providers, leading to potentially significant interconnection delays. We thus

         find that this requirement would be inconsistent with the goal to ensure that

         interconnection customers are able to interconnect to the transmission system in a


                598
                      Enel Initial Comments at 11.
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         reliable, efficient, transparent, and timely manner. We find that the cluster-wide scoping

         meeting is an appropriate forum in which all interconnection customers can direct

         questions to transmission providers in an efficient manner without delaying the cluster

         process with unnecessarily time-consuming individual scoping meetings.

                We agree with APS’ concerns pertaining to good utility practices599 for security

         and confidentiality regarding the disclosure of potentially sensitive commercial

         information during the cluster scoping meeting that will include numerous

         interconnection customers in the cluster.600 We therefore modify section 3.4.6 of the

         pro forma LGIP to require that transmission providers use non-disclosure agreements to

         maintain confidentiality of identifying or commercially sensitive information for all other

         interconnection customers in a group scoping meeting until the close of the customer

         engagement window.

                In response to Enel and AEE,601 we will not modify the pro forma LGIP to require

         transmission providers to hold individual interconnection customer-specific scoping


                599
                    Good utility practice means “any of the practices, methods and acts engaged in
         or approved by a significant portion of the electric industry during the relevant time
         period, or any of the practices, methods and acts which, in the exercise of reasonable
         judgment in light of the facts known at the time the decision was made, could have been
         expected to accomplish the desired result at a reasonable cost consistent with good
         business practices, reliability, safety and expedition. Good utility practice is not intended
         to be limited to the optimum practice, method, or act to the exclusion of all others, but
         rather to be acceptable practices, methods, or acts generally accepted in the region.” See
         pro forma LGIP section 1 (Definitions).
                600
                      APS Initial Comments at 10.
                601
                      AEE Initial Comments at 10; Enel Initial Comments at 10.
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         meetings at the request of the interconnection customer before the interconnection

         customer commits to entering the cluster. As discussed above, we decline to adopt a

         requirement that transmission providers conduct individual interconnection customer

         scoping meetings. Additionally, as discussed above,602 we adopt the heatmap

         requirement, which will assist interconnection customers prior to entering the

         interconnection queue in evaluating the viability of their proposed generating facilities,

         and we are also permitting interconnection customers to withdraw from the

         interconnection queue without penalty prior to the close of the customer engagement

         window. With these reforms, we do not believe that pre-interconnection queue scoping

         meetings should be required to ensure just and reasonable rates.

                In response to MISO’s concern about posting requirements close to the conclusion

         of the cluster request window,603 we find that allowing transmission providers a total of

         10 business days from the close of the cluster request window to post the required list of

         interconnection requests for that cluster is a reasonable amount of time.

                In response to SEIA,604 we decline to modify the pro forma LGIP to require

         transmission providers to include an option for interconnection customers to attend via

         teleconference for cluster-wide scoping meetings. We do not believe that such level of




                602
                      See supra Section III.A.1.c.
                603
                      MISO Initial Comments at 36.
                604
                      SEIA Initial Comments at 8.
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         logistical specification governing how transmission providers choose to conduct scoping

         meetings with interconnection customers is needed in the pro forma LGIP.

                In response to Enel,605 we decline to modify the pro forma LGIP to require

         transmission owners, not just interconnection customers and transmission providers, to

         attend scoping meetings. The pro forma LGIP contemplates that the transmission owner

         and transmission provider may be the same entity, except in the case of an RTO/ISO, in

         which case the transmission owner does not have operational control of the facilities and

         does not perform cluster studies. In the case of an RTO/ISO, only the entity that

         independently administers the cluster study is required to attend the scoping meeting.

                                f.      Posting of Metrics for Cluster Study Processing Time and
                                        Restudy Processing Time

                                        i.    NOPR Proposal

                In the NOPR, the Commission proposed to revise the requirements included in

         section 3.5.2 of the pro forma LGIP to post metrics for interconnection feasibility study

         processing time and system impact study processing time, to instead require transmission

         providers to post metrics for cluster study processing time and cluster restudy processing

         time.606 The Commission also proposed to require transmission providers to post the

         time from when the transmission provider received a valid interconnection request to the

         completion of the cluster study, cluster restudy, and facilities study.




                605
                      Enel Initial Comments at 11.
                606
                      NOPR, 179 FERC ¶ 61,194 at P 69.
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                Specifically, in section 3.5.2.1 of the pro forma LGIP, the Commission proposed

         requiring that transmission providers must post the number of interconnection requests

         that had cluster studies completed within the transmission provider’s coordinated region

         during the reporting quarter that were completed more than 150 calendar days after the

         close of the customer engagement window. Similarly, in section 3.5.2.2 of the pro forma

         LGIP, the Commission proposed requiring that transmission providers must post the

         number of interconnection requests that had cluster restudies completed within the

         transmission provider’s coordinated region during the reporting quarter that were

         completed more than 150 calendar days after the transmission provider’s receipt of the

         interconnection customer’s executed cluster restudy agreement.

                In section 6.4 of the pro forma LGIP, the Commission proposed that transmission

         providers publicly post new metrics requirements on their websites pertaining to various

         technical specifications for, and impacts of, potential generating facilities on the

         transmission provider’s transmission system, requiring that these metrics must be updated

         on the transmission provider’s website “within 30 days after the completion of each

         Cluster Study and Cluster Restudy period.”607

                                      ii.    Comments

                Clean Energy Associations support the proposal to require the posting of metrics

         for cluster study processing time and cluster restudy processing time, starting from when




                607
                      Proposed pro forma LGIP section 6.4.
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         the transmission provider received a valid interconnection request.608 Clean Energy

         Associations further argue that these reports should also identify the level of accuracy of

         these studies relative to final costs.

                While supportive of the use of metrics that reflect cluster study and cluster restudy

         processing time, some commenters do not support measuring these metrics from the date

         that the transmission provider received the interconnection request.609 APS argues that

         this seems contradictory to the NOPR proposal that the 150-day timeline to process

         cluster study requests begins at the end of the customer engagement window.610 MISO

         asserts that for study metrics to be a useful measurement of whether a transmission

         provider is meeting its tariff deadlines, the start date used in the metrics must reflect

         when studies actually commence.611 MISO notes that an interconnection customer may

         choose to submit its interconnection request weeks ahead of the cluster request window

         deadline and that the time between that deadline and study commencement is variable.612

         MISO urges the Commission to allow RTOs/ISOs flexibility to maintain metrics that

         reflect their tariff deadlines, especially where the RTO/ISO already has a Commission-

         approved cluster study process.



                608
                      Clean Energy Associations Initial Comments at 20-21.
                609
                      APS Initial Comments at 9; MISO Initial Comments at 37.
                610
                      APS Initial Comments at 9.
                611
                      MISO Initial Comments at 38.
                612
                      Id. (submitting MISO’s tariff as an example).
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                Ameren contends that if the Commission retains the proposal to require the

         posting of the time from when the transmission provider received a valid interconnection

         request to the completion of the cluster study, cluster restudy, and facilities study, it

         should clarify that in the context of an RTO/ISO, “complete” refers to the final sign-off

         by the RTO/ISO.613 Ameren asserts that transmission owners within an RTO/ISO may

         act on behalf of the RTO/ISO transmission provider for purposes of certain studies;

         however, it is the RTO/ISO and not the transmission owner that decides when a study is

         complete.

                In section 6.4 of the pro forma LGIP, regarding the proposed requirement that

         “[t]hese metrics must be updated within 30 days after the completion of each Cluster

         Study and Cluster Re-study period[,]” Enel recommends that the word “period” should be

         deleted. Enel argues that the trigger should be the completion of the studies

         themselves.614

                                       iii.   Commission Determination

                We adopt the proposed revisions to section 3.5.2 of the pro forma LGIP to require

         transmission providers to post metrics for cluster study processing time and cluster

         restudy processing time, including the number of cluster studies completed within

         150 calendar days of the close of the customer engagement window. We modify

         section 3.5.2.2 of the pro forma LGIP as proposed in the NOPR to be consistent with the


                613
                      Ameren Initial Comments at 10-11.
                614
                      Enel Initial Comments at 83.
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         new requirement adopted in section 7.5 of the pro forma LGIP that cluster restudies

         should be completed within 150 calendar days of the transmission provider notifying

         interconnection customers in the cluster and that a cluster restudy is required. The

         requirement to post these metrics replaces the existing requirement to post metrics for

         interconnection feasibility study processing time and system impact study processing

         time, which were relevant for the serial study process but are no longer relevant for the

         cluster study process required by this final rule. We therefore believe that these revisions

         are necessary to implement the change from a serial study process to the cluster study

         process.

                As for the point at which to begin measuring the metrics, several commenters

         argue against using the date on which the transmission provider received the

         interconnection requests. We clarify that sections 3.5.2.1 and 3.5.2.2 of the pro forma

         LGIP adopted in this final rule establish that these metrics must be measured from the

         close of the customer engagement window for the cluster study processing time metric

         and from when transmission provider notifies interconnection customers in the cluster

         that a cluster restudy is needed for the cluster restudy processing time metric. We find

         that these are appropriate start dates from which to calculate the metrics because they

         reflect when the respective studies are to actually commence.615 We decline to grant




                615
                      APS Initial Comments at 9; MISO Initial Comments at 37-38.
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         additional flexibility to maintain metrics and associated timelines for those metrics, as

         urged by MISO.616

                Regarding Clean Energy Associations’ suggestion that the metrics also identify the

         level of accuracy of studies relative to final costs,617 we decline to adopt this suggestion.

         For one, it is unclear to what final costs Clean Energy Associations is referring to.

         Additionally, the metrics that we require transmission providers to post as part of this

         final rule focus on the timing of interconnection studies and not on the accuracy of cost

         estimates. The metrics are intended, as described in Order No. 845, to provide needed

         transparency “to allow interconnection customers to develop informed expectations about

         how long the interconnection study portion of the process actually takes.”618

                We decline to adopt Ameren’s suggestion to base the 150-calendar day cluster

         study deadline on the RTO/ISO’s completion of the cluster study rather than the

         transmission owner’s completion because the deadlines are applicable to the transmission

         provider and such a clarification is unnecessary to be added to the pro forma LGIP.

                We agree with Enel’s suggestion to modify proposed pro forma LGIP section 6.4

         – now pro forma LGIP section 6.1 – by deleting “period” because, as Enel explains, this




                616
                      MISO Initial Comments at 38.
                617
                      Clean Energy Associations Initial Comments at 21.
                618
                      Order No. 845, 163 FERC ¶ 61,043 at P 307.
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         would more concisely convey that the metrics should be updated following the

         completion of the studies themselves.619

                                g.      Interconnection Request Evaluation Process

                                        i.    NOPR Proposal

                In the NOPR, the Commission proposed several changes to pro forma LGIP

         section 4, renamed “interconnection request evaluation process” from “queue position.”

         First, the Commission proposed to rename and revise section 4.1 of the pro forma LGIP

         as “queue position” and added two new proposed sections: (1) section 4.1.1 (Assignment

         of Queue Position), which provides that queue position will be based on the time and date

         that the transmission provider receives all items required under section 3.4 (Valid

         Interconnection Request) and that there is no queue priority for interconnection

         customers that opted for informational interconnection studies; and (2) section 4.1.2

         (Higher Queue Position), which provides that all interconnection requests studied in a

         single cluster shall be considered to have equal queue priority, but clusters initiated

         earlier in time shall be considered to have a higher queue position than clusters initiated

         later in time.620

                The Commission also proposed to remove from section 4.2 of the pro forma LGIP

         the provisions allowing transmission providers to study interconnection requests serially

         and the requirement for transmission providers to provide 180 calendar days’ advance


                619
                      Enel Initial Comments at 83.
                620
                      NOPR, 179 FERC ¶ 61,194 at P 70.
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         notice before opening a cluster window.621 The Commission also proposed to rename

         section 4.2 of the pro forma LGIP “general study process,” and revise it to require

         transmission providers to perform interconnection studies within the cluster study

         process.

                In the NOPR, the Commission also proposed changes to the material modification

         provisions in section 4.4 (Modification) of the pro forma LGIP to provide that moving a

         point of interconnection shall result in a loss of interconnection queue position if it is

         deemed a material modification by the transmission provider. Additionally, proposed

         additions to pro forma LGIP section 4.4 require that any identified changes to a planned

         interconnection, proposed by an interconnection customer or the transmission provider,

         must be acceptable to any impacted interconnection customer in the same cluster, and

         such acceptance is not to be unreasonably withheld.622 The Commission noted that the

         interconnection customer may decide to forego the requested change that constitutes a

         material modification and retain its existing queue position.623

                Further, the Commission proposed to revise section 4.4.1 of the pro forma LGIP to

         make clear that: (1) the modifications previously permitted prior to return of the

         executed system impact study agreement are now permitted to be made prior to return of

         the executed cluster study agreement; and (2) for generating plant increases, the


                621
                      Id. P 72.
                622
                      Proposed pro forma LGIP section 4.4.
                623
                      NOPR, 179 FERC ¶ 61,194 at P 71.
Document Accession #: 20230728-3060             Filed Date: 07/28/2023
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         incremental increase will be studied with the next cluster study for purposes of cost

         allocation and study analysis.624 Pro forma LGIP section 4.4.1 also explicitly permits

         specific modifications prior to the interconnection customer’s return of the executed

         cluster study agreement to the transmission provider, including: (a) a decrease of up to

         60 percent of electrical output (MW) of the proposed project, through either a decrease in

         plant size or a decrease in interconnection service level; (b) modifying the technical

         parameters associated with the generating facility technology or step up transformer; and

         (c) modifying the interconnection configuration.

                                       ii.    Comments

                With regards to the proposed changes to section 4.1 (Queue Position), Tri-State

         questions whether the proposed definition of queue position includes surplus

         interconnection requests.625 Xcel argues, and EEI agrees, that the Commission should

         modify the proposal to clarify that queue position or queue priority is based on

         interconnection request readiness and not on the date and time the interconnection request

         is submitted.626

                CAISO asserts that it is unclear what losing a queue position means in a cluster-

         based study (e.g., being withdrawn from the interconnection queue or moving to a lower

         interconnection queue position), but also contends that no specification or reform is


                624
                      Id. P 73.
                625
                      Tri-State Initial Comments at 25.
                626
                      EEI Reply Comments at 5; Xcel Initial Comments at 9 n.12.
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         necessary because interconnection customers will simply withdraw the modification

         every time if it is found to be material.627 CAISO argues that the Commission should

         either remove the “option” to lose an interconnection queue position when a proposed

         modification is found to be material, or clarify what replaces the interconnection queue

         position when it is lost.

                Clean Energy States argue that, in addition to the “signs of commercial progress”

         proposed by the Commission, clusters should be prioritized for study based on a number

         of other transparent and quantifiable factors, such as alignment with state policy (e.g.,

         participation in procurement actions), and benefits to low-income, environmentally

         impacted, and “energy communities” as defined under the Inflation Reduction Act, state

         policies, and the Justice40 Initiative.628 Clean Energy States assert that clusters could

         further be prioritized for development by how well the combined cluster meets

         transmission system needs, with preference for interconnection agreements given to those

         that result in the lowest cost upgrades, have the most attractive operational profile, or

         deliver the best reliability improvements.

                Regarding the proposed changes to pro forma LGIP section 4.4 (Modifications),

         Enel argues that the Commission should remove the proposed language requiring the

         acceptance of “any impacted Interconnection Customer in the same Cluster” to modify an




                627
                      CAISO Initial Comments at 11-12.
                628
                      Clean Energy States Initial Comments at 8.
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         interconnection request.629 Enel asserts that this requirement not only will be challenging

         to facilitate (especially in large clusters) but is also a redundant and unnecessary hurdle

         that could result in anticompetitive behavior. If the Commission keeps this language, to

         avoid uncertainty regarding the application of this provision, Enel proposes to replace

         this language with “any Interconnection Customer in the same Cluster whose

         interconnection would be delayed or whose interconnection-related costs would be

         increased as a result of the identified changes.”630

                A few commenters argue that the Commission should consider changes to the

         material modification process such that only certain modifications trigger a restudy.631

         Clean Energy Associations recommend that the Commission modify the current material

         modification definition to clearly state that certain changes are presumptively immaterial,

         such as changing solar modules or turbines, adding storage capacity, or making minor

         adjustments to inverter performance. Clean Energy Associations argue that this

         presumption should be in place so long as planned export and import capacity remains

         the same.632 Clean Energy Associations also support the concept of expedited, limited

         studies for project modifications, provided that: (1) an expedited approach does not




                629
                      Enel Initial Comments at 19-20.
                630
                      Id. at 83.
                631
                   AEP Initial Comments at 18; Clean Energy Associations Initial Comments at
         42; Pattern Energy Initial Comments at 17; PPL Initial Comments at 11.
                632
                      Clean Energy Associations Initial Comments at 42.
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         change the level of interconnection service; (2) there is no impact on cost or timing of an

         interconnection request that is lower- or equally queued; and (3) it does not cause any

         reliability concern. Additionally, Pattern Energy asserts that, in its experience,

         transmission providers apply widely disparate standards where even de minimis

         impacts—timing or financial—can be determined to be material, which Pattern Energy

         believes is unreasonable and unduly discriminatory in light of the dynamic nature of the

         generator interconnection processes.633 Pattern Energy argues that, absent severe delay,

         timing delay should not be factored into materiality. Pattern Energy suggests instead that

         materiality be tied to financial impact on a proposed generating facility (or group of

         proposed generating facilities).

                With regard to modifications under proposed pro forma LGIP section 4.4.1, MISO

         supports the proposed revisions to avoid proposed project service level increasing634 and

         other changes disrupting cluster studies that are in progress or delaying the negotiation

         and execution timelines for the LGIA.635

                Enel recommends that the Commission modify the proposed pro forma LGIP

         section 4.4.1 language to give interconnection customers flexibility in the initial stages of

         interconnection studies, otherwise, it argues that, interconnection customers are more


                633
                      Pattern Energy Initial Comments at 16-17.
                634
                    We understand MISO to be referring to the NOPR proposal that clarified that
         for plant increases, the incremental increase will be studied with the next cluster study for
         purposes of cost allocation and study analysis.
                635
                      MISO Initial Comments at 39.
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         likely to work around the rules by submitting multiple smaller interconnection requests to

         retain size flexibility after seeing their initial results, which is more administratively

         burdensome for transmission providers and leads to its own form of inefficiency as size

         reductions come in the form of withdrawals at any point in the process rather than being

         limited to partial reductions prior to entering the cluster restudy.636

                CREA and NewSun argue that the Commission should explicitly permit

         interconnection customers to modify their interconnection requests to reduce or eliminate

         the assignment of network upgrade or stand alone network upgrade costs associated with

         a proposed generating facility after receipt of the first cluster-level interconnection

         study.637 CREA and NewSun argue that interconnection customers should be permitted

         to modify their proposed generating facilities to avoid impacts on the transmission system

         that trigger network upgrades by, for example, reducing their capacity or installing

         devices that will limit their output during critical periods.638 CREA and NewSun state

         that the existing pro forma LGIP allows an interconnection customer to downsize its

         interconnection capacity up to 60% upon receipt of the first interconnection study (i.e.,

         the feasibility study) and before progressing to the second study (i.e., the system impact




                636
                    Enel Initial Comments at 16-17 (proposing the section be revised to read:
         “Prior to the deadline to return the milestones listed in Section 7.5 of this LGIP to
         proceed into the initial Cluster Re-study, modifications permitted . . . .”).
                637
                      CREA and NewSun Initial Comments at 45-47.
                638
                      Id. at 46.
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         study).639 CREA and NewSun state that, in contrast, the NOPR proposes to only allow

         downsizing to occur before receipt of the first cluster system impact study and, as a

         result, the opportunity to downsize the interconnection request to tailor the facility to the

         available capacity identified in the first useful interconnection study would be lost.

         Therefore, CREA and NewSun argue that the Commission should revise the NOPR

         proposal to ensure that a reasonable amount of downsizing (e.g., 60%) is permitted after

         receipt of the first cluster-level interconnection study.640

                                      iii.    Commission Determination

                We adopt the proposed revisions to pro forma LGIP section 4.1 (Queue Position),

         section 4.2 (General Study Process), and section 4.4.1, and we modify the proposed

         definition of queue position and the proposed revisions to the material modification

         provisions in section 4.4 (Modification). These are discussed below.

                First, we adopt the proposed revisions to section 4.1 of the pro forma LGIP

         (Queue Position), which reflect the impact of the adoption of the proposed cluster study

         process in this final rule on queue position assignments. These revisions provide that

         transmission providers must assign queue positions based on the date and time of receipt

         of a valid interconnection request, but all interconnection customers that submit

         interconnection requests within a cluster request window must be considered equally



                639
                   Id. (citing NOPR, 179 FERC ¶ 61,194 at app. B (proposed pro forma LGIP
         section 4.4.1)).
                640
                      Id. at 47.
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         queued. Clusters initiated earlier in time must have a higher queue position than clusters

         initiated later in time. Under the existing serial study process in the pro forma LGIP,

         queue position had a greater effect on an interconnection customer, for instance, in the

         allocation of network upgrade costs. By contrast, network upgrade costs within a cluster

         will not be allocated by queue position; rather, as discussed below, network upgrade costs

         within a cluster must be allocated generally through a proportional impact method among

         the interconnection customers in the cluster. Given the nature of the cluster study

         process, including the nature of the cost allocation for network upgrades, it is appropriate

         for all interconnection customers in a cluster to be considered equally queued.

                Second, we adopt the proposal to remove from section 4.2 of the pro forma LGIP

         the provisions allowing transmission providers to study interconnection requests serially

         and the requirement for transmission providers to provide 180 days’ advance notice

         before opening a cluster window. We also adopt the proposal to rename section 4.2 of

         the pro forma LGIP “General Study Process” and revise it to require transmission

         providers to perform interconnection studies within the cluster study process. These

         revisions are necessary to implement the cluster study process required by this final rule.

                As requested by Tri-State, we clarify that the definition of queue position is not

         relevant to surplus interconnection requests, which are processed outside of the normal

         interconnection queue, as further discussed in Section III.A.2.n below.

                We also maintain the language in the pro forma LGIP that moving a point of

         interconnection in a way that is deemed a material modification will impact an

         interconnection customer’s queue position, but we clarify the meaning of this in the
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         context of the cluster study process. Specifically, if moving a point of interconnection is

         deemed by the transmission provider to be a material modification to the interconnection

         request, and the interconnection customer chooses to proceed with the proposed

         modification, the interconnection request will be deemed withdrawn and the

         interconnection customer must re-enter the interconnection queue with a new

         interconnection request, if it desires to proceed to interconnect. To avoid being deemed

         withdrawn, the interconnection customer may choose not to move its point of

         interconnection and to instead remain in the same cluster with the original

         interconnection request, and, thus, in the same queue position.

                In response to CREA and NewSun, we do not opine on whether moving a point of

         interconnection within a cluster will be a material modification. Instead, we leave the

         determination as to whether it is deemed a material modification to the transmission

         provider, as in the existing process for determining whether a proposed modification is

         material.

                We decline to adopt Clean Energy States’ suggestion that, in addition to the “signs

         of commercial progress” proposed by the Commission, clusters should be prioritized for

         study based on other transparent and quantifiable factors.641 Clean Energy States neither

         provides sufficient rationale or detail regarding such factors by which clusters would be

         prioritized by transmission providers, nor explains how such prioritization criteria would

         be determined. We note that the Commission did not propose alternative factors for


                641
                      Clean Energy States Initial Comments at 8.
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         consideration. Additionally, we note that the record lacks adequate discussion in favor of

         such prioritization mechanisms or such “factors” for the Commission to consider

         adopting in this final rule.

                Third, we modify the proposed definition of queue position in the pro forma LGIP

         and LGIA to provide that queue position is established pursuant to section 4.1 of the pro

         forma LGIP. Fourth, we modify the proposed revisions to the material modification

         provisions in section 4.4 (Modification) of the pro forma LGIP. We adopt the language

         that provides that moving a point of interconnection shall result in a loss of queue

         position if it is deemed a material modification by the transmission provider, for the

         reasons discussed above. At the same time, we modify the proposed revisions to remove

         the requirement to obtain the approval of “any impacted Interconnection Customer in the

         same Cluster.”642 We are persuaded by Enel’s argument that this proposed language in

         pro forma LGIP section 4.4 should be struck for two reasons. First, we find this language

         unnecessary because the point of interconnection could be changed only if the

         transmission provider had deemed it to not be a material modification to the

         interconnection request. Through this requirement, the transmission provider’s analysis

         ensures that the change will not have a material impact on the cost or timing of another

         interconnection request in the cluster. Second, although the proposal included the

         language “such acceptance not to be unreasonably withheld,” we are still concerned

         about the potential for anticompetitive behavior to the extent that other interconnection


                642
                      Proposed pro forma LGIP section 4.4.
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         customers in the cluster could refuse to accept the point of interconnection change to

         limit competition. The interconnection customers within a cluster will be competitors in

         the wholesale markets in many, if not all, respects. To ensure competitive market

         outcomes, they should not be provided an undue opportunity to affect the advancement or

         the costs for a proposed generating facility of one of their competitors.

                A number of commenters argue that the Commission should consider changes to

         the material modification process such that only certain modifications trigger a restudy.643

         We decline to adopt any of the suggested revisions to the material modification

         provisions and restudy triggers in the pro forma LGIP. We did not propose changes

         suggested by commenters and do not find the need to adopt such changes to the material

         modification provisions to ensure just and reasonable rates. We believe that the list of

         permitted modifications in section 4.4 of the pro forma LGIP is appropriate because they

         allow interconnection customers a degree of flexibility with respect to generating facility

         size, interconnection service level, and specific generating facility technology that

         appropriately balances the high burden to enter the interconnection queue and the lengthy

         duration of the interconnection queue, during which external factors may change,

         including the introduction of new technology that interconnection customers may wish to

         incorporate into their generating facility design.




                643
                   AEP Initial Comments at 18; Clean Energy Associations Initial Comments at
         42; Pattern Energy Initial Comments at 17; PPL Initial Comments at 11.
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                Finally, we adopt the proposed revisions to section 4.4.1 of the pro forma LGIP to

         make clear that: (1) the modifications previously permitted prior to the return of the

         executed system impact study agreement are now permitted to be made prior to return of

         the executed cluster study agreement; and (2) for plant increases, the incremental increase

         will be studied with the next cluster study for purposes of cost allocation and study

         analysis. We believe that these revisions are needed to implement the cluster study

         process adopted to ensure that interconnection customers are able to interconnect to the

         transmission system in a reliable, efficient, transparent, and timely manner. Notably, we

         believe that prior to the return of the executed cluster study agreement is the appropriate

         time to permit the modifications previously permitted prior to the return of the executed

         system impact study agreement because these represent approximately the same point of

         the interconnection process in a serial study process versus a cluster study process. For

         plant increases, we find that it is appropriate to exclude increases to proposed generating

         facility size from the cluster study that is ongoing as any increase to size may create the

         need for restudies. By moving the increase to the subsequent cluster, the interconnection

         customer can still pursue its requested addition, albeit on a delayed schedule.

                We decline to adopt Enel’s alternative proposed language that would allow the

         same modifications permitted to be made prior to the executed cluster study agreement to

         also be permitted before a cluster restudy. This would not only represent a significant

         change from the existing modification language in pro forma LGIP section 4.4.1, but

         allowing such modifications at the cluster restudy stage could negatively affect the

         integrity of the cluster and cause further restudies, which would not ensure that
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         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner.

                We also decline to adopt the revisions suggested by CREA and NewSun that

         would explicitly permit interconnection customers to modify their interconnection

         requests to reduce or eliminate the assignment of network upgrade or stand alone network

         upgrade costs associated with a proposed generating facility after receipt of the first

         cluster-level interconnection study. The “loss” of the opportunity for interconnection

         customers to downsize the interconnection request to tailor the facility to the available

         capacity identified in the first useful interconnection study644 reflects the nature of

         moving from a serial study process, with an initial, high-level feasibility study, to a

         cluster study process, with the benefit of a customer engagement window, potential for

         shared cost allocation, and lower likelihood of cascading restudies. Moreover, providing

         interconnection customers an opportunity to reduce the size of their proposed generating

         facilities after the cluster study would undercut the increased certainty and efficiency that

         are key benefits of the shift to a cluster study process. With the adoption of clusters, a

         reduction in size that may eliminate one interconnection customer’s cost responsibility

         for a network upgrade could affect other interconnection customers in the cluster, either

         by increasing their costs or requiring a different network upgrade. This type of

         uncertainty could lead to further reductions, withdrawals, and restudies, and would be

         insufficient to ensure that interconnection customers are able to interconnect to the


                644
                      CREA and NewSun Initial Comments at 46.
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         transmission system in a reliable, efficient, transparent, and timely manner. We note,

         however, that interconnection customers may request a material modification assessment

         under section 4.4 of the pro forma LGIP for reductions and that if those reductions are

         found to not be material, the interconnection customer may proceed with them without a

         loss of queue position.

                               h.      Fewer than Three Year Extension to Commercial
                                       Operation Date

                                       i.    NOPR Proposal

                Currently, if an interconnection customer’s generating facility is delayed by fewer

         than three years, the pro forma LGIP states that such extensions are not material and shall

         be handled through construction sequencing. However, the pro forma LGIP does not

         state the starting point for this fewer than three-year period. In the NOPR, the

         Commission proposed to revise section 4.4.5 of the pro forma LGIP, which currently

         allows an extension of less than three cumulative years of the generating facility’s

         commercial operation date, to require that the commercial operation date reflected in the

         initial interconnection request be used in calculating the permissible fewer than three-

         year extension.645

                                       ii.   Comments

                Several commenters contend that the commercial operation dates set out in the

         executed LGIA, rather than the date in the initial interconnection request, are generally




                645
                      NOPR, 179 FERC ¶ 61,194 at P 71.
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         more accurate646 and provide more certainty when established at the end of the

         interconnection study process as they would include the schedule estimates for network

         upgrades,647 and the interconnection customer may have greater control over pursuing its

         development timeline.648

                Invenergy argues that, because assigned upgrades necessary for interconnection

         can require more than three years for construction, it would be reasonable to permit a

         greater extension right of five years from the date set out in the LGIA.649 Enel also

         argues that the Commission should grant a longer extension of time if the transmission

         provider’s studies are delayed or if more time is required to build network upgrades

         because these circumstances are beyond the interconnection customer’s control.650 Enel

         also recommends requiring the transmission provider to grant a day-for-day delay to the

         originally requested commercial operation date for any delays in the study process

         relative to the LGIP deadlines as well as due consideration for network upgrades that

         require more than 18 months to design, procure, and construct.




                646
                   Invenergy Initial Comments at 34; Ørsted Initial Comments at 8; Pine Gate
         Initial Comments at 65.
                647
                      Ørsted Initial Comments at 8.
                648
                      Invenergy Initial Comments at 34.
                649
                      Id.
                650
                      Enel Initial Comments at 18-19.
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                Ameren and PPL assert that continuing to provide a three-year extension of the

         commercial operation date would allow projects to move forward when they are not

         ready or viable.651 APS believes that limiting the ability to suspend interconnection

         requests or extend the commercial operation date to instances of force majeure, including

         where a customer demonstrates specific timeline obstructions such as permit issuance or

         supply chain delays, is more in line with the proposals in the NOPR.652

                NV Energy seeks clarification on how long an interconnection customer may extend

         its commercial operation date because the pro forma LGIP allows seven to 10 years from

         the initial interconnection request to construct.653 NV Energy requests clarification on how

         the three-year suspension clause in the pro forma LGIA plays into the timeline for the

         commercial operation date. Pine Gate argues that any extension period from the

         commercial operation date be subject to the overall seven-year time period for achieving

         commercial operation.654 Invenergy argues that the Commission should also make clear

         that the limits on the initial proposed in-service date that can be specified in an



                651
                      Ameren Initial Comments at 10; PPL Initial Comments at 11.
                652
                 APS Initial Comments at 7-8 (citing Midcontinent Indep. Transmission Sys.
         Operator, Inc., 120 FERC ¶ 61,293, at PP 23, 27 (2007)).
                653
                   NV Energy Initial Comments at 5-6. NV Energy states that it currently has
         several customers that requested to move well beyond the three-year time frame and that
         most of its interconnection customers use the full seven to 10-year window. Id. at 6.
                654
                    Pine Gate Initial Comments at 65. Pine Gate also reiterates its comments on
         the ANOPR, stating that the Commission should expand the interconnection customer’s
         option to build. Id. at 63 (citing Comments of Pine Gate, Docket No. RM21-17-000, at
         9-10 (filed Oct. 12, 2021) (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 85, 353)).
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         interconnection request to no more than seven years beyond the interconnection request

         date, does not limit the ability to take advantage of commercial operation date extensions

         that are otherwise provided under the pro forma LGIP or an LGIA.655 For example, some

         transmission owners have taken the position that, when exercising a suspension right, if the

         suspension would result in an in-service date greater than seven years after the date

         specified in the interconnection request, the interconnection customer cannot use its full

         suspension period. Invenergy asserts that the Commission has already clarified that the

         interconnection request limitation on proposed in-service dates is applicable only for the

         purpose of limiting the date requested at the application stage, and does not limit in-service

         dates that extend beyond that period as a result of other factors, which would include

         transmission owner delay, exercise of suspension, and here, additional commercial

         operation date extensions.656 Invenergy also states that the Commission should clarify that

         its revisions to pro forma LGIP section 4.4.5 are in addition to, and do not limit, an

         interconnection customer’s suspension rights under its interconnection agreement.657

                                       iii.   Commission Determination

                We adopt the proposed revisions to section 4.4.5 of the pro forma LGIP that

         require that interconnection customers receive an extension of fewer than three


                655
                  Invenergy Initial Comments at 35 (citing pro forma LGIP section 3.4.1 and
         pro forma LGIA art. 5.16).
                656
                      Id. (citing Midcontinent Indep. Sys. Operator, Inc., 150 FERC ¶ 61,180, at P 23
         (2015)).
                657
                      Id. at 34.
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         cumulative years of the generating facility’s commercial operation date without requiring

         them to request such an extension from the transmission provider. In response to

         commenters’ concerns, however, we modify our proposal to clarify that the commercial

         operation date reflected in the initial interconnection request shall be used in calculating

         the permissible fewer than three-year extension until the interconnection customer

         executes, or requests the unexecuted filing of, an LGIA. Once the interconnection

         customer has executed an LGIA or requested that the LGIA be filed unexecuted, the

         commercial operation date established in the LGIA shall be the date from which the up to

         three cumulative years is calculated.

                At the time the pro forma LGIP was adopted, the interconnection process was

         considerably shorter than it is now; the delays and sizeable interconnection queues facing

         transmission providers create a situation where many interconnection customers use this

         up to three-year period to ensure that their proposed generating facilities reach

         commercial operation. Furthermore, the length of the interconnection queues is such that

         at the time an interconnection customer enters the queue, it may have little idea of how

         long it will spend in the interconnection queue before commencement of the construction

         of its generating facility and required interconnection facilities and network upgrades.

         Thus, we agree with Invenergy, Ørsted, and Pine Gate, and we modify our proposal to

         require the up to three-year period to commence from the commercial operation date

         established in the interconnection customer’s LGIA once the LGIA is executed or the

         interconnection customer has requested that it be filed unexecuted with the Commission.
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                We decline commenters’ requests to revise the actual length of the permissible

         extension of a proposed generating facility’s commercial operation date. The Commission

         did not propose to change the length of the permissible extension in the NOPR, and we

         lack an adequate record that the existing up to three-year extension is unjust and

         unreasonable.

                Commenters request clarification658 of how the changes to pro forma LGIP

         section 4.4.5 adopted in this final rule affect other provisions such as pro forma LGIP

         section 3.4.2 and pro forma LGIA article 5.16, which provide for extensions of the in-

         service date or suspension of construction.659 We reiterate that the revisions to section

         4.4.5 of the pro forma LGIP adopted in this final rule establish only the starting point for

         the less than three-year extension to the commercial operation date. The Commission did

         not propose in the NOPR, and we do not adopt in this final rule, changes to the extension

         of in-service date provisions in pro forma LGIP section 3.4.2, or to the suspension

         provision in pro forma LGIA article 5.16.




                658
                      Invenergy Initial Comments at 35; NV Energy Initial Comments at 5-6.
                659
                   Specifically, pro forma LGIP section 3.4.2 (previously pro forma LGIP section
         3.4.1) provides that the expected in-service date of the new generating facility or increase
         in capacity of the existing generating facility shall not exceed seven years, but may be
         extended up to 10 years upon mutual agreement of the transmission provider and
         interconnection customer. Pro forma LGIA article 5.16 provides the interconnection
         customer the right to suspend work by the transmission provider associated with the
         construction and installation of transmission provider’s interconnection facilities and/or
         network upgrades for up to three years, at which time the LGIA would be deemed
         terminated.
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                                i.      Cluster Study Provisions (Pro Forma LGIP Sections 6, 7)

                                        i.    NOPR Proposal

                As part of the proposed revisions to the pro forma LGIP, the NOPR proposed to

         replace section 6 (Interconnection Feasibility Study) with the new requirements to

         publicly post interconnection information, i.e., the “heatmap” as discussed above in

         Section III.A.1.c, thereby removing the entirety of the feasibility study from the pro

         forma LGIP.660 Furthermore, in the NOPR, the Commission proposed to rename pro

         forma LGIP section 7 from “interconnection system impact study” to “cluster study.”661

         The Commission proposed revisions to pro forma LGIP section 7.1 (Cluster Study

         Agreement) to state that the transmission provider must tender to each interconnection

         customer that submitted a valid interconnection request a cluster study agreement no later

         than five business days after the close of the cluster request window.662 The Commission

         proposed revisions to pro forma LGIP section 7.2 (Execution of Cluster Study

         Agreement) to state that if the interconnection customer does not provide technical data

         when it delivers the cluster study agreement, the transmission provider must notify the

         interconnection customer of the deficiency within five business days, and the

         interconnection customer must cure the deficiency within 10 business days of receipt of




                660
                      Proposed pro forma LGIP section 6.
                661
                      NOPR, 179 FERC ¶ 61,194 at P 74.
                662
                      Proposed pro forma LGIP section 7.1.
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         the notice.663 The Commission proposed revisions to pro forma LGIP section 7.3 (Scope

         of Cluster Study Agreement) to make clear that the stability analysis, power flow

         analysis, and short circuit analysis previously conducted under the feasibility and system

         impact studies would be conducted on a clustered basis.664 The Commission also

         proposed changes to pro forma LGIP section 7.3 to make clear that, for purposes of

         determining necessary interconnection facilities and network upgrades, the cluster study

         shall use the level of interconnection service requested by interconnection customers in

         the cluster, except where the transmission provider otherwise determines that it must

         study the full generating facility capacity due to safety or reliability concerns. The

         Commission proposed revisions to pro forma LGIP section 7.4 (Cluster Study

         Procedures) to state that, within 10 business days of simultaneously furnishing a cluster

         study report and a draft facilities study agreement to each interconnection customer

         within the cluster and posting such report on OASIS, the transmission provider shall

         convene an open meeting to discuss the study results and shall, upon request, make itself

         available to meet with individual interconnection customers after the report is

         provided.665 Pro forma LGIP section 7.4 also states that the transmission provider must

         complete the cluster study within 150 calendar days. The Commission proposed

         revisions to pro forma LGIP section 7.5 (Cluster Study Restudies) to state that the


                663
                      Id. at section 7.2.
                664
                      Id. at section 7.3.
                665
                      Id. at section 7.4.
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         interconnection customer must provide, within 20 calendar days after the cluster study

         report meeting, a study deposit, demonstration of site control, and a commercial readiness

         demonstration. Pro forma LGIP section 7.5 also states that the transmission provider

         must complete the cluster restudy within 150 calendar days and delineates the steps the

         transmission provider must take when a restudy is required or not required.666

                                            ii.   Comments

                MISO supports the deletion of section 6 of the pro forma LGIP and the removal of

         the feasibility study from the pro forma LGIP.667

                In reference to the proposed revisions to section 7.1 (Cluster Study Agreement) of

         the pro forma LGIP, Tri-State stresses that five business days is a tight time frame to

         tender a valid cluster study agreement to each interconnection customer that submitted a

         valid interconnection request and argues that this timeline is not feasible for transmission

         providers with greater than 50 interconnection requests submitted in a cluster request

         window.668

                In reference to the proposed revisions to section 7.2 of the pro forma LGIP, Tri-

         State asserts that the Commission needs to confirm or reiterate that the interconnection




                666
                      Id. at section 7.5.
                667
                      MISO Initial Comments at 40.
                668
                      Tri-State Initial Comments at 31.
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         request is considered withdrawn if the interconnection customer does not cure a deficiency

         identified by the transmission provider.669

                 In reference to the proposed revisions to section 7.3 (Scope of Cluster Study) of

         the pro forma LGIP, Tri-State asks the Commission to add language to address situations

         with studies pending completion of higher-queued project cluster studies.670

                 Enel proposes an alternative method for performing the cluster study and restudy

         to the NOPR proposal.671 Enel states that if the Commission wants to retain the full

         scope of analyses in the cluster study, the Commission could require draft power flow

         analyses to be provided to interconnection customers part way through the cluster study.

         Enel explains that interconnection customers could be granted the right to reduce

         interconnection service amounts and make other changes pursuant to pro forma LGIP

         section 4.4.1 following receipt of these results. Enel states that the transmission provider

         would repeat the power flow analyses until the queue stabilized, with the motivation for

         interconnection customers to make changes in a timely way being driven by knowledge

         that once the latter portion of the studies started, the interconnection customer would lose

         this flexibility.




                 669
                       Id.
                 670
                       Id.
                 671
                       Enel Initial Comments at 17.
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                In the list of requirements to proceed to the cluster restudy in proposed revisions to

         section 7.5 of the pro forma LGIP, Enel proposes to add “(d) election of project changes

         as permitted by LGIP section 4.4.1.”672

                In the proposed revisions to section 7.5 of the pro forma LGIP, Enel suggests

         removing item (2), which states that if there are no changes to the composition of the

         cluster, a cluster restudy is not required, because it claims that the cluster restudy would

         always be required, at least in part, to add short circuit and stability analyses.

                With regard to the 150-day cluster study deadline, some commenters generally

         support the proposed 150-day deadline to complete the cluster study.673 Enel

         recommends a reduction in the scope and schedule of the cluster study to only include

         power flow analysis and a short circuit ratio test (to test grid strength and flag potential

         inverter instability issues) and suggests that this initial cluster study be completed in 90

         days instead of 150 days.674 Enel contends that, the availability of some information

         from this first study, interconnection customers retain more flexibility up to the point of

         committing to the initial cluster restudy, which allows interconnection customers to

         optimize the characteristics of their proposed generating facilities, most notably the

         amount of ERIS and NRIS interconnection service requested, in response to the results of




                672
                      Id.
                673
                  AEE Initial Comments at 33; Clean Energy Associations Initial Comments at
         20-21; Consumers Energy Initial Comments at 4.
                674
                      Enel Initial Comments at 15-16.
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         the study. Enel argues that early flexibility for optimization of proposed generating

         facilities is better than forcing interconnection customers to withdraw and re-enter the

         interconnection queue, is less disruptive, and does not add a year of delay to an

         interconnection customer completing the interconnection process.

                A number of commenters argue that the proposed 150-day deadline to complete

         the initial cluster study may be, or is, too short and recommend a longer study window.675

         A few commenters also argue that the study timelines are too short, given the proposal to

         eliminate the reasonable efforts standard and impose penalties on transmission providers

         that miss those deadlines.676 National Grid asserts that the proposed 150-day deadline

         may be “unreasonably condensed” and could result in a decline in the quality of the

         studies, which could lead to delays.677 Specifically, National Grid claims that rushing the

         issuance of the cluster study could lead to later amendments or corrections to certain

         engineering requirements or cost estimates, that in turn may lead to later-stage

         interconnection request withdrawals.

                Tri-State notes that it currently implements a 270-day system impact study period,

         specifically 150 days for phase 1 (power flow, short circuit, reactive capability) and

         120 days for phase 2 (short circuit, transient stability), and has yet to miss a study


                675
                APS Initial Comments at 8; AES Initial Comments at 9; ISO-NE Initial
         Comments at 23; National Grid Initial Comments at 13-14; Tri-State Initial Comments at
         10.
                676
                      Dominion Initial Comments at 18; Tri-State Initial Comments at 4.
                677
                      National Grid Initial Comments at 13-14.
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         deadline.678 Tri-State argues that this time frame allows for a thorough study process,

         including coordination with neighboring systems and the correction of errors found in

         interconnection customers’ modeling data.

                AES contends that cluster study timelines should be tailored to the types of studies

         being completed at each stage of the respective cluster.679 For example, AES states that

         steady state analysis takes less time to complete than dynamic analysis, meaning that a

         longer time frame should be afforded for dynamic analysis in the cluster study process.

         Accordingly, AES recommends that the Commission adopt a 150-day general study

         timeline for cluster studies and restudies (system impact study-steady state, and short-

         circuit analysis performed) and a 200-day timeline for facilities studies (dynamic analysis

         performed).

                APS requests that the Commission extend the initial study time frame to 180 days

         to provide meaningful studies identifying feasible proposed generating facilities,

         explaining that the APS transmission system is situated in such a way that many

         interconnections are at jointly owned facilities that require reviews and sign-off from

         multiple owners, including non-jurisdictional entities.680 APS argues that 180 days is

         more prudent for initial studies, with the exception of specific criteria such as jointly

         owned facilities, Western Electricity Coordinating Council (WECC) rated paths, and


                678
                      Tri-State Initial Comments at 10.
                679
                      AES Initial Comments at 9.
                680
                      APS Initial Comments at 8-9.
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         federally owned and Tribal lands, for which studies take significantly longer despite good

         faith efforts.

                NYTOs and National Grid argue that the proposal is not clear on which specific

         steps would be included in the 150-day time frame for the initial cluster study and argue

         that certain additional special studies that a transmission provider may need to perform

         should not be subject to a 150-day time frame.681 NYTOs state that it is unclear when the

         clock starts for the proposed 150-day cluster study deadline and how the scope of the

         work can be reasonably limited to comply with the 150-day deadline.682 NYTOs argue

         that transmission providers and transmission owners should be afforded the flexibility to

         provide clarifications and supporting details on compliance.

                Similarly, National Grid notes that certain RTO/ISO interconnection processes

         require special supplemental studies in addition to general system impact studies and that,

         while the NOPR recognizes that these studies may be required to ensure reliable

         interconnection of new generating facilities, it does not address whether such studies

         must be conducted within the proposed 150-day cluster study window or could be

         conducted outside of this window.683 National Grid argues that the time to complete such

         special studies should not be included in the NOPR’s proposed 150-day cluster study

         window and that the final rule should allow regions to adjust their overall interconnection


                681
                      National Grid Initial Comments at 15; NYTOs Initial Comments at 15.
                682
                      NYTOs Initial Comments at 15.
                683
                      National Grid Initial Comments at 15.
Document Accession #: 20230728-3060             Filed Date: 07/28/2023
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         timelines to accommodate such region-specific studies and take into consideration the

         time required to develop system models. Finally, National Grid states that the NOPR

         does not address whether the 150-day cluster study window includes the time required to

         develop system models and base case data for the cluster study.

                Several commenters recommend that the Commission provide transmission

         providers with flexibility to specify study timelines.684

                Regarding the 150-day cluster restudy deadline, several commenters agree that the

         150-day deadline is reasonable for a cluster restudy.685 Other commenters oppose the

         150-day deadline. Bonneville argues that the proposed requirement to conduct a cluster

         restudy within 150 days is unworkable because the complexity of the cluster restudy

         would vary and directly impact the completion timeline.686 Therefore, Bonneville seeks a

         longer time frame.




                684
                  AEP Initial Comments at 17-18; APPA-LPPC Initial Comments at 21;
         Avangrid Initial Comments at 13; Bonneville Initial Comments at 16; CAISO Initial
         Comments at 11; Dominion Initial Comments at 16-17; Indicated PJM TOs Reply
         Comments at 39; ISO-NE Initial Comments at 35-37; NYISO Initial Comments at 29, 33;
         NY Commission and NYSERDA Initial Comments at 5; NYTOs Initial Comments at 14;
         SEIA Reply Comments at 6.
                685
                AES Initial Comment at 11; APS Initial Comments at 8; ISO-NE Initial
         Comments at 23.
                686
                      Bonneville Initial Comments at 9.
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                On the other hand, several commenters argue that the deadline to conduct a cluster

         restudy should be shorter.687 AES recommends that the Commission instead require

         transmission providers to include restudies and model rebuilds between cluster study

         phases, and to require that the timeline for such model rebuilds and restudies cannot be

         greater than 90 days.688 Enel similarly asserts that if the Commission leaves the cluster

         study timeline at 150 days and does not change the study scope, the timeline for cluster

         restudies should be 90 days.689

                A few commenters argue that a 30-day window per restudy is more reasonable

         because network models are already built, and therefore substantially fewer staff

         resources should be required than for the initial study.690 Cypress Creek adds that a

         shorter restudy window will also help avoid potential delays in a cluster study process in

         which multiple restudies are required.691 AEE also recommends that the Commission

         limit interconnection restudy timelines to 30 days, arguing that this will encourage

         transmission providers to treat customers in interconnection restudy with the same

         urgency as customers in the initial interconnection study, eliminating the possibility of



                687
                  AEE Initial Comments at 33; Clean Energy Associations Initial Comments at
         42; Cypress Creek Initial Comments at 18.
                688
                      AES Initial Comments at 11.
                689
                      Enel Initial Comments at 83.
                690
                   AEE Reply Comments at 11-12; Clean Energy Associations Initial Comments
         at 42; Cypress Creek Initial Comments at 18; SEIA Initial Comments at 8.
                691
                      Cypress Creek Initial Comments at 18.
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         asymmetric treatment of interconnection customers and alleviating interconnection queue

         congestion by moving those interconnection customers that have been in the

         interconnection queue the longest to study completion.692

                                      iii.   Commission Determination

                We adopt the proposed deletion of the feasibility study as effectuated by the

         replacement of the current section 6 (Interconnection Feasibility Study) of the pro forma

         LGIP with the new heatmap requirements, as discussed in Section III.A.1.c. The move

         from a serial interconnection process to the new cluster study process, coupled with the

         Commission’s heatmap requirements, render the feasibility study redundant at best and

         an unnecessary burden on transmission provider resources. As discussed in Section

         III.A.1.c, above, we find that the publicly available information required by this final rule

         will provide the appropriate level of pre-interconnection queue information for

         interconnection customers to make informed choices.

                We also adopt, with one modification, the proposed revisions to section 7 of the

         pro forma LGIP that rename it “cluster study” instead of “interconnection system impact

         study,” which set out the requirements and scope of the cluster study agreement, as well

         as the cluster study and restudy procedures. These revisions reflect the adoption of the

         cluster study process set forth in this final rule by making clear that the interconnection

         studies that transmission providers previously performed as part of the serial system

         impact studies (i.e., stability analysis, power flow analysis, and short circuit analysis)


                692
                      AEE Initial Comments at 33.
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         must now be conducted on a clustered basis. As discussed further in Section III.A.6 of

         this final rule, pro forma LGIP section 7.5 is modified to remove the requirement to

         provide an initial study deposit that would have been applied towards the cost of the

         cluster study process.

                We are not persuaded by Tri-State’s concern that five business days after the close

         of the cluster request window is too short a time frame for a transmission provider to

         tender a cluster study agreement to each interconnection customer. Transmission

         providers may start to prepare cluster study agreements before the close of the cluster

         request window, as the overall terms and conditions of the cluster study agreement are

         standardized so that a transmission provider need not engage in rewriting each agreement

         before tendering a draft to the interconnection customer.

                In response to Tri-State’s comments concerning section 7.2 of the pro forma

         LGIP, we confirm that an interconnection request is considered withdrawn if the

         interconnection customer does not cure deficiencies identified by the transmission

         provider. We note that under new section 3.4.4 of the pro forma LGIP, if a transmission

         provider identifies that an interconnection customer’s technical data are incomplete or

         contain errors, both parties must “work expeditiously and in good faith to remedy such

         issues,” but the failure by the interconnection customer to provide the missing data or

         correct data errors will be treated as a withdrawal and dealt with under pro forma LGIP

         section 3.7 (Withdrawal).

                In reference to Tri-State’s comments on the proposed revisions to section 7.3 of

         the pro forma LGIP, we decline to add language to address situations with studies
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         pending completion of higher-queued project cluster studies because Tri-State’s

         comments are unclear as to what additional language may be needed.

                We decline to adopt the alternative methods to perform cluster studies and

         restudies suggested by Enel. The current pro forma LGIP does not prescribe particular

         study methods and instead provides discretion to transmission providers to determine the

         particular methods of study appropriate for their transmission systems. We do not, based

         on the record in this proceeding, find a basis to determine that existing study methods are

         unjust, unreasonable, and unduly discriminatory or preferential. We also decline to add

         Enel’s suggested section (d) to section 7.5 of the pro forma LGIP. Pro forma LGIP

         section 4.4.1 contains the modifications permitted to an interconnection request prior to

         the return of an executed cluster study agreement, which predates any potential cluster

         restudy. We further note that the record does not support Enel’s modification request.

                We decline to adopt the provision requiring transmission providers to hold cluster

         study report meetings with individual customers as proposed in section 7.4 of the pro

         forma LGIP. We find that the individual meetings would be unnecessary, and that

         individual customers should utilize the group cluster study report meeting as a more

         efficient forum in which to address any questions or concerns pertaining to the cluster

         study report. We also find that requiring transmission providers to conduct individual

         meetings would impose unnecessarily burdensome additional requirements on

         transmission providers and would be insufficient to ensure that interconnection customers

         are able to interconnect to the transmission system in a reliable, efficient, transparent, and

         timely manner.
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                Also, we decline to remove proposed section 7.5(2) of the pro forma LGIP, as

         suggested by Enel. Contrary to Enel’s claim, pro forma LGIP section 7.3 establishes that

         the cluster study will consist of short circuit and stability analyses; therefore, we disagree

         with Enel that a cluster restudy will be needed in all cases to perform the short circuit and

         stability analyses. Section 7.5(2) states that if there are no changes to the composition of

         the cluster, a cluster restudy is not required. We find that this is appropriate as it prevents

         the transmission provider from performing an unnecessary restudy if no conditions have

         changed after the first cluster study. This will increase efficiency, free up the

         transmission provider’s resources to perform other studies, and increase the speed of

         interconnection, ensuring that interconnection customers are able to interconnect to the

         transmission system in a reliable, efficient, transparent, and timely manner.

                Based on the record, we find that a 150-calendar day cluster study deadline

         provides a sufficient time to allow transmission providers to perform the stability

         analyses, power flow analyses, and short circuit analyses required in the cluster study

         process for complex clusters consisting of numerous interconnection requests. We find

         that the 150-calendar day time frame balances providing transmission providers with

         sufficient time to perform these technical cluster studies while providing certainty about

         the timeline for the interconnection process and ensuring that cluster studies progress in a

         timely manner. We note that depending on the cluster size, cluster studies may not

         always consume the entire 150 calendar days, and if a cluster study is complete prior to

         this deadline, transmission providers have flexibility to provide the cluster study report at

         that time prior to the deadline indicated in its LGIP and commence any necessary
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         restudies or move to the facilities study phase. We also note that if a transmission

         provider progresses to the next study phase prior to the deadline indicated in its LGIP, the

         transmission provider must post any changes on its website or OASIS.

                We disagree with Enel’s suggestion to reduce the scope and schedule of the cluster

         study in the proposed pro forma LGIP. The cluster study represents the first time the

         interconnection customer will obtain information about its potential interconnection

         costs. At this point, interconnection customers will have to make significant financial

         decisions about whether to remain in the interconnection queue. The information

         provided in the cluster study report will likely dictate that decision, and we find that the

         scope of the study is appropriate to allow interconnection customers to make these types

         of decisions and evaluate whether they will face significant risk. Given that we decline to

         reduce the scope of the study, we find Enel’s request to reduce the timeline overly

         restrictive. Enel’s proposal would create significant burden on transmission providers to

         perform complex studies in an even shorter timeline, and we therefore decline to adopt it.

                We also disagree with commenters that argue that the 150-calendar day time frame

         to complete the cluster study is too short. As discussed above, numerous commenters

         agree with the Commission’s conclusion that the significant interconnection queue

         backlogs create uncertainty and risk in bringing new generating facilities online, rendering

         Commission-jurisdictional rates unjust and unreasonable. While we have extended the

         timeline from that provided in the individual serial study process, we believe that 150

         calendar days is a reasonable extension to account for the more complex study. We also

         note that transmission providers will be conducting only one interconnection study, or at
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         most a small number of interconnection studies, at a time, allowing them to devote more

         resources to completing the studies in a timely manner. Thus, on balance, we believe that

         150 calendar days represents an appropriate and reasonable timeline on which

         transmission providers must complete initial cluster studies.

                We disagree with NYTOs that it is not clear as to when the clock starts for the

         proposed 150-calendar day cluster study deadline, as proposed pro forma LGIP section

         7.3 contains this information (150 calendar days from the close of the customer

         engagement window). We also disagree with NYTOs’ statement that it is not clear how

         the scope of the work can be reasonably limited to comply with the 150-calendar day

         deadline, as we are not proposing to limit the scope of work necessary to effectively run a

         cluster study. As discussed above, we find that the 150-calendar day cluster study

         deadline, combined with the fewer necessary studies, provides a reasonable amount of

         time to allow transmission providers to perform the required studies.

                In response to National Grid’s concern that some RTO/ISO interconnection

         processes require supplemental studies and that these studies should not be required to be

         conducted within the 150-calendar day cluster study window, we decline to modify the

         pro forma LGIP to provide for more time for such studies. We also clarify for National

         Grid that the 150-calendar day deadline includes the time required to develop system

         models and base case data for the cluster study.

                Regarding the 150-calendar day cluster restudy deadline, we agree with

         commenters that the proposed 150-calendar day deadline is reasonable for a cluster

         restudy. We acknowledge that some commenters argue that 150 calendar days is too
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         short, while others argue that it is too long. On balance, we find that 150 calendar days is

         a just and reasonable time frame for purposes of the pro forma LGIP that allows

         transmission providers to conduct potentially complex restudies for instances in which

         larger clusters experience multiple withdrawals and/or modifications.

                In response to commenters’ arguments that a 150-calendar day restudy deadline is

         too long, we note that if transmission providers complete the cluster restudy prior to the

         full 150-calendar day period elapsing, transmission providers may move to the facilities

         study stage at that time. As such, the adopted 150-calendar day cluster restudy time

         frame accommodates more complex instances of cluster restudies while still allowing

         flexibility for transmission providers to move forward without waiting for the deadline to

         pass if the restudy does not take the full 150 calendar days.

                Additionally, we decline to adopt suggestions to allow transmission providers

         flexibility to set their own study deadlines,693 which would undermine the purpose of

         ensuring that transmission providers complete interconnection studies by standard

         deadlines prescribed by their tariffs and would thus be insufficient to ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner.



                693
                  AEP Initial Comments at 17-18; APPA-LPPC Initial Comments at 21;
         Avangrid Initial Comments at 13; Bonneville Initial Comments at 16; CAISO Initial
         Comments at 11; Dominion Initial Comments at 16-17; Indicated PJM TOs Reply
         Comments at 39; ISO-NE Initial Comments at 35-37; NYISO Initial Comments at 29, 33;
         NY Commission and NYSERDA at 5; NYTOs Initial Comments at 14; SEIA Reply
         Comments at 6.
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                                j.      Restudies Triggered by Higher- or Equally Queued
                                        Generating Facility

                                        i.    NOPR Proposal

                In the NOPR, the Commission proposed to revise section 8.5 ( Restudy) of the pro

         forma LGIP to make clear that restudies can be triggered by a higher- or equally queued

         interconnection request withdrawing from the interconnection queue or modification of a

         higher- or equally queued interconnection request pursuant to section 4.4 (Modifications)

         of the pro forma LGIP.694

                                        ii.   Comments

                Shell argues the withdrawal of an interconnection request should not automatically

         trigger a cluster restudy, and instead the Commission should consider a process and cost

         allocation method that creates a “secondary market” to replace a proposed generating

         facility that withdraws with another generating facility in the same location or nearby.695

         CREA and NewSun agree with Shell’s suggestion to allow interconnection customers to

         step in and assume the rights of any interconnection customer that withdraws its

         interconnection request.696 Similarly, R Street argues that the cluster study process

         should not impede the transfer of interconnection request “ownership,” as, according to R




                694
                      NOPR, 179 FERC ¶ 61,194 at P 75.
                695
                      Shell Initial Comments, app. A at i.
                696
                      CREA and NewSun Reply Comments at 10.
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         Street, allowing parties to trade will help ensure an efficient balance between generation

         additions and transmission interconnection costs.697

                MISO seeks clarification on the trigger for restudies. MISO states that its

         understanding is that any modification during its study process that is found to be

         material would not be allowed.698 Further, MISO contends that allowing a material

         modification to impact an equally queued interconnection customer seems to be

         inconsistent with the Commission’s proposal to modify the definition of material

         modification.699 Therefore, MISO argues that there should not be a need for a restudy

         due to such modification. MISO asserts that the Commission should not allow

         modifications during the study process that materially impact other interconnection

         customers and may require restudies.

                                       iii.   Commission Determination

                We adopt the proposed revisions to section 8.5 of the pro forma LGIP to make

         clear that restudies can be triggered by a withdrawal or modification by a higher- or

         equally queued interconnection request. First, we clarify that the “modification” we refer

         to in this section must be explicitly permitted under pro forma LGIP section 4.4. Any

         other modification that triggered a restudy would be found to be material and would not

         be allowed, as it would affect the cost and/or timing of the other customers in the


                697
                      R Street Initial Comments at 11.
                698
                      MISO Initial Comments at 40.
                699
                      Id. (referencing NOPR, 179 FERC ¶ 61,194 at P 65).
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         interconnection queue by necessitating a restudy. Next, we find that restudies may be

         triggered if there is either a withdrawal or a modification explicitly permitted under pro

         forma LGIP section 4.4. Changes to the composition of the cluster often require the

         transmission provider to restudy the entire cluster to ensure that all network upgrades and

         the associated costs are still needed. Finally, we find that stating that restudy may be

         required due to the withdrawal or modification of a higher- or equally queued

         interconnection request, rather than requiring that a restudy must occur, provides the

         transmission provider with flexibility to assess whether the restudy is necessary. If the

         transmission provider is able to move forward without performing a full restudy, that is a

         preferable outcome in terms of interconnection queue efficiency, as the transmission

         provider can maintain the study milestones already achieved and maintain progress

         towards completion and operation for generating facilities in the cluster, as opposed to

         dedicating significant additional time required to restart and conduct the study process

         over again when it may not be necessary or beneficial to do so.

                In response to Shell, CREA and NewSun, and R Street, we decline to consider

         modifications to the pro forma LGIP to create a “secondary market” process that would

         allow one generating facility to replace a similarly situated one that withdraws from the

         interconnection queue, where that withdrawal would otherwise trigger a restudy. The

         Commission did not propose such a process in the NOPR, and we do not have a sufficient

         record to consider adopting such a process in this final rule.

                In response to MISO, we clarify that material modifications are defined in section

         1 of the pro forma LGIP as modifications that have a material impact on the cost or
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         timing of any interconnection request with an equal or later queue position. Under

         section 4.4.3 of the pro forma LGIP, if an interconnection customer chooses to move

         forward with the modification that has been deemed material by the transmission

         provider, the interconnection customer will lose its queue position and must proceed with

         a new interconnection request if desired. However, we note that certain modifications as

         listed in pro forma LGIP sections 4.4.1, 4.4.2, and 4.4.5 are permitted regardless of their

         impact on other interconnection customers.

                                k.      Timing of LGIA Tender, Execution, and Filing

                                        i.    NOPR Proposal

                In the NOPR, the Commission proposed to revise sections 11.1 (Tender) and 11.3

         (Execution and Filing) of the pro forma LGIP, which include provisions related to the

         tender, execution, and filing of the LGIA, to incorporate a 60 calendar-day negotiation

         period and to incorporate the site control demonstrations and LGIA deposit provisions

         included in proposed section 3 of the pro forma LGIP.700

                                        ii.   Comments

                Enel states that many transmission providers and interconnection customers are

         confused as to how to interpret pro forma LGIP sections 11.1 and 11.2 in relation to each

         other, and Enel thus recommends that the Commission revise and simplify sections 11.1

         and 11.2 of the pro forma LGIP to provide more clarity.701 Enel argues that additional


                700
                      NOPR, 179 FERC ¶ 61,194 at P 76.
                701
                      Enel Initial Comments at 13-14.
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         changes are needed to address common delays in completion of the final facilities study

         report; delays in a transmission provider issuing the draft LGIA; and delays in the

         transmission provider executing the LGIA after receiving the interconnection customer’s

         signature and milestones, and subsequently proposes targeted revisions to pro forma

         LGIP sections 11.1 and 11.2 to provide additional time for interconnection customers to

         review and negotiate LGIAs.702

                Tri-State notes that section 11.3 of the pro forma LGIP is unclear when it states

         that the “Transmission Provider must not suspend the LGIA” until the interconnection

         customer meets the tariff requirements because it is the interconnection customer that has

         the ability to suspend a proposed generating facility.703

                APS requests that the Commission be more prescriptive on what is considered

         reasonable evidence of achieving development milestones when executing an LGIA in

         the same manner that the Commission defines commercial readiness milestones in order

         to avoid subjectivity and potential disagreements regarding what is considered

         “reasonable.”704 APS also asserts that the reference to simultaneous submission of the

         interconnection customer-executed LGIA and the continued demonstration of site control

         is duplicative and unnecessary if an interconnection customer demonstrates site control at

         the time an interconnection request is made.


                702
                      Id. at 14-15.
                703
                      Tri-State Initial Comments at 32.
                704
                      ASP Initial Comments at 7.
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                Hydropower Commenters contend that the Commission should provide additional

         time for payment of interconnection costs after the interconnection process is

         complete.705 Hydropower Commenters assert that once a transmission provider delivers

         the interconnection agreement and construction agreement to the interconnection

         customer, the interconnection customer has only 60 days to execute the agreements and

         15 business days after receipt of the signed agreements to demonstrate site control or post

         a non-refundable additional security deposit to cover the interconnection costs.

         Hydropower Commenters argue that, because the end of the study process may occur

         long before a proposed generating facility is fully funded, and the interconnection

         customer risks losing its queue position if it does not execute the agreements, the

         Commission should extend this period to at least one year so the interconnection

         customer has time to secure funding and avoids having to restart the interconnection

         process.

                NV Energy similarly suggests changes to the NOPR proposal to allow

         interconnection customers that request a transmission provider to file an unexecuted

         LGIA to satisfy these requirements within 15 days of the Commission issuing an order.

         NV Energy states that the proposed extra time between receiving a draft LGIA and

         having to satisfy these requirements creates an undue preferential advantage for those

         interconnection customers that request unexecuted LGIAs to be filed at the Commission




                705
                      Hydropower Commenters Initial Comments at 18.
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         and could delay the interconnection process for others.706 To address this issue, NV

         Energy suggests that interconnection customers who choose to have their unexecuted

         LGIAs filed with the Commission should be required to submit their data to the

         transmission provider by the day after the filing of the LGIA.

                                      iii.   Commission Determination

                We adopt, in part, and modify, in part, the proposal to revise sections 11.1 and

         11.3 of the pro forma LGIP, regarding the tendering, execution, and filing of the LGIA,

         to incorporate a 60-calendar day negotiation period and to incorporate the site control

         demonstrations and LGIA deposit provisions included in proposed section 3 of the pro

         forma LGIP. We find that the revisions to section 11.1 of the pro forma LGIP that we

         adopt herein clarify the process of tendering an LGIA and the revisions to section 11.3 of

         the pro forma LGIP that we adopt herein incorporate the site control and LGIA deposit

         provisions adopted elsewhere in this final rule.

                We do not adopt the proposed revisions to pro forma LGIP section 11.3 that

         reference the commercial readiness demonstration provisions of proposed section 8.1 of

         the pro forma LGIP because we are not adopting those provisions, as discussed below in

         Section III.A.6.

                We modify the proposed revisions to pro forma LGIP section 11.3, as requested

         by Tri-State, because we agree that the proposal was unclear when it stated that

         “Transmission Provider must not suspend the LGIA under LGIA article 5.16” until the


                706
                      NV Energy Initial Comments at 20.
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         interconnection customer meets certain tariff requirements. We modify pro forma LGIP

         section 11.3 to instead state: “Interconnection Customer may not request to suspend its

         LGIA under LGIA Article 5.16 until Interconnection Customer” meets certain tariff

         requirements. This reflects the fact that it is the interconnection customer, not the

         transmission provider, that has the right to suspend the LGIA.

                We also modify proposed section 11.3 of the pro forma LGIP in response to

         NV Energy’s concerns about favoring interconnection customers that request a

         transmission provider to file an unexecuted LGIA. We agree that the proposal has the

         potential to encourage more filings of unexecuted LGIAs simply to delay the due date for

         submission of deposits, evidence of site control, and milestone progress data. We

         therefore modify the proposal such that interconnection customers that request a

         transmission provider to file an unexecuted LGIA must satisfy these submission

         requirements within 10 business days after the date of the filing of the unexecuted LGIA

         with the Commission.

                We decline to make further modifications to the proposal beyond those discussed

         above. Enel has neither explained why pro forma LGIP sections 11.1, as revised by this

         final rule, and 11.2, cause an unjust and unreasonable result for interconnection

         customers, nor has it explained why changes to the negotiation process between

         transmission providers and interconnection customers are needed at this time.

                Similarly, we decline APS’ request that the Commission be “more prescriptive” on

         what is considered reasonable evidence of achieving development milestones when

         executing an LGIA. We believe that the requirement that interconnection customers
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         provide reasonable evidence is sufficient to ensure just and reasonable rates without

         imposing detailed requirements surrounding the meaning of “reasonable.” There is

         inadequate record to demonstrate a more prescriptive approach is needed. For example,

         development milestones generally involve the execution of contracts or applications for

         permits.

                We also decline to adopt Hydropower Commenters’ request to modify the pro

         forma LGIP to provide additional time for payment of interconnection costs after the

         conclusion of the interconnection study process. The pro forma LGIP, as modified by

         this final rule, requires transmission providers to give interconnection customers ample

         notice of costs and the timing that costs are due as part of the interconnection process so

         that interconnection customers can secure funding for a proposed generating facility. We

         are unpersuaded that interconnection customers should have additional time beyond that

         already provided, especially given the number of generating facilities that have been

         developed using the existing process and the added transparency that we adopt in this

         final rule that will only serve to improve the ability of interconnection customers to

         secure financing.

                              l.      Cluster Subgroups

                                      i.    NOPR Proposal

                In the NOPR, the Commission sought comment on whether to require

         transmission providers to conduct cluster studies on subgroups of interconnection

         customers based on areas of geographic and electric relevance, and, if so, whether to
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         adopt provisions governing how cluster areas should be formed to ensure that cluster

         areas are formed in a transparent and not unduly discriminatory manner.707

                                      ii.    Comments

                A number of commenters support permitting transmission providers to study

         clusters in subgroups based on geographic or electrical relevance,708 but some argue that

         clustering projects in subgroups should not be required.709

                Several entities argue that clustering around subgroups of geographic or electrical

         relevance is a reasonable approach, particularly for transmission providers with a large or

         fragmented footprint.710 Some commenters argue that creating sub-clusters may not

         make sense for transmission providers with small footprints.711 Several commenters

         argue that transmission providers should have flexibility in deciding whether to form

         subgroups of interconnection customers because geographic and electric relevance will

         vary with each cluster study.712 Similarly, some commenters contend that the



                707
                      NOPR, 179 FERC ¶ 61,194 at P 77.
                708
                  APS Initial Comments at 9; ClearPath Initial Comments at 7; NARUC Initial
         Comments at 6; NextEra Initial Comments at 14-15; Ørsted Initial Comments at 8;
         PacifiCorp Initial Comments at 17; Pennsylvania Commission Initial Comments at 8.
                709
                  APS Initial Comments at 9; Indicated PJM TOs Initial Comments at 18;
         NextEra Initial Comments at 15; PJM Initial Comments at 22.
                710
                  Illinois Commission Initial Comments at 5; NextEra Initial Comments at 14-15;
         PacifiCorp Initial Comments at 18; Pennsylvania Commission Initial Comments at 8.
                711
                      NRECA Initial Comments at 19; Tri-State Initial Comments at 11.
                712
                 Bonneville Initial Comments at 8-9; ClearPath Initial Comments at 8; ENGIE
         Reply Comments at 2; Fervo Energy Reply Comment at 4; Indicated PJM TOs Initial
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         Commission should not mandate studying subgroups based on geographic and electric

         relevance, and that the efficacy of this approach should instead first be evaluated through

         experience.713

                PacifiCorp notes that using cluster study areas allows it to assess and more

         efficiently allocate the costs of network upgrades to requesters triggering the

         improvements and protect interconnection customers in different clusters from bearing

         the cost of network upgrades triggered by interconnection customers in different parts of

         PacifiCorp’s system, thereby facilitating more expedient processing of all the cluster

         studies.714 PacifiCorp asserts that its ability to create cluster areas where appropriate is a

         critical feature of its cluster study process, adding that cluster areas can facilitate

         expedient processing of interconnection requests that might otherwise be delayed due to

         restudies or other study complications.715

                On the other hand, Pattern Energy asserts that designating subregions may result

         in separate geographic regions bearing a disproportionate share of network upgrade costs

         that provide regional benefits and should be subject to regional cost allocations.716

         Pattern Energy notes that it is also important for the transmission provider to review



         Comments at 18; SEIA Reply Comments at 6.
                713
                      AES Initial Comments at 10; PJM Initial Comments at 22.
                714
                      PacifiCorp Initial Comments at 18-19.
                715
                      Id. at 17.
                716
                      Pattern Energy Initial Comments at 16.
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         subregional cluster study results and determine whether inter-cluster network upgrades

         would better serve the needs of the subregional clusters during each planning cycle.

         Illinois Commission asserts that interconnection requests that are near one another might

         have a greater impact on each other, and subgroups could ease the study process, but any

         subgroup process should not compromise cost or timing efficiency gains that the

         clustering process is meant to address.717 OPSI argues that to reduce the “first mover

         disadvantage” most effectively, the Commission should continue to analyze and further

         explain in any final rule whether a region-wide, annual cluster in a large region like PJM

         could benefit from better defined subclusters.718 OPSI asserts that the Commission

         should further evaluate methods to ensure that clusters facilitate identification of shared

         network upgrades by grouping generating facilities based on areas of geographic and

         electrical relevance.

                Avangrid contends that the open call cluster request window should have

         geographic distinctions, but that if the open call results in only one interconnection

         request in a particular area of the system electrically, this interconnection should be able

         to undergo a process reminiscent of current serial study processes in a parallel track if it

         will influence, or be influenced by, the broader cluster study process.719




                717
                      Illinois Commission Initial Comments at 5.
                718
                      OPSI Initial Comments at 4.
                719
                      Avangrid Initial Comments at 12.
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               Some commenters argue that the Commission should set forth specific mandates

         to transmission providers on how cluster areas should be formed.720 CREA and NewSun

         argue that clear mandates would prevent transmission providers from subgrouping as a

         means to engage in anti-competitive conduct (e.g., assigning the utility’s own generation

         to subgroups with lower congestion or network upgrade costs).721 Similarly, Fervo

         Energy contends that the Commission should adopt provisions governing how cluster

         areas should be formed to ensure that clusters are formed in a transparent and not unduly

         discriminatory manner.722

               Other commenters argue that the Commission should provide flexibility by

         creating a general framework for defining cluster study subgroups appropriate for their

         own regions, rather than a specific set of requirements.723 Some commenters further

         contend that transmission providers have extensive knowledge of their own transmission




               720
                 CREA and NewSun Initial Comments at 48-49; Environmental Defense Fund
         Reply Comments at 7-8; Fervo Energy Initial Comments at 3.
               721
                     CREA and NewSun Initial Comments at 48-49.
               722
                     Fervo Energy Initial Comments at 3.
               723
                    APS Initial Comments at 9; Clean Energy Associations Initial Comments at 20;
         ClearPath Initial Comments at 8; EEI Initial Comments at 5; Eversource Initial
         Comments at 13-14; LADWP Initial Comments at 3; Longroad Energy Initial Comments
         at 10; MISO Initial Comments at 41-42; New York State Department Initial Comments at
         5-6; Pattern Energy Initial Comments at 15; PacifiCorp Initial Comments at 18; PPL
         Initial Comments at 10; R Street Initial Comments at 11; Tri-State Initial Comments at
         11; U.S. Chamber of Commerce Initial Comments at 7; Xcel Initial Comments at 23.
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         systems,724 and the particular interconnection requests that should and should not be

         included within a cluster based on their system’s geography, electric configuration, or

         other relevant factors.725 A number of commenters suggest that transmission providers

         develop subgroup criteria with stakeholder input.726

                Other commenters argue that the Commission should allow variation in how

         transmission providers form clusters. For example, R Street argues that the Commission

         should refrain from being too prescriptive regarding how cluster areas are defined, and

         instead require that transmission providers publish their cluster definitions well in

         advance of the request window for interconnection requests.727 Clean Energy States

         believe that allowing interconnection customers to create their own clusters would result

         in an internal vetting of proposed generating facilities in the cluster and negotiation about

         how costs and penalties will be managed.728 Regarding how clusters should be defined,

         several commenters provide suggestions for subgroup criteria beyond geographic

         proximity or electrical relevance.729 PPL suggests cluster formation be based on



                724
                      Shell Initial Comments, app. A at i; Tri-State Initial Comments at 11.
                725
                      U.S. Chamber of Commerce Initial Comments at 7.
                726
                   Interwest Initial Comments at 14; MISO Initial Comments at 42; Northwest
         and Intermountain Initial Comments at 7; Pattern Energy Initial Comments at 15-16;
         PacifiCorp Initial Comments at 18 (citing PacifiCorp, Transmission OATT and Service
         Agmts, Part IV.42.4(a) (5.0.0)); Shell Initial Comments, app. A at i.
                727
                      R Street Initial Comments at 11.
                728
                      Clean Energy States Initial Comments at 10.
                729
                      Id. at 5; Fervo Energy Initial Comments at 3; Interwest Initial Comments at 13-
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         geographic or electrical proximity only and that interconnection customers should not be

         separated based on fuel type.730 Energy Keepers asserts that, when utilities are

         considering cluster studies on subgroups of interconnection customers, those clusters

         should be based on location.731 Clean Energy Associations, Vistra, and ENGIE assert

         that cluster studies should evaluate subgroups of projects based on electric proximity to

         one another.732 Further, ENGIE agrees that distribution factors should not be the sole

         indicator of electrical proximity as there are other factors around which subgroups might

         appropriately be grouped.733

                Xcel argues that it is not necessary to create “separate” clusters for electrically

         distinct regions, noting that PSCo separates interconnection requests into “study pockets”

         based on geographic/electrical separation but studies all the interconnection requests in a

         single cluster.734

                Clean Energy Associations assert that the Commission should make clear whether

         a cluster study must identify the upgrades required in order to interconnect every



         14; Longroad Energy Initial Comments at 10; Pattern Energy Initial Comments at 15-16;
         Pennsylvania Commission Initial Comments at 6.
                730
                      PPL Initial Comments at 10.
                731
                      Energy Keepers Initial Comments at 4.
                732
                    Clean Energy Associations Initial Comments at 20; ENGIE Reply Comments at
         2; Vistra Initial Comments at 2.
                733
                      ENGIE Reply Comments at 2.
                734
                      Xcel Initial Comments at 23.
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         interconnection request in whole, or whether it might identify upgrades that would be

         sufficient for only a subset of the interconnection requests; if the latter, Clean Energy

         Associations continue, the Commission should establish a pro forma process for

         determining which requests might proceed with those initial upgrades.735 Clean Energy

         Associations claim that transmission development is a “lumpy” process, and in some

         cases there can be “breakpoints” where adding one more generating facility can result in

         a significant per-unit cost increase compared to the interconnection costs that could have

         been achieved for a subset of the interconnection requests up to that point. Clean Energy

         Associations state that, in the current ISO-NE cluster study process, ISO-NE attempts to

         identify such breakpoints and fills each cluster up to that level, with remaining requests

         able to either withdraw or proceed into the next cluster study. Some commenters contend

         that studies should include or consider including breakpoints, which can provide helpful

         information to inform interconnection customers’ next steps.736

                Finally, several commenters encourage transparency and request that any

         subgrouping criteria be publicly posted or filed by transmission providers or

         RTOs/ISOs.737




                735
                      Clean Energy Associations Initial Comments at 26.
                736
                      Id. at 26-27; SEIA Reply Comments at 6.
                737
                   ENGIE Reply Comments at 2; Fervo Energy Initial Comments at 3; Fervo
         Energy Reply Comments at 4; Ørsted Initial Comments at 8; R Street Initial Comments at
         11; Tri-State Initial Comments at 11.
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                                     iii.   Commission Determination

                We will neither require transmission providers to conduct cluster studies on

         subgroups of interconnection customers based on areas of geographic and electric

         relevance, nor adopt provisions governing how cluster subgroup areas should be formed.

         However, we adopt revisions to section 7.4 of the pro forma LGIP to permit transmission

         providers to use subgroups in their cluster study process if they so choose. To the extent

         a transmission provider chooses to use subgroups, it must include provisions in its pro

         forma LGIP in its tariff that state that it will use subgroups. We further modify section

         7.4 of the pro forma LGIP to require that the criteria used to define subgroups be publicly

         posted on a publicly accessible website. We believe that publicly sharing these criteria is

         important to ensure adequate transparency and to safeguard against the potential for

         undue discrimination in the design and implementation of cluster subgroups.

                We agree with commenters that support permitting transmission providers to study

         clusters in subgroups based on geographic or electrical relevance but argue that clustering

         projects in subgroups should not be required. We believe that there may be benefits to

         studying clusters in subgroups in certain circumstances, and therefore we do not want to

         preclude transmission providers from proposing such a process on compliance. At the

         same time, based on the record, we do not believe that requiring subgroups for all

         transmission providers is appropriate. In some instances, the administrative burden of

         defining and separately studying subgroups may not outweigh the benefits.

                Consistent with our decision to not require transmission providers to conduct

         cluster studies on subgroups of interconnection customers, we decline to adopt provisions
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         governing how clusters should be formed. Rather, we believe it more appropriate to

         allow transmission providers to determine how to define subclusters appropriate for their

         regions, taking into consideration their system geography, electrical configuration, and

         other relevant factors.738

                Regarding concerns raised by Pattern Energy and others about the use of

         subgroups resulting in a disproportionate allocation of network upgrade costs, we note

         that if a transmission provider opts to study in subgroups, it cannot change how it

         allocates network upgrade costs. That is, it must follow the requirement adopted in this

         final rule to use a proportional impact method to allocate system network upgrade costs

         among all interconnection customers in the cluster regardless of subgroup, as discussed

         further below. Because transmission providers will be using a proportional impact

         method to allocate system network upgrade costs, regardless of whether interconnection

         customers are studied in subgroups , we believe subgroups would not change an

         interconnection customer’s potential cost allocation. An interconnection customer with

         an impact on a network upgrade would be allocated its portion of the cost of that network

         upgrade regardless of whether its request was studied in a subgroup with another

         interconnection customer allocated a different portion of that network upgrade.


                738
                    Clean Energy Associations Initial Comments at 20; ClearPath Initial Comments
         at 8; EEI Initial Comments at 5; Eversource Initial Comments at 13-14; LADWP Initial
         Comments at 3; Longroad Energy Initial Comments at 10; MISO Initial Comments at 41-
         42; New York State Department Initial Comments at 5-6; PacifiCorp Initial Comments at
         18; Pattern Energy Initial Comments at 15; PPL Initial Comments at 10; Shell Initial
         Comments, app. A at i; Tri-State Initial Comments at 11; U.S. Chamber of Commerce
         Initial Comments at 7.
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                                m.      Restudy

                                        i.    NOPR Proposal

                In the NOPR, the Commission sought comment on whether to specify in the pro

         forma LGIP how cluster studies must be rerun after restudy is triggered or whether there

         are provisions the Commission could adopt to improve the efficacy of the restudy

         process, such as preventing excessive restudy by limiting the transmission provider to

         two restudies per month within the 150-calendar day cluster restudy period.739

                                        ii.   Comments

                Eversource recommends that the Commission adopt detailed restudy rules.740 Pine

         Gate suggests that the Commission provide guidance on when the need for a restudy is

         triggered, as even minimal changes can trigger long and costly restudies.741 Pine Gate

         recommends that the Commission: (1) furnish criteria to be used by transmission

         providers in determining whether a restudy is required; (2) require transmission providers

         to limit the scope of restudies if only a local impact is anticipated; (3) require

         transmission providers to publish restudy criteria, determinations, and scoping as

         resources for interconnection customers; (4) permit interconnection customers to send

         engineering analyses applying the transmission provider’s published criteria, which could

         be used by the transmission provider to help decide whether to conduct a restudy, thereby


                739
                      NOPR, 179 FERC ¶ 61,194 at P 78.
                740
                      Eversource Initial Comments at 14.
                741
                      Pine Gate Initial Comments at 62-63.
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         reducing the transmission providers’ burden; and (5) not require every cluster participant

         to submit additional study deposits until the transmission provider determines the need

         for and scope of any restudy and affected cluster participants are notified. Pattern Energy

         believes that transmission providers should be required to develop expedited modeling

         processes to evaluate whether the withdrawal of an interconnection request or other

         allowed modification may cause a full restudy.742 Pattern Energy argues that such a

         requirement would allow interconnection customers to make better informed decisions

         about withdrawing or modifying interconnection requests.

                Conversely, a number of commenters recommend that the Commission provide

         flexibility to transmission providers and not adopt overly prescriptive requirements

         specifying how cluster studies must be rerun after a restudy is triggered.743 MISO

         encourages the Commission to grant maximum flexibility to transmission providers

         regarding the necessity of restudies and the scope of restudies as the situations that give

         rise to restudies are varied and unique.744 PJM states that it finds acceptable the NOPR’s

         proposal requiring transmission providers to specify in their tariffs how cluster studies

         must be rerun, but suggests the Commission avoid being overly prescriptive regarding



                742
                      Pattern Energy Initial Comments at 17.
                743
                   Bonneville Initial Comments at 9; EEI Initial Comments at 5; Idaho Power
         Initial Comments at 4; MISO Initial Comments at 43; NYISO Initial Comments at 12;
         PacifiCorp Initial Comments at 19; PJM Initial Comments at 22-23; Xcel Initial
         Comments at 24.
                744
                      MISO Initial Comments at 43.
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         restudies.745 Xcel recommends that the Commission not propose additional prescriptive

         requirements on how restudies must be performed, but suggests that if there are multiple

         clusters impacted, where each cluster only has “ready” projects, the transmission provider

         may combine the clusters into a single cluster for a single restudy instead of restudying

         multiple clusters.746

                Some commenters support limiting the number of restudies a transmission

         provider may perform within a restudy period.747 Ameren states that limiting the number

         of restudies to two within the 150-day cluster restudy period seems reasonable, given the

         size of the many interconnection queues and the reported uncertainty of interconnection

         customers in the queue.748 Ohio Commission Consumer Advocate concurs that

         conducting a single cluster study and cluster restudy annually may reduce the risk of

         cascading restudies occurring if an interconnection customer withdraws from the

         interconnection queue.749

                A few commenters argue that the Commission should address the lack of any limit

         on restudy requests, stating that this issue is a known shortcoming that results in



                745
                      PJM Initial Comments at 22-23.
                746
                      Xcel Initial Comments at 24.
                747
                  Ameren Initial Comments at 8; Clean Energy Associations Initial Comments at
         42; Cypress Creek Initial Comments at 18; Ohio Commission Consumer Advocate Initial
         Comments at 8; Southern Initial Comments at 24.
                748
                      Ameren Initial Comments at 8.
                749
                      Ohio Commission Consumer Advocate Initial Comments at 8.
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         essentially unlimited time and resource obligations for interconnection customers.750

         Southern expresses concern that the proposed pro forma LGIP language allows for

         multiple restudies, which would interfere with a one-year timeline maximum.751

                A number of commenters do not support a set limit on the number of restudies a

         transmission provider may perform.752 Bonneville asserts that efforts to prevent

         excessive restudies (e.g., limit of two per month) could be overly prescriptive.753

         Bonneville argues that transmission providers should be afforded the flexibility to

         determine and publish the timing of any restudy, and limits thereto, on their OASIS sites

         to help to facilitate transparency and ensure timelines are attainable. NextEra states that

         experience has shown that having a defined and limited number of restudies, such as in

         MISO’s three-phase process, can help limit the duration of the study process.754

         However, NextEra contends that it would be too restrictive for the Commission to dictate

         exactly how transmission providers should limit the number of restudies, and argues that

         the final rule should instead require that each transmission provider propose to the




                750
                Clean Energy Associations Initial Comments at 42; Cypress Creek Initial
         Comments at 18 (citing PJM Manual 14A at 26).
                751
                      Southern Initial Comments at 24.
                752
                    Bonneville Initial Comments at 9; MISO Initial Comments at 42, 43; NextEra
         Initial Comments at 15; PacifiCorp Initial Comments at 20; PJM Initial Comments at 23;
         Tri-State Initial Comments at 11.
                753
                      Bonneville Initial Comments at 9.
                754
                      NextEra Initial Comments at 15.
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         Commission on compliance what rules or processes it will use to ensure there is not an

         undefined and unpredictable number of restudies, e.g., whether it will have a fixed

         number of scheduled restudies or some other method to limit the number of restudies and

         associated potential delays. PacifiCorp notes that, because restudies are typically

         triggered through a withdrawal or modification of an interconnection request, the

         transmission provider is responding to changes, typically outside of its control, that

         warrant a restudy and undertaking efforts to complete the restudy as efficiently as

         possible.755

                Idaho Power requests clarification surrounding the single cluster and cluster

         restudy process and the suggested limitation of allowing only two restudies per month

         within the 150-day cluster restudy period.756 Idaho Power states, for example, an entity

         may have three cluster areas requiring three cluster studies, and withdrawals from those

         studies may require more than two simultaneous cluster restudies in the same month to

         prevent delay of any one cluster restudy.

                                       iii.   Commission Determination

                We decline to modify the pro forma LGIP to specify how a transmission provider

         conducts cluster restudies and when it must conduct a cluster restudy. We find

         persuasive the arguments of several commenters that the Commission allow transmission

         providers flexibility on how and whether to conduct a restudy and the scope and


                755
                      PacifiCorp Initial Comments at 19.
                756
                      Idaho Power Initial Comments at 4.
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         frequency of any restudies. The transmission provider is best positioned to determine

         when and how to conduct a restudy, including the scope and frequency of restudies,

         because it determines the need for the restudies to maintain the reliability of the

         transmission system.757 We agree with commenters like MISO and Xcel that different

         events can trigger restudies, and transmission providers are in the best position to

         determine whether an event warrants a restudy, and if so, what the scope of that restudy

         should be (for example, whether a new study is required, or whether only a modification

         as to certain model data and a reanalysis is required).758

                As to frequency of restudies, we also agree with PacifiCorp that because restudies

         are typically triggered through a withdrawal of an interconnection request, the

         transmission provider is responding to changes, typically outside of its control, that

         warrant a restudy, and thus limiting the number of restudies could hinder the ability of a

         transmission provider to undertake efforts to complete a restudy as efficiently as

         possible.759 Because we are not modifying the pro forma LGIP to specify how cluster

         studies must be rerun after restudy is triggered, we will also not limit the transmission

         provider to two restudies per month within the 150-calendar day cluster restudy period.

         We agree with commenters like Bonneville, NextEra, and PacifiCorp that it would be too



                757
                   National Glossary of Terms Used in NERC Reliability Standards,
         https://www.nerc.com/pa/Stand/Glossary%20of%20Terms/Glossary_of_Terms.pdf
                758
                      MISO Initial Comments at 43; Xcel Initial Comments at 24.
                759
                      PacifiCorp Initial Comments at 19.
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         restrictive for the Commission to dictate exactly how transmission providers should limit

         the number of restudies.760

                Regarding Idaho Power’s request for clarification on the suggested limitation of

         allowing only two restudies per month within the 150-calendar day cluster restudy

         period,761 because we are not adopting a limit of two restudies per month within the

         restudy period, Idaho Power’s clarification request is moot.

                                n.      Exceptions to the Cluster Study Process

                                        i.    NOPR Proposal

                In the NOPR, the Commission sought comment on whether there should be an

         option in the pro forma LGIP for transmission providers to process some interconnection

         requests outside of the annual cluster study process, and if so, in what circumstances and

         on what time frame (for completion of the study), and on what priority compared to any

         active clusters.762

                                        ii.   Comments

                Several parties generally support an option in the pro forma LGIP for some

         interconnection requests to be processed outside of the annual cluster study process,763




                760
                      Id.; Bonneville Initial Comments at 9; NextEra Initial Comments at 15.
                761
                      Idaho Power Initial Comments at 4.
                762
                      NOPR, 179 FERC ¶ 61,194 at P 79.
                763
                   AES Initial Comments at 10; Fervo Energy Initial Comments at 3; Ørsted
         Initial Comments at 9; Tri-State Initial Comments at 11.
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         with some commenters supporting such an option only under specific circumstances.764

         For example, Ørsted argues that such an option could be beneficial in the case of a stand

         alone network upgrade built to serve a single interconnection customer that will not

         impact the cluster.765 Some commenters suggest establishing a separate process outside

         of the cluster study process to expedite certain interconnection requests.766 Several

         commenters contend that an option to study interconnection requests outside of clusters

         would be particularly beneficial as more renewable generating facilities are added to the

         resource mix.767 Two commenters support exceptions for replacement resources

         specifically.768 A few commenters argue that the Commission should allow transmission

         providers to separately or individually study certain interconnection requests that are not

         geographically or electrically relevant to other interconnection requests in the

         interconnection queue.769


                764
                 AEP Initial Comments at 19, 42; APPA-LPPC Initial Comments at 15; Clean
         Energy Associations Initial Comments at 21; CREA and NewSun Initial Comments at 49;
         Energy Keepers Initial Comments at 4-5; Eversource Initial Comments at 14; Iowa
         Commission Initial Comments at 3; Northwest and Intermountain Initial Comments at 7;
         UMPA Initial Comments at 3-4; Xcel Initial Comments at 24.
                765
                      Ørsted Initial Comments at 9.
                766
                Clean Energy Associations Initial Comments at 21; Iowa Commission Initial
         Comments at 4; Navajo Utility Initial Comments at 13; UMPA Initial Comments at 4.
                767
                  AEP Initial Comments at 19-20; Clean Energy Associations Initial Comments
         at 21; ENGIE Reply Comments at 2; Iowa Commission Initial Comments at 4.
                768
                      AEP Initial Comments at 19; Clean Energy Associations Initial Comments at
         21.
                769
                      Energy Keepers Initial Comments at 4-5; Eversource Initial Comments at 14.
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                Additionally, APPA-LPPC request that the Commission recognize that there are

         transmission providers, principally in rural communities or where the transmission

         system provides limited opportunities for advantageous interconnections, where there are

         too few interconnection requests to justify a cluster study approach.770 In these cases,

         APPA-LPPC recommend that the Commission provide for a self-executing “opt out,”

         permitting the transmission providers to continue to study interconnection requests on a

         serial basis.

                Northwest and Intermountain recommend a limited exception to the cluster study

         process requirement to allow existing interconnection customers seeking to make changes

         to their proposed generating facilities to be processed outside of the cluster study process

         where the proposed change had no demonstrable incremental impact on the transmission

         system.771

                Xcel argues that proposed generating facilities needed to serve load should be

         allowed to be processed outside of the annual cluster study process.772 AEP argues that

         transmission providers with a reserve margin obligation must have the ability to prioritize

         the interconnection of needed capacity in the interconnection process.773




                770
                      APPA-LPPC Initial Comments at 14-15.
                771
                      Northwest and Intermountain Initial Comments at 7-8.
                772
                      Xcel Initial Comments at 24.
                773
                      AEP Initial Comments at 42.
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                Iowa Commission argues that state commissions should have the ability to require

         studies outside of annual cluster studies, which would help increase the availability of

         needed generation for resource adequacy and maintain local reliability needs, particularly

         as large intermittent generating facilities are interconnecting to the system at a rapid

         pace.774 Iowa Commission explains that such studies could potentially address increased

         transmission system stability and also minimize future transmission costs because of the

         “transient nature” of some load and resource changes.

                Similarly, UMPA contends that the Commission should require a process outside

         of the annual cluster study process to expedite interconnection requests that are beyond

         the exploration phase and ready for development.775 UMPA explains that some load

         serving entities search for potential resources to meet their integrated resource plan based

         on a request for proposal or certain competitive criteria, but are then confronted with a

         choice among proposed generating facilities that meet the criteria but are lower in the

         interconnection queue, or proposed generating facilities that do not satisfy the criteria, but

         are higher in the interconnection queue. Therefore, UMPA argues that it would be

         helpful to a load serving entity with a development-ready generating facility to be able to

         enter into a parallel process outside of the annual cluster study process in order to

         expedite an interconnection request.




                774
                      Iowa Commission Initial Comments at 4.
                775
                      UMPA Initial Comments at 3-4.
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                AEP also suggests that RTOs/ISOs that have consolidated their small and large

         generator interconnection procedures into a single generator interconnection procedure

         should be permitted to propose that all or some smaller-sized generating facilities, such as

         20 MW or smaller generating facilities, would be “too small” to need to be included in

         the cluster.776

                Other commenters believe that any exceptions to the cluster study process

         requirement should be very limited.777 NRECA asserts that if the final rule provides for

         any interconnection requests to be processed outside the annual cluster study process, it

         should be limited to a narrow category of interconnection requests, such as emergency

         replacements of failed equipment driven by near-term reliability needs.778 MISO asserts

         that there should be very limited exceptions, explaining that it has limited its non-queue

         interconnection requests to those that are associated with existing generating facilities

         that do not seek to add new or additional interconnection service, or small

         interconnection requests.779 Outside of those limited exceptions, MISO states that it does



                776
                      AEP Initial Comments at 19.
                777
                ENGIE Initial Comments at 3; MISO Initial Comments at 44; NRECA Initial
         Comments at 19-20.
                778
                      NRECA Initial Comments at 20.
                779
                    MISO Initial Comments at 44. MISO states that these limited exceptions are
         Surplus Interconnection Requests (MISO, FERC Electric Tariff, attach. X, § 3.2.3
         (158.0.0)), a request for Generating Facility Replacement (MISO, FERC Electric Tariff,
         attach. X, section 3.7 (158.0.0)), and Fast Track Processing that is available to Small
         Generating Facilities under 5 MW (MISO, FERC Electric Tariff, attach. X, art. 14
         (158.0.0)). Id. n.100.
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         not support processing any other interconnection requests outside of the interconnection

         queue.780

                ENGIE recommends that exceptions be limited to requests that “need[] to be

         studied outside of the cluster process, e.g., transmission planning and state or public

         policy issues.”781 ENGIE states that it is possible that there may be other exceptions

         made in emergency situations, in which case, the granting of exceptions should be very

         limited in scope, subject to transparent criteria, and the rationale made publicly available.

         ENGIE further recommends that every interconnection request, including emergency

         requests, enter through the cluster request window, but that an emergency request be

         accelerated if it meets the pre-determined and publicly available requirements.

                A number of commenters oppose an option to process interconnection requests

         outside of the annual cluster study process.782 A few parties argue that maintaining an

         option to process interconnection requests outside of the annual cluster study process

         would likely create an administrative burden for transmission providers without a clear

         benefit.783 Some commenters assert that processing certain interconnection requests




                780
                      Id. at 44.
                781
                      ENGIE Initial Comments at 3.
                782
                   Bonneville Initial Comments at 9; Enel Initial Comments at 19; PacifiCorp
         Initial Comments at 21; PJM Initial Comments at 23; PPL Initial Comments at 12.
                783
                Enel Initial Comments at 19; PacifiCorp Initial Comments at 21; PJM Initial
         Comments at 23.
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         outside of the interconnection queue could increase the time needed to complete the

         cluster studies or could increase restudies.784

                Some commenters express concern that such an option could become overly used

         or abused.785 Enel asserts that if interconnection requests could be accepted for

         processing outside the annual cluster study process, especially on an individual basis,

         there would be a high degree of interest because this would allow interconnection

         customers to avoid being allocated the costs of regional upgrades that result from many

         cluster studies.786 Bonneville asserts that permitting an interconnection request to be

         processed outside of the annual cluster study process would create a “perverse incentive”

         for some interconnection customers to forgo the cluster study process to avoid cluster

         study requirements.787

                OMS states that it has considered the benefits of some sort of a “fast-lane process”

         for resources that are more “certain,” like those that have received all necessary permits

         and regulatory approvals.788 OMS states that use of such a mechanism may be important

         or necessary in the future to address reliability concerns, but OMS explains that it is



                784
                Bonneville Initial Comments at 9; Enel Initial Comments at 19; NRECA Initial
         Comments at 20.
                785
                   Bonneville Initial Comments at 9-10; Enel Initial Comments at 19; MISO
         Initial Comments at 44; NRECA Initial Comments at 20.
                786
                      Enel Initial Comments at 19.
                787
                      Bonneville Initial Comments at 9-10.
                788
                      OMS Initial Comments at 8.
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         neutral on the proposal because bypassing the interconnection queue invites a myriad of

         potential unintended consequences that might not outweigh the value OMS otherwise

         envisions in this type of mechanism.

                PacifiCorp states that the Commission’s proposal on this topic is not clear.789

         PacifiCorp states that, if the NOPR refers to an interconnection customer’s ability to

         request surplus or provisional interconnection service or an informational interconnection

         study, PacifiCorp supports maintaining these options. However, PacifiCorp requests the

         Commission clarify that requests for such service will be evaluated in the order that

         completed interconnection requests are received. PacifiCorp states that it does not

         currently support expanding non-cluster service and study offerings.

                Regarding under what time frame and at what priority interconnection requests

         should be studied outside of the cluster study process, as compared to any active clusters,

         Fervo Energy recommends a 270-day time frame for completion of the study with

         secondary priority to the active cluster studies.790

                                       iii.   Commission Determination

                We decline to include an additional option in the pro forma LGIP for transmission

         providers to process some interconnection requests outside the annual cluster study

         process adopted in this final rule. We find that establishing in the pro forma LGIP a

         separate interconnection process outside the cluster study process could detract from


                789
                      PacifiCorp Initial Comments at 21.
                790
                      Fervo Energy Initial Comments at 3.
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         transmission providers’ efforts to efficiently process cluster studies—a point persuasively

         argued by commenters.791 A separate set of interconnection studies outside of the cluster

         study process could cause transmission providers to divert resources away from cluster

         studies and cluster restudies. Such diversion could hinder the transmission provider from

         meeting the cluster study and cluster restudy deadlines adopted in this final rule, which

         would be insufficient to ensure that interconnection customers are able to interconnect to

         the transmission system in a reliable, efficient, transparent, and timely manner. We also

         find that such an option in the pro forma LGIP would be too open-ended, as it would

         leave a significant amount of discretion to the transmission provider to create new study

         processes for processing any types of interconnection requests it chooses outside the

         cluster study process and could therefore result in a separate but unduly discriminatory

         interconnection process. We further find that establishing such an open-ended option in

         the pro forma LGIP could create an incentive for some interconnection customers to

         forgo the cluster study process, which could increase the time and resources needed for

         transmission providers to complete the cluster studies or could increase restudies.792

                A number of commenters see benefits to establishing an option in the pro forma

         LGIP for particular types of interconnection requests to be processed outside of the

         annual cluster study process, such as for generator replacement, projects ready for


                791
                Bonneville Initial Comments at 9; Enel Initial Comments at 19; NRECA Initial
         Comments at 20; PacifiCorp Initial Comments at 21; PJM Initial Comments at 23.
                792
                   Bonneville Initial Comments at 9-10; Enel Initial Comments at 19; MISO
         Initial Comments at 44; NRECA Initial Comments at 20; PJM Initial Comments at 23.
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         development, emergency replacements, for certain special circumstances, or for

         transmission providers who have too few interconnection requests to justify a cluster

         study approach.793 However, we are not persuaded that establishing such processes in the

         pro forma LGIP is necessary to ensure that interconnection customers are able to

         interconnect to the transmission system in a reliable, efficient, transparent, and timely

         manner. We believe that processing such one-off interconnection requests will be needed

         less often under the cluster study process adopted in this final rule, and therefore, any

         benefits that exist to processing some interconnection requests outside a transmission

         provider’s interconnection process may be outweighed by the benefit of allowing

         transmission providers to conduct cluster studies efficiently without diverting resources

         to a separate set of studies.

                In response to the Iowa Commission’s argument that state commissions should be

         able to require studies outside of annual cluster studies, we similarly find that any such

         studies would divert a transmission provider’s resources away from conducting the

         cluster studies and cluster restudies.

                Regarding AEP’s suggestion that those RTOs/ISOs that have consolidated their

         small and large generator interconnection procedures should be permitted to propose that

         all or some smaller-sized generating facilities would be “too small” to be included in the



                793
                  AEP Initial Comments at 19; APPA-LPPC Initial Comments at 14-15; Clean
         Energy Associations Initial Comments at 21; Energy Keepers Initial Comments at 4-5;
         Navajo Utility Initial Comments at 13; NRECA Initial Comments at 19-20; UMPA Initial
         Comments at 3-4.
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         cluster, we note that the Commission did not propose the cluster study process for small

         generating facilities subject to the pro forma SGIP.

                Finally, because we are not revising the pro forma LGIP to add a new option for

         some interconnection requests to be processed outside of the annual cluster study process,

         we find moot those comments on the time frame and priority of interconnection requests

         studied outside of the cluster study process.794 In response to PacifiCorp,795 we clarify

         that requests for surplus interconnection service, or an optional interconnection study,

         will continue to be processed as received and outside of the cluster study process, and

         that this does not entail an expansion of non-cluster service and study offerings.

                                o.      Other Comments

                                        i.   Comments

                Some entities recommend automation or standardization of the interconnection

         queue process and studies.796 NextEra states that the proposed cluster study process time

         frame requires significant information technology and personnel resources.797 NextEra

         argues that, despite the lack of such a proposal in the NOPR, automation of the

         interconnection queue process and studies is likely the key to compressing



                794
                   Fervo Energy Initial Comments at 3; Tri-State Initial Comments at 12; Xcel
         Initial Comments at 24-25.
                795
                      PacifiCorp Initial Comments at 21.
                796
                   ACORE Initial Comments at 4-5; Clean Energy Associations Initial Comments
         at 26; NextEra Initial Comments at 13.
                797
                      NextEra Initial Comments at 13-14.
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         interconnection process timelines. NextEra encourages the Commission to convene a

         technical conference or other process to focus on the root causes of interconnection study

         delays as well as the potential to accelerate the interconnection queue process through

         enhanced automation.

                 Several commenters argue that the Commission should require transmission

         providers to provide more cost information to interconnection customers throughout the

         interconnection process.798 Clean Energy Associations and SEIA argue that cluster

         studies should also ensure that interim cost information is made available to

         interconnection customers so that they can make more informed decisions earlier in the

         interconnection process, which will in turn lead to a more efficient interconnection

         process overall.799 Clean Energy Associations argue that as part of the cluster studies

         provided to interconnection customers prior to their receiving facilities studies, the

         Commission should require transmission providers to provide interconnection customers

         with cost estimates for the upgrades required if they were to request ERIS or NRIS (or

         long-term firm transmission service), respectively—and coupled with minimum

         thresholds for materiality (such as distribution factor) and transparency regarding how

         these costs are derived (detailing the assumptions and criteria that will be used).800 Clean


                 798
                   ACE-NY Initial Comments at 4; Clean Energy Associations Initial Comments
         at 20; Enel Initial Comments at 18; SEIA Initial Comments at 8.
                 799
                       Clean Energy Associations Initial Comments at 20; SEIA Initial Comments
         at 8.
                 800
                       Clean Energy Associations Initial Comments at 27.
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         Energy Associations also suggest that the Commission should provide concrete direction

         regarding how differing service types should be studied, and what outcome an

         interconnection customer should receive for making the necessary transmission system

         improvements to obtain that interconnection service.801 AEE similarly believes that

         additional reforms are needed to bring more transparency and predictability to

         interconnection costs, and without this transparency and predictability, interconnection

         customers face continued risks of unjust and unreasonable interconnection study results

         that derail or delay interconnection requests and cause increased costs.802

                Affected Interconnection Customers state that the Commission should permit

         interconnection customers to use independent studies to demonstrate whether the request

         for limited interconnection service would result in stability, short circuit, thermal, and/or

         voltage issues, if the transmission provider or transmission owner is unable to complete

         the studies on time.803 Affected Interconnection Customers argue that allowing

         interconnection customers to use any available resources to conduct these studies would

         enable already built interconnection facilities to flow power onto the system, as long as

         studies show that such interim services will not harm the system.

                Clean Energy Associations ask that in a final rule, the Commission adopt a cost

         threshold (in terms of the anticipated upgrade cost relative to distribution factor) beyond


                801
                      Id. at 29.
                802
                      AEE Initial Comments at 12.
                803
                      Affected Interconnection Customers Initial Comments at 21.
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         which upgrades should be evaluated in the next near-term transmission planning process.

         Similarly, Clean Energy Associations argue that cumulative congestion issues should also

         be addressed via the transmission planning process.804

                                      ii.    Commission Determination

                We decline to adopt the remainder of the proposals advocated for in the comments

         regarding our requirement for transmission providers to use a cluster study process. We

         decline to adopt three of these proposals because they are outside the scope of the NOPR:

         (1) NextEra’s request to require or standardize automated processing of interconnection

         requests;805 (2) Clean Energy Associations’ argument that the Commission should adopt

         a cost threshold beyond which upgrades should be evaluated in the next near-term

         transmission planning process;806 and (3) Clean Energy Associations’ argument that the

         Commission should provide concrete direction regarding how differing service types

         should be studied, and what outcome an interconnection customer should receive for

         making the necessary transmission system improvements to obtain that interconnection

         service.807



                804
                      Clean Energy Associations Initial Comments at 29.
                805
                   NextEra Initial Comments at 14. We also decline to convene a technical
         conference to explore the causes of interconnection study delays and the potential to
         accelerate the interconnection queue process through enhanced automation. As discussed
         above, we have adequate record of the causes of interconnection study delays to fashion a
         remedy with the combination of reforms we adopt in this final rule.
                806
                      Clean Energy Associations Initial Comments at 29.
                807
                      Id.
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                Regarding Affected Interconnection Customers’ arguments discussing the use of

         independent studies, we note that interconnection customers can use independent

         resources during the interconnection process. However, the results of independent

         studies will not be binding on transmission providers, as the use of studies conducted by

         an interconnection customer cannot ensure that the cluster study process results in a just,

         reasonable, and not unduly discriminatory or preferential outcome for all interconnection

         customers in the cluster. In addition, transmission providers must be able to conduct the

         necessary studies to maintain the reliability of their transmission system.

                We will not require transmission providers to provide additional cost information

         to interconnection customers that is not already required to be provided pursuant to the

         pro forma LGIP, as modified by this final rule. For example, revised pro forma LGIP

         sections 3.4.5 (Customer Engagement Window) and 8.1 (Interconnection Facilities Study

         Agreement) require the transmission provider to provide the interconnection customer

         with a good faith estimate of the costs of the cluster study and the interconnection facility

         study, respectively. Similarly, revised pro forma LGIP sections 7.3 (Scope of Cluster

         Study) and 8.2 (Scope of Interconnection Facilities Study) require the transmission

         provider to provide cost estimates for interconnection facilities and network upgrades. It

         is unclear what other “interim cost information”808 Clean Energy Associations want

         transmission providers to provide, nor the value of such information vis-à-vis the burden

         on transmission providers to develop it.


                808
                      Id. at 20.
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                Clean Energy Associations argue that as part of the cluster studies provided to

         interconnection customers prior to receiving facilities studies, the Commission should

         require transmission providers to provide interconnection customers with cost estimates

         for the upgrades required if they were to request ERIS or NRIS. Section 3.2 of the pro

         forma LGIP provides that an interconnection customer requesting NRIS may also request

         that it be concurrently studied for ERIS, up to the point when the facility study agreement

         is executed. As the pro forma LGIP already provides interconnection customers the

         ability to have both ERIS and NRIS studied concurrently, we find Clean Energy

         Associations’ request moot.

                         3.    Allocation of Cluster Study Costs

                               a.      NOPR Proposal

                In the NOPR, the Commission proposed to require transmission providers to

         allocate the shared costs of cluster studies as follows: 90% of the applicable study costs

         allocated pro rata to interconnection customers based on requested MWs included in the

         applicable cluster, and 10% of the applicable study costs allocated per capita to

         interconnection customers based on the number of interconnection requests included in

         the applicable cluster.809 The Commission preliminarily found that this allocation of the

         costs of cluster studies would result in just and reasonable Commission-jurisdictional

         rates because it appropriately recognizes that the MW size of a cluster has a dramatic

         impact on the cost of studying the cluster, while also recognizing that the number of


                809
                      NOPR, 179 FERC ¶ 61,194 at P 82.
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         interconnection requests included in the cluster also impacts the cost of studying the

         cluster, but to a lesser degree. The Commission sought comment on whether a different

         cost allocation approach may be appropriate or whether each transmission provider

         should be provided additional flexibility to propose a cost allocation approach on

         compliance with any final rule.810

                                  b.      Comments

                                          i.   Comments in Support

                Multiple commenters support the proposal.811 Clean Energy Buyers note that

         certainty and consistency in cost allocation for interconnection studies will be helpful for

         interconnection customers that site generating facilities in more than one region.812 Idaho

         Power adds that a uniform cost allocation would prevent interconnection customers from

         “shopping around” for the best price for larger generating facility locations.813 Duke

         Southeast Utilities note that Duke Carolinas Utilities’ currently effective LGIP/LGIA

         contains the same 90/10 cost allocation, which it states provides a balanced and equitable




                810
                      Id. P 83.
                811
                  Clean Energy Buyers Initial Comments at 8; Consumers Energy Initial
         Comments at 4; Cypress Creek Initial Comments at 19; Duke Southeast Utilities Initial
         Comments at 8-9; Enel Initial Comments at 20; Fervo Energy Initial Comments at 3;
         Idaho Power Initial Comments at 5; Interwest Initial Comments at 5; Public Interest
         Organizations Initial Comments at 31; R Street Initial Comments at 11; Tri-State Initial
         Comments at 3, 12.
                812
                      Clean Energy Buyers Initial Comments at 8-9.
                813
                      Idaho Power Initial Comments at 5.
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         study cost allocation based on the Commission’s cost causation principle.814 Duke

         Southeast Utilities assert that the proposed allocation aligns with study deposits that

         would be submitted based on varying assumptions around the number and size of

         interconnection requests submitted into the cluster study process.

                                       ii.    Comments in Opposition

                Several commenters oppose the proposal. For instance, National Grid and

         NRECA argue that any predetermined study cost allocation method will produce results

         that do not comport with cost causation.815 National Grid gives the example of a 20 MW

         generating facility that has unique or complex engineering features at a particular point of

         interconnection that may require considerably more time to conduct a study than a much

         larger 100 MW generating facility; in this situation, according to National Grid, the 90/10

         cost allocation methodology proposed in the NOPR would not align with cost causation,

         a problem that would be exacerbated if the interconnection customer withdraws the

         interconnection request.816 National Grid asserts that a predetermined cost allocation

         risks undermining competitive pressures in the interconnection process, which it states

         should be retained to the maximum extent possible consistent with revisions to mitigate

         the existing interconnection queue inefficiencies. Similarly, Xcel and NextEra argue that

         the size of the interconnection request does not impact the study costs by a 9:1 ratio


                814
                      Duke Southeast Utilities Initial Comments at 8-9.
                815
                      National Grid Initial Comments at 16; NRECA Initial Comments at 8.
                816
                      National Grid Initial Comments at 16-17.
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         compared to the number of interconnection requests, noting that the size of the

         interconnection request does not materially impact the time to add the generating facility

         to the model or time to design the interconnecting substation.817 NRECA adds that the

         Commission has not produced data showing the fixed costs of processing an

         interconnection request or a precise linear correlation between generating facility size and

         study costs.818 rPlus argues that the proposed 90/10 cost allocation is “unduly

         discriminatory toward pumped storage, and wholly disincentivizes large capacity

         projects.”819 rPlus argues that the assertion that the MW size of a cluster study is

         significantly more impactful on the cost and effort required to perform the study is

         incorrect. rPlus states that the number of interconnection requests and the cluster size are

         both burdensome for the study process, as each generating facility requires its own

         project management, technical review, study implementation, and deliverability

         assessment.820 SDG&E and SoCal Edison agree that a 90/10 cost allocation would

         inappropriately burden larger generating facilities with higher study costs, as the level of

         effort to study an interconnection request is driven more by complexity around the point

         of interconnection and is not strongly correlated to the size of the generating facility.821



                817
                      NextEra Initial Comments at 16; Xcel Initial Comments at 25.
                818
                      NRECA Initial Comments at 21.
                819
                      rPlus Initial Comments at 5.
                820
                      Id.; Hydropower Commenters Initial Comments at 27.
                821
                      SDG&E Initial Comments at 7; SoCal Edison Initial Comments at 15.
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                                       iii.   Alternatives and Requests for Flexibility

                Several commenters put forth alternatives to the NOPR proposal. For instance,

         some commenters generally contend that transmission providers should allocate study

         costs based on the proposed generating facility’s impact on the overall study, measured

         by the time and resources expended on a particular generating facility within the study.822

         National Grid asserts that this process would be consistent with the current serial study

         approach, which directly correlates cost responsibility to cost causation.823 AES argues

         that the final rule’s cost allocation framework should reflect the reality that study costs

         are not only a function of generating facility size, but also the location of the generating

         facility and the degree to which that location is constrained.824

                Several commenters argue that the Commission should allocate cluster study costs

         based solely on the number of interconnection requests in the cluster.825 Ameren and

         SDG&E state that, in their experience, study costs are not based on the size of the

         proposed generating facilities.826 In contrast, Fervo Energy argues against allocating study

         costs evenly to all interconnection customers within a cluster, asserting that it is “not at all



                822
                   AES Initial Comments at 12; Clean Energy Associations Initial Comments at
         23; National Grid Initial Comments at 17.
                823
                      National Grid Initial Comments at 17.
                824
                      AES Initial Comments at 12.
                825
                   Ameren Initial Comments at 11; SDG&E Initial Comments at 7; SoCal Edison
         Initial Comments at 15-16.
                826
                      Ameren Initial Comments at 11; SDG&E Initial Comments at 7.
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         clear” how this proposal is just and reasonable, as it strays away from allocating costs on a

         pro rata basis based on requested MWs.827

                CAISO argues that the proposal appears arbitrary and capricious because the

         Commission does not adequately explain the basis for the 90% to 10% ratio.828 CAISO

         asserts that the 10% allocation is so small as to be de minimis, yet it still increases the

         administrative burden to allocate the cluster study costs. CAISO argues that it would be

         much simpler and easier if transmission providers simply allocated all cluster study costs

         based on the MW capacity alone.

                Enel argues that there are study phases where it would be more appropriate to

         assign study costs to individual interconnection requests, “such as the [f]acilities [s]tudy

         for upgrades assigned to only a single customer.”829 Enel argues that a 90/10 study cost

         split may disproportionately exclude very small generating facilities which still require

         modeling from study cost responsibility, and suggests that a minimum MW size be

         assumed, such as was used to set the minimum study deposit in proposed pro forma LGIP

         section 3.1.1.1.

                Several commenters argue for a cost allocation of 50% of the study costs based on

         requested MW and 50% based on the number of interconnection requests in the cluster.830


                827
                      Fervo Energy Reply Comments at 4.
                828
                      CAISO Initial Comments at 12.
                829
                      Enel Initial Comments at 20.
                830
                Hydropower Commenters Initial Comments at 26-27; NextEra Initial
         Comments at 16; Pattern Energy Initial Comments at 18-19; rPlus Initial Comments at 5;
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         NextEra states that, based on its experience, it takes comparable time and effort to study a

         small proposed generating facility as a large one.831 NextEra and SoCal Edison argue

         that allocating study costs based mostly on the MW size would likely cause some cross-

         subsidies from interconnection customers submitting large proposed generating facilities

         to those submitting smaller ones.832 SEIA notes that the MW size of the cluster may be

         artificially inflated when certain interconnection customers submit multiple exploratory

         requests, and recommends a 50/50 cost allocation to deter such requests.833 SEIA argues

         that, similar to CAISO’s study cost allocation, the Commission should structure the cost

         allocation so that interconnection customers with multiple interconnection requests are

         responsible for a greater share of the study costs.834

                Clean Energy Associations add that cluster studies should be conducted in

         subgroups based on electrical relevance, and that study costs related to each subgroup

         should be tracked independently and allocated only among those interconnection

         customers within that subgroup.835




         SEIA Initial Comments at 9-10.
                831
                      NextEra Initial Comments at 16.
                832
                      Id.; SoCal Edison Initial Comments at 15-16.
                833
                      SEIA Initial Comments at 10.
                834
                      Id. (citing Cal. Indep. Sys. Operator, Inc., 140 FERC ¶ 61,070, at P 4 (2012)).
                835
                      Clean Energy Associations Initial Comments at 23.
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                Multiple commenters argue that the Commission should not impose a specific

         cluster study cost allocation, but instead allow transmission providers flexibility in

         proposing their own cost allocation methods.836 For example, APPA-LPPC argue that the

         use of a “one-size-fits-all” approach may result in unreasonable results in certain

         circumstances.837 APPA-LPPC assert that weighting the allocation of cluster study costs

         based on MWs may unfairly burden interconnection customers proposing large

         generating facilities in regions where a cluster is likely to include a large number of

         relatively small proposed generating facilities and a small number of large proposed

         generating facilities because study costs do not necessarily track linearly with generating

         facility size.

                Several commenters argue that RTOs/ISOs should be able to retain their existing

         cluster study cost allocations, where applicable, because those cost allocations

         accomplish the purpose of the Commission’s proposal to equitably allocate study costs

         among interconnection customers.838


                836
                   AES Initial Comments at 12; Ameren Initial Comments at 11; APPA-LPPC
         Initial Comments at 3; Bonneville Initial Comments at 10; Clean Energy Associations
         Initial Comments at 24; Dominion Initial Comments at 19; Indicated PJM TOs Initial
         Comments at 18-19; ISO-NE Initial Comments at 25; MISO Initial Comments at 45;
         National Grid Initial Comments at 16; NextEra Initial Comments at 16-17; NRECA
         Initial Comments at 8; NYISO Initial Comments at 13; Omaha Public Power Initial
         Comments at 5; Ørsted Initial Comments at 9; Pattern Energy Initial Comments at 19;
         PPL Initial Comments at 12; R Street Initial Comments at 11; SEIA Initial Comments at
         10; Xcel Initial Comments at 25.
                837
                      APPA-LPPC Initial Comments at 16.
                838
                  Dominion Initial Comments at 19; Indicated PJM TOs Initial Comments at 18-
         19; ISO-NE Initial Comments at 25; MISO Initial Comments at 45; NYISO Initial
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                               c.      Commission Determination

                We adopt the NOPR proposal, with modification, to revise section 13.3

         (Obligation for Study Costs) of the pro forma LGIP to allow each transmission provider

         to propose its own study cost allocation ratio for allocating the shared costs of cluster

         studies between a per capita basis and pro rata by MW, provided that: between 10% and

         50% of study costs must be allocated on a per capita basis, with the remainder (between

         90% and 50%) allocated pro rata by MW. Under this revised provision, a transmission

         provider may propose to retain its existing study cost allocation ratio if it falls within this

         range and meets the requirements of this final rule.

                We are persuaded by comments arguing that it is appropriate to allow transmission

         providers a degree of flexibility in proposing on compliance the method for allocating

         study costs in their tariff to adapt to their specific regional circumstances and help avoid

         unreasonable outcomes. Some commenters assert that the NOPR-proposed 90%-10%

         allocation could in some instances unduly burden larger generating facilities, such as

         when a cluster includes a large number of interconnection requests representing relatively

         small generating facilities and a small number of large generating facilities.839

         Conversely, other commenters caution that straying too far from the NOPR proposal for a




         Comments at 14; Omaha Public Power Initial Comments at 5; PJM Initial Comments at
         35; SPP Initial Comments at 7. In response, Fervo Energy cautions against permitting
         transmission providers too much flexibility, arguing that this opens the door for undue
         discrimination against interconnection customers. Fervo Energy Reply Comments at 4.
                839
                      APPA-LPPC Initial Comments at 16.
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         90%-10% allocation could disproportionately burden smaller generating facilities, given

         the role that size may play in determining study costs.840 Accordingly, we believe that

         granting transmission providers the flexibility to propose in their tariff the study cost

         allocation appropriate to their region, within the limits detailed above, strikes a better

         balance than the NOPR proposal.

                The revised study cost allocation requirements that we adopt in this final rule

         recognize that cluster study costs are impacted by both the number of interconnection

         requests in a cluster and the size of the proposed generating facilities in each cluster. We

         find that requiring transmission providers to allocate between 10% and 50% of cluster

         study costs on a per capita basis is just and reasonable because it ensures that

         interconnection customers that propose smaller generating facilities or submit multiple

         interconnection requests to explore different interconnection scenarios for a single

         proposed generator adequately contribute to study costs, particularly given that some

         study costs are incurred independent of the MW size of a specific proposed generating

         facility in a cluster.841 Further, we agree with commenters that observe that not all study

         costs track linearly with generating facility size because there are other factors, such as

         the point of interconnection selected, that can lead to increasingly complex studies and




                840
                      Fervo Energy Reply Comments at 4-5.
                841
                      SDG&E Initial Comments at 7; SoCal Edison Initial Comments at 15.
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         correspondingly higher study costs.842 We believe that the per capita component of the

         study cost allocation requirements addresses this fact. Requiring a per capita component

         also ensures that an interconnection customer that proposes a large generating facility in a

         cluster of many smaller generating facilities will not bear a disproportionate amount of

         the study costs. We likewise find that requiring transmission providers to allocate

         between 50% and 90% of study costs on a pro rata by MW basis prevents a

         disproportionate amount of study costs from being allocated to interconnection customers

         that propose smaller generating facilities in the cluster. The pro rata by MW component

         reflects the fact that, to a significant extent, study costs correlate to the total MW size of

         the cluster. In general, even if the number of interconnection requests in each cluster

         remains constant, we expect that a cluster of 10,000 MW will be significantly more costly

         to study than a cluster of 100 MW.843 Accordingly, requiring that a substantial share of

         study costs is allocated based on each generating facility’s contribution to the total MW

         size of the cluster study ensures consistency with cost causation principles.

                We disagree with CAISO that the Commission should require the allocation of all

         cluster study costs based on the MW capacity because allocating 10% of study costs on a

         per capita basis is de minimis and not worth the administrative burden. First, this final

         rule now allows transmission providers to allocate up to 50% of costs on a per capita



                842
                   AES Initial Comments at 12; APPA-LPPC Initial Comments at 16; NRECA
         Initial Comments at 21.
                843
                      Fervo Initial Comments at 4.
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         basis. Even if a transmission provider chooses to allocate only 10% of study costs on a

         per capita basis, as explained above, we believe that this is an important component that

         is needed to ensure that study costs are allocated in a manner that is at least roughly

         commensurate with estimated benefits (i.e., consistent with cost causation). We are

         unpersuaded that the administrative burden associated with allocating a potentially small

         fraction of the study costs among interconnection customers in a cluster outweighs the

         benefits, particularly given that nothing in the record demonstrates that those

         administrative costs are significant.

                In response to commenters’ arguments in favor of a uniform study cost allocation

         method across regions, we find that the benefits of allowing transmission providers

         flexibility to tailor their study cost allocation to the specific circumstances of their region

         outweigh the benefits of uniformity cited by commenters, such as consistency and

         preventing “shopping around.” We believe that the guardrails that we provide in this

         final rule will ensure just, reasonable, and not unduly discriminatory or preferential rates

         while at the same time addressing concerns with the different characteristics of regions.

         We urge stakeholders to engage with transmission providers as part of the compliance

         process as the transmission providers develop their proposed study cost allocations.

                In response to National Grid, AES, and Clean Energy Associations’ comments

         arguing that costs should be allocated based on individual calculations of the actual time

         and resources expended on a particular interconnection request, we find that such

         individual calculations would not only increase the administrative burden on transmission

         providers, but also would offer little benefit given the cluster study context, which
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         requires transmission providers to evaluate multiple interconnection requests

         simultaneously.844 We are also unconvinced that a transmission provider could

         accurately perform such calculations because, as explained above, some study costs are

         unrelated to an individual interconnection request and are instead incurred as a matter of

         course as part of studying a cluster of interconnection requests.

                         4.    Allocation of Cluster Network Upgrade Costs

                               a.      NOPR Proposal

                In the NOPR, the Commission proposed to require transmission providers to

         allocate network upgrade costs to interconnection customers within a cluster using a

         proportional impact method.845 The Commission also proposed to add the defined term

         proportional impact method to the pro forma LGIP and require transmission providers to

         revise their LGIPs to include the specific technical parameters and thresholds of their

         method for cost allocation. The Commission also proposed to require transmission

         providers to allocate the costs of transmission provider’s interconnection facilities equally

         among all interconnection customers sharing use of the transmission provider’s

         interconnection facilities. The Commission sought comment on: (1) whether there are

         specific types of analyses that the Commission should require transmission providers to

         use to determine the proportional impact attributed to an interconnection request,



                844
                   AES Initial Comments at 12; Clean Energy Associations Initial Comments at
         23; National Grid Initial Comments at 17.
                845
                      NOPR, 179 FERC ¶ 61,194 at P 88.
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         including the benefits and drawbacks of any proposed approach; (2) whether there are

         specific types of analyses that the Commission should prohibit because they are known to

         be inaccurate, provide undue discretion to the transmission provider, or could otherwise

         be problematic; (3) whether alternative methods to allocate the costs of network upgrades

         within a cluster, such as the proportional capacity method, can be sufficiently accurate in

         certain instances, in a manner consistent with or superior to the proposed method; and

         (4) whether there are some circumstances where the proportional capacity method would

         not be appropriate, such as circumstances where there may be potential for discriminatory

         treatment.846

                                  b.      Comments

                                          i.   General Comments

                Several commenters support the proposal.847 These commenters state that the

         proposed proportional impact cost allocation method is widely used, both by RTOs/ISOs

         and non-RTO/ISO transmission providers, 848 and ensures that each interconnection


                846
                      Id. P 89.
                847
                   ACORE Initial Comments at 8; Ameren Initial Comments at 12; Avangrid
         Initial Comments at 31; Cypress Creek Initial Comments at 19; Eversource Initial
         Comments at 15; Fervo Energy Initial Comments at 3; Interwest Initial Comments at 16-
         17; Invenergy Initial Comments at 21; NEPOOL Initial Comments at 15; New Jersey
         Commission Initial Comments at 15; Northwest and Intermountain Initial Comments at
         8; NYTOs Initial Comments at 16; Omaha Public Power Initial Comments at 5;
         Pennsylvania Commission Initial Comments at 8-9.
                848
                   For example, several transmission providers support the Commission’s
         proposal, and state that they already use a proportional impact method or distribution
         factor analysis. CAISO Initial Comments at 13; ISO-NE Initial Comments at 25; MISO
         Initial Comments at 46-47; NYISO Initial Comments at 14; PJM Initial Comments at 36;
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         customer contributes to the cost of network upgrades in proportion to its impact on the

         transmission system.849 These commenters assert that other options (such as a

         proportional capacity or a pro rata allocation per interconnection request) would be more

         likely to shift a disproportionate share of network upgrade costs to smaller generating

         facilities, which may have less impact on the transmission system.850 Bonneville and

         Interwest argue that the proportional impact method could also reduce the incentive for

         interconnection customers to submit multiple speculative requests and reduce the amount

         of cascading withdrawals and restudies.851 ELCON contends that, should any one

         proposed generating facility in the cluster have an outsized impact on the transmission

         system compared to other proposed generating facilities in the cluster, those other

         proposed generating facilities should be protected from exorbitant network upgrade costs



         SoCal Edison Initial Comments at 16; Tri-State Initial Comments at 12.
                849
                   ACORE Initial Comments at 8; Ameren Initial Comments at 12; Avangrid
         Initial Comments at 31; Cypress Creek Initial Comments at 19; Eversource Initial
         Comments at 15; Fervo Energy Initial Comments at 3; Interwest Initial Comments at 16-
         17; Invenergy Initial Comments at 21; NEPOOL Initial Comments at 15; New Jersey
         Commission Initial Comments at 15; Northwest and Intermountain Initial Comments at
         8; NYTOs Initial Comments at 16; Omaha Public Power Initial Comments at 5;
         Pennsylvania Commission Initial Comments at 8-9.
                850
                   ACORE Initial Comments at 8; Ameren Initial Comments at 12; Avangrid
         Initial Comments at 31; Cypress Creek Initial Comments at 19, Eversource Initial
         Comments at 15; Fervo Energy Initial Comments at 3, Interwest Initial Comments at 16-
         17; Invenergy Initial Comments at 21; NEPOOL Initial Comments at 15; New Jersey
         Commission Initial Comments at 15; Northwest and Intermountain Initial Comments
         at 8; NYTOs Initial Comments at 16; Omaha Public Power Initial Comments at 5;
         Pennsylvania Commission Initial Comments at 8-9.
                851
                      Bonneville Initial Comments at 10; Interwest Initial Comments at 17.
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         to accommodate a proposed generating facility that may not be suitably located.852

         CAISO adds that it has used distribution factor analysis without controversy.853

               NRECA states that it interprets this proposal to implement—and not modify,

         weaken, or permit deviations from—the Commission’s established policy that

         transmission costs, including network upgrade costs, must be allocated in a manner at

         least reasonably commensurate with estimated benefits.854 NRECA states that, based on

         that interpretation of the NOPR’s proposal, NRECA believes this method is fair to both

         interconnection customers and transmission providers and helps ensure that the costs to

         implement an interconnection request are allocated reasonably commensurate with cost

         causation and expected benefits. NRECA states that the proportional impact method is

         also reasonably transparent and relatively easy for transmission providers to implement,

         explain, and defend.

               In response to the Commission’s request for comment on whether there are

         circumstances in which the proportional capacity method would be appropriate, some

         commenters argue that the proportional capacity method is never appropriate and should

         be expressly prohibited for clusters.855 MISO argues that network upgrade cost allocation




               852
                     ELCON Initial Comments at 9.
               853
                     CAISO Initial Comments at 13.
               854
                     NRECA Initial Comments at 22.
               855
                Longroad Energy Initial Comments at 9; MISO Initial Comments at 45-46;
         NRECA Initial Comments at 22; Pennsylvania Commission Initial Comments at 9.
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         methods that only consider installed capacity without considering the network topology

         do not consider the full picture of what an interconnection customer’s responsibility for

         the network upgrade costs should be.856 Pennsylvania Commission asserts that large

         generating facilities would continue to bear high network upgrade costs and would have

         an incentive to interconnect wisely, while small generating facilities, which are becoming

         the norm in interconnection queues, would not.857 Pennsylvania Commission contends

         that this would create a subsidy whereby large generating facilities pay a share of

         unnecessary network upgrade costs caused by poor siting of smaller generating

         facilities.858 Longroad Energy illustrates this point by noting that one of its generating

         facilities was recently allocated nearly $10 million under the proportional capacity

         method based solely on the generating facility’s size, despite the fact that relevant

         interconnection studies firmly established that its generating facility, while large, actually

         reduced the identified overload.859

                NV Energy urges the Commission to reconsider the application of pro rata

         allocation of network upgrade costs over using the proportional impact method.860 NV

         Energy contends that the proportional impact method could negatively impact



                856
                      MISO Initial Comments at 45-46.
                857
                      Pennsylvania Commission Initial Comments at 9.
                858
                      Id.; see also NRECA Initial Comments at 22.
                859
                      Longroad Energy Initial Comments at 9.
                860
                      NV Energy Initial Comments at 12.
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         interconnection customers due to the time and risk of reallocations required by

         restudies.861 NV Energy argues that assigned network upgrade costs could change

         dramatically if a cluster participant withdraws from the interconnection queue and

         requires a restudy, potentially resulting in each participant’s cost allocation changing.862

         NV Energy asserts that in addition to disintegrating cost reassurance for the

         interconnection customer, performing studies using the proportional impact method

         defeats the purpose of completing cluster studies where each interconnection customer in

         the cluster has the same interconnection queue position and that this method will require

         the transmission provider to review each interconnection request within the cluster

         individually to assign the proportional impact.

                NV Energy contends that using the proportional impact method to allocate the

         costs of network upgrades resulting from cluster studies will be burdensome in

         application because of the volume of interconnection requests being studied and the large

         number of network upgrades identified in each study.863 NV Energy states that, under a

         proportional capacity method, when an interconnection customer withdraws and the same

         network upgrades are deemed necessary, the transmission provider could simply

         reallocate a pro rata share to the remaining interconnection customers and expedite the

         study; however, in the case of the proportional impact method, the transmission provider


                861
                      Id.; PacifiCorp Reply Comments at 3.
                862
                      NV Energy Initial Comments at 12.
                863
                      Id.
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         would need to complete a full restudy to review each generating facility’s impact on the

         system.

                According to NV Energy, this issue is further exacerbated when a network

         upgrade becomes a shared network upgrade with another cluster and the proportional

         impact is expanded to include additional interconnection customers.864 NV Energy states

         that, not only would the restudy be required for the lower-queued cluster based on the

         withdrawal, but also the concurrently queued cluster to modify the network upgrade cost

         allocation. NV Energy also argues that, without a consistent proportional impact cost

         allocation amongst transmission providers, there is risk that this could lead to disputes at

         the Commission from interconnection customers, which would lead to increased costs

         and delays.

                PacifiCorp strongly opposes the proportional impact method to allocate network

         upgrade costs.865 PacifiCorp argues that the Commission has not made a transmission

         provider-specific finding that the proportional capacity method, approved for PacifiCorp

         by the Commission in May 2020,866 is no longer just and reasonable. PacifiCorp

         contends that transmission providers should be permitted to use proportional capacity-

         based network upgrade cost allocation methods.867 PacifiCorp claims that the



                864
                      Id. at 13.
                865
                      PacifiCorp Initial Comments at 23.
                866
                      PacifiCorp, 171 FERC ¶ 61,112 (2020).
                867
                      PacifiCorp Initial Comments at 22, 26.
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         proportional capacity method it uses is informed by three additional mechanisms within

         the cluster study process, all of which work in tandem to ensure that costs are

         appropriately allocated: (1) the use of electrically or geographically relevant subregions;

         (2) iterative studies that consider ERIS network upgrades prior to NRIS requests; and

         (3) a floor of 1% of total MW within a cluster, under which interconnection requests will

         be deemed not to contribute to the network upgrades identified in the cluster study.868

                PacifiCorp states that the proportional capacity method also assists it in

         completing cluster studies and restudies on a timely basis, and minimizes disputes.869

         PacifiCorp argues that, in sharp contrast, the proportional impact method involves a

         complex analysis that, in addition to being excessively time consuming, will result in

         disputes, both of which will put substantial pressure on PacifiCorp’s ability to meet study

         deadlines.870 Therefore, according to PacifiCorp, requiring use of the proportional impact

         method will be counterproductive to the Commission’s intent of making processing of

         interconnection requests more efficient.

                PacifiCorp explains that the degree of contribution to a needed network upgrade

         can be very difficult to determine depending on the size, number of interconnection

         requests, and location of proposed generating facilities in a cluster.871 PacifiCorp adds


                868
                      Id. at 23-24.
                869
                      Id.; PacifiCorp Reply Comments at 2.
                870
                      PacifiCorp Initial Comments at 24-25.
                871
                      Id. at 25.
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         that a proportional impact method analysis is complicated further by the fact that all

         interconnection requests within a single cluster are considered equally queued. In

         addition, PacifiCorp argues that, given the size of its multi-state system and the thousands

         of MWs of interconnection requests entering the cluster study process each year,872 it is

         simply not possible to both perform a proportional impact method analysis on each

         interconnection request and complete the cluster study process within 150 calendar

         days.873

                                       ii.   Comments on Specific Proposal

                                             (a)    Specificity Regarding Technical Parameters
                                                    and Thresholds

                Several commenters state that, if the Commission adopts its proposal for each

         transmission provider to revise its tariff to include its specific technical parameters and

         thresholds for the proportional impact method for network upgrade cost allocation, the

         Commission should at least consider guidance or principles for those technical

         parameters and thresholds.874 The same commenters ask that the Commission also

         require sufficient specificity to provide transparency and certainty for potential

         interconnection customers and to avoid disputes over cost allocation.


                872
                   PacifiCorp states that during the most recent cluster study, which commenced
         in May 2022, PacifiCorp received around 40 GW-worth of interconnection requests,
         which is more than three times PacifiCorp’s peak system load.
                873
                      PacifiCorp Initial Comments at 25.
                874
                   Clean Energy Buyers Initial Comments at 9; Cypress Creek Initial Comments
         at 19; Invenergy Initial Comments at 21.
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                EPSA and Vistra argue that the Commission should provide an opportunity for

         comments prior to moving to a final rule with more detailed parameters.875 Vistra

         contends that without such an opportunity, the Commission will have not provided

         sufficient notice.876 Vistra argues that adopting a final rule that contains only the very

         high-level requirement to allocate costs based on proportional impact method simply

         defers the Commission’s determination on important implementation details to litigation

         over the individual compliance filings that will be submitted. Without sufficient detail,

         Vistra continues, the Commission will arguably need to accept any set of technical details

         as in compliance with the requirement to allocate network upgrade costs based on

         proportional impact.

                PPL states that the NOPR did not address the allocation of network upgrade costs

         within a cluster after an interconnection customer withdraws.877 PPL states that, prior to

         the execution of an interconnection agreement by the interconnection customer(s), the

         Commission should provide that any interconnection facility and network upgrade costs

         previously allocated to the withdrawing interconnection customer be reallocated among

         the remaining interconnection customers in the cluster to prevent delays and allow the

         study process to proceed. PPL states that the Commission should allow for withdrawal to

         be treated as an event that allows the transmission provider to retain or call on the


                875
                      EPSA Initial Comments at 8; Vistra Initial Comments at 12-13.
                876
                      Vistra Initial Comments at 13.
                877
                      PPL Initial Comments at 14.
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         security provided by the withdrawing interconnection customer. PPL adds that the

         Commission should allow for an increase in the cost allocated to remaining

         interconnection customers in a cluster to account for the amount previously allocated to

         the withdrawing interconnection customer.

                                             (b)    Tariff Requirement for Technical Details

                PJM states that, while it generally supports the requirement to describe the cost

         allocation method in the applicable tariff, the Commission should clarify that

         transmission providers may provide the detailed and specific technical information in

         business practice manuals rather than in tariffs.878 PJM states that these types of

         implementation details change from time to time and, consistent with Commission

         precedent, are appropriately addressed in the transmission provider’s manuals. PJM

         asserts that mandating that these procedures be placed in the transmission provider’s

         tariff, on the other hand, would require a transmission provider to submit an FPA section

         205 filing every time the implementation details changed, which would be inefficient and

         burdensome.

                In contrast, other commenters argue that these thresholds, and any associated

         procedures, should be codified in transmission providers’ tariffs.879 AES explains that

         the thresholds used as part of the proportional impact method are important planning



                878
                      PJM Initial Comments at 37.
                879
                      AES Initial Comments at 8; Union of Concerned Scientists Reply Comments at
         20.
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         criteria, and constitute “practices that affect rates and services significantly, that are

         realistically susceptible of specification and that are not so generally understood as to

         render recitation superfluous;” accordingly, AES continues, they should be included in

         transmission providers’ filed rates, and subject to review and approval by the

         Commission pursuant to section 205 of the FPA.880 Union of Concerned Scientists

         contends that the combination of issues that are expressed through network upgrade

         decisions and cost allocations for interconnection customers are arguably central to this

         rulemaking and the fulfillment of the competition amongst interconnection customers as

         a regulatory approach to setting wholesale energy prices and must be subject to notice

         and review, both initially and for any subsequent changes, through filings with the

         Commission.881

                Xcel states that the Commission should make clear that there are several just and

         reasonable approaches to allocating network upgrade costs to interconnection customers

         within a cluster.882 For example, states Xcel, if two generating facilities are connecting to

         a new a transmission line, a substation must be constructed. Xcel explains that, using

         some analysis, a larger generating facility might be considered to have a larger impact,

         but the respective size of the interconnection request did not have any impact on the cost




                880
                   AES Initial Comments at 8 (citing Pub. Serv. Co. of Colo., 67 FERC ¶ 61,371,
         at 62,267 (1994); Portland Gen. Elec. Co., 144 FERC ¶ 61,087 (2013)).
                881
                      Union of Concerned Scientists Reply Comments at 20-21.
                882
                      Xcel Initial Comments at 26.
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         or size of the substation needed. Xcel states that, for example, the cost of the substation

         is not different for a 100 MW and 500 MW generating facility or for two 300 MW

         generating facilities if they are interconnecting at the same voltage, and as a result, the

         cost of that substation should be allocated equally to both generating facilities. Xcel

         states that there could be a third generating facility (not directly connected to the

         substation) from which the power flows through the new substation, but it is not clear if

         the Commission is proposing that the interconnection customer proposing that third

         generating facility pays for a portion of the substation costs because its flows “impact”

         the substation. Xcel states that it does not generally support allocating network upgrade

         costs to interconnection customers simply because their proposed generating facilities

         have a flow impact if they are not causing the need for the network upgrade under a “but

         for” evaluation.

                Invenergy states that, in the occasional circumstance where a point of

         interconnection is shared among more than one interconnection request within a cluster,

         which could involve new equipment that does not vary based on proportional impact, the

         associated costs at the point of interconnection (e.g., the substation) could be allocated on

         a pro rata basis.883 PacifiCorp states that the proportional impact method would not be

         necessary to account for costs that are agnostic to interconnection customer impacts, such




                883
                      Invenergy Initial Comments at 21-22.
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         as the need to construct a new substation to connect to a new transmission line regardless

         of whether one or several generating facilities are interconnecting.884

                Invenergy states that the NOPR could be read to permit each transmission provider

         to adopt different and possibly inconsistent analyses and that the Commission should be

         clear that it is requiring a proportional impact method for allocating network upgrade

         costs, just as the NOPR proposes to do with respect to shared network upgrades.885

                Several commenters state that the final rule should require transmission providers

         to submit compliance filings that propose minimum distribution factor thresholds that

         will be used to evaluate NRIS and ERIS requests.886

                                             (c)    Requests for Flexibility

                Some commenters support the proportional capacity method only for certain

         network upgrades or limited circumstances.

                Tri-State states that it does not apply a proportional impact method to transient-

         stability-driven network upgrades, which cannot be measured using a proportional impact

         approach; rather, Tri-State uses a MW pro rata method approach when allocating the



                884
                   PacifiCorp Reply Comments at 2 (citing Xcel Initial Comments at 26
         (describing how a proportional impact analysis is not necessary to allocate costs for a
         new station connecting to a transmission line, as “[t]he cost of the station is not different
         for a 100 MW and 500 MW generator or for two 300 MW generators if they are
         interconnecting at the same voltage”)).
                885
                      Invenergy Initial Comments at 21.
                886
                   AEE Reply Comments at 10; AES Initial Comments at 8; Longroad Energy
         Initial Comments at 9; SEIA Initial Comments at 11.
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         costs of transient-stability-driven network upgrades.887 Longroad Energy states that, to

         the extent the Commission allows a transmission provider to use some method other than

         a flow-based proportional impact allocation for transient stability constraints, the

         transmission provider should be required to demonstrate that the alternative cost

         allocation method is based on sound engineering principles for the specific transient

         stability constraint observed in the studies.888

                R Street states that allocating network upgrade costs based on proportional

         capacity is appropriate in situations where clusters are composed of similar types of

         generation.889 R Street asserts that the default should be that all thermal network upgrade

         cost allocations are based on proportional capacity. R Street states that this leaves open

         the possibility for transmission providers to allocate other types of network upgrade costs

         (voltage, transient stability, short circuit) using a different but predefined method.

                Several commenters ask the Commission to provide flexibility for transmission

         providers to establish a cost allocation method for network upgrades, rather than

         mandating a prescriptive approach.890 PPL claims that such region-specific cost



                887
                      PacifiCorp Reply Comments at 2; Tri-State Initial Comments at 12.
                888
                      Longroad Energy Initial Comments at 9.
                889
                      R Street Initial Comments at 12.
                890
                   AES Initial Comments at 7; APPA-LPPC Initial Comments at 16; Bonneville
         Initial Comments at 10; Dominion Initial Comments at 19; Indicated PJM TOs Initial
         Comments at 20; ISO-NE Initial Comments at 25; MISO Initial Comments at 45;
         National Grid Initial Comments at 8; NEPOOL Initial Comments at 15; New York State
         Department Initial Comments at 8; NYISO Initial Comments at 15; PPL Initial
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         allocations are necessary to keep disputes from overwhelming the reform process the

         Commission anticipates.891 New York State Department asserts that any strict or limiting

         requirement for a specific cost allocation method may undermine and replace existing

         processes that work well.892 National Grid recommends that the Commission allow for

         consideration of the unique circumstances of a region, input from relevant stakeholders in

         the region, including the potential for regions to propose cost allocation methods that

         allow for broader allocation to load or transmission customers in addition to

         interconnection customers.893

                Dominion points out that courts and the Commission have long recognized that

         there is not one single just and reasonable method for establishing cost allocation.894

         Dominion states that rather, cost allocation proposals are reviewed to determine whether

         they meet certain principles, chiefly that costs are allocated in a manner that is at least

         “roughly commensurate” with estimated benefits received.895 Accordingly, Dominion

         recommends that if the Commission imposes any requirements related to cost allocation,




         Comments at 14.
                891
                      PPL Initial Comments at 14.
                892
                      New York State Department Initial Comments at 8-9.
                893
                      National Grid Initial Comments at 18.
                894
                 Dominion Initial Comments at 19, 21 (citing Entergy La., Inc. v. La. Pub. Serv.
         Comm’n, 539 U.S. 39, 50 (2003)).
                895
                      Id. at 19.
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         it simply retains a general definition of proportional impact method and is not overly

         prescriptive.896

                                       iii.   Requests for Clarification or Technical Conference

                Pattern Energy generally supports the application of the proportional impact

         method, subject to clarification on which form of distribution factor analysis the

         Commission is contemplating.897 Pattern Energy states that there are two types of

         distribution factors used to determine the impact of given power injection flows over a

         monitored facility: (1) power transfer distribution factor, which is the percentage of

         power that will flow on a specific monitored facility and does not consider

         outage/contingent facilities; and (2) outage transfer distribution factor, which is the

         percentage of power that will flow on a specific facility that does consider

         outage/contingent facilities. Pattern Energy states that the difference between the two

         distribution factors (i.e., the consideration of the outage/contingent facility) is important

         because power transfer distribution factor is usually more relevant for evaluating “local

         impacts” (e.g., generating facilities that are connecting in very close electrical proximity

         to a given monitored element), compared to outage transfer distribution factor, which

         captures impacts that may be more geographically and electrically distant from a given

         monitored facility. Pattern Energy asserts that the Commission should require outage

         transfer distribution factor to be the required distribution factor utilized in the


                896
                      Id. at 22.
                897
                      Pattern Energy Initial Comments at 11-12.
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         proportional impact method for identifying impacts to constrained facilities and resultant

         cost allocation for network upgrades. Pattern Energy argues that outage transfer

         distribution factor is a better measure of power flows on the bulk-power system, and, in

         turn, its use ensures that impacts to constrained facilities are properly mitigated by, and

         cost allocated to, the actual, full set of contributors and not just the nearby highest

         contributors.

                Pine Gate contends that certain proposed enhancements to the NOPR proposal

         would provide much needed certainty to interconnection customers and mitigate the

         systematic problem of interconnection queues being the primary mechanism by which

         needed transmission infrastructure is identified, developed, and constructed.898

         Specifically, Pine Gate requests that the Commission make the following clarifications:

         (1) transmission providers are not permitted to allocate to interconnection customers

         network upgrade costs associated with preexisting operating conditions (such as

         overloads); (2) transmission providers are not permitted to allocate network upgrade costs

         to interconnection customers for loading that results from the simulation of conditions

         that do not reflect typical operating conditions; (3) transmission providers are required to

         use consistent, uniform thresholds to measure the impact on a specific transmission

         facility caused by an interconnection request and publish these thresholds, along with the

         corresponding scope of the resulting network upgrades; and (4) establish a 4% impact

         threshold for NRIS and a 20% impact threshold for ERIS, unless there is preexisting


                898
                      Pine Gate Initial Comments at 16-17.
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         loading on the facility.899 Pine Gate further requests that the Commission provide

         transmission providers guidance on the scope of the network upgrade required to

         accommodate an interconnection request. Pine Gate states that, if a network upgrade

         benefits other types of customers, interconnection customers should receive transmission

         credits or other compensation if the additional transmission capacity created is used for

         market dispatch or by wholesale transmission customers.900 Pine Gate states that, if the

         Commission does not adopt Pine Gate’s proposed enhancements as part of a final rule in

         this proceeding, then the Commission should establish a technical conference to explore

         these issues.

                                         iv.   Miscellaneous

                Pennsylvania Commission states that limiting the scope of each cluster to those

         interconnection customers most likely to share the same network upgrades may reduce

         the need for the proportional impact network upgrade cost allocation method.901

         According to Pennsylvania Commission, instead of determining the degree to which

         interconnection requests cause specific network upgrades on the back end through cost

         allocation, clustering by electrical relevance may accomplish the same goal, making sure

         that interconnection customers are sharing the costs of network upgrades that they cause

         and from which they benefit. Pennsylvania Commission contends that the Commission


                899
                      Id. at 18-19.
                900
                      Id. at 20.
                901
                      Pennsylvania Commission Initial Comments at 9.
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         should examine whether limiting the scope of a cluster or cost allocation, or a

         combination of both, is the best method to share costs among interconnection customers

         causing the same network upgrades.

                Several commenters state that the NOPR leaves unresolved the fundamental

         question of more equitably sharing network upgrade costs across all beneficiaries,

         including load.902 They argue, for example, that policies requiring interconnection

         customers to pay for 100% of network upgrade costs when the benefits of those upgrades

         are distributed among other system users (i.e., participant funding) causes interconnection

         customers to pay more than their appropriate share of the costs.903 In contrast, Ameren

         claims that it is appropriate for interconnection customers to bear responsibility for the

         cost of network upgrades required for their interconnection requests.904 Ameren argues

         that, to ensure the full costs of interconnection are identified and allocated, network

         upgrade costs associated with affected systems must also be included in cluster network

         upgrade cost allocation, and interconnection customers should be required to accept the

         assigned costs. Ohio Commission Consumer Advocate emphasizes that the Commission




                902
                   ACORE Initial Comments at 8-9; AEE Initial Comments at 14-15; Interwest
         Initial Comments at 5; Northwest and Intermountain Initial Comments at 8; Public
         Interest Organizations Initial Comments at 31-33.
                903
                   AEE Initial Comments at 14 (citing Joint Supplemental Comments of
         American Clean Power Association, Advanced Energy Economy, and Solar Energy
         Industries Association, Docket No. RM21-17-000, at 7-8 (filed June 1, 2022)).
                904
                      Ameren Initial Comments at 12.
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         should not change the participant funding mechanisms in RTO/ISO markets,905 while

         PPL argues that the Commission should allow non-RTO/ISO transmission providers the

         option to propose allocating the costs of network upgrades to interconnection customers

         without credits as RTOs/ISOs do.906

                  New York State Department and Shell argue that the Commission should

         discontinue the historical practice of allowing interconnection customers essentially free

         use of headroom on ratepayer-funded network facilities.907 New York State Department

         states that this occurs when transmission ratepayers fund upgrades to the transmission

         system that create headroom, from which interconnection customers later benefit without

         having to pay for access or use.908 In contrast, Invenergy asserts that the Commission

         needs to ensure that the transmission planning and interconnection models are consistent,

         so that interconnection customers are not required to pay for the cost of resolving

         overloads and other transmission system issues that exist without the proposed

         interconnection.909




                  905
                        Ohio Commission Consumer Advocate Initial Comments at 9.
                  906
                        PPL Initial Comments at 13.
                  907
                        New York State Department Initial Comments at 9; Shell Reply Comments at
         27-28.
                  908
                        New York State Department Initial Comments at 9.
                  909
                        Invenergy Initial Comments at 21.
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                AEE encourages the Commission to ensure that its proposal increases cost

         transparency and establishes a pathway for interconnection customers to access accurate

         information about their network upgrade costs in a timely manner.910 For instance, AEE

         asks that the Commission also provide guidance regarding which party must pay if

         network upgrade costs significantly exceed estimates. AEE states that one approach to

         minimizing the construction time and cost of network upgrades, and consequently the

         interconnection process as a whole, is to provide a third-party construction option in the

         pro forma LGIA that would allow the interconnection customer to elect for stand alone

         network upgrades to be bid out and potentially built by third parties.911

                Pine Gate recommends that the Commission require transmission providers to

         analyze more holistically the other underlying needs driving identified network upgrades

         to the transmission system.912 Pine Gate states that the Commission should require

         transmission providers to only allocate to interconnection customers the costs associated

         with accelerating the construction of the upgrade to accommodate the interconnection

         customer’s anticipated commercial operation date.913




                910
                      AEE Initial Comments at 15.
                911
                    Id. at 15-16 (citing Comments of AEE, Docket No. RM21-17-000, at47-49
         (filed Oct. 12, 2021)).
                912
                      Pine Gate Initial Comments at 17.
                913
                      Id.; Fervo Energy Reply Comments at 5.
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                              c.      Commission Determination

                We adopt the NOPR proposal, with modifications, to add new proposed section

         4.2.3, now section 4.2.1, to the pro forma LGIP to require transmission providers to

         allocate network upgrade costs based on a proportional impact method.914 Based on the

         record, we modify the NOPR proposal and add definitions for substation network

         upgrades and system network upgrades in the pro forma LGIP and pro forma LGIA. In

         addition, we modify the definitions of proportional impact method and stand alone

         network upgrades proposed in the NOPR. We also modify proposed section 4.2.1 of the

         pro forma LGIP to require transmission providers to allocate the costs of network

         upgrades located at substations equally among each generating facility interconnecting to

         the same substation (i.e., on a per capita basis), and to revise the information that a

         transmission provider’s tariff must include regarding the proportional impact method.

                We also modify the requirement in proposed section 4.2.1 of the pro forma LGIP

         for transmission providers to directly assign the cost of shared transmission provider’s

         interconnection facilities to interconnection customers on a per capita basis (i.e., on a per

         generating facility basis). Specifically, we modify proposed section 4.2.1 of the pro

         forma LGIP to make the new provisions applicable to the interconnection customer’s

         interconnection facilities as well as to the transmission provider’s interconnection



                914
                   “Proportional Impact Method shall mean a technical analysis conducted by
         Transmission Provider to determine the degree to which each Generating Facility in the
         Cluster Study contributes to the need for a specific System Network Upgrade.” Pro
         forma LGIP section 1.
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         facilities. We also modify this section to provide that interconnection customers may

         agree to share interconnection facilities, and that the per capita allocation will apply only

         where interconnection customers agree to share interconnection facilities. We also

         modify this section to allow the interconnection customers that share interconnection

         facilities to choose a different cost sharing arrangement upon mutual agreement.

                We find that adopting the modified NOPR proposal will ensure just and

         reasonable rates as transmission providers transition to the cluster study process required

         by this final rule. We find that the cost allocation method adopted herein will allow

         transmission providers to allocate network upgrade costs among several interconnection

         customers that may benefit from (and cause the need for) certain network upgrades. We

         also find that allocating shared network upgrade costs among a cluster of interconnection

         customers will reduce the frequency of an individual interconnection customer being

         allocated the costs of a large network upgrade that benefits subsequent interconnection

         customers; reduce the incentive of interconnection customers to submit multiple

         speculative interconnection requests to avoid shouldering the cost of large network

         upgrades that may be triggered by a single interconnection customer in the existing serial

         study process; and reduce the number of cascading withdrawals and restudies, thereby

         improving the efficiency of the interconnection process and reducing interconnection

         queue processing delays.

                We conclude that a proportional impact method appropriately reflects the

         Commission’s interconnection pricing policy for facilities designated as network

         upgrades needed for the interconnection of the cluster. However, we are persuaded to
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         adopt a different cost allocation method for substations at the point of interconnection

         that are designated as network upgrades and needed only to facilitate the interconnection

         of certain generating facilities within the cluster seeking interconnection to the specific

         substation, as demonstrated by commenters.915

                In Order No. 2003, the Commission reasoned that “it is appropriate for the

         Interconnection Customer to pay the initial full cost for Interconnection Facilities and

         Network Upgrades that would not be needed but for the interconnection” (i.e., “but for”

         policy).916 Hence, under the serial study process in the existing pro forma LGIP, the

         transmission provider allocates network upgrade costs by assigning the initial full cost

         responsibility for all network upgrades identified in a study to a single interconnection

         customer that causes those upgrades. However, in transitioning to a cluster study process

         in this final rule, the Commission must establish a method for allocating network upgrade

         costs among all interconnection customers within a cluster. Based on the record in this

         proceeding, we find that a proportional impact method is the appropriate application of

         the Commission’s interconnection pricing policy when allocating the costs of network

         upgrades needed for an entire cluster of proposed generating facilities because a

         proportional impact method allows transmission providers to assess a generating


                915
                      Xcel Initial Comments at 26; Invenergy Initial Comments at 21-22.
                916
                   See id. P 694; Nev. Power Co., 182 FERC ¶ 61,048, at PP 50-51 (2023)
         (describing the cost allocation requirements for network upgrades as the Commission’s
         Order No. 2003 “but for requirements”).
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         facility’s individual contribution to the need for the network upgrades identified for the

         cluster. However, the need for substation network upgrades is only generated by a

         specific generating facility seeking interconnection at a specific substation and not by all

         the generating facilities in the cluster. It would be inconsistent with the Commission’s

         interconnection pricing policy to allocate the costs of the substation network upgrades to

         interconnection customers in the cluster that are interconnecting at other substations

         because, in the case of a cluster of new interconnection requests, only the generating

         facilities interconnecting to the same substation generate the need for network upgrades

         at that substation.

                As explained above, the cost of substation network upgrades must be initially

         allocated only to those interconnection customers seeking to interconnect at the same

         substation,917 while the cost of system network upgrades for all interconnection

         customers in a cluster must be initially allocated based on the technical analyses to be

         specified under the transmission provider’s proportional impact method. To facilitate

         these differing cost allocation methods, we modify the definitions in section 1 of the pro

         forma LGIP and article 1 of the pro forma LGIA to distinguish substation network




                917
                   For clarity, we note that we are referring to the transmission provider’s
         substation immediately beyond the point of interconnection as defined in section 1 of the
         pro forma LGIP: “Point of Interconnection shall mean the point . . . where the
         interconnection facilities connect to the transmission provider's transmission system.”
         Pro forma LGIP section 1 (Definitions).
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         upgrades (including all switching stations)918 from system network upgrades.919 Using

         these definitions, we further modify the pro forma LGIP and pro forma LGIA to draw

         this distinction and to ensure that the costs for the two types of network upgrades are

         allocated consistent with the Commission’s interconnection pricing policy, which

         establishes the principles for allocating the costs of network upgrades.

                We note that we are not modifying the pro forma LGIP’s definition of facilities

         needed beyond the point of interconnection as network upgrades; rather, we are providing

         greater specificity with regard to how the costs of the two distinct types of network

         upgrades identified within a cluster study should be initially allocated. We find that this

         approach will also lead to greater transparency and ease of administering the cluster study

         process by establishing distinct guidelines for how the costs of the two types of network

         upgrades will be initially allocated within a cluster. Also, as commenters note, in

         instances where a point of interconnection is shared among more than one

         interconnection request within a cluster, the cost of the substation network upgrades is

         more directly impacted by the number of generating facilities proposing to interconnect

         there because the cost of the equipment used to interconnect generating facilities to

         substations does not vary based on the electrical characteristics of the interconnecting




                918
                   Substation network upgrades shall mean the network upgrades required at the
         substation located at the point of interconnection.
                919
                   System network upgrades shall mean the network upgrades required beyond the
         substation located at the point of interconnection.
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         generating facilities (e.g., the MW size of the generating facility, fuel type, or services

         provided).

                To further implement this modification of the NOPR proposal, we modify the

         definition of stand alone network upgrades proposed in the NOPR to recognize that (1) a

         substation network upgrade may only be considered a stand alone network upgrade if it is

         needed to interconnect only one generating facility in the cluster and no other

         interconnection customer in that cluster is required to interconnect to the same substation

         network upgrades, and (2) the proportional impact analysis will be used in determining

         whether a system network upgrade is only needed for one generating facility in the

         cluster and can be considered a stand alone network upgrade. Our revisions also seek to

         prevent lengthy disputes over which interconnection customer has the right to exercise

         the option to build in instances where a network upgrade could qualify under the existing

         definition of a stand alone network upgrade, but the network upgrade is needed for

         multiple interconnection customers’ generating facilities.

                Several commenters request that the Commission provide more specificity and

         guidance regarding the specific thresholds and metrics that transmission providers are

         expected to submit on compliance.920 In this final rule, we modify the proposed

         requirement in pro forma LGIP section 4.2.1 for transmission providers to revise their

         LGIPs on compliance to include specific thresholds and metrics. Instead, we direct


                920
                   Clean Energy Buyers Initial Comments at 9; Cypress Creek Initial Comments
         at 19; EPSA Initial Comments at 8; Invenergy Initial Comments at 21; Vistra Initial
         Comments at 12-13.
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         transmission providers on compliance to provide tariff provisions that describe, for each

         type of system network upgrade that a transmission provider would identify in the cluster

         study process (e.g., voltage support network upgrades or short circuit network upgrades),

         how the costs of each system network upgrade type will be allocated among the

         interconnection customers within the cluster. Transmission providers’ revisions on

         compliance must provide that costs for a discrete network upgrade identified in the

         cluster study process (e.g., reconductoring a portion of a transmission line to

         accommodate the interconnection of several generating facilities in the cluster) are

         allocated to only the interconnection customers in the cluster that are shown through

         technical analyses to contribute to the need for the discrete network upgrade. For

         example, the transmission provider must propose tariff provisions similar to the

         following: (1) voltage support related network upgrades shall be allocated using a

         voltage impact analysis, which will identify each generating facility’s contribution to the

         voltage violation; (2) short circuit network upgrade costs within a cluster will be

         allocated based on the impact from each generating facility within the cluster, on the

         constrained facilities under the most constraining fault in the relevant study case(s); or (3)

         the estimated costs of short circuit related general reliability network upgrades identified

         through a cluster study shall be assigned to all interconnection requests in that group

         study pro rata on the basis of the short circuit duty contribution of each generating

         facility.

                 PJM requests that the Commission clarify that transmission providers may provide

         the detailed and specific technical information in business practice manuals rather than in
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         tariffs.921 In response, we find that, as noted above, transmission providers must provide

         tariff provisions that describe the method they will use for allocating costs of each type of

         network upgrade, but specific metrics and thresholds for implementing the allocation, or

         other specific technical information, may be included in business practice manuals, or

         publicly posted on the transmission provider’s website. We agree with PJM that such

         details are appropriate for business practice manuals, consistent with Commission

         precedent applying the “rule of reason” to determine whether a detail should be included

         in a tariff or business practice manual. In particular, the technical information

         surrounding implementation of the proportional impact method by a particular

         transmission provider does not need to be included in the transmission provider’s tariff

         under the rule of reason because these provisions are properly classified as

         implementation details that do not significantly affect rates, terms, and conditions of

         service.922

                Several commenters request that the Commission direct transmission providers to

         use a specific type of proportional impact method or distribution factor analysis and

         apply minimum distribution factor thresholds that will be used to evaluate NRIS and

         ERIS requests.923 We are unpersuaded that such level of prescription is needed to ensure


                921
                      PJM Initial Comments at 37.
                922
                   See, e.g., N.Y. Indep. Sys. Operator, Inc., 179 FERC ¶ 61,102, at PP 105-114
         (2022) (citing, inter alia, Energy Storage Ass’n v. PJM Interconnection, L.L.C.,
         162 FERC ¶ 61,296, at P 103 (2018); City of Cleveland v. FERC, 773 F.2d, 1368, 1376-
         77 (D.C. Cir. 1985)).
                923
                      AEE Reply Comments at 10; AES Initial Comments at 8; Invenergy Initial
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         just, reasonable, and not unduly discriminatory or preferential rates. Instead, we believe

         that flexibility for transmission providers to develop such details as part of their

         compliance filings—and in their business practice manuals, where consistent with the

         rule of reason, as discussed above—is important to ensure that the proportional impact

         method used by each transmission provider reflects the characteristics of its region (e.g.,

         types of network upgrade facilities identified in the region, or preferred analyses in the

         region for determining the share of the need for the specific network upgrade type). For

         the same reason, we decline to require transmission providers to use consistent, uniform

         thresholds to measure impact, as requested by Pine Gate.924

                Based on the record, we decline to require transmission providers to use the

         proportional capacity method to allocate the costs of all system network upgrades, given

         our decision to instead opt for the proportional impact method and because it reflects the

         Commission’s interconnection pricing policy for facilities designated as network

         upgrades needed for the interconnection of the cluster. Nonetheless, we recognize that

         there may be a tradeoff between simplicity and accuracy when considering proportional

         capacity versus proportional impact for cost allocation for network upgrades. While we

         require transmission providers to allocate network upgrade costs based on a proportional

         impact method based on the record in this final rule, we acknowledge that other




         Comments at 21; Longroad Energy Initial Comments at 9; Pattern Energy Initial
         Comments at 11-12; Pine Gate Initial Comments at 16-19; SEIA Initial Comments at 11.
                924
                      Pine Gate Initial Comments at 19.
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         allocation methods could potentially meet the consistent with or superior to standard or

         the independent entity variation standard if, among other things, they allocate network

         upgrade costs in a manner consistent with the Commission’s interconnection pricing

         policy.

                   We disagree with NV Energy and PacifiCorp’s arguments that the proportional

         impact method carries unmanageable time, restudy, and reallocation risks.925 In response

         to concerns about restudy risk resulting from withdrawals, we note that the Commission’s

         new cluster study process requires transmission providers to complete the process within

         150 calendar days, which we believe is sufficiently long for transmission providers to be

         able to conduct the rounds of restudy and reallocation that are needed to achieve a stable

         interconnection queue and reduce the risk of further withdrawals before moving to the

         individual facilities studies. Further, the proportional impact method is currently used by

         most transmission providers that conduct cluster studies, and several of these

         transmission providers have adopted study timelines similar to what we adopt in this final

         rule.926

                   We disagree with claims from NV Energy and PacifiCorp that the proportional

         impact method must be conducted as if it were a serial study in that each interconnection



                   925
                         NV Energy Initial Comments at 12; PacifiCorp Reply Comments at 3.
                   926
                   See Dominion Energy S.C., Inc., Docket No. ER22-301-000 (Dec. 28, 2021)
         (delegated order); Duke Energy Carolinas, LLC, 176 FERC ¶ 61,075 (2021); Pub. Serv.
         Co. of Colo., 169 FERC ¶ 61,182 (2019); Tri-State Generation & Transmission Ass’n,
         Inc., 173 FERC ¶ 61,015 (2020).
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         request must be studied individually. When proposing a proportional impact method on

         compliance, transmission providers have many methods to choose from and should adopt

         a method that allows them to meet the timelines designated in the cluster study process.

         In response to PPL,927 we confirm that within the cluster study process, any network

         upgrade costs previously allocated to a withdrawing interconnection customer that are

         still required after the withdrawal may be reallocated among the remaining

         interconnection customers in the cluster based on the relevant cost allocation method

         applied to the network upgrade facility type.

                  Finally, several commenters suggest alternative reforms to the Commission’s

         network upgrade cost allocation policies: (1) limit the use of cluster areas as an

         alternative to the proposed cost allocation method within a cluster;928 (2) change the

         interconnection pricing policy or participant funding regime (as allowed in certain

         RTOs/ISOs) to limit participant funding and/or require assessment of whether

         transmission customers benefit from and should pay for network upgrades;929 (3)

         establish a process to eliminate the use of headroom on network transmission facilities;930


                  927
                        PPL Initial Comments at 14.
                  928
                        Pennsylvania Commission Initial Comments at 9.
                  929
                   ACORE Initial Comments at 8-9; AEE Initial Comments at 14-15; Ameren
         Initial Comments at 12; Interwest Initial Comments at 5; Northwest and Intermountain
         Initial Comments at 8; Ohio Commission Consumer Advocate Initial Comments at 12;
         PPL Initial Comments at 13; Public Interest Organizations Initial Comments at 31-33.
                  930
                        New York State Department Initial Comments at 9; Shell Reply Comments at
         27-28.
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         and/or (4) provide a third-party construction option.931 We find these requests to be

         outside the scope of this proceeding and lacking in record support to adequately consider

         whether to adopt them in this final rule.

                          5.      Shared Network Upgrades

                                  a.      NOPR Proposal

                In the NOPR, the Commission preliminarily found that the absence of network

         upgrade cost sharing provisions in the pro forma LGIP may pose a barrier to entry to

         generation development.932 The Commission stated that absent cost sharing provisions

         among clusters, interconnection customers may significantly benefit from earlier-in-time

         network upgrades but not share in the cost of those network upgrades in a manner that is

         roughly commensurate with benefits. The Commission therefore proposed to require

         transmission providers to allocate the costs of network upgrades between interconnection

         customers in an earlier cluster and interconnection customers in a subsequent cluster that

         benefit from the same network upgrade in a manner that is roughly commensurate with

         the benefits received.933 Specifically, the Commission proposed that when the

         transmission provider analyzes the network upgrades identified through its cluster study

         process, if a generating facility of an interconnection customer in a later cluster directly

         connects either to (1) a network upgrade in service for less than five years or (2) a


                931
                      AEE Initial Comments at 15.
                932
                      NOPR, 179 FERC ¶ 61,194 at P 97.
                933
                      Id. P 98.
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         substation where the network upgrade in service for less than five years terminates, then

         the transmission provider would be required to designate the network upgrade a shared

         network upgrade. Upon such a designation, the interconnection customer in the later

         cluster would be required to contribute a pro rata portion of the shared network upgrade’s

         remaining undepreciated capital cost based on the impact the interconnection customer in

         the later cluster has on the network upgrade, as measured using the same method the

         transmission provider used to determine the impact of the interconnection customer(s) in

         the earlier cluster.

                The Commission proposed that if the new generating facility does not directly

         connect to the network upgrade, then the transmission provider would perform a power

         flow analysis with a two-step test to measure the lower-queued interconnection

         customer’s use of and benefit from the network upgrade funded by interconnection

         customers from an earlier cluster. Under the first step, the transmission provider would

         determine if the impact of the interconnection customer in the later cluster exceeds

         five MW and exceeds one percent of the network upgrade’s rating. Then, if those criteria

         are met, the transmission provider would determine if the lower-queued interconnection

         customer’s impact either exceeds more than 5% of the network upgrade’s facility rating

         or if the transmission distribution factor is greater than 20%. Finally, if either of these

         criteria were met, the transmission provider would be required to designate that network

         upgrade a shared network upgrade, and the interconnection customer in the later cluster

         would be responsible for a pro rata share of the network upgrade’s remaining

         undepreciated capital cost based on the impact the interconnection customer in the later
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         cluster has on the network upgrade, as measured using the same method the transmission

         provider used to determine the impact of the interconnection customer(s) from the earlier

         cluster.

                The Commission proposed to require the interconnection customer in the later

         cluster to pay the transmission provider for the interconnection customer’s share of the

         shared network upgrade costs through a one-time lump sum, which the transmission

         provider would disburse to the appropriate interconnection customer(s) from the earlier

         cluster.934 The Commission also proposed that, where applicable, the interconnection

         customer from the earlier cluster or the relevant transmission provider would be required

         to assign transmission credits for the portion of the shared network upgrade that the

         interconnection customer in the later cluster funded to the interconnection customer in the

         later cluster. Additionally, the Commission proposed to require that the interconnection

         customer in the later cluster not be required to pay for its share of the cost of the shared

         network upgrade until that shared network upgrade is in service. The Commission also

         proposed to require transmission providers to provide the list of shared network upgrades

         to interconnection customers in subsequent clusters at the conclusion of the cluster study

         and to list those network upgrades in the appendix of the relevant interconnection

         customer’s LGIA. The Commission acknowledged that there could be scenarios where

         the network upgrade may be identified as both a shared network upgrade and a contingent

         facility; and, thus a designation of a network upgrade as a contingent facility does not


                934
                      Id. P 99.
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         preclude it from also being a shared network upgrade if the network upgrade meets the

         aforementioned criteria and passes the screens.935

                                   b.      Comments

                                           i.   Comments in Support

                Multiple commenters support the proposal.936 OMS states that, while cost sharing

         arrangements can be resource intensive and contentious, they can be crucial to facilitating

         an equitable interconnection process.937 NARUC states that the proposal is a logical

         extension of the cluster cost sharing concept and could spread costs over even more

         interconnection customers benefitting from network upgrades.938 A couple of

         commenters contend that the proposal will provide more certainty and result in fewer

         withdrawals, thus reducing associated restudies and study processing delays.939

                Several commenters believe that the proposal will address the issue of “first

         movers/free riders” when interconnection customers in a later cluster study benefit from



                935
                      Id. P 100.
                936
                   AES Initial Comments at 12; Avangrid Initial Comments at 32; Bonneville
         Initial Comments at 11; Interwest Initial Comments at 17; ISO-NE Initial Comments at
         25; MISO Initial Comments at 47; NARUC Initial Comments at 9; National Grid Initial
         Comments at 19; NESCOE Initial Comments at 9-10; New Jersey Commission Initial
         Comments at 15-16; NYTOs Initial Comments at 17; SEIA Initial Comments at 12; Shell
         Initial Comments at 27; Vistra Initial Comments at 1; Xcel Initial Comments at 27.
                937
                      OMS Initial Comments at 9.
                938
                      NARUC Initial Comments at 9.
                939
                New Jersey Commission Initial Comments at 16; Omaha Public Power Initial
         Comments at 5-6; SEIA Initial Comments at 2.
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         network upgrades assigned to interconnection customers in earlier clusters.940 Shell

         claims that avoiding first mover subsidization of free riders is particularly important for

         offshore wind interconnections because of the potential lack of onshore access points

         and, therefore, argues that the Commission should be open to non-traditional cost

         allocation methods when contemplating methods to mitigate first mover risk.941

                Additionally, some commenters believe that the proposal is consistent with the

         Commission’s cost causation policy.942 Avangrid asserts that, when surplus transmission

         capacity created by a recent network upgrade is used by a later generating facility, the

         lower-queued interconnection customer should share the costs in a way that is

         commensurate with benefits like those allocated using the original proportional impact

         method assessment.943

                Xcel does not believe the proposal will have a significant impact on the number of

         interconnection requests submitted but believes that it will reduce barriers to entry for all




                940
                   ELCON Initial Comments at 9; Longroad Energy Reply Comments at 13;
         Pattern Energy Initial Comments at 18; SEIA Initial Comments at 12; Shell Initial
         Comments at 27; Xcel Initial Comments at 27; Vistra Initial Comments at 4.
                941
                      Shell Initial Comments at 27.
                942
                    Avangrid Initial Comments at 32; Omaha Public Power Initial Comments at 5-
         6; Vistra Initial Comments at 5.
                943
                      Avangrid Initial Comments at 32.
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         interconnection customers.944 Xcel believes that the proposal is appropriate where there

         is participant funding.

                                       ii.   Comments in Opposition

                Some commenters oppose the proposal.945 Several commenters assert that it will

         not yield many benefits and that the Commission should focus on other reforms that are

         more likely to reduce network upgrade costs and improve the equity of allocating them

         among beneficiaries.946 Dominion and Fervo Energy argue that interconnection

         customers in subsequent clusters do not “cause” the costs to be incurred, and to the extent

         the interconnection customers will benefit, they will contribute through their payment for

         transmission service.947




                944
                      Xcel Initial Comments at 48.
                945
                   APS Initial Comments at 11; Dominion Initial Comments at 22, 28; Dominion
         Reply Comments at 17; Duke Southeast Utilities Initial Comments at 9; EEI Reply
         Comments at 12-13; Enel Initial Comments at 30; Indicated PJM TOs Initial Comments
         at 21; PacifiCorp Initial Comments at 27; Pennsylvania Commission Initial Comments at
         10; R Street Initial Comments 12; SPP Initial Comments at 8; U.S. Chamber of
         Commerce Initial Comments at 8.
                946
                  AEE Initial Comments at 16; Dominion Initial Comments at 23-24; Dominion
         Reply Comments at 17; Enel Initial Comments at 30; EEI Reply Comments at 12;
         Eversource Initial Comments at 15; Indicated PJM TOs Reply Comments at 40;
         PacifiCorp Initial Comments at 29; Pennsylvania Commission Initial Comments at 10;
         Pine Gate Initial Comments at 20; SoCal Edison Initial Comments at 17; SPP Initial
         Comments at 8; U.S. Chamber of Commerce Initial Comments at 8.
                947
                      Dominion Initial Comments at 23; Fervo Energy Reply Comments at 5-6.
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               Other commenters believe that the implementation of the proposal will be

         administratively burdensome for transmission providers.948 A few commenters believe

         that the proposal will lead to increased disputes and FPA section 206 complaints at the

         Commission over cost allocation assignments.949

               Several commenters express concern that the proposal will lead to interconnection

         study delays and/or restudies, which would undermine the NOPR’s goal to reduce

         interconnection study processing timelines.950 A few commenters state that the proposal

         would require transmission providers to track all in-service network upgrades on the

         transmission system across all cluster studies over a five-year period, which they contend

         would be onerous or nearly impossible.951 The U.S. Chamber of Commerce claims that


               948
                   AECI Initial Comments at 5; AEE Initial Comments at 16; APS Initial
         Comments at 11; CAISO Initial Comments at 15; Dominion Initial Comments at 23-24;
         Dominion Reply Comments at 17; Enel Initial Comments at 30; Indicated PJM TOs
         Initial Comments at 21-22; National Grid Initial Comments at 19; PacifiCorp Initial
         Comments at 27, 29; Pine Gate Initial Comments at 22; PJM Initial Comments at 37-38;
         R Street Initial Comments at 12; SPP Initial Comments at 8; U.S. Chamber of Commerce
         Initial Comments at 8.
               949
                  AECI Initial Comments at 5-6; Dominion Initial Comments at 23-24;
         Dominion Reply Comments at 18; Duke Southeast Utilities Initial Comments at 10;
         Fervo Energy Reply Comments at 5; PacifiCorp Initial Comments at 28; PJM Initial
         Comments at 37-38.
               950
                 CAISO Initial Comments at 13; Dominion Initial Comments at 23; Dominion
         Reply Comments at 17; Indicated PJM TOs Reply Comments at 40; PacifiCorp Initial
         Comments at 27-28; Pennsylvania Commission Initial Comments at 10; SPP Initial
         Comments at 9.
               951
                   APS Initial Comments at 11-12; Dominion Initial Comments at 22; Dominion
         Reply Comments at 17; PacifiCorp Initial Comments at 28; U.S. Chamber of Commerce
         Initial Comments at 8.
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         power flow studies conducted up to five years after the in-service date of non-adjacent

         network upgrades will inevitably fail to accurately divide the relevant interconnection

         costs among disparate-in-time interconnection customers due to the many coinciding yet

         unrelated system changes that will affect the outcomes of such analyses.952 PacifiCorp

         contends that this requirement would require transmission providers to track multiple

         requests for each network upgrade on different timelines, the suspension or withdrawal of

         which could trigger cascading revaluations and corresponding LGIA amendments.953

         Dominion contends that the NOPR’s proposal would complicate reviews and require

         additional time-consuming analysis, which would only worsen for transmission providers

         with a high volume of interconnection requests, such as RTOs/ISOs.954

                Some commenters argue that the proposal will not create cost certainty for

         interconnection customers in earlier clusters when deciding whether to move forward

         with a generating facility because there would be no guarantee that an interconnection

         customer in a subsequent cluster would provide reimbursement.955 NextEra and PJM




                952
                      U.S. Chamber of Commerce Initial Comments at 8.
                953
                      PacifiCorp Initial Comments at 28.
                954
                      Dominion Initial Comments at 23.
                955
                  AEE Initial Comments at 16; Clean Energy Associations Initial Comments at
         25; Dominion Initial Comments at 23-24; EEI Initial Comments at 22; Enel Initial
         Comments at 30; Indicated PJM TOs Initial Comments at 22-23; Indicated PJM TOs
         Reply Comments at 40; NARUC Initial Comments at 9; NextEra Initial Comments at 18;
         Pine Gate Initial Comments at 22; PJM Initial Comments at 38; U.S. Chamber of
         Commerce Initial Comments at 8; Xcel Initial Comments at 48.
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         argue that a benefit of not sharing costs between clusters is that all the interconnection

         customers within a cluster simultaneously learn their network upgrade costs and

         associated cost responsibility, creating greater cost certainty.956

                                      iii.   Alternatives and Requests for Flexibility

                Several commenters recommend modifications to the proposal.957 A few

         recommend that the Commission implement a minimum threshold before a network

         upgrade would be evaluated as a potential shared network upgrade.958 MISO and Xcel

         state that changes will be necessary in RTO/ISO regions where a transmission owner may

         unilaterally provide upfront funding for network upgrades to integrate the cost allocation

         for such a funding mechanism with the shared network upgrade proposal.959 ENGIE

         recommends that the Commission set requirements in the interconnection process to

         identify interconnection facilities and network upgrades that are necessary to interconnect

         the generating facility, as well as network upgrades needed to mitigate local transmission

         constraints, and asserts that interconnection customers should not be responsible for the




                956
                      NextEra Initial Comments at 18-19; PJM Initial Comments at 38.
                957
                   Clean Energy Associations Initial Comments at 25-26; ENGIE Reply
         Comments at 3-4; MISO Initial Comments at 48-49; Pattern Energy Initial Comments at
         18; Xcel Initial Comments at 29.
                958
                ENGIE Reply Comments at 3-4; MISO Initial Comments at 48; R Street Initial
         Comments 12; Xcel Initial Comments at 29.
                959
                      MISO Initial Comments at 48-49; Xcel Initial Comments at 29.
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         costs of distant and minimally impacted network upgrades.960 Xcel also contends that the

         interconnection customer in the subsequent cluster should enter into a multiparty

         facilities service agreement to reimburse the interconnection customers in the earlier

         cluster, rather than pay the proposed lump sum payment to the transmission provider.961

         Pattern Energy recommends that the interconnection customer in the later cluster be

         required to repay the earlier interconnection customer at the time of execution of the

         subsequent interconnection customer’s interconnection agreement, and not when the

         relevant shared network upgrades go into service.962

                A few commenters propose alternative methods for cost allocation for shared

         network upgrades.963 For instance, Xcel argues that the Commission should be clear that

         it will accept other proposals to determine if a network upgrade is shareable to

         subsequent interconnection requests.964

                Some commenters support regional flexibility for transmission providers to

         implement any shared network upgrade mechanism.965 For example, NESCOE suggests



                960
                      ENGIE Reply Comments at 3-4.
                961
                      Xcel Initial Comments at 29.
                962
                      Pattern Energy Initial Comments at 18.
                963
                  Clean Energy Associations Initial Comments at 25; ENGIE Reply Comments at
         3; Longroad Energy Reply Comments at 13; Pine Gate Initial Comments at 20, 23.
                964
                      Xcel Initial Comments at 28.
                965
                Bonneville Initial Comments at 11; CAISO Initial Comments at 14; EEI Initial
         Comments at 22; Indicated PJM TOs Initial Comments at 21; Indicated PJM TOs Reply
         Comments at 40; National Grid Initial Comments at 19; NESCOE Initial Comments at
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         that allowing transmission providers, especially RTOs/ISOs, some flexibility in

         coordinating with their states on developing proposed approaches to sharing the costs

         associated with network upgrades funded by interconnection customers in earlier clusters

         could minimize the contentious nature of developing cost sharing arrangements.966

                Other commenters recommend that the Commission not adopt the shared network

         upgrade proposal in non-RTO/ISO regions where interconnection customers provide

         upfront funds for the network upgrades and receive reimbursement through transmission

         credits from the transmission provider, plus interest (i.e., the interconnection pricing

         policy established in Order No. 2003).967 Pine Gate states that under the NOPR proposal,

         interconnection customers in later clusters would potentially reimburse interconnection

         customers in earlier clusters sooner than the transmission provider would have via

         transmission credits, but with the same result.968 Enel asserts that coupling shared

         network upgrades with transmission credits creates even more administrative complexity,

         as an interconnection customer in a later cluster providing funds to an interconnection

         customer in an earlier cluster would necessitate a partial transfer of transmission credits,

         potentially on a partially depreciated asset, which creates an extremely complex payment,



         11; NESCOE Reply Comments at 7; NRECA Initial Comments at 9, 24; NYISO Initial
         Comments at 16; PJM Initial Comments at 37.
                966
                      NESCOE Initial Comments at 11.
                967
                   Duke Southeast Utilities Initial Comments at 10-11; Enel Initial Comments at
         30; PacifiCorp Initial Comments at 26-28; Pine Gate Initial Comments at 22.
                968
                      Pine Gate Initial Comments at 22.
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         reimbursement, and multiparty crediting system that would be administratively

         burdensome.969 Similarly, APS and Duke Southeast Utilities express concern over an

         additional complication in the event the earlier interconnection customer has already been

         fully reimbursed for the network upgrades through transmission credits.970 In contrast,

         Vistra contends that the shared network upgrade proposal will be beneficial in regions

         with transmission crediting as it will speed reimbursement relative to the status quo.971

         Vistra claims that, when an overlap exists between the reimbursement of an

         interconnection customer through transmission credits and the reimbursement mechanism

         in this proposal, this proposal will appropriately charge interconnection customers in

         subsequent clusters.

                Other commenters raise additional cost allocation concerns with the shared

         network upgrade proposal. Enel argues that, in markets where transmission credits do

         not apply, reimbursement for funding network upgrades is often granted in the form of

         congestion hedging mechanisms, and the repayment of network upgrade costs from a

         lower-queued interconnection customer to a higher-queued interconnection customer

         could create the need for a partial transfer of these congestion hedging rights.972 SDG&E

         cautions against allowing scenarios where an higher-queued interconnection customer


                969
                      Enel Initial Comments at 30.
                970
                      APS Initial Comments at 12; Duke Southeast Utilities Initial Comments at 10.
                971
                      Vistra Initial Comments at 5.
                972
                      Enel Initial Comments at 30.
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         with cost responsibility terminates an executed LGIA but the network upgrades are still

         needed for later interconnection customers, thus leaving the transmission provider as the

         backstop for financing the network upgrade.973 A few commenters argue that the

         Commission should limit its proposal to share network upgrade costs between clusters to

         areas whether interconnection customers are not already reimbursed for network upgrade

         costs.974

                Several commenters note that some RTOs/ISOs have similar existing cost

         allocation mechanisms to the NOPR proposal and request that, in those instances, the

         Commission defer to those transmission providers when the existing mechanisms are

         accomplishing the final rule’s objectives.975 On a similar note, PJM and Indicated PJM

         TOs request that the Commission not require PJM to implement cost sharing between its

         clusters.976

                Several commenters request various clarifications of the proposal and provide

         their thoughts on specific aspects.977



                973
                      SDG&E Initial Comments at 6.
                974
                      CAISO Initial Comments at 13; SoCal Edison Initial Comments at 16.
                975
                   Ameren Initial Comments at 13; APPA-LPPC Initial Comments at 17; ISO-NE
         Initial Comments at 26; MISO Initial Comments at 47-48; NYISO Initial Comments at
         15; NYTOs Initial Comments at 17; OMS Initial Comments at 9; SDG&E Initial
         Comments at 5.
                976
                      Indicated PJM TOs Initial Comments at 23; PJM Initial Comments at 37.
                977
                  APS Initial Comments at 11-12; Avangrid Initial Comments at 32-33; Clean
         Energy Associations Initial Comments at 25; Fervo Energy Initial Comments at 4; Fervo
         Energy Reply Comments at 4; LADWP Initial Comments at 4; Pattern Energy Initial
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                              c.      Commission Determination

                We decline to adopt the NOPR proposal to revise the pro forma LGIP and pro

         forma LGIA to implement shared network upgrades between interconnection customers

         in an earlier cluster and interconnection customers in a subsequent cluster. We find that

         the reforms adopted in this final rule that require transmission providers to allocate

         network upgrade costs to interconnection customers within the same cluster using a

         proportional impact method, as discussed above, will provide interconnection customers

         with more cost certainty during the interconnection process and will allow for sharing of

         network upgrade costs between interconnection customers that benefit from those

         network upgrades within the same cluster.

                The record demonstrates the complexity of the NOPR proposal and potentially

         significant administrative burdens associated with implementing it for at least some

         transmission providers, especially under the Commission’s interconnection pricing

         policy. We agree with some commenters that adopting the proposal would not provide

         cost certainty to interconnection customers in earlier clusters at the point that they have to

         proceed in the interconnection process because they would lack certainty about potential

         reimbursement for network upgrades from interconnection customers in subsequent

         clusters.978 Thus, the NOPR proposal is unlikely to reduce barriers to generation


         Comments at 18; Pine Gate Initial Comments at 21-22; Tri-State Initial Comments at 12,
         34; Vistra Initial Comments at 5.
                978
                 AEE Initial Comments at 16; Clean Energy Associations Initial Comments at
         25; Dominion Initial Comments at 23-24; EEI Initial Comments at 22; Enel Initial
         Comments at 30; Indicated PJM TOs Initial Comments at 22-23; Indicated PJM TOs
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         development due to the absence of network upgrade cost sharing provisions. Further, the

         proposal may introduce burdens for lower-queued interconnection customers that could

         be faced with reimbursing a higher-queued interconnection customer for a new shared

         network upgrade cost late in the interconnection process. For these reasons, we decline

         to adopt this NOPR proposal.979

                We find that the final rule’s reforms to conduct cluster studies and to allocate the

         costs of any assigned network upgrades to the cluster’s interconnection customers on a

         proportional basis address the “first mover/free rider” issue.980 Under this final rule, a

         transmission provider must study interconnection customers in an earlier cluster study

         based on the transmission system at that time, and those interconnection customers will

         be assigned network upgrades that would not be needed but for their interconnection to

         the transmission system; then, the transmission provider will study interconnection

         customers in a subsequent cluster study based on the transmission system at that point in

         time, and those interconnection customers will be assigned any necessary network



         Reply Comments at 40; NARUC Initial Comments at 9; NextEra Initial Comments at 18;
         Pine Gate Initial Comments at 22; PJM Initial Comments at 38; U.S. Chamber of
         Commerce Initial Comments at 8; Xcel Initial Comments at 48.
                979
                   We note that MISO, ISO-NE, and NYISO, which have independent entity
         variations to the Commission’s crediting policy, have similar shared network upgrade
         mechanisms to the NOPR proposal. See Midwest Indep. Transmission Sys. Operator,
         Inc., 133 FERC ¶ 61,221, at P 336 (2010); ISO New England Inc., 161 FERC ¶ 61,123, at
         PP 92-96 (2017); N.Y. Indep. Sys. Operator, Inc., 124 FERC ¶ 61,238, at P 34 (2008).
                980
                   See ELCON Initial Comments at 9; Longroad Energy Reply Comments at 13;
         Pattern Energy Initial Comments at 18; SEIA Initial Comments at 12; Shell Initial
         Comments at 27; Vistra Initial Comments at 4; Xcel Initial Comments at 27.
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         upgrades that would not be needed but for their interconnection to the transmission

         system. Further, we note that under the Commission’s interconnection pricing policy,

         interconnection customers receive reimbursement for network upgrade costs, which helps

         to mitigate any “first mover/free rider” concerns because interconnection customers are

         reimbursed through transmission credits. In addition, we find that the aforementioned

         reforms to conduct cluster studies and use a proportional impact method to allocate the

         costs of network upgrades within a cluster will also address “first mover/free rider”

         concerns in regions with independent entity variations to the interconnection pricing

         policy.

                   Because we decline to adopt this proposal, we do not respond to the requests for

         clarification or the requests for modifications to the NOPR proposal that would not

         address the reasons provided above for declining to adopt the NOPR proposal as a

         general matter.

                            6.    Increased Financial Commitments and Readiness Requirements

                   In the NOPR, the Commission stated that the pro forma LGIP allows an

         interconnection customer to proceed through the generator interconnection process

         without having shown evidence to the transmission provider of meaningful progress

         toward achieving commercial viability.981 The Commission stated its concern that,

         without requiring this type of evidence, interconnection customers will continue to

         submit multiple speculative interconnection requests and later withdraw those requests,


                   981
                         NOPR, 179 FERC ¶ 61,194 at P 102.
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         triggering rounds of restudies. The Commission therefore proposed a set of reforms to

         adopt more stringent financial commitments and readiness requirements for

         interconnection customers to remain in the interconnection queue to discourage

         speculative interconnection requests and allow transmission providers to focus on

         processing viable interconnection requests and to better approximate the cost of the

         interconnection study process.982

                                   a.      Increased Study Deposits

                                           i.    NOPR Proposal

                In the NOPR, the Commission proposed to adopt the following study deposit

         framework in the pro forma LGIP:983

                            Size of Proposed Generating
                              Facility Associated with           Amount of Deposit
                              Interconnection Request
                          > 20 MW < 80 MW                      $35,000 + $1,000/MW
                          > 80 MW < 200 MW                     $150,000
                          > 200 MW                             $250,000

                The Commission proposed to require transmission providers to collect this study

         deposit before each phase of the new first-ready, first-served cluster study process (i.e.,

         cluster study, cluster restudy, and facilities study).984 The Commission proposed to

         require the interconnection customer to provide: (1) an initial study deposit along with its



                982
                      Id. P 103.
                983
                      Id. P 106.
                984
                      Id. P 107.
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         interconnection request, which will be used to pay for the cluster study; (2) the second

         study deposit of the same amount within 20 days of receiving the cluster study report

         from the transmission provider to cover the cost of any clustered restudies; and (3) the

         third study deposit of the same amount along with its executed facilities study agreement.

         The Commission explained that study deposits would be refundable, and that the

         transmission provider would refund any portion of the study deposits above the

         applicable study costs and withdrawal penalties once the interconnection customer

         executes the LGIA, requests the filing of an unexecuted LGIA and submits the

         corresponding payment discussed below, or withdraws from the interconnection queue.

         The Commission also proposed to delete section 8.1.1 of the pro forma LGIP to remove

         the requirement for transmission providers to invoice interconnection customers on a

         monthly basis for the work conducted on the facilities study.

                The Commission sought comment on whether: (1) the proposed study deposit

         amounts accurately estimate the cost of conducting cluster studies; and (2) to adopt

         additional provisions or a different framework that would require larger proposed

         generating facilities to provide a higher deposit amount—such as a per MW

         framework.985




                985
                      Id. P 110.
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                                     ii.    Comments

                Several commenters fully support the NOPR proposal to increase study deposits in

         order to support more effective interconnection queue management and reduce

         speculative interconnection requests.986

                Other commenters express qualified support for the proposal.987 For example,

         ELCON, New York Commission and NYSERDA, and NextEra contend that it is

         important that such measures be carefully balanced so that they are not overly

         burdensome or discouraging to interconnection customers with legitimate proposed




                986
                   AEP Initial Comments at 20; APPA-LPPC Initial Comments at 18; CAISO
         Initial Comments at 15-16; Consumers Energy Initial Comments at 5; EEI Initial
         Comments at 6-7; NARUC Initial Comments at 10; NYTOs Initial Comments at 17;
         Pennsylvania Commission Initial Comments at 14; SoCal Edison Initial Comments at 5;
         U.S. Chamber of Commerce Initial Comments at 8; UMPA Initial Comments at 5; Vistra
         Initial Comments at 6.
                987
                   ACE-NY Initial Comments at 4; AES Initial Comments at 14; Ameren Initial
         Comments at 14; APPA-LPPC Initial Comments at 18; APS Initial Comments at 13;
         Avangrid Initial Comments at 16; Bonneville Initial Comments at 11; CESA Initial
         Comments at 8-9; Clean Energy Associations Initial Comments at 30; Cypress Creek
         Initial Comments at 20; Dominion Initial Comments at 24; EEI Initial Comments at 6;
         ELCON Initial Comments at 10; ENGIE Initial Comments at 4; Eversource Initial
         Comments at 16; Google Initial Comments at 20; Fervo Energy Initial Comments at 4;
         Idaho Power Initial Comments at 6; ISO-NE Initial Comments at 27; MISO Initial
         Comments at 49; National Grid Initial Comments at 20; NESCOE Reply Comments at 8,
         10; New York Commission and NYSERDA Initial Comments at 8; NextEra Initial
         Comments at 20; NRECA Initial Comments at 25; NV Energy Initial Comments at 14;
         NYISO Initial Comments at 19-20; Omaha Public Power Initial Comments at 6; Pacific
         Northwest Utilities Initial Comments at 4; PJM Initial Comments at 24; PPL Initial
         Comments at 15; SEIA Initial Comments at 13; Southern Initial Comments at 8-9; SPP
         Initial Comments at 9; Tri-State Initial Comments at 4, 12.
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         generating facilities that may be delayed for reasons out of their control.988 Clean Energy

         Associations do not oppose the heightened study deposit requirements, provided that they

         are paired with real predictability on the timing of studies and real certainty on the costs

         of network upgrades.989 CAISO argues that the Commission must raise study deposits

         significantly, and contends that it is illusory to argue that interconnection customers

         without significant capital can progress to commercial operation in today’s hyper-

         competitive climate.990 PPL asserts that the Commission’s proposed study deposits are

         likely on the low end of what is required to ensure proper “skin in the game,” but should

         work for many regions, including New England.991 Tri-State overall supports the

         proposed study deposit amounts but notes that interconnection customers proposing

         smaller generating facilities will end up paying a lower study deposit than what Tri-State

         is currently charging.992 ENGIE, MISO, and SPP would prefer to collect study deposits

         only once upon entry into the cluster, rather than at each stage of the cluster study




                988
                   ELCON Initial Comments at 10; New York Commission and NYSERDA
         Initial Comments at 8-9; NextEra Initial Comments at 20.
                989
                      Clean Energy Associations Initial Comments at 30.
                990
                      CAISO Initial Comments at 15-16.
                991
                   PPL Initial Comments at 15 (noting that PJM’s interconnection queue reform
         proposal includes higher deposits, ranging from $75,000 to $400,000 and a 10%
         nonrefundable component).
                992
                      Tri-State Initial Comments at 12.
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         process, to reduce administrative burden on them and the interconnection customers.993

         MISO and Shell argue that limiting speculative interconnection requests and ensuring

         more concrete financial readiness would be better achieved by requiring a single study

         deposit at the initiation of the generator interconnection process.994 Shell urges the

         Commission to base that deposit on the generating facility’s size.

                Several commenters argue that the final rule should provide each region with

         flexibility concerning the scope and application of any modifications to increased study

         deposits.995 Indicated PJM TOs contend that the transmission provider should be entitled

         to adjust the study deposit value if it observes that the actual cost of studies tends to be

         materially higher or lower.996 Dominion adds that the Commission should respect the

         previously accepted reforms made by transmission providers like Dominion and PJM

         with regard to study deposits.997




                993
                ENGIE Initial Comments at 4; MISO Initial Comments at 50; SPP Initial
         Comments at 9.
                994
                MISO Initial Comments at 51; Shell Initial Comments at 17; Shell Reply
         Comments at 22.
                995
                   Avangrid Initial Comments at 17; Bonneville Initial Comments at 11;
         Dominion Initial Comments at 24; Indicated PJM TOs Reply Comments at 29; Interwest
         Reply Comments at 12; ISO-NE Initial Comments at 28; National Grid Initial Comments
         at 21; New York Commission and NYSERDA Initial Comments at 9; NESCOE Reply
         Comments at 9-10; NRECA Initial Comments at 26; NYISO Initial Comments at 19;
         Pacific Northwest Utilities Initial Comments at 2; SPP Initial Comments at 10.
                996
                      Indicated PJM TOs Reply Comments at 29.
                997
                      Dominion Initial Comments at 24.
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                APS suggests that any refundable deposits should not include the Commission

         interest rate and argues that, by requiring additional funds to be deposited as described in

         the NOPR, the Commission’s proposal would lead to an exorbitant increase in the

         amount of Commission interest paid back to an interconnection customer as it moves

         along through the process at the transmission provider’s expense.998

                Other commenters mostly oppose the NOPR proposal to increase study

         deposits.999 CREA and NewSun agree that a tiered study deposit level tied to

         interconnection capacity requested may be warranted and at most study deposits should

         be increased to more accurately cover the cost of the studies, but comment that the rest of

         the NOPR’s proposal appears to increase the study deposit levels solely to deter

         interconnection customers from entering the interconnection queue, not because the

         current level of study deposits is insufficient to cover the costs of the studies.1000 CREA

         and NewSun argue that, if this rulemaking generates evidence that the current study

         deposit levels are insufficient to cover the typical costs of studies, an increase may be

         justified, but until then, study deposits should not be increased. Eversource recommends

         that the Commission consider making the rate of increase per MW more gradual, and that

         based on the current proposed figures, the deposits may increase too quickly relative to



                998
                      APS Initial Comments at 13.
                999
                    CREA and NewSun Initial Comments at 51-52; Eversource Initial Comments
         at 16; rPlus Initial Comments at 5; RWE Renewables Initial Comments at 2.
                1000
                       CREA and NewSun Initial Comments at 51-52.
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         generating facility size.1001 rPlus argues that study deposit requirements are unduly

         discriminatory or punitive to pumped storage as compared to other renewable

         technologies because a large capacity pumped storage facility would expect to hit the

         maximum deposit and/or penalty in every stage of the interconnection study process,

         LGIA, and potential withdrawal.1002 RWE Renewables fully supports allocating some

         risk for each generating facility entered into the interconnection queue to interconnection

         customers, but argues that increased financial deposits have unfortunately not been an

         adequate deterrent to a high volume of non-viable generating facilities entering into the

         interconnection queues.1003

                In response to the Commission’s request for comment on whether the proposed

         study deposit amounts accurately estimate the cost of conducting cluster studies, Ameren

         states that, based on its experience, the proposed study deposits are in line with the cost

         of conducting the cluster studies.1004 Xcel contends that the proposed study deposits are

         more than the cost of studies in its experience, but as studies will need to be accelerated

         under the Commission’s proposal (to meet timelines) and may involve more actions, the

         proposed study cost may be appropriate.1005 NV Energy states that, on average, it spends



                1001
                       Eversource Initial Comments at 16.
                1002
                       rPlus Initial Comments at 5.
                1003
                       RWE Renewables Initial Comments at 2.
                1004
                       Ameren Initial Comments at 14.
                1005
                       Xcel Energy Initial Comments at 29-30.
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         between $80,000 and $100,000 between the cluster system impact study and facilities

         studies and refunds the remaining deposits with interest.1006 Cypress Creek comments

         that in its experience, study costs can vary widely depending on the transmission

         provider, the staff resources it has available to conduct the study, and whether it needs to

         contract with external resources to conduct the study.1007

                CREA and NewSun urge the Commission to maintain a lower study deposit prior

         to obtaining the initial cluster study. They argue that larger study deposits are only

         justified once the interconnection customer can realistically assess the commercial

         viability of its proposed generating facility within the cluster after obtaining the potential

         interconnection costs.1008 Fervo Energy contends that more information is needed before

         one can conclude that the proposed study deposit amount framework would not result in

         deposits that far exceed the actual cost of the studies, particularly in light of the

         withdrawal penalty proposal.1009 Cypress Creek suggests that the Commission should

         provide additional justification and argues that the NOPR fails to provide any further

         justification for study costs (i.e., based on a market analysis or other method), stating




                1006
                       NV Energy Initial Comments at 14.
                1007
                       Cypress Creek Initial Comments at 20-21.
                1008
                       CREA and NewSun Initial Comments at 53.
                1009
                       Fervo Energy Initial Comments at 4.
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         only that the proposed amounts “better approximate the cost of the interconnection study

         process.” 1010

                In response to the Commission’s request for comment on whether the Commission

         should adopt additional provisions or a different framework that would require larger

         proposed generating facilities to provide a higher study deposit amount, such as a per

         MW framework, PJM contends that the Commission should adopt readiness payments or

         study deposits based on the costs of the network upgrades necessary to interconnect the

         generating facilities in the cluster, which also contain “at-risk” non-refundable

         provisions.1011

                                      iii.   Commission Determination

                We adopt, with modification, the NOPR proposal to require interconnection

         customers to pay, and transmission providers to collect, study deposits as part of the

         cluster study process.1012 Specifically, we adopt the NOPR proposal to require the

         following study deposit framework in section 3.1.1.1 of the pro forma LGIP:




                1010
                       Cypress Creek Initial Comments at 20 (quoting NOPR, 179 FERC ¶ 61,194 at
         P 103).
                1011
                       PJM Initial Comments at 24.
                1012
                    Here, we refer to initial study deposits separately from the LGIA deposit. We
         discuss the latter in Section III.A.6.d below. In the NOPR, the Commission discussed the
         deposits together, NOPR, 179 FERC ¶ 61,194 at P 109, although the proposed pro forma
         LGIP treated the initial study deposit, proposed pro forma LGIP section 3.1.1.1 (Initial
         Study Deposit), separate from the LGIA deposit, proposed pro forma LGIP section
         3.1.1.3 (LGIA Deposit).
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                          Size of Proposed Generating
                            Facility Associated with            Amount of Deposit
                            Interconnection Request
                        > 20 MW < 80 MW                      $35,000 + $1,000/MW
                        > 80 MW < 200 MW                     $150,000
                        > 200 MW                             $250,000


                However, we modify the NOPR proposal to require transmission providers to

         collect a single study deposit only once upon entry into the cluster (initial study deposit),

         rather than requiring transmission providers to collect a study deposit at each phase of the

         cluster study process, as proposed in the NOPR. Therefore, we decline to adopt the

         proposed revisions to sections 3.1.1.2, 7.5, and 8.1 of the pro forma LGIP that would

         have implemented the phased study deposit approach. As a result of this modification to

         the NOPR proposal, the initial study deposit will be required only at the time the

         interconnection customer submits an interconnection request. The amount of the initial

         study deposit will be calculated using the tiered approach proposed in the NOPR based

         on the proposed MW size of the generating facility, as shown in the chart above.

                We adopt the tiered approach based on the proposed MW size of the generating

         facility for determining the amount of the initial study deposit because larger proposed

         generating facilities within a cluster generally cost more to study than smaller proposed

         generating facilities within a cluster. Further, although we acknowledge that this

         approach does not perfectly approximate study costs, we find it appropriate to require the

         transmission provider to collect a study deposit based on a tiered approach because study

         costs will be trued up and any excess deposit refunded once the interconnection customer
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         executes the LGIA or requests the filing of an unexecuted LGIA and submits the

         corresponding payment discussed below or withdraws from the interconnection queue.

                We modify the NOPR proposal to require only a single initial study deposit, rather

         than multiple deposits at different stages of the cluster study process, as proposed in the

         NOPR. We believe that this modification will appropriately reduce the administrative

         burden for transmission providers to collect and manage the deposits.1013 We recognize

         that the amount of the study deposit for interconnection customers will be lower than that

         proposed in the NOPR because of this modification. We are persuaded by commenters’

         arguments that initial study deposits are best used to provide transmission providers with

         funds to cover the costs of studies performed for interconnection customers rather than to

         serve as a disincentive against speculative interconnection requests.1014 We therefore

         adopt an initial study deposit framework that better reflects the costs of the

         interconnection studies. For example, NV Energy states that, on average, it spends

         between $80,000 and $100,000 between the cluster system impact study and facilities

         studies and refunds the remaining deposits with interest.1015 Under the study deposit

         framework we adopt, study deposits range between $55,000 and $250,000 for the

         smallest and largest proposed generating facilities, respectively, and thus reasonably track




                1013
                 See ENGIE Initial Comments at 4; MISO Initial Comments at 50; SPP Initial
         Comments at 9.
                1014
                       See Order No. 2003, 104 FERC ¶ 61,103 at P 220.
                1015
                       NV Energy Initial Comments at 14.
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         likely study costs based on the record. We believe that other reforms adopted in this final

         rule—notably, the commercial readiness deposits and the site control requirements—will

         adequately serve as a disincentive against speculative interconnection requests without

         unnecessarily duplicating those efforts through increased study deposits.

                Additionally, we adopt the NOPR proposal to delete section 8.1.1 of the pro forma

         LGIP to remove the requirement for transmission providers to invoice interconnection

         customers on a monthly basis for the work conducted on the facilities study. We find that

         this monthly invoicing requirement is burdensome to the transmission provider and

         unnecessary given that section 13.3 of the pro forma LGIP includes policies for invoicing

         and establishes that interconnection customers are responsible for the actual costs of

         interconnection studies. Accordingly, we also delete from pro forma LGIP Appendix 3

         (Interconnection Facilities Study Agreement), the portion of article 5.0 that includes the

         monthly invoicing requirement.

                We disagree with rPlus’ argument that study deposit requirements are unduly

         discriminatory or punitive to pumped storage because of its large capacity.1016 We note

         that the initial study deposit reforms we adopt in this final rule are agnostic to the type of

         generating facility. Rather, the initial study deposits are based on the MW size of the

         proposed generating facility, regardless of the type of generating facility, such that

         interconnection customers proposing larger generating facilities will pay a larger deposit.

         As explained above, this reflects the fact that the expected costs to study those generating


                1016
                       See rPlus Initial Comments at 5.
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         facilities are generally higher. Nonetheless, the modification we adopt here has the effect

         of lowering the required study deposit for all interconnection customers relative to the

         NOPR proposal, a finding which may partially allay rPlus’ concern.

                               b.      Demonstration of Site Control

                                       i.    NOPR Proposal

                In the NOPR, the Commission stated that it believed that more stringent site

         control requirements will help prevent interconnection customers from submitting

         interconnection requests for speculative, commercially non-viable proposed generating

         facilities.1017 The Commission preliminarily found that an interconnection customer

         securing the exclusive land right necessary to construct its proposed generating facility

         (or for co-located resources, demonstration of shared land use) is sufficient evidence of

         the interconnection customer’s commitment to construct the generating facility.

                The Commission proposed to revise the pro forma LGIP to require

         interconnection customers to demonstrate 100% site control for their proposed generating

         facilities when they submit their interconnection request.1018 The Commission proposed


                1017
                       NOPR, 179 FERC ¶ 61,194 at P 115.
                1018
                   Id. P 116. The Commission proposed the following definition of ‘site control’
         in the NOPR:

                “Site Control shall mean the exclusive land right to develop, construct,
                operate, and maintain the Generating Facility over the term of expected
                operation of the Generating Facility. Site Control may be demonstrated by
                documentation establishing: (1) ownership of, a leasehold interest in, or a
                right to develop a site of sufficient size to construct and operate the
                Generating Facility or multiple Generating Facilities on a shared site behind
                one Point of Interconnection; (2) an option to purchase or acquire a leasehold
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         to have transmission providers include in their tariff specific acreage requirements for

         each generating facility technology type to demonstrate site control.

                To cut down on multiple interconnection customers leasing the same site in order

         to remain in the interconnection queue, the Commission proposed to revise the pro forma

         LGIP to require interconnection customers to demonstrate the exclusive land right (where

         the land rights are exclusive to the interconnection customer, not necessarily the

         individual generating facility) to develop, construct, operate, and maintain its generating

         facility or, where facilities are co-located, to demonstrate a shared land use right to

         develop, construct, operate, and maintain co-located facilities.1019

                Additionally, the Commission proposed to include a limited option for

         interconnection customers to submit a deposit in lieu of site control when they submit

         their interconnection request only when regulatory limitations prohibit the interconnection

         customer from obtaining site control.1020 The Commission explained that in such

         instances, the interconnection customer would submit an initial deposit in lieu of site

         control of $10,000 per MW, subject to a floor of $500,000 and a ceiling         of $2 million,



                site for such purpose; (3) site of sufficient size to construct and operate the
                Generating Facility; or (4) any other documentation that clearly demonstrates
                the right of Interconnection Customer to exclusively occupy a site of
                sufficient size to construct and operate the Generating Facility. Site Control
                for any Co-Located Resource is demonstrated by a contract or other
                agreement demonstrating shared land use for all Co-Located Resources that
                meet the aforementioned provisions of this Site Control definition.”
                1019
                       Id. P 117.
                1020
                       Id. P 118.
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         which would be applied toward any interconnection studies or a withdrawal penalty, if

         applicable. The Commission specified that such an interconnection customer must

         demonstrate 100% site control prior to the facilities study. The Commission further

         proposed that, after the interconnection customer notifies the transmission provider of a

         change to its site control demonstration, the transmission provider must give the

         interconnection customer 10 business days to demonstrate that the site control

         demonstration meets the applicable requirement after notification.1021

                The Commission sought comment on: (1) whether there are other specific

         situations in which the Commission should accept a deposit in lieu of site control;

         (2) whether the definition of site control, including the requirement to obtain an exclusive

         land right (or, for co-located resources, a shared land right), should be broadened or

         refined to account for circumstances that may arise in, for example, the siting and

         permitting of offshore resources in bodies of water and/or submerged land; (3) whether

         and how the definition of site control should be adjusted for interconnection customers to

         account for any regulatory requirements they may have associated with proposed

         generating facilities developed on sites owned or physically controlled by a state

         government entity and/or a federal government entity; (4) the appropriate stage in

         developing such sites when the Commission should view completion of such stage as

         indicative of an interconnection customer’s request being non-speculative and whether

         there are substantive differences among interconnection customers developing sites


                1021
                       Id. P 119.
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         owned or physically controlled by a state government entity and/or a federal government

         entity; (5) whether the Commission should allow transmission providers to accept

         demonstrations of less than 100% site control in the initial phases of the interconnection

         study process, outside of when regulatory limitations prohibit the interconnection

         customer from obtaining site control; and (6) whether the Commission should instead

         adopt site control provisions that allow a deposit in lieu of site control to enter the

         generator interconnection process and be evaluated under the first-ready, first-served

         cluster study process described above but require interconnection customers to

         demonstrate site control to enter the facilities study.1022

                                         ii.   Comments

                                               (a)   General Comments

                Several parties generally support the proposal to increase site control

         requirements.1023 These commenters generally agree that the proposal is reasonable and


                1022
                       Id. PP 121-123.
                1023
                    AEP Initial Comments at 21; AES Initial Comments at 15; Ameren Initial
         Comments at 15-16; APPA-LPPC Initial Comments at 17-18; Avangrid Initial Comments
         at 9, 18-19; Bonneville Initial Comments at 11; CAISO Initial Comments at 16;
         Consumers Energy Initial Comments at 5; Dominion Reply Comments at 15; ELCON
         Initial Comments at 10; Enel Initial Comments at 40-42; Eversource Initial Comments at
         16; Fervo Energy Reply Comments at 6; GSCE Initial Comments at 1; Hydropower
         Commenters Initial Comments at 12; Interwest Energy Alliance Reply Comments at 13;
         Invenergy Initial Comments at 9; Longroad Energy Initial Comments at 12; MISO Initial
         Comments at 53; NARUC Initial Comments at 10; NRECA Initial Comments at 27; NV
         Energy Initial Comments at 15; NYTOs Initial Comments at 18-19; Ørsted Initial
         Comments at 10; Pacific Northwest Utilities Initial Comments at 4; PG&E Initial
         Comments at 4; Pattern Energy Initial Comments at 29-30; Pine Gate Initial Comments at
         23; PJM Initial Comments at 21-22; SEIA Initial Comments at 14; SoCal Edison Initial
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         that these measures can reduce speculative interconnection requests, represent a

         reasonable financial burden, help ensure that the interconnection customer is ready to

         enter the interconnection queue,1024 help load serving entities have generating facilities

         interconnected as quickly and efficiently as possible,1025 and reduce harm to other

         interconnection customers that have successfully secured site control for their proposed

         generating facility.1026

                CREA and NewSun, on the other hand, argue that the Commission’s proposed site

         control requirements are anti-competitive because they allow utilities to erect market

         barriers to competitors’ generating facilities and because the requirements bar investment

         by companies seeking to develop generating facilities using a merchant generation

         model.1027




         Comments at 6; Tri-State Initial Comments at 13-15; U.S. Chamber of Commerce Initial
         Comments at 8; UMPA Initial Comments at 5; Xcel Initial Comments at 32.
                1024
                       Enel Initial Comments at 40.
                1025
                       Ameren Initial Comments at 15-16.
                1026
                       PJM Initial Comments at 29.
                1027
                       CREA and NewSun Reply Comments at 46.
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                                             (b)      Comments on Specific Proposal

                                                      (1)   Definition and Reasonable Evidence of

                                                            Site Control

                Some commenters support the proposed definition of site control.1028 MISO notes

         that the proposed requirement for exclusivity or the demonstration of a right to co-locate

         generating facilities is in MISO’s current tariff and that these requirements have proven

         to be successful at preventing speculative interconnection requests from entering or

         continuing in the interconnection queue.1029

                Some commenters suggest modifications to the definition of site control. ENGIE

         and Tri-State recommend that the Commission consider requirements similar to MISO’s

         requirements to identify when and whether an interconnection request is non-

         speculative.1030 Xcel supports modifying the definition of site control to ensure

         exclusivity and allow for co-ownership.1031

                PJM requests that the Commission clarify that interconnection customers are

         prohibited from submitting evidence of site control that uses the same land for multiple




                1028
                       MISO Initial Comments at 53; National Grid Initial Comments at 22.
                1029
                       MISO Initial Comments at 53.
                1030
                       ENGIE Initial Comments at 5; Tri-State Initial Comments at 14.
                1031
                       Xcel Initial Comments at 31.
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         interconnection requests, unless the site is large enough to host multiple generating

         facilities.1032

                 Enel supports the proposal to require land rights that are exclusive to one

         development company, but not necessarily to the individual generating facility.1033

         According to Enel, when used regarding land rights, “exclusive” means that only the

         owner of those land rights can possess the property, and this interpretation could prevent

         co-located resources from being built if one parent company was using two separate

         special purpose vehicles for two different generating facilities sharing land. Enel

         therefore recommends that the Commission clarify the intent of this word so that it does

         not artificially restrict multi-use applications.

                 Cypress Creek believes that, to the extent the Commission intends that a “land

         right” should involve zoning approval, such a proposal would be unreasonable because

         interconnection customers do not typically initiate local permitting until the system

         impact study phase, due to the system impact study’s impact to overall generating facility

         commercial viability.1034

                 Southern requests that the Commission clarify subpart (3) of the proposed site

         control definition, arguing that, as written, it appears to be an incomplete statement that

         may authorize an interconnection customer to simply provide evidence that a site is big


                 1032
                        PJM Initial Comments at 31.
                 1033
                        Enel Initial Comments at 42 (referencing NOPR, 179 FERC ¶ 61,194 at P 117).
                 1034
                        Cypress Creek Initial Comments at 22.
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         enough to host a proposed generating facility rather than evidence that the

         interconnection customer actually has any rights to that property.1035 Enel argues that

         subpart (3) to the definition should be deleted, because as modified, that item is

         duplicative of and a subset of the materials covered under subpart (1).1036

                Other parties request that the Commission clarify the definition of site control to

         specify what constitutes reasonable evidence to demonstrate 100% site control1037 or

         provide suggestions for what should be considered reasonable evidence of site control.1038

         NYISO requests that the final rule establish uniform requirements across regions for

         making the 100% site control determination.1039 APS requests that the Commission

         specify what is considered reasonable evidence in the same manner that the Commission

         defines commercial readiness milestones and argues that clarification is needed in order

         to avoid subjectivity regarding what is considered “reasonable” evidence to the

         transmission provider.1040




                1035
                       Southern Initial Comments at 34-35.
                1036
                       Enel Initial Comments at 82.
                1037
                    APS Initial Comments at 7; NYISO Initial Comments at 21-22; Omaha Public
         Power Initial Comments at 7.
                1038
                    EPSA Initial Comments at 8; National Grid Initial Comments at 22; NRECA
         Initial Comments at 27; Omaha Public Power Initial Comments at 7; SoCal Edison Initial
         Comments at 6.
                1039
                       NYISO Initial Comments at 21-22.
                1040
                       APS Initial Comments at 7.
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                Omaha Public Power requests that the Commission clarify whether transmission

         providers will be able to accept lease options, instead of executed leases, as sufficient

         evidence of site control.1041 Omaha Public Power notes that it has become industry

         standard to use lease options and argues that the Commission should not enact a rule that

         conflicts with current industry standard practices. SoCal Edison supports the NOPR

         proposal, provided that 100% site control includes an option to lease up to, and including,

         the commercial operation date or acquire the land when the interconnection request is

         submitted.1042

                EPSA advises the Commission to consider options to demonstrate site control,

         including requiring attestations that a lessee or potential owner is in exclusive

         negotiations to establish site control, though it generally supports the development of

         clearer demonstrations.1043 Interwest Energy Alliance recommends that the Commission

         consider evidence of active negotiations as potentially a sufficient demonstration of site

         control before the closing of the cluster request window.1044

                SoCal Edison recommends that the Commission consider requiring that site

         control agreements be between the site owner and the same legal entity that is submitting




                1041
                       Omaha Public Power Initial Comments at 7-8.
                1042
                       SoCal Edison Initial Comments at 6.
                1043
                       EPSA Initial Comments at 8.
                1044
                       Interwest Energy Alliance Reply Comments at 13.
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         the interconnection request.1045 SoCal Edison explains that it has run into challenges

         when trying to determine whether interconnection customers have exclusive site control,

         in part due to the fact that companies change over time with renaming and/or mergers.

                NRECA suggests that demonstration of site control with exclusive land rights

         should be allowed to include provisions that such rights are contingent upon favorable

         interconnection study results, inclusive of cost and schedule.1046 NRECA notes that site

         control land options on many occasions come with a caveat that the lessee or purchaser

         has the ability to terminate within a due diligence period if interconnection results are

         unfavorable due to cost or schedule.1047

                NV Energy requests clarification on whether an interconnection request should be

         deemed withdrawn if the interconnection customer does not provide demonstration of site

         control by the execution of the facilities study agreement.1048

                Ørsted urges the Commission to clarify that, for offshore wind projects, the

         definition of “exclusive site control of the entire generating facility” means exclusive

         control of the Bureau of Ocean Energy Management (BOEM) issued offshore wind lease

         area, not cable routes on state submerged land or onshore cable routes to the point of




                1045
                       SoCal Edison Initial Comments at 6.
                1046
                       NRECA Initial Comments at 27.
                1047
                       Id. at 27 n.70.
                1048
                       NV Energy Initial Comments at 15.
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         interconnection.1049 Ørsted reasons that, due to the extensive state and federal permitting

         process, offshore wind developers may not have authorization in the form of permits or

         other land use rights for portions of the offshore wind project on state submerged land or

         for the offshore and onshore cable routes during the interconnection process.

                 NYTOs and Pacific Northwest Utilities argue that it is unclear what would

         constitute 100% site control and therefore regions should be allowed to implement

         appropriate definitions for their regions on compliance to address their specific

         circumstances.1050

                 ISO-NE states that its existing LGIP and SGIP provisions, which are consistent

         with those proposed in the NOPR, have proven to be effective, and that the Commission

         should extend flexibility so that they may be maintained.1051 Similarly, Indicated PJM

         TOs argue that the final rule should permit PJM to implement its 2022 interconnection

         queue reform proposal for demonstrating site control, which is more rigorous than the

         NOPR proposal.1052




                 1049
                        Ørsted Initial Comments at 14.
                 1050
                        NYTOs Initial Comments at 19; Pacific Northwest Utilities Initial Comments
         at 4.
                 1051
                        ISO-NE Initial Comments at 29.
                 1052
                     Indicated PJM TOs Initial Comments at 25 (citing PJM Interconnection,
         L.L.C., Tariff Revisions for Interconnection Process Reform, Docket No. ER22-2110-
         000 (filed June 14, 2022)). The Commission conditionally accepted PJM’s filing on
         November 29, 2022 and accepted PJM’s associated compliance filing on February 2,
         2023. See PJM Interconnection, L.L.C., 181 FERC ¶ 61,162 (2022), order on reh’g,
         184 FERC ¶ 61,006 (2023); PJM Interconnection, L.L.C., Docket No. ER22-2110-003
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                Several parties support the NOPR proposal to define 100% site control as an

         acreage requirement specific to the generating facility type and to require these acreage

         requirements in the tariff.1053 Enel states that inclusion of acreage requirements in the

         tariff gives the Commission visibility into regional requirements to ensure that no

         transmission provider is significantly out of line with national assumptions.1054

                Several commenters request that the Commission create a process by which an

         interconnection customer can demonstrate that its generating facility requires a different

         amount of acreage than the default value listed in the tariff.1055 AES predicts that this

         approach will help ensure viable generating facilities are not inadvertently removed from

         the interconnection queue.1056 MISO states that its tariff also allows an interconnection

         customer to demonstrate that it can operate the proposed generating facility with fewer

         acres.1057 National Grid believes that regional flexibility would certainly be required for

         each transmission provider’s proposed acreage requirements and requests clarification




         (Feb. 2, 2023) (delegated letter order).
                1053
                 AES Initial Comments at 15; Enel Initial Comments at 42; NYISO Initial
         Comments at 21; Tri-State Initial Comments at 13.
                1054
                       Enel Initial Comments at 42.
                1055
                   AES Initial Comments at 16; Clean Energy Associations Initial Comments at
         32-33; Public Interest Organizations Initial Comments at 27.
                1056
                       AES Initial Comments at 16.
                1057
                       MISO Initial Comments at 54.
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         accordingly.1058 Some commenters suggest that transmission providers be required to

         update the acreage requirements periodically to reflect technological advancements.1059

                Other parties oppose the NOPR proposal to require specific acreage requirements

         in the tariff1060 or suggest that these requirements should be included in business practice

         manuals rather than tariffs.1061 Some commenters argue that these acreage requirements

         will likely change with technology advances, and it would be burdensome if transmission

         providers are required to submit an FPA section 205 filing every time they need to

         change acreage requirements.1062 Fervo Energy argues that the risk in this proposal is

         that the acreage requirements may understate the energy density of a generating facility

         and thus overstate the number of acres required for a given number of MW, resulting in

         discriminatory treatment between competing generation technologies.1063

                Ørsted recommends that transmission providers use the most recent estimates of

         power density from BOEM when establishing acreage requirements for offshore wind


                1058
                       National Grid Initial Comments at 23.
                1059
                    Clean Energy Associations Initial Comments at 32-33; Longroad Energy
         Initial Comments at 12; Pattern Energy Initial Comments at 29-30.
                1060
                    EPSA Initial Comments at 8; Fervo Energy Initial Comments at 4; Ørsted
         Initial Comments at 11; Pine Gate Initial Comments at 24-25; PJM Initial Comments at
         30.
                1061
                    MISO Initial Comments at 53-54; Pine Gate Initial Comments at 24-25; PJM
         Initial Comments at 30; Tri-State Initial Comments at 13.
                1062
                 Ørsted Initial Comments at 11; PJM Initial Comments at 30; Pine Gate Initial
         Comments at 24-25.
                1063
                       Fervo Energy Initial Comments at 4.
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         projects.1064 Ørsted notes that offshore wind turbines have grown much larger in recent

         years, which allows significantly more power production from the same amount of

         acreage, and they argue that if transmission providers’ tariffs were not updated frequently

         enough, the acreage requirements may become unreasonable.

                  Pine Gate recommends that acreage requirements specifically address how the

         requirements will be applied to hybrid and co-located generating facilities.1065

                  Some commenters request that the Commission clarify whether the site control

         requirement is limited to the generating facility or whether it also applies to transmission

         system elements like interconnection facilities or other upgrades that may be identified

         through the interconnection study process.1066 Several parties argue that, for the initial

         request and study phase, 100% site control should not apply to land required to finalize

         routes for generator ties lines.1067 AES argues that interconnection customers require

         flexibility when siting generator tie lines, which usually occurs near the very end of the

         interconnection process.1068 Enel notes that there are sometimes crossings of railroads,



                  1064
                         Ørsted Initial Comments at 11.
                  1065
                         Pine Gate Initial Comments at 24-25.
                  1066
                         Interwest Energy Alliance Reply Comments at 13; NYISO Initial Comments
         at 22.
                  1067
                    ACE-NY Initial Comments at 5; AES Initial Comments at 15; Avangrid Initial
         Comments at 18; Clean Energy Associations Initial Comments at 32; Enel Initial
         Comments at 41; ENGIE Initial Comments at 5; Equinor Reply Comments at 3; rPlus
         Initial Comments at 2-3; Shell Reply Comments at 23.
                  1068
                         AES Initial Comments at 15.
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         streams, or other circumstances that require considerable time to complete and are

         outside the interconnection customer’s control.1069 AEE explains that issues can occur

         when interconnection customers have all but one small parcel on the route of their

         generating facility secured, with only one small piece of connectivity missing due to

         permitting delays or other issues.1070 Similarly, Invenergy argues that it is unreasonable

         and impractical to predict and obtain rights to land for facilities that have not yet been

         identified.1071 Invenergy also states that the point of interconnection can change during

         the study process, thus changing the land needs for the interconnection customer’s

         interconnection facilities, and this change may be driven by a number of different factors,

         including the transmission provider’s preference, which may be outside the

         interconnection customer’s control.

                Ørsted, ACE-NY, and Equinor Wind note a myriad of challenges for obtaining site

         control for interconnection facilities for offshore wind projects, such as conflicts between

         federal and state permitting entity requirements for project flexibility and adaptability.1072




                1069
                       Enel Initial Comments at 41.
                1070
                       AEE Initial Comments at 17.
                1071
                       Invenergy Initial Comments at 10.
                1072
                 ACE-NY Initial Comments at 5; Equinor Reply Comments at 4; Ørsted Initial
         Comments at 13; Ørsted Reply Comments at 2, 4, 5; Shell Reply Comments at 29.
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         Ørsted argues that site control for interconnection facilities for offshore wind developers

         is only obtainable very late in the interconnection process.1073

                Other commenters argue that the Commission should expand the proposed

         definition of site control to apply some degree of site control requirements to

         interconnection facilities, such as a requirement to demonstrate 50% site control for

         interconnection facilities when submitting the interconnection request.1074 MISO

         encourages the Commission to require site control for interconnection facilities at the

         same time that it requires site control for the generating facilities.1075 AEP explains that

         some interconnection customers submit interconnection requests that are not feasible

         given where interconnection customer interconnection facilities would have to be sited to

         connect the generating facility to the transmission system at the selected point of

         interconnection.1076 Additionally, AEP explains that, even if a generation site is suitable,

         there may not be “room” at certain locations for a substation or switchyard due to a

         variety of issues, including abandoned mines, surrounding wetlands, or other geographic

         impediments.1077 According to AEP, site control for generating facilities can be far less



                1073
                       Ørsted Initial Comments at 12.
                1074
                    AEE Initial Comments at 18; AEP Initial Comments at 21-23; Cypress Creek
         Initial Comments at 22; Enel Initial Comments at 41; MISO Initial Comments at 56;
         National Grid Initial Comments at 22-23; Shell Reply Comments at 23.
                1075
                       MISO Initial Comments at 56.
                1076
                       AEP Initial Comments at 22.
                1077
                       Id. at 23.
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         important than feasible control over the land needed to connect the generating facility to

         the transmission system.

                Enel argues that the addition of a generator tie line site control requirement will

         increase the quality of interconnection study results and increase certainty for

         interconnection customers as the interconnection process becomes more costly and risky

         to navigate.1078 Enel states that it has observed or heard of interconnection customers

         submitting existing site control from very remote locations to secure interconnection

         queue positions, and later submitting a modification request to move the generating

         facility site close to the point of interconnection after the generating facility’s actual

         intended site control has been obtained. Enel states that this is done by interconnection

         customers to reduce the duration and subsequently the cost of maintaining site control, as

         a failed distant asset can be used for a new interconnection queue position elsewhere until

         site control for the new generating facility area is complete. In addition, Enel states that

         it supports SPP’s approach, which also requires 75% of generator tie line site control

         after the first cluster restudy, to ensure interconnection customers are making reasonable

         progress.

                National Grid argues that demonstrating site control for interconnection facilities

         is crucial for generating facility development and interconnection queue management

         particularly in cases where numerous interconnection requests in the interconnection




                1078
                       Enel Initial Comments at 41-42.
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         queue are reliant on the construction of certain network upgrades.1079 National Grid

         argues that the payment of cash or the provision of other security in lieu of demonstration

         of site control of transmission owner interconnection facilities or network upgrades built

         by an interconnection customer does not further the goals of the NOPR.

                                                    (2)    Site Control Demonstration

                Several commenters support the NOPR proposal to require interconnection

         customers to demonstrate 100% site control for their proposed generating facilities when

         they submit their interconnection request.1080 MISO argues that obtaining site control is

         consistent with the “first-ready, first-served” model and that delaying site control for

         interconnection requests until later in the interconnection process just increases the

         instances of late-stage withdrawals that leads to uncertainty, unplanned restudies, and

         delays for the remaining interconnection requests.1081 National Grid asserts that the

         demonstration of complete and exclusive site control is necessary at the interconnection

         request stage to avoid submission of interconnection requests prematurely, potential

         conflicts with other interconnection requests, and delays in issuing cluster studies.1082

         GSCE contends that there should be few exceptions to a site exclusivity requirement to




                1079
                       National Grid Initial Comments at 23.
                1080
                 ACE-NY Initial Comments at 5; APS Initial Comments at 14; MISO Initial
         Comments at 56; National Grid Initial Comments at 22; Ørsted Initial Comments at 12.
                1081
                       MISO Initial Comments at 56-57.
                1082
                       National Grid Initial Comments at 22.
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         enter the cluster study process so leniency is not granted to the type of interconnection

         requests that linger in the interconnection queue while they struggle to secure difficult

         land rights and permitting.1083

                PJM opposes any requirement on transmission providers to accept demonstrations

         of less than 100% site control at the time of an interconnection request, except for

         accommodations for interconnection requests for proposed generating facilities to be

         sited offshore or on government owned land.1084

                MISO notes that its tariff requires redemonstrations of site control.1085 Similarly,

         Indicated PJM TOs support requiring 100% site control at more than one decision

         point,1086 and assert that transmission providers should be allowed to confirm site control

         throughout the interconnection process.1087 Indicated PJM TOs and Longroad Energy

         argue that the Commission should strengthen the proposed site control requirements to

         ensure that interconnection customers are maintaining site control throughout the

         interconnection process.1088



                1083
                       GSCE Initial Comments at 7.
                1084
                       PJM Initial Comments at 32.
                1085
                       MISO Initial Comments at 53.
                1086
                   Indicated PJM TOs Initial Comments at 26 (citing PJM Interconnection,
         L.L.C., Motion for Leave to Answer and Answer of PJM Interconnection, L.L.C., Docket
         No. ER22-2110-000, at 20 (filed Aug. 2, 2022)).
                1087
                       Id. at 8, 26.
                1088
                 Indicated PJM TOs Reply Comments at 30; Longroad Energy Reply
         Comments at 18.
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                On the other hand, APS believes that simultaneous submission of the

         interconnection customer-executed LGIA and the continued demonstration of site control

         is duplicative and unnecessary if an interconnection customer demonstrates site control at

         the time an interconnection request is made.1089

                Several commenters oppose the NOPR proposal to require an interconnection

         customer to demonstrate 100% site control at the time of the interconnection request

         and/or propose alternative site control requirements.1090 A number of commenters

         express concern that the NOPR proposal is not compatible with the generating facility

         development cycle.1091 EPSA argues that a 100% exclusive site control requirement in

         advance of the processing of the facilities study is not reasonable because it overlooks the

         complicated and extensive process of negotiating for land leases or purchases.1092

         Similarly, Cypress Creek and AEE argue that the NOPR proposal does not reflect

         realities of development, which include stringent permitting requirements, and may




                1089
                       APS Initial Comments at 7.
                1090
                    AEE Initial Comments at 17-18; Clean Energy Associations Initial Comments
         at 31-32; CREA and NewSun Initial Comments at 54; Cypress Creek Initial Comments at
         22; EPSA Initial Comments at 8; NextEra Initial Comments at 21; Pine Gate Initial
         Comments at 24; R Street Initial Comments at 8; SEIA Initial Comments at 15; Shell
         Reply Comments at 23-24.
                1091
                   AEE Initial Comments at 17; Clean Energy Associations Initial Comments at
         31; CREA and NewSun Initial Comments at 54; Cypress Creek Initial Comments at 22;
         EPSA Initial Comments at 8; NextEra Initial Comments at 21; R Street Initial Comments
         at 8.
                1092
                       EPSA Initial Comments at 8.
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         disadvantage certain interconnection customers despite being on a path to full site control

         and commercial readiness.1093 CESA and Clean Energy Associations argue that the

         requirement for 100% site control at the interconnection request stage is excessively

         stringent and would significantly favor utility-owned projects.1094

                CREA and NewSun argue that the NOPR proposal is not adequately supported

         and urge the Commission to maintain the existing site control requirements.1095 CREA

         and NewSun argue that the proposal is unreasonable and “creates a Catch-22”:

         specifically, that without reliable visibility as to the interconnection costs and viability for

         its proposed generating facility within the specific cluster, the interconnection customer

         will not be able to attract investment needed to secure site control. CREA and NewSun

         also argue that a landowner hoping to see property developed may not agree to

         permanently tie up land in a lease before the interconnection customer can show

         interconnection is viable. CREA and NewSun argue that interconnection requests may

         prove uneconomic after receipt of initial interconnection studies and thereafter cannot

         finalize site control due to uneconomic interconnection costs. CREA and NewSun also

         assert that the Commission made no effort in the NOPR to ascertain the impact on the

         market of the “draconian” site control rules for such transmission providers that have

         been allowed to adopt them.


                1093
                       AEE Initial Comments at 17.
                1094
                       CESA Reply Comments at 5.
                1095
                       CREA and NewSun Initial Comments at 54-55.
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                R Street argues that requiring even partial site control at the time of the

         interconnection request may create delays and increase project development costs

         because it would require more options contracts to be in place with landowners.1096

         NextEra argues that site control is a limited indicator of generating facility viability.1097

         rPlus argues that requiring 100% site control at the interconnection request stage will

         inhibit the flexibility for interconnection request design changes that is needed to develop

         pumped storage projects.1098

                Several commenters recommend that the Commission modify the site control

         requirements in the final rule to require less than 100% site control at the time of the

         interconnection request. For example, Clean Energy Associations, SEIA, and Cypress

         Creek argue that no more than 75% site control is appropriate at the time of the

         interconnection request.1099 Shell argues that the Commission should only require partial

         site control when the interconnection request is made.1100 Clean Energy Associations

         supports an escalating schedule of site control through the interconnection process and

         suggests that the Commission should modify the NOPR proposal to also require 90% site




                1096
                       R Street Initial Comments at 13.
                1097
                       NextEra Initial Comments at 21-22.
                1098
                       rPlus Initial Comments at 2.
                1099
                 Clean Energy Associations Initial Comments at 31-32; Cypress Creek Initial
         Comments at 22; SEIA Initial Comments at 15.
                1100
                       Shell Reply Comments at 23-24.
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         control at the post-cluster study decision point and 100% site control at the post-facilities

         study decision point.1101

                AEE argues that 90% site control at the time of the interconnection request

         provides interconnection customers sufficient flexibility.1102 Additionally, several

         commenters state that 100% site control at the post-facilities study decision point would

         be appropriate.1103 AEE argues that these altered requirements will reduce speculative

         interconnection requests while also providing incentive for interconnection customers to

         pursue remaining land rights after entering the interconnection queue.1104

                Some commenters note that less than 100% site control at the interconnection

         request stage would allow interconnection customers flexibility to address the results of

         interconnection studies or other regulatory processes, which may lead to changes in the

         size or design of a generating facility.1105 Additionally, SEIA requests that the

         Commission require transmission providers to allow interconnection customers to change

         site boundaries or reduce the size of a proposed generating facility, as long as the point of

         interconnection remains the same, in order to accommodate changes resulting from




                1101
                       Clean Energy Associations Initial Comments at 31-32.
                1102
                       AEE Initial Comments at 18.
                1103
                 Id.; CESA Reply Comments at 5-6; Clean Energy Associations Initial
         Comments at 31-32; Cypress Creek Initial Comments at 22; Xcel Initial Comments at 32.
                1104
                       AEE Initial Comments at 18.
                1105
                       CREA and NewSun Initial Comments at 55; SEIA Initial Comments at 14-15.
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         interconnection studies or regulatory changes.1106 Pine Gate notes that sometimes

         interconnection customers are still actively negotiating with landowners close to the

         deadline for a cluster review window and requests the Commission to permit

         interconnection customers to demonstrate to the transmission prover that they are in

         active negotiations to meet the heightened site control requirements.1107

                Some commenters highlight that the NOPR proposal may be problematic or

         challenging for interconnection customers of certain technology types or other

         circumstances where obtaining site control is difficult. Hydropower Commenters argue

         that most new hydropower facilities are sited at existing non-powered dams and therefore

         hydropower interconnection customers face unique challenges when it comes to

         obtaining site control.1108 The Ohio Commission Consumer Advocate asserts that the

         proposal may be problematic for interconnection customers in Ohio because a recent

         Ohio law permits Ohio counties to designate unincorporated areas in a county as an area

         in which the development of a renewable energy project is prohibited.1109




                1106
                       SEIA Initial Comments at 15.
                1107
                     Pine Gate Initial Comments at 23-24. Pine Gate notes that this approach is
         similar to PJM’s where, if PJM accepts the interconnection customer’s demonstration,
         then PJM will add a condition precedent to the interconnection agreement requiring that
         all site control requirements be met within 180 days of execution.
                1108
                       Hydropower Commenters Initial Comments at 13.
                1109
                       Ohio Commission Consumer Advocate Initial Comments at 11.
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                According to Enel, some states limit the duration of site control.1110 Enel asserts

         that, if site control is near to expiring for any reason, whether due to state restriction or

         simply because the interconnection customer did not anticipate the length of

         interconnection or permitting processes, landowners can demand higher payments than

         agreed to in the original site control contract. Enel states that this can change the

         economics of a proposed generating facility and even make a proposed generating facility

         unprofitable, potentially leading to a late-stage interconnection request withdrawal.

                Several commenters argue that the Commission should reject proposals to weaken

         the site control requirements proposed in the NOPR.1111 APPA-LPPC argue that EPSA’s

         and SEIA’s generalized complaints do not identify a specific obstacle created by the

         Commission’s proposal, and APPA-LPPC argue that SEIA’s proposal to scale back the

         site control requirement to not more than 75% was considered and rejected by MISO’s

         management and stakeholders over concerns that it may not be rigorous enough to

         mitigate the entry of speculative interconnection requests in the queue.1112




                1110
                       Enel Initial Comments at 40.
                1111
                     APPA-LPPC Reply Comments at 2-3; CREA and NewSun Initial Comments
         at 55; Indicated PJM TOs Reply Comments at 30; Ohio Commission Consumer Advocate
         Initial Comments at 11-12.
                1112
                    APPA-LPPC Reply Comments at 4 (citing Midcontinent Indep. Sys. Operator,
         Inc., 169 FERC ¶ 61,173, at P 9 (2019)).
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                                                     (3)    Deposits in Lieu of Site Control

                Several commenters support the NOPR proposal to eliminate the option for

         interconnection customers to submit a deposit in lieu of site control except in limited

         circumstances for regulatory limitations.1113 These commenters express that allowing

         deposits in lieu of site control is not sufficient to demonstrate readiness or deter

         speculative interconnection requests.1114 PJM notes that, in its experience, the option to

         provide money in lieu of actual site control is easily abused by interconnection customers

         with speculative interconnection requests.1115 CAISO notes that its most recent cluster

         study was inundated by interconnection requests without site control because even a

         $250,000 deposit in lieu of site control has not proven to be a deterrent for

         interconnection customers.1116




                1113
                     AES Initial Comments at 15; APPA-LPPC Reply Comments at 4; CAISO
         Initial Comments at 16-17; CREA and NewSun Reply Comments at 50; Cypress Creek
         Initial Comments at 22; Dominion Initial Comments at 31; ENGIE Initial Comments at 4;
         EEI Initial Comments at 7-8; Eversource Initial Comments at 17; MISO Initial
         Comments at 57; NY Commission and NYSERDA Initial Comments at 8-9; NYTOs
         Initial Comments at 18-19; Ohio Commission Consumer Advocate Initial Comments at
         12; SEIA Initial Comments at 15; Shell Initial Comments at 23; Tri-State Initial
         Comments at 13.
                1114
                    APPA-LPPC Initial Comments at 19; Bonneville Initial Comments at 11;
         Idaho Power Initial Comments at 7; PJM Initial Comments at 26; PPL Initial Comments
         at 16; Southern Initial Comments at 8-9; Xcel Initial Comments at 30, 32.
                1115
                       PJM Initial Comments at 26.
                1116
                       CAISO Initial Comments at 17.
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                Some commenters oppose the NOPR proposal and argue that the option to make

         deposits in lieu of site control should be available for all interconnection customers, not

         just those that demonstrate regulatory limitations.1117 Avangrid believes that an at-risk

         deposit in lieu of site control that is set at a reasonable magnitude may be a good

         alternative to ensure that an interconnection customer is rigorously pursuing completion

         of a proposed generating facility.1118 Pacific Northwest Utilities suggest that the

         Commission should allow transmission providers the flexibility to determine whether

         deposits in lieu of site control are applicable.1119

                                                     (4)        Site Control Considerations for
                                                                Interconnection Customers with
                                                                Regulatory Limitations

                Some commenters contend that the Commission should modify the proposed

         definition of site control to reasonably accommodate interconnection customers

         developing generating facilities on sites owned or controlled by a government entity.1120

         Several commenters highlight unique circumstances and challenges for obtaining site

         control on certain public lands and other regulatory issues that may affect an




                1117
                  Avangrid Initial Comments at 19; Clean Energy Associations Initial
         Comments at 32; CREA and NewSun Initial Comments at 55; Interwest Energy Alliance
         Reply Comments at 13.
                1118
                       Avangrid Initial Comments at 19.
                1119
                       Pacific Northwest Utilities Initial Comments at 3.
                1120
                 PPL Initial Comments at 16; Tri-State Initial Comments at 14; Xcel Initial
         Comments at 31.
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         interconnection customer’s ability to demonstrate site control under the NOPR

         definition.1121

                Several commenters argue that the Commission should provide flexibility to allow

         transmission providers to establish site control requirements for generating facilities sited

         on federal and public land.1122 Shell notes that securing site control can often be

         complicated by fast-changing local, county, and state regulations, and encourages the

         Commission to provide sufficient flexibility to enable transmission providers to make

         accommodations for local site control challenges.1123

                Some commenters provide recommendations on how the Commission could

         clarify what may constitute a sufficient demonstration of site control for generating

         facilities being developed on land owned or controlled by a government entity.1124

         Pattern Energy argues that interconnection customers proposing to develop generating


                1121
                    Clean Energy Associations Initial Comments at 33-34; CREA and NewSun
         Reply Comments at 47-49; Dominion Initial Comments at 31; ENGIE Initial Comments
         at 4; Hydropower Commenters Initial Comments at 14-18, 24-25; Idaho Power Initial
         Comments at 6-7; NV Energy Initial Comments at 15-16; Ørsted Initial Comments at 12;
         OSPA Initial Comments at 16-18; rPlus Initial Comments at 2-3.
                1122
                    Dominion Initial Comments at 32; Indicated PJM TOs Initial Comments at 26;
         Pacific Northwest Utilities Initial Comments at 3; PJM Initial Comments at 31; Shell
         Initial Comments at 23.
                1123
                       Shell Initial Comments at 23.
                1124
                    Id. at 22-23; CREA and NewSun Reply Comments at 50; Equinor Reply
         Comments at 4; Hydropower Commenters Initial Comments at 15-18; Idaho Power
         Initial Comments at 7; Indicated PJM TOs Reply Comments at 31; Ørsted Initial
         Comments at 12-13; Ørsted Reply Comments at 2, 4-5; OSPA Initial Comments at 18;
         Pattern Energy Initial Comments at 30; rPlus Initial Comments at 3-4.
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         facilities on land owned or managed by state, federal, or Tribal government entities

         should be required to provide evidence that they submitted any required applications to

         the relevant government entity or entities in order to advance the development of their

         proposed generating facility. Pattern Energy states that such an interconnection request

         should provide for an exclusive right to advance the development of a generating facility,

         provided that the relevant government entity or entities allow for such an exclusive

         right.1125

                 PJM notes that the proposed site control requirements that PJM included in its

         interconnection queue reform filing with the Commission provide some leeway for

         generating facilities constructed on federal or state lands or water, such as offshore wind

         projects.1126 Alternatively, Dominion requests that the Commission clarify that the

         deposit in lieu of site control exception would apply to offshore wind projects, in addition

         to other proposed generating facilities subject to similar government control that may

         prevent timely demonstration of site control.1127

                 Several commenters note that certain interconnection customers with generating

         facilities and interconnection facilities on land controlled by the Bureau of Land

         Management (BLM) face extended time frames for obtaining firm site control.1128 For


                 1125
                        Pattern Energy Initial Comments at 30.
                 1126
                 PJM Initial Comments at 29-30, 32; see PJM Interconnection, L.L.C.,
         181 FERC ¶ 61,162 at PP 83-105.
                 1127
                        Dominion Initial Comments at 32.
                 1128
                        CREA and NewSun Reply Comments at 49; Idaho Power Initial Comments at
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         example, NV Energy states that the BLM permitting process can take between 18 months

         and 5 years.1129 Idaho Power states that BLM goes through various stages of review, but

         there is no specific stage that is indicative of an interconnection customer’s request

         having firm site control until the permit is in hand, which can take up to three years to

         obtain.1130 Idaho Power states that, currently, interconnection customers with generating

         facilities on BLM lands typically reference the section of the site control definition that

         allows for “an exclusivity or other business relationship between interconnection

         customer and the entity having the right to sell, lease or grant interconnection customer

         the right to possess or occupy a site for such purpose.”1131 Idaho Power argues that

         generating facilities on land managed by BLM should have the same site control

         requirements as all other generating facilities, but that they would support an expanded

         and/or clarified definition of site control to capture the limitations of these generating

         facilities. Idaho Power states that, for example, site control evidence may include

         evidence that the necessary application has been received by the agency, is in process,

         and the agency has indicated the generating facility is permittable.

                NV Energy proposes that the deposit in lieu of site control be used for lands that

         are federally managed, and that those deposits be held until the decision record, record of



         6; NV Energy Initial Comments at 16.
                1129
                       NV Energy Initial Comments at 16.
                1130
                       Idaho Power Initial Comments at 6-7.
                1131
                       Id.
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         decision, notice to proceed, or right-of-way grant is issued for a generating facility, which

         NV Energy notes may not be until after the facilities study due to timing of the BLM

         process.1132 To ensure the generating facility is progressing in the BLM process, NV

         Energy also proposes that the interconnection customer be required to submit with its

         interconnection request a schedule of the land rights and permitting as well as

         documentation from BLM that the draft environmental assessment or draft environmental

         impact statement is expected to be completed by issuance of the system impact study.

         NV Energy also proposes that interconnection customers be required to provide the

         administrative draft environmental assessment or draft environmental impact statement to

         the transmission provider for review and comment once BLM has issued it to ensure its

         interconnection facilities are included in the right-of-way that BLM will issue.

                CREA and NewSun encourage the Commission to modify its proposed site control

         requirements, such that an interconnection customer developing generating facilities on

         public lands is allowed to proceed with the interconnection process if it can demonstrate

         that the relevant public agency has received and has agreed to process the necessary

         permits to develop the interconnection customer’s proposed generating facility.1133

                For generating facilities on Bureau of Reclamation lands, Hydropower

         Commenters argue that a lease of power privilege should be considered a sufficient




                1132
                       NV Energy Initial Comments at 17.
                1133
                       CREA and NewSun Reply Comments at 50.
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         demonstration of site control.1134 Additionally, Hydropower Commenters note that

         generating facilities under a certain size can obtain an exemption from Commission

         licensing requirements, and they argue that an exemption from licensing should also be

         considered a sufficient demonstration of site control. Similarly, Hydropower

         Commenters argue that developers of pumped storage projects on U.S. Forest Service or

         BLM lands should not be required to complete the required Federal Land Policy and

         Management Act process before they can be considered to have demonstrated sufficient

         evidence of site control.1135 Hydropower Commenters contend that such generating

         facilities should be allowed to demonstrate site control by submitting evidence that they

         have a permit application pending with U.S. Forest Service or BLM.

                Some commenters argue that the 100% site control requirement should not apply

         to generating facilities being developed on Tribal lands.1136 OSPA claims that

         development on Tribal land is more challenging than other kinds of development because

         Tribes have three different classes of land that have different ownership structures and

         regulatory restrictions, including “Trust” land, which is held by the federal government

         on behalf of Tribes and regulated by the Bureau of Indian Affairs.1137 OSPA notes that

         Tribes’ Reservations are often “checker-boarded” with the three different classes of land,


                1134
                       Hydropower Commenters Initial Comments at 16-17.
                1135
                       Id. at 25.
                1136
                       OSPA Initial Comments at 16; rPlus Initial Comments at 2.
                1137
                       OSPA Initial Comments at 17.
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         and that large wind generating facilities will necessarily be sited on all three classes of

         land. OSPA argues that securing Bureau of Indian Affairs regulatory approvals can take

         years and that the ownership structure of “Allotted” lands can make it even difficult to

         expediently obtain consent from all owners to lease certain tracts, which is required as

         part of the Bureau of Indian Affairs process.1138

                OSPA proposes that, for Tribes and Tribal Energy Development Organizations,

         the Commission clarify that interconnection queue positions may be secured if the Tribe

         has signed a lease, even if the Bureau of Indian Affairs has not issued a final approval.1139

         Similarly, rPlus recommends that the filing of a valid preliminary permit application with

         the Commission satisfy the site control requirement for a pumped storage project and for

         generating facilities on Tribal lands.1140 rPlus notes that suitable pumped storage sites are

         limited in availability and are increasingly located on public or Tribal lands, which

         involve significant environmental review. rPlus notes that pumped storage projects

         located on federal and Tribal lands generally cannot achieve full site control until federal

         environmental reviews are complete and the Commission issues a license. For

         circumstances where a pumped storage project does not require a Commission license,




                1138
                       Id. at 17-18.
                1139
                       Id. at 18.
                1140
                       rPlus Initial Comments at 2-3.
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         rPlus requests that the site control requirement be only 50% of the land needed for the

         core generating facility.1141

                Several commenters state that the proposed site control requirements may present

         challenges for offshore wind projects, which face extensive permitting timelines.1142

         Clean Energy Associations argue that the formal issuance of a public lease often requires

         multiple preliminary stages and major financial commitments from interconnection

         customers and that requiring a lease prior to entering the interconnection queue would

         unduly delay generating facilities on public lands.1143 Ørsted and Clean Energy

         Associations further explain that the permitting process for an offshore wind farm often

         involves multiple federal and state agencies and runs concurrently with the

         interconnection process. Ørsted and Clean Energy Associations note that the permitting

         process can lead to changes in the generating facility layout within a lease area, routing of

         offshore cables, siting of onshore cable landing, routing of onshore cables, and siting of

         the interconnection switchyard.1144

                Shell, Dominion, and CREA and NewSun argue that the high cost of market entry

         for offshore wind projects is a substantial financial commitment and that such generating




                1141
                       Id. at 4.
                1142
                 Clean Energy Associations Initial Comments at 33; CREA and NewSun Reply
         Comments at 48; Dominion Initial Comments at 31; Ørsted Initial Comments at 12.
                1143
                       Clean Energy Associations Initial Comments at 33.
                1144
                       Id. at 33-34; Ørsted Initial Comments at 12.
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         facilities are by their very nature not speculative.1145 Shell argues that offshore wind

         generation should be able to demonstrate site control by showing evidence of

         commitments to purchase offshore lease areas from BOEM, as commitments often

         demand hundreds of millions of dollars.1146

                CREA and NewSun contend that the site control requirements in the NOPR would

         require an offshore developer to win a competitive solicitation or obtain a term sheet

         from an off-taker before entering the interconnection queue, which at best will add years

         of delay to developing these generating facilities and at worst will kill the proposals

         outright due to a lack of information on interconnection feasibility and cost.1147

                MISO notes that it has not interpreted its tariff to mean that a BOEM-administered

         Wind Energy Area auction that an offshore wind interconnection customer can

         participate in, but which will occur after the close of an application window, is a

         regulatory restriction.1148 MISO is concerned that broadening the regulatory restriction

         interpretation to allow for offshore wind to submit an interconnection request in such

         instances would enable speculative interconnection requests, which will result in

         withdrawals, restudies, uncertainty, and study delays. MISO states that interconnection




                1145
                    CREA and NewSun Reply Comments at 48; Dominion Initial Comments at
         31; Shell Initial Comments at 22.
                1146
                       Shell Initial Comments at 22.
                1147
                       CREA and NewSun Reply Comments at 48.
                1148
                       MISO Initial Comments at 55.
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         customers that seek to develop a generating facility on government owned lands that are

         awarded to the winner of an auction, and interconnection customers that seek to develop

         a generating facility on private land, are held to the same standard in the MISO process.

                Some commenters request that “regulatory limitations” be more clearly

         defined.1149 CAISO expresses concern that, absent clarification, the regulatory limitation

         provision will leave transmission provider staff as adjudicators of whether obtaining site

         control is possible for each proposed generating facility, and interconnection staff are not

         experts on real property law or public permitting requirements.1150 CAISO and Indicated

         PJM TOs argue that without further clarification, the regulatory limitation provision may

         be interpreted too broadly and interconnection customers could argue site control was

         impossible where it was simply impractical or expensive.1151 CAISO suggests, as an

         example, that the Commission could limit “regulatory limitations” only to apply to

         interconnection customers sited in offshore areas, public lands, and Tribal lands.1152

                Several parties support the NOPR proposal to allow interconnection customers

         with regulatory limitations to submit a deposit in lieu of site control.1153 For projects on


                1149
                    APS Initial Comments at 14; CAISO Initial Comments at 17; EEI Initial
         Comments at 7-8; NYISO Initial Comments at 22; PG&E Reply Comments at 2;
         Indicated PJM TOs Initial Comments at 26-27; Shell Reply Comments at 24.
                1150
                       CAISO Initial Comments at 17 & n.29.
                1151
                       Id. at 17; Indicated PJM TOs Initial Comments at 26-27, 31.
                1152
                       CAISO Initial Comments at 17.
                1153
                    APPA-LPPC Initial Comments at 3-4; Cypress Creek Initial Comments at 22;
         SEIA Initial Comments at 15-16; NY Commission and NYSERDA Initial Comments at
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         government lands, Indicated PJM TOs argue that the interconnection customer should be

         allowed to enter and remain in the interconnection queue, with a deposit in lieu of site

         control, if they identify the steps needed to achieve site control and show how they are

         exercising due diligence to obtain a final government determination.1154 Indicated PJM

         TOs argue that the regulatory limitations exception should be limited to just government

         lands.

                  MISO supports such an option specifically when the interconnection customer is

         prevented from obtaining site control by a regulatory restriction that the passage of time

         itself will not cure (e.g., while participating in an auction that occurs after the

         interconnection request deadline can be cured by time, a requirement to obtain an LGIA

         to participate in an auction cannot be cured by time).1155

                  Tri-State suggests modifying section 3.4.[1]2 of the pro forma LGIP so that the

         site control for state or federally controlled land must still be fully attained at the time of

         LGIA execution.1156 For example, Tri-State states that in Colorado, a state land planning

         lease (which does not meet the Commission’s proposed definition of site control) could

         be used with a financial deposit during the cluster study process, and a state land




         8-9.
                  1154
                         Indicated PJM TOs Reply Comments at 31.
                  1155
                         MISO Initial Comments at 57.
                  1156
                         Tri-State Initial Comments at 13, 27.
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         production lease (which does meet the Commission’s proposed definition of site control)

         would be needed prior to LGIA execution.1157

                APPA-LPPC argue that, if the NOPR proposal is adopted, at a minimum, the

         interconnection customer should be required to provide an affidavit from a company

         officer, a detailed explanation, and documentation justifying the proposed regulatory

         limitation exception and to demonstrate 100% site control as soon as possible after the

         generator interconnection request is submitted, and certainly prior to the facilities study

         stage, as the NOPR proposes.1158 PPL contends that, while additional flexibility for

         interconnection customers that face regulatory limitation may be appropriate in the early

         stages of review, the Commission should require that full site control be demonstrated

         before proceeding to an LGIA.1159

                A number of commenters oppose the NOPR’s proposed option to allow deposits in

         lieu of site control where federal or state regulatory limitations prohibit the

         interconnection customer from obtaining site control.1160 Idaho Power argues that any

         allowance of a deposit must be accompanied by some evidence of achieving site


                1157
                       Id. at 13.
                1158
                       APPA-LPPC Initial Comments at 20.
                1159
                       PPL Initial Comments at 16.
                1160
                    APPA-LPPC Initial Comments at 19; APS Initial Comments at 14; Bonneville
         Initial Comments at 11; Idaho Power Initial Comments at 7; Indicated PJM TOs Initial
         Comments at 11; Indicated PJM TOs Reply Comments at 31; PJM Initial Comments at
         26; PPL Initial Comments at 16; Southern Initial Comments at 9; SPP Initial Comments
         at 10; Xcel Initial Comments at 30, 32.
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         control.1161 APS asserts that speculative interconnection requests do not necessarily have

         financial limitations and extra deposits would not act as the same deterrent as requiring

         100% site control; therefore, APS requests that the Commission not allow an exception

         for regulatory restrictions.1162

                OSPA argues that requiring interconnection customers that face regulatory barriers

         to submit any deposits, including deposits in lieu of site control, will create insuperable

         barriers to renewable energy development by Native American Tribes and Tribal Energy

         Development Organizations on Tribal lands,1163 stating that Tribes have limited access to

         capital and face other challenges that large developers do not share.1164

                A few commenters support the proposed amounts for the deposit in lieu of site

         control.1165 MISO agrees that the proposed deposit thresholds are sufficient, noting that

         the amount of the deposits under MISO’s tariff are the same amounts the Commission

         proposed in the NOPR.1166 Tri-State contends that the proposed deposit amounts would




                1161
                       Idaho Power Initial Comments at 7.
                1162
                       APS Initial Comments at 14.
                1163
                       OSPA Initial Comments at 18.
                1164
                       OSPA Reply Comments at 12.
                1165
                    MISO Initial Comments at 57; NV Energy Initial Comments at 15; Tri-State
         Initial Comments at 13.
                1166
                       MISO Initial Comments at 57.
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         be sufficient to ensure advanced-stage interconnection requests are able to continue to

         move toward interconnection.1167

                Several parties support a deposit in lieu of site control high enough to deter

         speculative interconnection requests that are unlikely to achieve site control.1168

         Avangrid argues that any deposit in lieu of site control should be proportionate to the size

         of the interconnection request, and “reflect collateral” while an interconnection customer

         works through site control agreements.1169 Eversource similarly argues that the

         Commission should set the deposit so that the interconnection customer fully internalizes

         the risk of failing to obtain site control.1170 Tri-State also argues that the deposit should

         not apply to interconnection study costs.1171

                Some commenters provide alternative suggestions for the deposit in lieu of site

         control amounts.1172 Longroad Energy argues that the Commission should consider

         requiring that such deposits be set as a multiple of the interconnection study deposit (such

         as three times the deposit amount), rather than as a dollar amount per MW of generating


                1167
                       Tri-State Initial Comments at 13.
                1168
                    Id. at 14; Avangrid Initial Comments at 19; ENGIE Initial Comments at 4;
         GSCE Initial Comments at 7; NYTOs Initial Comments at 19; Pacific Northwest Utilities
         Initial Comments at 3-4.
                1169
                       Avangrid Initial Comments at 19.
                1170
                       Eversource Initial Comments at 17.
                1171
                       Tri-State Initial Comments at 14.
                1172
                 Eversource Initial Comments at 17; Longroad Energy Initial Comments at 12;
         NYTOs Initial Comments at 19.
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         facility size, as proposed in the NOPR.1173 NYTOs argue that the MW capacity of a

         generating facility is not necessarily relevant to determining the appropriate deposit

         requirement and that deposits should be more closely tied to the generating facility’s

         potential impact on the interconnection process.1174

                  A number of entities argue that any deposits in lieu of site control should be non-

         refundable.1175 Avangrid suggests that the deposit be non-refundable to avoid gaming by

         prospective interconnection customers.1176 National Grid argues that absent

         circumstances outside the control of the interconnection customer, any deposit should be

         non-refundable, and any security should be able to be drawn upon in the event the

         interconnection customer withdraws or fails to demonstrate site control at the required

         time.1177 National Grid contends that if the Commission intends to permit refunds or

         returns of a deposit in lieu of site control, such deposits should be provided only after

         deducting the actual costs and fees, e.g., escrow account initiation and maintenance fees,

         incurred by the transmission provider or RTOs/ISOs prior to the time of the withdrawal




                  1173
                         Longroad Energy Initial Comments at 12; Longroad Energy Reply Comments
         at 18.
                  1174
                         NYTOs Initial Comments at 19.
                  1175
                   Avangrid Initial Comments at 19; EEI Initial Comments at 8; Longroad
         Energy Initial Comments at 12; National Grid Initial Comments at 23; NYTOs Initial
         Comments at 19.
                  1176
                         Avangrid Initial Comments at 19.
                  1177
                         National Grid Initial Comments at 23-24.
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         request or the demonstration of site control. National Grid also requests that the

         Commission clarify that withdrawal penalties are separate and may be deducted from the

         deposit amount.

                Similarly, Longroad Energy suggests that to ensure that the proper incentives

         exist, the Commission may wish to evaluate if a security deposit in lieu of site control

         should become non-refundable if an interconnection customer withdraws at any point in

         the interconnection process or fails to achieve commercial operation.1178 EEI argues that

         the Commission can further reduce potential risks by making deposits non-refundable, or

         if the Commission declines to do so, it should ensure that withdrawal penalties are

         significant enough to discourage speculative interconnection requests.1179 On the other

         hand, NYTOs argue that regions should have the flexibility to determine whether, under

         certain circumstances, deposits should become fully non-refundable.1180

                Xcel argues that in addition to requiring a deposit, interconnection customers

         facing regulatory limitations should be required to provide status updates to the

         transmission provider, and there should be sufficient penalties to ensure interconnection

         customers provide accurate information on the status of regulatory proceedings.1181 Xcel

         contends that, if regulatory limitations prohibit an interconnection customer from



                1178
                       Longroad Energy Initial Comments at 12.
                1179
                       EEI Initial Comments at 8.
                1180
                       NYTOs Initial Comments at 19.
                1181
                       Xcel Initial Comments at 30-31.
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         obtaining site control, transmission providers should be allowed to propose constructs

         that facilitate interconnection, including the ultimate achievement of site control.

                                              (c)    Miscellaneous

                Public Interest Organizations argue that it is unreasonable that the pro forma LGIP

         allows interconnection customers to propose a decrease to the generating facility’s output

         of up to 60% without losing queue position while also requiring a demonstration of 100%

         site control upon entering the interconnection queue.1182 Public Interest Organizations

         also argue that the NOPR proposal to require interconnection customers to remedy any

         change in site control within 10 days or have their interconnection request withdrawn is

         unreasonable. In addition, Public Interest Organizations argue that it is unduly

         discriminatory to allow interconnection customers proposing a thermal project to keep

         their queue position by downsizing the generating facility’s turbines but not allow

         interconnection customers proposing wind generating facilities to keep their queue

         position if they lose part of a lease. Public Interest Organizations argue that the cure

         period should be long enough to allow for routine events that affect site control, such as

         the death of a landowner or the change of ownership at a commercial facility hosting a

         proposed generating facility.

                                       iii.   Commission Determination

                As discussed herein, we adopt in part and modify in part the NOPR proposal to

         revise sections 1, 3.4.2, 7.5, 8.1, and 11.3 of the pro forma LGIP and Appendix B of the


                1182
                       Public Interest Organizations Initial Comments at 27-28.
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         pro forma LGIA to add more stringency to the site control requirements and to help

         prevent speculative interconnection requests from entering the interconnection queue.

         We believe that, taken together, these reforms will help ensure that commercially viable

         interconnection requests with demonstrated site control or with demonstrated regulatory

         limitations will be able to enter the interconnection queue, thereby reducing the negative

         impacts of speculative interconnection requests.

                                              (a)    Definition and Reasonable Evidence of Site

                                                     Control

                We adopt the NOPR proposal to revise the definition of site control in section 1 of

         the pro forma LGIP with several modifications. As modified, the definition states that

         site control may be demonstrated by documentation establishing: “(1) ownership of, a

         leasehold interest in, or a right to develop a site of sufficient size to construct and operate

         the Generating Facility; (2) an option to purchase or acquire a leasehold site of sufficient

         size to construct and operate the Generating Facility; or (3) any other documentation that

         clearly demonstrates the right of Interconnection Customer to exclusively occupy a site of

         sufficient size to construct and operate the Generating Facility.” Additionally, we agree

         with commenters’ observations1183 that subpart (3) of the pro forma LGIP definition of

         site control proposed in the NOPR, which stated “site of sufficient size to construct and

         operate the Generating Facility,” was duplicative; therefore, we modify the NOPR

         proposal to delete this subpart and provide clarification that all three remaining,


                1183
                       See Enel Initial Comments at 82; Southern Initial Comments at 34-35.
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         enumerated options to demonstrate site control require control of a site of sufficient size

         to construct and operate the generating facility or multiple generating facilities on a

         shared site.

                To prevent multiple interconnection customers from leasing the same site in order

         to remain in the interconnection queue, we adopt the NOPR’s proposed revisions to the

         pro forma LGIP that require an interconnection customer to demonstrate the exclusive

         land right to develop, construct, operate, and maintain its generating facility or, where

         facilities are co-located, to demonstrate a shared land use right to develop, construct,

         operate, and maintain co-located facilities. We further clarify that the right to

         “exclusively” occupy the site to develop, construct, operate, or maintain a generating

         facility means both that the right belongs solely to the interconnection customer (no other

         entity shares the right to use the site for those purposes), as well as that the right is solely

         for purposes of a single interconnection request. We find that an interconnection

         customer securing the exclusive land right necessary to construct its proposed generating

         facility (or for co-located generating facilities, demonstration of shared land use) is

         sufficient evidence of the interconnection customer’s commitment to construct the

         generating facility.

                We also modify section 3.4.2 of the pro forma LGIP to provide that site control

         for a generating facility that is co-located with one or more generating facilities on the

         same site and behind the same point of interconnection must be demonstrated by a

         contract or other agreement that allows for shared land use for all generating facilities

         that are co-located that meet the provisions of the site control definition. We clarify that
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         interconnection customers are prohibited from submitting evidence of site control that

         uses the same land for multiple interconnection requests, unless the site is large enough to

         host multiple generating facilities. We note that section 3.4.2 of the pro forma LGIP that

         we adopt in this final rule permits shared land use for co-located generating facilities on

         the same site and behind the same point of interconnection, and we clarify below that

         transmission providers have flexibility to establish appropriate technology-specific

         acreage requirements for generating facilities.1184 Permitting multiple interconnection

         requests to use the same land to demonstrate exclusive site control would inherently

         result in at least one commercially non-viable interconnection request entering the

         interconnection queue and thus would be insufficient to ensure that interconnection

         customers are able to interconnect to the transmission system in a reliable, efficient,

         transparent, and timely manner. We also clarify that the interconnection customer is

         required to meet the technology-specific acreage requirement for its generating facility

         that is publicly posted by the transmission provider at the time it submits its

         interconnection request.

                Likewise, in response to Enel, we clarify that the term “exclusive land rights” in

         the definition of site control applies only to the exclusivity required to develop, construct,

         operate, and maintain the interconnection customer’s proposed generating facility; the



                1184
                    This is consistent with the practice that several transmission providers
         currently follow. See Midcontinent Indep. Sys. Operator, Inc., 169 FERC ¶ 61,173 at
         P 48; Sw. Power Pool, Inc., 128 FERC ¶ 61,114 at P 48; PJM Interconnection, L.L.C.,
         181 FERC ¶ 61,162 at P 102.
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         term “exclusive land rights” does not restrict multi-use applications of the site in addition

         to its use for the generating facility, such as agriculture, ranching, etc.1185 Similarly, in

         response to Cypress Creek, we clarify that a land right does not involve zoning approval.

                In response to commenters,1186 we further clarify that the adopted definition of site

         control permits an interconnection customer to demonstrate site control with lease

         options, instead of executed leases, provided that the interconnection customer is the

         exclusive holder of such a lease option(s). The adopted definition explicitly provides for

         such a lease option, by including the phrase, “an option to purchase or acquire a leasehold

         site.” However, evidence of active negotiations for a lease is not a sufficient

         demonstration of site control at any time during the interconnection process. Allowing

         active negotiations for a lease to serve as a demonstration of site control, as some

         commenters suggest,1187 would allow speculative, commercially non-viable

         interconnection requests to proceed through the interconnection queue, which would be

         inconsistent with ensuring that interconnection customers are able to interconnect to the

         transmission system in a reliable, efficient, transparent, and timely manner. Likewise,

         with respect to NRECA’s request,1188 we clarify that this final rule permits leases and




                1185
                       See Enel Initial Comments at 42.
                1186
                       Omaha Public Power Initial Comments at 7; SoCal Edison Initial Comments at
         6.
                1187
                       EPSA Initial Comments at 8; Interwest Reply Comments at 13.
                1188
                       NRECA Initial Comments at 27.
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         lease options as sufficient evidence of site control as discussed above, and transmission

         providers have discretion to evaluate the content of such leases and lease options and any

         conditions contained therein to determine whether they sufficiently demonstrate site

         control.

                Several commenters seek clarification as to whether the proposed pro forma LGIP

         definition of site control would allow certain types of generating facilities developed on

         lands owned or controlled by a government entity to demonstrate site control. We agree

         with commenters that offshore wind interconnection customers must make a substantial

         financial commitment to win a competitive auction and secure a lease from BOEM, and

         such generating facilities that have secured a lease agreement are not speculative.1189 We

         therefore clarify that a lease agreement with BOEM to pursue development of an offshore

         wind generating facility can serve as a sufficient demonstration of site control under the

         site control definition adopted in this final rule. This clarification is consistent with our

         finding above that a variety of lease options satisfy the site control requirement. In

         response to MISO’s concerns about allowing multiple offshore wind interconnection

         customers to submit an interconnection request for the same “Wind Energy Area” before

         it has been auctioned by BOEM, we find that the pro forma LGIP site control definition

         that we adopt herein appropriately limits such potentially speculative interconnection




                1189
                    CREA and NewSun Reply Comments at 48; Dominion Initial Comments at
         31; Shell Initial Comments at 22.
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         requests by requiring offshore wind interconnection customers to provide evidence of an

         exclusive right to develop a lease area to satisfy the site control requirements.

                With respect to OSPA’s concerns regarding the challenges of demonstrating site

         control on Tribal lands due to the nature of land ownership on Reservations and the need

         for the Bureau of Indian Affairs to approve certain leases, we clarify that under the site

         control definition, interconnection customers developing generating facilities on Tribal

         lands can demonstrate site control with a signed lease agreement with the applicable

         Tribe-owner.1190 As discussed below in Section III.A.6.b.iii.b, an interconnection

         customer with a demonstrated regulatory limitation, including those associated with

         obtaining a lease on Tribal lands, may submit a deposit in lieu of site control.

                Similarly, in response to commenters’ concerns about demonstrating site control

         for hydropower projects on sites owned or controlled by a government entity, we clarify

         that certain documentation can be used to demonstrate site control under the pro forma

         LGIP definition of site control. For interconnection customers developing generating

         facilities at non-powered dams, we clarify that a FERC license1191 can serve as a

         demonstration of site control under subpart (3). However, we also clarify that neither a

         Memorandum of Agreement with the U.S. Army Corps of Engineers regarding a



                1190
                       OSPA Initial Comments at 17-18.
                1191
                   A FERC license provides the licensee with the power of eminent domain to
         secure property rights needed to construct and operate the project. See 16 U.S.C. 814.
         While a FERC license does not explicitly convey an exclusive right to develop a project,
         the Commission does not approve more than one license for the same site.
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         proposed hydropower project at a U.S. Army Corps of Engineers dam nor a preliminary

         permit for a pumped storage project or other hydropower generating facility to be located

         on Tribal lands would be sufficient to demonstrate site control because we do not have

         enough information in this record to determine that such documentation provides

         sufficient evidence of the interconnection customer’s exclusive right to occupy a site of

         sufficient size to construct and operate a generating facility.

                For hydropower projects that are not subject to the Commission’s hydropower

         permitting jurisdiction, such as projects on Bureau of Reclamation lands, we clarify that a

         lease of power privilege can serve as a demonstration of site control under the site control

         definition. Finally, for hydropower projects that are small enough to be exempted from

         FERC licensing requirements, Hydropower Commenters explain that an exemption from

         FERC licensing provides an exclusive right to the recipient to develop a project at the site

         and the exemption is issued in perpetuity.1192 Because such an exemption includes an

         exclusive right to develop, we clarify that providing a written statement as evidence of an

         exemption from licensing under the FPA can serve as a demonstration of site control

         under subpart (3) of the site control definition.

                We note NV Energy’s explanation that its previous efforts to allow

         interconnection customers to demonstrate site control by showing a draft preliminary

         plan of development, one of the earlier required documents in the BLM permitting

         process, have led to speculative interconnection requests that slow down the


                1192
                       Hydropower Commenters Initial Comments at 17.
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         interconnection process.1193 We agree, and we therefore decline to adopt commenters’

         proposal to modify the proposed pro forma LGIP definition of site control to allow

         interconnection customers to demonstrate site control by providing documentation

         indicating that they are pursuing the necessary permits with the appropriate government

         entity or entities.1194 As with our finding that active negotiations for lease agreements are

         not sufficient to demonstrate site control, discussed above, we find that such an

         expansion of the site control definition could weaken the site control requirements

         included in the pro forma LGIP and could undermine the effectiveness of this reform in

         helping to prevent speculative interconnection requests.

                                             (b)     Site Control Demonstration and Deposits in
                                                     Lieu of Site Control

                We adopt the NOPR proposal, with modification, to revise section 3.4.2 of the pro

         forma LGIP to require interconnection customers to demonstrate site control at the time

         of submission of the interconnection request. However, we modify the proposal and

         require interconnection customers to provide evidence of 90% site control for the

         generating facility at the time of submission of the interconnection request and, pursuant

         to revised sections 8.1 and 11.3 of the pro forma LGIP, provide evidence of 100% site

         control for the generating facility at the time of execution of the facilities study

         agreement and when executing, or requesting the unexecuted filing of, the LGIA.


                1193
                       NV Energy Initial Comments at 15-16.
                1194
                 See CREA and NewSun Reply Comments at 50; Pattern Energy Initial
         Comments at 30.
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                We decline to adopt the NOPR proposal to require technology-specific acreages to

         be listed in the transmission provider’s tariff. As discussed below, instead, we require

         transmission providers to establish acreage requirements for each generating facility

         technology type and to publicly post these acreage requirements. We adopt the following

         aspects of the NOPR proposal to revise sections 3.4.2 and 11.3 of the pro forma LGIP to:

         (1) eliminate the option to provide a deposit in lieu of site control demonstration except

         in limited circumstances where an interconnection customer demonstrates a regulatory

         limitation to obtaining site control, as discussed below, and eliminate the option to post

         $250,000 of non-refundable security in lieu of site control at LGIA execution; and

         (2) require that interconnection customers that could not demonstrate the requisite level

         of site control at the relevant milestone of the interconnection process (i.e., 90% for the

         cluster study and cluster restudy, and 100% for the interconnection facilities study and

         when executing, or requesting the unexecuted filing of, the LGIA) would have their

         interconnection request deemed withdrawn and could be subject to withdrawal penalties

         under certain circumstances, as discussed below.

                We adopt the NOPR proposal to revise sections 3.4.2, 7.5 and 8.1 of the pro forma

         LGIP such that, after notifying the transmission provider of any change to the

         interconnection customer’s site control demonstration, the transmission provider must

         give the interconnection customer 10 business days to demonstrate satisfaction with the

         applicable requirement. We find the adopted approach to require 90% site control at the

         time of the interconnection request and 100% site control at the time of the facilities

         study and when executing, or requesting the unexecuted filing of, the LGIA appropriately
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         balances the concerns identified in the record. In particular, we find that it will provide

         sufficiently stringent site control requirements to help prevent interconnection customers

         from submitting interconnection requests for speculative, commercially non-viable

         proposed generating facilities, while accommodating development challenges faced by

         interconnection customers that may otherwise present unjust and unreasonable barriers to

         entering the interconnection queue. We believe that this approach appropriately

         recognizes that issues often arise in developing a generating facility, such that requiring a

         demonstration of 90% site control at the time of the interconnection request, rather than

         100%, provides valuable flexibility for interconnection customers with viable prospective

         generating facilities to resolve those issues and continue through the interconnection

         process.

                We are persuaded by commenters that contend that there are significant benefits to

         allowing interconnection customers to enter the cluster study process and potentially use

         the interconnection study results to better understand their generating facility

         configuration before obtaining 100% site control. We agree with commenters that

         allowing less than 100% site control at the interconnection request stage would provide

         interconnection customers flexibility to address the results of interconnection studies or

         other regulatory processes1195 and afford flexibility for interconnection customers that are

         still actively negotiating with landowners close to the deadline for a cluster request



                1195
                       See CREA and NewSun Initial Comments at 55; SEIA Initial Comments at 14-
         15.
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         window.1196 Establishing a requirement for 90% site control at the time of an

         interconnection request allows an interconnection request to be submitted even if a few

         parcels of land are still in negotiation or where a different site configuration arises based

         on the scoping meeting with the transmission provider. Moreover, the adopted approach

         provides flexibility for interconnection customers to sign certain leases for particularly

         challenging parcels at a later point in time, reducing the exposure to risk of expiration of

         those leases.1197 Additionally, we agree with commenters that shifting the 100% site

         control requirement until the execution of a facilities study agreement allows the

         interconnection customer to put less money at risk for obtaining particularly challenging

         land rights and to obtain a more meaningful understanding of what upgrade costs its

         generating facility may be assigned, for instance, from the cluster study report that is

         provided before the execution of the facilities study agreement.1198

                At the same time, we believe that the approach adopted in this final rule, along

         with the other reforms adopted herein, is sufficiently stringent to help prevent

         speculative, commercially non-viable proposed generating facilities from entering and

         continuing through the interconnection queue. As an initial matter, we establish a more

         stringent requirement for site control at the time of submission of an interconnection


                1196
                       See Pine Gate Initial Comments at 23-24.
                1197
                       Enel Initial Comments at 40.
                1198
                   AEE Initial Comments at 18; Clean Energy Associations Initial Comments at
         31-32; CREA and NewSun Initial Comments at 55; Cypress Creek Initial Comments at
         22; SEIA Initial Comments at 15; Shell Reply Comments at 23-24.
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         request than required by the pro forma LGIP prior to this final rule. In particular,

         obtaining nearly all of the land rights necessary to develop a proposed generating facility

         prior to submitting the interconnection request entails a significant commitment, both

         financial and in terms of the time and resources required to negotiate with landowners.

         Moreover, the 100% site control requirement at the time of the execution of the facilities

         study agreement adds further stringency to ensure generating facilities that proceed

         through the interconnection queue are the most likely to be commercially viable.

                We agree with commenters that requiring 100% site control at the time of

         submission of an interconnection request may not be compatible with the project

         development cycle,1199 which includes stringent permitting requirements, and may

         disadvantage certain interconnection customers despite there being a path to full site

         control and commercial readiness.1200 Further, requiring 100% site control at submission

         of the interconnection request would not allow for minor revisions to the generating

         facility plan if, upon meeting with the transmission provider at the scoping meeting, such

         revisions would facilitate an improved generating facility design. This could present a

         barrier to entry for interconnection customers with viable proposed generating facilities.




                1199
                   AEE Initial Comments at 17; CREA and NewSun Initial Comments at 54;
         Clean Energy Associations Initial Comments at 31; Cypress Creek Initial Comments at
         22; EPSA Initial Comments at 8; NextEra Initial Comments at 21; R Street Initial
         Comments at 8.
                1200
                       AEE Initial Comments at 17.
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                We decline to adopt commenters’ suggestions that transmission providers be

         allowed to confirm site control throughout the interconnection process.1201 The adopted

         site control requirements require site control demonstrations at three specific points in the

         interconnection process—submission of the interconnection request; at the time of

         execution of the facilities study agreement; and when executing, or requesting the

         unexecuted filing of, an LGIA. We find that these points are sufficient to help prevent

         interconnection customers with commercially non-viable interconnection requests from

         entering and proceeding through the interconnection queue.

                With respect to eliminating the option for any interconnection customer to submit

         a deposit in lieu of site control, except in limited circumstances where an interconnection

         customer demonstrates a regulatory limitation, we find that, because a deposit in lieu of

         site control does not demonstrate that an interconnection customer has the exclusive right

         to develop a site, it does not indicate that an interconnection customer is ready to proceed

         with construction and commercial operation of the generating facility. As a result, we

         believe that allowing deposits in lieu of site control for all interconnection customers, as

         requested by some commenters, would not help to prevent speculative, commercially

         non-viable interconnection requests from entering the interconnection queue. Thus, we

         decline to include such an option in the pro forma LGIP.

                We are persuaded by commenters that requiring transmission providers to publicly

         maintain per MW acreage requirements for each generating facility technology type is


                1201
                       See Indicated PJM TOs Initial Comments at 26; MISO Initial Comments at 53.
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         necessary to afford adequate transparency and certainty to interconnection customers. At

         the same time, we do not believe that such acreage requirements must be contained

         within transmission providers’ tariffs; rather, we find that, consistent with the rule of

         reason, transmission providers may choose to maintain acreage requirements in their

         business practice manuals or may otherwise post them on a publicly accessible website.

         We find that acreage requirements are properly classified as implementation details that

         do not significantly affect rates, terms, and conditions of service,1202 and we therefore do

         not require their inclusion in tariffs. This is consistent with previous Commission orders

         approving transmission providers’ proposals to specify technology-specific acreage

         requirements for site control in their business practice manuals.1203 This will also afford

         transmission providers more flexibility in updating acreage requirements to account for

         technological advancements without being required to make FPA section 205 filings each

         time they seek to modify the acreage requirements. On the other hand, to give the

         interconnection customer certainty, as noted above, we clarify that the interconnection

         customer is required to meet the technology-specific acreage requirement for its

         generating facility publicly posted by the transmission provider at the time it submits its

         interconnection request.


                1202
                       See, e.g., N.Y. Indep. Sys. Operator, Inc., 179 FERC ¶ 61,102 at PP 105-114.
                1203
                    See Midcontinent Indep. Sys. Operator, Inc., 169 FERC ¶ 61,173 at P 48
         (finding MISO’s proposal to place resource-specific acreage requirements in its business
         practice manuals to be appropriate because “these requirements include technical
         calculations that may require updates from time to time”); Sw. Power Pool, Inc.,
         128 FERC ¶ 61,114 at P 48; PJM Interconnection, L.L.C., 181 FERC ¶ 61,162 at P 102.
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                To provide clarity for interconnection customers and transmission providers, we

         modify the pro forma LGIP definition of “Generating Facility” to replace “device” with

         “device(s)” to clarify that this definition includes hybrid generating facilities.1204 We

         believe this clarification is necessary to ensure that hybrid generating facilities have the

         same rights and responsibilities as other types of generating facilities under the pro forma

         LGIP and pro forma LGIA. In response to commenters and consistent with the modified

         definition of “Generating Facility,” we clarify that the transmission providers’ per MW

         acreage requirements for each generating facility technology-type must include specific

         requirements for hybrid generating facilities. We also clarify that generating facilities

         that are co-located on the same site and behind the same point of interconnection are

         subject to the technology-specific acreage requirements based on the generating facilities’

         technology-type.

                In response to requests for clarification as to whether the site control

         demonstration at the time of submission of the interconnection request applies to

         interconnection facilities as well as generating facilities, we clarify that the site control

         demonstration requirements apply only to the land needed for the generating facility. In

         the NOPR, the Commission did not propose site control requirements for interconnection




                1204
                     A hybrid generating facility is a generating facility composed of more than one
         device of different technology types for the production and/or storage for later injection
         of electricity that are located on the same site and are operated and dispatched as a single
         integrated generating facility.
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         facilities.1205 Based on this clarification, we decline to address comments suggesting

         alternative site control requirements for interconnection facilities or network upgrades.

                                             (c)     Site Control Considerations for
                                                     Interconnection Customers with Regulatory
                                                     Limitations

                We adopt the NOPR proposal, with modification, to revise section 3.4.2 of the pro

         forma LGIP to include a limited option for interconnection customers to submit a deposit

         in lieu of site control when they submit their interconnection request—only if qualifying

         regulatory limitations prohibit the interconnection customer from obtaining site control.

         We adopt the NOPR proposal to provide that interconnection customers with regulatory

         limitations may submit an initial deposit in lieu of site control of $10,000 per MW,

         subject to a floor of $500,000 and a ceiling of $2 million. As discussed below, this

         deposit shall be refundable but may not be applied toward interconnection studies or

         withdrawal penalties, if applicable. However, we decline to adopt the proposed

         requirement in the NOPR that an interconnection customer facing regulatory limitations

         must demonstrate 100% site control prior to the execution of a facilities study agreement.

         Instead, we modify the proposed requirement for an interconnection customer facing



                1205
                    Under the pro forma LGIP, interconnection facilities shall mean the
         transmission provider’s interconnection facilities and the interconnection customer’s
         interconnection facilities. Collectively, interconnection facilities include all facilities and
         equipment between the generating facility and the point of interconnection, including any
         modification, additions or upgrades that are necessary to physically and electrically
         interconnect the generating facility to the transmission provider’s transmission system.
         Interconnection facilities are sole use facilities and shall not include distribution
         upgrades, stand alone network upgrades or network upgrades.
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         regulatory limitations to provide that a deposit in lieu of site control will be accepted and

         held by the transmission provider until the interconnection customer can demonstrate

         90% site control prior to execution of the facilities study agreement or 100% site control

         at execution of the facilities study agreement or thereafter. Additionally, we modify the

         NOPR proposal to specify in Appendix B of the pro forma LGIA that interconnection

         customers facing qualifying regulatory limitations must demonstrate 100% site control

         within 180 calendar days of the effective date of the LGIA or the LGIA may be

         terminated per article 17 (Default) of the pro forma LGIA and the interconnection

         customer may be subject to withdrawal penalties per new pro forma LGIP section 3.7.1.1

         (Calculation of the Withdrawal Penalty).

                We adopt the NOPR proposal to revise section 3.4.2 of the pro forma LGIP to

         provide how interconnection customers may demonstrate regulatory limitations.

         Specifically interconnection customers must provide to the transmission provider: (1) a

         signed affidavit from an officer of the company indicating that site control is

         unobtainable due to regulatory limitations as such term is defined by the transmission

         provider; and (2) documentation sufficiently describing and explaining the source and

         effects of such regulatory limitations, including a description of any conditions that must

         be met to satisfy the regulatory limitations and the anticipated time by which the

         interconnection customer expects to satisfy the regulatory restrictions.

                With respect to what qualifies as a regulatory limitation, we require transmission

         providers to define regulatory limitations relevant to their service territory, to publicly

         post the definition, and to provide a narrative description of how they define regulatory
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         limitations as part of their compliance filings. While we decline to require a uniform

         definition of regulatory limitations for all transmission providers, we clarify that a

         regulatory limitation is generally a federal, state, Tribal, or local law that makes it

         practically infeasible to obtain site control within the time frame detailed in the pro forma

         LGIP. We allow transmission providers flexibility on how to publicly post the definition,

         such as by including it in business practice manuals or posting on a publicly accessible

         website. We consider the definition of regulatory limitations to be an implementation

         detail appropriately housed outside of transmission providers’ tariffs, consistent with the

         rule of reason. We expect that the appropriate scope of regulatory limitations may vary

         by region and is likely to need to be updated over time as relevant federal, state, Tribal or

         local laws change. For these reasons, we do not require transmission providers to include

         their definitions of regulatory limitations in their tariffs.

                We believe that these requirements will ensure a transparent, consistent, and

         orderly process to facilitate demonstration of regulatory limitations by interconnection

         customers and will establish minimum requirements to provide transmission providers

         sufficient information to evaluate such demonstrations. We agree with commenters that

         transmission providers are best positioned to develop appropriate definitions of

         regulatory limitations to address the specific circumstances and unique regulatory

         limitations that interconnection customers in their regions may face. We believe that this

         approach preserves flexibility for transmission providers to account for regional diversity.

                As noted above, we decline to adopt the proposed requirement in the NOPR that

         an interconnection customer facing regulatory limitations must demonstrate 100% site
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         control prior to commencement of the facilities study. We agree with commenters that

         the requirement to demonstrate site control at the facilities study stage could act as a

         barrier for generating facilities faced with regulatory limitations in demonstrating site

         control because the permitting process may still be underway at the facilities study

         stage.1206 To account for these barriers, we clarify that, in such circumstances,

         interconnection customers are permitted to proceed through the interconnection process

         and execute, or request the unexecuted filing of, an LGIA before obtaining site control,

         by providing documentation that demonstrates they are taking identifiable steps to secure

         the necessary regulatory approvals from the applicable federal, state, and/or Tribal

         entities, as described above. Such interconnection customers must provide this

         documentation at the time of execution of the facilities study agreement and when

         executing, or requesting the unexecuted filing of, the LGIA, or alternatively, demonstrate

         site control in accordance with the requirements of the pro forma LGIP.

                We acknowledge that certain interconnection customers developing generating

         facilities on sites owned or controlled by a government entity, such as those who site

         generating facilities on BLM lands, may not be able to demonstrate site control under the

         pro forma LGIP definition even by the later stages of the interconnection process because

         final permitting approval from BLM may not occur until after the facilities study

         stage.1207 We believe the site control requirements included in the pro forma LGIP strike


                1206
                       See, e.g., NV Energy Initial Comments at 17.
                1207
                       See, e.g., id.
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         an appropriate balance between disincentivizing speculative interconnection requests and

         accommodating interconnection customers facing extensive permitting requirements by

         allowing such customers to submit a deposit in lieu of site control where they

         demonstrate a qualifying regulatory limitation.

                In response to commenters’ concerns that, without clarification, the regulatory

         limitations exception to the site control requirement may be interpreted broadly to allow

         interconnection customers to claim regulatory limitations when obtaining site control is

         simply impractical or expensive, we reiterate that transmission providers may exercise

         discretion when defining regulatory limitations—generally a federal, state, Tribal, or

         local law that makes it practically infeasible to obtain site control within the time frame

         detailed in the pro forma LGIP—as appropriate for interconnection customers in their

         regions. We believe that allowing flexibility in defining regulatory limitations will

         enable transmission providers to account for any local, county, Tribal and state

         regulations in their respective region that may delay an interconnection customer’s efforts

         to obtain site control.

                With respect to the amount of the deposit in lieu of site control for interconnection

         customers with regulatory limitations, we find that the amounts that we adopt in this final

         rule will help prevent speculative interconnection requests without placing an undue

         burden on interconnection customers. We are not persuaded by commenters that argue

         that the deposit amounts in lieu of site control for interconnection customers with

         regulatory limitations need to be even higher to deter interconnection requests that are not

         likely to achieve site control, particularly when considered in conjunction with the
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         commercial readiness deposits and withdrawal penalties adopted in this final rule,

         discussed below. We also find that deposits in lieu of site control for interconnection

         customers with regulatory limitations should be refundable, but may not be applied

         toward interconnection studies or withdrawal penalties. We find that making these

         deposits in lieu of site control for interconnection customers with regulatory limitations

         non-refundable, as some commenters argue, may unduly burden certain interconnection

         customers facing regulatory limitations where certain regulatory constraints may be

         beyond their control.

                               c.      Commercial Readiness

                                       i.   NOPR Proposal

                In the NOPR, the Commission proposed to revise the pro forma LGIP to include a

         commercial readiness framework, which included commercial readiness demonstration

         options and commercial readiness deposits.1208 The Commission explained that such a

         framework would encourage interconnection customers that are not ready to proceed to

         withdraw from the interconnection queue earlier in the study process while also providing

         them the flexibility to enter and remain in the interconnection queue without an off-take

         agreement; reduce the number of times an interconnection customer executes and

         suspends an LGIA for a speculative interconnection request, only to later withdraw the

         request, leading to the shifting of network upgrade costs to lower-queued interconnection

         customers; and reduce the strain on transmission providers and enable viable


                1208
                       NOPR, 179 FERC ¶ 61,194 at P 128.
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         interconnection requests to progress more quickly through a less congested

         interconnection queue, thereby remedying the unjust and unreasonable Commission-

         jurisdictional rates discussed in Section II of this final rule.

                Therefore, the Commission proposed to establish the defined terms “commercial

         readiness demonstration1209 and “commercial readiness deposit”1210 in the pro forma

         LGIP.1211 The Commission also proposed to add to sections 3.4.2, 7.5, and 8.1 of the pro

         forma LGIP the following options as acceptable forms of commercial readiness

         demonstration to enter into the cluster study and cluster restudy:

                          An executed term sheet (or comparable evidence) related to a contract,

                binding upon the parties to the contract, for sale of (1) the constructed generating

                facility, (2) the generating facility’s energy or capacity, or (3) the generating

                facility’s ancillary services; where the term of sale is not less than five years;

                          Reasonable evidence that the generating facility has been selected in a

                resource plan or resource solicitation process by or for a load-serving entity (LSE),




                1209
                    The Commission proposed to revise section 1 of the pro forma LGIP to
         provide that commercial readiness demonstration shall have the meaning set forth in
         sections 3.4.2, 7.5, and 8.1 of the pro forma LGIP. Id. P 129 n.204.
                1210
                    The Commission proposed to revise section 1 of the pro forma LGIP to
         provide that commercial readiness deposit shall mean a deposit paid in lieu of submitting
         a commercial readiness demonstration, as set forth in sections 3.4.2, 7.5, and 8.1 of the
         pro forma LGIP. Id. P 129 n.205.
                1211
                       Id. P 129.
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                is being developed by an LSE, or is being developed for purposes of a sale to a

                commercial, industrial, or other large end-use customer; or

                          A provisional LGIA which has been filed at the Commission (executed or

                unexecuted), which is not suspended and includes a commitment to construct the

                generating facility.

                The Commission also proposed to add to section 8.1 of the pro forma LGIP the

         following options to serve as forms of commercial readiness demonstration to enter the

         facilities study, to be provided with the executed facilities study agreement:

                          An executed contract (as opposed to a term sheet), binding upon the parties

                to the contract, for sale of (1) the constructed generating facility, (2) the generating

                facility’s energy or capacity, or (3) the generating facility’s ancillary services;

                where the term of sale is not less than five years;

                          Reasonable evidence that the generating facility has been selected in a

                resource plan or resource solicitation process by or for an LSE, is being developed

                by an LSE, or is being developed for purposes of a sale to a commercial,

                industrial, or other large end-use customer; or

                          A provisional LGIA accepted for filing by the Commission, which is not

                suspended, with reasonable evidence that the generating facility and

                interconnection facilities have commenced design and engineering.1212




                1212
                       Id. P 130.
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                The Commission also proposed to require the interconnection customer to inform

         the transmission provider of any material change to its commercial readiness

         demonstration. The Commission proposed to require the transmission provider to give

         the interconnection customer 10 business days to demonstrate satisfaction with the

         applicable requirement after notification of a change to the interconnection request’s

         commercial readiness demonstration.1213 The Commission explained that the

         interconnection customer would have the option to submit a commercial readiness

         deposit within the 10-day cure period if the change to the commercial readiness

         demonstration meant that the interconnection request no longer satisfied the criteria.

                The Commission preliminarily concluded that this approach was appropriate for

         all transmission providers and therefore proposed to allow interconnection customers the

         option to submit a commercial readiness deposit, in lieu of demonstrating commercial

         readiness through the commercial readiness demonstration options required to enter a

         cluster study, cluster restudy, and facilities study.1214 The Commission noted that,

         outside of RTOs/ISOs, transmission providers may be able to provide certain contractual

         arrangements to their own generating facilities or other preferred interconnection

         customers, such as the term sheet option noted above, which could lead to unduly

         discriminatory behavior. The Commission stated that this deposit in lieu of

         demonstrating commercial readiness may potentially prevent any undue discrimination in


                1213
                       Id. P 131.
                1214
                       Id. P 132.
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         the generator interconnection process, consistent with the adoption of a standard set of

         procedures in the first instance.1215

                The Commission proposed to revise the pro forma LGIP to include a framework

         to allow interconnection customers to provide a commercial readiness deposit in lieu of

         meeting commercial readiness requirements in the following amounts:

                          Two times the study deposit amount to enter the initial cluster study phase;

                          Five times the study deposit amount after the initial cluster study phase and

                before the system impact restudy phase; and

                          Seven times the study deposit amount after receipt of the facilities study

                agreement.1216

                The Commission clarified that the proposed commercial readiness deposit is

         separate from the study deposit.1217 The Commission stated that the commercial

         readiness deposit would be returned if the interconnection customer later makes a

         commercial readiness demonstration. If the interconnection customer withdraws from

         the interconnection queue, the Commission proposed that the commercial readiness

         deposit would be applied toward any incurred withdrawal penalties.

                Additionally, the Commission proposed revisions to the list of development

         milestones in section 11.3 of the pro forma LGIP to clarify the following:


                1215
                       Id. (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 1-2).
                1216
                       Id. P 133.
                1217
                       Id. P 134.
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             A contract for the supply or transportation of fuel and a contract for the supply of

                cooling water will not be accepted for wind, storage, or solar photovoltaic

                resources;

             Comparable evidence of a contract for the sale of energy or capacity will be

                accepted; and

             Any of the commercial readiness demonstration options accepted to enter the

                facilities study will be accepted along with the executed LGIA or within 15 days

                of the Commission issuing an order on the unexecuted LGIA filing, while a

                commercial readiness deposit will not be accepted.1218

                The Commission preliminarily found that this framework would allow

         interconnection customers to calculate the exact deposit that would be required prior to

         entering the interconnection queue, as it is based on multiples of the study deposit, and

         the study deposit is based on the size of the proposed generating facility, as chosen by the

         interconnection customer, leading to predictability in the deposit amount.1219 The

         Commission explained that this increased transparency in the deposit amount early in the

         interconnection process would discourage speculative interconnection requests from

         entering the interconnection queue.

                The Commission sought comment on whether the Commission should also

         establish, as other alternative demonstrations of commercial readiness, evidence of a


                1218
                       Id. P 135.
                1219
                       Id. P 136.
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         commitment to participate in RTO/ISO markets, a site-specific purchase order for

         generating equipment specific to the interconnection request, or a statement signed by an

         officer or authorized agent of the interconnection customer attesting that the generating

         facility is to be supplied with major electric generating components (such as wind

         turbines) with a manufacturer’s blanket purchase agreement to which the interconnection

         customer is a party.1220

                                       ii.   Comments

                                             (a)   Comments in Support

                Several commenters support the commercial readiness framework because they

         believe that it will reduce the submission of exploratory or speculative interconnection

         requests.1221 These commenters argue that requiring financial commitments and

         commercial readiness requirements early in the interconnection process, as the

         Commission proposed, is important to more efficiently allocate transmission provider

         resources to generating facilities that are more likely to achieve commercial operation



                1220
                       Id. P 137.
                1221
                     APPA-LPPC Reply Comments at 5; Avangrid Initial Comments at 9;
         Consumer Energy Initial Comments at 5; EEI Initial Comments at 6-7; EEI Reply
         Comments at 5; NERC Initial Comments at 26; Google Initial Comments at 20; Idaho
         Power Initial Comments at 7; MISO TOs Initial Comments at 28-29; NARUC Initial
         Comments at 10; NESCOE Initial Comments at 13; North Carolina Commission and
         Staff Initial Comments at 26; Ohio Commission Consumer Advocate Initial Comments at
         12; Omaha Public Power Initial Comments at 9; Pacific Northwest Utilities Initial
         Comments at 3, 6; Pennsylvania Commission Initial Comments at 14; U.S. Chamber of
         Commerce Initial Comments at 9; UMPA Initial Comments at 5; Xcel Reply Comments
         at 6-10.
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         and to enhance the certainty of interconnection study results, benefiting all

         interconnection customers. Pacific Northwest Utilities similarly assert that requiring

         commercial readiness at an appropriate point in the cluster study process minimizes the

         cost and inefficiency risk of restudies and increases the probability that planned network

         upgrades will be funded and constructed.1222 Navajo Utility also supports the

         Commission’s use of the commercial readiness requirements to discourage speculative

         interconnection requests from slowing the interconnection process.1223

                Navajo Utility explains that, as an LSE that constructs generating facilities for the

         benefit of the Navajo Nation and to export clean energy to surrounding LSEs, it

         specifically supports the second criterion related to generating facilities developed by an

         LSE.1224 NRECA contends that the proposed commercial readiness demonstration

         requirements protect generating facilities that have been committed to serve load from

         being hindered by interconnection requests for generating facilities that are still looking

         for off-takers, thereby helping reduce the pressure on transmission provider

         interconnection queues.1225

                APPA-LPPC note that there may be power purchase agreements, asset sales

         agreements and competitive procurement programs that currently contemplate full


                1222
                       Pacific Northwest Utilities Initial Comments at 6.
                1223
                       Navajo Utility Initial Comments at 10.
                1224
                       Id. at 10-11.
                1225
                       NRECA Initial Comments at 29.
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         knowledge of interconnection costs before deals may be finalized.1226 However, APPA-

         LPPC argue that there is nothing inevitable about the structure and sequencing of these

         arrangements. APPA-LPPC state that, assuming the Commission moves ahead with a

         commercial readiness requirement, it is not hard to envision revisions to standard form

         power purchase agreements, asset sales agreements, and bids into power procurement

         programs that are contingent on specified assumptions regarding interconnection costs.

         APPA-LPPC contend that with improvements in the availability of interconnection costs,

         along with much-needed stability in the interconnection queues, it is reasonable to expect

         that interconnection costs will be substantially more predictable than is now the case.

                SoCal Edison supports the proposals to require the interconnection customer to

         notify the transmission provider of any material change to its commercial readiness

         demonstration and to require the transmission provider to give the interconnection

         customer 10 business days to cure the commercial readiness deficiency.1227

                                             (b)    Comments in Opposition

                Several commenters argue that the NOPR proposal is inconsistent with prevailing

         commercial practices (especially those in RTOs/ISOs), sets unreasonable standards for

         off-take agreements, and ignores the commercial reality of the competitive solicitation

         process, which could create an undue preference for self-build options in areas that rely

         on competitive solicitations and undue discrimination against merchant developers,


                1226
                       APPA-LPPC Reply Comments at 5.
                1227
                       SoCal Edison Initial Comments at 9.
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         thereby subverting competition in wholesale power markets.1228 Some commenters

         contend that the proposed commercial readiness demonstration options are heavily

         weighted in favor of incumbent utility practices, such as evidence of a power purchase

         agreement or executed term sheet or evidence that a project has been selected in a

         resource plan or resource solicitation process by an LSE.1229

                Enel argues that ratepayers and off-takers benefit from generating facilities being

         selected in competitive processes that consider both a generating facility’s inherent

         characteristics and its interconnection costs and schedule, which cannot be done if off-

         take arrangements are made prior to applying for interconnection service.1230 NextEra

         asserts that being part of the interconnection queue is an essential step in the competitive

         process,1231 and Public Interest Organizations note that utilities conducting RFPs for their

         resource plans often require at least a position in an interconnection queue as a




                1228
                    ACORE Reply Comments at 4; AEE Initial Comments at 20; AEE Reply
         Comments at 12; Alliant Energy Initial Comments at 5-6; Clean Energy Associations
         Initial Comments at 34-35; Clean Energy Associations Reply Comments at 4-6; CREA
         and NewSun Initial Comments at 57; CREA and NewSun Reply Comments at 22-45;
         Cypress Creek Initial Comments at 22-23; Enel Initial Comments at 44; ENGIE Initial
         Comments at 5; ENGIE Reply Comments at 2-3; EPSA Initial Comments at 9; Fervo
         Energy Reply Comments at 6-7; New Jersey Commission Reply Comments at 6-8;
         NextEra Initial Comments at 24; Pine Gate Initial Comments at 27; NextEra Reply
         Comments at 14-16; Public Interest Organizations Initial Comments at 29-30; R Street
         Initial Comments at 13; SEIA Initial Comments at 25; Vistra Initial Comments at 6.
                1229
                       EPSA Initial Comments at 9; R Street Initial Comments at 13.
                1230
                       Enel Initial Comments at 44.
                1231
                       NextEra Initial Comments at 24.
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         precondition of offering.1232 Cypress Creek argues that commercial readiness

         demonstrations should not apply until an interconnection customer receives the results

         from the proposed initial cluster study, which may be required to bid into a resource

         solicitation.1233 Cypress Creek contends that it is impractical to include the proposed

         demonstration requirements at early stages in the interconnection study process and that

         this construct is not workable in markets where merchant sales are common.

                Enel, NextEra, and Public Interest Organizations argue that precluding entry into

         the interconnection queue due to lack of a demonstration of commercial readiness would

         be an anticompetitive measure favoring entities, such as incumbent transmission

         providers, that could favor their own proposed generating facilities ahead of others

         because of their enhanced ability to demonstrate their proposed generating facilities as

         commercially ready.1234 For instance, CREA and NewSun assert that, unlike independent

         power producers, an incumbent, vertically integrated utility can easily meet the second

         prong of the readiness criteria to enter the interconnection queue and proceed to the

         facilities study by simply identifying its preferred resource in its own resource plan,

         selecting it as the winning bid in its own utility-run RFP, or just attesting that the utility is

         “developing” the generating facility.1235


                1232
                       Public Interest Organizations Initial Comments at 29.
                1233
                       Cypress Creek Initial Comments at 22-23.
                1234
                   Enel Initial Comments at 44; NextEra Initial Comments at 24; Public Interest
         Organizations Initial Comments at 29.
                1235
                       CREA and NewSun Initial Comments at 66 (citing NOPR, 179 FERC
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               CREA and NewSun claim that the commercial readiness proposal would drive

         most, if not all, independent power producers from the market, which would raise costs to

         consumers by eliminating competition and innovation.1236 SEIA asserts that by

         proposing a commercial readiness demonstration framework that is nearly impossible for

         independent power producers to meet, the Commission is incorrectly implying that

         generating facilities developed by independent power producers are inherently not

         commercially viable.1237 SEIA emphasizes that independent power producers play a

         critical role in bringing robust competition to markets by driving innovation and

         decreasing the cost of providing power.1238

               Alliant Energy claims that requiring demonstration of commercial readiness prior

         to an interconnection customer entering the interconnection queue may do more harm

         than good.1239 Alliant Energy argues that the commercial viability of a proposed

         generating facility depends heavily on the costs of network upgrades and interconnection

         facilities required to accommodate a generating facility’s interconnection, which cannot

         be known prior to a generating facility receiving cost estimates that are dependable and

         enable interconnection customers to make decisions during the interconnection process.



         ¶ 61,194 at PP 129, 130).
               1236
                      Id. at 57.
               1237
                      SEIA Initial Comments at 16, 25.
               1238
                      Id. at 25.
               1239
                      Alliant Energy Initial Comments at 5-6.
Document Accession #: 20230728-3060             Filed Date: 07/28/2023
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                Vistra argues that the proposed increase in study deposits, withdrawal penalties,

         and exclusive site control requirements will significantly reduce the number of

         speculative interconnection requests entering the interconnection queue, making the

         commercial readiness proposal redundant.1240 Vistra notes that the Commission has

         relied on fact-specific showings to accept requirements to demonstrate commercial

         readiness thus far, and Vistra argues that the fact that the Commission has accepted a

         transmission provider’s revised LGIP under FPA section 205 does not establish that the

         pro forma LGIP is unjust and unreasonable without the commercial readiness

         proposal.1241

                Vistra states that, beyond simple timing concerns, procurement decisions and

         eligibility to enter the interconnection queue are interrelated in a way that creates a

         chicken-and-egg problem.1242 Vistra explains that it is difficult for a generating facility to

         be shortlisted for procurement without line of sight to obtaining a signed interconnection

         agreement because the signed interconnection agreement brings more certainty to the

         generating facility’s commercial operation date. Vistra expresses concern that the

         Commission’s proposal to require an executed term sheet to enter the interconnection

         queue and an executed contract to enter the facilities study process will simply shift the

         burden of this chicken-and-egg problem to the procurement process. Vistra asserts that


                1240
                       Vistra Initial Comments at 6.
                1241
                       Id. at 6, 8.
                1242
                       Id. at 9.
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         the status quo appropriately balances the inherent difficulty of coordinating procurement

         and interconnection.

                Invenergy argues that the proposed requirements are inappropriate and should not

         be applied nationally because they are based on a small subset of transmission providers

         that have adopted “readiness” requirements with little evidence that they are effective,

         given the continuing interconnection queue reform efforts in some of those same

         regions.1243 Invenergy adds that, if additional assurance of an interconnection customer’s

         intent to pursue its interconnection request is needed, the Commission should consider a

         requirement to post a certain amount of security that becomes increasingly at risk to

         move through the interconnection queue, as is done in some RTO/ISO regions.

                NextEra asserts that generating facilities may be fully viable based on criteria that

         are different from what the NOPR proposes. For example, NextEra states that it is

         possible that storage or other types of generating facilities entering the market will not

         require power purchase agreements or designation as network resources to be

         commercially viable.1244

                R Street argues that a key to efficient generating facility development is to enable

         parallel work flows.1245 R Street claims that, by imposing extensive prerequisites to

         advance in the interconnection process, commercial readiness requirements would


                1243
                       Invenergy Initial Comments at 11-12.
                1244
                       NextEra Initial Comments at 24.
                1245
                       R Street Initial Comments at 13.
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         introduce greater process dependencies in generating facility development. R Street adds

         that granting non-RTO/ISO transmission providers discretion over commercial readiness

         requirements could lead to discriminatory behavior (e.g., non-RTO/ISO transmission

         providers withholding off-take contracts to discriminate against other potential suppliers).

                MISO states that it is concerned about the utility and impacts of the proposed

         commercial readiness framework.1246 MISO explains that interconnection customers

         with commitments from off-takers can be commercially unready and often cause the

         greatest interconnection queue disruption by lingering the longest in the queue. As an

         example, MISO posits a proposed generating facility that would be commercially viable

         provided it does not incur network upgrade costs in excess of $5 million dollars. MISO

         argues that such a generating facility is likely to remain in the interconnection queue

         despite not having a viable business case, in the hopes that other interconnection

         customers will withdraw their requests and costs will decrease. MISO asserts that, to

         indicate commercial readiness, a term sheet or contract would need to show not only that

         there was an off-taker but also that the projected income for the proposed generating

         facility is sufficient to render the generating facility commercially viable, given estimated

         study and network upgrade costs, which would be exceedingly difficult to require from

         interconnection customers and nearly impossible for a transmission provider to evaluate

         and verify.




                1246
                       MISO Initial Comments at 62-63.
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                Anbaric claims that the proposed core readiness requirements do not align with the

         development trajectory of planned transmission projects for offshore wind generation.1247

                NextEra asserts that commercial readiness requirements at the interconnection

         request stage are inappropriate.1248 NextEra explains that interconnection customers do

         not have a simple test for distinguishing speculative interconnection requests from other

         interconnection requests. Rather, NextEra continues, successful generating facility

         development depends on whether the interconnection customer concludes that the

         interconnection arrangement is acceptable and whether the generating facility’s location

         and costs are agreeable to its customers.

                NextEra also argues that meeting any readiness milestones after the submission of

         an interconnection request (e.g., when entering the facilities study phase) should be

         premised on the interconnection customer having received timely and accurate study

         results, including from affected systems.1249 NextEra asserts that it is not just and

         reasonable to impose increasingly strict requirements on interconnection customers

         without devising means of accelerating interconnection queue processing by transmission

         providers and ensuring transmission providers comply with their tariffs.

                Longroad recommends that the Commission clearly tie the interconnection

         customer’s commitment to pay for network upgrades to a security deposit applied toward


                1247
                       Anbaric Initial Comments at 15-16.
                1248
                       NextEra Initial Comments at 23-24.
                1249
                       Id. at 25.
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         the costs thereof during the cluster study phases, and that the security deposits for

         network upgrades progressively increase at each stage of the cluster study process.1250

         Longroad asserts that in the initial cluster study, the security deposit should be a modest

         percentage of the allocated network upgrade cost and increase to, for example, 25% of

         the network upgrade cost allocation to enter the facilities study. Longroad contends that

         the interconnection customer should have the option to either fully fund the network

         upgrade as a milestone in the LGIA or to fund in advance the transmission provider’s

         estimated quarterly spending towards engineering, procurement, and construction of the

         network upgrades.

                                             (c)    Comments on Specific Proposals

                                                    (1)    Proposed Readiness Demonstrations

                Commenters raise significant issues with the readiness demonstration options

         proposed in the NOPR. With respect to the first proposed readiness demonstration

         option,1251 commenters argue that providing power purchase agreements or term sheets

         will be unworkable for most interconnection customers, particularly merchant

         developers, because: (1) developers do not have sufficient information about

         interconnection costs to move forward with a term sheet or power purchase agreement at


                1250
                       Longroad Reply Comments at 13.
                1251
                     Executed term sheet (or comparable evidence) related to a contract for sale of
         (1) the constructed generating facility to a load-serving entity or to a commercial,
         industrial, or other large end-use customer, (2) the generating facility’s energy or capacity
         where the term of sale is not less than five (5) years, or (3) the generating facility’s
         ancillary services where the term of sale is not less than five (5) years.
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         the time they enter into the interconnection study process; and (2) the proposals to make

         more information available to interconnection customers prior to submitting an

         interconnection request will not provide sufficiently granular or certain information to

         overcome this barrier.1252

                Commenters further note that the vast majority of power purchasers seek

         generating facilities with advanced interconnection queue positions (with preference for a

         finalized LGIA or SGIA) before signing a power purchase agreement or finalizing a state

         procurement.1253 CREA and NewSun, as well as SEIA, argue that a contract for

         provision of ancillary services, is almost entirely foreclosed to many non-synchronous

         generating facilities because nearly every transmission provider bars non-synchronous

         generating facilities from providing ancillary services, either explicitly or through

         operating requirements.1254




                1252
                    AEE Initial Comments at 21; AES Clean Energy Initial Comments at 16;
         CAISO Initial Comments at 18; CESA Initial Comments at 10; CESA Reply Comments
         at 6; Clean Energy Associations Initial Comments at 37; ClearPath Initial Comments at 8;
         CREA and NewSun Initial Comments at 57-58; New Jersey Commission Reply
         Comments at 6-7; Enel Initial Comments at 42-43; Invenergy Initial Comments at 13-15;
         Invenergy Reply Comments at 1-5; Fervo Energy Initial Comments at 5; Longroad
         Energy Reply Comments at 17; SEIA Initial Comments at 17; SEIA Reply Comments at
         7-9; Shell Reply Comments at 20-21; Longroad Energy Initial Comments at 15-16;
         Omaha Public Power Initial Comments at 8-9; R Street Initial Comments at 13; Shell
         Initial Comments 13-15; Vistra Initial Comments at 8, 10.
                1253
                 Invenergy Initial Comments at 13; Northwest and Intermountain Initial
         Comments at 9; Public Interest Organizations Initial Comments at 28.
                1254
                       CREA and NewSun Initial Comments at 62; SEIA Initial Comments at 17.
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                Commenters also assert that, if independent power producers are forced to enter

         into contracts before costs are certain, then they would need to incorporate that

         uncertainty into the power purchase agreement offer, which would drive up the costs of

         these contracts, resulting in higher consumer costs.1255 Commenters contend that, if the

         independent power producer does not reflect the costs of the network upgrades in its

         power purchase agreement price, either the independent power producer or the consumer

         may attempt to break the contract, which would lead to increased contractual

         litigation.1256 Vistra adds that the purchaser will then need to start the procurement

         process over or choose to over-procure as insurance against potential contract

         termination, to the detriment of reliability and cost.1257

                SoCal Edison argues that, in some regions, an executed contract option for

         entering the facilities study could unintentionally encourage LSEs to sign contracts with

         developers for more energy or capacity than they need to secure resources to meet their

         procurement targets.1258 SoCal Edison contends that competition in certain areas for

         particular generation resources may be high, which may force other LSEs to prematurely




                1255
                     CREA and NewSun Initial Comments at 57; Clean Energy Associations Initial
         Comments at 37; SEIA Initial Comments at 17; SoCal Edison Initial Comments at 8;
         Vistra Initial Comments at 9-10.
                1256
                    AEE Initial Comments at 21; Longroad Energy Initial Comments at 15; SEIA
         Initial Comments at 17; Vistra Initial Comments at 10.
                1257
                       Vistra Initial Comments at 10.
                1258
                       SoCal Edison Initial Comments at 7-8.
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         enter into contracts with developers to secure generation without the benefit of the

         facilities study, which is currently relied on by LSEs to assess commercial viability of a

         generating facility before contracts are signed. AEE asserts that customers may

         ultimately bear the cost of the selection of generating facilities that may not be the least

         cost options in the market but are able to execute a term sheet or power purchase

         agreement regardless of the ultimate level of interconnection costs.1259

                Commenters also assert that it is unreasonable to expect that a buyer and seller

         will be able to finalize negotiation of a contract between the time of the cluster restudy

         (or amendment of the restudy if additional interconnection customers withdraw upon

         receipt of the restudy results) and the time the facilities study agreement must be

         executed.1260

                CAISO requests that the Commission describe in detail what would constitute a

         term sheet.1261 CAISO states that in its experience with similar tariff provisions,

         interconnection customers frequently try to submit questionable or even misleading

         documentation to meet the tariff requirements.

                Invenergy argues that, to the extent an off-take agreement or term sheet remains an

         option to demonstrate readiness, the Commission should clarify that transmission



                1259
                       AEE Initial Comments at 21.
                1260
                   CREA and NewSun Initial Comments at 62; Longroad Energy Initial Comments
         at 16; SEIA Initial Comments at 17.
                1261
                       CAISO Initial Comments at 20.
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         providers are not entitled or even permitted to review the commercial terms of the term

         sheet or agreement, which may be confidential and is not subject to the transmission

         provider’s discretion.1262

                GSCE does not dispute that readiness requirements are important but argues that

         basing them on contracting status is misguided for the following reasons: (1) it does not

         focus on early-stage developmental steps that drive generating facility viability and

         indicate true commercial readiness; (2) it provides incentives for interconnection

         customers that have not taken concrete steps toward readiness to bid low in competitive

         solicitations, creating fictional “contracted” capacity that may never prove viable; (3) the

         contracting landscape is evolving, and long-term contracting is no longer required for

         successful project financing or the emerging realities of capital markets, and with the

         inflationary environment, long-term contracts may currently be harder to finance than

         short-term contracts; and (4) a focus on contracting to enter the interconnection study

         process forces commercial negotiations to occur before generating facilities are studied

         and have sufficient cost certainty or development timeline assurances.1263

                Commenters also point to significant issues with the second proposed readiness

         demonstration option.1264 They argue that requiring evidence that a proposed generating



                1262
                       Invenergy Initial Comments at 18.
                1263
                       GSCE Initial Comments at 8-9.
                1264
                    Reasonable evidence that the generating facility has been selected in a
         resource plan or resource solicitation process by or for an LSE, is being developed by an
         LSE, or is being developed for purposes of a sale to a commercial, industrial, or other
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         facility is “selected in a resource plan or resource solicitation plan by or for [an LSE], is

         being developed by [an LSE], or is being developed for purposes of a sale to a

         commercial, industrial, or other a large end-use customer” is discriminatory and

         preferential without cause or reasonable support.1265

                Several commenters argue that the option for interconnection customers to

         demonstrate commercial readiness by showing that the generating facility is being

         developed for purposes of a sale to an end-use customer suffers a timing challenge

         because it is nearly impossible for the independent power producer to price a sales

         contract to a retail customer, or the customer having much interest in discussing the

         transaction, without having reasonable certainty as to the generating facility’s likely

         interconnection costs.1266

                SoCal Edison recommends that the Commission clarify or give additional

         examples of reasonable evidence that a proposed generating facility has been selected in

         an LSE’s resource solicitation process or allow a transmission provider to determine how




         large end-use customer.
                1265
                    AEE Initial Comments at 23; Clean Energy Associations Initial Comments at
         35; CREA and NewSun Initial Comments at 58-70; EPSA Initial Comments at 9;
         Interwest Initial Comments at 19-20; SEIA Initial Comments at 18; Shell Initial
         Comments at 16.
                1266
                    AEE Initial Comments at 22-23; CREA and NewSun Initial Comments at 59;
         SEIA Initial Comments at 19-20; Shell Initial Comments at 14; Vistra Initial Comments
         at 6.
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         this option can be met.1267 SoCal Edison states that evidence that a proposed generating

         facility has been short-listed in an LSE request for offer should be considered reasonable

         evidence for moving into the facilities study.

                Several commenters argue that the third readiness demonstration option, a

         provisional LGIA,1268 is likely unworkable as well because it would require independent

         power producers to assume almost all the risk of the network upgrade costs without

         knowing those costs.1269 On the other hand, CAISO asserts that interconnection

         customers could escape financial consequences and bypass the NOPR’s requirements

         through the provisional LGIA option.1270 CAISO argues that, at a minimum, the

         Commission should allow transmission providers to provide the provisional LGIA option

         where they believe it will work, but not require all transmission providers to enable

         interconnection customers to bypass commercial readiness through provisional LGIAs.

                SoCal Edison and CAISO recommend that the Commission provide additional

         guidance on, or more clearly define, the term “provisional LGIA.”1271 CAISO also states




                1267
                       SoCal Edison Initial Comments at 8.
                1268
                    A provisional LGIA that has been filed at the Commission executed, or
         requested to be filed unexecuted, which is not in suspension pursuant to article 5.16 of
         the LGIA, and includes a commitment to construct the generating facility.
                1269
                   AEE Initial Comments at 23-24; CREA and NewSun Initial Comments at 59-
         63; SEIA Initial Comments at 20-23.
                1270
                       CAISO Initial Comments at 20-21.
                1271
                       SoCal Edison Initial Comments at 8; CAISO Initial Comments at 20.
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         that it is unclear how interconnection customers that have yet to be studied could submit

         provisional LGIAs because LGIAs describe the network upgrades and facilities from

         interconnection studies.1272 CAISO states that interconnection customers are likely to

         request provisional LGIAs because demonstrating commercial readiness in RTOs/ISOs is

         generally impossible until after studies are complete.

                Commenters claim that the record does not support adopting the proposed

         commercial readiness framework within RTOs/ISOs, arguing that it would be

         unreasonable and unduly discriminatory.1273 These commenters argue that the record in

         RTOs/ISOs does not support the NOPR’s assertion that generating facilities are generally

         not constructed without some form of off-take agreement. They assert that the

         commercial readiness criteria should not be required at all in RTO/ISO regions (with

         locational marginal price-based markets), where generating facilities can move forward

         in many cases without a specific off-taker. Some commenters also argue that an

         RTO/ISO should not have to evaluate contracts for the sale of a generating facility’s

         output or determine whether the generating facility has been selected in a resource plan or

         resource solicitation process in any of the potentially multiple states within its

         footprint.1274


                1272
                       CAISO Initial Comments at 20.
                1273
                   ACE-NY Initial Comments at 6-7; AEE Initial Comments at 22; AES Clean
         Energy Initial Comments at 16-17; CESA Initial Comments at 9-10; Clean Energy
         Associations Initial Comments at 38; PJM Initial Comments at 33-34; Public Interest
         Organizations Initial Comments at 28-29; SEIA Initial Comments at 23-24.
                1274
                       MISO Initial Comments at 63; MISO TOs Initial Comments at 29; PJM Initial
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               Commenters argue that the proposed 10-business day cure period to resolve

         potential commercial readiness deficiencies is insufficient given the complicated business

         and technical decisions involved.1275 Invenergy states the interconnection process often

         extends for several years and it is entirely possible that commercial arrangements may

         change during that time.1276 Invenergy states that these changes may require additional

         negotiations, but should not call into question the customer’s commitment to developing

         its project and risk being withdrawn from the interconnection queue. Ørsted requests a

         30-business day cure period instead.1277

                                                    (2)   Alternative Commercial Readiness

                                                          Demonstrations

               Some commenters argue that the Commission should consider expanding this list

         of proposed criteria to include other demonstrations of commercial readiness, such as

         completion of environmental, local, state, or federal permitting processes.1278 CREA and

         NewSun, as well as Northwest and Intermountain, ask the Commission to provide QFs a

         more relaxed readiness option than a fully executed power purchase agreement,



         Comments at 33.
               1275
                      Invenergy Initial Comments at 21; Ørsted Initial Comments at 13.
               1276
                      Invenergy Initial Comments at 21.
               1277
                      Ørsted Initial Comments at 13.
               1278
                     ClearPath Initial Comments at 9; CREA and NewSun Initial Comments at 71;
         Enel Initial Comments at 47; Longroad Energy Initial Comments at 17; Northwest and
         Intermountain Initial Comments at 11; Vistra Initial Comments at 11.
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         especially when a transmission provider requires qualifying facilities to have a completed

         interconnection study result to obtain a draft power purchase agreement under its state

         Public Utility Regulatory Policies Act (PURPA) implementation programs (e.g.,

         PacifiCorp).1279 CREA and NewSun suggest that the Commission could allow QFs to

         submit an affidavit from the interconnection customer, stating that the avoided cost rates

         offered are sufficient to finance and bring the QF into commercial operation if

         interconnection can be obtained.1280 CREA and NewSun contend that this option is

         consistent with the Commission’s obligation to adopt regulations that encourage

         development of QFs.

                Comments are mixed on the potential additional demonstrations of commercial

         readiness on which the Commission requested comment in the NOPR. Several

         commenters support the three potential other readiness options suggested in the NOPR,

         or a combination thereof.1281

                Other commenters oppose the various alternative demonstration options. With

         regard to the first—evidence of a commitment to participate in RTO/ISO markets—



                1279
                    CREA and NewSun Initial Comments at 72-73; Northwest and Intermountain
         Initial Comments at 11.
                1280
                       CREA and NewSun Initial Comments at 73.
                1281
                   Id. at 70-71; APS Initial Comments at 15; NERC Initial Comments at 26-27;
         ENGIE Initial Comments at 5-6; Clean Energy Associations Initial Comments at 39;
         Invenergy Initial Comments at 16-17; NESCOE Initial Comments at 13; NextEra Initial
         Comments at 25; Pattern Energy Initial Comments at 31-32; R Street Initial Comments at
         13; SEIA Initial Comments at 25; Tri-State Initial Comments at 15.
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         several commenters argue that the proposal would be essentially meaningless because

         practically all interconnection requests would qualify.1282

                As for the second and third potential alternative demonstration options—a site

         specific purchase order for generating equipment specific to the interconnection request,

         or a statement signed by an officer or authorized agent of the interconnection customer

         attesting that the generating facility is to be supplied with major electric generating

         components (such as wind turbines) with a manufacturer’s blanket purchase agreement to

         which the interconnection customer is a party—PacifiCorp and Ameren oppose these

         options.1283 PacifiCorp argues that, although it originally adopted a similar provision in

         its initial interconnection queue reform process, in the course of administering its first

         two cluster studies, it determined that this readiness option set a low hurdle that

         speculative interconnection requests could easily overcome.1284 Similarly, SPP does not

         support site-specific purchase orders or statements attesting to supply of major

         components as evidence of commercial readiness.1285 Enel asserts that it is inappropriate

         to require procurement of major power equipment prior to an interconnection request or,

         in many cases, even before executing an LGIA.1286 Enel contends that requiring



                1282
                       Indicated PJM TOs Initial Comments at 31-32; PJM Initial Comments at 34.
                1283
                       Ameren Initial Comments at 17; PacifiCorp Initial Comments at 31.
                1284
                       PacifiCorp Initial Comments at 31.
                1285
                       SPP Initial Comments at 10.
                1286
                       Enel Initial Comments at 46.
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         procurement of specific generating equipment prior to applying for interconnection is

         detrimental to reliability because newer technologies procured after the execution of an

         LGIA often have advanced features that did not exist a few years earlier. Enel explains

         that it procures major wind, solar, and battery generation equipment between 12 and 24

         months prior to energizing a new generating facility to the transmission system, typically

         after execution of an LGIA and a full investment review (including knowledge of

         interconnection costs and schedules) are complete. Enel adds that a generating facility

         without interconnection results carries too much risk for interconnection customers and

         investors to risk significant financial deposits to reserve site specific generation

         equipment. Similarly, Xcel states that interconnection customers want the flexibility to

         wait until the last minute to order equipment and start construction, which results in

         different equipment being ordered than initially expected.1287

                Some commenters argue that the proposed commercial readiness requirements

         unduly discriminate against pumped storage projects, which often do not have the

         commercial pathways and timelines associated with other types of generating

         facilities.1288 Those commenters explain that the development of a pumped storage

         project is an iterative process of assessment and de-risking that takes several years to

         complete, at a cost of tens of millions of dollars. They suggest that achieving one of the



                1287
                       Xcel Initial Comments at 33.
                1288
                 Hydropower Commenters Initial Comments at 9, 25-26; rPlus Initial
         Comments at 4.
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         following three criteria would be sufficient evidence of commercial readiness for a

         pumped storage project: (1) a filing of notice of intent to apply for an original license

         and pre-application document with the Commission; (2) an executed memorandum of

         understanding, letter of intent, or an equivalent term sheet with a utility; or (3) selection

         of the project in an integrated resource plan (IRP) process. They add that, in lieu of

         having achieved one of these, a commercial readiness deposit of $2,000 per MW is

         appropriate. These commenters ask the Commission to add the receipt of a Commission

         license to the list of milestone developments in section 11.3 of the pro forma LGIP.

                Commenters recommend several alternative bases to determine commercial

         readiness, including: (1) a 50% generator tie line site control requirement;1289 (2) a

         project development plan to determine readiness;1290 (3) documentation of developer due

         diligence, including available transmission capacity and modeling;1291 (4) participating in

         and meeting the eligibility requirements for a state-mandated procurement program;1292

         and (5) an executed firm point-to-point transmission service agreement from the

         proposed point of interconnection to a point of consumption for the generating facility’s

         output.1293



                1289
                       Enel Initial Comments at 45.
                1290
                       Xcel Initial Comments at 33.
                1291
                       SEIA Initial Comments at 25.
                1292
                       SoCal Edison Initial Comments at 8.
                1293
                       Avangrid Initial Comments at 15.
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                To address the Commission’s concerns while maintaining the commercial viability

         of planned transmission projects for offshore wind, Anbaric asks the Commission to

         consider requiring such projects to make the following demonstrations to satisfy the

         commercial readiness requirements: (1) site control of property near the point of

         interconnection suitable for a converter station of a specified size (expressed in MWs)

         needed to enable high voltage direct current (HVDC) lines carrying offshore wind energy

         to be put onto the regional transmission system; (2) site control of a property at a

         coastline location suitable for the transition from seabed to terrestrial routes sufficient to

         move the specified amount of MWs identified in interconnection requests; and (3) a state

         procurement policy or goal to procure a defined amount of offshore wind generation

         associated with a planned transmission project within a defined time frame.1294

                Eversource supports the Commission’s proposed commercial readiness framework

         but asks the Commission to strengthen it by requiring the interconnection customer to

         demonstrate project financing (along with the current proposed requirements).1295

         Eversource also asks the Commission to require interconnection customers to provide a

         preliminary project schedule that identifies all key milestones and timelines.

                Fervo Energy argues that, for cluster study and restudy processes, the proposed

         framework should allow the interconnection customer to demonstrate readiness by using

         a combination of options, such as executed term sheets for a portion of the facility plus


                1294
                       Anbaric Initial Comments at 17-18.
                1295
                       Eversource Initial Comments at 18.
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         deposits on a $/MW basis calculated from the quotient of the study deposit amount and

         the proposed generating facility size.1296

                ENGIE and SEIA ask the Commission to make the commercial readiness

         demonstration a requirement for entering into an LGIA.1297 ENGIE and SEIA assert that

         a later-stage commercial readiness demonstration will allow independent power

         producers to make rational business decisions based on reasonably certain network

         upgrade costs.

                                                      (3)    Deposit in Lieu of Readiness

                Some commenters contend that the proposal to allow interconnection customers to

         provide a deposit in lieu of demonstrating commercial readiness does not cure the

         potential for undue discrimination that results from retaining commercial readiness

         options that are easily attained by incumbent, vertically integrated utilities but infeasible

         for independent power producers.1298 These commenters claim that, because it is nearly

         impossible for an independent power producer to make any of the commercial readiness

         demonstrations currently proposed, the deposit in lieu of meeting the commercial

         readiness requirements would not be an “option” for independent power producers but

         rather would be the only path forward in the interconnection process.


                1296
                       Fervo Energy Initial Comments at 4.
                1297
                       ENGIE Initial Comments at 6; SEIA Initial Comments at 25.
                1298
                   AEE Initial Comments at 24; Clean Energy Associations Initial Comments at
         38; NextEra Initial Comments at 24; SEIA Initial Comments at 22-25; Vistra Initial
         Comments at 6-7.
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                Some commenters support the deposit in lieu of readiness option, as proposed.

         For instance, SoCal Edison asserts that an increased financial requirement via a deposit in

         lieu of demonstrating commercial readiness should help to identify those interconnection

         requests that are economically viable and to which the transmission provider should focus

         its resources.1299 Northwest and Intermountain state that providing interconnection

         customers with an option to demonstrate commercial readiness through a deposit is

         essential to ensuring a competitive market for generation by providing a way for

         independent power producers to enter the interconnection queue.1300 MISO supports the

         concept of commercial readiness deposits, with the first one due at the time of submission

         of an interconnection request, which would then be forfeited if the interconnection

         request does not result in an LGIA, and a second, higher deposit due at the time of

         execution of an LGIA, to be refunded upon a generating facility achieving commercial

         operation.1301 MISO also supports the Commission’s proposal to make these deposits

         separate from, and in addition to, study deposits, as well as MISO’s existing milestone

         requirements in its interconnection study process. MISO believes that these proposals

         could be a useful deterrent to speculative or unviable interconnection requests entering

         into or lingering in MISO’s interconnection queue.




                1299
                       SoCal Edison Initial Comments at 9.
                1300
                       Northwest and Intermountain Initial Comments at 12.
                1301
                       MISO Initial Comments at 60.
Document Accession #: 20230728-3060           Filed Date: 07/28/2023
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                MISO TOs argue that, in keeping with the overall theme of flexibility and respect

         for regional differences, the Commission should afford transmission providers flexibility

         to adopt readiness requirements and deposit amounts that are appropriate for their

         regions.1302 MISO suggests deposits could consist of two components: (1) a minimum

         amount per interconnection request, regardless of proposed service levels, and (2) a per

         MW amount.1303 MISO asks that the commercial readiness deposit increase the pool of

         money available to offset cost shifts, and any additional monies be utilized to defray the

         study costs of interconnection customers that actually reach commercial operation.

                Some commenters argue that allowing deposits and security to be posted in lieu of

         demonstrating commercial readiness may not be sufficient to accomplish the NOPR’s

         goals,1304 and may, in fact, hinder the NOPR’s goals.1305 APPA-LPPC assert that the

         financial commitments proposed in the NOPR, while not insignificant, do not reflect the

         potentially substantial cost of continuing to tolerate the ongoing uncertainty.1306 APS

         claims that, in its experience, speculative interconnection requests are well-funded but




                1302
                       MISO TOs Initial Comments at 29.
                1303
                       MISO Initial Comments at 61.
                1304
                 APS Initial Comments at 15; EEI Initial Comments at 7-8; Idaho Power Initial
         Comments at 7; Omaha Public Power Initial Comments at 8; Southern Initial Comments
         at 8.
                1305
                   APPA-LPPC Initial Comments at 19; APS Initial Comments at 15; Omaha
         Public Power Initial Comments at 8; Southern Initial Comments at 9-10.
                1306
                       APPA-LPPC Initial Comments at 19.
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         may not be commercially viable.1307 Tri-State asserts that the fact that all 53 applicants in

         its 2022 interconnection queue elected to provide additional financial security at phase 1

         in its study process, instead of one of three readiness milestones, demonstrates that

         deposits are not effective at deterring unready interconnection requests from entering the

         interconnection queue.1308

                Other commenters recommend changes to the Commission’s proposal. For

         instance, North Dakota Commission recommends either removing the deposits in lieu of

         demonstrating readiness or increasing readiness deposit amounts to an amount that

         provides a quantifiable, evidence-based reduction in speculative interconnection

         requests.1309

                PacifiCorp states that its interconnection process also allows an interconnection

         customer to make a payment of $3,000/MW in lieu of meeting commercial readiness

         demonstration requirements.1310 PacifiCorp expresses concern that the NOPR proposal

         would reduce the payment obligation (in comparison to what is required today under

         PacifiCorp’s LGIP), thus lowering the bar for more speculative interconnection requests

         to enter the interconnection queue and increasing risks for further study delays.




                1307
                       APS Initial Comments at 15.
                1308
                       Tri-State Initial Comments at 15-16.
                1309
                       North Dakota Commission Initial Comments at 5.
                1310
                       PacifiCorp Initial Comments at 30.
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                CAISO contends that the Commission’s proposed deposit requirements are low,

         such that any modern interconnection customer could meet them.1311 CAISO questions

         whether the deposit requirements (or any deposit requirements) would deter

         uncompetitive interconnection requests or reduce interconnection queue sizes. CAISO

         argues that using arbitrary figures to set deposit requirements is unlikely to yield

         meaningful results. CAISO urges the Commission to gather more data or hold a

         technical conference to develop meaningful deposit amounts, based on data provided by

         transmission providers.

                EEI and NRECA suggest further reducing potential risks of speculative

         interconnection requests by making deposits non-refundable.1312 NRECA argues that the

         deposit in lieu of readiness should only be refunded when the interconnection customer

         has provided an appropriate commercial readiness demonstration or achieves commercial

         operation, adding that allowing any other refund of this deposit dilutes the effectiveness

         of this readiness requirement.1313 EEI and NYTOs assert that a deposit in lieu of

         readiness should only be allowed in limited circumstances.1314

                Commenters urge the Commission to decline to adopt a commercial readiness

         standard that is tied to the status of an interconnection customer’s off-take arrangements


                1311
                       CAISO Initial Comments at 19-20.
                1312
                       EEI Initial Comments at 8; NRECA Initial Comments at 9.
                1313
                       NRECA Initial Comments at 29.
                1314
                       EEI Initial Comments at 7; NYTOs Initial Comments at 20.
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         and instead to adopt an increasingly “at-risk” readiness deposit framework, similar to

         what has been accepted in various RTOs/ISOs.1315 They contend that more directly

         associating readiness deposits to the estimated costs and likely impact to other

         interconnection customers if an interconnection customer withdraws would provide

         greater accountability for interconnection customers and transmission providers.1316

                PJM and Omaha Public Power assert that the Commission should consider basing

         the readiness deposit amount on an average cost of network upgrades in the region

         determined during previous studies, as this method would be based on a less arbitrary

         valuation than as proposed.1317 SEIA urges the Commission to set the value of the

         deposit amount as a percentage of the estimated network upgrade costs, which should be

         capped at $2 million.1318 rPlus recommends a commercial readiness deposit of

         $2,000/MW, noting that this figure is common in industry practice.1319



                1315
                    AEE Initial Comments at 20, 24-25; AES Clean Energy Initial Comments at
         16-19; Clean Energy Associations Initial Comments at 39; EPSA Initial Comments at 10;
         Indicated PJM TOs Initial Comments at 30-31; Invenergy Initial Comments at 16; MISO
         Initial Comments at 64-65; R Street Initial Comments at 13; Shell Initial Comments at
         15-16.
                1316
                    AEE Initial Comments at 20, 24-25; AES Clean Energy Initial Comments at
         16- 19; Clean Energy Associations Initial Comments at 39; EPSA Initial Comments at
         10; Indicated PJM TOs Initial Comments at 30-31; Invenergy Initial Comments at 16;
         MISO Initial Comments at 64-65; R Street Initial Comments at 13; Shell Initial
         Comments at 15-16.
                1317
                       Omaha Public Power Initial Comments at 8; PJM Initial Comments at 35.
                1318
                       SEIA Initial Comments at 25.
                1319
                       rPlus Initial Comments at 4.
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                Some commenters contend that the level of the proposed readiness deposits is too

         high and should be significantly revised.1320 Pattern Energy requests that the

         Commission clarify if these deposits are additive or whether they would require an

         interconnection customer to have available seven times the study deposit amount by the

         time the interconnection request reaches the facilities study phase. Pattern Energy states

         that if the payments are additive, then the Commission would be requiring an

         interconnection customer to have 14 times its initial study deposit on hand by the time the

         interconnection customer reaches the LGIA milestone, which Pattern Energy contends

         would be unreasonable.1321

                Invenergy argues that depositing as much as $3.5 million before learning how

         much must be spent on network upgrades is not reasonable.1322 ACE-NY argues that the

         deposit values for the second cluster and beyond should be limited to just two times the

         study deposit amount.1323 CREA and NewSun contend that the hefty deposits will bar

         smaller companies with less access to capital from competing and entering the

         interconnection study process.1324 CREA and NewSun argue that the NOPR’s deposit




                1320
                   CREA and NewSun Initial Comments at 63; ACE-NY Initial Comments at 7;
         Invenergy Initial Comments at 15-16.
                1321
                       Pattern Energy Initial Comments at 31.
                1322
                       Invenergy Initial Comments at 15-16.
                1323
                       ACE-NY Initial Comments at 7.
                1324
                       CREA and NewSun Initial Comments at 65.
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         levels are purely arbitrary and appear aimed at driving interconnection customers out of

         the interconnection process rather than measurably improving the process.

                National Grid requests clarification that transmission providers may deduct from a

         to-be-returned deposit any expenses incurred by the transmission provider in

         administering the respective escrow account.1325

                Pattern Energy contends that the Commission must clarify that deposits will be

         applied toward future security obligations if a generating facility reduces its size as it

         progresses through the interconnection process.1326 Pattern Energy states that if the size

         of an interconnection request is reduced, in accordance with allowable reduction

         amounts, then: (1) future deposits should be based on the new generating facility size;

         and (2) previous deposits should be credited toward future deposits based on the portion

         of those previous deposits that are associated with the reduced MW quantity.

                                              (d)   Requests for Flexibility

                Several commenters generally support the proposed commercial readiness

         requirements but ask the Commission to provide flexibility to allow transmission

         providers to determine the detailed readiness and deposit criteria for their footprint.1327



                1325
                       National Grid Initial Comments at 24-25.
                1326
                       Pattern Energy Initial Comments at 31.
                1327
                   Avangrid Initial Comments at 15; Dominion Initial Comments at 25;
         Dominion Reply Comments at 10, 13-14; El Paso Electric Initial Comments at 4;
         Invenergy Initial Comments at 12; ISO-NE Initial Comments at 31; National Grid Initial
         Comments at 25; NEPOOL Initial Comments at 14; NESCOE Reply Comments at 8; NY
         Commission and NYSERDA Initial Comments at 8; NYISO Initial Comments at 23;
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         These commenters argue that such measures need to be carefully balanced to avoid

         overly burdening interconnection customers with legitimate interconnection requests that

         are delayed for reasons out of their control. For example, NY Commission and

         NYSERDA explain that, in New York, renewable energy certificates procured by

         NYSERDA could demonstrate commercial readiness, and a similar state agency

         certificate could be used in a different state.1328

                Pacific Northwest Utilities claim that it would be difficult for transmission

         providers to implement the commercial readiness proposal in regions such as the

         Northwest without reforming RFP processes and coordinating amongst multiple

         transmission owners and LSEs.1329 Pacific Northwest Utilities explain that many

         generating facilities in the Pacific Northwest use interconnection and transmission

         services crossing multiple balancing authority areas, which require coordination of

         timelines, milestones, and off-ramps in both the RFPs and interconnection queues.

                                              (e)     Miscellaneous

                Enel supports the proposed modification to pro forma LGIP section 11.3 to require

         submission of the development milestones concurrently with returning the executed

         LGIA so that the interconnection customer cannot avoid the demonstration required by




         NYTOs Initial Comments at 20; Pacific Northwest Utilities Initial Comments at 2-4.
                1328
                       NY Commission and NYSERDA Initial Comments at 9.
                1329
                       Pacific Northwest Utilities Initial Comments at 4-5.
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         pro forma LGIP section 11.3 by suspending its LGIA.1330 However, Enel notes that it is

         important for the Commission to retain (and reinstitute where removed by specific

         transmission providers) the ability for interconnection customers to suspend work under

         their LGIAs for up to three years.

                Arizona Commission generally supports the prioritization of commercially ready

         projects and agrees with the proposed readiness criteria, but also encourages the

         Commission to consider the possibility of allowing market forces to provide discipline to

         the interconnection process, such as by allowing transmission owners to prioritize

         generation projects through the use of competitive solicitations.1331

                The Colorado Commission generally supports prioritizing commercially ready

         interconnection requests and agrees with the proposed readiness criteria.1332 However,

         the Colorado Commission emphasizes that the NOPR does not include a mechanism to

         prioritize among the many viable, and competing, interconnection requests when

         interconnection service capacity is scarce.1333 The Colorado Commission argues that,

         under existing RTO/ISO interconnection processes as well as the proposed revised pro

         forma LGIP, there is limited ability in the interconnection process to consider the

         generating facility’s broader attributes from a system perspective, including cost, timing,


                1330
                       Enel Initial Comments at 45.
                1331
                       Arizona Commission Initial Comments at 2.
                1332
                       Colorado Commission Initial Comments at 1.
                1333
                       Id. at 2.
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         location, and resource type.1334 The Colorado Commission asserts that new proposed

         generating facilities would likely be stuck in cluster studies with no clear or timely

         prioritization that ensures that the lowest cost or highest value generating facilities come

         online quickly and at a reasonable cost. The Colorado Commission contends that

         prioritizing native load and end-use customers and third-party owned generating facilities

         through competitive bid processes is the most logical criteria to maintain a reliable

         system at reasonable cost.1335 To accomplish this, and help the system rationally move

         forward in a timely manner, the Colorado Commission suggests adding the following

         additional language to the commercial readiness section: “RTOs and Transmission

         Providers shall have the ability to create a separate cluster study process or other

         mechanisms to prioritize executed contracts that serve and benefit native load in

         accordance with local load-serving resources needs and priorities as determined through

         equitable competitive bid processes.”1336

                AEE, on the other hand, responds to the Colorado Commission by arguing that

         allowing transmission providers to prioritize generating facilities that are selected through

         IRP processes or utility procurements and that benefit native load could allow vertically




                1334
                       Id. at 7.
                1335
                       Id. at 28.
                1336
                   Id. The Colorado Commission also notes that some or all of this proposed
         language may be more appropriate for section 4 (Queue Position) of the pro forma LGIP.
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         integrated utilities to push preferred generating facilities through the interconnection

         process and therefore comes with a risk of discrimination.1337

                   CESA argues that proposals to prioritize and favor certain generating facilities and

         interconnection customers must be rejected as violating the Commission’s long-standing

         policies on open access and non-discriminatory interconnection procedures.1338 CESA

         contends that the Colorado Commission’s proposal is therefore unduly discriminatory

         and also goes well beyond what the Commission contemplated in the NOPR.

                   Clean Energy Associations state that they support the Commission’s instead

         accepting regionally specific proposals that would align the interconnection process with

         competitive procurements associated with resource planning, rather than placing them at

         odds.1339 Clean Energy Associations state that projects selected though competitive

         procurement processes are ready projects, and these processes attempt to consider the

         transmission (interconnection service and transmission service) costs and the production-

         related costs. Clean Energy Associations state that one way to accomplish this might be

         to grant resource solicitation clusters a queue position distinct from other clustered

         projects, but that concept could be extended to ensure more certainty to the bidder and the

         resource planning entity of the interconnection and delivery requirements and associated

         rights.


                   1337
                          AEE Reply Comments at 16.
                   1338
                          CESA Reply Comments at 11.
                   1339
                          Clean Energy Associations Initial Comments at 38.
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                Bonneville sees value in applying commercial readiness requirements to the pro

         forma SGIP and SGIA and contends that failing to do so could create a perverse incentive

         for interconnection customers to break up large projects into smaller projects to avoid

         stringent commercial readiness requirements under the pro forma LGIP.1340

                                       iii.   Commission Determination

                We adopt a modified NOPR proposal to revise sections 3.4.2, 7.5, 8.1, and 11.3 of

         the pro forma LGIP, insofar as they require interconnection customers to submit

         commercial readiness deposits, and we do not adopt the NOPR proposal insofar as it

         included non-financial commercial readiness demonstrations in the pro forma LGIP. To

         effectuate the requirements that we adopt in this final rule, we modify the proposed

         revisions to sections 3.4.2, 7.5, and 8.1 to remove the proposed readiness demonstrations

         and to require that the interconnection customer submit the commercial readiness deposit

         at the beginning of each study in the cluster study process (i.e., the initial cluster study,

         the cluster restudy, and the facilities study). For the commercial readiness deposit

         submitted to enter the cluster restudy and the commercial readiness deposit to enter the

         facilities study, we also modify the NOPR proposal to move from commercial readiness

         deposits based on study deposit amounts to commercial readiness deposits based on

         percentages of the interconnection customer’s identified network upgrade costs. We also

         modify proposed section 11.3 of the pro forma LGIP to remove the language providing

         that one of the proposed readiness demonstrations can be provided when the


                1340
                       Bonneville Initial Comments at 24-25.
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         interconnection customer returns the executed LGIA or requests that the LGIA be filed

         unexecuted. We also adopt the definition of commercial readiness deposit but do not

         adopt the definition of commercial readiness demonstration. We discuss each in turn.

                We believe that, along with the other reforms adopted in this final rule, the

         commercial readiness deposits we require will address the need for reform underlying

         this Section by helping reduce the submission of speculative, commercially non-viable

         interconnection requests into interconnection queues.1341 Further, because the

         interconnection customer’s total commercial readiness deposit held by the transmission

         provider increases as the interconnection process proceeds, we find that this approach

         will encourage interconnection customers not ready to proceed through the

         interconnection process—or whose projects become commercially non-viable during the

         interconnection process—to withdraw earlier in the process, thereby lessening the

         incidence of late-stage withdrawals that result in delays and restudies. Similarly, by

         basing the cluster restudy and the facilities study commercial readiness deposits on the

         interconnection customer’s identified network upgrade cost assignment, an

         interconnection customer will be subject to the cost consequences of its estimated

         network upgrades earlier. As a result, this approach will encourage interconnection

         customers to withdraw earlier in the interconnection process if they face large network

         upgrade initial cost assignments or encounter other concerns that cause their



                1341
                 SoCal Edison Initial Comments at 9, Northwest and Intermountain Initial
         Comments at 12, MISO Initial Comments at 60, PJM Initial Comments at 35.
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         interconnection request to be uneconomic. By reducing the number of speculative

         interconnection requests submitted into the interconnection queue and the number of late-

         stage withdrawals of interconnection requests, we believe that the commercial readiness

         deposit requirements that we adopt herein will also enable commercially viable

         interconnection requests to progress more quickly through the interconnection process.

         Transmission providers will be able to focus their resources on those interconnection

         requests most likely to achieve commercial operation, to the benefit of all interconnection

         customers.1342

                The commercial readiness deposit amounts proposed in the NOPR are tied to

         generating facility size, as they are based on the initial study deposit, which is likewise

         tied to generating facility size. We adopt the NOPR proposal for the initial commercial

         readiness deposit, where the interconnection customer pays a deposit of two times the

         study deposit to enter the cluster study. Basing the initial commercial readiness deposit

         on the size of the generating facility aligns the size of the deposit roughly with any

         impact from a withdrawal of the interconnection request, as generally, all else equal,




                1342
                  Alliant Energy Initial Comments at 6; Avangrid Initial Comments at 9;
         Consumer Energy Initial Comments at 5; EEI Initial Comments at 6-7; NERC Initial
         Comments at 26; Google Initial Comments at 20; Idaho Power Initial Comments at 7;
         MISO TOs Initial Comments at 28-29; NARUC Initial Comments at 10; NESCOE Initial
         Comments at 13; North Carolina Commission and Staff Initial Comments at 26; Ohio
         Commission Consumer Advocate Initial Comments at 12; Omaha Public Power Initial
         Comments at 9; Pacific Northwest Utilities Initial Comments at 3, 6; Pennsylvania
         Commission Initial Comments at 14; U.S. Chamber of Commerce Initial Comments at 9;
         UMPA Initial Comments at 5.
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         increasing the size of the generating facility increases the likelihood of larger, more

         costly network upgrades and a greater change in interconnection study inputs.

                However, we are persuaded by several commenters that commercial readiness

         deposits should be based on assigned network upgrade costs.1343 Therefore, we modify

         the remaining commercial readiness deposits (i.e., the second and third commercial

         readiness deposits) such that, rather than relying on multiples of the initial study deposit,

         once estimates of network upgrade costs are available, the commercial readiness deposits

         equate to increasing percentages of the interconnection customer’s identified network

         upgrade cost assignment. Specifically, we adopt a deposit structure where the

         commercial readiness deposit to enter the cluster restudy is the amount required to bring

         the total amount of the interconnection customer’s commercial readiness deposit to 5% of

         the interconnection customer’s network upgrade cost assignment identified in the cluster

         study, and the commercial readiness deposit to enter the facilities study is the amount

         required to bring the total amount of the interconnection customer’s commercial

         readiness deposit to 10% of the interconnection customer’s network upgrade cost

         assignment identified in the cluster study or restudy, as applicable.1344 We find that tying


                1343
                    For assertions that more directly associating commercial readiness deposits to
         the estimated costs and likely impact to other interconnection customers in the case of
         withdrawal would provide greater accountability for interconnection customers and
         transmission providers, see AEE Initial Comments at 24-25; AES Clean Energy Initial
         Comments at 16- 19; CAISO Initial Comments at 23-24; Clean Energy Associations
         Initial Comments at 39; EPSA Initial Comments at 10; Indicated PJM TOs Initial
         Comments at 30-31; Invenergy Initial Comments at 16; MISO Initial Comments at 64-65;
         R Street Initial Comments at 13; Shell Initial Comments at 15-16.
                1344
                       See SEIA Initial Comments at 25 (urging the Commission to set the value of
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         the commercial readiness deposits to the network upgrade cost estimate requires the

         interconnection customer to deposit an amount that corresponds to its network upgrade

         cost estimates earlier and, thereby, can incentivize interconnection customers with large

         network upgrade cost estimates to withdraw at earlier points in the interconnection

         process to the extent the network upgrade cost assignment causes the interconnection

         request to no longer be viable. This approach achieves the Commission’s goals of

         ensuring that interconnection customers are able to interconnect in a reliable, efficient,

         transparent, and timely manner.

                We decline to adopt the non-financial commercial readiness demonstrations

         proposed in the NOPR. We find that the non-financial commercial readiness

         demonstrations are not necessary to address the subject of these reforms—providing

         additional deterrence of speculative, commercially non-viable interconnection requests—

         given the significant, increasing commercial readiness deposits we adopt instead.1345

                We are also persuaded by commenters who express concerns that the non-

         financial commercial readiness demonstrations in the NOPR proposal may not

         necessarily serve as appropriate indicators of a proposed generating facility’s commercial

         viability on a national basis. In some instances, the proposed non-financial commercial




         the commercial readiness deposit as a percentage of the estimated network upgrade
         costs).
                1345
                   See N.Y. v. FERC, 535 U.S. 1, 27 (2002) (declining to require reforms where
         “FERC determined that the remedy it ordered constituted a sufficient response to the
         problems FERC had identified”).
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         readiness demonstrations may be unavailable to interconnection customers with

         commercially viable projects. For example, this may be true as a result of a

         misalignment of the timing between resource procurement decisions and interconnection

         study processes or inconsistency with a relevant local commercial practice, rather than

         because the proposed generating facilities lack commercial viability.

                As commenters note, resource procurement efforts across the country all have

         different timelines, and the timeline to demonstrate commercial readiness proposed in the

         NOPR was not tailored to meet the timelines of multiple state procurement efforts.1346 As

         commenters explain, an interconnection queue position is often a precondition of offering

         into a resource solicitation.1347 We agree that, absent a regionally tailored tariff process

         pursuant to which commercial readiness criteria could be aligned with applicable

         resource solicitation processes, the commercial readiness criteria proposed in the NOPR

         may not be workable in markets where merchant sales are common, and this generally

         applicable final rule is not an appropriate forum to dictate regionally tailored solutions.

                We are further concerned that there may be trade-offs entailed in requiring the

         proposed non-financial commercial readiness demonstrations, which are more

         appropriately assessed on a regional, rather than national basis. We agree with Enel that

         ratepayers may benefit from generating facilities being selected in competitive processes


                1346
                    AEE Initial Comments at 21; SoCal Edison Initial Comments at 7-8; Vistra
         Initial Comments 6-10.
                1347
                    See Cypress Creek Initial Comments at 22-23; NextEra Initial Comments at
         24; Public Interest Organizations Initial Comments at 29.
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         that consider the facilities’ interconnection costs and schedule, which cannot be done if

         off-take arrangements are made prior to applying for interconnection service.

                In addition, we are concerned that the proposed non-financial commercial

         readiness demonstrations could incentivize power purchasers in some regions to execute

         purchase contracts with interconnection customers whose generating facilities will later

         be determined to be commercially non-viable. As commenters note, this could lead to

         purchasers having to start the procurement process over or choose to over-procure as

         insurance against potential contract termination, to the detriment of reliability and cost.

                Therefore, we are persuaded to adopt a framework that requires a commercial

         readiness deposit for all interconnection customers, similar to what the Commission has

         accepted in various RTO/ISO regions.1348 We find that requiring deposits in amounts

         substantial enough to demonstrate commitment to reaching commercial operation at

         progressive milestones throughout the interconnection process will be a sufficient

         deterrent to speculative behavior—especially when considered as part of the

         comprehensive package of reform, including increased site control requirements,

         increased study deposits, and withdrawal penalties, established by this final rule.

                In the NOPR, the Commission acknowledged the potential that certain non-

         financial commercial readiness demonstrations could provide an unduly discriminatory or

         preferential advantage to projects being developed by transmission providers or their



                1348
                  See, e.g., Midcontinent Indep. Sys. Operator, Inc., 158 FERC ¶ 61,003 (2017);
         Sw. Power Pool, Inc., 178 FERC ¶ 61,015 (2022).
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         affiliates.1349 As summarized above, several commenters have raised—and elaborated

         on—those concerns. Because we find that the commercial readiness deposits that we

         adopt in this final rule are sufficient to address the relevant need for reform, and therefore

         do not adopt the proposed non-financial commercial readiness demonstrations, we need

         not further address those concerns in this final rule.

                We recognize that the Commission has previously accepted proposals that include

         commercial readiness demonstration requirements similar to those proposed in the

         NOPR. Although we find that commercial readiness deposits are sufficient to address the

         need for reform in this proceeding, this finding does not preclude transmission providers

         from adopting non-financial commercial readiness demonstrations, provided they meet

         the relevant standards when requesting a variation, as discussed above.

                Some commenters suggest that the Commission could add government and

         environmental permits as commercial readiness demonstrations as an indicator of

         commercial readiness that is viable both for independent power producers and for

         transmission providers and their affiliates.1350 Although the record provides some

         support for this, we are concerned that permits and studies may expire due to the length

         of the interconnection process, and those re-permitting and restudy efforts are still at risk




                1349
                       NOPR, 179 FERC ¶ 61,194 at P 132.
                1350
                     ClearPath Initial Comments at 9; CREA and NewSun Initial Comments at 71;
         Enel Initial Comments at 47; Longroad Energy Initial Comments at 17; Northwest and
         Intermountain Initial Comments at 11; Vistra Initial Comments at 11
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         of rejection or failure, which could lead to late-stage withdrawals.1351 We are also

         concerned about the possible administrative burden placed on transmission providers, as

         they must determine which types of permits should be accepted as commercial readiness

         demonstrations and evaluate the validity of different permits submitted by

         interconnection customers.

                Pattern Energy requests that the Commission clarify whether the commercial

         readiness deposits are additive, meaning that, as each phase of the interconnection

         process is reached, the full amount of each new readiness deposit must be added on top of

         the full amounts of earlier readiness deposits (as opposed to merely increasing the total

         amount of the aggregate readiness deposit to match the level specified for that phase). In

         response, we clarify that, as modified, the commercial readiness deposits in sections 7.5

         and 8.1 of the pro forma LGIP make clear that for the second and third commercial

         readiness deposits, the interconnection customer is only required to submit an additional

         deposit that brings the total commercial readiness deposit to the amount specified in

         sections 7.5 and 8.1 of the pro forma LGIP (5% of the interconnection customer’s

         identified network upgrade cost estimate and 10% of the interconnection customer’s

         identified network upgrade cost estimate, respectively).

                In response to comments on the magnitude of commercial readiness deposits (e.g.,

         too high or too low), we reiterate that the commercial readiness deposits are part of a

         package of reforms meant to deter speculative behavior that also includes site control


                1351
                       Enel Initial Comments at 47.
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         requirements and withdrawal penalties. Thus, the commercial readiness deposits are not

         intended to be of such magnitude to alone prevent speculative behavior as they are

         intended to work together with other reforms adopted in this final rule, such as site

         control and withdrawal penalties. We believe that the deposits should not be so high that

         viable projects from smaller developers are unable to enter the queue. At the same time,

         they will only achieve the aims if they are sufficiently high to serve as some deterrent, in

         concert with the other relevant reforms adopted in this final rule. In response to National

         Grid’s request that the final rule provide for the deduction from a to-be-returned deposit

         of any expenses incurred by the transmission provider or RTO/ISO in administering the

         respective escrow account, we note that Order No. 2003 required the collection of various

         deposits without addressing this type of administrative expense.1352 We find, in this

         instance, that there is no need to deviate from Order No. 2003, and we decline to adopt

         tariff revisions to address the management of an escrow account.

                In response to Pattern Energy’s request for clarification of the commercial

         readiness deposit amounts in the event that an interconnection customer reduces the size

         of a proposed generating facility, we clarify that because the modified commercial

         readiness deposit structure is based on network upgrade cost estimates, a size reduction to

         a proposed generating facility may or may not impact the remaining commercial

         readiness deposits, depending on whether the size reduction reduces the interconnection

         customer’s assigned network upgrade costs. This is consistent with the requirements for


                1352
                       Order No. 2003, 104 FERC ¶ 61,103 at PP 91-92, 100, 101, 218-219.
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         entering the cluster restudy and facilities study adopted in pro forma LGIP sections 7.5

         and 8.1, respectively, which require commercial readiness deposits based on percentages

         of the interconnection customer’s identified network upgrade costs.

                Pattern Energy’s request to require that previous deposits be credited towards

         future deposits based on the portion of those previous deposits that are associated with

         the reduced MW quantity therefore represents the modified commercial readiness deposit

         framework we adopt. Under this modified framework, an interconnection customer’s

         previous commercial readiness deposits are effectively credited when it pays later

         commercial readiness deposits (i.e., the second and third commercial readiness deposits);

         it pays the required amount of a commercial readiness deposit less the amounts paid for

         through earlier commercial readiness deposits.

                We also decline to adopt Bonneville’s suggestion to add the commercial readiness

         provisions to the SGIP because the record does not demonstrate a need for such reform at

         this time. Because we are not adopting the proposed non-financial commercial readiness

         demonstrations, we do not address comments proposing revisions or clarifications to

         those demonstrations. Additionally, several commenters provide additional suggestions

         for the NOPR proposal, including: (1) addressing the Commission’s rules for suspending

         an LGIA;1353 (2) addressing queue priority;1354 and (3) better supporting competitive


                1353
                       Clean Energy Associations Initial Comments at 38; PPL Initial Comments at
         10.
                1354
                 Arizona Commission Initial Comments at 2; Colorado Commission Initial
         Comments at 1-2.
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         procurement processes.1355 We find these comments to be outside the scope of the

         NOPR.

                                   d.      LGIA Deposit

                                           i.    NOPR Proposal

               In the NOPR, the Commission proposed to require interconnection customers to

         submit a deposit equal to nine times the amount of its study deposit when executing the

         LGIA or requesting the filing of an unexecuted LGIA. The Commission explained that

         this deposit would be fully refunded once the generating facility achieves commercial

         operation, but if the interconnection customer withdraws after executing the LGIA or

         after requesting the filing of an unexecuted LGIA, this deposit would be refunded subject

         to the withdrawal penalty.1356 The Commission also sought comment on whether to

         adopt additional provisions or a different framework that would require larger proposed

         generating facilities to provide a higher deposit amount—such as a per MW

         framework.1357

                                           ii.   Comments

               MISO supports the proposal to require interconnection customers to submit a

         deposit equal to nine times the amount of its study deposit at LGIA execution because



               1355
                    Clean Energy Associations Initial Comments at 38; Colorado Commission
         Initial Comments at 1-2, 7, 28.
               1356
                      NOPR, 179 FERC ¶ 61,194 at P 108.
               1357
                      Id. P 110.
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         MISO believes it is necessary to continue the commercial readiness deposit and

         withdrawal penalty framework until the interconnection request achieves commercial

         operation.1358 Shell supports the security deposit obligations used in MISO’s and SPP’s

         generator interconnection processes, which include a deposit at LGIA execution.1359

                Invenergy argues that requiring more security at LGIA execution, in addition to

         the other proposed burdens on interconnection customers in the NOPR, goes beyond the

         goal of disincentivizing speculative interconnection requests to creating potentially

         prohibitive burdens on all interconnection customers, including those with commercially

         viable proposed generating facilities.1360 Invenergy contends that, while a deposit based

         on study costs may make sense in earlier stages of the study process when assigned

         network upgrade costs are not yet known, it is not appropriate after an LGIA is executed

         and assigned network upgrade costs are known and memorialized. ACE-NY and AES

         oppose any additional deposits due from an interconnection customer at the signing of the

         LGIA that are not tied to network upgrade costs.1361 AES asserts that in many

         RTOs/ISOs, interconnection customers have to post security for a portion, if not all, of

         the assigned network upgrade costs associated with an interconnection request, and such




                1358
                       MISO Initial Comments at 51.
                1359
                       Shell Initial Comments at 19.
                1360
                       Invenergy Initial Comments at 6.
                1361
                       ACE-NY Initial Comments at 5; AES Initial Comments at 14.
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         posted security is a sufficient incentive to keep an interconnection customer engaged so

         that they will complete a generating facility after the LGIA is executed.1362

                Several commenters argue that the Commission’s LGIA deposit proposal is

         excessive and potentially exposes ratepayers to unjust and unreasonable costs.1363 Ørsted

         would support a lower amount, such as two times the study deposit, because it believes

         that the current proposal would not necessarily accurately estimate the costs of required

         network upgrades.1364 PJM contends that the Commission should allow transmission

         providers to adopt security amounts and structures that are rationally related to relevant

         costs.1365 Cypress Creek asks the Commission to provide a non-arbitrary basis for its

         proposed security deposit of nine times the study deposit.1366 Shell argues that the LGIA

         deposit appears to be a security deposit and adds that MISO and SPP use a separate

         security deposit obligation that the Commission should consider.1367

                Several commenters argue that study deposits should be refunded in certain

         circumstances.1368 Invenergy argues that any deposit due at LGIA execution should be


                1362
                       AES Initial Comments at 14.
                1363
                 Id.; Clean Energy Associations Initial Comments at 30; ENGIE Initial
         Comments at 4; Ørsted Initial Comments at 9; PJM Initial Comments at 24; Shell Reply
         Comments at 22.
                1364
                       Ørsted Initial Comments at 9.
                1365
                       PJM Initial Comments at 24.
                1366
                       Cypress Creek Initial Comments at 53.
                1367
                       Shell Initial Comments at 19.
                1368
                       AES Initial Comments at 14; Invenergy Initial Comments at 7; Ørsted Initial
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         subject to a $2 million cap and that deposit should be released dollar for dollar as the

         interconnection customer posts security or makes required payments under the LGIA.1369

         Invenergy asks that the Commission also clarify that, in the event a proposed generating

         facility does not achieve commercial operation, any deposit forfeited under this proposal

         offsets, and is not in addition to, any withdrawal penalties that may be imposed.

         Invenergy adds that it is unreasonable to require that additional deposits be provided

         when an interconnection customer asks that the LGIA be filed unexecuted, and if the

         Commission does nonetheless require interconnection customers to post the deposit as a

         condition of having the LGIA filed unexecuted, the deposit should be refundable if the

         interconnection customer elects to withdraw within 30 days of the date of the

         Commission’s order in the applicable docket. Ørsted and Shell assert that, for

         interconnection customers withdrawing after executing the LGIA, all deposits should be

         refunded in the event that the interconnection customer withdraws as a result of

         circumstances outside of its control and the withdrawal does not harm any other

         entity.1370 AES argues that all study deposits should be refunded at the time of LGIA

         execution, and opposes any additional deposits not tied to network upgrade costs.1371




         Comments at 10; Shell Reply Comments at 23.
                1369
                       Invenergy Initial Comments at 7-8.
                1370
                       Ørsted Initial Comments at 10; Shell Reply Comments at 23.
                1371
                       AES Initial Comments at 14.
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                Southern, on the other hand, argues that making deposits refundable may not be

         stringent enough and therefore may not accomplish the goals set forth in the NOPR.1372

         NRECA also believes that the Commission should consider whether to make these study

         deposits non-refundable in the case of withdrawal, as a further disincentive for

         speculative interconnection requests to enter the interconnection queue.1373

                                       iii.   Commission Determination

                We adopt, with modification, the NOPR proposal to revise new section 11.3 of the

         pro forma LGIP to require interconnection customers to submit a deposit when executing

         the LGIA, or requesting the filing of an unexecuted LGIA,and add the new term “LGIA

         deposit” to section 1 of the pro forma LGIP.1374 Specifically, we modify the NOPR

         proposal to require interconnection customers to provide a deposit that will increase the

         total commercial readiness deposit paid to be equal to 20% of the estimated network

         upgrade costs identified in the LGIA, rather than providing a deposit equal to nine times

         the amount of the interconnection customer’s study deposit, as proposed in the NOPR.1375




                1372
                       Southern Initial Comments at 8-9.
                1373
                       NRECA Initial Comments at 26.
                1374
                    LGIA deposit shall “mean the deposit Interconnection Customer submits when
         returning the executed LGIA, or within 10 Business Days of the LGIA being filed
         unexecuted at the Commission, in accordance with Section 11.3 of this LGIP.”
                1375
                   At LGIA execution or at the time the request is made to file the unexecuted
         LGIA, the interconnection customer must deposit the difference between its total
         commercial readiness deposits submitted at that point and 20% of its estimated network
         upgrade cost responsibility.
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         Additionally, revised section 11.3 of the pro forma LGIP requires that interconnection

         customers submit the LGIA deposit when returning the executed LGIA to the

         transmission provider, or within 10 business days of the interconnection customer

         requesting that the LGIA be filed unexecuted at the Commission.

               In the NOPR, the Commission sought comment on whether to adopt additional

         provisions or a different framework for deposits, including the LGIA deposit.1376 In

         response, commenters provided suggestions, including suggestions to base deposits on

         network upgrade costs.1377 We agree that tying the LGIA deposit to the network upgrade

         cost estimate sends a more accurate cost signal to the interconnection customer and better

         aligns the LGIA deposit to its function of ensuring that network upgrades are paid for and

         constructed than the NOPR proposal. We also agree with commenters that a deposit

         based on the study deposit amount may make sense in the early stage of the cluster study

         process when assigned network upgrade costs are not yet estimated, but later in the

         process, when network upgrade cost estimates are available, the use of percentages of

         network upgrade cost estimates more closely indicates interconnection request

         viability.1378 This approach also addresses comments that the LGIA deposit, as proposed,

         may have been arbitrary, excessive, and unreasonable.1379


               1376
                      NOPR, 179 FERC ¶ 61,194 at P 110.
               1377
                      See, e.g., Longroad Reply Comments at 13; PJM Initial Comments at 24.
               1378
                    ACE-NY Initial Comments at 5; AES Initial Comments at 14; Invenergy
         Initial Comments at 6.
               1379
                      AES Initial Comments at 14; Clean Energy Associations Initial Comments at
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                The NOPR proposed that this deposit would be fully refunded once the generating

         facility achieves commercial operation, but we are modifying the NOPR proposal to

         remove that statement from pro forma LGIP section 11.3, and as explained further below,

         this deposit will be used as part of the security the interconnection customer must provide

         for the construction of network upgrades and transmission provider’s interconnection

         facilities. However, this LGIA deposit could be refunded, subject to the withdrawal

         penalty, if the interconnection customer withdraws after executing the LGIA or after

         requesting the filing of an unexecuted LGIA.

                We also revise the pro forma LGIP and pro forma LGIA, as suggested by

         Invenergy,1380 to treat the LGIA deposit as part of the security the interconnection

         customer must provide for the construction of network upgrades and transmission

         provider’s interconnection facilities. Article 11.5 (Provision of Security) of the pro

         forma LGIA requires that, 30 calendar days prior to the commencement of construction

         under its LGIA, the interconnection customer must provide security for a discrete portion

         of network upgrades and transmission provider’s interconnection facilities, as specified in

         its LGIA. We revise section 11.3 of the pro forma LGIP and article 11.5 of the pro

         forma LGIA to require the transmission provider to use the LGIA deposit, in its entirety,

         before requiring the interconnection customer to submit additional security for




         30; ENGIE Initial Comments at 4; Ørsted Initial Comments at 9; PJM Initial Comments
         at 24; Shell Reply Comments at 22.
                1380
                       Invenergy Initial Comments at 7.
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         construction of network upgrades and transmission provider’s interconnection facilities.

         By allowing the transmission provider to draw down this LGIA deposit as construction

         proceeds, the construction of network upgrades and transmission provider’s

         interconnection facilities can commence quickly thereby streamlining the interconnection

         process. With this revision, requiring the LGIA deposit to be returned at commercial

         operation is now unnecessary as there will be no deposit remaining to return; therefore,

         we decline to adopt the NOPR proposal to do so.1381

                We also revise article 11.5 of the pro forma LGIA to require transmission

         providers to draft Appendix B (Milestones) of the interconnection customer’s LGIA to

         clearly explain and estimate at which point of construction the interconnection

         customer’s LGIA deposit will be depleted, and the interconnection customer must

         provide additional financial security. In the event the interconnection customer requests

         suspension of the LGIA under article 5.16 of its LGIA prior to the commencement of

         construction, the transmission provider is prohibited from using the LGIA deposit to

         commence construction until the interconnection customer requests to exit suspension

         and resume construction, unless there is a need for the transmission provider to use a

         portion of the LGIA deposit to ensure its system is left in a reliable condition during the

         period of suspension.

                We do not adopt the suggestion of Ørsted and Shell that, for interconnection

         customers withdrawing their interconnection requests after executing an LGIA, all


                1381
                       NOPR, 179 FERC ¶ 61,194 at P 108.
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         deposits should be refunded if withdrawal is the result of circumstances outside the

         interconnection customer’s control and the withdrawal does not harm other entities.1382

         We believe that the exceptions to the application of withdrawal penalties discussed in the

         Section III.A.6.e below appropriately balance the need to deter withdrawals with the

         reality that withdrawal is not always due to circumstances within interconnection

         customers’ control.

                In response to Southern’s comments that making both study and LGIA deposits

         refundable may not be stringent enough and therefore may not disincentivize speculative

         interconnection requests,1383 we reiterate that, as adopted, the deposits serve different

         functions. In this instance, the LGIA deposit serves as a credit towards the security the

         interconnection customer must provide for network upgrades and transmission provider’s

         interconnection facilities. To the extent the LGIA deposit pays for the construction of

         network upgrades, such a deposit would be refunded through transmission credits in

         regions that follow the pro forma LGIA provisions on crediting.

                                e.      Withdrawal Penalties

                                        i.    NOPR Proposal

                The Commission preliminarily found that withdrawal penalties are needed to

         account for the harms that can occur when interconnection customers withdraw from the




                1382
                       See Ørsted Initial Comments at 10; Shell Reply Comments at 23.
                1383
                       Southern Initial Comments at 8-9.
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         interconnection queue.1384 The Commission proposed to revise the pro forma LGIP to

         require transmission providers to assess withdrawal penalties to interconnection

         customers in certain circumstances. Specifically, the Commission proposed to revise the

         pro forma LGIP to require transmission providers to assess withdrawal penalties to

         interconnection customers that choose to withdraw at any point in the interconnection

         process or do not otherwise reach commercial operation, unless: (1) the withdrawal does

         not delay the timing of other proposed generating facilities in the same cluster; (2) the

         withdrawal does not increase the cost of network upgrades for other proposed generating

         facilities in the same cluster; (3) the interconnection customer withdraws after receiving

         the most recent cluster study report and the costs assigned to the interconnection

         customer have increased 25% compared to the previous cluster study report; or (4) the

         interconnection customer withdraws after receiving the individual facilities study report

         and the costs assigned to the interconnection customer have increased by more than

         100% compared to costs identified in the cluster study report.1385 Thus, the Commission

         proposed that interconnection customers would be exempt from a withdrawal penalty if

         the withdrawal does not harm other interconnection customers or if the withdrawal

         follows a significant unanticipated increase in network upgrade cost estimates.

                The Commission proposed that the withdrawal penalty would increase as the

         interconnection customer moves through the study process and would also increase if an


                1384
                       NOPR, 179 FERC ¶ 61,194 at P 140.
                1385
                       Id. P 141.
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         interconnection customer provides a commercial readiness deposit in lieu of a

         demonstration of commercial readiness.1386 For an interconnection customer that

         provides a commercial readiness deposit in lieu of a demonstration of commercial

         readiness, the Commission proposed that its withdrawal penalty would be higher and

         increase as the interconnection customer progresses in the interconnection process.

                The Commission proposed that the withdrawal penalty for an interconnection

         customer that provides a commercial readiness deposit in lieu of a demonstration of

         commercial readiness will be the greater of the study deposit or: (1) two times the study

         cost if the customer withdraws during the cluster study or after receipt of a cluster study

         report, capped at $1 million; (2) three times the study cost if the customer withdraws

         during the cluster restudy or after receipt of any applicable restudy reports, capped at

         $1.5 million; (3) five times the study cost if the customer withdraws during the facilities

         study, after receipt of the individual facilities study report, or after receipt of the draft

         LGIA, capped at $2 million; or (4) nine times the study costs if the customer withdraws

         before achieving commercial operation and after executing the LGIA or filing an

         unexecuted LGIA.1387 The Commission also proposed that the withdrawal penalty

         revenues be used to fund studies conducted under the cluster study process.



                1386
                    Id. P 142 (citing May Joint Task Force Tr. 75:23-76:1 (Kimberly Duffley) (“I
         think one of the best practices of the new system that [Duke Energy Progress and Duke
         Energy Carolinas] have implemented is the increase of withdrawal penalties as the
         interconnection moves through the process.”)).
                1387
                       Id. P 143.
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                The table below summarizes the proposed withdrawal penalty structure for both

         interconnection requests that have demonstrated commercial readiness and those that

         have not (by instead submitting a deposit in lieu of demonstrating commercial

         readiness).1388

                       Phase of   Commercial         Total Withdrawal       Withdrawal
                       Withdrawal Readiness          Penalty (if greater    Penalty Cap
                                  Demonstration      than study
                                  Provided?          deposit)

                       1             Yes             1 times study costs    No Cap

                       2             Yes             1 times study costs    No Cap

                       3             Yes             1 times study costs    No Cap

                       LGIA          Yes             9 times study costs    No Cap

                       1             No              2 times study costs    $1 million

                       2             No              3 times study costs    $1.5 million

                       3             No              5 times study costs    $2 million

                       LGIA          No              9 times study costs    No Cap



                The Commission also proposed to add the defined term “withdrawal penalty” to

         the pro forma LGIP.1389 The Commission sought comment on: (1) how to define the

         circumstances in which a withdrawal is deemed to have delayed the timing or increased

         the cost of network upgrades for other proposed generating facilities in the same cluster,



                1388
                       Id. P 144.
                1389
                       Id. P 145.
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         including what criteria should be used to determine whether the withdrawal caused the

         delay or increased cost, and whether to establish a threshold for when a delay or increase

         in cost will trigger a withdrawal penalty (and if so, what that threshold should be);

         (2) whether the Commission should consider exceptions to the proposed withdrawal

         penalties beyond those proposed in the NOPR; (3) whether withdrawal penalties that

         increase with proposed generating facility size (as measured by MW) would more

         effectively deter withdrawals that cause the greatest harm; and (4) whether a correlation

         exists between the size of a withdrawing proposed generating facility and the relative

         level of harm (in terms of delays and increased cost) to other interconnection customers

         as a result of the withdrawal.1390

                                         ii.   Comments

                                               (a)   Comments in Support

                Multiple commenters generally support the Commission’s proposed withdrawal

         penalties and view the proposal as appropriate to reduce the volume of speculative

         interconnection requests.1391 Environmental Defense Fund states that, if adopted with


                1390
                       Id. PP 145-148.
                1391
                     ACE-NY Initial Comments at 7; Ameren Initial Comments at 18; APPA-
         LPPC Initial Comments at 17-18; APS Initial Comments at 15; CAISO Initial Comments
         at 21; Consumers Energy Initial Comments at 5; Dominion Initial Comments at 33;
         MISO Initial Comments at 66; NARUC Initial Comments at 10; National Grid Initial
         Comments at 26; NextEra Initial Comments at 6; NRECA Initial Comments at 9; NV
         Energy Initial Comments at 6; NYTOs Initial Comments at 20-21; Omaha Public Power
         Initial Comments at 9; PPL Initial Comments at 17; SoCal Edison Initial Comments at
         10; U.S. Chamber of Commerce Initial Comments at 9; UMPA Initial Comments at 3-5;
         Vistra Initial Comments at 6-7.
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         certain of the other NOPR proposals, the Commission’s proposed withdrawal penalties

         are appropriate to address the delays and costs caused by speculative interconnection

         requests.1392 Eversource states that properly calibrated withdrawal penalties are essential

         to dissuade withdrawals and reduce study process delays.1393

                MISO supports the Commission’s proposal to impose a withdrawal penalty on

         withdrawing interconnection customers, a penalty that MISO suggests should be secured

         by the commercial readiness deposit.1394 That said, MISO asserts that the study cost for

         interconnection requests is not that substantial, and MISO does not believe that paying a

         withdrawal penalty in the amount of only the study costs would be a sufficient deterrent

         to prevent speculative interconnection requests from entering or remaining in the

         interconnection queue.

                                             (b)    Comments in Opposition

                Many commenters oppose the withdrawal penalty proposal.1395 CREA and

         NewSun encourage instead better cost certainty for interconnection customers earlier in




                1392
                       Environmental Defense Fund Initial Comments at 4.
                1393
                       Eversource Initial Comments at 18.
                1394
                       MISO Initial Comments at 66-67.
                1395
                   CREA and NewSun Initial Comments at 74-77; ENGIE Initial Comments at 6;
         Hydropower Commenters Initial Comments at 26; Interwest Initial Comments at 21;
         Northwest and Intermountain Initial Comments at 12; New York State Department Initial
         Comments at 11; Pacific Northwest Organizations Initial Comments at 3-4; rPlus Initial
         Comments at 5; R Street Initial Comments at 12; SEIA Initial Comments at 25-27; SEIA
         Reply Comments at 10-11; Shell Initial Comments at 25.
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         the study process.1396 CREA and NewSun suggest that the Commission incorrectly

         assumes that the interconnection customer has adequate visibility into likely

         interconnection costs, and thus the financial viability of its proposed generating facility

         before entering the interconnection queue and becoming liable for these penalties. CREA

         and NewSun state that the NOPR provides no realistic path to know likely

         interconnection costs prior to entering the interconnection queue.1397

                ENGIE does not support the implementation of withdrawal penalties and notes

         that withdrawal penalties without meaningful opportunity for interconnection customers

         to exit the interconnection process are unlikely to incentivize withdrawal.1398 New York

         State Department is skeptical that a withdrawal penalty program will be beneficial to

         ratepayers.1399

                Pacific Northwest Organizations claim that, without access to interconnection cost

         information and with larger withdrawal penalties, independent power producers may be

         discouraged from entering the interconnection queue.1400 Some commenters claim that

         withdrawal penalties (including in a transitional cluster study process) can result in the




                1396
                       CREA and NewSun Initial Comments at 74, 77.
                1397
                       Id. at 76.
                1398
                       ENGIE Initial Comments at 6.
                1399
                       New York State Department Initial Comments at 11.
                1400
                       Pacific Northwest Organizations Initial Comments at 3-4.
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         potential for discrimination against independent power producers.1401 These commenters

         assert that LSEs can recover withdrawal penalties they incur from their retail ratepayers,

         whereas independent power producers must absorb these costs and risks in their

         solicitation process bids. Interwest also suggests that the proposed withdrawal penalties

         are less likely to apply to LSEs than to independent power producers because LSEs will

         likely be able to use the proposed commercial readiness demonstration path, as opposed

         to paying the deposits in lieu of demonstrating commercial readiness, and would thus not

         be subject to the harsher withdrawal penalties.1402 Interwest urges the Commission to

         require waiver of, or a substantial reduction in, withdrawal penalties from the transition

         cluster or resource solicitation cluster if the interconnection customer participated in an

         RFP or other competitive solicitation process but was not ultimately selected, or if a

         permit becomes unavailable due to some regulatory or regime change.1403

                R Street claims that the proposal risks imposing severe anti-competitive barriers to

         entry.1404 New York State Department makes similar anti-competitive impact

         arguments.1405 R Street asserts that imposing financial commitments and readiness




                1401
                 Interwest Initial Comments at 21; Northwest and Intermountain Initial
         Comments at 12.
                1402
                       Interwest Reply Comments at 13-14.
                1403
                       Interwest Initial Comments at 21.
                1404
                       R Street Initial Comments at 12.
                1405
                       New York State Department Initial Comments at 11.
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         requirements can create regulatory barriers to entry if they deter interconnection requests

         for commercially viable generating facilities or increase financing costs.1406 R Street

         argues that the proposal is misguided because it would add another administrative process

         that increases implementation complications and costs.1407 R Street suggests that the

         Commission should instead use a simple loss of deposit as its financial lever.

                rPlus argues that withdrawal penalties, particularly when coupled with the

         proposed study deposit requirements and study cost allocations, are unduly

         discriminatory or punitive to pumped storage as compared to other renewable

         technologies.1408 rPlus and Hydropower Commenters claim that, under these proposals, a

         large capacity pumped storage project (ranging from 400 MW to over 1,000 MW in size,

         according to rPlus) would expect to hit the maximum deposit and/or penalty in every

         stage of the interconnection process.1409 rPlus claims that the high cost of entry and the

         liability associated with withdrawal may give large utilities an unfair advantage in

         commercial negotiations.1410

                Shell calls for a reconsideration of the withdrawal penalties proposed in the

         NOPR, claiming that the proposal could disrupt project development when paired with



                1406
                       R Street Initial Comments at 12.
                1407
                       Id. at 14.
                1408
                       rPlus Initial Comments at 5.
                1409
                       Id.; Hydropower Commenters Initial Comments at 26.
                1410
                       rPlus Initial Comments at 5.
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         the proposed commercial readiness requirements and financial commitments (for deposits

         and site control).1411 Shell suggests that the Commission adopt withdrawal penalties

         modeled on MISO’s framework, which encourages interconnection customers to

         withdraw from the interconnection queue with refunded deposits rather than penalizing

         interconnection customers for making justifiable decisions. Shell contends that there

         should only be a large penalty for late-stage withdrawals.1412 Shell contends that,

         otherwise, the Commission is sending the wrong signal and driving out competition

         without linking the underlying issue of unexpected network upgrade costs that typically

         come from affected system studies that are provided very late in the study process.

                Some commenters contend that increasing the amount of money at stake for an

         interconnection customer without providing off-ramps from the interconnection process

         at reasonable decision points where previously unavailable information is supplied does

         not necessarily incentivize interconnection customers to exit the interconnection

         queue.1413 CREA and NewSun suggest that the proposed withdrawal penalties may

         incentivize an interconnection customer to remain in the interconnection queue waiting

         for other interconnection customers to withdraw, and the penalty those interconnection

         customers pay will eventually be distributed to the remaining interconnection customers



                1411
                       Shell Initial Comments at 9, 24; Shell Reply Comments at 26.
                1412
                       Shell Initial Comments at 25.
                1413
                  CREA and NewSun Initial Comments at 76; SEIA Initial Comments at 25-27;
         SEIA Reply Comments at 10-11.
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         in the cluster, or interconnection customers may elect to remain in the interconnection

         queue in the hopes that others in the cluster withdraw to the point where the cost of

         network upgrades become more palatable.1414

                                              (c)    Comments on Specific Proposal

                                                     (1)   Withdrawal Penalty Amounts

                Several commenters oppose the proposed withdrawal penalty amounts.1415 AEE

         argues that the Commission’s proposed withdrawal penalty amounts are overly punitive,

         especially for those interconnection customers that submit a deposit in lieu of

         demonstrating commercial readiness, which many interconnection customers will be

         forced to do under the Commission’s proposed commercial readiness requirements.1416

         AEE and Clean Energy Associations assert that the Commission’s proposed withdrawal

         penalty amounts also appear arbitrary, with no basis in the costs of conducting studies or

         other relevant factors.1417 AEE argues that the Commission should reduce these amounts

         and tie them more closely to its objectives and to the study costs that transmission

         providers are expected to incur, which it asserts will avoid turning the penalties into a




                1414
                       CREA and NewSun Initial Comments at 76.
                1415
                    AEE Initial Comments at 19; CREA and NewSun Initial Comments at 75;
         Interwest Initial Comments at 22.
                1416
                       AEE Initial Comments at 19.
                1417
                       Id.; Clean Energy Associations Initial Comments at 41.
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         punitive measure that provides a profit opportunity for transmission providers.1418 AEE

         contends that the withdrawal penalty frameworks and time frames should be designed to

         discipline the decisions of interconnection customers rather than being punitive. Google

         does not support the proposal to impose higher withdrawal penalties on interconnection

         customers that submit a deposit in lieu of demonstrating commercial readiness.1419

                Interwest argues that some of the proposed withdrawal penalties—those in the

         range of five to nine times the study costs—far exceed reasonableness, especially in the

         face of the potential for a myriad of ways in which an LSE can bias the bid review

         process and slow the cluster study process under existing rules without stringent

         oversight.1420 Interwest argues that the NOPR does not sufficiently acknowledge the

         need to reform study processes to prevent inaccurate studies, which create widely

         different results from one study to another.1421 Interwest suggests that these inaccurate

         studies, along with delayed affected system study results, lead to withdrawals,

         strengthening the case that withdrawal penalties should not increase dramatically toward

         the end of the study process and around execution of an LGIA without appropriate

         recourse for the interconnection customer. Interwest argues that a 25% increase in study

         costs from one study to another should be a sufficient basis for withdrawal without



                1418
                       AEE Initial Comments at 19-20.
                1419
                       Google Initial Comments at 21.
                1420
                       Interwest Initial Comments at 22.
                1421
                       Interwest Reply Comments at 13-14.
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         incurring withdrawal penalties, as part of a tariff with incentives for transmission

         providers to provide accurate estimates of network upgrade costs. Interwest argues that,

         for these reasons, withdrawal penalties are redundant and punitive when combined with

         increasingly large at-risk deposits as proof of commercial readiness.

                SDG&E asserts that a withdrawal penalty of nine times the study deposit amount

         will provide a disincentive for late-stage withdrawals in certain cases, but that a penalty

         alone should not be relied on in lieu of other financial security mechanisms.1422 SDG&E

         maintains that a more reasonable amount for a withdrawal penalty may be the greater of

         nine times the study deposit and a CAISO-style financial security posting that is based on

         factors such as network upgrade and interconnection facilities costs.

                Some commenters argue that the Commission should adopt the RTO/ISO model

         of financial readiness milestones that are tied to network upgrade costs.1423 Clean Energy

         Associations submit that tying deposits and penalties to network upgrade costs allocated

         to the interconnection customer is superior because network upgrade costs are a better

         indicator of the harm that may be caused by a withdrawal than generating facility size.1424

                AES contends that tying the withdrawal penalty to the percentage of network

         upgrade deposit at risk provides a better incentive for interconnection customers with


                1422
                       SDG&E Initial Comments at 6.
                1423
                    ACE-NY Initial Comments at 8; AES Initial Comments at 19; AES Reply
         Comments at 3-6; Enel Initial Comments at 4; Invenergy Initial Comments at 24; Pine
         Gate Initial Comments at 34.
                1424
                       Clean Energy Associations Initial Comments at 41.
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         proposed generating facilities with high network upgrade costs to withdraw earlier in the

         interconnection process, rather than risk losing their posted security.1425 Invenergy

         suggests that any withdrawal penalty imposed after LGIA execution should be tied to

         assigned network upgrade costs and should be subject to a $2 million cap to avoid

         unnecessarily punitive penalties, as the LGIA may impose additional financial

         obligations for construction of the assigned upgrades.1426 CAISO argues that network

         upgrade-based financial requirements are far more effective than the withdrawal penalties

         proposed in the NOPR because network upgrade-based requirements are tied to the

         project’s actual interconnection costs, which correlate with its competitiveness to obtain a

         power purchase agreement and therefore its likelihood to remain in the queue.1427

                NYISO argues that the withdrawal penalty amounts proposed in the NOPR, which

         are tied to study costs, are unlikely to provide sufficient capital to cover the costs of

         constructing the network upgrades of withdrawn generating facilities on which other

         interconnection customers are relying.1428 SoCal Edison suggests that, instead of using

         study costs as the basis for the withdrawal penalty amount, which would not be known

         until completion of the interconnection studies, the Commission should require that




                1425
                       AES Initial Comments at 19.
                1426
                       Invenergy Initial Comments at 24.
                1427
                       CAISO Initial Comments at 23.
                1428
                       NYISO Initial Comments at 25.
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         withdrawal penalties be calculated based on increasing multiples of the study deposits,

         which are known and serve as a proxy of the study costs.1429

                                                      (2)   Proposed Withdrawal Penalty
                                                            Exemptions


                Some commenters support the NOPR proposal to exempt interconnection

         customers from withdrawal penalties in certain instances, stating that the proposal

         achieves a workable balance between the needs of interconnection customers and

         transmission providers.1430 For example, MISO agrees that interconnection requests that

         experience significant cost increases should be able to withdraw without a penalty.1431

         Omaha Public Power states that the four scenarios proposed in the NOPR for

         interconnection customers to qualify for exemptions to withdrawal penalties seem to

         properly acknowledge instances where other interconnection customers are not

         negatively impacted by a withdrawal, or when it is no longer economically viable for the

         interconnection customer to move forward with the generating facility due to drastically

         increased network upgrade costs.1432

                On the other hand, SEIA contends that, although the NOPR proposal exempts

         interconnection customers from withdrawal penalties if there is no impact to other


                1429
                       SoCal Edison Initial Comments at 10.
                1430
                       MISO Initial Comments at 68; Omaha Public Power Initial Comments at 9-10.
                1431
                       MISO Initial Comments at 68.
                1432
                       Omaha Public Power Initial Comments at 9-10.
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         generating facilities in the same cluster, withdrawals almost always impact other

         generating facilities in the cluster, such that withdrawal penalties are likely

         unavoidable.1433 Pine Gate states that the proposed list of withdrawal penalty exemptions

         is not reflective of an appropriate balance between interconnection customer and

         transmission provider accountability because it increases the burden on interconnection

         customers without any increase to accountability for transmission providers.1434 Pattern

         Energy disagrees with a standard tied to a potential delay of a lower-queued

         interconnection customer, given the Commission’s proposed transition to a cluster study

         approach.1435 Pattern Energy contends that the only impact that should be relevant to

         granting an exemption is a financial impact.

                NRECA supports including the 100% cost increase exemption in the final rule,

         which would apply where there is a large late-stage cost increase, making the

         interconnection request’s success economically challenging.1436 Pattern Energy, on the

         other hand, claims that the Commission’s proposal incentivizes transmission providers to

         overestimate costs in cluster studies for fear that there will be later, unexpected cost

         increases in the facilities study, which Pattern Energy argues presents a barrier to




                1433
                       SEIA Initial Comments at 26.
                1434
                       Pine Gate Initial Comments at 34.
                1435
                       Pattern Energy Initial Comments at 33.
                1436
                       NRECA Initial Comments at 30.
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         entry.1437 Pine Gate also claims that requiring a 100% increase in costs between the

         facilities study phase and the previous cluster study phase in order to allow for penalty-

         free withdrawal exposes interconnection customers to withdrawal penalties in instances

         where costs increase dramatically due to no fault of the interconnection customer.1438

         Several commenters recommend that the Commission ensure that any penalties for

         withdrawal account for unanticipated cost increases.1439




                1437
                       Pattern Energy Initial Comments at 34.
                1438
                       Pine Gate Initial Comments at 35.
                1439
                     Clean Energy Associations Initial Comments at 40 (arguing that the
         Commission should allow interconnection customers to withdraw without penalty if costs
         in a restudy increase by over 25% relative to prior study results); CREA and NewSun
         Initial Comments at 78 (suggesting that withdrawal penalties should not apply anytime an
         interconnection customer withdraws after receipt of a system impact study, facilities
         study, or restudy that contains a 25% cost increase over the prior study or a 50%
         cumulative increase over the initial study); ENGIE Initial Comments at 7; Invenergy
         Initial Comments at 25 (arguing that the Commission should allow interconnection
         customers to withdraw without penalty if affected system study results cause an
         interconnection customer’s costs to increase by more than 25% compared to costs
         allocated to it by the host transmission provider in a prior study); Longroad Energy Initial
         Comments at 18 (recommending that the Commission reduce the penalty exemption
         threshold to a cost-increase of only 20% from the initial cluster study to the restudy and a
         cost increase of only 10% from the final restudy to the individual cluster facilities study);
         NextEra Initial Comments at 26 (suggesting that a more reasonable withdrawal penalty
         exemption threshold for cost increases for late-stage withdrawals would be in the range
         of 30%); Ørsted Initial Comments at 15 (arguing that the Commission should allow
         interconnection customers to withdraw without penalty if costs in a restudy increase by
         over 25% relative to prior study results); Pattern Energy Initial Comments at 33
         (suggesting that, if costs increase by 15% from the first to the second study report, but a
         restudy results in an additional 20% increase compared to the second study report, then
         the total increase from the first study report to the restudy report would be 35%, and this
         total additive percentage increase should be deemed sufficient to constitute an excusable
         withdrawal event); Pine Gate Initial Comments at 35.
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                Xcel recommends that the Commission allow an interconnection request,

         submitted by a resource planning entity as agent for an interconnection customer, that is

         withdrawn by the resource planning entity because it was not picked in a resource

         solicitation process, to be exempt from withdrawal penalties, as the withdrawal was due

         to no fault of the interconnection customer.1440 Xcel states that, other than this

         exemption, the Commission should not expand the exemptions from withdrawal penalties

         beyond those proposed in the NOPR.

                NextEra and Northwest and Intermountain argue that interconnection customers

         should be exempt from withdrawal penalties if the transmission provider’s or affected

         system operator’s studies or posted information are untimely.1441

                NextEra contends that the NOPR does not explain why there are different

         withdrawal penalty levels for interconnection customers demonstrating commercial

         readiness via the proposed non-financial demonstration options and those submitting a

         deposit in lieu of demonstrating commercial readiness.1442

                Several commenters argue that the proposed exemptions require clarification.1443

         For one, CAISO claims that the exemption criteria, as written in the NOPR, are not



                1440
                       Xcel Initial Comments at 35.
                1441
                 NextEra Initial Comments at 26; Northwest and Intermountain Initial
         Comments at 13.
                1442
                       NextEra Initial Comments at 27.
                1443
                 CAISO Initial Comments at 21-22; Environmental Defense Fund Initial
         Comments at 4-5; EEI Initial Comments at 8; EEI Reply Comments at 6-7; Eversource
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         workable.1444 CAISO argues that the Commission’s description of the exemptions is

         problematic due to the use of “or,” which suggests meeting any criterion would relieve

         the interconnection customer of withdrawal penalties. CAISO posits that, under the

         Commission’s criteria, a withdrawal could not affect the timing of other generating

         facilities but still increase their costs; however, the interconnection customer would meet

         the first exemption and not be subject to withdrawal penalties. CAISO argues that

         withdrawals would never delay the timing of generating facilities in the same cluster.

         CAISO states that a cluster’s upgrades are a package, and the construction schedule

         would not change simply because one interconnection customer that is sharing upgrades

         withdraws. CAISO suggests that the Commission clarify that, to be exempt from

         withdrawal penalties, each interconnection customer must meet (1) both criterion one and

         two, and (2) criterion three or four.

                Invenergy proposes that the list of exemptions to withdrawal penalties be revised

         to include: (1) the withdrawal does not directly cause material delays in the timing of

         other interconnection requests within the same cluster, as determined at the time of

         withdrawal by the transmission provider; or (2) the withdrawal does not directly cause a

         material increase in the costs assigned to other interconnection requests within the same

         cluster, as determined at the time of withdrawal by the transmission provider.




         Initial Comments at 19; Shell Reply Comments at 27.
                1444
                       CAISO Initial Comments at 21-22.
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                Omaha Public Power contends that the exemption to withdrawal penalties cannot

         be applied to the interconnection process as it currently functions for those transmission

         providers that allow for overlapping studies (e.g., when a cluster study is being studied

         prior to the conclusion of the preceding cluster study).1445 Omaha Public Power claims

         that overlapping studies lead to baseline costs in the subsequent cluster studies that are

         inherently wrong and do not factor in the previously existing unfinished cluster studies.

         Omaha Public Power claims that this inaccurate starting point for costs is likely higher

         than what is accurate, and any subsequent restudy will likely lead to identification of

         network upgrades that fall below the exemption threshold, subjecting interconnection

         customers to wrongful withdrawal penalties. Omaha Public Power argues that, until an

         interconnection process can be conducted without overlapping studies, these exemptions

         will be woefully misapplied. Southern raises similar concerns.1446

                Yet other commenters believe that the NOPR proposal is too lenient.1447 NRECA

         suggests that transmission providers should be afforded flexibility whether to adopt

         exemptions to withdrawal penalties related to: (1) not delaying the timing of other

         interconnection requests in the same cluster; (2) not increasing the cost of network

         upgrades for other interconnection requests in the same cluster; and (3) withdrawing if

         the most recent cluster study report shows a cost increase of at least 25% compared to the


                1445
                       Omaha Public Power Initial Comments at 10.
                1446
                       Southern Initial Comments at 21-22.
                1447
                       NRECA Initial Comments at 30; SDG&E Initial Comments at 6-7.
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         previous cluster study report.1448 NRECA asserts that these exemptions may or may not

         be needed for a particular transmission provider and potentially may allow withdrawals

         that trigger time-consuming restudy processes. SDG&E generally opposes exemptions to

         withdrawal penalties and claims that material modification provisions in the pro forma

         LGIP already address impacts to other interconnection customers.1449 SDG&E argues

         that, regardless of the impact to other interconnection customers, there are still costs and

         resources committed between all entities to study and assess proposed generating

         facilities. SDG&E believes that withdrawal penalties should apply for all generating

         facilities, and any exemptions should be sparing.

                                                    (3)    How to Determine if a Withdrawal
                                                           Has Delayed or Increased the Cost of
                                                           Network Upgrades for Other
                                                           Generating Facilities in the Same
                                                           Cluster

                Some commenters argue that it would be difficult to define the circumstances

         under which a withdrawal is deemed to have delayed the timing or increased the cost of

         network upgrades for other interconnection requests in the same cluster.1450 APS and

         Bonneville argue that attempting to do so would create an undue burden on transmission

         providers, and that the withdrawal of an interconnection request could have an impact on




                1448
                       NRECA Initial Comments at 30.
                1449
                       SDG&E Initial Comments at 6-7.
                1450
                    APS Initial Comments at 16-17; Bonneville Initial Comments at 12; MISO
         Initial Comments at 67.
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         generating facilities in a subsequent cluster.1451 NextEra suggests that one test to

         determine whether a withdrawal delays other interconnection requests could be whether

         the withdrawal delays the planned in-service date of other interconnection requests in the

         same cluster.1452 However, NextEra acknowledges that even this assessment could be

         difficult to calculate, as delays could not manifest themselves for months or years, other

         factors could cause delays, and interconnection customers could seek to delay their

         generating facilities for commercial reasons. Pattern Energy asserts that the Commission

         must clearly define the standard for timing delays and increasing the cost of network

         upgrades for other interconnection customers.1453

                Bonneville suggests that, similar to the method used to assess a material

         modification under the pro forma LGIP and pro forma SGIP, the Commission could

         provide a non-exhaustive list of examples that would be deemed as delaying the timing or

         increasing the costs of network upgrades.1454 Bonneville suggests that transmission

         providers could be given discretion to determine whether other withdrawal situations that

         are not listed should fall under this category by considering whether the withdrawal has

         delayed the timing or increased the cost of network upgrades for other interconnection

         requests in a cluster.


                1451
                       APS Initial Comments at 16-17; Bonneville Initial Comments at 12.
                1452
                       NextEra Initial Comments at 26.
                1453
                       Pattern Energy Initial Comments at 33.
                1454
                       Bonneville Initial Comments at 12.
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                Invenergy argues that transmission providers should not be permitted to simply

         assume that withdrawals cause some harm to other interconnection requests and that there

         should be a requirement for transmission providers to perform an analysis to determine

         whether a withdrawal results in material harm to other interconnection requests, which

         interconnection customers could review.1455 Invenergy states that the analysis of whether

         a withdrawal causes a cost increase or delays the timing for other interconnection

         requests should be performed at each phase of the study process.

                Invenergy requests that the Commission clarify that a withdrawal will not delay

         the timing of another interconnection request or increase its network upgrade costs if the

         withdrawal simply requires the transmission provider to account for the withdrawal.

         Invenergy requests that the Commission clarify that any delay or cost increase analysis

         must be based on a reasonable analysis and show a direct relationship between the

         withdrawal and the asserted impact on another interconnection request.

                MISO encourages the Commission to impose the withdrawal penalty whenever an

         interconnection request withdraws from the interconnection queue.1456 MISO argues that

         even if after restudy it turns out that the withdrawal of an interconnection request did not

         actually increase network upgrade costs to other interconnection customers in the cluster,

         the withdrawal still negatively impacts the interconnection queue by increasing

         uncertainty for other interconnection customers, prompting further withdrawals and


                1455
                       Invenergy Initial Comments at 26-27.
                1456
                       MISO Initial Comments at 67-68.
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         adding administrative cost and burden that impede efficient interconnection queue

         processing. Pattern Energy likewise argues that the withdrawal of any interconnection

         request from the interconnection queue results in some form of delay, such as the time

         taken by a transmission provider to perform a review of the potential impacts of the

         withdrawal, which could be interpreted as causing a delay because the withdrawal impact

         analysis could delay the receipt of final study results and agreements.1457 PJM makes

         similar arguments.1458

                Xcel contends that, if a withdrawal results in a restudy of a cluster or subsequent

         clusters, that restudy will delay the receipt of study results, LGIA execution, and the

         construction of required network upgrades.1459 Therefore, Xcel argues that any

         withdrawal that results in a restudy should not be exempt from a withdrawal penalty

         unless the commercial operation dates of other impacted interconnection requests in the

         same or subsequent cluster are not impacted. Xcel asserts that delaying LGIA execution

         may negatively impact off-take agreements and should also be considered harm to

         equally or lower-queued interconnection customers. Xcel notes that harm is not limited

         to the reallocation of interconnection costs to equally or lower-queued interconnection

         requests. Xcel contends that delays, resulting in clogged interconnection queues, can

         impact resource decisions and thus harm interconnection requests not yet in the


                1457
                       Pattern Energy Initial Comments at 33.
                1458
                       PJM Initial Comments at 41.
                1459
                       Xcel Initial Comments at 33-34.
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         interconnection queue. Xcel argues that, if the withdrawal causes restudy, but the restudy

         does not impact the timing discussed above, then the restudy results should be used to

         determine the impact on costs allocated to equally or lower-queued interconnection

         requests.

                Xcel notes that it may be difficult to determine if a single withdrawal would have

         caused harm when multiple interconnection requests are withdrawn in the same time

         frame.1460 Xcel generally supports penalizing withdrawals if they have a combined

         impact, as it would be difficult, if not impossible and time consuming, to determine each

         individual withdrawal’s impact. According to Xcel, if the withdrawal penalty was

         determined on an individual basis, some interconnection customers may wait for others to

         withdraw, then argue that their secondary withdrawals did not have an impact because all

         delays and cost impacts were caused by the first withdrawal.

                Indicated PJM TOs state that a withdrawal can impose costs on other

         interconnection customers even if it does not delay the timing of other proposed

         generating facilities. Indicated PJM TOs argue that if withdrawals impose more network

         upgrade costs on other interconnection customers, it would be unfair to excuse

         withdrawing interconnection customers just because the transmission provider can keep

         to its original timelines.1461 Indicated PJM TOs further claim that, particularly in a large

         RTO/ISO, it is not clear how the transmission provider would determine that a particular


                1460
                       Id. at 34.
                1461
                       Indicated PJM TOs Reply Comments at 35-36.
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         withdrawal did or did not delay the processing of other interconnection requests.

         Indicated PJM TOs argue that this criterion for being excused from penalties or

         forfeitures should be eliminated.

                                                     (4)    Withdrawal Penalty Collection and
                                                            Distribution


                APS seeks clarification on the mechanism the Commission proposes for

         transmission providers to collect withdrawal penalties from interconnection

         customers.1462 APS and MISO express concerns that, under the withdrawal penalty

         collection proposal, a transmission provider would have to act as a collection agency,

         which is likely unworkable.1463 EEI suggests that the Commission institute financial

         assurance requirements for interconnection customers to reduce the likelihood that

         penalized entities are unable to pay the penalties they are assessed.1464 Eversource asserts

         that the Commission should set clear rules that include policies governing how

         RTOs/ISOs will collect penalties and address potential scenarios in which

         interconnection customers refuse to pay or declare bankruptcy.1465 MISO claims that




                1462
                       APS Initial Comments at 16.
                1463
                       Id.; MISO Initial Comments at 69.
                1464
                       EEI Initial Comments at 8.
                1465
                       Eversource Initial Comments at 19.
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         interconnection customers can structure the businesses behind the interconnection request

         in such a way so that the legal entity would be very difficult to collect from.1466

                Some commenters do not support the Commission’s proposal to require

         withdrawal penalty revenues to be used to fund studies conducted under the cluster study

         process.1467 CAISO states that transmission providers already have provisions specifying

         where non-refundable funds go, and using them for interconnection studies would require

         careful accounting without relieving study burdens.1468 NextEra and PJM suggest that

         transmission providers should be allowed to use forfeited funds to help pay for increased

         network upgrade costs incurred by other interconnection customers due to a

         withdrawal.1469 Invenergy asserts that excess funds should be applied to offset network

         upgrade costs assigned through that cluster study process in proportion to any upgrade

         costs that were directly shifted from a withdrawn interconnection customer.1470 RWE

         Renewables assert that withdrawal penalties should be used to create meaningful decision

         points for interconnection customers, to discern whether they are willing to commit




                1466
                       MISO Initial Comments at 69.
                1467
                    CAISO Initial Comments at 22; Interwest Reply Comments at 14; NextEra
         Initial Comments at 27-28; PJM Initial Comments at 39; RWE Renewables Initial
         Comments at 2.
                1468
                       CAISO Initial Comments at 22.
                1469
                       NextEra Initial Comments at 27-28; PJM Initial Comments at 39.
                1470
                       Invenergy Initial Comments at 27-28.
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         resources to each particular generating facility.1471 RWE Renewables and Interwest

         contend that withdrawal penalties should be allocated between and among different

         clusters for transmission expansion, so that they benefit load and interconnection

         customers, rather than restudies, which they believe will not be needed as frequently in

         the proposed cluster study process.1472

                CAISO opposes the NOPR proposal to cap withdrawal penalties.1473 CAISO

         contends that larger projects create the most churn in queue, and projects that cannot

         demonstrate commercial readiness should be the most likely to withdraw. CAISO argues

         that withdrawal penalty caps will disproportionately affect smaller and more competitive

         interconnection requests more than larger and less competitive interconnection requests

         and suggests that the Commission remove the withdrawal penalty caps so the withdrawal

         penalties affect interconnection customers equally.

                Pattern Energy suggests that, in addition to the Commission’s proposed use of

         withdrawal penalties to defray future study costs, the Commission should designate a

         portion of any withdrawal penalties to be used for recruitment, retention, and

         performance bonuses for engineers, administrators, and/or consultants, who can then be

         deployed to help alleviate queue backlogs.1474



                1471
                       RWE Renewables Initial Comments at 2.
                1472
                       Id.; Interwest Reply Comments at 14.
                1473
                       CAISO Initial Comments at 24.
                1474
                       Pattern Energy Initial Comments at 34.
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               Other commenters request clarification of the proposal for distribution of

         withdrawal penalty funds. AES and EDF Renewables argue that it is critical that the

         Commission clarify that transmission providers do not receive any benefits from

         withdrawal fee and non-refundable deposit proceeds; otherwise, they argue, transmission

         providers would be financially incentivized to force interconnection customers to

         withdraw.1475 Several commenters request clarification of the Commission’s intent for

         excess money that remains after funding any appropriate restudies for the current cluster,

         and some of these commenters have suggested uses for this excess.1476 AES asserts that

         any withdrawal fees and non-refundable deposits collected should go towards improving

         the interconnection process.1477 EDF Renewables suggests that any remainder should be

         refunded to the interconnection customer.1478 On the other hand, Southern opposes

         refunding excess penalty amounts to the interconnection customer and proposes that any

         remaining amounts be applied to network upgrades needed in the same cluster or treated

         as a revenue credit against the revenue requirement in the determination of transmission

         rates.1479 APS suggests that the remainder act as a credit towards the transmission



               1475
                      AES Initial Comments at 19-20; EDF Renewables Initial Comments at 7.
               1476
                  AES Initial Comments at 19-20; APS Initial Comments at 16; EDF
         Renewables Initial Comments at 7; Invenergy Initial Comments at 27-28; ISO-NE Initial
         Comments at 33; Southern Initial Comments at 22.
               1477
                      AES Initial Comments at 19-20.
               1478
                      EDF Renewables Initial Comments at 7.
               1479
                      Southern Initial Comments at 22.
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         provider’s transmission rates, as this method would guarantee that all transmission

         customers benefit from the penalties.1480

                Shell claims that withdrawal penalties will accumulate faster than they may be

         spent by the relevant transmission provider.1481 Therefore, Shell asserts that the

         Commission must address the following: (1) the system of independent checks and

         balances that transmission providers will employ to ensure that only specific individuals

         have access to the withdrawal penalty account; (2) the average cost of a cluster study

         from start to finish so that, if a withdrawal penalty is forfeited, it can be determined how

         many future cluster studies the transmission provider could expect to perform with

         forfeited funds; (3) if funds from a withdrawal penalty are used to pay for future study

         costs, whether future interconnection customers must still post a study deposit; and (4) if

         a withdrawal penalty account balance accumulates faster than funds can be spent, what

         independent system of checks and balances transmission providers will use to ensure that

         their staff and/or consultants do not overcharge for their services related to studies.

                                              (d)    Requests for Flexibility, Clarification, or
                                                     Technical Conference

                Some commenters would prefer that the Commission allow for transmission

         providers to craft and use their own withdrawal penalty structure instead of having a

         standardized approach for all transmission providers.1482 AEP supports the adoption of


                1480
                       APS Initial Comments at 16.
                1481
                       Shell Initial Comments at 18-19.
                1482
                       AEP Initial Comments at 24; Avangrid Initial Comments at 9; Avangrid Reply
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         withdrawal penalties with reasonable penalty-free off ramps but asserts that this is an area

         in which flexibility should be permitted, particularly where alternative approaches

         already have been through robust stakeholder processes.1483 NYTOs suggest that there

         should be flexibility regarding the amount of the withdrawal penalties, which NYTOs

         argue should be tied to each transmission provider’s and associated transmission owners’

         interconnection processes.1484 Pacific Northwest Utilities argue that the Commission

         should allow flexibility as to the timing of the penalties.1485 Pacific Northwest Utilities

         also request flexibility to define their own requirements for withdrawal penalties to limit

         interconnection queue overcrowding.1486 Interwest contends that the Commission should

         not attempt to predetermine the amount of withdrawal penalties in a rulemaking

         proceeding with limited evidence; rather, the Commission should require that

         transmission providers develop appropriate mechanisms and determine appropriate

         monetary amounts to substantially reduce the risk that the efforts of interconnection



         Comments at 4; CREA and NewSun Initial Comments at 77-78; Dominion Initial
         Comments at 34; Indicated PJM TOs Initial Comments at 33; NYISO Initial Comments
         at 24; NYTOs Initial Comments at 21; Omaha Public Power Initial Comments at 11;
         OMS Initial Comments at 13; Pacific Northwest Utilities Initial Comments at n.6; PJM
         Initial Comments at 41; SDG&E Initial Comments at 6; SEIA Initial Comments at 27;
         Southern Initial Comments at 20; Shell Initial Comments at 24-25; SPP Initial Comments
         at 11.
                1483
                       AEP Initial Comments at 23-24.
                1484
                       NYTOs Initial Comments at 21.
                1485
                       Pacific Northwest Utilities Initial Comments at 2, 4-5, & n.6.
                1486
                       Id. at 2.
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         customers are not thwarted or delayed by others’ overly speculative interconnection

         requests.1487

                Some commenters seek general clarification on several of the withdrawal penalty

         proposals. For example, NV Energy requests clarification on whether, if a withdrawal

         penalty is deemed appropriate at the time an interconnection customer withdraws its

         interconnection request, that the interconnection customer is charged both the actual costs

         incurred to perform studies and the applicable withdrawal penalty (i.e., two separate

         charges).1488

                NV Energy seeks clarification, if an interconnection customer’s generating facility

         does not achieve commercial operation, whether the nine times the actual study cost

         deposit would be applied toward its withdrawal penalties, and whether the

         interconnection customer would be charged nine times the actual study costs.

                Southern suggests that, in the NOPR’s proposed definition of “withdrawal

         penalty” and in the exemptions to that penalty, the phrase “the commercial operation date

         in the interconnection request” should replace the phrase “commercial operation,” such

         that the definition would read “the penalty assessed by Transmission Provider to an

         Interconnection Customer that chooses to withdraw from the queue or does not otherwise

         reach the Commercial Operation Date in the Interconnection Request.”1489 Southern


                1487
                       Interwest Reply Comments at 13.
                1488
                       NV Energy Initial Comments at 6-7.
                1489
                       Southern Initial Comments at 21-22.
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         argues that to be consistent and clear with pro forma LGIP section 3.7.1.1, the definition

         of withdrawal penalty must be revised to reflect that the withdrawal penalty is applicable

         if the interconnection customer is deemed withdrawn.

                Invenergy requests that the Commission clarify that, to the extent withdrawal

         penalty amounts are used to fund some portion of an interconnection study, that it does

         not reduce the transmission provider’s potential exposure for penalties in the event that

         study is not timely completed.1490

                Invenergy requests that the Commission clarify that, to the extent any post-LGIA

         withdrawal penalty is imposed, it is offset by the deposit posted at LGIA execution and

         not additional to that deposit, which would be unreasonable and unnecessarily

         punitive.1491

                MISO encourages the Commission to bolster the definitions of “commercial

         readiness deposit,” “study deposit,” and “withdrawal penalty” to clearly enable the

         transmission provider to apply those deposits toward the withdrawal penalty.1492

                CAISO seeks clarification that the NOPR’s proposed withdrawal penalties would

         not displace transmission providers’ other existing procedures and penalties that

         incentivize interconnection customers to withdraw earlier rather than later and cites its




                1490
                       Invenergy Initial Comments at 28.
                1491
                       Id. at 24.
                1492
                       MISO Initial Comments at 68-69.
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         own requirement that interconnection customers post financial security based on their

         allocated network upgrade costs.1493

                NV Energy requests that the Commission clarify what happens if only a portion of

         an interconnection request is brought to commercial operation, as it relates to withdrawal

         penalties and the construction of network upgrades.1494

                Tri-State requests clarification on the meaning of “previous withdrawal penalty

         revenue received” in section 3.7.1.1 of the pro forma LGIP1495 and requests clarification

         on whether section 3.7.1.2 of the pro forma LGIP includes the paragraph after (c)

         regarding commercial operation.

                                              (e)    Alternatives and Miscellaneous

                Some commenters provide comments in response to the Commission’s query on

         whether a correlation exists between the size of a withdrawing proposed generating

         facility and the relative level of harm, in terms of delays and increased cost, to other

         interconnection customers as a result of the withdrawal.1496 Some commenters indicate

         that there can be a correlation between the size of a withdrawing proposed generating

         facility and the relative level of harm caused by the withdrawal and encourage




                1493
                       CAISO Initial Comments at 22-23.
                1494
                       NV Energy Initial Comments at 7.
                1495
                       Tri-State Initial Comments at 28.
                1496
                       NOPR, 179 FERC ¶ 61,194 at P 148.
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         withdrawal penalties that increase with the proposed generating facility size.1497 For

         example, Idaho Power contends that large generating facilities typically trigger more

         expensive network upgrades which, when withdrawn, are more likely to trigger

         restudies.1498 Other commenters do not support withdrawal penalties that increase based

         on the size of a generating facility.1499 APS argues that the determinant of “relative level

         of harm” is entirely subjective to the transmission provider and could lead to

         litigation.1500 APS argues that the location of the interconnection request is more closely

         correlated with the effect on other interconnection customers than is the size of a

         proposed generating facility. Xcel states that, although larger generating facilities tend to

         have a larger impact, if the total impact to other projects is calculated as a combined

         impact, then the size of the project should not impact the withdrawal penalty

         calculation.1501

                Ørsted expresses concern that relatively small generating facilities (by MW) that

         fail to demonstrate commercial readiness and are forced to withdraw from the

         interconnection queue pose significant threats to the efficient management of the cluster



                1497
                     Avangrid Initial Comments at 20; Clean Energy States Initial Comments at 10;
         Enel Initial Comments at 35; Idaho Power Initial Comments at 8; PPL Initial Comments
         at 17.
                1498
                       Idaho Power Initial Comments at 8.
                1499
                       APS Initial Comments at 17; Xcel Initial Comments at 35.
                1500
                       APS Initial Comments at 17.
                1501
                       Xcel Initial Comments at 35.
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         study process and recommends that withdrawal penalties be correlated to an

         interconnection customer’s commercial readiness.1502

                AEP supports the idea of off-ramp opportunities at specific times in the cluster

         study process rather than having to analyze individual withdrawal impacts throughout a

         cluster study process.1503 AEP contends that such an approach should limit restudies and

         minimize delays to remaining interconnection customers. Similarly, PJM asserts that

         only allowing withdrawals during certain decision points ensures that studies start and

         finish at the same time and that the cluster status is maintained during the duration of the

         study.1504 According to PJM, allowing withdrawals at any point in the study process, as

         proposed in the NOPR, even with relevant penalties assessed, will cause cascading

         restudies and negative impacts on other interconnection customers in a cluster.

                SPP states that, under its current LGIP, interconnection customers provide

         progressively increasing financial security deposits at each stage of the study process, and

         the amounts of the financial security deposits required to enter into later stages of the

         study process are based on the amount of network upgrade costs assigned in the previous

         stage, which it asserts is better related to the risk and harm of a withdrawal than the

         NOPR proposal.1505


                1502
                       Ørsted Initial Comments at 13.
                1503
                       AEP Initial Comments at 24.
                1504
                       PJM Initial Comments at 41.
                1505
                       SPP Initial Comments at 11.
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                Rather than being assessed withdrawal penalties, CREA and NewSun assert that

         interconnection customers should be refunded any unused study deposits.1506 CREA and

         NewSun argue that penalties should apply only to deter wrongful conduct that the

         interconnection customer can avoid committing and should not be used as an arbitrary

         barrier to market entry.1507

                                          iii.   Commission Determination

                We adopt, with modifications, the NOPR proposal to impose withdrawal penalties

         on interconnection customers for withdrawing their interconnection requests from the

         interconnection queue, absent qualification for one of the limited exemptions, as

         discussed below. We add the defined term “withdrawal penalty,” as modified below, to

         the pro forma LGIP; revise section 3.7 of the pro forma LGIP; and add sections 3.7.1,

         3.7.1.1, and 3.7.1.2 to the pro forma LGIP, with the modifications to the NOPR proposal

         discussed below. However, we decline to adopt the withdrawal penalty caps proposed in

         the NOPR.

                We find that, along with the other reforms adopted in this final rule, adopting a

         withdrawal penalty framework is needed to remedy the issues regarding speculative

         interconnection requests, including study delays from overcrowded interconnection

         queues and the harms to the function of the interconnection queue that occur when

         interconnection customers withdraw from the interconnection queue at various stages of


                1506
                       CREA and NewSun Initial Comments at 77.
                1507
                       Id. at 74-75.
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         the study process. We believe that withdrawal penalties—as adopted herein—will

         encourage interconnection customers to ensure that their proposed generating facilities

         are likely commercially viable when they submit their interconnection requests because

         withdrawal, in most instances, will incur a penalty. We adopt withdrawal penalties that

         increase in amount as interconnection customers proceed through the interconnection

         process in order to ensure that interconnection customers continue to evaluate whether

         their proposed generating facilities are commercially viable, thereby reducing the number

         of late-stage withdrawals and accompanying restudies.1508 We additionally modify the

         proposal, as discussed below, regarding how the withdrawal penalty funds are distributed.

         Specifically, after withdrawal penalty funds are used to fund studies conducted under the

         cluster study process in the same cluster, as proposed in the NOPR, we modify the

         proposal to require any remaining withdrawal penalty funds be used to offset net

         increases to network upgrade cost assignments experienced by interconnection customers

         from the same cluster that remain in the interconnection queue and are directly affected

         by the withdrawal of an interconnection request because they previously shared an

         obligation to fund a network upgrade1509 with the withdrawn interconnection request in



               1508
                    See RWE Renewables Initial Comments at 2 (asserting that withdrawal
         penalties should be used to create meaningful decision points for interconnection
         customers to demonstrate project commitment through the interconnection process).
               1509
                    Sharing an obligation means (1) interconnecting to the same substation
         network upgrade, or (2) in the case of a system network upgrade, where interconnection
         customers are identified through the proportional impact method, as contributing to the
         need for the same system network upgrade.
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         the same cluster.1510 If the interconnection customer withdraws before it executes its

         LGIA or requests to file its LGIA unexecuted and after the interconnection customers in

         the same cluster that the withdrawn interconnection customer participated in have

         executed LGIAs, requested their LGIAs to be filed unexecuted, or withdrawn (or have

         been deemed withdrawn), any remaining withdrawal penalty funds not applied to study

         costs or net increases in network upgrade cost assignments must be returned to the

         withdrawn interconnection customer.1511

                As explained in Section II of this final rule, we find that Commission-

         jurisdictional rates have been rendered unjust and unreasonable due to speculative

         interconnection requests that enter and remain in the interconnection queue. By

         incentivizing interconnection customers to submit interconnection requests only for

         proposed generating facilities that they believe will be commercially viable and to remain

         in the interconnection queue only as long as that continues to be true, and by offsetting

         increases in network upgrade cost responsibility experienced by interconnection

         customers directly affected by a withdrawal because they share an obligation to fund a


                1510
                     See Invenergy Initial Comments at 27-28; NextEra Initial Comments at 27-28;
         PJM Initial Comments at 39; Southern Initial Comments at 22 (suggesting that
         transmission providers should be allowed to use forfeited funds to help pay for increased
         network upgrade costs incurred by other interconnection customers in the same cluster
         due to a withdrawal). We disagree with RWE Renewables and Interwest that withdrawal
         penalties should be allocated between and among different clusters because we find that
         withdrawal penalties should only be allocated to interconnection customers that are
         directly affected by a withdrawal because they share an obligation to fund a network
         upgrade. See RWE Renewables Initial Comments at 2; Interwest Reply Comments at 14.
                1511
                       See EDF Renewables Initial Comments at 7.
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         network upgrade with the withdrawn interconnection request in the same cluster, we

         believe that the withdrawal penalty requirements will work in tandem with the other

         reforms adopted in this final rule to remedy those unjust and unreasonable rates.

                Specifically, we adopt the NOPR proposal, with modification, to revise the pro

         forma LGIP to require the transmission provider to assess withdrawal penalties, unless an

         exemption applies at any point in the interconnection process. The withdrawal penalties

         will be applied to an interconnection customer if: (1) the interconnection customer

         withdraws its interconnection request at any point in the interconnection process; (2) the

         interconnection customer’s interconnection request has been deemed withdrawn by the

         transmission provider at any point in the interconnection process; or (3) the

         interconnection customer’s generating facility does not reach commercial operation (such

         as when an interconnection customer’s LGIA is terminated prior to reaching commercial

         operation). We note that a withdrawal could trigger minor adjustments to the study

         results of the remaining equally- or lower-queued interconnection requests that do not

         represent a significant harm to those remaining in the queue. Therefore, we are

         modifying the NOPR proposal to require the transmission provider to assess a withdrawal

         penalty only if the withdrawal has a material impact on the cost or timing of any

         interconnection requests with an equal or lower queue position. If the transmission

         provider determines that the impact of the withdrawal is immaterial, the transmission

         provider must not assess a withdrawal penalty.

                We adopt this provision in place of the NOPR proposal to exempt interconnection

         customers from withdrawal penalties if: (1) the withdrawal does not delay the timing of
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         other proposed generating facilities in the same cluster; or (2) the withdrawal does not

         increase the cost of network upgrades for other proposed generating facilities. We adopt

         the NOPR proposal that the interconnection customer will also be exempt from paying a

         withdrawal penalty if (1) the interconnection customer withdraws its interconnection

         request after receiving the most recent cluster study report and the network upgrade costs

         assigned to the interconnection customer’s request have increased 25% compared to the

         previous cluster study report, or (2) the interconnection customer withdraws its

         interconnection request after receiving the individual facilities study report and the

         network upgrade costs assigned to the interconnection customer’s request have increased

         by more than 100% compared to costs identified in the cluster study report. Accordingly,

         with these exemptions from the withdrawal penalty, the required withdrawal penalty

         approach adopted herein does not allow for penalties if the impact of the withdrawal is

         immaterial to other interconnection customers or if the withdrawal follows significant,

         unanticipated increases in network upgrade cost estimates.

                For the withdrawal penalty exemptions, we clarify that the relevant cost increases

         are network upgrade cost estimate increases, and we adopt revisions to the pro forma

         LGIP accordingly. This clarification is consistent with the Commission’s description of

         these exemptions in the NOPR: “Thus, under this proposal, interconnection customers

         would be exempt from a withdrawal penalty . . . if the withdrawal follows a significant

         unanticipated increase in network upgrade cost estimates.”1512


                1512
                       NOPR, 179 FERC ¶ 61,194 at P 141 (emphasis added).
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                We disagree with commenters that the thresholds to trigger the exemptions—a

         25% increase in estimated network upgrade costs above the cluster study report estimate

         or a 100% increase in estimated network upgrade costs in the facilities study report—are

         too high. As an initial matter, the potential interconnection customer will have access to

         heatmap information, as required in this final rule, that will allow it to evaluate project

         feasibility without a financial commitment and thereby avoid potential withdrawal

         penalty risk. As stated by Omaha Public Power and Southern, upon entering the

         interconnection queue and receiving the estimates provided in the cluster study report, the

         interconnection customer is aware that the estimates may change. Additionally, we find

         that the trigger thresholds are set at an amount that provides sufficient room for estimates

         to change as the cluster evolves while limiting interconnection customer exposure to

         withdrawal penalties when such estimates change by a significant amount. Moreover, the

         increasing threshold triggers reflect the fact that estimates should improve in accuracy as

         interconnection customers move through the interconnection process and should

         increasingly disincentivize commercially non-viable generating facilities from staying in

         the interconnection queue. An interconnection customer will know to factor in both the

         cost estimates and the potential withdrawal penalty but also the exemption trigger

         thresholds as it proceeds through the interconnection queue.

                We do not believe that interconnection customers will be subject to “wrongful

         withdrawal penalties” as suggested by some commenters. In addition, the withdrawal

         penalty exemptions are designed to allow penalty-free withdrawal if the withdrawal does

         not materially harm other interconnection customers or if the withdrawal follows a
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         significant unanticipated increase in network upgrade cost estimates. The withdrawal

         penalty exemptions are not designed to mitigate all business risk associated with

         interconnecting a new generating facility. The withdrawal penalty structure adopted

         herein, where the withdrawal penalty at the earlier stages of the interconnection process is

         generally lower than the withdrawal penalty at later stages also lessens the cost exposure

         for an interconnection customer that withdraws at an earlier stage, when the impact of the

         withdrawal is less disruptive to the administration of the interconnection queue and other

         interconnection customers. We find that, by increasing the withdrawal penalty amounts

         as the interconnection customer proceeds through the interconnection queue,

         interconnection customers will be incentivized to withdraw non-viable interconnection

         requests earlier in the process, leading to fewer late-stage withdrawals.

                We also disagree with commenters that request additional exemptions to the

         withdrawal penalty structure. We believe that the withdrawal penalty exemptions and

         withdrawal penalty structure, as modified by this final rule, will deter unwarranted

         assessments of withdrawal penalties.

                Regarding commenters’ requests for clarification concerning how to determine

         whether a withdrawal impacts other interconnection requests with the same or lower

         queue positions for purposes of assessing qualification for an exemption to a withdrawal

         penalty, we defer to the transmission provider’s discretion because the transmission

         provider is best suited to determine whether a withdrawal has a material impact on the

         cost or timing of any interconnection customer with the same or lower queue position.
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                We do not adopt the NOPR proposal regarding withdrawal penalty calculations for

         interconnection customers that provide demonstrations of commercial readiness because

         we do not adopt the non-financial commercial readiness demonstration options in this

         final rule, as discussed above in Section III.A.6.c.iii. Instead, we modify the proposed

         penalty structure to base the withdrawal penalty calculation on an increasing percentage

         of the cost of the identified network upgrades assigned to the interconnection customer as

         the interconnection customer moves through the interconnection queue.1513 We also

         decline to adopt the withdrawal penalty caps proposed in the NOPR. We believe that this

         structure will provide better financial incentives for interconnection customers to avoid

         late-stage withdrawals that cause the greatest disruption to interconnection queue

         processing via restudies and delays because interconnection customers will be subject to

         higher withdrawal penalties late in the interconnection process.

                With regard to the withdrawal penalty calculation structure more specifically, we

         modify the NOPR proposal and require that, unless an interconnection customer qualifies

         for one of the stated exemptions discussed above, the transmission provider must assess a

         withdrawal penalty on an interconnection customer with a proposed generating facility

         that does not reach commercial operation based either on the actual study costs or on a

         percentage of the interconnection customer’s assigned network upgrade costs, depending


                1513
                    See Invenergy Initial Comments at 27-28; NextEra Initial Comments at 27-28;
         PJM Initial Comments at 39; Southern Initial Comments at 22 (suggesting that
         transmission providers should be allowed to use forfeited funds to help pay for increased
         network upgrade costs incurred by other interconnection customers in the same cluster
         due to a withdrawal).
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         on what phase the interconnection customer withdraws its interconnection request. Thus,

         the withdrawal penalty for an interconnection customer will be calculated as the greater

         of the study deposit or: (1) two times the study cost if the interconnection customer

         withdraws during the cluster study or after receipt of a cluster study report; (2) 5% of the

         interconnection customer’s identified network upgrade costs if the interconnection

         customer withdraws during the cluster restudy or after receipt of any applicable restudy

         reports; (3) 10% of the interconnection customer’s identified network upgrade costs if the

         interconnection customer withdraws during the facilities study, after receipt of the

         individual facilities study report, or after receipt of the draft LGIA; or (4) 20% of the

         interconnection customer’s identified network upgrade costs if, after executing, or

         requesting to file unexecuted, the LGIA, the interconnection customer’s LGIA is

         terminated before its generating facility achieves commercial operation. The table below

         summarizes the withdrawal penalty structure adopted herein.

                                                          Total Withdrawal
                                    Phase of
                                                          Penalty (if greater
                                   Withdrawal
                                                         than study deposit)

                                Initial Cluster
                                                       2 times study costs
                                Study

                                                       5% of network upgrade
                                Cluster Restudy
                                                       costs

                                                       10% of network
                                Facilities Study
                                                       upgrade costs

                                After Execution
                                of, or After the       20% of network
                                Request to File        upgrade costs
                                Unexecuted, the
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                                                            Total Withdrawal
                                    Phase of
                                                            Penalty (if greater
                                   Withdrawal
                                                           than study deposit)

                                LGIA



                We find that the withdrawal penalty structure adopted herein, which requires

         larger withdrawal penalties as the interconnection customer progresses through the

         interconnection process, combined with the exemptions, strikes the proper balance

         between enabling interconnection customers that possess imperfect information when

         entering into and remaining in the interconnection queue to make withdrawal decisions

         and deterring speculative interconnection requests from entering into and remaining in

         the queue when they are unlikely to be completed, to the detriment of other

         interconnection customers, especially when these interconnection requests are withdrawn

         at later stages of the interconnection process.

                We decline to adopt the withdrawal penalty caps proposed in the NOPR because

         such caps would mute the economic signals that withdrawal penalties are intended to

         send to interconnection customers in the interconnection queue. The withdrawal penalty

         structure is meant to incentivize interconnection customers to withdraw from the

         interconnection queue upon receipt of network upgrade cost assignments that make the

         interconnection request commercially non-viable. However, withdrawal penalty caps

         would shield interconnection customers that withdraw due to higher-cost network

         upgrades from consequences proportional to the impact of that withdrawal, which can
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         drive cascading withdrawals, creating the need for restudies and leading to delays. We

         accordingly agree with CAISO that the withdrawal penalty caps proposed in the NOPR

         would disproportionately benefit interconnection requests for larger generating

         facilities.1514 We find that, while withdrawal penalty caps protect interconnection

         customers that are allocated relatively high network upgrade costs, they offer no such

         commensurate protection for interconnection customers with lower network upgrade cost

         assignments, reflecting an imbalanced withdrawal penalty structure.

                 We also adopt and modify the proposed definition of “withdrawal penalty” in

         section 1 of the pro forma LGIP to address situations in which it may be unclear what it

         means to be withdrawn from the interconnection queue. Specifically, we clarify that a

         withdrawal penalty applies when an interconnection customer actively chooses to

         withdraw its interconnection request but also when its interconnection request is deemed

         to have been withdrawn from the interconnection queue for one reason or another, or if it

         otherwise does not reach commercial operation, per the terms of the pro forma LGIP.

                 Commenters observe that, under the NOPR proposal, interconnection customers

         with large projects (in terms of MW) would be subject to large withdrawal penalties.1515

         While this is true for the initial withdrawal penalty, which continues to be based on

         project size because it is tied to study costs, the modification to the NOPR proposal



                 1514
                        See CAISO Initial Comments at 23-24.
                 1515
                        See Hydropower Commenters Initial Comments at 26; rPlus Initial Comments
         at 5.
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         described above, where later withdrawal penalties are based on percentages of identified

         network upgrade costs, reflects the potential impact of a withdrawal on the remaining

         interconnection customers in a cluster. Additionally, as some commenters point out,

         there is typically a correlation between the size of the proposed generating facility and the

         relative harm to other interconnection customers from the withdrawal of the

         interconnection request, so we believe that basing the initial withdrawal penalty on

         project size is appropriate.1516

                Because we modify the process for distributing withdrawal penalty funds in

         response to comments, as described below, transmission providers will not accumulate

         large amounts of funds from withdrawal penalties, and therefore Shell’s concerns are

         moot.1517

                Furthermore, we believe the proposed pro forma LGIP section 3.7.1.2 requirement

         that transmission providers post on their OASIS site, and update quarterly, the balance of

         withdrawal penalty revenue held by them but not yet dispersed, and the instructions of

         how to distribute withdrawal penalty funds contained in this provision provide sufficient

         transparency to help interested parties understand, monitor, and review withdrawal

         penalty funds. Transmission providers have substantial experience collecting and




                1516
                    Avangrid Initial Comments at 20; CAISO Initial Comments at 24; Idaho
         Power Initial Comments at 8; National Grid Initial Comments at 26-27; PPL Initial
         Comments at 17.
                1517
                       Shell Initial Comments at 18-19.
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         accounting for fees assessed to customers, and we will not mandate here what accounting

         method they should use for the collection and tracking of withdrawal penalties.

                With respect to the distribution of withdrawal penalty funds, we adopt the NOPR

         proposal to require transmission providers to use withdrawal penalty funds to fund

         studies and restudies conducted under the cluster study process, with modification.

         Specifically, we adopt a structure whereby, if interconnection customers withdraw and

         are subject to withdrawal penalties, the transmission provider must use the withdrawal

         penalty funds as follows: (1) to fund studies and restudies in the same cluster; (2) if

         withdrawal penalty funds remain, to offset net increases in costs borne by other

         remaining interconnection customers from the same cluster for network upgrades shared

         by both the withdrawing and non-withdrawing interconnection customers prior to the

         withdrawal; and (3) if any withdrawal penalty funds remain, they will be returned to the

         withdrawing interconnection customer.

                We believe that using withdrawal penalty funds to reduce network upgrade cost

         shifts caused by withdrawals will reduce the risk that the shifted costs are so large as to

         cause cascading withdrawals, thus ensuring that interconnection customers are able to

         interconnect in a reliable, efficient, transparent, and timely manner. We agree with

         Invenergy that it is appropriate for there to be a relationship between the impact caused

         by the withdrawal of an interconnection request and how the withdrawal penalty funds

         are distributed. We also are persuaded by Invenergy, PJM, NextEra, and Southern that

         there are benefits to distributing withdrawal penalty funds to other interconnection

         customers remaining in the cluster to offset increased network upgrade costs resulting
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         from the withdrawal.1518 We therefore modify the NOPR proposal and revise section

         3.7.1 of the pro forma LGIP consistent with the discussion below.

                In the paragraphs that follow we summarize the steps a transmission provider must

         follow in distributing withdrawal penalty funds, as fully detailed in section 3.7.1.2 of the

         pro forma LGIP, and we present an illustrative example.

                Section 3.7.1.2.1 of the pro forma LGIP describes the transmission provider’s

         handling of withdrawal penalty funds and the first step of distributing them to fund

         studies and restudies. For a single cluster, the transmission provider shall hold all

         withdrawal penalty funds until all interconnection customers in that cluster have: (1)

         withdrawn or been deemed withdrawn; (2) executed an LGIA; or (3) requested an LGIA

         to be filed unexecuted. Any withdrawal penalty funds collected shall first be used to fund

         studies for interconnection customers in the same cluster that have executed an LGIA or

         requested an LGIA to be filed unexecuted. Distribution of the withdrawal penalty funds

         for such study costs shall not exceed the total actual study costs.

                Section 3.7.1.2.2 of the pro forma LGIP provides that if, after the first distribution

         step is complete, withdrawal penalty funds remain, the transmission provider must

         proceed to the second step of distributing them to offset net increases in network upgrade

         cost assignments driven by the withdrawal. The transmission provider will determine if

         the withdrawn interconnection customers, at any point in the cluster study process, shared



                1518
                    Invenergy Initial Comments at 27-28; NextEra Initial Comments at 27-28;
         PJM Initial Comments at 39; Southern Initial Comments at 20-21.
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         cost assignment for one or more network upgrades with any remaining interconnection

         customers in the same cluster based on the cluster study report, cluster restudy report(s),

         interconnection facilities study report, and any subsequent issued restudy report for the

         cluster.

                  If the transmission provider determines that withdrawn interconnection customers

         shared cost assignment for network upgrades with remaining interconnection customers

         in the same cluster, the transmission provider will calculate the remaining interconnection

         customers’ net increase in costs (i.e., financial impact) due to a shared cost assignment

         for network upgrades with the withdrawn interconnection customer. It will then

         distribute withdrawal penalty funds as described in section 3.7.1.2.3 of the pro forma

         LGIP, depending on whether the withdrawal occurred before the withdrawing

         interconnection customer executed an LGIA (i.e., during the cluster study process) or

         after.

                  If the transmission provider determines that more than one interconnection

         customer in the same cluster was financially impacted by the same withdrawn

         interconnection customer, the transmission provider will apply the relevant withdrawn

         interconnection customer’s withdrawal penalty to reduce the financial impact to each

         impacted interconnection customer based on each withdrawn interconnection customer’s

         proportional share of the financial impact. Each interconnection customer’s proportional

         share will be determined by either the proportional impact method if the net cost increase

         is related to a system network upgrade or on a per capita basis if the net cost increase is

         related to a substation network upgrade.
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                Section 3.7.1.2.4 of the pro forma LGIP details the process by which the

         transmission provider will provide amended LGIAs to any interconnection customers in

         the cluster that qualify for distribution of withdrawal penalty funds under this framework.

         To account for withdrawals that occurred during the cluster study process, the

         transmission provider must do the following: Within 30 calendar days of all

         interconnection customers in the same cluster having: (1) withdrawn or been deemed

         withdrawn; (2) executed an LGIA; or (3) requested an LGIA to be filed unexecuted,

         determine if, and to what extent, any interconnection customers qualify to have their

         increased network upgrade costs offset by withdrawal penalty funds and provide such

         interconnection customers with an amended LGIA that provides the reduction in network

         upgrade cost assignment and associated reduction to the interconnection customer’s

         financial security requirements.

                To account for withdrawals that occurred in the same cluster after the withdrawing

         interconnection customer executed an LGIA, or requests the filing of an unexecuted

         LGIA, the transmission provider must do the following: Within 30 calendar days of such

         withdrawal or termination, determine if, and to what extent, any interconnection

         customers qualify to have their increased network upgrade costs offset by withdrawal

         penalty funds and provide such interconnection customers with an amended LGIA that

         provides the reduction in network upgrade cost assignment and associated reduction to

         the interconnection customer’s financial security requirements.

                For any given withdrawal, if the transmission provider determines that there are no

         network upgrade cost assignments in the withdrawn interconnection customer’s cluster
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         shared with the withdrawn interconnection customer, or if the transmission provider

         determines that the withdrawn interconnection customer’s withdrawal did not cause a net

         increase in the shared cost assignment for any remaining interconnection customers in the

         cluster, the transmission provider must return the remaining withdrawal penalty to the

         withdrawn interconnection customer. Such remaining withdrawal penalties will be

         returned to withdrawn interconnection customers based on the proportion of each

         withdrawn interconnection customer’s contribution to the total amount of withdrawal

         penalty funds collected for the cluster. The transmission provider must make such

         disbursement within 60 calendar days of the date on which all interconnection customers

         in the same cluster have either (1) withdrawn or been deemed withdrawn; (2) executed an

         LGIA; or (3) requested an LGIA to be filed unexecuted.

                By way of example, assume that the transmission provider’s proportional impact

         method identifies that interconnection customers A, B, and C in the same cluster all

         contribute to the need for system network upgrade A, estimated at $40 million, in the

         proportions of 50%, 25% and 25%, respectively. Interconnection customer C withdraws

         from the interconnection queue after the facilities study, but before executing, or

         requesting the unexecuted filing of, the LGIA and pays a withdrawal penalty of $1

         million.1519 System network upgrade A is still required for interconnection customers A


                1519
                    In this example, interconnection customer C paid a $1 million withdrawal
         penalty because it was allocated $10 million in network upgrade cost (i.e., 25% of $40
         million) and withdrew after receiving the facilities study report, at which point the
         withdrawal penalty is 10% of the amount of network upgrades allocated to the
         interconnection customer.
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         and B, and when the transmission provider conducts the proportional impact method in

         the cluster restudy for the same cluster, it now determines that interconnection customer

         A’s revised network upgrade cost allocation for system network upgrade A would

         increase to 67% and interconnection customer B’s revised network upgrade cost

         allocation for system network upgrade A would increase to approximately 33%. The

         transmission provider would base the distribution of this interconnection customer’s

         withdrawal penalty on the proportional impact analysis and credit 67% of the $1 million

         to interconnection customer A and 33% to interconnection customer B.

               Finally, section 3.7.1.2.5 of the pro forma LGIP provides that if, after the first and

         second distribution steps are complete, some or all of an interconnection customer’s

         withdrawal penalty remains, the transmission provider must return the balance of the

         withdrawn interconnection customer’s withdrawal penalty funds to the withdrawn

         interconnection customer.

               In response to commenter’s concerns regarding the ability of transmission

         providers to collect withdrawal penalties from interconnection customers,1520 we further

         clarify that, in addition to study deposits, transmission providers must apply commercial

         readiness deposits received from the interconnection customer that exceed the costs that

         the transmission provider has incurred, including interest calculated in accordance with




               1520
                 APS Initial Comments at 16; EEI Initial Comments at 8; Eversource Initial
         Comments at 19; MISO Initial Comments at 69.
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         section 35.19a(a)(2) of the Commission’s regulations, toward any withdrawal penalties

         assessed to the interconnection customer, in accordance with pro forma LGIP section 3.7.

                In response to NV Energy and Invenergy, we clarify that an interconnection

         customer that withdraws during any time in the interconnection process is responsible for

         the applicable withdrawal penalty as well as the costs incurred to perform studies up to

         that point, and withdrawal penalty amounts will not be applied toward incurred study

         costs. Additionally, in response to NV Energy, we clarify that if any portion of a

         generating facility proposed in an interconnection request achieves commercial operation,

         even if less than the original requested MW amount, the interconnection customer will

         not be subject to withdrawal penalties.

                In response to Tri-State, we clarify that the phrase “regardless of any previous

         Withdrawal Penalty revenues received” in pro forma LGIP section 3.7.1.1 means that the

         withdrawal penalty will be calculated based on actual study costs and will exclude any

         credits to the study costs from penalties assessed to and received from other

         interconnection customers.

                We disagree with commenters that assert that a technical conference is needed to

         further develop the record on withdrawal penalties before finalizing requirements in this

         final rule. For the reasons explained above, we believe that the record supports the

         reforms that we adopt herein and that their adoption is needed to ensure that

         interconnection customers are able to interconnect in a reliable, efficient, transparent, and

         timely manner.
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                          7.        Transition Process

                                    a.      NOPR Proposal

                In the NOPR, the Commission proposed to revise the pro forma LGIP to require

         transmission providers to establish a transition process for moving to a first-ready, first-

         served cluster study process.1521 Specifically, the Commission proposed to require

         transmission providers to offer existing, eligible interconnection customers the options to

         either enter a transitional serial interconnection facilities study or a transitional cluster

         study,1522 with commercial readiness requirements, or withdraw from the interconnection

         queue without penalty.

                To proceed to the transitional serial study, the Commission proposed that eligible

         interconnection customers (i.e., interconnection customers that have executed a facilities

         study agreement before the effective date of the transmission provider’s compliance

         filing) would execute a transitional serial interconnection facilities study agreement to

         codify their choice.1523 The Commission proposed that at the time of execution of such

         agreement, the interconnection customer would be required to provide a deposit equal to

         100% of the interconnection facility and network upgrade costs allocated to the


                1521
                       NOPR, 179 FERC ¶ 61,194 at P 156.
                1522
                     In the NOPR, the Commission explained that the transmission provider would
         consider all interconnection requests accepted within a standard cluster study request
         period have equal queue priority for purposes of the cluster study. See id. P 67. This
         would be true for all interconnection requests accepted for the transitional cluster study as
         well, per the NOPR.
                1523
                       Id. P 158.
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         interconnection customer in the system impact study report. The Commission explained

         that if the interconnection customer’s proposed generating facility reaches commercial

         operation, this deposit would be used toward construction costs of the same facilities.

                The Commission further explained that if the interconnection customer withdraws,

         the deposit would be refunded after the final invoice for study costs and the withdrawal

         penalty are settled. The Commission proposed that the transitional serial study

         withdrawal penalty would equal nine times the study cost. The Commission also

         proposed that transitional serial generating facilities would be required to provide

         evidence of exclusive site control for the entire generating facility and any

         interconnection customer’s interconnection facilities, as well as demonstrate commercial

         readiness through one of the following: (1) an executed term sheet (or comparable

         evidence) related to a contract for the sale of the generating facility’s output or its

         energy/ancillary services; (2) reasonable evidence that the generating facility is included

         in a resource planning entity’s resource plan, has received a contract via a resource

         solicitation process, or is being developed for a large end-use customer; or (3) a

         provisional LGIA that is not suspended and includes a commitment to build the

         generating facility. The Commission proposed that the deadline for the interconnection

         customer to meet all the provisions above would be 60 calendar days after the effective

         date of a transmission provider’s compliance filing to the final rule. Finally, the
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         Commission proposed that the transmission provider complete transitional serial studies

         within 90 calendar days after the deadline for eligibility requirements to be satisfied.1524

                The Commission proposed that existing interconnection customers that opt for the

         transitional cluster study would execute a transitional cluster study agreement to codify

         their choice.1525 The Commission proposed that interconnection customers may make a

         one-time extension of their requested commercial operation date upon entry into the

         transitional cluster study, where any such extension shall not result in a commercial

         operation date later than December 31, 2027. The Commission proposed that the costs of

         this study and the identified facilities would be allocated as the costs are allocated for

         future cluster studies, as set forth in this final rule. The Commission also proposed that

         the transitional cluster would be subject to an expedited combined system impact and

         interconnection facilities study. The Commission explained that transitional cluster study

         generating facilities would be required to select ERIS or NRIS. The Commission

         proposed to require interconnection customers opting for a transitional cluster study to

         make a $5 million deposit. The Commission proposed to subject this deposit to the same

         conditions as the transitional serial study deposit.

                The Commission also proposed to require interconnection customers with

         interconnection requests in the transitional cluster to produce evidence of exclusive site

         control for their entire generating facilities and demonstrate commercial readiness


                1524
                       NOPR, 179 FERC ¶ 61,194 at P 158.
                1525
                       Id. P 159.
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         through one of the same three options described above for transitional serial studies.1526

         The Commission proposed that the deadline to satisfy these requirements would be 60

         calendar days after the effective date of a transmission provider’s compliance filing to the

         final rule. Finally, the Commission proposed that the transitional cluster study be

         completed by the transmission provider within 300 calendar days after the deadline for

         eligibility requirements to be satisfied.

                The Commission sought comment on: (1) whether certain interconnection

         customers with pending interconnection requests submitted prior to the issuance of a final

         rule should be allowed to proceed to LGIA execution without entering the transition

         process; (2) whether the Commission should require transmission providers to accept any

         additional commercial readiness demonstrations for entry into the transition process, and

         whether existing interconnection customers should be permitted to enter their

         interconnection requests into the transitional cluster study process by posting a deposit in

         lieu of demonstrating commercial readiness; and (3) whether $5 million is a reasonable

         estimate of the costs that would be allocated to the interconnection customer via the

         transitional cluster study.1527




                1526
                       Id. P 159.
                1527
                       Id. P 160.
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                                b.      Comments

                                        i.    Comments in Support

                A few commenters fully support the proposed transition process.1528 For example,

         NRECA states that it strongly supports the proposed transition process because it fulfills

         the Commission’s goal of ensuring an efficient way to prioritize and process

         interconnection requests, based on how far they have advanced through the

         interconnection process and their commercial readiness.1529

                More commenters support the NOPR’s core proposal to require transmission

         providers to offer interconnection customers with existing interconnection requests three

         options for moving forward (i.e., entering a transitional serial study, entering a

         transitional cluster study, or withdrawing without penalty).1530 For example, Pine Gate

         asserts that, given the current interconnection queue backlogs in multiple regions, it is

         essential that the Commission craft a transition process that permits late-stage

         interconnection requests to finish the interconnection process under the existing rules,

         while transitioning most interconnection requests to the new cluster study process.1531



                1528
                   Affected Interconnection Customers Initial Comments at 13; Consumers
         Energy Initial Comments at 5; Idaho Power Initial Comments at 9; Longroad Energy
         Reply Comments at 16; NRECA Initial Comments at 9, 31.
                1529
                       NRECA Initial Comments at 31.
                1530
                    Clean Energy Associations Initial Comments at 42-43; ENGIE Initial
         Comments at 7; NARUC Initial Comments at 10; NextEra Initial Comments at 28;
         Ørsted Initial Comments at 13; Pine Gate Initial Comments at 35-36.
                1531
                       Pine Gate Initial Comments at 35-36; see also NextEra Initial Comments at -
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                With respect to the transitional serial study,1532 many commenters, predominantly

         interconnection customers, support the proposal to provide this option to interconnection

         customers that have executed a facilities study agreement.1533 AEE and Pine Gate state

         that this provision respects the investments made by interconnection customers based on

         current interconnection procedures.1534 Similarly, Pattern Energy argues that, at the

         facilities study stage, an interconnection customer has relatively concrete economic

         expectations about its potential network upgrade obligations and should not be required

         to start the interconnection process over again.1535

                Other commenters express qualified support for the proposal. Noting that

         significant investments have been made and that generating facility contracting and

         financing patterns have been developed based on existing tariffs, Interwest calls for a



         +28.
                1532
                    Note that most commenters refer to this as “proceeding to LGIA” or
         “proceeding to LGIA without going through the transition process,” while a few use the
         term “transitional serial study.” These terms are taken to be synonymous because the
         NOPR describes the transitional serial study process as permitting interconnection
         customers to “continue under the existing serial study process, enter into an LGIA, and
         interconnect.” See NOPR, 179 FERC ¶ 61,194 at P 158.
                1533
                    AEE Initial Comments at 27; AES Initial Comments at 20; Affected
         Interconnection Customers Initial Comments at 9; Idaho Power Initial Comments at 9;
         Longroad Energy Reply Comments at 16; NARUC Initial Comments at 10; NextEra
         Initial Comments at 28; Northwest and Intermountain Initial Comments at 5; Ørsted
         Initial Comments at 14; Pattern Energy Initial Comments at 35; Pine Gate Initial
         Comments at 37; SEIA Initial Comments at 28.
                1534
                       AEE Initial Comments at 27; Pine Gate Initial Comments at 37.
                1535
                       Pattern Energy Initial Comments at 35.
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         structured, well-noticed transition period, to allow the market sufficient time to adjust to

         new processes, especially if the new process dramatically alters interconnection and cost

         allocation principles.1536 Similarly, the Pennsylvania Commission agrees that a transition

         process is necessary to integrate the Commission’s proposed interconnection queue

         reforms to allow individual interconnection customers the opportunity to decide, based on

         the newly adopted minimum interconnection parameters, whether to remain in the

         interconnection queue.1537

                                       ii.    Comments in Opposition

                CREA and NewSun argue that the proposed transition process is unnecessary, as a

         first-ready, first-served cluster study process places the decision to enter a cluster in the

         hands of the interconnection customer regardless of whether there are previously queued

         interconnection requests.1538 In a similar vein, EEI contends that it would be reasonable

         to require transmission providers to establish their own transition processes or to allow

         existing interconnection customers to proceed to LGIA execution without entering the

         transition process.1539

                CREA and NewSun also fault the proposal to treat all interconnection requests in a

         transitional cluster as having a single queue priority because it fails to protect the


                1536
                       Interwest Initial Comments at 6, 23-24.
                1537
                       Pennsylvania Commission Initial Comments at 15.
                1538
                       CREA and NewSun Initial Comments at 79.
                1539
                       EEI Initial Comments at 9.
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         investment expectations of interconnection customers with interconnection requests that

         have entered the interconnection queue.1540 CREA and NewSun argue that the

         Commission has previously recognized that queue positions should be respected and

         either grandfathered or otherwise transitioned into a cluster study process that avoids

         devaluing the existing queue position. CREA and NewSun urge the Commission to

         modify its proposed cluster study process so that higher-queued interconnection requests

         are given a higher-priority than lower-queued interconnection requests. CREA and

         NewSun explain that this has worked in CAISO and Bonneville, which they assert uses a

         similar mechanism to respect queue positions in its transmission planning expansion

         process.

                Shell requests that the Commission let existing processes continue for all

         interconnection customers that have executed a system impact study agreement or cluster

         study agreement because such processes, while not perfect, are functioning “well

         enough.”1541 Illinois Commission expresses more general concern about the time

         required for a transition process to be completed, noting that PJM’s transition process for

         a recent set of interconnection queue reforms is expected to result in significant

         delays.1542 Such delays, Illinois Commission contends, could prompt withdrawals and

         less-than-optimal use of potential new resources, which in turn would undermine state


                1540
                       CREA and NewSun Initial Comments at 45.
                1541
                       Shell Initial Comments at 37.
                1542
                       Illinois Commission Initial Comments at 7.
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         public policy goals and potentially threaten reliability. Longroad Energy similarly

         recommends that the Commission seek to avoid creating a situation whereby a

         transmission provider is forced to institute a pause on reviewing interconnection requests,

         similar to PJM’s recent proposal to halt its review of interconnection requests for a two-

         year period.1543

                                       iii.   Comments on Specific Proposal

                                              (a)   Serial Study Eligibility and Transition
                                                    Process Exceptions

                Numerous commenters express support for one or more of the eligibility

         requirements proposed in the NOPR. To proceed with a transitional serial study,

         Affected Interconnection Customers agree that interconnection customers should provide

         evidence of exclusive site control, demonstrate commercial readiness, and fund 100% of

         their interconnection facility and network upgrade costs upfront.1544 Affected

         Interconnection Customers reason that delays in processing interconnection requests

         occur if speculative interconnection requests without adequate funding are allowed to

         enter and clog the serial study process, only to drop out later and cause the need for

         restudies.

                However, Bonneville, PJM, OPSI, RWE Renewables, and NextEra express

         concern that offering interconnection customers a serial study option may be



                1543
                       Longroad Energy Reply Comments at 16-17.
                1544
                       Affected Interconnection Customers Initial Comments at 10.
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         inefficient.1545 Bonneville states that it has received 52 interconnection requests, totaling

         33 GW, in the 90 days since the NOPR’s issuance, and that completing existing studies

         under the current process could delay Bonneville’s ability to implement a new cluster

         study process, thus diminishing its near-term benefits.1546 OPSI calls for the Commission

         to analyze whether this option could materially delay the transition process, and if so,

         consider using a cluster study process as soon as feasible in the transition.1547 Similarly,

         RWE Renewables assert that all parties should already be on notice about the pending

         changes, allowing for swifter movement to new processes, particularly for those that have

         not yet had any studies completed.1548 NextEra argues that it is best for all

         interconnection customers at the same stage in the interconnection process to abide by the

         same transition rules rather than giving them a choice between a serial or cluster study

         process.1549

                Several commenters suggest broadening opportunities for a transitional serial

         study and/or exempting certain interconnection requests from transitional study. AEE,

         Clean Energy Associations, and Pine Gate support allowing interconnection requests with



                1545
                    Bonneville Initial Comments at 14; NextEra Initial Comments at 28; OPSI
         Initial Comments at 6; PJM Initial Comments at 42; RWE Renewables Initial Comments
         at 1-2.
                1546
                       Bonneville Initial Comments at 14.
                1547
                       OPSI Initial Comments at 6.
                1548
                       RWE Renewables Initial Comments at 2.
                1549
                       NextEra Initial Comments at 28.
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         an executed or unexecuted facilities study agreement to proceed with a serial study.1550

         Clean Energy Associations propose serial study eligibility for any interconnection request

         that has a system impact study underway, provided the interconnection customer can

         meet commercial readiness demonstration and deposit requirements on par with what

         would be required at the equivalent stage of the standard cluster study process.1551

         ENGIE supports a process that exempts interconnection requests with interconnection

         costs of $5 million or less from a transitional study.1552 ENGIE also proposes that

         interconnection requests that do not contribute to the need for network upgrades and/or

         do not need facilities studies be permitted to proceed to an LGIA early.

                Cypress Creek suggests that eligibility for a transitional serial study1553 be based

         on: (1) a specified interconnection queue window developed through a stakeholder

         process that extends to late stage interconnection requests; and (2) an objective

         assessment of the plotted distribution of total network upgrades (in terms of millions of

         dollars) to which the candidate interconnection request contributes, such that the total

         number of interconnection requests eligible for transitional serial and transitional cluster




                1550
                   AEE Initial Comments at 27; Clean Energy Associations Initial Comments at
         43; Pine Gate Initial Comments at 37.
                1551
                       Clean Energy Associations Initial Comments at 43.
                1552
                       ENGIE Initial Comments at 7.
                1553
                   The original term used by Cypress Creek, “transitional serial cluster,” is
         assumed to mean transitional serial study.
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         studies is known so transitional studies can be completed by a reasonable deadline.1554

         Cypress Creek states that the distribution curve of network upgrades will help support

         eligibility to those interconnection requests on the lower half of impacts. Finally,

         Cypress Creek suggests that the Commission establish a date by which the transitional

         serial process would conclude, and by which the transitional cluster process would begin.

         Following these transitional studies, Cypress Creek recommends that the new cluster

         study process commence, in lieu of the second transitional cluster proposed by the

         Commission. Cypress Creek argues that this more rapid transition process better

         balances interconnection rights of late-stage interconnection requests with the need to

         move to the new process compared to the proposed transition process.

                                             (b)    New Requirements on Existing
                                                    Interconnection Customers

                AEE, Invenergy, NESCOE, and Shell argue that it is wrong, or could be unfairly

         burdensome, to impose significant new requirements on interconnection customers that

         have entered and proceeded through the interconnection queue in good faith.1555

         Invenergy adds that this is especially true of interconnection customers that may have




                1554
                       Cypress Creek Initial Comments at 25-26.
                1555
                  AEE Initial Comments at 26; Invenergy Initial Comments at 37; NESCOE -
         Reply Comments at 10; Shell Initial Comments at 37.
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         entered the interconnection queue years before the NOPR was issued.1556 Other

         commenters make similar points.1557

                 AEE and EDF Renewables stress the importance of not disrupting or further

         delaying interconnection requests that are well along in the interconnection process.1558

         ACE-NY states, more broadly, that interconnection requests currently in serial

         interconnection queues should not be unduly harmed, adding that any transition process

         should not delay the commercial operation date of existing and future generating

         facilities.1559

                 Clean Energy Associations argue that transition interconnection customers,

         whether they be in the serial or cluster study process, should not be held to higher

         standards than those interconnection customers that would proceed with the regular

         cluster study process unless the transition process leads to an LGIA and includes only

         ready interconnection requests that have been delayed in the existing interconnection




                 1556
                        Invenergy Initial Comments at 37.
                 1557
                    AEE Initial Comments at 26; EDF Renewables Initial Comments at 8; ACE-
         NY Initial Comments at 4; AEE Initial Comments at 26; EDF Renewables Initial
         Comments at 8; Northwest and Intermountain Initial Comments at 2, 5.
                 1558
                        AEE Initial Comments at 26; EDF Renewables Initial Comments at 8.
                 1559
                        ACE-NY Initial Comments at 4.
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         queue.1560 Invenergy concurs with this principle, if the Commission elects to impose

         requirements on existing interconnection customers.1561

                                             (c)    Deposits

                Several commenters object to the proposal to require that interconnection

         customers, at the time of execution of the transitional serial study agreement, provide a

         deposit equal to 100% of the interconnection facility and network upgrade costs allocated

         to them in the system impact study report.1562 AEE and EDF Renewables argue that the

         costs assigned at the system impact study stage often vary significantly from the network

         upgrade costs provided at the facilities study stage.1563 EDF Renewables also argue that

         the NOPR proposal is inconsistent with Order No. 2003, which specifically rejected such

         a proposal in favor of requiring security for discrete portions of these costs.1564 EDF

         Renewables adds that requiring a full deposit imposes a real cost on interconnection

         customers, which typically obtain a letter of credit from a bank.




                1560
                       Clean Energy Associations Initial Comments at 43.
                1561
                       Invenergy Initial Comments at 38.
                1562
                   Clean Energy Associations Initial Comments at 43; Cypress Creek Initial
         Comments at 26; EDF Renewables Initial Comments at 9; Invenergy Initial Comments at
         38; Pine Gate Initial Comments at 36; SEIA Initial Comments at 28.
                1563
                       AEE Initial Comments at 26-27; EDF Renewables Initial Comments at 9.
                1564
                    EDF Renewables Initial Comments at 9 (citing Order No. 2003, 104 FERC
         ¶ 61,103 at P 596).
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                Likewise, several commenters object to the proposal to require a $5 million

         deposit to proceed to the transitional cluster study.1565 Most of these commenters claim

         that $5 million dollars is excessive and/or arbitrary;1566 fails to reflect the relative impact

         of smaller proposed generating facilities;1567 likely is not indicative of costs across all

         markets;1568 and will prompt otherwise viable interconnection requests to withdraw.1569

         With respect to the NOPR’s reliance on PSCo’s claim that $5 million is within the range

         of interconnection costs on its system, CREA and NewSun question whether PSCo

         intended the deposit to serve as a barrier to its competitors in the generation market.1570

         CREA and NewSun note that the three orders cited by the Commission in the NOPR

         mention a $5 million deposit, but none provide a reasoned decision for acceptance of this




                1565
                    AEE Initial Comments at 26; Clean Energy Associations Initial Comments at
         43; CREA and NewSun Initial Comments at 81; EDF Renewables Initial Comments at 9;
         Invenergy Initial Comments at 38; Northwest and Intermountain Initial Comments at 5;
         Pine Gate Initial Comments at 36.
                1566
                    AEE Initial Comments at 26; Clean Energy Associations Initial Comments at
         43; CREA and NewSun Initial Comments at 81; EDF Renewables Initial Comments at 9;
         Pine Gate Initial Comments at 36.
                1567
                 CREA and NewSun Initial Comments at 81; EDF Renewables Initial
         Comments at 9.
                1568
                    AEE Initial Comments at 26; CREA and NewSun Initial Comments at 81;
         Pine Gate Initial Comments at 36.
                1569
                       AEE Initial Comments at 26.
                1570
                       CREA and NewSun Initial Comments at 81.
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         deposit amount.1571 Conversely, Xcel asserts that $5 million dollars is a low estimate of

         costs that may ultimately be allocated to interconnection customers.1572

                AEE, Invenergy, and Pine Gate recommend that the deposit for either the

         transitional serial facilities study agreement or transitional cluster study agreement reflect

         a percentage of the network upgrade costs allocated to the interconnection customer, with

         Invenergy recommending 20%.1573 Northwest and Intermountain and Xcel recommend

         that the final rule require transmission providers to propose a deposit amount for

         transitional studies that is appropriate to their interconnection queue and their specific

         system configurations.1574 Xcel suggests that the Commission should accept proposals

         that use an average of actual historical estimates of costs allocated to interconnection

         customers with executed LGIAs to determine the security required to enter the

         transitional cluster.1575




                1571
                   Id. at 81-82 (citing Pub. Serv. Co. of Colo., 169 FERC ¶ 61,182; Tri-State
         Generation & Transmission Ass’n, Inc., 173 FERC ¶ 61,015; Tri-State Generation &
         Transmission Ass’n, Inc., 174 FERC ¶ 61,021 (2021).
                1572
                       Xcel Initial Comments at 36.
                1573
                    AEE Initial Comments at 26; Invenergy Initial Comments at 38; Pine Gate
         Initial Comments at 36.
                1574
                       Northwest and Intermountain Initial Comments at 5; Xcel Initial Comments at
         36.
                1575
                       Xcel Initial Comments at 36.
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                                             (d)      Commercial Readiness and Site Control

                Idaho Power and Xcel emphasize the importance of requiring a commercial

         readiness demonstration to enter the transition process.1576 Xcel argues that if a readiness

         demonstration is not required, unready interconnection requests may be in the study

         models for more than three years after they execute an LGIA and when they ultimately

         withdraw, which will cause delays and cascading restudies.1577 Idaho Power asserts that

         commercial readiness demonstrations for interconnection customers with executed

         LGIAs are also critical, as their resource and network upgrades will need to be modeled

         in the transitional cluster study.1578 NRECA proposes that interconnection customers that

         show requisite site control and commercial readiness proceed to the “front of the line” as

         “first-ready” in the transition cluster process without additional evaluation.1579 Both

         Idaho Power and EEI recommend that interconnection customers with LGIAs, but that

         have suspended interconnection-related construction, be required to meet the commercial

         readiness requirements, with EEI also recommending that they be required to

         demonstrate site control.1580




                1576
                   Idaho Power Initial Comments at 9; NRECA Initial Comments at 31; Pattern
         Energy Initial Comments at 35; Xcel Initial Comments at 36.
                1577
                       Xcel Initial Comments at 36.
                1578
                       Idaho Power Initial Comments at 9.
                1579
                       NRECA Initial Comments at 31.
                1580
                       EEI Initial Comments at 9-10; Idaho Power Initial Comments at 9.
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                In addition to the proposed commercial readiness demonstration requirements,

         Affected Interconnection Customers recommend that interconnection customers also be

         allowed to provide evidence of (1) major equipment either contracted to purchase or

         owned as part of an existing equipment fleet or (2) a completed engineering package

         under provisional LGIAs.1581 SEIA recommends that interconnection customers be

         allowed to demonstrate commercial readiness by providing a commitment to participate

         in RTO/ISO markets or an application for a site permit.1582

                A number of commenters oppose the NOPR’s proposed commercial readiness

         requirements, as applied to the transition process.1583 SEIA states that the proposed

         requirements will be nearly impossible for an independent power producer to meet and

         ignore the very nature of a capacity market, which is to allow independent power

         producers to sell capacity into a market.1584

                Several commenters support allowing a deposit in lieu of demonstrating

         commercial readiness, as applied to the transition process.1585 Pattern Energy argues for

         this option to be available specifically for the transitional cluster study and recommends a



                1581
                       Affected Interconnection Customers Initial Comments at 10-11.
                1582
                       SEIA Reply Comments at 12.
                1583
                    AEE Initial Comments at 26; CREA and NewSun Initial Comments at 79;
         Pine Gate Initial Comments at 36; SEIA Initial Comments at 29.
                1584
                       SEIA Initial Comments at 28.
                1585
                   AEE Initial Comments at 26; EDF Renewables Initial Comments at 9;
         Invenergy Initial Comments at 38; Pattern Energy Initial Comments at 35.
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         $5 million deposit value.1586 Pattern Energy claims that this would balance the need for

         interconnection customers that may have been waiting for years to have their

         interconnection requests studied with the need to transition to a new process. SEIA and

         Pine Gate recommend that a commercial readiness deposit should be the norm, not the

         exception, with SEIA also recommending that interconnection customers be required to

         provide evidence of site control.1587 Pine Gate recommends a readiness deposit

         framework that requires interconnection customers to make incrementally at-risk

         payments throughout the interconnection process.1588

                At the same time, several commenters oppose permitting deposits in lieu of

         demonstrating commercial readiness, as applied to the transition process.1589 Ameren

         calls such deposits “opportunities for delay” that will not facilitate the interconnection of

         interconnection requests for which the interconnection customer has demonstrated

         commercial readiness.1590 Idaho Power opposes the option because the transitional

         cluster study is an expedited, combined system impact and interconnection facilities

         study.1591 If the Commission does allow a deposit, EEI argues that the option should


                1586
                       Pattern Energy Initial Comments at 35.
                1587
                       SEIA Initial Comments at 29.
                1588
                       Pine Gate Initial Comments at 36.
                1589
                    Ameren Initial Comments at 19; EEI Initial Comments at 10; Idaho Power
         Initial Comments at 9; Xcel Initial Comments at 36.
                1590
                       Ameren Initial Comments at 19.
                1591
                       Idaho Power Initial Comments at 9.
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         apply only in specific circumstances, and should be sufficiently high to deter

         interconnection requests that are not ready from entering the transitional cluster.1592

                                              (e)   Withdrawal Penalties

                Many commenters oppose the NOPR’s proposed transition process withdrawal

         penalties.1593 CREA and NewSun, Pine Gate, and Ørsted call the penalties harsh or

         draconian.1594 Ørsted notes that offshore wind project interconnection customers with

         contracts awarded via a state-sponsored resource solicitation process have already spent

         tens of millions of dollars to secure leaseholds, conduct extensive geotechnical studies of

         these lease areas, and engineering studies.1595 Given these investments, Ørsted contends

         that the decision to withdraw from the interconnection queue is most likely going to be

         based on some issue outside of the control of the interconnection customer, such as

         supply chain constraints, and not because the interconnection request will not go forward

         at some point.




                1592
                       EEI Reply Comments at 10.
                1593
                  AEE Initial Comments at 26; AES Initial Comments at 20; CREA and
         NewSun Initial Comments at 79; EDF Renewables Initial Comments at 8; Ørsted Initial
         Comments at 14; Pine Gate Initial Comments at 36; SEIA Initial Comments at 37.
                1594
                    CREA and NewSun Initial Comments at 79; Ørsted Initial Comments at 14;
         Pine Gate Initial Comments at 36.
                1595
                       Ørsted Initial Comments at 14.
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                AES states that withdrawal should be penalty-free if an interconnection customer

         decides not to move forward with a proposed generating facility during the transition.1596

         EDF Renewables asserts that a transition process should offer existing interconnection

         customers an opportunity to exit the interconnection queue in line with what they

         expected when entering.1597 SEIA recommends that the withdrawal penalty for

         interconnection customers in the transitional cluster study be capped at the withdrawing

         interconnection request’s allocation of network upgrade costs.1598

                                             (f)      Compliance Timeline

                NRECA supports the NOPR’s proposed timeline for compliance.1599 NRECA

         states that the 180-day1600 period proposed in the NOPR would be sufficient to allow

         interconnection customers to get their deposits, site control, and commercial readiness

         demonstrations in order.1601 PPL states that transmission providers should continue

         moving requests to the LGIA execution stage and have interconnection customers


                1596
                       AES Initial Comments at 20.
                1597
                       EDF Renewables Initial Comments at 8.
                1598
                       SEIA Initial Comments at 37.
                1599
                       NRECA Initial Comments at 32; PPL Initial Comments at 18.
                1600
                     Note that the proposed deadline for transmission providers to submit a
         compliance filing is within 180 calendar days of the effective date of the final rule. The
         proposed deadline for interconnection customers to meet the requirements for transitional
         serial study or transitional cluster study is 60 calendar days after the Commission-
         approved effective date of a transmission provider’s filing in compliance with this final
         rule.
                1601
                       NRECA Initial Comments at 32.
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         demonstrate commercial readiness as normal until the effective date of the transition

         process.1602

                AES, CREA and NewSun, and Invenergy assert that the NOPR’s proposed 60-day

         deadline for compliance is difficult or impossible to meet for most interconnection

         customers.1603 Invenergy adds that the fact of the rulemaking’s existence is insufficient

         to put interconnection customers on notice of potential reforms, given that any aspect of

         the NOPR could be modified in the final rule and be subject to variations in compliance

         filings.1604 AES states that it does not oppose requiring interconnection customers to

         demonstrate site control and meet commercial readiness criteria but recommends that at

         least six months be given for compliance.1605

                                             (g)     Alternatives

                Shell argues that the final rule should allow an opt-out provision for the transition

         process under which transmission providers can demonstrate their existing processes’

         efficiencies by detailing their prior performance on certain measures, such as the average




                1602
                       PPL Initial Comments at 18.
                1603
                   AES Initial Comments at 20; CREA and NewSun Initial Comments at 79;
         Invenergy Initial Comments at 37-38.
                1604
                       Invenergy Initial Comments at 37.
                1605
                       AES Initial Comments at 20.
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         duration of each interconnection study and the average length of time from submission of

         an interconnection request to execution of an LGIA or filing of an unexecuted LGIA.1606

                In cases where the transition process is slow due to the sheer scale of change,

         Illinois Commission calls for an accelerated process for interconnection requests that

         allow states to ensure reliability and meet statutory obligations and public policy

         objectives.1607 Illinois Commission adds that such a process could be accomplished in a

         narrowly tailored manner and would be more efficient than allowing RTOs/ISOs an

         extended period to clear out prior interconnection queue backlogs.

                CREA and NewSun propose, and SEIA supports, a transitional cluster study

         process for transmission providers facing an otherwise unmanageable volume of

         interconnection requests.1608 CREA and NewSun assert that such a process would

         expedite interconnection study, eliminate excessive deposits and penalties, permit

         withdrawals without penalty if no burden is imposed on other interconnection customers,

         respect queue positions and associated investment expectations of queued interconnection

         requests, and avoid “years of bottlenecks and market distorting problems” associated with

         solutions based on readiness requirements.1609 CREA and NewSun state that this

         proposed process draws on Bonneville, CAISO, and MISO’s current practices as


                1606
                       Shell Initial Comments at 37.
                1607
                       Illinois Commission Initial Comments at 7-8.
                1608
                       SEIA Reply Comments at 12.
                1609
                       CREA and NewSun Initial Comments at 82, Ex. A at 4.
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         examples and would take an estimated 460 days to complete, incorporating four

         milestones with increasing deposits and two off-ramps (or decision points).1610

                CREA and NewSun further propose to respect queue positions by providing a

         separate cluster study for existing interconnection customers that have advanced to the

         system impact study stage and having interconnection requests retain queue position even

         as they are studied in a cluster.1611 CREA and NewSun also propose to allow

         interconnection customers to trade queue positions.1612

                                                 (h)   Tariff Language

                Southern notes that under proposed section 5.1.1.2(2) of the pro forma LGIP, the

         true-up of actual construction costs must be completed within 30 days of a generating

         facility achieving commercial operation, which appears to conflict with the true-up

         provisions in pro forma LGIA article 12.2 (Final Invoice), which, Southern states,

         provides that the true-up is due within six months.1613 Southern requests that the

         Commission make these provisions consistent at six months.

                                           iv.   Requests for Flexibility and Clarification

                Several commenters argue that a one-size-fits-all transition plan is not appropriate,

         given the diversity of processes currently used by transmission providers and the varying


                1610
                       Id., Ex. A at 3.
                1611
                       Id., Ex. A at 2.
                1612
                       Id., Ex., at 2-3.
                1613
                       Southern Initial Comments at 35.
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         volumes of interconnection requests in their interconnection queues.1614 For instance,

         Duke Southeast Utilities references the Commission’s recognition that transmission

         providers that already have a Commission-approved LGIP and LGIA based on a first-

         ready, first-served cluster study process may not need another transition process. Duke

         adds that requiring a second transition process would likely add confusion and potentially

         result in waiver requests filed with the Commission.1615 ISO-NE states that New England

         does not currently suffer interconnection queue backlogs to the same extent as other

         regions, and transition provisions could have a significant impact on interconnection

         requests that are currently proceeding through the existing interconnection process.1616

         WAPA claims that it needs sufficient flexibility to develop new programs within its

         existing appropriations (or to seek additional appropriations or spending authority) and to




                1614
                    Ameren Initial Comments at 19; Avangrid Initial Comments at 8; Bonneville
         Initial Comments at 13; CAISO Initial Comments at 24; Duke Southeast Utilities Initial
         Comments at 11; EEI Initial Comments at 10; Indicated PJM TOs Reply Comments at
         42; Invenergy Initial Comments at 39; ISO-NE Initial Comments at 33; MISO Initial
         Comments at 70; NARUC Initial Comments at 10-11; National Grid Initial Comments at
         28; NEPOOL Initial Comments at 14; NYISO Initial Comments at 12; NYTOs Initial
         Comments at 21; WAPA Initial Comments at 8-9; see also Invenergy Initial Comments
         at 41 (asserting that, while many of the NOPR proposals should be prospective only,
         affected systems reform should apply immediately to all pending requests and active
         studies).
                1615
                       Duke Southeast Utilities Initial Comments at 11.
                1616
                       ISO-NE Initial Comments at 33-34.
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         accommodate federal contracting timelines (because it hires contractors to conduct

         facilities studies).1617

                CAISO, Duke Southeast Utilities, and Invenergy call on the Commission to permit

         transmission providers in regions that already use a first-ready, first-served cluster study

         process to minimize or omit a transition process.1618 CAISO recommends that

         transmission providers be permitted to propose just and reasonable effective dates for

         each reform.1619 CAISO adds that it anticipates that most reforms should be effective

         with the beginning of the next cluster study after a compliance filing is approved, but

         some reforms could be implemented for existing interconnection requests in the queue,

         especially for interconnection customers that may not have executed an LGIA.

         Conversely, Tri-State states that a transition period will be necessary, even for those

         transmission providers already employing a first-ready, first-served cluster study process,

         due to changes beyond the overarching structure of the interconnection queue, such as a

         requirement for 100% site control.1620




                1617
                       WAPA Initial Comments at 8-9.
                1618
                       CAISO Initial Comments at 25.
                1618
                 Id.; Duke Southeast Utilities Initial Comments at 11; Invenergy Initial
         Comments at 39.
                1619
                       CAISO Initial Comments at 25.
                1620
                       Tri-State Initial Comments at 17.
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                Several commenters ask the Commission to let transmission providers establish

         their own transition plans.1621 MISO notes that this previously occurred after the 2008

         interconnection queue technical conference, where transmission providers were able to

         propose their own transition plan in adopting a first-ready, first-served model.1622

         Ameren, National Grid, and NEPOOL call for RTOs/ISOs, in particular, to be allowed

         flexibility to develop a transition process with input from stakeholders.1623 Avangrid

         notes that determining an equitable and achievable transition plan was among the most

         challenging aspects of the stakeholder process that led to PJM’s recent interconnection

         queue reform filing and asserts that other regions should have the chance for similar

         deliberations.1624 NYTOs argue that transmission providers should be allowed to

         propose: (1) setting an effective date for new interconnection requests that will be

         subject to the new cluster study process; (2) establishing an approach for the existing

         interconnection queue to be seen through to completion; and (3) determining a high-level




                1621
                    Ameren Initial Comments at 19; Avangrid Initial Comments at 37; MISO
         Initial Comments at 70; National Grid Initial Comments at 28-29; NEPOOL Initial
         Comments at 14; NESCOE Reply Comments at 10; NYTOs Initial Comments at 21-22.
                1622
                       MISO Initial Comments at 70.
                1623
                 Ameren Initial Comments at 19; National Grid Initial Comments at 28;
         NEPOOL Initial Comments at 14.
                1624
                       Avangrid Initial Comments at 8, 36-37.
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         process, including a high-level time frame for updating tariffs, if the proposed reforms

         are approved.1625

                Several commenters request that the Commission clarify how the NOPR’s

         proposed transition process relates to PJM’s transition process accepted as part of its

         recent interconnection queue reforms.1626 OPSI requests that the final rule not extend any

         transition process beyond what PJM proposed.1627 Indicated PJM TOs request that the

         Commission allow PJM to implement its carefully negotiated transition process to a first-

         ready, first-served cluster study process.1628 PJM suggests that the Commission hold in

         abeyance any compliance filing obligations in this proceeding until PJM has completed

         its proposed transition process.1629 PJM argues that this would be in keeping with the

         Commission’s statement that it will review any filings that result from transmission

         provider interconnection queue reform efforts “based on the record before us in those

         proceedings and not based on whether they comply with the proposed reforms in this

         NOPR.”1630 PJM also asserts that, given the size of its interconnection queue backlog,



                1625
                       NYTOs Initial Comments at 21-22.
                1626
                   Indicated PJM TOs Initial Comments at 34; OPSI Initial Comments at 7;
         Pennsylvania Commission Initial Comments at 15; PJM Initial Comments at 42; see also
         PJM Interconnection, L.L.C., 181 FERC ¶ 61,162 at PP 60-69.
                1627
                       OPSI Initial Comments at 7.
                1628
                       Indicated PJM TOs Initial Comments at 34.
                1629
                       PJM Initial Comments at 42.
                1630
                       Id. at 42-43 (citing NOPR, 179 FERC ¶ 61,194 at P 6).
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         allowing interconnection customers the option of a transitional serial study process will

         delay implementation of PJM’s cluster study process by several years and create

         uncertainty regarding that process.1631 PJM emphasizes that elsewhere in the NOPR, the

         Commission acknowledges the importance of allowing transmission providers to clear

         their interconnection queue backlogs quickly.1632

                                    c.      Commission Determination

                We adopt the NOPR proposal to modify section 5 of the pro forma LGIP to

         establish a transition process for moving to the first-ready, first-served cluster study

         process adopted in this final rule from the existing first-come, first-served serial study

         process. Specifically, we adopt the NOPR proposal to require transmission providers to

         offer existing interconnection customers up to three transition options, depending on

         which phase of the serial study process their interconnection requests are in: (1) a

         transitional serial study comprised of a facilities study (i.e., a transitional serial

         interconnection facilities study), (2) a transitional cluster study comprised of a clustered

         system impact study and individual facilities studies, or (3) withdrawal from the

         interconnection queue without penalty. We also adopt definitions for the reports issued

         in association with options (1) and (2), respectively (i.e., a transitional serial

         interconnection facilities study report and a transitional cluster study report). As

         discussed below, regarding eligibility for the transitional serial study, we modify the


                1631
                       Id. at 43.
                1632
                       PJM Reply Comments at 8-9.
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         NOPR proposal to require transmission providers to offer the transitional serial study

         option to interconnection customers that have been tendered a facilities study agreement,

         even if they have not yet executed that agreement, as of 30 calendar days after the filing

         date of the transmission provider’s initial filing to comply with this final rule. Similarly,

         regarding eligibility for the transitional cluster study, we modify the NOPR proposal to

         require transmission providers to offer the transitional cluster study option to

         interconnection customers with an assigned queue position as of 30 calendar days after

         the filing date of the transmission provider’s initial filing to comply with this final rule.

         We also adopt the NOPR proposals for transition process deposits, withdrawal penalties,

         and deadlines. We decline to adopt the proposal to impose a commercial readiness

         demonstration requirement and adopt, with modification, the NOPR proposal for site

         control requirements.

                We concur with commenters that, given current interconnection queue backlogs in

         multiple regions, it is essential that the Commission craft a transition process. Doing so

         will give interconnection customers, along with other market participants, time to adjust

         to new processes and requirements. We note that many responsive commenters support

         the proposed three options and, in particular, support providing interconnection

         customers at the facilities study stage the option for a transitional serial study.1633 We



                1633
                    Clean Energy Associations Initial Comments at 42-43; Consumers Energy
         Initial Comments at 5; ENGIE Initial Comments at 7; Longroad Energy Reply Comments
         at 16; NARUC Initial Comments at 10; NextEra Initial Comments at 28; Ørsted Initial
         Comments at 13; Pine Gate Initial Comments at 35-36.
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         concur with NRECA that the NOPR’s proposed transition process will create an efficient

         way to prioritize and process interconnection requests, based on how far they have

         advanced through the interconnection process and their level of commercial readiness.

         We further find that the transition process, as adopted herein, appropriately balances the

         need to move expeditiously to the new cluster study process with the need to respect the

         investments and expectations of interconnection customers at an advanced stage in the

         existing interconnection process.1634

                We disagree with commenters that contend that the NOPR’s proposed transition

         process is unnecessary, should be optional, or poses an undue risk of delay. As stated in

         the NOPR and affirmed in our findings in Section II of this final rule, we believe that

         interconnection queue backlogs exist throughout the country, in part, because the pro

         forma LGIP creates an incentive for interconnection customers to submit multiple

         interconnection requests for a given potential generating facility and remain in the

         interconnection queue to determine which of those interconnection requests has the

         lowest costs to interconnect.1635 Given this, simply moving to the new cluster study

         process, as CREA and NewSun suggest, risks creating large initial clusters, which may

         prevent interconnection customers from being able to interconnect in a reliable, efficient,

         transparent, and timely manner. Similarly, if transmission providers only used serial

         study processes to transition, it could put existing interconnection requests at greater risk


                1634
                       See e.g., Pub. Serv. Co. of Colo., 169 FERC ¶ 61,182.
                1635
                       NOPR, 179 FERC ¶ 61,194 at PP 24-35.
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         of cascading withdrawals that would delay the adoption of standard cluster study

         processes. With respect to concerns that a transition process could introduce delays, we

         note that the serial study portion of the transition process is limited to 90 calendar days,

         after which point the transitional cluster study commences.

                We decline requests to modify the proposed transitional cluster study process to

         give higher-queued interconnection requests a higher queue position than lower-queued

         interconnection requests. As stated above, to address the interconnection queue backlogs

         that currently exist, it is necessary to move the bulk of existing interconnection requests

         to the cluster study process, and as such, interconnection requests studied in the same

         cluster have equal queue priority to avoid undue discrimination.

                We also decline calls to modify the NOPR proposal to require that:

         (1) interconnection customers electing the transitional serial study must provide a deposit

         equal to 100% of the interconnection facility and network upgrade costs allocated to the

         interconnection customer in the system impact study; and (2) interconnection customers

         electing the transitional cluster study must provide a deposit equal to $5 million. As

         noted earlier, the transition process is anticipated to involve more interconnection

         customers than standard annual clusters (due to existing interconnection queue backlogs),

         which greatly increases the risk of late-stage withdrawals. Adopting deposit

         requirements for the transitional studies higher than those adopted for the cluster study

         process will help to ensure that the transitional process is used by interconnection

         customers that intend to proceed with their proposed generating facilities. In response to

         arguments that the proposed deposit amounts are arbitrary and/or excessive, we note that
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         they are based on expected costs to the extent practicable and that only a portion of these

         deposits are ultimately at-risk. That is, the withdrawal penalty is set at nine times the

         study cost, as discussed below, with the remainder of deposits to be refunded.1636 We

         also note that existing interconnection customers that are currently in an interconnection

         queue can opt to withdraw their interconnection requests without penalty and wait for the

         first standard cluster study with associated lower deposit requirements. Finally, with

         respect to EDF Renewable’s claim that the transitional serial study deposit conflicts with

         the Commission’s intentions in Order No. 2003, we find that the heightened need to

         avoid late-stage withdrawals during the transition process—a need that the Commission

         could not have anticipated in Order No. 2003—warrants the transitional use of this

         requirement for the transitional serial study.

                We adopt the NOPR proposal that the transitional study withdrawal penalty should

         equal nine times the study cost. The withdrawal penalty plays an important role in

         deterring speculative interconnection requests in both the standard cluster study and the

         transition process. We disagree with commenters that call for a lower penalty to apply

         during the transition process, given that the risk of withdrawals is heightened during the

         transition process. With respect to Ørsted’s contention that offshore wind developers will

         likely withdraw interconnection requests solely due to circumstances beyond their

         control, we note that, regardless of the cause, a withdrawal may cause harm to other


                1636
                      See supra Section III.A.7.a. Also, as one indicator of study costs, NV Energy
         states that, on average, it spends between $80,000 and $100,000 between the clustered
         system impact study and facilities studies. See supra Section III.A.6.a.
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         interconnection customers in the transition process. Thus, we find it appropriate to

         impose penalties on those that choose to withdraw notwithstanding that withdrawal may

         at times be due to circumstances beyond the interconnection customer’s control.

         Interconnection customers will bear the risk of withdrawal penalties and consider that

         risk in deciding whether to elect to join a transition process.

                We recognize that some transmission providers have existing cluster studies in

         progress and others have Commission-approved transition plans in progress. We

         emphasize that the provisions of this final rule are not intended to interfere with the

         timely completion of those in-progress cluster studies and transition processes. With

         respect to concerns about duplicative transition processes, we clarify that transmission

         providers that have already adopted a cluster study process or are currently undergoing a

         transition to a cluster study process will not be required to implement a new transition

         process.

                We are not persuaded by commenters’ requests to permit transmission providers to

         establish their own transition plans. Transmission providers would likely require months-

         to-years to develop and execute their own transition plans, given the need for stakeholder

         dialogue and internal approval, followed by Commission review and approval. We find

         that the benefits of moving forward with an efficient, standardized transition process

         outweigh the potential benefits of relying on tailor-made transition processes developed

         by each transmission provider and its stakeholders.

                Likewise, we decline to adopt any of the alternatives put forth by commenters.

         We are not persuaded by Shell’s proposal to allow transmission providers to “opt-out” of
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         the transition process based on their prior performance. We view the existing serial study

         process as inherently more prone to cascading withdrawals and delays, and thus ill-suited

         to a transition period intended to set the stage for a standard cluster study process. We

         view the Illinois Commission’s proposal for an accelerated process (for interconnection

         requests related to states’ objectives) in regions that may propose a lengthier transition

         process timeline, as more appropriately addressed by transmission providers in individual

         compliance filings. And, given the need for even more stringent requirements in a

         transition process discussed earlier, we view CREA and NewSun’s proposal to use

         progressively increasing deposits, during a transition process, as inherently ill-suited to

         address major interconnection queue backlogs.

                Finally, we decline calls to modify the NOPR proposal to require interconnection

         customers to meet transitional serial study eligibility requirements in 60 days after the

         Commission-approved effective date of a transmission provider’s filing in compliance

         with this final rule. Given that we do not adopt the proposed commercial readiness

         demonstration requirements, we find that the 60-calendar day deadline provides

         interconnection customers with sufficient time to adjust to the new requirements, i.e., to

         choose a transition option and, depending on the option chosen, demonstrate site control

         and provide a deposit. Furthermore, we concur with NRECA that this period will be

         augmented, in practice, by the 90-calendar day period afforded to transmission providers

         to submit their compliance filings.1637


                1637
                       See infra Section IV.C.
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                                        i.     Transition Process Eligibility and Exceptions

                As stated above, we modify the NOPR proposal regarding the eligibility for the

         transitional serial study and transitional cluster study.1638 Any interconnection customer

         that has been tendered a facilities study agreement as of 30 calendar days after the filing

         date of the transmission provider’s initial filing to comply with this final rule (even if it

         has not yet executed that agreement) may opt to proceed with a transitional serial study or

         withdraw its interconnection request without penalty. Transmission providers are

         required to tender an LGIA, pursuant to the requirements of section 11 of the pro forma

         LGIP, to any interconnection customer that has received a final facilities study report

         before the transmission provider commences transitional serial studies. Any

         interconnection customer that has an assigned queue position as of 30 calendar days after

         the filing date of the transmission provider’s initial filing to comply with this final rule

         may opt to proceed with a transitional cluster study or withdraw its interconnection

         request without penalty.

                We find that an earlier eligibility cut-off for the transitional studies will allow the

         transitional studies to begin sooner, which in turn, will allow transmission providers and

         interconnection customers to benefit from the Commission’s new cluster study process

         sooner. Further, we consider this modification appropriate because interconnection

         customers will have 120 calendar days after the publication of this final rule in the

         Federal Register to achieve eligibility for the transition process (90 calendar days for


                1638
                       See supra Section III.A.7.c.
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         transmission providers to submit compliance filings, plus the 30-calendar day eligibility

         cut-off).

                Additionally, we modify the NOPR proposal to require the transmission provider

         to tender the appropriate transitional study agreements (serial and/or cluster as

         applicable) to eligible interconnection customers no later than the Commission-approved

         effective date of the transmission provider’s compliance filing with this final rule. We

         find that this requirement will help ensure that interconnection customers are informed

         about their eligibility for the transitional studies (including the associated requirements

         and deadlines) in a timely manner.

                Transmission providers are not required to tender transitional study agreements to

         interconnection customers that submit an interconnection request after the 30-calendar

         day eligibility cut-off described above. Interconnection customers that submit an

         interconnection request after the 30-calendar day eligibility cut-off will be required to pay

         for any studies conducted by the transmission provider under its existing tariff (as

         required by pro forma LGIP section 13.3), and their interconnection requests will not be

         allowed to enter the transition process, although they may enter their interconnection

         requests in the transmission provider’s first standard cluster study, provided that they

         meet the new requirements for interconnection requests by the close of the first cluster

         request window.

                We are persuaded by commenters’ suggestion to require transmission providers to

         offer the transitional serial study option to interconnection customers that have been

         tendered a facilities study agreement, even if they have not yet executed that agreement,
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         as of 30 calendar days after the filing date of the transmission provider’s initial filing to

         comply with this final rule, and we modify the NOPR proposal accordingly. We find that

         interconnection requests at this point in the interconnection process are at an equivalent

         point as those interconnection requests for which interconnection customers have

         executed a facilities study agreement, as in both cases, the transmission provider has

         completed the system impact study but has not yet commenced the facilities study. We

         are not persuaded by commenters to extend the option for transitional serial study to

         interconnection requests at earlier stages in the interconnection process, as such

         modifications may undermine the ability of the proposed reforms to accelerate

         interconnection queue processing and could delay the transition to the new, more

         efficient cluster study process. We disagree with the proposal to exempt from the

         transition process interconnection requests that appear, based on a feasibility study, to

         require limited or no network upgrades. The results of this feasibility study may no

         longer be accurate depending on which higher-queued interconnection customers remain

         in the interconnection queue after the transition date.

                                      ii.    Commercial Readiness and Site Control

                We decline to adopt the proposed commercial readiness demonstration options for

         transitional studies for the same reasons that we are not adopting those options for cluster

         studies going forward, as discussed above. We adopt with modification the NOPR’s

         proposed site control requirements. Specifically, we require interconnection customers

         electing a transitional study, regardless of whether they select the transitional serial study

         or the transitional cluster study, to demonstrate 100% site control for their proposed
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         generating facilities. We find that such a requirement will provide further assurance that

         such interconnection customers are ready to proceed to construction. We modify the

         NOPR proposal by declining to require that interconnection customers that choose to

         proceed with a transitional serial interconnection facilities study must also demonstrate

         100% site control for any interconnection customer’s interconnection facilities because

         such a requirement would be overly burdensome for interconnection customers, in

         addition to the other requirements we are adopting elsewhere in this final rule. Further,

         we find that this requirement is not needed to ensure that such interconnection customers

         are ready to proceed to construction.

                                     iii.   Tariff Language

                We agree with Southern’s recommendation to align timelines for truing up

         construction costs in the proposed pro forma LGIP section 5.1.1.2(2) and current,

         unmodified by this final rule, pro forma LGIA article 12.2 (Final Invoice) by making

         these provisions consistent at six months, and we modify the NOPR proposal

         accordingly. We agree with Southern that consistent timelines for truing up construction

         costs will provide clarity and certainty for interconnection customers.
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                B.       Reforms to Increase the Speed of Interconnection Queue Processing

                         1.     Elimination of the Reasonable Efforts Standard

                                a.      Need for Reform and NOPR Proposal

                As the Commission explained in the NOPR, the pro forma LGIP does not require

         transmission providers to meet deadlines for conducting interconnection studies.1639

         Rather, transmission providers are only required to use “reasonable efforts” to complete

         interconnection studies on time.1640 “Reasonable efforts” are defined as “actions that are

         timely and consistent with Good Utility Practice and are substantially equivalent to those

         a Party would use to protect its own interests.”1641 There are no explicit consequences in

         the pro forma LGIP for transmission providers that fail to meet their study deadlines.

                In the NOPR, the Commission preliminarily found that the use of the reasonable

         efforts standard for transmission providers to complete interconnection studies resulted in

         Commission-jurisdictional rates that were unjust and unreasonable because: (1) the

         timely provision of interconnection service was critical to maintaining just and

         reasonable rates; (2) the data collected pursuant to Order No. 845 demonstrated that the

         failure to timely complete interconnection studies was a significant nationwide problem,

         even for transmission providers that had implemented other interconnection reforms; and

         (3) the reasonable efforts standard did not provide a meaningful incentive for


                1639
                       NOPR, 179 FERC ¶ 61,194 at P 28.
                1640
                       See pro forma LGIP sections 2.2, 6.3, 7.4, 8.3.
                1641
                       Order No. 2003, 104 FERC ¶ 61,103 at P 67; pro forma LGIP section 1.
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         transmission providers to complete their interconnection studies within the deadlines

         established in their tariffs.1642

                The Commission proposed to revise the pro forma LGIP to eliminate the

         reasonable efforts standard for transmission providers completing interconnection studies

         and instead impose firm study deadlines and establish penalties that would apply when

         transmission providers fail to meet study deadlines.1643 Specifically, the Commission

         proposed to require transmission providers that do not complete a cluster study, cluster

         restudy, facilities study, or affected system study by the deadline specified in the pro

         forma LGIP to pay a penalty of $500 per each business day that the study is late, except

         in situations where force majeure applies. The Commission proposed that those penalties

         would be distributed to the delayed interconnection customers on a pro rata basis to offset

         their study costs. Consistent with other penalties, the Commission proposed that such

         penalties would not be recoverable in transmission rates.1644

                The Commission also proposed to cap penalties at 100% of the total study deposit

         received for the late study to provide a safeguard against overly large penalties that may




                1642
                    NOPR, 179 FERC ¶ 61,194 at PP 165-167 (citing May Joint Task Force Tr.
         89:6-25 (Thad LeVar) (encouraging the Commission to examine “appropriate
         consequences to the transmission providers when they [do not] comply with the tariffs,”
         including by missing study deadlines)).
                1643
                       Id. P 168.
                1644
                       Id. P 169.
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         be considered punitive.1645 The Commission further proposed that no financial penalties

         on transmission providers that fail to meet study deadlines would be assessed until one

         cluster study cycle (that is not a transitional study cycle) after the Commission-approved

         effective date for implementing the reforms proposed in the NOPR. Additionally, the

         Commission proposed a 10-business day grace period such that no penalties would be

         assessed for a study that is delayed by 10 business days or less; for studies that are

         delayed by more than 10 business days, the penalty would be calculated based on the first

         business day the study was late. Further, the Commission proposed to permit the

         transmission provider to extend the deadline for a particular study by 30 business days by

         mutual agreement of the transmission provider and all interconnection customers in the

         relevant study. Finally, the Commission proposed to require transmission providers to

         post to their OASIS or a public website on a quarterly basis the total amount of such

         penalties from the previous quarter and the highest amount of such penalties paid to a

         single interconnection request from the previous quarter.

                The Commission acknowledged that the application of penalties for late

         interconnection studies in the context of RTOs/ISOs may raise several unique issues.1646

         However, consistent with the Commission’s findings in Order No. 890,1647 the


                1645
                       Id. P 170.
                1646
                       Id. P 171.
                1647
                   Preventing Undue Discrimination & Preference in Transmission Serv., Order
         No. 890, 118 FERC ¶ 61,119, 72 FR 12,226, order on reh’g, Order No. 890-A, 121
         FERC ¶ 61,297 (2007), order on reh’g, Order No. 890-B, 123 FERC ¶ 61,299 (2008),
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         Commission explained that penalties are appropriate in certain circumstances to

         incentivize compliance with tariff deadlines, notwithstanding the RTO’s/ISO’s status as a

         not-for-profit entity. To ensure that RTOs/ISOs would be able to pay any such penalties,

         the Commission proposed to require RTOs/ISOs to propose tariff provisions that would

         require the RTO/ISO to submit requests to recover the costs of specific interconnection

         study penalties under FPA section 205. The Commission explained that, similar to the

         ability of RTOs/ISOs to seek to directly assign monetary penalties for violations of

         reliability standards to other responsible entities, RTOs/ISOs could include a provision

         that the RTO/ISO may make an FPA section 205 filing seeking to allocate such penalties

         to the appropriate transmission owner that is responsible for, or contributed to, the

         delay.1648 However, the Commission sought comment on whether there was a more

         appropriate method for assigning such penalties in RTOs/ISOs. More generally, the

         Commission sought comment on whether penalties would effectively incentivize more

         timely completion of interconnection studies in RTOs/ISOs, and/or whether monetary

         penalties could have adverse consequences (e.g., compromising accuracy or increasing

         waiver requests as transmission providers strive to meet deadlines).

                Additionally, the Commission sought comment on: (1) the proposed penalty

         structure, including whether the penalty amount for a cluster study should be $500 per




         order on reh’g, Order No. 890-C, 126 FERC ¶ 61,228, order on clarification, Order
         No. 890-D, 129 FERC ¶ 61,126 (2009).
                1648
                       NOPR, 179 FERC ¶ 61,194 at P 172.
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         business day or whether an approach that accounts for the number of interconnection

         customers affected, such as $100 per business day per customer in the delayed study,

         would be more appropriate; (2) how and when the Commission should require

         transmission providers to communicate to interconnection customers the status of studies

         that may be delayed; (3) whether to include exceptions to the penalty other than force

         majeure, and if so, what those exceptions should be; and (4) whether Commission staff

         should issue periodic reports summarizing the status of transmission providers’

         interconnection queues and timeliness of interconnection studies based on information

         collected through existing reporting requirements, and whether this periodic report should

         be in addition to or a substitute for the proposed monetary penalties discussed above.1649

                                    b.      Comments

                                            i.   Comments in Support

                Many commenters support the NOPR proposal to eliminate the reasonable efforts

         standard and establish firm interconnection study deadlines by imposing financial

         penalties when transmission providers fail to meet study deadlines.1650 Multiple


                1649
                       Id. P 173.
                1650
                    ACE-NY Initial Comments at 11-12; ACE-NY Reply Comments at 2;
         ACORE Initial Comments at 4; Affected Interconnection Customers Initial Comments at
         23-25; CESA Initial Comments at 11; Clean Energy Associations Initial Comments at 43;
         Clean Energy States Initial Comments at 9; Consumers Energy Initial Comments at 5;
         CREA and NewSun Initial Comments at 83; CREA and NewSun Reply Comments at 56;
         Cypress Creek Initial Comments at 23; ELCON Initial Comments at 7; EPSA Initial
         Comments at 10-11; Evergreen Action Initial Comments at 2; Fervo Energy Initial
         Comments at 5; Fervo Energy Reply Comments at 7; Google Initial Comments at 5;
         Google Reply Comments at 3, 5; Illinois Commission Initial Comments at 9; Individual
         Signatories Initial Comments at 1; Interwest Initial Comments at 8; Invenergy Initial
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         commenters explain that interconnection studies are often substantially delayed, which

         creates uncertainty and risk in the process of bringing new generating facilities online,1651

         and ultimately results in an unreasonable market barrier for new generating facilities.1652

         NARUC contends that the timely provision of interconnection service is critical to

         maintaining just and reasonable rates.1653

                Some commenters argue that the interconnection queue backlogs indicate that the

         reasonable efforts standard has not been effective in ensuring timely access to the

         transmission system for new generating facilities1654 nor in imposing consequences when

         transmission providers fail to meet study deadlines.1655 Some commenters argue that the



         Comments at 29-30; Iowa Commission Initial Comments at 5; Navajo Utility Initial
         Comments at 12; New Jersey Commission Initial Comments at 13-14; New Jersey
         Commission Reply Comments at 1; Northwest and Intermountain Initial Comments at
         14; Ørsted Initial Comments at 14; Pine Gate Initial Comments at 38; Public Interest
         Organizations Initial Comments at 33; SEIA Initial Comments at 30; TAPS Initial
         Comments at 3; UMPA Initial Comments at 6-7.
                1651
                    ELCON Initial Comments at 7; EPSA Initial Comments at 11; Fervo Energy
         Initial Comments at 5; NARUC Initial Comments at 13-14; Navajo Utility Initial
         Comments at 12; SEIA Initial Comments at 33.
                1652
                    Pennsylvania Commission Initial Comments at 4; see also AEE Reply
         Comments at 21, 30; Fervo Energy Reply Comments at 7; Public Interest Organizations
         Initial Comments at 33 (explaining that the slow pace of interconnection has discouraged
         incorporation of new generation and stunted the transition of the transmission system).
                1653
                       NARUC Initial Comments at 13-14.
                1654
                    AEE Reply Comments at 20-21; Clean Energy Associations Initial Comments
         at 43; CREA and NewSun Initial Comments at 84; Iowa Commission Initial Comments
         at 5; New Jersey Commission Reply Comments at 3; Public Interest Organizations Initial
         Comments at 34.
                1655
                       ACE-NY Reply Comments at 3; Affected Interconnection Customers Initial
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         Order No. 845 reporting data supports the conclusion that the reasonable efforts standard

         has failed to ensure transmission providers complete interconnection studies on time.1656

         AEE argues that the broad definition of “reasonable efforts” presents a high bar to prove

         that interconnection study delays were unreasonable.1657

                Some commenters assert that the reasonable efforts standard results in an

         insufficient allocation of transmission provider resources to process the interconnection

         queue1658 and that the risk of penalties will provide a needed incentive for transmission

         providers to complete interconnection studies on time.1659 Some commenters argue that

         penalizing transmission providers is appropriate because they control the staffing and




         Comments at 23; CREA and Newsun Initial Comments at 83; EPSA Initial Comments at
         10; Fervo Energy Initial Comments at 5; Pennsylvania Commission Initial Comments at
         2.
                1656
                   ACE-NY Initial Comments at 11-12; AEE Reply Comments at 18; Affected
         Interconnection Customers Initial Comments at 23-24; Pennsylvania Commission Initial
         Comments at 2-3; UMPA Initial Comments at 6-7.
                1657
                       AEE Initial Comments at 28.
                1658
                    ELCON Initial Comments at 7; Fervo Energy Initial Comments at 5;
         Invenergy Initial Comments at 29-30; Northwest and Intermountain Initial Comments at
         14; see also Clean Energy Associations Initial Comments at 43-44; NARUC Initial
         Comments at 14; SEIA Initial Comments at 33.
                1659
                    ACE-NY Initial Comments at 12; ACE-NY Reply Comments at 3; ELCON
         Initial Comments at 7; EPSA Initial Comments at 11; Evergreen Action Initial Comments
         at 2-3; Fervo Energy Initial Comments at 5; Google Initial Comments at 16; Individual
         Signatories Initial Comments at 1; New Jersey Commission Reply Comments at 2;
         Northwest and Intermountain Initial Comments at 14; Pine Gate Initial Comments at 38;
         Public Interest Organizations Initial Comments at 34; SEIA Initial Comments at 33;
         TAPS Initial Comments at 3.
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         study process and are in the best position to ensure that studies are timely and

         accurate.1660 CREA and NewSun assert that the volume of interconnection requests is

         unlikely to decrease, so transmission providers need to ensure that they hire adequate

         staff to meet this need.1661 Google cautions against taking “implicit threats of reduced

         cooperation or assertions that transmission providers cannot do any better” seriously,

         noting that any major reform to interconnection processes will entail growing pains.1662

         AEE argues that some transmission providers have improved their generator

         interconnection process, which underscores that it is feasible to hold all transmission

         providers to higher standards.1663

                Some commenters point out that the NOPR proposal resolves an imbalance

         between interconnection customers, which are held to strict deadlines, and transmission

         providers, which are currently not required to meet study deadlines.1664 Some

         commenters assert that the proposed penalties complement the stricter financial and




                1660
                    Invenergy Initial Comments at 30; SEIA Initial Comments at 32; see also Iowa
         Commission Initial Comments at 5-6 (“RTOs/ISOs need to prioritize interconnection
         studies and need to hold their employees and/or outside entities responsible for delays”).
                1661
                       CREA and NewSun Reply Comments at 56.
                1662
                       Google Reply Comments at 4.
                1663
                       AEE Reply Comments at 26.
                1664
                   ACE-NY Initial Comments at 12; CREA and NewSun Initial Comments at 83-
         84; ELCON Initial Comments at 8; Fervo Energy Reply Comments at 7-8; Pennsylvania
         Commission Initial Comments at 2-3; Public Interest Organizations Reply Comments at
         10; SEIA Reply Comments at 13.
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         readiness requirements that the NOPR proposed to apply to interconnection customers1665

         or that the firm study deadlines and penalty structure are necessary to ensure that the

         other NOPR proposals are successful.1666

                Multiple commenters note that long interconnection delays have economic costs

         for consumers, so transmission providers should also face economic costs for failing to

         meet deadlines.1667 Navajo Utility asserts that interconnection delays prevent it from

         using 100 MW of transmission rights that it was granted through settlement, which leaves

         it with an obligation to pay for transmission rights without the ability to use them.1668




                1665
                  AEE Reply Comments at 19-21; APPA-LPPC Initial Comments at 21; Clean
         Energy Associations Initial Comments at 43.
                1666
                    ACE-NY Initial Comments at 12; EPSA Initial Comments at 11; Evergreen
         Action Initial Comments at 2-3; Fervo Energy Initial Comments at 5; Individual
         Signatories Initial Comments at 1; New Jersey Commission Reply Comments at 2; Pine
         Gate Initial Comments at 38; SEIA Initial Comments at 33.
                1667
                     AEE Reply Comments at 18, 30; Consumers Energy Initial Comments at 7
         (explaining that interconnection delays could create additional costs to end-use customers
         because LSEs may invest in continued operation of existing assets set to retire while new
         generating facilities are delayed); Evergreen Action Initial Comments at 2; Interwest
         Initial Comments at 8; Iowa Commission Initial Comments at 5-6 (asserting that
         “[d]elayed studies result in denial of likely low-cost generation to consumers”); Navajo
         Utility Initial Comments at 12 (explaining that study delays postpone important
         generation, tax revenue, and construction jobs for Navajo Nation); Northwest and
         Intermountain Initial Comments at 14; Public Interest Organizations Reply Comments at
         10; SEIA Initial Comments at 32; SEIA Reply Comments at 13.
                1668
                       Navajo Utility Initial Comments at 12.
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                                      ii.    Comments in Opposition

                Many commenters, particularly transmission providers, oppose the NOPR

         proposal to eliminate the reasonable efforts standard and impose financial penalties on

         transmission providers for late studies.1669 Further, some commenters assert that the

         Commission cannot support a statutory finding under FPA section 206 to justify the

         NOPR proposal1670 or that the NOPR proposal is not based on substantial evidence and

         fails to consider important aspects of the problem.1671

                Many commenters argue that it is inequitable to penalize transmission providers

         for study delays because those delays are largely due to factors outside the transmission

         provider’s control, including high volumes of speculative interconnection requests, a



                1669
                    AECI Initial Comments at 6; AEP Initial Comments at 25-29; Alliant Energy
         Initial Comments at 6; Ameren Initial Comments at 20-21; Avangrid Initial Comments at
         9; Bonneville Initial Comments at 15; Dominion Initial Comments at 34; EEI Initial
         Comments at 14-15; Indicated PJM TOs Initial Comments at 5, 36; Longroad Energy
         Reply Comments at 14; MISO Initial Comments at 13, 71; MISO TOs Initial Comments
         at 14; NextEra Initial Comments at 6, 29-30; North Dakota Commission Initial
         Comments at 5; NYISO Initial Comments at 25-26; NYTOs Reply Comments at 2;
         Omaha Public Power Initial Comments at 11; OMS Initial Comments at 15; Pacific
         Northwest Utilities Initial Comments at 9; PacifiCorp Initial Comments at 32-34; PG&E
         Initial Comments at 3-5; PJM Initial Comments at 7, 55; PPL Initial Comments at 19;
         Puget Sound Initial Comments at 9; SDG&E Reply Comments at 1; Southern Initial
         Comments at 5; SPP Initial Comments at 11; Tri-State Initial Comments at 17-18; U.S.
         Chamber of Commerce Initial Comments at 9; Vermont Electric and Vermont Transco
         Initial Comments at 2; WAPA Initial Comments at 10; WIRES Initial Comments at 9-10;
         Xcel Initial Comments at 38.
                1670
                       Indicated PJM TOs Initial Comments at 38.
                1671
                  Dominion Reply Comments at 20; MISO TOs Initial Comments at 23; NYISO
         Reply Comments at 4-5; PG&E Reply Comments at 2-3.
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         shortage of qualified engineers, delayed data from interconnection customers, affected

         system coordination, cascading restudies caused by withdrawals, and the increasing

         complexity of studies due to new types of generating facilities.1672 Some commenters

         contend that the record supports retaining the reasonable efforts standard because third-

         party forces are common to most study delays.1673

                Some commenters argue that data from reports required by Order No. 845 does

         not support the NOPR proposal.1674 AEP notes that the data referenced in the NOPR

         represents only one year and does not support the conclusion that transmission providers

         are intentionally slow in interconnection queue processing.1675 MISO notes that its Order

         No. 845 reports show that the majority of delays are caused by the need to wait for




                1672
                     AEP Initial Comments at 25-26; Ameren Initial Comments at 20; Avangrid
         Initial Comments at 9-10, 29; Dominion Reply Comments at 19; Indicated PJM TOs
         Reply Comments at 22-24; ISO-NE Initial Comments at 35-36; ISO/RTO Council Initial
         Comments at 3-4; MISO Initial Comments at 73-74; MISO TOs Initial Comments at 15-
         16, 23-24; National Grid Initial Comments at 30; NESCOE Reply Comments at 11-12;
         NRECA Initial Comments at 9, 33-34; NYISO Initial Comments at 26-27; OMS Initial
         Comments at 15; Pacific Northwest Utilities Initial Comments at 9-10; PacifiCorp Initial
         Comments at 32-35; PG&E Initial Comments at 7; PG&E Reply Comments at 3-4; Puget
         Sound Initial Comments at 9; SDG&E Reply Comments at 1; Southern Initial Comments
         at 5, 30; State Agencies Initial Comments at 12-14; Tri-State Initial Comments at 17-18;
         U.S. Chamber of Commerce Initial Comments at 10; WIRES Initial Comments at 9; Xcel
         Initial Comments at 38.
                1673
                   Eversource Initial Comments at 28; MISO TOs Reply Comments at 13;
         PacifiCorp Initial Comments at 33; Southern Initial Comments at 30; U.S. Chamber of
         Commerce Initial Comments at 10.
                1674
                       AEP Initial Comments at 25; MISO Initial Comments at 72.
                1675
                       AEP Initial Comments at 25-27.
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         affected systems studies.1676 NYISO states that its August 2022 Order No. 845 report,

         and other recent RTO/ISO reports, detail the various drivers of delays, which are

         typically outside their control.1677 NYISO argues that it would not be reasoned decision-

         making for the Commission to ignore these reports and draw an overly simplistic

         conclusion that the reasonable efforts standard is to blame for study delays. PG&E and

         Southern note that their Order No. 845 data indicates that they have no delayed

         studies.1678

                Conversely, AEE and Public Interest Organizations respond that commenters that

         claim that study delays are caused by factors beyond transmission providers’ control fail

         to acknowledge the availability of potential solutions, such as increasing expenditures to

         attract and retain staff and policy and process improvements.1679 ACE-NY asserts that,

         while other parties can cause delays, transmission providers are also responsible for

         delays.1680 SEIA argues that interconnection request withdrawals are often similarly

         outside interconnection customers’ control.1681 AEE contends that accepting high




                1676
                        MISO Initial Comments at 14, 72.
                1677
                        NYISO Initial Comments at 27-29.
                1678
                        PG&E Initial Comments at 4-6; Southern Initial Comments at 30-31.
                1679
                    AEE Reply Comments at 34-35; MISO TOs Initial Comments at 18; Public
         Interest Organizations Reply Comments at 2-4.
                1680
                        ACE-NY Reply Comments at 3.
                1681
                        SEIA Reply Comments at 16.
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         interconnection queue volumes as a legitimate cause for delays would amount to

         providing a permanent free pass to transmission providers to exceed study deadlines.1682

               Several commenters who oppose the NOPR proposal assert that transmission

         providers engage in good faith efforts to process the interconnection queue in a timely

         manner1683 and that there is no evidence to the contrary.1684 Commenters argue that

         transmission providers already have sufficient motivation to process the interconnection

         queue in a timely manner because: (1) their own interconnection requests are processed

         in the exact same manner as third parties; (2) they need to ensure an adequate amount of

         generation to meet load and reserve margin requirements; and (3) they have to file reports

         with the Commission and can face complaints or enforcement action for poor

         performance.1685 Commenters assert that penalties will be ineffective in speeding




               1682
                      AEE Reply Comments at 27.
               1683
                    AEP Initial Comments at 26; Avangrid Initial Comments at 29; Dominion
         Initial Comments at 34; EEI Initial Comments at 15; Eversource Initial Comments at 21-
         22; Indicated PJM TOs Initial Comments at 5-6, 38; MISO TOs Initial Comments at 15-
         17; NextEra Initial Comments at 29; NYISO Initial Comments at 26-27; OMS Initial
         Comments at 15; Puget Sound Initial Comments at 9-10; State Agencies Initial
         Comments at 12; Vermont Electric and Vermont Transco Initial Comments at 2.
               1684
                    AEP Initial Comments at 26; Avangrid Initial Comments at 29; Dominion
         Initial Comments at 34; EEI Initial Comments at 15; Eversource Initial Comments at 21-
         22; Indicated PJM TOs Initial Comments at 5-6, 38; MISO TOs Initial Comments at 15-
         17; NextEra Initial Comments at 29; NYISO Initial Comments at 26-27; Puget Sound
         Initial Comments at 9-10; State Agencies Initial Comments at 12.
               1685
                  AEP Initial Comments at 26; Dominion Initial Comments at 36; Indicated
         PJM TOs Initial Comments at 37-38; MISO TOs Initial Comments at 16; PJM Initial
         Comments at 56; Puget Sound Initial Comments at 10.
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         interconnection queue processing time because the main causes of study delays will

         remain.1686 MISO TOs contend that the Commission proposes to compound the problem

         of study delays by requiring transmission owners and providers to manage delays that are

         out of their control, while simultaneously proposing to require transmission providers to

         offer additional studies.1687

                NextEra argues that penalties will be counterproductive if not paired with

         constructive guidance to transmission providers on how to perform interconnection

         studies in a timelier manner because penalties could either divert resources away from

         interconnection studies and lead to conflict about allocating penalties in RTOs/ISOs or be

         accepted as a cost of doing business.1688

                Indicated PJM TOs contest the NOPR’s citation to testimony provided by Utah

         Public Service Commission Chairman Thad LeVar, noting that Chairman LeVar also

         acknowledged that best practices vary between RTO/ISO and non-RTO/ISO regions and

         that penalties do not always result in the best consequences.1689




                1686
                     Ameren Initial Comments at 20; Bonneville Initial Comments at 15; Dominion
         Initial Comments at 34-35; Eversource Initial Comments at 20-21; Indicated PJM TOs
         Initial Comments at 39-40; MISO Initial Comments at 13, 71; NextEra Initial Comments
         at 30; NextEra Reply Comments at 11; North Dakota Commission Initial Comments at 5;
         PacifiCorp Initial Comments at 34; PG&E Reply Comments at 3; PJM Initial Comments
         at 7-8, 56; R Street Initial Comments at 14; Southern Initial Comments at 30; State
         Agencies Initial Comments at 12.
                1687
                       MISO TOs Reply Comments at 12.
                1688
                       NextEra Initial Comments at 29-30.
                1689
                       Indicated PJM TOs Initial Comments at 38 (citing May Joint Task Force Tr.
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                Some commenters argue that the NOPR proposal is an unsupported shift from

         recent precedent.1690 Commenters note that the Commission expressly declined to

         impose penalties for study delays in Order No. 845 and argue that there is no change in

         circumstance or concrete evidence to justify reversal of that prior finding.1691

                Commenters also note that, although the Commission based its penalty proposal

         on Order No. 890, there are significant differences.1692 First, commenters explain that the

         Order No. 890 penalties only apply when a transmission provider fails to meet multiple

         study deadlines, whereas the NOPR proposes to impose penalties each time a study

         deadline is missed.1693 Second, commenters point out that the Order No. 890 penalty

         structure protects due process through an opportunity to present evidence that delays

         were outside the transmission provider’s control or due to extenuating circumstances,

         whereas the NOPR proposal does not.1694 Third, PacifiCorp explains that interconnection

         studies are more complex, numerous, and susceptible to delays than the transmission




         46:11-13, 89:17-18 (Thad LeVar)).
                1690
                       EEI Initial Comments at 14; MISO Reply Comments at 21.
                1691
                    MISO TOs Initial Comments at 21-22; NYISO Initial Comments at 26; PG&E
         Initial Comments at 6; PG&E Reply Comments at 3.
                1692
                       MISO TOs Initial Comments at 19; PacifiCorp Initial Comments at 33-34.
                1693
                    MISO TOs Initial Comments at 19; MISO Reply Comments at 21; Tri-State
         Initial Comments at 18.
                1694
                    Eversource Initial Comments at 30; MISO Reply Comments at 21; MISO TOs
         Initial Comments at 19-21.
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         service studies at issue in Order No. 890.1695 Affected Interconnection Customers argue

         that the Commission’s comparison to Order No. 890’s penalty structure for transmission

         service requests is misplaced because the size and scale of the current interconnection

         queue backlog is significantly different than transmission queues when Order No. 890

         was issued.1696 Similarly, Invenergy notes that the reference to transmission service

         requests is inapplicable because the interconnection process uses a cluster study.1697

                EEI and Eversource state that the NOPR proposal represents a departure from the

         good utility practice standard, which the Commission uses in many other contexts and is

         part of the definition of reasonable efforts.1698 EEI and Eversource assert that the

         Commission has not adequately explained why reliance on good utility practice remains

         sufficient in other situations, but not for interconnection studies.

                Commenters contend that firm study deadlines are not reasonable or feasible

         because interconnection studies are complex and each study is different in scope, size,

         and needed coordination.1699 Some commenters also note that the current deadlines were



                1695
                       PacifiCorp Initial Comments at 33-34.
                1696
                       Affected Interconnection Customers Initial Comments at 25.
                1697
                       Invenergy Initial Comments at 30.
                1698
                       EEI Initial Comments at 15; Eversource Initial Comments at 22-24.
                1699
                    AECI Initial Comments at 6; Avangrid Initial Comments at 28-29; Bonneville
         Initial Comments at 15; Clean Energy States Initial Comments at 10-11; Eversource
         Initial Comments at 27; Idaho Power Initial Comments at 10; ISO-NE Initial Comments
         at 35-36; ISO/RTO Council Reply Comments at 2; MISO TOs Initial Comments at 15;
         National Grid Initial Comments at 30; PJM Initial Comments at 58; Puget Sound Initial
         Comments at 10; SPP Initial Comments at 13; U.S. Chamber of Commerce Initial
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         established almost 20 years ago, when the transmission providers had significantly fewer

         interconnection requests to study.1700 SPP contends that cluster studies are more prone to

         study delays given the interdependencies between interconnection requests and number

         of parties that need to cooperate.1701 Commenters also assert that the other NOPR

         proposals, including the optional resource solicitation study, informational studies, and

         evaluation of advanced transmission technologies, add significant burdens to the study

         process that will make it even more challenging to comply with strict deadlines.1702

                  Some commenters express concern that the penalties could reduce coordination

         between transmission providers, interconnection customers, and affected systems.1703

         Commenters note that the enforcement of deadlines could be expensive, involve

         contentious disputes, and disrupt ongoing studies.1704 Commenters state that transmission



         Comments at 10; WIRES Initial Comments at 10.
                  1700
                         Eversource Initial Comments at 27; Indicated PJM TOs Initial Comments at
         37-38.
                  1701
                         SPP Initial Comments at 11-12.
                  1702
                    Id. at 13; Indicated PJM TOs Initial Comments at 36; MISO Reply Comments
         at 7; PPL Initial Comments at 24.
                  1703
                    Alliant Energy Initial Comments at 6; EEI Initial Comments at 15; Eversource
         Initial Comments at 25-26; MISO Reply Comments at 21; North Dakota Commission
         Initial Comments at 6.
                  1704
                  Clean Energy Associations Initial Comments at 45; EEI Initial Comments at
         15; MISO Initial Comments at 13, 71; MISO TOs Initial Comments at 24; MISO TOs
         Reply Comments at 10; National Grid Initial Comments at 30; NextEra Initial Comments
         at 30; OMS Initial Comments at 15; PacifiCorp Initial Comments at 35; R Street Initial
         Comments at 14; SPP Initial Comments at 14.
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         providers will also likely provide less flexibility to interconnection customers to remedy

         deficiencies or modify interconnection requests.1705 MISO TOs assert that this could

         threaten reliability.1706 NESCOE points out that firm penalties may impede the

         interconnection of emerging technologies by limiting flexibility to work on modeling and

         data requirements.1707

                PJM argues that using penalties to offset study costs for interconnection customers

         introduces perverse incentives for the interconnection customer to dispute and thereby

         delay its study reports to receive the penalty money.1708 In response, however, AEE notes

         that interconnection customers bear greater costs due to delays, which creates an

         incentive to move forward as quickly as possible.1709

                Commenters note that the same engineers that conduct interconnection studies also

         have other responsibilities such as transmission planning1710 and responding to extreme

         weather events.1711 Ameren states that penalties could motivate transmission providers to



                1705
                    Dominion Reply Comments at 21; EEI Initial Comments at 15; Eversource
         Initial Comments at 25-26; NYISO Initial Comments at 38-39; WIRES Initial Comments
         at 10.
                1706
                       MISO TOs Reply Comments at 18-19.
                1707
                       Id.; NESCOE Initial Comments at 17.
                1708
                       PJM Initial Comments at 57.
                1709
                       AEE Reply Comments at 35-36.
                1710
                       Indicated PJM TOs Initial Comments at 6.
                1711
                       National Grid Initial Comments at 30.
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         redirect resources towards interconnection studies to the detriment of other necessary

         functions.1712 Some commenters argue that penalties will deprive transmission providers

         of financial resources or harm work environments and employee morale, making it more

         difficult to recruit and retain personnel qualified to perform the studies.1713

                A number of commenters express concern that the NOPR proposal may result in

         less accurate studies because transmission providers may prioritize meeting deadlines

         over accuracy and identification of the most efficient solutions.1714 Some commenters

         further assert that penalties may impair system reliability because the study timelines are

         too short to carry out sufficient analysis.1715 Some commenters argue that the penalties




                1712
                       Ameren Initial Comments at 21.
                1713
                    Eversource Initial Comments at 25-26; Indicated PJM TOs Initial Comments
         at 24, 40; MISO TOs Initial Comments at 24; Pacific Northwest Utilities Initial
         Comments at 12; PJM Initial Comments at 57.
                1714
                     AECI Initial Comments at 6; Alliant Energy Initial Comments at 6; Avangrid
         Initial Comments at 9-10, 30; Bonneville Initial Comments at 15-16; CESA Reply
         Comments at 8; Clean Energy Buyers Initial Comments at 10-11; Enel Initial Comments
         at 48; Indicated PJM TOs Reply Comments at 26; ISO/RTO Council Initial Comments at
         8; Longroad Energy Reply Comments at 14; MISO Initial Comments at 13, 71, 77-78;
         MISO TOs Initial Comments at 14, 24; National Grid Initial Comments at 30; NESCOE
         Reply Comments at 13; NextEra Reply Comments at 11; North Dakota Commission
         Initial Comments at 6; NRECA Initial Comments at 34; NYISO Initial Comments at 38-
         39; NYTOs Initial Comments at 24-28; Omaha Public Power Initial Comments at 12;
         OMS Initial Comments at 15; Ørsted Initial Comments at 15; PacifiCorp Reply
         Comments at 6; PJM Initial Comments at 8, 56-57; PPL Initial Comments at 19; SPP
         Initial Comments at 11-12; Tri-State Initial Comments at 18; Xcel Initial Comments at
         38.
                1715
                 AEP Initial Comments at 28; Dominion Reply Comments at 21; NYISO Initial
         Comments at 39; PJM Initial Comments at 8, 56-57.
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         could force transmission providers to complete studies without necessary data, which

         could also lead to inaccurate results and cause restudy.1716 Some commenters state that

         less accurate studies would harm interconnection customers because interconnection

         customers cannot rely on them to make sound business decisions.1717 Avangrid states

         that transmission providers could use more conservative assumptions and “stock

         solutions” to streamline studies, which could increase interconnection costs.1718

         However, in response to these comments, AEE states that the implementation of

         timelines and penalties does not inherently determine the evaluation process for

         clusters.1719 AEE notes that inaccurate study results occur today without firm deadlines

         and that accuracy can be improved even with deadlines.1720 New Jersey Commission

         disagrees that there is an inherent tradeoff between system reliability and holding

         transmission providers accountable, arguing that failing to bring sufficient new

         generating facilities online can create considerable reliability and economic risks.1721




                1716
                 Ameren Initial Comments at 21; MISO Initial Comments at 78; SPP Initial
         Comments at 12-13.
                1717
                 Enel Initial Comments at 48-49; MISO Initial Comments at 78; OMS Initial
         Comments at 15; SPP Initial Comments at 12.
                1718
                       Avangrid Initial Comments at 30.
                1719
                       AEE Reply Comments at 33.
                1720
                       Id. at 31-32.
                1721
                       New Jersey Commission Reply Comments at 3.
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                Commenters express concern that the cost of penalties and compliance

         mechanisms may be passed down to customers and increase transmission costs.1722 Clean

         Energy Buyers argue that the penalties, if they flow through to interconnection

         customers, could outweigh the benefits gained from other reforms and lead to disputes

         over the allocation of penalty amounts.1723 R Street points out that the Commission will

         have to ensure that transmission providers cannot translate penalties into cost recovery at

         either the federal or retail level.1724

                Some commenters characterize the NOPR proposal as a strict liability approach to

         penalties and argue that it is unjust and unreasonable, arbitrary and capricious, and a

         violation of due process rights and the Administrative Procedures Act to impose penalties

         without a fact-based finding of fault.1725 Some commenters emphasize that the NOPR

         proposal provides no possibility for the transmission provider to explain the

         circumstances for the delay, even though the delay is often outside of the transmission




                1722
                  Alliant Energy Initial Comments at 6-7; NARUC Initial Comments at 19;
         NYISO Reply Comments at 6-7, 9; R Street Initial Comments at 14; SEIA Reply
         Comments at 17; State Agencies Initial Comments at 12; Tri-State Initial Comments at
         18; Vermont Electric and Vermont Transco Initial Comments at 2.
                1723
                       Clean Energy Buyers Initial Comments at 10.
                1724
                       R Street Initial Comments at 15; see also SEIA Reply Comments at 17.
                1725
                    MISO Initial Comments at 13, 71; MISO Reply Comments at 19-20; MISO
         TOs Initial Comments at 18; SPP Initial Comments at 14; NYISO Initial Comments at 40
         (citing Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463
         U.S. 29, 43 (1983); Enforcement of Statutes, Reguls. & Orders, 123 FERC ¶ 61,156, at
         PP 50-71 (2008)); WIRES Initial Comments at 10.
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         provider’s control.1726 Dominion argues that there are three practical concerns with the

         NOPR proposal: (1) how disputes about who is at fault will be resolved; (2) who decides

         fault; and (3) whether the interconnection study should be delayed while the dispute is

         resolved.1727

                Some commenters argue that the reasonable efforts standard is the right approach

         considering the complex dynamics of the interconnection study process and constantly

         changing circumstances.1728 EEI asserts that the reasonable efforts standard is the best

         approach to govern the interconnection process, which is flexible to allow for the

         optimum exercise of engineering judgement while ensuring accountability for egregious

         delays or what is not consistent with good utility practice.1729 MISO TOs note that, in

         Order No. 2003, the Commission explained that the reasonable efforts standard was a

         high standard because parties use it when protecting their own interests and applying this

         standard to all parties would “ensure comparable treatment.”1730




                1726
                   ISO-NE Initial Comments at 35; ISO/RTO Council Initial Comments at 2;
         MISO Initial Comments at 7.
                1727
                       Dominion Reply Comments at 24.
                1728
                    Avangrid Initial Comments at 10, 30-31; Bonneville Initial Comments at 16;
         Indicated PJM TOs Initial Comments at 36; NYISO Initial Comments at 30-31; PG&E
         Reply Comments at 3-4; WIRES Initial Comments at 10.
                1729
                       EEI Reply Comments at 16.
                1730
                    MISO TOs Reply Comments at 6-7 (citing Order No. 2003, 104 FERC ¶
         61,103 at P 69).
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                NYISO contends that the reasonable efforts standard and Order No. 845 reporting

         requirements provide the Commission and stakeholders with information to evaluate the

         length of time taken by RTOs/ISOs to finish studies, compare their performance, and

         identify and investigate when a particular entity is systematically delaying studies, which

         will allow the Commission and stakeholders to take appropriate action.1731 SPP proposes

         that the Commission retain the reasonable efforts standard and make improvements to it

         or enforce it more strictly.1732

                WAPA notes that, as a federal power marketing administration, it has statutory

         duties that take precedence over deliverables established by the Commission and cannot

         be subject to monetary penalties without a waiver of sovereign immunity.1733 Avangrid

         notes that many transmission providers and transmission owners do not earn rates of

         return for interconnection facilities or network upgrades and do not profit from

         interconnection studies, so penalties would reduce shareholder return on equity.1734

                                       iii.   Comments on Specific Proposal

                Some commenters support eliminating the reasonable efforts standard but do not

         support the proposed financial penalties.1735 CAISO argues that the Commission should




                1731
                       NYISO Initial Comments at 31.
                1732
                       SPP Initial Comments at 15.
                1733
                       WAPA Initial Comments at 10.
                1734
                       Avangrid Initial Comments at 30.
                1735
                       CAISO Initial Comments at 25-26; Clean Energy Buyers Initial Comment at
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         simply prohibit late studies and mandate firm study deadlines because the proposed

         penalties will enable transmission providers to continue completing studies late if they

         are willing to pay the price.1736 CAISO explains that, if a transmission provider cannot

         meet its study deadlines, it should be required to amend its tariff.1737 Other commenters,

         as described below, have various comments on the specific penalty proposal.

                                            (a)    Penalty Amount

                Some commenters advocate for larger penalties than the NOPR proposal.1738

         Some commenters contend that the proposed penalty amount is de minimis1739 or that a

         $500 per business day penalty is likely too small to prompt a change in behavior.1740

         Cypress Creek argues that penalties should be commensurate with the magnitude of

         liquidated damages that interconnection customers face if they do not meet their


         9-10; MISO Initial Comments at 13, 71, 79; Shell Initial Comments at 10.
                1736
                       CAISO Initial Comments at 25-26; PG&E Reply Comments at 4.
                1737
                       CAISO Initial Comments at 25-26.
                1738
                    ACE-NY Initial Comments at 12; Affected Interconnection Customers Initial
         Comments at 25-26; CESA Initial Comments at 11; CESA Reply Comments at 9;
         Consumers Energy Initial Comments at 6; CREA and NewSun Reply Comments at 56;
         Cypress Creek Initial Comments at 24; EPSA Initial Comments at 11; Fervo Energy
         Initial Comments at 6; Invenergy Initial Comments at 29; Pine Gate Initial Comments at
         39.
                1739
                    CESA Reply Comments at 8; Invenergy Initial Comments at 29; NARUC
         Initial Comments at 14.
                1740
                    ACE-NY Initial Comments at 12; Affected Interconnection Customers Initial
         Comments at 24-26; CESA Initial Comments at 11; Clean Energy Associations Initial
         Comments at 44; Consumers Energy Initial Comments at 6; ELCON Initial Comments at
         7-8; Pine Gate Initial Comments at 39.
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         contractual deadlines.1741 ACE-NY proposes a penalty of $5,000 to $25,000 per day,

         depending on cluster size, if the Commission chooses a per-cluster-per-day penalty

         structure.1742 Affected Interconnection Customers propose that the Commission adopt a

         penalty of $2,500 per day capped at $2 million.1743 Public Interest Organizations state

         that there is not sufficient consensus in the record to move forward with the $500 per day

         penalty amount and suggest that the Commission hold a technical conference to

         determine the final amount.1744

                Some commenters argue that the penalties should increase through the study

         process because later-stage study delays have greater impacts on interconnection

         customers, which are required to make increasing commitments throughout the study

         process.1745 Invenergy recommends penalty amounts of $5,000 per day for cluster

         studies, $6,000 per day for cluster restudies, and $7,000 per day for facilities studies.1746

                Pine Gate expresses concern that the proposed penalty amounts do not correspond

         to the costs imposed on interconnection customers as a result of the late study results,



                1741
                       Cypress Creek Initial Comments at 24.
                1742
                       ACE-NY Initial Comments at 12.
                1743
                 Affected Interconnection Customers Initial Comments at 5, 26; CESA Reply
         Comments at 9.
                1744
                       Public Interest Organizations Reply Comments at 5-6.
                1745
                  CESA Initial Comments at 11; Clean Energy Associations Initial Comments at
         44; CREA and NewSun Reply Comments at 57; Invenergy Initial Comments at 30.
                1746
                       Invenergy Initial Comments at 30.
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         explaining that the penalty amount is dwarfed by the overall cluster study cost and that

         the low daily rate would require an interconnection study to be delayed years before the

         amounts would approach the study deposit amounts.1747 As an example, Pine Gate refers

         to the most recent MISO interconnection queue submissions: MISO received 956

         interconnection requests, totaling 170.8 GW of new generation, and collected

         $687,980,000 in study deposits. Pine Gate notes that, under a late study fee of $500 per

         day, a study would have to be delayed 1,375,960 days—or 3,770 years—before equaling

         the cost of study deposits. Further, Pine Gate explains that the daily carrying cost on the

         study deposit cost at the prevailing development loan interest rate of 10% is

         approximately $188,487.67. Thus, Pine Gate states that, before the proposed 10-day

         grace period has elapsed, interconnection customers will have spent $1,884,876 in

         additional interest costs.

                In response to requests for higher penalties, some commenters argue that there is

         no legal or policy justification for making the proposed penalty scheme harsher and more

         inequitable.1748 MISO argues that NERC reliability penalties are typically assessed at

         under $500 per day, if at all, and NERC non-critical infrastructure protection penalties

         are also assessed at far lower values. MISO contends that, because these “moderate risk”




                1747
                       Pine Gate Initial Comments at 39-40.
                1748
                       MISO TOs Reply Comments at 19; NYISO Reply Comments at 1.
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         violations merit such low penalties, there is no support for $500 per day penalties for

         delayed interconnection studies.1749

                NARUC supports the proposal to cap the penalty amount at 100% of the total

         study deposit received.1750 Several commenters argue that the penalty amount should be

         capped at an amount greater than 100% of the total study deposit received.1751 Invenergy

         requests that the Commission clarify that the cap is not reduced by any withdrawal

         penalties.1752 Public Interest Organizations propose that transmission providers that reach

         the cap issue a compliance statement explaining in detail the source of the delay and use

         penalty amounts above the cap to hire third-party consultants to conduct interconnection

         studies.1753

                Several commenters argue that the penalty amount should not be capped.1754

         Some commenters note that financial penalties for interconnection customers are not




                1749
                        MISO Reply Comments at 23.
                1750
                        NARUC Initial Comments at 15.
                1751
                   Interwest Initial Comments at 8; Invenergy Initial Comments at 31; Northwest
         and Intermountain Initial Comments at 14.
                1752
                        Invenergy Initial Comments at 31.
                1753
                        Public Interest Organizations Initial Comments at 36.
                1754
                   Id. at 35-36; ACE-NY Initial Comments at 13; AEE Reply Comments at 37;
         Consumers Energy Initial Comments at 6; CREA and NewSun Initial Comments at 84;
         Cypress Creek Initial Comments at 23-24; SEIA Initial Comments at 34.
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         capped at their study deposits.1755 Other commenters argue that the study deposit amount

         cap is not commensurate with the harm late studies cause interconnection customers.1756

                                               (b)     Penalty Structure

                  Some commenters suggest a per-customer per-day penalty structure, rather than

         the NOPR proposal for a per-cluster per-day structure.1757 AEE suggests that the

         Commission assess penalties based on the higher value of $500 per day or $100 per

         customer per day.1758 Multiple commenters oppose a penalty structure based on the

         number of interconnection customers because transmission providers have no control

         over the number of interconnection requests they receive and higher request volumes lead

         to more complex studies with more potential for delay.1759

                  Some commenters suggest a penalty structure based on the cluster’s

         characteristics.1760 Public Interest Organizations suggest a penalty structure set as a




                  1755
                         AEE Initial Comments at 31; Northwest and Intermountain Initial Comments
         at 15.
                  1756
                         CREA and NewSun Initial Comments at 84; SEIA Initial Comments at 34.
                  1757
                     ACE-NY Initial Comments at 13; SEIA Initial Comments at 34. PG&E seeks
         clarification on whether the penalties will apply per-customer per-day or per-cluster per-
         day. PG&E Initial Comments at 8.
                  1758
                         AEE Initial Comments at 31.
                  1759
                 CAISO Initial Comments at 27; MISO Reply Comments at 24; Xcel Initial
         Comments at 38.
                  1760
                    Google Initial Comments at 17; NARUC Initial Comments at 20-21; Public
         Interest Organizations Initial Comments at 34.
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         percentage of the total study deposit received per day.1761 Google recommends the

         penalty structure take into account both the size of the interconnection request and the

         magnitude of a study delay’s impact on other interconnection requests in the

         interconnection queue, which would focus penalties on delays that have the most impact

         on overall processing of the interconnection queue.1762 NARUC explains that the penalty

         should not be targeted at the number of interconnection customers in a cluster that are

         delayed but at the desirable characteristics of the generating facilities being delayed.1763

                Some commenters suggest that the Commission require transmission providers to

         discount study costs for delayed studies by the percentage of time they are delayed in

         completing such study, subject to a maximum discount set by the Commission.1764 Clean

         Energy States propose that, if an interconnection study is late, the transmission provider

         could not charge the interconnection customers for the cost of the study, providing the

         interconnection customer a modest amount of compensation for the delay.1765 PacifiCorp

         argues that neither the host transmission provider nor affected system operator should be



                1761
                       Public Interest Organizations Initial Comments at 34.
                1762
                       Google Initial Comments at 17.
                1763
                       NARUC Initial Comments at 20-21.
                1764
                     AEE Initial Comments at 28-29; AEE Reply Comments at 36-37; Clean
         Energy Associations Initial Comments at 45 (explaining that, under their preferred
         approach, if a study took 30 calendar days past a 150-calendar day deadline, that would
         result in a 20% discount on study costs); Longroad Energy Reply Comments at 14; Pine
         Gate Initial Comments at 40; SEIA Reply Comments at 17.
                1765
                       Clean Energy States Initial Comments at 10-11.
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         penalized if either party delays the work of the other, especially if the delays are caused

         by transmission providers that are not public utilities.1766

                NRECA and Tri-State assert that the final rule should allow transmission

         providers to stop or reset the clock in the event of interconnection customer-initiated

         delays.1767 Similarly, APPA-LPPC state that the clock should not start running on study

         deadlines until after the interconnection customer submits all necessary information,

         including curing any deficiencies.1768 Tri-State asserts that a delay should not be

         penalized if it is caused by a higher-queued cluster going through a restudy.1769 Tri-State

         also suggests that, if the Commission moves forward with penalties for late studies,

         additional language should be added requiring interconnection customers to provide

         needed information within a specified time frame in order to complete the studies. R

         Street claims that transmission providers can game requirements that trigger penalties,

         such as by forcing requesting parties to resubmit specifications to restart the processing

         clock.1770




                1766
                       PacifiCorp Initial Comments at 37.
                1767
                       NRECA Initial Comments at 34; Tri-State Initial Comments at 19.
                1768
                       APPA-LPPC Initial Comments at 21.
                1769
                       Tri-State Initial Comments at 18.
                1770
                       R Street Initial Comments at 15.
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                                              (c)    Penalty Allocation and Distribution

                Many commenters agree that transmission providers, including RTOs/ISOs, must

         not pass on penalty costs to ratepayers.1771 Public Interest Organizations support enabling

         transmission providers to allocate penalty costs to responsible parties but recommend

         maintaining presumption of fault with the transmission providers themselves and

         disallowing transmission providers from recovering penalty amounts.1772

                Several commenters support distributing the penalties collected from transmission

         providers to the impacted interconnection customers.1773 PG&E seeks clarification on

         how the penalty would be distributed (i.e., equal distribution to each interconnection

         customers, equal distribution among interconnection requests, or distributed based on

         project size).1774 Fervo Energy supports the proposal to require transmission providers to




                1771
                     Clean Energy Associations Initial Comments at 44; Consumers Energy Initial
         Comments at 6; Cypress Creek Initial Comments at 24; Google Initial Comments at 18;
         Illinois Commission Initial Comments at 9; NARUC Initial Comments at 15; New Jersey
         Commission Initial Comments at 13-14; OPSI Initial Comments at 8-9; SEIA Initial
         Comments at 34; see also Ohio Commission Consumer Advocate Initial Comments at 13
         (“Although FERC states that the proposed penalties would not be recoverable in
         transmission rates, we believe such imposition will inevitably impact ratepayers, and not
         rightfully so, unless it can be clearly demonstrated that the proposed $500/day penalty is
         not passed along[.]”). But see Iowa Commission Initial Comments at 5-6 (“[I]t is not
         correct to assume that the penalties would result in ultimate costs to the
         customers/ratepayers as some of the stakeholders contend[.]”).
                1772
                       Public Interest Organizations Reply Comments at 6, 8-9.
                1773
                    ACE-NY Initial Comments at 12; Interwest Initial Comments at 9; NARUC
         Initial Comments at 14-15; Northwest and Intermountain Initial Comments at 15.
                1774
                       PG&E Initial Comments at 8.
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         provide quarterly public reports on total amounts of penalties and the highest penalty for

         a single interconnection request.1775 Google argues that transmission providers should

         make such a report available annually to state commissions to ensure penalties are not

         paid by consumers.1776

                National Grid argues that the Commission should allow transmission providers to

         recover penalties from an interconnection customer if the customer is responsible for the

         delay.1777

                                              (d)    Penalty Recovery in RTOs/ISOs

                Some commenters support the proposal to allow RTOs/ISOs to recover the cost of

         specific interconnection study penalties from transmission owners responsible for study

         delays through FPA section 205 filings.1778 ACORE recommends that RTOs/ISOs

         provide explicit criteria for how they will determine which parties are responsible for or

         contributed to study delays.1779 AEE suggests that the Commission assign RTO/ISO

         penalties to transmission owners by default.1780 In response to AEE’s proposal, MISO



                1775
                       Fervo Energy Initial Comments at 6.
                1776
                       Google Initial Comments at 20.
                1777
                       National Grid Initial Comments at 33.
                1778
                    ACE-NY Initial Comments at 12; CESA Reply Comments at 8-9; Google
         Initial Comments at 19; NARUC Initial Comments at 17; Public Interest Organizations
         Initial Comments at 35; SEIA Initial Comments at 34.
                1779
                       ACORE Initial Comments at 8.
                1780
                       AEE Initial Comments at 30.
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         TOs assert that imposing penalties on transmission owners that did not have control over

         the causes of study delays does not follow cost causation principles.1781

                Some commenters express concerns about how RTOs/ISOs will pay penalties if

         no member is found responsible.1782 OPSI contends that, because RTOs/ISOs rely on

         transmission owners to process interconnection queues, they may be reluctant to seek

         penalty recovery from them.1783

                Several commenters oppose the proposal to allow RTOs/ISOs to recover the cost

         of specific interconnection study penalties from transmission owners responsible for

         study delays through FPA section 205 filings.1784 Such commenters assert that the

         proposal does not provide sufficient detail on how penalties will work in RTO/ISO

         regions.1785 Some commenters contend that imposing penalties on RTOs/ISOs will not

         expedite interconnection studies because the penalties will not address the actual source

         of study delays and will disrupt processing of interconnection queues.1786 ISO-NE and



                1781
                   MISO TOs Reply Comments at 20-21 (citing K N Energy, Inc. v. FERC, 968
         F.2d 1295, 1300 (D.C. Cir. 1992)).
                1782
                 Alliant Energy Initial Comments at 6-7; APPA-LPPC Initial Comments at 22;
         NARUC Initial Comments at 18; NESCOE Initial Comments at 16.
                1783
                       OPSI Initial Comments at 9.
                1784
                    AEP Initial Comments at 27-28; CAISO Initial Comments at 26; Dominion
         Initial Comments at 35-36; EEI Initial Comments at 17; ISO-NE Initial Comments at 34-
         36; SPP Initial Comments at 15; TAPS Initial Comments at 3.
                1785
                       Eversource Initial Comments at 29; PJM Initial Comments at 57.
                1786
                       ISO/RTO Council Initial Comments at 2; WIRES Initial Comments at 11.
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         MISO note that delays may not be the fault of the RTO/ISO because transmission owners

         often conduct the studies.1787

                Commenters argue that the proposed penalty system would impose administrative

         and litigative burden on RTOs/ISOs and the Commission.1788 Indicated PJM TOs argue

         that the process before the Commission will need to be a complete de novo review.1789

         SoCal Edison and New York State Department note that the penalty system would likely

         require additional resources to track and allocate penalties, which could increase the cost

         of administering interconnection queues.1790 The ISO/RTO Council claims that, under

         the NOPR proposal, RTOs/ISOs will need to act as fact-finding tribunals to fairly assign

         penalties before making an FPA section 205 filing, which would be a time- and resource-

         consuming process at odds with the goal of reducing interconnection study delays.1791




                1787
                       ISO-NE Initial Comments at 35; MISO Initial Comments at 14, 73-74.
                1788
                    Avangrid Reply Comments at 8; CAISO Initial Comments at 26; Indicated
         PJM TOs Reply Comments at 27; ISO-NE Initial Comments at 35; ISO/RTO Council
         Initial Comments at 3-4; MISO Initial Comments at 16, 77; MISO TOs Reply Comments
         at 21-22; New York State Department Initial Comments at 10-11; NYISO Initial
         Comments at 33; PJM Initial Comments at 57-58; SoCal Edison Initial Comments at 19.
                1789
                       Indicated PJM TOs Initial Comments at 44.
                1790
                 New York State Department Initial Comments at 10-11; SoCal Edison Initial
         Comments at 19.
                1791
                     ISO/RTO Council Initial Comments at 5; see also Indicated PJM TOs Initial
         Comments at 37 (explaining that it would be difficult for RTOs to determine who is at
         fault for study delays).
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         TAPS avers that RTOs/ISOs would need precise and well-supported cases to successfully

         assign penalties to responsible transmission owners.1792

                Commenters contend that having RTOs/ISOs assign penalties to responsible

         entities would harm coordination or create tension between RTOs/ISOs, transmission

         owners, interconnection customers, and other parties.1793 AEP and TAPS assert that the

         proposal could discourage RTO/ISO participation.1794

                Commenters express concern around imposing penalties on non-profit

         RTOs/ISOs, which have no ability to pay fines without collecting them from another

         party.1795 MISO contends that, for RTOs/ISOs, penalties without specified payees are

         effectively a tax on LSEs.1796

                NYISO contends that penalties would threaten RTOs’/ISOs’ financial viability.1797

         NYISO explains that RTO/ISO penalties and challenges to penalty recovery have been

         rare. NYISO claims that there are no examples of Commission denials of penalty cost

         recovery, so RTOs/ISOs would be subject to considerable uncertainty about their ability


                1792
                       TAPS Initial Comments at 6-7.
                1793
                 AEP Initial Comments at 27; Dominion Initial Comments at 35-36; Indicated
         PJM TOs Reply Comments at 6-7, 27; NextEra Initial Comments at 30; NYISO Initial
         Comments at 39-40; PJM Initial Comments at 57-58.
                1794
                       AEP Initial Comments at 27-28; TAPS Initial Comments at 6.
                1795
                  MISO Initial Comments at 13, 71; MISO TOs Reply Comments at 20; NYISO
         Reply Comments at 10.
                1796
                       MISO Initial Comments at 13, 72.
                1797
                       NYISO Initial Comments at 32.
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         to recover study penalties.1798 NYISO argues that, if the Commission is likely to accept

         RTO/ISO penalty recovery proposals, then the penalties would serve no purpose because

         they would be passed to customers and fail to incentivize RTOs/ISOs to complete studies

         in a more timely manner.

                NYISO argues that it is unjust and unreasonable and unduly discriminatory to

         apply the same level of penalties to RTOs/ISOs as other transmission providers because

         they are differently situated than other transmission providers.1799 NYISO states that an

         identical penalty would be much more punitive on RTOs/ISOs than other transmission

         providers, so any financial penalties imposed on RTOs/ISOs should be smaller in size

         and slower to trigger. NYISO requests that, if the Commission requires penalties, it

         allow RTOs/ISOs to propose in their compliance filings appropriate rules for their own

         regions.

                NYISO further argues that Order Nos. 6721800 and 890 do not support subjecting

         RTOs/ISOs to the same penalties as non-independent transmission providers.1801 NYISO

         argues that the proposed penalties pose a greater risk to RTOs/ISOs than reliability

         penalties, which have been assessed in rare circumstances and are subject to the


                1798
                       Id. at 37.
                1799
                       Id. at 41.
                1800
                   Rules Concerning Certification of the Elec. Reliability Org.; & Procs. for the
         Establishment, Approval, & Enf’t of Elec. Reliability Standards, Order No. 672-A, 71 FR
         19814 (Apr. 18, 2006), 114 FERC ¶ 61,104 (2006).
                1801
                       NYISO Initial Comments at 32-33.
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         Commission’s close scrutiny.1802 NYISO also notes that it does not conduct the kinds of

         transmission studies addressed in Order No. 890, so the formal applicability of the Order

         No. 890 penalty regime to RTOs/ISOs does not mean that application of penalties to

         RTOs/ISOs is practicable.1803

                Many commenters express concerns that RTOs/ISOs may pass penalty costs

         through to transmission owners or ratepayers who did not contribute to study delays,

         which they claim is unjust and unreasonable.1804 New York State Department does not

         support penalties unless they can be recovered from RTO/ISO bonuses or shareholder

         profits.1805

                Some commenters also argue that the proposal to allow RTOs/ISOs to recover

         penalties from transmission owners ignores that other entities may be responsible for

         study delays.1806 MISO explains, for example, that it has no mechanism to recover

         penalties from affected systems and that, even for entities subject to MISO’s tariff,



                1802
                        Id. at 33-34.
                1803
                        Id. at 36.
                1804
                    Id. at 32; Alliant Energy Initial Comments at 6-7; EEI Initial Comments 17;
         Indicated PJM TOs Initial Comments at 37; ISO/RTO Council Initial Comments at 3-4;
         NARUC Initial Comments at 18; NEPOOL Initial Comments at 16; NESCOE Reply
         Comments at 11; New York State Department Initial Comments at 10; North Dakota
         Commission Initial Comments at 6; Omaha Public Power Initial Comments at 11; OMS
         Initial Comments at 15; R Street Initial Comments at 14; State Agencies Initial
         Comments at 12-13; TAPS Initial Comments at 3-5; WIRES Initial Comments at 11.
                1805
                        New York State Department Initial Comments at 10.
                1806
                        ISO/RTO Council Initial Comments at 3-4; MISO Initial Comments at 74.
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         consensus on a penalty pass through mechanism is likely to be elusive.1807 Several

         commenters argue that, because RTOs/ISOs will have to pass through the penalty, it will

         not accomplish the Commission’s goals.1808 NESCOE, however, disagrees that

         RTOs/ISOs will have to pass through penalty costs but notes that the Commission

         required RTOs/ISOs to file proposals to recover penalties incurred for reliability standard

         violations case-by-case.1809

                TAPS distinguishes NERC reliability penalties as part of a congressionally

         mandated regimen, whereas the proposed penalties are not.1810 TAPS notes that, while

         NERC reliability penalty amounts are used to offset operational costs of NERC or other

         relevant entities, the NOPR proposes to distribute penalty costs back to interconnection

         customers, who are not required to use those funds to offset costs for consumers or

         ratepayers.

                TAPS also seeks clarification because the NOPR proposal provided that penalties

         should not be recoverable in transmission rates but also noted that penalties imposed on




                1807
                       MISO Initial Comments at 14, 74-75.
                1808
                    AEE Initial Comments at 29; APPA-LPPC Initial Comments at 22; Clean
         Energy States Initial Comments at 9-10; ISO/RTO Council Initial Comments at 3-4;
         NESCOE Reply Comments at 12-13; Omaha Public Power Initial Comments at 11;
         Public Interest Organizations Initial Comments at 35; WIRES Initial Comments at 11.
                1809
                    NESCOE Reply Comments at 12 n.44 (citing Reliability Standard Compliance
         & Enf’t in Regions with Reg’l Transmission Orgs. or Indep. Sys. Operators, 122 FERC
         ¶ 61,247, at P 16 (2008)).
                1810
                       TAPS Initial Comments at 5 (citing 16 U.S.C. 824o).
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         RTOs/ISOs could be handled similarly to NERC reliability penalties, which the

         Commission has previously allowed RTOs/ISOs to recover from ratepayers.1811 TAPS

         contends that the Commission should not allow RTOs/ISOs to pass penalties through to

         ratepayers or LSEs; to the extent the Commission allows RTOs/ISOs to recover costs

         through FPA section 205 proceedings, TAPS recommends that the Commission

         automatically waive any penalty amount the RTO/ISO would otherwise pass to

         ratepayers.1812

                Commenters argue that the proposed penalty structure lacks the due process and

         fact finding associated with the RTO/ISO recovery of NERC reliability penalties.1813

         MISO and ISO/RTO Council explain that NERC uses a fact-finding tribunal, which

         avoids the potential conflicts of interest and process disruptions that would stem from

         requiring the transmission provider to judge disputes.1814 Indicated PJM TOs explain that

         RTOs/ISOs can only recover NERC reliability penalties from another entity if that entity

         was identified and allowed to participate in the NERC process.1815 Commenters note that

         NERC reliability penalty amounts are calculated based on specific circumstances and that



                1811
                       Id. at 3-5.
                1812
                       Id. at 7-8.
                1813
                 Indicated PJM TOs Initial Comments at 43-44; ISO/RTO Council Initial
         Comments at 2; MISO Initial Comments at 15, 76; NYISO Initial Comments at 35-36.
                1814
                       ISO/RTO Council Initial Comments at 6; MISO Initial Comments at 15, 75-
         76.
                1815
                       Indicated PJM TOs Initial Comments at 43.
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         financial penalties are not always imposed.1816 Further, the ISO/RTO Council argues that

         the NOPR proposal to allow FPA section 205 filings to allocate penalties is unworkable

         because it assumes the RTO/ISO will be able to identify a transmission owner that is

         responsible for the delay.1817

                ISO-NE and MISO explain that transmission providers are in no position to

         perform fact-finding, which would require a time- and resource-consuming process to

         hear from all involved parties.1818 MISO states that it has no procedures beyond its

         alternative dispute resolution process for adjudicating disputes and even these procedures

         call for multi-month processes.1819 MISO notes that it is unclear who would make the

         findings and how penalties would be assigned if multiple parties contribute to a delay.1820

         MISO and ISO/RTO Council note that the personnel able to determine the cause of a

         delay are the interconnection study engineers, who would need to divert their resources

         from performing studies to provide evidence.1821

                MISO TOs state that, if the Commission adopts penalties, it should also adopt the

         requirement that RTOs/ISOs make an FPA section 205 filing before allocating any


                1816
                  ISO/RTO Council Initial Comments at 7; MISO Initial Comments at 15, 76-
         77; NYISO Initial Comments at 36.
                1817
                       ISO/RTO Council Initial Comments at 4.
                1818
                       ISO-NE Initial Comments at 36; MISO Initial Comments at 15, 75.
                1819
                       MISO Initial Comments at 15, 75.
                1820
                       Id. at 76.
                1821
                       Id.; ISO/RTO Council Initial Comments at 7.
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         penalties to a transmission owner in order to provide due process to the transmission

         owner and to be consistent with the Commission’s approach to RTO/ISO recovery of

         NERC reliability penalty costs.1822

                Indicated PJM TOs argue that it is unclear whether PJM has the authority to

         recover penalty costs from transmission owners.1823 Indicated PJM TOs state that the

         consolidated transmission owners agreement (CTOA) specifies that PJM has the right to

         file “charges for recovery of PJM costs” under FPA section 205, but they argue that

         penalties are not a cost of operation. Indicated PJM TOs explain that the CTOA reserves

         rights not specifically transferred to PJM to transmission owners. Therefore, Indicated

         PJM TOs conclude that the right to recover penalties was not conferred on PJM and that

         PJM lacks the contractual authority to seek recovery of penalties from transmission

         owners under FPA section 205. Indicated PJM TOs add that modifying the CTOA would

         implicate the Mobile-Sierra presumption.1824

                Further, Indicated PJM TOs argue that the Commission lacks the authority under

         FPA section 205 to require RTOs/ISOs to seek cost recovery of interconnection study




                1822
                       MISO TOs Initial Comments at 26.
                1823
                       Indicated PJM TOs Initial Comments at 44-45.
                1824
                   Id. at 45 n.126 (citing Morgan Stanley Cap. Grp. Inc. v. Pub. Util. Dist. No. 1,
         554 U.S. 527 (2008); NRG Power Mktg., LLC v. Me. Pub. Utils. Comm’n, 558 U.S. 165
         (2010)).
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         penalties.1825 SEIA disagrees and asks the Commission to establish a regime in which it

         can recover penalties for late studies in Order No. 890.1826

                                             (e)    Study Deadline Extension

                Several commenters support the NOPR proposal to allow for the extension of a

         study deadline by mutual agreement.1827 Some commenters argue that this extension will

         promote cooperation between interconnection customers and transmission providers.1828

         Further, AEE argues that the extension option will provide a buffer for studies that

         warrant more time and that the two study cycle transition will give transmission providers

         time to adjust to the cluster model and deadlines, to understand possible variability in

         each cluster, and to develop strategies for times when extra bandwidth is needed, such as

         hiring third-party assistance.1829 AEE suggests that the Commission require that the

         mutual agreements be publicly available.1830




                1825
                    Id. at 45 (citing Atl. City Elec. Co. v. FERC, 329 F.3d 856, 859 (D.C. Cir.
         2003) (per curiam)).
                1826
                       SEIA Reply Comments at 13.
                1827
                    Consumers Energy Initial Comments at 6; NEPOOL Initial Comments at 16;
         Pine Gate Initial Comments at 38.
                1828
                       Consumers Energy Initial Comments at 7.
                1829
                       AEE Reply Comments at 30-31.
                1830
                       AEE Initial Comments at 31-32.
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                NARUC supports the proposal so long as the transmission provider certifies to the

         Commission that the extension will not delay unrelated interconnection requests outside

         the cluster.1831

                Several commenters propose modifications to the NOPR deadline extension

         proposal. NYISO states that it is unreasonable to allow individual interconnection

         customers to veto extensions and instead proposes that 30-day extensions should be

         available if the RTO/ISO notifies the Commission that there is good cause to take

         additional time to complete the study.1832 Indicated PJM TOs argue that it will be

         virtually impossible to obtain mutual agreement in a region with a large number of

         interconnection customers and instead propose that the transmission provider determine

         the appropriate extension on compliance.1833 Tri-State notes that there is no incentive for

         interconnection customers who have agreed to a study deadline to re-negotiate and

         mutually agree upon an extended deadline.1834 SoCal Edison suggests that the

         Commission allow transmission providers to extend study deadlines in the event of a

         larger than usual cluster.1835




                1831
                       NARUC Initial Comments at 15.
                1832
                       NYISO Initial Comments at 42.
                1833
                       Indicated PJM TOs Initial Comments at 42.
                1834
                       Tri-State Initial Comments at 19.
                1835
                       SoCal Edison Initial Comments at 18.
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                                              (f)    Transition

                Duke Southeast Utilities request that the Commission clarify that transmission

         providers already using a cluster study process will not be subject to penalties until after

         the completion of two study cycles, which will encourage transmission providers not to

         employ an unnecessary transition process.1836 Other commenters argue that financial

         penalties should be in effect during the first transitional cluster study.1837

                                              (g)    Force Majeure Exception

                Several commenters support the NOPR proposal to only permit exceptions to the

         penalty in instances of force majeure, arguing that additional exceptions make the penalty

         less effective.1838 Invenergy argues that there should be a process for transmission

         providers to declare force majeure to prevent the overuse of this exception.1839 CREA

         and NewSun argue that any force majeure exception should also apply to interconnection

         customers when they fail to meet deadlines.1840

                Many commenters argue that the Commission should extend exemptions beyond

         force majeure, such as to events outside the transmission provider’s control or for good




                1836
                       Duke Southeast Utilities Initial Comments at 11.
                1837
                    ACE-NY Initial Comments at 13; AEE Initial Comments at 32; Cypress Creek
         Initial Comments at 24.
                1838
                       Cypress Creek Initial Comments at 24; Google Reply Comments at 3.
                1839
                       Invenergy Initial Comments at 31-32.
                1840
                       CREA and NewSun Initial Comments at 84-85.
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         cause.1841 NARUC and National Grid argue that transmission providers should have an

         opportunity to request a penalty exemption on a case-by-case basis.1842 NESCOE argues

         that the Commission should provide a list of presumptive no-fault delays.1843

                                            (h)   Requests for Alternatives, Clarification, or
                                                  Technical Conference

               A number of commenters suggest that the Commission evaluate whether the other

         reforms are successful before implementing a penalty regime.1844 NYTOs and

         Eversource similarly ask that the Commission allow the changes in the ANOPR to take

         effect before imposing penalties.1845 Some commenters suggest that the Commission

         hold a technical conference prior to penalties becoming effective to discuss experiences




               1841
                    Indicated PJM TOs Initial Comments at 42; MISO TOs Initial Comments at
         25; National Grid Initial Comments at 32; NESCOE Initial Comments at 16; NYISO
         Initial Comments at 42; PPL Initial Comments at 19; SoCal Edison Initial Comments at
         19; Tri-State Initial Comments at 18; WIRES Initial Comments at 10; Xcel Initial
         Comments at 38.
               1842
                      NARUC Initial Comments at 21; National Grid Initial Comments at 33.
               1843
                      NESCOE Initial Comments at 16.
               1844
                    AEP Initial Comments at 29; Avangrid Reply Comments at 14; Clean Energy
         Buyers Initial Comments at 10-11; Eversource Initial Comments at 30-31; Idaho Power
         Initial Comments at 10; ISO/RTO Council Reply Comments at 5; Longroad Energy
         Reply Comments at 15; NY Commission and NYSERDA Initial Comments at 6; NYISO
         Initial Comments at 30; Pacific Northwest Utilities Initial Comments at 9-10; PacifiCorp
         Initial Comments at 34; Puget Sound Initial Comments at 11; State Agencies Initial
         Comments at 14; TAPS Initial Comments at 9.
               1845
                      Eversource Initial Comments at 30-31; NYTOs Initial Comments at 23-24.
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         with the new cluster study process and focus the penalties on the causes of delays.1846

         SPP and NYISO also note that some transmission providers are undergoing their own

         interconnection queue reform efforts; therefore, the Commission should focus on

         ensuring those efforts are successful instead of imposing automatic penalties.1847 TAPS

         suggests that the Commission delay implementation of penalties by at least five years

         from the effective date of compliance filings to the final rule.1848

                NARUC argues that any penalty structure should be applied equally to

         transmission providers delaying interregional affected system studies and seeks

         clarification on how penalties will be assessed when delays are caused by affected

         systems.1849

                Some commenters suggest that, instead of or in addition to penalties, the

         Commission could improve reporting by issuing Commission staff reports or requiring

         additional reporting from transmission providers.1850 Indicated PJM TOs explain that the


                1846
                ISO/RTO Council Initial Comments at 9; NARUC Initial Comments at 15-22;
         NESCOE Reply Comments at 14; PJM Initial Comments at 9; TAPS Initial Comments
         at 9.
                1847
                       NYISO Initial Comments at 30; SPP Initial Comments at 14-15.
                1848
                       TAPS Initial Comments at 9.
                1849
                       NARUC Initial Comments at 14, 17.
                1850
                    Id. at 16; AEE Initial Comments at 32-33; AEE Reply Comments at 32;
         APPA-LPPC Initial Comments at 23; Avangrid Initial Comments at 31; Bonneville
         Initial Comments at 16; Clean Energy Associations Initial Comments at 47; Clean Energy
         Buyers Initial Comments at 11; CREA and NewSun Initial Comments at 85-86; EPSA
         Initial Comments at 11; Fervo Energy Initial Comments at 6; Google Reply Comments at
         4; MISO TOs Initial Comments at 27; National Grid Initial Comments at 31-32;
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         Commission or an interested party could initiate an FPA section 206 proceeding if it

         believes PJM is not exercising due diligence in performing studies based on its

         reporting.1851 In response to arguments that entities could pursue FPA section 206 filings

         before the Commission if they believe reasonable efforts have been violated, New Jersey

         Commission argues that study delays result from systemic failures, so it is inappropriate

         to address such issues through individual FPA section 206 filings. 1852

                MISO proposes that, if a transmission provider misses a deadline by more than a

         threshold grace period, the transmission provider should be required to self-report the

         circumstances around the delay to the Commission, and, in response to that self-report,

         the Commission could issue a show cause order to require the transmission provider and

         any other relevant entities to respond with specific information about the causes for the

         delays and propose a mitigation plan.1853 MISO states that, at the conclusion of the show

         cause proceeding, the Commission would issue an order that could require transmission

         providers, transmission owners, or other entities to take specific actions to mitigate the



         NESCOE Reply Comments at 14; NYISO Initial Comments at 31, 43; NYISO Reply
         Comments at 10; NYTOs Initial Comments at 23; OMS Initial Comments at 15;
         PacifiCorp Initial Comments at 35; PacifiCorp Reply Comments at 6; Pine Gate Initial
         Comments at 41; PG&E Initial Comments at 4, 9; R Street Initial Comments at 14; Shell
         Initial Comments at 11; TAPS Initial Comments at 9; UMPA Initial Comments at 7.
                1851
                       Indicated PJM TOs Initial Comments at 41.
                1852
                       New Jersey Commission Reply Comments at 5.
                1853
                    MISO Initial Comments at 79-80; see also MISO TOs Initial Comments at 27
         (explaining that targeted intervention through a show cause order is more appropriate
         than broadly applicable penalties).
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         delay, require process changes, and/or impose penalties.1854 MISO argues that its

         proposal has several advantages over the NOPR penalty proposal, including providing

         accountability tied to entities actually causing the delay, as determined by the

         Commission. Public Interest Organizations support the self-reporting concept but do not

         support conditioning penalty assignment on a show cause proceeding, arguing that this

         would be administratively burdensome.1855 AEE also states that MISO’s approach could

         be helpful if paired with binding timelines and a clear penalty structure.1856

                Clean Energy Associations suggest that, if the Commission does not adopt

         penalties, it should consider requiring remedial action plans, including specific staffing

         plans, for transmission providers with persistently late or inaccurate studies.1857

                Some commenters argue that the Commission should incentivize transmission

         providers to meet deadlines rather than penalize them for failing to do so.1858 Shell

         proposes that the Commission provide favorable rate treatment for transmission providers

         that meet study timeliness conditions; specifically, Shell suggests that the Commission



                1854
                       MISO Initial Comments at 80-81.
                1855
                       Public Interest Organizations Reply Comments at 8-9.
                1856
                       AEE Reply Comments at 38.
                1857
                       Clean Energy Associations Initial Comments at 45.
                1858
                    Id. at 46; ACE-NY Initial Comments at 14 (recommending a structure with
         both penalties and incentives); Affected Interconnection Customers Initial Comments at
         26 (same); CREA and NewSun Reply Comments at 57 (same); Shell Initial Comments at
         10; Longroad Energy Reply Comments at 14; Vermont Electric and Vermont Transco
         Initial Comments at 2.
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         create a rebuttable presumption that transmission providers can recover their investments

         in interconnection queue processing resources if the transmission provider satisfies

         deadlines at least 90% of the time over two years.1859 Shell further suggests that these

         costs can be eligible for inclusion in transmission rate base, with corresponding return on

         equity, if the transmission provider meets study deadlines at least 95% of the time over

         two calendar years.1860 Affected Interconnection Customers propose that the

         Commission allow RTOs/ISOs to create a monetary incentive for transmission owners

         that complete their interconnection studies on time.1861

                However, R Street notes that rate incentives, like bonuses on returns on equity,

         would induce financial motivation but would require a performance baseline that

         transmission owners could game.1862 MISO TOs argue that incentives would fail because

         study delays are caused by factors beyond transmission providers’ control.1863

                ACE-NY requests that the Commission clarify whether a failure to meet the pro

         forma LGIP study deadlines would constitute a tariff violation, which could have

         implications for executive and staff compensation.1864 MISO TOs argue that such a



                1859
                       Longroad Energy Reply Comments at 14-15; Shell Initial Comments at 11.
                1860
                       Shell Initial Comments at 11.
                1861
                       Affected Interconnection Customers Initial Comments at 29-30.
                1862
                       R Street Initial Comments at 15.
                1863
                       MISO TOs Reply Comments at 15-16.
                1864
                       ACE-NY Initial Comments at 13.
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         proposal has no basis and would constitute an even stricter standard because penalties for

         tariff violations can amount to over $1 million per day, exceeding the proposed $500 per

         day proposal.1865

                Clean Energy States and TAPS recommend tying executive compensation to

         interconnection queue deadlines,1866 noting that SPP and MISO currently tie

         compensation to reliability performance.1867 However, MISO TOs note that the

         Commission has previously found that it lacks such jurisdiction.1868

                Some commenters argue that the Commission should allow transmission providers

         to set their own deadlines for interconnection studies because the current deadlines are

         not reasonable or advocate for regional flexibility.1869 Some commenters recommend

         allowing transmission providers to adjust study deadlines based on interconnection queue

         size.1870 Public Interest Organizations and Google support such proposals to the extent




                1865
                       MISO TOs Reply Comments at 14 (citing 16 U.S.C. sec. 825o-1).
                1866
                 Clean Energy States Initial Comments at 10-11; CREA and NewSun Reply
         Comments at 57; TAPS Initial Comments at 8.
                1867
                       TAPS Initial Comments at 8.
                1868
                       MISO TOs Reply Comments at 15.
                1869
                    APPA-LPPC Initial Comments at 21; Bonneville Initial Comments at 16;
         Indicated PJM TOs Reply Comments at 39; ISO-NE Initial Comments at 35-37; NY
         Commission and NYSERDA Initial Comments at 5; NYISO Initial Comments at 29, 33.
                1870
                    Bonneville Initial Comments at 16; Google Reply Comments at 5; NYISO
         Initial Comments at 29; SEIA Reply Comments at 17.
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         that the deadlines are subject to Commission review.1871 AEE does not oppose giving

         transmission providers flexibility to set their study timelines but requests that the

         Commission set a maximum allowable study timeline.1872

                National Grid suggests that the Commission adopt a minimum time frame

         approach, which would start the overall interconnection study timeline upon finalizing

         the base case study models and provide minimum study time frames for scope and result

         reviews.1873

                PJM suggests that the transmission provider develop a targeted study completion

         date based on an analysis of that particular interconnection queue, with the target

         completion date available for public comment.1874 PJM states that, under this approach,

         as studies become delayed further and further past the target date, the transmission

         provider would be required to meet increasing burdens (e.g., public posting of the missed

         date, filing a report with the Commission, being subject to FPA section 206 action). PJM

         states that if, despite the FPA section 206 action, the transmission provider misses a

         subsequent study deadline at the same level, then the Commission could impose penalties

         for any proven malfeasance by the transmission provider. PJM also suggests that the

         Commission could allow transmission providers to cap the number of interconnection


                1871
                       Public Interest Organizations Reply Comments at 9.
                1872
                       AEE Reply Comments at 38.
                1873
                       National Grid Initial Comments at 31.
                1874
                       PJM Initial Comments at 59-61.
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         requests in a given cluster to an amount commensurate with available resources. In

         response, AEE argues that PJM’s proposed approach would cause unnecessary

         administrative burden, which could further harm interconnection customers.1875

                Some commenters claim that the NOPR proposal is vague and raises profound

         implementation issues (e.g., how or whether the penalty structure will accommodate

         different cluster sizes, study complexities, or restudies).1876 R Street suggests, and

         ISO/RTO Council agrees, that the Commission and stakeholders would benefit from a

         root cause analysis to identify the cause of study delays, which could inform more

         reasonable performance expectations.1877

                Some commenters seek clarity regarding who bears financial penalties for late

         affected system studies and related affected system obligations.1878 ENGIE states that it

         is unclear who bears the financial penalties for late affected system studies.1879 In

         contrast, MISO interprets the NOPR proposal to apply penalties only to the affected




                1875
                       AEE Reply Comments at 38-39.
                1876
                       EEI Reply Comments at 17; Eversource Initial Comments at 20, 28.
                1877
                       ISO/RTO Council Reply Comments at 5; R Street Initial Comments at 14.
                1878
                   Duke Southeast Utilities Initial Comments at 17-18; ENGIE Initial Comments
         at 9; MISO Initial Comments at 92.
                1879
                    ENGIE Initial Comments at 9. Additionally, ENGIE states that transmission
         owners typically have responsibilities for affected system studies and, therefore, argues
         that the Commission should consider language that distributes financial risk and penalties
         to both transmission owners and transmission providers, including an ability for
         transmission providers to recover costs from transmission owners. Id.
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         system operator, though MISO also recommends that the Commission recognize that

         some delays may be beyond the control of the affected system operator and recommends

         that affected system operators not be penalized for third-party delays.1880 Similarly, Duke

         Southeast Utilities express concern that penalties could be levied against affected system

         operators for delays beyond their control and further argue that, instead of unilaterally

         imposing financial penalties on one entity, which, to Duke Southeast Utilities, seems

         arbitrary and unfounded, the Commission should consider imposing multilateral penalties

         on all entities in accordance with their individual obligations set forth in the proposed

         process.1881

                  Cypress Creek suggests that, in addition to financial penalties for missed study

         deadlines, the Commission should also impose penalties for inaccurate study results.1882

         AEE and Clean Energy Associations argue that the Commission should provide

         guidelines and reporting requirements regarding acceptable study accuracy.1883




                  1880
                    MISO Initial Comments at 92. WAPA also is generally concerned about the
         imposition of monetary penalties for failure to meet deadlines and questions whether
         federal agencies like WAPA should or even can be subject to monetary penalties. See
         WAPA Initial Comments at 10, 14.
                  1881
                         Duke Southeast Utilities Initial Comments at 17-18.
                  1882
                         Cypress Creek Initial Comments at 23.
                  1883
                         AEE Initial Comments at 34; Clean Energy Associations Initial Comments
         at 47.
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                CREA and NewSun propose an overall “reasonableness” standard to ensure the

         quality of the studies and that there is no ongoing failure to provide adequate staffing or

         to employ reasonable study assumptions.1884

                National Grid argues that the Commission should permit transmission providers to

         assign a dedicated person to monitor the progress of each entity (i.e., interconnection

         customer, transmission owner, and RTO/ISO) during the interconnection process. 1885

         National Grid argues that the cost of this person and any other additional costs needed to

         satisfy the NOPR proposal should be recoverable in rates so that transmission providers

         would be able to recover costs incurred to reduce penalty risk.

                Some commenters suggest that the Commission allow third-party consultants to

         complete studies, which would conserve transmission provider resources and provide a

         pathway for interconnection customers to move forward.1886 Dominion argues in

         response that there is a general lack of qualified professionals to perform interconnection

         studies, so a third party will not have access to the personnel, knowledge, or resources to

         perform them.1887




                1884
                       CREA and NewSun Initial Comments at 85.
                1885
                       National Grid Initial Comments at 33.
                1886
                    AEE Initial Comments at 34; Clean Energy Associations Initial Comments at
         46; Public Interest Organizations Reply Comments at 4; SEIA Initial Comments at 33.
                1887
                       Dominion Reply Comments at 19-20.
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                Pacific Northwest Utilities argue that the reasonable efforts standard should not be

         eliminated for facilities studies, which require an individual study, noting that the number

         of facilities studies needed can vary greatly between clusters.1888

                NYISO suggests that the Commission adopt features of the NERC model,

         including the use of non-financial sanctions for minor or excusable violations and penalty

         reductions for cooperative and remedial actions.1889

                Tri-State supports the NOPR proposal not to assess financial penalties until one

         cluster study cycle (that is not a transitional study cycle) after the compliance effective

         date. Tri-State seeks clarification on when penalties would be imposed for transmission

         providers already using a cluster study process.1890

                                c.      Commission Determination

                We adopt the NOPR proposal to eliminate the reasonable efforts standard set forth

         in sections 2.2, 3.5.4(i), 7.4, 8.3, and Attachment A to Appendix 4 of the pro forma

         LGIP. In its place, we adopt the NOPR proposal, with modification, to add new section

         3.9 to the pro forma LGIP that imposes study delay penalties, as further discussed below:

         delays of cluster studies beyond the tariff-specified deadline will incur a penalty of

         $1,000 per business day; delays of cluster restudies beyond the tariff-specified deadline

         will incur a penalty of $2,000 per business day; delays of affected system studies beyond


                1888
                       Pacific Northwest Utilities Initial Comments at 11-12.
                1889
                       NYISO Initial Comments at 41-42.
                1890
                       Tri-State Initial Comments at 19.
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         the tariff-specified deadline will incur a penalty of $2,000 per business day; and delays of

         facilities studies beyond the tariff-specified deadline will incur a penalty of $2,500 per

         business day.1891

                As explained in greater detail in this Section, we adopt the following features of

         the study delay penalty structure for late interconnection studies: (1) no study delay

         penalties will be assessed until the third cluster study cycles (including any transitional

         cluster study cycle, but not transitional serial studies) after the Commission-approved

         effective date of the transmission provider’s filing in compliance with this final rule; (2)

         there will be a 10-business day grace period, such that no study delay penalties will be

         assessed for a study that is delayed by 10 business days or fewer; (3) deadlines may be

         extended for a particular study by 30 business days by mutual agreement of the

         transmission provider and all interconnection customers with interconnection requests in

         the relevant study; (4) study delay penalties will be capped at 100% of the initial study

         deposits received for all of the interconnection requests in the cluster for cluster studies

         and cluster restudies, 100% of the initial study deposit received for the single

         interconnection request in the study for facilities studies, and 100% of the study

         deposit(s) that the transmission provider acting as an affected system operator (affected

         system transmission provider) collects for conducting the affected system study; (5)

         transmission providers will have the ability to appeal any study delay penalties to the


                1891
                     The penalties that we adopt in this final rule in section 3.9 of the pro forma
         LGIP for late affected system studies only apply to affected system operators that are
         public utilities.
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         Commission, with the Commission determining whether good cause exists to grant the

         relief requested on appeal; (6) transmission providers must distribute study delay

         penalties to interconnection customers in the relevant study on a pro rata per

         interconnection request basis to offset their study costs; (7) non-RTO/ISO transmission

         providers and transmission-owning members of RTOs/ISOs may not recover study delay

         penalties through transmission rates; (8) RTOs/ISOs may submit an FPA section 205

         filing to propose a default structure for recovering study delay penalties and/or to recover

         the costs of any specific study delay penalties;1892 (9) transmission providers must pay the

         penalty for each late study on a pro rata basis per interconnection request to all

         interconnection customers or affected system interconnection customers included in the

         relevant study that did not withdraw, or were not deemed withdrawn, from the

         interconnection queue before the missed study deadline; and (10) transmission providers

         must post quarterly on their OASIS or other publicly accessible website (a) the total

         amount of study delay penalties from the previous reporting quarter and (b) the highest

         study delay penalty paid to a single interconnection customer in the previous reporting

         quarter. We also add new section (f)(1) to 18 CFR section 35.28(f)(1)(ii) to specify that

         any public utility that conducts interconnection studies shall be liable for and eligible to

         appeal penalties following that public utility’s failure to complete an interconnection



                1892
                     We note that the typical standard of review under FPA section 205 would
         apply to these filings: i.e., the filer must show that any proposal to recover study delay
         penalties is just, reasonable, and not unduly discriminatory or preferential. See 16 U.S.C.
         824d.
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         study by the appropriate deadline. We also decline to adopt the NOPR’s proposed force

         majeure penalty exception. We first discuss our overarching rationale for this set of

         reforms, and then discuss each of these reforms in greater detail and our rationale for

         each.

                 We adopt these reforms to remedy the unjust and unreasonable rates stemming

         from interconnection queue backlogs and to ensure that interconnection customers are

         able to interconnect to the transmission system in a reliable, efficient, transparent, and

         timely manner. Specifically, these reforms will help ensure more timely processing of

         interconnection requests by incentivizing transmission providers to meet interconnection

         study deadlines.1893

                                      i.     Eliminating the Reasonable Efforts Standard

                 We adopt the NOPR proposal to eliminate the reasonable efforts standard set forth

         in sections 2.2, 3.5.4(i), 7.4, 8.3, and Attachment A to Appendix 4 of the pro forma

         LGIP. In these revised sections, we specifically eliminate the reasonable efforts standard

         for conducting cluster studies, cluster restudies, facilities studies, and affected system

         studies.

                 The lengthy interconnection study delays and interconnection queue backlogs

         throughout the country support our conclusion that the reasonable efforts standard does

         not provide an adequate incentive for transmission providers to complete interconnection


                 1893
                    Invenergy Initial Comments at 30; Iowa Commission Initial Comments at 5-6
         (“RTOs/ISOs need to prioritize interconnection studies and need to hold their employees
         and/or outside entities responsible for delays”); SEIA Initial Comments at 32.
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         studies on time. As discussed in Section II above, transmission providers are

         experiencing significant interconnection queue backlogs, as evidenced, for example, by

         their Order No. 845 reports.1894 There is every reason to believe that many of the factors

         contributing to significant interconnection queue backlogs and delay—including the

         rapidly changing resource mix, market forces, and emerging technologies—will persist.

         In response to those ongoing challenges, we find that it is just, reasonable, and not unduly

         discriminatory or preferential to eliminate the reasonable efforts standard and adopt a

         penalty structure that reasonably incentivizes transmission providers to ensure the timely

         processing of interconnection requests. We note that we are not finding that transmission

         providers have necessarily acted in bad faith or that their actions are the sole reason for

         the queue delays. Indeed, throughout this final rule, we adopt numerous reforms to

         appropriately incentivize interconnection customers to help reduce interconnection delays

         that may result from their conduct. Nevertheless, we find that the elimination of the

         reasonable efforts standard and the adoption of penalties for late studies are needed to


                1894
                     See Appendix B to this final rule (showing that over 2,800 interconnection
         studies were delayed as of the end of Q4 2022 and that over 1,900 interconnection studies
         were delayed as of the end of Q4 2021); see also Queued Up 2023 at 6 (showing growth
         in number of interconnection requests from 2013 to 2022) and Queued Up 2023 at 3
         (noting that generating facilities built in 2008 spent, on average, less than two years in
         interconnection queues, whereas generating facilities built in 2022 spent, on average, five
         years in interconnection queues). Although some commenters argue that Order No. 845
         data do not provide sufficient support (AEP Initial Comments at 25-26; MISO Initial
         Comments at 72), the data demonstrate that interconnection queue delays have continued
         to worsen over recent years and industry reports have similarly concluded that
         interconnection queues are seeing increasingly severe delays. We cite evidence that
         contradicts such comments and that, instead, supports our findings. See, e.g., supra
         Section II.C.
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         create an incentive for transmission providers, which will help reduce interconnection

         delays and ensure that Commission-jurisdictional rates are just, reasonable, and not

         unduly discriminatory or preferential.

                The reasonable efforts standard worsens current-day challenges, as it fails to

         ensure that transmission providers are keeping pace with the changing and complex

         dynamics of today’s interconnection queues. Contrary to the assertions of some

         commenters, we believe that there are steps within transmission providers’ control, from

         deploying transmission providers’ resources to exploring administrative efficiencies and

         innovative study approaches,1895 to better ensure timely processing of interconnection

         studies to remedy existing deficiencies.

                As discussed above, we adopt several reforms to address speculative

         interconnection requests by imposing stricter requirements on interconnection customers

         for entering and remaining in the interconnection queue (e.g., site control requirements,

         commercial readiness deposits, and withdrawal penalties). We also adopt reforms to

         improve the efficiency of interconnection studies and interconnection queue processing

         for all transmission providers (e.g., first-ready, first-served cluster study process). In this

         Section, we adopt reforms to ensure that transmission providers are doing their part as

         well by eliminating the reasonable efforts standard and imposing study delay penalties on


                1895
                    See Public Interest Organizations Reply Comments at 4 (“any claim that an
         individual transmission provider has done absolutely everything in its power to improve
         the processing rate of interconnection requests… almost certainly comes from a lack of
         imagination”); R Street Initial Comments at 14 (explaining that advances in computing
         fields have the potential to reduce queue processing times).
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         transmission providers when they fail to meet the interconnection study deadlines we

         adopt in this final rule. Based on the record, we find that the elimination of the

         reasonable efforts standard and its replacement with firm deadlines and penalties are

         needed to remedy unjust and unreasonable rates and ensure that interconnection

         customers are able to interconnect to the transmission system in a reliable, efficient,

         transparent, and timely manner. Thus, we disagree with commenters that contend that the

         reasonable efforts standard continues to be appropriate or that the Commission’s past

         orders, including Order No. 845, mean that the reasonable efforts standard continues to

         ensure just and reasonable rates.1896

                We similarly disagree with commenters that support eliminating the reasonable

         efforts standard but that do not support imposing study delay penalties on transmission

         providers for failing to meet interconnection study deadlines.1897 We do not believe that

         this result would remedy the unjust and unreasonable rates, nor would it ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner by aligning incentives properly.



                1896
                  See, e.g., Avangrid Initial Comments at 10, 30-31; Bonneville Initial
         Comments at 16; EEI Reply Comments at 16; Indicated PJM TOs Initial Comments at
         36; MISO TOs Reply Comments at 6-7; NYISO Initial Comments at 30-31; PG&E Reply
         Comments at 3-4; WIRES Initial Comments at 10.
                1897
                    CAISO Initial Comments at 25-26; Clean Energy Buyers Initial Comment at
         9-10; MISO Initial Comments at 13, 71, 79; Shell Initial Comments at 10; see also
         NARUC Initial Comments at 13-14, 20; Pennsylvania Commission Initial Comments at
         2-3 (supporting the proposal to eliminate the reasonable efforts standard but taking no
         position on the need for monetary penalties).
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                As we are eliminating the reasonable efforts standard, we also must adopt a

         replacement rate that remedies the problems just described. The sections below set forth

         a study delay penalty structure and why we believe it is justified. In short, we adopt

         provisions in the pro forma LGIP that impose firm interconnection study deadlines and

         corresponding study delay penalties on transmission providers that fail to meet those

         deadlines.

                Interconnection customers face financial harm when study deadlines are not met,

         ultimately inhibiting their ability to interconnect to the transmission system in a reliable,

         efficient, transparent, and timely manner. We find that holding transmission providers to

         firm interconnection study deadlines is likely to accelerate the interconnection study

         process and provide greater certainty to interconnection customers, allowing them to

         make more informed business decisions around whether to proceed with or withdraw

         from the interconnection queue, which will also ultimately improve interconnection

         queue management and remedy the unjust and unreasonable rates otherwise created by

         study delays.

                At the same time, we do not believe that the study delay penalty structure that we

         adopt in this final rule is unduly harsh for transmission providers, either in penalty

         amount or the form of its application. The study delay penalty structure adopted in this

         final rule balances the harm to interconnection customers of interconnection study delays

         and the associated need to incentivize transmission providers to timely complete

         interconnection studies with the burdens on transmission providers of conducting

         interconnection studies and potentially facing penalties for delays, including those that
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         may be caused or exacerbated by factors beyond their control. In particular, we adopt the

         following safeguards for transmission providers: (1) a transition period rather than

         imposing study delay penalties as soon as transmission providers begin implementing the

         reforms in this final rule; (2) a 10-business day grace period where no study delay

         penalties will be assessed; (3) a provision that allows a 30-business day deadline

         extension upon mutual agreement of the transmission provider and interconnection

         customers; (4) caps on study delay penalties; and (5) a transmission provider ability to

         appeal. We also adopt provisions governing distribution of study delay penalties to

         interconnection customers and prohibiting recovery of study delay penalties through

         transmission rates, along with transparency-related posting requirements to the benefit of

         interconnection customers and consumers alike. We believe that the study delay penalty

         structure adopted herein aligns transmission provider and interconnection customer

         incentives while providing appropriate built-in flexibility and safeguards for transmission

         providers, thereby achieving a balance that ensures just and reasonable rates and ensures

         that interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner.

                                     ii.    Penalty Amount

                We modify the pro forma LGIP to adopt a study delay penalty structure whereby

         penalties increase through the interconnection study process. Delays of cluster studies

         beyond the tariff-specified deadline will incur a penalty of $1,000 per business day;

         delays of cluster restudies beyond the tariff-specified deadline will incur a penalty of

         $2,000 per business day; delays of affected system studies beyond the tariff-specified
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         deadline will incur a penalty of $2,000 per business day; and delays of facilities studies

         beyond the tariff-specified deadline will incur a penalty of $2,500 per business day.

                We agree with the numerous commenters who argue that the NOPR penalty

         proposal of $500 per business day is too low to create an incentive for transmission

         providers to meet study deadlines.1898 We find it necessary to modify the NOPR proposal

         to establish a higher penalty amount and a structure of increasing penalties that reflects

         the greater harm caused by delayed studies at later interconnection stages.

                We reach this conclusion for several reasons. First, we find persuasive the

         comments asserting that a penalty of $500 per business day is insufficient to incentivize

         transmission provider actions that will reduce the incidence of study delays.1899 At $500



                1898
                    ACE-NY Initial Comments at 12; Affected Interconnection Customers Initial
         Comments at 24-26; CESA Initial Comments at 11; CESA Reply Comments at 8-9;
         Clean Energy Associations Initial Comments at 44; Consumers Energy Initial Comments
         at 6; CREA and NewSun Reply Comments at 56; Cypress Creek Initial Comments at 24;
         ELCON Initial Comments at 7-8; EPSA Initial Comments at 11; Fervo Energy Initial
         Comments at 6; Invenergy Initial Comments at 29; NARUC Initial Comments at 14; Pine
         Gate Initial Comments at 39.
                1899
                      See, e.g., Invenergy Initial Comments at 29-30 (“[T]he proposed penalty
         amount is woefully insufficient to create any real incentive” . . . “While a study that is six
         months late may severely impact an interconnection customer’s development efforts, it
         would amount to only a $90,000 penalty, which is de minimis for transmission providers
         which may have annual revenues of $25 billion if not more”); Affected Interconnection
         Customers Initial Comments at 24-25 (“[A] $500 per day penalty imposed upon
         transmission providers with hundreds of millions, if not billions of dollars of transmission
         assets, is a drop in the bucket that will be highly unlikely to deter continued missed
         interconnection study deadlines”); Cypress Creek Initial Comments at 24 (“[P]enalties
         should . . . be substantially larger so that they serve as meaningful deterrents to delayed
         and inaccurate study results”); Pine Gate Initial Comments at 39 (“A daily penalty rate
         that is too low will do little to incentivize transmission providers to complete studies in a
         timely manner, even in a situation where the penalty equals the full 100 percent of total
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         per business day, a study that is delayed by six months—or roughly 126 business days—

         would produce a penalty of only $63,000. We view such a penalty as insufficient

         considering that the purpose of the penalty is to incentivize timely study completion that

         may be achieved, for example, by hiring additional personnel or investing in new

         software.

                Some commenters advocate for penalty amounts that more closely approximate

         the costs that delays impose in interconnection customers,1900 while others propose

         penalty amounts ranging from $2,500 per day to $7,000 per day.1901 Based on the record

         before us, we believe the $1,000/$2,000/$2,500 per business day penalty structure,

         combined with the transition, grace period, cap on penalties, and ability to appeal that we

         adopt below, strikes an appropriate balance because it creates an incentive for

         transmission providers to meet study deadlines while not being overly punitive.

                Second, adopting progressively higher penalty amounts for delayed cluster

         restudies and facilities studies reflects the progressively greater harm to interconnection

         customers of delayed studies at those later stages—at which they will have made greater

         investments in advancing their projects toward commercial development through steps

         such as obtaining site control, securing permits, and contracting for equipment. This is




         study deposits received”).
                1900
                       Cypress Creek Initial Comments at 24; Pine Gate Initial Comments at 39-40.
                1901
                 ACE-NY Initial Comments at 12; Affected Interconnection Customers Initial
         Comments at 5, 26; CESA Reply Comments at 9; Invenergy Initial Comments at 30.
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         especially true given the new site control requirements, commercial readiness deposits,

         and withdrawal penalties we adopt in this final rule, which also become increasingly

         stringent as the study process progresses. These reforms will require that interconnection

         customers have greater capital at risk at each stage to affirm their commitment to

         reaching commercial operation. We find it appropriate that transmission providers face

         study delay penalties structured in a similar manner to provide adequate incentives to

         complete interconnection studies on time.

                Third, the penalty structure we adopt here will impose more stringent study delay

         penalties at later stages when reasons for study delays should be fewest. That is, we

         expect the volume of interconnection requests to decrease as they progress through the

         study process, with fewer interconnection requests reaching the cluster restudy and

         facilities study stages. This reduction in volume will reduce the likelihood transmission

         providers are unable to complete those studies on time. We find it reasonable to hold

         transmission providers most accountable for timely study completion in the stages where

         delays should be most avoidable.

                                      iii.   Transition

                We modify proposed section 3.9(6) of the pro forma LGIP, which provided that

         no study delay penalties shall be assessed until one cluster study cycle (that is not a

         transitional study cycle) after the Commission-approved effective date of the

         transmission provider’s filing in compliance with this final rule. Instead, we modify that

         section to provide that no study delay penalties shall be assessed until the third cluster

         study cycle after the Commission-approved effective date of the compliance filing
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         (including any transitional cluster study cycle, but not transitional serial studies).1902 We

         believe that giving transmission providers time to adapt to the new processes without

         imposing study delay penalties immediately will help ensure that transmission providers’

         implementation of this final rule has begun to reduce backlogged interconnection queues:

         i.e., we expect transmission providers to meet the interconnection study deadlines once

         they are implementing the cluster study process, with the increased requirements on

         interconnection customers (e.g., site control requirements, commercial readiness deposits,

         and withdrawal penalties) to help prevent speculative interconnection requests from

         entering and remaining in the interconnection queue.

                We adopt Duke Southeast Utilities’ request to specify that transmission providers

         already using a cluster study process will not be subject to penalties until the third cluster

         study cycle after the Commission-approved effective date of the transmission provider’s

         filing in compliance with this final rule.1903 We agree that transmission providers that

         already use a cluster study process should not be incentivized to employ an unnecessary

         transition process in response to this final rule simply to delay the possibility of study

         delay penalties. Accordingly, we modify the NOPR proposal such that no transmission

         providers will be assessed study delay penalties until the third cluster study cycle after the

         Commission-approved effective date of the compliance filing.



                1902
                       See supra Section III.A.7.c regarding the transition to the cluster study
         process.
                1903
                       Duke Southeast Utilities Initial Comments at 11.
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                                     iv.    Grace Period

                In addition to adopting a study delay penalty amount that we believe balances

         incentivizing transmission providers while not being overly punitive, we adopt in pro

         forma LGIP section 3.9(4) a 10-business day grace period, such that no study delay

         penalties will be assessed for a study that is delayed by 10 business days or fewer, and if

         the study is delayed by more than 10 business days, the penalty amount will be calculated

         from the first business day the transmission provider exceeds the applicable study

         deadline. We believe that this 10-business day grace period will provide an appropriate

         level of flexibility for transmission providers to address unforeseen circumstances or

         complexities that arise in the study process. We also believe that this grace period will

         lessen any administrative burden associated with the appeals process or RTO/ISO

         recovery of study delay penalty costs, as studies with short delays will not incur study

         delay penalties that may trigger appeals filings or the need for RTO/ISO penalty

         recovery.

                                     v.     Study Deadline Extension

                We adopt the NOPR proposal in pro forma LGIP section 3.9(5) to allow

         extensions of the deadline for a particular study by 30 business days by mutual agreement

         of the transmission provider and all interconnection customers with interconnection

         requests in the relevant study. We believe that this reform will promote cooperation

         between transmission providers and interconnection customers and incentivize

         transmission providers to keep interconnection customers informed of the status of study

         processes.
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                We decline to adopt AEE’s suggestion to require transmission providers to

         publicly post when a study deadline is extended by mutual agreement.1904 We do not find

         it necessary to require such public posting because transmission providers are being given

         sufficient incentive to minimize delays and manage all interconnection studies fairly. We

         also decline to adopt NARUC’s suggestion to require transmission providers to certify

         that extensions will not delay unrelated interconnection requests outside the cluster.1905

         Transmission providers will be sufficiently incentivized to ensure that such extensions do

         not delay other studies because any such delays may incur study delay penalties, as

         described in this Section. In response to commenters that argue that it will be difficult to

         obtain mutual agreement in large regions, we do not view that as a reason to decline to

         adopt or to modify the proposal.1906 If an interconnection study is delayed, and mutual

         agreement cannot be obtained, the transmission provider will be assessed the

         corresponding study delay penalties and may file an appeal with the Commission to

         explain any relevant circumstances.

                                       vi.   Cap on Penalties

                We modify proposed section 3.9(2) of the pro forma LGIP, which capped study

         delay penalties at 100% of the total study deposit received for the late interconnection

         study, to instead cap penalties at: (1) 100% of the initial study deposits received for all of


                1904
                       AEE Initial Comments at 31-32.
                1905
                       NARUC Initial Comments at 15.
                1906
                       Indicated PJM TOs Initial Comments at 42; Tri-State Initial Comments at 19.
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         the interconnection requests in the cluster for cluster studies and cluster restudies;1907

         (2) 100% of the initial study deposit received for the single interconnection request in the

         study for facilities studies; and (3) 100% of the study deposit(s) that the affected system

         transmission provider collects for conducting the affected system study. As discussed in

         the Section III.A.2.6.a above, we modify the NOPR proposal and require transmission

         providers to collect a single study deposit from interconnection customers only upon

         entry into the cluster (initial study deposit), rather than a study deposit at each phase of

         the study process, as proposed in the NOPR. Accordingly, we modify the study delay

         penalty cap to reflect this change in the study deposit requirements. By tying the study

         delay penalty cap to the study deposits, we ensure that the maximum penalty bears a

         relationship to the costs of the study that was late and is not unnecessarily punitive.

                In response to commenters who argue that study delay penalties should not be

         capped,1908 or that the cap should be higher than 100% of the study deposits for the late

         interconnection study,1909 we believe that imposing study delay penalties that exceed the




                1907
                   Under section 3.1.1.1 of the pro forma LGIP, initial study deposits will range
         from $25,000 to $250,000, depending on the size of the proposed generating facility.
                1908
                    ACE-NY Initial Comments at 13; AEE Reply Comments at 37; Consumers
         Energy Initial Comments at 6; CREA and NewSun Initial Comments at 84; Cypress
         Creek Initial Comments at 23-24; Public Interest Organizations Initial Comments at 35-
         36; SEIA Initial Comments at 34.
                1909
                   Interwest Initial Comments at 8; Invenergy Initial Comments at 31; Northwest
         and Intermountain Initial Comments at 14.
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         amount of the study deposit collected for the late interconnection study will be

         unnecessarily punitive to transmission providers.

                In response to Invenergy’s request for clarification, we confirm that the cap will

         not be impacted by any withdrawal penalties.1910

                                       vii.   Ability to Appeal

                We further modify the NOPR proposal to include, in section 3.9(3) of the pro

         forma LGIP, the ability for transmission providers to appeal any study delay penalties to

         the Commission.1911 Any such appeal must be filed no later than 45 calendar days after

         the late study has been completed. The Commission will evaluate whether good cause

         exists to grant relief from the study delay penalty and will issue an order granting or

         denying relief. In evaluating whether there is good cause to grant such relief, the

         Commission may consider, among other factors: (1) extenuating circumstances outside

         the transmission provider’s control, such as delays in affected system study results;

         (2) efforts of the transmission provider to mitigate delays; and (3) the extent to which the

         transmission provider has proposed process enhancements either in the stakeholder



                1910
                       Invenergy Initial Comments at 31.
                1911
                    We note that these appeals should not be filed under FPA section 206. Contra
         Hanwha Q-CELLS USA Corp., 174 FERC ¶ 61,013, at PP 9-10 (2021) (interpreting
         CAISO’s open access transmission tariff provision, which allows market participants that
         receive specific CAISO-imposed sanctions to obtain immediate review of CAISO’s
         determination by directly appealing to the Commission “in accordance with [the
         Commission’s] rules and procedures,” as a reference to Rule 206 and Rule 218); Mission
         Solar LLC, 174 FERC ¶ 61,014, at PP 10-11 (2021); Cal. Indep. Sys. Operator Corp.,
         184 FERC ¶ 61,009, at P 24 (2023).
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         process or at the Commission to prevent future delays. The filing of an appeal will stay

         the transmission providers’ obligation to distribute the study delay penalty funds to

         interconnection customers until 45 calendar days after (1) the deadline for filing a

         rehearing request has ended, if no requests for rehearing of the Commission’s decision on

         the appeal have been filed, or (2) the date that any requests for rehearing of the

         Commission’s decision on the appeal are no longer pending before the Commission.

                By providing an appeal process, we balance the need to ensure that transmission

         providers have an incentive to meet interconnection study deadlines with protections to

         ensure that any such penalties are fair and not triggered if good cause justifies the delay.

         The protections embedded in this appeal process address commenters’ concerns that there

         be adequate due process and/or fact-finding before imposing a study delay penalty on

         transmission providers.1912

                In response to commenters that oppose study delay penalties because

         interconnection study delays are often caused by factors outside transmission providers’

         control,1913 we note that the penalties adopted herein are an integral element of a just and


                1912
                 Indicated PJM TOs Initial Comments at 43-44; ISO/RTO Council Initial
         Comments at 2; MISO Initial Comments at 15, 76; NYISO Initial Comments at 35-36.
                1913
                    AEP Initial Comments at 25-26; Ameren Initial Comments at 20; Avangrid
         Initial Comments at 9-10, 29; Dominion Reply Comments at 19; Indicated PJM TOs
         Reply Comments at 22-24; ISO-NE Initial Comments at 35-36; ISO/RTO Council Initial
         Comments at 3-4; MISO Initial Comments at 73-74; MISO TOs Initial Comments at 15-
         16, 23-24; National Grid Initial Comments at 30; NESCOE Reply Comments at 11-12;
         NRECA Initial Comments at 9, 33-34; NYISO Initial Comments at 26-27; OMS Initial
         Comments at 15; Pacific Northwest Utilities Initial Comments at 9-10; PacifiCorp Initial
         Comments at 32-35; PG&E Initial Comments at 7; PG&E Reply Comments at 3-4; Puget
         Sound Initial Comments at 9; SDG&E Reply Comments at 1; Southern Initial Comments
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         reasonable replacement rate to ensure that transmission providers are properly

         incentivized to address these factors. We do not find it appropriate to impose penalties

         only where a factor can be conclusively demonstrated to be within a transmission

         provider’s control, as this would impose significant administrative burden. It may be

         difficult to precisely determine the cause of any given delay, especially where delay

         occurs due to multiple factors. Further, transmission providers’ concerns are addressed to

         some extent through the ability to appeal described above, which provides an opportunity

         for relief from any study delay penalties. Further, we note that many of the reforms

         adopted in this final rule will help to mitigate factors that may prolong the study process,

         such as the submission of speculative interconnection requests. In addition, the reforms

         adopted regarding affected system coordination—discussed later in this final rule—will

         address delays resulting from affected system studies. We disagree with Indicated PJM

         TOs that a complete de novo review is needed to assess study delay penalties.1914 We

         find that the good cause standard adopted in this final rule1915 provides an adequate

         framework through which the Commission can evaluate whether it is appropriate to grant

         relief from any applicable penalties.




         at 5, 30; State Agencies Initial Comments at 12-14; Tri-State Initial Comments at 17-18;
         U.S. Chamber of Commerce Initial Comments at 10; WIRES Initial Comments at 9; Xcel
         Initial Comments at 38.
                1914
                       Indicated PJM TOs Initial Comments at 44.
                1915
                       See supra PP 987-988.
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                                        viii.   Distribution of Study Delay Penalties to
                                                Interconnection Customers

                  We adopt the NOPR proposal, with modification, set forth in pro forma LGIP

         section 3.9(1), to require transmission providers to distribute study delay penalties on a

         pro rata basis per interconnection request to the interconnection customers and affected

         system interconnection customers included in the relevant study that did not withdraw, or

         were not deemed withdrawn, from the interconnection queue before the missed study

         deadline. Unless the transmission provider files an appeal to the study penalty, the study

         delay penalty must be distributed no later than 45 calendar days after the late study has

         been completed. Specifically, a study delay penalty for a delayed cluster study or cluster

         restudy must be distributed on a pro rata basis per interconnection request to all

         interconnection customers in the cluster, per the requirements above. A study delay

         penalty for a delayed facilities study must be distributed to the interconnection customer

         whose facilities were being studied, per the requirements above. Further, a study delay

         penalty for a delayed affected system study must be distributed to the affected system

         interconnection customer(s) whose generating facility was being studied by an affected

         system transmission provider, per the requirements above. In response to PG&E’s

         request for clarification,1916 the study delay penalties are on a per business day basis and

         will be distributed equally to each delayed interconnection customer per the requirements

         above.



                  1916
                         PG&E Initial Comments at 8.
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                We find the distribution of the study delay penalties imposed due to a delay in the

         study, which defray the study costs of the interconnection customers affected by that

         delay, to be just and reasonable, as they will ensure that interconnection customers are

         able to interconnect in a reliable, efficient, transparent, and timely manner.

                                     ix.     No Recovery in Transmission Rates or from
                                             Interconnection Customers

                Regarding recovery of study delay penalties, we modify the NOPR proposal to

         prohibit non-RTO/ISO transmission providers and transmission-owning members of

         RTOs/ISOs from recovering study delay penalty amounts through transmission rates.

         This treatment of study delay penalties is consistent with the treatment of penalties

         imposed pursuant to Order No. 8901917 and will ensure that the study delay penalties have

         the incentivizing effect discussed above. Because the at-fault transmission provider’s

         shareholders will pay the penalty, this prohibition addresses commenters’ concerns1918

         that study delay penalty costs will ultimately be borne by customers and ratepayers

         through increased transmission costs.1919



                1917
                     See Order No. 890, 118 FERC ¶ 61,119 at P 1357 (“We will prohibit all
         jurisdictional transmission providers from recovering penalties for late studies from
         transmission customers.”).
                1918
                 Alliant Energy Initial Comments at 6-7; National Grid Initial Comments at 33;
         NYISO Reply Comments at 6-7, 9; R Street Initial Comments at 14; SEIA Reply
         Comments at 17; State Agencies Initial Comments at 12; Tri-State Initial Comments at
         18.
                1919
                   See Order No. 2003, 104 FERC ¶ 61,103 at P 884 (“[B]ecause liquidated
         damages liability will not have to be paid unless the Transmission Provider is at fault, we
         conclude that these damages will not be considered just and reasonable costs of service
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                Additionally, we decline to allow any transmission provider to recover study delay

         penalties from interconnection customers to the extent the interconnection customers

         cause delays. If a study delay is caused by an interconnection customer, and not the

         transmission provider, that would represent a potentially compelling basis for the

         Commission to find that good cause exists to waive the study delay penalties. Further,

         we note that, in the event that an interconnection request is incomplete or an

         interconnection customer misses a deadline, those interconnection requests are subject to

         the withdrawal provisions of pro forma LGIP section 3.7.

                                     x.     Penalty Recovery in RTOs/ISOs

                We decline to adopt the NOPR proposal to require RTOs/ISOs to submit requests

         to recover the costs of specific study delay penalties under FPA section 205. RTOs/ISOs

         may instead submit an FPA section 205 filing to propose a default structure for

         recovering study delay penalties and/or make individual FPA section 205 filings to

         recover the costs of any specific study delay penalties. We believe that this discretion for

         RTOs/ISOs will reduce the administrative burden associated with study delay penalty

         cost recovery and will allow RTOs/ISOs the flexibility to craft rules that work for their

         region. In response to ACORE’s recommendation that RTOs/ISOs provide criteria for

         how they will assign study delay penalties, we note that RTOs/ISOs may file FPA section

         205 proposals to explain how they will recover study delay penalties.1920



         and will not be recoverable in transmission rates.”).
                1920
                       ACORE Initial Comments at 8.
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                We modify the NOPR proposal to adopt 18 CFR section 35.28(f)(1)(ii) to specify

         that, for RTOs/ISOs in which the transmission-owning members perform certain

         interconnection studies, the study delay penalties imposed under the new pro forma LGIP

         will be imposed directly on the transmission-owning member(s) that conducted the late

         study, thereby mooting the issue of how RTOs/ISOs recover those specific penalties. We

         believe that this change will also reduce the administrative burden, as RTOs/ISOs will

         typically not need to seek cost recovery for late facilities studies because those studies are

         often conducted by transmission-owning members. This change will also ensure that the

         study delay penalties are imposed on the public utility with the most control over whether

         the study deadline is met, i.e., the public utility conducting the study. Doing so aligns the

         incentive created by the study delay penalty with the entity most in control of the study

         timeline. This change also responds to AEE’s suggestion to assign RTO/ISO study delay

         penalties directly to transmission owners, OPSI’s contention that RTOs/ISOs may be

         reluctant to seek cost recovery from transmission owners, and TAPS’ concern that

         RTOs/ISOs would need well-supported cases to assign study delay penalties to

         transmission owners.1921

                In response to commenters concerned about how study delay penalties will be

         assigned if no fault is found among RTO/ISO members,1922 the study delay penalties are



                1921
                 AEE Initial Comments at 30; OPSI Initial Comments at 9; TAPS Initial
         Comments at 6-7.
                1922
                 Alliant Energy Initial Comments at 6-7; APPA-LPPC Initial Comments at 22;
         ISO/RTO Council Initial Comments at 4; NARUC Initial Comments at 18; NESCOE
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         imposed automatically on the RTO/ISO under the pro forma LGIP. As explained above,

         RTOs/ISOs may file an FPA section 205 proposal to recover the costs of study delay

         penalties. Concerns about any such proposals are best addressed in the relevant FPA

         section 205 proceedings. For the same reason, we decline to adopt TAPS’

         recommendation that the Commission provide an automatic waiver of any study delay

         penalty amount the RTO/ISO would otherwise pass to ratepayers,1923 as such

         determinations are best made on a case-by-case basis. In response to Indicated PJM TOs

         argument that PJM lacks the contractual authority to seek recovery of study delay

         penalties from transmission owners,1924 PJM’s authority to recover costs from its

         transmission-owning members can be properly addressed in any future FPA section 205

         proceeding.

               We acknowledge commenters’ concerns that the study delay penalty structure may

         impose an administrative and litigative burden on RTOs/ISOs and the Commission,1925

         and that RTOs/ISOs may be in a fact-finding position in order to be able to assign study




         Initial Comments at 16.
               1923
                      TAPS Initial Comments at 7-8.
               1924
                      Indicated PJM TOs Initial Comments at 45.
               1925
                    Avangrid Reply Comments at 8; CAISO Initial Comments at 26; Indicated
         PJM TOs Reply Comments at 27; ISO-NE Initial Comments at 35; ISO/RTO Council
         Initial Comments at 3-4; PJM Initial Comments at 57-58; MISO Initial Comments at 16,
         77; MISO TOs Reply Comments at 21-22; New York State Department Initial Comments
         at 10-11; NYISO Initial Comments at 33; SoCal Edison Initial Comments at 19.
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         delay penalties not attributable to an RTO/ISO transmission owning member.1926 As an

         initial matter, we believe that any such burden is outweighed by the need to create an

         incentive to ensure that transmission providers timely complete interconnection studies.

         Also, we find that RTOs/ISOs do not face differing or greater burdens that warrant

         different treatment than non-RTO/ISO transmission providers. The pro forma LGIP

         applies to all transmission providers, RTO/ISO and non-RTO/ISO alike. To the extent

         that RTOs/ISOs elect to create a tariff mechanism for recovering study delay penalties,

         rather than relying on individual filings, as noted above, the RTO/ISO may submit an

         FPA section 205 filing to propose such a default structure. Finally, where the

         transmission-owning members of an RTO/ISO perform interconnection studies, there is

         little-to-no “fact-finding” to be done to determine to which public utility to assign study

         delay penalties, as the transmission owner will be automatically assigned the penalty

         pursuant 18 CFR section 35.28(f)(1)(ii).

                In response to concerns that RTOs/ISOs have no ability to pay study delay

         penalties without collecting them from another party,1927 we note that RTOs/ISOs have


                1926
                   ISO-NE Initial Comments at 36; ISO/RTO Council Initial Comments at 5-6;
         MISO Initial Comments at 15, 75.
                1927
                  Alliant Energy Initial Comments at 6-7; EEI Initial Comments 17; Indicated
         PJM TOs Initial Comments at 37; ISO/RTO Council Initial Comments at 3-4; MISO Initial
         Comments at 13, 71; MISO TOs Reply Comments at 20; NARUC Initial Comments at 18;
         NEPOOL Initial Comments at 16; NESCOE Reply Comments at 11; New York State
         Department Initial Comments at 10; North Dakota Commission Initial Comments at 6;
         NYISO Initial Comments at 32; Omaha Public Power Initial Comments at 11; OMS Initial
         Comments at 15; R Street Initial Comments at 14; State Agencies Initial Comments at 12-
         13; TAPS Initial Comments at 3-5; WIRES Initial Comments at 11.
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         several options under this final rule for collecting study delay penalties. As discussed

         above, RTOs/ISOs may submit FPA section 205 filings to seek recovery for study delay

         penalties from public utilities contributing to study delays. The FPA section 205 filing

         could propose either to establish a tariff mechanism for assigning costs generally or for

         assigning costs for specific study delay penalties. RTOs/ISOs also have other ways to

         fund study delay penalties beyond the revenue they collect for sales of transmission

         service: for example, RTOs/ISOs collect administrative fees from market

         participants.1928

                We disagree with NYISO that study delay penalties would threaten the financial

         viability of RTOs/ISOs or fail to incentivize RTOs/ISOs to complete studies by the

         required deadlines. The evidence in this record does not demonstrate that the study delay

         penalty structure that we adopt in this final rule, combined with the multiple adopted

         safeguards, including a total cap on study delay penalty amounts, would threaten the

         financial viability of an RTO/ISO, particularly given that RTOs/ISOs may submit FPA

         section 205 filings to recover study delay penalties. Additionally, as noted, we find that it



                1928
                     For example, MISO recovers the costs of providing financial transmission
         rights (FTR) administrative service from FTR holders under its Rate Schedule 16 (MISO
         Tariff, Schedule 16). SPP recovers the costs of administering its transmission
         administration service, transmission congestion rights administrative service, and
         integrated marketplace clearing administrative service from transmission customers and
         market participants under its Rate Schedule 1-A (SPP Tariff, Schedule 1-A). PJM
         recovers the costs of its control area administration service, which includes “preserving
         the reliability of the PJM Region and administering Point-to-Point Transmission Service
         and Network Integration Transmission Service” from users of the service under Schedule
         9-1 (PJM Tariff, Schedule 9-1).
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         is appropriate to incentivize RTOs/ISOs to meet study deadlines in the same manner as

         non-RTO/ISO transmission providers. Thus, we also disagree with NYISO that the study

         delay penalties for RTOs/ISOs should be smaller in size and slower to trigger.1929 As

         discussed above, we believe that the study delay penalty structure strikes a reasonable

         balance by providing an adequate incentive without being punitive.

                AEP and TAPS assert that the imposition of study delay penalties will

         disincentivize RTO/ISO participation.1930 We are not persuaded that any such

         disincentive outweighs the benefits of adopting study delay penalties. We expect that an

         incentive for transmission providers to meet interconnection study deadlines will result in

         more efficient interconnection queue processing, which will benefit competition and, in

         the long run, customers within a transmission provider’s region, including within

         RTO/ISO regions. We continue to believe that customers are more likely to experience

         lower overall costs if the industry relies on robust wholesale competition to determine the

         appropriate level of generation and related transmission development.1931

                We find that applying study delay penalties to RTOs/ISOs for failing to meet

         interconnection study deadlines is consistent with Commission precedent and continues

         to be appropriate, particularly given the extent of interconnection queue backlogs in

         RTOs/ISOs. We disagree with NYISO that, because RTOs/ISOs may be at greater risk


                1929
                       NYISO Initial Comments at 32, 37, 41.
                1930
                       AEP Initial Comments at 27-28; TAPS Initial Comments at 6.
                1931
                       See Order No. 2003-A, 106 FERC ¶ 61,220 at P 507.
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         of being assessed study delay penalties than reliability penalties, this meaningfully

         distinguishes study delay penalties from the Commission’s findings in Order Nos. 672-A

         and 890 related to reliability penalties.1932 In response to NYISO’s comment that

         reliability penalties receive the Commission’s close scrutiny, we note that transmission

         providers will have an opportunity to seek relief from a penalty by filing an appeal, which

         the Commission will closely scrutinize and in response to which the Commission will

         issue an order.1933

                                      xi.    Posting Requirements

                For transparency purposes, we adopt the proposed requirements in pro forma

         LGIP section 3.9(7) that transmission providers must post on their OASIS or other

         publicly accessible website on a quarterly basis, within 30 calendar days of the end of the

         calendar quarter, (1) the total amount of study delay penalties from the previous reporting

         quarter, and (2) the highest amount of such study delay penalties repaid to a single

         interconnection customer during the previous reporting quarter. We also adopt the

         proposed requirements in pro forma LGIP section 3.9(7) that transmission providers must

         maintain the quarterly measures posted on their OASIS or website for three calendar


                1932
                     Order No. 672-A, 114 FERC ¶ 61,328 at P 56 (“it is not arbitrary and
         capricious to treat all operators alike, including RTOs and ISOs, in terms of their liability
         for violation of a Reliability Standard.”); Order No. 890, 118 FERC ¶ 61,119 at P 1357
         (“we believe that all entities administering the tariff should operate under the same rules,
         reporting obligations, and performance metrics . . . Non-profit transmission providers
         have other sources of money to pay penalties beyond the revenue they collect for sales of
         transmission service.”).
                1933
                       NYISO Initial Comments at 33-34.
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         years, with the first required posting to be the third cluster study cycle (including any

         transitional cluster study cycle, but not transitional serial studies) after the transmission

         provider transitions to the cluster study process. We believe that this additional

         information will be helpful to the public and the Commission in tracking the status of

         interconnection queue delays and that the burden on transmission providers of posting

         this information will be minimal.

                                      xii.    Force Majeure Exception

                We decline to adopt the NOPR proposal to exempt transmission providers from

         study delay penalties where force majeure applies. We believe that this exemption is

         unwarranted: transmission providers may explain in any appeal to the Commission any

         circumstances that caused the delay, including any events that qualify as force majeure,

         and the Commission will consider such circumstances as part of its evaluation of whether

         good cause exists to grant relief from the otherwise applicable study delay penalties.

                                      xiii.   Transmission Provider Resources

                In response to commenters that raise concerns about transmission provider

         resources to complete studies on time, we first emphasize that the overall set of reforms

         in this final rule should significantly streamline and reduce the number of interconnection

         studies that a transmission provider must conduct, easing the burden on transmission

         providers. With the benefit of fewer studies and fewer speculative generating facilities in

         the interconnection queue, we expect that a transmission provider that faces the potential

         of a study delay penalty for failing to meet interconnection study deadlines will be able to

         allocate sufficient resources to conduct interconnection studies, in addition to
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         implementing reforms to ensure that its study process is efficient. In this final rule, we

         adopt interconnection study deadlines for a transmission provider to complete cluster

         studies, cluster restudies, facilities studies, and affected system studies. As discussed

         above, we believe that the interconnection study deadlines will give transmission

         providers sufficient time to conduct the relevant studies, e.g., 150 calendar days for the

         completion of the cluster study, and we have demonstrated that the existing pro forma

         generator interconnection procedures and agreements are insufficient to ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner.1934 We therefore believe that the

         record supports the imposition of study delay penalties for failure to meet those

         deadlines.

                Some commenters argue that other NOPR proposals, such as the optional resource

         solicitation studies, optional informational interconnection studies, and evaluation of

         advanced transmission technologies, will consume transmission provider resources

         otherwise dedicated to interconnection studies.1935 Similarly, other commenters argue

         that imposing firm study deadlines will force transmission providers to redirect resources

         and personnel away from other necessary functions such as transmission planning or

         deprive them of financial resources and make it harder to retain qualified personnel.1936


                1934
                       See supra Section II.C.
                1935
                    Indicated PJM TOs Initial Comments at 36; MISO Reply Comments at 7; PPL
         Initial Comments at 24; SPP Initial Comments at 13.
                1936
                       Ameren Initial Comments at 21; Eversource Initial Comments at 25-26;
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         We note that we do not adopt the NOPR proposals to implement optional informational

         interconnection studies or optional resource solicitation studies and adopt a modified

         version of the NOPR proposal to require evaluation of certain enumerated advanced

         transmission technologies, which should reduce the burden on transmission providers as

         compared to that under the NOPR. Further, to these arguments, we note that it is the

         transmission provider’s responsibility to manage its organizational resources—including

         attracting and retaining sufficient qualified personnel to meet its responsibilities—and

         that it is within the transmission provider’s ability to improve how it manages its internal

         resources. If, for whatever reason, the transmission provider is not able to meet firm

         study deadlines, that is an issue the transmission provider is free to raise in appealing any

         penalties it incurs. While we are not persuaded that transmission providers will

         necessarily need to reassess their organizational needs to meet study deadlines, given the

         suite of reforms adopted in the final rule, to the extent that such steps are required, they

         are warranted to fulfill our responsibility under the FPA to ensure just and reasonable

         rates and to ensure that interconnection customers are able to interconnect in a reliable,

         efficient, transparent, and timely manner.

                We disagree with SoCal Edison and New York State Department that transmission

         providers will require additional resources to track and allocate study delay penalties,




         Indicated PJM TOs Initial Comments at 6, 24, 40; MISO TOs Initial Comments at 24;
         National Grid Initial Comments at 30; Pacific Northwest Utilities Initial Comments at 12;
         PJM Initial Comments at 57.
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         potentially increasing the cost of administering interconnection queues.1937 We note that

         transmission providers already track the progress of their interconnection queues and

         should be aware of study deadlines, especially as their tariffs currently require reasonable

         efforts to meet such deadlines. As a result, determining when study delay penalties apply

         will be as straightforward as determining how many studies are late and past the 10-

         business day grace period from the applicable study deadline. As explained above, we

         anticipate that other provisions of this final rule will result in improved interconnection

         queue management and processing, which should ease the burden on transmission

         providers over time.

                We also disagree with commenters that firm study deadlines with study delay

         penalties will necessarily reduce interconnection study flexibility1938 and accuracy,1939 as


                1937
                 New York State Department Initial Comments at 10-11; SoCal Edison Initial
         Comments at 19.
                1938
                    Dominion Reply Comments at 21; EEI Initial Comments at 15; Eversource
         Initial Comments at 25-26; NYISO Initial Comments at 38-39; WIRES Initial Comments
         at 10.
                1939
                     AECI Initial Comments at 6; Alliant Energy Initial Comments at 6; Avangrid
         Initial Comments at 9-10, 30; Bonneville Initial Comments at 15-16; CESA Reply
         Comments at 8; Clean Energy Buyers Initial Comments at 10-11; Enel Initial Comments
         at 48; Indicated PJM TOs Reply Comments at 26; ISO/RTO Council Initial Comments at
         8; Longroad Energy Reply Comments at 14; MISO Initial Comments at 13, 71, 77-78;
         MISO TOs Initial Comments at 14, 24; National Grid Initial Comments at 30; NESCOE
         Reply Comments at 13; NextEra Reply Comments at 11; NYTOs Initial Comments at 24-
         28; North Dakota Commission Initial Comments at 6; NRECA Initial Comments at 34;
         NYISO Initial Comments at 38-39; Omaha Public Power Initial Comments at 12; OMS
         Initial Comments at 15; Ørsted Initial Comments at 15; PacifiCorp Reply Comments at 6;
         PJM Initial Comments at 8, 56-57; PPL Initial Comments at 19; SPP Initial Comments at
         11-12; Tri-State Initial Comments at 18; Xcel Initial Comments at 38.
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         well as system reliability.1940 We reiterate that it is within transmission providers’ ability

         to improve interconnection study processes and policies and take other measures, such as

         hiring additional staff, to efficiently process interconnection queues without sacrificing

         accuracy, flexibility, or reliability. Study delay penalties will incentivize these actions,

         especially given transmission providers’ independent responsibilities to deliver accurate

         studies and to ensure system reliability. Thus, we agree with the New Jersey Commission

         that there is not an inherent tradeoff between holding transmission providers accountable

         and transmission system reliability. In addition, we further agree that the failure to bring

         new generating facilities online in a timely manner can also create reliability and economic

         risk.1941 Moreover, interconnection customers, rather than transmission providers,

         ultimately bear the costs of interconnection studies. To the extent that it is more costly to

         complete studies in a timely and accurate fashion, these interconnection study costs will be

         passed on to interconnection customers. Further, as noted above, the study delay penalty

         structure includes significant safeguards for the transmission provider, such as the

         transition period, the 10-business day grace period, the penalty cap, the ability to extend

         deadlines by mutual agreement, and the ability to appeal any study delay penalties to the

         Commission.




                1940
                  AEP Initial Comments at 28; Dominion Reply Comments at 21; MISO TOs
         Reply Comments at 18-19; NYISO Initial Comments at 39; PJM Initial Comments at 8,
         56-57.
                1941
                       New Jersey Commission Reply Comments at 3.
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                                       xiv.   Coordination Among Transmission Providers,
                                              Interconnection Customers, and Affected Systems

                Several commenters raise concerns related to affected systems, and coordination

         among transmission providers, interconnection customers, and affected systems. In

         response to NARUC’s request for clarification regarding affected system studies, we note

         that new pro forma LGIP section 3.9 will apply to all transmission providers when they

         are acting as an affected system operator (affected system transmission providers).1942 As

         a result, affected system transmission providers are also subject to a study delay penalty

         for a late affected system study. Thus, contrary to commenters’ arguments that the

         NOPR proposal ignores that other entities, such as affected systems, may be responsible

         for study delays,1943 affected system transmission providers will face the same incentive

         as the host transmission provider to timely complete their studies. In addition, where a

         delay for a host transmission provider’s cluster or facilities studies is caused by affected

         system study delays, the host transmission provider can file an appeal of any applicable

         study delay penalty with the Commission and include such details in its claim of good

         cause for relief.

                We disagree with commenters’ concerns that the study delay penalty structure

         would decrease or harm coordination between transmission providers, interconnection

         customers, and affected systems,1944 and/or create tension between RTOs/ISOs,


                1942
                       NARUC Initial Comments at 14, 17.
                1943
                       ISO/RTO Council Initial Comments at 3-4; MISO Initial Comments at 74.
                1944
                       Alliant Energy Initial Comments at 6; EEI Initial Comments at 15; Eversource
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         transmission owners, developers, or other parties.1945 The incentive for transmission

         providers to timely complete interconnection studies created by the study delay penalty

         structure should improve coordination among transmission providers and interconnection

         customers to ensure that transmission providers have the information needed to complete

         the studies and, if there is an issue, to pursue a potential extension of the deadline via

         mutual agreement. We note that other reforms adopted in this final rule will improve

         clarity and efficiency around affected system studies, which should improve coordination

         with affected systems. In addition, affected system transmission providers are also

         subject to study delay penalties for delayed affected system studies, which should

         encourage better coordination. We also believe that an ability to appeal study delay

         penalties will provide a structured forum for parties to dispute claims, placing the

         Commission in the position of decisionmaker when it comes to determining whether to

         excuse study delay penalties.

                We disagree with AECI that there is no benefit to imposing penalties on affected

         system transmission providers for failure to timely complete affected system studies.

         These studies equally affect interconnection customer certainty and interconnection

         process efficiency, and as such, we believe that the penalty structure enumerated above




         Initial Comments at 25-26; MISO Reply Comments at 21; North Dakota Commission
         Initial Comments at 6.
                1945
                 AEP Initial Comments at 27; Dominion Initial Comments at 35-36; Indicated
         PJM TOs Reply Comments at 6-7, 27; NextEra Initial Comments at 30; NYISO Initial
         Comments at 39-40; PJM Initial Comments at 57-58.
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         will also incentivize transmission providers to complete affected system studies in a

         timely manner. Indeed, the Commission has addressed several instances where affected

         system studies have delayed or otherwise affected interconnection study timelines and

         processes,1946 and therefore, without imposing a penalty structure, we are not convinced

         that transmission providers will timely complete their affected system studies. In the

         same vein, we agree with Interwest that monetary penalties for failure to meet the

         affected system study deadline will incentivize discipline and support investment needed

         to meet affected system study timelines.

                In response to ENGIE, MISO, and Duke Southeast Utilities’ comments on the

         distribution of study delay penalties for failure to timely complete affected system

         studies, we note that any study delay penalties will be distributed on a pro rata basis per

         interconnection request to the affected system interconnection customers included in the

         relevant study that did not withdraw, or were not deemed withdrawn, from the

         interconnection queue before the missed study deadline.

                                     xv.    Commission Authority and Precedent

                Some commenters argue that the proposed study delay penalty structure is an

         unjustified shift from precedent established in Order No. 845, in which the Commission

         expressly declined to impose penalties.1947 We disagree. As we explain above,



                1946
                    See, e.g., Tenaska Clear Creek Wind, LLC v. Sw. Power Pool, Inc., 177 FERC
         ¶ 61,200 (2021); EDF Renewable Energy, Inc. v. Midcontinent Indep. Sys. Operator,
         Inc., 168 FERC ¶ 61,173 (2019).
                1947
                       MISO TOs Initial Comments at 21-22; NYISO Initial Comments at 26; PG&E
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         interconnection queue delays in many parts of the country have worsened since Order

         No. 845, and the record indicates that the failure of transmission providers to timely

         complete studies is a significant part of the reason why. For example, in the single year

         between 2021 and 2022, there was marked increase in the average length of time

         customers have been waiting in the interconnection queue, increasing from roughly

         4 to 5 years, while at the same time seeing the total interconnection queue size increased

         from 1,400 GW to more than 2,000 GW.1948 Based on the recent interconnection study

         metrics transmission providers posted in compliance with Order No. 845, of the 2,179

         interconnection studies completed in 2022, 68% were issued late.1949 Furthermore, at the

         end of 2022, an additional 2,544 studies were delayed (i.e., ongoing and past their

         deadline).1950 All of the RTOs/ISOs except CAISO and 14 non-RTO/ISO transmission

         providers reported delayed studies at the end of 2022.1951 We believe that this large

         number of delayed studies is a significant part of the explanation for the extensive delays

         and growing interconnection queues documented above and in the Overall Need for




         Initial Comments at 6; PG&E Reply Comments at 3.
                1948
                       Queued Up 2022 at 3; Queued Up 2023 at 3, 31.
                1949
                   Based on data provided by transmission providers in compliance with Order
         No. 845. See Appendix B to this final rule for the underlying data.
                1950
                       Id. Note that the vast majority of these studies (2,211) were in PJM.
                1951
                   Id. CAISO revised the interconnection study deadlines of their queue cluster
         14 to account for the unprecedented increase in interconnection requests. Cal. Indep. Sys.
         Operator Corp., 176 FERC ¶ 61,207.
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         Reform Section. Accordingly, based on the evidence in this record, we find that study

         delay penalties are an appropriate component of a just, reasonable, and not unduly

         discriminatory or preferential replacement rate to remedy these interconnection delays

         and the consequences they have for Commission-jurisdictional rates.1952

                Similarly, in response to commenters who argue that the proposed study delay

         penalty structure differs from the penalty structure implemented in Order No. 890 for

         transmission service studies,1953 we believe that such differences are warranted by the

         significant and growing interconnection queue backlogs. We agree with PacifiCorp that,

         compared to transmission service requests, interconnection studies are more numerous,

         complex, and susceptible to delays.1954 Further, as noted above, there is a growing

         number of interconnection customers affected by study delays. We believe that these

         factors underscore the need for transmission providers to meet study deadlines and the

         need to provide an incentive, in the form of study delay penalties. We find that the other

         reforms adopted in this final rule will streamline interconnection processes: for example,

         the cluster study process will reduce the number of interconnection studies that any

         transmission provider must conduct at a given time, thus reducing the potential for study


                1952
                    See Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
         463 U.S. at 56-57 (“[T]he agency is entitled to change its view . . . [if it] explain[s] its
         reasons for doing so.”).
                1953
                    Eversource Initial Comments at 30; MISO Reply Comments at 21; MISO TOs
         Initial Comments at 19-21; PacifiCorp Initial Comments at 33-34; Tri-State Initial
         Comments at 18.
                1954
                       PacifiCorp Initial Comments at 33-34.
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         delay penalties to accumulate relative to the serial study process in place today. We find

         that the elimination of the reasonable efforts standard and adoption of the study delay

         penalty structure will incentivize transmission providers to take appropriate steps to meet

         the study deadlines in their tariffs.

                We also disagree with TAPS’ assertion that reliability penalties are permissible

         because they are part of a congressionally mandated regime, whereas the study delay

         penalties are not.1955 We find that FPA section 206 provides us with the authority to

         establish a structure to impose study delay penalties because such delays render

         Commission-jurisdictional rates unjust and unreasonable, as explained in the Overall

         Need for Reform Section, and we believe that this structure reflects a just and reasonable

         replacement rate.1956 As discussed above, an RTO/ISO has different options for

         recovering those penalties, and we are not in this final rule dictating which option an

         RTO/ISO must choose. Further, TAPS’ argument that reliability penalties are used to

         offset NERC’s operation costs but the interconnection study delay penalties will not be

         used to offset costs for consumers or ratepayers does not change our conclusion.1957 We

         do not believe that our authority to require study delay penalties as part of a just and

         reasonable replacement rate turns on the entity whose costs are offset by the penalties

         collected, and as discussed above, we find it appropriate in this circumstance to use study


                1955
                       TAPS Initial Comments at 5 (citing 16 U.S.C. 824o).
                1956
                       16 U.S.C. sec. 824e.
                1957
                       TAPS Initial Comments at 5.
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         penalties to offset the interconnection study costs for interconnection customers that are

         affected by the study delays.

                Moreover, automatic tariff-based penalty mechanisms similar to that which we

         adopt in this final rule exist in a variety of other contexts. For example, RTO/ISO tariffs

         include penalties for “traffic ticket” violations that are penalized without referral to the

         Commission.1958 In that context, the Commission has approved such automatic penalties

         where (1) the activity is expressly set forth in the tariff, (2) the activity involves

         objectively identifiable behavior, and (3) the activity does not subject the actor to

         sanctions or consequences other than those expressly approved by the Commission and

         set forth in the tariff, with the ability to appeal1959 to the Commission.1960 That is the

         same structure we are adopting here: the study delay penalties (1) will be expressly set

         forth in the tariff, (2) will be based on objectively identifiable behavior (i.e., whether a

         study is late), and (3) will only trigger consequences expressly approved by the




                1958
                    See, e.g., Cal. Indep. Sys. Operator Corp., 134 FERC ¶ 61,050, at PP 34-35
         (2011); N.Y. Indep. Sys. Operator, Inc., 131 FERC ¶ 61,225, at P 16 (2010). Also, in
         Order No. 890, the Commission approved other tariff-based “operational penalties” on
         customers where it similarly did not require notification or review by the Commission of
         the assessed penalty. See Order No. 890, 118 FERC ¶ 61,119 at PP 834-36.
                1959
                    See, e.g., Cal. Indep. Sys. Operator Corp., 175 FERC ¶ 61,043 (2021)
         (excusing penalties for late meter data revisions); Lathrop Irrigation Dist., 161 FERC ¶
         61,243 (2017) (denying request for waiver of CAISO tariff provisions that impose
         penalties on late submission by LSEs of required information for resource adequacy
         plans).
                1960
                       Cal. Indep. Sys. Operator Corp., 134 FERC ¶ 61,050 at PP 34-35.
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         Commission (i.e., the $1,000/$2,000/$2,500 per business day penalties with the ability to

         appeal to the Commission.

                In response to Indicated PJM TOs’ argument that the Commission lacks the

         authority to require RTOs/ISOs to seek cost recovery of study delay penalties from

         transmission owners within the RTO/ISO,1961 we note that this concern is moot because

         we are declining to adopt the NOPR proposal to require RTOs/ISOs to submit requests to

         recover the costs of specific study delay penalties. Further, we modify our proposal to

         adopt revisions to 18 CFR section 35.28(f)(1)(ii) to automatically apply study delay

         penalties to transmission owners within RTOs/ISOs when those transmission owners

         have conducted the delayed studies. Finally, as discussed above, RTOs/ISOs may submit

         an FPA section 205 filing to propose a default structure for recovering study delay

         penalties or make individual FPA section 205 filings to recover the costs of any specific

         study delay penalties.

                                      xvi.   Miscellaneous

                We also decline to adopt alternative proposals for study delay penalty structures.

         We find the penalty structure that we adopt in this final rule to be a just and reasonable

         replacement rate, which is all that the Commission is required to show under FPA

         section 206.1962



                1961
                       Indicated PJM TOs Initial Comments at 44-45.
                1962
                      Entergy Ark., LLC v. FERC, 40 F.4th 689, 701 (D.C. Cir. 2022) (explaining
         that in setting the replacement rate under FPA section 206, “FERC is not required to
         choose the best solution, only a reasonable one”) (quoting Petal Gas Storage, LLC v.
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                In response to EEI’s and Eversource’s comments concerning why the good utility

         practice standard, which is contained within the text of the definition of the reasonable

         efforts standard in the pro forma LGIP, would no longer apply to interconnection

         processes,1963 we clarify that the elimination of the reasonable efforts standard does not

         eliminate the requirement that transmission providers act consistent with good utility

         practice when conducting interconnection studies. Therefore, we adopt revisions to

         section 4.2 of the pro forma LGIP to indicate that transmission providers must continue

         to conduct interconnection studies consistent with good utility practice.

                Some commenters argue that interconnection study deadlines should be extended

         in cases of interconnection customer-caused delays and that the timeline for completing

         such studies should not restart until after an interconnection customer submits all

         necessary information and cures any deficiencies; they also argue that transmission

         providers should not be penalized if study delays are caused by a higher-queued cluster

         being restudied.1964 We decline to adopt these modifications. As an initial matter, we

         note that if an interconnection customer fails to adhere to all requirements in the pro

         forma LGIP, except in the case of disputes, the transmission provider shall deem the

         interconnection customer’s interconnection request to be withdrawn pursuant to section




         FERC, 496 F.3d 695, 703 (D.C. Cir. 2007)).
                1963
                       EEI Initial Comments at 15; Eversource Initial Comments at 22-24.
                1964
                     APPA-LPPC Initial Comments at 21; NRECA Initial Comments at 34; Tri-
         State Initial Comments at 18-19.
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         3.7 of the pro forma LGIP. To the extent that study delays result from an interconnection

         customer’s actions or higher-queued cluster restudies, transmission providers may record

         the length of those delays and report that information in any appeal of study delay

         penalties filed with the Commission.

                We disagree with PJM that interconnection customers will be incentivized to delay

         studies of their interconnection requests in order to offset their study costs via study delay

         penalties being allocated to them from the transmission provider.1965 We agree with AEE

         that the economic harms of delaying the interconnection process for an interconnection

         customer with a commercially viable interconnection request, especially given the

         reforms adopted in this final rule (e.g., increased study deposits, commercial readiness

         deposits, and withdrawal penalties) significantly outweigh any economic incentive for

         interconnection customers to delay the interconnection process in hopes of a study delay

         penalty to offset study costs.1966 For example, a cluster study delayed by 100 business

         days would generate $100,000 in study delay penalties to be distributed among all

         interconnection customers in the cluster, yet such a lengthy delay could force an

         interconnection customer to withdraw from the interconnection queue due to commercial

         obligations and carries an interconnection customer withdrawal penalty risk of two times

         the study cost.




                1965
                       PJM Initial Comments at 57.
                1966
                       AEE Reply Comments at 35-36.
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                We decline requests to delay implementation of the study delay penalty reforms

         until other reforms in this rulemaking and related rulemakings, such as those in Docket

         No. RM22-17, take effect.1967 As explained above, our modification to the NOPR’s

         proposed transition mechanism for study delay penalties, which will allow transmission

         providers to complete two cluster study cycles before being subject to study delay

         penalties, will provide sufficient time for transmission providers to implement the other

         reforms adopted in this final rule. This transition mechanism will also give transmission

         providers currently undergoing their own interconnection queue reform efforts, as SPP

         and NYISO explain they are, time to implement those reforms.1968 In addition, we find

         that the study delay penalties are just and reasonable based on the record in this

         proceeding and that it would not be appropriate to delay their effect until action is taken

         in other proceedings. To the extent the Commission finalizes the proposed reforms in

         separate proceedings, the Commission will consider how to address potential interactions

         between the reforms adopted in this final rule and elsewhere.




                1967
                    AEP Initial Comments at 29; Avangrid Reply Comments at 14; Clean Energy
         Buyers Initial Comments at 10-11; Eversource Initial Comments at 30-31; Idaho Power
         Initial Comments at 10; ISO/RTO Council Reply Comments at 5; Longroad Energy
         Reply Comments at 15; NY Commission and NYSERDA Initial Comments at 6; NYISO
         Initial Comments at 30; Pacific Northwest Utilities Initial Comments at 9-10; PacifiCorp
         Initial Comments at 34; Puget Sound Initial Comments at 11; State Agencies Initial
         Comments at 14; TAPS Initial Comments at 9.
                1968
                       NYISO Initial Comments at 30; SPP Initial Comments at 14-15.
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                In response to WAPA’s comment that federal agencies should not be subject to

         study delay penalties absent a specific Congressional waiver of sovereign immunity,1969

         we clarify that the penalties will apply to the extent that a non-public utility has adopted

         the proposed penalty provisions as a part of its reciprocity tariff.1970 Under the safe

         harbor procedure set out in Order No. 888, non-public utilities may voluntarily submit to

         the Commission an open access transmission tariff; if the Commission finds that the tariff

         contains terms and conditions that substantially conform or are superior to those in the

         pro forma open access transmission tariff, the Commission will deem it an acceptable

         reciprocity tariff and will require public utilities to provide open access transmission

         service to that particular non-public utility (safe harbor treatment).1971 We find that,

         where such non-public utilities voluntarily file a reciprocity tariff, they consent to abide

         by the Commission’s open access principles and the various provisions of the pro forma

         tariff, which would include the penalties we are adopting in this final rule (unless the




                1969
                       WAPA Initial Comments at 10.
                1970
                    Promoting Wholesale Competition Through Open Access Non-Discriminatory
         Transmission on Servs. by Pub. Utils.; Recovery of Stranded Costs by Pub. Utils. &
         Transmitting Utils., Order No. 888, 61 FR 21,540 (May 10, 1996), FERC Stats. & Regs.
         ¶ 31,036, at 31,760-763 (1996) (cross-referenced at 75 FERC ¶ 61,080), order on reh’g,
         Order No. 888-A, 62 FR 12274 (Mar. 14, 1997), FERC Stats. & Regs. ¶ 31,048 (cross-
         referenced at 78 FERC ¶ 61,220), order on reh’g, Order No. 888-B, 81 FERC ¶ 61,248
         (1997), order on reh’g, Order No. 888-C, 82 FERC ¶ 61,046 (1998), aff’d in relevant
         part sub nom. Transmission Access Pol’y Study Grp. v. FERC, 225 F.3d 667 (D.C. Cir.
         2000), aff’d sub nom. N.Y. v. FERC, 535 U.S. 1 (2002).
                1971
                       Order No. 888, FERC Stats. & Regs. ¶ 31,036, at 31,761.
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         Commission were to find that a safe harbor tariff without those penalty provisions

         substantially conforms or is superior to the pro forma tariff).1972

                WAPA cites to Southwestern Power Admin. v. FERC1973 for its proposition that,

         absent a specific waiver of sovereign immunity, federal agencies are not subject to

         monetary penalties.1974 We find that case inapposite because the penalties adopted here

         are not civil monetary penalties imposed by the Commission and paid to the U.S.

         Treasury. Instead, they would be penalties imposed pursuant to a voluntarily submitted

         reciprocity tariff and would be distributed to the delayed interconnection customer(s) in

         the relevant study that remained in the interconnection queue at the time the penalty

         would be distributed. WAPA and other federal agencies, if they file reciprocity tariffs,

         would voluntarily choose to abide by the terms of those tariffs and thus would consent to

         any penalty structures contained in them.

                We decline to adopt commenters’ suggestions to create generic exceptions to

         study delay penalties.1975 Not only do we lack record support for some of the




                1972
                     Where, as here, the Commission makes changes to the pro forma tariff, a non-
         public utility that already has a reciprocity tariff and wishes to maintain its safe harbor
         treatment must amend its tariff so that its provisions substantially conform or are superior
         to the revised pro forma tariff. See Order No. 2003, 104 FERC ¶ 61,103 at P 842.
                1973
                       Sw. Power Admin. v. FERC, 763 F.3d 27 (D.C. Cir. 2014).
                1974
                       WAPA Initial Comments at 10 n.12.
                1975
                    Indicated PJM TOs Initial Comments at 42; MISO TOs Initial Comments at
         25; National Grid Initial Comments at 32; NESCOE Initial Comments at 16; NYISO
         Initial Comments at 42; PPL Initial Comments at 19; SoCal Edison Initial Comments at
         19; Tri-State Initial Comments at 18; WIRES Initial Comments at 10; Xcel Initial
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         suggestions, but we also believe that transmission provider requests for an exception to a

         study delay penalty are best addressed on a case-by-case basis via the appeal process

         outlined above.

                We decline to adopt alternative proposals suggested by various commenters. For

         example, we do not believe that imposing only a reporting requirement on study delays is

         sufficient to resolve the problem of interconnection queue backlogs and repeatedly

         delayed interconnection studies. Similarly, we decline to condition study delay penalties

         on the outcome of a show cause proceeding conducted by the Commission, as suggested

         by MISO,1976 because it would be administratively burdensome and may not create a

         sufficient incentive for transmission providers to meet interconnection study deadlines.

         We also decline to adopt suggestions such as creation of favorable rate treatment for

         transmission providers that meet interconnection study deadlines1977 or tying

         interconnection study performance to executive compensation,1978 which we do not

         believe would ensure that interconnection customers are able to interconnect in a reliable,

         efficient, transparent, and timely manner as effectively as the study delay penalty

         structure that we adopt instead.




         Comments at 38.
                1976
                       MISO Initial Comments at 79-80.
                1977
                       Longroad Energy Reply Comments at 14-15; Shell Initial Comments at 11.
                1978
                 Clean Energy States Initial Comments at 10-11; CREA and NewSun Reply
         Comments at 57; TAPS Initial Comments at 8.
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                       2.     Affected Systems

                              a.      Need for Reform

                                      i.    NOPR Proposal

                In the NOPR, the Commission preliminarily found that the affected system study

         process lacks consistency between transmission providers.1979 The Commission stated

         that, without any requirement for a timely cost determination, affected system operators

         may not return study results in time for interconnection customers to make informed

         decisions to facilitate interconnection of their generating facilities. The Commission

         added that, due to this lack of information, there may continue to be late-stage

         withdrawals resulting from unexpected high costs for affected system network upgrades

         that create restudies and delays.1980 The Commission also noted that interconnection

         customers recommended standardization of the affected system study process in both the

         technical conference in Docket No. AD18-8-000 and in comments on the ANOPR in

         Docket No. RM21-17-000, specifically asking for standardization of the timing of study




                1979
                    NOPR, 179 FERC ¶ 61,104 at P 179 (citing May Joint Task Force Tr. 67:6-8
         (Dan Scripps) (“Specifically, there may be an opportunity to create a general framework
         that would be consistent across RTO seams.”); id. 68:12-18 (Ted Thomas) (agreeing with
         Chair Scripps that “the most effective place that FERC can operate is in the area where
         you have two RTOs and the real issue is getting them on the same page”)).
                1980
                    Id. (citing May Joint Task Force Tr. 67:14-17 (Dan Scripps) (“[W]e expect the
         affected systems study process to become increasingly critical as more renewable
         resources come online in renewable rich areas and transmission capacity becomes ever
         more scarce.”)).
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         results, the amount of study costs, and modeling criteria used in affected system

         studies.1981

                The Commission noted that, currently, detailed information about any two

         transmission providers’ affected system study processes is found in multiple transmission

         provider documents and is not necessarily cohesive, which appears to create confusion

         and uncertainty.1982 The Commission further preliminarily found that, despite these

         documents, much of the affected system study process is ad hoc and, therefore, unclear to

         interconnection customers. In addition, the Commission explained that affected system

         study processes are highly variable based on region and transmission provider, and they

         may not be uniform even across a single transmission provider’s footprint.

                The Commission preliminarily found that the lack of an affected system study

         process results in Commission-jurisdictional rates that are unjust and unreasonable

         because an interconnection customer cannot evaluate its costs in a timely manner, which

         increases uncertainty and may result in late-stage withdrawals and subsequent restudies,

         delays, and increased costs to the remaining interconnection customers in the

         interconnection queue.1983 The Commission stated that, without a transparent affected




                1981
                     Id. P 180 (referencing May Joint Task Force Tr. 64:18-24 (Dan Scripps)
         (stating that “FERC may have a larger role to play in issues that cross RTO boundaries,
         particularly, around cross-RTO affected system studies where individual RTOs have
         limited control” and certainty “around the timing of affected systems studies”)).
                1982
                        Id. P 181.
                1983
                        Id. P 182.
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         system study process, it appears that neither an interconnection customer nor the

         Commission can evaluate whether the affected system operator has acted in an unduly

         discriminatory manner. The Commission further stated that reforms to improve

         transparency and coordination, therefore, may be necessary to establish a just, reasonable,

         and not unduly discriminatory or preferential affected system study process.

                                     ii.    Comments

                Multiple commenters generally support action to address the Commission’s

         identified need to reform affected system study processes.1984 For example, AEE asserts

         that existing affected system study processes are plagued by uncertainty and a lack of

         transparency, which, in turn, create delays, interconnection queue withdrawals, and cost

         increases.1985 Invenergy, Enel, and SEIA assert that current misalignments in and lack of

         coordination of affected system study processes can lead to uncertain, duplicative, or

         unexpected study results.1986 Some commenters support synchronization and

         harmonization of affected system study processes, with NextEra alleging that study




                1984
                     ACE-NY Initial Comments at 8-9; AEE Initial Comments at 34-35; Enel
         Initial Comments at 58; Google Initial Comments at 5-6, 22; Invenergy Initial Comments
         at 40; Omaha Public Power Initial Comments at 12; SEIA Initial Comments at 34-35;
         Shell Initial Comments at 30.
                1985
                   AEE Initial Comments at 34-35; see also ELCON Initial Comments at 7;
         SEIA Initial Comments at 34-35; Shell Initial Comments at 30.
                1986
                  Enel Initial Comments at 58; Invenergy Initial Comments at 40; SEIA Initial
         Comments at 34-35. Invenergy states that many commenters acknowledge the need for
         improvements to current affected system study processes. Invenergy Reply Comments at
         7-8.
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         processes across several regions lack transparency, consistency, coordination, and

         accountability, which results in errors and delays.1987 Similarly, Google contends that

         current affected system study processes lack deadlines or structure, which exacerbates

         anticipating interconnection costs and, in turn, stifles investments.1988 National Grid

         asserts that host transmission system and affected system study processes can be

         significantly misaligned with project development, investment, and financing timelines

         and decision points, resulting in unmanageable risk for interconnection customers.1989

                Several commenters highlight the shortcomings of current pro forma LGIP

         requirements and their contribution to affected system study process problems.1990 ACE-

         NY emphasizes that nothing in the pro forma LGIP binds the affected system study

         process, and, as a result, interconnection customers are open to significant impacts and

         unreasonable timelines.1991 OMS highlights the limited control that RTOs/ISOs have

         regarding the timing of affected system studies.1992 NYISO and Ameren assert that more



                1987
                 APS Initial Comments at 19; ELCON Initial Comments at 7; NextEra Initial
         Comments at 31-32; NextEra Reply Comments at 4; Omaha Public Power Initial
         Comments at 12.
                1988
                 Google Initial Comments at 5-6, 22; U.S. Chamber of Commerce Initial
         Comments at 10-11.
                1989
                       National Grid Initial Comments at 35.
                1990
                 See, e.g., Clean Energy Associations Initial Comments at 47-48; UMPA Initial
         Comments at 5-6.
                1991
                       ACE-NY Initial Comments at 9.
                1992
                   OMS Initial Comments at 16; see also PJM Reply Comments at 10 (arguing
         that an RTO/ISO has no authority to compel other RTOs/ISOs to complete
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         specific requirements regarding roles and responsibilities of parties in the affected system

         study process are needed.1993 According to Invenergy, the Commission has until now

         declined to impose any organized structure around the affected system study process

         because affected system network upgrades and associated costs were thought to be a

         relatively rare occurrence.1994 Invenergy contends that this has resulted in transmission

         providers conducting studies using variable study assumptions and standards and

         assigning significant system upgrade costs at any time, even after an interconnecting

         generating facility is already in operation.

                On the other hand, several commenters doubt whether standardization of affected

         system study processes is warranted and argue that adopting the NOPR proposal will

         cause timeline problems and delays.1995 SDG&E contends that, based on its experience,

         affected system studies infrequently trigger the need for construction of new network

         upgrades, and thus it does not find the current process deficient.1996 AECI states that its

         current coordination process is not in need of reform because it effectively coordinates




         interconnection studies on its deadline).
                1993
                       Ameren Initial Comments at 22; NYISO Initial Comments at 44.
                1994
                       Invenergy Initial Comments at 39 (citing Order No. 2003, 104 FERC ¶ 61,103
         at P 120).
                1995
                 Dominion Initial Comments at 36-37; PJM Initial Comments at 63; SPP Initial
         Comments at 17; WAPA Initial Comments at 10.
                1996
                       SDG&E Reply Comments at 3.
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         with several affected systems and recognizes the unique situations presented at different

         seams.1997

                                      iii.   Commission Determination

                We affirm the Commission’s preliminary findings in the NOPR that there is a

         compelling need for affected system study process reforms. The record demonstrates

         that, absent reforms, affected system studies will likely remain ad hoc, continuing to

         create and increase delays in the interconnection process, which leads to increased costs

         for both interconnection customers and consumers, thereby failing to ensure just and

         reasonable rates. As discussed by commenters, the existing affected system study

         processes lack certainty and transparency, which, in turn, create interconnection queue

         delays, interconnection customer withdrawals, and cost increases.1998 Affected system

         study delays continue to be a major reason for interconnection queue delays.1999 We

         concur with commenters that better coordination and more specific requirements

         concerning the role and responsibilities of affected system transmission providers are

         required to address the lack of certainty and transparency.2000 Additionally, we agree

         with commenters that affected system study process reforms will ensure that


                1997
                       AECI Initial Comments at 6.
                1998
                 AEE Initial Comments at 34-35; ELCON Initial Comments at 7; SEIA Initial
         Comments at 34-35; Shell Initial Comments at 30.
                1999
                   See MISO, Informational Report Regarding Interconnection Study Delay for
         4th Quarter 2022, Docket No. ER19-1960-004, attach. A at 8 (filed Feb. 14, 2023).
                2000
                       Ameren Initial Comments at 22; NYISO Initial Comments at 44.
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         interconnection customers are able to connect in a reliable, efficient, transparent, and

         timely manner.2001 We are unpersuaded by comments that standardizing the affected

         system study process will result in timeline problems and delays;2002 we find such claims

         to be speculative and contrary to the Commission’s experience with standardizing host

         transmission provider study processes via the pro forma LGIP.2003 We discuss specific

         aspects of the affected system-related NOPR proposals and final rule determinations

         below.

                  In this final rule, an affected system transmission provider refers to a public utility

         transmission provider as the Commission does not have jurisdiction over the rates, terms,

         or conditions of service of non-public utility transmission providers. Thus, the

         requirements adopted in this final rule pertaining to affected system transmission

         providers are limited to public utility transmission providers.

                                  b.      Affected System Study Process

                                          i.    NOPR Proposal

                  In the NOPR, the Commission proposed to revise the pro forma LGIP to include

         an affected system study process.2004 The proposed process includes an initial



                  2001
                         MISO Initial Comments at 8 n.20, 12.
                  2002
                 Dominion Initial Comments at 36-37; PJM Initial Comments at 63; SPP Initial
         Comments at 17; WAPA Initial Comments at 10.
                  2003
                  See Order No. 2003, 104 FERC ¶ 61,103 at PP 10-12; Order No. 845, 163
         FERC ¶ 61,043 at PP 4, 8, 39, 221, 239, 559.
                  2004
                         NOPR, 179 FERC ¶ 61,194 at P 183.
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         notification, an affected system scoping meeting, a study process, the establishment of

         interconnection queue priority for the purposes of network upgrade cost allocation, the

         presentation of study results and an assessment of those results, and imposition of

         penalties if an affected system transmission provider fails to meet a study deadline. The

         Commission also proposed to add several definitions to the pro forma LGIP, including

         “affected system interconnection customer,” “affected system network upgrade,”

         “affected system scoping meeting,” and “affected system study.”

                The Commission proposed to require that the host transmission provider notify the

         affected system operator of a potential affected system impact caused by an

         interconnection request within 10 business days after the close of the first event giving

         rise to the identification of an affected system impact.2005 The Commission explained

         that, for host transmission providers using a cluster study process, this event could be (1)

         the cluster request window, (2) the customer engagement window, (3) the cluster study,

         or (4) the cluster restudy as part of the first-ready, first-served cluster study process. At

         the same time that the host transmission provider notifies the affected system operator,

         the Commission proposed to require the host transmission provider to provide the

         interconnection customer with a list of potential affected systems, along with relevant

         contact information. The Commission also proposed to require the host transmission

         provider to provide the affected system operator with data on a monthly basis, or more




                2005
                       Id. P 184.
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         frequently as needed, about its transmission system and generation in its interconnection

         queue for the duration of the affected system study process.

                The Commission proposed several requirements on transmission providers acting

         as an affected system operator, whose transmission systems may be impacted by the

         proposed interconnection of a generating facility to a transmission system other than the

         transmission provider’s transmission system.2006 The Commission proposed to require

         the affected system transmission provider, within 15 business days of receiving

         notification from the host transmission provider of an impact on its transmission system,

         to respond in writing indicating whether it intends to perform an affected system study.

                The Commission proposed to require that the affected system transmission

         provider schedule an affected system scoping meeting within seven business days after

         providing written notification that it intends to conduct an affected system study.2007 The

         Commission also proposed to require that the affected system scoping meeting be held

         within seven business days after it is scheduled. The Commission further proposed to

         require that the affected system transmission provider include the affected system

         interconnection customer in the scoping meeting and use best efforts to include the

         transmission provider with whom interconnection has been requested. The Commission

         proposed to require the affected system transmission provider to share the schedule to




                2006
                       Id. P 185.
                2007
                       Id. P 186.
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         complete the affected system study with all scoping meeting attendees within 15 business

         days after the close of the scoping meeting.

                The Commission proposed to require that the affected system transmission

         provider tender an affected system study agreement to the affected system

         interconnection customer within five business days of sharing the schedule for the

         affected system study.2008 The Commission also proposed to require the affected system

         interconnection customer to return the executed affected system study agreement within

         10 business days of receipt.

                The Commission proposed to require the affected system transmission provider to

         use what it referred to as a “first-ready, first-served interconnection queue priority

         approach,” which would also determine how affected system network upgrade costs will

         be allocated by that transmission provider amongst interconnection customers in separate

         transmission systems.2009 Specifically, the Commission explained, in some situations,

         both affected system interconnection customers and interconnection customers on the

         transmission system of the affected system transmission provider cause the need for

         affected system network upgrades; in this case, each interconnection customer’s relative

         interconnection queue priority must be determined. The NOPR’s proposed first-ready,

         first-served interconnection queue priority approach would require the affected system

         transmission provider to assign the affected system interconnection customer a queue


                2008
                       Id. P 188.
                2009
                       Id. P 189.
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         position in its interconnection queue according to when the affected system

         interconnection customer executes an affected system study agreement, rather than when

         the affected system interconnection customer entered its host transmission provider’s

         interconnection queue. The Commission explained that such a position would be

         equivalent to that of a transmission provider’s own interconnection customer that had just

         received its cluster study report. The Commission also proposed to require the affected

         system transmission provider to allocate network upgrade costs among equally queued

         interconnection customers using a proportional impact method.

                The Commission proposed that the affected system transmission provider must

         provide the affected system interconnection customer with affected system study results

         within 90 calendar days after the receipt of the executed affected system study

         agreement.2010 The Commission proposed to require that the affected system

         transmission provider include in the study results both the estimated costs for any

         network upgrades identified in the study and the timing for the construction of those

         network upgrades.

                The Commission proposed to require that the affected system transmission

         provider provide the affected system interconnection customer with an affected system

         facilities construction agreement within 30 calendar days after providing the affected

         system study results.2011 The Commission proposed that the affected system


                2010
                       Id. P 190.
                2011
                       Id. P 191.
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         interconnection customer would then be required to notify the affected system

         transmission provider within five business days of executing the generator

         interconnection agreement with its host transmission provider whether it would like to

         execute the affected system facilities construction agreement or request that it be filed

         unexecuted with the Commission. The Commission proposed that the affected system

         transmission provider would then be required to execute, or file unexecuted, the affected

         system facilities construction agreement within five business days after receiving such

         direction from the affected system interconnection customer.

                The Commission proposed to impose financial penalties on affected system

         transmission providers that fail to timely complete affected system studies.2012 The

         Commission explained that a host transmission provider would not be penalized for a late

         affected system study and did not require a host transmission provider to wait on the

         results of an affected system study to conduct its cluster study, so that any affected

         system study delay would not delay such a cluster study. The Commission clarified that

         the affected system transmission provider was the only entity that would be penalized for

         failure to timely complete an affected system study.




                2012
                       Id. P 192.
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                                     ii.    Comments

                                            (a)    Comments in Support

                Multiple commenters support the NOPR proposal to create a standardized affected

         system study process in the pro forma LGIP.2013 Consumers Energy asserts that

         standardization and better synchronization of timelines and processes between

         transmission providers will improve the interconnection process,2014 and in ACORE’s

         opinion, will help to prevent the use of potentially unjust, unreasonable, and unduly

         discriminatory or preferential ad hoc approaches.2015

                Multiple commenters support most or all of the proposed reforms.2016 Pine Gate

         strongly supports the NOPR proposal’s definitive deadlines for affected system study


                2013
                    ACE-NY Initial Comments at 8-9; AEE Initial Comments at 34-35; AEP
         Initial Comments at 31; AES Initial Comments at 21; APPA-LPPC Initial Comments at
         23; CREA and NewSun Initial Comments at 86; Duke Southeast Utilities Initial
         Comments at 12; EDF Renewables Initial Comments at 10; ELCON Initial Comments at
         7; Enel Initial Comments at 2, 57; ENGIE Initial Comments at 8; Fervo Energy Initial
         Comments at 6; Google Initial Comments at 5-6; Idaho Power Initial Comments at 11;
         NextEra Initial Comments at 31; Ohio Commission Consumer Advocate Initial
         Comments at 13; PacifiCorp Initial Comments at 36; Pattern Energy Initial Comments at
         24; Pine Gate Initial Comments at 41; PPL Initial Comments at 19; SEIA Initial
         Comments at 34; Shell Initial Comments at 29.
                2014
                    Consumers Energy Initial Comments at 8; see also Clean Energy Associations
         Initial Comments at 47-48; Illinois Commission Initial Comments at 9; CREA and
         NewSun Initial Comments at 86-87; ENGIE Initial Comments at 8; U.S. Chamber of
         Commerce Initial Comments at 10-11.
                2015
                    ACORE Initial Comments at 4-5; see also EDF Renewables Initial Comments
         at 11; Invenergy Initial Comments at 41.
                2016
                    ACE-NY Initial Comments at 9; Google Initial Comments at 23; Pine Gate
         Initial Comments at 42.
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         completion and associated incentives, arguing that consistent, published criteria will help

         determine whether an affected system study is needed and will provide interconnection

         customers with the opportunity to conduct their own engineering analyses applying the

         criteria in order to better determine suitable locations for prospective generating

         facilities.2017 AEP supports the deadlines related to initiating the affected system study

         process, stating that deadlines would help to provide transparency and ensure that the

         process is initiated in a timely fashion.2018 Interwest, National Grid, and Invenergy

         support the proposal to standardize the affected system study engagement and

         participation process, asserting that the reforms are a significant improvement over the

         status quo.2019

                                             (b)     Comments in Opposition

                Multiple commenters oppose the NOPR’s affected system study process

         proposal.2020 Some commenters assert that the proposed process will impose arbitrary




                2017
                       Pine Gate Initial Comments at 42-43; see also ENGIE Initial Comments at 9-
         10.
                2018
                       AEP Initial Comments at 31.
                2019
                   Interwest Reply Comments at 16-17; Invenergy Initial Comments at 40;
         National Grid Initial Comments at 35.
                2020
                    Dominion Initial Comments at 36-37; National Grid Initial Comments at 37;
         NextEra Initial Comments at 32; NextEra Reply Comments at 4; North Carolina
         Commission and Staff Initial Comments at 24; Pacific Northwest Utilities Initial
         Comments at 15; PJM Initial Comments at 63-64; SDG&E Reply Comments at 3; SPP
         Initial Comments at 17; WAPA Initial Comments at 10-11.
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         and strict deadlines and will be unworkable.2021 Dominion and SDG&E assert that timing

         for affected system studies should not be standardized because the necessary study

         assumptions depend on timing of studies in the cluster study process.2022 Dominion

         contends that, if an affected system study is performed too early, modeling assumptions

         may not yield meaningful results, resulting in incorrect cost estimates likely to cause

         restudies and late-stage withdrawals.2023 PJM argues that studying affected system

         interconnection requests before all studies have been completed, or studying them for

         ERIS, could cause operational problems, require curtailment, or lead to late-stage

         withdrawals after the full scope of necessary network upgrades is known.2024 Similarly,

         SPP states that, because the NOPR proposal does not prescribe any particular level of

         precision for the cost and timing estimates associated with affected system upgrades, the

         results received by the interconnection customer could lack sufficient detail and lead to

         higher-than-anticipated costs.2025

                Several commenters argue that certain elements of the NOPR proposal do not

         achieve the goal of increased efficiency.2026 Recognizing that affected system studies



                2021
                  Dominion Initial Comments at 37; NextEra Initial Comments at 32; NextEra
         Reply Comments at 4; PJM Initial Comments at 63; SDG&E Reply Comments at 3.
                2022
                       Dominion Initial Comments at 36-37; SDG&E Reply Comments at 3.
                2023
                       Dominion Initial Comments at 37.
                2024
                       PJM Initial Comments at 64.
                2025
                       SPP Initial Comments at 17.
                2026
                       Id.; CAISO Initial Comments at 28; Dominion Initial Comments at 36-37;
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         require separate case preparations and a greater level of coordination between parties,

         SDG&E agrees with CAISO that the proposal has the potential to increase the number of

         affected system studies, with limited benefit.2027 National Grid cautions that

         standardizing the affected system study process will necessitate host and affected system

         transmission providers to devote more resources to that process, which could cause

         delays.2028 PJM contends that, although the NOPR proposal provides that transmission

         providers conducting cluster studies are not required to delay those studies by waiting for

         the results of affected system studies, such delays will be inevitable under the proposed

         process due to the additional steps and coordination required and the overlap in personnel

         and deadlines.2029 PJM and National Grid both express concerns regarding the justness

         and reasonableness of the NOPR’s penalty regime given the potential for additional

         delays in affected system studies.2030

                Other commenters argue that the NOPR proposal does not go far enough to

         improve efficiency in the affected system study process. North Carolina Commission

         and Staff call for more comprehensive reforms, recognizing the need for coordination




         National Grid Initial Comments at 37; PJM Initial Comments at 63; SDG&E Reply
         Comments at 3; WAPA Initial Comments at 10.
                2027
                       SDG&E Reply Comments at 3.
                2028
                       National Grid Initial Comments at 37.
                2029
                       PJM Initial Comments at 63.
                2030
                       Id.; National Grid Initial Comments at 37.
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         between transmission providers to avoid unnecessary expense and system disruption.2031

         WAPA recommends that the Commission consider an alternative strategy in which the

         host transmission provider includes contingencies and sensitivity scenarios involving

         potentially affected systems in its own studies.2032 PJM suggests that, rather than the

         NOPR’s “overly prescriptive” approach, the Commission should require a stated affected

         system coordination structure with defined steps and checkpoints, similar to the process

         PJM has been working to implement with neighboring systems through its joint operating

         agreements.2033

                                             (c)     Comments on Specific Proposal

                                                     (1)   Definitions

                PPL argues that the proposed term “affected system interconnection customer” is

         confusing and recommends that the Commission either remove “interconnection” or

         consider the term “direct connect system customer,” asserting that the affected system

         interconnection customers are not interconnection customers working their way through

         the affected system transmission provider’s interconnection process.2034 PPL states that

         some transmission providers combine interconnection and transmission and argues that

         removing the word “interconnection” better accommodates such a combined group.


                2031
                       North Carolina Commission and Staff Initial Comments at 24.
                2032
                       WAPA Initial Comments at 10-11.
                2033
                       PJM Initial Comments at 64.
                2034
                       PPL Initial Comments at 19-20.
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                Several commenters ask for clarification or modification of the terms “affected

         system” or “affected system operator.” National Grid asserts that the Commission should

         clarify whether an affected system solely includes transmission owners in each region or

         also includes neighboring RTOs/ISOs or transmission providers in neighboring

         regions.2035 NRECA requests that the Commission clarify the scope of several definitions

         so that transmission providers will not overlook a proposed interconnection request’s

         impact on an electric cooperative’s affected system.2036

                                                    (2)     Notification of Affected System
                                                            Impacts

                Regarding the proposed triggering event at the close of (1) the cluster request

         window, (2) the customer engagement window, (3) the cluster study, or (4) the cluster

         restudy for a host transmission provider to notify an affected system operator, PacifiCorp

         argues that the 10-business day notification obligation begins with an ill-defined standard

         in the NOPR—the “close of first event giving rise to the identification of an affected

         system impact.”2037 PacifiCorp requests that the Commission clarify this standard and


                2035
                       National Grid Initial Comments at 35.
                2036
                     NRECA Initial Comments at 9, 36-39. More specifically, NRECA contends
         that because some transmission providers interpret the definition of “Affected System” to
         mean a Commission-jurisdictional transmission system and refuse to recognize that other
         electric systems may be affected systems, under the pro forma LGIP and pro forma
         LGIA, the Commission should provide that an “Affected System” means any affected
         “electric system,” not just an affected “Transmission System,” and that an “Affected
         System Operator” means any “entity that operates an Affected System,” not just a
         transmission owner or transmission provider. Id. at 36-37, 39.
                2037
                       PacifiCorp Initial Comments at 36.
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         further clarify that transmission providers will not be penalized if affected system issues

         are not discovered until later in the interconnection process, as such impacts may not

         always be readily apparent.

                Some commenters oppose the proposed requirement in section 3.6.1 of the pro

         forma LGIP that a host transmission provider, within 10 business days of the triggering

         event that identifies a potential affected system impact, notify an affected system operator

         of such potential impact.2038 WAPA states that the initial notification requirement could

         unnecessarily increase costs because the notification could be received before the system

         impact study on the host transmission provider’s transmission system is complete and

         thus before any potential network upgrades are identified. Duke Southeast Utilities assert

         that the notification time frame should be 15 business days because: (1) the host

         transmission provider may need additional time to notify multiple affected system

         operators of a potential impact within the same prescribed time frame; and (2) the host

         transmission provider may need additional time to gather all necessary information and

         compile adequate notification packages, due to the need to include a technical basis for

         the affected system impact.2039 CAISO states that the Commission should require

         transmission providers to begin the notification process shortly after interconnection

         customers receive their initial study results and face higher financial requirements to



                2038
                   Id.; CAISO Initial Comments at 27; Duke Southeast Utilities Initial Comments
         at 12; PG&E Reply Comments at 5; WAPA Initial Comments at 11.
                2039
                       Duke Southeast Utilities Initial Comments at 12.
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         proceed in the interconnection queue.2040 CAISO explains that this is when the majority

         of interconnection customers withdraw their interconnection requests because they do not

         wish to put more money at risk. CAISO argues that using this smaller pool of

         interconnection requests will enable faster affected system studies due to decreased

         volume and more realistic study assumptions.

                A few commenters provide suggestions on the content of the notice that the host

         transmission provider sends to the affected system operator. Specifically, APPA-LPPC

         propose that pro forma LGIP section 3.6.1 be revised to include the following: “Along

         with notification to Interconnection Customer of the list of potential Affected Systems,

         Transmission Provider will notify Interconnection Customer and such Affected Systems

         whether a single set of studies (Feasibility, System Impact and Facilities Studies) may be

         sufficient to manage all related impacts. A single set of studies may be undertaken upon

         agreement of all parties.”2041 Duke Southeast Utilities suggest that, in addition to such

         notification, the host transmission provider should provide evidence of the potential

         impact, which they assert will assist the affected system operator in: (1) understanding

         the host transmission provider’s engineering analysis and assumptions that led it to

         identify the potential impact; and (2) determining whether to conduct an affected system

         study.2042


                2040
                       CAISO Initial Comments at 29.
                2041
                       APPA-LPPC Initial Comments at 25-26.
                2042
                       Duke Southeast Utilities Initial Comments at 13.
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                Regarding to whom the host transmission provider should send the notification,

         NRECA argues that the notification requirement should extend to all potential affected

         systems and any affected system operators to allow electric cooperative affected system

         transmission providers to coordinate with the transmission provider and interconnection

         customer to timely address any affected system impacts.2043 Tri-State states that pro

         forma LGIP section 3.6.1 needs clarification as to whom the notice is to be directed.2044

                Other commenters oppose the proposed requirement in sections 3.6.2 and 9 of the

         pro forma LGIP that affected system transmission providers must respond to the

         notification of affected system impacts within 15 business days.2045 Bonneville advocates

         that the response time be flexible and allow for reasonable extensions.2046 Bonneville

         argues that, if affected system transmission providers only have 15 business days to

         respond, they will need to err on the side of caution, which could lead to more affected

         system studies than necessary, resulting in study delays. Duke Southeast Utilities assert

         that the response time frame should be 20 business days, as the affected system

         transmission provider may need additional time if: (1) it has received multiple

         notifications within the same time frame; (2) it needs to request additional data to




                2043
                       NRECA Initial Comments at 38-39.
                2044
                       Tri-State Initial Comments at 28.
                2045
                  Bonneville Initial Comments at 18; CAISO Initial Comments at 27; PG&E
         Reply Comments at 5; WAPA Initial Comments at 11.
                2046
                       Bonneville Initial Comments at 18.
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         determine if it intends to perform a study; (3) its own staff is limited because of deadlines

         within its own interconnection process; or (4) it wishes to perform a more detailed review

         to ensure that performing a study does not become the default approach.2047 Dominion

         asserts that a 15-business day requirement could be reasonable if all affected system

         notifications were provided at the same time.2048 Dominion contends that piecemeal

         notifications make it difficult for an affected system transmission provider to know if an

         affected system study is needed until all requests are received.

                Additionally, a few commenters contend that the NOPR proposal was unclear

         what would happen if an affected system operator fails to respond within 15 business

         days. Enel and ENGIE contend that it is unclear what the consequence is for an affected

         system transmission provider’s failure to meet the response deadline.2049 Enel

         encourages the Commission to add language to the pro forma LGIP to provide that the

         affected system transmission provider will forfeit its right to perform an affected system

         study if it fails to meet the response deadline, as a lack of incentive (and relevant penalty)

         to respond could result in delayed study results.2050 ENGIE suggests that the affected




                2047
                    Duke Southeast Utilities Initial Comments at 13 (noting that PJM often sends
         notice of multiple potential impacts from a single cluster).
                2048
                       Dominion Initial Comments at 37-38.
                2049
                       Enel Initial Comments at 59-60; ENGIE Initial Comments at 8.
                2050
                       Enel Initial Comments at 59-60; see also Invenergy Initial Comments at 42-44.
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         system transmission provider bear any financial consequences.2051 Pacific Northwest

         Utilities note that the non-jurisdictional affected system operator is not required to

         respond to the requirements under proposed pro forma LGIP section 3.6.1 and may not

         have the mechanisms in place to respond within 15 business days.2052

                                                      (3)   Timing of Affected System Studies

                Several commenters argue that beginning affected system studies too early may

         yield unreliable results that could lead to restudies and late-stage withdrawals, among

         other problems.2053 NextEra asserts that it is unlikely that the host transmission provider

         could provide useful information to the affected system transmission provider at an

         earlier stage.2054 CAISO and Idaho Power argue that the proposal to begin the affected

         system study process as soon as potential impacts are identified will slow affected system

         studies or result in unnecessary work for the affected system transmission provider

         because the impacts will be assessed based on transmission providers’ entire

         interconnection queues, even though many interconnection customers will withdraw early

         in the interconnection process.2055



                2051
                       ENGIE Initial Comments at 8.
                2052
                       Pacific Northwest Utilities Initial Comments at 17.
                2053
                    CAISO Initial Comments at 28-29; Dominion Initial Comments at 37; Enel
         Initial Comments at 59; Idaho Power Initial Comments at 11; NextEra Initial Comments
         at 32-33; WAPA Initial Comments at 11-12.
                2054
                       NextEra Initial Comments at 32-33.
                2055
                       CAISO Initial Comments at 28-29; Idaho Power Initial Comments at 11.
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                CAISO takes issue with the proposed deadlines for completing affected system

         studies and claims that the size of modern interconnection queues makes such quick

         deadlines impossible. According to CAISO, such deadlines would result in all affected

         system transmission providers exercising their rights to study every interconnection

         customer because they have no time to determine whether studies are necessary.2056

                Invenergy argues that affected system transmission providers should be subject to

         a deadline for participation in the process.2057

                Invenergy asserts that, although the NOPR clearly provides that a host

         transmission provider is not required to pause its interconnection process if an affected

         system transmission provider does not timely complete its study, the reality is that this

         could leave interconnection customers in the same position they are in now—being

         forced under the host transmission provider’s timeline to move forward in the study

         process and to execute an LGIA (and put money at risk) without the benefit of affected

         system study results. Invenergy contends that the solution is to establish a clear deadline

         (e.g., LGIA execution) by which time the affected system transmission provider must

         have completed its studies and identified affected system network upgrades; otherwise, it

         loses any right to assign affected system network upgrades to an interconnection request

         in the future. Invenergy states that, if the Commission does not impose such a deadline,

         it should at least permit interconnection customers that have been forced under host


                2056
                       CAISO Initial Comments at 27-28.
                2057
                       Invenergy Initial Comments at 41.
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         transmission provider’s rules to execute LGIAs in the absence of affected system study

         information to: (1) delay posting security and funding network upgrades under that

         LGIA until the affected system study results are received; and (2) have the opportunity to

         withdraw without penalty after receiving affected system study results if the

         interconnection customer’s assigned costs increased by more than 25% compared to costs

         allocated by the host transmission provider.2058

                Several commenters argue that an affected system study timeline should be

         consistent with the cluster study process on the host transmission provider’s transmission

         system because it can impact the host transmission provider’s study.2059 APS requests

         additional clarification on how the proposed affected system study process correlates to

         the host system studies and aligns with the host system’s requirements.2060 Enel

         acknowledges that the 90-calendar day affected system study deadline may be

         problematic for transmission providers that have 150 calendar days to run the same scope

         of studies for their own interconnection requests.2061 AEP stresses the need for

         coordination between these studies, which it argues would provide the interconnection

         customer with a more meaningful cost estimate, with coordination resulting in affected




                2058
                       Id. at 25, 43-44.
                2059
                    APPA-LPPC Initial Comments at 26; AEP Initial Comments at 31; Bonneville
         Initial Comments at 21; NV Energy Initial Comments at 11.
                2060
                       APS Initial Comments at 19-20.
                2061
                       Enel Initial Comments at 65.
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         system and host system study results being presented around the same time.2062 Enel

         contends that the affected system transmission provider should be required to complete

         any affected system impact studies no later than the host transmission provider’s deadline

         to complete the cluster restudy.2063 Enel asserts that this initial affected system study

         should be completed before the interconnection customer must satisfy requirements to

         enter the facilities study, at which point the interconnection customer faces a higher

         withdrawal penalty. Enel contends that the NOPR proposal could result in an affected

         system transmission provider being notified that an affected system study is needed after

         final results of the cluster restudy are complete, meaning that an affected system study

         may not be completed until or even after the execution of an LGIA. Enel argues that,

         after affected system studies are complete, an interconnection customer could have its

         costs double just before (or even after) an LGIA is executed, and penalty-free withdrawal

         under proposed pro forma LGIP section 3.7.1 would only apply if assigned

         interconnection costs increase by more than 100%.

                Several commenters argue that the timing of affected system studies should be

         structured to reduce potential burdens. Idaho Power suggests that affected system studies

         be performed after the initial cluster study to minimize unnecessary work and ensure that

         only interconnection requests moving into the cluster restudy have their affected system




                2062
                       AEP Initial Comments at 31-32.
                2063
                       Enel Initial Comments at 58.
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         impacts studied.2064 Dominion notes that PJM recently sought to address timing issues by

         incorporating affected system studies into later phases of its cluster studies.2065

                                                    (4)      Affected System Scoping Meeting

                Several commenters express concern about the proposed requirement in section

         3.6.2 of the pro forma LGIP that the affected system transmission provider (1) schedule

         an affected system scoping meeting within seven business days after providing written

         notification that it intends to conduct an affected system study and (2) hold that meeting

         within seven business days after it is scheduled.2066 Bonneville and Dominion assert that

         holding the scoping meeting within this time frame might not be realistic because these

         meetings are contingent upon the availability of multiple attendees.2067 CAISO contends

         that the proposal to schedule affected system scoping meetings within seven business

         days is impossible and that affected system transmission providers would simply hold

         scoping meetings to comply, having had no time to prepare anything meaningful for the




                2064
                       Idaho Power Initial Comments at 11.
                2065
                   Dominion Initial Comments at 37 (citing PJM Interconnection, L.L.C., Tariff
         Revisions for Interconnection Process Reform Transmittal Letter, Docket No. ER22-
         2110-000, at 55, 59-60 (filed June 14, 2022)).
                2066
                   Id. at 38; Bonneville Initial Comments at 18-19; CAISO Initial Comments at
         28; MISO Initial Comments at 86. WAPA also asserts that a meeting after the affected
         system study is completed would be more beneficial than the proposed affected system
         scoping meeting, as the proposed meeting would only provide speculative impacts that
         might be caused by an interconnection request. WAPA Initial Comments at 12.
                2067
                       Bonneville Initial Comments at 18-19; Dominion Initial Comments at 38.
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         meeting.2068 MISO argues that the Commission should allow each pair of transmission

         providers to develop their own schedule for the scoping process rather than mandating a

         one-size-fits-all schedule.2069 MISO asserts that this is particularly true for RTOs/ISOs

         with joint operating and/or planning agreements, which MISO claims should be able to

         justify their existing procedures on compliance via the independent entity variation

         standard. Bonneville emphasizes flexibility and proposes that the phrase “unless

         otherwise agreed to” be added to this requirement.2070

                Pacific Northwest Utilities state that, provided that regulated utilities properly

         invite the non-jurisdictional affected system transmission provider to the affected system

         scoping meeting, the Commission should clarify that such steps are sufficient to

         demonstrate that the regulated transmission provider has met its requirements under this

         section.2071 Further, Pacific Northwest Utilities note that the non-jurisdictional affected

         system transmission provider is not required to respond to the requirements under section

         3.6.2 of the pro forma LGIP and may not be prepared to attend the affected system

         scoping meeting.




                2068
                       CAISO Initial Comments at 28.
                2069
                       MISO Initial Comments at 86.
                2070
                       Bonneville Initial Comments at 19.
                2071
                       Pacific Northwest Utilities Initial Comments at 17.
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                                                      (5)   Affected System Study Process

                Multiple commenters advocate for changes to the proposed requirement in section

         3.6.3 of the pro forma LGIP that the transmission provider provide data monthly, or more

         frequently as needed, regarding the amount and location of generation in the transmission

         provider’s interconnection queue, as well as updated information about the transmission

         provider’s transmission system. NRECA states that the proposed information sharing

         requirement is essential but should not be limited to notifying or providing data to a

         transmission provider acting as an affected system operator but should extend to all

         potential affected systems and any affected system operators to allow electric cooperative

         affected system operators to perform studies and coordinate with the transmission

         provider and interconnection customer to timely address any affected system impact.2072

         MISO argues that the Commission should not impose an arbitrary time frame for data

         reports and suggests that such information should be provided only at times when it

         changes.2073 MISO asserts that updates are not likely to be helpful to interconnection

         customers until the next study stage has been completed. NV Energy requests that the

         Commission move to quarterly reporting because monthly updates would not be helpful

         and may provide dramatic swings in study results, which could trigger the need for an

         affected system study to start over.2074 NV Energy also requests that assumptions for


                2072
                       NRECA Initial Comments at 38-39.
                2073
                       MISO Initial Comments at 86.
                2074
                       NV Energy Initial Comments at 12.
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         studies be coordinated between the host transmission provider and affected system

         operator and that updates become quarterly after the study has been issued.

                LADWP requests clarification as to what specific data “updated information about

         the transmission provider’s transmission system” refers.2075

                Bonneville and Dominion argue that the proposed information sharing

         requirement is duplicative or unnecessary. Bonneville posits that the requirement is

         duplicative of information that is already available on OASIS.2076 Dominion argues that

         this requirement is overly cumbersome given transmission providers’ limited resources

         and numerous obligations and may produce data that the affected system may not even

         want or use.2077 Dominion asserts that it would be more efficient to require the host

         transmission provider to provide such information upon request.

                                                    (6)     Affected System Queue Position

                Several commenters support the NOPR proposal’s first-ready, first-served

         interconnection queue priority approach in proposed section 9.2 of the pro forma

         LGIP.2078 OMS and MISO argue that MISO and SPP’s recently approved changes to

         their joint operating agreement to modify the queue priority and coordination rules for


                2075
                       LADWP Initial Comments at 4 (citing NOPR, 179 FERC ¶ 61,194 at P 187).
                2076
                       Bonneville Initial Comments at 19.
                2077
                       Dominion Initial Comments at 38.
                2078
                   Alliant Energy Initial Comments at 7; EDF Renewables Initial Comments at
         11; Invenergy Initial Comments at 40; MISO Initial Comments at 11-12; NextEra Reply
         Comments at 5; OMS Initial Comments at 17.
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         affected system studies conform to the NOPR’s proposed approach and are an equitable

         means for sharing costs for network upgrades amongst interconnection customers in

         different regions and encourages timely processing of affected system impacts.2079

                However, Bonneville and NextEra assert that the NOPR does not adequately

         address the important issue of queue priority coordination.2080 NextEra argues that the

         notion of interconnection customers racing to be the first (or perhaps the last) to sign an

         affected system study agreement as a way of setting queue priority will result in

         conflict.2081 NextEra contends that, instead, the goal should be to ensure that

         transmission providers acting as affected systems perform affected system studies on a

         timeline that is consistent with the host transmission system’s stated schedule so that

         results are delivered in a timely manner and interconnection customers can be well-

         informed in their decision making. NextEra recommends that each pair of transmission

         providers whose interconnection customers affect each other’s system enter into

         agreements, to be filed with the Commission, specifying how they will ensure appropriate

         queue priority in affected system studies.

                Bonneville argues that the queue priority for affected system interconnection

         requests should be determined by giving priority to an interconnection request in an



                2079
                     MISO Initial Comments at 88; OMS Initial Comments at 17 (citing Sw. Power
         Pool, Inc., 179 FERC ¶ 61,148 (2022)).
                2080
                       Bonneville Initial Comments at 20; NextEra Reply Comments at 5.
                2081
                       NextEra Reply Comments at 5.
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         affected system study over any interconnection request that has not yet started the cluster

         study on the host transmission system.2082 Bonneville contends that if an affected system

         interconnection request receives higher queue priority relative to any interconnection

         requests for which the host transmission provider has started the cluster study but has not

         yet provided cluster study reports, then such a queue priority framework would introduce

         uncertainty into the cluster study process, as an affected system notification could be

         received during the cluster study process and trigger a restudy, delays, and increased

         costs to the participants of the cluster study.

                Other commenters argue for different approaches to affected system queue priority

         or allocation of affected system network upgrade costs. ENGIE argues that, although

         assigning an affected system queue position appears beneficial for assigning network

         upgrade costs, it could also create delays for the interconnection customer because it

         would be beholden to two separate interconnection queues.2083 ENGIE recommends that

         the Commission allocate network upgrade costs outside of the interconnection queue on

         an ex post basis to avoid the double-queue situation.

                Enel asserts that the NOPR’s proposed queue priority determination method will

         result in additional uncertainty about timing of affected system studies, incomplete and

         inaccurate cluster study results, and the need for restudies.2084 Although Enel agrees that


                2082
                       Bonneville Initial Comments at 20.
                2083
                       ENGIE Initial Comments at 9.
                2084
                       Enel Initial Comments at 62-63.
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         establishing queue priority between host and affected system interconnection requests is

         essential, Enel disagrees with the NOPR proposal to establish the affected system

         interconnection request’s queue priority according to when the affected system

         interconnection customer executes an “affected system study.”2085 Enel states that this

         must be a typo that should say “affected system study agreement.” Enel also notes that

         proposed pro forma LGIP section 9.2 does not clearly state which event establishes the

         date by which an affected system interconnection request receives its queue priority

         relative to host system interconnection requests and requests clarification on this

         point.2086 Enel further states that, if affected system queue priority is established based

         on an individual date, transmission providers would need to process affected system

         interconnection requests serially rather than by cluster and recommends that the

         Commission adopt a queue priority framework in which affected system interconnection

         requests would be studied in the same cluster grouping that the host transmission

         provider uses.2087 Enel also recommends that queue priority be assigned based on the

         deadline for entry into the host transmission provider’s interconnection queue.

                Several commenters request or propose specific clarifications regarding proposed

         pro forma LGIP section 9.2, including how the proposed first-ready, first-served




                2085
                       Id. at 61.
                2086
                       Id. at 61-62.
                2087
                       Id. at 62-63.
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         interconnection queue priority approach interacts with cluster studies.2088 EDF

         Renewables recommends that, to better synchronize the host and affected system study

         processes, the affected system operator should establish queue priority between the host

         and affected system based on the interconnection request achieving a certain stage in the

         host system’s study process, rather than the date the interconnection request was

         submitted.2089 APPA-LPPC ask that the Commission clarify proposed pro forma LGIP

         section 9.2 and the related obligations under pro forma LGIP sections 9.8 and 4.2.3.2090

         APPA-LPPC state that, as drafted, proposed pro forma LGIP section 9.2 suggests a queue

         position for an interconnection customer independent of ongoing and pending cluster

         studies while pro forma LGIP section 9.8 and cross-referenced pro forma LGIP section

         4.2.3 contemplate the allocation of associated costs incurred by affected systems in the

         context of a cluster study.

                Additionally, MISO recommends that the final rule clarify an enforcement

         mechanism, such as loss of relative queue priority used under the MISO-SPP joint

         operating agreement, for the proposed first-ready, first-served interconnection queue

         priority approach.2091




                2088
                   APPA-LPPC Initial Comments at 26; Idaho Power Initial Comments at 11;
         NextEra Initial Comments at 33.
                2089
                       EDF Renewables Initial Comments at 11.
                2090
                       APPA-LPPC Initial Comments at 26.
                2091
                       MISO Initial Comments at 89.
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                                                       (7)    Affected System Study Agreement

                  Dominion and Duke Southeast Utilities suggest doubling the amount of time that

         transmission providers would have under proposed pro forma LGIP section 9.3 to tender

         an affected system study agreement after sharing the schedule for the affected system

         study.2092 Duke Southeast Utilities assert that it usually takes more than five business

         days to receive all needed interconnection request information to draft an affected system

         study agreement (an often iterative process).2093 Duke Southeast Utilities state that more

         time will help affected system transmission providers that may need to draft numerous

         affected system study agreements within the same time frame.

                  Bonneville requests clarification as to whether the failure to execute the affected

         system study agreement, execute the affected system facilities construction agreement, or

         provide the affected system study deposit would be grounds for removal from the host

         transmission provider’s interconnection queue.2094

                                                       (8)    Affected System Study Scope and
                                                              Timeline

                  Many commenters, including transmission providers, argue that the Commission

         should clarify the scope of required affected system studies by addressing whether an

         affected system facilities study will be required under section 9 of the pro forma


                  2092
                         Dominion Initial Comments at 38; Duke Southeast Utilities Initial Comments
         at 14.
                  2093
                         Duke Southeast Utilities Initial Comments at 14.
                  2094
                         Bonneville Initial Comments at 20-21.
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         LGIP.2095 For example, Duke Southeast Utilities state that the NOPR proposal is unclear

         on whether “affected system study results” is intended to reflect the results of a system

         impact study, a facilities study, or a combination thereof.2096

                Several commenters request that the Commission explicitly include a facilities

         study in the affected system study process.2097 Duke Southeast Utilities, Enel, NV

         Energy, and SPP assert that explicitly including a facilities study in the affected system

         study process would provide both affected system transmission provider and affected

         system interconnection customer with more refined estimated costs and construction

         timelines.2098 Pattern Energy argues that a facilities study is a useful tool for scoping and

         pricing network upgrades and other facilities necessary to mitigate transmission-related

         contingencies,2099 and LADWP argues that a facilities study would improve the

         efficiency of the overall process by minimizing discrepancies discovered after execution

         of a construction agreement.2100 APPA-LPPC request that the Commission confirm that



                2095
                 APPA-LPPC Initial Comments at 26; Duke Southeast Utilities Initial
         Comments at 15; Enel Initial Comments at 65; Pattern Energy Initial Comments at 24.
                2096
                       Duke Southeast Utilities Initial Comments at 15.
                2097
                    Id.; APPA-LPPC Initial Comments at 26; Enel Initial Comments at 65;
         LADWP Initial Comments at 4; NV Energy Initial Comments at 11; Pattern Energy
         Initial Comments at 25; SPP Initial Comments at 16-17.
                2098
                  Duke Southeast Utilities Initial Comments at 15; Enel Initial Comments at 65;
         NV Energy Initial Comments at 11; SPP Initial Comments at 16-17.
                2099
                       LADWP Initial Comments at 4; Pattern Energy Initial Comments at 24-25.
                2100
                       LADWP Initial Comments at 4.
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         it does not intend to foreclose the possibility of affected system facilities studies being

         conducted, as a facilities study is needed to ascertain the precise nature of any network

         upgrades that an interconnection customer may cause.2101

                Shell argues for including further information regarding local transmission

         planning from neighboring transmission providers in affected system study results

         because early identification of all transmission-related mitigation will ensure that

         interconnection customers can anticipate affected system network upgrades as early as

         possible.2102

                Several commenters, including transmission providers, argue that the 90-calendar

         day time frame for completion of the affected system study, from the date an affected

         system transmission provider receives an executed affected system study agreement from

         the affected system interconnection customer to the date the affected system transmission

         provider presents the affected system study report to the affected system interconnection

         customer, as proposed in pro forma LGIP section 9.6, does not provide affected system

         transmission providers sufficient time to complete the study.2103 Bonneville requests that

         the Commission clarify whether the schedule to complete the affected system study could

         include a due date that is in excess of the 90-calendar day timeline.2104 Tri-State requests


                2101
                       APPA-LPPC Initial Comments at 26.
                2102
                       Shell Initial Comments at 31.
                2103
                       AEP Initial Comments at 31; WAPA Initial Comments at 13.
                2104
                       Bonneville Initial Comments at 19.
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         the addition of “and deposit” to proposed pro forma LGIP section 9.6, such that the 90-

         calendar day period would begin after the receipt of the executed affected system study

         agreement and deposit.2105 MISO requests that the Commission clarify that the study

         clock would commence only after all necessary data has been received.2106

                Other commenters support the NOPR proposal or argue that affected system

         interconnection customers should be given the results of affected system studies as early

         as possible. Interwest states that it agrees with commenters that the proposed 90-calendar

         day time limit, combined with monetary penalties, will help instill discipline and support

         investments needed to meet the timelines.2107 Shell asserts that affected system study

         results must be provided before or in conjunction with system impact study results on the

         host transmission system, or at the latest, before interconnection customers are required

         to proceed to the facilities study on the host transmission system, as interconnection

         customers typically pursue financing after receiving system impact study results and

         before advancing to the facilities study and doing so will avoid last minute network

         upgrade costs that undermine project viability and cause interconnection queue

         withdrawals.2108 Shell supports an option for interconnection customers to pause the

         interconnection study process on the host transmission system for an affected system



                2105
                       Tri-State Initial Comments at 19.
                2106
                       MISO Initial Comments at 93.
                2107
                       Interwest Reply Comments at 17.
                2108
                       Shell Initial Comments at 30-31.
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         study to “catch-up” if such an option lowers the risk of receiving late affected system

         study results. Similarly, Interwest asserts that affected system interconnection customers

         should be permitted to delay posting security and funding network upgrades, if there are

         delays in affected system studies, which Interwest contends is a reasonable

         accommodation that allows such affected system interconnection customers to reduce

         risks.2109

                 Additionally, WAPA expresses concern about its ability to tender an affected

         system facilities construction agreement to an interconnection customer within 30

         calendar days of providing the affected system study report, as proposed in pro forma

         LGIP section 9.9.2110

                 Several commenters oppose, ask for clarification, or propose alternatives

         regarding the scope and applicability of the financial penalties that would apply if a

         transmission provider does not meet the study completion deadlines set forth in proposed

         pro forma LGIP section 9.6. AECI asserts that, so long as affected system transmission

         providers are using good utility practice and appropriate due diligence to complete

         affected system studies, there is no benefit of imposing additional penalties on affected




                 2109
                        Interwest Reply Comments at 18.
                 2110
                        WAPA Initial Comments at 13.
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         system transmission providers.2111 ENGIE states that it is unclear who bears the financial

         penalties for late affected system studies.2112

                MISO, in contrast, interprets the NOPR proposal as applying penalties only to the

         affected system transmission provider, and recommends that the Commission recognize

         that some delays may be beyond the control of the affected system transmission provider

         and not penalize affected system transmission providers for third-party delays.2113

         Similarly, Duke Southeast Utilities express concern that penalties could be levied against

         affected system transmission providers for delays beyond their control, and further argue

         that the Commission should consider imposing multilateral penalties on all entities in

         accordance with their individual obligations set forth in the proposed process.2114

                Several commenters state that the cost estimates provided in affected system study

         results should be non-binding, or that certain types of cost increases related to affected

         system study results should allow interconnection customers to withdraw their




                2111
                       AECI Initial Comments at 7.
                2112
                    ENGIE Initial Comments at 9. Additionally, ENGIE states that transmission
         owners typically have responsibilities for affected system studies and, therefore, argues
         that the Commission should consider language that distributes financial risk and penalties
         to both transmission owners and transmission providers, including an ability for
         transmission providers to recover costs from transmission owners. Id.
                2113
                    MISO Initial Comments at 92. WAPA also is generally concerned about the
         imposition of monetary penalties for failure to meet deadlines and questions whether
         federal agencies like WAPA should, or even can be, subject to monetary penalties. See
         WAPA Initial Comments at 10, 14.
                2114
                       Duke Southeast Utilities Initial Comments at 17-18.
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         interconnection requests without penalty.2115 Similarly, Shell asserts that the

         Commission should allow penalty-free withdrawals in the event of late affected system

         network upgrade costs that surpass a certain threshold, arguing that such circumstances

         are beyond the interconnection customer’s control.2116 PacifiCorp states that any cost

         estimates identified by affected system operators should be non-binding, given that they

         could be subject to change.2117

                Pattern Energy believes that the Commission should provide incentives for

         transmission providers to provide more reasonable and accurate cost estimates for

         network upgrades and related facilities, even for affected system studies.2118 Pattern

         Energy claims that the Commission should not adopt “good faith” to be the standard on

         which cost estimates are provided in affected system studies, asserting that reasonable

         cost estimates based on defined metrics should be the standard.

                                                       (9)   Affected System Network Upgrade
                                                             Cost Allocation

                SEIA supports the NOPR proposal to allocate affected system network upgrade

         costs using a proportional impact method, arguing that this method should help to reduce

         individual interconnection customer network upgrade costs by allowing interconnection



                2115
                    Invenergy Initial Comments at 25; Shell Initial Comments at 31; PacifiCorp
         Initial Comments at 36.
                2116
                       Shell Initial Comments at 31.
                2117
                       PacifiCorp Initial Comments at 36.
                2118
                       Pattern Energy Initial Comments at 25.
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         customers to share the cost and, in doing so, reduce the likelihood of cascading

         withdrawals.2119

                Other commenters stress the importance of certainty and fairness in cost allocation

         rules. For example, National Grid contends that cost allocation rules should provide

         certainty to interconnection customers at a reasonable point in the interconnection

         process, while also having appropriate rules to allocate changes in cost allocations that

         arise after the date that network upgrade costs are finalized.2120 National Grid suggests

         that this could be achieved by finalizing network upgrade cost allocations at the facilities

         study phase of the host transmission provider’s interconnection study process, subject to

         risk sharing cost allocation rules, whereby later changes due to the identification of

         additional required facilities could be shared between the interconnection customer and

         load in a transmission provider’s footprint based on the principle of beneficiary pays,

         through various particular methodologies, including those used for transmission planning

         upgrades or those based on geography.2121

                Finally, several commenters raise other issues regarding affected system cost

         allocation. Enel seeks clarity regarding whether shared network upgrades would apply

         between host system interconnection requests and affected system interconnection




                2119
                       SEIA Initial Comments at 35.
                2120
                       National Grid Initial Comments at 35.
                2121
                       Interwest Reply Comments at 17; National Grid Initial Comments at 35-36.
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         requests.2122 NV Energy asserts that, since the affected system interconnection request is

         queued, if the affected system interconnection customer is allocated affected system

         network upgrade costs based on the proportional impact method and subsequentially

         withdraws, then a restudy could potentially be required for a lower-queued cluster, which

         would result in a misalignment with the timeline and withdrawal penalties in the

         transmission provider’s cluster study for native interconnection requests.2123 ACE-NY

         argues that no project should be assigned affected system network upgrade costs after it

         executes its LGIA and/or after the interconnection customer has accepted its cost

         allocation in the class year process in NYISO.2124

                                                      (10)   Tender of Affected System Facilities
                                                             Construction Agreement

                  Several commenters argue that the proposed time frame for the affected system

         transmission provider to tender an affected system facilities construction agreement to the

         affected system interconnection customer—within 30 calendar days of providing the

         affected system study results to the interconnection customer, as proposed in section 9.9

         of the pro forma LGIP—should be extended or modified. Duke Southeast Utilities argue

         that this deadline should be 60 calendar days for various administrative reasons.2125


                  2122
                         Enel Initial Comments at 67 (citing proposed pro forma LGIP sections 9.8 and
         3.10).
                  2123
                         NV Energy Initial Comments at 11.
                  2124
                         ACE-NY Initial Comments at 9.
                  2125
                    Duke Southeast Utilities Initial Comments at 15-16 (citing the possibility of
         multiple individual agreements, the need to refine previously provided cost estimates and
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         Idaho Power suggests that the affected system transmission provider tender the affected

         system facilities construction agreement either within 60 calendar days after the

         interconnection customers executes a facilities construction agreement with the host

         transmission provider or within 30 calendar days after providing the affected system

         study results to the affected system interconnection customer, if the affected system study

         is performed during the interconnection facilities study.2126 Idaho Power explains that

         information required in the facilities construction agreement is comparable to the

         information provided by the host transmission provider in the interconnection facilities

         study report, which, according to Idaho Power, provides a reasonably accurate timing and

         cost estimate and requires considerable coordination to develop. WAPA highlights other

         constraints, stating that it contracts out many of its facilities study tasks, which can take

         significant time, that it must work within the budgetary constraints of its annual

         appropriation, and that it is impractical to have a construction agreement ready for any

         interconnection customer within 30 calendar days.2127

                MISO cautions that providing detailed affected system network upgrade cost

         estimates and construction timelines within 30 calendar days of providing the affected

         system study results may not be feasible given that MISO currently only gives high-level




         necessary construction schedule, and the potential for more information and updates from
         the host transmission provider).
                2126
                       Idaho Power Initial Comments at 11.
                2127
                       WAPA Initial Comments at 13.
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         cost estimates after its affected system study and construction timelines and detailed cost

         estimates are provided in the affected system network upgrade facilities study, which is

         performed by transmission owners.2128 MISO further argues that it should not be

         responsible for actions that are beyond its control, such as the transmission owner-

         prepared affected system network upgrade facilities study, which it claims would not be

         feasible to include in each affected system study report if it is attempting to meet the 90-

         calendar day study timeline, and thus the affected system study and the affected system

         facilities study should be kept separate. MISO further argues that it is unlikely that

         transmission owners could provide cost/schedule detail with +/- 20% accuracy within 30

         calendar days of determination of affected system network upgrade obligations, with 90

         calendar days being a more reasonable time frame.2129

                                                     (11)   Restudy

                Bonneville expresses concern with the restudy timeline proposed in pro forma

         LGIP section 9.10, which would require that a restudy of the affected system study take

         no longer than 60 calendar days from the date of notice. Bonneville argues that

         flexibility is warranted due to the complexity of restudies.2130




                2128
                       MISO Initial Comments at 90-91.
                2129
                       Id. at 91-92.
                2130
                       Bonneville Initial Comments at 22.
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                                            (d)    Requests for Alternatives

                                                   (1)      Clustering of Affected System Studies

                Several commenters argue that transmission providers should process affected

         system studies using a clustering approach.2131 Several commenters argue that mandating

         use of serial studies for all variously situated transmission providers would adversely

         impact the efficiency of the study process and place a significant administrative burden

         on transmission providers that is disproportionate to the contemplated benefits.2132

         NextEra urges the Commission to not mandate serial affected system study processing

         when cluster studies of affected system impacts will be more expeditious and efficient,

         contending that this would particularly be the case when interconnection requests in large

         cluster studies impact an adjacent system.2133 North Carolina Commission and Staff

         claim that serial studies come with substantial costs in the form of network upgrades that

         may not be sufficient to meet future demand.2134


                2131
                    AECI Initial Comments at 6; Indicated PJM TOs Initial Comments at 47;
         NextEra Reply Comments at 4; North Carolina Commission and Staff Initial Comments
         at 25; PPL Initial Comments at 19-20; SPP Initial Comments at 15; WAPA Initial
         Comments at 11.
                2132
                    AECI Initial Comments at 6-7; Indicated PJM TOs Initial Comments at 47;
         NextEra Reply Comments at 4; North Carolina Commission and Staff Initial Comments
         at 24-25 (citing Gajda Aff. ¶¶ 21-22, 27); SPP Initial Comments at 15-16.
                2133
                       NextEra Reply Comments at 4-5.
                2134
                    North Carolina Commission and Staff Initial Comments at 25 (noting that
         Duke Energy Progress, LLC constructed $711,805 in affected system network upgrades
         in 2017 to accommodate a PJM cluster and that a current, planned upgrade of the same
         transmission line will eliminate the need for all or some of those affected system network
         upgrades, which should have lasted at least 40 years and were paid for by Duke Energy
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                Indicated PJM TOs argue that, for efficiency and consistency, affected system

         studies should be integrated into the cluster study process.2135 Indicated PJM TOs argue

         that PJM’s proposed approach, whereby an affected system study identified by one

         region would be integrated into the cluster study of another region, would be more

         efficient and less disruptive than the approach identified in the NOPR.2136

                Some commenters also call for flexibility. AECI argues that the Commission

         should not limit the flexibility yielded by its existing process of studying each yearly

         cluster to determine impacts and potential affected system network upgrades, when it is

         acting as the affected system operator coordinating studies with a neighboring

         RTO/ISO.2137 PPL argues that affected system transmission providers should have the

         option to enter into a study agreement with either an individual affected system

         interconnection customer, a group of affected system interconnection customers from the




         Progress, LLC’s customers).
                2135
                 Indicated PJM TOs Initial Comments at 47-48; Indicated PJM TOs Reply
         Comments at 41.
                2136
                    Indicated PJM TOs Initial Comments at 47 (noting that the 2022 PJM filing
         provides that PJM will determine the need for an affected system analysis in phase 1 of a
         study cycle, and when PJM is identified by another region as needing to complete an
         affected system analysis, it will place the affected system interconnection request in
         phase 2 of an ongoing study cycle) (referencing PJM, Filing, Docket No. ER22-2110-
         000, Sims Aff. ¶ 10 (filed June 14, 2022)).
                2137
                       AECI Initial Comments at 6.
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         same cluster (that share cost and other responsibilities), or the “direct connect

         system.”2138

                                                     (2)   Coordination Between Host
                                                           Transmission Provider and Affected
                                                           System Transmission Provider

                NextEra contends that the NOPR proposal gives too little attention to complex

         issues, such as potential interconnection queue coordination issues between transmission

         providers that could arise after implementation of the proposed reforms.2139 Several

         commenters argue that, for efficiency reasons, host transmission providers—and not

         individual affected system interconnection customers—should be required to coordinate

         affected system study activities with the affected system transmission providers.2140

         Some commenters recommend that the Commission adopt the coordination approach

         used by MISO and certain of its neighboring systems, whereby the host transmission

         provider coordinates all technical data, study deposits, and studies with the affected

         system transmission provider rather than the proposed direct communication and

         coordination between interconnection customer and affected system transmission

         provider.2141 Enel asserts that this would reduce administrative burden, ensure timely



                2138
                       PPL Initial Comments at 20.
                2139
                       NextEra Reply Comments at 4.
                2140
                 Enel Initial Comments at 60-61; North Carolina Commission and Staff Initial
         Comments at 25-26; Shell Initial Comments at 30.
                2141
                    Enel Initial Comments at 60-61. Enel further argues that affected system
         studies should be invoiced to the host transmission provider and paid out of the
         interconnection customer’s study deposits, subject to total study cost true-up, and that
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         compliance with the tariff, reduce interconnection costs, and increase accountability.

         Enel also argues that using the host transmission provider’s study agreement to require

         the interconnection customer to comply with the affected system transmission provider’s

         study process ensures that the interconnection customer must meet tariff deadlines and

         cannot delay the affected system transmission provider’s studies. In addition, Shell states

         that that the Commission should develop guidance for situations in which neighboring

         transmission providers disagree on the scope and/or timing of an affected system

         study.2142

                Several commenters argue that the NOPR proposal should be reevaluated or

         modified regarding whether and when transmission providers conducting cluster studies

         would be required to delay those studies to wait for the results of affected system studies.

         Pattern Energy contends that the Commission should consider an approach in which host

         transmission providers are not required to wait for affected system studies to be

         completed, if such delayed action would result in a study milestone being missed.2143

         Pattern Energy seeks to avoid an unintentional “delay loop,” whereby the affected system




         host transmission providers should be required to share the interconnection customer’s
         technical data as needed. Enel reasons that through direct connections, host and affected
         system transmission providers would be better able to compare constraints and proposed
         upgrades to coordinate where a single upgrade may address constraints on both
         transmission systems. Id.
                2142
                       Shell Initial Comments at 30.
                2143
                       Pattern Energy Initial Comments at 25.
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         is not diligently processing an affected system study because the host transmission

         provider is waiting for it.2144

                In contrast, PacifiCorp requests that the Commission clarify that, although host

         transmission providers performing cluster studies are not required to delay those studies

         by waiting for the results of affected system studies, transmission providers will not be

         prohibited from delaying the cluster study process to account for affected system study

         issues if the host transmission provider determines that the cluster study cannot progress

         without the results of the affected system studies.2145 MISO raises similar concerns about

         a transmission provider proceeding with its cluster studies without affected system data,

         which it asserts is critical information for an interconnection customer.2146 MISO further

         asserts that the NOPR proposal will not provide useful information to the interconnection

         customer sooner and will increase uncertainty, opportunities for late-stage withdrawals,

         cost shifts, and unscheduled restudies and cascading withdrawals.2147

                Xcel strongly supports improving affected system study interactions, arguing that

         with common models and processes, in many instances, host transmission provider study

         results can be used to identify affected system network upgrades, leaving the affected




                2144
                       Id. at 25-26.
                2145
                       PacifiCorp Initial Comments at 36-37.
                2146
                       MISO Initial Comments at 93-94.
                2147
                       Id. at 94-95.
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         system transmission provider to only identify mitigation solutions.2148 Noting that many

         RTO/ISO regions have operating agreements that address interface capacity rights and

         processes to relieve congestion near and across seams, Xcel argues that host and affected

         system transmission providers should take those operating agreements into account when

         considering any interconnection-related requirements from the affected system

         transmission provider.

                APPA-LPPC request that transmission providers be able to forego a formal

         affected system study when studies by the host transmission provider may be

         sufficient.2149 APPA-LPPC ask the Commission to recognize in the pro forma LGIP that

         there may be instances in which separate affected system studies may not be necessary or

         useful because, in their members’ experience, particularly in the Western

         Interconnection, feasibility, system impact, and facilities studies undertaken by a directly

         interconnecting transmission provider may be adequate in scope to encompass impacts on

         and any necessary upgrades to an affected system.2150 In such a case, APPA-LPPC state,

         a unitary study would be less expensive for all parties and avoid a complex administrative

         task of sequencing and integrating separate system studies.2151




                2148
                       Xcel Initial Comments at 38-39.
                2149
                       APPA-LPPC Initial Comments at 25.
                2150
                       Id. at 23-25.
                2151
                       Id. at 25.
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                Another alternative proposed by WAPA and Enel is the use of an affected system

         screening process to identify instances where affected system studies will be needed.2152

         WAPA suggests that this screening process could be a feasibility-level study, completed

         for an entire cluster, to narrow down which interconnection requests within the cluster

         potentially have impacts on an affected system.2153 WAPA contends that, without a

         screening process, transmission providers under the NOPR proposal will require affected

         system studies by default. Enel suggests that the affected system transmission provider

         should conduct the screening process during the host transmission provider’s cluster

         study so that the affected system transmission provider is prepared to perform its affected

         system study during the host transmission provider’s initial cluster restudy.

                                                   (3)    Interregional Transmission Planning

                A few commenters urge the Commission to address affected system impacts as a

         systematic phenomenon and a matter of interregional transmission planning, rather than

         one-off events to be handled serially.2154 EDF Renewables argues that better

         interregional transmission planning should reduce the frequency and severity of affected

         system impacts, asserting that a system-wide approach is more efficient than a piecemeal




                2152
                       Enel Initial Comments at 57-58; WAPA Initial Comments at 12-13.
                2153
                       WAPA Initial Comments at 12-13.
                2154
                   EDF Renewables Initial Comments at 11; NextEra Initial Comments at 31;
         North Carolina Commission and Staff Initial Comments at 3.
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         one.2155 NextEra cautions that one issue absent from the affected system proposals in the

         NOPR is that the costs for alleviating an existing system condition should not rest with a

         new generating facility interconnecting on an adjacent system that did not create the

         problem.2156 NextEra argues that preexisting reliability issues should instead be

         identified and solved through the transmission planning processes.

                                                    (e)      Requests for Clarification and

                                                             Flexibility

                Idaho Power requests clarification regarding whether the affected system study

         process would be required for entities that already use the first-ready, first served cluster

         study process.2157

                Regarding timing, Invenergy argues that although many of the NOPR’s proposed

         requirements should apply prospectively to new interconnection requests, immediate

         action from the Commission is needed to resolve affected system issues. Invenergy

         requests that the Commission clarify that the proposed reforms should apply to all

         pending interconnection requests and active studies.2158

                Several commenters request clarification regarding how the proposed affected

         system reforms would affect RTO/ISO transmission providers and transmission owners


                2155
                       EDF Renewables Initial Comments at 11.
                2156
                       NextEra Initial Comments at 31.
                2157
                       Idaho Power Initial Comments at 11.
                2158
                       Invenergy Initial Comments at 41.
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         in their regions.2159 Eversource requests that the Commission clarify that the proposed

         affected system reforms are not applicable to intra-RTO/ISO system upgrades.2160

         Similarly, NYTOs request that the Commission clarify that the proposed affected system

         reforms would not apply to neighboring transmission owners within a single RTO/ISO,

         or at least allow such transmission owners to demonstrate on compliance that their

         existing processes already address such intra-RTO/ISO issues.2161 AEP requests that the

         Commission address what it terms the four primary types of affected system scenarios:

         neighboring transmission owner systems within one RTO/ISO; neighboring transmission

         owner systems in two separate RTOs/ISOs; a transmission owner system in an RTO/ISO

         neighboring a non-RTO/ISO transmission provider; and neighboring transmission

         providers both outside of an RTO/ISO.2162 AEP contends that the Commission appears to

         conflate all possible affected system scenarios in the NOPR, even though the nature of

         any affected system study can be impacted by the type of scenario.2163

               CREA and NewSun seek clarification on whether the proposed affected system

         reforms apply where QF interconnections under PURPA are subject to state




               2159
                      Eversource Initial Comments at 31-32; NYTOs Initial Comments at 29.
               2160
                      Eversource Initial Comments at 31-32.
               2161
                    NYTOs Initial Comments at 29 (citing NYISO, NYISO Tariffs, attach. X,
         § 30.3.5 (16.0.0)).
               2162
                      AEP Initial Comments at 32-33; NextEra Reply Comments at 4.
               2163
                      AEP Initial Comments at 33.
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         jurisdiction.2164 CREA and NewSun explain that, under existing precedent, the

         Commission has allowed states to retain their historic interconnection jurisdiction under

         PURPA where the QF sells its entire net output to the interconnecting utility.2165 CREA

         and NewSun argue, though, that where affected system issues are involved, the state’s

         jurisdiction over the sale of the QF’s energy to a utility regulated by that state would not

         extend to affected system issues with a third-party transmission provider that is not

         purchasing the QF’s net output.2166 CREA and NewSun urge the Commission to clarify

         that a QF interconnection customer has the option to opt into use of the Commission’s

         interconnection procedures, in cases where the interconnection requires studies or

         network upgrades on an affected system without loss of queue position. CREA and

         NewSun also argue that the QF should retain the right to elect to proceed through the

         state process in case the QF concludes that it would be less disruptive to do so.

                Several commenters request clarification on whether the proposed affected system

         reforms apply to non-Commission-jurisdictional transmission providers.2167 Invenergy

         and Interwest state that, if an affected system is not a Commission-jurisdictional utility,


                2164
                       CREA and NewSun Initial Comments at 86.
                2165
                    Id. at 87 (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 813-815; Prior
         Notice & Filing Requirements Under Part II of the Fed. Power Act, 64 FERC ¶ 61,139,
         at 61,991-92, order on reh’g, 65 FERC ¶ 61,081 (1993)).
                2166
                       Id. at 87-88.
                2167
                    Interwest Reply Comments at 18; Invenergy Initial Comments at 42; Pacific
         Northwest Utilities Initial Comments at 17; Puget Sound Initial Comments at 7; Tri-State
         Initial Comments at 20.
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         the Commission would be unable to enforce the process or any penalties proposed in the

         NOPR, which would leave the interconnection customer in the same bind that currently

         exists.2168 Invenergy, Interwest, Xcel, and EEI assert that the Commission should prevent

         non-jurisdictional entities from interfering with completion of jurisdictional transmission

         providers’ interconnection processes.2169

                Several commenters call for the Commission to explain how jurisdictional

         transmission providers should respond to potential delays or inaction by non-

         jurisdictional transmission providers not subject to the affected system study process

         reforms.2170

                Other commenters argue that the Commission should hold jurisdictional

         transmission providers harmless for delays induced by or notifications not sent by non-

         jurisdictional affected system transmission providers.2171 Pacific Northwest Utilities and

         Puget Sound ask the Commission to clarify that transmission providers have met their

         obligations in dealing with non-jurisdictional entities if the host transmission provider

         notifies a non-jurisdictional affected system transmission provider within 10 business




                2168
                       Interwest Reply Comments at 18; Invenergy Initial Comments at 42.
                2169
                    EEI Initial Comments at 19; Interwest Reply Comments at 18; Invenergy
         Initial Comments at 43; Invenergy Reply Comments at 9; Xcel Initial Comments at 39.
                2170
                   EEI Initial Comments at 19; NextEra Initial Comments at 34; Pacific
         Northwest Utilities Initial Comments at 15-16; Xcel Initial Comments at 39.
                2171
                 Pacific Northwest Utilities Initial Comments at 16-17; Puget Sound Initial
         Comments at 7.
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         days of identifying a potential impact to the transmission system of the non-jurisdictional

         entity, pursuant to pro forma LGIP section 3.6.1, and invites the non-jurisdictional entity

         to an affected system scoping meeting, pursuant to pro forma LGIP section 3.6.2.2172

                Many commenters emphasize the importance of flexibility for transmission

         providers and argue in favor of granting transmission providers compliance flexibility in

         implementing affected system study process reforms.2173 Some commenters contend that

         the Commission should allow transmission providers to demonstrate that their existing

         affected system study processes or planned revisions to those processes are adequate to

         address the Commission’s concerns.2174

                                     iii.   Commission Determination

                We adopt, with modifications, the NOPR proposal to establish an affected system

         study process in, and add several related definitions to, the pro forma LGIP. As

         explained in the NOPR, a detailed affected system study process in the pro forma LGIP

         will prevent the use of ad hoc approaches that may give rise to interconnection customers

         being treated in an unjust, unreasonable, and unduly discriminatory or preferential


                2172
                 Puget Sound Initial Comments at 8; Pacific Northwest Utilities Initial
         Comments at 17.
                2173
                    AEP Initial Comments at 5; Dominion Initial Comments at 39; National Grid
         Initial Comments at 37-38; NYISO Initial Comments at 44; PacifiCorp Initial Comments
         at 36; PJM Reply Comments at 10.
                2174
                    AEP Initial Comments at 32; Alliant Energy Initial Comments at 7; MISO
         Initial Comments at 7, 12-13, 83-85, 95; NYISO Initial Comments at 44; Omaha Public
         Power Initial Comments at 12; OMS Initial Comments at 17; SPP Initial Comments at
         16-18.
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         manner. We agree with commenters that it will also provide interconnection customers

         greater certainty regarding expectations throughout the interconnection process, including

         greater cost certainty, which will lead to fewer late-stage withdrawals and fewer delays.

         The firm affected system study deadlines will also ensure that the affected system study

         process moves along expediently, providing clarity, cost certainty, and increased

         transparency throughout the study process, which will minimize opportunities for undue

         discrimination. For these reasons, we find that the affected system study process reforms

         adopted herein are just, reasonable, and not unduly discriminatory or preferential and that

         they remedy the unjust, unreasonable, and unduly discriminatory or preferential rates

         resulting from the status quo with regard to affected systems. We further find that such

         reforms will ensure that interconnection customers are able to interconnect to the

         transmission system in a reliable, efficient, transparent, and timely manner.

                We disagree with commenters’ concerns that a broadly applied, prescriptive

         affected system study process may not be helpful or may be unworkable.2175 Instead, we

         agree with National Grid that the current status quo is not working and will likely worsen

         absent intervention.2176 Although some transmission providers may already have

         working affected system study processes in place, many do not, creating uncertainty and

         unreasonable delay in the interconnection process. Further, as discussed below with



                2175
                 Dominion Initial Comments at 37; Pacific Northwest Utilities Initial
         Comments at 15; PJM Initial Comments at 63; SDG&E Reply Comments at 3.
                2176
                       National Grid Initial Comments at 35.
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         regard to specific reforms, we adopt several revisions to the NOPR proposal in response

         to comments to ensure the affected system study process deadlines are reasonable and

         support efficient processing of interconnection requests. We disagree with commenters

         who argue that the NOPR proposal does not increase efficiency and note that certain

         modifications will further increase efficiency.2177 While certain required steps in the

         affected system study process may increase the need for communication and coordination

         between affected system transmission providers, affected system interconnection

         customers, and/or host transmission providers, we find that the potential burden of such

         discrete efforts are outweighed by the efficiencies of a standardized and more predictable

         affected system study process. We further find that defining an affected system study

         process in the pro forma LGIP is necessary to ensure that affected system interconnection

         customers are not being treated in an unjust, unreasonable, and unduly discriminatory or

         preferential manner, and to ensure that they can evaluate their costs and make decisions

         regarding the viability of their generation facilities in a timely manner during the

         interconnection study process.

                                            (a)    Definitions and Applicability (Pro Forma
                                                   LGIP Sections 1 and 9.1)

                We adopt the NOPR proposal, with modification, to include several definitions in

         section 1 of the pro forma LGIP related to the affected system reforms, specifically,

         “affected system facilities construction agreement,” “affected system interconnection


                2177
                    Dominion Initial Comments at 36-37; SDG&E Reply Comments at 3; SPP
         Initial Comments at 17; WAPA Initial Comments at 10.
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         customer,” “affected system network upgrades,” “affected system study,” “affected

         system study agreement,” and “affected system study report.” We find these terms to be

         necessary to enumerate the affected system transmission provider’s responsibilities in the

         affected system study process.2178 We also add the terms “multiparty affected system

         study agreement” and “multiparty affected system facilities construction agreement” to

         section 1 of the pro forma LGIP in light of our adoption of such agreements as part of

         this final rule, as discussed below. We also add the term “affected system queue

         position” to the pro forma LGIP because we find it helpful to distinguish between an

         interconnection customer’s queue position on the host system versus its queue position on

         an affected system.

                We adopt, with modification, the NOPR proposal to add section 9.1 to the pro

         forma LGIP, titled “Applicability.” We find that pro forma LGIP section 9.1 clarifies

         that the transmission provider’s obligations in section 9 apply when it is acting as an

         affected system transmission provider, and we have added clarifying language to resolve

         ambiguity therein.2179


                2178
                    We note that, in the affected system context, there are certain instances in
         which we intentionally use lowercase versions of defined terms to deviate from their
         definitions in section 1 of the pro forma LGIP. For example, “generating facility” is, in
         pro forma LGIP section 1, part of the definition of “affected system interconnection
         customer.” In the affected system context, we are referring to a generating facility
         governed by another transmission provider’s LGIP rather than the affected system
         transmission provider’s generating facility as defined in its own LGIP.
                2179
                    We note that former pro forma LGIP section 9, titled “Engineering and
         Procurement (‘E&P’) Agreement,” is now pro forma LGIP section 13.7 to accommodate
         the new affected system study process section.
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                In response to PPL’s argument that the term “affected system interconnection

         customer” is confusing and that either another term should be used or “interconnection”

         should be deleted from the term, we reiterate that the pro forma LGIP is written to apply

         to all transmission providers on a generic basis, meaning transmission providers studying

         proposed interconnections to their transmission systems (host transmission providers) as

         well as transmission providers studying the impacts on their own transmission system of

         proposed interconnections to other transmission providers’ transmission systems

         (affected system transmission providers). In other words, when a transmission provider’s

         transmission system is an affected system, the interconnection customer creating the

         affected system impact is different from that particular affected system transmission

         provider’s own interconnection customers (i.e., those that propose to interconnect directly

         to the transmission provider’s transmission system) and must be distinguished

         accordingly in the pro forma LGIP. The term “affected system interconnection

         customer” achieves this goal by distinguishing between the interconnection customer’s

         dual roles in the host transmission provider’s study process and the affected system

         transmission provider’s study process.

                Further, we disagree with PPL’s assertion that some transmission providers

         combine interconnection and transmission processes, making “interconnection” an

         unnecessary distinction.2180 This proceeding involves generic generator interconnection

         procedures, pursuant to which transmission service request studies are performed


                2180
                       PPL Initial Comments at 19-20.
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         independently from interconnection studies.2181 However, we modify the definition of

         “affected system interconnection customer” and use other defined terms in the pro forma

         LGIP for additional clarity and consistency.

                As explained below, we do not adopt the NOPR proposal to require an affected

         system scoping meeting and therefore also do not adopt the proposed term “affected

         system scoping meeting” in section 1 of the pro forma LGIP.

                We clarify that the terms “affected system” and “affected system operator” retain

         their existing definitions in pro forma LGIP section 1.2182

                In response to NRECA’s request for clarification, we reiterate that the final rule

         applies to transmission providers and, in the affected system context, to transmission

         providers that are acting as affected systems per the pro forma LGIP definition.

         Therefore, we decline to expand the scope of several affected systems-related definitions

         as requested by NRECA because we find NRECA’s request to be outside the scope of

         this proceeding.2183 In response to National Grid’s request for clarification regarding

         whether an affected system solely includes transmission owners in each region or also




                2181
                     See Tenn. Power Co., 90 FERC ¶ at 61,761 (finding that interconnection is an
         element of transmission service but that the interconnection component of transmission
         service may be requested separately from the delivery component (i.e., interconnection is
         distinct from transmission service)).
                2182
                    An affected system is an electric system other than the transmission provider’s
         transmission system that may be affected by the proposed interconnection. An affected
         system operator is the entity that operates an affected system. Pro forma LGIP section 1.
                2183
                       See NRECA Initial Comments at 9, 36-39.
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         includes neighboring RTOs/ISOs or transmission providers in neighboring regions, we

         reiterate that an affected system is defined in section 1 of the pro forma LGIP as an

         electric system other than the transmission provider’s transmission system that may be

         affected by the proposed interconnection.

                                            (b)       Identification and Notification of Affected
                                                      Systems (Pro Forma LGIP Sections 3.6.1, 9.2,
                                                      and 11.2.1)

                We adopt, with modification, proposed section 3.6.1 of the pro forma LGIP,

         which sets forth the trigger events for identification of an affected system impact to begin

         the affected system study process. We modify that section to retain as trigger events the

         completion of the cluster study and cluster restudy but eliminate the earlier trigger

         events—the close of the cluster request window and the close of the customer

         engagement window. While we would expect identification of potential affected system

         impacts to occur upon the completion of the cluster study, we recognize that an affected

         system impact may not be identified until a restudy occurs, and we adopt language in pro

         forma LGIP section 3.6.1 to account for such a scenario. Thus, as adopted in pro forma

         LGIP section 3.6.1, we require the transmission provider to notify the affected system

         operator at the first instance of an identified potential affected system impact, which may

         occur at the completion of the (1) cluster study or (2) cluster restudy. We also move the

         affected system transmission provider’s obligations to respond to the initial notification

         under proposed pro forma LGIP section 3.6.1 to a new pro forma LGIP section 9.2. We

         find this bifurcation of duties with respect to initial affected system notification for the

         transmission provider, when acting as host transmission provider and affected system
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         transmission provider, appropriately sets forth the responsibilities of the transmission

         provider in the sections describing the conditions for each action.

                We also adopt the provision proposed in pro forma LGIP section 3.6.1 that

         provides for the transmission provider to notify an affected system operator of a potential

         affected system impact caused by the interconnection request within 10 business days of

         the first trigger event giving rise to the identification of the affected system impact. We

         modify the provision in proposed pro forma LGIP section 3.6.1 for the affected system

         transmission provider to respond to such notification in writing within 15 business days

         indicating whether it intends to conduct an affected system study to 20 business days,

         which we move to pro forma LGIP section 9.2, as noted above. We further move to pro

         forma LGIP section 9.2 the requirement that, within 15 business days of the affected

         system transmission provider’s affirmative response of its intent to conduct an affected

         system study, the affected system transmission provider must share a non-binding good

         faith estimate of the cost and schedule to complete the affected system study.

                As adopted, the identification and notification process is tied to the completion of

         the cluster study or the cluster restudy. At that point, the host transmission provider will

         have a stronger basis for deciding whether an interconnection request will potentially

         impact an affected system. Further, the initiation of the affected system study process

         after the initial study costs are received should lead to affected system study results that

         provide greater cost certainty, as the largest number of interconnection request

         withdrawals will most likely occur after receipt of the initial cluster study results, a point
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         noted by commenters.2184 After receipt of the initial cluster study results, those

         interconnection requests remaining in the host system’s interconnection queue are more

         likely to complete the interconnection study process. We agree with CAISO that this

         smaller pool of affected system interconnection customers will enable faster affected

         system studies due to a decreased volume of affected system interconnection customers

         and more realistic study assumptions.2185 Accordingly, we find that beginning the

         affected system study process after the adopted trigger events provides greater certainty

         to interconnection customers regarding affected system network upgrade costs while

         ensuring a faster affected system study process. This is because the affected system

         transmission provider will be using more realistic study assumptions and studying a more

         realistic number of affected system interconnection customers, reducing the need for

         restudy.

                We find that notification to an affected system operator of a potential impact prior

         to receipt of cluster study results would be administratively burdensome and inefficient

         and could potentially slow the interconnection process because such notification would

         include numerous interconnection requests that ultimately do not reach commercial

         operation.2186


                2184
                    CAISO Initial Comments at 28; Idaho Power Initial Comments at 11; NextEra
         Initial Comments at 32.
                2185
                       CAISO Initial Comments at 29.
                2186
                   Id. at 28-29; Enel Initial Comments at 59; Idaho Power Initial Comments at
         11; NextEra Initial Comments at 32.
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                In eliminating the first two notification triggers, we recognize that the affected

         system study process will start later and, as a result, the interconnection customer could

         be required to execute, or request to be filed unexecuted, its LGIA before it has received

         its affected system study results and cost estimates for any affected system network

         upgrades. To avoid this result and in response to commenters’ requests that transmission

         providers should be given the option to wait for affected system study results when

         conducting cluster studies,2187 we modify the NOPR proposal and add a new section

         11.2.1 to the pro forma LGIP. Under this section, if the interconnection customer does

         not receive its affected system study results pursuant to pro forma LGIP section 9.7,

         discussed below, before the deadline for LGIA execution, or the deadline to request that

         the LGIA be filed unexecuted, in its host system, the host transmission provider must, at

         the interconnection customer’s request, delay the deadline for the interconnection

         customer to finalize its LGIA.2188 The interconnection customer will have 30 calendar

         days after receipt of the affected system study report to execute the LGIA, or request that

         the LGIA be filed unexecuted.

                As noted above, we find that by adopting pro forma LGIP section 11.2.1, we

         ensure that interconnection customers have adequate time to evaluate their costs prior to

         committing to the cost estimates contained in an LGIA. Additionally, if the


                2187
                     PacifiCorp Initial Comments at 36-37; Pattern Energy Initial Comments at 25;
         Shell Initial Comments at 30-31.
                2188
                   Any interconnection customer that is not awaiting the results of an affected
         system study must proceed under the timelines set forth in pro forma LGIP section 11.1.
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         interconnection customer prefers to proceed to the execution of its LGIA, or request that

         the LGIA be filed unexecuted, before it has received its affected system study results, it

         may notify the host transmission provider of its intent to proceed with the execution of

         the LGIA, or request that the LGIA be filed unexecuted. If the host transmission

         provider determines that further delay to the LGIA execution date would cause a material

         impact on the cost or timing of an equal- or lower-queued interconnection customer, the

         transmission provider must notify the interconnection customer whose deadline to

         execute the LGIA, or request that the LGIA be filed unexecuted, is delayed of such

         impact and establish that the new deadline is 30 calendar days after such notice is

         provided.

                In response to ACE-NY’s argument that no interconnection customer should be

         assigned affected system network upgrade costs after it executes its LGIA and/or after the

         interconnection customer has accepted its cost allocation in the class year process in

         NYISO,2189 we decline to rule on specific transmission provider processes in this final

         rule. We note, however, that, under new pro forma LGIP section 11.2.1, interconnection

         customers may negotiate LGIA execution to await an affected system study report for

         greater certainty at the time of LGIA execution, or requesting the LGIA to be filed

         unexecuted, if that further delay to the LGIA execution date would not cause a material

         impact on the cost or timing of an equal- or lower-queued interconnection customer.




                2189
                       ACE-NY Initial Comments at 9.
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                We decline to require the affected system transmission provider to provide

         affected system study results before the facilities study phase, as asserted by Enel and

         Shell,2190 because such a requirement would necessitate that the affected system

         transmission provider would have to begin such studies before any interconnection

         customers withdraw from the interconnection queue and would therefore involve the

         study of numerous interconnection requests that do not eventually proceed to commercial

         operation, resulting in additional restudies and delays.

                In response to Tri-State’s argument that proposed pro forma LGIP section 3.6.1

         needs to clarify to whom notice is to be directed,2191 we note the language in pro forma

         LGIP section 3.6.1 beginning with “Transmission Provider must notify Affected System

         Operator of a potential Affected System impact.” If Tri-State is asking to whom the

         affected system transmission provider should respond in writing regarding whether it

         intends to conduct an affected system study, it should respond to the transmission

         provider who notified the affected system operator of a potential affected system impact.

                We adopt Pacific Northwest Utilities’ requested clarification and agree with Puget

         Sound that, provided that transmission providers properly notify a non-public utility

         affected system operator within 10 business days under proposed pro forma LGIP section




                2190
                       See Enel Initial Comments at 58; Shell Initial Comments at 30-31.
                2191
                       Tri-State Initial Comments at 28.
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         3.6.1, such steps are sufficient to demonstrate that the transmission provider has met its

         obligations under that section.2192

                We agree with Interwest and Invenergy that the interconnection customer should

         be permitted to delay posting security and funding for network upgrades under its LGIA

         until affected system study results are received in certain situations.2193 Specifically, an

         interconnection customer is not required to post security for and fund network upgrades

         pursuant to an LGIA if the deadline for LGIA execution, or to request that the LGIA be

         filed unexecuted, is delayed under pro forma LGIP section 11.2.1. We agree with

         Interwest that this would reduce an affected system interconnection customer’s risk of

         incurring affected system network upgrade costs after LGIA execution. However, if the

         interconnection customer chooses to proceed to execute an LGIA, or request that the

         LGIA be filed unexecuted, it will be responsible for posting security and funding network

         upgrades as per the schedule in its LGIA, regardless of whether it has received affected

         system study results.

                We disagree with commenters that a transmission provider’s obligation to notify a

         potential affected system operator of an impact in 10 business days is unrealistic or

         problematic.2194 As we are eliminating two trigger events, the host transmission provider


                2192
                 Pacific Northwest Utilities Initial Comments at 17; Puget Sound Initial
         Comments at 8.
                2193
                       Interwest Reply Comments at 18; Invenergy Initial Comments at 43.
                2194
                    CAISO Initial Comments at 27; Duke Southeast Utilities Initial Comments at
         12; PacifiCorp Initial Comments at 36; PG&E Reply Comments at 5.
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         now has the obligation to notify the affected system operator of a potential impact to the

         affected system following the completion of the cluster study or restudy, which we find

         provides a clear timeline contrary to PacifiCorp’s claims. Furthermore, we do not find

         any convincing evidence that a host transmission provider will be unable to provide a

         notification to an affected system operator of potential impacts within 10 business days

         and note that this timeline is supported by commenters.2195

                  However, regarding comments that the affected system operator’s obligation to

         respond in 15 business days is insufficient,2196 particularly when numerous potential

         affected system impacts are identified in a single cluster study, as stated above, we extend

         the affected system operator’s response obligation time period from 15 business days to

         20 business days to provide the affected system operator with additional time to consider

         whether to study these potential affected system impacts on its transmission system,

         consistent with Duke Southeast Utilities’ suggestion.2197 We find these timelines

         necessary to ensure timely processing of the affected system study process and to provide

         certainty to the interconnection customer regarding the processing of the affected system

         study.




                  2195
                         See AEP Initial Comments at 31; Pine Gate Initial Comments at 42.
                  2196
                   Bonneville Initial Comments at 18; CAISO Initial Comments at 27; Duke
         Southeast Utilities Initial Comments at 12; PG&E Reply Comments at 5; WAPA Initial
         Comments at 11-12.
                  2197
                         See Duke Southeast Utilities Initial Comments at 12.
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                                            (c)     Affected System Scoping Meeting (Pro
                                                    Forma LGIP Section 3.6.2) and Affected
                                                    System Study Procedures (Pro Forma LGIP
                                                    Section 9.7)

                We decline to adopt the proposed requirement in pro forma LGIP section 3.6.2

         that affected system transmission providers must hold an affected system scoping

         meeting within seven business days after providing written notification that it intends to

         conduct an affected system study. We agree with commenters’ concerns that the

         difficulties associated with holding an affected system scoping meeting within the

         proposed time frame outweigh its potential benefits.2198 We also agree with WAPA that a

         meeting after the affected system study is completed would be more beneficial than an

         affected system scoping meeting.

                We adopt, with modifications, the proposed affected system study procedures set

         forth in pro forma LGIP section 9.6, now section 9.7. In particular, we modify the NOPR

         proposal to explicitly require clustering of affected system interconnection customers for

         study purposes where multiple interconnection requests that are part of a single cluster in

         the host system’s cluster study process cause the need for an affected system study. We

         find that clustered affected system studies will, consistent with the requirement to use a

         first-ready, first-served cluster study process, improve administrative efficiency in the

         affected system study process and reduce administrative burden on the affected system



                2198
                  Bonneville Initial Comments at 18-19; CAISO Initial Comments at 28;
         Dominion Initial Comments at 38; MISO Initial Comments at 86; WAPA Initial
         Comments at 12.
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         transmission provider, thereby promoting overall efficiency in the interconnection

         process. We agree with commenters that serial affected system studies would place an

         additional burden on transmission providers to study affected system impacts and would

         further slow the interconnection process.2199 We, therefore, believe that mandating

         clustering of affected system studies will not place an additional unnecessary burden on

         transmission providers, no matter their size; rather, it should reduce such burdens as

         compared to multiple serial studies and restudies.

                We further modify proposed pro forma LGIP section 9.7, to require the affected

         system transmission provider to complete the affected system study and provide the

         affected system interconnection customer with affected system study results within 150

         calendar days after receipt of the affected system study agreement, rather than the

         proposed 90 calendar days. We agree with commenters that explain that 90 calendar

         days may not be adequate time to complete an affected system study,2200 aligning with

         our discussion of the potential for affected system transmission providers to conduct a

         facilities study under proposed pro forma LGIP section 9.6 below. In recognition of that,

         we extend the proposed maximum time frame to complete an affected system study from

         the NOPR’s proposed 90 calendar days to 150 calendar days. This extension addresses



                2199
                    AECI Initial Comments at 6-7; Indicated PJM TOs Initial Comments at 47;
         NextEra Reply Comments at 4; North Carolina Commission and Staff Initial Comments
         at 24-25 (citing Gajda Aff. ¶¶ 21-22, 27); SPP Initial Comments at 15-16.
                2200
                 AEP Initial Comments at 31; Enel Initial Comments at 65; WAPA Initial
         Comments at 13.
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         Bonneville’s concern that the proposed schedule to complete an affected system study

         may have included a due date in excess of the 90-calendar day timeline.

                  We also modify pro forma LGIP section 9.7, which, as proposed, required the

         affected system transmission provider to notify the affected system interconnection

         customer that an affected system study will be late, to add a requirement for the affected

         system transmission provider to notify the host transmission provider that the affected

         system transmission provider will be unable to timely complete the affected system

         study.

                  We adopt Tri-State’s request to add the phrase “and deposit” to pro forma LGIP

         section 9.7, such that the affected system transmission provider must provide the affected

         system study report to the affected system interconnection customer within 150 calendar

         days after the receipt of the affected system study agreement and deposit. We find this

         addition is needed to clarify the affected system interconnection customer’s obligation to

         provide an affected system study deposit, especially if an affected system interconnection

         customer loses its affected system queue position, discussed below, for failure to provide

         the required deposit under pro forma LGIP section 9.5. We also add to pro forma LGIP

         section 9.7 a requirement for the affected system transmission provider to provide the

         affected system study report to the host transmission provider at the same time it provides

         the report to the affected system interconnection customer. We find that this will

         enhance transparency in the interconnection study process.

                  In response to MISO’s request for clarification that the affected system study

         clock commences only after all necessary data has been provided, we clarify that,
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         because an affected system interconnection customer has already submitted all required

         data to the host transmission provider, and the host transmission provider has verified that

         the data submitted is adequate and has conducted at least one interconnection study, it is

         highly unlikely that there will be any instances of requiring clarification or further data

         from interconnection customers. Thus, under the modified affected system study

         procedures, the data regarding interconnection requests given to the affected system

         transmission provider should be complete, requiring no delay or requests for further data.

         Nevertheless, we note that the affected system interconnection customer is required,

         under pro forma LGIP section 9.5, to provide all required technical data when it delivers

         the affected system study agreement. As discussed below, the clock for the affected

         system transmission provider to complete its affected system study begins after the

         receipt of the executed affected system study agreement and study deposit, which would

         include the receipt of all required technical data from the affected system interconnection

         customer.

                                             (d)    Affected System Queue Position (Pro Forma
                                                    LGIP Section 9.3)

                We adopt, with modification, the NOPR proposal to add section 9.2, now

         section 9.3, titled “Affected System Queue Position,” to the pro forma LGIP.

         Specifically, we adopt the first-ready, first-served concept, as proposed in the NOPR,2201


                2201
                    We note that several commenters support the proposed first-ready, first-served
         concept under proposed pro forma LGIP section 9.2. See Alliant Energy Initial
         Comments at 7; MISO Initial Comments at 11-12; NextEra Initial Comments at 33; OMS
         Initial Comments at 17.
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         along with the affected system relative queue priority proposal. Consequently, the

         interconnection requests of affected system interconnection customers that have executed

         an affected system study agreement will be higher-queued than the interconnection

         requests of those host system interconnection customers that have not yet received their

         cluster study results, and lower-queued than those interconnection customers that have

         already received their cluster study results. We also add clarifying language to pro forma

         LGIP section 9.3 to explain that, although queue position is determined based on the date

         of affected system study agreement execution, all affected system interconnection

         requests studied within the same affected system cluster will be equally queued.

                The affected system interconnection customer’s affected system queue position is

         for identification of affected system network upgrades along with the affected system

         transmission provider’s own interconnection customers. Specifically, the affected system

         queue position determines the order in which the affected system transmission provider

         will study the affected system interconnection customers and its own interconnection

         customers and thus impacts which network upgrades may be identified as necessary and

         assigned to interconnection customers, whether its own or affected system

         interconnection customers.

                As an example, if a transmission provider has two cluster studies of its own

         interconnection customers—cluster study 1 for which the transmission provider is

         conducting the facilities studies and cluster study 2 for which the transmission provider is

         conducting the cluster study—cluster study 1 would be higher-queued than cluster study

         2. If that transmission provider receives notice from a neighboring transmission provider
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         of interconnection requests that may impact its transmission system (i.e., affected system

         interconnection customers), the transmission provider may decide to study those affected

         system interconnection customers to determine if any network upgrades are required to

         mitigate constraints caused by those affected system interconnection customers. Once

         those affected system interconnection customers have executed their affected system

         study agreements, the transmission provider must assign them an affected system queue

         position, which will be higher than any cluster study of its own interconnection customers

         that have not received their cluster study results. In this example, the cluster study 1

         interconnection customers would be higher-queued than the cluster of affected system

         interconnection customers because the cluster study 1 interconnection customers would

         have already received their cluster study results and decided to proceed with their

         interconnection requests, and cluster study 2 interconnection customers would be

         lower-queued than the cluster of affected system interconnection customers because they

         would not have received their cluster study results and thus are more likely to withdraw.

                We find that establishing the affected system queue position based on the

         execution of the affected system study agreement is appropriate because, at that point, the

         affected system interconnection customer has demonstrated its intent to proceed with its

         interconnection request by executing the agreement and providing a study deposit to the

         affected system transmission provider as well as receiving its cluster study report on its

         host system and deciding to proceed with its interconnection request. Furthermore,

         allowing these affected system interconnection customers to be higher-queued than any

         of its own interconnection customers that have not received their cluster study results is
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         appropriate because those interconnection customers have not yet received any network

         upgrade estimates. Thus, its own interconnection customers have not yet demonstrated

         their intention to proceed to the facilities study.

                We agree with commenters that establishing queue priority in an affected system

         transmission provider’s interconnection queue based on when an interconnection request

         is received by the host transmission provider is problematic.2202 In part for this reason,

         we are adopting the host system’s cluster study results and execution of the affected

         system study agreement as reference points for queue priority2203 because these points

         occur after the interconnection customer has made demonstrations to indicate intent to

         progress through the interconnection process.

                We disagree with NextEra that the NOPR proposal’s affected system queue

         priority construct, which we adopt herein, will lead to a race among interconnection

         customers to be first or last to sign an affected system study agreement. NextEra’s

         concern may occur under a serial affected system study process, but, as explained above,

         we require clustering of affected system studies. Studying affected system

         interconnection requests in clusters mitigates the risk of a race to execute affected system

         study agreements, as affected system interconnection customers in the same affected

         system cluster will be equally queued regardless of when they execute their affected

         system study agreement, if it is within the appropriate window for affected system study


                2202
                       EDF Renewables Initial Comments at 11; MISO Initial Comments at 11, 87.
                2203
                       See NOPR, 179 FERC ¶ 61,194 at P 189.
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         agreement execution. We find this to be a just and reasonable queue priority construct

         for affected system studies.

                We decline to adopt EDF Renewables’ suggestion that the affected system

         transmission provider be required to establish queue priority between the host and

         affected systems based on the interconnection customer having achieved a certain stage

         in the host system’s study process, rather than the date the interconnection customer

         submits an interconnection request. We clarify that we neither propose to, nor do we

         adopt a proposal to, base relative affected system queue priority on the date an

         interconnection customer submits its interconnection request.2204

                We clarify, in response to Idaho Power’s request, that the affected system study

         process adopted in this final rule is required for all transmission providers, regardless of

         preexisting use of the first-ready, first-served cluster study process.

                We clarify, in response to APPA-LPPC, that establishing the affected system

         queue priority is for identifying the affected system network upgrades needed to mitigate

         constraints on the affected system.2205 This process will proceed in parallel with the host

         transmission provider’s study process and should not result in delays to the

         interconnection customer. As discussed above, we allow interconnection customers to


                2204
                    See NOPR, 179 FERC ¶ 61,194 at P 189 (providing that the affected system
         transmission provider would assign the affected system interconnection customer a queue
         position in its queue according to when the affected system interconnection customer
         executes an affected system study agreement rather than when the affected system
         interconnection customer entered its host transmission provider’s queue).
                2205
                       APPA-LPPC Initial Comments at 26.
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         delay execution of their LGIAs, or request that the LGIA be filed unexecuted, if they

         have not received their affected system study results; however, based on the reforms we

         adopt in this final rule, that should be the exception and not the rule. Thus, we find that

         the affected system queue position is merely intended to ensure that affected system

         interconnection customers are assigned the appropriate network upgrade costs according

         to the Commission’s interconnection pricing policy, and not as an indicator that

         interconnection customers become part of two separate interconnection queues.

                With respect to requests for clarification regarding proposed pro forma LGIP

         section 9.2 and how the first-ready, first-served queue priority approach interacts with

         cluster studies,2206 we clarify that all affected system interconnection customers in the

         same cluster on the affected system will have equal queue priority in the affected system

         transmission provider’s interconnection queue, which is consistent with how the first-

         ready, first-served approach interacts with cluster studies for interconnection customers

         on the transmission provider’s transmission system when it is acting as a host system.

         This means that the affected system interconnection customers within a cluster have

         equal queue priority and that queue priority will be relative to the affected system

         transmission provider’s own interconnection customers. The affected system

         transmission provider’s own interconnection customers that already received their cluster

         study results when an affected system interconnection customer or cluster of affected

         system interconnection customers execute an affected system study agreement will be


                2206
                       Id.; Idaho Power Initial Comments at 11; NextEra Initial Comments at 33.
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         higher-queued than that affected system interconnection customer. Any of the affected

         system transmission provider’s own interconnection customers that receive their cluster

         study results after the affected system interconnection customer or cluster of affected

         system interconnection customers execute their affected system study agreement will be

         lower-queued than that affected system interconnection customer or cluster of affected

         system interconnection customers. We clarify in response to APPA-LPPC that a

         transmission provider will assign the costs of network upgrades required on its

         transmission system to interconnection customers in its host cluster study process and

         affected system interconnection customers, also studied in their own cluster, based on

         their relative queue priority and in accordance with the proportional impact method as

         described in pro forma LGIP section 4.2.3, and as discussed further in the next

         section.2207

                With respect to Bonneville’s request for clarification, we clarify that an affected

         system interconnection customer will lose its affected system queue position if the

         affected system interconnection customer fails to: (1) execute the affected system study

         agreement or request it be filed unexecuted; (2) execute the affected system facilities

         construction agreement or request it be filed unexecuted; (3) provide the affected system

         study deposit; or (4) pay undisputed affected system study true-up costs in a timely

         manner.




                2207
                       APPA-LPPC Initial Comments at 26.
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                                                (e)       Affected System Cost Allocation (Pro Forma
                                                          LGIP Section 9.9)

                We also adopt the NOPR proposal in pro forma LGIP section 9.8, now pro forma

         LGIP section 9.9, titled “Affected System Cost Allocation,” to allocate affected system

         network upgrade costs using a proportional impact method, in accordance with pro forma

         LGIP section 4.2.1(1)(b).

                We agree with SEIA that using a proportional impact method will reduce

         individual affected system network upgrade costs and reduce the likelihood of cascading

         withdrawals, consistent with our discussion above on the use of the proportional impact

         method for the allocation of network upgrade costs in a cluster on the host system.

                We disagree with commenters that argue that the Commission should provide for

         penalty-free withdrawal from the host system’s interconnection queue if affected system

         study results increase an interconnection customer’s costs by more than 25% or some

         other threshold compared to costs allocated by the host transmission provider.2208 First,

         we find that the final rule’s requirement that affected system transmission providers use

         ERIS modeling standard to conduct affected system studies should reduce the number

         and total cost of affected system network upgrades assigned to affected system

         interconnection customers, which will reduce instances of “sticker shock” from affected

         system network upgrades.2209 Second, as discussed above, any interconnection customers




                2208
                       Invenergy Initial Comments at 43-44; Shell Initial Comments at 31.
                2209
                       See infra Section III.B.2.d.iii.
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         in a cluster that are not waiting for affected system study results must proceed with the

         finalization of their LGIAs, pursuant to pro forma LGIP section 11.1. Thus, we find that

         it would create sufficient uncertainty to allow an interconnection customer to withdraw

         penalty-free when it receives its affected system study results if there is a 25% increase in

         costs, which may occur after other interconnection customers in the same cluster have

         finalized their LGIAs. We note that interconnection customers inherently assume some

         risk. Accordingly, we decline to explicitly extend penalty-free withdrawal to include

         increases in affected system network upgrade costs beyond a certain threshold.

                In response to NV Energy’s assertion that use of the proportional impact method

         may lead to restudies when a higher-queued affected system interconnection customer

         withdraws its interconnection request, we note that potential outcomes of withdrawal are

         restudy and the reallocation of costs, regardless of the cost allocation methodology

         used.2210 We also note that, as described above, transmission providers may not need to

         perform a study if, in their engineering judgment, the network upgrades assigned to the

         withdrawing interconnection customer either are not needed or are easily reassigned to a

         remaining interconnection customer. Thus, restudies under the new interconnection

         process due to interconnection request withdrawals should be relatively less frequent than

         under existing processes.




                2210
                       NV Energy Initial Comments at 11-12.
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                                            (f)    Information Sharing Among Transmission
                                                   Providers (Pro Forma LGIP Section 3.6.3)

               We decline to adopt proposed section 3.6.3 of the pro forma LGIP, which would

         have required a transmission provider to provide data on a monthly basis, or more

         frequently as needed, to any affected system operators regarding the amount and location

         of proposed generation in the transmission provider’s interconnection queue, as well as

         updated information about the transmission provider’s transmission system.2211 We agree

         with commenters’ arguments that the information sharing requirement is duplicative of

         what is available on OASIS and recognize that such a requirement may be overly

         burdensome.2212 The OASIS postings provide transparency regarding the host

         transmission provider’s interconnection queue information. Further, transmission

         providers are required to notify neighboring transmission providers of potential impacts

         on their systems per section 3.6.1 of the pro forma LGIP, as described above.

                                            (g)    Affected System Study Agreement (Pro
                                                   Forma LGIP Section 9.4) and Execution
                                                   Thereof (Pro Forma LGIP Section 9.5)

               With regard to tendering of the affected system study agreement to the affected

         system interconnection customer, we modify proposed pro forma LGIP section 9.3, now

         pro forma LGIP section 9.4, to require that the transmission provider provide the affected

         system study agreement within 10 business days of sharing the schedule for the study




               2211
                      Accordingly, we do not address comments on this section.
               2212
                      Bonneville Initial Comments at 19; Dominion Initial Comments at 38.
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         with the affected system interconnection customer(s), per pro forma LGIP section 9.2,

         rather than within five business days, as proposed. We agree with commenters that five

         business days is not enough time to prepare what could be numerous affected system

         study agreements in the event a number of interconnection customers in a large cluster on

         a neighboring transmission system impact the affected system transmission provider’s

         transmission system.

                Consistent with our decision—discussed above—to not adopt the proposal to

         require affected system transmission providers to convene a scoping meeting with

         affected system interconnection customers, we remove references to such a meeting in

         pro forma LGIP section 9.4. Accordingly, we modify the NOPR proposal requiring the

         affected system operator to provide a non-binding good faith estimate of the cost and

         time frame for completing an affected system study from 15 business days after the

         affected system scoping meeting to 20 business days from the date that the affected

         system operator responded in writing to the host transmission provider that it intends to

         conduct an affected system study, pursuant to section 3.6.1 of the pro forma LGIP, and

         we also move this requirement to section 9.2 of the pro forma LGIP. The time taken to

         tender an affected system study agreement will also be measured from that date. We

         believe these changes will align the study timeline to the lack of an affected system

         scoping meeting.

                Accordingly, we modify proposed pro forma LGIP section 9.4 so that, after the

         affected system transmission provider responds with its intent to conduct an affected

         system study, the affected system transmission provider has 10 business days to tender an
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         affected system study agreement from the date of the affected system transmission

         provider sharing the schedule for the study. Again, these changes align the affected

         system study process timeline with the modification to remove the affected system

         scoping meeting.

                We further modify proposed pro forma LGIP section 9.4 to include a true-up of

         the affected system study deposit and actual cost of the affected system study. The

         difference between these amounts must be detailed in an invoice and paid by or refunded

         to the affected system interconnection customer within 30 calendar days of the receipt of

         such invoice. An affected system interconnection customer’s failure to pay the difference

         between these amounts will result in loss of that affected system interconnection

         customer’s affected system queue position. We find these modifications necessary to

         effectuate actual payment of affected system study costs and to outline the consequences

         for failure to do so.

                With regard to execution of the affected system study agreement, we adopt, with

         modification, the NOPR proposal to add section 9.5 to the pro forma LGIP regarding the

         timing of the execution of the affected system study agreement. As adopted, pro forma

         LGIP section 9.5 states that the affected system interconnection customer has 10 business

         days from the date of receipt of the affected system study agreement to execute and

         deliver it to the affected system transmission provider. Pro forma LGIP section 9.5 also

         provides that, if the affected system interconnection customer does not provide all

         required technical data when it delivers the affected system study agreement, the affected

         system transmission provider shall notify the affected system interconnection customer of
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         the deficiency within five business days of the receipt of the affected system study

         agreement, and the affected system interconnection customer has 10 business days to

         cure the deficiency after receipt of such notice, provided that the deficiency does not

         include failure to deliver the executed affected system study agreement or deposit.

                In the same vein, we modify proposed section 9.4 of the pro forma LGIP to

         require the affected system transmission provider to notify the host transmission provider

         of the affected system interconnection customer’s breach of its obligations under this

         section, should such breach occur. We find that, absent such notification, the host

         transmission provider may be unaware of such a breach.

                                            (h)    Scope of Affected System Study (Pro Forma
                                                   LGIP Section 9.6)

                We adopt, with modification, the NOPR proposal in pro forma LGIP section 9.5,

         now pro forma LGIP section 9.6, regarding the scope of the affected system study. The

         affected system study will consider the base case as well as all higher-queued generating

         facilities on the affected system transmission provider’s transmission system and will

         consist of a power flow, stability, and short circuit analysis. The affected system study

         will provide a list of affected system network upgrades that are required because of the

         affected system interconnection customer’s proposed interconnection, a non-binding

         good faith estimate of cost responsibility, and a non-binding good faith estimated time to

         construct. We find that these requirements will ensure that the affected system study will

         identify affected system network upgrades that are necessary to mitigate the impacts of

         the affected system interconnection customer’s proposed generating facility on the
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         affected system while providing the affected system interconnection customer with

         estimated costs and a timeline to construct necessary network upgrades.

                In response to APPA-LPPC, Duke Southeast Utilities, Enel, and Pattern Energy,

         we modify the NOPR proposal and clarify that pro forma LGIP section 9.6 does not

         preclude affected system transmission providers from conducting facilities studies or

         other relevant studies when conducting affected system studies. The affected system

         study may consist of a system impact study, a facilities study, or a combination of a

         system impact and facilities study.

                To address commenters’ criticism that the NOPR proposal was ambiguous with

         respect to whether a facilities study is specifically contemplated as part of the affected

         system study process,2213 we clarify that it is. We agree with commenters that an affected

         system facilities study could provide more refined cost estimates and construction

         timelines to better apprise the affected system interconnection customer of expected

         affected system network upgrade costs and timing, thereby improving interconnection

         process efficiency.2214 We note that the study requirements for the affected system study

         under pro forma LGIP section 9.6 that we proposed in the NOPR, and adopt in this final

         rule, require the affected system transmission provider to produce the same information

         that a facilities study would produce; specifically, the affected system transmission


                2213
                 APPA-LPPC Initial Comments at 26; Duke Southeast Utilities Initial
         Comments at 15.
                2214
                    Enel Initial Comments at 65; LADWP Initial Comments at 4; NV Energy
         Initial Comments at 11; Pattern Energy Initial Comments at 24-25.
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         provider must provide a list of facilities that are required as a result of an affected system

         interconnection customer’s proposed interconnection, a non-binding good faith estimate

         of cost responsibility, and a non-binding good faith estimated time to construct.

         Nevertheless, for further clarity, we modify proposed pro forma LGIP section 9.6 to

         indicate that the affected system study may consist of a system impact study, a facilities

         study, or some combination thereof. We note that we have modified the proposal to

         provide more time to the transmission provider to conduct such studies that they deem

         necessary, as discussed above.

                In response to Duke Southeast Utilities’ request for clarification that affected

         system transmission providers conduct a series of two affected system studies, we

         reiterate that nothing precludes an affected system transmission provider from conducting

         an affected system facilities study following an affected system impact study, just as

         nothing precludes affected system transmission providers from conducting a combined

         version of such studies, and we believe we have provided adequate time for transmission

         providers to do so.

                We find out of scope Shell’s request for inclusion of further information on local

         transmission planning from neighboring public utility transmission providers in the

         affected system study results.
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                                            (i)    Meeting with Transmission Provider (Pro
                                                   Forma LGIP Section 9.8) and Affected
                                                   System Facilities Construction Agreement
                                                   (Pro Forma LGIP Section 9.10)

                We adopt proposed section 9.9, now section 9.10, of the pro forma LGIP, with

         modifications. Specifically, we adopt the requirement for an affected system

         transmission provider to tender to the affected system interconnection customer an

         affected system facilities construction agreement within 30 calendar days of providing

         the affected system study report. We modify this section to require the affected system

         transmission provider to provide 10 business days—rather than five business days, as

         proposed—after receipt of the affected system facilities construction agreement for the

         affected system interconnection customer to execute the agreement or have the affected

         system transmission provider file it unexecuted with the Commission. While no

         comments were filed in opposition to the five business days to notify the affected system

         transmission provider of the affected system interconnection customer’s intent to execute

         the agreement or request it to be filed unexecuted, as proposed in the NOPR, we believe

         that 10 business days gives the affected system interconnection customer a more

         appropriate length of time to review the facilities construction agreement and the

         timelines and costs contained therein to make a reasoned decision as to whether to

         execute the agreement or request that it be filed unexecuted with the Commission.

                Further, we find that it is appropriate to allow the interconnection customer to

         request that the affected system facilities construction agreement be filed unexecuted at

         the Commission. Similar to an interconnection customer’s ability pursuant to pro forma
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         LGIP section 11.3 to request the unexecuted filing of its LGIA, the ability to request the

         affected system facilities construction agreement be filed unexecuted allows an affected

         system interconnection customer to dispute provisions of the affected system facilities

         construction agreement before the Commission.2215 Because (1) the existing pro forma

         LGIP section 11.3 permits the interconnection customer to request the transmission

         provider to file the LGIA unexecuted, (2) we base the affected system facilities

         construction agreement on the pro forma LGIA, and (3) the affected system facilities

         construction agreement is like a service agreement,2216 it is appropriate to include a

         similar provision. We further find that an affected system interconnection customer may

         be in a disadvantageous position to negotiate the terms of an affected system facilities

         construction agreement, as this agreement is between the affected system interconnection

         customer and a transmission provider with which it does not directly connect.

         Accordingly, to encourage good faith and fair dealings between the parties and to avoid


                2215
                    See Order No. 2003, 104 FERC ¶ 61,103 at P 233 (stating that, if agreement
         negotiations are at an impasse, the interconnection customer could either request
         termination of negotiations and request submission of the unexecuted agreement to the
         Commission or initiate dispute resolution procedures).
                2216
                     See Revised Publ. Util. Filing Requirements, Order No. 2001, 99 FERC ¶
         61,107, at PP 196, 200, reh’g denied, Order No. 2001-A, 100 FERC ¶ 61,074, reh’g
         denied, Order No. 2001-B, 100 FERC ¶ 61,342, order directing filing, Order No. 2001-
         C, 101 FERC ¶ 61,314 (2002), order directing filing, Order No. 2001-D, 102 FERC ¶
         61,334, order refining filing requirements, Order No. 2001-E, 105 FERC ¶ 61,352
         (2003), order on clarification, Order No. 2001-F, 106 FERC ¶ 61,060 (2004), order
         revising filing requirements, Order No. 2001-G, 120 FERC ¶ 61,270, order on reh’g and
         clarification, Order No. 2001-H, 121 FERC ¶ 61,289 (2007), order revising filing
         requirements, Order No. 2001-I, 125 FERC ¶ 61,103 (2008); see also Order No. 2003,
         104 FERC ¶ 61,103 at PP 913-915.
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         the addition of potentially discriminatory terms or conditions to an affected system

         facilities construction agreement, we allow an affected system interconnection customer

         to request that an affected system facilities construction agreement be filed unexecuted

         before the Commission.

                We disagree with commenters’ assertions that 30 calendar days may be an

         inadequate length of time to tender an affected system facilities construction agreement

         or that considerable time is needed to draft such an agreement.2217 This is the same

         period of time by which the transmission provider must tender a draft LGIA to the

         interconnection customer, the timeline of which is set forth in the existing pro forma

         LGIP.2218 We believe these timelines should be consistent because these agreements

         include similar provisions and similar requirements and the record does not persuade us

         otherwise.

                We disagree with Idaho Power’s suggestion that the affected system transmission

         provider should tender an affected system facilities construction agreement within

         60 calendar days of the interconnection customer executing a facilities study agreement

         with the host transmission provider because, as the host system and affected system study

         processes are separate, though overlapping and interrelated, it is more administratively

         feasible to tie affected system study process deadlines to affected system study process



                2217
                 See Duke Southeast Utilities Initial Comments at 15-16; Idaho Power Initial
         Comments at 11; MISO Initial Comments at 91-92; WAPA Initial Comments at 13.
                2218
                       Pro forma LGIP section 11.1.
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         events. In response to Idaho Power’s suggestion that the affected system transmission

         provider should tender an affected system facilities construction agreement within 30

         calendar days of providing the affected system study results to the affected system

         interconnection customer if the affected system study is performed during the facilities

         study on the host transmission provider’s system,2219 we note that, as proposed in the

         NOPR, the affected system facilities construction agreement tender deadline is within

         30 calendar days of the tendering of the affected system study report without any

         additional caveats or conditions. This tender timeline is, however, not directly linked to

         the host transmission provider’s study process.

                We also adopt the NOPR proposal to add section 9.7, now section 9.8, to the

         pro forma LGIP. Section 9.8 of the pro forma LGIP, titled “Meeting with Transmission

         Provider,” requires the affected system transmission provider and the affected system

         interconnection customer to meet within 10 business days of the affected system

         transmission provider tendering the affected system study report to the affected system

         interconnection customer. We find that such a meeting between the affected system

         transmission provider and affected system interconnection customer will facilitate

         transparency and meaningful communication in the affected system study process. We

         note that WAPA stated that a meeting after the affected system study report is tendered

         would be more beneficial than an affected system scoping meeting. We agree with

         WAPA and find that no changes to this section are necessary.


                2219
                       Idaho Power Initial Comments at 11.
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                                            (j)    Restudy Period (Pro Forma LGIP Section
                                                   9.11)

                We adopt the NOPR proposal in section 9.10, now section 9.11, of the pro forma

         LGIP to include a maximum 60-calendar day restudy period for any affected system

         restudies. We find that 60 calendar days are adequate to complete an affected system

         restudy. We disagree that affected system restudies are as complex as host system

         restudies, as affected system studies will likely involve fewer interconnection requests

         than cluster studies on the host system. Additionally, as discussed further below, we find

         that standardization of affected system study assumptions through ERIS modeling criteria

         will further simplify both affected system studies and restudies. Thus, we find it just and

         reasonable to adopt a 60-calendar day affected system restudy period.

                In addition to the 60-calendar day restudy period, we adopt a 30-calendar day

         notification requirement for the affected system transmission provider to notify the

         affected system interconnection customer of the need for affected system restudy upon

         discovery of such need in pro forma LGIP section 9.11. We find such a notification

         requirement to be consistent with restudy notification on the host system, and we find

         such notification necessary to continue a timely affected system study process.

         Accordingly, we find such a notification period to be just and reasonable.

                                            (k)    Coordination Between Host Transmission
                                                   Provider and Affected System Transmission
                                                   Provider

                In response to multiple commenters’ assertions that, for efficiency reasons, host

         transmission providers should be required to coordinate affected system study activities
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         with affected system transmission providers rather than individual interconnection

         customers,2220 or that flexibility should be afforded in terms of the parties to the affected

         system study agreement and the affected system facilities construction agreement,2221 the

         Commission is not persuaded that any potential efficiencies of such coordination

         outweigh the burdens that may be placed on host transmission providers, and we decline

         to require it in this final rule. We note that, in many cases, the affected system operator

         may be a non-public utility transmission provider, which would limit the usefulness of

         such a requirement. However, we encourage any such voluntary coordination between

         transmission providers who share transmission system seams and whose interconnection

         customers frequently impact each other’s systems. We also note that, as NextEra

         suggests, such transmission providers may file seams agreements under FPA section

         205.2222

                In response to Indicated PJM TOs’ argument that affected system studies should

         be integrated into the cluster study process, we do not have a record to support such a

         requirement in the final rule. Integrating affected system interconnection customers into

         a cluster that is already proceeding through the study process could meaningfully change

         network upgrade cost estimates which could, in turn, create new interconnection request

         withdrawals, leading to restudies and delays. Maintaining the clusters as-is and placing


                2220
                       Enel Initial Comments at 60-61; Shell Initial Comments at 30.
                2221
                       PPL Initial Comments at 20.
                2222
                       NextEra Reply Comments at 5.
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         the affected system interconnection customers in a lower queue position than any

         interconnection customers that have received cost estimates will ensure this situation

         does not happen.

                In response to APS’ request for clarification on how the proposed affected system

         study process correlates to the host system’s studies and aligns with the host system’s

         requirements,2223 we explain that the affected system study is predicated on the

         completion of a cluster study in the host transmission provider’s interconnection queue.

         Relative queue position for the affected system study is also determined based on an

         interconnection customer’s completion of the host system cluster study. While the host

         transmission provider will likely complete its facilities study prior to an affected system

         transmission provider’s completion of an affected system study, we add a requirement for

         host transmission providers with interconnection customers that have not yet received

         their affected system study results to delay the LGIA execution (or unexecuted filing)

         deadline for those interconnection customers. An interconnection customer’s failure to

         satisfy its obligations under the pro forma LGIP, including coordination with the affected

         system transmission provider, where applicable, will result in the loss of the

         interconnection customer’s affected system queue position.




                2223
                       APS Initial Comments at 19-20.
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                                             (l)    Non-Public Utility Requests

                We reject requests to impose firm deadlines and requirements that prevent non-

         public utility transmission providers from interfering with jurisdictional interconnection

         agreements because we do not have the jurisdiction to do so.2224

                In response to concerns regarding a transmission provider’s liability for delays or

         inaction by non-public utility transmission providers,2225 we clarify that transmission

         providers will not face consequences for the inaction of a non-public utility transmission

         provider, as long as the transmission providers fulfill their obligations as outlined in their

         LGIPs. For example, under the pro forma LGIP affected system process, a transmission

         provider would satisfy its obligation to a non-public utility affected system operator by

         timely notifying it of an affected system impact per pro forma LGIP section 3.6.1.

                                             (m)    Miscellaneous

                We do not address the comments of North Carolina Commission and Staff and

         EDF Renewables that interregional transmission planning is a way to address affected

         system impacts because these comments are beyond the scope of this proceeding, which

         is limited to generator interconnection.

                In response to Eversource’s and NYTOs’ requests for clarification that affected

         system study process reforms would not apply to intra-RTO/ISO system upgrades or


                2224
                  Invenergy Initial Comments at 43; Invenergy Reply Comments at 9; Interwest
         Reply Comments at 18.
                2225
                   EEI Initial Comments at 19; NextEra Initial Comments at 34; Pacific
         Northwest Utilities Initial Comments at 15-16; Xcel Initial Comments at 39.
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         would not apply to neighboring transmission owners within a single RTO/ISO,2226 we

         clarify that, in RTO/ISO regions, the RTO/ISO serves as the transmission provider for

         affected system study purposes, and the RTO/ISO footprint as the affected system, and

         thus intra-RTO/ISO considerations do not apply in this context and are beyond the scope

         of this final rule.

                We disagree with Invenergy’s argument that affected system study process

         reforms should apply to all pending interconnection requests and active studies.2227

         While we adopt a transition approach for serial and cluster study processes in the final

         rule, as explained above, we did not propose a similar transition approach with respect to

         affected system studies in the NOPR. Without consistency between transition processes

         as they pertain to neighboring transmission providers and implicate the affected system

         study process, it would be practically infeasible to apply the affected system study

         process reforms to all pending interconnection requests and active studies as Invenergy

         suggests. Accordingly, we decline to apply the affected system study process reforms

         adopted in this final rule to any pending interconnection requests and active studies.

                In response to CREA and NewSun’s request for clarification that a QF

         interconnection customer has the option to opt into use of the Commission’s

         interconnection procedures in cases where the interconnection requires studies or network



                2226
                    See also AEP Initial Comments at 32-33 (highlighting four different types of
         affected system scenarios and contending that the Commission conflates them).
                2227
                       Invenergy Initial Comments at 41.
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         upgrades on affected systems,2228 we decline to implement a jurisdictional toggle option

         for an interconnection customer. Longstanding Commission precedent indicates when a

         QF’s interconnection is subject to state jurisdiction or Commission jurisdiction.2229

         Nothing in this final rule is intended to revise the Commission’s approach under PURPA.

         Requiring affected system studies does not change the sale of a QF’s output, which is the

         foundation of the Commission’s interconnection analysis under PURPA.2230 To the

         extent that affected system studies are required due to a QF interconnection, the

         Commission will address such filings upon their receipt.




                2228
                       CREA and NewSun Initial Comments at 86-88.
                2229
                     Order No. 2003, 104 FERC ¶ 61,103 at PP 813-814 (finding that, when an
         electric utility purchases a QF’s total output, the state exercises jurisdiction over the
         interconnection and allocation of interconnection costs, while the presence of any output
         sold to a third party yields Commission jurisdiction); Fla. Power & Light Co., 133 FERC
         ¶ 61,121, at PP 19-23 (2010). See also 18 CFR 202.303, 202.306 (2022); Participation
         of Distributed Energy Res. Aggregations in Mkts. Operated by Reg’l Transmission Orgs.
         & Indep. Sys. Operators, Order No. 2222, 85 FR 67094 (Oct. 21, 2020), 172 FERC ¶
         61,247, at P 98 (2020), corrected, 85 FR 68540 (Oct. 29, 2020) (citing Order No. 2003,
         104 FERC ¶ 61,103 at PP 813-815; Order No. 2006, 111 FERC ¶ 61,220 at PP 516-518;
         Order No. 845, 163 FERC ¶ 61,043) (stating that nothing in the final rule revises the
         Commission’s jurisdictional approach to interconnections of QFs that participate in
         distributed energy resource aggregations).
                2230
                       Order No. 2003, 104 FERC ¶ 61,103 at PP 813-814.
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                                c.       Affected System Pro Forma Agreements

                                         i.   Need for Reform

                                              (a)   NOPR Proposal

                In the NOPR, the Commission expressed concern that the lack of pro forma

         agreements for affected system studies and the construction of network upgrades on

         affected systems was hindering the efficiency of the generator interconnection process

         through increased litigation over such agreements and allowed for potential unduly

         discriminatory behavior against interconnection customers whose interconnection

         requests necessitate affected system network upgrades.2231 Noting a recent increase in

         affected system-related disputes, the Commission preliminarily found it unjust and

         unreasonable to leave affected system agreements wholly up to individual negotiations

         and proposed standardized pro forma affected system agreements that minimize the

         likelihood for such disputes by (1) stipulating how to study the impact of interconnecting

         generating facilities on an affected system to identify network upgrades needed to

         accommodate the interconnection request and (2) standardizing the affected system

         facilities construction agreement to set the terms and conditions for the construction of

         those network upgrades.2232




                2231
                       NOPR, 179 FERC ¶ 61,194 at P 194.
                2232
                       Id. PP 194-195.
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                                             (b)    Comments

                Many commenters generally support the proposal to develop standardized pro

         forma affected system agreements.2233 Commenters state that standardization and better

         synchronization of timelines and processes for affected system studies between host and

         affected system transmission providers will improve the efficiency of the interconnection

         process and reduce opportunities for undue discrimination.2234 ELCON suggests that

         standardization of affected system study agreements, modeling, and assumptions furthers

         certainty and accountability, resulting in a more transparent, efficient, and cost-effective

         interconnection process.2235

                                             (c)    Commission Determination

                We find that the lack of affected system pro forma study and facilities

         construction agreements hinders the efficiency of the generator interconnection process

         through increased litigation over such agreements and allows for potential unduly

         discriminatory behavior against interconnection customers whose interconnection

         requests necessitate affected system network upgrades. Our establishment of pro forma


                2233
                    Alliant Energy Initial Comments at 7; APPA-LPPC Initial Comments at 23;
         Clean Energy Associations Initial Comments at 48; ELCON Initial Comments at 8;
         Interwest Reply Comments at 17; Invenergy Initial Comments at 45; ISO-NE Initial
         Comments at 37-38; NARUC Initial Comments at 23-24; NYISO Initial Comments at
         44-45; Pattern Energy Initial Comments at 26; Pine Gate Initial Comments at 42; SEIA
         Initial Comments at 34.
                2234
                  Consumers Energy Initial Comments at 8; Invenergy Initial Comments at 45;
         ISO-NE Initial Comments at 37-38.
                2235
                       ELCON Initial Comments at 8.
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         affected system agreements is supported by the record.2236 We agree with commenters

         that this standardization of timelines and processes will improve the efficiency of the

         interconnection process and reduce opportunities for undue discrimination.2237 For

         example, in establishing such standardized agreements, affected system transmission

         providers and affected system interconnection customers will no longer need to negotiate

         individual non-standard agreements. Also, in requiring affected system transmission

         providers to adhere to a set of pro forma procedures in their tariffs common to all

         jurisdictional transmission providers, we minimize the opportunities for undue

         discrimination.2238 The standardization of affected system agreements also furthers

         certainty and accountability, resulting in a more transparent, efficient, and cost-effective

         interconnection process by ensuring affected system interconnection customers know the

         standard scope and terms of agreements for the affected system interconnection process

         prior to entering the interconnection queue.2239




                2236
                    See id.; Alliant Energy Initial Comments at 7; APPA-LPPC Initial Comments
         at 23; Clean Energy Associations Initial Comments at 48; Invenergy Initial Comments at
         45; ISO-NE Initial Comments at 37-38; NARUC Initial Comments at 23-24; NYISO
         Initial Comments at 44-45; Pattern Energy Initial Comments at 26; Pine Gate Initial
         Comments at 42; SEIA Initial Comments at 34.
                2237
                  See Consumers Energy Initial Comments at 8; Invenergy Initial Comments at
         45; ISO-NE Initial Comments at 37-38.
                2238
                   See, e.g., Order No. 2003, 104 FERC ¶ 61,103 at P 11 (explaining that
         Commission precedent dating back to Order No. 888 establishes a need for standard
         procedures and agreements, in part to minimize opportunities for undue discrimination).
                2239
                       ELCON Initial Comments at 8.
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                                       ii.   Pro Forma Affected System Study Agreement

                                             (a)    NOPR Proposal

                In the NOPR, the Commission proposed to establish a pro forma affected system

         study agreement to improve the efficiency and transparency of the interconnection

         customer’s interaction with the affected system transmission provider.2240 The

         Commission proposed to model the pro forma affected system study agreement on the

         form of the existing pro forma system impact study agreement, with necessary minor

         revisions to the party names.2241 Specifically, the affected system interconnection

         customer and affected system transmission provider would be parties to the agreement.

                In articles 1, 2, 3, and 4, respectively, of the proposed pro forma affected system

         study agreement, the agreement specifies (1) the capitalization of defined terms in the pro

         forma LGIP, (2) that coordination with the host transmission provider shall occur

         pursuant to pro forma LGIP section 9, (3) that study assumptions shall be set forth in

         attachment A to the agreement, and (4) that studies shall be based on technical

         information provided by the affected system interconnection customer. In article 5, with

         regard to the information the affected system transmission provider will provide to the

         affected system interconnection customer in a study report upon completion of the

         affected system study, the Commission proposed to require the following: identification

         of any circuit breaker short circuit capability limits exceeded as a result of the


                2240
                       NOPR, 179 FERC ¶ 61,194 at P 197.
                2241
                       Id. P 198.
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         interconnection; identification of any thermal overload or voltage limit violations

         resulting from the interconnection; identification of any instability or inadequately

         damped response to system disturbances resulting from the interconnection; a non-

         binding, good faith estimate of the cost of facilities on the affected system required to

         accommodate the interconnection of the affected system interconnection customer’s

         project to the host transmission system; and a description of how such facilities will

         address the identified short circuit, instability, and power flow issues identified in the

         affected system study.2242 The Commission sought comment on whether the information

         required for the study report would provide adequate information to the affected system

         interconnection customer to understand the results of the affected system study. Finally,

         in articles 6 and 7, the Commission specified the provision of an affected system study

         deposit and that standard miscellaneous terms would be used consistent with industry

         best practice and with the pro forma LGIP and pro forma LGIA.

                                              (b)   Comments

                Some commenters generally support the NOPR proposal to develop a pro forma

         affected system study agreement.2243 Others generally support the establishment of a pro

         forma affected system study agreement but suggest general changes to the approach

         proposed in the NOPR. For example, MISO states that the requirement to execute an


                2242
                       Id. P 199.
                2243
                   Ameren Initial Comments at 23; Duke Southeast Utilities Initial Comments at
         18; North Carolina Commission and Staff Initial Comments at 24; U.S. Chamber of
         Commerce Initial Comments at 10-11.
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         agreement with each affected system interconnection customer would create a significant

         amount of work for transmission providers that is likely to divert resources from

         performing studies and coordinating with other transmission providers without any

         greater benefit than provided by existing joint operating agreements and other seams

         agreements with neighboring systems.2244 SPP adds that requiring individualized

         invoicing for all affected system study requests from another transmission provider’s

         cluster study would present a significant administrative burden for both transmission

         providers and interconnection customers, which would be required to deal with multiple

         transmission providers, instead of just the host transmission provider.2245 SPP notes that,

         in its joint operating agreement with MISO, the transmission providers coordinate

         affected system studies following each transmission provider’s system impact studies on

         their own systems, and rather than invoicing each interconnection customer individually,

         the transmission providers invoice each other for study costs, which allows the host

         transmission provider to use existing study deposits when available, and otherwise collect

         from its interconnection customers as needed.2246

                Other commenters suggest specific changes to the language proposed in the

         NOPR. For instance, Tri-State proposes adding language to article 9.4 of the pro forma

         LGIP specifying a protocol if deficiencies are not cured, such as, “shall be deemed


                2244
                       MISO Initial Comments at 96.
                2245
                       SPP Initial Comments at 19.
                2246
                       Id. at 18-19.
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         withdrawn pursuant to Section 3.7 of this LGIP.”2247 PPL argues that the pro forma

         affected system study agreement should: (1) have article 7 replaced entirely with actual

         contractual terms; (2) contain a clear requirement for affected system interconnection

         customers to provide data in a timely manner; (3) include data ownership and

         confidentiality provisions; and (4) address restudies.2248

                Additionally, Tri-State includes an appendix containing a redline version of the

         pro forma affected system study agreement that specifies its requested revisions to the

         agreement. Of note, Tri-State proposes changes to article 6, which would require the

         affected system transmission provider to specify the affected system study deposit

         value.2249

                In response to whether the information required in the affected system study report

         would provide adequate information to the affected system interconnection customer to

         understand the results of the affected system study, Xcel states that the proposed

         information is adequate.2250 Duke Southeast Utilities support the information required by

         article 5 of the proposed agreement but suggest that any other identified impacts outside

         of the prescribed information should also be included.2251 LADWP believes that the



                2247
                       Tri-State Initial Comments at 31-32.
                2248
                       PPL Initial Comments at 20.
                2249
                       Tri-State Initial Comments, app. B, at 122-124.
                2250
                       Xcel Initial Comments at 39.
                2251
                       Duke Southeast Utilities Initial Comments at 18.
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         study report should also include whether modifications to remedial action schemes or

         other special protection systems may be required.2252

                Enel seeks clarification on whether the affected system study scope must include

         all of “a short circuit analysis, thermal overload or voltage limit identification, and

         stability analysis, and a power flow analysis,” as proposed in pro forma LGIP section 9.5,

         and requests that transmission providers be allowed to waive portions of the study scope

         if deemed unnecessary.2253

                Several entities ask the Commission to allow regional variations to avoid conflict

         with existing affected system coordination processes.2254

                                              (c)     Commission Determination

                We adopt, with modifications, the proposed pro forma affected system study

         agreement set forth in Appendix 9 of the pro forma LGIP.2255 As discussed below, we

         make two modifications. First, consistent with comments,2256 we establish a multiparty

         pro forma affected system study agreement set forth in Appendix 10 of the pro forma

         LGIP. Second, we modify article 6 of the proposed pro forma affected system study




                2252
                       LADWP Initial Comments at 5.
                2253
                       Enel Initial Comments at 65.
                2254
                 Ameren Initial Comments at 23; MISO Initial Comments at 95; SPP Initial
         Comments at 18-19.
                2255
                       NOPR, 179 FERC ¶ 61,194 at P 197.
                2256
                       MISO Initial Comments at 96; SPP Initial Comments at 18-19.
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         agreement to make the language therein consistent with similar language elsewhere in the

         pro forma LGIP.2257

               Starting with the multiparty pro forma affected system study agreement, as

         described above, we require affected system transmission providers to study affected

         system interconnection requests in clusters. To facilitate this change, we modify the

         NOPR proposal and establish a pro forma multiparty affected system study agreement

         that closely tracks the proposed two-party agreement. Such a pro forma multiparty

         agreement will allow affected system transmission providers to enter into the same

         affected system study agreement with each of the affected system interconnection

         customers that it must study in a cluster. We find that a pro forma multiparty affected

         system study agreement will facilitate interactions with the affected system transmission

         provider, making them more efficient and transparent. We agree with SPP and MISO

         that a requirement for an affected system transmission provider to sign affected system

         study agreements with each affected system interconnection customer would be

         burdensome.2258 In creating a pro forma multiparty affected system study agreement, we

         reduce the administrative burden on transmission providers that no longer need to

         manage several individual affected system study agreements.




               2257
                    We also make minor consistency edits to article 5 of the proposed pro forma
         affected system study agreement, to conform the pro forma affected system study
         agreement with pro forma LGIP section 9.6.
               2258
                      MISO Initial Comments at 96; SPP Initial Comments at 18-19.
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                In response to SPP and MISO’s suggestion to make the parties to the pro forma

         affected system study agreement the affected system transmission provider and the host

         transmission provider, we decline this request. We believe that the interconnection

         customer, as the one responsible for providing necessary information about the proposed

         generating facility as well as funding the affected system study, is the appropriate

         counterparty to the affected system study agreement. We note, however, that any

         transmission providers may propose alternative arrangements through joint operating

         agreements or otherwise pursuant to FPA section 205.

                In response to comments from Tri-State and PPL’s request regarding affected

         system interconnection customers that fail to provide required information,2259 we find

         that sufficient requirements for data sharing exist in both the current and newly adopted

         pro forma LGIP requirements. Specifically, as discussed above and consistent with

         comments from Tri-State, we modify pro forma LGIP section 9.5 to explicitly state that

         any affected system interconnection customer failing to submit required information and

         failing to cure that deficiency shall lose its affected system queue position. We also add

         to pro forma LGIP section 9.5 a requirement that the affected system transmission

         provider notify the host transmission provider in a timely manner of such failure by the

         affected system interconnection customer.

                In response to Tri-State’s requested revisions to article 6 of the pro forma affected

         system study agreement, we modify the pro forma affected system study agreement to


                2259
                       PPL Initial Comments at 20; Tri-State Initial Comments at 18-19.
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         add additional language to explicitly require affected system interconnection customers to

         provide a study deposit. The deposit will provide for the cost of the affected system

         interconnection study. Moreover, we find that such revisions will align the pro forma

         affected system study agreement with Appendix 2 (cluster study agreement), Appendix 3

         (interconnection facilities study agreement), and Appendix 4 (optional interconnection

         study agreement) of the pro forma LGIP.

                In response to PPL’s request that article 7, regarding standard miscellaneous

         terms, should be replaced with actual contractual terms, we decline to adopt PPL’s

         proposed revisions. We adopt article 7 of the pro forma affected system study

         agreement, with modification to eliminate the reference to the LGIA. We note that this

         article 7 is consistent with the existing pro forma interconnection system impact study

         agreement (which the Commission is replacing with new cluster study-based agreements

         adopted in this final rule), interconnection facilities study agreement, and optional

         interconnection study agreement, which also provide for standard miscellaneous terms.

         In response to PPL’s requests that the pro forma affected system study agreement should

         address data ownership and confidentiality requirements as well as restudies, we find

         such revisions to the proposed pro forma affected system study agreement unnecessary,

         as they would be duplicative of existing pro forma LGIP provisions regarding

         confidentiality (section 13.1) and restudies (former section 6.4, now contained in sections

         7.5, 8.5, and 9.10). Regarding the removal of the reference to the LGIA, we find that the

         removal is appropriate as the parties to an interconnection customer’s LGIA would not be

         the same parties to an affected system study agreement.
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                In response to comments on the scope of the pro forma affected system study, we

         agree with Xcel that the scope of the affected system study is adequate.2260

         Consequently, we decline to modify the scope of the affected system study contained in

         article 5 of the proposed pro forma affected system study agreement. We note that the

         scope of the affected system studies identified in article 5 is consistent with the scope of

         host system interconnection studies.2261 In response to comments from Duke Southeast

         Utilities that entities should be able to include other, identified impacts in the affected

         system study report, we clarify that the scope of affected system studies must be

         consistent with the scope listed in article 5 of the pro forma affected system study

         agreement. Affording affected system transmission providers flexibility to expand the

         scope of affected system studies on an ad hoc or individual basis creates the potential for

         undue discrimination and a barrier to entry. With respect to LADWP’s request to include

         impacts to remedial action schemes and other special protection systems within the scope

         of the affected system studies,2262 we clarify that such impacts are already contemplated

         in article 5 of the pro forma affected system study agreement.




                2260
                       Xcel Initial Comments at 39.
                2261
                       Pro forma LGIP, app. 2, art. 5; app. 3, art. 4.
                2262
                       LADWP Initial Comments at 5.
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                                       iii.   Pro Forma Affected System Facilities Construction
                                              Agreement

                                              (a)   NOPR Proposal

                In the NOPR, the Commission proposed to revise the pro forma LGIP to add a pro

         forma affected system facilities construction agreement.2263 The proposed pro forma

         affected system facilities construction agreement includes provisions on the following:

         terms of the agreement; construction of network upgrades; taxes; force majeure;

         information reporting; security, billing, and payments; assignment; indemnity; breach,

         cure, and default; termination; contractors; confidentiality; information access and audit

         rights; dispute resolution; and notices.2264 Proposed Appendix A to the agreement

         provides for details on identified network upgrades, cost estimates and responsibility, the

         construction schedule for network upgrades, and a payment schedule; proposed Appendix

         B addresses notification of completed construction; and proposed Appendix C provides

         for a transmission provider site map, a site plan, a plan and profile for network upgrades,

         and the estimated cost of the network upgrades.

                The Commission proposed that the pro forma affected system facilities

         construction agreement would be entered into by the affected system transmission

         provider and the affected system interconnection customer.2265 Under the NOPR




                2263
                       NOPR, 179 FERC ¶ 61,194 at P 200.
                2264
                       Id. P 201.
                2265
                       Id. P 202.
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         proposal, the affected system transmission provider would be responsible for the design,

         procurement, construction, and installation of all network upgrades identified in

         Appendix A using reasonable efforts to complete construction consistent with the

         schedule identified in Appendix A. The affected system interconnection customer would

         initially fund the cost of any assigned network upgrades and be reimbursed by the

         affected system transmission provider.2266 Rather, the Commission proposed to require

         that, consistent with Order No. 2003, the affected system interconnection customer must

         enter into an agreement with the affected system transmission provider that must specify

         the terms governing payments to be made by the affected system interconnection

         customer as well as payment of refunds by the affected system transmission provider for

         the full cost of network upgrades, plus interest.2267

                The Commission clarified that the term to be mutually agreed upon for payment of

         refunds to affected system interconnection customer funded network upgrades is not to

         exceed 20 years.2268 This term mirrors the repayment term in the pro forma LGIA but

         allows for flexibility for the parties to come to another arrangement if they prefer. Under

         the NOPR proposal, within six months of completion of construction of any required

         network upgrades, the affected system transmission provider would invoice the affected




                2266
                       Order No. 2003, 104 FERC ¶ 61,103 at P 738.
                2267
                       Id. P 739.
                2268
                    Id.; see also Order No. 2003-B, 109 FERC ¶ 61,287 at PP 32-36 (extending
         the required repayment period from five years to 20 years).
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         system interconnection customer for the final construction costs, including a true-up of

         estimated and actual costs. The pro forma affected system facilities construction

         agreement would terminate upon the affected system transmission provider’s final

         repayment to the affected system interconnection customer. Alternatively, the affected

         system interconnection customer could also terminate the affected system facilities

         construction agreement with 60 calendar days’ written notice to the affected system

         transmission provider.

                The Commission sought comment on the network upgrade funding and repayment

         provisions in the proposed pro forma affected system facilities construction agreement,

         specifically whether the repayment time frame and the similarity of the proposal to the

         repayment terms in the pro forma LGIA were appropriate.2269 The Commission also

         sought comment on whether any articles or provisions should be added to the proposed

         pro forma affected system facilities construction agreement or whether the proposed

         provisions were sufficient.2270

                                             (b)    Comments

                Some commenters generally support the proposed pro forma affected system

         facilities construction agreement because it will offer uniformity across the country and

         increase administrative efficiency.2271 Others argue that the agreement should be



                2269
                       NOPR, 179 FERC ¶ 61,194 at P 203.
                2270
                       Id. P 204.
                2271
                       Ameren Initial Comments at 23; Duke Southeast Utilities Initial Comments at
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         structured as either an individual network upgrade agreement or a multiparty network

         upgrade agreement.2272

                Some commenters request that the Commission allow for regional variations to

         avoid conflict with existing pro forma facilities construction agreements.2273

                                                      (1)   Comments on Specific Provisions and
                                                            Related Proposals

                As a global change, Xcel recommends that the defined term “affected system

         operator” be used instead of “transmission provider” when referencing the affected

         system transmission provider, arguing that the use of the terms “transmission provider”

         and “transmission provider acting as affected system” are confusing and may conflict

         with usage of those terms in the LGIP.2274

                With regard to article 2 (Term of Agreement), Tri-State proposes the following

         addition: “No Transmission Delivery Service. The execution of this LGIA does not

         constitute a request for, nor the provision of, any transmission delivery service under

         Transmission Provider’s Tariff, and does not convey any right to deliver electricity to any

         specific customer or Point of Delivery.”2275 Additionally, Tri-State opposes the option in



         18; SPP Initial Comments at 19-20.
                2272
                       PPL Initial Comments at 20; SPP Initial Comments at 20.
                2273
                 Ameren Initial Comments at 23; MISO Initial Comments at 97; NYISO Initial
         Comments at 45; PPL Initial Comments at 22.
                2274
                       Xcel Initial Comments at 40.
                2275
                       Tri-State Initial Comments at 32.
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         proposed article 2.2.1 that would allow the affected system interconnection customer to

         terminate the affected system facilities construction agreement with 60 calendar days’

         written notice. Tri-State contends that allowing such termination could trigger restudies

         for the affected system transmission provider.2276

                Southern states that the Commission should either reconsider or clarify proposed

         article 2.2.2 (Termination Upon Default) and proposed article 5.2 (Notice of Breach,

         Cure, and Default), which it states appears to provide that if a default does not pose a

         threat to the reliability of the affected system transmission provider’s transmission

         system, the affected system transmission provider may not terminate the agreement if the

         affected system interconnection customer has begun to cure and compensate the

         transmission provider for any damage.2277 Southern argues that such provisions should

         be consistent with pro forma LGIA provisions and that, if an affected system

         interconnection customer defaults under the LGIA, the affected system operator should

         not be required to build affected system network upgrades. Southern argues that, if the

         provisions are not consistent with the pro forma LGIA, affected system transmission

         providers will build affected system network upgrades that are not needed, and there will

         be different default and termination rights applicable to these improvements. Similarly,

         Tri-State submits suggested edits to proposed article 2.2.2, which remove the provisions




                2276
                       Id. at 21.
                2277
                       Southern Initial Comments at 18.
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         Southern comments on, explaining that a default should only occur after a breach and

         failure to cure.2278

                Invenergy opposes proposed article 2.2.3, which provides that, upon termination

         of the affected system facilities construction agreement, the affected system

         interconnection customer would be responsible for costs incurred by another affected

         system interconnection customer due to the termination of: (1) its affected system

         facilities construction agreement; (2) that interconnection customer’s LGIA; or (3) any of

         that interconnection customer’s other affected system facilities construction

         agreements.2279 Some commenters argue that this requirement is unreasonable and must

         be revised.2280 They claim that there is no basis for imposing on the affected system

         interconnection customer broad and potentially exorbitant liability for any potential

         impacts on any other interconnection customer within the affected system, which they

         argue exceeds potential liability imposed under the pro forma LGIA for the host

         transmission provider’s transmission system.2281 Invenergy states that the provision

         appears to be based on a provision in MISO’s pro forma facilities construction




                2278
                       Tri-State Initial Comments at 33.
                2279
                       Invenergy Initial Comments at 45.
                2280
                       Id. at 46; Interwest Reply Comments at 18-19; Tri-State Initial Comments at
         20.
                2281
                     Interwest Reply Comments at 18-19; Invenergy Initial Comments at 46; Tri-
         State Initial Comments at 20.
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         agreement, which it argues does not make sense for a generically applicable pro forma

         agreement.

                As for proposed article 3 (Construction of Network Upgrades), some commenters

         object to limiting the right to suspend for force majeure events, contained in proposed

         article 3.1.2.1.2282 Southern states that proposed article 3.1.2.1 appears to provide that the

         affected system interconnection customer may only suspend its interconnection request if

         there is a force majeure event and that no such limitation on suspension rights exists

         under the pro forma LGIA, meaning that an affected system interconnection customer

         could suspend its interconnection request under the pro forma LGIA but still be required

         to move forward with construction of affected system network upgrades, if the reason for

         suspension under the pro forma LGIA is not a force majeure event.2283 Enel asserts that

         the Commission has not provided justification for limiting the affected system

         interconnection customer’s suspension rights to just force majeure events.2284 Enel,

         Invenergy, and Southern argue that suspension rights under the pro forma affected

         system facilities construction agreement should be consistent with the suspension rights

         under the pro forma LGIA, with Invenergy highlighting that the pro forma LGIA permits

         suspension for up to three years.2285 Conversely, Tri-State argues that the same force


                2282
                    Enel Initial Comments at 83-84; Invenergy Initial Comments at 47; Southern
         Initial Comments at 18; Tri-State Initial Comments at 20.
                2283
                       Southern Initial Comments at 18-19.
                2284
                       Enel Initial Comments at 83-84.
                2285
                       Id. at 83; Invenergy Initial Comments at 47; Southern Initial Comments at 18-
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         majeure language used in proposed article 3.1.2.1 should be added to both the pro forma

         LGIA and pro forma LGIP.2286

                MISO suggests that there should be a provision in the pro forma affected system

         facilities construction agreement on cross-defaults between the affected system facilities

         construction agreement and the interconnection customer’s LGIA.2287 MISO asserts that,

         as proposed, if the affected system interconnection customer refuses to make payments

         under an affected system facilities construction agreement, it is unclear how it would

         affect the affected system interconnection customer’s LGIA.

                In response to proposed article 3.2.2.1, which would require affected system

         transmission providers to reimburse affected system interconnection customers for their

         affected system network upgrade costs, many commenters support the proposal,2288 while

         many others oppose it.2289 In support, commenters contend that the reimbursement policy

         is consistent with long-established Commission precedent and cost causation, as it



         19.
                2286
                       Tri-State Initial Comments at 33.
                2287
                       MISO Initial Comments at 97.
                2288
                     ACE-NY Initial Comments 9; AES Initial Comments at 22; Ameren Initial
         Comments at 23; APPA-LPPC Initial Comments at 23; Enel Initial Comments at 66-67;
         Shell Initial Comments at 33-34.
                2289
                     AECI Initial Comments at 9; Duke Southeast Utilities Initial Comments at 19;
         EEI Initial Comments at 18-19; North Carolina Commission and Staff Initial Comments
         at 6; PG&E Reply Comments at 5-6; PPL Initial Comments at 20; Southern Reply
         Comments at 7-8; Tri-State Initial Comments at 21-22; U.S. Chamber Commerce Initial
         Comments at 11; WAPA Initial Comments at 13-14; Xcel Initial Comments at 40.
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         ensures that affected system network upgrade cost reimbursement is rate-based, such that

         the transmission customers that ultimately benefit from the network upgrades pay for

         those upgrades.2290 In contrast, according to these commenters, allowing transmission

         customers of the affected system to receive the benefits of an affected system network

         upgrade, without paying for it, would create a “free-rider” problem that is inconsistent

         with the “beneficiary pays” principle.2291

                Other commenters do not fully oppose the proposal but suggest changes to

         proposed article 3.2.2.1. For instance, MISO and Southern contend that the repayment

         provisions for affected system interconnection customers should be consistent with how

         the transmission provider repays its internal interconnection customers.2292 MISO asserts

         that this will ensure comparability and non-discriminatory treatment between affected

         system interconnection customers and “native” interconnection customers interconnected

         to the affected system.2293 APPA-LPPC argue that the NOPR proposal is missing an

         express, contractual commitment ensuring that an interconnection customer will fund

         network upgrades identified by the affected system as a condition of interconnection.2294

         APPA-LPPC state that they believe this to be implicit in the proposal and that the



                2290
                       Enel Initial Comments at 66; Shell Initial Comments at 35.
                2291
                       ACE-NY Initial Comments 9; Shell Initial Comments at 35-36.
                2292
                       MISO Initial Comments at 97; Southern Initial Comments at 4.
                2293
                       MISO Initial Comments at 97.
                2294
                       APPA-LPPC Initial Comments at 24-25.
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         provision should specify that the identified affected system transmission provider is an

         intended third-party beneficiary of the LGIA. APPA-LPPC contend that the absence of

         such a contractual obligation on the part of the interconnection customer is a particular

         concern for non-public utilities, which have no standing under the FPA to seek funding

         for network upgrades under Commission-jurisdictional tariffs. However, according to

         Southern, in Order No. 2003, the Commission declined to make a generic finding on the

         possibility of network upgrade costs being passed onto native load and transmission

         customers and instead allowed transmission providers to make a filing if such entities

         were not being held harmless.2295 Southern states that the Commission should clarify that

         a transmission provider can make such a filing, if warranted, in which it could propose

         that affected system interconnection customers bear the cost responsibility of identified

         affected system network upgrades.2296

                Among issues raised by commenters that oppose the proposal, one common

         concern is that the proposal would force affected system transmission providers to

         subsidize interconnection to neighboring transmission systems, despite potentially not

         receiving any energy from such interconnection customers, causing increased costs to the

         affected system due to the requirement to mitigate negative thermal, voltage, and stability




                2295
                   Southern Initial Comments at 17-18; Southern Reply Comments at 8 (citing
         Order No. 2003-A, 106 FERC ¶ 61,220 at P 586; Order No. 2003-B, 109 FERC ¶ 61,287
         at P 56).
                2296
                       Southern Initial Comments at 17-18; Southern Reply Comments at 9-10.
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         impacts without a corresponding increase in benefits.2297 North Carolina Commission

         and Staff also contend that the Commission has not provided evidence on this matter that

         would allow the Commission to meet its burden under FPA section 206.2298 Some

         commenters assert that the affected system interconnection customer should be

         responsible for the costs of affected system network upgrades in exchange for use of the

         affected system (i.e., via transmission service).2299 Xcel notes that, for loop flow impacts,

         the affected system interconnection customer may not formally take transmission service

         but may be granted the right to the transmission capacity associated with the loop flows

         they cause, and some transmission providers have charged unreserved use for such

         impacts or otherwise required neighbors to pay for the transmission use.2300

                North Carolina Commission and Staff observe that, if the Commission were to

         implement the NOPR proposal and allow RTOs/ISOs to obtain independent entity

         variations from the proposed affected system pricing scheme implementing a participant

         funding model, then North Carolina retail and wholesale customers of Duke Energy

         Carolinas and Duke Energy Progress would be paying for affected system network




                2297
                   AECI Initial Comments at 9; Duke Southeast Utilities Initial Comments at 21-
         22, 26; EEI Initial Comments at 18-19; North Carolina Commission and Staff Initial
         Comments at 6; PPL Initial Comments at 21; Tri-State Initial Comments at 21-22; U.S.
         Chamber of Commerce Initial Comments at 11-12; Xcel Initial Comments at 40.
                2298
                       North Carolina Commission and Staff Initial Comments at 16.
                2299
                       Tri-State Initial Comments at 20; Xcel Initial Comments at 40.
                2300
                       Xcel Initial Comments at 40.
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         upgrade costs when a generating facility interconnects with the PJM-controlled

         transmission system in addition to paying for network upgrade costs for native

         interconnection customers when generating facilities interconnect with Duke Energy

         Progress or Duke Energy Carolinas-owned transmission facilities, which they argue

         would be patently unjust, unfair, and unduly preferential.2301

                Several commenters argue that the NOPR proposal is contrary to important

         objectives articulated in Order No. 2003.2302 For instance, Duke Southeast Utilities

         contend that, if transmission providers are required to reimburse affected system

         interconnection customers for costs advanced for affected system network upgrades, such

         transmission providers will seek to obtain rate recovery of their reimbursement cost from

         existing wholesale and retail transmission customers, meaning those classes of customers

         will not be protected from adverse rate implications because they will have to absorb all

         affected system network upgrade costs.2303 According to Duke Southeast Utilities, this is

         contrary to an important objective articulated in Order No. 2003-B of the interconnection

         pricing policy protecting existing transmission customers from adverse rate implications




                2301
                       North Carolina Commission and Staff Initial Comments at 23.
                2302
                       Duke Southeast Utilities Initial Comments at 23; PPL Initial Comments at 20-
         21.
                2303
                       Duke Southeast Utilities Initial Comments at 23.
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         associated with interconnection facilities and network upgrades required to interconnect a

         new generating facility.2304

                 According to PPL, the pricing policy established in Order No. 2003 was meant to

         promote competition in markets “still dominated by non-independent transmission

         providers.”2305 PPL argues that non-RTO/ISO transmission providers no longer

         dominate, and therefore this policy is no longer necessary.2306 PPL asserts that, contrary

         to the time of Order No. 2003’s issuance, and as a result of the size and nature of

         generating facilities being developed in RTO/ISO regions, non-RTOs/ISOs might be

         required to build costly affected system network upgrades to accommodate the

         interconnection of generating facilities in adjacent markets. PPL contends that affected

         system network upgrade costs can overwhelm the total network upgrade costs identified

         for reliability or other planning purposes. PPL claims, however, that the affected system

         network upgrade reimbursement proposal in the NOPR is directly contrary to the

         Commission’s interconnection pricing policy meant to protect existing customers from

         the rate impacts of interconnection-related network upgrades,2307 and allows affected

         system interconnection customers to benefit from network upgrades without paying for


                 2304
                        Id. (citing Order No. 2003-B, 109 FERC ¶ 61,287 at P 56).
                 2305
                        PPL Initial Comments at 20 (citing Order 2003-A, 106 FERC ¶ 61,220 at P
         636).
                 2306
                        Id. at 20-21.
                 2307
                 Id. at 21 (citing Order 2003-A, 106 FERC ¶ 61,220 at P 586; Order 2003-B,
         109 FERC ¶ 61,287 at P 56).
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         them.2308 Thus, PPL asserts that the Commission should allow affected system

         transmission providers the flexibility to directly assign affected system network upgrade

         costs. Duke Southeast Utilities concur, asserting that there is ample precedent of the

         Commission accepting, without modification, an affected system operating agreement

         between affected system transmission providers and affected system interconnection

         customers that directly assign network upgrade costs to such interconnection customers

         without reimbursement.2309

                Invenergy asserts that the Commission should reject arguments challenging the

         Commission’s interconnection pricing policy established in Order No. 2003.2310

         Invenergy contends that this interconnection pricing policy was fully litigated in the

         Order No. 2003 rulemaking proceeding and that issues relating to cost causation were

         fully and carefully considered at that time.2311 Invenergy also argues that Duke Southeast

         Utilities’ reference to Order No. 2003-B is misplaced, as the Commission, in Order No.

         2003-B, found that the interconnection pricing policy fully protected native load




                2308
                       Id. at 21-22.
                2309
                   Duke Southeast Utilities Initial Comments at 24 (citing, e.g., Docket No.
         ER21-1701-000 (involving acceptance of an affected system upgrade agreement between
         Southern and Cooperative Energy)).
                2310
                   Invenergy Reply Comments at 10 (citing Order No. 2003, 104 FERC ¶ 61,103
         at PP 693-696).
                2311
                       Id. at 11-12 (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 684, 693-696).
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         customers and that transmission providers could make and justify alternative proposals

         on compliance.2312

                Duke Southeast Utilities and North Carolina Commission and Staff assert that the

         affected system network upgrade reimbursement proposal will stifle renewable

         generating facility development.2313 For instance, Duke Southeast Utilities argue that

         mandatory reimbursement has the likelihood of chilling development of new, mainly

         renewable, generating facilities in states that consider such costs as part of overall

         development costs when considering whether to issue a certificate of public convenience

         and necessity to permit these generating facilities.2314

                Moreover, Duke Southeast Utilities argue that the mandatory reimbursement by

         affected system transmission providers of affected system network upgrade costs fails to

         encourage efficient siting decisions by affected system interconnection customers.2315

         Duke Southeast Utilities assert that, if affected system interconnection customers are

         reimbursed for 100% of the costs of network upgrades on the affected system plus




                2312
                       Id. at 10-11.
                2313
                  Duke Southeast Utilities Initial Comments at 24-25; North Carolina
         Commission and Staff Initial Comments at 21.
                2314
                       Duke Southeast Utilities Initial Comments at 24-25.
                2315
                       Id. at 25; Duke Southeast Utilities Reply Comments at 23.
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         interest at the Commission-prescribed rate, they actually profit financially from such

         reimbursement.2316

                Invenergy argues that the possibility of certain states considering affected system

         network upgrade costs in permitting proceedings does not call the Commission’s existing

         pricing policy into question.2317 In response to arguments that the NOPR proposal could

         foster inefficient siting, Invenergy asserts that this argument was considered and settled

         in the Order No. 2003 rulemaking proceeding.2318 Invenergy contends that such

         comments are speculative and ignore other facts, such as that identification of affected

         system network upgrades typically occurs after most siting decisions are made.

                North Carolina Commission and Staff argue that affected system costs are no

         longer incidental or rare and have been escalating over time.2319 North Carolina

         Commission and Staff allege that the proposed crediting policy will force North Carolina

         wholesale and retail ratepayers to subsidize the policy choices of other states and the

         corporate goals of businesses located in other states.

                Public Interest Organizations urge the Commission to disregard North Carolina

         Commission and Staff’s assertions on this matter, arguing that the NOPR proposal is




                2316
                       Duke Southeast Utilities Initial Comments at 25.
                2317
                       Invenergy Reply Comments at 12.
                2318
                       Id. (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 695-696).
                2319
                       North Carolina Commission and Staff Initial Comments at 21-22.
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         unrelated to state and corporate policies.2320 Public Interest Organizations assert that the

         proposal is meant to address existing gaps in the pro forma LGIP that apply to all

         interconnection customers regardless of fuel type and motivation for generating facility

         development.

                WAPA expresses significant concerns with the NOPR proposal, emphasizing that

         it requires the affected system transmission provider to reimburse the affected system

         interconnection customer cash plus interest over 20 years for the cost of affected system

         network upgrades.2321 WAPA states that, as a federal agency, it cannot provide a cash

         payment with interest to an interconnection customer that does not take transmission

         service from WAPA.2322 According to WAPA, per its tariff, it only provides network

         credits, not cash payments, for such customers, and it would need to work with the host

         transmission provider to ensure a mechanism is developed to properly credit the affected

         system interconnection customer.2323




                2320
                       Public Interest Organizations Reply Comments at 18-19.
                2321
                       WAPA Initial Comments at 13.
                2322
                     Id. Specifically, WAPA states that it must deposit all revenues received into a
         reclamation fund and that it would need an appropriation from Congress to use the money
         in the reclamation fund to pay interconnection customers. Id. at 13 n.17 (citing 43
         U.S.C.392a). WAPA also notes that its current tariff specifically provides that WAPA
         cannot pay interest on any funds advanced by interconnection customers. Id. (citing
         WAPA, WAPA Open Access Transmission Tariff, section 17.3 (1.0.0)).
                2323
                       Id. at 13-14.
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                Also on proposed article 3 of the pro forma affected system facilities construction

         agreement, Tri-State notes that proposed article 3.2.2.1 (Repayment) does not contain a

         reference to determine if affected system network upgrades are unnecessary.2324

         Separately, Tri-State also suggests revisions to state that the repayment period should end

         no later than 20 years from the completion of the construction of the affected system

         interconnection customer’s generating facility, rather than completion of the construction

         of the affected system network upgrades.2325

                With regard to proposed article 4 (Security, Billing, and Payments), PacifiCorp

         offers suggested revisions to proposed article 4.1, which PacifiCorp asserts are intended

         to, among other things, clarify that additional security will be required from the affected

         system interconnection customer if the affected system transmission provider determines

         that the costs of facilities may exceed the initial estimate provided to the affected system

         interconnection customer.2326 PPL also states that affected system interconnection

         customers should be required to meet credit and security requirements.2327

                As for proposed article 6 (Termination of Agreement), Tri-State suggests

         consolidating proposed article 6.3.3 (Pre-construction of Installation) with proposed




                2324
                       Tri-State Initial Comments at 33.
                2325
                       Id., app. B at 133.
                2326
                       PacifiCorp Initial Comments at 37.
                2327
                       PPL Initial Comments at 20.
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         article 2.2.3 and proposes removing some language in proposed article 6.4 (Survival

         Rights) that it argues is duplicative of proposed article 2.4.2328

                Commenters also respond to the proposed confidentiality provisions. Southern

         asserts that proposed article 8.1 in the pro forma affected system facilities construction

         agreement, section 13.1 in the pro forma LGIP, and article 22 in the pro forma LGIA

         should be revised to reflect the use of backup servers and the obligations of transmission

         providers to share information under NERC Reliability Standards.2329 Southern asserts

         that it is administratively difficult to meet the requirements in these provisions that

         specify that confidential information be destroyed or returned, arguing that this provision

         should allow information to be stored on backup servers. Southern also notes that, under

         NERC Reliability Standards, which were developed after the effective date of Order No.

         2003, transmission providers must disclose confidential information to neighboring

         transmission providers, and therefore, this language should be updated to reflect that the

         transmission provider must share this confidential information.

                Moving to proposed Appendix A, MISO contends that there is no need for a

         commercial operation date to be listed for affected system network upgrades in proposed

         Appendix A.2330 MISO argues that commercial operation is something that occurs in the




                2328
                       Tri-State Initial Comments at 33-34.
                2329
                       Southern Initial Comments at 19.
                2330
                       MISO Initial Comments at 97.
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         LGIA context, where the affected system interconnection customer’s injection of energy

         onto the host transmission provider is memorialized.

                                                      (2)     Requests for Clarification

                  Southern explains that the pro forma LGIA and Commission policy require that

         interconnection customers pay for the cost of system protection facilities, and Southern

         requests that the Commission clarify that it is not changing this policy.2331

                                                      (3)     Miscellaneous

                  Eversource states that the concerns of interconnection customers and transmission

         providers with regard to ISO-NE’s related facilities agreement (RFA)2332 are not

         addressed by the NOPR proposal, which address coordination between different tariffs

         and system operators, and requests that the Commission clarify this difference.2333

                                               (c)    Commission Determination

                  We adopt, with modifications, the NOPR proposal to establish a pro forma

         affected system facilities construction agreement in Appendix 11 of the pro forma

         LGIP.2334 The pro forma affected system facilities construction agreement, as adopted

         herein, closely tracks the NOPR proposal: the affected system transmission provider and



                  2331
                  Southern Initial Comments at 17; Southern Reply Comments at 8 (citing pro
         forma LGIA art. 9.7.4.1; Order No. 845, 163 FERC ¶ 61,043 at P 371).
                  2332
                         ISO-NE’s RFA is an intra-RTO/ISO agreement with a specific transmission
         owner.
                  2333
                         Eversource Initial Comments at 32.
                  2334
                         NOPR, 179 FERC ¶ 61,194 at P 197.
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         the affected system interconnection customer(s) will enter into the agreement; and the

         agreement will set forth the terms and conditions by which the affected system

         transmission provider will be responsible for the design, procurement, construction, and

         installation of all network upgrades and terms and conditions by which the affected

         system interconnection customer will initially fund, and be reimbursed for, the cost of

         any assigned affected system network upgrades. As described below, we modify the

         following proposed articles in the pro forma affected system facilities construction

         agreement: (1) article 2.2.2 (Termination Upon Default); (2) article 2.2.3 (Consequences

         of Termination); (3) article 3.1.1 (Transmission Provider Obligations); (4) article 3.1.2.1

         (Right to Suspend); (5) article 3.1.2.3 (Right to Suspend Due to Default); (6) article 5.1

         (Events of Breach); (7) article 5.2 (Notice of Breach, Cure and Default); (8) article 5.2.1;

         and (9) article 5.2.2.2335 Additionally, we establish a pro forma multiparty affected

         system facilities construction agreement set forth in Appendix 12 of the pro forma LGIP.

                We find that a pro forma affected system facilities construction agreement will

         improve the efficiency of the interconnection process by reducing delays through

         improved coordination among relevant parties, consistent with the Commission’s

         preliminary findings in the NOPR and with record support.2336 As Duke Southeast


                2335
                    We further note that we streamline article 6.2 (Termination and Removal) of
         the pro forma affected system facilities construction agreement with ministerial revisions,
         as well as add article 5.2 to provide a definition of “breaching party,” which changes the
         numbering for proposed article 5.2 (Notice of Breach, Cure, and Default) to article 5.3
         and proposed article 5.3 (Rights in the Event of Default) to article 5.4.
                2336
                  NOPR, 179 FERC ¶ 61,194 at P 200; see also Ameren Initial Comments at 23;
         Duke Southeast Utilities Initial Comments at 18; Pine Gate Initial Comments at 42; SPP
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         Utilities explains, the adoption of a pro forma affected system facilities construction

         agreement will offer uniformity of these types of agreements to be tendered by affected

         system transmission providers across the country.2337 Such uniformity will help reduce

         the potential for undue discrimination. As the Commission found in Order No. 2003, a

         standard set of procedures as part of the tariff for all jurisdictional transmission facilities

         will minimize opportunities for undue discrimination.2338

                We also adopt a pro forma multiparty affected system facilities construction

         agreement.2339 Similar to adopting the pro forma multiparty affected system study

         agreement, as discussed earlier, we find that the adoption of the pro forma multiparty

         affected system facilities construction agreement will further improve coordination and

         further minimize opportunities for undue discrimination, even relative to a two-party

         agreement. Also, similar to the adoption of the pro forma affected system study

         agreement, the establishment of the pro forma multiparty affected system facilities

         construction agreement aligns with the requirement to study affected system

         interconnection requests in clusters. Specifically, such a multiparty agreement will allow

         for a common agreement for the affected system transmission provider to enter into with

         all affected system interconnection customers for the construction of affected system



         Initial Comments at 19-20.
                2337
                       Duke Southeast Utilities Initial Comments at 18.
                2338
                       Order No. 2003, 104 FERC ¶ 61,103 at P 11.
                2339
                       PPL Initial Comments at 20; SPP Initial Comments at 19-20.
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         network upgrades identified by the cluster study that are assigned to more than one

         affected system interconnection customer. Below, in discussing relevant article-specific

         comments, we discuss noteworthy, additional changes needed to convert the pro forma

         affected system facilities construction agreement from a two-party agreement to a

         multiparty agreement.

               As with the pro forma multiparty affected system study agreement, discussed

         above, the pro forma multiparty affected system facilities construction agreement that we

         adopt in this final rule closely follows the two-party agreement, with changes needed to

         convert to a multiparty agreement. In article 2.2.2 (Termination Upon Default), we

         establish that the default by one affected system interconnection customer does not allow

         the non-defaulting affected system interconnection customer(s) the right to terminate the

         agreement and that, instead, the defaulting party may be removed from the agreement by

         the affected system transmission provider. In article 3.1.2.1 (Right to Suspend), we

         maintain the affected system interconnection customer’s right to suspend but only upon

         the mutual agreement of all affected system interconnection customers that are party to

         the multiparty agreement. In article 5.3 (Notice of Breach, Cure, and Default), we

         establish multiparty cure procedures whereby the non-breaching parties may cure the

         other affected system interconnection customer’s breach.

               We decline to make changes to the proposed pro forma affected system facilities

         construction agreement and conforming changes to the pro forma LGIP, aligning with

         Xcel’s suggestion that the “affected system transmission provider” should be renamed an

         “affected system operator.” Instead, we clarify that the pro forma LGIP is written for a
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         specific transmission provider. When a transmission provider is fulfilling its obligations

         as a host transmission provider, the pro forma LGIP refers to the host transmission

         provider’s interaction with the “affected system operator.” However, when the pro forma

         LGIP references a transmission provider and its obligations as the operator of an affected

         system, we use the term “transmission provider,” as the pro forma LGIP is setting the

         requirements of the transmission provider, whether acting as the host or affected system

         transmission provider, and that is a different perspective from a host transmission

         provider’s interaction with a separate “affected system operator.”

                In response to Tri-State’s suggestion to revise proposed article 2 of the pro forma

         affected system facilities construction agreement to clarify that the execution of an LGIA

         does not convey transmission service, we decline to adopt this request, as it is

         unnecessary.2340 However, we accept Tri-State’s suggested revisions to article 3.1.1 of

         the pro forma affected system facilities construction agreement to clarify that the affected

         system transmission provider shall not undertake any actions inconsistent with its safety

         practices, material and equipment specifications, design criteria and construction

         procedures, labor agreements, or any applicable laws and regulations.



                2340
                    See Order No. 2003, 104 FERC ¶ 61,103 at P 118 (stating that “[t]he
         Commission continues to treat interconnection and delivery as separate aspects of
         transmission service, and an Interconnection Customer may request Interconnection
         Service separately from transmission service (delivery of the Generating Facility’s power
         output)”); Order No. 2003-A, 106 FERC ¶ 61,220 at P 113 (“reiterat[ing] that
         Interconnection Service is separate from the delivery component of Transmission Service
         and that the mere interconnection of the Generating Facility is unlikely to harm reliability
         on Affected Systems”).
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                We modify proposed articles 2.2.2 and 5.2 (now articles 2.2.2 and 5.3) of the pro

         forma affected system facilities construction agreement in response to comments from

         Southern and Tri-State regarding termination and cure. Proposed article 2.2.2 establishes

         that a non-breaching party has the right to terminate the pro forma affected system

         facilities construction agreement, provided that termination does not pose a reliability

         threat and that the breaching party has not undertaken efforts to cure the breach, pursuant

         to article 5.3 (Notice of Breach, Cure and Default). However, consistent with comments

         from Southern,2341 we agree that termination and default rights in the pro forma affected

         system facilities construction agreement should be consistent with the pro forma LGIA.

         Accordingly, as adopted, we modify articles 2.2.2 and 5.2 (now articles 2.2.2 and 5.3) of

         the pro forma affected system facilities construction agreement to make them consistent

         with the existing default provisions in article 17 of the pro forma LGIA (Default), which

         also establishes default and cure provisions in the event of a breach.

                We also modify proposed article 2.2.3 (Consequences of Termination) of the pro

         forma affected system facilities construction agreement in response to comments from

         Tri-State and Invenergy suggesting that it would require affected system interconnection

         customers to be responsible for the costs of additional facilities that are caused by another

         interconnection customer terminating its affected system facilities construction agreement

         or that interconnection customer’s LGIA.2342 Specifically, we remove the final sentence


                2341
                       Southern Initial Comments at 18.
                2342
                       Invenergy Initial Comments at 45; Tri-State Initial Comments at 20.
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         from proposed article 2.2.3 that an “affected system interconnection customer is

         responsible for the cost of additional facilities that is caused to another interconnection

         customer due to the termination of this Agreement, affected system interconnection

         customer’s LGIA, or any affected system interconnection customer’s other Affected

         System Facilities Construction Agreement(s).” We find that deletion of this sentence is

         needed because the affected system interconnection customer should not be responsible

         for any additional facilities that are assigned to another interconnection customer under

         these circumstances. As written, the provision implies that an affected system

         interconnection customer could be responsible for any network upgrade identified as a

         result of the agreement’s termination, even if the newly assigned network upgrade is on a

         different transmission provider’s transmission system than the transmission provider that

         is a signatory to the terminated agreement. Additionally, we note that the pro forma

         LGIA contains no similar requirement that upon termination of an LGIA that the

         interconnection customer is responsible for any additional costs assigned to another

         interconnection customer as a result of the LGIA’s termination and based on the

         comments received, the record does not support including the provision.

                MISO requests a cross-default provision between the pro forma affected system

         facilities construction agreement and the pro forma LGIA because MISO asserts that, if

         an affected system interconnection customer does not meet its obligations under its

         affected system facilities construction agreement, it is unclear how that would affect that
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         interconnection customer’s LGIA on its host transmission system.2343 In response, we

         clarify that a breach under the pro forma affected system facilities construction

         agreement does not constitute a breach under the pro forma LGIA. We are unpersuaded

         that cross-default provisions between the pro forma affected system facilities

         construction agreement and the pro forma LGIA are necessary because both the pro

         forma affected system facilities construction agreement and the pro forma LGIA

         individually already contain default provisions.

                In addition, we are concerned that a cross-default provision, which could result in

         the termination of an interconnection customer’s interconnection service based on actions

         under a separate agreement, could raise contractual complications because the host

         transmission provider will not be a party to the affected system facilities construction

         agreement. We note, however, that any affected system interconnection customer that

         defaults on its obligations under the pro forma affected system facilities construction

         agreement may face consequences, including, for example, curtailment. Additionally, we

         find that article 4.1 of the pro forma affected system facilities construction agreement

         already contains sufficient security provisions to protect a transmission provider in the

         situation that the affected system interconnection customer defaults on the agreement and

         which discourages non-payment by the interconnection customer.

                We modify proposed article 3.1.2.1 (Right to Suspend for Force Majeure Event)

         of the pro forma affected system facilities construction agreement in response to


                2343
                       MISO Initial Comments at 97.
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         comments that the proposed suspension provision is too restrictive and inconsistent with

         the suspension provision in the pro forma LGIA.2344 Specifically, we revise article

         3.1.2.1 to remove the limitation on the right to suspend to force majeure events and

         modify the suspension provision to allow an affected system interconnection customer to

         suspend work required under the affected system facilities construction agreement for up

         to three years.2345 We also modify article 3.1.2.1 to remove the requirement for the

         affected system interconnection customer, prior to suspension, to provide security to the

         affected system transmission provider of the higher of $5 million or the total cost of all

         affected system network upgrades listed in Appendix A of the agreement. We find the

         requirement unnecessary because, under article 4.1 (Provision of Security) of the pro

         forma affected system facilities construction agreement, the affected system

         interconnection customer would have already been required to provide security for the

         applicable portion of the affected system network upgrades. With these changes to article

         3.1.2.1, the suspension provision in the pro forma affected system facilities construction

         agreement will mirror the suspension provision in the pro forma LGIA.2346

                Additionally, we revise proposed article 3.1.2.3 (Right to Suspend Due to Default)

         of the pro forma affected system facilities construction agreement, which provides for the


                2344
                       Pro forma LGIA art. 5.16.
                2345
                     We also make various conforming revisions throughout proposed article
         3.1.2.1 of the pro forma affected system facilities construction agreement, consistent with
         this modification to the suspension provision.
                2346
                       Pro forma LGIA art. 5.16.
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         right to suspend due to default. The revisions we adopt to this provision clarify that if an

         affected system interconnection customer defaults, the affected system interconnection

         customer will be responsible for any additional expenses incurred by the affected system

         transmission provider associated with the construction and installation of the affected

         system network upgrades, as set forth in article 2.2.3 (Consequences of Termination).

         We find that the revisions will align the language in the pro forma affected system

         facilities construction agreement with similar language in the pro forma LGIP, as

         suggested by PacifiCorp.2347 However, we reject the proposed revisions suggested by

         Tri-State to article 3.1.2.3 because they would alter the right to suspend to allow an

         affected system transmission provider the right to suspend in the event of a breach, rather

         than in the event of a default. Tri-State’s suggested changes to article 3.1.2.3 would

         contradict other provisions in the pro forma LGIA and the pro forma affected system

         facilities construction agreement, which allow for the breaching party to cure a breach as

         is appropriate.

                We adopt article 3.2.2.1 (Repayment) of the pro forma affected system facilities

         construction agreement as proposed, which is consistent with existing Commission

         precedent.2348


                2347
                       PacifiCorp Initial Comments, attach. A, at 54.
                2348
                    Order No. 2003, 104 FERC ¶ 61,103 at PP 693-696, 720-739; Order No.
         2003-A, 106 FERC ¶ 61,220 at PP 584-586 (stating that the transmission system is a
         cohesive, integrated network that operates as a single piece of equipment, and that
         network facilities benefit all transmission customers; further, even if a customer can be
         said to have caused the addition of a grid facility, such addition represents a system
         expansion used by and benefiting all users due to the integrated nature of the grid); Order
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                Some commenters are concerned that affected systems repayment could force

         affected system transmission providers to subsidize interconnection to neighboring

         systems, stifle renewable generating facility development, or facilitate inefficient

         siting.2349 However, in the NOPR, the Commission did not propose to change the

         Commission’s affected system repayment policy; instead, the Commission simply

         proposed to memorialize the Commission’s existing policy in a pro forma agreement for

         affected systems.2350 As a result, we decline to address arguments on the merits of the

         Commission’s affected systems repayment policy in this final rule.

                With respect to the concerns raised by WAPA that it is unable to repay affected

         system interconnection customers due to limitations based on its federal status, we

         decline to rule on the specifics of individual transmission provider circumstances and

         instead find that such concerns are better raised in a compliance proceeding, including

         such a proceeding with a reciprocity tariff filing, if WAPA chooses to file one.

                In response to requests for clarification from Southern, we clarify that, consistent

         with the Commission’s findings in Order No. 2003, we are not changing our policy



         No. 2003-C, 111 FERC ¶ 61,401 at P 13; NARUC v. FERC, 475 F.3d 1277, 1285 (D.C.
         Cir. 2007) (affirming the Commission’s conclusions); W. Mass. Elec. Co. v. FERC, 165
         F.3d 922, 927 (D.C. Cir. 1999).
                2349
                   AECI Initial Comments at 9; Duke Southeast Utilities Initial Comments at 21-
         22, 26; EEI Initial Comments at 18-19; North Carolina Commission and Staff Initial
         Comments at 6; PPL Initial Comments at 21; Tri-State Initial Comments at 21-22; U.S.
         Chamber of Commerce Initial Comments at 11-12; Xcel Initial Comments at 40.
                2350
                   See Order No. 2003, 104 FERC ¶ 61,103 at PP 738-739; see also pro forma
         LGIA art. 11.4.
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         requiring the interconnection customer, at its expense, to install, operate, and maintain

         system protection facilities as a part of its generating facility or its interconnection

         facilities.2351 Also in response to Southern and consistent with the Commission’s

         findings in Order No. 2003, transmission providers may make a filing to the Commission

         proposing an incremental rate to the affected system interconnection customer, as more

         fully described in Order Nos. 2003-A and 2003-B,2352 if native load and existing

         transmission customers are not being held harmless, though we reiterate that the

         transmission provider bears the full burden of showing that any such proposal is just,

         reasonable, and not unduly discriminatory or preferential and is appropriate under the

         circumstances.2353

                We adopt Tri-State’s suggested revisions to proposed article 3.2.2.1 of the pro

         forma affected system facilities construction agreement regarding the terms for

         repayment of affected system network upgrades. Consistent with existing pro forma

         LGIA provisions,2354 the parties may mutually agree to a repayment schedule for all

         applicable costs associated with affected system network upgrades, with complete




                2351
                       Pro forma LGIA art. 9.7.4.1; see also Order No. 845, 163 FERC ¶ 61,043 at P
         371.
                2352
                  Order No. 2003-A, 106 FERC ¶ 61,220 at P 586; Order No. 2003-B, 109
         FERC ¶ 61,287 at P 56.
                2353
                       Order No. 2003-B, 109 FERC ¶ 61,287 at P 56.
                2354
                       Pro forma LGIA art. 11.4.1.
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         repayment not to exceed 20 years from the commercial operation date of the affected

         system interconnection customer’s generating facility.

                We decline to adopt additions to proposed article 4.1 (Provision of Security) of the

         pro forma affected system facilities construction agreement suggested by PacifiCorp that

         would add additional security posting requirements, to the extent that costs to construct

         affected system network upgrades increase.2355 Proposed article 4.1 is consistent with

         security provisions outlined in pro forma LGIA article 11.5 (Provision of Security), and

         we find that such provisions should be consistent across both the pro forma affected

         system facilities construction agreement and the pro forma LGIA. We also find that the

         security provision requirements are already sufficiently clear in article 4.1 of the pro

         forma affected system facilities construction agreement. Specifically, article 4.1 of the

         pro forma affected system facilities construction agreement provides that “security for

         payment shall be in an amount sufficient to cover the costs for constructing, procuring

         and installing the applicable portion of Affected System Network Upgrades.”

                In response to comments from PPL asserting that affected system interconnection

         customers should be responsible for meeting the affected system transmission provider’s

         creditworthiness requirements,2356 because the pro forma affected system facilities

         construction agreement is an agreement between the affected system transmission

         provider and the affected system interconnection customer, we clarify that affected


                2355
                       PacifiCorp Initial Comments at 37.
                2356
                       PPL Initial Comments at 20.
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         system interconnection customers are obligated to meet the affected system transmission

         provider’s creditworthiness and security requirements. We note that this is consistent

         with the parallel requirement for interconnection customers to meet the creditworthiness

         and security requirements of the host transmission provider outlined in pro forma LGIA

         article 11.5.1.

                We revise proposed article 5.1(b) of the pro forma affected system facilities

         construction agreement, consistent with PacifiCorp’s suggestion, to remove the

         requirement that a party will be in breach for failure to comply with a material term or

         condition of the agreement due to an inaccuracy in a representation, warranty, or

         covenant made in the agreement resulting in a breach under the agreement. We find that

         there is no reason why an inaccuracy should lead to a potential breach, or even a default,

         under the agreement. We note that the pro forma LGIA contains no similar provision.

                We revise proposed article 5.2.1, now article 5.3.1, of the pro forma affected

         system facilities construction agreement to extend the cure period for a breach from 30

         calendar days to 60 calendar days and proposed article 5.2.2, now article 5.3.2, of the pro

         forma affected system facilities construction agreement to remove the additional cure

         period if the breach remains despite the occurrence of good faith steps. We find that the

         revision will simplify the cure requirements while providing breaching party with an

         extra 30 calendar days at the onset to cure its breach. We also revise article 5.3.2 to

         include a reference that if the breaching party defaults, then the non-defaulting party may

         terminate the agreement in accordance with article 6.2 (Termination) of the agreement.

         We further clarify article 5 of both the pro forma affected system facilities construction
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         agreement and the pro forma multiparty affected system facilities construction agreement

         that a failure to cure a breach of either agreement will also constitute a default.

                We decline to delete proposed article 6.4 (Survival of Rights) of the pro forma

         affected system facilities construction agreement, as suggested by Tri-State. Although

         Tri-State asserts that proposed article 6.4 should be deleted because it is duplicative of

         proposed article 2.4 (Survival),2357 we find that the contents are sufficiently different to

         merit their separate inclusion. Specifically, article 2.4 provides for the survival of the pro

         forma affected system facilities construction agreement until all liabilities incurred prior

         to termination are fulfilled, whereas article 6.4 clarifies the scope of the rights of parties

         following termination to provide for final billing, enforcement of liabilities and

         confidentiality obligations, and for potential judicial or administrative action.

                In response to comments from Southern regarding updates to the confidentiality

         provisions contained in proposed article 8 (Confidentiality) of the pro forma affected

         system facilities construction agreement,2358 we find that, because we are not proposing

         to revise the confidentiality provision set forth in the pro forma LGIA—instead, we are

         merely adopting it into the pro forma affected system facilities construction agreement—

         article 8, as adopted, is just and reasonable. Contrary to Southern’s comments, the

         confidentiality provisions in article 8.1.7 of the pro forma affected system facilities

         construction agreement allow for confidential information to be destroyed, erased,


                2357
                       Tri-State Initial Comments at 34.
                2358
                       Southern Initial Comments at 19.
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         deleted or, as applicable, returned, not for such information to exclusively be “destroyed

         or returned.”2359 Thus, such language reflects the fact that most electronic information is

         stored in backup servers. Moreover, in response to Southern’s concern that deleting

         information stored on backup servers is administratively difficult, we find that Southern

         has not provided any evidence or explained why this might be so.

                In response to MISO’s contention that there is no need to list a commercial

         operation date for affected system network upgrades in Appendix A of the pro forma

         affected system facilities construction agreement,2360 we agree and modify Appendix A,

         now Attachment A, to remove the commercial operation date from tables 1 and 3.

         However, we note that parties may find it useful to memorialize the commercial

         operation date for the affected system interconnection customer’s generating facility

         because, under article 2.2.1 of the pro forma affected system facilities construction

         agreement, the parties to the agreement may alter the affected system facilities

         construction agreement by mutual consent if the in-service state date for the affected

         system network upgrades or the commercial operation date for the generating facility

         changes. To the extent MISO is concerned that there could be different commercial

         operation dates listed for affected system network upgrades in the LGIA and the affected

         system facilities construction agreement, the host transmission provider must update the

         commercial operation date for affected system network upgrades in the affected system


                2359
                       Id.
                2360
                       MISO Initial Comments at 97.
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         interconnection customer’s LGIA with the host system, to avoid discrepancies between

         the affected system facilities construction agreement and the LGIA.

                Finally, in response to comments from Eversource and ISO-NE,2361 we clarify that

         these pro forma affected system agreements are distinct from intra-RTO/ISO agreements,

         like ISO-NE’s RFA, which RTOs/ISOs may use to coordinate the construction of

         necessary network upgrades within multiple transmission owner service territories within

         the same RTO/ISO.2362

                                d.      Affected System Modeling and Study Assumptions

                                        i.   NOPR Proposal

                As the Commission explained in the NOPR, when an interconnection customer

         submits an interconnection request, they must choose to be studied as ERIS or NRIS,

         depending on the level of deliverability they seek for the output of their generating

         facility. For interconnection customers seeking to deliver their generating facility’s

         electric output using the existing firm or non-firm capacity of the transmission provider’s

         system on an as-available basis, the interconnection customer will choose an ERIS study.

         An interconnection customer will choose an NRIS study when seeking to integrate their

         generating facility with the transmission provider’s system (1) in a manner comparable to

         that in which the transmission provider integrates its generating facilities to serve native

         load customers or (2) in an RTO/ISO with market-based congestion management, in the


                2361
                       Eversource Initial Comments at 32; ISO-NE Initial Comments at 38.
                2362
                       Eversource Initial Comments at 31-32.
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         same manner as network resources.2363 An NRIS study goes beyond the prerequisite

         ERIS study and uses stricter modeling standards2364 to assess an interconnection request

         to ensure that the interconnection customer’s electric output is deliverable to load in

         aggregate on the host transmission provider’s system.2365 Such a deliverability analysis

         varies regionally but can analyze anything from various stressed dispatch scenarios to an




                2363
                    “Network Resource shall mean any designated generating resource owned,
         purchased, or leased by a Network Customer under the Network Integration Transmission
         Service Tariff. Network Resources do not include any resource, or any portion thereof,
         that is committed for sale to third parties or otherwise cannot be called upon to meet the
         Network Customer’s Network Load on a non-interruptible basis.” Pro forma LGIP
         section 1; pro forma LGIA art. 1.
                2364
                     NOPR, 179 FERC ¶ 61,194 at P 210. The term “modeling standard” refers to
         the distribution factor threshold on a transmission element used by transmission
         providers, such that beyond this threshold an interconnection request will require network
         upgrades. For example, in SPP, if a transmission element is found to be overloaded in an
         interconnection study, and an NRIS interconnection request has over a 3% distribution
         factor on that element (3% being SPP’s distribution factor threshold for NRIS requests),
         the requesting entity will be assigned network upgrades. SPP uses a 19.5% distribution
         factor threshold for ERIS requests. See EDF Renewable Energy, Inc. v. Midcontinent
         Indep. Sys. Operator, Inc., 168 FERC ¶ 61,173 at P 17. A lower threshold indicates a
         stricter modeling standard because a smaller impact triggers network upgrades.
         Additionally, when conducting an affected system analysis, although some RTOs/ISOs
         (PJM and SPP, for example) use a modeling standard associated with the same level of
         service as requested on the host transmission provider’s transmission system, the output
         of proposed generating facilities is always sunk into the host transmission provider’s
         transmission system by reducing the output of other generating facilities on that system.
         Id. P 85.
                2365
                     See Order No. 2003, 104 FERC ¶ 61,103 at P 768; Order No. 2003-A, 106
         FERC ¶ 61,220 at P 500. Specifically, a transmission provider studying generating
         facility for NRIS would study the transmission system at peak load, under a variety of
         severely stressed conditions to determine whether, with the generating facility operating
         at full output, the aggregate of generation in the local area can be delivered to the
         aggregate of load, consistent with reliability criteria and procedures.
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         additional set of contingencies. As such, an NRIS study will likely identify more

         network upgrades to accommodate the interconnection of a generating facility than an

         ERIS study because NRIS provides a higher level of interconnection service than ERIS.

               As the Commission also explained in the NOPR, when a host transmission

         provider notifies an affected system operator of a possible impact on its system from an

         interconnection request in the host’s queue, it must specify whether the interconnection

         customer requested ERIS or NRIS. Currently, there is no requirement for affected

         system transmission providers to apply either ERIS or NRIS modeling standards to study

         interconnection requests made on neighboring systems. For example, MISO uses ERIS

         studies for all affected system interconnection requests, while PJM and SPP use the

         modeling standard associated with the level of service requested on the host system.

         (They study ERIS requests as ERIS and NRIS requests as NRIS.)2366

               In the NOPR, the Commission preliminarily found that it was unjust and

         unreasonable for an affected system transmission provider to study interconnection

         requests on other transmission systems using NRIS modeling standards, regardless of the

         level of service requested on the host transmission system. The Commission noted that,

         unlike the host transmission provider with which the affected system interconnection

         customer will directly interconnect, an affected system transmission provider does not

         have a continuing obligation to operate its system so that NRIS resources will remain



               2366
                 EDF Renewable Energy, Inc. v. Midcontinent Indep. Sys. Operator, Inc.,
         168 FERC ¶ 61,173 at PP 75-76.
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         deliverable on the host system. Without such an obligation, the Commission stated that

         an affected system interconnection customer may be required to construct significant

         network upgrades on the transmission provider’s affected system, but not be fully

         deliverable due to curtailment or congestion on the affected system. The Commission

         was concerned that this could result in unjust and unreasonable rates by increasing the

         costs for the interconnection customer without a commensurate increase in service.

                The Commission proposed to require, under new pro forma LGIP section 9.6,2367

         the affected system transmission provider to study interconnection requests using ERIS

         modeling standards, regardless of the requested level of service on the host transmission

         provider’s transmission system.2368

                The Commission also explained that if an affected system transmission provider

         believed that it was necessary to study an interconnection request that is requesting

         NRIS-level service using NRIS modeling standards, such a transmission provider could

         make a filing under FPA section 205. The Commission explained that it would evaluate

         such case-by-case FPA section 205 filings to determine whether they were just,

         reasonable, and not unduly discriminatory or preferential.2369 The Commission noted that

         an affected system transmission provider making this type of filing should provide




                2367
                    We note that under the NOPR proposal, this reform was in pro forma LGIP
         section 9.6; however, under the final rule, the reform is in pro forma LGIP section 9.7.
                2368
                       NOPR, 179 FERC ¶ 61,194 at P 211.
                2369
                       16 U.S.C. 824d.
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         evidence indicating that using NRIS modeling standards in such a scenario would not

         treat similarly situated customers differently or afford similar treatment to dissimilar

         customers. In addition, this FPA section 205 filing could contain, for example, such

         supporting documentation as a reference to a NERC Reliability Standard violation, an

         operational concern such as over-duty breakers, fault current violations, impacts on

         transmission stability, increased loop flows, or other concerns that implicate any other

         critical reliability parameters.

                The Commission stated that a modeling standard would create consistency in the

         modeling standards used across all transmission regions.2370 The Commission also stated

         that ERIS modeling standards generally reduce the number and cost of network upgrades

         identified and, by using ERIS modeling standards, interconnection customers would be

         subject to fewer late-stage cost increases, which would reduce the number of potential

         restudies and withdrawals thereby addressing the concerns that the Commission has

         preliminarily found to result in unjust, unreasonable, and unduly discriminatory or

         preferential Commission-jurisdictional rates. The Commission acknowledged that using

         a less stringent modeling standard may result in more frequent redispatch or curtailment

         by not fully capturing all the potential impacts of the interconnection generating

         facility(ies) on an affected system.2371 Nevertheless, the Commission stated that it


                2370
                    The Commission noted that, while this proposal would standardize the use of
         ERIS for affected system studies, individual transmission providers use different specific
         thresholds for ERIS studies. NOPR, 179 FERC ¶ 61,194 at P 212 n.292.
                2371
                       Id. P 213.
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         believed that these risks were limited in nature and any significant impact would be

         captured by an ERIS study, which would ensure that a proposed generating facility can

         safely connect the affected system under the expectation it will deliver its electric output

         using the existing firm or non-firm capacity of the affected system transmission

         provider’s system on an as-available basis.

                The Commission sought comment on: (1) how to align the possibility for such

         case-by-case FPA section 205 filings with the required timeline for the affected system

         study and other deadlines proposed in the NOPR; (2) whether the proposed reform will

         adversely affect reliability for the affected system transmission provider or the host

         transmission provider; (3) the potential impact of requiring affected system transmission

         providers to use ERIS modeling standards when an interconnection customer seeks NRIS

         on the host transmission provider’s system; and (4) whether there are modifications to

         this proposal that would reduce the likelihood of curtailment or redispatch on the affected

         system transmission provider’s system without requiring the affected system

         interconnection customer to pay network upgrade costs that are not commensurate with

         the level of service it receives.2372




                2372
                       Id. PP 211, 213, 215.
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                                       ii.   Comments

                                             (a)    Comments in Support

                Numerous commenters support the NOPR proposal.2373 ELCON suggests that

         standardization of affected system modeling and assumptions furthers certainty and

         accountability, resulting in a more transparent, efficient, and cost-effective

         interconnection process.2374 Some commenters argue that the NOPR proposal will reduce

         the identification and assignment of unnecessary affected system network upgrades under

         NRIS studies.2375 MISO and Shell contend that ERIS modeling will adequately cover

         reliability for affected systems and that they have no significant concerns regarding

         unnecessary curtailment or redispatch on affected systems associated with ERIS

         modeling.2376 Additionally, commenters contend that there is no need to use NRIS

         modeling standards when the affected system interconnection customer requests NRIS-

         level service on the host system because the generating facility’s output will not be

         delivered to the affected system, and the NRIS standard serves the exclusive purpose of



                2373
                    ACE-NY Initial Comments at 9; AES Initial Comments at 21; Alliant Energy
         Initial Comments at 7; Clean Energy Associations Initial Comments at 48; Clean Energy
         Associations Reply Comments at 12; ELCON Initial Comments at 8; Enel Initial
         Comments at 67-68; Fervo Energy Initial Comments at 6; Invenergy Initial Comments at
         44; MISO Initial Comments at 98; NextEra Initial Comments at 34; OMS Initial
         Comments at 17; Pattern Energy Initial Comments at 26; Pine Gate Initial Comments at
         42; Shell Initial Comments at 31-32; UMPA Initial Comments at 6.
                2374
                       ELCON Initial Comments at 8.
                2375
                       Fervo Energy Initial Comments at 6; UMPA Initial Comments at 6.
                2376
                       MISO Initial Comments at 98; Shell Initial Comments at 33.
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         allowing interconnection customers to be designated as a network resource on the host

         system.2377 Some commenters claim that the NOPR proposal will reduce the time

         required to conduct affected system study and construction processes, as well as the

         likelihood of withdrawals once the affected system necessary upgrades are identified.2378

                                             (b)     Comments in Opposition

                Some commenters oppose the NOPR proposal.2379 AECI claims that, without

         increasing the granularity of the redispatch and curtailment process in real time to better

         understand the actual impact an affected system interconnection customer has on the

         affected system from a distribution factor standpoint, the NOPR proposal would produce

         disproportionate burdens by reducing otherwise economical and reliable generating

         facilities to accommodate resources that are outside an affected system transmission

         provider’s control.2380 Idaho Power asserts that the NOPR proposal may not sufficiently




                2377
                   Fervo Energy Initial Comments at 6; Interwest Reply Comments at 18;
         Invenergy Initial Comments at 44; NextEra Initial Comments at 34; NextEra Reply
         Comments at 6; OMS Initial Comments at 17.
                2378
                    OMS Initial Comments at 17; Pine Gate Initial Comments at 42; Public
         Interest Organizations Initial Comments at 51.
                2379
                   AECI Initial Comments at 7; AEP Initial Comments at 34; Ameren Initial
         Comments at 23-24; Duke Southeast Utilities Initial Comments at 28; EEI Initial
         Comments at 19; Illinois Commission Initial Comments at 9; LADWP Initial Comments
         at 5; NRECA Initial Comments at 39; Southern Initial Comments at 4, 16; SPP Initial
         Comments at 20.
                2380
                       AECI Initial Comments at 7.
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         capture network upgrades that are jointly owned by multiple entities.2381 Specifically,

         Idaho Power states that the host transmission provider “may not be the entity responsible

         for designing and constructing network upgrades and interconnection facilities; therefore,

         the affected party ERIS study may not provide sufficient details to be meaningful.”2382

                Several commenters claim that the ERIS modeling requirement for affected

         systems will negatively impact reliability.2383 AECI argues that incentivizing ERIS-only

         studies would fundamentally affect reliability by failing to address systemic de minimis

         issues that become material in the aggregate.2384 Some commenters contend that, under

         the NOPR proposal, reliability issues will not arise until the operational time horizon,

         which could, as an example, result in an increase in transmission loading relief events and

         redispatch of network resources and native load.2385 LADWP asserts that the dispatching

         assumptions of an interconnection request can make a significant difference to flow

         patterns in the host system, and parallel paths will inherently absorb the unscheduled flow

         intended for the host system.2386 LADWP contends that, as the number of



                2381
                       Idaho Power Initial Comments at 12.
                2382
                       Id.
                2383
                   AECI Initial Comments at 7; Illinois Commission Initial Comments at 9;
         Southern Initial Comments at 16-17.
                2384
                       AECI Initial Comments at 7.
                2385
                 Ameren Initial Comments at 24; LADWP Initial Comments at 5; PJM Reply
         Comments at 10; Southern Initial Comments at 16-17.
                2386
                       LADWP Initial Comments at 5.
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         interconnection requests continues to grow, these unscheduled flows will continue to

         increase and begin to affect systems downstream of the affected system, rather than just

         the local transmission system that the ERIS modeling standard is designed to evaluate.

         LADWP claims that the NOPR proposal would result in approval of generating facilities

         without identification of sufficient network upgrades to accommodate requested

         interconnection service, and affected system transmission providers would be responsible

         for maintaining reliability by developing operating procedures, capital projects, or

         performing curtailments from the additional stress of energy that is not being delivered to

         the affected system.

                AEP, SPP, and Xcel express concern that the proposed ERIS modeling standard

         may harm firm transmission service on the affected system.2387 AEP, NRECA, and Xcel

         argue that affected system transmission providers should be able to use NRIS in affected

         system studies if the affected system interconnection customer is requesting NRIS-level

         service on the host transmission system to ensure the required level of deliverability.2388

         AEP states that, in the case that the interconnection customer is requesting to interconnect

         to a different RTO/ISO or is in a non-RTO/ISO, then an ERIS-only modeling standard

         could result in the failure to construct affected system network upgrades to mitigate




                2387
                 AEP Initial Comments at 34; SPP Initial Comments at 20; Xcel Initial
         Comments at 43.
                2388
                 AEP Initial Comments at 34; NRECA Initial Comments at 39; SPP Initial
         Comments at 20-21; Xcel Initial Comments at 43.
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         congestion and/or loop flow once the new generating facility commences operation,

         impacting loads that secured and paid for firm transmission service and/or NRIS. 2389

                SPP is concerned that, if an affected system interconnection customer requests

         NRIS-level service on the host transmission system that grants deliverability rights

         without additional study procedures, an affected system may be exposed to impacts that it

         has not had an opportunity to evaluate under an ERIS modeling standard.2390 As an

         example, SPP explains that SPP and MISO treat what constitutes firm transmission

         service differently, but SPP’s current ability to conduct affected system studies under

         NRIS when the interconnection customer has requested NRIS on the host system allows

         for that difference. In response to SPP’s concerns, NextEra argues that this issue appears

         to be a problem of SPP’s own making based on how SPP implemented ERIS and NRIS

         on its own system and ignores that affected system interconnection customers are not

         seeking deliverability or to be deemed firm on SPP’s transmission system through any

         sort of transmission service from SPP.2391

                Some commenters note that the proposal may not work in all scenarios.2392 For

         instance, Clean Energy Associations state that this proposal may not be appropriate for




                2389
                       AEP Initial Comments at 34.
                2390
                       SPP Initial Comments at 20-21.
                2391
                       NextEra Reply Comments at 6-7.
                2392
                   AEP Initial Comments at 34; Clean Energy Associations Initial Comments at
         48; SPP Initial Comments at 21-22; Xcel Initial Comments at 43.
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         non-RTO/ISO regions, if these impacts are not addressed through a coordinated

         transmission service study.2393 Xcel believes that the use of ERIS modeling standards for

         affected system studies may be appropriate under a joint operating agreement or in areas

         where the impact may be evaluated and mitigated in the transmission service study

         process, but in other areas, if the impact will not be evaluated in the transmission service

         study process, it is appropriate for an affected system transmission provider to model the

         neighbor’s NRIS requests based on the expected delivery point.2394

                                             (c)    Comments on Specific Proposal

                Some commenters ask the Commission to make changes to the NOPR proposal to

         mitigate the negative impacts they discuss in their comments. For example, some

         commenters recommend that, in addition to the ERIS modeling standard, the

         Commission should establish (or allow affected system transmission providers to

         establish) a distribution factor or impact threshold for affected system studies to ensure

         that affected system interconnection customers are not assigned unnecessary affected

         system network upgrades.2395 NextEra recommends that the use of ERIS be included in

         the pro forma affected system study agreement to require any affected system




                2393
                       Clean Energy Associations Initial Comments at 48.
                2394
                       Xcel Initial Comments at 43-44.
                2395
                    AES Initial Comments at 8, 21; Clean Energy Associations Initial Comments
         at 48; Enel Initial Comments at 68; Pine Gate Initial Comments at 42; SEIA Initial
         Comments at 35.
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         transmission provider proposing to use NRIS rather than ERIS to file such agreement

         with the Commission on a non-conforming basis.2396

                Enel states that a critical interconnection issue not addressed in the NOPR is the

         lack of clarification of ERIS and NRIS-level service and how the different assumptions

         used by transmission providers significantly alter results.2397 Enel explains that the wide

         variety of views on what rights interconnection service grants to an interconnection

         customer leads to confusion in the development of study practices and requirements, as

         well as the services and products a generating facility can provide. Enel requests that, in

         a final rule or a supplemental notice, the Commission should provide concrete direction

         regarding how these service types should be studied and what outcome an

         interconnection customer should receive for making the necessary transmission system

         improvements to obtain that interconnection service. NV Energy requests that affected

         system transmission providers and host transmission providers coordinate assumptions

         for affected system studies and update those assumptions quarterly after the affected

         system study has been issued to provide meaningful changes.2398




                2396
                       NextEra Initial Comments at 34.
                2397
                       Enel Initial Comments at 26-27.
                2398
                       NV Energy Initial Comments at 12.
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                  Some commenters note that a final rule should provide host transmission providers

         with flexibility to work with their neighboring regions to address modeling consistencies

         in transmission system representations across regions.2399

                  Some commenters specifically support allowing transmission providers to use

         NRIS modeling standards for affected system studies pursuant to separate FPA section

         205 filings, as proposed in the NOPR.2400 Duke Southeast Utilities assert that the

         Commission should remove any negative repercussions, including any financial penalties

         or liability for breaching deadlines of the study process, for affected system transmission

         providers that seek to make such FPA section 205 filings.2401

                  Several commenters argue that affected system transmission providers should be

         able to use NRIS when conducting affected system studies without requiring the NOPR’s

         proposed FPA section 205 filing.2402 A few commenters argue that the requirement to

         make an FPA section 205 filing to use NRIS modeling standards will create delays and is

         overly burdensome on affected system transmission providers.2403 SPP claims that, as



                  2399
                         Duke Southeast Utilities Initial Comments at 27-28; NYISO Initial Comments
         at 46.
                  2400
                   AES Initial Comments at 21; Clean Energy Associations Initial Comments at
         48; Fervo Energy Initial Comments at 6.
                  2401
                         Duke Southeast Utilities Initial Comments at 27-28.
                  2402
                    Id. at 28; AECI Initial Comments at 7; AEP Initial Comments at 34; Ameren
         Initial Comments at 23-24; EEI Initial Comments at 19; Illinois Commission Initial
         Comments at 9; LADWP Initial Comments at 5; NRECA Initial Comments at 39;
         Southern Initial Comments at 4, 16; SPP Initial Comments at 20.
                  2403
                         AECI Initial Comments at 7; AEP Initial Comments at 34; Duke Southeast
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         proposed in the NOPR, an FPA section 205 filing to use NRIS modeling assumptions

         would require supporting documentation amounting to evidence that the affected system

         transmission provider could only obtain if it conducted a study using the standards of the

         heightened level of service, which it could not do absent the Commission’s grant of a

         waiver to require such a study.2404 Invenergy argues that the option for an FPA section

         205 request to conduct an affected system study using NRIS criteria invites case-by-case

         disputes over modeling criteria, potentially delaying the affected system study process.

         Therefore, Invenergy argues that the Commission should clarify that any such filing must

         be limited to only the facts of an individual interconnection request.2405

                Xcel states that the Commission should: (1) remove the ERIS option in RTO/ISO

         markets and require all generating facilities in such markets to be deliverable; (2) curtail

         generating facilities that did not pay for long-term firm transmission service; or (3)

         convene a technical conference on this topic in this docket.2406 Xcel explains that ERIS-

         only generating facilities in RTO/ISO markets may place a bid to sell into the market, and

         the ERIS-only generating facilities will be dispatched to the extent a bid clears, while in

         other areas, the ERIS-only generating facilities must acquire transmission service to be



         Utilities Initial Comments at 27; EEI Initial Comments at 19; LADWP Initial Comments
         at 5; MISO Initial Comments at 98; Southern Initial Comments at 16; SPP Initial
         Comments at 20.
                2404
                       SPP Initial Comments at 20.
                2405
                       Invenergy Initial Comments at 44-45.
                2406
                       Xcel Initial Comments at 16, 41-42.
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         delivered.2407 Xcel concludes that ERIS service in RTO/ISO markets results in unjust

         and unreasonable rates and discriminatory treatment because ERIS-level generating

         facilities do not bear the costs necessary to ensure that they are deliverable to load. Xcel

         claims that: (1) the affected system transmission provider should not have to assume it

         will redispatch its own network resources to accommodate an affected system

         interconnection customer taking NRIS-level service; (2) the affected system’s network

         resources paid for and expect to receive firm transmission service; and (3) there is no

         process for a host transmission provider to require an affected system transmission

         provider to redispatch its transmission system to accommodate a generating facility on

         the host system under the pro forma tariff.2408

                NRECA asserts that the final rule should allow a “transmission customer” to

         propose a different standard through an FPA section 206 complaint.2409 NextEra and

         MISO suggest that, to avoid delays in the interconnection process, any affected system

         transmission provider submitting an FPA section 205 filing to use NRIS modeling in an

         affected system study should proceed with the affected system study, using both the ERIS

         and NRIS standards, and then the appropriate results could be used based on the outcome

         of the FPA section 205 proceeding.2410 MISO also encourages the Commission to


                2407
                       Id. at 15.
                2408
                       Id. at 43.
                2409
                       NRECA Initial Comments at 40.
                2410
                       MISO Initial Comments at 98; NextEra Initial Comments at 34.
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         recognize that this FPA section 205 filing process will add length and delay to the

         affected system study process, which further compounds and demonstrates the problems

         with the Commission’s automatic penalty proposal.2411

                                      iii.   Commission Determination

                We adopt the NOPR proposal, with modification, to add section 9.7 to the pro

         forma LGIP to require affected system transmission providers to study all affected system

         interconnection requests using ERIS modeling standards.2412 We decline to adopt the

         NOPR proposal to expressly acknowledge in pro forma LGIP section 9.7 that an affected

         system transmission provider may submit an FPA section 205 filing to request to study an

         affected system interconnection customer using NRIS on a case-by-case basis.

                We find that the use of ERIS in affected system studies is just and reasonable,

         given that the affected system transmission provider has no obligation to continually

         ensure deliverability for an affected system interconnection customer that has obtained

         NRIS on its host system. An NRIS study goes beyond the prerequisite ERIS study and

         uses stricter modeling standards to assess an interconnection request to ensure that the

         interconnection customer’s electric output is deliverable to load in aggregate on the host



                2411
                       MISO Initial Comments at 98.
                2412
                   In relevant part, pro forma LGIP section 9.7 states: “Transmission Provider
         must study an Affected System Interconnection Customer using the Energy Resource
         Interconnection Service modeling standard used for Interconnection Requests on its own
         Transmission System, regardless of the level of interconnection service that Affected
         System Interconnection Customer is seeking from the host transmission provider with
         whom it seeks to interconnect.”
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         transmission provider’s transmission system.2413 We find that the use of ERIS for

         affected system studies is consistent with Order No. 2003 because interconnection is

         separate from the deliverability component of transmission service.2414

                We also find that this requirement is likely to prevent an affected system

         interconnection customer from being required to construct significant network upgrades

         on the transmission provider’s affected system, but not being deliverable due to

         curtailment or congestion on the affected system. Without this reform, rates would

         continue to be unjust and unreasonable because an affected system interconnection

         customer would face increased costs without a commensurate increase in service, as

         explained in the NOPR. This mismatch between costs and services received would occur

         because the affected system transmission provider has no obligation to ensure that the

         output from the affected system interconnection customer’s generating facility is

         deliverable on the affected system and could lead to curtailment of the generating facility,

         or there could be congestion on the affected system preventing deliverability of the

         generating facility’s output.




                2413
                     See Order No. 2003, 104 FERC ¶ 61,103 at P 768; Order No. 2003-A, 106
         FERC ¶ 61,220 at P 500. Specifically, a transmission provider studying a generating
         facility for NRIS would study the transmission system at peak load, under a variety of
         severely stressed conditions to determine whether, with the generating facility operating
         at full output, the aggregate of generation in the local area can be delivered to the
         aggregate of load, consistent with reliability criteria and procedures.
                2414
                    Order No. 2003, 104 FERC ¶ 61,103 at P 118; Order No. 2003-A, 106 FERC ¶
         61,220 at P 113.
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                We also find that, if the affected system transmission provider were able to study

         affected system interconnection customers under an NRIS standard, it could require

         affected system interconnection customers to pay significant upfront costs in order to

         construct the required affected system network upgrades, which could lead to late-stage

         interconnection request withdrawals as interconnection customers will not receive

         affected system study results until late in the interconnection process. An ERIS standard

         ensures that the assigned affected system network upgrade costs will likely be lower and

         that affected system interconnection customers assigned affected system network

         upgrades will be less likely to withdraw at a late stage. This standard will help prevent

         the cascading restudies that commenters have observed2415 and will ensure that the

         interconnection process operates more efficiently.

                We also find that the use of ERIS in affected system study processes across all

         transmission provider regions will create consistency and provide transparency for

         affected system interconnection customers. Currently, similarly situated interconnection

         customers requesting NRIS on their host transmission systems could have disparate

         impacts on affected systems that use different modeling standards, and these

         interconnection customers could be assigned dramatically different affected system

         network upgrade costs due to those varying modeling standards, without any factual or

         service differences to justify the discriminatory treatment. Thus, the consistent

         application of ERIS in affected system studies across all transmission providers’ study


                2415
                       OMS Initial Comments at 17; Pine Gate Initial Comments at 42.
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         processes will ensure that all affected system interconnection customers are studied

         similarly.2416 As such, we agree with commenters that the use of ERIS on all affected

         system interconnection requests will increase certainty and transparency.2417

                We find outside the scope of this final rule Xcel’s request that the Commission

         require all generating facilities in RTO/ISO markets to be deliverable and its claim that

         ERIS-level generating facilities do not bear the costs necessary to ensure that they are

         deliverable to load.2418 We are not proposing in this final rule to alter how an

         interconnection customer in an RTO/ISO requests its type of interconnection service on

         the host system (i.e., ERIS or NRIS); rather, we are standardizing how an affected system

         transmission provider studies an affected system interconnection request.

                Regarding AECI’s claim that the NOPR proposal would produce disproportionate

         burdens by necessitating curtailment from economical and reliable generating facilities to

         accommodate generating facilities on a different transmission system unless overall

         granularity of the redispatch and curtailment process is increased in real time, we find no

         evidence of this concern, from AECI or otherwise.2419 Rather, AECI appears concerned




                2416
                    Order No. 2003, 104 FERC ¶ 61,103 at P 11 (stating that a standard set of
         interconnection procedures will, among other things, expedite the development of new
         generation, while protecting reliability and ensuring that rates are just and reasonable).
                2417
                    ELCON Initial Comments at 8; Fervo Energy Initial Comments at 6; UMPA
         Initial Comments at 6.
                2418
                       Xcel Initial Comments at 15-16, 41-42.
                2419
                       AECI Initial Comments at 7.
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         that generating facilities on its transmission system may be redispatched and curtailed,

         which we have acknowledged may occur.2420 Additionally, we note the transmission

         loading relief procedures set the priority for curtailing generating facilities as necessary,

         and this final rule is not revising those procedures. Finally, to the extent that the costs

         associated with increasing the overall granularity of real-time models is less than any

         hypothetical increase in curtailment and redispatch costs, a transmission provider may

         increase the real-time granularity of its model.

                Further, we find that Idaho Power has not adequately explained how this reform

         will result in insufficiently identifying network upgrades that are jointly owned by

         multiple entities.2421 Moreover, even if this were a valid concern, we find that this

         concern would be equally present regardless of the modeling standard (i.e., ERIS or

         NRIS) used to conduct the affected system study.

                As discussed in the NOPR proposal, using a less stringent modeling standard may

         result in more frequent redispatch or curtailment by not fully capturing all the potential

         impacts of the affected system interconnection customer’s generating facility(ies) on an

         affected system. Based on the record, we continue to find that these risks are limited in

         nature, particularly in non-RTO/ISO regions where interconnection service does not, by

         itself, allow a generating facility’s power to flow. In non-RTO/ISO regions, power can

         only flow from a generating facility once transmission service has been requested and


                2420
                       NOPR, 179 FERC ¶ 61,194 at P 213.
                2421
                       Idaho Power Initial Comments at 12.
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         granted. For example, once point-to-point transmission service has been requested to

         enable a particular generating facility’s power to flow, either by the generating facility

         itself or its power sale customer, pro forma open access transmission tariff section 21

         (Provisions Relating to Transmission Construction and Services on the Systems of Other

         Utilities) provides a process similar to the affected system process in the pro forma LGIP.

         In summary, pro forma open access transmission tariff section 21 makes the transmission

         customer responsible for obtaining any necessary engineering, permitting, and

         construction of transmission or distribution facilities on the system(s) of utilities other

         than the directly connected transmission provider, but requires that transmission provider

         to undertake reasonable efforts to assist in that effort. This means that affected systems

         will have another opportunity to study the impact of the interconnection customer’s

         generating facility in the context of this transmission service request, whether a new

         point-to-point transmission service request or designation as a new network resource

         under an existing transmission customer’s network integration transmission service,

         before any power can flow from the generating facility.

                Moreover, we find that any significant impact would generally be captured by an

         ERIS study, which would ensure that any reliability impacts on the affected system are

         mitigated to accommodate the interconnection of the affected system interconnection

         customer’s proposed generating facility to the host system. That ERIS adequately studies

         an affected system interconnection customer’s interconnection request for its reliability
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         impacts on the affected system is evidenced by MISO’s use of only ERIS in affected

         system studies without adverse reliability impacts.2422

                Regarding AECI’s claim that using only ERIS in affected system studies may

         result in increased de minimis impacts,2423 we are not setting the implementation of the

         ERIS standard. Rather, each transmission provider determines its own implementation of

         that standard, which could include a de minimis threshold that is best for its region. The

         Commission has found that, if consistently applied, it is reasonable for interconnection

         customers to not bear cost responsibility for de minimis impacts on transmission facilities

         based on a threshold.2424 Additionally, we expect that any overloads in the models due to

         the accumulation of de minimis impacts will ultimately be assigned, pursuant to the

         transmission provider’s tariff, when an interconnection customer triggers the need for a

         network upgrade or when the transmission provider’s reliability transmission planning

         process identifies the need for mitigation.

                We disagree with LADWP that the use of ERIS by an affected system

         transmission provider will result in approval of generating facilities with insufficient

         network upgrades identified.2425 As discussed above, we find that, in general, the use of




                2422
                       MISO Initial Comments at 98.
                2423
                       AECI Initial Comments at 7.
                2424
                    Tenaska Clear Creek Wind, LLC v. Sw. Power Pool, Inc., 180 FERC ¶ 61,160,
         at P 99 (2022).
                2425
                       LADWP Initial Comments at 5.
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         ERIS is sufficient for affected system studies to prevent reliability issues from occurring

         on the affected system. Moreover, as noted earlier, in non-RTO/ISO regions, power can

         only flow from a generating facility once transmission service has been requested and

         granted, meaning that affected systems will have another opportunity to study the impact

         of the interconnection customer’s generating facility in the context of the associated

         transmission service request before any power can flow from that generating facility as

         explained above.

                Similarly, we find that commenters’ concerns about harm to firm transmission

         service and cost shifting when using ERIS in affected system studies are misplaced

         because those concerns do not arise until the interconnection customer seeks to deliver

         power from its generating facility to a customer, which outside of RTO/ISO regions can

         only happen once transmission service is separately secured.2426 In Order No. 2003, the

         Commission found that interconnection service is separate from the delivery component

         of transmission service, and, in the majority of circumstances, interconnection alone is

         unlikely to affect the reliability of an affected system transmission provider’s

         transmission system.2427 Additionally, the Commission found that holding new

         interconnection customers responsible for network upgrades to all interconnected

         systems, including not only the transmission system to which the generating facility


                2426
                 AEP Initial Comments at 34; NRECA Initial Comments at 39; SPP Initial
         Comments at 20-21; Xcel Initial Comments at 43.
                2427
                    Order No. 2003, 104 FERC ¶ 61,103 at P 118; Order No. 2003-A, 106 FERC ¶
         61,220 at P 113.
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         interconnects, but other, more distant transmission systems as well would create an

         unreasonable obstacle to the construction of new generation.2428 As such, if an affected

         system interconnection customer subsequently seeks deliverability on either the host

         system or an affected system and submits a transmission service request to either the host

         transmission provider or the affected system transmission provider, the affected system

         transmission provider will have the opportunity to study the request and potentially

         require the construction of additional network upgrades on the affected system to

         accommodate deliverability. Therefore, we find that being assigned significant affected

         system network upgrades under an NRIS study without the obligation for the affected

         system transmission provider to ensure that the output from an affected system

         interconnection customer’s generating facility is integrated on the affected system similar

         to generating facilities that serve the affected system transmission provider’s native load

         customers or network resources results in unjust and unreasonable rates by increasing the

         cost for affected system interconnection customers without a commensurate increase in

         service.2429



                2428
                       Order No. 2003, 104 FERC ¶ 61,103 at P 120.
                2429
                      As stated in Section III.A.1, the pro forma LGIP defines NRIS service as “an
         Interconnection Service that allows the Interconnection Customer to integrate its Large
         Generating Facility with the Transmission Provider’s Transmission System (1) in a
         manner comparable to that in which the Transmission Provider integrates its generating
         facilities to serve native load customers; or (2) in an RTO or ISO with market based
         congestion management, in the same manner as Network Resources. Network Resource
         Interconnection Service in and of itself does not convey transmission service.” Pro
         forma LGIP section 1.
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                Regarding claims that affected system transmission providers would need to

         develop operating procedures or capital projects or perform curtailments due to the

         additional stress on affected systems caused by affected system interconnection requests

         being studied under the ERIS modeling standard,2430 we find these claims to be

         speculative and that affected system studies are designed to ensure that an affected

         system interconnection customer’s proposed generating facility can reliably connect to

         the host system without adversely impacting an affected system and are not meant to

         ensure deliverability on either the host or affected system. As mentioned above, an

         affected system transmission provider has no obligation to ensure that an affected system

         interconnection request is fully deliverable.

                We are unpersuaded by arguments that the NOPR proposal may not work in all

         scenarios2431 and note that commenters did not provide specific examples of how the

         proposal would not work under the Commission’s pro forma LGIP process. Several

         commenters raise concerns that, although the use of ERIS may work in regions with joint

         operating agreements or coordinated transmission service studies, the use of ERIS for all

         affected system studies may not be appropriate if an affected system transmission

         provider’s transmission service studies do not identify all impacts. Once again, in

         adopting the ERIS requirement for affected system transmission providers, we find that



                2430
                       LADWP Initial Comments at 5.
                2431
                   AEP Initial Comments at 34; Clean Energy Associations Initial Comments at
         48; SPP Initial Comments at 20-21; Xcel Initial Comments at 43.
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         ERIS is sufficient to capture reliability impacts of affected system interconnection

         requests on the affected system. We do not address whether individual transmission

         providers have adequate transmission service studies. If a transmission provider believes

         that changes are needed to better consider the deliverability of transmission service on its

         transmission system or with its neighboring transmission systems, nothing in this final

         rule prevents transmission providers from addressing those concerns.

                  We decline requests for the Commission to set modeling standards, to require

         transmission providers to include their modeling standards in their tariffs, or to provide

         direction on how ERIS and NRIS should be studied and what service the interconnection

         customer should receive, and to require neighboring transmission providers to coordinate

         assumptions and update those assumptions quarterly.2432 We find these requests to be

         outside the scope of the final rule.

                  Although some commenters request flexibility on whether to use ERIS or NRIS in

         conducting an affected system study,2433 we find such a request is essentially a request to

         maintain the status quo, which, as discussed above, results in Commission-jurisdictional

         rates that are unjust, unreasonable, and unduly discriminatory or preferential and prevents




                  2432
                    AES Initial Comments at 8, 21; Clean Energy Associations Initial Comments
         at 48; Enel Initial Comments at 27, 68; NV Energy Initial Comments at 12; Pine Gate
         Initial Comments at 42; SEIA Initial Comments at 35.
                  2433
                         Duke Southeast Utilities Initial Comments at 27-28; NYISO Initial Comments
         at 46.
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         interconnection customers from interconnecting in a reliable, efficient, transparent, and

         timely manner.

                We decline to adopt the proposal stating that an affected system transmission

         provider may make an FPA section 205 filing to request use of an NRIS modeling

         standard in affected system studies. We find that there is no need to expressly provide

         for the availability of an FPA section 205 filing in pro forma LGIP section 9.7 because

         transmission providers always have the right to submit an FPA section 205 filing.

                          3.        Optional Resource Solicitation Study

                                    a.      NOPR Proposal

                In the NOPR, the Commission explained that resource solicitation processes

         inspire a number of interconnection requests, but in most cases, state agencies and LSEs

         implementing state mandates do not have the opportunity to request dedicated studies

         themselves.2434

                The Commission proposed to revise the pro forma LGIP to require transmission

         providers to allow resource planning entities, i.e., any entity required to develop a

         resource plan or conduct a resource solicitation process, including a state entity or LSE,

         to initiate an optional resource solicitation study.2435

                Under the NOPR proposal, the resource planning entity would identify the valid

         interconnection requests associated with its qualifying resource solicitation process or


                2434
                       NOPR, 179 FERC ¶ 61,194 at P 211.
                2435
                       Id. P 223.
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         qualifying resource plan and request that the transmission provider study several

         combinations of those interconnection requests in a resource solicitation study.2436

                The Commission clarified that under this proposal, the resource planning entity

         would not receive a queue position: interconnection customers would maintain their

         queue position obtained through the cluster request window and proceed through the

         regular interconnection queue alongside all other customers.2437

                The Commission proposed that the transmission provider must evaluate each

         combination of interconnection requests submitted by the resource planning entity as a

         group, in the same manner it will perform cluster studies under the proposed pro forma

         LGIP.2438 The Commission proposed a 135-calendar day time limit on the optional

         resource solicitation study (compared to 150 calendar days for the cluster study).

                The Commission sought comment on: (1) the NOPR proposal to explicitly

         include state agencies that are required to develop a resource plan or conduct a resource

         solicitation process in the definition of a resource planning entity; (2) whether other

         entities should qualify as resource planning entities and therefore be able to request

         initiation of an optional resource solicitation study, and, if so, what impact, if any, their

         inclusion would have on the efficiency of the interconnection process and whether their

         inclusion would raise concerns of undue discrimination or preference; (3) whether the


                2436
                       Id. P 224.
                2437
                       Id. P 226.
                2438
                       Id. P 233.
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         proposed optional resource solicitation study raises any confidentiality concerns,

         including whether the optional resource solicitation study report could be posted on the

         transmission provider’s OASIS before the qualifying solicitation process has concluded;

         and (4) what, if any, challenges multistate transmission providers—in particular, those

         RTOs/ISOs that serve large, multi-state areas—may face regarding study timing, multiple

         concurrent studies, or other issues in offering an optional resource solicitation study

         option, and any proposals to mitigate such challenges.2439

                                b.       Comments

                                         i.   Comments in Support

                Many commenters support the NOPR proposal and note that the ability to gather

         holistic information on a range of resource mix scenarios from transmission providers

         would support efforts by states and other resource planning entities to meet policy

         objectives.2440 The North Dakota Commission notes that resource solicitation studies

         could help improve coordination and make state-level, bottom-up resource planning

         processes more efficient and cost-effective.2441 Similarly, Ørsted argues that resource


                2439
                       Id. PP 236-237.
                2440
                    Clean Energy States Initial Comments at 9; Colorado Commission Reply
         Comments at 2; Consumers Energy Initial Comments at 8; EEI Initial Comments at 5-6;
         Illinois Commission Initial Comments at 11; Iowa Commission Initial Comments at 6;
         NARUC Initial Comments at 25; NESCOE Initial Comments at 17; New Jersey
         Commission Initial Comments at 16-17; North Carolina Commission Initial Comments at
         26; Northwest and Intermountain Initial Comments at 15; Ørsted Initial Comments at 15;
         OPSI Initial Comments at 7; Public Interest Organizations Initial Comments at 37-38.
                2441
                       North Dakota Commission Initial Comments at 7.
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         solicitation studies have the potential to reduce the uncertainty involving the

         interconnection cost portion of future state-sponsored resource solicitations.2442

                                       ii.     Comments in Opposition

                AES states that it does not believe reforms on this issue should be part of the final

         rule but does not oppose transmission providers submitting optional resource solicitation

         study proposals to the Commission pursuant to separate FPA section 205 filings after

         consultation with stakeholders.2443

                AEP disagrees with the Commission’s conclusion that failure to provide for a

         resource solicitation process leads to unjust and unreasonable rates.2444 AEP argues that

         this reasoning only applies to “entities required to conduct a resource plan or resource

         solicitation process” and that, accordingly, there is no legal basis to “solve” the problem

         through a nationwide mandate, as transmission providers with no LSEs that are required

         to “conduct a resource plan or resource solicitation process” do not need to amend their

         tariffs to include the optional resource solicitation study proposal. AEP asserts that there

         is no evidence that LSEs in RTOs/ISOs need the optional resource solicitation study

         process to perform IRPs efficiently and reach appropriate procurement decisions. AECI

         argues that resource planning entities should maintain discretion over their portfolios, and

         that the Commission lacks jurisdiction to mandate deployment of any particular resource


                2442
                       Ørsted Initial Comments at 15.
                2443
                       AES Initial Comments at 22.
                2444
                       AEP Initial Comments at 39-40.
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         or to require transmission providers to provide preferential treatment towards any specific

         technology.2445

                Several commenters argue that the proposed optional resource solicitation study is

         unnecessary, particularly in regions such as PJM and MISO, which have existing or

         proposed processes for considering state objectives.2446

                CAISO and SPP argue that the proposed optional resource solicitation study may

         create uncertainty regarding the cost and timing of interconnecting to the transmission

         system.2447 CAISO asserts that it is impossible to provide meaningful cost data to

         interconnection customers until the transmission provider knows precisely the entire

         make-up of the study cluster.2448

                Several commenters question the efficacy of the resource solicitation study

         proposal.2449 PJM argues that, because the study would include only a subset of the

         clustered interconnection requests, the results would not be indicative of the outcome

         when considering the entire cluster, and would not provide information upon which



                2445
                       AECI Initial Comments at 8.
                2446
                    Dominion Initial Comments at 39; Dominion Reply Comments at 24;
         Indicated PJM TOs Initial Comments at 51; MISO Initial Comments at 9, 98-102; MISO
         Reply Comments at 11; National Grid Initial Comments at 39; OMS Initial Comments at
         18.
                2447
                       CAISO Initial Comments at 30; SPP Initial Comments at 22.
                2448
                       CAISO Initial Comments at 31.
                2449
                    AEE Initial Comments at 35; Enel Initial Comments at 71; Indicated PJM TOs
         Initial Comments at 50.
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         resource planning entities could act or base decisions.2450 Enel and Indicated PJM TOs

         argue that the studies would not be expected to yield a reliable estimate of the total costs

         of the portfolio of resources being contemplated by the resource planner.2451 Similarly,

         Indicated PJM TOs argue that optional studies will divert scarce resources away from

         curing the fundamental problem, arguing that such studies may not be valuable to

         resource planners because they would be conducted in a vacuum, would not account for

         other interconnection requests, and would not necessarily lead to the most efficient

         combination of resources.2452

                Some commenters assert that prospective interconnection customers will have an

         incentive to lodge speculative interconnection requests antithetical to the desired

         streamlining of the pro forma LGIA and pro forma LGIP process contemplated by the

         NOPR.2453 APPA-LPPC comment that, to the extent that the generating facilities

         associated with interconnection requests are competing in a resource solicitation in which

         they may not be selected, such interconnection requests could constitute the kind of

         speculative interconnection request that the NOPR otherwise discourages.2454




                2450
                       PJM Initial Comments at 50.
                2451
                       Enel Initial Comments at 71; Indicated PJM TOs Initial Comments at 50.
                2452
                       Indicated PJM TOs Initial Comments at 50.
                2453
                       AECI Initial Comments at 8; Enel Initial Comments at 69.
                2454
                       APPA-LPPC Initial Comments at 27.
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                Several commenters argue that the optional resource solicitation study will result

         in inefficiencies and delays that degrade the quality of the main cluster study.2455 Several

         commenters express concern that adding optional resource solicitation studies as a pro

         forma LGIP requirement would hinder the Commission’s goal of increasing the speed of

         processing interconnection requests, arguing that the additional study requirements are

         time consuming and would require significant resources to complete.2456 Enel states that,

         because a transmission provider would be required to evaluate six full cluster studies (i.e.,

         one standard plus five sensitivities) with different combinations of generating facilities,

         the optional resource solicitation study would inevitably lead to delays, restudies, late-

         stage withdrawals, errors, and increased potential for inadequate consideration of lower

         cost and alternative mitigations.2457 The Colorado Commission argues that the NOPR

         proposal could materially delay the clean energy transition in Colorado given




                2455
                    Id.; AECI Initial Comments at 8; Bonneville Initial Comments at 22; CAISO
         Initial Comments 30-31; CREA and NewSun Reply Comments at 55; Dominion Initial
         Comments at 39; Enel Initial Comments at 69; Illinois Commission Initial Comments at
         11; NARUC Initial Comments at 31; NextEra Initial Comments at 35; NYISO Initial
         Comments at 46; PJM Initial Comments at 5-6.
                2456
                     Bonneville Initial Comments at 22; CAISO Initial Comments 30-31; CREA
         and NewSun Reply Comments at 55; Enel Initial Comments at 69; Illinois Commission
         Initial Comments at 11; NARUC Initial Comments at 31; NextEra Initial Comments at
         35; NYISO Initial Comments at 46; PJM Initial Comments at 6; SEIA Reply Comments
         at 18, 21; SPP Initial Comments at 22.
                2457
                       Enel Initial Comments at 69-71.
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         interconnection scarcity concerns if it required the elimination of resource solicitation

         clusters as currently implemented by the Colorado utilities.2458

                Some commenters question whether transmission providers can realistically

         manage interconnection cluster studies and perhaps multiple optional resource

         solicitation studies at the same time.2459 Indicated PJM TOs state that the ability for any

         resource planning entity to initiate the resource solicitation study without warning at any

         time would be especially burdensome.2460 MISO warns that multiple resource planning

         entities could request an optional study with different combinations, requiring MISO to

         perform numerous iterations of its system impact studies.2461 Several commenters argue

         that instituting an additional study will put further strain on transmission providers’

         limited staff resources.2462 Bonneville, WAPA, and NRECA assert that most small

         transmission providers are not staffed or organized to accomplish the work discussed by

         the Commission.2463



                2458
                       Colorado Commission Reply Comments at 3.
                2459
                    Indicated PJM TOs Initial Comments at 50; MISO Initial Comments at 101-
         102; Northwest and Intermountain Initial Comments at 16-17; NRECA Initial Comments
         at 41-42; PJM Initial Comments at 6.
                2460
                 Indicated PJM TOs Initial Comments at 50; Indicated PJM TOs Reply
         Comments at 18.
                2461
                       MISO Initial Comments at 102.
                2462
                   Dominion Initial Comments at 39; Indicated PJM TOs Initial Comments at 50;
         National Grid Initial Comments at 38-39; NYISO Initial Comments at 46; PJM Initial
         Comments at 6; SEIA Initial Comments at 36.
                2463
                       Bonneville Initial Comments at 22; WAPA Initial Comments at 14; NRECA
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                Several commenters caution the Commission that the optional resource solicitation

         studies could be costly.2464 MISO contends that mandating a new study activity without a

         corresponding study deposit may result in a situation where study deposit funds run out,

         halting interconnection studies until more funds are provided and leading to

         interconnection queue delays.2465 NRECA also argues that requiring both the optional

         informational interconnection studies and the optional resource solicitation studies

         increase costs for transmission customers.2466 SEIA argues that imposing an optional

         resource solicitation process in the early stages of the interconnection process, before

         interconnection customers receive the cost estimates of their network upgrades, means

         that the results from the study may not accurately reflect the costs of the network

         upgrades for the resources in the study.2467 Enel argues that, because the resource

         planning entity selects generating facilities for scenarios without any knowledge of

         interconnection results, it is possible that the selected generating facilities will end up

         being built despite large upgrade costs.2468




         Initial Comments at 41-42.
                2464
                 Clean Energy Associations Initial Comments at 51; Illinois Commission Initial
         Comments at 11; MISO Initial Comments at 103.
                2465
                       MISO Initial Comments at 103.
                2466
                       NRECA Initial Comments at 41-42.
                2467
                       SEIA Reply Comments at 18-19.
                2468
                       Enel Initial Comments at 72.
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                Several commenters contend that the proposal is unjust, unreasonable, and unduly

         discriminatory or preferential because it gives special treatment to generating facilities

         selected to fulfill a resource plan without full consideration of interconnection

         upgrades.2469 Several commenters are concerned that this proposal could allow vertically

         integrated transmission providers or LSEs to use the process in a way that would

         inappropriately favor the interconnection of company-owned resources.2470 NARUC and

         SEIA explain that an LSE could have a transmission provider identify cost-saving

         interconnection options through the optional resource solicitation study for company-

         owned resources but exclude non-company-owned resources from the analysis, thus

         tipping the cost evaluation in favor of the company’s resources.2471 Likewise, Interwest

         and EPSA are concerned that priority in interconnection queue processing for

         interconnection requests selected in a resource plan and under contract with a utility may

         provide competitive advantages for vertically integrated utilities because of their control




                2469
                    Id. at 68, 72; AEE Initial Comments at 35-36; EPSA Initial Comments at 12;
         Interwest Initial Comments at 9; Interwest Reply Comments at 8; MISO Initial
         Comments at 98; OMS Initial Comments at 18; PJM Initial Comments at 50-51; SEIA
         Reply Comments at 19-20.
                2470
                    AEE Initial Comments at 36; CREA and NewSun Initial Comments at 89;
         EPSA Initial Comments at 11-12; Interwest Initial Comments at 9-10; NARUC Initial
         Comments at 26-27; Northwest and Intermountain Initial Comments at 15-16; Public
         Interest Organizations Initial Comments at 41; SEIA Initial Comments at 36.
                2471
                  NARUC Initial Comments at 26-27; SEIA Initial Comments at 36; SEIA
         Reply Comments at 20.
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         over the selection of projects and the identification and timing of the installation of

         network upgrades.2472

                SEIA also argues that an optional resource solicitation study in situations where

         there is a commercial readiness requirement presents numerous opportunities for a utility

         to discriminate against independent power producers in favor of that utility’s own

         generation.2473 AEP argues that, in multi-state RTOs/ISOs, the proposal facially

         discriminates against LSEs that are not eligible resource planning entities or are located

         in states that are not eligible resource planning entities themselves, and shifts key

         RTO/ISO resources away from such entities.2474 In RTOs/ISOs that allow bilateral

         capacity procurement, AEP argues that the proposal likewise discriminates between LSEs

         with qualifying resource planning entities (which may well be themselves) and those

         without.

                Multiple commenters argue that the proposed requirement to perform an optional

         resource solicitation study in multiple states imposes a considerable burden on

         RTOs/ISOs without providing meaningful benefits.2475 PJM argues that requiring it “to




                2472
                       EPSA Initial Comments at 12; Interwest Initial Comments at 9-10.
                2473
                       SEIA Initial Comments at 36.
                2474
                       AEP Initial Comments at 37-38.
                2475
                   Id. at 36-37; AES Initial Comments at 22; CAISO Initial Comments at 31;
         ClearPath Initial Comments at 9; Dominion Initial Comments at 39; MISO Initial
         Comments at 105; NextEra Initial Comments at 35; PJM Initial Comments at 51; SEIA
         Reply Comments at 21; WAPA Initial Comments at 15.
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         serve as a de facto consultant” to resource planning entities in addition to its efforts to

         expedite and process the country’s largest interconnection queue would require PJM to

         take on a role beyond its authority as a transmission provider.2476 Similarly, Indicated

         PJM TOs argue that there is no justification for requiring transmission providers to

         provide resource solicitation studies when consultants could do so.2477

                The North Dakota Commission suggests that the Commission should consider

         whether the proposal potentially allows cost-shifting from states or localities with

         significant resource build out mandates to other states within the RTO/ISO and how to

         mitigate such unjust cost-shifting.2478 Similarly, Interwest cautions that, in bilateral and

         RTO/ISO markets, requiring a ranking in priority between interconnection requests may

         result in setting up competition between the utilities, with each vying for space on the

         constrained system.2479

                Tri-State adds that there are “timing issues” regarding the optional resource

         solicitation study, as it does not align with the electric resource planning process within

         Colorado, and potentially other states.2480 The Colorado Commission is also concerned

         that, to the extent interconnection requests are permitted to be made into non-resource



                2476
                       PJM Initial Comments at 51.
                2477
                       Indicated PJM TOs Reply Comments at 19.
                2478
                       North Dakota Commission Initial Comments at 7.
                2479
                       Interwest Initial Comments at 10.
                2480
                       Tri-State Initial Comments at 29.
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         solicitation cluster studies without strong requirements to demonstrate that those requests

         are for viable generating facilities, the cluster study results may render later resource

         solicitation study results inaccurate.2481

                                       iii.   Requests for Alternatives and Regional Flexibility

                Public Interest Organizations argue that the Commission should grant extra

         flexibility on the 135-calendar day study timeline.2482 Several commenters support the

         implementation of boundaries or guardrails to ensure that optional resource solicitation

         studies do not delay the study of other interconnection requests by diverting needed

         resources away from the general interconnection queue.2483 Several commenters support

         the proposal so long as protections are included to prevent undue discrimination and

         maintain a competitive generation solicitation.2484

                NARUC asks the Commission to consider going farther than requiring the

         optional resource solicitation study only for purposes of transparency and cost estimation;

         it recommends making the results of the studies available for interconnection customers




                2481
                       Colorado Commission Reply Comments at 5 n.10.
                2482
                       Public Interest Organizations Initial Comments at 38.
                2483
                   Illinois Commission Initial Comments at 11; NESCOE Initial Comments at
         18; OPSI Initial Comments at 7-8.
                2484
                 CREA and NewSun Initial Comments at 89-90; CREA and NewSun Reply
         Comments at 55; Interwest Initial Comments at 11; Northwest and Intermountain Initial
         Comments at 16; Pine Gate Initial Comments at 43; Public Interest Organizations Initial
         Comments at 41; R Street Initial Comments at 15-16.
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         to pursue and a basis upon which interconnection customers could seek interconnection

         on an expedited basis.2485

                Xcel, the Colorado Commission, and EEI argue that the resource solicitation

         cluster should have its own queue position.2486 Enel recommends that the optional

         resource solicitation study be a separate queue cycle with an intermediate queue priority

         between the transmission provider’s annual study clusters.2487 Several commenters argue

         that resources selected as part of the resource solicitation process should be given priority

         in the interconnection queue.2488 The Colorado Commission suggests that the

         Commission modify its proposal to prioritize interconnection requests selected to serve

         native and network load within the RTO/ISO.

                The Colorado Commission and Xcel encourage the Commission to determine that

         any current resource solicitation cluster processes already in place remain just and

         reasonable or are consistent with/superior to the final rule.2489 SEIA disagrees, noting

         that PSCo’s existing resource solicitation study procedures were approved by the




                2485
                       NARUC Initial Comments at 31.
                2486
                 Colorado Commission Initial Comments at 29; Colorado Commission Reply
         Comments at 6; EEI Initial Comments at 5-6; Xcel Initial Comments at 11, 14.
                2487
                       Enel Initial Comments at 72.
                2488
                 Arizona Commission Initial Comments at 2; Colorado Commission Reply
         Comments at 2; Public Interest Organizations Initial Comments at 43; Xcel Initial
         Comments at 46.
                2489
                       Colorado Commission Reply Comments at 1; Xcel Initial Comments at 11.
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         Commission in 2004 only so long as PSCo did not “disadvantage or delay other

         Interconnection Requests not involved in the solicitation.”2490 SEIA argues that the

         Colorado Commission’s current proposal to prioritize interconnection requests selected in

         the state process conflicts with this 2004 order and the Commission’s “longstanding

         prohibition against queue jumping.”2491

                Multiple commenters request clarification and changes to the NOPR’s proposal on

         resource solicitation in multistate transmission areas,2492 but NARUC and Xcel suggest

         that facilitated coordination of resource planning and interconnection as well as

         discussion across states and LSEs may be the most helpful practice to reduce the burden

         of differing state portfolio requirements on transmission providers in multi-state areas.2493

                Several commenters suggest that the proposed optional resource solicitation study

         should occur outside the tariff process.2494 NextEra argues that the absence of such a

         feature from the pro forma LGIP is in no way unjust and unreasonable and that, if a

         transmission provider feels the need to customize its LGIP in this way, the transmission



                2490
                   SEIA Reply Comments at 20 (citing NOPR, 179 FERC ¶ 61,194 at P 298;
         Xcel Energy Operating Cos., 109 FERC ¶ 61,072, at P 26 (2004)).
                2491
                    Id. at 20-21 (citing Xcel Energy Operating Cos., 106 FERC ¶ 61,260, at P 22,
         order on reh’g, 109 FERC ¶ 61,072).
                2492
                    AEP Initial Comments at 36; CAISO Initial Comments at 31; PacifiCorp
         Initial Comments at 39; PJM Initial Comments at 51; WAPA Initial Comments at 15;
         Xcel Initial Comments at 45-46.
                2493
                       NARUC Initial Comments at 30-31; Xcel Initial Comments at 45.
                2494
                       NextEra Initial Comments at 35; NRECA Initial Comments at 42.
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         provider can do so on its own.2495 NRECA suggests that the Commission require that

         base cases and support files are available for LSEs so the LSE can run these studies

         outside of the tariff process.2496 WAPA and Bonneville argue that resource solicitation

         studies should occur at the reliability coordinator level and not the transmission provider

         level.2497

                Several commenters argue that the Commission should allow transmission

         providers flexibility in implementing resource solicitations.2498 NYISO asserts that it has

         addressed the NOPR’s aims by permitting state agencies to act as a developer for

         purposes of obtaining a generic interconnection request that they can put out for

         solicitation.2499

                                c.      Commission Determination

                We decline to adopt the NOPR proposal to modify the pro forma LGIP to require

         transmission providers to allow resource planning entities to initiate an optional resource




                2495
                       NextEra Initial Comments at 35.
                2496
                       NRECA Initial Comments at 42.
                2497
                       Bonneville Initial Comments at 22; WAPA Initial Comments at 14.
                2498
                    AECI Initial Comments at 8; Dominion Initial Comments at 39; Interwest
         Initial Comments at 12; ISO-NE Initial Comments at 38; NESCOE Reply Comments at
         15; NRECA Initial Comments at 10; NYISO Initial Comments at 46; PacifiCorp Initial
         Comments at 39; PJM Initial Comments at 51; Xcel Initial Comments at 14, 45; Xcel
         Reply Comments at 3.
                2499
                       NYISO Initial Comments at 47.
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         solicitation study.2500 We find that there is insufficient evidence in the record to justify

         establishing the optional resource solicitation study process proposed in the NOPR as a

         generic solution across all regions for coordinating state-level resource planning with the

         interconnection process. As commenters explain, many transmission providers do not

         have LSEs that conduct a resource solicitation process. We are also concerned that the

         particular “one size fits all” approach proposed in the NOPR would create uncertainty

         regarding the cost and timing of interconnecting to the transmission system, because the

         proposed study would not result in useful network upgrade cost estimates. Finally, we

         agree with commenters that the proposal as set forth in the NOPR would divert

         transmission provider resources and potentially lead to delays in the processing of the

         interconnection queue.

                Notwithstanding our decision not to adopt the NOPR’s resource solicitation

         proposal, we agree with commenters who note that, in certain regions, resource

         solicitation studies have the potential to reduce uncertainty, improve coordination, and

         make resource planning more efficient and cost effective. We acknowledge comments

         arguing that a resource solicitation study may be most effective if paired with a structure

         where the resources within the resource solicitation structure are granted their own queue

         position, as this provides the relevant resources and soliciting entity with actionable

         information and avoids the uncertainty and delay that may occur if a study is conducted



                2500
                    Because we are not adopting this proposal, we do not address comments on
         specific aspects of the proposal.
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         only for informational purposes and the associated resources do not have a queue position

         that corresponds to the study assumptions.2501 We note that our decision not to adopt the

         NOPR’s proposal in this final rule in no way prejudges any future resource solicitation

         study proposals that transmission providers may choose to file pursuant to FPA section

         205.

                C.        Reforms to Incorporate Technological Advancements into the
                          Interconnection Process

                          1.        Increasing Flexibility in the Generator Interconnection Process

                                    a.      Co-Located Generating Facilities Behind One Point of
                                            Interconnection with Shared Interconnection Requests

                                            i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission noted that the current pro forma LGIP does not

         address interconnection requests made up of multiple generating facilities seeking to co-

         locate and to share a single point of interconnection.2502 The Commission preliminarily

         found that the lack of such a process limits the interconnection of generating facilities,

         hindering competition and rendering the Commission’s existing pro forma LGIP unjust,

         unreasonable, and unduly discriminatory or preferential.2503




                2501
                  See Colorado Commission Initial Comments at 29; Colorado Commission
         Reply Comments at 6; EEI Initial Comments at 5-6; Xcel Initial Comments at 11, 14.
                2502
                       NOPR, 179 FERC ¶ 61,194 at P 239.
                2503
                       Id. P 240.
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                The Commission therefore proposed to revise the pro forma LGIP and pro forma

         LGIA to “require transmission providers to allow more than one generating facility to co-

         locate on a shared site behind a single point of interconnection and share a single

         interconnection request.”2504 The Commission explained that this proposed reform would

         “create a minimum standard that would remove barriers for co-located resources by

         creating a standardized procedure for these types of configurations to enable them to

         access the transmission system.”2505

                The Commission proposed to revise the pro forma LGIP to: “(1) define ‘Co-

         Located Resources’ as ‘more than one resource located behind the same point of

         interconnection’; (2) state that co-located resources can share an interconnection request;

         (3) modify the definition of site control such that it allows interconnection customers to

         demonstrate shared land-use for co-located resources.”2506 The Commission also

         proposed to modify the definition of interconnection facilities to clarify that multiple

         generating facilities located on the same site may share interconnection facilities.2507

                The Commission also proposed revisions to the pro forma LGIP to “require

         generating facilities that are co-locating to have technology to address differences in

         terminal voltage between the co-located generating facilities to ensure that these


                2504
                       Id. P 242.
                2505
                       Id.
                2506
                       Id. P 243.
                2507
                       Id.; proposed pro forma LGIP section 1.
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         generating facilities have the same voltage levels.”2508 The Commission noted that many

         co-located generating facilities are co-located with electric storage resources,2509 and

         proposed to define “electric storage resources” in the pro forma LGIP as a resource

         capable of receiving electric energy from the grid and storing it for later injection of

         electric energy back to the grid.2510

                                       ii.    Comments

                                              (a)    Comments in Support

                Commenters overwhelmingly support the Commission’s proposal.2511 Eversource

         conditionally supports the proposal as a solid step that will improve the interconnection




                2508
                       NOPR, 179 FERC ¶ 61,194 at P 245.
                2509
                       Id. P 240.
                2510
                       Id.; proposed pro forma LGIP section 1.
                2511
                     AEE Initial Comments at 38; AES Initial Comments at 23; Ameren Initial
         Comments at 26; APPA-LPPC Initial Comments at 28; CAISO Initial Comments at 32;
         Clean Energy Associations Initial Comments at 59; Clean Energy Buyers Initial
         Comments at 4-5; Consumers Energy Company Initial Comments at 8; CREA and
         NewSun Initial Comments at 90; Environmental Defense Fund Initial Comments at 5;
         Environmental Defense Fund Reply Comments at 8; ELCON Initial Comments at 10;
         Enel Initial Comments at 78; Evergreen Action Initial Comments at 3; ISO-NE Initial
         Comments at 39; MISO Initial Comments at 107; NARUC Initial Comments at 33;
         National Grid Initial Comments at 39; NextEra Initial Comments at 6; NRECA Initial
         Comments at 44; NY Commission and NYSERDA Initial Comments at 9; NYISO Initial
         Comments at 47; NYTOs Initial Comments at 31-32; OSPA Reply Comments at 15;
         Ohio Commission Initial Comments at 14; Omaha Public Power Initial Comments at 13;
         Ørsted Initial Comments at 18; Pine Gate Initial Comments at 44-45; Public Interest
         Organizations Initial Comments at 43; SEIA Initial Comments at 37; SoCal Edison Initial
         Comments at 19; SPP Initial Comments at 23; State Agencies Initial Comments at 14.
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         process.2512 Avangrid is not opposed to the proposal but does not foresee the reform as

         providing incremental efficiency to transmission providers.2513

                Evergreen Action avers that co-location is vital to connecting more generation in

         the short term as transmission providers begin to work through large interconnection

         queue backlogs,2514 and Evergreen Action and NRECA state that co-locating two or more

         resources will take advantage of technologies like battery storage to more efficiently use

         the transmission system.2515 AEE and State Agencies argue that, because existing

         interconnection procedures were designed before battery storage and hybrid resource

         types came into common usage, these types of technologies are often underserved under

         existing interconnection procedures despite being well represented in current

         interconnection queues, making this reform timely.2516 OSPA urges the Commission to

         implement this proposal as soon as possible.2517

                Several commenters argue that the NOPR proposal will likely improve the overall

         efficiency of interconnection processes, result in more accurate interconnection queue

         positions, and help to ensure just and reasonable rates.2518 Environmental Defense Fund


                2512
                       Eversource Initial Comments at 32-33.
                2513
                       Avangrid Initial Comments at 34.
                2514
                       Evergreen Action Initial Comments at 3.
                2515
                       Id.; NRECA Initial Comments at 44.
                2516
                       AEE Initial Comments at 38; State Agencies Initial Comments at 14.
                2517
                       OSPA Reply Comments at 15.
                2518
                       AEE Initial Comments at 39; AES Initial Comments at 23; NARUC Initial
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         argues that combinations of generation and storage on a single site will create several

         benefits, including reducing intermittency, shifting supply to better meet demand,

         responding to grid events, and enabling provision of ancillary services.2519

                AEE argues that the greatest value of storage systems is their ability to respond

         rapidly with a high degree of controllability, and contends that hybrid resources smooth

         the output of variable resources, allowing for increased land use efficiencies.2520 Several

         commenters argue that the proposal will yield interconnection queue efficiency because

         the shared nature of the co-located resources can be fully accounted for in a single

         interconnection request: they contend that requiring co-located resources to submit

         multiple interconnection requests increases cost, timing, and complexity, while forgoing

         reliability benefits.2521

                In support of the proposal, AEE argues that several transmission providers already

         allow co-located generating facilities at the same point of interconnection to submit a

         single request (e.g., CAISO, ISO-NE, and MISO).2522 AES contends that the



         Comments at 33; Ohio Commission Initial Comments at 14.
                2519
                       Environmental Defense Fund Initial Comments at 5.
                2520
                       AEE Initial Comments at 39.
                2521
                    Id.; AES Initial Comments at 39; Consumers Energy Company Initial
         Comments at 8; Environmental Defense Fund Initial Comments at 5-6; NARUC Initial
         Comments at 33; Ohio Commission Initial Comments at 14; Ørsted Initial Comments at
         19; Public Interest Organizations Initial Comments at 44; SEIA Initial Comments at 37-
         38; SoCal Edison Initial Comments at 19.
                2522
                       AEE Initial Comments at 39-40.
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         Commission’s proposed reforms are necessary to ensure parity across all RTOs/ISOs on

         this issue, as some RTOs’/ISOs’ practices erect unnecessary and unreasonable barriers

         for generating facilities located behind a single point of interconnection to

         interconnect.2523

                Omaha Public Power supports the Commission’s proposals to facilitate new

         technologies, specifically the reforms related to co-located resources, revisions to the

         modification process, and surplus interconnection capacity.2524 Omaha Public Power

         observes, however, that many transmission providers have already made progress in this

         area and therefore recommends that the Commission allow existing transmission provider

         processes that are facilitating new technologies to continue.

                                             (b)     Comments on Specific Proposal

                Avangrid asserts that the Commission’s proposal should not change or supersede

         any regional metering requirements for market participation and contends that co-located

         resources must have separate meters even if they share a point of interconnection.2525

                NARUC and MISO support the Commission’s proposal that co-located generating

         facilities must have technology to address differences in terminal voltage between the co-

         located generating facilities.2526 MISO states that having to study a single co-located


                2523
                       AES Initial Comments at 23.
                2524
                       Omaha Public Power Initial Comments at 13.
                2525
                       Avangrid Initial Comments at 34.
                2526
                       MISO Initial Comments at 107-108; NARUC Initial Comments at 33.
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         generating facility with two points of interconnection at different voltages would be

         infeasible, and that co-located generating facilities should be required to inject at a single

         point of interconnection, at a single voltage.2527 SPP states that it is unclear what the

         Commission intended in the NOPR by proposing to require that generating facilities

         “address differences in terminal voltage between the co-located generating facilities to

         ensure that these generating facilities have the same voltage levels.”2528 SPP contends

         that it would be simpler to require that such generating facilities connect at the same

         point of interconnection and leave the details as to how to do that to the interconnection

         customer. Ameren argues that, so long as modeling is available to the transmission

         provider for the types of resources that are behind the point of interconnection, co-located

         resources with differences in terminal voltage should not be an issue when performing

         the interconnection studies.2529

                Ørsted supports the Commission’s proposed changes to the definition of

         “interconnection facilities.”2530 Enel states that the proposed insertion of the phrase “by

         interconnection customer” in the third sentence of the pro forma LGIA/LGIP definition

         of “interconnection facilities” should be changed to the phrase “by interconnection




                2527
                       MISO Initial Comments at 107-108.
                2528
                       SPP Initial Comments at 23 (citing NOPR, 179 FERC ¶ 61,194 at P 245).
                2529
                       Ameren Initial Comments at 26.
                2530
                       Ørsted Initial Comments at 18.
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         customer(s).”2531 Enel further states that the proposed new fourth sentence to the

         definition of “interconnection facilities” explains that multiple interconnection customers

         may use a single set of interconnection facilities, and thus “sole use facilities” may have

         multiple interconnection customer beneficiaries.

                Southern states that, under the NOPR proposal, co-located resources can include

         different owners of different generating facilities.2532 Pine Gate and Southern note that

         the proposal to allow interconnection customers to demonstrate shared land-use may

         require interconnection customers to provide transmission providers more detailed site

         maps to demonstrate valid site control for each generating facility.2533 Southern states

         that this is appropriate because the transmission provider should not be responsible for

         monitoring the legal relationship between the co-owners.2534 Southern states that co-

         located resources must either be owned by the same owner, or the different owners of the

         generating facilities must enter into an agreement that addresses off-take rights and

         ownership, and they must submit one interconnection request for the entire generating

         facility. Tri-State suggests clarifying that a separate agreement is not necessary when

         both co-located resources belong to the same interconnection customer.2535



                2531
                       Enel Initial Comments at 81-82.
                2532
                       Southern Initial Comments at 35.
                2533
                       Id. at 36; Pine Gate Initial Comments at 46.
                2534
                       Southern Initial Comments at 36.
                2535
                       Tri-State Initial Comments at 25.
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                Clean Energy Associations support allowing multiple generating facilities that

         share a single point of interconnection to submit a joint interconnection request as a

         hybrid or co-located resource. Clean Energy Associations argue that interconnection

         customers with proposed generating facilities where the electric storage resource and

         generating facility are co-located, and have two “resource IDs,” should be allowed to

         choose to have each component studied separately.2536 Clean Energy Associations also

         submit that the generating equipment for the generating facilities should not be required

         to be located on a shared site. Clean Energy Associations further assert that such

         flexibility would allow, for example, a solar facility to obtain a faster ERIS study while

         the co-located storage could get a more detailed study for NRIS.

                Southern contends that co-located resources that intend to be qualifying facilities

         should be required to comply with PURPA requirements.2537

                                              (c)   Requests for Clarification and Flexibility

                Pine Gate agrees that co-located generating facilities must have technology to

         address differences in terminal voltage between the co-located generating facilities,

         arguing that such technology is likely necessary in instances where a co-located resource

         is being studied under a single interconnection request for a net injection at the point of

         interconnection.2538 However, Pine Gate requests that the Commission clarify that such


                2536
                       Clean Energy Associations Initial Comments at 59-61.
                2537
                       Southern Initial Comments at 36.
                2538
                       Pine Gate Initial Comments at 46.
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         technology is not necessary in instances in which the interconnection customer elects to

         submit a co-located resource using two separate interconnection requests.

                SPP notes that in the NOPR, the Commission proposed to define “co-located

         resources” as “more than one resource located behind the same point of interconnection,”

         whereas the proposed definition in the pro forma LGIP reads, “Co-Located Resource

         shall mean multiple Generating Facilities located on the same site.”2539 SPP states that

         two generating facilities can be located on the same site without connecting behind the

         same point of interconnection. SPP asks the Commission to clarify in the final rule

         which definition of co-located resource is required. SPP states that it supports a

         definition that explicitly states that the generating facilities must connect at the same

         point of interconnection.

                MISO and Southern request that the Commission clarify that co-located resources

         must be required to share an interconnection request.2540 According to MISO, its tariff

         and Order No. 8072541 allow for different interconnection requests to share a generator tie

         line and thus share the same point of interconnection. MISO argues that failing to amend

         the definition of co-located resource would conflate the two scenarios under the same

         definition, such that two separate noncontiguous generating facilities that share a


                2539
                       SPP Initial Comments at 23.
                2540
                       MISO Initial Comments at 107; Southern Initial Comments at 36.
                2541
                     Open Access & Priority Rights on Interconnection Customer’s Interconnection
         Facilities, Order No. 807, 80 FR 17654 (Apr. 1, 2015), 150 FERC ¶ 61,211, order on
         reh’g, Order No. 807-A, 153 FERC ¶ 61,047 (2015).
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         generator tie line would share the same point of interconnection, thus also falling under

         the definition of co-located resources without the intent to do so.2542 Southern argues that

         the Commission should clarify that the interconnection tie line connecting the co-located

         resource to the transmission system is a radial facility, not a network facility.2543

                National Grid asks that the Commission clarify what is included in the definition

         of “co-located resources.”2544 National Grid understands that the term can apply to

         hybrid technologies owned by a single interconnection customer interconnecting to a

         single point of interconnection, such as a solar generating facility coupled with a storage

         facility. National Grid suggests that, to the extent the term also is intended to apply to

         multiple interconnection customers with separate generating facilities interconnecting to

         a single point of interconnection, that the proposal might create complexities not

         discussed in the NOPR but may merit consideration.

                SEIA requests clarification on the terminology used in the proposal.2545 SEIA

         states that in January 2021, in its order directing reports on information related to hybrid

         resources, the Commission used two distinct terms to identify hybrid resource market

         participation.2546 SEIA states that “co-located hybrid resources” are defined as two



                2542
                       MISO Initial Comments at 107.
                2543
                       Southern Initial Comments at 37.
                2544
                       National Grid Initial Comments at 39-40.
                2545
                       SEIA Initial Comments at 38.
                2546
                       Id. (citing Hybrid Res., 174 FERC ¶ 61,034, at P 4 (2021)).
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         separate resources sharing a single point of interconnection that are modeled and

         dispatched separately. SEIA states that “integrated hybrid resources” are defined as sets

         of resources that share a single point of interconnection and are modeled and dispatched

         as a single resource. Tri-State similarly states that the “electric storage resource”

         definition does not account for resources designed to be charged apart from the

         transmission system, such as solar or wind generating facilities that may charge an

         electric storage resource.2547 SEIA requests that the Commission adopt the terms co-

         located and integrated hybrid resources in the final rule and clarify that interconnection

         customers retain the choice of how to structure their interconnection requests to best suit

         their needs and the needs of their customers.2548

                Some commenters ask that the Commission provide regional flexibility as to the

         types of co-located resources permitted in each RTO/ISO and existing processes that may

         already accomplish the goals of the proposed reforms.2549 ISO-NE, NYISO, and MISO

         state that they are already in compliance with the proposed reform.2550




                2547
                       Tri-State Initial Comments at 25.
                2548
                       SEIA Initial Comments at 38.
                2549
                 ISO-NE Initial Comments at 39; NY Commission and NYSERDA Initial
         Comments at 9; NYTOs Initial Comments at 31-32.
                2550
                    ISO-NE Initial Comments at 39; MISO Initial Comments at 107; NYISO
         Initial Comments at 47.
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                                      iii.   Commission Determination

                We adopt, with modification, the NOPR proposal to revise pro forma LGIP

         section 3.1.2 to require transmission providers to allow more than one generating facility

         to co-locate on a shared site behind a single point of interconnection and share a single

         interconnection request. We decline to adopt the proposed definitions of “co-located

         resource” and “electric storage resource,” and we decline to adopt the proposed

         modifications to the definitions of interconnection facilities, and transmission provider’s

         interconnection facilities in pro forma LGIP section 1 and pro forma LGIA article 1.2551

         We find that including the definition of co-located resource in the pro forma LGIP and

         pro forma LGIA is not necessary to effectuate the process reforms detailed in the NOPR,

         and thus decline to adopt it here.2552 Given that Order No. 845 revised the definition of

         generating facility to include electric storage resources,2553 we also find it unnecessary to

         define the term electric storage resource in the pro forma LGIP and LGIA. We note that

         declining to adopt the definition of electric storage resource moots Tri-State’s concern




                2551
                       NOPR, 179 FERC ¶ 61,194 at P 243; proposed pro forma LGIA section 1.
                2552
                    Co-located generating facilities are more than one generating facility that are
         located on the same site and that are connected at the same point of interconnection that
         are operated and dispatched as separate generating facilities.
                2553
                    See Order No. 845, 163 FERC ¶ 61,043, at P 275 (modifying the definition of
         “Generating Facility” in the pro forma LGIP and pro forma LGIA to include “and/or
         storage for later injection”).
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         that the proposed definition failed to account for electric storage resources that may be

         charged apart from the transmission system.2554

                We also decline to adopt the NOPR proposal to modify the definitions of

         interconnection facilities and transmission provider’s interconnection facilities to specify

         that interconnection facilities may be shared among interconnection customers. We find

         that such specification in the pro forma LGIP and pro forma LGIA is not needed because

         Commission policy does not prohibit interconnection customers from sharing

         interconnection facilities.2555 We expect that there may be benefits from interconnection

         customers being able to share transmission provider’s interconnection facilities and

         interconnection customer’s interconnection facilities, particularly in light of the

         Commission’s transition in this final rule to a cluster study approach. Under a cluster

         study approach, in which multiple interconnection requests are evaluated in a combined

         study, efficiencies may be gained (in cost and time to construct) by allowing

         interconnection customers to share use of, and payment for, interconnection facilities.

         We note that such efficiencies from allowing the interconnection facilities to be used by

         more than one interconnection customer do not exist under the Commission’s existing

         pro forma LGIP serial interconnection study process because the serial study process

         does not consider the interconnection facilities that would be necessary to accommodate


                2554
                       Tri-State Initial Comments at 25.
                2555
                    See, e.g., Order No. 807, 150 FERC ¶ 61,211, at P 3 (discussing the ability of
         interconnection customer’s interconnection facilities owners to make excess capacity
         available to third parties).
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         the interconnection of more than one interconnection customer. In response to Ørsted

         and Enel’s comments expressing support for the revisions to the definitions of

         interconnection facilities and transmission provider’s interconnection facilities,2556 we

         state in this final rule that the interconnection facilities also may be used by more than

         one interconnection customer.

                We also decline to adopt the NOPR proposal to revise the pro forma LGIP to

         require generating facilities that are co-locating to have technology to address differences

         in terminal voltage between the co-located generating facilities to ensure that these

         generating facilities have the same voltage levels.2557 We find that the preexisting

         language in pro forma LGIP section 3.1 (section 3.1.2 as revised by this final rule) is

         clear that “[a]n Interconnection Request to evaluate one site at two different voltage

         levels shall be treated as two Interconnection Requests.” This preexisting provision

         makes clear that a set of co-located generating facilities must be at a single terminal

         voltage in order to be treated as a single interconnection request. The additional

         requirement proposed in the NOPR is therefore unnecessary to adopt in the final rule.

         We note that declining to adopt the NOPR proposal with respect to this issue alleviates

         SPP’s concern with the NOPR proposal.2558 In response to Pine Gate, we reiterate that

         preexisting pro forma LGIP section 3.1 (section 3.1.2 as revised by this final rule) would


                2556
                       Ørsted Initial Comments at 18; Enel Initial Comments at 81-82.
                2557
                       See NOPR, 179 FERC ¶ 61,194 at P 245.
                2558
                       See SPP Initial Comments at 23.
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         require co-located generating facilities with different terminal voltage levels to submit

         separate interconnection requests.2559

                As the Commission stated in the NOPR, recent studies demonstrate that large

         numbers of generating facilities currently in interconnection queues are seeking to co-

         locate on a shared site behind one point of interconnection and share an interconnection

         request, while operating separately, and that the pro forma LGIP currently lacks

         provisions that explicitly allow them to do so.2560 We agree with commenters that this

         type of generating facility configuration, in spite of being prevalent in current

         interconnection queues, faces barriers to interconnection under existing interconnection

         procedures,2561 and that this reform will effectively remove such barriers. We find that

         requiring transmission providers to allow interconnection customers to submit a single

         interconnection request that represents multiple generating facilities that are located

         behind a single point of interconnection is required to ensure just and reasonable rates.

         By doing so, this reform will improve efficiency for transmission providers in the study

         process by reducing the number of interconnection requests in the interconnection queue

         and will reduce costs for interconnection customers because they will only submit a

         single set of deposits to enter the interconnection queue.




                2559
                       See Pine Gate Initial Comments at 46.
                2560
                       NOPR, 179 FERC ¶ 61,194 at P 238.
                2561
                       AEE Initial Comments at 38; State Agencies Initial Comments at 14.
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                   We also believe that this reform will improve interconnection queue efficiency

         without imposing an adverse impact on the efficacy of interconnection study results or

         other interconnection customers. Because of the significant growth of generating

         facilities seeking to interconnect jointly at a single point of interconnection,2562 we find

         that allowing co-located generating facilities to submit one interconnection request will

         lessen the delays experienced in many interconnection queues. We agree with

         commenters that transmission providers requiring co-located generating facilities to

         submit separate interconnection requests increases the cost and complexity of the

         interconnection process and creates undue delay to the interconnection process.2563

         Allowing co-located generating facilities to share interconnection requests will ensure the

         interconnection queue moves along expediently, providing clarity, cost certainty, and

         increased transparency throughout the study process.

                   Some commenters suggest that co-located generating facilities should always be

         required to share an interconnection request.2564 Others request that interconnection

         customers retain the choice whether to share an interconnection request.2565 We clarify



                   2562
                    Currently, 42% (285 GW) of solar and 8% (17 GW) of wind projects in the
         queue are proposed as hybrid resources that would include electric storage. Queued Up
         2023 at 18.
                   2563
                          AEE Initial Comments at 39; Environmental Defense Fund Initial Comments
         at 5-6.
                   2564
                          MISO Initial Comments at 107; Southern Initial Comments at 36.
                   2565
                   Clean Energy Associations Initial Comments at 59-61 (arguing against such a
         requirement to enable co-located generating facilities to seek ERIS versus NRIS); SEIA
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         that interconnection customers have the choice to structure their interconnection requests

         according to their preference. We are not requiring interconnection customers to share a

         single interconnection request for multiple generating facilities located on the same site.

                However, we further clarify in response to Clean Energy Associations2566 that

         interconnection customers may submit separate interconnection requests to have each

         device studied separately. We find that this clarification also addresses MISO’s concern

         about any potential conflict with Order No. 807.2567 Additionally, we clarify that, where

         an interconnection customer chooses to submit a single interconnection request for

         multiple generating facilities, the generating facilities must be located on the same site in

         order to reduce complexity for the transmission provider.

                In response to Southern’s request that the Commission clarify that the

         interconnection tie line connecting the co-located resource to the transmission system is a

         radial facility, not a network facility, we clarify that, as explained in Order No. 807, the

         Commission now refers to tie lines as the interconnection customer’s interconnection

         facilities.2568 As the Commission stated in Order No. 807, the interconnection customer’s



         Initial Comments at 38.
                2566
                    Clean Energy Association Initial Comments at 59-61 (requesting that
         generating equipment not be required to be on the same site).
                2567
                       MISO Initial Comments at 107-108.
                2568
                    The Commission stated that “[t]he jurisdictional interconnection facilities for
         which this Final Rule grants a waiver have sometimes in the past been referred to
         informally as ‘generator tie lines,’ but, in the Notice of Proposed Rulemaking, the
         Commission used the term [Interconnection Customer’s Interconnection Facilities] as
         defined in the pro forma documents issued with Order No. 2003.” Order No. 807,
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         interconnection facilities “are sole-use, limited and discrete, radial in nature, and not part

         of an integrated transmission network.”2569 Radial facilities located between the

         generating facility and point of interconnection are considered interconnection facilities

         under the pro forma LGIP and pro forma LGIA.2570

                In response to Omaha Public Power’s suggestion that the Commission allow

         existing transmission provider processes that are facilitating new technologies to continue

         unimpeded, we clarify that, consistent with Section IV of this final rule, to the extent

         transmission providers believe that they already comply with the adopted pro forma

         LGIP provisions, they may demonstrate this in their compliance filings.

                In response to concerns about multiple interconnection customers using the same

         interconnection request,2571 we clarify that co-located generating facilities can be owned

         by a single interconnection customer with multiple generating facilities sharing a site, or

         by multiple interconnection customers that have a contract or other agreement that allows



         150 FERC ¶ 61,211, at n.1 (citing Order No. 2003, 104 FERC ¶ 61,103).
                2569
                       Order No. 807, 150 FERC ¶ 61,211 at P 114.
                2570
                     Under the pro forma LGIP, “Interconnection Facilities shall mean
         Transmission Provider’s Interconnection Facilities and Interconnection Customer’s
         Interconnection Facilities. Collectively, Interconnection Facilities include all facilities
         and equipment between the Generating Facility and the Point of Interconnection,
         including any modification, additions or upgrades that are necessary to physically and
         electrically interconnect the Generating Facility to Transmission Provider’s Transmission
         System. Interconnection Facilities are sole use facilities and shall not include
         Distribution Upgrades, Stand Alone Network Upgrades or Network Upgrades.” See pro
         forma LGIP section 1 and pro forma LGIA article 1.
                2571
                       National Grid Initial Comments at 39-40; Southern Initial Comments at 35-36.
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         for shared land use.2572 In response to Tri-State,2573 we clarify that no such agreement is

         necessary when the generating facilities in question belong to the same interconnection

         customer. In response to Southern,2574 we clarify that generating facilities that co-locate

         still must adhere to all other applicable laws and regulations, including PURPA.

                We find that comments regarding the following issues are outside the scope of this

         proceeding because they pertain to market issues and other rules that were not addressed

         in the NOPR: (1) permitting an interconnection customer to specify the co-located

         generating facility’s maximum injection level to the point of interconnection;2575 and (2)

         metering requirements for co-located generating facilities.2576

                We decline SEIA’s request that the Commission adopt a more expansive

         definition of “co-located resources,” including how the resources are modeled and

         dispatched. Modeling assumptions for electric storage resources and co-located or hybrid

         generating facilities containing electric storage resources are addressed elsewhere in this

         final rule.2577


                2572
                     The revised definition of site control in the pro forma LGIP adopted in this
         final rule requires that site control be “demonstrated by a contract or other agreement that
         allows for shared land use for all Generating Facilities that are co-located and meet the
         provisions of the Site Control definition.” Pro forma LGIP section 3.4.2.
                2573
                       Tri-State Initial Comments at 25.
                2574
                       Southern Initial Comments at 36.
                2575
                       Pine Gate Initial Comments at 45.
                2576
                       Avangrid Initial Comments at 34.
                2577
                       See infra Section III.C.1.d.
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                                b.      Revisions to the Modification Process to Require
                                        Consideration of Generating Facility Additions

                                        i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission expressed concern that, because certain requests to

         add a generating facility to an existing interconnection request are often deemed material

         without an evaluation, even if the injection amount remains the same, the material

         modification process may result in unjust, unreasonable, and unduly discriminatory or

         preferential outcomes.2578 The Commission pointed out that, as explained in Order No.

         2003, it is inadequate and inefficient to solve interconnection issues on a case-by-case

         basis.2579 The Commission explained that, in the case of processing modification

         requests, without a standard set of procedures, transmission providers have adopted

         varying strategies for processing requests to add electric storage or other generating

         facilities that do not change the requested interconnection service limit to existing

         interconnection requests. The Commission preliminarily found that this lack of

         uniformity leads to disparate outcomes across the country and leaves open the potential

         for undue discrimination.

                The Commission explained that the modification provisions in the pro forma

         LGIP do not specify whether an interconnection customer can modify its interconnection

         request to add another generating facility at the same point of interconnection without



                2578
                       NOPR, 179 FERC ¶ 61,194 at P 252.
                2579
                       Id. (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 9-10).
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         increasing the requested interconnection service level.2580 The Commission stated that

         many transmission providers treat such a request automatically as a material

         modification, such that the interconnection customer that wishes to make this type of

         change faces a loss of interconnection queue position regardless of the actual effect the

         addition of a generating facility to an interconnection request may have on the system.

         The Commission explained that this process is a significant barrier to interconnection

         customers that wish to make this type of change and preliminarily found that such a

         barrier hinders access to the transmission system and may render existing interconnection

         processes unjust, unreasonable, and unduly discriminatory or preferential.2581

                In the NOPR, the Commission proposed to revise the pro forma LGIP to require

         transmission providers to evaluate the proposed addition of a generating facility to an

         interconnection request as long as the interconnection customer does not request a change

         to the originally requested interconnection service level.2582 Under this proposed

         requirement, the transmission provider could not automatically consider such a request to

         be a material modification. Specifically, the Commission proposed to require that:

         “(1) transmission providers evaluate the proposed addition of a generating facility to an

         interconnection request within 60 calendar days of receiving the request for modification

         if such addition does not change the requested interconnection service level; (2) the


                2580
                       Id. P 253.
                2581
                       Id. P 254.
                2582
                       Id. P 255.
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         change cannot be considered an automatic material modification and an evaluation

         (including studying the configuration and necessary modeling) must occur prior to

         determining whether the proposed change constitutes a material modification of the

         interconnection request; and (3) if the proposed addition does not have a material impact

         on the cost or timing of any interconnection request that is lower or equally queued, and

         does not cause any other reliability concerns, the addition will not be considered a

         material modification.”2583 The Commission noted that the reliability concerns could

         include, for example, a material impact on the transmission system with regard to short

         circuit capability limits, steady-state thermal and voltage limits, or dynamic system

         stability and response.

                The Commission sought comment on: “(1) whether the addition of a generating

         facility that does not alter an interconnection customer’s interconnection service limit

         could nonetheless require a full interconnection service study; (2) how transmission

         providers should perform studies required to confirm that there is no adverse impact

         because of the addition of a generating facility to an interconnection request, such as

         confirmation that the electrical characteristics of the interconnection customer remain the

         same; (3) whether and how interconnection customers in a later cluster, or

         interconnection customers that are in the same cluster, could be adversely impacted by

         such changes; (4) whether the addition of electric storage when in charging mode (in

         terms of resistance, inductance, and capacitance) may change the electrical characteristics


                2583
                       Id. P 255.
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         of an interconnection request, and whether those changes may affect the reliable

         operation of the generating facility related to that interconnection request; and (5)

         whether further specification is needed for the assessment of the electrical characteristics

         due to the addition of a complex load.”2584

                                         ii.   Comments

                                               (a)   Comments in Support

                A diverse group of commenters indicate general support for the NOPR

         proposal.2585 NARUC agrees that the proposed reform will promote consistency for

         interconnection customers throughout the country, in addition to promoting reliability,

         economic, and administrative efficiency as the generation fleet continues to evolve.2586

         NARUC explains that the loss of interconnection queue position as a result of adding a


                2584
                       Id. PP 256-257.
                2585
                     AEE Initial Comments at 40-41; AEE Reply Comments at 39-41; AES Initial
         Comments at 23; Ameren Initial Comments at 27; APS Initial Comments at 20; Avangrid
         Initial Comments at 34-35; CAISO Initial Comments at 32; Clean Energy Associations
         Initial Comments at 59-61; CREA and NewSun Initial Comments at 90-91; Cypress
         Creek Initial Comments at 18-19; Environmental Defense Fund Initial Comments at 6;
         Environmental Defense Fund Reply Comments at 8-9; ENGIE Initial Comments at 10-
         11; EPSA Initial Comments at 13; Equinor Wind Reply Comments at 5-6; Illinois
         Commission Initial Comments at 13-14; NARUC Initial Comments at 33-35; National
         Grid Initial Comments at 40 (noting qualifications); NRECA Initial Comments at 44;
         NY Commission and NYSERDA Initial Comments at 9; NYTOs Initial Comments at 31;
         Omaha Public Power Initial Comments at 13; Ørsted Initial Comments at 8; Ørsted Reply
         Comments at 7; PacifiCorp Initial Comments at 39-40; Pine Gate Initial Comments at 44,
         47-49; OPSI Initial Comments at 9-10; Public Interest Organizations Initial Comments at
         45-47; SEIA Initial Comments at 38-39; Shell Initial Comments, app. A at ii; SPP Initial
         Comments at 24; UMPA Initial Comments at 7-9.
                2586
                       NARUC Initial Comments at 33-35.
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         generating facility that does not increase the requested service level or cause reliability

         issues, but rather could improve the performance and capability of a generating facility to

         manage reliability or lower the cost of energy to customers, is an inefficient and

         discriminatory outcome the Commission should seek to permanently remedy through this

         proceeding. AEE and Public Interest Organizations assert that a restudy would be

         automatically required for adding a generating facility such as storage, and that if there

         were not a restudy related to the addition of storage, they could provide numerous

         benefits, including firming up variable renewable generation, avoided curtailment,

         congestion relief, and, in the case of grid-forming inverters and batteries, fast frequency

         response and other grid flexibility services.2587 AEE contends that the loss of the

         benefits, primarily from adding storage, will harm reliability and result in unjust and

         unreasonable rates.2588 SEIA contends that adding an additional generating facility (such

         as storage) that does not increase the interconnection service level also should not

         increase the costs to later interconnection requests because it generally would not require

         additional network upgrades and should not delay lower-queued interconnection

         requests.2589




                2587
                 AEE Initial Comments at 40-41; Public Interest Organizations Initial
         Comments at 45.
                2588
                       AEE Initial Comments at 40-41.
                2589
                       SEIA Initial Comments at 38-39; see also ENGIE Initial Comments at 10-11.
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                Clean Energy Associations and Shell add that a generating facility’s addition of

         energy storage capability without increasing the power capability upon which its

         interconnection service level is based (e.g., increasing a two-hour battery to a four-hour

         battery) should not automatically be considered a material modification.2590 Clean

         Energy Associations also argue that the removal of a generating facility from a hybrid or

         co-located resource interconnection request should not automatically be considered a

         material modification if interconnection service levels do not change.2591 Clean Energy

         Associations also request that the material modification rules allow for an increase in the

         underlying capability of the generating facility, rather than simply an addition of a new

         resource.

                Ameren believes that when considering the addition of a generating facility to an

         interconnection request, it is important to protect reliability while avoiding unjustly

         limiting interconnection customer changes by automatically deeming them material

         modifications.2592 National Grid supports the proposal but asks the Commission to

         acknowledge that there may be instances when a determination that the requested

         generating facility addition is a material modification is necessary, such as if: (1)

         changes in load characteristics of the generating facility or in electrical characteristics of



                2590
                     Clean Energy Associations Initial Comments at 59-61; Shell Initial Comments,
         app. A at ii.
                2591
                       Clean Energy Associations Initial Comments at 59-61.
                2592
                       Ameren Initial Comments at 27.
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         a resource; or (2) impacts to other interconnection customers in the interconnection

         queue.2593 SPP also generally supports the proposal but similarly notes there may be

         instances when a request that does not alter the interconnection service amount, it could

         require a full interconnection study and result in additional network upgrades (e.g., a

         request to change a generating facility from one type to another where changes to electric

         characteristics impact stability, fault current, or both).2594

                AES supports the proposal because it adds flexibility to the interconnection

         process, including the efficient addition of generating facilities such as electric storage

         resources to previously submitted interconnection requests.2595 UMPA supports the

         flexibility of a generating facility’s design if a more commercially viable option could be

         pursued without changing the level of interconnection service or causing reliability

         concerns, in particular when a prospective interconnection customer intends to acquire a

         preexisting interconnection queue position in accordance with pro forma LGIP section

         4.3.2596

                AEE suggests that the flexibility to adopt “modest modifications” is important due

         to the current length of the interconnection process, technology changes, price declines,




                2593
                       National Grid Initial Comments at 40.
                2594
                       SPP Initial Comments at 24.
                2595
                       AES Initial Comments at 23.
                2596
                       UMPA Initial Comments at 8.
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         and other factors such as supply chain challenges.2597 AEE recognizes that some

         modifications may be material and will require restudy but suggests that disallowing

         modest changes like adding energy storage that may be beneficial, will harm reliability,

         and could increase consumer costs by limiting the ability to respond to changing

         opportunities and needs. NRECA supports the reform if it results in better use of the

         transmission system but argues that flexibility should not come at the expense of the

         NOPR’s overall goal of reducing speculative interconnection requests, withdrawals, and

         restudies.2598

                Some commenters point out that certain RTOs/ISOs use similar approaches to

         those proposed.2599 NARUC highlights that certain planning regions have demonstrated

         that they can reliably accommodate generating facility additions that do not increase

         requested services levels without treating the modification as a material change.2600

         NARUC underscores CAISO’s flexible process that allows interconnection customers to

         modify the interconnection request and treats fewer resource additions as a material

         modification, which results in more consistent and predictable interconnection queue

         outcomes and ultimately more optimized investments.




                2597
                       AEE Initial Comments at 40-41.
                2598
                       NRECA Initial Comments at 44.
                2599
                 CAISO Initial Comments at 32; NY Commission and NYSERDA Initial
         Comments at 9; NYISO Initial Comments at 48-49; SPP Initial Comments at 24.
                2600
                       NARUC Initial Comments at 33-35.
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                                             (b)   Comments in Opposition

                A number of commenters oppose the proposal.2601 ISO-NE and Idaho Power

         argue that the Commission should require that interconnection requests be fully

         conceived by the time a cluster request window is closed and modifications be proposed

         in a subsequent cluster so it does not delay the cluster.2602 ISO-NE contends that the

         flexibility in the proposal is contrary to the NOPR’s goal of improving study completion

         timelines and readiness requirements because adding a generating facility to an

         interconnection request could introduce major changes to study scope, upgrade results,

         and delay rather than increase study time speed.2603

                MISO opposes the proposal because it believes that the proposal will increase

         speculative interconnection requests, contrary to the stated intention of NOPR, and that

         the balance is disrupted between flexibility to make changes and promoting fairness and

         certainty to other interconnection customers.2604 PJM, MISO, and Indicated PJM TOs

         argue that the proposal will cause delays and divert resources that would have been used



                2601
                   Ameren Initial Comments at 27; Cypress Creek Initial Comments at 18-19;
         Eversource Initial Comments at 33-34; Idaho Power Initial Comments at 13; Indicated
         PJM TOs Initial Comments at 52-54; Indicated PJM TOs Reply Comments at 36-38,
         52-54; ISO-NE Initial Comments at 39-40; MISO Initial Comments at 10; NERC Initial
         Comments at 19-20; PacifiCorp Initial Comments at 39-40; PJM Initial Comments at
         18-19, 51-53; Southern Initial Comments at 37-38; SPP Initial Comments at 24.
                2602
                       ISO-NE Initial Comments at 39-40; Idaho Power Initial Comments at 13.
                2603
                       ISO-NE Initial Comments at 39-40.
                2604
                    MISO Initial Comments at 108-12 (citing Midcontinent Indep. Sys. Operator,
         Inc., 177 FERC ¶ 61,234, at P 12 (2021)); see also MISO Reply Comments at 9.
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         toward processing the interconnection queue,2605 and MISO states the proposal may

         enable an end-run around its site control deadlines by giving interconnection customers

         more time to obtain site control.2606

                MISO states that, each time an interconnection customer requests a fuel change

         (including the addition of storage), under the proposal, MISO would have to determine if

         a material modification exists within 60 days by doing the following: (1) stop processing

         the interconnection queue, create an alternative model, and then run two system impact

         studies based on the different models (original and alternate) to determine if there were

         any changes between the two studies; (2) rebuild the models of any lower-queued cycles

         and run alternate system impact studies to determine if that would create any impacts for

         those interconnection requests, which MISO would not be able to complete within 60

         days; and (3) correct the data that had been sent to an affected system operator, noting it

         is unclear if the affected system operator would be able to inform MISO if the change in

         data created a material modification.2607 MISO notes that it uses fuel-based dispatch in

         its interconnection modeling, which exacerbates the above problems because it models

         individual fuel types in different ways, and includes electric storage in its definition of a




                2605
                 Indicated PJM TOs Reply Comments at 38; Indicated PJM TOs Initial
         Comments at 52-54; MISO Initial Comments at 108-12; PJM Initial Comments at 6.
                2606
                       MISO Initial Comments at 108-12.
                2607
                       Id.
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         different fuel type, so the addition of electric storage would result in a different type of

         modeling.2608

                PJM argues that interconnection customers should only be able to modify their

         interconnection requests in certain circumstances, pointing to its proposal to allow

         interconnection customers to make changes that meet pre-defined conditions at three

         decision points, with the changes at each decision point restudied together.2609 PJM

         claims that even if the maximum generating facility output or capacity interconnection

         rights do not increase, adding a generating facility to an interconnection request can

         affect other interconnection customers. PJM and Avangrid assert that substituting battery

         storage facilities for a portion of a solar generating facility or other generating facility

         without changing the generating facility’s maximum output or capacity interconnection

         rights would likely be a material modification because it would require a light load test or

         other testing that was not performed for the original solar generating facility

         interconnection request.2610 Ameren also states that such interconnection request changes

         can present challenges (e.g., when an interconnection customer’s chosen technology

         changes due to the passage of time) and can raise reliability issues if not properly

         addressed, and therefore it is necessary to evaluate or conduct a restudy to make sure that


                2608
                       Id. at 110.
                2609
                    PJM Initial Comments at 51-52 (citing PJM Interconnection, L.L.C., Filing,
         Docket No. ER22-2110-000 (filed June 14, 2022)); see also SEIA Reply Comments at 23
         (supporting PJM’s suggestion).
                2610
                       PJM Initial Comments at 51-52; Avangrid Initial Comments at 34-35.
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         the studies reflect the technologies actually being interconnected.2611 PacifiCorp

         similarly argues that requests to incorporate grid-charging battery storage technology

         should be processed separately because grid-charging capabilities can alter the electrical

         characteristics of an interconnection request.2612 NV Energy states that in these situations

         more detailed studies may be required in areas of the transmission system where the fault

         duty is already high.2613

                Southern argues that the proposal should not accept modifications to interconnection

         requests without review because these requests could affect other interconnection

         customers in the same cluster as well as lower-queued clusters, adding that it may be a

         material modification that impacts the cost or timing of other interconnection requests.2614

                MISO asserts that it is unclear if the NOPR proposal will require the

         interconnection customer to submit evidence of site control before making the

         modification request or after the request is granted.2615 Idaho Power notes that site

         control requirements (primarily acreage) are based on the technology type used in the

         interconnection request and would require modification if the technology is changed.2616



                2611
                       Ameren Initial Comments at 27.
                2612
                       PacifiCorp Initial Comments at 39-40.
                2613
                       NV Energy Initial Comments at 18.
                2614
                       Southern Initial Comments at 37-38.
                2615
                       MISO Initial Comments at 108-12.
                2616
                       Idaho Power Initial Comments at 13.
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         Idaho Power therefore argues that changing fuel type enables speculative interconnection

         requests that can affect other interconnection customers both in later clusters and in the

         same cluster.

                Indicated PJM TOs also contend that not treating fuel type changes as material

         modifications would provide gaming opportunities, e.g., an interconnection customer

         could bypass the site control demonstration required at the outset of the study process by

         entering the interconnection queue with a proposed storage project with a small site

         footprint and later, without changing the size of the interconnection, adding a solar farm

         with a much larger site footprint.2617 MISO also notes that the NOPR proposal is

         contrary to a recent Commission-approved MISO tariff revision regarding changing fuel

         types while it the interconnection queue, that went through a lengthy stakeholder

         process.2618 MISO states that it uses fuel-based dispatch assumptions for interconnection

         modeling and argues that there is not a simple process to determine if changing fuel

         during the middle of the interconnection process could cause harm to lower- or equally

         queued interconnection requests without running a new study based on the updated

         model. MISO explains that it studies storage generating facilities differently than

         renewable generating facilities, and this affects the interconnection modeling.2619



                2617
                 Indicated PJM TOs Initial Comments at 52-54; Indicated PJM TOs Reply
         Comments at 38.
                2618
                       MISO Initial Comments at 112-13.
                2619
                       Id. at 108-12.
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                Indicated PJM TOs argue that determining the “materiality” of a particular type of

         generating facility modification needs to take into account the cumulative impact on the

         cluster studies of all similar requests.2620 Indicated PJM TOs explain that, even if a type

         of modification sought by a single interconnection customer may have modest system

         impacts and thus not be “material” in a particular case, the cumulative impact of multiple

         similar requests in the same area could be much larger.

                Indicated PJM TOs contend, however, that certain modifications made behind the

         point of interconnection have reliability impacts requiring restudy and thus amount to

         material modifications (e.g., changing fuel type by adding storage to a generating

         facility).2621 Indicated PJM TOs contend that such changes will likely affect short circuit

         capability limits, steady-state thermal and voltage limits, or dynamic system stability and

         response.2622 Indicated PJM TOs also ask that the Commission recognize that different

         fuel types among resources have very different seasonal characteristics and dynamic

         response, arguing that the overall reliability of the transmission system could suffer if

         certain types of changes are incorrectly identified as non-material.2623 However, Shell




                2620
                       Indicated PJM TOs Reply Comments at 38.
                2621
                       Id. at 37-38.
                2622
                   Id. at 38 (citing PJM Interconnection, L.L.C., Answer, Docket No. ER19-
         1958-002, at 5 n.16 (filed Apr. 29, 2020)); Indicated PJM TOs Initial Comments at 52-
         54.
                2623
                 Indicated PJM TOs Initial Comments at 52-54; Indicated PJM TOs Reply
         Comments at 38.
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         contends that studies of the addition of a generating facility to an interconnection request

         should be limited to determining increased costs and/or study or construction delays of

         equal or lower-queued interconnection requests.2624

                Indicated PJM TOs ask that, at a minimum, the Commission allow transmission

         providers to determine the scope of “material modifications” based on their practical

         experience on their own systems and apply that knowledge as to the types of changes that

         typically affect other customers and that trigger the need for restudies.2625 Tri-State

         asserts that, when the performance of a new proposed generating facility differs from the

         existing/incumbent generating facility, transient stability analysis would be required but

         steady state analysis (thermal/voltage) would not be required.2626

                NERC argues that transmission providers should study the potential impacts of

         any material change to the generating facility, such as the addition of storage, even when

         the interconnection service level does not change, because material modifications to the

         generating facility could alter stability and the interaction of a resource with the

         transmission system (e.g., adding inverters, which can increase short circuit current, and

         charging batteries from the transmission system, which can impact system power

         flow).2627


                2624
                       Shell Initial Comments, app. A at ii.
                2625
                       Indicated PJM TOs Reply Comments at 39.
                2626
                       Tri-State Initial Comments at 22.
                2627
                       NERC Initial Comments at 19-20.
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                Eversource argues that transmission providers cannot be expected to meet strict

         deadlines in an adversarial environment while interconnection customers may compound

         these issues by suggesting significant (even if not “material” by the definition of the

         revised pro forma LGIP) changes to their generating facilities in the middle of the

         interconnection process.2628

                                             (c)    Comments on Specific Matters

                                                    (1)     Comments Seeking Materiality
                                                            Guidelines

                Public Interest Organizations assert that the lack of a standardized definition in the

         pro forma LGIP of what constitutes a material modification, such as the addition of

         storage, leads to a lack of uniformity among transmission providers and disparate

         outcomes that could result in undue discrimination.2629 Similarly, Environmental

         Defense Fund asks the Commission to clarify how much flexibility transmission

         providers will be permitted in determining whether adding co-located generating facilities

         changes the service level and becomes a material modification, and it suggests that the

         Commission adopt firm guidelines for transmission providers to determine when the




                2628
                       Eversource Initial Comments at 34.
                2629
                    Public Interest Organizations Initial Comments at 45-47. See also Clean
         Energy Associations Initial Comments at 59; ENGIE Initial Comments at 10-11; SEIA
         Initial Comments at 38-39.
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         addition of a generating facility changes the service level to prevent discrimination

         against generating facilities based on their inclusion of hybrid resources.2630

                Pine Gate asks the Commission to require transmission providers to publish

         additional, consistent criteria regarding what changes to an interconnection request will

         and will not be deemed a material modification, and that transmission providers publish

         their determinations about previous modification requests.2631 Pine Gate contends that

         this information, which certain RTOs/ISOs already provide to interconnection customers,

         will reduce the number of restudies, shorten overall interconnection queue processing

         timelines, and reduce costs. Pine Gate, SEIA, and Shell support establishing thresholds,

         arguing that providing guidance of what constitutes a material modification will provide

         certainty to both interconnection customers and transmission owners.2632

                OPSI asks the Commission to require transmission providers to publish guidance

         on technologies and generating facility designs that would qualify presumptively as

         minor system modifications.2633 Indicated PJM TOs ask for “bright line” criteria (based

         on technical standards) for material modification to the extent possible, to narrow the

         scope of changes in a service request that need to be evaluated.2634 However, Indicated




                2630
                       Environmental Defense Fund Reply Comments at 8-9.
                2631
                       Pine Gate Initial Comments at 47-49.
                2632
                       Id. at 48; SEIA Reply Comments at 23; Shell Initial Comments, app. A at ii.
                2633
                       OPSI Initial Comments at 9-10.
                2634
                       Indicated PJM TOs Initial Comments at 52-54; Indicated PJM TOs Reply
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         PJM TOs also argue that, in regions with large interconnection queues, the Commission

         should give transmission providers the flexibility to define “material modification,”

         taking into account the cumulative impact of particular categories of requested

         modifications based on the transmission provider’s past experience regarding the

         expected number of such requests.2635

                APS supports the proposal but requests guidelines regarding different technology

         types (e.g., increasing the size of a battery while also decreasing the size of a solar

         generating facility to keep the interconnection amount the same).2636 APS recommends

         that each technology type be treated independently in relation to requests to increase or

         decrease the sizes in the original interconnection request or otherwise be deemed a

         material modification (e.g., if the characteristics of a storage component change, it should

         be considered a different request that may be a material modification).

                R Street similarly asks the Commission to consider standardized, non-

         discriminatory conditions that trigger a material change to an interconnection request,

         even if the service limit does not change, arguing that hybrid resources should not be

         penalized for their technology profile.2637 R Street notes, for example, that adding an

         inverter-based generating facility to another such facility may not constitute a material



         Comments at 37.
                2635
                       Indicated PJM TOs Reply Comments at 39.
                2636
                       APS Initial Comments at 20.
                2637
                       R Street Initial Comments at 16.
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         change, but adding a natural gas turbine to a solar site, even with no increase to net

         output across the interconnection point, could create a material shift in interconnection

         facilities.

                 NARUC asks the Commission to clarify the degree of flexibility transmission

         providers have in determining what constitutes a material reliability concern on the

         transmission system.2638 Cypress Creek asks the Commission to further modify the

         current material modification definition to state that certain equipment changes are not

         material (e.g., changing solar modules, changing inverter models, adding storage

         capacity, or making minor adjustments to inverter performance) if planned export and

         import capacity remains the same and the technology changes comport with

         interconnection agreement requirements.2639 ClearPath asks: (1) whether under the

         proposed definition a change in equipment that necessitates submitting new models and

         input data is a material modification; and (2) how equipment changes for non-

         synchronous resources will be treated under the proposed definition of material

         modification and the proposed deadlines.2640

                 Ørsted supports the proposed definition of “material modification” but disagrees

         with imposing restrictions on when material modifications can be submitted (e.g., after




                 2638
                        NARUC Initial Comments at 33-35.
                 2639
                        Cypress Creek Initial Comments at 18-19.
                 2640
                        ClearPath Initial Comments at 10.
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         the initial application).2641 Ørsted asks the Commission to recognize that modifications

         may occur at various stages of the process to reflect the use of evolving technology or to

         meet federal or state requirements.2642 Ørsted acknowledges transmission providers’ time

         and effort to conduct studies associated with proposed modifications but states that there

         is also a need to balance the interests of the interconnection customer, as there are a

         number of reasons why changes to an interconnection request may be necessary and

         development time for resources must also be considered. Ørsted asserts that transmission

         providers’ differing processes for assessing material modifications create regulatory

         uncertainty for interconnection customers seeking to develop generating facilities in

         different regions, which can have significant economic impacts for the generating

         facility.2643 Ørsted states that, if the Commission chooses not to make the proposed

         change to the modification process, then, at a minimum, the Commission should

         encourage development of best practices that can be implemented by all the RTOs/ISOs

         with the goal of increasing efficiency and regulatory certainty.

                Shell asks the Commission to define the differences between “co-located

         additive,” “co-located non-additive,” and “hybrid” resources, and explains that these

         categories will allow transmission providers to develop proper criteria and business




                2641
                       Ørsted Reply Comments at 5 (citing PJM Initial Comments at 17).
                2642
                       Id. at 2.
                2643
                       Id. at 6-7.
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         practices governing additions and/or changes to pending interconnection requests.2644

         Shell argues that, because transmission providers inconsistently apply the methods they

         use to assess which issues qualify as being adverse material impacts, the Commission

         should more clearly define the scope of an “adverse material impact” to ensure that

         transmission providers consistently determine whether an interconnection request impacts

         equally or lower-queued interconnection customer(s) to a sufficient level of harm.

                                                      (2)      Comments on Study Timeline

                With respect to the study timeline, while NARUC supports the proposal to require

         transmission providers to evaluate proposed generation additions within 60 calendar days

         because it is a reasonable amount of time, it suggests that the Commission allow some

         flexibility because planning regions and the industry may face challenges aligning

         resources and expertise with increasingly aggressive schedules to perform complex

         interconnection studies.2645 Public Interest Organizations, on the other hand, argue that

         the 60-day timeline to perform an evaluation is critically important for continuing to

         reduce delays in interconnection queue processing.2646 Cypress Creek supports the

         concept of expedited study if the request for a modification does not change the level of

         service, there is no impact on cost or timing of a request that is lower- or equally queued,




                2644
                       Shell Initial Comments, app. A at ii.
                2645
                       NARUC Initial Comments at 33-35.
                2646
                       Public Interest Organizations Initial Comments at 45-47.
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         and it does not cause reliability concerns.2647 Tri-State asks how the 60-day time frame

         would work with the cluster study process.2648 PJM opposes the 60-day timeline.2649

                                                     (3)   Comments on Control Technologies

                ENGIE suggests that including control technologies in the evaluation of the

         addition of a generating facility to an existing interconnection request should confirm the

         lack of impact on other interconnection customers.2650 SEIA argues that transmission

         providers should be transparent about requiring specific types of control technologies to

         add an additional resource.2651 Clean Energy Associations contend that hardware or

         software controls can also address, reliably and cost-effectively, concerns about the

         impact of the use or addition of energy storage on the reliable operation and delivery of

         energy (such as PJM’s concern regarding studies for light load conditions).2652

                                                     (4)   Comments on Impacts of Storage in
                                                           Charging Mode

                Pine Gate states that the scope of the required studies for the addition of storage

         will vary depending on the proposed configuration of the resource, such as whether it




                2647
                       Cypress Creek Initial Comments at 18-19.
                2648
                       Tri-State Initial Comments at 30.
                2649
                       PJM Initial Comments at 51-53.
                2650
                       ENGIE Initial Comments at 11.
                2651
                       SEIA Initial Comments at 38-39.
                2652
                       Clean Energy Associations Reply Comments at 10-11.
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         charges from the grid.2653 NV Energy states that any changes in the electrical

         characteristics of the storage system in charging mode versus generating mode are most

         likely negligible and unlikely to significantly impact studies.2654

                APS explains that, based on its experience, the introduction of new load (not

         electrical characteristics), such as storage charging from the grid in lieu of self-charging,

         which could require changes to the system overall, could affect the results of the existing

         study and other studies.2655

                Public Interest Organizations state that the transmission provider should study

         whether a storage generating facility’s charging and discharging load profiles may impact

         the grid.2656 Public Interest Organizations argue that the interconnection customer and

         transmission provider should work together to “identify the temporal and physical

         charging characteristics to be agreed upon,” but that the Commission does not need to

         further assess the details of the storage generating facilities charging because those

         attributes will be tied to the unique properties of the transmission system at that location

         and assessed during the interconnection process to ensure that charging load and

         operational profiles do not adversely impact the system.




                2653
                       Pine Gate Initial Comments at 48.
                2654
                       NV Energy Initial Comments at 18.
                2655
                       APS Initial Comments at 21.
                2656
                       Public Interest Organizations Initial Comments at 45-47.
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                                                    (5)    Miscellaneous Comments

                PJM asks the Commission to restrict the ability to modify interconnection requests

         after the initial application by allowing (1) an interconnection customer to move its point

         of interconnection only in certain limited instances and (2) other specified modifications

         only at certain specified times to avoid restudies and study delays.2657 PJM contends that

         there is no need to study the materiality of a change in an interconnection request’s point

         of interconnection because each such change requires analysis and the application of

         engineering judgment, which takes time away from processing interconnection requests

         and performing the cluster study. PJM claims that interconnection customers making

         changes are really seeking to optimize their generating facilities mid-process rather than

         performing due diligence before entering the interconnection queue.

                With respect to the need for system impact studies, Illinois Commission argues

         that, although in some cases additional studies are necessary in response to a request to

         add a generating facility to an existing interconnection request to ensure reliability,

         transmission providers should minimize repeating system impact studies to the extent

         possible to avoid slowing down the interconnection queue.2658 In response to the concern

         that evaluating modifications is time-consuming, Ørsted asks the Commission to allow




                2657
                       PJM Initial Comments at 17-18.
                2658
                       Illinois Commission Initial Comments at 13-14.
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         third-party consultants engaged by the interconnection customers to help inform any

         studies related to modifications to reduce the workload on RTO/ISO staff.2659

                PPL suggests that the transmission provider should assign an interconnection

         queue position to the proposed additional generating facility.2660 PPL recommends the

         study of the original and additional interconnection request together in the initial phase of

         the interconnection process, and if they do not contribute to any network upgrades or

         require any interconnection facilities, PPL suggests they should be able to proceed

         directly to final agreements.

                Pine Gate states that, if addition of a grid-charging storage resource is deemed a

         material modification, the interconnection customer should be permitted to propose the

         addition of a non-grid-charging electric storage resource as an alternative.2661 In order to

         reduce the burden on transmission providers, Pine Gate asks the Commission to permit

         interconnection customers to provide to transmission providers engineering analysis

         applying what Pine Gate suggests would be published engineering criteria to the

         requested modification and analyzing the impacts to other interconnection customers or

         reliability, with the transmission provider then validating the results and determining if

         the proposed modification is material.




                2659
                       Ørsted Reply Comments at 7.
                2660
                       PPL Initial Comments at 22.
                2661
                       Pine Gate Initial Comments at 47-49.
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                Clean Energy Associations explain that if transmission providers study each

         component of co-located generating facilities separately, a wind or solar generating

         facility could obtain a faster study for ERIS while the co-located storage could get a more

         detailed study for NRIS.2662 Clean Energy Associations assert that this flexibility would

         provide transmission providers more visibility during interconnection processes, reduce

         requests to retrofit generating facilities with additional co-located resources, and enable

         faster interconnection processes for component resources that will accept curtailment.

                                             (d)      Requests for Clarification and Flexibility

                MISO asserts that, if the Commission adopts the proposal, the Commission should

         modify the proposed requirement to allow the “proposed addition of a generating facility

         to an interconnection request as long as the interconnection customer does not request a

         change to the originally requested interconnection service level and the proposed addition

         to the generating facility is modeled the same way as the original generating facility.”2663

                Clean Energy Associations ask the Commission to clarify whether (1) generating

         facility size reductions, which could result in upgrade costs being shifted to others in the

         same cluster, would be a material modification and (2) there is a reduction threshold that

         would trigger a material modification.2664




                2662
                       Clean Energy Associations Initial Comments at 59-61.
                2663
                       MISO Initial Comments at 108-12.
                2664
                       Clean Energy Associations Initial Comments at 64.
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                Invenergy asks the Commission to clarify that its proposed requirement to

         evaluate requests to add a generating facility extends to requests for surplus

         interconnection service and that those requests cannot automatically be deemed a

         material modification.2665 Invenergy argues that, when the surplus interconnection

         request is below the total original LGIA interconnection rights and determined a material

         modification, the interconnection customer should have the opportunity to mitigate the

         identified issue so that it is no longer a material modification.

                Equinor Wind seeks clarification that the proposed definition of material

         modification excludes changes that (1) occur on the interconnection customer’s side of

         the point of interconnection and (2) do not alter the electrical output or electrical

         characteristics of a generating facility, adding that such changes should not be subject to

         the transmission provider’s discretion or evaluation of whether they amount to a material

         modification.2666 Equinor Wind argues that these clarifications will reduce uncertainty

         for interconnection customers and allow for some appropriate flexibility during

         generating facility development, particularly for offshore wind. Equinor Wind asserts

         that this clarification will not create reliability concerns because these changes do not

         have transmission system impacts.

                Indicated PJM TOs ask the Commission to clarify the relationship between the use

         of the term “material modification” in the pro forma LGIP and the term “materially


                2665
                       Invenergy Initial Comments at 51-52.
                2666
                       Equinor Wind Reply Comments at 5-6.
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         modify” in NERC Reliability Standards FAC-001-3 (Facility Interconnection

         Requirements) and FAC-002-2 (Facility Interconnection Studies), asserting that the lack

         of clarity and overlap between the two terms could cause confusion and may result in

         additional delays to the interconnection process.2667 UMPA asks the Commission to

         clarify that adding a generating facility includes technology changes beyond electric

         storage resources, such as changing from wind to solar.2668

                With respect to who performs the study to determine the impact of adding a

         generating facility to an existing interconnection request, NARUC argues that, because

         the reliable operation of the bulk-power system is at issue, the Commission should clarify

         that the transmission providers determine whether (1) the addition of a generating facility

         requires a full interconnection service study and (2) the interconnection customers in the

         same cluster (or subsequent clusters) could be adversely impacted.2669 NARUC adds that

         the Commission should ensure that these processes are transparent, clearly communicated

         to interconnection customers, and allow interconnection customers to mitigate the

         impacts and revise their modifications requests.

                National Grid urges the Commission to allow ISO-NE and NYISO to maintain

         their processes that allow the transmission owner and RTO/ISO to evaluate the proposed



                2667
                     Indicated PJM TOs Initial Comments at 52-54 (noting NERC’s pending
         petition to change the term from “materially modify” to “qualified change”).
                2668
                       UMPA Initial Comments at 8-9.
                2669
                       NARUC Initial Comments at 33-35.
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         change and the RTO/ISO to make the final determination as to whether the change

         constitutes a material modification.2670 Indicated PJM TOs argue that the final rule

         should have sufficient flexibility to allow PJM’s proposed definition of “material

         modification” or permit PJM to obtain an independent entity variation for its proposed

         definition.2671

                Omaha Public Power asks the Commission to allow transmission providers to

         continue their existing processes of facilitating the use of newer technologies such as

         storage to promote the stability of these processes rather than using the proposed process

         on the NOPR.2672

                                       iii.   Commission Determination

                We adopt, with modifications, the NOPR proposal to revise section 4.4.3 of the

         pro forma LGIP to require transmission providers to evaluate the proposed addition of a

         generating facility at the same point of interconnection prior to deeming such an addition

         a material modification, if the addition does not change the originally requested

         interconnection service level. We modify the NOPR proposal regarding section 4.4.3 of

         the pro forma LGIP, as discussed in greater detail below, to: (1) remove the 60-calendar

         day requirement for assessment of material modification; (2) limit the requirement that

         the transmission provider analyze a request to add a generating facility to an existing


                2670
                       National Grid Initial Comments at 40.
                2671
                       Indicated PJM TOs Initial Comments at 52-54.
                2672
                       Omaha Public Power Initial Comments at 13.
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         interconnection request solely to requests received prior to the interconnection customer’s

         return of the executed facilities study agreement to the transmission provider; and

         (3) create an exception for transmission providers that employ fuel-based dispatch

         assumptions from these requirements.

                We find that the record demonstrates that automatically deeming a request to add a

         generating facility to an existing interconnection request to be a material modification

         creates a significant barrier to access to the transmission system2673 and renders existing

         interconnection processes unjust and unreasonable. Such default treatment deters

         interconnection customers from proceeding with changes to a proposed generating

         facility that, after review, may be found not to be material, thereby reducing the number

         of generating facilities that can access the transmission system. This creates a barrier to

         the addition of a generating facility to an existing interconnection request that may

         improve the efficient use of the transmission system.

                We make several modifications to the NOPR proposal in response to concerns

         reflected in the record. First, we recognize that it may be difficult for some transmission

         providers to complete their material modification evaluations within 60 calendar days,

         depending on the details of their individual interconnection processes; therefore, we

         decline to adopt a 60-calendar day requirement. This preserves flexibility for




                2673
                 See, e.g., AEE Initial Comments at 40-41; Public Interest Organizations Initial
         Comments at 45-47; SEIA Initial Comments at 38-39.
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         transmission providers to address modification requests as is most efficient with their

         overall interconnection queue processing.

                Second, we modify the NOPR proposal to limit when an interconnection customer

         may request to add a generating facility to an existing interconnection request without

         such a request automatically being deemed a material modification. We are persuaded by

         commenters’ arguments that allowing requests for evaluation to occur at any point in the

         interconnection process could impede the ability of the transmission provider to timely

         process its interconnection queue.2674 Thus, we modify the NOPR proposal, and

         transmission providers will only be required to evaluate whether a request to add a

         generating facility to an existing interconnection request is material if it is submitted

         before the interconnection customer returns the executed facilities study agreement to the

         transmission provider. Once the executed facilities study agreement is returned, the

         transmission provider may decide to automatically treat requests to add a generating

         facility to an existing interconnection request as material modifications without review.

                We clarify that interconnection customers may continue to request changes to

         proposed generating facilities at any time in the interconnection process. Transmission

         providers that choose to evaluate modification requests later in the interconnection

         process than required by this rule (i.e., after the interconnection customer returns the



                2674
                  See, e.g., Indicated PJM TOs Initial Comments at 52-54; Indicated PJM TOs
         Reply Comments at 38; MISO Initial Comments at 108-112; PJM Initial Comments at 6.
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         executed facilities study agreement to the transmission provider) may continue to do so.

         This final rule does not address how transmission providers evaluate modification

         requests after the facilities study agreement, and thus transmission providers are not

         required to include their modification processes after the facilities study agreement in

         their compliance filing with this final rule.

                We acknowledge that, as stated by commenters, transmission providers that

         employ fuel-based dispatch assumptions, such as MISO, may experience challenges with

         the proposal because the interconnection study assumptions in a fuel-based dispatch

         model vary depending on the fuel type; thus a request to add a generating facility of a

         different fuel type to an existing interconnection request would always constitute a

         modification that would require a study, thereby affecting the interconnection costs or

         study timing for lower- or equally-queued interconnection customers.2675 This type of

         request would most likely represent a material modification and would result in the loss

         of interconnection queue position under the tariff. Therefore, we modify the proposal to

         include an exception for transmission providers that use fuel-based dispatch assumptions

         in their interconnection studies.

                In response to EPSA’s and Equinor Wind’s request to provide a clearer standard

         definition of material modification,2676 we note that we are not changing the definition of

         material modification in this rule and do not believe a more prescriptive definition of


                2675
                       See, e.g., MISO Initial Comments at 108-12.
                2676
                       EPSA Initial Comments at 13; Equinor Wind Reply Comments at 5-6.
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         material modification is reasonable given the nuances in transmission providers’

         processes for assessing material modification, as described in the comments.2677 With

         respect to NARUC’s request to clarify the flexibility transmission providers have in

         determining what constitutes a material reliability concern on the transmission system,2678

         we clarify that this reform only requires transmission providers to evaluate

         interconnection modification requests. As stated above, it does not alter the definition of

         material modification. Transmission providers may continue to find requests to be

         material if they impact the cost or timing of an equally or lower-queued interconnection

         customers.

                Commenters request clarification about the requirements for demonstrating site

         control when submitting a modification request.2679 In response, we clarify that, where a

         modification request to add a generating facility to an existing interconnection request

         requires the interconnection customer to adhere to a larger footprint to support a modified

         facility design, the interconnection customer must provide evidence of the required site

         control when submitting the modification request to the transmission provider. The

         requirements for site control that the interconnection customer must adhere to may

         depend on the timing of the request for the modification as well as the technology type of




                2677
                       See, e.g., National Grid Initial Comments at 40.
                2678
                       NARUC Initial Comments at 33-35.
                2679
                       See, e.g., Indicated PJM TOs Initial Comments at 52.
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         the requested additional generating facility, as discussed in the site control portion of this

         rule.2680

                Indicated PJM TOs also request that the Commission clarify the relationship

         between the term “material modification” in the pro forma LGIP and the term “materially

         modify” in NERC Reliability Standard FAC-001-3.2681 We find that this request to

         further define the relationship between the terms is outside of the scope of this

         rulemaking. As discussed above, this final rule does not alter the preexisting definition of

         a material modification. Moreover, we note that the Commission recently approved a

         change to the NERC FAC Reliability Standards to change “materially modify” to

         “qualifying change.”2682

                ClearPath seeks clarification regarding equipment changes, specifically whether

         under the proposed definition of material modification, a change in equipment that

         necessitates submitting new models and input data is a material modification and how

         equipment changes for non-synchronous resources will be treated under the proposed

         definition of material modification and the proposed deadlines.2683 We clarify that an




                2680
                       See supra Section III.A.6.b of this final rule.
                2681
                       Indicated PJM TOs Initial Comments at 52.
                2682
                     See N. Am. Elec. Reliability Corp., 181 FERC ¶ 61,126 at P 9 (2022)
         (explaining that replacing materially modify with qualified change “removes the
         possibility of confusion with the Commission’s defined term ‘Material Modification’ in
         its pro forma interconnection procedures and agreements”).
                2683
                       ClearPath Initial Comments at 10.
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         equipment change, whether for synchronous or non-synchronous resources, that does not

         change the originally requested interconnection service level and does not qualify for

         evaluation under the transmission provider’s technological change procedure must be

         evaluated by the transmission provider to determine if it is a material modification.

                Similarly, Equinor Wind seeks clarification that the proposed definition of

         material modification excludes changes that do not alter the electrical output or electrical

         characteristics of an interconnection request, suggesting that such changes should not be

         subject to the transmission provider’s discretion or evaluation of whether they amount to

         a material modification.2684 We note that the definition of material modification is based

         on whether changes have a material impact on the cost or timing of any interconnection

         request with an equal or lower interconnection queue position, and thus we decline to

         categorically exclude certain types of changes from the definition.

                Clean Energy Associations ask the Commission to clarify whether: (1) generating

         facility size reductions, which could result in upgrade costs being shifted to others in the

         same cluster, would be a material modification; and (2) there is a reduction threshold that

         would trigger a material modification.2685 We clarify that, as per pro forma LGIP section

         4.4.1, prior to the return of the cluster study agreement from the transmission provider to

         the interconnection customer, a decrease of up to 60% of electrical output (MW) must not

         be considered a material modification. In addition, per pro forma LGIP section 4.4.2,


                2684
                       Equinor Wind Reply Comments at 5-6.
                2685
                       Clean Energy Associations Initial Comments at 64.
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         prior to the return of the executed interconnection facilities study, an additional 15%

         decrease of electrical output of the proposed project must not be considered a material

         modification if the change occurred either through a decrease in plant size (MW) or a

         decrease in interconnection service level accomplished by applying transmission

         provider-approved injection-limiting equipment.

                Invenergy, in discussing both surplus interconnection and material modification,

         contends that in circumstances where a surplus interconnection request is below the total

         LGIA interconnection rights and determined to be a material modification, the

         interconnection customer should have the opportunity to mitigate identified issues such

         that there is no longer a material modification.2686 We find this request to be outside the

         scope of this proceeding because the final rule is not proposing a process whereby

         interconnection customers may mitigate identified issues to avoid a material modification

         determination. In response to Invenergy’s request to clarify that the proposed reforms to

         require evaluation of requests to add a generating facility extend to requests for surplus

         interconnection service, the Commission declines to make such a change. The surplus

         interconnection service process is separate from the material modification process, and

         the two processes should not be conflated.

                We decline to adopt firm guidelines that transmission providers will follow to

         determine what constitutes a material modification when a request to add a generating

         facility to an existing interconnection request involves adding co-located generating


                2686
                       Invenergy Initial Comments at 51.
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         facilities.2687 The varying configurations and varying electrical characteristics that

         interconnection customers may propose through this process may alter how they impact

         equally or lower-queued interconnection customers, and therefore we find that

         transmission providers must retain flexibility to evaluate these requests.

                                    c.      Availability of Surplus Interconnection Service

                                            i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission noted that Order No. 845 established a surplus

         interconnection service process to enable a new interconnection customer to use the

         unused portion of an existing interconnection customer’s approved interconnection

         service through the inclusion of an additional generating facility behind a single point of

         interconnection.2688 The Commission also noted that Order No. 845 did not specify when

         a generating facility is considered to be “existing,” and preliminarily found that limiting

         the use of surplus interconnection service to only interconnection customers that have

         achieved commercial operation may be unjust, unreasonable, and unduly discriminatory

         or preferential.2689




                2687
                     We consider Shell’s request for the Commission to define the differences
         between “co-located additive,” “co-located non-additive,” and “hybrid” resources, as well
         as Shell’s request to specify the approach to charging energy, to be included among the
         requests for firm guidelines.
                2688
                       NOPR, 179 FERC ¶ 61,194 at P 262.
                2689
                       Id. P 263.
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                The Commission proposed to revise the pro forma LGIP to require transmission

         providers to allow interconnection customers to access the surplus interconnection

         service process once the original interconnection customer has an executed LGIA or

         requests the filing of an unexecuted LGIA.2690

                                       ii.   Comments

                                             (a)   Comments in Support

                The vast majority of commenters on this topic either support or do not oppose the

         proposal regarding surplus interconnection service, though some seek various

         clarifications.2691 MISO states that surplus interconnection requests are the proper

         method for interconnection customers to add storage or a different generating facility fuel

         source to an interconnection request for an unbuilt generating facility2692 and suggests

         that the Commission limit when the transmission provider must tender a surplus

         interconnection agreement to the interconnection customer to prevent a surplus

         interconnection agreement from being tendered prior to the original interconnection




                2690
                       Id. P 264.
                2691
                    AEE Initial Comments at 41; AEP Initial Comments at 5, 44-45; APS Initial
         Comments at 21; Clean Energy Associations Initial Comments at 61; CREA and NewSun
         Initial Comments at 91; Elevate Initial Comments at 11-12; Enel Initial Comments at 79;
         Eversource Initial Comments at 34; Iowa Commission Initial Comments at 4; NARUC
         Initial Comments at 36; National Grid Initial Comments at 41; NextEra Initial Comments
         at 37; NRECA Initial Comments at 44; Omaha Public Power Initial Comments at 13;
         PacifiCorp Initial Comments at 40; SEIA Initial Comments at 39; Shell Initial Comments
         at 36; SPP Initial Comments at 24.
                2692
                       MISO Initial Comments at 113-14.
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         agreement becoming effective. MISO explains that its generator interconnection

         procedures allow for a surplus interconnection request to be made during the processing

         of the interconnection queue and adds that MISO is not required to tender a surplus

         interconnection agreement until the original interconnection agreement has become

         effective because a surplus interconnection agreement is a derivative of the original

         interconnection agreement. According to MISO, under the proposed reform, the surplus

         interconnection agreement could be tendered prior to the original interconnection

         agreement becoming effective if the original interconnection agreement is filed

         unexecuted and becomes the subject of a disputed proceeding.

                                            (b)    Comments in Opposition

                Some commenters either argue that the NOPR proposal is inappropriate for their

         situation or oppose it outright, in some cases arguing against the underlying concept of

         surplus interconnection service. For instance, NYISO asserts that it does not provide for

         the use of “surplus” interconnection service and the Commission has previously granted

         NYISO an independent entity variation from the surplus interconnection service

         requirement.2693 NYISO asserts that this independent entity variation remains just and

         reasonable and accomplishes the purposes of Order No. 845 and the instant NOPR to




                2693
                  NYISO Initial Comments at 49 (citing N.Y. Indep. Sys. Operator, Inc., 170
         FERC ¶ 61,117, at P 98 (2020)).
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         make it easier for proposed generating facilities to interconnect without costly

         upgrades.2694

                ISO-NE states that allowing for co-location of generating facilities meets the need

         of allowing surplus interconnection service to be available after executing an LGIA,

         rendering the proposed reform unnecessary.2695 ISO-NE explains that, unless the existing

         generating facility is already commercial, there is no unused capability available at the

         point of interconnection. ISO-NE asserts that, to the extent the interconnection customer

         wants to co-locate generating facilities, it should be required to propose that as part of the

         original interconnection request.

                CAISO disagrees that allowing an interconnection customer to request surplus

         interconnection service after the original interconnection customer executes an LGIA

         would enable interconnection customers with unused interconnection capacity to let other

         generating facilities use that capacity earlier than allowed.2696 CAISO contends that

         interconnection customers do not request to use surplus interconnection service, and

         further reform is unlikely to have much effect because surplus interconnection service is

         unavailable independent of the Commission’s definition. CAISO asserts that

         interconnection customers do not oversize their interconnection capacity; therefore, other




                2694
                       Id. at 50.
                2695
                       ISO-NE Initial Comments at 40.
                2696
                       CAISO Initial Comments at 32-33.
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         interconnection customers cannot avail themselves of any “surplus” because it is already

         subscribed.

                PJM asserts that the current surplus interconnection service construct provides no

         value due to the challenges inherent in assessing the dynamic response associated with

         adding a surplus generating facility to the system while not infringing on the rights of the

         interconnection customers in the interconnection queue or available “headroom.”2697

         Therefore, PJM contends that it sees no benefit in expanding its application and that

         PJM’s current surplus interconnection service is rarely used. PJM asserts that surplus

         interconnection service imposes overhead costs without providing value to

         interconnection customers wishing to interconnect.

                In response to PJM and CAISO’s comments, SEIA replies that both PJM and

         CAISO take an overly narrow approach to surplus interconnection service and that past

         use of surplus interconnection service should not bar making the service available to

         future requests to add storage to a generating facility.2698

                                             (c)     Comments on Specific Proposal

                Other commenters argue that, at least in some situations, surplus interconnection

         service should be available even earlier than proposed in the NOPR. For instance,

         Ameren asserts that there is no need to restrict the request to an executed, or requested




                2697
                       PJM Initial Comments at 65.
                2698
                       SEIA Reply Comments at 23-25.
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         unexecuted, LGIA.2699 Ameren contends that, under the Commission’s proposal, MISO

         and the interconnection customer would have finalized the network upgrades and system

         impact study only to go back to assess what surplus interconnection capacity would have

         been available. Therefore, Ameren asks the Commission to allow for regional flexibility.

         Omaha Public Power likewise recommends that the Commission allow existing

         transmission provider processes that are facilitating new technologies to continue.2700

                Pine Gate favorably cites MISO’s process for surplus interconnection service and

         asserts that the Commission should expand its current proposal to permit interconnection

         customers to access the surplus interconnection service process upon completion of the

         cluster restudy phase.2701 Invenergy states that the Commission should permit requests

         for surplus interconnection service after an interconnection request has an executed

         facilities study agreement.2702 Invenergy contends that the Commission could further

         clarify that an LGIA must be in place for the initial facility before any LGIA for the

         surplus interconnection service can be tendered. Invenergy asserts that, if the

         Commission does not modify the NOPR, it should clarify that transmission providers like

         MISO that have existing practices under which surplus interconnection service can be

         requested earlier in the process may continue those existing practices in compliance


                2699
                       Ameren Initial Comments at 28.
                2700
                       Omaha Public Power Initial Comments at 13.
                2701
                       Pine Gate Initial Comments at 49-50.
                2702
                       Invenergy Initial Comments at 50.
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         filings after any final rule may become effective. Invenergy also states that the

         Commission should reinforce its commitment in Order No. 845 that surplus

         interconnection service is available up to the maximum level allowed under the original

         interconnection agreement.2703 According to Invenergy, some transmission providers

         significantly limit an interconnection customer’s surplus interconnection rights by

         deeming an otherwise permitted request a material modification except in the limited

         situation of direct current (DC)-coupled behind-the-meter storage, which effectively

         precludes surplus interconnection service in all other circumstances under a standard that

         is not well-defined or explained.

                Elevate encourages the Commission to consider modifying the duration of the

         period in which an interconnection customer taking surplus interconnection service can

         continue to operate following the original, host generating facility’s retirement.2704

         Elevate contends that, although an interconnection customer taking surplus

         interconnection service may operate for up to a year following the original generating

         facility’s retirement, a one-year period is too short when it may take four years or more to

         navigate the interconnection process. According to Elevate, a surplus interconnection

         customer should be able to operate sufficiently long following the original generating

         facility’s retirement that it has the ability to obtain permanent interconnection service




                2703
                       Id. at 50-51 (citing Order No. 845, 163 FERC ¶ 61,043 at P 475).
                2704
                       Elevate Initial Comments at 11-12.
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         through the submission of a new interconnection request.2705 Elevate contends that this

         will ensure that generation capacity that has been fully constructed and is contributing to

         system reliability is not unnecessarily forced offline due to interconnection queue

         backlogs beyond their control.

                                              (d)      Requests for Clarification

                Shell contends that the Commission should clarify that transmission providers

         cannot deny surplus interconnection capacity except where (1) the total amount of

         interconnection service, measured in MW, at the point of interconnection has increased,

         or (2) there will be a reliability risk to the relevant transmission system.2706

                NARUC asks the Commission to clarify in the pro forma LGIP that an

         interconnection customer that has been fully studied and has an executed LGIA, or has

         filed an unexecuted LGIA, should be considered an existing facility for purposes of

         surplus interconnection service.2707 NARUC asserts that this clarification will increase

         efficiency in interconnection queues throughout the planning regions and ensure that

         available interconnection capacity can be used efficiently.

                Enel requests that the Commission specify that parallel, simultaneous operation

         and injection of two distinct, alternating current (AC)-coupled generating facilities is an

         acceptable configuration for surplus interconnection service so long as the total injection


                2705
                       Id. at 12 (citing Order No. 845, 163 FERC ¶ 61,043 at P 506).
                2706
                       Shell Initial Comments at 36.
                2707
                       NARUC Initial Comments at 36.
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         of energy at the point of interconnection does not exceed the interconnection service

         level.2708

                APS and PacifiCorp ask the Commission to clarify that no surplus can be provided

         if the LGIA of the original interconnection request is suspended.2709 PacifiCorp explains

         that, if the underlying LGIA is suspended, then there is no guarantee that the facilities

         required for interconnection will be installed.2710 APS further asserts that, if an

         interconnection customer requests to go into suspension after a surplus request is granted,

         then that would also require the surplus interconnection to be suspended.2711 PacifiCorp

         asserts that any work the transmission provider were to undertake relating to the surplus

         interconnection service may be wasted effort if the LGIA never comes out of

         suspension.2712 PacifiCorp asks the Commission to clarify that, if the original surplus

         interconnection request exceeds its permitted suspension period, both the original LGIA

         and any surplus interconnection service shall be terminated.

                Idaho Power requests clarification as to whether the Commission intends for the

         surplus interconnection service process to be used for an interconnection customer that

         owns a generating facility, either in-service or with an executed interconnection


                2708
                       Enel Initial Comments at 79.
                2709
                       APS Initial Comments at 21; PacifiCorp Initial Comments at 40.
                2710
                       PacifiCorp Initial Comments at 40.
                2711
                       APS Initial Comments at 21.
                2712
                       PacifiCorp Initial Comments at 40-41.
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         agreement, to add energy storage after the interconnection agreement is executed, or if

         the Commission intends for these additions to be evaluated under pro forma LGIA article

         5.19 (Modification).2713

                                       iii.   Commission Determination

                We adopt the NOPR proposal to revise section 3.3.1 of the pro forma LGIP to

         require transmission providers to allow interconnection customers to access the surplus

         interconnection service process once the original interconnection customer has an

         executed LGIA or requests the filing of an unexecuted LGIA.

                We find, based on the record, that this reform will enable interconnection

         customers with unused interconnection service to let other generating facilities use that

         interconnection service earlier than is currently allowed and, therefore, increases overall

         efficiency of the interconnection queue.2714 Because we find this reform to be just and

         reasonable, to remedy the unjust and unreasonable rates caused by the limited ability to

         use surplus interconnection service today and ensure that interconnection customers are

         able to interconnect in a reliable, efficient, transparent, and timely manner, we decline to

         adopt alternative proposals suggested by commenters.

                We find unpersuasive the comments from various RTOs/ISOs opposing the NOPR

         proposal.2715 To the extent that they oppose the surplus interconnection service process



                2713
                       Idaho Power Initial Comments at 14.
                2714
                       See, e.g., AEE Initial Comments at 41.
                2715
                       CAISO Initial Comments at 32-33; ISO-NE Initial Comments at 40; NYISO
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         approved by the Commission in Order No. 845, we find their arguments to be a collateral

         attack on the Commission’s findings in Order No. 845 and irrelevant for purposes of

         determining whether the instant proposal is just and reasonable. Further, consistent with

         the NOPR, we continue to find that expanding the availability of surplus interconnection

         service beyond those entities that have achieved commercial operation will address the

         Commission’s concerns regarding undue restrictions on access to this surplus

         interconnection service,2716 thereby making it available to a broader group of potential

         interconnection customers and achieving the efficiencies discussed above.

                We are also not persuaded by either Pine Gate’s or Ameren’s arguments2717 to

         alter the NOPR proposal to require transmission providers to allow interconnection

         customers to access the surplus interconnection service process prior to the LGIA phase

         or Invenergy’s argument to allow requests for surplus interconnection service once there

         is an executed facilities study agreement.2718 We find that allowing interconnection

         customers to access the surplus interconnection service process once the original

         interconnection customer obtains an executed LGIA, or requests the filing of an

         unexecuted LGIA, is appropriate because prior to that stage, the network upgrades




         Initial Comments 49-50; PJM Initial Comments at 65.
                2716
                       NOPR, 179 FERC ¶ 61,194 at P 263.
                2717
                       Ameren Initial Comments at 28; Pine Gate Initial Comments at 50.
                2718
                       Invenergy Initial Comments at 49.
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         necessary to create the identified amount of surplus interconnection service may not have

         been fully identified, let alone begun the process of being placed into service.

                In response to APS’s and PacifiCorp’s requests for clarification regarding

         suspensions,2719 we clarify that: (1) if the LGIA of the original interconnection request is

         suspended, then any submitted requests for surplus interconnection service are likewise

         suspended, and new requests for surplus interconnection service may not be submitted,

         until after the suspension is lifted; and (2) if the original LGIA is terminated, including

         for exceeding the three-year suspension period (pursuant to pro forma LGIA article 5.16),

         any related surplus interconnection service allowed as a result of the original LGIA will

         be terminated because surplus interconnection service is dependent upon the underlying

         interconnection service used by existing generating facilities.

                In response to NARUC’s request to clarify that an interconnection customer that

         has been fully studied and has an executed LGIA, or that has requested the filing of an

         unexecuted LGIA, should be considered an existing facility for purposes of surplus

         interconnection service, we decline to make such clarification, but reiterate that where an

         interconnection customer has executed the LGIA, or requested that the LGIA be filed

         unexecuted, interconnection customers may submit surplus interconnection service

         requests to the transmission provider.




                2719
                       APS Initial Comments at 21; PacifiCorp Initial Comments at 40-41.
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                 We find that Enel’s and Shell’s respective requests2720 for clarification regarding

         establishing parameters on surplus interconnection service are outside the scope of this

         proceeding because this final rule is not proposing to modify eligibility for surplus

         interconnection service as established in Order No. 845.

                 We also find that Elevate’s request2721 for the Commission to modify the duration

         in which an interconnection customer taking surplus interconnection service can continue

         to operate following the original, host generating facility’s retirement is outside the scope

         of this proceeding because this final rule is not proposing to modify the length of time for

         which surplus interconnection service may be provided after the original generating

         facility retires.

                 In response to Idaho Power’s request for clarification regarding whether the

         Commission intends for the surplus interconnection service process to be used for an

         interconnection customer that owns a generating facility with an executed or unexecuted

         LGIA to later add energy storage,2722 the answer depends upon how the energy storage

         facility will be used. If, for example, it is used only to firm up the underlying generating

         facility (e.g., a wind or solar power plant) without ever injecting in excess of the original

         interconnection service level, then surplus interconnection service may be used.2723 If, on


                 2720
                        Enel Initial Comments at 79; Shell Initial Comments at 36.
                 2721
                        Elevate Initial Comments at 11-12.
                 2722
                        Idaho Power Initial Comments at 14.
                 2723
                    See Order No. 845, 163 FERC ¶ 61,043 at P 472 (“[S]urplus interconnection
         service cannot exceed the total interconnection service already provided by the original
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         the other hand, the new energy storage facility and the existing generating facility will be

         configured to inject together and exceed the original interconnection service limit, then

         surplus interconnection service may not be used.

                In response to Invenergy’s requests,2724 we clarify that the original interconnection

         customer must have an LGIA in place, either executed or requested to be filed

         unexecuted with the Commission, prior to tendering any LGIA for surplus

         interconnection service. With respect to Invenergy’s request for flexibility for

         transmission providers that currently allow requests for surplus interconnection service

         before the LGIA phase, we note that transmission providers can propose deviations from

         the requirements adopted in this final rule and demonstrate how those deviations satisfy

         the standards discussed in Section IV of this final rule, which the Commission will

         consider on a case-by-case basis.

                In response to Invenergy’s request to clarify that proposed reforms to require

         evaluation of requests to add a generating facility to an interconnection request extend to

         requests for surplus interconnection service, we clarify that the revisions to the

         modification process do not extend to the surplus interconnection service process. We

         note that the modification process revisions would be used by an interconnection

         customer while undergoing the interconnection study process, whereas the surplus

         interconnection process revisions would be used after the interconnection study process is



         interconnection customer’s LGIA.”).
                2724
                       Invenergy Initial Comments at 50.
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         complete and the interconnection customer has an executed LGIA, or an unexecuted and

         filed LGIA.

                Invenergy requests that the Commission reiterate and reinforce its commitment in

         Order No. 845 that surplus interconnection service is available up to the maximum level

         allowed under the original interconnection agreement. Invenergy contends that, when the

         surplus interconnection service request is below the total LGIA interconnection rights

         and determined to be a material modification, the interconnection customer should have

         the opportunity to mitigate identified issues such that there is no longer a material

         modification. We decline Invenergy’s request because the final rule does not address

         revisions to how the surplus interconnection service process is conducted; rather, the final

         rule addresses when a request for surplus interconnection service may be submitted.

                               d.      Operating Assumptions for Interconnection Studies

                                       i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission stated that, as newer technologies with operating

         parameters that differ from traditional generation seek to interconnect, it is necessary for

         transmission providers to use assumptions that accurately reflect “the operating

         parameters of electric storage resources and co-located resources containing electric

         storage resources (including hybrid resources) so that the unique operating characteristics

         of such resources are taken into account during the generator interconnection

         process.”2725 The Commission stated that, because the pro forma LGIP includes only


                2725
                       NOPR, 179 FERC ¶ 61,194 at P 279.
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         general requirements regarding the operating assumptions for generating facilities in

         interconnection studies, it was concerned that “electric storage resources, and co-located

         resources containing electric storage resources, may be studied under inappropriate

         operating assumptions that result in assigning unnecessary network upgrades and

         increased costs to interconnection customers.”2726 The Commission therefore

         preliminarily found that “the lack of realistic operating assumptions used in

         interconnection studies for electric storage resources and co-located resources containing

         electric storage resources (including hybrid resources) can result in excessive and

         unnecessary network upgrades and may hinder the timely development of new

         generation, thereby stifling competition in the wholesale markets, and resulting in rates,

         terms, and conditions that are unjust and unreasonable.”2727 Further, the Commission

         preliminarily found that “the lack of appropriate operating assumptions used in

         interconnection studies may present an unduly discriminatory or preferential barrier to

         the interconnection of electric storage resources and co-located resources containing

         electric storage resources (including hybrid resources).”2728

                The Commission proposed to revise the pro forma LGIP to require transmission

         providers, at the request of the interconnection customer, to use “operating assumptions

         for interconnection studies that reflect the proposed operation of an electric storage


                2726
                       Id.
                2727
                       Id.
                2728
                       Id.
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         resource or co-located resource containing an electric storage resource (including hybrid

         resources)—i.e., whether the interconnecting resource will or will not charge during peak

         load conditions, unless good utility practice, including applicable reliability standards,

         otherwise require the use of different operating assumptions.”2729 The Commission noted

         that, under this proposed reform, such operating assumptions shall be proposed by the

         interconnection customer as part of its initial interconnection request.

                The Commission further proposed that such operating assumptions must be

         “reasonably representative of the likely behavior of an electric storage resource or co-

         located resource containing an electric storage resource (including hybrid resources) and,

         in cases where available, consistent with the historical performance of such resources in

         the relevant geographic area.”2730 Further, to help facilitate alignment between as-studied

         and real-world conditions, the Commission proposed to allow transmission providers to

         “hold interconnection customers to the intended operation of their electric storage

         resource or co-located resource containing an electric storage resource (including hybrid

         resources) by: (1) memorializing these operating restrictions in the interconnection

         customer’s LGIA; and (2) requiring control technologies (software and/or hardware) in

         cases where appropriate, such as for electric storage that wishes to limit its operations,

         with such protection devices included in Appendix C of the LGIA.”2731 The Commission


                2729
                       Id. P 280.
                2730
                       Id.
                2731
                       Id.
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         noted that, “if the interconnection customer fails to operate its electric storage resource or

         co-located resource containing an electric storage resource (including hybrid resources)

         in accordance with these conditions as memorialized in the LGIA, the interconnection

         customer may be considered in breach and the transmission provider may pursue

         termination pursuant to article 17 of the LGIA.”2732 Additionally, the Commission

         proposed to “require that any transmission provider that requires electric storage

         resources or co-located resources containing an electric storage resource (including

         hybrid resources) to install control technologies to publicly post a list of acceptable

         control technologies.”2733 Furthermore, the Commission proposed revisions to the

         description of the ERIS and NRIS studies in sections 3.2.1.2. and 3.2.2.2 of the pro forma

         LGIP to accommodate this proposed reform.

                The Commission proposed to require that interconnection customers clearly

         communicate to the transmission provider “the expected operating patterns of the electric

         storage resource, or co-located resource containing an electric storage resource (including

         hybrid resources).”2734 In addition, for “the electric storage resource or co-located

         resource containing an electric storage resource (including hybrid resources) to be

         studied, the Commission proposed to require the interconnection customer to specify, as

         part of its initial interconnection request, the ancillary services that it would or would not


                2732
                       Id.
                2733
                       Id.
                2734
                       Id. P 281.
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         provide so that the proper operating assumptions may be made in interconnection

         studies.”2735 Under the Commission’s proposal, regardless of any changes to operating

         assumptions, “all electric storage resources, or co-located resources containing an electric

         storage resource (including hybrid resources) would be required to continue to meet all

         requirements in the pro forma LGIP and pro forma LGIA, as well as all applicable

         reliability standards.”2736

                The Commission noted that, under this proposed reform, each transmission

         provider’s operating assumptions used in their interconnection studies must take into

         consideration the services that the generating facility would provide and the timing of

         such services, as applicable.2737 The Commission further noted that this could be done in

         a variety of ways, and the transmission provider would have flexibility to consider

         services as best fits its transmission system.

                The Commission proposed to clarify that “this proposed reform to study electric

         storage resources, or co-located resources containing an electric storage resource

         (including hybrid resources) according to their planned operating assumptions at the

         request of the interconnection customer as part of its initial interconnection request is

         intended to mean the operating assumptions for withdrawals of energy (e.g., the charging




                2735
                       Id.
                2736
                       Id.
                2737
                       Id. P 282.
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         of an energy storage resource) in interconnection studies.”2738 The Commission proposed

         to require that the interconnection customer include in its initial interconnection request

         any operating assumptions for withdrawals of energy to be used by the transmission

         provider in interconnection studies.

                The Commission sought comment on whether the Commission should expand this

         reform to address operating assumptions for additional generating facility technologies

         that may currently be inaccurately modeled, such as variable energy resources.2739 For

         example, the Commission sought comment on whether to expand this proposal to specify

         only that, at the interconnection customer’s request, a transmission provider must not

         study generating facilities in ways that are not physically possible, for example studying a

         solar resource as producing energy at night, or a wind resource as producing maximum

         energy during low wind seasons, or other circumstances wherein any resource is studied

         in ways that are not physically possible, subject to the same proposed requirement that

         the generating facility be equipped with sufficient control technology, such as special

         protection systems, and/or subject to penalties for deviating from dispatch. The

         Commission sought comment on whether other operating assumptions, in addition to the

         assumption that electric storage resources withdraw energy during peak load periods,

         should be considered as part of this proposed reform.




                2738
                       Id. P 285.
                2739
                       Id. P 286.
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                The Commission sought comment on how to define the study parameters (e.g.,

         should the Commission define the peak load period and/or net peak load during which

         transmission providers must not study a generating facility as withdrawing energy, and if

         so how).2740

                The Commission also sought comment on “whether, and if so how, to define firm

         and non-firm charging for electric storage resources and require transmission providers to

         define study criteria and possible ways to interconnect related to both firm and non-firm

         charging.”2741 The Commission sought comment on whether providing such options

         would improve the effectiveness of this proposed reform and whether there would be

         other consequences of implementing such an approach. With respect to the definition of

         firm and non-firm charging, the Commission sought comment on whether to: “(1) define

         firm charging service as interconnection service that allows the interconnection customer

         to be eligible to receive electric energy in a manner comparable to a transmission

         provider’s load; and (2) define non-firm charging service as interconnection service that

         allows the interconnection customer to be eligible to receive electric energy using the

         existing firm or non-firm capacity of the transmission system on an ‘as available’ basis,

         noting that in an RTO/ISO with market-based congestion management, a generating




                2740
                       Id. P 287.
                2741
                       Id. P 288.
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         facility with non-firm charging service must respond to the RTO’s/ISO’s dispatch

         instructions, including curtailment to manage congestion.”2742

                                     ii.     Comments

                                             (a)    Comments in Support

                Many commenters support the Commission’s proposal to revise the pro forma

         LGIP to require transmission providers, at the request of the interconnection customer, to

         use operating assumptions for interconnection studies that reflect the proposed operation

         of an electric storage resource or co-located resource containing an electric storage

         resource (including hybrid resources)—i.e., whether the interconnecting generating

         facility will or will not charge during peak load conditions, unless good utility practice,

         including applicable reliability standards, otherwise require the use of different operating

         assumptions.2743



                2742
                       Id.
                2743
                    ACE-NY Initial Comments at 14-15; AEE Initial Comments at 41-42; AES
         Clean Energy Initial Comments at 24; Alliant Energy Initial Comments at 8; Bonneville
         Initial Comments at 22-23; CESA Initial Comments at 14-15; Clean Energy Associations
         Initial Comments at 52; Clean Energy Associations Reply Comments at 10; CREA and
         NewSun Initial Comments at 91-92; Cypress Creek Initial Comments at 9;
         Environmental Defense Fund Initial Comments at 6; Environmental Defense Fund Reply
         Comments at 8-9; ELCON Initial Comments at 10; Elevate Initial Comments at 13;
         Interwest Reply Comments at 15; Longroad Reply Comments at 10-12; Microgrid
         Resources Initial Comments at 6; NARUC Initial Comments at 37; NextEra Initial
         Comments at 36; NESCOE Reply Comments at 18; NRECA Initial Comments at 10, 44;
         NY Commission and NYSERDA Initial Comments at 10; Pine Gate Initial Comments at
         51; Public Interest Organizations Initial Comments at 47; R Street Initial Comments at
         16; SEIA Initial Comments at 40; Shell Initial Comments, app. A at iii; Union of
         Concerned Scientists Reply Comments at 9-10.
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                Many commenters agree with the Commission that the lack of realistic operating

         assumptions used in interconnection studies for electric storage resources and co-located

         resources containing electric storage resources (including hybrid resources) can result in

         excessive and unnecessary network upgrades and hinder the timely development of new

         generation, thereby stifling competition in the wholesale markets, and resulting in rates,

         terms, and conditions that are unjust and unreasonable.2744 These commenters also agree

         that using unrealistic operating assumptions in interconnection studies creates an unduly

         discriminatory or preferential barrier to the interconnection of electric storage resources

         and co-located resources containing electric storage resources (including hybrid

         resources).

                Many commenters agree with the Commission that the assumptions used in

         interconnection studies for the charging of electric storage resources should closely

         resemble the expected “real-world” operation of such resources.2745 For example,

         NextEra asserts that operating assumptions should reflect the rational economic dispatch

         of electric storage and co-located resources and that interconnection customers with



                2744
                    AEE Initial Comments at 42; Alliant Energy Initial Comments at 8; Clean
         Energy Associations Initial Comments at 52-53; Hydropower Commenters Initial
         Comments at 21-22; Longroad Reply Comments at 10-12; NARUC Initial Comments at
         36-37; NESCOE Reply Comments at 18; Pine Gate Initial Comments at 51, 54; Public
         Interest Organizations Initial Comments at 47; rPlus Initial Comments at 6; SEIA Initial
         Comments at 40; SEIA Reply Comments at 27.
                2745
                    Alliant Energy Initial Comments at 8; APPA-LPPC Initial Comments at 29;
         NextEra Initial Comments at 36-37; NY Commission and NYSERDA Initial Comments
         at 10; Pine Gate Initial Comments at 51; Shell Initial Comments, app. A at iii.
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         electric storage resources should be allowed to request a lower maximum allowed

         charging rate in place of being assigned network upgrade cost allocations.2746 Shell

         asserts that parameters used to study storage should consider market conditions.2747

                Many commenters argue that assuming in an interconnection study that an electric

         storage resource will withdraw energy during peak demand similar to firm end-use

         customer demand fails to recognize the real-time attributes of electric storage resources,

         such as the ability to respond within seconds to prices and dispatch signals from the

         transmission provider.2748 For example, NARUC and NESCOE argue that studying

         electric storage resources using worst-case operating assumptions, such as withdrawing

         energy during peak demand, ignores the real-time attributes and benefits of these

         technologies, such as their ability to respond within seconds to prices and dispatch signals

         from transmission providers and inject electricity during peak demand conditions.2749

         Further, Union of Concerned Scientists asserts that modeling storage as charging during

         times of peak demand penalizes interconnection customers for trying to locate electric

         storage resources in places where they are most needed (e.g., load pockets) because the




                2746
                       NextEra Initial Comments at 37.
                2747
                       Shell Initial Comments, app. A at iii.
                2748
                    Clean Energy Alliance Initial Comments at 14-15; NARUC Initial Comments
         at 37; PacifiCorp Initial Comments at 41; Pattern Energy Initial Comments at 12; Pine
         Gate Initial Comments at 51; SEIA Initial Comments at 40; Union of Concerned
         Scientists Reply Comments at 10-11.
                2749
                       NESCOE Reply Comments at 18 (citing NARUC Initial Comments at 36-37).
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         study inappropriately models electric storage resources as contributing to the problem of

         transmission congestion rather than relieving it.2750 AEP argues that some electric

         storage resources do occasionally charge during peak demand; however, AEP has no

         objection to electric storage resources being studied under a certain set of operating

         conditions as long as operating restrictions are imposed through interconnection

         agreements and the resource owner/operator recognizes that it must abide by dispatch

         orders and bear the consequences of any limitations on its operation that result in

         penalties.2751

                                             (b)   Comments in Opposition

                Some commenters argue that the proposed reform is overly burdensome on

         transmission providers and could add time and complexity to the interconnection

         process.2752 For example, NYISO opposes the proposed reform, arguing that it would not

         streamline the interconnection study process and instead would add significantly more

         complexity to the process and increase the time required to complete studies.2753




                2750
                       Union of Concerned Scientists Reply Comments at 10-11.
                2751
                       AEP Initial Comments at 46-47.
                2752
                    Avangrid Initial Comments at 35; Enel Initial Comments at 74; ISO-NE Initial
         Comments at 40; NYISO Initial Comments at 51; PacifiCorp Initial Comments at 41-42;
         PJM Initial Comments at 67; Southern Initial Comments at 33.
                2753
                       NYISO Initial Comments at 51.
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                Some commenters oppose the proposed reform due to reliability concerns.2754

         PJM argues that the proposal would be extremely difficult to police and enforce and

         would not guarantee that units will operate within their studied parameters, putting PJM

         at operational risk.2755 Southern opposes the proposed reform, stating that transmission

         providers are ultimately responsible for planning for the safety and reliable operation of

         their transmission systems, which includes standard assumptions for interconnection

         studies.2756 Southern contends that it may be viable to provide an information-only

         scenario using the assumptions provided by the interconnection customer, but it would

         not be just and reasonable to allow interconnection customers to dictate the study

         assumptions for their electric storage, hybrid, or co-located resources. NYISO asserts

         that its interconnection studies are designed to capture extreme system scenarios to best

         maintain the reliability of the system and to be prepared for rare extreme conditions and

         without such planning, the interconnection studies could fail to identify essential non-

         local network upgrades.2757 SDG&E argues that the reform may introduce undue risk

         into the interconnection study process and could lead to the transmission system being

         operated in an unstudied/unplanned state.2758



                2754
                       Id. at 67; SDG&E Initial Comments at 8; Southern Initial Comments at 33.
                2755
                       PJM Initial Comments at 67.
                2756
                       Southern Initial Comments at 33.
                2757
                       NYISO Initial Comments at 51.
                2758
                       SDG&E Initial Comments at 7.
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                However, several commenters disagree that the proposed reform will introduce

         undue risk into the interconnection study process and real-time operations.2759 CESA

         asserts that many transmission providers continue to use historical planning standards

         that do not consider the capability of advanced firmware and software controls to

         dispatch resources in accordance with operating assumptions that can provide much

         needed additional capacity to the transmission system, which may result in continued

         delays and inefficiencies in the interconnection process.2760

                NARUC suggests that, in RTO/ISO regions, independent market monitors may be

         well-positioned to track deviations from proposed operational limits in real-time

         operations.2761 For non-RTO/ISO regions, NARUC contends that it may be appropriate

         for an independent transmission monitor or NERC regional reliability entity to serve in

         such a role.

                                             (c)    Comments on Specific Proposal

                Some commenters support the flexibility that the proposed reform provides on the

         basis that it would allow for better use of the transmission system or help facilitate the

         interconnection process while still allowing for adequate controls.2762 NRECA cautions,



                2759
                     AEE Initial Comments at 41-42; CESA Reply Comments at 10 (citing
         SDG&E Initial Comments at 7); Clean Energy Associations Initial Comments at 58; R
         Street Initial Comments at 16.
                2760
                       CESA Reply Comments at 10.
                2761
                       NARUC Initial Comments at 38.
                2762
                       APS Initial Comments at 22; Cypress Creek Initial Comments at 9; NRECA
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         however, that such flexibility should not come at the expense of the NOPR’s overall goal

         of reducing speculative interconnection requests, withdrawals, and restudies.2763 APS

         also believes that operating assumptions used in interconnection studies should be limited

         to factors that can be automatically controlled by the interconnection customer;

         otherwise, system issues may occur when interconnection facilities are operating outside

         of the assumptions used in the studies.2764 Although AEP generally supports the

         proposed reform because interconnection studies should be as accurate as possible, AEP

         notes that using operating assumptions provided by the interconnection customer may

         complicate studies and thus realistic study time frames must be adopted.2765

                Many commenters support the proposal to allow transmission providers to require

         the use of controls to ensure compliance with planned operation.2766 Clean Energy

         Associations argue that electric storage resources are controllable with a level of

         precision and speed unparalleled by conventional generating facilities, which provides

         transmission owners and providers and interconnection customers with new opportunities



         Initial Comments at 10, 44; rPlus Initial Comments at 6.
                2763
                       NRECA Initial Comments at 44.
                2764
                       APS Initial Comments at 22.
                2765
                       AEP Initial Comments at 45.
                2766
                    AEE Initial Comments at 41-42; APS Initial Comments at 22; Bonneville
         Initial Comments at 23; Clean Energy Associations Initial Comments at 52-58; ELCON
         Initial Comments at 10; Eversource Initial Comments at 36; NARUC Initial Comments at
         38; PPL Initial Comments at 23; Public Interest Organizations Initial Comments at 49-50;
         SEIA Initial Comments at 40.
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         to accommodate transmission system reliability needs and efficiently use scarce

         transmission interconnection capacity.2767 Clean Energy Associations assert that the

         proposed reform would acknowledge the fact that electric storage resources are highly

         controllable through hardware and software controls.2768 SEIA asserts that power control

         systems, which electronically limit or control steady state currents to a programmable

         limit, can ensure that electric storage resources follow operating assumptions, and that

         their use is growing.2769

                Idaho Power states that it currently has a generator control and monitoring

         technology that can be leveraged for monitoring and controlling electric storage

         charging.2770 However, Idaho Power asserts that it will need to implement a control

         scheme for operators to view and control interconnection facilities in order to

         intermittently interrupt discharge and charging due to system conditions and related

         outages, which would likely require upfront and ongoing costs for both Idaho Power and

         interconnection customers. Idaho Power requests that the Commission consider

         including additional language to ensure that the transmission provider can disconnect, or




                2767
                       Clean Energy Associations Initial Comments at 52.
                2768
                       Clean Energy Associations Reply Comments at 10.
                2769
                    SEIA Reply Comments at 26-27 (citing IREC Initial Comments, app. A at 43-
         48, 56, 159).
                2770
                       Idaho Power Initial Comments at 15-16.
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         take other action, including seeking damages, in the event that the charging electric

         storage resource does not follow its schedule.

                Eversource states that it is essential for system operators and transmission planners

         to have sufficient visibility and controls in place to ensure that the transmission system is

         not placed in unstudied and potentially insecure N-1 contingency states.2771 Eversource

         suggests that this issue, as well as other issues of grid dispatch, should be the subject of

         its own proceeding. Alternatively, Eversource requests that the Commission require that

         interconnection customers with proposed operational study assumptions have

         technological controls in place that automatically limit the electric storage facility’s

         operation to the proposed operational parameters. Eversource further requests that the

         Commission reflect these requirements in the body of the pro forma LGIA, and not only

         the appendices.

                NARUC and Public Interest Organizations support the proposed requirement to

         consider resources to be in breach of their LGIA if they fail to operate as intended.2772

         NARUC asserts that such a consequence, in combination with technology and software

         that can limit the operations of an electric storage resource, should sufficiently mitigate

         behavior that deviates from planned.2773 Public Interest Organizations contend that



                2771
                       Eversource Initial Comments at 35-36.
                2772
                 NARUC Initial Comments at 37; Public Interest Organizations Initial
         Comments at 48-50.
                2773
                       NARUC Initial Comments at 37-38.
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         installing control technologies would allow the transmission provider and interconnection

         customer to engage in an interactive dialogue to develop a set of operating assumptions

         that both satisfy the interconnection customer’s operational desires and align with “good

         utility practice.” 2774

                rPlus generally supports the proposal but argues that the proposed termination

         requirements for the interconnection customer should the operational characteristics not

         be met are too stringent and restrictive.2775 rPlus agrees that it is important to

         memorialize the studied operational assumptions in the interconnection agreement but

         asserts that it would benefit from the inclusion of additional language should deviation

         from the originally defined operational assumptions be beneficial. Therefore, rPlus

         suggests that the Commission remove any explicit or implied requirement for electric

         storage resources not to charge during peak load periods and add language to retain the

         possibility of altering the operational characteristics when these changes would benefit

         the reliable and efficient operation of the transmission system or benefit ratepayers.

                Invenergy supports the proposed reform to accommodate study assumptions that

         more reasonably approximate anticipated actual operations, but opposes requiring the

         studied operating conditions to be memorialized in the interconnection agreement.2776

         Invenergy states that, if there are concerns that an unexpected event may require a facility


                2774
                       Public Interest Organizations Initial Comments at 48.
                2775
                       rPlus Initial Comments at 6.
                2776
                       Invenergy Initial Comments at 59-61.
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         to occasionally operate outside those conditions, those concerns should be addressed

         through the regional transmission planning process, rather than forcing interconnection

         customers to fund upgrades that are rarely if ever needed.2777

                Several commenters suggest modifications to the proposal to better achieve the

         Commission’s goal. For example, Pine Gate suggests that the Commission require

         transmission providers to use a uniform set of minimum interconnection study

         requirements (e.g., by eliminating the use of extreme contingency scenarios and overly

         conservative operational characteristics and strategies) to facilitate effective, efficient

         interconnection queue processing, which is an essential prerequisite of consumer

         protection.2778 With respect to the provision of ancillary services, Pine Gate requests that

         the interconnection customer not be required to definitively indicate the specific ancillary

         services that it would or would not provide in the initial interconnection request because

         it is not possible for the interconnection customer to know with certainty which ancillary

         services it may be eligible to provide when it is ultimately placed in service.2779 For this

         reason, Pine Gate requests that the Commission require the interconnection customer to

         list in the original interconnection request only whether it intends to provide ancillary

         services generally.2780



                2777
                       Id. at 61-62.
                2778
                       Pine Gate Initial Comments at 55.
                2779
                       Id. at 52.
                2780
                       Id. at 53.
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                Union of Concerned Scientists urges the Commission to direct in the final rule that

         technical capabilities offered by an interconnection customer be appropriately recognized

         and used in the modeling of transmission impacts and their mitigation, including the

         ability to respond to contingencies and provide dynamic real or reactive power, which if

         omitted could lead to millions of dollars of costs to customers to provide such capability

         by other means.2781

                Interwest supports allowing interconnection customers to request that transmission

         providers apply certain study assumptions to better approximate realistic operations and

         requiring transmission providers to apply congestion management practices to unusual

         events, developed through regional transmission planning processes, rather than building

         in assumptions assuming worst-case operations scenarios.2782

                Public Interest Organizations recommend that, if a transmission provider finds an

         interconnection customer’s proposed operating assumptions to be in conflict with “good

         utility practice,” the transmission provider should be required to provide the

         interconnection customer with a clear explanation of why the submitted operating

         assumptions are insufficient or inappropriate, and allow the interconnection customer to

         revise and resubmit the proposed operating assumptions as necessary, within a reasonable

         time period.2783


                2781
                       Union of Concerned Scientists Reply Comments at 13-14.
                2782
                       Interwest Reply Comments at 15.
                2783
                       Public Interest Organizations Initial Comments at 47-48, 49.
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                  Clean Energy Associations urge the Commission to define study parameters such

         as “peak load” and “net peak load.”2784 Clean Energy Associations request that the

         Commission define “net peak load” as the period during which transmission providers

         must not study a facility as withdrawing energy. Clean Energy Associations note that in

         regions with high solar penetration, the net peak load hour diverges from the peak load

         hour and migrates to later in the day and, under these conditions, low prices during the

         peak load hour may create incentives for storage to charge, whereas prices would be high

         during the net peak load hour creating incentives to discharge. Therefore, Clean Energy

         Associations contend that using the net peak load as the period of study will ensure that

         studies continue to accurately reflect expected economic price response of storage as

         system conditions evolve.

                  NextEra and Clean Energy Associations urge the Commission to require

         transmission providers to use additional study assumptions beyond just whether electric

         storage and co-located resources (including hybrid resources) should charge during peak

         load periods. Both NextEra and Clean Energy Associations argue that transmission

         providers should not study electric storage resources as injecting energy during low load

         and shoulder periods because that does not reasonably reflect the rational economic

         behavior and typical operations of such resources.2785



                  2784
                         Clean Energy Associations Initial Comments at 53-54.
                  2785
                         NextEra Initial Comments at 37; Clean Energy Associations Initial Comments
         at 53.
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                In contrast, MISO argues against requiring additional study assumptions for

         electric storage resources.2786 MISO notes that there may be times in the future when

         renewable resources are constrained or unavailable due to the lack of fuel (e.g., no wind

         or sun) such that the MISO transmission system will need to call upon electric storage

         resources for injection: but, if these resources are not permitted to discharge due to their

         operational assumptions, then the transmission system’s reliance on those resources could

         lead to reliability risks.

                Several other commenters urge the Commission not to define study parameters,

         such as “peak load” or “net peak load,” and instead allow for regional flexibility.2787 For

         example, rather than define peak load, Microgrid Resources states that the Commission

         should require individual evaluation of the expected operating assumptions for the

         resource(s) being studied.2788 Enel asserts that it does not believe clear and transparent

         criteria regarding the peak load period could be developed such that the limitations on a

         generating facility could appropriately be modeled with only a few power flow model

         “snapshots in time” serving as the basis for the restriction.2789




                2786
                       MISO Initial Comments at 116.
                2787
                    Ameren Initial Comments at 29; Enel Initial Comments at 74; Idaho Power
         Initial Comments at 16; Microgrid Resources Initial Comments at 8; Shell Initial
         Comments, app. A at iii.
                2788
                       Microgrid Resources Initial Comments at 8.
                2789
                       Enel Initial Comments at 74.
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                Several commenters support eliminating unrealistic interconnection study

         assumptions for resource types other than electric storage resources, such as assuming

         that a solar facility will operate a night, or that a wind resource will produce maximum

         output during low-wind seasons.2790 Ameren, Cypress Creek, Microgrid Resources,

         NARUC, Pine Gate, and rPlus all request that the Commission extend this reform to

         allow any resource type, not just electric storage or co-located resources, to request that

         interconnection studies be based on their particular operating assumptions and

         characteristics.2791 NARUC further asserts that it is reasonable to allow interconnection

         customers to request that transmission providers not study interconnecting generating

         facilities in ways that are not physically possible, subject to the same proposed

         requirement that the generating facility be equipped with sufficient control technologies

         and penalties for deviations.2792 Microgrid Resources urges the Commission to define

         microgrid in the tariff, noting particularly the inclusion of load, and to make clear that




                2790
                    Id.; AES Clean Energy Initial Comments at 24-25; Ameren Initial Comments
         at 29; CREA and NewSun Initial Comments at 92; Cypress Creek Initial Comments at 9-
         10; Invenergy Initial Comments at 59-61; Microgrid Resources Initial Comments at 7-8;
         Pine Gate Initial Comments at 54; Public Interest Organizations Initial Comments at 48-
         49; R Street Initial Comments at 16; rPlus Initial Comments at 6.
                2791
                    Ameren Initial Comments at 29; Cypress Creek Initial Comments at 9-10;
         Microgrid Resources Initial Comments at 7; NARUC Initial Comments at 38; Pine Gate
         Initial Comments at 54; rPlus Initial Comments at 6.
                2792
                       NARUC Initial Comments at 38.
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         interconnection studies must be based on operating assumptions for the microgrid as a

         whole.2793

                Pattern Energy asserts that transmission providers should be required to update

         their operating assumptions annually, after stakeholder input.2794 Pattern Energy asserts

         that some transmission providers require light-load reliability analysis for wind resources

         but not for natural gas plants, which is unduly discriminatory.2795

                Some commenters support expanding the proposed reforms to the entire facility of

         hybrid or co-located resources. For instance, ENGIE recommends that interconnection

         customers submitting hybrid or co-located resources should be able to specify operating

         parameters across the entire generating facility, including variable energy resources,

         within their interconnection request to allow interconnection customers to reflect

         parameters such as solar-based charging of the electric storage resource more

         accurately.2796 Pine Gate states that co-located resources are typically studied

         independently, which requires studying the combined maximum injection of the two

         generating facilities that are co-located, despite the fact that studying in this manner

         overestimates the impact on the transmission system and could trigger unnecessary




                2793
                       Microgrid Resources Initial Comments at 7.
                2794
                       Pattern Energy Initial Comments at 13.
                2795
                       Id. (referencing PJM Manual 14B at 47, section 2.3.1.1).
                2796
                       ENGIE Initial Comments at 11.
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         network upgrades.2797 Pine Gate asserts that, consistent with the NOPR’s proposals

         regarding operating assumptions for electric storage resources and co-located resources,

         the Commission should permit an interconnection customer to specify the proposed

         operation of all components of a co-located resource in its interconnection request. SEIA

         contends that studying two, co-located resources as a single resource would be more

         accurate, as this would reflect the actual electrical impact to the transmission system.2798

                Although not entirely opposed to the proposed reform, PacifiCorp asserts that this

         proposed reform should not be extended to co-located and hybrid resources because

         monitoring and enforcing operational limitations could be complex, and incorporating

         operational limitations could complicate the cluster study process.2799 Nevertheless,

         PacifiCorp encourages the Commission to permit transmission providers to opt-in to

         extending this type of reform to hybrid resources if appropriate for their systems.

                Several other commenters urge the Commission to go further and require

         transmission providers to use more realistic operating assumptions without requiring the

         interconnection customer to request that transmission provider do so.2800 Public Interest

         Organizations argue that extending the reforms to all generation technologies would help




                2797
                       Pine Gate Initial Comments at 45.
                2798
                       SEIA Initial Comments at 38.
                2799
                       PacifiCorp Initial Comments at 41-42.
                2800
                 AES Clean Energy Initial Comments at 24-25; CREA and NewSun Initial
         Comments at 92; R Street Initial Comments at 16.
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         prevent unduly discriminatory treatment.2801 Therefore, Public Interest Organizations

         recommend that the Commission require transmission providers to work with

         interconnection customers to ensure operating assumptions reflect physical, operational,

         and market realities, “good utility practice,” and applicable reliability standards. AES

         Clean Energy argues that the Commission should require transmission providers to

         establish a process to revisit and update operating assumptions of different resource types

         in consultation with stakeholders to ensure that these operating assumptions are realistic

         and approximately reflect the expected actual operation of these resources.2802

                Shell supports the use of accurate modeling assumptions, including for variable

         energy resources, but argues that electric storage and renewable resources should not be

         treated in the same way because electric storage is dispatchable and renewable resources

         generally are not dispatchable.2803 Further, Shell asserts that the Commission should not

         assume all wind and solar resources are the same (and not dispatchable).

                AECI and NextEra oppose extending the proposed reform to other resources

         types.2804 NextEra opposes extending customized operating assumptions to wind and

         solar energy resources because doing so could unduly complicate subsequent operational

         decisions for the system operator and possibly restrict the system operator’s ability to call


                2801
                       Public Interest Organizations Initial Comments at 49.
                2802
                       AES Clean Energy Initial Comments at 24-25.
                2803
                       Shell Initial Comments, app. A at iii.
                2804
                       AECI Initial Comments at 8; NextEra Initial Comments at 37.
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         on resources when needed.2805 AECI proposes to continue studying wind and solar

         resources as NRIS facilities that are dispatched at 100% to avoid potential reliability

         issues at the worst times.2806 MISO explains that it currently requires interconnection

         customers to be responsible for limiting and controlling their own dispatch in some

         conditions, but that it has no ability to monitor in real time if an interconnection customer

         violates its operating limits.2807 MISO states that it is unaware of any plant side control

         device or operational tool that MISO could use to prevent a generating facility’s injection

         to enforce an electric storage resource’s operating assumptions regarding discharging.

         Idaho Power states that it is unclear how a cluster study with multiple interconnection

         requests could be performed when accounting for numerous and potentially conflicting

         study parameters, such as “low wind season” for one interconnection customer but not for

         another.2808 Idaho Power seeks clarification of the definition of study parameters such as

         “low wind season.”

                Some commenters support the Commission defining the terms firm and non-firm

         charging service for electric storage resources and requiring transmission providers to

         define study criteria to interconnect related to both firm and non-firm charging.2809 For




                2805
                       NextEra Initial Comments at 37.
                2806
                       AECI Initial Comments at 8.
                2807
                       MISO Initial Comments at 116.
                2808
                       Idaho Power Initial Comments at 16.
                2809
                       CESA Initial Comments at 12-13; Clean Energy Associations Initial
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         example, Clean Energy Associations support enabling interconnection customers with

         electric storage resources and hybrid resources to request non-firm transmission service

         for their charging energy, provided that transmission providers update study criteria and

         interconnection processes for such service accordingly and provide definitions of firm

         and non-firm charging service for electric storage resources.2810 CESA argues that

         electric storage resources should not be forced to use one type of charging service over

         another since some resources may find it sufficient to take advantage of charging

         capacity as it is available whereas others may want or need greater assurances of charging

         capacity and are willing to pay for the requisite network upgrades.2811 CESA urges the

         Commission to set requirements as to how partial or full firm charging services should be

         offered on a flexible, as-requested basis, such that an interconnection customer can seek

         firm charging service for specific time windows or for a portion of the electric storage

         resource’s nameplate or interconnection capacity. CESA asserts that, as discussed in the

         NOPR, accommodating firm and as-available charging service options should reflect the

         operating capabilities of the storage resource (i.e., price responsive, dispatchable),

         achieve efficient market outcomes, and avoid expensive and unnecessary upgrades.”2812




         Comments at 54-56; ENGIE Initial Comments at 12.
                2810
                       Clean Energy Associations Initial Comments at 54.
                2811
                       CESA Initial Comments at 12-13.
                2812
                       Id. at 12.
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                Clean Energy Associations assert that the Commission should direct transmission

         providers to use the following criteria for studying interconnection requests that opt for

         non-firm charging service: (1) the electric storage resource should have the option to

         receive electric energy using the existing firm or non-firm capacity of the transmission

         system on an “as available” basis; (2) any study of an electric storage resource charging

         should allow the interconnection customer to elect to use a lower charging level or a

         control technology to mitigate any identified constraints in lieu of being assigned network

         upgrades to address such constraints; and (3) the electric storage resource should receive

         information relative to any network upgrades, charging restrictions, or control

         requirements in advance of signing an interconnection agreement.2813 Clean Energy

         Associations urge the Commission to direct transmission owners to indicate conditions

         under which charging energy could be curtailed in interconnection agreements that

         include non-firm service for charging energy. Clean Energy Associations also caution

         that the Commission should avoid recategorizing charging energy of electric storage

         resources as a wholesale load, which would be contrary to the Commission’s findings in

         Order No. 841.

                AEP suggests that clarifications would be needed for the proposed definitions of

         firm and non-firm charging to be effective. For example, AEP asserts that the proposed

         definitions for firm and non-firm charging service conflate different products and




                2813
                       Clean Energy Associations Initial Comments at 55-56.
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         services required to charge an electric storage resource.2814 AEP argues that charging

         service is not a form of interconnection service, nor is interconnection service referred to

         in the industry as firm or non-firm. According to AEP, it is the delivery service (i.e.,

         transmission and wholesale distribution service) that can be firm or non-firm and

         therefore the relevant question is whether, in the interconnection process, an electric

         storage resource can or needs to request to be studied as a “firm” or “non-firm” load for

         delivery purposes. AEP asserts that the Commission should recognize that, for electric

         storage resources, the interconnection cluster study process should include an analysis of

         transmission service. AEP notes that the Commission has permitted the California

         utilities to study the need for wholesale distribution upgrades required for charging on a

         firm basis as part of the interconnection study process. AEP argues that, if it is

         technically possible to distinguish loads, a load that affects human safety, health, and

         welfare directly should have priority over the charging of an electric storage resource,

         unless for example, if the electric storage resource will be used for blackstart after an

         outage, adding that the final rule does not need to interfere with emergency load shedding

         protocols.

                Shell asserts that the need for firm or non-firm transmission service will vary by

         generating facility, as well as by the usage pattern of the electric storage resource (e.g.,

         whether the electric storage resource is standalone or part of a hybrid resource that is AC-




                2814
                       AEP Initial Comments at 48-50.
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         coupled, DC-coupled, or DC-tight-coupled).2815 Shell states that, if an electric storage

         resource is charging from the transmission system as non-firm load, and the resource

         owner is required to comply with the transmission provider’s real-time dispatch orders to

         cease charging from the transmission system due to reliability concerns, then there is no

         need for long-term firm transmission service reservations to serve the electric storage

         resource. Shell contends that non-firm electric storage load should not be required to

         acquire transmission service prior to charging from the transmission system, as such

         charging will be captured by the revenue meter and can be billed at the transmission

         provider’s non-firm point-to-point transmission rate at the end of the billing period.

                Xcel suggests that the evaluation of non-firm charging must assume a price and

         then the electric storage resource should be bound to that price.2816 Xcel contends that, if

         an electric storage resource is studied as non-firm load but ends up offering to buy energy

         in the market above average market prices, the study will not represent the resulting

         dispatch. Therefore, Xcel recommends that electric storage resources and other non-firm

         load should be required to have a maximum bid price that is included in Attachment C of

         the pro forma LGIA.

                Some commenters oppose the Commission defining firm and non-firm charging or

         requiring transmission providers to define study criteria as part of this rulemaking.2817



                2815
                       Shell Initial Comments, app. A at iii.
                2816
                       Xcel Initial Comments at 46.
                2817
                       Ameren Initial Comments at 29; Idaho Power Initial Comments at 16; PPL
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         For example, PPL asserts that the Commission should leave defining such study

         parameters to the transmission providers.2818

                Several commenters suggest clarifications to the proposed reform regarding the

         timing of submitting operating assumptions.2819 Clean Energy Associations and ENGIE

         recommend that the Commission define a clear decision point in the interconnection

         study process before which interconnection customers may adjust operating assumptions

         and after which inputs remain constant.2820 APS suggests that the Commission modify

         the proposal to specify that any changes to the operating assumptions initially provided

         by the interconnection customer would be considered a material modification.2821

                                             (d)     Alternative Proposals and Requests for
                                                     Further Process

                Enel argues that using power flow studies and assuming extreme transmission

         system conditions matches the concept of a firmer product well (e.g., for NRIS or

         transmission service studies), but applied to ERIS studies it implies that an ERIS resource

         cannot or will not curtail, absorb congestion costs, or be redispatched to mitigate




         Initial Comments at 23.
                2818
                       PPL Initial Comments at 23.
                2819
                   AES Clean Energy Initial Comments at 24; APS Initial Comments at 22;
         Clean Energy Associations Initial Comments at 56-57; ENGIE Initial Comments at 11.
                2820
                 Clean Energy Associations Initial Comments at 56-57; ENGIE Initial
         Comments at 11.
                2821
                       APS Initial Comments at 22.
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         transmission system disturbances, which goes beyond “as available” service and does not

         allow for lower-cost mitigation options.2822 For these reasons, Enel recommends that the

         Commission direct transmission providers to replace power flow studies with Security

         Constrained Economic Dispatch analysis for ERIS service studies instead of the

         Commission’s proposed reform,2823 or in the alternative, require appropriately supported

         fuel-based dispatch assumptions in ERIS and, where appropriate, NRIS study models.2824

                Several other commenters support requiring transmission providers to apply

         realistic fuel-based dispatch assumptions to all resource types.2825 Additionally,

         Invenergy notes that both MISO and SPP already use realistic fuel-based dispatch

         assumptions in their interconnection study processes.2826 Although MISO believes that a

         fuel-based dispatch methodology would address the concerns stated in the NOPR about

         unrealistic operating assumptions, MISO also believes that study methods should be

         flexible to the unique needs of a region’s stakeholders and that the Commission should

         allow flexibility regarding how a transmission provider conducts its studies.2827 MISO




                2822
                       Enel Initial Comments at 75.
                2823
                       Id. at 73, 75.
                2824
                       Id. at 77-78.
                2825
                    Enel Initial Comments at 77-78; Interwest Reply Comment at 15; Invenergy
         Initial Comments at 60-61.
                2826
                       Invenergy Initial Comments at 60-61.
                2827
                       MISO Initial Comments at 119.
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         asserts that fuel-based dispatch enables more efficient generator interconnection because

         it recognizes that not all generating facilities will be dispatched up to their requested

         interconnection service at all times of the year and that some fuels will not be dispatched

         when other fuels are being dispatched.2828 MISO explains that its current fuel dispatch

         method also addresses withdrawal for electric storage resources and was informed by

         operational data.2829

                Public Interest Organizations encourage the Commission to consider a

         requirement that would ensure operational and market realities are appropriately reflected

         in operating assumptions for the purposes of interconnection studies.2830 Public Interest

         Organizations state that this could include both operational practices and procedures as

         well as market-based price signals for curtailment and congestion management.

         Furthermore, Public Interest Organizations contend that fossil generating facilities should

         not be expected to generate at or near peak output during times when market prices are

         depressed, such as during periods of high renewable generation.2831

                IREC asserts that interconnection application forms for small generating facilities

         should be updated to include information about electric storage resources and, where


                2828
                       Id. at 117, 119.
                2829
                       Id. at 117-118 (citing MISO, Business Practice Manual-15, tbl. 6-1).
                2830
                       Public Interest Organizations Initial Comments at 48.
                2831
                     Id. at 48-49 (citing Joe Daniel & Sam Gomberg, Union of Concerned
         Scientists, Why Does Wind Energy Get Wasted? (Nov. 16, 2021),
         https://www.ucsusa.org/resources/wind-oversupply-myths).
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         export controls are used, the type of export control and the equipment type and settings

         that will be used.2832 IREC asserts that, in order for the interconnection process to fully

         recognize the ways electric storage resources can be designed and controlled to avoid

         transmission system constraints, utilities should consider operating profiles (which can

         include operating schedules) in their feasibility studies and system impact studies.2833

                Several commenters urge the Commission to hold a technical conference and/or

         open a new proceeding to sort out the complex details of this proposed reform.2834 For

         example, Clean Energy Associations note that the Commission could build a further

         evidentiary record regarding parameters for evaluating electric storage and other

         resources via a technical conference, with the aim of developing reasonable and

         consistent assumptions across regions.2835 SEIA urges the Commission to convene a

         technical conference in this proceeding to increase transmission provider certainty and

         confidence in the capabilities and testing of power control systems.2836 ISO-NE suggests

         that its concerns with the proposed reform may be better addressed through the




                2832
                       IREC Initial Comments at 15, attach. A.
                2833
                       Id. at 16, attach. A.
                2834
                 Clean Energy Associations Initial Comments at 53; Eversource Initial
         Comments at 35; ISO-NE Initial Comments at 40; Puget Sound Initial Comments at 13.
                2835
                       Clean Energy Associations Initial Comments at 53.
                2836
                       SEIA Initial Comments at 27.
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         establishment of a new category of interconnection service for the charging mode of

         electric storage devices as part of a separate proceeding.2837

                                             (e)    Comments Regarding Transmission Service
                                                    Request Studies

                Clean Energy Associations note that some RTOs/ISOs determine the network

         upgrades needed to accommodate the charging of electric storage resources as part of the

         interconnection process, whereas other transmission providers do so in the transmission

         service request process.2838 Similarly, Xcel states that charging from the transmission

         system can be evaluated and approved through the designation of a new delivery point as

         part of a transmission service request.2839 Xcel further notes that it is unaware of a

         transmission service study process defined in the pro forma tariff that specifically

         evaluates non-firm load. Puget Sound states that it currently studies charging outside of

         the interconnection process and recognizes that charging could be considered a retail or a

         transmission product once the load piece is interconnected.2840 However, Puget Sound

         asserts that charging should be studied in the interconnection process, and the

         transmission provider should be granted more time to study this additional element.




                2837
                       ISO-NE Initial Comments at 40.
                2838
                  Clean Energy Associations Initial Comments at 54-55 (referencing, e.g., ISO-
         NE Planning Procedure No. 5-6, at 18 (2022); MISO, Business Practice Manual 15-r24,
         at 53.
                2839
                       Xcel Initial Comments at 46-47.
                2840
                       Puget Sound Initial Comments at 11-12.
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         Puget Sound seeks clarity as to whether the proposed reform means that charging should

         now be considered part of the interconnection process, or if it can be part of the process

         should the transmission provider wish to include it. Further, Puget Sound argues that the

         Commission should standardize the pro forma LGIA to include specific operating

         assumptions to avoid interconnection request delays due to needing to file a non-

         conforming LGIA with the Commission and/or interconnection customer hesitancy.

                In contrast, Tri-State argues that it is inappropriate to study charging of electric

         storage resources within a generator interconnection study, and instead asserts that this

         type of analysis is best performed as a part of a transmission service study, which covers

         delivery of energy to load or charging of an electric storage resource.2841 Similarly, SPP

         argues that evaluating the impact of an electric storage resource’s charging on the

         transmission system is better suited to other existing processes designed to assess load

         impact, such as the long-term transmission service study process, the short-term

         transmission service evaluation process, or market processes.2842

                                              (f)    Requests for Clarification and Flexibility

                Pine Gate requests that the Commission provide additional guidance regarding

         how transmission owners should perform studies and what network upgrade costs will be

         allocated to interconnection customers as a result.2843 Pine Gate states that transmission


                2841
                       Tri-State Initial Comments at 22.
                2842
                       SPP Initial Comments at 25.
                2843
                       Pine Gate Initial Comments at 52.
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         providers may need to study electric storage or co-located resources based on worst-case

         operating assumptions to understand the potential impact these resources would have on

         the transmission system absent operating restrictions being implemented. However, Pine

         Gate requests that the Commission clarify that network upgrade costs will not be

         assigned to the interconnection customer based on the unrealistic worst-case scenarios

         where there is agreement to implement operating restrictions.

                Elevate requests that the Commission clarify that the proposed reform applies to

         all study processes related to the interconnection of electric storage resources, including

         generator replacement, surplus interconnection, and requests to modify an existing

         generation resource, arguing that there is no reason for the Commission to require that

         transmission providers use realistic study parameters only in the context of requests for

         new interconnection service while allowing unrealistic study assumptions in other study

         processes.2844

                CAISO is concerned that, if not modified, the proposed reform would require

         transmission providers to provide firm charging options, whereas CAISO asserts that it

         does not currently provide firm charging service and stakeholders have never requested

         such service.2845 CAISO argues that requiring firm charging service would have a

         profound impact on organized electricity markets and asserts that if the Commission

         proposes to allow electric storage resources to bypass economic dispatch and charge


                2844
                       Elevate Initial Comments at 13-14.
                2845
                       CAISO Initial Comments at 34-35.
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         whenever they desire—even during stressed peak conditions—it should do so expressly

         and not in the context of a rulemaking addressing interconnection. CAISO asserts that

         the Commission should consider a simple clarification and avoid requiring transmission

         providers to offer firm charging, but instead require transmission providers that offer firm

         charging to allow interconnection customers to request it at the outset of their

         interconnection request.

                Environmental Defense Fund urges the Commission to clarify that an apparent

         failure to operate in accordance with agreed-upon conditions should be treated as a

         normal alleged default or breach as governed by article 17 of the pro forma LGIA, which

         would not result in immediate termination.2846 Environmental Defense Fund asserts that

         the requirements of article 17.1 of the pro forma LGIA state that a breaching party be

         given an opportunity to cure the breach and that termination is only available if the

         breaching party fails to cure or the breach is not capable of being cured. Similarly,

         Hydropower Commenters generally support the proposal, but believe that the proposed

         requirement that if an interconnection customer fails to operate its electric storage

         resource in accordance with the operating assumptions memorialized in the

         interconnection agreement, the interconnection customer may be considered in breach

         and the transmission provider may pursue termination of the interconnection agreement,

         is overly restrictive, will discourage the development of pumped storage projects, and




                2846
                       Environmental Defense Fund Initial Comments at 6-7.
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         should be modified.2847 Instead, Hydropower Commenters urge the Commission to

         provide for a standard cure period to address deviations, and penalties in the event of

         failure to cure.

                MISO states that the proposed reform is unclear because the text of the NOPR

         states that the Commission intends operating instructions to only apply to an electric

         storage resource’s ability to describe how it will withdraw energy from the transmission

         system (i.e., charge a battery), whereas the proposed pro forma LGIP revisions state that

         the operating assumptions can also apply to the manner the interconnection request states

         that the electric storage resource will discharge.2848 MISO asks that the Commission

         clarify that the text of the NOPR is correct, and that the Commission did not intend to

         propose to allow electric storage resources to define the operating assumptions for how

         they will inject into the transmission system because, according to MISO, allowing

         interconnection requests to define operating assumptions regarding discharge would

         result in operational problems and would be discriminatory to other generating facilities.

                Hydropower Commenters suggest that the proposed reform be modified to include

         a simplified procedure for amending an interconnection customer’s interconnection

         agreement to optimize the operating parameters of a pumped storage plant to the extent

         the transmission system is available.2849


                2847
                       Hydropower Commenters Initial Comments at 23-24.
                2848
                       MISO Initial Comments at 115.
                2849
                       Hydropower Commenters Initial Comments at 24.
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                Some commenters note that several transmission providers already study electric

         storage resources using more realistic operating assumptions and assert that transmission

         providers should have the flexibility to determine the assumptions used when studying

         generating facilities interconnecting to the transmission system, including operating

         assumptions for electric storage resources, while also factoring in input from the

         interconnection customer.2850 NESCOE argues that the final rule should require

         transmission providers to work with the relevant states, transmission owners, electric

         storage resource interconnection customers, and stakeholders in their region to develop

         modeling assumptions for electric storage resources that are reasonable, realistic, and

         ensure the ability to interconnect is offered on a non-discriminatory basis.2851

                National Grid recommends that the Commission provide regional flexibility to

         adopt or decline this proposed reform after transmission providers receive input from

         their stakeholders to determine if ad hoc proposed operating assumptions for

         interconnection requests are reasonable and appropriate or if certain pre-determined

         acceptable ranges of assumptions are consistent with reliability.2852 APPA-LPPC argues

         that the proposal could entail creating entirely new models for off-peak scenarios, not just

         running sensitivity analyses from an existing model, and therefore urges the Commission


                2850
                   APPA-LPPC Initial Comments at 29-30; Bonneville Initial Comments at 23;
         MISO Initial Comments at 117; National Grid Initial Comments at 41; NESCOE Reply
         Comments at 19.
                2851
                       NESCOE Reply Comments at 18.
                2852
                       National Grid Initial Comments at 41.
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         to give transmission providers the autonomy to determine whether additional

         transmission studies are needed.2853

                                     iii.    Commission Determination

                We adopt the NOPR proposal, subject to modification, to revise sections 3.1.2,

         3.2.1.2, 3.2.2.2, 3.3.1, 3.4.2, 4.4.3, 7.3, 8.2, and Appendix 1 of the pro forma LGIP and

         article 17.2 and Appendix H of the pro forma LGIA to require transmission providers, at

         the request of the interconnection customer, to use operating assumptions in

         interconnection studies that reflect the proposed charging behavior of electric storage

         resources2854 (whether standalone, co-located generating facilities,2855 or part of a hybrid

         generating facility2856)—i.e., whether the interconnecting generating facility will or will

         not charge during peak load conditions—unless good utility practice, including

         applicable reliability standards,2857 otherwise requires the use of different operating


                2853
                       APPA-LPPC Initial Comments at 29-30.
                2854
                    An electric storage resource is a generating facility capable of receiving
         electric energy from the grid and storing it for later injection of electricity.
                2855
                     As noted above, co-located generating facilities are more than one generating
         facility that are located on the same site and that are connected at the same point of
         interconnection that are operated and dispatched as separate generating facilities. See
         supra Section III.C.1.a.iii.
                2856
                     As noted above, a hybrid generating facility is a generating facility composed
         of more than one device of different technology types for the production and/or storage
         for later injection of electricity that are located on the same site and are operated and
         dispatched as a single integrated generating facility. See supra Section III.A.6.b.iii.
                2857
                    Applicable reliability standards means “the requirements and guidelines of the
         Electric Reliability Organization and the Balancing Authority Area of the Transmission
         System to which the Generating Facility is directly interconnected.” See pro forma LGIP
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         assumptions.2858 We clarify that studying electric storage resources, at the request of the

         interconnection customer, according to their planned operating assumptions means only

         the operating assumptions for withdrawals of energy (e.g., the charging of an electric

         storage resource) in interconnection studies.

                We find that by more accurately reflecting the technical capabilities of electric

         storage resources in interconnection studies through the use of appropriate operating

         assumptions, this reform ensures the reliable interconnection of new electric storage

         resources without overestimating their impact on the transmission system, thereby

         ensuring just and reasonable rates by avoiding excessive and unnecessary network

         upgrades that may hinder the timely development of new generating facilities that stifles

         competition in the wholesale market. We also find that reflecting the technical

         capabilities of electric storage resources through the use of appropriate operating

         assumptions in interconnection studies reduces unduly discriminatory or preferential

         barriers to the interconnection of electric storage resources.

                We adopt the proposed revisions, subject to modification, to section 3.1.2 of the

         pro forma LGIP to require transmission providers, at the request of the interconnection

         customer, to use operating assumptions that reflect the proposed charging behavior of an




         section 1 (Definitions).
                2858
                    For clarity, we note that the reforms described in this determination section
         and the related sections of the pro forma LGIP apply to all interconnecting electric
         storage resources, whether they are standalone, co-located generating facilities, or part of
         a hybrid generating facility.
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         electric storage resource, allow interconnection customers to resubmit their operating

         assumptions if the transmission provider finds the originally proposed operating

         assumptions are in conflict with good utility practice, and allow the transmission provider

         to require the interconnection customer to install additional control technologies. We

         agree with Public Interest Organizations that transparency is necessary when a

         transmission provider finds that an interconnection customer’s operating assumptions

         conflict with good utility practice.2859 Therefore, we modify the proposed revisions to

         section 3.1.2 of the pro forma LGIP to require that, if a transmission provider finds an

         interconnection customer’s proposed operating assumptions to be in conflict with good

         utility practice, the transmission provider must provide the interconnection customer with

         a clear explanation in writing of why the submitted operating assumptions are insufficient

         or inappropriate by no later than 30 calendar days before the end of the customer

         engagement window and allow the interconnection customer to revise and resubmit the

         proposed operating assumptions one time at least 10 calendar days before the end of the

         customer engagement window.

                We adopt the proposed revisions to section 3.2.1.2 of the pro forma LGIP to

         require transmission providers to study electric storage resources that request ERIS

         service according to the interconnection customer’s proposed operating assumptions. We

         adopt the proposed revisions to section 3.2.2.2 of the pro forma LGIP to require




                2859
                       Public Interest Organizations Initial Comments at 47-49.
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         transmission providers to study electric storage resources that request NRIS service

         according to the interconnection customer’s proposed operating assumptions.

                We agree with Elevate and clarify that the reform to use operating assumptions in

         interconnection studies, at the request of the interconnection customer, that reflect the

         proposed charging behavior of an electric storage resource applies to the operating

         assumptions used in all study processes related to the interconnection of electric storage

         resources. Accordingly, we modify the NOPR proposal to require transmission

         providers, at the request of the interconnection customer, to use operating assumptions

         that reflect the proposed charging behavior of an electric storage resource in additional

         study processes, as described below.

                With respect to surplus interconnection service, we modify the NOPR proposal to

         revise section 3.3.1 of the pro forma LGIP to require transmission providers, at the

         request of the interconnection customer, to use operating assumptions that reflect the

         proposed charging behavior of an electric storage resource in the surplus interconnection

         service process.

                We adopt the proposed revisions to section 3.4.2 of the pro forma LGIP to require

         interconnection customers to include in their interconnection request the proposed

         operating assumptions that reflect the proposed charging behavior of the electric storage

         resource and a description of any control technologies that will limit the operation of the

         electric storage resource to its intended operation.

                To the extent an interconnection customer requests to modify a generating facility

         already in the interconnection queue by adding an electric storage resource to the
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         interconnection request, the transmission provider shall study such a modification in

         accordance with section 4.4.3 of the pro forma LGIP using operating assumptions that

         reflect the proposed charging behavior of an electric storage resource, at the request of

         the interconnection customer. Accordingly, we modify the NOPR proposal to revise

         section 4.4.3 of the pro forma LGIP to require transmission providers, at the request of

         the interconnection customer, to use operating assumptions that reflect the proposed

         charging behavior of an electric storage resource in the material modification process.

                We adopt the proposed revisions to section 7.3 of the pro forma LGIP to require

         transmission providers, at the request of the interconnection customer, to use operating

         assumptions that reflect the proposed charging behavior of an electric storage resource in

         the cluster study process and to allow, but not require, transmission providers to:

         (1) memorialize the generating facility’s operating assumptions in Appendix H of the

         interconnection customer’s LGIA; and/or (2) require control technologies (software

         and/or hardware) for an electric storage resource that wishes to limit its operations during

         peak load conditions, with such protection devices included in Appendix C of the

         interconnection customer’s LGIA.

                We adopt the proposed revisions to section 8.2 of the pro forma LGIP to require

         transmission providers, at the request of the interconnection customer, to use operating

         assumptions that reflect the proposed charging behavior of an electric storage resource in

         the interconnection facilities study process.

                We adopt the NOPR proposal to revise Appendix 1 of the pro forma LGIP to

         require interconnection customers to provide to the transmission provider as part of the
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         initial interconnection request: (1) the requested operating assumptions for the

         interconnecting electric storage resource; and (2) a description of any applicable control

         technologies. However, we agree with MISO and Pine Gate that it is not necessary, and

         may not be possible, to specify the specific ancillary services that an electric storage

         resource will provide before entering the interconnection queue, particularly because the

         market rules addressing the provision of ancillary services from electric storage

         resources, whether they are standalone, part of co-located generating facilities, or part of

         a hybrid generating facility, are still being developed in multiple markets and such rules

         will likely change over the coming years.2860 Therefore, we decline to adopt the proposed

         revision to require interconnection customers to list the specific ancillary services they

         intend to provide as part of the initial interconnection request.2861 In addition, we agree

         with MISO and CAISO that control technologies frequently evolve, and interconnection

         customers that choose to specify operating assumptions should be responsible for

         including appropriate control technologies with their requests to use such operating

         assumptions. Therefore, we also decline to adopt the proposed revision to require

         transmission providers to publicly post a list of acceptable control technologies.

                We adopt the NOPR proposal to revise Appendix 1 of the pro forma LGIP to

         require interconnection customers to provide to the transmission provider any proposed

         operating assumptions for the interconnecting electric storage resource as part of the


                2860
                       MISO Initial Comments at 118; Pine Gate Initial Comments at 52.
                2861
                       NOPR, 179 FERC ¶ 61,194 at P 281.
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         initial interconnection request. This timing ensures that the flexibility provided by this

         reform does not delay the cluster study process by ensuring the transmission provider has

         all necessary information at the time interconnection studies commence. In response to

         commenters that request that the Commission define a clear decision point after which

         changes to operating assumptions may be considered a material modification,2862 we

         reiterate that the operating assumptions must be submitted as part of the initial

         interconnection request. Further, we clarify that such operating assumptions only pertain

         to the proposed charging behavior of an electric storage resource, i.e., whether the

         interconnecting resource will or will not charge during peak load conditions.

                We modify the NOPR proposal to add article 17.2 to the pro forma LGIA to

         describe a violation of operating assumptions for generating facilities, including for an

         electric storage resource. We also add Appendix H to the pro forma LGIA as the

         location for the interconnection customer to memorialize its operating assumptions. If

         the owner of the generating facility fails to operate the generating facility in accordance

         with its operating assumptions, as memorialized in Appendix H of the pro forma LGIA,

         the transmission provider may pursue termination of the LGIA through the breach and

         cure provisions found in article 17 of the pro forma LGIA. As already provided for in

         article 17 of the pro forma LGIA, we agree with Environmental Defense Fund that

         interconnection customers should be given the opportunity to cure a breach of the LGIA



                2862
                   AES Clean Energy Initial Comments at 24; APS Initial Comments at 22;
         Clean Energy Associations Initial Comments at 56-57; ENGIE Initial Comments at 11.
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         if possible.2863 We clarify that, if an interconnection customer fails to operate its electric

         storage resource in accordance with the operating assumptions memorialized in the

         interconnection customer’s LGIA, the procedure for termination pursuant to articles

         17.1.1 and 17.1.2 of the pro forma LGIA is appropriate. We believe that repeat

         violations of the operating assumptions memorialized in the LGIA are likely not

         consistent with good utility practice.2864 Additionally, we agree with rPlus and Idaho

         Power that there may be unique instances in real-time operations during which a

         transmission provider would want an electric storage resource to charge during peak load

         conditions (e.g., because the electric storage resource is located in a generation pocket).

         Therefore, we clarify that, if done so at the direction of the transmission provider to

         maintain the reliable and efficient operation of the transmission system, an electric

         storage resource that operates contrary to the operating assumptions specified in its LGIA

         in this instance must not be considered in breach of its LGIA by the transmission

         provider.

                We believe that, taken together, the revisions to the pro forma LGIP and pro

         forma LGIA will ensure that interconnection customers adhere to the operating



                2863
                       Environmental Defense Fund Initial Comments at 6-7.
                2864
                     The pro forma LGIA states that “Each Party shall perform all of its obligations
         under this LGIA in accordance with Applicable Laws and Regulations, Applicable
         Reliability Standards, and Good Utility Practice, and to the extent a Party is required or
         prevented or limited in taking any action by such regulations and standards, such Party
         shall not be deemed to be in Breach of this LGIA for its compliance therewith.” Pro
         forma LGIA art. 4.3 (Performance Standards).
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         assumptions used to study their electric storage resource and ameliorate concerns about

         possible reliability problems expressed by commenters. We agree with commenters that:

         (1) control devices can prevent electric storage resources from charging during peak load

         conditions; (2) modern electric storage resources can respond to signals from the

         transmission provider within seconds; (3) electric storage resources generally do not have

         an economic incentive to charge during peak load conditions; and (4) the consequence of

         being considered in breach of the LGIA provides an additional incentive for electric

         storage resources to follow the agreed-upon operating assumptions memorialized in their

         LGIA. Further, we note that some transmission providers already assume in their

         interconnection studies that electric storage resources will not charge during peak load

         conditions.2865 We emphasize that, irrespective of these changes to operating

         assumptions, all electric storage resources must continue to meet all requirements in the

         pro forma LGIP and pro forma LGIA, as well as all applicable reliability standards.

                We agree with commenters that the speed and control with which electric storage

         resources can respond to signals from transmission providers sufficiently distinguishes

         the charging behavior of electric storage resources from that of firm customer end-use

         load. Therefore, for purposes of determining any network upgrades necessary to

         accommodate the reliable interconnection of electric storage resources, we find that the


                2865
                    Bonneville Initial Comments at 23; MISO Comments at 117; see also
         PacifiCorp, 182 FERC ¶ 61,131 (2023) (accepting, subject to condition, revisions to
         PacifiCorp’s LGIP and LGIA to allow PacifiCorp to study electric storage resources in its
         interconnection study process using operating assumptions that more accurately reflect
         their expected operation).
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         charging of electric storage resources should not be modeled equivalently to firm

         customer end-use load in interconnection studies if the interconnection customer

         memorializes its operating assumptions in the LGIA and installs control technologies, if

         required, to limit its operations as specified.

                For clarity and in response to MISO’s concern about conflicting descriptions of

         the reform in the NOPR preamble and the proposed revisions to the pro forma LGIP, we

         modify the proposed revisions to the pro forma LGIP to clarify that these requirements

         apply only to the operating assumptions for withdrawals of energy (e.g., proposed

         charging behavior of electric storage resources, whether standalone, co-located

         generating facilities, or part of a hybrid generating facility), not to discharging.

                In response to Pine Gate’s request for clarification about what network upgrade

         costs will be allocated to interconnection customers as a result of the adoption of the

         revisions related to operating assumptions, we clarify that the transmission provider must

         not assign network upgrade costs to the interconnection customer based on those worst-

         case operating assumptions (e.g., charging at maximum capacity during peak load

         conditions) where there is agreement from the interconnection customer to, if required,

         implement operating restrictions including installing or demonstrating that the generating

         facility already has control technologies (software and/or hardware) to limit its operations

         during peak load conditions. As addressed above, we believe that these conditions

         sufficiently address any reliability concerns associated with the unexpected operation of

         an electric storage resource and thus believe it is appropriate for the transmission
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         provider to only assign costs for network upgrades based on the proposed charging

         behavior of the electric storage resource.2866

                Several commenters point out that not all transmission providers use the same

         process to study the charging of electric storage resources. Some transmission providers

         determine the network upgrades needed to accommodate the charging of an electric

         storage resource in the interconnection process, whereas other transmission providers do

         so exclusively as part of a transmission service request.2867 In response to these

         commenters, we clarify that the requirement for transmission providers to use operating

         assumptions, at the request of the interconnection customer, in interconnection studies

         that reflect the proposed charging behavior of an electric storage resource applies only to

         the operating assumptions that transmission providers use in the interconnection process.

         This requirement does not apply to transmission service requests and this final rule does

         not propose to modify the process for requesting transmission service. In response to

         Puget Sound,2868 we further clarify that this reform does not require transmission

         providers to study charging as part of the interconnection process if they do not already


                2866
                   See, e.g., AEE Initial Comments at 41-42; AEP Initial Comments at 46-47;
         CESA Reply Comments at 10; Clean Energy Associations Initial Comments at 52, 56-58;
         NARUC Initial Comments at 37; NESCOE Reply Comments at 18; Public Interest
         Organizations Initial Comments at 48-50; R Street Initial Comments at 16; SEIA Reply
         Comments at 26-27.
                2867
                    See, e.g., Clean Energy Associations Initial Comments at 55; Puget Sound
         Initial Comments at 11-12; SPP Initial Comments at 25; Tri-State Initial Comments at 22;
         Xcel Initial Comments at 46-47.
                2868
                       Puget Sound Initial Comments at 11-12.
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         do so. If a transmission provider does not determine the network upgrades needed to

         accommodate the charging of an electric storage resource through the interconnection

         process, then on compliance the transmission provider must demonstrate why this reform

         does not apply to that particular transmission provider.

                In the NOPR, the Commission sought comment on whether to define “peak load

         period” and/or “net peak load” period.2869 Given the variation in the scenarios that

         transmission providers study in the interconnection process (e.g., summer peak load,

         winter peak load, shoulder peak load, light load conditions, etc.), we agree with

         commenters that regional flexibility is warranted.2870 Therefore, we decline to adopt

         standardized definitions of “peak load period” and/or “net peak load” period.

                In the NOPR, the Commission also sought comment on whether to define firm and

         non-firm charging for electric storage resources and require transmission providers to

         define study criteria and possible ways to interconnect related to both firm and non-firm

         charging.2871 Further, the Commission sought comment on proposed definitions of firm

         and non-firm charging service. Several commenters express concerns about defining

         firm and non-firm charging service, including whether the proposed definitions conflate

         interconnection and transmission service. We believe that, given the other reforms




                2869
                       NOPR, 179 FERC ¶ 61,194 at P 287.
                2870
                 See, e.g., Ameren Initial Comments at 29; Microgrid Resources Initial
         Comments at 8.
                2871
                       NOPR, 179 FERC ¶ 61,194 at P 288.
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         adopted herein regarding operating assumptions, the proposed definitions of firm and

         non-firm charging service are not necessary to ensure that transmission providers, at the

         request of the interconnection customer, use more realistic operating assumptions to

         study electric storage resources in the interconnection process and to avoid excessive and

         unnecessary network upgrades that may otherwise hinder the timely development of new

         electric storage resources. Therefore, we decline to adopt any definitions of firm and

         non-firm charging service. As a result, we also clarify that this final rule does not require

         transmission providers to define conditions under which electric storage resources will be

         curtailed. In response to CAISO’s concern that a proposed definition of firm charging

         service would require transmission providers that do not currently provide firm charging

         service to do so, we clarify that this final rule does not require transmission providers to

         provide firm charging service.

                In the NOPR, the Commission sought comment on whether to expand this reform

         to address operating assumptions for additional generating facility technologies that may

         currently be inaccurately modeled, such as variable energy resources.2872 The

         Commission also sought comment on whether other operating assumptions, in addition to

         the assumption that electric storage resources withdraw energy during peak load periods,

         should be addressed as part of this proposed reform. In response to several commenters’

         concerns about potential reliability impacts and the administrative burden of extending

         the NOPR proposal to also address injections of power from electric storage resources or


                2872
                       Id. P 286.
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         other resource types, we decline in this final rule to extend the reform to apply to

         additional generating facility technologies or to other operating assumptions. We clarify

         that this reform does not apply to the operating assumptions used to study the injection of

         power from electric storage resources or the injection of power from other resource types

         (e.g., natural gas, solar, wind, etc.). We encourage transmission providers to examine on

         an individual basis what operating assumptions used to study the injection of power may

         be appropriate to render the study process more accurate. Similarly, we decline to require

         transmission providers to use fuel-based dispatch assumptions to study the injection of

         power from all resource types in interconnection studies at this time, as suggested by

         some commenters. We acknowledge that fuel-based dispatch assumptions may be able to

         address some of the identified challenges associated with inaccurate modeling

         assumptions for all resource types and encourage transmission providers to evaluate the

         merits of adopting it, but we do not believe that adopting such a requirement on a generic

         basis is supported by the record.

                We decline to address the potential implications of this reform for transmission

         providers with Commission-approved interconnection processes that vary from the pro

         forma requirements adopted in Order Nos. 2003 and 845. As explained in the Section IV

         of this final rule, transmission providers with such variations from the pro forma LGIP

         and pro forma LGIA may seek approval as part of the compliance process to maintain

         those variations, which the Commission will consider on a case-by-case basis. What we

         adopt in this final rule are requirements that are part of the pro forma LGIP and pro

         forma LGIA, and we therefore only address the interaction of the requirements adopted
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         herein with existing requirements that are part of the pro forma process and not variations

         thereto.

                We also decline to require transmission providers to use standardized operating

         assumptions, as some commenters suggest.2873 In the NOPR, the Commission did not

         propose to require transmission providers to use standardized operating assumptions, and

         we decline to do so here.

                In response to comments from Hydropower Commenters’ suggestion that the final

         rule include a simplified procedure for amending an executed interconnection agreement

         to optimize the operating parameters of a pumped storage plant already in operation,2874

         we find that such a request is outside the scope of this proceeding. In the NOPR, the

         Commission did not propose a new study process for resources already in operation to

         amend operating assumptions memorialized in their interconnection agreements.

                In response to Microgrid Resources’ request that the Commission explicitly

         include microgrids in the provisions of this rulemaking applied to hybrid resources,2875

         we find such a request to be outside the scope of this proceeding. The Commission did

         not propose to define microgrids or apply specific reforms to microgrids in the NOPR,

         and we decline to do so now. Further, in response to Microgrid Resources’ and IREC’s

         requests that the Commission extend the proposed reforms for hybrid resources to the pro


                2873
                       Puget Sound Initial Comments at 12; Pine Gate Initial Comments at 54.
                2874
                       Hydropower Commenters Initial Comments at 24.
                2875
                       Microgrid Resources Initial Comments at 7.
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         forma SGIP, 2876 we note that the NOPR did not propose to revise the pro forma SGIP to

         require transmission providers to use operating assumptions in interconnection studies

         that reflect the proposed charging behavior of an electric storage resource, and we decline

         to do so here.

                          2.        Incorporating the Enumerated Alternative Transmission
                                    Technologies into the Generator Interconnection Process

                                    a.      Consideration of the Enumerated Alternative
                                            Transmission Technologies in Interconnection Studies
                                            Upon Request of the Interconnection Customer

                                            i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission stated that alternative transmission technologies

         can provide substantial benefits to optimize the transmission system in specific scenarios

         because they often can be deployed both more quickly and at lower costs than other

         network upgrades.2877 The Commission stated that, despite these potential benefits,

         alternative transmission technologies often do not receive the same consideration during

         generator interconnection processes as other network upgrades.2878 The Commission

         preliminarily found that failing to consider alternative transmission technologies that can

         be deployed both more quickly and at lower costs than network upgrades may render

         Commission-jurisdictional rates unjust and unreasonable.




                2876
                       Id.; IREC Initial Comments at 15, attach. A.
                2877
                       NOPR, 179 FERC ¶ 61,194 at P 294.
                2878
                       Id. P 296.
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                The Commission proposed to revise the pro forma LGIP and pro forma SGIP to

         require transmission providers, upon request of the interconnection customer, to evaluate

         the requested alternative transmission solution(s) during the pro forma LGIP cluster

         study and the pro forma SGIP system impact study and facilities study within the

         generator interconnection process.2879

                To provide more certainty for evaluation purposes, and focus on technologies that

         serve a transmission function and thus are subject to Commission jurisdiction, the

         Commission proposed to specify the technologies that the interconnection customer may

         request to be evaluated.2880 Specifically, the Commission proposed revisions to the pro

         forma LGIP and pro forma SGIP to require transmission providers to consider the

         following technologies within the cluster study of the pro forma LGIP and within the

         system impact study and facilities study of the pro forma SGIP upon request of the

         interconnection customer: advanced power flow control, transmission switching,

         dynamic line ratings, static synchronous compensators, and static VAR compensators.

         The Commission stated that it believes that the deployment of these transmission

         technologies may reduce interconnection costs by providing lower cost network upgrades

         to interconnect new generating facilities.2881




                2879
                       Id. P 297.
                2880
                       Id. P 298.
                2881
                       Id.; see also id. PP 294-95, 298.
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                The Commission explained that, under this proposal, the interconnection customer

         may request, at the relevant scoping meeting, that the transmission provider consider a

         single, multiple, or all technologies on this list.2882 The Commission proposed that the

         transmission provider would be required to evaluate the transmission technologies

         identified above for feasibility, cost, and time savings within the cluster study for the pro

         forma LGIP and the system impact study and facilities study for the pro forma SGIP,

         upon request of the interconnection customer. The Commission explained that the

         transmission provider, upon this request, must evaluate the identified transmission

         technology and, if feasible, determine whether it should be used, consistent with good

         utility practice and other applicable regulatory standards. Transmission providers would

         continue to retain discretion regarding whether to use the transmission technology.

                The Commission sought comment on whether the list of alternative transmission

         technologies is sufficient.2883 In particular, the Commission sought comment on whether

         storage that performs a transmission function, synchronous condensers, and voltage

         source converters should be included in the list of alternative transmission technologies.

         The Commission also sought comment on: (1) whether there are software, operational,

         or other barriers to the use of these transmission technologies as proposed; (2) whether

         the use of alternative transmission technologies as supplements for, or in the place of,

         traditional network upgrades is sufficient to guarantee a level of service to accommodate


                2882
                       Id. P 299.
                2883
                       Id. P 300.
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         an interconnection customer seeking NRIS, or whether such a network upgrade can only

         be used if the interconnection customer requested ERIS; (3) whether the existing study

         processes and models in the generator interconnection process remain suitable for

         considering alternative transmission technologies, whether additional processes or

         models are needed, and if so, which entity should be responsible for developing them;

         (4) how costs incurred for evaluating alternative transmission technology study requests

         would be allocated among interconnection customers in the cluster; (5) what reasonable

         number of transmission technology study requests from each interconnection customer

         would be workable, the burden (in terms of both time and resources) on transmission

         providers required to evaluate such requests, and whether interconnection study deadlines

         may need to be extended to account for time needed to evaluate the alternative

         transmission technology study requests; and (6) whether provisional interconnection

         service consideration for transmission technologies should be mandatory.2884

                                       ii.   Comments

                                             (a)    Comments in Support

                Numerous commenters support the Commission’s proposal because they believe

         that it could reduce interconnection costs, increase flexibility, increase the speed of

         interconnections, and improve reliability.2885 Commenters assert that the proposed


                2884
                       Id. P 301.
                2885
                  ACORE Reply Comments at 3-4; AEE Initial Comments at 42; AEE Reply
         Comments at 41; AES Initial Comments at 25; Amazon Initial Comments at 5-6; Clean
         Energy Associations Initial Comments at 61-62; Clean Energy Associations Reply
         Comments at 9; Clean Energy Buyers Initial Comments at 5; Consumer Protection
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         alternative transmission technologies in the NOPR can reduce costs.2886 With respect to

         reducing interconnection costs, SEIA contends that, by decreasing the costs of network

         upgrades, the proposal will reduce the number of withdrawals from the interconnection

         queue, creating a more stable and efficient interconnection process.2887 SEIA also claims

         that decreasing these costs will reduce the interconnection costs for interconnection

         customers, who may then reflect those savings in power purchase agreements or

         integrated resource plan submissions.2888 Commenters contend that, if the Commission

         were to not adopt this proposal, the failure to lower interconnection costs by evaluating

         alternative transmission technologies would impose unjust and unreasonable costs on

         interconnection customers.2889



         Coalition Reply Comments at 2; CREA and NewSun Initial Comments at 92; EDF
         Renewables Initial Comments at 14; ENGIE Initial Comments at 12; EPRI Initial
         Comments at 20-21; Fervo Energy Reply Comments at 8-9; Illinois Commission Initial
         Comments at 14; Invenergy Initial Comments at 52; NARUC Initial Comments at 38-39;
         OSPA Reply Comments at 14; Ohio Commission Consumer Advocate Initial Comments
         at 15; OMS Initial Comments at 19; Ørsted Initial Comments at 3; Ørsted Reply
         Comments at 8; R Street Initial Comments at 9; SEIA Initial Comments at 41; Tesla
         Initial Comments at 8; WATT Coalition Initial Comments at 2; WATT Coalition Reply
         Comments at 1; Joint Fed.-State Task Force on Elec. Transmission, Technical
         Conference, Docket No. AD21-15-000, recording at 1:16:18-1:24:02 (approx.)
         (Commissioner Darcie Houck) (July 16, 2023).
                2886
                    Cyprus Creek Initial Comments at 26; SEIA Initial Comments at 40; Shell
         Initial Comments, app. A at v-vi.
                2887
                  SEIA Initial Comments at 40; see also AEE Initial Comments at 42; EDF
         Renewables Initial Comments at 14; ENGIE Initial Comments at 12; Ørsted Initial
         Comments at 37; OMS Initial Comments at 19.
                2888
                       SEIA Initial Comments at 40-41.
                2889
                       Clean Energy Associations Reply Comments at 9-10; Environmental Defense
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                With respect to reducing interconnection delays, Illinois Commission asserts, for

         example, that alternative transmission technologies allow resources to come online more

         quickly and allow for better use of the existing transmission system, requiring fewer

         transmission buildouts.2890 OMS contends that failing to consider alternative

         transmission technologies risks requiring longer lead-time network upgrades.2891 WATT

         Coalition argues that use of the appropriate technologies will result in fewer withdrawals

         from the interconnection queue and a reduction in restudies and delays.2892 WATT

         Coalition points out that, when interconnection customers withdraw, grid enhancing

         technologies offer additional value because they are scalable and modular to address

         evolving needs and can be redeployed as those needs continue to change.2893

                With respect to reliability, Ohio Commission Consumer Advocate contends that

         some alternative transmission technologies could provide substantial benefits by

         resolving thermal overloads and avoiding voltage collapse.2894




         Fund Initial Comments at 7; Fervo Energy Reply Comments at 9; NARUC Initial
         Comments at 38.
                2890
                       Illinois Commission Initial Comments at 14.
                2891
                       OMS Initial Comments at 19.
                2892
                       WATT Coalition Initial Comments at 2.
                2893
                       Id. at 2-3; WATT Coalition Reply Comments at 5-6.
                2894
                       Ohio Commission Consumer Advocate Initial Comments at 15.
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                Some commenters argue that a requirement to study alternative transmission

         technologies would not slow down interconnection studies overall.2895 For example, AEE

         states that, if a technology is not proven or commercially viable, it will be quickly ruled

         out of further evaluation under prevailing study approaches.2896 ACORE claims that an

         evaluation of alternative transmission technologies would not be a burden but rather an

         integral part of interconnection studies because such an evaluation will likely reduce the

         number of withdrawals and restudies.2897 WATT Coalition argues that, because

         transmission providers currently use an iterative process when conducting

         interconnection studies, adding the proposed list of alternative transmission technologies

         to an iterative solution set should not significantly change the time frame or complexity

         of studies.2898

                                             (b) Comments in Opposition

                Some commenters argue that the proposal is unnecessary because transmission

         providers already consider alternative transmission technologies in interconnection

         studies.2899 For example, Southern states that transmission providers already include the



                2895
                 ACORE Reply Comments at 3-4; AEE Initial Comments at 44; ENGIE Initial
         Comments at 13; Fervo Energy Initial Comments at 7.
                2896
                       AEE Initial Comments at 44.
                2897
                       ACORE Reply Comments at 3-4.
                2898
                       WATT Coalition Reply Comments at 2.
                2899
                  Bonneville Initial Comments at 23-24; MISO Initial Comments at 120; MISO
         Reply Comments at 12; Southern Initial Comments at 29.
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         assessment of alternative transmission technologies such as static VAR compensators as

         needed in interconnection studies.2900 AEE responds that, if alternative transmission

         technologies are already being evaluated, then the proposal will not place an additional

         burden on interconnection queues.2901

                Several commenters oppose the proposal because they believe it conflates the use

         of alternative transmission technologies in operations with their use in planning.2902 For

         instance, MISO argues that alternative transmission technologies are not necessarily the

         solution needed for any particular interconnection because these are often operational

         solutions that are inappropriate for wide-scale deployment in a planning process, which

         reviews an entire cycle of proposed interconnections and identifies solutions to support

         those interconnections for the expected lifetime of their interconnection.2903 MISO

         claims that using alternative transmission technologies in planning for interconnection

         rather than in operations may be inconsistent with “good utility practice” and “applicable

         regulatory standards”, and MISO expresses concerns about the impact or effectiveness of

         using alternative transmission technologies in place of network upgrades.2904 NYTOs




                2900
                       Southern Initial Comments at 29.
                2901
                       AEE Reply Comments at 42-43.
                2902
                    MISO Initial Comments at 120; NRECA Initial Comments at 45-46; NYTOs
         Initial Comments at 32: PJM Initial Comments at 68.
                2903
                       MISO Initial Comments at 120; see also NRECA Initial Comments at 45-46.
                2904
                       MISO Initial Comments at 122-123.
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         assert that alternative transmission technologies should generally not be used in

         interconnection studies unless they are effective in the planning context.2905 PJM argues

         that alternative transmission technologies should not be incorporated into the generator

         interconnection process because they do not represent long-term solutions that can serve

         as blanket substitutes for the need for transmission expansion.2906 In response, AEE and

         WATT Coalition argue that the primary purpose of alternative transmission technologies

         is to serve as a complementary bridge technology while more robust transmission is

         built.2907

                 Some commenters express concern that alternative transmission technologies are

         not always appropriate for addressing long-term, interconnection-related reliability

         issues.2908 Southern adds that, because transmission providers already consider these

         technologies and are subject to mandatory reliability standards, interconnection

         customers should not be able to request certain reliability fixes because their overall

         focus may be to minimize cost instead of maximizing reliability.2909 EEI asserts that




                 2905
                        NYTOs Initial Comments at 32; see also Puget Sound Initial Comments at 13-
         14.
                 2906
                        PJM Initial Comments at 68.
                 2907
                        AEE Reply Comments at 43-44; WATT Coalition Reply Comments at 3-4.
                 2908
                 AECI Initial Comments at 9; AEP Initial Comments at 51; Avangrid Initial
         Comments at 36; Southern Initial Comments at 29; U.S. Chamber of Commerce Initial
         Comments at 12.
                 2909
                        Southern Initial Comments at 29.
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         building firm transmission capacity or replacing or upgrading limiting equipment

         provides a more reliable long-term solution than the use of alternative transmission

         technologies because they are not dependable for reducing congestion or providing more

         capacity in the long-term or during extreme system conditions.2910

                Ameren and EEI oppose the proposal because they assert it overlaps with pending

         proposals in other proceedings.2911 EEI argues the Commission should not promulgate

         requirements related to alternative transmission technologies in this proceeding while

         other Commission proceedings meant to address the use of these same technologies are

         pending.2912 ACORE responds that, given the benefits of incorporating alternative

         transmission technologies in interconnection studies, there is no justification for delaying

         this requirement pending action in the other Commission proceedings.2913

                Other commenters argue that requiring interconnection studies to consider

         alternative transmission technologies will increase interconnection study timelines and

         therefore slow interconnection request processing speeds, contrary to the NOPR’s



                2910
                       EEI Initial Comments at 20.
                2911
                       Ameren Initial Comments at 30; EEI Initial Comments at 20.
                2912
                   EEI Initial Comments at 21 (citing Electric Transmission Incentives Policy
         Under Section 219 of the Federal Power Act, Notice of Proposed Rulemaking, Docket
         No. RM20-10-000; Grid-Enhancing Technologies, Notice of Workshop, Docket No.
         AD19-19-000; Implementation of Dynamic Line Ratings, Notice of Inquiry, Docket No.
         AD22-5-000; Building for the Future Through Electric Regional Transmission Planning
         and Cost Allocation and Generator Interconnection, Notice of Proposed Rulemaking,
         Docket No. RM21-17-000).
                2913
                       ACORE Reply Comments at 4.
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         objective.2914 Puget Sound asserts that “the time is not ripe” to enforce new standards

         concerning alternative transmission technologies, given the sweeping changes proposed

         in the NOPR, adding that advanced transmission technologies requirements may not be

         possible in the short term and could negate the Commission’s goals to streamline the

         interconnection process.2915

                MISO contends that some alternative transmission technologies, e.g., technologies

         that can control line impedances, may shift the burden of system impacts to other parties

         by causing additional new constraints.2916 Indicated PJM TOs are concerned that, if one

         interconnection customer request changes power flows, such as through the use of phase

         angle regulators, it will impact other interconnection customers and effectively require a

         whole additional set of studies for large areas of the transmission system.2917 AECI

         argues that the appropriate balance of the burden to justify the use of a particular




                2914
                    AECI Initial Comments at 9; AEP Initial Comments at 53; Avangrid Initial
         Comments at 35; Dominion Initial Comments at 41; EEI Initial Comments at 21;
         Eversource Initial Comments at 36-37; Indicated PJM TOs Initial Comments at 55;
         Indicated PJM TOs Reply Comments at 18; ISO-NE Initial Comments at 41; MISO
         Initial Comments at 11, 123; National Grid Initial Comments at 42-43; Puget Sound
         Initial Comments at 13.
                2915
                       Puget Sound Initial Comments at 13.
                2916
                       MISO Initial Comments at 122, 124.
                2917
                       Indicated PJM TOs Initial Comments at 55.
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         technology should rest with the interconnection customer so that “capricious study

         requests” are avoided.2918

                Several commenters argue that the NOPR proposal is overly burdensome for

         transmission providers.2919 For instance, MISO TOs note the competing interests (i.e.,

         accelerating the interconnection process and layering numerous additional requirements

         and significantly increasing the number of studies an RTO/ISO and its transmission

         owners must perform).2920 MISO argues that the Commission’s proposal would require

         MISO to conduct 4,780 evaluations in the first phase of its interconnection study

         process.2921 MISO contends that, when evaluating how these technologies can be

         incorporated, the effects on the rest of the interconnection queue and system can generate

         debate that could slow down the interconnection process. Similarly, National Grid claims

         that new alternative transmission technologies can present modeling uncertainties (e.g.,

         operating parameters and cost uncertainties) and potential software limitations that

         transmission owners would need an unforeseeable amount of time to evaluate and could

         lead to possible penalties if study deadlines are not met.2922



                2918
                       AECI Initial Comments at 9.
                2919
                    Dominion Initial Comments at 41; EEI Initial Comments at 21; Eversource
         Initial Comments at 36-37; MISO TOs Initial Comments at 30; NextEra Initial
         Comments at 6.
                2920
                       MISO TOs Initial Comments at 30.
                2921
                       MISO Initial Comments at 11.
                2922
                       National Grid Initial Comments at 42-43.
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                                             (c)    Comments on Specific Proposal

                                                    (1)    List of Alternative Transmission

                                                           Technologies

                Some commenters broadly support the list of proposed alternative transmission

         technologies,2923 with others supporting particular technologies (e.g., dynamic line

         ratings2924 and advanced power flow control2925).

                MISO and SoCal Edison oppose the proposed list of technologies because they

         contend that it includes technologies that are not appropriate for interconnection.2926

         MISO asserts that, although the deployment of devices such as static series synchronous

         compensators could solve some problems, they could create other issues (e.g., a change

         to the impedance of any one transmission facility could cause problems or impact

         operations elsewhere), requiring the holistic management of their operation and

         deployment.2927 SoCal Edison claims that certain technologies that the interconnection



                2923
                 NARUC Initial Comments at 39; OMS Initial Comments at 19; Ørsted Initial
         Comments at 16; WATT Coalition Initial Comments at 3; Xcel Initial Comments at 47.
                2924
                    Illinois Commission Initial Comments at 14; OMS Initial Comments at 19;
         WATT Coalition Initial Comments at 2; Joint Fed.-State Task Force on Elec.
         Transmission, Technical Conference, Docket No. AD21-15-000, recording at 1:16:18-
         1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
                2925
                    WATT Coalition Initial Comments at 2; Joint Fed.-State Task Force on Elec.
         Transmission, Technical Conference, Docket No. AD21-15-000, recording at 1:16:18-
         1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
                2926
                       MISO Initial Comments at 122; SoCal Edison Initial Comments at 20.
                2927
                       MISO Initial Comments at 122.
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         customer may request to be evaluated, such as dynamic line ratings, have not been fully

         tested by certain RTOs/ISOs and thus should be excluded from the permissible list of

         options requested by an interconnection customer.2928

                Some commenters assert that, although dynamic line ratings may be beneficial

         during operations, they may not be appropriate for interconnection or transmission

         planning.2929 Others note several operational challenges of using dynamic line ratings in

         interconnection, such as: (1) there is currently no Commission or NERC guidance on

         how to use dynamic line ratings absent thorough data on wind conditions, temperature,

         and other future system conditions;2930 and (2) interconnection study software is not

         capable of incorporating dynamic line ratings, and it is not clear what assumptions should

         be used on affected systems.2931 ISO-NE argues that the Commission should continue to

         consider the use and implementation of this technology in Docket No. AD22-5, rather

         than here.2932 In response, WATT Coalition argues that there is significant value in

         considering dynamic line ratings in planning, adding that dynamic line ratings and other




                2928
                       SoCal Edison Initial Comments at 20.
                2929
                 Indicated PJM TOs Initial Comments at 56; ISO-NE Initial Comments at 41;
         NYTOs Initial Comments at 32-33; PacifiCorp Initial Comments at 44; Tri-State Initial
         Comments at 23; U.S. Chamber of Commerce Initial Comments at 12-13.
                2930
                       PacifiCorp Initial Comments at 44.
                2931
                       Tri-State Initial Comments at 23.
                2932
                       ISO-NE Initial Comments at 41.
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         grid enhancing technologies are not more difficult to study than legacy devices and

         traditional solutions.2933

                While acknowledging the benefits that advanced power flow control devices

         provide for real-time operations, Indicated PJM TOs contend that they are inappropriate

         in the context of implementing solutions to facilitate interconnection.2934 Tri-State claims

         that advanced power flow control devices may push power onto other affected systems,

         which is a more significant challenge in non-RTO/ISO scenarios.2935 MISO asserts that

         the widespread use of advanced flow control devices can have widespread impacts due to

         sizeable adjustments to line impedances and that using these devices could result in a

         cascade of issues across the system, pushing the problem and the costs of remedying it to

         other customers.2936 WATT Coalition asserts that automatic power factor controllers are

         just as effective at mitigating overloads as reconductoring but that automatic power factor

         controllers are the only flexible AC transmission system devices that suffer from the

         “perverse incentive” identified by stakeholders because installation costs are much lower

         than the upgrades they compete with.2937 PacifiCorp states that in the course of the




                2933
                       WATT Coalition Reply Comments at 4-6.
                2934
                       Indicated PJM TOs Initial Comments at 56.
                2935
                       Tri-State Initial Comments at 23.
                2936
                       MISO Initial Comments at 122.
                2937
                       WATT Coalition Initial Comments at 3.
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         interconnection study process it often considers the use of advanced power flow control

         devices as potential alternatives to standard system infrastructure.2938

                Some commenters raise concerns about using transmission switching for

         interconnection. For instance, Tri-State questions whether transmission switching is

         meant to be a remedial action scheme or to create permanent open points on the system,

         which it argues may be problematic in non-RTOs/ISOs and may result in reduced

         reliability on the transmission system.2939 MISO argues that applying automatic topology

         changes would be remedial action schemes, noting that MISO and its transmission

         owners have attempted to reduce the number of remedial action schemes employed on

         the system as a matter of good utility practice.2940 PacifiCorp contends that transmission

         switching is a complex process that can be implemented only under particular factual

         scenarios and system conditions, adding that it is unlikely that system congestion could

         be reliably reduced by requiring the analysis of transmission switching in the study

         process.2941

                Other commenters argue that the Commission should not limit the alternative

         transmission technologies to a pre-approved list.2942 Some commenters contend that the


                2938
                       PacifiCorp Initial Comments at 43.
                2939
                       Tri-State Initial Comments at 23.
                2940
                       MISO Initial Comments at 122.
                2941
                       PacifiCorp Initial Comments at 44.
                2942
                    Amazon Initial Comments at 6-7; CTC Global Initial Comments at 17; ENGIE
         Initial Comments at 13; Environmental Defense Fund Initial Comments at 7; Invenergy
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         Commission’s proposal could limit future grid enhancing technologies that might be the

         best solution because the list includes only five technologies and would not require

         transmission providers to consider new grid enhancing technologies until the list is

         expanded.2943 AEE and ENGIE ask the Commission to provide a non-exhaustive list of

         alternative transmission technologies and allow any alternative transmission technologies

         or grid enhancing technologies that are proven and commercially viable to qualify for

         evaluation, consistent with the Commission’s statutory obligation to “encourage, as

         appropriate, the deployment of advanced transmission technologies” and the list of

         alternative transmission technologies included in that statute.2944

                Commenters suggest adding the following technologies to the list: (1) synchronous

         condensers and voltage source converters;2945 (2) IBR technology solutions for advanced

         control capabilities and control parameter tuning;2946 (3) microgrid control

         technologies;2947 and (4) remedial action schemes, which they contend are an effective and



         Initial Comments at 52; Microgrid Resources Initial Comments at 8; NRECA Initial
         Comments at 46; Public Interest Organizations Initial Comments at 53-55; Xcel Initial
         Comments at 47.
                2943
                    Ameren Initial Comments at 31-32; MISO Reply Comments at 13-14; Shell
         Initial Comments, app. A at v.
                2944
                 AEE Initial Comments at 44-45 (citing 42 U.S.C. 16422); ENGIE Initial
         Comments at 13.
                2945
                       NARUC Initial Comments at 39; Xcel Initial Comments at 47.
                2946
                       EPRI Initial Comments at 21.
                2947
                       Microgrid Resources Initial Comments at 8.
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         inexpensive way to mitigate local transmission constraints the use of which is not allowed

         in many transmission providers’ policies.2948

                Several commenters also suggest adding advanced conductors to the required list

         of alternative transmission technologies.2949 VEIR and ACORE argue that advanced

         conductors may be a beneficial alternative to network upgrades because: (1) advanced

         conductors meet the same criteria of quick deployment and low cost and have advantages

         over other network upgrades, especially the elimination of additional siting and

         permitting requirements;2950 and (2) a recent Grid Strategies LLC report finds “short lead

         time to reconductor existing lines can help manage risk and uncertainties and

         significantly increase system capacity to mitigate overloads identified in interconnection

         studies.”2951 NARUC asks the Commission to consider requiring an evaluation of the

         accuracy of transmission line ratings on surrounding or impacted transmission facilities if

         requested by an interconnection customer.2952 Additionally, Ampjack proposes tower




                2948
                       Enel Initial Comments at 80.
                2949
                    ACORE Initial Comments at 6-7; CTC Global Initial Comments at 6-9; VEIR
         Initial Comments at 5-7.
                2950
                       VEIR Initial Comments at 5-7.
                2951
                     ACORE Initial Comments at 7 (citing Jay Caspary and Jesse Schneider, Grid
         Strategies, LLC, Opportunities to Use Advanced Conductors to Accelerate Grid
         Decarbonization, at 9 (Feb. 2022), https://acore.org/wp-
         content/uploads/2022/03/Advanced_Conductors_to_Accelerate_Grid_Decarbonization.p
         df).
                2952
                       NARUC Initial Comments at 39-40.
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         lifting to increase transmission line ratings due to the time savings, lack of outages, and

         use of existing structures.2953

                Many commenters recommend that the Commission add storage that performs a

         transmission function to the list.2954 Illinois Commission contends that storage that

         performs a transmission function can relieve congestion, maintain reliability, and be

         placed on the transmission system more quickly and cheaply than building new

         transmission lines.2955 Tesla suggests expanding the list to include batteries as virtual

         transmission, arguing that it provides several benefits (e.g., providing emergency capacity

         for congested transmission lines and surplus generation and surplus load capacity to

         allow operation of transmission lines closer to thermal capacity without risk of outage

         and averting the need for load shed by providing grid stability service).2956 Clean Energy

         Associations note that the Commission has approved tariffs for storage that performs a




                2953
                       Ampjack Initial Comments at 1-4.
                2954
                    AES Initial Comments at 25; Clean Energy Associations Initial Comments at
         62; Clean Energy Associations Reply Comments at 9; ENGIE Initial Comments at 13;
         Illinois Commission Initial Comments at 14-15; Illinois CUB Reply Comments at 1;
         NARUC Initial Comments at 39; NESCOE Reply Comments at 19; NY Commission and
         NYSERDA Initial Comments at 10; Ohio Commission Consumer Advocate Initial
         Comments at 17; OMS Initial Comments at 19; Ørsted Initial Comments at 16; Tesla
         Initial Comments at 8-9; Union of Concerned Scientists Reply Comments at 14-15; Xcel
         Initial Comments at 47; Joint Fed.-State Task Force on Elec. Transmission, Technical
         Conference, Docket No. AD21-15-000, recording at 1:16:18-1:24:02 (approx.)
         (Commissioner Darcie Houck) (July 16, 2023).
                2955
                       Illinois Commission Initial Comments at 14-15.
                2956
                       Tesla Initial Comments at 8-9.
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         transmission function. Clean Energy Associations assert that it would be inconsistent to

         prohibit an interconnection customer from adding electric storage to an interconnection

         request specifically to address transmission reliability impacts in lieu of conventional

         upgrades, while at the same time allowing an interconnection customer to add such

         storage to an interconnection request for purposes unrelated to transmission reliability or

         allowing an interconnection customer to limit electric storage operations as a means to

         avoid network upgrades.2957

                Other commenters do not agree with adding storage that performs a transmission

         function to the list.2958 MISO notes that, although it already evaluates storage that

         performs a transmission function in its generator interconnection process, it was a subject

         of considerable debate.2959 Shell states that, while storage that performs a transmission

         function may provide system benefits, it has concerns regarding the ability of storage that

         performs a transmission function to “queue jump” interconnection customers, thus

         putting those customers at a competitive disadvantage.2960




                2957
                       Clean Energy Associations Initial Comments at 62-63.
                2958
                 Ameren Initial Comments at 31; MISO Initial Comments at 121; Shell Initial
         Comments, app. A at v.
                2959
                       MISO Initial Comments at 121.
                2960
                       Shell Initial Comments, app. A at v.
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                                                     (2)   Whether to Mandate the
                                                           Consideration of Alternative
                                                           Transmission Technologies

                Several commenters argue that these technologies should be studied by default,

         rather than at the request of the interconnection customer, with some suggesting an “opt-

         out” that the interconnection customer could elect.2961 Fervo Energy argues that

         mandating the consideration of grid enhancing technologies could be more efficient and

         facilitate more and faster interconnection, although there may be delays initially as

         transmission providers adjust.2962 Clean Energy Associations ask that transmission

         providers automatically evaluate grid enhancing technologies, unless all interconnection

         customers in a cluster opt out.2963 Ørsted recommends that the Commission consider

         requiring that advanced transmission technologies be studied and implemented when

         network upgrades are needed but cannot be completed within three years of being

         identified.2964



                2961
                    ACORE Initial Comments at 6; AEE Initial Comments at 42, 44; AEE Reply
         Comments at 41-42; Amazon Initial Comments at 6; Clean Energy Associations Initial
         Comments at 63-64; Environmental Defense Fund Initial Comments at 7; ELCON Initial
         Comments at 11; ENGIE Initial Comments at 13; Fervo Energy Reply Comments at 9;
         Hannon Armstrong Initial Comments at 2; Invenergy Initial Comments at 52-53; R Street
         Initial Comments at 16; WATT Coalition Initial Comments at 2; WATT Coalition Reply
         Comments at 1; Joint Fed.-State Task Force on Elec. Transmission, Technical
         Conference, Docket No. AD21-15-000, recording at 1:16:18-1:24:02 (approx.)
         (Commissioner Darcie Houck) (July 16, 2023).
                2962
                       Fervo Energy Reply Comments at 9.
                2963
                       Clean Energy Associations Initial Comments at 63.
                2964
                       Ørsted Reply Comments at 8.
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                CAISO contends that the Commission should simply require transmission

         providers to include a statement in their tariffs that they will consider alternative

         transmission technologies for every interconnection and incorporate them when they are

         the cost-effective solution.2965 CAISO states that this would allow the interconnection

         customer to request an unexecuted interconnection agreement and to raise with the

         Commission any transmission provider refusal to consider a technology.2966 Ohio

         Commission Consumer Advocate suggests that transmission providers and

         interconnection customers mutually determine an appropriate number of evaluations for

         grid enhancing technologies.2967

                                                    (3)     Alternative Transmission
                                                            Technologies in Provisional
                                                            Interconnection Service

                Some commenters argue that alternative transmission technologies could assist

         with provisional interconnection service. For instance, R Street and Hannon Armstrong

         assert that these technologies can be used as a temporary measure until other network

         upgrades are completed, thus reducing the cost and delays of generator interconnection,

         even if they only serve as a bridge to a permanent solution set, such as cluster network

         upgrades.2968 NextEra contends that, when an alternative transmission technology may



                2965
                       CAISO Initial Comments at 38.
                2966
                       Id.; see also MISO Reply Comments at 13.
                2967
                       Ohio Commission Consumer Advocate Initial Comments at 16.
                2968
                       R Street Initial Comments at 16; Hannon Armstrong Initial Comments at 2.
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         serve as a temporary solution, the transmission provider should reasonably cooperate

         with requests from an interconnection customer willing to fund installation of that

         technology as an interim solution.2969 Fervo Energy asks the Commission to require

         transmission providers to consider alternative transmission technologies when responding

         to a provisional interconnection request if these technologies allow for earlier in-service

         dates.2970

                Others oppose requiring evaluation of alternative transmission technologies for

         provisional interconnection service.2971 For instance, MISO argues that the consideration

         of advanced transmission technologies for provisional interconnection service should not

         be mandatory because it may result in delays that are contrary to the goals of this

         proceeding.2972

                                                    (4)     Alternative Transmission
                                                            Technologies for NRIS or ERIS

                Some commenters responded to whether the use of alternative transmission

         technologies can support an interconnection customer’s request for NRIS, or whether the

         use of such technologies can only be used if the interconnection customer requested

         ERIS. Hannon Armstrong asserts that one or more of these alternative transmission




                2969
                       NextEra Initial Comments at 38-39.
                2970
                       Fervo Energy Reply Comments at 10.
                2971
                       Ameren Initial Comments at 32; MISO Initial Comments at 124.
                2972
                       MISO Initial Comments at 124.
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         technologies may be able to delay or eliminate the needed network upgrades identified in

         interconnection studies under both ERIS and NRIS.2973 MISO argues that technologies

         that merely curtail generation would not be suitable for interconnection requests seeking

         NRIS as they could not pass the deliverability test, while technologies that can control

         transmission line impedances, such as phase shifters, are acceptable for NRIS.2974

         Invenergy contends that a given alternative transmission technology may only facilitate

         ERIS service in certain circumstances but that there is no reason to limit the scope of

         alternative transmission technologies at the outset without having performed any relevant

         analysis.2975 Clean Energy Associations ask the Commission to require transmission

         providers to publicly post any service differences (e.g., if use of a given technology

         would enable ERIS but not necessarily NRIS).2976

                                                    (5)    Study and Network Upgrade Cost
                                                           Allocation for Alternative
                                                           Transmission Technologies

                Commenters address the Commission’s question about how costs incurred for

         evaluating alternative transmission technology study requests would be allocated among

         interconnection customers in the cluster. WATT Coalition argues that any marginal

         increase of study costs to accommodate the evaluation of grid enhancing technologies



                2973
                       Hannon Armstrong Initial Comments at 2.
                2974
                       MISO Initial Comments at 124.
                2975
                       Invenergy Initial Comments at 53.
                2976
                       Clean Energy Associations Initial Comments at 62.
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         should be allocated evenly across interconnection customer cluster study participants.2977

         However, NARUC and Indicated PJM TOs disagree, asserting that additional costs

         incurred for evaluating alternative transmission technologies should be allocated to the

         requesting interconnection customer(s) to maintain cost certainty and equity.2978 Fervo

         Energy proposes that, if the requested alternative transmission technology would benefit

         more than one interconnection customer in the cluster, a pro rata allocation of study cost

         among those interconnection customers would be appropriate; however, if the requested

         technology only serves one interconnection customer, Fervo Energy argues that direct

         cost allocation for that study cost is appropriate.2979 Fervo Energy adds that it would

         support pro rata allocation of costs even if the Commission mandates consideration of

         alternative transmission technologies.2980

                NextEra argues that, under the “but for” principle of cost allocation, the

         interconnection customer’s cost responsibility should be limited to the cost of the

         alternative transmission technology that would have sufficed as a long-term solution for a

         given network upgrade, especially when transmission providers choose instead to

         construct more costly upgrades beyond what is required for the interconnection




                2977
                       WATT Coalition Initial Comments at 4.
                2978
                       NARUC Initial Comments at 40; Indicated PJM TOs Reply Comments at 17-
         18.
                2979
                       Fervo Energy Initial Comments at 7.
                2980
                       Fervo Energy Reply Comments at 10.
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         customer’s proposed generating facility.2981 Tri-State instead argues that the

         Commission’s proposal does not consider the likely outcome of an interconnection

         request advancing with a new technology, which will force the subsequent

         interconnection customer to fund costly network upgrades when it would be more

         equitable for the interconnection customers to share the cost of a single network

         upgrade.2982

                                                     (6)   Timing of Alternative Transmission
                                                           Technology Evaluation Requests

                Some commenters discuss limiting the request to include alternative transmission

         technologies to the initial stages of the interconnection process. ISO-NE and NESCOE

         argue that any alternatives that are proposed should be included in the initial

         interconnection request with specific assumptions that can be studied.2983

                Other commenters argue that interconnection customers should be able to request

         the study of alternative transmission technologies later in the interconnection process or

         when more information is available.2984 Clean Energy Associations contend that

         transmission providers should be required to post the costs of requested technologies and




                2981
                       NextEra Initial Comments at 38.
                2982
                       Tri-State Initial Comments at 23.
                2983
                       ISO-NE Initial Comments at 41; NESCOE Reply Comments at 21.
                2984
                   EDF Renewables Initial Comments at 14-15; Enel Initial Comments at 79;
         Fervo Energy Reply Comments at 9; Invenergy Initial Comments at 55; Ørsted Initial
         Comments at 9.
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         give interconnection customers the flexibility to adopt appropriate solutions, subject to

         system conditions and any limitations in the area.2985 Ørsted suggests that once cluster

         studies are done, and if the required upgrades are outside of the cluster area, then

         alternate transmission technologies, with the addition of energy storage, should be

         evaluated by the transmission provider during its system impact study phase.2986

                NARUC asks the Commission to ensure that there is an opportunity for

         information exchange between the transmission provider and interconnection customer to

         design alternative transmission technology solutions and supports implementation of a

         time frame to facilitate that information exchange.2987 Ohio Commission Consumer

         Advocate contends that some changes would be required to address unique attributes of

         grid enhancing technologies that may be overlooked by existing frameworks and that the

         cost and duration of modeling and evaluations would be best addressed by transmission

         providers in concert with interconnection customers.2988




                2985
                       Clean Energy Associations Initial Comments at 62.
                2986
                    Ørsted Initial Comments at 9 (referencing definition of “alternative
         transmission technologies,” NOPR, 179 FERC ¶ 61,194 at P 294 n.406).
                2987
                       NARUC Initial Comments at 40-41.
                2988
                       Ohio Commission Consumer Advocate Initial Comments at 16.
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                                             (d)   Requests for Clarification and Flexibility

                Ameren asks how software or operational barriers (such as whether the MISO

         software can model the technology) will be addressed.2989 Ameren asks for clarification

         as to who pays for the software necessary to model the alternative transmission

         technology and whether that gets assigned to the interconnection customer requesting the

         use of the advanced transmission technology or to the cluster of interconnection

         customers, some of which may prefer a different solution that does not involve use of an

         advanced transmission technology. Ameren claims that it is unclear what happens if

         interconnection customers within the same cluster disagree about using an alternative

         transmission technology in place of a network upgrade and whether consensus is

         required.

                NARUC suggests that the Commission clarify that transmission providers need

         not perform a separate study for each requested alternative transmission technology.2990

         NARUC also asks the Commission to clarify that interconnection customers bear the

         burden of designing the alternative transmission technology solutions, preparing

         necessary technical data, and determining whether it is temporary or permanent.

                NEPOOL urges the Commission to receive input from each RTO/ISO to consider

         how much flexibility to provide with respect to the list of alternative transmission

         technologies because they are the most informed with respect to which alternative


                2989
                       Ameren Initial Comments at 32.
                2990
                       NARUC Initial Comments at 40.
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         transmission technologies are feasible.2991 Similarly, NYTOs ask the Commission to

         allow regions to determine which alternative transmission technologies would be

         appropriate and beneficial in performing interconnection studies instead of mandating

         their use.2992

                Some commenters underscore the importance of transmission providers retaining

         the discretion to decline to adopt an alternative transmission technology in the place of a

         network upgrade.2993 National Grid argues that, to the extent an interconnection customer

         requests evaluation of a new alternative transmission technology beyond the list proposed

         in the NOPR and provides studies in support of its proposed use, the transmission owner

         should be permitted to determine whether the evaluation of such a new technology will

         be beneficial.2994 Indicated PJM TOs request that, if the final rule requires transmission

         providers to consider alternative transmission technologies, the transmission provider and

         transmission owners have the ability to reject the request without a study when they have

         knowledge or experience that the request will not work.2995




                2991
                       NEPOOL Initial Comments at 17.
                2992
                       NYTOs Initial Comments at 32-33.
                2993
                    Ameren Initial Comments at 31; APS Initial Comments at 23; Indicated PJM
         TOs Initial Comments at 57; National Grid Initial Comments at 42; PacifiCorp Initial
         Comments at 43; Xcel Initial Comments at 47.
                2994
                       National Grid Initial Comments at 42.
                2995
                       Indicated PJM TOs Reply Comments at 17.
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                                              (e)    Miscellaneous

                Invenergy argues that, if an alternative transmission technology is not selected, the

         transmission providers should provide detailed reports, including a cost-benefit analysis,

         behind the decision and there should be a process to resolve disagreements over the

         decision with the interconnection customer.2996 R Street requests that the Commission

         require transmission providers to describe the benefits, or lack thereof, of the set of

         technologies listed in the NOPR.2997 WATT Coalition and California Public Utilities

         Commissioner Darcie Houck request that transmission providers abide by strict standards

         when studying grid enhancing technologies.2998

                In addition to the study of alternative transmission technologies that the

         Commission envisions, Ørsted recommends requiring the deployment of these alternative

         transmission technologies as a medium-term or long-term alternative to transmission

         build out.2999




                2996
                       Invenergy Initial Comments at 54.
                2997
                       R Street Initial Comments at 16.
                2998
                    WATT Coalition Initial Comments at 3-4; Joint Fed.-State Task Force on
         Elec. Transmission, Technical Conference, Docket No. AD21-15-000, recording at
         1:16:18-1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
                2999
                       Ørsted Initial Comments at 16.
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                EDF Renewables suggests that the Commission require the consideration of

         alternative transmission technologies not only in interconnection and transmission

         planning but also in market operations upon an interconnection customer’s request.3000

                Enel claims that interconnection customer interconnection facilities are

         underutilized and could be networked into the transmission system to mitigate

         transmission constraints and to increase system reliability.3001 Enel suggests that the

         Commission add language to the pro forma LGIA that allows interconnection facilities to

         convert to distribution facilities or regional transmission facilities.

                                       iii.   Commission Determination

                We adopt, with modifications, the proposed revisions to section 7.3 of the pro

         forma LGIP, and sections 3.3.6 and 3.4.10 of the pro forma SGIP. We modify the NOPR

         proposal to require transmission providers to evaluate the following enumerated list of

         alternative transmission technologies: static synchronous compensators, static VAR

         compensators, advanced power flow control devices, transmission switching, synchronous

         condensers, voltage source converters, advanced conductors, and tower lifting. We

         modify proposed pro forma LGIP section 7.3 to require transmission providers to evaluate

         the list of alternative transmission technologies enumerated in this final rule during the

         cluster study, including any restudies, of the generator interconnection process in all

         instances (i.e., for all interconnection customers in a cluster), without the need for a


                3000
                       EDF Renewables Initial Comments at 14-15.
                3001
                       Enel Initial Comments at 80-81.
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         request from an interconnection customer. We require transmission providers to evaluate

         each alternative transmission technology listed in pro forma LGIP section 7.3 and to

         determine, in the transmission provider’s sole discretion, whether it should be used,

         consistent with good utility practice, applicable reliability standards, and other applicable

         regulatory requirements. Finally, we require transmission providers to include, in the

         pro forma LGIP cluster study report, an explanation of the results of the evaluation of the

         enumerated alternative transmission technologies for feasibility, cost, and time savings as

         an alternative to a traditional network upgrade.

                We modify the enumerated list of alternative transmission technologies from the

         NOPR proposal to: (1) retain synchronous, static VAR compensators, advanced power

         flower control, and transmission switching in the list; (2) add synchronous condensers,

         voltage source converters, advanced conductors, and tower lifting to the list; and

         (3) remove dynamic line ratings from the list. Generally, we find that these enumerated

         alternative transmission technologies are those with the most potential to be useful to

         reduce interconnection costs by providing lower cost network upgrades to interconnect

         new generating facilities and, thus, we require transmission providers to evaluate these

         technologies in the interconnection process for their feasibility, cost, and time savings

         potential.

                We also adopt, with modifications, the proposed revisions to sections 3.3.6 and

         3.4.10 of the pro forma SGIP. Consistent with the pro forma LGIP requirement, we

         require transmission providers to evaluate the enumerated alternative transmission

         technologies in all instances, without the need for a request from an interconnection
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         customer. We modify the proposal to require such evaluations to occur during the

         pro forma SGIP feasibility study and system impact study of the generator

         interconnection process, as opposed to in the pro forma SGIP system impact study and

         facilities study. We find that it is appropriate to modify the proposal so that these

         evaluations occur during the relevant pro forma SGIP studies where network upgrades

         are identified, consistent with the pro forma LGIP requirement. We require transmission

         providers to evaluate each alternative transmission technology listed in pro forma SGIP

         sections 3.3.6 and 3.4.10 and determine, in the transmission provider’s sole discretion,

         whether it should be used, consistent with good utility practice, applicable reliability

         standards, and other applicable regulatory requirements.

                Finally, we require transmission providers to include, in the feasibility study report

         and system impact study report, an explanation of the results of the evaluation of the

         enumerated alternative transmission technologies for feasibility, cost, and time savings as

         an alternative to a traditional network upgrade. We note that this reform is one of the few

         reforms in this final rule that applies to small generating facilities, in addition to large

         generating facilities. As described below, we find that the enumerated alternative

         transmission technologies that we are requiring transmission providers to evaluate in their

         interconnection studies are appropriate for evaluation in the pro forma SGIP context

         because they are scalable, and we find that the enumerated alternative transmission

         technologies have the potential to provide similar benefits in the context of both small

         and large generating facilities, including cost and time savings. As such, we adopt, with

         modifications, the proposed revisions to require transmission providers to evaluate the
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         enumerated alternative transmission technologies in all instances in both the pro forma

         LGIP and pro forma SGIP.

                This final rule does not create a presumption in favor of substituting alternative

         transmission technologies for necessary traditional network upgrades, either categorically

         or in specific cases.3002 This final rule is agnostic as to whether, in a specific case, an

         alternative transmission technology is an acceptable alternative to a traditional network

         upgrade,3003 “that would allow the interconnection customer to flow the output of its

         generating facility onto the transmission provider’s transmission system in a safe and

         reliable manner.”3004 The determination in each specific case whether to require a


                3002
                     See PJM Initial Comments at 68 (“PJM therefore cautions the Commission not
         to conflate the operational benefits of alternative transmission technologies . . . with the
         need to address significant capacity enhancement needs (short and long-term) or long-
         range transmission needs under rapid growth or changing resource mix scenarios.”);
         MISO Initial Comments at 120 (“However, the Commission fails to recognize that these
         technologies may be evaluated in the generator interconnection process already but may
         nonetheless not be adopted as they are not the appropriate solution to a Transmission
         Issue related to an interconnection.”).
                3003
                     See MISO Initial Comments at 121-22 (“Further, although these technologies
         may be evaluated, the technologies identified by the Commission still may not provide
         the appropriate solution from a planning perspective.[] Many of the technologies
         identified are appropriately considered as operational tools or short-term solutions but are
         not necessarily appropriate for planning to support a particular generator
         interconnection.”).
                3004
                    See Order No. 2003, 104 FERC ¶ 61,103 at P 767 (“Both Energy Resource
         Interconnection Service and Network Resource Interconnection Service provide for the
         construction of Network Upgrades that would allow the Interconnection Customer
         to flow the output of its Generating Facility onto the Transmission Provider’s
         Transmission System in a safe and reliable manner”); Order No. 2003-A, 106 FERC ¶
         61,220 at P 404; pro forma LGIA art. 9.3 (“Transmission Provider shall cause the
         Transmission System and the Transmission Provider’s Interconnection Facilities to be
         operated, maintained and controlled in a safe and reliable manner and in accordance with
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         traditional network upgrade or an alternative transmission technology is to be made by

         the transmission provider, and the determination should be consistent with good utility

         practice, applicable reliability standards, and other applicable regulatory requirements.3005

         This rule mandates a process of evaluation of alternatives to traditional network

         upgrades, not outcomes in specific cases.

                Based on the record, we affirm the Commission’s preliminary finding in the

         NOPR that alternative transmission technologies have the potential to provide benefits to

         optimize the transmission system in specific scenarios.3006 Specifically, a number of

         commenters argue that selecting alternative transmission technologies as network

         upgrades may reduce interconnection costs by providing lower cost transmission

         solutions to interconnecting new generating facilities3007 and may allow for a faster




         this LGIA”); Midwest Indep. Transmission Sys. Operator, Inc., 138 FERC ¶ 61,233, at
         P 190 (2012), reh’g denied, 139 FERC ¶ 61,253 (2012), partial reh’g granted on other
         grounds, 150 FERC ¶ 61,035 (2015). See also pro forma LGIA art. 9.4 (“Interconnection
         Customer shall at its own expense operate, maintain and control the Large Generating
         Facility and Interconnection Customer’s Interconnection Facilities in a safe and reliable
         manner and in accordance with this LGIA”).
                3005
                    See MISO Initial Comments at 123 (“Additionally, as noted by the Commission
         in the proposed reform, although alternative transmission technologies may be useful tools
         for operations, relying on these tools for planning for interconnection may not be
         consistent with ‘good utility practice’ and ‘applicable regulatory standards.’”).
                3006
                       NOPR, 179 FERC ¶ 61,194 at PP 294-295.
                3007
                    AEE Initial Comments at 42; EDF Renewables Initial Comments at 14;
         ENGIE Initial Comments at 12; OMS Initial Comments at 19; Ørsted Initial Comments
         at 3; SEIA Initial Comments at 40.
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         interconnection by providing solutions that can be implemented more quickly.3008

         Commenters also point out that alternative transmission technologies allow for better use

         of the existing transmission system,3009 can enhance reliability,3010 and may reduce

         withdrawals, restudies, and overall interconnection delays.3011 In addition, several

         commenters argue that decreasing the costs of network upgrades will reduce the number

         of withdrawals from interconnection queues, which will ultimately create a more efficient

         interconnection process by reducing the number of restudies triggered by withdrawals.3012

         Furthermore, commenters argue that alternative transmission technologies offer

         additional value because they are scalable and modular to address evolving needs and can

         be redeployed as those needs continue to change.3013 We find that failing to evaluate the

         enumerated alternative transmission technologies renders Commission-jurisdictional rates



                   3008
                 AEE Initial Comments at 42; OMS Initial Comments at 19; Ørsted Initial
         Comments at 3; SEIA Initial Comments at 40.
                   3009
                    Illinois Commission Initial Comments at 14; Joint Fed.-State Task Force on
         Elec. Transmission, Technical Conference, Docket No. AD21-15-000, recording at
         1:16:18-1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
                   3010
                  AEE Initial Comments at 42; Ohio Commission Consumer Advocate Initial
         Comments at 15; Joint Fed.-State Task Force on Elec. Transmission, Technical
         Conference, Docket No. AD21-15-000, recording at 1:16:18-1:24:02 (approx.)
         (Commissioner Darcie Houck) (July 16, 2023).
                   3011
                    Ørsted Initial Comments at 3, 15-16; R Street Initial Comments at 16; SEIA
         Initial Comments at 40; WATT Coalition Initial Comments at 2.
                   3012
                          SEIA Initial Comments at 41; WATT Coalition Initial Comments at 2.
                   3013
                          WATT Coalition Initial Comments at 2-3; WATT Coalition Reply Comments
         at 5-6.
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         unjust and unreasonable and fails to ensure that interconnection customers are able to

         interconnect in a reliable, efficient, transparent, and timely manner.3014

                However, as stated above,3015 this final rule mandates a process of evaluation of

         alternative transmission technologies, not outcomes in specific cases, and does not create

         a presumption in favor of using an alternative transmission technology as a substitute for

         a traditional network upgrade deemed necessary in a specific case. Rather, under the

         approach adopted here, in all cases, the transmission provider is required only to evaluate

         the use of alternative transmission technologies as network upgrades consistent with good

         utility practice, applicable reliability standards, and other applicable regulatory

         requirements.3016 We recognize that, after the transmission provider evaluates the

         enumerated alternative transmission technologies, the transmission provider, in its sole

         discretion, may still decide to remedy an identified reliability problem with a traditional

         network upgrade.

                We modify the proposed requirement that transmission providers evaluate the

         enumerated alternative transmission technologies only at the request of the

         interconnection customer. Instead, we require transmission providers to evaluate the

         enumerated alternative transmission technologies in all instances, without a request from


                3014
                 NOPR, 179 FERC ¶ 61,194 at P 296; see Clean Energy Associations Reply
         Comments at 9-10; Environmental Defense Fund Initial Comments at 7; Fervo Reply
         Comments at 9; NARUC Initial Comments at 38.
                3015
                       See supra P 1582.
                3016
                       See MISO Initial Comments at 122-123.
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         an interconnection customer. We find that this approach both ensures that the

         enumerated alternative transmission technologies are considered in the interconnection

         process and avoids introducing additional procedural complexity to the interconnection

         process. This approach, which was suggested by many commenters,3017 will provide the

         benefits of an evaluation of the enumerated alternative transmission technologies more

         broadly and consistently and in a more efficient manner. We believe that modifying the

         proposal addresses concerns raised by commenters about the NOPR proposal.3018 More

         specifically, evaluating alternative transmission technologies only by request, as

         proposed in the NOPR, would create an overly complicated and time-consuming process

         under which transmission providers evaluate each alternative transmission technology for

         each interconnection request individually. Commenters also raise concerns about the

         impact on costs and timing for the entire cluster if only a portion of the cluster requests

         evaluation of alternative transmission technologies or if interconnection customers within

         the same cluster disagree about using an alternative transmission technology.3019 Given




                3017
                    ACORE Initial Comments at 6; AEE Initial Comments at 42; CAISO Initial
         Comments at 38; Amazon Initial Comments at 6; ELCON Initial Comments at 11; Fervo
         Energy Reply Comments at 9; Hannon Armstrong Initial Comments at 2; Invenergy
         Initial Comments at 52-53; R Street Initial Comments at 16; Joint Fed.-State Task Force
         on Elec. Transmission, Technical Conference, Docket No. AD21-15-000, recording at
         1:16:18-1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
                3018
                  Indicated PJM TOs Initial Comments at 55; MISO Initial Comments at 11,
         121; MISO TOs Initial Comments at 30; National Grid Initial Comments at 42-43.
                3019
                    CAISO Initial Comments at 38; Puget Sound Initial Comments at 13; Ameren
         Initial Comments at 32.
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         these concerns, and the potential for benefits to be gained by the evaluation and use, at

         the transmission provider’s sole discretion, of the enumerated alternative transmission

         technologies, we find that it would be overly burdensome and complex to require

         transmission providers to track and process interconnection customer-specific study

         requests and to resolve conflicts between interconnection customers’ different study

         requests, at the expense of those benefits.

                The record before us demonstrates that the requirements we adopt today will not

         overly burden transmission providers.3020 We find that requiring transmission providers

         to evaluate the enumerated alternative transmission technologies in each interconnection

         study will not be a significant additional burden on interconnection queues for those

         transmission providers that already consider alternative transmission technologies in their

         interconnection process. Furthermore, we find that the benefits of evaluating and

         implementing the enumerated alternative transmission technologies outweigh the

         potential burden or the potential of increased study times. As recognized by commenters

         and explained above, the evaluation and use, at the transmission provider’s sole

         discretion, of the enumerated alternative transmission technologies could decrease

         network upgrade costs, withdrawals, and restudies, thereby increasing the efficiency of

         the interconnection process overall. For these reasons, we disagree with commenters that

         argue that requiring transmission providers to evaluate the enumerated alternative



                3020
                 AEE Initial Comments at 44; ENGIE Initial Comments at 13; ACORE Reply
         Comments at 3-4.
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         transmission technologies is contrary to the NOPR’s goal of increasing the speed of

         interconnection queue processing.

                We find that, in conducting an evaluation of the enumerated alternative

         transmission technologies, it is appropriate for transmission providers to continue to

         retain discretion regarding whether to use each enumerated alternative transmission

         technology, consistent with the NOPR.3021 The requirement is to evaluate the

         enumerated alternative transmission technologies in the interconnection process for

         feasibility, cost, and time savings and to determine whether, in the transmission

         provider’s sole discretion, an alternative transmission technology should be used as a

         solution — consistent with good utility practice, applicable reliability standards, and

         other applicable regulatory requirements.3022 The transmission provider must determine

         whether using any of the enumerated alternative transmission technologies is an

         appropriate and reliable network upgrade “that would allow the interconnection customer

         to flow the output of its generating facility onto the transmission provider's transmission

         system in a safe and reliable manner.”3023 The requirement to make such a determination


                3021
                       NOPR, 179 FERC ¶ 61,194 at P 299.
                3022
                    See MISO Initial Comments at 122-123 (“Additionally, as noted by the
         Commission in the proposed reform, although alternative transmission technologies may
         be useful tools for operations, relying on these tools for planning for interconnection may
         not be consistent with ‘good utility practice’ and ‘applicable regulatory standards.’”).
                3023
                    See Order No. 2003, 104 FERC ¶ 61,103 at P 767 (“Both Energy Resource
         Interconnection Service and Network Resource Interconnection Service provide for the
         construction of Network Upgrades that would allow the Interconnection Customer
         to flow the output of its Generating Facility onto the Transmission Provider's
         Transmission System in a safe and reliable manner”); Order No. 2003-A, 106 FERC ¶
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         before allowing for the use of the enumerated alternative transmission technologies

         addresses concerns that their use may impinge on reliability, delay network upgrades

         instead of reducing the need for them or obviating the need for them altogether, or fail to

         address all transmission system issues that a traditional network upgrade would address.

         We recognize the need to avoid time-consuming delays and costly disputes or litigation

         over interconnection costs that could arise as a result of this reform.3024 Therefore, we

         find that, if a transmission provider evaluates the enumerated alternative transmission

         technologies as required herein and, in its sole discretion, determines not to use any

         enumerated alternative transmission technologies as an alternative to a traditional

         network upgrade, the transmission provider has complied with this final rule, including

         tariffs filed pursuant to this final rule..

                Because we modify the NOPR proposal and require transmission providers to

         evaluate the enumerated alternative transmission technologies in all instances, we find




         61,220 at P 404; pro forma LGIA art. 9.3 (“Transmission Provider shall cause the
         Transmission System and the Transmission Provider’s Interconnection Facilities to be
         operated, maintained and controlled in a safe and reliable manner and in accordance with
         this LGIA”); Midwest Indep. Transmission Sys. Operator, Inc., 138 FERC ¶ 61,233, at P
         190 (2012), reh’g denied, 139 FERC ¶ 61,253 (2012), partial reh’g granted on other
         grounds, 150 FERC ¶ 61,035 (2015). See also pro forma LGIA art. 9.4 (“Interconnection
         Customer shall at its own expense operate, maintain and control the Large Generating
         Facility and Interconnection Customer’s Interconnection Facilities in a safe and reliable
         manner and in accordance with this LGIA”).
                3024
                     See SPP Initial Comments at 26 (“Even though the Commission has stated that
         transmission providers retain the discretion regarding whether to use such technologies,
         the very fact that the transmission provider is required to evaluate them will lead to
         disputes if the transmission provider then exercises that discretion.”).
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         that the final rule will not “effectively require a whole additional set of studies for large

         areas of the transmission system” or exponentially increase the number of studies needed

         to consider the various combinations, as Indicated PJM TOs argue could occur under the

         NOPR proposal.3025 This is because transmission providers will not be evaluating the

         enumerated alternative transmission technologies for a subset of interconnection

         customers within a cluster - but rather for the entire cluster.

                Regarding WATT Coalition and California Public Utility Commissioner Darcie

         Houck’s request that transmission providers abide by strict standards when studying

         alternative transmission technologies,3026 we decline to adopt any such standards in the

         pro forma LGIP and pro forma SGIP governing the evaluation of alternative transmission

         technologies. We find that it is appropriate to continue to rely on transmission providers

         to use good utility practice, applicable reliability standards, and other applicable

         regulatory requirements, in their evaluations of alternative transmission technologies,

         including the enumerated list, because the specific evaluation may depend on the

         transmission provider’s individual transmission system, cluster makeup, and other

         factors. Similarly, regarding National Grid’s concern that studying every potential

         alternative transmission technology for every interconnection request could cause




                3025
                       Indicated PJM TOs Initial Comments at 55.
                3026
                    WATT Coalition Initial Comments at 3-4; Joint Fed.-State Task Force on
         Elec. Transmission, Technical Conference, Docket No. AD21-15-000, recording at
         1:16:18-1:24:02 (approx.) (Commissioner Darcie Houck) (July 16, 2023).
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         transmission providers to be penalized for not meeting study deadlines,3027 the final rule

         does not require the study of all technologies considered alternative transmission

         technologies but rather the evaluation of the enumerated alternative transmission

         technologies. Further, we find that the transmission provider— consistent with good

         utility practice, applicable reliability standards, and other applicable regulatory

         requirements — retains the sole discretion to determine whether a particular technology

         in the enumerated list of alternative transmission technologies is appropriate and reliable

         as a network upgrade, or not, for a given cluster.

                We also believe that the requirement that transmission providers evaluate the

         enumerated alternative transmission technologies for an entire cluster—rather than on an

         individual interconnection customer-request basis—and the modifications to the

         enumerated list of alternative transmission technologies (as discussed below) will ease

         the burden on transmission providers, thereby lessening the risk that they are unable to

         complete studies by the required deadlines. We note that we are not dictating how a

         transmission provider must evaluate each enumerated alternative transmission technology

         on the list in each instance; we recognize that in some cases transmission providers may

         be able to rapidly determine if a certain enumerated alternative transmission technology

         is inappropriate for further study. In response to Invenergy’s request that transmission

         providers should provide detailed evaluation reports on why an alternative transmission

         technology was not selected, transmission providers are required to include an


                3027
                       National Grid Initial Comments at 42-43.
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         explanation of the results of the evaluation of the required alternative transmission

         technologies for feasibility, cost, and time savings as an alternative to a traditional

         network upgrade in the applicable study report. However, we do not direct any additional

         detailed requirements related to this reporting requirement because we find they are not

         needed or appropriate. We find the required explanation of the results of the transmission

         provider’s evaluation included in the applicable study report provides sufficient

         transparency without placing a further burden on transmission providers that would delay

         the processing of interconnection requests.

                Because we modify the NOPR proposal to require transmission providers to

         evaluate all the enumerated alternative transmission technologies in all instances, i.e.,

         regardless of an interconnection customer requesting such an evaluation, we decline to

         adopt commenters’ request to require transmission providers to evaluate the required

         alternative transmission technologies by default with an “opt-out” option for

         interconnection customers. We are not persuaded that there are benefits to including an

         “opt-out” option in the requirement, and we find it would be overly burdensome and

         complex to require transmission providers to track and process interconnection

         customers’ requests to “opt-out” of the evaluation of certain alternative transmission

         technologies. Further, an “opt-out” would run contrary to our goal to have transmission

         providers evaluate the enumerated technologies in order to achieve beneficial outcomes

         like decreasing network upgrade costs, withdrawals, and restudies, thereby increasing the

         efficiency of the interconnection process overall.
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                As discussed above, the enumerated alternative transmission technologies that

         transmission providers must evaluate in interconnection studies are: static synchronous

         compensators, static VAR compensators, synchronous condensers, advanced power flow

         control, transmission switching, voltage source converters, advanced conductors, and

         tower lifting. We discuss each technology in turn.

                Regarding synchronous and static VAR compensators, we find that, in providing

         reactive power to the transmission system, such devices could reduce interconnection

         costs by providing the voltage support where needed for the new generation facility being

         interconnected to operate reliably, rather than building a traditional network upgrade to

         resolve the voltage support issues. This potentially results in lower cost network

         upgrades to interconnect new generating facilities. ISO-NE states that it already

         evaluates static synchronous compensators when evaluating interconnection requests.3028

         Similarly, as Indicated PJM TOs attest, PJM already considers static synchronous

         compensators in its interconnection and transmission planning processes.3029

         Accordingly, we find that synchronous and static VAR compensators are appropriately

         included in the list of alternative transmission technologies enumerated in this final rule

         that transmission providers must evaluate in the interconnection process.

                Regarding advanced power flow controls, we find that these devices allow power

         to be pushed and pulled to alternate lines with spare capacity leading to maximum


                3028
                       ISO-NE Initial Comments at 41.
                3029
                       Indicated PJM TOs Initial Comments at 57.
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         utilization of transmission capacity and mitigation of overloads. Advanced power flow

         control devices can be scaled back as needed, providing an advantage over new lines or

         reconductors.3030 PacifiCorp attests that it often considers the use of advanced power

         flow control devices as potential alternatives to standard system infrastructure, and

         Indicated PJM TOs note that PJM and PJM transmission owners already consider the

         appropriateness of power flow control devices when conducting interconnection

         studies.3031 As discussed above, our decision to modify the NOPR proposal and require

         transmission providers to evaluate the enumerated alternative transmission technologies

         in all instances addresses Indicated PJM TOs’ statement that evaluation of advanced

         power flow control devices in the interconnection process would significantly increase

         the complexity of interconnection studies and thus could cause delays in their

         completion.3032 We acknowledge the possibility that use of advanced power flow control

         devices can have impacts on line impedance which may result in issues in other parts of

         the system, as suggested by MISO. However, the requirement of this Final Rule is

         merely that the transmission provider evaluate each alternative transmission technology,

         not that they deploy them in all circumstances. We appreciate, and expect, that if a

         transmission provider’s evaluation demonstrates that deployment of advanced power

         flow control devices would create issues on the transmission provider’s system as


                3030
                       AEE Initial Comments at 42.
                3031
                       PacifiCorp Initial Comments at 43; Indicated PJM TOs at 57.
                3032
                       Supra P 1585.
Document Accession #: 20230728-3060             Filed Date: 07/28/2023
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         described by MISO, it will not select that advanced power flow control as the network

         upgrade.3033

                We also retain transmission switching on the enumerated list of alternative

         technologies in this final rule. Transmission switching can be used to route energy

         around areas with high congestion and improve the overall transfer capability of the

         system, potentially resulting in lower network upgrade costs. In regard to PacifiCorp’s

         argument that transmission switching is a complex process that can be implemented only

         under very particular factual scenarios and system conditions, transmission providers are

         already required to evaluate the impact of the proposed interconnection on the reliability

         of the transmission system3034 and thus should understand whether the factual scenarios

         and system conditions exist that would make a transmission switching solution

         appropriate. In response to Tri-State’s question about whether transmission switching is

         meant to be a remedial action scheme or to create permanent normally open points on the

         system, this final rule does not prescribe how transmission providers deploy any of the

         enumerated alternative transmission technologies on their systems if they determine to

         use them. To Tri-State’s concern that transmission switching solutions may be

         “problematic in highly interconnected systems not operating in an RTO/ISO,” we

         reiterate that transmission providers retain the discretion to determine whether to deploy




                3033
                       See also infra P 1602.
                3034
                       See pro forma LGIP section 7.3; pro forma SGIP sections 3.3.1, 3.4.1.
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         any of the enumerated alternative transmission technologies, including transmission

         switching solutions.

                We find that the record supports including synchronous condensers and voltage

         source converters to the list because these technologies similarly may reduce

         interconnection costs in situations where voltage support is a constraint and where a new

         or modified transmission line with these technologies may provide a lower cost network

         upgrade option to interconnect new generating facilities. Specifically, ISO-NE states that

         it already evaluates synchronous condensers when evaluating interconnection

         requests,3035 and NARUC and Xcel urge the Commission to include evaluation of

         synchronous condensers and voltage source converters in the interconnection process. 3036

                We also add advanced conductors and tower lifting to the list of alternative

         transmission technologies enumerated in this final rule. We note the comments arguing

         that advanced conductors may be beneficial as network upgrades.3037 ACORE explains

         that deploying advanced conductors can significantly increase transmission capacity and

         allow for the interconnection of new generating facilities without the construction of new

         network upgrades.3038 Similarly, we find that tower lifting has the potential to increase


                3035
                       ISO-NE Initial Comments at 41.
                3036
                       NARUC Initial Comments at 39; Xcel Initial Comments at 47.
                3037
                    ACORE Initial Comments at 6-7; CTC Global Initial Comments at 6-9; VEIR
         Initial Comments at 5-6.
                3038
                     ACORE Initial Comments at 7 (citing Jay Caspary and Jesse Schneider, Grid
         Strategies, LLC, Opportunities to Use Advanced Conductors to Accelerate Grid
         Decarbonization, at 2 (Feb. 2022), https://acore.org/wp-
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         transmission line ratings by providing additional clearance from the ground.3039 By

         increasing transmission line ratings, there will be more “headroom” on the system to

         address normal and contingency conditions identified in interconnection studies, and

         likely a reduced need for network upgrades.3040 Given these potential benefits to

         interconnection customers, we require transmission providers to evaluate advanced

         conductors and tower lifting in the interconnection process.

                We remove dynamic line ratings from the list of enumerated alternative

         transmission technologies proposed in the NOPR. We agree with commenters that the

         technology may be less beneficial in the interconnection context than in the transmission

         operations and planning context because, for example, dynamic line ratings’ ability to

         increase the available interconnection service depends on favorable weather and

         congestion parameters.3041 That is, while dynamic line ratings may relieve congestion to

         increase available interconnection service temporarily or in the short-term, they may not



         content/uploads/2022/03/Advanced Conductors to Accelerate Grid Decarbonization.pdf).
                3039
                    See Ampjack Initial Comments at 4. As with other network upgrades, we note
         that tower lifting may require a modification to a certificate of public convenience and
         necessity (CPCN) or similar permit issued by a state utility regulator, which may include
         tower height limits or other physical restrictions. To the extent the transmission provider
         considers potential delays or the possibility of not receiving such a state CPCN
         modification when evaluating potential network upgrades, it should include a similar
         consideration in its evaluation of alternative transmission technologies.
                3040
                       See id. at 1, 4.
                3041
                 Indicated PJM TOs Initial Comments at 56; ISO-NE Initial Comments at 41;
         NYTOs Initial Comments at 32-33; PacifiCorp Initial Comments at 44; Tri-State Initial
         Comments at 23; U.S. Chamber of Commerce Initial Comments at 12-13.
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         be an adequate substitute for building interconnection facilities and/or traditional network

         upgrades identified through the interconnection study process that are needed to reliably

         interconnect a generating facility to the transmission system during all hours.

                We decline to add storage that performs a transmission function to the list of

         alternative transmission technologies enumerated in this final rule. The Commission has

         determined that the evaluation of whether a storage resource performs a transmission

         function requires a case-by-case analysis of either how a particular storage resource

         would be operated or the requirements set forth in a tariff governing selection of such

         storage resources. For example, in approving SPP’s proposal to establish a framework

         under which an electric storage resource may be considered a transmission asset (thereby

         making the selected storage resources eligible for cost-based rate recovery through

         transmission rates), the Commission identified five considerations that, together, ensure

         that a selected storage resource will serve a transmission function.3042

                We clarify that transmission providers are not precluded from studying a

         technology that is not included in the enumerated list of alternative transmission

         technologies. Under the modified requirement, transmission providers must evaluate the

         enumerated alternative transmission technologies in all instances, but we are not

         precluding a transmission provider from studying or evaluating any other technology,

         including those such as dynamic line ratings that we have determined not to add to the list

         of technologies enumerated in this final rule. We acknowledge that certain transmission


                3042
                       Sw. Power Pool, Inc., 183 FERC ¶ 61,153, at P 29 (2023).
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         providers already evaluate in certain studies transmission technologies not included in the

         final rule list.3043 In addition, we clarify that, with respect to this final rule determination,

         transmission providers are not required to propose and justify on compliance any

         technology it studies in the interconnection process beyond those required in this final

         rule.

                 In the NOPR, the Commission generally proposed a method to allocate the costs

         of cluster studies and the costs of network upgrades within a cluster through the

         interconnection study process.3044 With respect to study costs, the Commission sought

         comment on how costs incurred for evaluating alternative transmission technology study

         requests would be allocated among interconnection customers in the cluster under a

         NOPR proposal in which interconnection customers would identify and request particular

         technologies to be studied.3045 Given our modification to the NOPR proposal to require

         transmission providers to evaluate the enumerated alternative transmission technologies

         in the pro forma LGIP cluster study on behalf of the whole cluster, rather than upon an

         individual customer’s request, we find that it is not necessary to consider alternative cost

         allocation methods for cluster study costs and network upgrade costs associated with the

         enumerated alternative transmission technologies. Specifically, we clarify that the


                 3043
                   For example, PacifiCorp notes that it already considers advanced power flow
         technologies as potential alternatives to standard system infrastructure. PacifiCorp Initial
         Comments at 43.
                 3044
                        See NOPR, 179 FERC ¶ 61,194 at PP 82-83, 88-89.
                 3045
                        Id. P 301.
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         allocation of cluster study costs for, and substation and system network upgrades

         associated with, the enumerated alternative transmission technologies must be consistent

         with the allocation of costs for cluster studies and associated substation and system

         network upgrades for any other network upgrades because the enumerated alternative

         transmission technologies located on the high-side of the point of interconnection would

         fall within the definition of substation and system network upgrades,3046 and they would

         be adopted only if they resolve system reliability issues triggered by an interconnection

         request. In other words, the enumerated alternative transmission technologies must be

         included among the set of options transmission providers consider when studying a

         cluster and any implemented enumerated alternative transmission technologies must

         receive the same cost treatment as any other option.

                Accordingly, the cost allocation concerns raised by several commenters in

         response to the NOPR proposal are now unfounded.3047 Regarding MISO’s concern that

         some alternative transmission technologies may shift the burden of system impacts to

         other parties,3048 we find that the possibility of this burden shifting is minimal because the




                3046
                    Network Upgrades are “the additions, modifications, and upgrades to the
         Transmission Provider's Transmission System required at or beyond the point at which
         the Interconnection Facilities connect to the Transmission Provider's Transmission
         System to accommodate the interconnection of the Large Generating Facility to the
         Transmission Provider's Transmission System.” Pro forma LGIP section 1 (Definitions).
                3047
                    AEP Initial Comments at 52-53; Ameren Initial Comments at 32; NextEra
         Initial Comments at 38; and Tri-State Initial Comments at 23.
                3048
                       MISO Initial Comments at 122.
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         revised pro forma LGIP, as adopted in this final rule, requires transmission providers to

         evaluate the enumerated alternative transmission technologies on a cluster-wide basis for

         feasibility, cost, and time savings. We recognize that, after the transmission provider

         evaluates the enumerated alternative transmission technologies, the transmission

         provider, in its sole discretion, may still decide to remedy an identified reliability

         problem with a traditional network upgrade.

                Regarding cost treatment for the enumerated alternative transmission technologies

         in the pro forma SGIP, the Commission did not propose to require, and this final rule

         does not adopt, cluster studies for small generator interconnection requests. Accordingly,

         the study process for small generating facilities in the pro forma SGIP remains a serial

         process and costs for evaluating the enumerated alternative transmission technologies

         must be allocated to the small generator interconnection request being studied. Likewise,

         the costs for any implemented enumerated alternative transmission technologies must be

         allocated to a small generator interconnection customer consistent with the allocation of

         any other network upgrade costs in the small generator interconnection process.

                As explained in Section III.A.3 of this final rule, we are not requiring transmission

         providers to allocate study costs on a pro rata basis, as Fervo Energy requests. Because

         this final rule does not adopt the NOPR proposal for interconnection customers to request

         the study of particular technologies, we need not address the arguments raised by

         NARUC and Indicated PJM TOs related to the study costs associated with that unadopted

         proposal.
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                The Commission sought comment on whether transmission providers should be

         required to evaluate whether alternative transmission technologies can be deployed on a

         temporary basis to provide provisional interconnection service. We are not persuaded by

         arguments in favor of such a requirement. While we acknowledge commenters’

         arguments that alternative transmission technologies could serve as a temporary solution

         to reduce the overall costs and delays of generator interconnection, we agree with MISO

         that mandatory evaluation of alternative transmission technologies for provisional

         interconnection service could hinder ensuring that interconnection customers are able to

         interconnect in a reliable, efficient, transparent, and timely manner by adding burden and

         delay.3049

                The Commission also sought comment on whether alternative transmission

         technologies as supplements for, or in the place of, traditional network upgrades was

         sufficient to guarantee a level of service to accommodate an interconnection customer

         seeking NRIS, or whether such a network upgrade could only relate to ERIS.3050 We

         agree with commenters that the enumerated alternative transmission technologies may

         enable NRIS, but such a determination will be dependent on the analysis by the particular

         transmission provider and the particular technology under evaluation. We decline to

         adopt Clean Energy Association’s proposal that transmission providers be required to

         post additional information beyond the explanation of the results of the evaluation of


                3049
                       MISO Initial Comments at 124.
                3050
                       NOPR, 179 FERC ¶ 61,194 at P 301.
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         each alternative transmission technology. As discussed above, transmission providers

         must include, in the applicable study report, an explanation of the results of the

         evaluation of the enumerated alternative transmission technologies for feasibility, cost,

         and time savings.

                We find that the following commenters’ proposals are outside the scope of this

         proceeding and, therefore, we do not address the substance: (1) requiring transmission

         providers to consider alternative transmission technologies in market operations at the

         request of the interconnection customer;3051 (2) adding language to the pro forma LGIA

         that would allow interconnection facilities to convert to distribution or regional

         transmission facilities;3052 and (3) requiring transmission providers to study and

         implement advanced transmission technologies when network upgrades are needed but

         cannot be completed within three years of being identified.3053

                Because we adopt a requirement for transmission providers to evaluate the

         enumerated alternative transmission technologies, rather than at the request of the

         interconnection customer, we do not address comments regarding the following issues,

         which become moot by this modification to the NOPR proposal: the timing of submission

         of the alternative transmission technology evaluation request;3054 the burden of proof for



                3051
                       EDF Renewables Initial Comments at 14-15.
                3052
                       Enel Initial Comments at 80-81.
                3053
                       Ørsted Reply Comments at 8.
                3054
                       Enel Initial Comments at 79; Invenergy Initial Comments at 55; see also EDF
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         a submission of an alternative transmission technology evaluation request;3055 whether

         there should be a limit on alternative transmission technology evaluation requests;3056

         whether transmission providers and transmission owners should be able to reject

         alternative transmission technology evaluation requests;3057 whether an interconnection

         customer can request evaluation of an alternative transmission technology not on the

         required list;3058 and whether transmission providers need to perform a separate study for

         each requested alternative transmission technology.3059

                We do not find compelling commenters’ request that the Commission not require

         the evaluation of alternative transmission technologies while other proceedings

         concerning grid enhancing technologies are pending.3060 The Commission proposed and

         received extensive comment on evaluation of alternative transmission technologies in the

         interconnection process. Based on the record, we find that it is appropriate for the

         Commission to adopt a modified NOPR proposal to require transmission providers to

         evaluate the required list of enumerated alternative transmission technologies.


         Renewables Initial Comments at 14-15; Fervo Energy Reply Comments at 9.
                3055
                 AECI Initial Comments at 9; NARUC Initial Comments at 40; ISO-NE Initial
         Comments at 41; NESCOE Reply Comments at 21.
                3056
                       EEI Initial Comments at 21.
                3057
                       Indicated PJM TOs Reply Comments at 17.
                3058
                       National Grid Initial Comments at 42.
                3059
                       NARUC Initial Comments at 40.
                3060
                       EEI Initial Comments at 20; see also Ameren Initial Comments at 30.
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                               b.      Annual Informational Report

                                       i.    NOPR Proposal

                In the NOPR, in order to add transparency to the evaluation process and

         deployment of alternative transmission technologies in generator interconnection

         processes, the Commission proposed to revise the pro forma LGIP and pro forma SGIP

         to require transmission providers to submit an annual informational report to the

         Commission that details whether, and if so how, advanced power flow control,

         transmission switching, dynamic line ratings, static synchronous compensators, and static

         VAR compensators were considered in interconnection requests over the last year.3061

         The Commission proposed to create a new docket to collect all annual informational

         report filings, and proposed that any informational reports that transmission providers file

         at the Commission would be for informational purposes and would neither be formally

         noticed nor require additional action by the Commission. The Commission sought

         comment on: (1) whether to require transmission providers to explain why an alternative

         transmission technology that was considered was not deployed; and (2) the scope of the

         annual informational report, and whether additional information should be included.




                3061
                       NOPR, 179 FERC ¶ 61,194 at P 302.
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     USCA Case #23-1289           Document #2022295            Filed: 10/17/2023     Page 1046 of 1574
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                                       ii.    Comments

                                              (a)   Comments in Support

                A broad group of commenters support the NOPR proposal.3062 Many commenters

         agree that the reports would be beneficial to interconnection customers because they

         would provide insight as to why alternative transmission technologies were or were not

         deployed.3063 Some commenters contend that the annual informational report will allow

         interconnection customers to better tailor their requests to consider alternative

         transmission technologies, such that those requests are most likely to be successful.3064

         Similarly, commenters argue that the annual informational reports would allow sharing of

         best practices in the industry on the use of these technologies and their evaluation, and

         would lessen concerns over the potential risks of new technologies by socializing

         examples of their consideration and implementation.3065 ELCON and Fervo Energy

         assert that the annual informational reports will provide interconnection customers with




                3062
                   APPA-LPPC Initial Comments at 32; Clean Energy Buyers Initial Comments
         at 5; ELCON Initial Comments at 8; Enel Initial Comments at 81; Eversource Initial
         Comments at 37-38; CTC Global Initial Comments at 13; NARUC Initial Comments at
         41; Pine Gate Initial Comments at 59; Public Interest Organizations Initial Comments at
         55; SEIA Initial Comments at 41; WATT Coalition Initial Comments at 3.
                3063
                       NARUC Initial Comments at 41; Pine Gate Initial Comments at 59.
                3064
                       Pine Gate Initial Comments at 59.
                3065
                       CTC Global Initial Comments at 13; Eversource Initial Comments at 37-38.
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         additional information to ascertain the feasibility of certain configurations and

         interconnection points.3066

                Additionally, Enel states that transmission providers can be resistant to using

         advanced transmission technologies, and the annual informational report will allow the

         Commission to evaluate whether a transmission provider is artificially restricting the use

         of advanced transmission technologies, similar to the study completion metrics required

         by the Commission in Order No. 845.3067 Some commenters argue that if the

         Commission observes that transmission providers are routinely citing certain technical or

         other reasons for not deploying certain technologies, the annual informational report will

         provide a record from which it can initiate action in a separate proceeding to remedy the

         issue.3068

                Several commenters argue in support of the annual informational report to

         promote transparency between market participants, interconnection customers, and

         regulators.3069 Lastly, commenters argue that the additional work and obligation for the

         annual informational report would be an effective use of limited resources to benefit the

         efficiency, transparency, and modernization of the interconnection process.3070



                3066
                       ELCON Initial Comments at 8; Fervo Energy Reply Comments at 9-10.
                3067
                       Enel Initial Comments at 81.
                3068
                       CTC Global Initial Comments at 13; Pine Gate Initial Comments at 59.
                3069
                       Eversource Initial Comments at 37-38; NARUC Initial Comments at 41.
                3070
                       Enel Initial Comments at 81; Eversource Initial Comments at 37-38.
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                                              (b)     Comments in Opposition

                Some commenters oppose the proposal on the basis that it would be too

         burdensome.3071 Xcel Energy does not believe annual informational reports are necessary

         and requests that any informational reporting requirements be limited to decrease the

         burden on the engineers that need to focus on performing the interconnection studies.3072

         PacifiCorp states that imposing an additional reporting obligation on transmission

         providers would not only be duplicative, but it would add to an already significant list of

         administrative tasks that transmission providers must undertake to comply with existing,

         and proposed, interconnection obligations, without clear benefit.3073 NYTOs believe that

         preparing and submitting an annual informational report with detailed analysis of the

         consideration of alternative transmission technologies would require dedicated resources

         on the part of the transmission provider.3074 MISO asserts that the annual informational

         report at this time may not be useful, especially in the already transparent RTO/ISO

         context, and could divert scarce staff resources from the work of moving forward in the

         study and agreements process for implementing much-needed new generation.3075



                3071
                    Ameren Initial Comments at 33; CAISO Initial Comments at 39; MISO Initial
         Comments at 125; NYTOs Initial Comments at 33; PacifiCorp Initial Comments at 44;
         Xcel Initial Comments at 48.
                3072
                       Xcel Initial Comments at 48.
                3073
                       PacifiCorp Initial Comments at 44.
                3074
                       NYTOs Initial Comments at 33.
                3075
                       MISO Initial Comments at 125; MISO Reply Comments at 18.
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         Similarly, Indicated PJM TOs state that PJM currently maintains a publicly available

         website that details all the types of network upgrades necessary to support

         interconnections, including the types of devices identified here by the Commission.3076

         CAISO also opposes the proposal because CAISO believes that it is contrary to the goal

         of reducing interconnection queue backlogs by adding more studies and reporting

         requirements onto transmission provider staff.3077

                Idaho Power believes that the report may simply result in more disputes over why

         one entity allows a particular technology, while another one does not.3078

                CAISO and MISO also argue that there is limited value to interconnection

         reports.3079 CAISO argues that in this NOPR, the Commission recognizes that imposing

         reporting requirements in Order No. 845 failed to incentivize transmission providers to

         meet their study obligations, and thus the Commission should not repeat that mistake here

         by burdening transmission provider staff with yet another reporting requirement.3080

         Similarly, MISO points out that neither the Commission nor any commenter used the




                3076
                       Indicated PJM TOs Initial Comments at 57-58.
                3077
                       CAISO Initial Comments at 38.
                3078
                       Idaho Power Initial Comments at 16.
                3079
                       CAISO Initial Comments at 39; MISO Reply Comments at 18-19.
                3080
                       CAISO Initial Comments at 39.
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         interconnection queue reports required by Order No. 845 to discuss the topic of study

         delays.3081

                                             (c)    Comments on Specific Proposal

                Several commenters emphasize the importance of transparency when an

         alternative transmission technology is not selected.3082 ENGIE asks the Commission to

         require transmission providers to provide publicly available information addressing why

         or why not an alternative transmission technology was adopted or rejected in a specific

         case.3083 CTC Global believes that transmission providers should be required to include

         explanations regarding the alternative transmission technologies considered, deployed, or

         rejected in the annual reports.3084 CTC Global requests that the Commission also

         mandate reporting on the energy efficiency of the components used in various network

         upgrades and through the interconnection process.3085 Eversource suggests that, in

         addition to the five technologies listed in the NOPR, transmission providers be allowed to

         provide reporting on any other grid enhancing technology or alternative transmission

         technology that was considered during the prior year.3086


                3081
                       MISO Reply Comments at 18-19.
                3082
                   CTC Global Initial Comments at 14, 17-18; ENGIE Initial Comments at 13;
         Eversource Initial Comments at 37-38; Fervo Energy Initial Comments at 7.
                3083
                       ENGIE Initial Comments at 13.
                3084
                       CTC Global Initial Comments at 17-18.
                3085
                       Id. at 14.
                3086
                       Eversource Initial Comments at 37-38.
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               In contrast, Ameren argues that, if the Commission imposes this reporting burden

         on transmission providers, it should not further exacerbate the burden by requiring the

         transmission provider to also report explanations of common obstacles to the use of these

         alternative transmission technologies.3087 Instead, Ameren states that the Commission

         should encourage interconnection customers and transmission providers to share with

         Commission staff through a technical conference or other forum the types of technologies

         being considered and whether adopted. Ameren suggests that this type of information

         gathering should be undertaken before the Commission imposes specific reforms or

         reporting requirements.

                                     iii.   Commission Determination

               We decline to adopt the NOPR proposal to require transmission providers to

         submit an annual informational report to the Commission that details whether, and if so

         how, the list of alternative transmission technologies were considered in interconnection

         studies over the last year. We are persuaded by commenters’ arguments that the time and

         resources required to produce the annual informational report may hinder the ability to

         increase the speed of interconnection queue processing.3088 We find that these challenges

         outweigh the incremental increased transparency to the evaluation process and

         deployment of alternative transmission technologies in generator interconnection



               3087
                      Ameren Initial Comments at 33.
               3088
                 MISO Initial Comments at 125; MISO Reply Comments at 18; NYTOs Initial
         Comments at 33; PacifiCorp Initial Comments at 44; Xcel Initial Comments at 48.
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         processes, particularly in light of additional reporting requirements in other parts of this

         final rule.

                Specifically, the annual informational report would be duplicative of the

         requirement in section 7.3 of the pro forma LGIP and sections 3.3.6 and 3.4.10 of the pro

         forma SGIP that we adopt in this final rule. Under these provisions, transmission

         providers must explain how the required alternative transmission technologies were

         evaluated for feasibility, cost, and time savings in each pro forma LGIP cluster study

         report or pro forma SGIP feasibility study and system impact study reports. The

         description of the results of the evaluation required in these reports should provide

         transparency into the evaluation process and deployment of alternative transmission

         technologies in generator interconnection processes. In response to Enel’s argument that

         an annual informational report will allow the Commission to evaluate if a transmission

         provider is artificially restricting the use of alternative transmission technologies, we find

         that this concern is adequately addressed through the modified requirement that

         transmission providers evaluate all required alternative transmission technologies by

         default in all studies and restudies.

                       3.      Modeling and Ride-Through Requirements for Non-
                               Synchronous Generating Facilities

                               a.      Modeling Requirements

                                       i.        Need for Reform and NOPR Proposal

                In the NOPR, the Commission preliminarily found that the pro forma LGIP and

         pro forma SGIP may be unduly discriminatory or preferential to the extent that they do
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         not require non-synchronous generating facilities to provide accurate and validated

         models to transmission providers during the generator interconnection process.3089

         Specifically, the Commission noted that, while Attachment A to Appendix 1 of the pro

         forma LGIP and Attachment 2 of the pro forma SGIP require all generating facilities to

         submit certain types of information, the information required is only sufficient to

         accurately model the behavior of synchronous generating facilities. The Commission

         stated its concern that, without a reform to require interconnection customers developing

         non-synchronous generating facilities3090 to provide sufficiently accurate and validated

         models, interconnection studies may not identify the appropriate interconnection facilities

         and network upgrades, which could lead to unjust and unreasonable rates for

         interconnection service.3091

                The Commission proposed to revise Attachment A to Appendix 1 of the pro forma

         LGIP and Attachment 2 of the pro forma SGIP to ensure that all interconnection

         customers requesting to interconnect a non-synchronous generating facility must provide




                3089
                       NOPR, 179 FERC ¶ 61,194 at P 318.
                3090
                     Non-synchronous generating facilities are “connected to the bulk power
         system through power electronics, but do not produce power at system frequency (60
         Hz).” They “do not operate in the same way as traditional generators and respond
         differently to network disturbances.” Reactive Power Requirements for Non-
         Synchronous Generation, Order No. 827, 81 FR 40793 (June 23, 2016), 155 FERC ¶
         61,277, at P 10 n.24 (2016).
                3091
                       NOPR, 179 FERC ¶ 61,194 at P 319.
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         the transmission provider with the models needed for accurate interconnection studies.3092

         Pursuant to this proposal, interconnection customers requesting to interconnect a non-

         synchronous generating facility would be required to provide models that contain the

         details necessary to accurately model the performance of the generating facility in

         response to system disturbances in accordance with the control system settings that would

         be used by the interconnection customer during the commissioning and operation of the

         generating facility.

                Specifically, the Commission proposed to require each interconnection customer

         requesting to interconnect a non-synchronous generating facility to submit to the

         transmission provider: (1) a validated, user-defined root mean square (RMS) positive

         sequence dynamic model; (2) an appropriately parameterized, generic library RMS

         positive sequence dynamic model, including a model block diagram of the inverter

         control system and plant control system, that corresponds to a model listed in a new table

         of acceptable models or a model otherwise approved by WECC; and (3) a validated EMT

         model, if the transmission provider performs an EMT study as part of the interconnection

         study process.3093

                With regard to the validated, user-defined RMS positive sequence dynamic model,

         the Commission proposed to define a user-defined model as any set of programming code

         created by equipment manufacturers or developers that captures the latest features of


                3092
                       Id. P 328.
                3093
                       Id. P 329.
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         controllers that are mainly software-based and represents the entities’ control strategies

         but does not necessarily correspond to any particular generic library model.3094 The

         Commission explained that in order for this model to be “validated,” it must be

         confirmed that the equipment behavior is consistent with the model behavior, and

         described how the interconnection customer may make such confirmation.

                With regard to the appropriately parameterized, generic library RMS positive

         sequence dynamic model, the Commission proposed a table of acceptable generic library

         models based on the current WECC list of approved dynamic models for renewable

         energy generating facilities.3095 The Commission noted that WECC’s list of approved

         dynamic models has also been integrated into NERC reliability guidelines and that these

         models represent the current state of the art with regard to dynamic modeling

         requirements for non-synchronous generating facilities.

                The Commission stated that it believed that these models represent the full

         spectrum of modeling data that transmission providers need to perform accurate

         interconnection studies for non-synchronous generating facilities.3096 The Commission

         also recognized that the modeling data proposed to be required from non-synchronous

         generating facilities may be more voluminous than that required of synchronous

         generating facilities; however, the Commission noted that this data submission


                3094
                       Id. P 330.
                3095
                       Id. P 331.
                3096
                       Id. P 332.
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         requirement is intended to result in a comparable level of modeling accuracy among all

         generating facilities.

                The Commission stated that an interconnection customer’s failure to provide the

         above information within the deadlines established in the pro forma LGIP and pro forma

         SGIP would make the interconnection request incomplete and would be considered

         invalid in accordance with section 3.4.3 of the pro forma LGIP and section 1.3 of the pro

         forma SGIP. 3097 Pursuant to those provisions, if the interconnection customer does not

         cure the deficiency within the 10-business day cure period, the interconnection request

         will be considered withdrawn pursuant to section 3.7 of the pro forma LGIP and section

         1.3 of the pro forma SGIP. The Commission also proposed to require that any proposed

         modification of the interconnection request be accompanied by updated models of the

         proposed generating facility.3098

                The Commission sought comment on: (1) whether the proposed reforms are

         necessary and/or sufficient to ensure that interconnection customers proposing non-

         synchronous generating facilities would submit models during the generator

         interconnection process that accurately reflect the behavior of their proposed generating

         facility; (2) whether the inclusion of the table based on NERC guidelines that cite

         WECC-approved models is appropriate; and (3) if not, how the Commission could




                3097
                       Id. P 333.
                3098
                       Id. P 334.
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         require interconnection customers to submit models that are widely known in industry to

         be accurate without listing specific models.3099

                                       ii.   Comments

                                             (a)     Comments in Support

                Many commenters support the NOPR proposal.3100 SPP states that it has the

         highest penetration of IBRs3101 of any RTO/ISO, so it is particularly sensitive to potential

         harm that could occur if those resources fail to perform as expected.3102 ISO-NE argues

         that data issues are one of the largest causes of study delays in its region, and requiring

         data accuracy will improve study processing time and support first-ready, first-served


                3099
                       Id. P 335.
                3100
                     AEP Initial Comments at 54; APPA-LPPC Initial Comments at 33; APS Initial
         Comments at 24; CAISO Initial Comments at 39; Clean Energy Associations Initial
         Comments at 65; EEI Initial Comments at 23; NERC Initial Comments at 9-10; EPRI
         Initial Comments at 19; Eversource Initial Comment at 38; ISO-NE Initial Comments at
         42; MISO Initial Comments at 125; MISO TOs Initial Comments at 33; NARUC Initial
         Comments at 42; National Grid Initial Comments at 44; North Carolina Commission and
         Staff Initial Comments at 27; NRECA Initial Comments at 48; NYTOs Initial Comments
         at 33; Ohio Commission Initial Comments at 17; OMS Initial Comments at 20;
         PacifiCorp Initial Comments at 45; PPL Initial Comments at 25; R Street Initial
         Comments at 17; SPP Initial Comments at 27; U.S. Chamber of Commerce Initial
         Comments at 13.
                3101
                      “Inverter-based resource” (IBR) refers to a resource that is asynchronously
         connected to the transmission system and is either completely or partially interfaced with
         the bulk power system through power electronics. See Reliability Guideline: BPS-
         Connected Inverter-Based Resource Performance, at vii,
         https://www.nerc.com/comm/RSTC_Reliability_Guidelines/Inverter-
         Based_Resource_Performance_Guideline.pdf. The term “non-synchronous generating
         facilities” refers to the same resources.
                3102
                       SPP Initial Comments at 27.
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         reforms.3103 NERC contends that the existing interconnection process does not provide

         sufficiently accurate and validated models for IBRs.3104

                                               (b)    Comments in Opposition

                Several commenters oppose the NOPR proposal in its entirety,3105 while additional

         commenters express concerns about specific aspects. Pine Gate asserts that the

         Commission should not incorporate requirements into the pro forma LGIP and pro forma

         SGIP that are already being addressed by NERC through the standards development

         process.3106 Pine Gate states that the pro forma LGIA and pro forma SGIA require

         interconnection customers to remain compliant with the applicable reliability standards,

         and recommends that the Commission address these modeling and performance reforms

         under the generic statement regarding compliance with applicable NERC Reliability

         Standards or by adding a similar statement in each applicable section of article 9 in the

         pro forma LGIA.3107

                NYISO argues that the final rule should not include a modeling requirement

         because it would be inefficient and necessitate a rebuild of NYISO’s study base case.3108


                3103
                       ISO-NE Initial Comments at 42.
                3104
                       NERC Initial Comments at 18.
                3105
                    ENGIE Initial Comment at 13-14; NYISO Initial Comments at 53-54; Pine
         Gate Initial Comments at 60-61; SEIA Initial Comments at 41.
                3106
                       Pine Gate Initial Comments at 60.
                3107
                       Id. at 60-61 (citing pro forma LGIA art. 9.1).
                3108
                       NYISO Initial Comments at 53-54.
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         NYISO explains that, if the NOPR proposal is adopted, its interconnection study analysis

         would take much longer to ensure accurate results, significantly slowing the

         interconnection process.

                ENGIE argues that the required models in the NOPR proposal are very detailed,

         there are few consultants that perform this modeling, and the value obtained is low

         because the study likely will become outdated as project components are substituted for

         more advanced technologies. ENGIE recommends requiring a power flow and dynamic

         model, which it contends provides sufficient information on reliability impacts.3109

                                             (c)   Comments on Specific Proposal

                                                   (1)    Cure Period for Modeling Information

                AES asserts that a 10-day cure period for interconnection customers to correct or

         provide additional information on models for non-synchronous generating facilities is not

         adequate and that no less than a 20 business-day cure period is needed.3110

                                                   (2)    Transmission Provider Requirements

                SEIA requests that the Commission modify the NOPR proposal to require

         transmission providers to make available to interconnection customers the necessary

         system data needed to create accurate models, provide clear modeling requirements and




                3109
                       ENGIE Initial Comments at 13-14.
                3110
                       AES Initial Comments at 25-26.
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         validation guidelines and procedures,3111 and engage stakeholders before making any

         modeling changes.

                                                   (3)    Models Not Available Early in
                                                          Interconnection Study Process

                Multiple commenters argue that accurate models for non-synchronous generating

         facilities may not be available early in the interconnection study process and may need to

         be updated during the process.3112 Pine Gate and Public Interest Organizations assert that

         the Commission should revise the NOPR proposal to allow for later submission of such

         models to reduce the administrative burden on transmission providers and

         interconnection customers.3113

                SEIA requests that the Commission modify the NOPR proposal to require

         interconnection customers to provide all operating models within one year before the

         commercial operation date of the generating facility, so that the models reflect the most




                3111
                   SEIA Initial Comments at 42-43 (citing, e.g., CAISO, Electromagnetic
         Transient Modeling Requirements (Apr. 14, 2021),
         http://www.caiso.com/Documents/CaliforniaISOElectromagneticTransientModelingRequ
         irements.pdf.).
                3112
                    Alliant Energy Initial Comments at 10-11; Clean Energy Associations Initial
         Comments at 66; EPRI Initial Comments at 17-18; NextEra Initial Comments at 40;
         Ørsted Initial Comments at 17; Pine Gate Initial Comments at 61; PPL Initial Comments
         at 25; Public Interest Organizations Reply Comments at 13; SEIA Initial Comments at
         42.
                3113
                 Pine Gate Initial Comments at 61; Public Interest Organizations Reply
         Comments at 13.
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         accurate operating information.3114 Clean Energy Associations assert that models

         requested very early in the interconnection study process, before product feature details

         have been finalized, may need to be updated prior to commercial operation, and argue

         that minor model changes should not result in excessive triggering of material

         modification rules.3115

                Alliant Energy and PPL state that technical information provided at the time an

         interconnection request is submitted can become outdated during the interconnection

         study process,3116 and Alliant Energy asserts that the Commission should therefore

         provide for flexibility as to when and how required information for modeling

         requirements is provided.3117 Ørsted argues that offshore wind interconnection customers

         may not be able to provide a validated model at the time of the interconnection request

         due to long lead times in generating facility development and equipment that is still being

         developed.3118

                EPRI suggests that an alternative approach to the NOPR proposal is to require the

         use of models that generally conform to the capability and performance standards

         Institute of Electrical and Electronics Engineers (IEEE) Standard 2800-022 and IEEE



                3114
                       SEIA Initial Comments at 42.
                3115
                       Clean Energy Associations Initial Comments at 66.
                3116
                       Alliant Energy Initial Comments at 10-11; PPL Initial Comments at 25.
                3117
                       Alliant Energy Initial Comments at 10-11.
                3118
                       Ørsted Initial Comments at 17.
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         Standard 1547-2018 during the interconnection study process, and notes that such studies

         are subject to further assessment once a detailed, site-specific model is available.3119

                                                      (4)   RMS Models

                Several commenters request modifications to the proposed requirements for RMS

         models.3120 Tesla and SEIA argue that the Commission should require transmission

         providers to accept user-defined library RMS positive sequence dynamics models, as

         these models better reflect the actual technology intended to be used by the resource,

         results in a much greater degree of modeling accuracy, and can help support greater

         penetration of renewable resources.3121 In addition, Tesla suggests that the Commission

         seek informational submissions from transmission providers regarding software tools and

         resources needed to integrate more accurate user-defined RMS modeling. Clean Energy

         Associations argue that the transmission provider should have discretion to require a

         user-defined RMS model, a generic library RMS model (with site-specific

         parameterization), or both, instead of always being required to collect both.3122 MISO

         encourages the Commission to require that the user-defined model be compatible with the




                3119
                       EPRI Initial Comments at 18.
                3120
                    Clean Energy Associations Initial Comments at 65-66; Eversource Initial
         Comments at 39; ISO-NE Initial Comments at 42-43; MISO Initial Comments at 125;
         SEIA Initial Comments at 43; Tesla Initial Comments at 11.
                3121
                       SEIA Initial Comments at 43; Tesla Initial Comments at 11.
                3122
                       Clean Energy Associations Initial Comments at 65-66.
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         transmission provider’s software.3123 Further, MISO requests that the Commission

         confirm that the user-defined model meets the transmission provider’s MOD-032-1

         requirements. Longroad Energy recommends that the Commission require NERC to

         improve the degree to which power flow software vendors allow accurate modeling of

         IBR technology before the Commission establishes modeling standards that might stifle

         technological improvements.3124

                Other commenters express concern with the difficulties of user-defined models.3125

         Eversource requests that the Commission specify that all positive sequence models

         provided must be non-proprietary and accessible to neighboring utilities, system

         operators, and other entities that need to access them.3126 ISO-NE asserts that it does not

         accept user-defined models under its interconnection study procedures and requests that

         the final rule allow for a process where accurate, working, non-proprietary models are

         provided and screened in advance of the study process.3127




                3123
                       MISO Initial Comments at 125.
                3124
                       Longroad Energy Reply Comments at 20.
                3125
                       Eversource Initial Comments at 39; ISO-NE Initial Comments at 42.
                3126
                       Eversource Initial Comments at 39.
                3127
                       ISO-NE Initial Comments at 43.
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                                                     (5)   Model Validation

                Some commenters argue that the Commission should provide further direction

         regarding model validation requirements for non-synchronous generating facilities.3128

         NERC and SDG&E argue that reliability assessments indicate that model validation with

         actual installed equipment and a “true-up” of generator interconnection modeling would

         help ensure proper analysis and studies prior to commissioning.3129 NERC recommends

         that the Commission enhance the interconnection process by ensuring more rigorous

         plant commissioning, with both the interconnection customer and the transmission

         provider signing off on models used in studies as compared with actual installed

         equipment.3130 In addition, NERC asks the Commission to require transmission providers

         to conduct quality review of models before study and require interconnection customers

         to satisfy quality review milestones.3131

                Tesla argues that, in lieu of multiple attestations or test data, the Commission

         should develop an approach to validation that requires interconnection customers to




                3128
                 Clean Energy Associations Initial Comments at 66-67; NERC Initial
         Comments at 18-20; EPRI Initial Comments at 14-15; Ørsted Initial Comments at 16, 18;
         SDG&E Reply Comments at 3; Tesla Initial Comments at 10.
                3129
                       NERC Initial Comments at 18; SDG&E Reply Comments at 3.
                3130
                       NERC Initial Comments at 18.
                3131
                       Id. at 20.
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         submit “model-to-model” and “product-to-model” benchmarking data for non-

         synchronous generating facilities.3132

                Clean Energy Associations assert that the Commission should add language that

         provides that the attestation required for model validation be the best available by the

         original equipment manufacturer at the time of model delivery.3133 In addition, Clean

         Energy Associations and Ørsted argue that the Commission should define the phrase

         “accurate and validated models.”3134 Clean Energy Associations explain that it is

         common practice to submit an interconnection request with advanced, next-generation

         equipment that the manufacturer may still be developing, in which case the product and

         validated models may not be available at the time of the interconnection request, and

         request that the Commission allow transmission providers flexibility to accommodate

         such new equipment in their interconnection studies.3135

                Clean Energy Associations and Ørsted assert that, if accurate and validated models

         require a comparison with unit level factory tests, then this may not be feasible for

         offshore wind farms, especially if they are connecting with HVDC transmission

         technology.3136 They explain that these types of configurations are often project-specific



                3132
                       Tesla Initial Comments at 10.
                3133
                       Clean Energy Associations Initial Comments at 66.
                3134
                       Id.; Ørsted Initial Comments at 16, 18.
                3135
                       Clean Energy Associations Initial Comments at 67.
                3136
                       Id. at 66-67; Ørsted Initial Comments at 16-17.
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         and do not have a definition of a “validated model.” Ørsted also requests that the

         Commission explain why a “model block diagram of the inverter control system and

         plant control system” is necessary given the availability of WECC model block diagrams

         in simulation tools.3137

                EPRI argues that the Commission should modify the language in the pro forma

         LGIA and pro forma SGIA to ensure that all models are validated and appropriately

         parameterized.3138 EPRI contends that the NOPR proposal fails to provide adequate

         directions and requirements with respect to model validation, testing, verification, and

         conformity assessment, as required during various stages of the interconnection process.

         EPRI asserts that a “validated” plant model would not be available during the

         interconnection study stage because validation of the plant model is not possible—within

         reasonable efforts—until after the commissioning and commercial operation of the

         generating facility. EPRI states that alternatives to this would be requiring generic

         models that are appropriately parametrized and conform to IEEE Standard 2800-2022

         requirements.

                                                    (6)    Table of Acceptable RMS Models

                Several commenters agree that a table of acceptable RMS models based on NERC

         guidelines that cite WECC-approved models is appropriate.3139 Ameren asserts that the



                3137
                       Ørsted Initial Comments at 18.
                3138
                       EPRI Initial Comments at 14-15.
                3139
                       Ameren Initial Comments at 34; Bonneville Initial Comments at 24; Shell
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         Commission should provide a table based on NERC guidelines that cite WECC-approved

         models as one but not the only example.3140 Shell agrees that a table based on NERC

         guidelines is appropriate as long as the functionality and proprietary controls are

         adequately reflected (e.g., mimic the actual inverter performance of manufacturers’

         models).3141 Shell explains that a generic model may not be able to support the

         operational characteristics of inverters. SPP states that, in its experience, some

         manufacturers do not support WECC-approved generic dynamics models and that having

         Commission support for more specific, detailed, and vetted modeling information

         requirements will be helpful to improve data quality and access.3142

                R Street and EPRI offer alternatives to a table based on NERC guidelines that cite

         WECC-approved models.3143 R Street argues that providing a list of models in the final

         rule is not prudent given the dynamic nature of the table, and that the list should instead

         be posted on relevant public industry websites, including those of NERC.3144 EPRI states

         that one alternative could be to include a reference and hyperlink to the NERC and




         Initial Comments, app. A, at vi; Tri-State Initial Comments at 24.
                3140
                       Ameren Initial Comments at 34.
                3141
                       Shell Initial Comments, app. A, at vi.
                3142
                       SPP Initial Comments at 28.
                3143
                       EPRI Initial Comments at 20; R Street Initial Comments at 17.
                3144
                       R Street Initial Comments at 17.
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         WECC-approved models lists.3145 EPRI also suggests that if the Commission retains the

         table, it should consider revising the description of the DER_A model to add the word

         “aggregated” to the description and also consider adding columns with the model names

         from other applicable software tools.

                                                      (7)   EMT Modeling

                NERC and EPRI support the EMT modeling proposal in the NOPR.3146 NERC

         recommends that all non-synchronous generating facilities perform EMT models prior to

         interconnection for consideration by transmission operators and planners.3147 NERC

         contends that event analysis underscores the value of EMT studies in helping manage

         reliability risks of the modern transmission system.

                EPRI agrees that performing EMT studies should be at the discretion of the

         transmission provider.3148 However, EPRI recommends collecting validated and

         appropriately parametrized EMT models during the interconnection process regardless of

         whether the transmission provider performs an EMT study because an EMT study may

         become necessary in the future, and the interconnection stage is the best time to obtain

         models due to the close coordination between interconnection customers, consultants,

         equipment manufacturers, and generating facility designers. EPRI also suggests that an


                3145
                       EPRI Initial Comments at 20.
                3146
                       Id. at 15, 19; NERC Initial Comments at 21.
                3147
                       NERC Initial Comments at 21.
                3148
                       EPRI Initial Comments at 19.
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         industry-accepted generic EMT model could be required in lieu of a validated EMT

         model.3149

                Clean Energy Associations argue that the Commission should require submission

         of an EMT model one year before the scheduled commercial operation date of the non-

         synchronous generating facility if the transmission provider performs an EMT study as

         part of the interconnection study process.3150 Clean Energy Associations assert that, if the

         Commission moves forward with a requirement for interconnection customers to provide

         EMT models, it should require the transmission provider and its consultants to protect

         these models with the highest degree of confidentiality because these models contain

         proprietary and highly commercially sensitive material that could pose a reliability risk if

         obtained by malicious actors.

                Several commenters oppose the EMT modeling proposal.3151 AES contends that

         EMT modeling is not yet used widely in the industry and thus should not be adopted as a

         minimum standard.3152

                Longroad Energy argues that EMT studies are more expensive than transient

         stability studies, require highly specialized engineering experience to perform, and are


                3149
                       Id. at 15.
                3150
                       Clean Energy Associations Initial Comments at 68-70.
                3151
                    AES Initial Comments at 26; Bonneville Initial Comments at 24; Invenergy
         Initial Comments at 57-58; Longroad Energy Reply Comments at 21; SEIA Initial
         Comments at 41-42.
                3152
                       AES Initial Comments at 26.
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         limited to modeling a fraction of a transmission provider’s transmission system.3153

         Longroad Energy asserts that the Commission should continue to allow transmission

         providers the discretion to determine where such studies will meaningfully impact the

         interconnection requirements for an interconnection request. Further, Longroad Energy

         asserts that the Commission should require transmission providers to publish studies

         demonstrating the need for EMT studies to prevent unnecessarily imposing a costly,

         time-consuming step in the interconnection study process.

                SEIA asserts that EMT models are not yet industry standard models, require

         significant processing power compared to RMS models, and are not necessarily more

         accurate than RMS models.3154 Bonneville asserts that it has found that EMT modeling

         studies are rarely necessary, and therefore any requirement to provide EMT models or

         studies should be left to the transmission provider’s discretion.3155

                                             (d)    Requests for Clarification

                Invenergy requests that the Commission clarify that, if a validated EMT model is

         unavailable at the time of submission of an interconnection request: (1) whether the

         interconnection request may proceed and provide a generic EMT model, if available; and



                3153
                       Longroad Energy Reply Comments at 21.
                3154
                    SEIA Initial Comments at 41-42 (citing Summary of the Joint Generator
         Interconnection Workshop, at 28 (Aug. 9-11, 2022), https://www.esig.energy/wp-
         content/uploads/2022/10/Joint-Generator-Workshop-Summary-1.pdf (Generator
         Interconnection Workshop Summary)).
                3155
                       Bonneville Initial Comments at 24.
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         (2) if a validated EMT model is determined to be necessary, whether the interconnection

         customer may submit this information by the time of cluster restudy, or as soon thereafter

         as it becomes available from the manufacturer.3156

               APS requests clarity from the Commission on the process for curing deficiencies

         with respect to information provided by the interconnection customer, such as the number

         of times an interconnection customer is allowed to provide inaccurate data and cure

         deficiencies, before an interconnection request is deemed withdrawn.3157

                                            (e)     Miscellaneous

               ClearPath asserts that the Commission should consider how the NOPR proposal

         will align with technological advancements and supply chain challenges.3158 ClearPath

         explains that the average interconnection queue wait time is 3.7 years, which may present

         opportunities for interconnection customers to adopt newer, more advanced equipment

         after they enter the interconnection queue. ClearPath further explains that supply chain

         challenges may force an interconnection customer to change equipment procurement

         unexpectedly while in the interconnection queue, and requests that the Commission

         explain whether a change in equipment that necessitates submitting new models and data

         is considered a material modification.




               3156
                      Invenergy Initial Comments at 58.
               3157
                      APS Initial Comments at 24.
               3158
                      ClearPath Initial Comments at 10.
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                Consumers Energy notes that NERC is currently in the interconnection data

         gathering process, potentially making inclusion of additional requirements within the

         rulemaking duplicative and recommends consistency between NERC and Commission

         interconnection improvement efforts.3159

                EPRI states that the NOPR proposal does not specify information and data that the

         transmission providers may need to provide to the interconnection customer during the

         design stage (e.g., acceptable voltage ranges, protection details, short circuit levels,

         etc.).3160 EPRI asserts that the final rule could consider the list of data from Annex H of

         IEEE 2800-2022, which includes definitions that could help define the combined

         generating and storage service level MW of a generating facility referred to in the NOPR

         proposal, including the continuous rating, continuous absorption rating, and short-term

         rating for IBRs.

                                      iii.   Commission Determination

                We adopt the NOPR proposal to revise Attachment A to Appendix 1 of the pro

         forma LGIP and Attachment 2 of the pro forma SGIP to require each interconnection

         customer requesting to interconnect a non-synchronous generating facility to submit to

         the transmission provider: (1) a validated user-defined RMS positive sequence dynamic

         model; (2) an appropriately parameterized generic library RMS positive sequence

         dynamic model, including a model block diagram of the inverter control system and plant


                3159
                       Consumers Energy Initial Comments at 9.
                3160
                       EPRI Initial Comments at 22.
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         control system, that corresponds to a model listed in a new table of acceptable models or

         a model otherwise approved by WECC; and (3) a validated EMT model, if the

         transmission provider performs an EMT study as part of the interconnection study

         process.

                 We also adopt the NOPR proposals to: (1) define a user-defined model as any set

         of programming code created by equipment manufacturers or developers that captures the

         latest features of controllers that are mainly software-based and represent the entities’

         control strategies but does not necessarily correspond to any particular generic library

         model, as contained in Attachment A to Appendix 1 of the pro forma LGIP and

         Attachment 2 of the pro forma SGIP; (2) revise Attachment A to Appendix 1 of the

         pro forma LGIP and Attachment 2 of the pro forma SGIP to add a table of acceptable

         generic library models, based on the current WECC list of approved dynamic models for

         renewable energy generating facilities; and (3) revise section 4.4.4 of the pro forma LGIP

         and section 1.4 of the pro forma SGIP to require that any proposed modification of the

         interconnection request be accompanied by updated models of the proposed generating

         facility.

                 Based on the record before us, we affirm the Commission’s preliminary finding in

         the NOPR that the pro forma LGIP and pro forma SGIP are unduly discriminatory or

         preferential because they do not require non-synchronous generating facilities to provide

         accurate and validated models to transmission providers during the generator

         interconnection process that provide a comparable degree of accuracy as the models

         required of a synchronous generator. The current pro forma LGIP and pro forma SGIP
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         provisions ensure that synchronous generating facilities are required to provide accurate,

         validated models to transmission providers during the generator interconnection process.

         However, the current pro forma LGIP and pro forma SGIP provisions are insufficient to

         ensure that non-synchronous generating facilities submit models with a comparable level

         of accuracy.

                Additionally, we find that the lack of a requirement for non-synchronous

         generating facilities to provide accurate and validated models to transmission providers in

         the pro forma LGIP and pro forma SGIP results in unjust and unreasonable rates.

         Accurate and validated models are necessary to minimize study delays and to ensure that

         transmission providers conduct accurate interconnection studies that identify the

         necessary interconnection facilities and network upgrades to accommodate the

         interconnection request. Data issues are commonly cited as a major source of study

         delays, which contributes to interconnection queue backlogs.3161 As described above,

         interconnection queue backlogs create uncertainty in the timing and cost of

         interconnecting to the transmission system and hinders the timely development of new

         generation. Moreover, without accurate models, transmission providers cannot conduct

         accurate interconnection studies that identify the appropriate interconnection facilities

         and network upgrades, leading to the inaccurate assignment of interconnection costs and

         resulting in Commission-jurisdictional rates that are unjust and unreasonable.3162


                3161
                       See, e.g., ISO-NE Initial Comments at 42.
                3162
                    NARUC Initial Comments at 42; see also EEI Initial Comments at 23
         (explaining that this requirement will improve transmission provider’s ability to identify
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                Furthermore, many commenters agree that this reform will help prevent potential

         reliability concerns if non-synchronous generating facilities do not perform when in

         service as modeled during the interconnection process.3163 For example, additional

         modeling requirements will significantly improve the accuracy of both interconnection

         and reliability studies as well as address concerns regarding non-synchronous generation

         disturbance events.3164

                NYISO argues that the final rule would be inefficient and necessitate a rebuild of

         NYISO’s study base case, take longer to ensure accurate results, and significantly slow

         the interconnection process.3165 While we will not opine here on the NYISO-specific

         compliance with the final rule, we disagree that requiring accurate dynamic models of

         generating facilities will make the interconnection process take longer to ensure accurate

         results. To the contrary, we find here that a lack of accurate models is a major cause of

         study delays and contributes to interconnection study backlogs.




         appropriate interconnection facilities and network upgrades for non-synchronous
         generating facilities); MISO TOs Initial Comments at 33 (stating that the current lack of
         accurate modeling means that transmission providers are unable to fully assess their
         ability to respond to system disturbances).
                3163
                   APS Initial Comments at 24; CAISO Initial Comments at 39-40; Clean Energy
         Associations Initial Comments at 65; NERC Initial Comments at 9-10; Eversource Initial
         Comment at 38.
                3164
                       Eversource Initial Comment at 38.
                3165
                       NYISO Initial Comments at 53-54.
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                The majority of commenters support the NOPR proposal.3166 We affirm that,

         consistent with this final rule, all interconnection customers requesting to interconnect a

         non-synchronous generating facility must provide the transmission provider with the

         required models needed for accurate interconnection studies. We find that the models

         required herein contain the details necessary to accurately model the performance of the

         non-synchronous generating facility in response to system disturbances, and we decline

         to adopt alternative model proposals put forth by commenters. This reform promotes a

         consistent approach among all generating facilities with respect to modeling, such that all

         interconnection customers are required to submit information sufficient to accurately

         model the behavior of their proposed generating facilities.

                We decline to adopt AES’s request for a 20-day cure period for model

         deficiencies.3167 Under the proposed provisions, if an interconnection customer fails to

         provide the required models above within the deadlines established in the pro forma

         LGIP and pro forma SGIP, its interconnection request will be incomplete and considered


                3166
                     AEP Initial Comments at 54; APPA-LPPC Initial Comments at 33; APS Initial
         Comments at 24; CAISO Initial Comments at 39; Clean Energy Associations Initial
         Comments at 65; EEI Initial Comments at 23; NERC Initial Comments at 9-10; EPRI
         Initial Comments at 19; Eversource Initial Comments at 38; ISO-NE Initial Comments at
         42; MISO Initial Comments at 125; MISO TOs Initial Comments at 33; NARUC Initial
         Comments at 42; National Grid Initial Comments at 44; North Carolina Commission and
         Staff Initial Comments at 27; NRECA Initial Comments at 48; NYTOs Initial Comments
         at 33; Ohio Commission Initial Comments at 17; OMS Initial Comments at 20;
         PacifiCorp Initial Comments at 45; PPL Initial Comments at 25; R Street Initial
         Comments at 17; SPP Initial Comments at 27; U.S. Chamber of Commerce Initial
         Comments at 13.
                3167
                       AES Initial Comments at 25-26.
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         invalid in accordance with section 3.4.4 of the pro forma LGIP and section 1.3 of the

         pro forma SGIP. Pursuant to those provisions, if the interconnection customer does not

         cure such a deficiency within the 10-business day cure period, the interconnection request

         will be considered withdrawn pursuant to section 3.7 of the pro forma LGIP and section

         1.3 of the pro forma SGIP. In it its request, AES provides no explanation for why the

         10-business day cure period is insufficient. Moreover, we believe that the existing

         10-business day cure period should be consistently applied to all interconnection request

         deficiencies and that having an extended cure period for model deficiencies would

         potentially introduce delays in the interconnection process. We note that interconnection

         customers may submit their interconnection requests early in the customer request

         window, which will allow for more time to ensure their models are valid.

                We disagree with Pine Gate that the revisions to the pro forma LGIP and pro

         forma SGIP, as adopted, incorporate requirements into the pro forma LGIP and pro

         forma SGIP that are already being addressed by NERC through the standards

         development process.3168 We note that NERC supports the NOPR proposal and argues

         that the existing interconnection process does not provide sufficiently accurate and

         validated models for non-synchronous generating facilities to transmission providers. 3169

         We find that these modeling requirements are appropriately addressed in the

         interconnection context, where interconnection customers must provide information to a


                3168
                       Pine Gate Initial Comments at 60.
                3169
                       NERC Initial Comments at 18.
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         transmission provider for use in interconnection studies, and thus adopt the revisions in

         the pro forma LGIP and pro forma SGIP. In addition, the pro forma LGIA and pro

         forma SGIA revisions apply to a wide spectrum of generating facilities, including newly

         interconnecting generating facilities that are currently outside the bounds of NERC’s

         jurisdiction.3170 As such, we find that this reform can holistically address the identified

         issues alongside the NERC standards; even if NERC is taking action, that need not

         prevent us from taking action here.

                We disagree with ENGIE that the value obtained from the models in the NOPR

         proposal is low because of the likelihood that the study will be outdated as project

         components are substituted with more advanced technology.3171 We recognize that the

         project components for non-synchronous generating facilities may change during the

         interconnection process. We find, however, that this does not diminish the value of a

         transmission provider receiving the identified information from interconnection

         customers requesting to interconnect a non-synchronous generating facility and receiving

         models that represent the best information interconnection customers have available

         about their proposed generating facilities because these models will ensure that the

         transmission provider can accurately model the impact of the proposed generating facility


                3170
                   But see Registration of Inverter-based Resources, 181 FERC ¶ 61,124, at P 31,
         (2022) (“[W]e find it necessary to ensure that NERC register the owners and operators of
         those unregistered IBRs that, in the aggregate, have a material impact on Bulk-Power
         System reliability, to ensure those entities are subject to a relevant set of mandatory and
         enforceable Reliability Standard requirements.”).
                3171
                       ENGIE Initial Comments at 13-14.
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         throughout the interconnection process. In addition, proposed section 4.4.4 of the

         pro forma LGIP and section 1.4 of the pro forma SGIP require that any modification of

         the interconnection request be accompanied by updates to the models. Pursuant to these

         provisions, the models are required to be updated as project components are changed.

         Ensuring that the model of the proposed generating facility is accurate throughout the

         interconnection study process will allow the interconnection customer to understand the

         actual, potential impact on their interconnection request of changing these project

         components as they are considering such technological advancements.

                Similarly, we disagree with commenters that argue that accurate models for non-

         synchronous generating facilities may not be available early in the interconnection study

         process and may need to be updated during that process.3172 We find that the reforms we

         adopt herein are consistent with the principles behind other requirements in the pro forma

         LGIP and pro forma SGIP, namely those that set forth requirements for an

         interconnection request, including requirements that requests be viable and well-

         defined.3173 The requirement to submit accurate models also reduces the chance that a

         transmission provider would need to perform additional studies, in this case if an

         interconnection customer submits models that are inaccurate and those inaccuracies are


                3172
                    Alliant Energy Initial Comments at 10-11; Clean Energy Associations Initial
         Comments at 66; EPRI Initial Comments at 17-18; NextEra Initial Comments at 40;
         Ørsted Initial Comments at 17; Pine Gate Initial Comments at 61; PPL Initial Comments
         at 25; Public Interest Organizations Reply Comments at 13; SEIA Initial Comments at
         42.
                3173
                       Pro forma LGIP section 3.4.1; pro forma SGIP section 1.3.
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         not discovered until late in the interconnection process. In that instance, i.e., if model

         validation occurs at a point further into the interconnection process, inaccurate models

         that are used in interconnection studies could create errors in the studies, potentially

         leading to restudies and subsequent delays which would frustrate the efficiency gained by

         moving to a first-ready, first-served cluster study process. Further, we find that the

         definition of a validated model (i.e., confirmation that the equipment behavior is

         consistent with the modeled behavior) is sufficiently flexible to enable interconnection

         customers to provide such a model with their interconnection requests.3174 Moreover, the

         option for the interconnection customer to submit an attestation that the models

         accurately reflect the expected behavior of a proposed generating facility would be based

         in the interconnection customer’s best understanding at the time of the interconnection

         request, providing further flexibility if the interconnection customer chooses to change

         the equipment or control systems of the proposed generating facility, which is permitted

         as part of the interconnection process.

                In addition, we do not believe, as suggested by commenters,3175 that there is a need

         to require transmission providers to make available additional information and system

         data in order for an interconnection customer to develop an RMS model. Although

         measured transmission system information is an input into the RMS model, the purpose

         of the model is to represent the behavior of the facility itself, and the interconnection


                3174
                       Pro forma LGIP Attachment A to Appendix 1.
                3175
                       SEIA Initial Comments at 42; Tesla Initial Comments at 11.
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         customer should be able to use likely transmission system configurations to parameterize

         and validate the RMS model. To the extent that the interconnection customer believes

         that actual transmission data is required to tune the model block diagram, the scoping

         meeting provides a venue for such discussions. The provisions set forth in new pro

         forma LGIP section 3.4.6 further detail scoping meetings, which occur during the

         customer engagement window.

                We decline to adopt requirements that constrain the discretion of transmission

         providers to use either user-defined RMS models or generic library RMS models, as

         suggested by commenters.3176 We find that the transmission provider is in the best

         position to determine the power flow modeling method that is best suited to ensuring the

         reliability of its system.

                We decline to modify the NOPR proposal to allow the transmission provider to

         require either a user-defined RMS model or a generic library RMS model, as suggested

         by Clean Energy Associations, rather than requiring the interconnection customer to

         submit both, as adopted in this final rule.3177 We believe that requiring the

         interconnection customer to submit both models is of value in providing the transmission

         provider discretion to choose which model most accurately represents a given generating

         facility’s behavior. Providing these models does not represent an unreasonable burden on


                3176
                    Clean Energy Associations Initial Comments at 65-66; Eversource Initial
         Comments at 39; ISO-NE Initial Comments at 42-43; MISO Initial Comments at 125;
         SEIA Initial Comments at 43; Tesla Initial Comments at 11.
                3177
                       Clean Energy Associations Initial Comments at 65-66.
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         the interconnection customer, as the process of developing and parameterizing an RMS

         model is significantly simpler than doing so for an EMT model.

                We decline to require the user-defined RMS model to be compatible with the

         transmission provider’s software and meet the transmission provider’s MOD-032-1

         requirements at the time the interconnection request is submitted, as requested by

         MISO.3178 While the user-defined RMS model will have to meet these requirements prior

         to the cluster study for generating facilities seeking to interconnect pursuant to the pro

         forma LGIP and optional feasibility study or system impact study for generating facilities

         seeking to interconnect pursuant to the pro forma SGIP, the scoping meeting is the

         appropriate time to provide and discuss this information in order to correct the model if it

         is incompatible with the transmission provider’s software or otherwise causes the

         transmission system model to be unable to solve.3179

                We decline to require NERC to improve the degree to which power flow software

         vendors allow accurate modeling of IBR technology, as requested by Longroad

         Energy.3180 While we agree that improved accuracy of IBR modeling is beneficial, this

         rulemaking is focused on entities that execute, or request the unexecuted filing of, LGIAs


                3178
                       MISO Initial Comments at 125.
                3179
                    The scoping meeting is a meeting between representatives of the
         interconnection customer and transmission provider “to exchange information including
         any transmission data and earlier study evaluations that would be reasonably expected to
         affect such interconnection options,” and “to analyze such information.” Appendix C,
         pro forma LGIP section 1.
                3180
                       Longroad Energy Reply Comments at 20.
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         and SGIAs, and placing obligations on NERC or vendors is outside the scope of this

         proceeding. Equipment providers can develop and submit validated generic models to

         the software vendors’ model libraries or the WECC model validation process to be

         included in the WECC table of approved models, if they desire to do so.

                In response to commenters that argue that the Commission should provide further

         direction regarding model validation requirements for non-synchronous generating

         facilities,3181 we note that Attachment A to Appendix 1 of the pro forma LGIP and

         Attachment 2 of the pro forma SGIP, as adopted in this final rule, provide that, for a

         model to be “validated,” the interconnection customer must provide evidence that the

         equipment behavior is consistent with the model behavior. In addition, Attachment A to

         Appendix 1 of the pro forma LGIP and Attachment 2 of the pro forma SGIP provide that

         this can involve, for example, an attestation from the interconnection customer that the

         model accurately represents the entire generating facility, attestations from each

         equipment manufacturer that the user-defined model accurately represents the relevant

         component of the generating facility, or test data. We find that this definition of a

         “validated” model and examples of an attestation in the proposal are sufficient and

         provide flexibility to allow interconnection customers to provide such a model with their

         interconnection requests. Therefore, we decline to adopt alternative proposals for model

         validation put forth by commenters.


                3181
                    EPRI Initial Comments at 14-15; Clean Energy Associations Initial Comments
         at 66-67; NERC Initial Comments at 18-20; Ørsted Initial Comments at 16, 18; SDG&E
         Reply Comments at 3; Tesla Initial Comments at 10.
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                We decline to adopt alternatives and revisions to the table of acceptable generic

         library models based on the current WECC list of approved dynamic models for

         renewable energy generating facilities, as suggested by R Street and EPRI.3182 We find

         that the table, as adopted, is appropriate because it represents the full spectrum of

         modeling data that transmission providers need to perform accurate interconnection

         studies for non-synchronous generating facilities. Nevertheless, we recognize that the list

         of models approved by WECC is subject to change and note that the table provides that

         “a model otherwise approved by [WECC],”3183 and not reflected in the table, would also

         meet the model requirements.

                In response to commenters that oppose a requirement for a validated EMT

         model,3184 we note that these concerns mischaracterize the NOPR proposal as mandating

         EMT models on a national basis. Rather, Attachment A to Appendix 1 of the pro forma

         LGIP and Attachment 2 of the pro forma SGIP, as adopted, requires that, in

         circumstances where the transmission provider performs an EMT study as part of its

         interconnection study process, the interconnection customer must provide an EMT

         model. We find that the transmission provider is in the best position to determine

         whether an EMT study is necessary to ensure system reliability because the transmission


                3182
                       EPRI Initial Comments at 20; R Street Initial Comments at 17.
                3183
                       Pro forma LGIP, app. 1, attach. A; Pro forma SGIP, attach. 2.
                3184
                    AES Initial Comments at 26; Bonneville Initial Comments at 24; Invenergy
         Initial Comments at 57-58; Longroad Energy Reply Comments at 21; SEIA Initial
         Comments at 41-42.
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         provider has the in-depth knowledge of its transmission system required to recognize

         where and when regular dynamic modeling is inadequate to capture the true behavior of

         generating facilities.

                Similarly, we decline to adopt EPRI’s request to require EMT models regardless

         of whether the transmission provider performs an EMT study.3185 Developing an EMT

         model may place an unreasonable administrative burden on an interconnection customer

         in situations where such a model is not used by the transmission provider. We also

         decline to adopt EPRI’s request to allow use of an industry-accepted, generic EMT model

         instead of a validated EMT model, as the record does not indicate that any such industry-

         accepted, generic models currently exist.3186

                We decline Clean Energy Associations’ request that the Commission require

         submission of an EMT model one year before the scheduled commercial operation date

         of the non-synchronous generating facility if the transmission provider performs an EMT

         study as part of the interconnection study process.3187 As noted above, we find that the

         proposal for models to be submitted with the interconnection request is consistent with

         the principles behind other requirements in the pro forma LGIP and pro forma SGIP and

         that transmission providers need these models to perform interconnection studies and

         ensure that prospective generating facilities do not create reliability risks to the


                3185
                       EPRI Initial Comments at 19.
                3186
                       Id. at 15.
                3187
                       Clean Energy Associations Initial Comments at 68-69.
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         transmission system. In response to Clean Energy Associations’ request that the

         Commission require the transmission provider and its consultants to protect the EMT

         models and other information with the highest degree of confidentiality,3188 we note that

         the pro forma generator interconnection procedures and agreements include provisions

         for the treatment of confidential information.3189

                In response to Invenergy’s request for clarification regarding whether a generic

         EMT model may be provided if a validated EMT model is unavailable at the time of

         submission of an interconnection request,3190 we note that there is currently no industry-

         accepted generic EMT model; therefore, a validated EMT model is required. In response

         to Invenergy’s request for clarification regarding whether the interconnection customer

         may submit this information by the time of a cluster restudy if a validated EMT model is

         determined to be necessary, we clarify that a validated EMT model, if required by the

         transmission provider, must be submitted with the interconnection request to proceed in

         the interconnection study process. As validation can consist of, for example an

         attestation from the interconnection customer that the model accurately represents the

         entire generating facility, based on the interconnection customer’s understanding at the




                3188
                       Id. at 70.
                3189
                   See pro forma LGIP section 13.1; pro forma SGIP section 4.5; pro forma
         LGIA art. 22; pro forma SGIA art. 9.
                3190
                       Invenergy Initial Comments at 58.
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         time of submission, we believe an interconnection customer should be able to provide a

         validated EMT model at the time of the interconnection request.

                In response to APS’ request for clarification on the number of times an

         interconnection customer is allowed to provide inaccurate data and cure deficiencies

         before an interconnection request is deemed withdrawn,3191 we note that section 3.4.4 of

         the pro forma LGIP and section 1.3 of the pro forma SGIP provide the timeline for when

         a transmission provider must notify an interconnection customer that its interconnection

         request is deficient, and at that point, the interconnection customer has 10 business days

         to provide the additional requested information. We clarify that an interconnection

         customer has until the end of the 10 business-day period to cure deficiencies in its

         interconnection request. In the case of the pro forma LGIP, the interconnection customer

         may submit this information early in the cluster request window to ensure that there is

         sufficient time to address any issues with the interconnection request and the required

         models.

                In response to ClearPath’s question regarding whether a change in equipment that

         necessitates submitting updated models is considered a material modification,3192 we

         highlight that section 4.4 of the pro forma LGIP and section 1.4 of the pro forma SGIP

         set forth procedures for modifications to an interconnection request, including the

         evaluation of technical changes to a request. Further, we note that section 4.6 of the pro


                3191
                       APS Initial Comments at 24.
                3192
                       ClearPath Initial Comments at 10.
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         forma LGIP contains the transmission provider’s technological change procedure, which

         was designed to allow transmission providers to evaluate whether equipment changes to

         an interconnection request should trigger the material modification provisions. A change

         in equipment may also qualify under the transmission provider’s definition of permissible

         technological advancements in section 1 of the pro forma LGIP. This definition includes

         advancements that the interconnection process can accommodate without triggering the

         material modification provision of the pro forma LGIP.

                In response to Consumers Energy’s recommendation that there should be

         consistency between NERC Reliability Standards and data collection efforts and the

         Commission’s rulemaking,3193 we are not persuaded that there is a conflict or duplication

         between this final rule and NERC’s Reliability Standards and interconnection data

         collection efforts. NERC Reliability Standards apply only to entities that are registered

         with NERC. Many smaller non-synchronous generating facilities are currently excluded

         from NERC registration but interconnect under the pro forma SGIP and pro forma LGIP

         and execute, or request the unexecuted filing of, the pro forma SGIA or pro forma

         LGIA.3194 The revisions to the pro forma interconnection procedures and pro forma

         interconnection agreements require all new interconnection customers that interconnect

         under the pro forma interconnection procedures and pro forma interconnection

         agreements to adhere to the new modeling requirements, regardless of whether the new


                3193
                       Consumers Energy Initial Comments at 9.
                3194
                       NERC Initial Comments at 13-14.
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         interconnection customers must abide by the NERC Reliability Standards. We also note

         that NERC supports the proposed reforms.3195

                                    b.      Ride Through Requirements

                                            i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission preliminarily found that the pro forma LGIA and

         pro forma SGIA ride through provisions could result in undue discrimination and

         preferential treatment.3196 The Commission stated that, although synchronous and non-

         synchronous generating facilities are able to “ride through” system events and remain

         online and continue to provide real and reactive power following a disturbance, the

         existing pro forma LGIA and pro forma SGIA impose differing ride through

         requirements because they fail to account for a non-synchronous generating facility’s

         ability to engage in momentary cessation.3197 The Commission expressed concern that,

         given advances in inverter technology, the lack of performance requirements regarding

         the use of momentary cessation by non-synchronous generating facilities may not be

         supportable on either a technical or cost basis.3198

                The Commission proposed to require newly interconnecting non-synchronous

         generating facilities to continue current injection inside the “no trip zone” of the


                3195
                       Id. at 8-9, 18-20.
                3196
                       NOPR, 179 FERC ¶ 61,194 at P 320.
                3197
                       Id. PP 320-321.
                3198
                       Id. P 325.
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         frequency and voltage ride through curves of NERC Reliability Standard PRC-024-3 or

         its successor standards.3199 The Commission explained that the pro forma LGIA defined

         the term “ride through” as the ability of the large generating facility to stay connected to

         and synchronized with the transmission system during system disturbances within a range

         of under-frequency and over-frequency conditions. The Commission proposed to expand

         this definition to include the ability of the large generating facility to stay connected to

         and synchronized with the transmission system during system disturbances within under-

         voltage and over-voltage conditions.

                In addition, the Commission proposed to require any newly interconnecting non-

         synchronous generating facility to have the ability, during abnormal frequency conditions

         and voltage conditions within the “no trip zone” defined by NERC Reliability Standard

         PRC-024-3 or its successor standards, to maintain power production at pre-disturbance

         levels unless providing primary frequency response or fast frequency response, and to

         have the ability to provide dynamic reactive power to maintain system voltage in

         accordance with the generating facility’s voltage schedule.3200 The Commission sought

         comment on whether adherence to these proposed requirements would be readily




                3199
                    Id. P 336. The “no trip zone” is defined as a set of voltage and frequency no
         trip boundaries within which applicable protection and controls may not be set to cause
         the generating facility to trip or cease current injection. See PRC-024-3 —Frequency and
         Voltage Protection Settings for Generating Resources,
         https://www.nerc.com/pa/Stand/Reliability%20Standards/PRC-024-3.pdf.
                3200
                       NOPR, 179 FERC ¶ 61,194 at P 337.
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         achievable through changes to control settings and whether such changes to control

         settings could be made at a relatively minor cost.3201

                                       ii.   Comments

                                             (a)    Comments in Support

                Many commenters generally support the goal of the NOPR proposal.3202 CAISO

         asserts that the proposed reforms are essential for transmission providers to maintain

         reliability as non-synchronous generating facilities proliferate, and it urges the

         Commission to impose the proposed requirements on all interconnection customers that

         have not yet executed LGIAs as well as all prospective interconnection customers.3203

         CAISO argues that interconnection customers that have already procured certain inverters

         that cannot meet the requirements can request non-conforming LGIAs, or request that

         their LGIAs be filed unexecuted, but it notes that it recently implemented similar




                3201
                       Id. P 338.
                3202
                    AEP Initial Comments at 54; AES Initial Comments at 27; Ameren Initial
         Comments at 34; APPA-LPPC Initial Comments at 33; CAISO Initial Comments at 39-
         40; Consumers Energy Initial Comments at 9; NERC Initial Comments at 4, 23;
         Eversource Initial Comments at 38; Illinois Commission Initial Comments at 16; MISO
         TOs Initial Comments at 32-33; NARUC Initial Comments at 42; National Grid Initial
         Comments at 43-44; North Carolina Commission and Staff Initial Comments at 26-27;
         NRECA Initial Comments at 48; NYISO Initial Comments at 54; Ohio Commission
         Consumer Advocate Initial Comments at 17; PacifiCorp Initial Comments at 45; Pine
         Gate Initial Comments at 59; SPP Initial Comments at 28; U.S. Chamber of Commerce
         Initial Comments at 13.
                3203
                       CAISO Initial Comments at 39-40.
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         requirements, and interconnection customers have been able to procure the inverters and

         technology necessary to meet the requirements.

                                               (b)    Comments in Opposition

                Pine Gate asserts that the Commission should not incorporate requirements into

         the pro forma LGIP and pro forma SGIP that are already being addressed by NERC

         through the standards development process, which will add new requirements related to

         the vast majority of the modeling and performance issues identified in the NOPR.3204 In

         addition, Pine Gate notes that the pro forma LGIA and pro forma SGIA already require

         interconnection customers to remain compliant with the applicable reliability

         standards.3205

                                               (c)    Comments on Specific Proposal

                                                      (1)      IEEE Standards 2800 and 1547

                NERC and MISO support modifying the pro forma LGIP to incorporate elements

         of NERC Reliability Standards, NERC guidelines, and IEEE standards.3206 Specifically,

         MISO supports adopting IEEE Standard 2800-2022 by reference in the pro forma

         LGIA.3207 MISO asserts that implementing IEEE Standard 2800-2022 will ensure

         resource capabilities protect against the types of events described in several recent NERC


                3204
                       Pine Gate Initial Comments at 60.
                3205
                       Id. (citing pro forma LGIA art. 9.1).
                3206
                       NERC Initial Comments at 9; MISO Reply Comments at 26.
                3207
                       MISO Reply Comments at 25.
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         disturbance reports. NERC notes that the IEEE standards are inherently not mandatory

         unless a governing authority with jurisdiction adopts and enforces them and include many

         recommended practices that could be deemed informational.3208 Accordingly, NERC

         asserts that IEEE Standard 2800-2022 operates similar to NERC reliability guidelines,

         although IEEE Standard 2800-2022 is only available upon purchase.

               NERC recommends that the Commission explicitly integrate the requirements and

         recommendations from IEEE Standard 2800-2022 into the pro forma interconnection

         agreements.3209 Specifically, NERC contends that the Commission should prioritize the

         disturbance ride through, active power–frequency control, reactive power–voltage

         control, data sharing, and modeling provisions of IEEE Standard 2800-2022. However,

         NERC states that some transmission system conditions may require inverter control

         modes, settings, or protections that will not conform to IEEE Standard 2800-2022 region-

         wide expectations. NERC also argues that transmission providers should be permitted to

         establish additional performance requirements for specific locations and instances beyond

         region-wide requirements established under pro forma provisions, subject to transparency

         and public notice.

               Some commenters request that the Commission amend its proposal to reference

         IEEE Standard 2800 or successor standards for large generating facilities and IEEE




               3208
                      NERC Initial Comments at 3.
               3209
                      Id. at 6.
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         Standard 1547 for small generating facilities.3210 EPRI asserts that these standards have

         been developed through a rigorous process and provide for IBR performance that

         supports system reliability while providing sufficient flexibility for RTOs/ISOs and

         interconnection customers.3211 EPRI also notes that inverter manufacturers have publicly

         stated that state-of-the-art equipment already has the majority of the capabilities required

         by IEEE Standard 2800.

                EPRI argues that the Commission should consider narrowly specifying ride

         through requirements by reference to IEEE Standards 2800 and 1547; aligning all

         applicable definitions proposed in the NOPR with those standards; and evaluating the

         alignment of additional definitions or performance specifications with potential future

         revisions of those standards.3212 EPRI asserts that failing to do so could create undue

         technical barriers to IBRs, and that paraphrasing of IEEE standards, rather than directly

         referencing the standards’ requirements, could lead to an inconsistent implementation of

         the final rule in different regions with insufficient reliability benefits.3213




                3210
                   Clean Energy Associations Initial Comments at 73; EPRI Initial Comments at
         5; SEIA Initial Comments at 43 (citing Generator Interconnection Workshop Summary at
         20).
                3211
                       EPRI Initial Comments at 5.
                3212
                       Id.
                3213
                       Id. at 5-6.
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               EPRI asserts that, if the Commission specifies its own ride through performance

         requirements, an alternative but less preferred approach would be to use the precise

         language and definitions as published in IEEE Standards 2800 and 1547.3214

               EPRI argues that the NOPR proposal does not seem entirely aligned with the

         NERC IBR guidelines and is not as clear as the applicable industry standards like IEEE

         Standard 2800-2022.3215 EPRI also asserts that the Commission should consider what it

         characterizes as significant improvements in IEEE Standard 2800 over the NERC

         reliability guidelines. EPRI contends that the NERC IBR reliability guidelines cited in

         the NOPR did not fully consider all technical and stakeholder concerns considered by

         IEEE Standard 2800 and are therefore in contravention of the IEEE Standard 2800-2022

         consensus requirements.3216

               SEIA states that IBRs are currently capable of riding through disturbances and that

         many developers have implemented controls to ensure they do so following the release of

         the consensus-based IEEE standards.3217 SEIA argues that incorporating IEEE Standard

         2800 into the pro forma LGIA would bring some certainty in generating facility design




               3214
                      Id. at 6.
               3215
                      Id. at 9.
               3216
                      Id. at 3.
               3217
                      SEIA Initial Comments at 43.
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         because the reliability requirements for each generating facility would be known at the

         time of the interconnection request.3218

                                                    (2)    Feasibility of NOPR Proposal

                Some commenters argue that the proposed requirement in the NOPR “to maintain

         power production at pre-disturbance levels unless providing primary frequency response

         or fast frequency response” is not feasible.3219 Invenergy asserts that, in order to increase

         reactive power output to maintain system voltage, a generator would necessarily have to

         reduce real power output: therefore, Invenergy requests that the NOPR proposal be

         revised to clarify this potential inconsistency.3220 Clean Energy Associations and Public

         Interest Organizations contend that a requirement to maintain active power injection at

         pre-disturbance levels would lead to an undesirable response from generating facilities

         during a grid disturbance that could lead to voltage collapse, and the more helpful

         response would be to shift some power output to prioritize reactive power.3221

                Southern suggests adding a sentence to article 9.7.3 in the pro forma LGIA to

         address circumstances under which the generating facility is unable to maintain active


                3218
                       Id. at 44.
                3219
                    CAISO Initial Comments at 40; Clean Energy Associations Initial Comments
         at 71-72; NERC at 4; EPRI Initial Comments at 10; Invenergy Initial Comments at 58;
         Ørsted Initial Comments at 19-20; Public Interest Organizations Reply Comments at 14;
         Southern Initial Comments at 34.
                3220
                       Invenergy Initial Comments at 58.
                3221
                   Clean Energy Associations Initial Comments at 71-72; Public Interest
         Organizations Reply Comments at 14.
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         power while delivering reactive power.3222 Clean Energy Associations suggest that the

         Commission replace the requirement to maintain active power production with language

         from NERC Reliability Standard PRC-024-3, which requires current injection and not

         active power injection to continue at pre-disturbance levels.3223 Alternatively, Clean

         Energy Associations and Invenergy suggest the proposed language could be made more

         workable by only requiring a return to the pre-disturbance level of power production

         following voltage recovery, subject to the energy availability of the resource, which

         Clean Energy Associations explains would allow a generator to correctly shift from

         active power to reactive power during the voltage disturbance.3224

                CAISO requests that the Commission not require that inverters be able to provide

         real power during a transitory disturbance.3225 CAISO states that, unlike synchronous

         generating facilities, IBRs are current limited and generally operate at their maximum

         output. CAISO argues that maintaining real power output at pre-disturbance levels

         would likely inhibit a non-synchronous generating facility’s ability to provide reactive

         power during a disturbance, and to help ensure reliability CAISO recommends removing




                3222
                     Southern Initial Comments at 34 (suggesting the addition of the following
         sentence: “If the plant cannot maintain active power while delivering reactive power due
         to its current or apparent power limitation, then the preference should be given to either
         active or reactive power as specified by the Transmission Provider.”).
                3223
                       Clean Energy Associations Initial Comments at 76.
                3224
                       Id. at 76-77; Invenergy Initial Comments at 58.
                3225
                       CAISO Initial Comments at 40.
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         the real power requirements and requiring non-synchronous generating facilities to

         provide reactive power at pre-disturbance levels. EPRI agrees that maintaining active

         power at the pre-disturbance levels during and after the abnormal voltage period may not

         be practical, given that voltage disturbances tend to be limited to a region relatively close

         to the fault location, and is not aligned with IEEE Standard 2800-2022 or other

         international requirements.3226 EPRI and NERC recommend that IBR plant performance

         requirements should address active and/or reactive current during an abnormal voltage

         condition and requirements for the restoration of active power output in the post-fault

         period.3227

                EPRI argues that the implementation of frequency and voltage protection relay

         settings should not be exactly aligned with the NERC Reliability Standard PRC-024

         curves but rather be based on the actual limits of equipment capability, with the objective

         to avoid potential damages.3228

                Ørsted argues that it is not possible to maintain real power production with

         depressed voltage that is still within the no trip zone of NERC Reliability Standard

         PRC-024-3, and explains that prioritizing reactive current during fault ride through mode

         (even within the no trip zone) is instrumental to maintain reliability.3229 Ørsted


                3226
                       EPRI Initial Comments at 10.
                3227
                       Id. at 9-10; NERC Reply Comments at 4.
                3228
                       EPRI Initial Comments at 12.
                3229
                       Ørsted Initial Comments at 19-20.
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         recommends replacing the reference to good utility practice in proposed article 9.7.3 of

         the pro forma LGIA and instead rely on Order No. 842 and its definition of “Bulk-Power

         System – Primary Frequency Response.”3230

                NERC notes that conventional grid-following IBRs are current-limited devices,

         and their active power output is voltage-dependent, making maintaining 100% of pre-

         disturbance active power while providing reactive power to support the bulk-power

         system during the fault period not always feasible.3231 NERC recommends referring to

         “controls that maintain pre-disturbance active current (Ip)” in addition to the provision of

         reactive current (Iq) (i.e., reactive power support) rather than referring to “power.”3232

                                                    (3)    Applicability to All Types of

                                                           Generating Facilities

                Invenergy asserts that the NOPR proposal should go beyond the pro forma

         LGIA’s current requirements and apply evenly to all generating facilities, not just non-

         synchronous generating facilities.3233 Similarly, Clean Energy Associations assert that

         the Commission currently only requires that relay settings not trip a generating facility

         during a voltage or frequency excursion and that there is no actual performance standard


                3230
                   Id. at 20 (referring to Essential Reliability Servs. & the Evolving Bulk-Power
         Sys. Primary Frequency Response, Order No. 842, 83 FR 9639 (Mar. 6, 2018),
         162 FERC ¶ 61,128, order on clarification and reh’g, 164 FERC ¶ 61,135 (2018)).
                3231
                       NERC Reply Comments at 4.
                3232
                       Id.
                3233
                       Invenergy Initial Comments at 58.
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         to ride through a disturbance for synchronous generating facilities.3234 Clean Energy

         Associations assert that, to prevent undue discrimination, the Commission should either

         proceed with a similar effort to require ride through performance from synchronous

         generating facilities; or allow ride through performance exceptions for non-synchronous

         generating facility trips caused by auxiliary equipment performance, which are a primary

         cause of ride through failure for both synchronous and non-synchronous generating

         facilities.

                 EPRI states that article 9.7.3 of the pro forma LGIA could benefit from additional

         modifications that differentiate between the ride through requirements for synchronous

         and non-synchronous large generating facilities because the two technologies have

         inherently different technical capabilities and operating principles.3235

                 Ørsted urges the Commission to take note of the differences between technologies

         regarding their ability to ride through transmission system faults.3236 For example, Ørsted

         states that it uses a plant controller for wind turbines that is frozen in fault ride through

         mode and that controls aiding voltage recovery are performed by individual turbines until

         voltage profile is back within a normal operating band of 90–110% of rated voltage.

         Ørsted concludes that not all non-synchronous generating facilities are subject to the




                 3234
                        Clean Energy Associations Initial Comments at 77.
                 3235
                        EPRI Initial Comments at 11.
                 3236
                        Ørsted Initial Comments at 16.
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         types of operating and power production concerns highlighted by the Commission in the

         NOPR.

                                                     (4)    Proposed Revisions to the Pro Forma

                                                            LGIA

                Ørsted asserts that interconnection customers can only “ensure” ride through

         capability of the generating and interconnection facilities per the definition in article 1 in

         the pro forma LGIA. Ørsted contends that the Commission’s use of the term

         “transmission system” in article 9.7.3 of the pro forma LGIA is unclear in this context,

         and thus Ørsted alleges that it will be difficult to demonstrate compliance. Accordingly,

         Ørsted urges the Commission to use the term “generation and interconnection facilities”

         instead of “transmission system” in article 9.7.3 of the pro forma LGIA.3237

                Ørsted states that, in case of severe voltage dip, IBRs may freeze in phase locked

         loop, essentially holding the calculated angle of the external voltage at a certain value.3238

         Ørsted argues that this makes IBR units not strictly synchronized with the transmission

         system during this period.3239 Accordingly, Ørsted asks the Commission to remove the

         phrase “stay synchronized” from article 9.7.3 of the pro forma LGIA.




                3237
                       Id. at 18-19.
                3238
                    A “phase locked loop” is a circuit that synchronizes an output signal with a
         reference or input signal in frequency as well as phase. Roland E. Best, Phase-Locked
         Loops: Design, Simulation and Applications, at 1 (6th ed. McGraw-Hill 2007).
                3239
                       Ørsted Initial Comments at 19.
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                                             (d)    Requests for Clarification and Miscellaneous

                NV Energy questions the ramifications of non-synchronous generating facilities

         failing to maintain a composite power delivery at continuous rated power output at the

         high side of the generator substation at a power factor within the range of 0.95 leading to

         0.95 lagging.3240 NV Energy suggests in this circumstance the non-synchronous

         generating facilities make a payment for failing to maintain the tariff-required composite

         power delivery. NV Energy notes that there is a pending reactive power rulemaking and

         inquires whether the industry should assume that payments for reactive power will be

         addressed in that rulemaking.

                Eversource requests that the Commission clarify that transmission providers may

         include additional performance requirements in the LGIA appendices for non-

         synchronous generating facilities that are necessary to ensure reliable interconnection in a

         given area, such as harmonics or radio frequency interference.3241

                Invenergy asserts that the Commission should not rely entirely on ride through and

         other burdens on interconnection customers to address larger transmission system issues

         that should be addressed through regional transmission planning processes.3242

                EPRI states that addressing how to apply grandfathering to existing facilities is an

         important consideration that should be addressed through Commission/NERC


                3240
                       NV Energy Initial Comments at 8.
                3241
                       Eversource Initial Comments at 38-39.
                3242
                       Invenergy Initial Comments at 59.
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         requirements. EPRI suggests that the Commission could add a procedure and criteria for

         a transmission provider to waive the grandfathering rule and require retrofits of existing

         facilities at the time of plant changes, or upgrades to meet the specified performance and

         modelling requirements, or to meet specific capability and performance standards such as

         IEEE Standard 2800-2022.3243

                                      iii.   Commission Determination

                We adopt, with modifications, the NOPR proposal to revise article 9.7.3 of the pro

         forma LGIA and article 1.5.7 of the pro forma SGIA to establish ride through

         requirements during abnormal frequency conditions and voltage conditions within the

         “no trip zone” defined by NERC Reliability Standard PRC-024-3 or successor mandatory

         ride through reliability standards, as set forth in the modified pro forma LGIA language

         discussed below. We modify the proposed requirements to acknowledge the physical

         limitations of newly interconnecting non-synchronous generating facilities. In the

         NOPR, the Commission stated that compliance with the NOPR proposal would be largely

         a control settings issue and may not be costly. We are persuaded by comments that

         contend that compliance with the NOPR proposal would be infeasible for certain types of

         inverters and non-synchronous generating facilities, and thus make modifications to

         address these concerns.

                Based on the record, we affirm the Commission’s preliminary finding in the

         NOPR that the pro forma LGIA and pro forma SGIA fail to account for a non-


                3243
                       EPRI Initial Comments at 21-22.
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         synchronous generating facility’s ability to engage in momentary cessation. We note that

         the physical characteristics of synchronous generating facilities result in such facilities

         continuing to inject electric current during transmission system disturbances, consistent

         with the existing requirements to remain “connected to and synchronized with the

         [t]ransmission [s]ystem” as required by the pro forma LGIA and pro forma SGIA. As a

         result of these requirements, synchronous generating facilities continue to inject current

         during such disturbances, such that services provided supporting transmission system

         reliability are not disrupted during such events. However, the existing pro forma LGIA

         and pro forma SGIA do not currently require non-synchronous generating facilities to be

         capable of continuing to inject current in a manner comparable to synchronous generating

         facilities during system disturbances. As a result, non-synchronous generating facilities

         often cease injecting current during transmission system disturbances through

         “momentary cessation.” We agree with commenters that such behavior by non-

         synchronous generating facilities can pose significant risk to the reliability of the bulk-

         power system, as documented in several reports and NERC-issued alerts.3244

                Moreover, without requirements for non-synchronous generating facilities to

         remain connected to and synchronized with the transmission system, and not to engage in


                3244
                     NERC Initial Comments at 9, 11 (citing NOPR, 179 FERC ¶ 61,194 at P 313
         n.433 (citing San Fernando Disturbance, at vi (Nov. 2020),
         https://www.nerc.com/pa/rrm/ea/Documents/San_Fernando_Disturbance_Report.pdf;
         NERC and CAISO, Multiple Solar PV Disturbances in CAISO (Apr. 2022),
         https://www.nerc.com/pa/rrm/ea/Documents/NERC_2021_California_Solar_PV_Disturb
         ances_Report.pdf; NERC, Odessa Disturbance (Sept. 2021)
         https://www.nerc.com/pa/rrm/ea/Documents/Odessa_Disturbance_Report.pdf)).
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         momentary cessation, interconnection studies may not be able to accurately model

         expected behavior and identify the appropriate interconnection facilities and network

         upgrades to accommodate the interconnection request, resulting in an inaccurate

         assignment of interconnection costs. As a result, we find that the lack of comparable

         requirements for non-synchronous generating facilities to have the capability to remain

         “connected to and synchronized with the [t]ransmission [s]ystem” in the pro forma LGIA

         and pro forma SGIA results in rates that are unjust, unreasonable, and unduly

         discriminatory or preferential.

                While a number of commenters object to the specific provisions proposed in the

         NOPR to resolve this issue, addressed further below, no commenter disagrees that there

         is a lack of requirements in the pro forma LGIA and pro forma SGIA regarding the use

         of momentary cessation by non-synchronous generating facilities. Moreover, no

         commenter disputes the technical ability of non-synchronous generating facilities to

         continue to inject current during transmission system disturbances.

                Specifically, we require that during abnormal frequency conditions and voltage

         conditions within the “no trip zone” defined by NERC Reliability Standard PRC-024-3 or

         successor mandatory ride through reliability standards, the non-synchronous generating

         facility must ensure that, within any physical limitations of the generating facility, its

         control and protection settings are configured or set to: (1) continue active power

         production during disturbance and post disturbance periods at pre-disturbance levels
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         unless providing primary frequency response or fast frequency response;3245 (2) minimize

         reductions in active power and remain within dynamic voltage and current limits, if

         reactive power priority mode is enabled, unless providing primary frequency response or

         fast frequency response; (3) not artificially limit dynamic reactive power capability

         during disturbances; and (4) return to pre-disturbance active power levels without

         artificial ramp rate limits if active power is reduced, unless providing primary frequency

         response or fast frequency response.

                In comparison to the NOPR proposal, this language, as adopted, provides non-

         synchronous generating facilities, within any physical limitations of the generating

         facility, the ability to reduce active power production in order to prioritize reactive power

         output in support of transmission system voltage.3246 This language also recognizes that

         such facilities may not be able to ride through disturbances with the same performance as

         synchronous generating facilities without costly equipment modification. However, this

         language requires non-synchronous generating facilities, within any physical limitations

         of the generating facility, to configure or set their facilities to ride through disturbances


                3245
                     Fast frequency response is defined as power injected to (or absorbed from) the
         grid in response to changes in measured or observed frequency during the arresting phase
         of a frequency excursion event to improve the frequency nadir or initial rate-of-change of
         frequency. See Fast Frequency Response Concepts and Bulk Power System Reliability
         Needs,
         https://www.nerc.com/comm/PC/InverterBased%20Resource%20Performance%20Task
         %20Force%20IRPT/Fast_Frequency_Response_Concepts_and_BPS_Reliability_Needs_
         White_Paper.pdf at 7.
                3246
                     “Active power” as used here and “real power” as used in the NOPR proposal
         refer to the same concept: power than can be used by load in order to perform work.
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         and continue to support system reliability. This language is consistent with suggestions

         by a number of commenters that the final rule recognize that non-synchronous generating

         facilities cannot provide both real and reactive power at pre-disturbance levels during a

         disturbance,3247 allow for the prioritization of reactive power,3248 and address restoration

         of active power output in the post-fault period.3249

                The adopted language requires non-synchronous generating facilities, within any

         physical limitations of the generating facility, to configure or set their facilities to be able

         to ride through disturbances and continuing to support system reliability. Specifically,

         while grid-forming inverters are available, they are not widely commercially deployed

         due to lack of experience, cost, or other factors.3250 Given the existing technical

         capabilities of non-synchronous generating facilities, we agree with commenters that the

         NOPR proposal requiring active power to be maintained at pre-disturbance levels during

         a system disturbance in all instances may not be feasible, or preferrable from a reliability


                3247
                    CAISO Initial Comments at 40; Clean Energy Associations Initial Comments
         at 71-72; NERC at 4; EPRI Initial Comments at 10; Invenergy Initial Comments at 58;
         Ørsted Initial Comments at 19-20; Public Interest Organizations Reply Comments at 14;
         Southern Initial Comments at 34.
                3248
                   Clean Energy Associations Initial Comments at 71-72; Public Interest
         Organizations Reply Comments at 14; Ørsted Initial Comments at 19-20.
                3249
                   EPRI Initial Comments at 9-10; NERC Reply Comments at 4; Clean Energy
         Associations Initial Comments at 76-77; Invenergy Initial Comments at 58.
                3250
                    A grid-forming inverter is an inverter that is capable of synthesizing voltage
         and frequency without an external reference. See, e.g., Abraham Ellis, Grid Forming
         Inverters: Requirements and Practical Applications, at 4 (May 1, 2019)
         https://www.osti.gov/servlets/purl/1639991.
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         perspective. For example, we agree there may be instances where the injection of

         reactive power should be prioritized to maintain reliability during a system disturbance,

         which may require non-synchronous generating facilities to temporarily reduce their

         injection of active power.3251 As a result, we adopt a modified NOPR proposal to

         accommodate existing technical capabilities and physical limitations of non-synchronous

         generating facilities, by providing for reductions in active power to prioritize reactive

         power while prohibiting non-synchronous generating facilities from configuring or

         setting their control and protection settings to effectively artificially limit such resources

         below their actual capability.

                We also adopt the NOPR proposal to revise article 9.7.3 of the pro forma LGIA to

         include in the definition of “ride through” the ability of the large generating facility to

         stay connected to and synchronized with the transmission system during system

         disturbances within under-voltage and over-voltage conditions. This revision ensures

         that large generating facilities are capable of remaining connected to and synchronized

         with the transmission system, consistent with the other ride through requirements adopted

         here and similar requirements in the pro forma SGIA.

                Some commenters request that the Commission either incorporate IEEE Standard

         2800-2022 by reference, or explicitly incorporate this standard’s performance

         requirements into the pro forma LGIA. Although we acknowledge the value of IEEE

         2800-2022, we decline to incorporate it by reference. IEEE 2800-2022 was developed


                3251
                       NERC Initial Comments at 23; CAISO Initial Comments at 40.
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         for a different purpose; it is a voluntary guideline that uses discretionary terms (e.g.,

         “may,” “should,” “can,” or “upon agreement”). It is unclear whether IEEE 2800-2022

         would adequately address the problem identified by the Commission because the

         Commission would have limited authority to enforce these discretionary provisions.

                Invenergy and Clean Energy Associations assert that the Commission should

         impose similar ride through requirements on synchronous generating facilities.

         Alternatively, Clean Energy Associations assert that, to prevent undue discrimination, the

         Commission should allow ride through performance exceptions for non-synchronous

         generating facility trips caused by auxiliary equipment performance, which are a primary

         cause of ride through failure for both synchronous and non-synchronous generating

         facilities. We do not believe that imposing similar ride through requirements on

         synchronous generating facilities is necessary because the physical characteristics of

         synchronous generating facilities result in such facilities continuing to inject electric

         current during transmission system disturbances, i.e., do not allow for momentary

         cessation.

                We also decline to grant Clean Energy Associations’ alternative request because

         we find that a ride through exception for non-synchronous generating facility trips caused

         by auxiliary equipment performance is not needed. As NERC has noted, protection on

         auxiliary equipment for non-synchronous resources, other than the generator-connected

         unit auxiliary transformer, is already exempted from the requirements of NERC

         Reliability Standard PRC-024-3 specifically because protection for such auxiliary
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         equipment does not cause a resource to trip or cease injecting current.3252 We do not

         believe that auxiliary equipment performance is considered a physical limitation of a non-

         synchronous generating facility such that control and protection settings can be

         configured or set to reduce active power production during disturbances, and therefore no

         exception is needed.

                Pine Gate asserts that the Commission should not adopt requirements to the pro

         forma LGIP and pro forma SGIP that are already being addressed by NERC through the

         standards development process. We disagree because adding such provisions to the pro

         forma LGIA and pro forma SGIA will require all newly interconnecting generating

         facilities to abide by such provisions regardless of whether such newly interconnecting

         generating facilities are outside the bounds of NERC’s jurisdiction. As such, we find that

         this modified reform can holistically address the identified issues alongside the NERC

         standards.

                NV Energy raises questions about the ramifications of non-synchronous

         generating facilities failing to maintain reactive power and whether the Commission is

         proposing any changes to reactive power compensation. We clarify that the Commission

         is not proposing changes to reactive power compensation in this proceeding.

                Invenergy argues that the Commission should not rely entirely on ride through

         requirements and other burdens on interconnection customers to address larger


                3252
                   Petition of the North American Reliability Corporation for Approval of
         Proposed Reliability Standard PRC-024-3, Docket No. RD20-7, at 12 (filed Mar. 20,
         2020).
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         transmission system issues that should be addressed through regional transmission

         planning processes. The need to establish interconnection requirements for generating

         facilities to “remain connected to and synchronized with the [t]ransmission [s]ystem”

         during system disturbances is properly addressed in this proceeding that deals with

         reforming the interconnection processes for newly interconnecting generating facilities.

         Regarding Invenergy’s arguments that larger transmission system issues need to be

         addressed in the regional transmission planning processes, we note that while reforms to

         regional transmission planning are outside the scope of this proceeding, the Commission

         is considering addressing regional transmission planning and cost allocation in another

         pending proceeding.3253

                EPRI argues that the grandfathering of existing non-synchronous generating

         facilities is an important consideration that should be addressed through Commission and

         NERC requirements and suggests that the Commission could add a procedure and criteria

         for a transmission provider to waive the grandfathering rule and require retrofits of

         existing non-synchronous generating facilities at the time of plant changes or require

         upgrades to meet the specified performance and modeling requirements. We decline to

         add the requested procedure. The final rule changes to the pro forma LGIA and pro

         forma SGIA adopted herein apply prospectively to interconnection customers that

         execute, or request the unexecuted filing of, an LGIA after the Commission-approved



                3253
                       See Transmission Planning and Cost Allocation NOPR, 179 FERC ¶ 61,028
         (2022).
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         effective date of the transmission provider’s filing in compliance with this final rule.

         Both the NOPR proposal and the adopted language were intended to be achieved through

         changes to control settings at minimal cost for current inverter technology; it did not

         contemplate imposing potentially significant retrofit or equipment costs on existing non-

         synchronous generating facilities.3254

                 Ørsted requests clarification on how the NOPR proposal will affect a plant

         controller for wind turbines that is frozen in fault ride through mode and control actions

         aiding voltage recovery are performed by individual turbines until the voltage profile

         returns to the normal operating band of 90-110% of rated voltage. We note that the

         reforms, as adopted, apply to a non-synchronous generating facility as a whole, rather

         than to any individual component within the facility. As long as the non-synchronous

         generating facility as a whole meets the ride through requirements, it does not matter

         which part of the facility is controlling the generating facility’s output.

                 Ørsted also notes that non-synchronous generating facilities may freeze in phase

         locked loop during disturbances, making them not strictly synchronized with the

         transmission system. Ørsted asks the Commission to remove the phrase “stay

         synchronized” from article 9.7.3 of the pro forma LGIA. We decline to do so because

         the NOPR did not propose to revise this phrase and this final rule establishes the specific

         ride through requirements for newly interconnecting non-synchronous generating

         facilities.


                 3254
                        NOPR, 179 FERC ¶ 61,194 at P 325.
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                Ørsted recommends that instead of references in this clause to “good utility

         practice,” the Commission should instead rely on Order No. 842 and its definition of

         “Bulk-Power System – Primary Frequency Response.” This comment refers to language

         not subject to the Commission’s proposed revisions and is therefore outside the scope of

         this rulemaking proceeding. We also note that “Bulk-Power System – Primary

         Frequency Response” refers to the title of Order No. 842, and not any definition within.

                                    c.      Applicability of Ride Through Requirements

                                            i.    Need for Reform and NOPR Proposal

                In the NOPR, the Commission noted that generating facilities interconnecting

         under the pro forma LGIA that are subject to reliability standards are required to ride

         through frequency and voltage disturbance events, while generating facilities that are not

         already subject to reliability standards are not, despite the fact that all generating facilities

         newly interconnecting under the pro forma LGIA are technically capable of riding

         through disturbances.3255 The Commission explained that there is an existing gap in the

         applicability of ride through requirements for large generating facilities with a capacity

         above 20 MW and with a gross plant/facility aggregate nameplate rating of 75 MVA or

         less.3256 The Commission preliminarily found that the pro forma LGIA requirements

         could result in unduly discriminatory or preferential treatment due to this gap in the




                3255
                       NOPR, 179 FERC ¶ 61,194 at P 326.
                3256
                       Id. P 340.
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         applicability of ride through performance requirements to similarly situated generating

         facilities.

                 The Commission proposed to revise the pro forma LGIA to require that all newly

         interconnecting large generating facilities provide ride through capability consistent with

         any standards and guidelines that are applied to other generating facilities in the

         balancing authority area on a comparable basis.3257 The Commission noted that the

         proposed reform is consistent with existing language in article 1.5.7 of the pro forma

         SGIA that requires newly interconnecting small generating facilities to ride through

         abnormal frequency and voltage events and not disconnect during such events.

                 In addition to the substantive changes, the Commission proposed to replace the

         term “applicable reliability council” with “electric reliability organization,” and replace

         the term “control area” with “balancing authority area” throughout the pro forma LGIP

         and pro forma LGIA. The Commission explained that these proposed replacements

         reflect updated terminology.3258

                                        ii.   Comments

                 Several commenters support the NOPR proposal.3259 Enel notes that the

         Commission’s proposed definition of “electric reliability organization” includes NERC,



                 3257
                        Id.
                 3258
                        Id. P 341.
                 3259
                    Ameren Initial Comments at 34; APPA-LPPC Initial Comments at 33; CAISO
         Initial Comments at 39-40.
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         but it does not include the applicable regional entity, which Enel asserts should be

         included because the regional entity may have approved the regional reliability

         standards.3260

                                       iii.   Commission Determination

                We adopt the NOPR proposal to revise the pro forma LGIA to require that all

         newly interconnecting large generating facilities provide frequency and voltage ride

         through capability consistent with any standards and guidelines that are applied to other

         generating facilities in the balancing authority area on a comparable basis. Adopting this

         reform enables the Commission to address an existing gap in the applicability of ride

         through requirements for large generating facilities with a capacity above 20 MW and

         with a gross plant/facility aggregate nameplate rating 75 MVA or less.

                Based on the record before us, we confirm the Commission’s preliminary finding

         in the NOPR that the pro forma LGIP is unduly discriminatory or preferential insofar as

         generating facilities that are not already subject to reliability standards are not required to

         ride through frequency and voltage disturbance events, despite being technically capable

         of doing so. We note that no commenter opposes this reform.

                We also adopt the NOPR proposal to replace the term “applicable reliability

         council” with “electric reliability organization,” and the term “control area” with

         “balancing authority area,” throughout the pro forma LGIP and pro forma LGIA. In

         response to Enel’s concerns, we note that, while regional reliability standards may be


                3260
                       Enel Initial Comments at 81.
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         developed by the applicable regional entity, the Commission has found that regional

         reliability standards are considered part of the electric reliability organization’s set of

         reliability standards and are therefore covered under the proposed definition.3261

                D.       Issues Beyond the Scope of this Rulemaking

                         1.     Comments

                Multiple commenters ask the Commission to consider additional information or

         interconnection reforms not specifically raised in the NOPR. For example, some

         commenters address foundational issues such as generator retirement and/or replacement

         processes;3262 the application of generator interconnection standards to merchant

         transmission and HVDC projects;3263 conducting a root-cause investigation of

         interconnection queue delays to identify and address key barriers to bringing new

         generating facilities online;3264 initiating a technical conference to identify additional

         reforms to meet present and future challenges;3265 establishing a process to provide access

         to transmission data to third-party businesses;3266 introduction of competition into the



                3261
                 Order No. 672, 114 FERC ¶ 61,104, at P 296, order on reh’g, Order No. 672-A,
         114 FERC ¶ 61,328.
                3262
                  AEP Initial Comments at 43-44; Elevate Initial Comments at 3-7, 8-11; Illinois
         Commission Initial Comments at 11; New York State Department Reply Comments at 4.
                3263
                       Invenergy Initial Comments at 64-65.
                3264
                       Equinor Wind Reply Comments at 7.
                3265
                       Pine Gate Reply Comments at 5.
                3266
                       Tesla Initial Comments at 6, 8.
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         interconnection process or construction of network upgrades;3267 the introduction of

         project prioritization to allocate scarce interconnection access;3268 changes to operational

         practices to reduce network upgrade requirements;3269 and issues particular to different

         regions or transmission providers.3270

                Other commenters seek changes to tariff language such as additional reforms

         specific to small generating facilities and the small generator interconnection process;3271

         explicitly stating that interconnection terms may be subject to remedial waiver upon

         appropriate Commission action;3272 requiring detailed information be made available

         concerning either transmission congestion on transmission providers’ systems or

         technical information associated with a particular point of interconnection;3273

         clarifications to the interconnection service types (i.e., energy-only or network



                3267
                       Enel Initial Comments at 5, 52-56; Shell Reply Comments at 5-18.
                3268
                 Arizona Commission Initial Comments at 1; Colorado Commission Initial
         Comments at 9.
                3269
                       Clean Energy Associations Initial Comments at 64.
                3270
                    Avangrid Initial Comments at 24-25; New York State Department Initial
         Comments at 10; PJM Part 1 Reply Comments at 1; Roy J Shanker Initial Comments
         at 2-7; Roy J Shanker Reply Comments at 3-9; Southern Reply Comments at 8-9.
                3271
                    Bonneville Initial Comments at 25; EPRI Initial Comments at 24-38;
         Hydropower Commenters Initial Comments at 10-11; IREC Initial Comments at 2-3;
         R Street Initial Comments at 9; and Xcel Initial Comments at 19.
                3272
                       OSPA Reply Comments at 14.
                3273
                       CREA and NewSun Initial Comments at 21-22; Ørsted Initial Comments at 5-
         6.
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         resource);3274 replacing power flow studies with security constrained economic dispatch

         analysis for energy-only service studies;3275 the three-year suspension option in the pro

         forma LGIA;3276 and additional pro forma LGIA language on termination and breach.3277

                Several commenters focus on process-specific reforms, such as automation of the

         interconnection queue process to ease delays;3278 aligning the interconnection queue and

         the project development processes;3279 interconnection study issues such as staffing to

         conduct studies and study criteria and scope;3280 additional transparency from

         transmission providers on the interconnection study process, such as online

         interconnection queue tracking and performance metrics;3281 and whether to implement




                3274
                     Enel Initial Comments at 27-28; North Dakota Commission Initial Comments
         at 7; R Street Initial Comments at 7; Tri-State Initial Comments at 26; Xcel Initial
         Comments at 16.
                3275
                       Enel Initial Comments at 73-75.
                3276
                       El Paso Electric Initial Comments at 4-5.
                3277
                       Tri-State Initial Comments at 34-35.
                3278
                       CESA Initial Comments at 5; NextEra Initial Comments at 2.
                3279
                       Enel Initial Comments at 2-4.
                3280
                   Affected Interconnection Customers Initial Comments at 14-15; Clean Energy
         Associations Initial Comments at 27; CREA and NewSun Initial Comments at 21-22;
         Cypress Creek Initial Comments at 3-8; New York State Department Initial Comments at
         3.
                3281
                       Public Interest Organizations Initial Comments at 23-25.
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         an independent transmission monitor or allow third parties to conduct interconnection

         studies to reduce interconnection queue backlogs.3282

                Some commenters focus on network upgrade cost issues, in particular the

         participant funding model currently in place in certain RTOs/ISOs;3283 minimum

         thresholds for identifying network upgrades;3284 a self-build option for stand-alone

         facilities;3285 and the “good faith” standard applied to cost and timeline estimates for

         network upgrades and related transmission facilities.3286

                Commenters raising resource-specific concerns address the interconnection of

         qualifying facilities;3287 challenges specific to the hydropower industry, including

         modifications to the readiness standard and site control requirements;3288 steps to promote




                3282
                 Dominion Reply Comments at 22-24; EPSA Initial Comments at 13-14;
         SDG&E Reply Comments at 2; Southern Reply Comments at 6-7; ACORE Initial
         Comments at 5.
                3283
                   ACORE Initial Comments at 8; CREA and NewSun Initial Comments at 93-
         104; NextEra Reply Comments at 3, 16; North Carolina Commission and Staff Initial
         Comments at 2-16; OSPA Reply Comments at 4-7; Public Interest Organizations Reply
         Comments at 13-14; Senators Hickenlooper and King Initial Comments at 1-2.
                3284
                       Enel Initial Comments at 2-4.
                3285
                    CESA Initial Comments at 16-17; EEI Reply Comments at 14-15; Interwest
         Initial Comments at 5.
                3286
                       Pattern Energy Initial Comments at 14-15.
                3287
                 CREA and NewSun Initial Comments at 104-106; Uda Law Firm Initial
         Comments at 1-9.
                3288
                       Hydropower Commenters Initial Comments at 7.
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         new pumped storage projects;3289 using regional planning to develop operating

         assumptions applied to the study of electric storage resources;3290 and greater clarity on

         interconnection of battery storage additions to existing and proposed generating

         facilities.3291

                 Several commenters argue in favor of greater coordination between generator

         interconnection and transmission planning3292 or identify interconnection as a matter

         requiring interregional planning.3293

                 Some comments request that the Commission provide distinct treatment for Native

         American energy projects by adopting rules and policies that meet the unique needs of

         Tribes and that allow alternative means for fulfilling interconnection requirements, such

         as by providing additional time for the posting of deposits or eliminating commercial



                 3289
                        Id. at 27-28.
                 3290
                        Interwest Reply comments at 15.
                 3291
                        SEIA Reply Comments at 21-22.
                 3292
                     ACORE Initial Comments at 2-4; ACEG Initial Comments at 1-4; CESA
         Initial Comments at 13-14; Clean Energy Associations Initial Comments at 10-11;
         Consumer Protection Coalition Reply Comments at 1-2; Cypress Creek Initial Comments
         at 10-11; EDF Renewables Initial Comments at 12-13; ELCON Initial Comments at 11-
         13; Enel Reply Comments at 2; ENGIE Reply Comments at 4; Google Initial Comments
         at 6-7, 22; Invenergy Initial Comments at 62-63; Interwest Reply Comments at 15;
         National Grid Initial Comments at 45-46; New York State Department Reply Comments
         at 2-4; NYTOs Initial Comments at 23-24; OSPA Reply Comments at 15; Pattern Energy
         Initial Comments at 6-7; Public Interest Organizations Reply Comments at 16; R Street
         Initial Comments at 6-7; Union of Concerned Scientists Reply Comments at 8.
                 3293
                    North Carolina Commission and Staff Initial Comments at 2-3; Pattern Energy
         Initial Comments at 8-11.
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         readiness requirements.3294 Other comments request that the Commission incorporate

         environmental justice considerations into the interconnection process by quantifying in

         the proportional impact analysis the remediation of past economic injustice and benefits

         of renewable development in impoverished areas3295 or by prioritizing the provision of

         low-cost, clean energy to low income and people of color communities under the FPA’s

         public interest standard.3296

                         2.     Commission Determination

                We consider the comments referenced in the section above to be beyond the scope

         of this proceeding. The Commission proposed specific reforms in the NOPR, to which

         commenters have responded and for which a record has been established. Even for those

         issues tangentially connected to NOPR proposals, the record here is inadequate to support

         their full consideration. Further, we consider issues regarding the coordination of

         transmission planning with generator interconnection to be beyond the scope of this

         rulemaking. We note that the Commission proposed reforms related to coordination

         between regional transmission planning and cost allocation and generator interconnection

         in Docket No. RM21-17-000.3297




                3294
                       OSPA Reply Comments at 15-16.
                3295
                       OSPA Initial Comments at 15-16; OSPA Reply Comments at 3.
                3296
                    Energy Keepers Initial Comments at 3; Navajo Utility Initial Comments at 13.
         Public Interest Organizations Reply Comments at 11.
                3297
                       ANOPR, 176 FERC ¶ 61,024.
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         IV.    Compliance Procedures

                A.       NOPR Proposal

                In the NOPR, the Commission proposed to require each transmission provider to

         submit a compliance filing within 180 days of the effective date of the final rule revising

         its LGIP, LGIA, SGIP, and SGIA, as necessary, to demonstrate that it meets the

         requirements set forth in the final rule.3298 The Commission also proposed to permit

         appropriate entities to seek an “independent entity variation” or a “regional reliability

         variation” from the proposed requirements.3299 The Commission further noted that some

         transmission providers may have provisions in their existing LGIPs, LGIAs, SGIPs, and

         SGIAs subject to the Commission’s jurisdiction that the Commission has previously

         deemed to be consistent with or superior to the pro forma LGIP, pro forma LGIA, pro

         forma SGIP, and/or pro forma SGIA or permissible under the independent entity

         variation standard or regional reliability variation standard. Where these provisions

         would be modified by the final rule, the Commission proposed to require transmission

         providers to either comply with the final rule or demonstrate that these previously

         approved variations continue to meet the “consistent with or superior to” and “regional

         reliability variation” standard for non-RTO/ISO transmission providers and the

         independent entity variation standard for RTOs/ISOs.



                3298
                       NOPR, 179 FERC ¶ 61,194 at P 342.
                3299
                       Id. (citing Order No. 2003, 104 FERC ¶ 61,103 at PP 822-827; Order No.
         2006, 111 FERC¶61,220 at PP 546-550).
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                The Commission explained that it would assess whether each compliance filing

         satisfies the proposed requirements and issue additional orders as necessary to ensure that

         each transmission provider meets the requirements of the final rule.3300

                The Commission also proposed that non-public utility transmission providers

         would have to adopt the proposed requirements as a condition of maintaining the status of

         their safe harbor tariff or otherwise satisfying the reciprocity requirement of Order No.

         888.3301

                B.        Comments

                          1.        Compliance Filing Deadline

                Consumers Energy and NRECA support the proposed requirement for

         transmission providers to submit compliance filings within 180 days of the effective date

         of a final rule in this proceeding.3302 NRECA states that 180 days is a reasonable amount

         of time for transmission providers to assess their generation portfolios and for

         interconnection customers to gauge project viability and withdraw those interconnection

         requests that are not commercially ready.3303 Consumers Energy suggests that the

         Commission require RTOs/ISOs to justify any individual extensions for compliance




                3300
                       Id. P 343.
                3301
                       Id. P 344.
                3302
                       Consumers Energy Initial Comments at 10; NRECA Initial Comments at 7,
         49.
                3303
                       NRECA Initial Comments at 7, 49.
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         filings.3304 NRECA asks the Commission to waive any existing withdrawal penalties

         during the period between a final rule and compliance filings to encourage the rapid

         withdrawal of speculative interconnection requests and the pursuit of ready

         interconnection requests.3305

                Some commenters argue that the Commission should provide a longer time period

         for compliance filings because the scope and complexity of the reforms will require

         substantial time and resources and will involve lengthy stakeholder processes.3306 Some

         commenters also note that transmission providers will need to balance other priorities

         while developing compliance filings, such as administering the interconnection queue

         and pursuing transmission planning reforms.3307 Some commenters state that the 180-day

         period will be difficult for large, multi-state RTOs/ISOs that must develop large-scale

         tariff revisions in conjunction with large stakeholder communities.3308 EEI suggests a




                3304
                       Consumers Energy Initial Comments at 10.
                3305
                       NRECA Initial Comments at 49.
                3306
                 Dominion Initial Comments at 6; EEI Initial Comments at 22; MISO Initial
         Comments at 126; NEPOOL Initial Comments at 12.
                3307
                       EEI Initial Comments at 22; MISO Initial Comments at 126.
                3308
                   Avangrid Initial Comments at 36-37; Dominion Initial Comments at 41-42;
         MISO Initial Comments at 126.
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         240-day deadline for compliance filings,3309 while other commenters state that one year

         would be more appropriate.3310

                PJM asks the Commission to hold its compliance filing obligation in abeyance

         until PJM completes the transition mechanism from its recent interconnection queue

         reform in Docket No. ER22-2110-000, which was the result of an 18-month stakeholder

         process.3311 PJM states that, if it is required to submit a compliance filing during the

         transition process, that will cast a cloud over the transition process while the request for

         an independent entity variation works through a prolonged regulatory process, bringing

         into doubt interconnection agreements finalized as part of the transition and further

         aggravating backlogs.3312 PJM explains that, when it completes this transition process, it

         can evaluate whether to adopt the final rule’s reforms or demonstrate that its reforms are

         superior.3313 PJM asserts that such a “staged” compliance process aligns with past

         Commission decisions and would bring more certainty to interconnection customers.3314



                3309
                       EEI Initial Comments at 22.
                3310
                       Dominion Initial Comments at 6; MISO Initial Comments at 126.
                3311
                    PJM Initial Comments at 2-5, 11; see also OPSI Initial Comments at 2-3
         (explaining that it will be crucial that this proceeding does not disrupt PJM’s ongoing
         interconnection queue reform); see also PJM Interconnection, L.L.C., 181 FERC ¶
         61,162.
                3312
                       PJM Initial Comments at 2, 5, 11.
                3313
                       Id. at 12.
                3314
                    Id. at 3 (citing, e.g., Order No. 890, 118 FERC ¶ 61,119 at P 135 (adopting a
         two-tiered implementation process of the final rule)).
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                       2.     Regional Flexibility

                A number of commenters call for the final rule to provide regional flexibility to

         account for differences in geography, state policies and regulatory frameworks, different

         network electrical characteristics, market structures, resource mixes, and other factors.3315

         Many commenters explain that many transmission providers have already adopted or are

         in the process of adopting some of the NOPR proposals or similar processes targeting the

         challenges cited in the NOPR.3316 Many commenters ask the Commission to ensure the

         final rule acknowledges and accommodates existing interconnection queue reform efforts

         and does not undo or disrupt progress.3317 Some commenters specifically ask the


                3315
                    APPA-LPPC Initial Comments at 2-3; Avangrid Initial Comments at 36;
         Avangrid Reply Comments at 4; Dominion Reply Comments at 4; EEI Initial Comments
         at 3-4; EEI Reply Comments at 13; Idaho Power Initial Comments at 1; Illinois
         Commission Comments at 3; Indicated PJM TOs Initial Comments at 1-2; Indicated PJM
         TOs Reply Comments at 43; ISO-NE Initial Comments at 3, 13, 15-16, 38; MISO TOs
         Initial Comments at 13; NARUC Initial Comments at 6-7; National Grid Initial
         Comments at 4-5; NEPOOL Initial Comments at 3-4, 12, 17; NESCOE Reply Comments
         at 4; NRECA Initial Comments at 7; NYTOs Initial Comments at 6; North Dakota
         Commission Initial Comments at 2; Southern Initial Comments at 14-15; U.S. Chamber
         of Commerce Initial Comments at 2-3.
                3316
                    ACORE Reply Comments at 6; Alliant Initial Comments at 1; Ameren Initial
         Comments at 35; APPA-LPPC Initial Comments at 2-3; ClearPath Initial Comments at 6;
         Early Adopters Coalition Initial Comments at 2, 13; EEI Initial Comments at 3-4; MISO
         Initial Comments at 2-3, 18; MISO Reply Comments at 2; NARUC Initial Comments at
         10-11; National Grid Initial Comments at 4-5; NYISO Reply Comments at 2; NYTOs
         Initial Comments at 6; Omaha Public Power Initial Comments at 13; U.S. Chamber of
         Commerce Initial Comments at 2-3.
                3317
                    ACORE Reply Comments at 6; Alliant Initial Comments at 1; APPA-LPPC
         Initial Comments at 2-3; Ameren Initial Comments at 35; Early Adopters Coalition Initial
         Comments at 2-3, 13, 19, 21; Dominion Initial Comments at 42; Dominion Reply
         Comments at 4; Duke Southeast Utilities Initial Comments at 3-4; Illinois Commission
         Comments at 3; Indicated PJM TOs Initial Comments at 1-2; Indicated PJM TOs Reply
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         Commission to allow transmission providers like PJM and Dominion to implement recent

         interconnection queue reform proposals, even though they differ in some aspects from the

         NOPR.3318 Some commenters ask the Commission to continue applying its current

         standards for variations from the pro forma LGIP (i.e., independent entity variations for

         RTOs/ISOs and consistent with or superior to variations for non-RTOs/ISOs).3319 For

         example, ISO-NE contends that the Commission should respect its existing independent

         entity variations and allow it to continue building upon those variations.3320




         Comments at 9; MISO Initial Comments at 4-5, 18-19, 128; MISO TOs Initial Comments
         at 7-9; NARUC Initial Comments at 7, 11; National Grid Initial Comments at 4-5;
         NRECA Initial Comments at 8; NYTOs Initial Comments at 6; Omaha Public Power
         Initial Comments at 13; OMS Initial Comments at 3-4; PacifiCorp Initial Comments at 2;
         U.S. Chamber of Commerce Initial Comments at 2-3.
                3318
                  ClearPath Initial Comments at 6; Dominion Initial Comments at 5-6; Indicated
         PJM TOs Initial Comments at 1-2; MISO Reply Comments at 2; PJM Initial Comments
         at 2.
                3319
                    Ameren Initial Comments at 35; Consumer Protection Coalition Reply
         Comments at 2; EEI Initial Comments at 3; Google Reply Comments at 7-8; Indicated
         PJM TOs Initial Comments at 9; Indicated PJM TOs Reply Comments at 44; ISO-NE
         Initial Comments at 13-15; National Grid Initial Comments at 4-5; NEPOOL Initial
         Comments at 3; NYTOs Initial Comments at 6; PG&E Initial Comments at 2; PG&E
         Reply Comments at 2; PJM Initial Comments at 3, 12.
                3320
                    ISO-NE Initial Comments at 8-15 (providing a detailed overview of ISO-NE’s
         existing independent entity variations, which align the interconnection process with the
         forward capacity market, provide for targeted clustering, and allow interconnection
         customers to pursue elective transmission upgrades to support queued interconnection
         requests).
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                In contrast, other commenters request that the Commission apply a new standard

         when evaluating variations from the pro forma requirements.3321 OMS asks the

         Commission to allow transmission providers initiating their own stakeholder-supported

         interconnection reforms to continue developing regionally appropriate solutions upon a

         compliance showing of “substantial conformity” with the final rule requirements.3322

         MISO argues that the Commission should create an “independent entity presumption of

         reasonableness,” under which the Commission would rebuttably presume that any

         previous, proactive RTO/ISO reform that addresses the objectives of a final rule

         requirement (but does not conform to every detail) is eligible for an independent entity

         variation, unless an intervenor demonstrates that the previous reform does not provide the

         benefit that technical compliance with the final rule would.3323 NextEra also states that

         requiring transmission providers and stakeholders to have to justify whether their past

         reform initiatives match the Commission’s new rule would likely waste time and

         resources.3324

                Similarly, the Early Adopters Coalition ask the Commission to rebuttably presume

         that first-ready, first-served interconnection queue reforms already in place continue to be

         just and reasonable and not unduly discriminatory and consistent with or superior to the


                3321
                       MISO Initial Comments at 18-19.
                3322
                       OMS Initial Comments at 4.
                3323
                       MISO Initial Comments at 18-19.
                3324
                       NextEra Reply Comments at 7.
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         pro forma requirements.3325 Further, the Early Adopters Coalition and Indicated PJM

         TOs argue that there is an insufficient legal foundation under FPA section 206 to

         conclude that the Early Adopters Coalition’s tariffs are unjust, unreasonable, and unduly

         discriminatory or preferential because the Commission’s FPA section 206 finding only

         speaks to the generic pro forma requirements, while many transmission providers’ tariffs

         have already departed from those requirements.3326 Indicated PJM TOs state that the

         Commission lacks the authority under FPA section 206 to require modification of a tariff

         that does not include the elements determined in the final rule to be unjust and

         unreasonable or unduly discriminatory.3327

                The Early Adopters Coalition also express concern that the proposed reforms

         would result in a higher burden of proof to justify departures from the pro forma

         requirements in future filings and signal that the Commission may not accept further

         incremental improvements; therefore, they ask the Commission to clarify that the final

         rule will not stifle their ability to improve their existing tariffs.3328

                PacifiCorp expresses concern that the NOPR proposal could disrupt some of

         PacifiCorp’s unique processes, including its inclusion of small generating facilities in the




                3325
                       Early Adopters Coalition Initial Comments at 18.
                3326
                    Id. at 2, 15 (citing Emera Maine v. FERC, 854 F.3d 9, 25 (D.C. Cir. 2017));
         Indicated PJM TOs Reply Comments at 8; PacifiCorp Initial Comments at 6-7.
                3327
                       Indicated PJM TOs Reply Comments at 7-9.
                3328
                       Early Adopters Coalition Initial Comments at 21.
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         cluster study process with large generating facilities and its incorporation of the

         Commission-jurisdictional interconnection process into its state-level interconnection

         procedures.3329

                CREA and NewSun contest PacifiCorp’s and the other Early Adopters Coalition’s

         argument that the Commission’s approval of their LGIPs under FPA section 205 exempts

         them from any reforms adopted in a final rule in this proceeding because the Commission

         has an obligation under FPA section 206 to remedy unjust, unreasonable, and unduly

         discriminatory or preferential practices.3330 CREA and NewSun also note that neither

         utility- nor region-specific findings are necessary in a generic rulemaking; rather, the

         Commission can rely on basic economic theory and generic factual predictions.3331

         CREA and NewSun also assert that the sole authority cited by the Early Adopters

         Coalition, Emera Maine v. FERC, is inapposite, because it involved a challenge to a

         specific transmission owners’ base return on equity, not a nationwide rulemaking.3332

                In response to requests for additional flexibility, Public Interest Organizations and

         Clean Energy Associations assert that transmission providers should be required to




                3329
                       PacifiCorp Initial Comments at 7-9.
                3330
                       CREA and NewSun Reply Comments at 15-16.
                3331
                   Id. at 17-18 (citing Transmission Access Policy Study Grp. v. FERC, 225 F.3d
         667, 687 (D.C. Cir. 2000), aff’d sub nom. New York v. FERC, 535 U.S. 1, 14 (2002); Xcel
         Energy Servs. v. FERC, 41 F.4th 548, 560-61 (D.C. Cir. 2022)).
                3332
                       Id. at 19.
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         demonstrate in compliance filings that their approach to a given requirement complies

         with the Commission’s final rule.3333

                Xcel asks the Commission to state in the final rule that there is not just one just

         and reasonable approach to interconnection reform.3334 Xcel requests that the

         Commission confirm that alternative approaches used by RTOs/ISOs that achieve the

         policy goals of prioritizing ready interconnection requests and increasing the speed of

         interconnection queue processing are consistent with and superior to the pro forma LGIP,

         instead of using the independent entity variation standard when approving those

         RTOs/ISOs’ compliance filings. Xcel explains that its preferred approach would allow

         non-RTOs/ISOs to replicate processes that are working efficiently in RTOs/ISOs.

                ACORE expresses concern that too much flexibility would detract from the

         benefits of a final rule.3335 ACORE explains that a consistent minimum set of

         requirements and common interconnection study methods and best practices is essential

         across all transmission providers.




                3333
                   Clean Energy Associations Reply Comments at 11; Public Interest
         Organizations Reply Comments at 14.
                3334
                       Xcel Initial Comments at 17.
                3335
                       ACORE Reply Comments at 6.
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                         3.    Reciprocity Tariffs

                APPA-LPPC and NRECA seek clarification on the NOPR’s statements regarding

         reciprocity tariffs.3336 They point out that Commission precedent allows non-public

         utilities to satisfy the reciprocity requirement of Order No. 888 through one of three

         means: (1) providing service to a public utility transmission provider under a safe harbor

         tariff; (2) providing service under a bilateral agreement; or (3) seeking waiver.3337

         APPA-LPPC and NRECA explain that the NOPR’s statement that non-public utility

         transmission providers “will have to adopt the requirements of this Proposed Rule as a

         condition of maintaining the status of their safe harbor tariff or otherwise satisfying the

         reciprocity requirement of Order No. 888” could be read to suggest that the other ways of

         satisfying the reciprocity requirement no longer exist.3338 APPA-LPPC and NRECA ask

         the Commission to clarify that non-public utilities will still be able to satisfy reciprocity

         requirements through bilateral arrangements or waiver.

                         4.    Effective Date

                MISO asks the Commission to make the reforms effective when orders on

         compliance are issued, rather than on the final rule’s effective date, to avoid retroactive

         implementation of the proposed reforms and disruption in administering interconnection




                3336
                       APPA-LPPC Initial Comments at 34-36; NRECA Initial Comments at 10, 50.
                3337
                       APPA-LPPC Initial Comments at 34; NRECA Initial Comments at 50.
                3338
                       APPA-LPPC Initial Comments at 36; NRECA Initial Comments at 51.
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         queues.3339 MISO explains that an effective date prior to the date of accepted compliance

         provisions would require a transmission provider to file new agreements with pending

         language, which means that transmission providers will need to file interconnection

         agreements and service agreements instead of using the electronic quarterly report (EQR)

         process.

                         5.     Miscellaneous

                SoCal Edison states that the final rule should not automatically apply to a

         wholesale distribution access tariff without further consideration in a separate

         rulemaking.3340 SoCal Edison argues that the Commission should allow entities to align

         distribution-level tariffs with corresponding transmission-level tariffs to avoid gaming of

         interconnection locations and contends that the changes proposed in this NOPR are too

         extensive to apply to the unique characteristics of the distribution system.3341 SoCal

         Edison states that the Commission has previously confirmed that reforms to the LGIP and

         LGIA are not required for the interconnection agreements under the wholesale

         distribution access tariff, and different processes, interconnection costs, and penalties

         could introduce new challenges for wholesale distribution providers and interconnection

         efficiencies that have not been addressed in the NOPR.




                3339
                       MISO Initial Comments at 127; MISO Reply Comments at 27.
                3340
                       SoCal Edison Initial Comments at 10; SoCal Edison Reply Comments at 2.
                3341
                       SoCal Edison Initial Comments at 10-11.
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                C.       Commission Determination

                We modify the deadline for transmission providers to submit a compliance filing

         to adopt the requirements of this final rule as revisions to the LGIP, LGIA, SGIP, and

         SGIA in their tariffs. We require the submission of such compliance filings within 90

         calendar days of the publication date of this final rule in the Federal Register rather than

         the proposed 180 days from the effective date of the final rule. We believe that it is

         important to implement this final rule in a timely manner, given the pressing need to

         reform the interconnection processes, as discussed in this final rule. On the Commission-

         approved effective date of the transmission provider’s compliance filing with this final

         rule, the transmission provider will commence the transition study process.3342 After the

         conclusion of the transition study process, the transmission provider will begin the first

         standard cluster study process,3343 and in its compliance filing, the transmission provider

         will indicate the number of calendar days after the conclusion of the transition study

         process when it will begin this first standard cluster study process (e.g., 30 calendar days

         after the conclusion of the transition study process).3344 By setting a 90-calendar day

         compliance filing deadline, the Commission may be in a position to act on the filings

         sooner, which will allow transmission providers to commence the transition process and


                3342
                    Pro forma LGIP section 5.1.1.1 (Transitional Serial Study); Pro forma LGIP
         section 5.1.1.2 (Transitional Cluster Study).
                3343
                     We note that this standard cluster study process is distinct from the transitional
         cluster study process described above. See supra Section III.A.7.c.
                3344
                       Pro forma LGIP section 3.4.1 (Cluster Request Window).
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         progress to the first standard cluster study process earlier, and thereby implement the

         reforms contemplated by this final rule earlier rather than later.

                We note that 90 days is longer than the 60 days provided for compliance with

         Order No. 2003. In their compliance filings for Order No. 2003, transmission providers

         were required to adopt the pro forma LGIP and pro forma LGIA. Under this final rule,

         transmission providers are required to revise the LGIP, LGIA, SGIP, and SGIA in their

         tariffs, but are not provided significant discretion as to the terms of those documents,

         except for those who request deviations, as discussed below. While we recognize that the

         compliance filings for some transmission providers will entail more complexity, we

         believe that 90 calendar days should be sufficient time to prepare and submit even the

         more complex compliance filings. Further, the need to implement the reforms set forth in

         this final rule earlier rather than later outweighs the concerns raised about the timing of

         the compliance filing deadline.

                Consistent with Order Nos. 888, 890, 2003, 2006, and 845, we adopt the NOPR

         proposal to continue to apply the “consistent with or superior to” standard when

         considering proposals from non-RTO/ISO transmission providers to deviate from the

         requirements of this final rule.3345 Consistent with Order Nos. 2003, 2006, and 845, we


                3345
                     Order No. 888, FERC Stats. & Regs. ¶ 31,036, at 31,769-770; Order No. 890,
         118 FERC ¶ 61,119 at P 109 (“[W]e reiterate that any departures from the pro
         forma [open access transmission tariff] proposed by an ISO or an RTO must be
         ‘consistent with or superior to’ the pro forma [open access transmission tariff] in
         this Final Rule.”); Order No. 2003, 104 FERC ¶ 61,103 at P 825; Order No. 2006, 111
         FERC ¶ 61,220 at PP 546-547; Order No. 845, 163 FERC ¶ 61,043 at P 43 (explaining
         that a transmission provider that is not an RTO/ISO that seeks a variation from the
         requirements of the final rule must present its justification for the variation as consistent
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         adopt the NOPR proposal to continue to use the “independent entity variation” standard

         when considering such proposals from RTOs/ISOs.3346 Consistent with Order Nos. 888,

         890, 2003, 2006, and 845, we adopt the NOPR proposal to continue to allow non-

         RTO/ISO transmission providers to use the regional differences rationale to seek

         variations made in response to established reliability requirements.3347 In this final rule,

         we make no changes to the standards used to judge requested variations, as described in

         Order Nos. 888, 890, 2003, 2006, and 845.

                We reject requests to presume that any transmission provider’s tariff meets the

         requirements of this final rule. We recognize that many transmission providers have

         adopted or are in the process of adopting similar reforms to those adopted in this final

         rule. We do not intend to disrupt these ongoing transition processes or stifle further

         innovation. On compliance, transmission providers can propose deviations from the



         with or superior to the pro forma LGIA or pro forma LGIP).
                3346
                     Order No. 2003, 104 FERC ¶ 61,103 at P 826 (“[w]ith respect to an RTO or
         ISO . . . we will allow it to seek ‘independent entity variations’ from the Final Rule . . .
         This is a balanced approach that recognizes that an RTO or ISO has different operating
         characteristics depending on its size and location and is less likely to act in an unduly
         discriminatory manner than a Transmission Provider that is a market participant.”); Order
         No. 2006, 111 FERC ¶ 61,220 at PP 447, 549; Order No. 845, 163 FERC ¶ 61,043 at P
         556.
                3347
                      Order No. 888, FERC Stats. & Regs. ¶ 31,036, at 31,770; Order No. 890, 118
         FERC ¶ 61,119 at P 109; Order No. 2003, 104 FERC ¶ 61,103 at P 826 (“if on
         compliance a non-RTO or ISO Transmission Provider offers a variation from the Final
         Rule LGIP and Final Rule LGIA, and the variation is in response to established (i.e.,
         approved by the Applicable Reliability Council) reliability requirements, then it may seek
         to justify its variation using the regional difference rationale.”); Order No. 2006, 111
         FERC ¶ 61,220 at PP 546-547; Order No. 845, 163 FERC ¶ 61,043 at P 43.
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         requirements adopted in this final rule – including deviations seeking to minimize

         interference with ongoing transition plans – and demonstrate how those deviations satisfy

         the standards discussed above, which the Commission will consider on a case-by-case

         basis.

                  We disagree with commenters that suggest that FPA section 206 requires the

         Commission to make findings specific to each transmission provider’s tariff in this final

         rule to require transmission providers to comply with the requirements of this final rule.

         As some commenters recognize, neither utility- nor region-specific findings are necessary

         in a generic rulemaking.3348

                  In response to commenters that prefer regional reform over generic one-size-fits-

         all reform, we note that transmission providers may seek the appropriate variation on

         compliance provided the reason for the variation is sufficiently justified and may

         continue to propose solutions to interconnection issues under FPA section 205. However,

         given the nation-wide need for reforms to ensure that interconnection customers are able

         to interconnect to the transmission system in a reliable, efficient, transparent, and timely

         manner, as well as prevent undue discrimination, we believe that a generic rulemaking is

         appropriate, as explained above in Section II and throughout this final rule.

                  In the NOPR, the Commission stated that non-public utility transmission providers

         “will have to adopt the requirements of this Proposed Rule as a condition of maintaining

         the status of their safe harbor tariff or otherwise satisfying the reciprocity requirement of


                  3348
                         See Transmission Access Policy Study Grp., 225 F.3d at 687-88.
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         Order No. 888.”3349 As requested by NRECA and APPA-LPPC,3350 we clarify that this

         final rule does not modify the Commission’s reciprocity requirement in Order Nos. 888

         and 2003.3351 Thus, while a non-public utility’s adoption of the proposed LGIP/LGIA

         and SGIP/SGIA changes is a condition of maintaining a safe harbor tariff,3352 non-public

         utilities may still use a request for waiver or bilateral agreements to satisfy the reciprocity

         requirement of Order No. 888-A.3353

                With respect to MISO’s comments, as explained below, this final rule is effective

         [INSERT DATE 60 DAYS AFTER DATE OF PUBLICATION IN THE FEDERAL

         REGISTER]. This final rule will be effective as described above; however, the pro

         forma LGIP, pro forma LGIA, pro forma SGIP, and pro forma SGIP requirements in

         transmission providers’ tariffs will not be effective until the Commission-approved



                3349
                       NOPR, 179 FERC ¶ 61,194 at P 344.
                3350
                       APPA-LLC Initial Comments at 34-36; NRECA Initial Comments at 50-51.
                3351
                 Order No. 888, FERC Stats. & Regs. ¶ 31,036, at 31,760-761; Order No. 2003,
         104 FERC ¶ 61,103 at PP 840-842.
                3352
                    Order No. 2003, 104 FERC ¶ 61,103 at P 842 (“A non-public utility that has a
         ‘safe harbor’ Tariff may add to its Tariff an interconnection agreement and
         interconnection procedures that substantially conform or are superior to the Final Rule
         LGIP and Final Rule LGIA if it wishes to continue to qualify for safe harbor treatment.”)
                3353
                     Order No. 888-A, FERC Stats. & Regs. ¶ 31,048 at 30,285-86; see also Order
         No. 2003, 104 FERC ¶ 61,103 at P 841; Order No. 2003-A, 106 FERC ¶ 61,220 at P 760
         (clarifying that reciprocity applies to interconnection service in a manner consistent with
         the reciprocity provision in the pro forma open access transmission tariff); Order No. 2006,
         111 FERC ¶ 61,220 at P 534.
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         effective date of the transmission provider’s filing in compliance with this final rule. In

         other words, interconnection customers seeking to interconnect to MISO’s transmission

         system will not be subject to the requirements of this final rule until the Commission

         issues an order on MISO’s compliance filing with a Commission-approved effective date

         for MISO’s tariff revisions.

                In response to SoCal Edison’s request for the Commission to clarify that the

         reforms described herein will not automatically apply to wholesale distribution access

         tariffs, we note that in Order No. 2003, the Commission stated that the pro forma LGIA

         and pro forma LGIP adopted in that final rule apply to a request to interconnect to a

         public utility’s “distribution” facilities used to transmit electric energy in interstate

         commerce on behalf of a wholesale purchaser pursuant to a Commission-filed open

         access transmission tariff.3354 To the extent that SoCal Edison has concerns about its

         specific wholesale distribution access tariff, this is a matter better suited to SoCal

         Edison’s compliance filing.3355


                3354
                    See Order No. 2003, 104 FERC ¶ 61,103 at P 804; id. P 803 (some lower-
         voltage facilities are “local distribution” facilities not under our jurisdiction, but some are
         used for jurisdictional service such as carrying power to a wholesale power customer for
         resale and are included in a public utility’s open access transmission tariff (although in
         some instances, there is a separate open access transmission tariff rate for using them,
         sometimes called a wholesale distribution rate.)); Order No. 2003-A, 106 FERC ¶ 61,220
         at P 733 (“We clarify that Order No. 2003 applies to all facilities subject to a
         Commission-approved [open access transmission tariff], regardless of how the facilities
         may be labeled by the Transmission Provider) (citing N. Y. v. FERC, 535 U.S. at 12;
         Puget Sound Energy, Inc., 104 FERC ¶ 61,272, at PP 16-18 (2003)).
                3355
                   See Order No. 2003-A, 106 FERC ¶ 61,220 at P 734. We note, however, that
         the Commission has previously accepted SoCal Edison’s filing, made in compliance with
         Order No. 2003, to implement provisions from the Commission’s pro forma LGIA and
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                We also note that, in addition to the modifications described above, the pro forma

         LGIP, pro forma LGIA, pro forma SGIP, pro forma SGIP language below includes

         several corrections of clerical errors and other minor, clarifying edits: see, e.g., pro forma

         LGIA article 8.4, pro forma LGIP appendix G.

         V.     Information Collection Statement

                The information collection requirements contained in this final rule are subject to

         review by the Office of Management and Budget (OMB) under section 3507(d) of the

         Paperwork Reduction Act of 1995.3356 OMB’s regulations require approval of certain

         information collection requirements imposed by agency rules.3357 Respondents subject to

         the filing requirements of this final rule will not be penalized for failing to respond to the

         collection of information unless the collection of information displays a valid OMB

         control number.

                The reforms adopted in this final rule revise the Commission’s standard large

         generator interconnection procedures and agreements (i.e., the pro forma LGIP and pro

         forma LGIA) and the Commission’s standard small generator interconnection procedures

         and agreement (i.e., the pro forma SGIP and pro forma SGIA) that every public utility

         transmission provider is required to include in their tariff under section 35.28 of the




         pro forma LGIP into its wholesale distribution access tariff. See S. Cal. Edison Co.,
         110 FERC ¶ 61,176 (2005).
                3356
                       44 U.S.C. 3507(d).
                3357
                       5 CFR 1320.11 (2022).
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         Commission’s regulations.3358 This final rule requires each transmission provider to

         amend the standard large generator interconnection procedures and agreement and the

         standard small generator interconnection procedures and agreement in its tariff to

         implement the reforms adopted in this final rule, which are intended to ensure that the

         generator interconnection process is just, reasonable, and not unduly discriminatory or

         preferential. These provisions affect the following collections of information: FERC-

         516, Electric Rate Schedules and Tariff Filings (Control No. 1902-0096); and FERC-

         516A, Standardization of Small Generator Interconnection Agreements and Procedures

         (Control No. 1902-0203).

                In the NOPR, the Commission solicited comments on: the Commission’s need for

         this information; whether the information will have practical utility; the accuracy of the

         burden estimates; ways to enhance the quality, utility, and clarity of the information to be

         collected or retained; and any suggested methods for minimizing respondents’ burden.

         In response to comments on the NOPR,3359 we note that this information collection

         statement estimates only those burdens3360 to generate, maintain, retain, or disclose or



                3358
                       18 CFR 35.28(f)(1) (2022).
                3359
                    Indicated PJM TOs state that the NOPR did not attempt to quantify the
         administrative burden for the transmission provider’s staff to perform the tasks required
         by the proposed reforms, and SPP offered an estimated range of its potential costs of
         administering the proposed procedures. See Indicated PJM TOs Initial Comments at 7;
         SPP Initial Comments at 28; see also NOPR, 179 FERC ¶ 61,194 at P 358 & n.480.
                3360
                    “Burden” is the total time, effort, or financial resources expended by persons
         to generate, maintain, retain, or disclose or provide information to or for a federal agency.
         For further explanation of what is included in the information collection burden, refer to
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         provide information to or for a federal agency, and does not intend to estimate overall

         compliance or implementation costs for transmission providers.

                 Summary of the Revisions to the Collection of Information due to the final rule in

         Docket No. RM22-14-000:

                 FERC-516: This final rule revises the Commission’s pro forma LGIP and pro

         forma LGIA (and thus requires each public utility to amend its LGIP and LGIA) to

         ensure that interconnection customers are able to interconnect to the transmission system

         in a reliable, efficient, transparent, and timely manner, and prevent undue discrimination.

         As illustrated in the table below, most reforms affect the pro forma LGIP and pro forma

         LGIA.

                 FERC-516A: Among other requirements, this final rule amends the

         Commission’s standard small generator interconnection procedures and agreement (i.e.,

         the pro forma SGIP and pro forma SGIA) regarding evaluation of alternative

         transmission technologies, modeling required for accurate interconnection studies, and

         maintenance of power production during abnormal frequency conditions and certain

         voltage conditions.

                 Title: Electric Rate Schedules and Tariff Filings (FERC-516) and Standardization

         of Small Generator Interconnection Agreements and Procedures (FERC-516A).

                 Action: Revision of collections of information in accordance with Docket No.

         RM22-14-000.


         5 CFR 1320.3 (2022).
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                OMB Control Nos.: 1902-0096 (FERC-516) and 1902-0203 (FERC-516A).

                Respondents: Public utility transmission providers, including RTOs/ISOs.

                Frequency of Information Collection: One time during Year 1. Multiple times

         during subsequent years.

                Necessity of Information: The reforms in this final rule ensure that

         interconnection customers are able to interconnect to the transmission system in a

         reliable, efficient, transparent, and timely manner, and prevent undue discrimination. The

         reforms are intended to ensure that the generator interconnection process is just,

         reasonable, and not unduly discriminatory or preferential.

                Internal Review: We have reviewed the reforms that impose information

         collection burdens and have determined that such reforms are necessary. These

         requirements conform to the Commission’s need for efficient information collection,

         communication, and management within the energy industry. We have specific,

         objective support for the burden estimates associated with the information collection

         requirements.

                Public Reporting Burden: Our estimate of the number of reporting entities is based

         on the number of transmission providers that submitted compliance filings to the

         Commission in response to Order No. 845, which is the Commission’s most recent

         rulemaking that required transmission providers to revise their generator interconnection

         procedures and agreements, and Order No. 881, which is the Commission’s most recent

         major rulemaking adopting reforms to the pro forma tariff. As such, we estimate that 44
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         transmission providers, including RTOs/ISOs, will be subject to this rulemaking. The

         burden and cost estimates below are based on (1) the initial need for transmission

         providers to file revised versions of the standard interconnection procedures and

         agreements in Year 1 and (2) ongoing information collection activities in connection with

         reporting and disclosure requirements in subsequent years. For many reforms, we

         estimate no ongoing information collection burden because there is either no information

         collection aspect of the reform or the requirements would merely supplant existing ones.

               The Commission estimates that the final rule in Docket No. RM22-14-000 will

         adjust the burden and cost of FERC-516 and FERC-516A as follows:

                              Table 1: Information Collection Requirements

                            Changes Due to Final Rule in Docket No. RM22-14-000

                                          Annual       Total                     Total Annual
                                        Number of Number of       Average       Burden Hours
                                         Responses Responses Burden (Hr.) & Total Annual
                            Number of       Per      (Rounded) & Cost ($) Per       Cost ($)
                                                                          3361
                           Respondents Respondent (1) * (2) = Response            (Rounded)
             Reforms           (1)          (2)         (3)         (4)          (3) * (4) = (5)
                                               FERC-516:
                                                                  Year 1: 4 hr; Year 1: 176 hr;
         Interconnection
                                                                          $364           $16,016
         Information
                                           Year 1: 1 Year 1: 44 Ongoing: 4 hr; Ongoing: 352 hr;
         Access
                                44 (TPs) Ongoing: 2 Ongoing: 88           $364           $32,032
         First Ready,                                            Year 1: 80 hr; Year 1: 3,520 hr;
         First Served                                 Year 1: 44        $7,280          $320,320
         Cluster Study                     Year 1: 1   Ongoing: Ongoing: 4 hr; Ongoing: 704 hr;
         Process                44 (TPs) Ongoing: 4         176           $364           $64,064


               3361
                    Commission staff estimate that respondents’ hourly wages plus benefits are
         comparable to those of FERC employees. Therefore, the hourly cost used in this analysis
         is $91 per hour ($188,922 per year).
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                           Changes Due to Final Rule in Docket No. RM22-14-000

                                         Annual        Total                  Total Annual
                                       Number of    Number of     Average     Burden Hours
                                       Responses    Responses Burden (Hr.) & Total Annual
                            Number of     Per       (Rounded) & Cost ($) Per     Cost ($)
                           Respondents Respondent    (1) * (2) = Response3361  (Rounded)
             Reforms           (1)         (2)           (3)         (4)      (3) * (4) = (5)
         Allocation of                                              Year 1: 4 hr;   Year 1: 176 hr;
         Cluster Study                     Year 1: 1 Year 1: 44            $364            $16,016
         Costs                 44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Allocation of                                              Year 1: 4 hr;   Year 1: 176 hr;
         Cluster Network                   Year 1: 1 Year 1: 44            $364            $16,016
         Upgrade Costs         44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Study Deposits                                             Year 1: 4 hr; Year 1: 176 hr;
         and LGIA                          Year 1: 1 Year 1: 44             $364           $16,016
         Deposit               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
                                                                   Year 1: 80 hr; Year 1: 3,520 hr;
         Demonstration
                                           Year 1: 1 Year 1: 44           $7,280          $320,320
         of Site Control
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Commercial                                                 Year 1: 4 hr; Year 1: 176 hr;
         Readiness                         Year 1: 1 Year 1: 44             $364           $16,016
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0

         Withdrawal                                                 Year 1: 4 hr;   Year 1: 176 hr;
         Penalties                         Year 1: 1 Year 1: 44            $364            $16,016
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0


         Transition
         Process
                                                                   Year 1: 80 hr; Year 1: 3,520 hr;
                                           Year 1: 1 Year 1: 44           $7,280         $320,320
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
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                             Changes Due to Final Rule in Docket No. RM22-14-000

                                          Annual              Total                  Total Annual
                                        Number of          Number of     Average     Burden Hours
                                        Responses          Responses Burden (Hr.) & Total Annual
                             Number of     Per             (Rounded) & Cost ($) Per     Cost ($)
                            Respondents Respondent          (1) * (2) = Response3361  (Rounded)
             Reforms            (1)         (2)                 (3)         (4)      (3) * (4) = (5)

         Elimination of
         Reasonable                                                    Year 1: 80 hr; Year 1: 3,520 hr;
         Efforts                                            Year 1: 44        $7,280         $320,320
         Standard3362                          Year 1: 1     Ongoing: Ongoing: 4 hr; Ongoing: 704 hr;
                                  44 (TPs)    Ongoing: 4          176           $364           $64,064

         Affected System                                                  Year 1: 80 hr; Year 1: 3,520 hr;
         Study Process                         Year 1: 1 Year 1: 44              $7,280         $320,320
                                  44 (TPs)    Ongoing: 0 Ongoing: 44        Ongoing: 0        Ongoing: 0
         Affected System
                                                                           Year 1: 4 hr;   Year 1: 176 hr;
         Pro Forma
                                               Year 1: 1 Year 1: 44               $364            $16,016
         Agreements
                                  44 (TPs)    Ongoing: 0 Ongoing: 0         Ongoing: 0        Ongoing: 0
         Affected System
         Modeling and
                                                                           Year 1: 4 hr;   Year 1: 176 hr;
         Study
                                               Year 1: 1 Year 1: 44               $364            $16,016
         Assumptions
                                  44 (TPs)    Ongoing: 0 Ongoing: 0         Ongoing: 0        Ongoing: 0
         Co-Located
         Generating
         Facilities
         Behind One
         Point of
         Interconnection
         with Shared                                                       Year 1: 4 hr;   Year 1: 176 hr;
         Interconnection                       Year 1: 1 Year 1: 44               $364            $16,016
         Requests                 44 (TPs)    Ongoing: 0 Ongoing: 0         Ongoing: 0        Ongoing: 0



                3362
                    Commission staff only estimates the information collection burden associated
         with the requirements outlined in the final rule and does not estimate the potential appeal
         process burden, which an applicant can pursue voluntarily.
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                                          Annual        Total                  Total Annual
                                        Number of    Number of     Average     Burden Hours
                                        Responses    Responses Burden (Hr.) & Total Annual
                             Number of     Per       (Rounded) & Cost ($) Per     Cost ($)
                            Respondents Respondent    (1) * (2) = Response3361  (Rounded)
             Reforms            (1)         (2)           (3)         (4)      (3) * (4) = (5)
         Revisions to
         Modification to
         Require
         Consideration of
         Generating                                                 Year 1: 80 hr; Year 1: 3,520 hr;
         Facility                           Year 1: 1 Year 1: 44           $7,280         $320,320
         Additions              44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Availability of
         Surplus                                                     Year 1: 4 hr;   Year 1: 176 hr;
         Interconnection                    Year 1: 1 Year 1: 44            $364            $16,016
         Service                44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Operating
         Assumptions for                                            Year 1: 80 hr; Year 1: 3,520 hr;
         Interconnection                    Year 1: 1 Year 1: 44           $7,280         $320,320
         Studies                44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Incorporating
         Enumerated
         Alternative
         Transmission
         Technologies
         into the
         Generator                                                  Year 1: 80 hr; Year 1: 3,520 hr;
         Interconnection                    Year 1: 1 Year 1: 44           $7,280         $320,320
         Process                44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0

         Modeling                                                    Year 1: 4 hr;   Year 1: 176 hr;
         Requirements                       Year 1: 1 Year 1: 44            $364            $16,016
                                44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0

         Ride-Through                                                Year 1: 4 hr;   Year 1: 176 hr;
         Requirements                       Year 1: 1 Year 1: 44            $364            $16,016
                                44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Applicability of                                            Year 1: 4 hr;   Year 1: 176 hr;
         Ride-Through                       Year 1: 1 Year 1: 44            $364            $16,016
         Requirements           44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
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                                         Annual        Total                  Total Annual
                                       Number of    Number of     Average     Burden Hours
                                       Responses    Responses Burden (Hr.) & Total Annual
                            Number of     Per       (Rounded) & Cost ($) Per     Cost ($)
                           Respondents Respondent    (1) * (2) = Response3361  (Rounded)
             Reforms           (1)         (2)           (3)         (4)      (3) * (4) = (5)
            Total New
           Burden for
         FERC-516 (due
          to Docket No.
         RM22-14-000)                             Year 1: 924      Year 1: 30,448 hr; $2,770,768
                                                Ongoing: 484        Ongoing: 1,760 hr; $160,160
                                             FERC- 516A
         Incorporating
         Enumerated
         Alternative
         Transmission
         Technologies
         into the
         Generator                                                 Year 1: 80 hr; Year 1: 3,520 hr;
         Interconnection                   Year 1: 1 Year 1: 44           $7,280         $320,320
         Process               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Modeling                                                   Year 1: 4 hr; Year 1: 176 hr;
         Requirements                      Year 1: 1 Year 1: 44             $364           $16,016
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
                                                                    Year 1: 4 hr; Year 1: 176 hr;
         Ride-Through
                                           Year 1: 1 Year 1: 44             $364           $16,016
         Requirements
                               44 (TPs)   Ongoing: 0 Ongoing: 0      Ongoing: 0        Ongoing: 0
         Total New
         Burden for
         FERC-516A
         (due to Docket                                                         Year 1: 3,872 hr;
         No. RM22-14-                      Year 1: 132 responses                        $352,352
         000)                                        Ongoing: 0                      Ongoing: 0
         Grand Total
         (FERC-516
         plus FERC-
         516A, including
         all                                       Year 1: 1,056   Year 1: 34,320 hr; $3,123,120
         respondents)                              Ongoing: 484    Ongoing: 1,760 hr; $160,160
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                                         Annual              Total                  Total Annual
                                       Number of          Number of     Average     Burden Hours
                                       Responses          Responses Burden (Hr.) & Total Annual
                            Number of     Per             (Rounded) & Cost ($) Per     Cost ($)
                           Respondents Respondent          (1) * (2) = Response3361  (Rounded)
             Reforms           (1)         (2)                 (3)         (4)      (3) * (4) = (5)
         Grand Total
         Average Per
         Entity Cost                                                                    Year 1: $70,980
         (44 TPs)                                                                       Ongoing: $3,640


               In this final rule, after accounting for the adjustments and inputs noted above,

         updated labor costs, and reforms not being adopted, the Commission used the numbers

         provided in the NOPR for all reforms being adopted.

               Interested persons may obtain information on the reporting requirements by

         contacting Ellen Brown, Office of the Executive Director, Federal Energy Regulatory

         Commission, 888 First Street, NE, Washington, DC 20426 via email

         (DataClearance@ferc.gov) or telephone ((202) 502-8663).

         VI.   Environmental Analysis

               The Commission is required to prepare an Environmental Assessment or an

         Environmental Impact Statement for any action that may have a significant adverse effect

         on the human environment.3363 We conclude that neither an Environmental Assessment

         nor an Environmental Impact Statement is required for this final rule under


               3363
                    Regulations Implementing the National Environmental Policy Act, Order No.
         486, 52 FR 47897 (Dec. 17, 1987), FERC Stats. & Regs. Preambles 1986-1990 ¶ 30,783
         (1987) (cross-referenced at 41 FERC ¶ 61,284).
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         § 380.4(a)(15) of the Commission’s regulations, which provides a categorical exemption

         for approval of actions under sections 205 and 206 of the FPA relating to the filing of

         schedules containing all rates and charges for the transmission or sale of electric energy

         subject to the Commission’s jurisdiction, plus the classification, practices, contracts, and

         regulations that affect rates, charges, classification, and services.3364

         VII.   Regulatory Flexibility Act

                The Regulatory Flexibility Act of 19803365 requires a description and analysis of

         proposed and final rules that will have significant economic impact on a substantial

         number of small entities. The Small Business Administration (SBA) sets the threshold

         for what constitutes a small business. Under SBA’s size standards,3366 transmission

         providers and RTOs/ISOs fall under the category of Electric Bulk Power Transmission

         and Control (NAICS code 221121), that has a size threshold of under 950 employees

         (including the entity and its associates).3367




                3364
                       18 CFR 380.4(a)(15) (2022).
                3365
                       5 U.S.C. 601-612.
                3366
                       13 CFR 121.201 (2022).
                3367
                   The RFA definition of “small entity” refers to the definition provided in the
         Small Business Act, which defines a “small business concern” as a business that is
         independently owned and operated and that is not dominant in its field of operation. The
         Small Business Administration’s regulations define the threshold for a small Electric
         Bulk Power Transmission and Control entity (NAICS code 221121) to be 950 employees
         (“the maximum allowed for a concern and its affiliates to be considered small”). See
         13 CFR 121.201 (2022); see also 5 U.S.C. 601(3) (citing to Section 3 of the Small
         Business Act, 15 U.S.C. 632).
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                We estimate that there are 44 transmission providers affected by the reforms

         proposed in this final rule. Furthermore, we estimate that 6 of the 44 total transmission

         providers, approximately 14% (rounded), are small entities.

                We estimate that one-time costs (in Year 1) associated with the reforms required

         by this final rule for one transmission provider (as shown in the table above) would be

         $70,980. Following Year 1, we estimate that the annual ongoing costs for one

         transmission provider would be $3,640. According to SBA guidance, the determination

         of significance of impact “should be seen as relative to the size of the business, the size of

         the competitor’s business, and the impact the regulation has on larger competitors.”3368

         We do not consider the estimated cost to be a significant economic impact. As a result,

         we certify that the reforms proposed in this final rule would not have a significant

         economic impact on a substantial number of small entities.

         VIII. Document Availability

                In addition to publishing the full text of this document in the Federal Register, the

         Commission provides all interested persons an opportunity to view and/or print the

         contents of this document via the Internet through the Commission’s Home Page

         (http://www.ferc.gov).




                3368
                     U.S. Small Business Administration, A Guide for Government Agencies How
         to Comply with the Regulatory Flexibility Act, at 18 (Aug. 2017),
         https://cdn.advocacy.sba.gov/wp-content/uploads/2019/06/21110349/How-to-Comply-
         with-the-RFA.pdf.
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                From the Commission’s Home Page on the Internet, this information is available

         on eLibrary. The full text of this document is available on eLibrary in PDF and

         Microsoft Word format for viewing, printing, and/or downloading. To access this

         document in eLibrary, type the docket number in the docket number field. User

         assistance is available for eLibrary and the Commission’s website during normal business

         hours from the Commission’s Online Support at (202) 502-6652 (toll free at 1-866-208-

         3676) or email at ferconlinesupport@ferc.gov, or the Public Reference Room at (202)

         502-8371, TTY (202) 502-8659. E-mail the Public Reference Room at

         public.referenceroom@ferc.gov.

         IX.    Effective Date and Congressional Notification

                The final rule is effective [INSERT DATE 60 DAYS AFTER DATE OF

         PUBLICATION IN THE FEDERAL REGISTER]. The Commission has determined,

         with the concurrence of the Administrator of the Office of Information and Regulatory

         Affairs of OMB, that this rule is a “major rule” as defined in section 351 of the Small

         Business Regulatory Enforcement Fairness Act of 1996.

         List of Subjects in 18 CFR Part 35
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               Electric power rates, Electric utilities, Reporting and recordkeeping requirements.

         By the Commission. Commissioner Danly is concurring with a separate statement attached.
                            Commissioner Clements is concurring with a separate statement
                            attached.
                            Commissioner Christie is concurring with a separate statement
                            attached.

         (SEAL)



                                                      Kimberly D. Bose,
                                                         Secretary.
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                In consideration of the foregoing, the Commission amends Part 35, Chapter I,
         Title 18, Code of Federal Regulations, as follows:
         Part 35 – FILING OF RATE SCHEDULES AND TARIFFS
         The authority citation for part 35 continues to read as follows:

                Authority:        16 U.S.C. 791a-825r, 2601-2645; 31 U.S.C. 9701; 42 U.S.C. 7101-

                7352.

         Amend § 35.28 as follows:

                               a. Add a new paragraph (f)(1)(ii)

         § 35.28        Non-discriminatory open access tariff.

                *                 *             *             *             *
         (f) Standard generator interconnection procedures and agreements.
                (1)     *         *      *
                        (ii)      Any public utility that conducts interconnection studies shall be

         liable for and eligible to appeal certain penalties under the interconnection procedures

         and agreements adopted by the Commission-approved independent system operator or

         regional transmission organization under paragraph (f)(1) of this section following that

         public utility’s failure to complete an interconnection study by the appropriate deadline.
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         NOTE: The following appendices will not appear in the Code of Federal Regulations.
                          Appendix A: Abbreviated Names of Commenters

                         Americans for a Clean Energy Grid                           ACEG
                        Alliance for Clean Energy-New York                          ACE-NY
                       American Council on Renewable Energy                         ACORE
                        Associated Electric Cooperative, Inc.                         AECI
                             Advanced Energy Economy                                  AEE
                    American Electric Power Service Corporation                       AEP
                        AES Clean Energy Development, LLC                             AES
           Acciona Energy USA Global LLC; Copenhagen Infrastructure IV               Affected
                K/S; Hecate Energy LLC; Leeward Renewable Energy                 Interconnection
                  Development, LLC; and Tri Global Energy, LLC                      Customers

                                    Allen Meyer                                   Allen Meyer
                       Alliant Energy Corporate Services, Inc.                   Alliant Energy
                                Amazon Energy LLC                                   Amazon
                             Ameren Services Company                                Ameren
                               Ampjack Industries Ltd                               Ampjack
                         Anbaric Development Partners, LLC                          Anbaric
             American Public Power Association and Large Public Power             APPA-LPPC
                                    Council
                                      Apple Inc.                                     Apple
                          Arizona Public Service Company                              APS
                          Arizona Corporation Commission                       Arizona Commission
                                   Avangrid, Inc.                                   Avangrid
                          Bonneville Power Administration                          Bonneville
                                   Bretton C Little                              Bretton C Little
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                California Independent System Operator Corporation                     CAISO
                         California Energy Storage Alliance                            CESA
           The American Clean Power Association and RENEW Northeast                 Clean Energy
                                                                                    Associations
                         Clean Energy Buyers Association                        Clean Energy Buyers
                            Clean Energy States Alliance                         Clean Energy States
                                  ClearPath, Inc.                                     ClearPath
                       Colorado Public Utilities Commission                    Colorado Commission
                 Interconnection Cost Consumer Protection Coalition             Consumer Protection
                                                                                     Coalition
                            Consumers Energy Company                             Consumers Energy
           Community Renewable Energy Association and NewSun Energy              CREA and NewSun
                                    LLC
                              CTC Global Corporation                                CTC Global
                          Cypress Creek Renewables, LLC                            Cypress Creek
                           Dominion Energy Services, Inc                              Dominion
            Duke Energy Carolinas, LLC; Duke Energy Progress, LLC; and         Duke Southeast Utilities
                            Duke Energy Florida, LLC
            Duke Energy Carolinas, LLC; Duke Energy Progress, LLC;                 Early Adopters
          Dominion Energy South Carolina Inc.; PacifiCorp; Public Service            Coalition
          Company of Colorado; and Tri-State Generation and Transmission
                                Association, Inc.

                            Environmental Defense Fund                         Environmental Defense
                                                                                       Fund
                               EDF Renewables LLC                                 EDF Renewables
                              Edison Electric Institute                                  EEI
                             El Paso Electric Company                              El Paso Electric
                      Electricity Consumers Resource Council                          ELCON
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                         Elevate Renewable Energy F7, LLC                                  Elevate

              North American Electric Reliability Corporation; Midwest                     NERC
           Reliability Organization; Northeast Power Coordinating Council,
           Inc.; ReliabilityFirst Corporation; SERC Reliability Corporation;
          Texas Reliability Entity, Inc.; and Western Electricity Coordinating
                                         Council
                               Enel North America, Inc.                                     Enel
                                 Energy Keepers, Inc.                                  Energy Keepers
                             ENGIE North America, Inc.                                     ENGIE
                           Electric Power Research Institute                                EPRI
                          Electric Power Supply Association                                EPSA
                                Equinor Wind US LLC                                    Equinor Wind
                                   Evergreen Action                                   Evergreen Action
                         Eversource Energy Service Company                               Eversource
                               Fervo Energy Company                                     Fervo Energy
                              Golden State Clean Energy                                    GCSE
                                     Google LLC                                            Google
                                 Guzman Energy LLC                                    Guzman Energy
              Hannon Armstrong Sustainable Infrastructure Capital, Inc.              Hannon Armstrong

           Rye Development, LLC; rPlus Hydro, LLP; Nelson Energy LLC;                   Hydropower
          Advanced Hydro Solutions LLC; Hydro Green Energy, LLC; Natel                  Commenters
          Energy, Inc.; and Sorenson Engineering, Inc. and its affiliates, Cat
             Creek Energy, LLC and National Hydropower Association

                                Idaho Power Company                                     Idaho Power
                           Illinois Commerce Commission                             Illinois Commission
                           Citizens Utility Board of Illinois                           Illinois CUB
                         Indicated PJM Transmission Owners                           Indicated PJM TOs
                       4,293 people collected Evergreen Action                      Individual Signatories
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                              Interwest Energy Alliance                             Interwest
            Invenergy Solar Development North America LLC; Invenergy                Invenergy
           Thermal Development LLC; Invenergy Wind Development North
                  America LLC; and Invenergy Transmission LLC

                                 Iowa Utilities Board                           Iowa Commission
                        Interstate Renewable Energy Council                           IREC
                               ISO New England Inc.                                  ISO-NE
                                  ISO/RTO Council                               ISO/RTO Council
                    Los Angeles Department of Water and Power                        LADWP
                          Longroad Energy Holdings, LLC                          Longroad Energy
                                      Lori Ecker                                    Lori Ecker
                           Microgrid Resources Coalition                       Microgrid Resources
                   Midcontinent Independent System Operator, Inc.                     MISO
                            MISO Transmission Owners                                MISO TOs

              National Association of Regulatory Utility Commissioners               NARUC

                                  National Grid Plc                               National Grid
                  New England Power Pool Participants Committee                     NEPOOL
                    New England States Committee on Electricity                     NESCOE
                         New Jersey Board of Public Utilities                      New Jersey
                                                                                   Commission
            New York State Department of State Utility Intervention Unit         New York State
                                                                                  Department
                                NextEra Energy, Inc                                  NextEra
           North Carolina Utilities Commission and North Carolina Utilities      North Carolina
                               Commission Public Staff                         Commission and Staff
                      North Dakota Public Service Commission                      North Dakota
                                                                                  Commission
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               Northwest & Intermountain Power Producers Coalition                 Northwest and
                                                                                   Intermountain
                   National Rural Electric Cooperative Association                    NRECA
                           Navajo Tribal Utility Authority                         Navajo Utility
             Nevada Power Company and Sierra Pacific Power Company                   NV Energy

          New York Public Service Commission and New York State Energy           NY Commission and
                      Research and Development Authority                            NYSERDA
                          New York Transmission Owners                                NYTOs
                    New York Independent System Operator, Inc.                        NYISO
              Public Commission of Ohio’s Office of the Federal Energy            Ohio Commission
                                    Advocate                                     Consumer Advocate
                            Omaha Public Power District                          Omaha Public Power
                         Organization of MISO States, Inc.                             OMS

                             Ørsted North America, Inc.                                Ørsted
                         OCETI Sakowin Power Authority                                 OSPA
                  Renewable Northwest and NW Energy Coalition                     Pacific Northwest
                                                                                    Organizations
            Avista Corporation; Idaho Power Company; Portland General             Pacific Northwest
                  Electric Company; and Puget Sound Energy, Inc.                       Utilities
                                      PacifiCorp                                     PacifiCorp
                              Pattern Energy Group LP                              Pattern Energy
                                   Payton Alaama                                   Payton Alaama
                      Pennsylvania Public Utility Commission                        Pennsylvania
                                                                                    Commission
                         Pacific Gas and Electric Company                              PG&E
                            Pine Gate Renewables, LLC                                Pine Gate
                            PJM Interconnection, L.L.C.                                 PJM
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                       PJM Cities and Communities Coalition                         PJM Coalition
                          Organization of PJM States, Inc.                              OPSI
                          PPL Electric Utilities Corporation                             PPL
                              Puget Sound Energy, Inc.                               Puget Sound
          Sustainable FERC Project, Sierra Club, Natural Resources Defense          Public Interest
          Council, Earthjustice, Acadia Center, Environmental Defense Fund,         Organizations
           National Audubon Society, Southern Environmental Law Center,
                                    and Southface

                                  R Street Institute                                   R Street
                                  Rick K. Lathrop                                   Rick K Lathrop
                                Roy J Shanker Ph.D.                                 Roy J Shanker
                                 rPlus Hydro, LLLP                                       rPlus
                          RWE Renewables Americas, LLC                             RWE Renewables
                         San Diego Gas & Electric Company                              SDG&E
                         Solar Energy Industries Association                            SEIA
                 U.S. Senators John D. Hickenlooper and Angus King               Senators Hickenlooper
                                                                                       and King
                            Shell Energy North America                                   Shell

                        Southern California Edison Company                           SoCal Edison
                          Southern Company Services, Inc.                              Southern
                             Southwest Power Pool, Inc.                                  SPP
          Connecticut Department of Energy and Environmental Protection,            State Agencies
           Connecticut Attorney General, Connecticut Office of Consumer
           Counsel, Delaware Attorney General, Delaware Division of the
           Public Advocate, Attorney General for the District of Columbia,
          District of Columbia Office of People’s Counsel, Attorney General
          of Maryland, Maryland Office of People’s Counsel, Massachusetts
          Attorney General, Pennsylvania Office of Consumer Advocate, and
                          the Rhode Island Attorney General
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                                      Sue Hilton                                   Sue Hilton
                      Transmission Access Policy Study Group                          TAPS
                                      Tesla, Inc.                                     Tesla
               Tri-State Generation and Transmission Association, Inc.              Tri-State
                                Uda Law Firm, P.C.                                Uda Law Firm
                           Utah Municipal Power Agency                               UMPA
                           Union of Concerned Scientists                       Union of Concerned
                                                                                   Scientists
                             US Chamber of Commerce                              U.S. Chamber of
                                                                                   Commerce
                         United States Department of Energy                         U.S. DOE
                                      VEIR Inc.                                       VEIR
                       Vermont Electric Power Company, Inc.                    Vermont Electric and
                                                                                Vermont Transco
                                    Vistra Corp.                                      Vistra
                         Western Area Power Administration                           WAPA
                                  WATT Coalition                                 WATT Coalition
          Colorado Public Utilities Commission Chair Megan Decker, Oregon      Western Regulators
          Public Utility Commission Chair Cynthia Hall, New Mexico Public
            Regulation Commission Chair Cynthia Hall and Vice-Chair Joe
            Maestas, Arizona Corporation Commission Chair Lea Marquez
             Peterson, Nevada Public Utilities Commission Chair Hayley
          Williamson, California Public Utilities Commission Commissioner
           Cliff Rechtschaffen, and Washington Utilities and Transportation
                        Commission Commissioner Ann Rendahl
                                       WIRES                                         WIRES
                              Xcel Energy Services Inc.                               Xcel
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                              Appendix B: Interconnection Study Metrics

                         Table 2: RTOs/ISOs Interconnection Study Metrics 20221

                                           Studies        Delayed
        Transmission      Completed       Completed      Studies at                    Withdrawn
                                                                      Withdrawals
          Provider         Studies           Past         End of                       Pre-Study
                                           Deadline        Year
        CAISO                 340            340             -             108               1
        ISO-NE                 51             46             23             24               8
        MISO                  609             597           285             49               0
        NYISO                  84             72             25             34              28
        PJM2                  153             152          2,211           240              137




                1
                 We do not include data from SPP in this table. SPP is transitioning to a new
         interconnection study process and thus its data is not clearly comparable to the other
         RTOs/ISOs.
                2
                  Data drawn from the following sources, respectively:
         http://www.caiso.com/Documents/FERC845_InterconnectionStudyStatistics.pdf
         (CAISO);
         https://cdn.misoenergy.org/MISO%20Generator%20Interconnection%20Study%20Metri
         cs%20Q1%202023444684.pdf (MISO); https://www.oasis.oati.com/isne/ (ISO-NE)
         https://www.nyiso.com/interconnections (NYISO); and https://www.pjm.com/-
         /media/planning/services-requests/interconnection-study-statistics.ashx (PJM).
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                        Table 3: Non-RTOs/ISOs Interconnection Study Metrics 20223

                                             Completed       Delayed
                               Completed
  Transmission Provider                         Past        Studies at    Withdrawals      Withdrawn
                                Studies
                                              Deadline     End of Year                     Pre-Study
 Alabama Power Company
 (Southern Company)                148            0              0              45               5
 Arizona Public Service            40             40            106             12               5
 Avista Corp.                      14             5              1              11               3
 Black Hills Colorado               4             0              5              0                0
 Black Hills Power                  7             1              4              1                0
 Cheyenne Light, Fuel, and
 Power Co.                          4             0              2              0                0
 Deseret Generation and
 Transmission Coop.                 4             0              0              0                0
 Dominion Energy South
 Carolina                           2             2              0              23               21
 Duke Energy Carolinas              1             1              0              4                0
 El Paso Electric Co.               6             2              0              7                1
 Florida Power & Light             60             43            78              0                0
 GridLiance                         1             0              0              0                0
 Idaho Power                       98             20             7              15               5
 Louisville Gas and
 Electric                          18             16            15              2                1



                3
                 This table excludes the following non-RTO/ISO transmission providers that did
         not report any completed or ongoing interconnection studies for 2022: Basin Electric
         Power Coop.; Cube Yadkin Transmission, LLC; Golden Spread Coop; Gulf Power
         Company; MATL LLP; UNS Electric, Inc.; and Versant Power.
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                                             Completed       Delayed
                             Completed
  Transmission Provider                         Past        Studies at     Withdrawals     Withdrawn
                              Studies
                                              Deadline     End of Year                     Pre-Study
 Nevada Power                    103              0              0              15                 4
 Northwestern Corp
 (Montana)                        33             14              4              10                 2
 PacifiCorp                      202              0              0              41                 7
 Portland General Electric
 Company                          10              9              9               0                 0
 Public Service Company
 of Colorado                      41             39             28              12                 1
 Public Service Company
 of New Mexico                    21             21             29               8                 0
 Puget Sound Energy               50             37              6               6                 2
 Tampa Electric Company           25             13              1               4                 2
 Tri-State Generation and
 Transmission                     30              0              0              11                 10
 Tucson Electric Power
 Co.4                             20             20              0               3                 2


                4
                  Data drawn from the following sources, respectively:
         https://www.oasis.oati.com/SOCO/index.html (Alabama Power Company (Southern
         Company)); https://www.oasis.oati.com/azps/ (Arizona Public Service);
         https://www.oasis.oati.com/avat/ (Avista Corp.);
         https://www.blackhillscorp.com/utilities-businesses/transmission/electric-transmission-
         services (Black Hills Colorado); https://www.blackhillscorp.com/utilities-
         businesses/transmission/electric-transmission-services (Black Hills Power);
         http://www.oatioasis.com/CLPT/index.html (Cheyenne Light, Fuel, and Power Co.);
         https://www.oasis.oati.com/dgt/index.html (Deseret Generation and Transmission Coop.);
         https://www.oasis.oati.com/SCEG/ (Dominion Energy South Carolina);
         http://www.oasis.oati.com/duk/index.html (Duke Energy Carolinas);
         https://www.oasis.oati.com/epe/index.html (El Paso Electric Co.);
         https://www.oasis.oati.com/FPL/index.html (Florida Power & Light);
         https://www.oasis.oati.com/SMCN/index.html (GridLiance);
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                     Table 4: RTO/ISO End of Year Delayed Interconnection Studies5
                                              Delayed    Delayed    Delayed
                            Transmission     Studies at Studies at Studies at
                              Provider        End of     End of     End of
                                               2020       2021       2022
                           CAISO                 -          -          -
                           ISO-NE                12           19           23
                           MISO                 479          385          285
                           NYISO                 26           48           25
                           PJM                  272         1,281        2,211




         https://www.oasis.oati.com/ipco/ (Idaho Power);
         https://www.oasis.oati.com/LGEE/index.html (Louisville Gas and
         Electric);http://www.oasis.oati.com/NEVP/ (Nevada Power);
         http://www.oatioasis.com/NWMT/ (Northwestern Corp (Montana);
         https://www.oasis.oati.com/PPW/ (PacifiCorp); https://www.oasis.oati.com/PGE/
         (Portland General Electric Company); https://www.oasis.oati.com/psco/index.html
         (Public Service Company of Colorado); https://www.oasis.oati.com/PNM/ (Public
         Service Company of New Mexico); https://www.oasis.oati.com/psei/index.html (Puget
         Sound Energy); https://www.oasis.oati.com/TEC/ (Tampa Electric Company);
         https://www.oasis.oati.com/tsgt/index.html (Tri-State Generation and Transmission); and
         https://www.oasis.oati.com/tepc/ (Tucson Electric Power Co.).
                5
                 We do not include data from SPP in this table. SPP is transitioning to a new
         interconnection study process and thus its data is not clearly comparable to the other
         RTOs/ISOs.
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                 Table 5: Non-RTO/ISO End of Year Delayed Interconnection Studies
                                       Delayed Studies   Delayed Studies     Delayed Studies
           Transmission Provider       at End of 2020    at End of 2021      at End of 2022

         Alabama Power Company
         (Southern Company)                  0                 0                   0

         Arizona Public Service              29                55                 106
         Avista Corp.                        2                 7                   1
         Black Hills Colorado                0                 0                   5
         Black Hills Power                   0                 0                   4
         Cheyenne Light, Fuel, and
         Power Co.                           0                 0                   2

         Deseret Generation and
         Transmission Coop.                  0                 0                   0

         Dominion Energy South
         Carolina                            16                19                  0

         Duke Energy Carolinas               6                 1                   0
         El Paso Electric Co.                1                 0                   0
         Florida Power & Light               48                21                  78
         GridLiance                          0                 0                   0
         Gulf Power Co.                      13                12                   -
         Idaho Power                         0                 0                   7
         Louisville Gas and Electric         3                 12                  15
         Nevada Power                        0                 0                   0
         Northwestern Corp
         (Montana)                           2                 1                   4

         PacifiCorp                          0                 0                   0
         Portland General Electric
         Company                             2                 0                   9
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                                      Delayed Studies   Delayed Studies     Delayed Studies
           Transmission Provider      at End of 2020    at End of 2021      at End of 2022

         Public Service Company
         of Colorado                        0                 0                   28

         Public Service Company
         of New Mexico                      20                17                  29

         Puget Sound Energy                 0                 2                   6
         Tampa Electric Company             16                5                   1
         Tri-State Generation and
         Transmission                       28                0                   0

         Tucson Electric Power Co.          2                 1                   0
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                                         Appendix C: Pro forma LGIP

         Note: Deletions are in brackets and additions are in italics.

         Section 1.    Definitions

         Adverse System Impact shall mean the negative effects due to technical or operational
         limits on conductors or equipment being exceeded that may compromise the safety and
         reliability of the electric system.

         Affected System shall mean an electric system other than [the]Transmission Provider's
         Transmission System that may be affected by the proposed interconnection.

         Affected System Facilities Construction Agreement shall mean the agreement contained
         in Appendix 11 to this LGIP that is made between Transmission Provider and Affected
         System Interconnection Customer to facilitate the construction of and to set forth cost
         responsibility for necessary Affected System Network Upgrades on Transmission
         Provider’s Transmission System.

         Affected System Interconnection Customer shall mean any entity that submits an
         interconnection request for a generating facility to a transmission system other than
         Transmission Provider’s Transmission System that may cause the need for Affected
         System Network Upgrades on the Transmission Provider’s Transmission System.

         Affected System Network Upgrades shall mean the additions, modifications, and
         upgrades to Transmission Provider’s Transmission System required to accommodate
         Affected System Interconnection Customer’s proposed interconnection to a transmission
         system other than Transmission Provider’s Transmission System.

         Affected System Operator shall mean the entity that operates an Affected System.

         Affected System Queue Position shall mean the queue position of an Affected System
         Interconnection Customer in Transmission Provider’s interconnection queue relative to
         Transmission Provider’s Interconnection Customers’ Queue Positions.

         Affected System Study shall mean the evaluation of Affected System Interconnection
         Customers’ proposed interconnection(s) to a transmission system other than
         Transmission Provider’s Transmission System that have an impact on Transmission
         Provider’s Transmission System, as described in Section 9 of this LGIP.
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         Affected System Study Agreement shall mean the agreement contained in Appendix 9 to
         this LGIP that is made between Transmission Provider and Affected System
         Interconnection Customer to conduct an Affected System Study pursuant to Section 9 of
         this LGIP.

         Affected System Study Report shall mean the report issued following completion of an
         Affected System Study pursuant to Section 9.6 of this LGIP.

         Affiliate shall mean, with respect to a corporation, partnership or other entity, each such
         other corporation, partnership or other entity that directly or indirectly, through one or
         more intermediaries, controls, is controlled by, or is under common control with, such
         corporation, partnership or other entity.

         Ancillary Services shall mean those services that are necessary to support the
         transmission of capacity and energy from resources to loads while maintaining reliable
         operation of the Transmission Provider’s Transmission System in accordance with Good
         Utility Practice.

         Applicable Laws and Regulations shall mean all duly promulgated applicable federal,
         state and local laws, regulations, rules, ordinances, codes, decrees, judgments, directives,
         or judicial or administrative orders, permits and other duly authorized actions of any
         Governmental Authority.

         [Applicable Reliability Council shall mean the reliability council applicable to the
         Transmission System to which the Generating Facility is directly interconnected.]

         Applicable Reliability Standards shall mean the requirements and guidelines of
         [NERC,]the [Applicable Reliability Council]Electric Reliability Organization and the
         [Control Area]Balancing Authority Area of the Transmission System to which the
         Generating Facility is directly interconnected.

         Balancing Authority shall mean an entity that integrates resource plans ahead of time,
         maintains demand and resource balance within a Balancing Authority Area, and
         supports interconnection frequency in real time.

         Balancing Authority Area shall mean the collection of generation, transmission, and
         loads within the metered boundaries of the Balancing Authority. The Balancing
         Authority maintains load-resource balance within this area.

         Base Case shall mean the base case power flow, short circuit, and stability data bases
         used for the Interconnection Studies by [the] Transmission Provider or Interconnection
         Customer.
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         Breach shall mean the failure of a Party to perform or observe any material term or
         condition of the Standard Large Generator Interconnection Agreement.

         Breaching Party shall mean a Party that is in Breach of the Standard Large Generator
         Interconnection Agreement.

         Business Day shall mean Monday through Friday, excluding Federal Holidays.

         Calendar Day shall mean any day including Saturday, Sunday or a Federal Holiday.

         Cluster shall mean a group of one or more Interconnection Requests that are studied
         together for the purpose of conducting a Cluster Study.

         Cluster Request Window shall mean the time period set forth in Section 3.4.1 of this
         LGIP.

         Cluster Restudy shall mean a restudy of a Cluster Study conducted pursuant to Section
         7.5 of this LGIP.

         Cluster Restudy Report Meeting shall mean the meeting held to discuss the results of a
         Cluster Restudy pursuant to Section 7.5 of this LGIP.

         Cluster Restudy Report shall mean the report issued following completion of a Cluster
         Restudy pursuant to Section 7.5 of this LGIP.

         Cluster Study shall mean the evaluation of one or more Interconnection Requests within
         a Cluster as described in Section 7 of this LGIP.

         Cluster Study Agreement shall mean the agreement contained in Appendix 2 to this
         LGIP for conducting the Cluster Study.

         Cluster Study Process shall mean the following processes, conducted in sequence: the
         Cluster Request Window; the Customer Engagement Window and Scoping Meetings
         therein; the Cluster Study; any needed Cluster Restudies; and the Interconnection
         Facilities Study.

         Cluster Study Report shall mean the report issued following completion of a Cluster
         Study pursuant to Section 7 of this LGIP.

         Cluster Study Report Meeting shall mean the meeting held to discuss the results of a
         Cluster Study pursuant to Section 7 of this LGIP.
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         Clustering shall mean the process whereby one or more [a group of] Interconnection
         Requests [is]are studied together, instead of serially, [for the purpose of conducting the
         Interconnection System Impact Study]as described in Section 7 of this LGIP.

         Commercial Operation shall mean the status of a Generating Facility that has
         commenced generating electricity for sale, excluding electricity generated during Trial
         Operation.

         Commercial Operation Date of a unit shall mean the date on which the Generating
         Facility commences Commercial Operation as agreed to by the Parties pursuant to
         Appendix E to the Standard Large Generator Interconnection Agreement.

         Commercial Readiness Deposit shall mean a deposit paid as set forth in Sections 3.4.2,
         7.5, and 8.1 of this LGIP.

         Confidential Information shall mean any confidential, proprietary or trade secret
         information of a plan, specification, pattern, procedure, design, device, list, concept,
         policy or compilation relating to the present or planned business of a Party, which is
         designated as confidential by the Party supplying the information, whether conveyed
         orally, electronically, in writing, through inspection, or otherwise.

         Contingent Facilities shall mean those unbuilt Interconnection Facilities and Network
         Upgrades upon which the Interconnection Request’s costs, timing, and study findings are
         dependent, and if delayed or not built, could cause a need for [Re-Studies] restudies of
         the Interconnection Request or a reassessment of the Interconnection Facilities and/or
         Network Upgrades and/or costs and timing.

         [Control Area shall mean an electrical system or systems bounded by interconnection
         metering and telemetry, capable of controlling generation to maintain its interchange
         schedule with other Control Areas and contributing to frequency regulation of the
         interconnection. A Control Area must be certified by an Applicable Reliability Council.]

         Customer Engagement Window shall mean the time period set forth in Section 3.4.5 of
         this LGIP.

         Default shall mean the failure of a Breaching Party to cure its Breach in accordance with
         Article 17 of the Standard Large Generator Interconnection Agreement.

         Dispute Resolution shall mean the procedure for resolution of a dispute between the
         Parties in which they will first attempt to resolve the dispute on an informal basis.

         Distribution System shall mean the Transmission Provider's facilities and equipment
         used to transmit electricity to ultimate usage points such as homes and industries directly
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         from nearby generators or from interchanges with higher voltage transmission networks
         which transport bulk power over longer distances. The voltage levels at which
         distribution systems operate differ among areas.

         Distribution Upgrades shall mean the additions, modifications, and upgrades to the
         Transmission Provider’s Distribution System at or beyond the Point of Interconnection to
         facilitate interconnection of the Generating Facility and render the transmission service
         necessary to effect Interconnection Customer’s wholesale sale of electricity in interstate
         commerce. Distribution Upgrades do not include Interconnection Facilities.

         Effective Date shall mean the date on which the Standard Large Generator
         Interconnection Agreement becomes effective upon execution by the Parties subject to
         acceptance by FERC, or if filed unexecuted, upon the date specified by FERC.

         Electric Reliability Organization shall mean the North American Electric Reliability
         Corporation or its successor organization.

         Emergency Condition shall mean a condition or situation: (1) that in the judgment of the
         Party making the claim is imminently likely to endanger life or property; or (2) that, in
         the case of a Transmission Provider, is imminently likely (as determined in a non-
         discriminatory manner) to cause a material adverse effect on the security of, or damage to
         Transmission Provider's Transmission System, Transmission Provider's Interconnection
         Facilities or the electric systems of others to which the Transmission Provider's
         Transmission System is directly connected; or (3) that, in the case of Interconnection
         Customer, is imminently likely (as determined in a non-discriminatory manner) to cause
         a material adverse effect on the security of, or damage to, the Generating Facility or
         Interconnection Customer's Interconnection Facilities. System restoration and black start
         shall be considered Emergency Conditions; provided that Interconnection Customer is
         not obligated by the Standard Large Generator Interconnection Agreement to possess
         black start capability.

         Energy Resource Interconnection Service shall mean an Interconnection Service that
         allows the Interconnection Customer to connect its Generating Facility to the
         Transmission Provider's Transmission System to be eligible to deliver the Generating
         Facility's electric output using the existing firm or nonfirm capacity of the Transmission
         Provider's Transmission System on an as available basis. Energy Resource
         Interconnection Service in and of itself does not convey transmission service.

         Engineering & Procurement (E&P) Agreement shall mean an agreement that
         authorizes the Transmission Provider to begin engineering and procurement of long lead-
         time items necessary for the establishment of the interconnection in order to advance the
         implementation of the Interconnection Request.
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         Environmental Law shall mean Applicable Laws or Regulations relating to pollution or
         protection of the environment or natural resources.

         Federal Power Act shall mean the Federal Power Act, as amended, 16 U.S.C. §§ 791a et
         seq.

         FERC shall mean the Federal Energy Regulatory Commission (Commission) or its
         successor.

         Force Majeure shall mean any act of God, labor disturbance, act of the public enemy,
         war, insurrection, riot, fire, storm or flood, explosion, breakage or accident to machinery
         or equipment, any order, regulation or restriction imposed by governmental, military or
         lawfully established civilian authorities, or any other cause beyond a Party's control. A
         Force Majeure event does not include acts of negligence or intentional wrongdoing by the
         Party claiming Force Majeure.

         Generating Facility shall mean Interconnection Customer’s [device]device(s) for the
         production and/or storage for later injection of electricity identified in the Interconnection
         Request, but shall not include [the]Interconnection Customer’s Interconnection Facilities.

         Generating Facility Capacity shall mean the net capacity of the Generating Facility
         [and] or the aggregate net capacity of the Generating Facility where it includes [multiple
         energy production devices] more than one device for the production and/or storage for
         later injection of electricity.

         Good Utility Practice shall mean any of the practices, methods and acts engaged in or
         approved by a significant portion of the electric industry during the relevant time period,
         or any of the practices, methods and acts which, in the exercise of reasonable judgment in
         light of the facts known at the time the decision was made, could have been expected to
         accomplish the desired result at a reasonable cost consistent with good business practices,
         reliability, safety and expedition. Good Utility Practice is not intended to be limited to
         the optimum practice, method, or act to the exclusion of all others, but rather to be
         acceptable practices, methods, or acts generally accepted in the region.

         Governmental Authority shall mean any federal, state, local or other governmental
         regulatory or administrative agency, court, commission, department, board, or other
         governmental subdivision, legislature, rulemaking board, tribunal, or other governmental
         authority having jurisdiction over the Parties, their respective facilities, or the respective
         services they provide, and exercising or entitled to exercise any administrative, executive,
         police, or taxing authority or power; provided, however, that such term does not include
         Interconnection Customer, Transmission Provider, or any Affiliate thereof.
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         Hazardous Substances shall mean any chemicals, materials or substances defined as or
         included in the definition of "hazardous substances," "hazardous wastes," "hazardous
         materials," "hazardous constituents," "restricted hazardous materials," "extremely
         hazardous substances," "toxic substances," "radioactive substances," "contaminants,"
         "pollutants," "toxic pollutants" or words of similar meaning and regulatory effect under
         any applicable Environmental Law, or any other chemical, material or substance,
         exposure to which is prohibited, limited or regulated by any applicable Environmental
         Law.

         Initial Synchronization Date shall mean the date upon which the Generating Facility is
         initially synchronized and upon which Trial Operation begins.

         In-Service Date shall mean the date upon which the Interconnection Customer
         reasonably expects it will be ready to begin use of the Transmission Provider's
         Interconnection Facilities to obtain back feed power.

         Interconnection Customer shall mean any entity, including the Transmission Provider,
         Transmission Owner or any of the Affiliates or subsidiaries of either, that proposes to
         interconnect its Generating Facility with the Transmission Provider's Transmission
         System.

         Interconnection Customer's Interconnection Facilities shall mean all facilities and
         equipment, as identified in Appendix A of the Standard Large Generator Interconnection
         Agreement, that are located between the Generating Facility and the Point of Change of
         Ownership, including any modification, addition, or upgrades to such facilities and
         equipment necessary to physically and electrically interconnect the Generating Facility to
         [the] Transmission Provider's Transmission System. Interconnection Customer's
         Interconnection Facilities are sole use facilities.

         Interconnection Facilities shall mean [the]Transmission Provider’s Interconnection
         Facilities and [the]Interconnection Customer's Interconnection Facilities. Collectively,
         Interconnection Facilities include all facilities and equipment between the Generating
         Facility and the Point of Interconnection, including any modification, additions or
         upgrades that are necessary to physically and electrically interconnect the Generating
         Facility to [the]Transmission Provider’s Transmission System. Interconnection Facilities
         are sole use facilities and shall not include Distribution Upgrades, Stand Alone Network
         Upgrades or Network Upgrades.

         Interconnection Facilities Study shall mean a study conducted by [the]Transmission
         Provider or a third party consultant for [the]Interconnection Customer to determine a list
         of facilities (including Transmission Provider’s Interconnection Facilities and Network
         Upgrades as identified in the [Interconnection System Impact]Cluster Study), the cost of
         those facilities, and the time required to interconnect the Generating Facility with[the]
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         Transmission Provider’s Transmission System. The scope of the study is defined in
         Section 8 of this LGIP[the Standard Large Generator Interconnection Procedures].

         Interconnection Facilities Study Agreement shall mean the form of agreement
         contained in Appendix 3[4] of this LGIP [the Standard Large Generator Interconnection
         Procedures] for conducting the Interconnection Facilities Study.

         Interconnection Facilities Study Report shall mean the report issued following
         completion of an Interconnection Facilities Study pursuant to Section 8 of this LGIP.

         [Interconnection Feasibility Study shall mean a preliminary evaluation of the system
         impact and cost of interconnecting the Generating Facility to Transmission Provider’s
         Transmission System, the scope of which is described in Section 6 of the Standard Large
         Generator Interconnection Procedures.]

         [Interconnection Feasibility Study Agreement shall mean the form of agreement
         contained in Appendix 2 of the Standard Large Generator Interconnection Procedures for
         conducting the Interconnection Feasibility Study.]

         Interconnection Request shall mean an Interconnection Customer's request, in the form
         of Appendix 1 to this LGIP [the Standard Large Generator Interconnection Procedures],
         in accordance with the Tariff, to interconnect a new Generating Facility, or to increase
         the capacity of, or make a Material Modification to the operating characteristics of, an
         existing Generating Facility that is interconnected with the Transmission Provider's
         Transmission System.

         Interconnection Service shall mean the service provided by the Transmission Provider
         associated with interconnecting the Interconnection Customer's Generating Facility to the
         Transmission Provider's Transmission System and enabling it to receive electric energy
         and capacity from the Generating Facility at the Point of Interconnection, pursuant to the
         terms of the Standard Large Generator Interconnection Agreement and, if applicable, the
         Transmission Provider's Tariff.

         Interconnection Study shall mean any of the following studies: [the Interconnection
         Feasibility Study, the Interconnection System Impact Study,] the Cluster Study, the
         Cluster Restudy, the Surplus Interconnection Service System Impact Study, and the
         Interconnection Facilities Study, described in this LGIP [the Standard Large Generator
         Interconnection Procedures].

         [Interconnection System Impact Study shall mean an engineering study that evaluates
         the impact of the proposed interconnection on the safety and reliability of Transmission
         Provider’s Transmission System and, if applicable, an Affected System. The study shall
         identify and detail the system impacts that would result if the Generating Facility were
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         interconnected without project modifications or system modifications, focusing on the
         Adverse System Impacts identified in the Interconnection Feasibility Study, or to study
         potential impacts, including but not limited to those identified in the Scoping Meeting as
         described in the Standard Large Generator Interconnection Procedures.]

         [Interconnection System Impact Study Agreement shall mean the form of agreement
         contained in Appendix 3 of the Standard Large Generator Interconnection Procedures for
         conducting the Interconnection System Impact Study.]

         IRS shall mean the Internal Revenue Service.

         Joint Operating Committee shall be a group made up of representatives from
         Interconnection Customers and the Transmission Provider to coordinate operating and
         technical considerations of Interconnection Service.

         Large Generating Facility shall mean a Generating Facility having a Generating
         Facility Capacity of more than 20 MW.

         LGIA Deposit shall mean the deposit Interconnection Customer submits when returning
         the executed LGIA, or within 10 Business Days of requesting that the LGIA be filed
         unexecuted at the Commission, in accordance with Section 11.3 of this LGIP.

         Loss shall mean any and all losses relating to injury to or death of any person or damage
         to property, demand, suits, recoveries, costs and expenses, court costs, attorney fees, and
         all other obligations by or to third parties, arising out of or resulting from the other Party's
         performance, or non-performance of its obligations under the Standard Large Generator
         Interconnection Agreement on behalf of the [indemnifying] Indemnifying Party, except in
         cases of gross negligence or intentional wrongdoing by the [indemnifying]Indemnifying
         Party.

         Material Modification shall mean those modifications that have a material impact on the
         cost or timing of any Interconnection Request with an equal or later Queue
         Position[queue priority date].

         Metering Equipment shall mean all metering equipment installed or to be installed at
         the Generating Facility pursuant to the Standard Large Generator Interconnection
         Agreement at the metering points, including but not limited to instrument transformers,
         MWh-meters, data acquisition equipment, transducers, remote terminal unit,
         communications equipment, phone lines, and fiber optics.

         Multiparty Affected System Facilities Construction Agreement shall mean the
         agreement contained in Appendix 12 to this LGIP that is made among Transmission
         Provider and multiple Affected System Interconnection Customers to facilitate the
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         construction of and to set forth cost responsibility for necessary Affected System Network
         Upgrades on Transmission Provider’s Transmission System.

         Multiparty Affected System Study Agreement shall mean the agreement contained in
         Appendix 10 to this LGIP that is made among Transmission Provider and multiple
         Affected System Interconnection Customers to conduct an Affected System Study pursuant
         to Section 9 of this LGIP.

         [NERC shall mean the North American Electric Reliability Council or its successor
         organization.]

         Network Resource shall mean any designated generating resource owned, purchased, or
         leased by a Network Customer under the Network Integration Transmission Service
         Tariff. Network Resources do not include any resource, or any portion thereof, that is
         committed for sale to third parties or otherwise cannot be called upon to meet the
         Network Customer's Network Load on a non-interruptible basis.

         Network Resource Interconnection Service shall mean an Interconnection Service that
         allows the Interconnection Customer to integrate its Large Generating Facility with the
         Transmission Provider's Transmission System (1) in a manner comparable to that in
         which the Transmission Provider integrates its generating facilities to serve native load
         customers; or (2) in an RTO or ISO with market based congestion management, in the
         same manner as Network Resources. Network Resource Interconnection Service in and
         of itself does not convey transmission service.

         Network Upgrades shall mean the additions, modifications, and upgrades to the
         Transmission Provider's Transmission System required at or beyond the point at which
         the Interconnection Facilities connect to the Transmission Provider's Transmission
         System to accommodate the interconnection of the Large Generating Facility to the
         Transmission Provider's Transmission System.

         Notice of Dispute shall mean a written notice of a dispute or claim that arises out of or in
         connection with the Standard Large Generator Interconnection Agreement or its
         performance.

         Optional Interconnection Study shall mean a sensitivity analysis based on assumptions
         specified by the Interconnection Customer in the Optional Interconnection Study
         Agreement.

         Optional Interconnection Study Agreement shall mean the form of agreement
         contained in Appendix 4[5] of this LGIP [the Standard Large Generator Interconnection
         Procedures] for conducting the Optional Interconnection Study.
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         Party or Parties shall mean Transmission Provider, Transmission Owner,
         Interconnection Customer or any combination of the above.

         Permissible Technological Advancement {Transmission Provider inserts definition
         here.}

         Point of Change of Ownership shall mean the point, as set forth in Appendix A to the
         Standard Large Generator Interconnection Agreement, where the Interconnection
         Customer's Interconnection Facilities connect to the Transmission Provider's
         Interconnection Facilities.

         Point of Interconnection shall mean the point, as set forth in Appendix A to the
         Standard Large Generator Interconnection Agreement, where the Interconnection
         Facilities connect to the Transmission Provider's Transmission System.

         Proportional Impact Method shall mean a technical analysis conducted by Transmission
         Provider to determine the degree to which each Generating Facility in the Cluster Study
         contributes to the need for a specific System Network Upgrade.

         Provisional Interconnection Service shall mean Interconnection Service provided by
         Transmission Provider associated with interconnecting the Interconnection Customer’s
         Generating Facility to Transmission Provider’s Transmission System and enabling that
         Transmission System to receive electric energy and capacity from the Generating Facility
         at the Point of Interconnection, pursuant to the terms of the Provisional Large Generator
         Interconnection Agreement and, if applicable, the Tariff.

         Provisional Large Generator Interconnection Agreement shall mean the
         interconnection agreement for Provisional Interconnection Service established between
         Transmission Provider and/or the Transmission Owner and the Interconnection
         Customer. This agreement shall take the form of the Large Generator Interconnection
         Agreement, modified for provisional purposes.

         Queue Position shall mean the order of a valid Interconnection Request, relative to all
         other pending valid Interconnection Requests, [that is] established pursuant to Section 4.1
         of this LGIP. [based upon the date and time of receipt of the valid Interconnection
         Request by the Transmission Provider.]

         Reasonable Efforts shall mean, with respect to an action required to be attempted or
         taken by a Party under the Standard Large Generator Interconnection Agreement, efforts
         that are timely and consistent with Good Utility Practice and are otherwise substantially
         equivalent to those a Party would use to protect its own interests.
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         Scoping Meeting shall mean the meeting between representatives of [the]Interconnection
         Customer(s) and Transmission Provider conducted for the purpose of discussing the
         proposed Interconnection Request and any alternative interconnection options,
         [to]exchang[e]ing information including any transmission data and earlier study
         evaluations that would be reasonably expected to impact such interconnection options,
         refining information and models provided by Interconnection Customer(s), discussing the
         Cluster Study materials posted to OASIS pursuant to Section 3.5 of this LGIP, and
         [to]analyz[e]ing such information[, and to determine the potential feasible Points of
         Interconnection].

         Site Control shall mean [documentation reasonably demonstrating]the exclusive land
         right to develop, construct, operate, and maintain the Generating Facility over the term
         of expected operation of the Generating Facility. Site Control may be demonstrated by
         documentation establishing: (1) ownership of, a leasehold interest in, or a right to
         develop a site [for the purpose of constructing]of sufficient size to construct and operate
         the Generating Facility; (2) an option to purchase or acquire a leasehold site of sufficient
         size to construct and operate the Generating Facility[for such purpose]; or (3) [an
         exclusivity or other business relationship between]any other documentation that clearly
         demonstrates the right of Interconnection Customer[and the entity having the right to
         sell, lease or grant Interconnection Customer the right to possess or]to exclusively occupy
         a site [for such purpose.]of sufficient size to construct and operate the Generating
         Facility. Transmission Provider will maintain acreage requirements for each Generating
         Facility type on its OASIS or public website.

         Small Generating Facility shall mean a Generating Facility that has a Generating
         Facility Capacity of no more than 20 MW.

         Stand Alone Network Upgrades shall mean Network Upgrades that are not part of an
         Affected System that an Interconnection Customer may construct without affecting day-
         to-day operations of the Transmission System during their construction and the following
         conditions are met: (1) a Substation Network Upgrade must only be required for a single
         Interconnection Customer in the Cluster and no other Interconnection Customer in that
         Cluster is required to interconnect to the same Substation Network Upgrades, and (2) a
         System Network Upgrade must only be required for a single Interconnection Customer in
         the Cluster, as indicated under the Transmission Provider’s Proportional Impact
         Method. Both [the]Transmission Provider and [the]Interconnection Customer must agree
         as to what constitutes Stand Alone Network Upgrades and identify them in Appendix A
         to the Standard Large Generator Interconnection Agreement. If [the]Transmission
         Provider and Interconnection Customer disagree about whether a particular Network
         Upgrade is a Stand Alone Network Upgrade, [the]Transmission Provider must provide
         [the]Interconnection Customer a written technical explanation outlining why
         [the]Transmission Provider does not consider the Network Upgrade to be a Stand Alone
         Network Upgrade within 15 days of its determination.
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         Standard Large Generator Interconnection Agreement (LGIA) shall mean the form
         of interconnection agreement applicable to an Interconnection Request pertaining to a
         Large Generating Facility that is included in the Transmission Provider's Tariff.

         Standard Large Generator Interconnection Procedures (LGIP) shall mean the
         interconnection procedures applicable to an Interconnection Request pertaining to a
         Large Generating Facility that are included in the Transmission Provider's Tariff.

         Substation Network Upgrades shall mean Network Upgrades that are required at the
         substation located at the Point of Interconnection.

         Surplus Interconnection Service shall mean any unneeded portion of Interconnection
         Service established in a Large Generator Interconnection Agreement, such that if Surplus
         Interconnection Service is utilized, the total amount of Interconnection Service at the
         Point of Interconnection would remain the same.

         System Network Upgrades shall mean Network Upgrades that are required beyond the
         substation located at the Point of Interconnection.

         System Protection Facilities shall mean the equipment, including necessary protection
         signal communications equipment, required to protect (1) the Transmission Provider's
         Transmission System from faults or other electrical disturbances occurring at the
         Generating Facility and (2) the Generating Facility from faults or other electrical system
         disturbances occurring on the Transmission Provider's Transmission System or on other
         delivery systems or other generating systems to which the Transmission Provider's
         Transmission System is directly connected.

         Tariff shall mean the Transmission Provider's Tariff through which open access
         transmission service and Interconnection Service are offered, as filed with FERC, and as
         amended or supplemented from time to time, or any successor tariff.

         Transitional Cluster Study shall mean an Interconnection Study evaluating a Cluster of
         Interconnection Requests during the transition to the Cluster Study Process, as set forth
         in Section 5.1.1.2 of this LGIP.

         Transitional Cluster Study Report shall mean the report issued following completion of
         a Transitional Cluster Study pursuant to Section 5.1.1.2 of this LGIP.

         Transitional Serial Interconnection Facilities Study shall mean an Interconnection
         Facilities Study evaluating an Interconnection Request on a serial basis during the
         transition to the Cluster Study Process, as set forth in Section 5.1.1.1 of this LGIP.
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         Transitional Serial Interconnection Facilities Study Report shall mean the report issued
         following completion of a Transitional Interconnection Facilities Study pursuant to
         Section 5.1.1.1 of this LGIP.

         Transmission Owner shall mean an entity that owns, leases or otherwise possesses an
         interest in the portion of the Transmission System at the Point of Interconnection and
         may be a Party to the Standard Large Generator Interconnection Agreement to the extent
         necessary.

         Transmission Provider shall mean the public utility (or its designated agent) that owns,
         controls, or operates transmission or distribution facilities used for the transmission of
         electricity in interstate commerce and provides transmission service under the Tariff.
         The term Transmission Provider should be read to include the Transmission Owner when
         the Transmission Owner is separate from the Transmission Provider.

         Transmission Provider’s Interconnection Facilities shall mean all facilities and
         equipment owned, controlled, or operated by [the]Transmission Provider from the Point
         of Change of Ownership to the Point of Interconnection as identified in Appendix A to
         the Standard Large Generator Interconnection Agreement, including any modifications,
         additions or upgrades to such facilities and equipment. Transmission Provider’s
         Interconnection Facilities are sole use facilities and shall not include Distribution
         Upgrades, Stand Alone Network Upgrades or Network Upgrades.

         Transmission System shall mean the facilities owned, controlled or operated by the
         Transmission Provider or Transmission Owner that are used to provide transmission
         service under the Tariff.

         Trial Operation shall mean the period during which Interconnection Customer is
         engaged in on-site test operations and commissioning of the Generating Facility prior to
         Commercial Operation.

         Withdrawal Penalty shall mean the penalty assessed by Transmission Provider to an
         Interconnection Customer that chooses to withdraw or is deemed withdrawn from
         Transmission Provider’s interconnection queue or whose Generating Facility does not
         otherwise reach Commercial Operation. The calculation of the Withdrawal Penalty is
         set forth in Section 3.7.1 of this LGIP.

         Section 2.   Scope and Application

         2.1   Application of Standard Large Generator Interconnection Procedures.

         Sections 2 through 13 apply to processing an Interconnection Request pertaining to a
         Large Generating Facility.
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         2.2   Comparability.

         Transmission Provider shall receive, process and analyze all Interconnection Requests in
         a timely manner as set forth in this LGIP. Transmission Provider [will use the same
         Reasonable Efforts]shall process[ing] and analyze[ing] Interconnection Requests from all
         Interconnection Customers comparably, regardless of whether the Generating Facilities
         are owned by Transmission Provider, its subsidiaries or Affiliates or others.

         2.3   Base Case Data.

         Transmission Provider shall maintain base power flow, short circuit and stability
         databases, including all underlying assumptions, and contingency list on either its OASIS
         site or a password-protected website, subject to confidentiality provisions in LGIP
         Section 13.1. In addition, Transmission Provider shall maintain network models and
         underlying assumptions on either its OASIS site or a password-protected website. Such
         network models and underlying assumptions should reasonably represent those used
         during the most recent interconnection study and be representative of current system
         conditions. If Transmission Provider posts this information on a password-protected
         website, a link to the information must be provided on Transmission Provider’s OASIS
         site. Transmission Provider is permitted to require that Interconnection Customers,
         OASIS site users and password-protected website users sign a confidentiality agreement
         before the release of commercially sensitive information or Critical Energy Infrastructure
         Information in the Base Case data. Such databases and lists, hereinafter referred to as
         Base Cases, shall include all (1) generation projects and (2) transmission projects,
         including merchant transmission projects that are proposed for the Transmission System
         for which a transmission expansion plan has been submitted and approved by the
         applicable authority.

         2.4   No Applicability to Transmission Service.

         Nothing in this LGIP shall constitute a request for transmission service or confer upon an
         Interconnection Customer any right to receive transmission service.

         Section 3.   Interconnection Requests

         3.1 [General.] Interconnection Requests.

         3.1.1 Study Deposits.

         3.1.1.1 Study Deposit.
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         [An ]Interconnection Customer shall submit to Transmission Provider, during a Cluster
         Request Window, an Interconnection Request in the form of Appendix 1 to this LGIP, an
         application fee of $5,000, and a refundable study deposit of[$10,000]:

                   a. $35,000 plus $1,000 per MW for Interconnection Requests ≥ 20 MW < 80
                      MW, or;
                   b. $150,000 for Interconnection Requests ≥ 80 MW < 200 MW; or
                   c. $250,000 for Interconnection Requests ≥ 200 MW.

         Transmission Provider shall apply the study deposit toward the cost of the Cluster [an
         Interconnection Feasibility]Study Process.

         3.1.2 Submission.

         Interconnection Customer shall submit a separate Interconnection Request for each site
         [and may submit multiple Interconnection Requests for a single site. Interconnection
         Customer must submit a deposit with each Interconnection Request even when more than
         one request is submitted for a single site]. Where multiple Generating Facilities share a
         site, Interconnection Customer(s) may submit separate Interconnection Requests or a
         single Interconnection Request. An Interconnection Request to evaluate one site at two
         different voltage levels shall be treated as two Interconnection Requests.

         At Interconnection Customer’s option, Transmission Provider and Interconnection
         Customer will identify alternative Point(s) of Interconnection and configurations at [the]a
         Scoping Meeting within the Customer Engagement Window to evaluate in this process
         and attempt to eliminate alternatives in a reasonable fashion given resources and
         information available. Interconnection Customer will select the definitive Point[(s)] of
         Interconnection to be studied no later than the execution of the [Interconnection
         Feasibility Study Agreement.]Cluster Study Agreement. For purposes of clustering
         Interconnection Requests, Transmission Provider may propose changes to the requested
         Point of Interconnection to facilitate efficient interconnection of Interconnection
         Customers at common Point(s) of Interconnection. Transmission Provider shall notify
         Interconnection Customers in writing of any intended changes to the requested Point of
         Interconnection within the Customer Engagement Window, and the Point of
         Interconnection shall only change upon mutual agreement.

         Transmission Provider shall have a process in place to consider requests for
         Interconnection Service below the Generating Facility Capacity. These requests for
         Interconnection Service shall be studied at the level of Interconnection Service requested
         for purposes of Interconnection Facilities, Network Upgrades, and associated costs, but
         may be subject to other studies at the full Generating Facility Capacity to ensure safety
         and reliability of the system, with the study costs borne by [the]Interconnection
         Customer. If after the additional studies are complete, Transmission Provider determines
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         that additional Network Upgrades are necessary, then Transmission Provider must: (1)
         specify which additional Network Upgrade costs are based on which studies; and (2)
         provide a detailed explanation of why the additional Network Upgrades are necessary.
         Any Interconnection Facility and/or Network Upgrade costs required for safety and
         reliability also would be borne by [the]Interconnection Customer. Interconnection
         Customers may be subject to additional control technologies as well as testing and
         validation of those technologies consistent with Article 6 of the LGIA. The necessary
         control technologies and protection systems shall be established in Appendix C of that
         executed, or requested to be filed unexecuted, LGIA.

         Transmission Provider shall have a process in place to study Generating Facilities that
         include at least one electric storage resource using operating assumptions (i.e., whether
         the interconnecting Generating Facility will or will not charge at peak load) that reflect
         the proposed charging behavior of the Generating Facility as requested by
         Interconnection Customer, unless Transmission Provider determines that Good Utility
         Practice, including Applicable Reliability Standards, otherwise requires the use of
         different operating assumptions. If Transmission Provider finds Interconnection
         Customer’s requested operating assumptions conflict with Good Utility Practice,
         Transmission Provider must provide Interconnection Customer an explanation in writing
         of why the submitted operating assumptions are insufficient or inappropriate by no later
         than thirty (30) Calendar Days before the end of the Customer Engagement Window and
         allow Interconnection Customer to revise and resubmit requested operating assumptions
         one time at least ten (10) Calendar Days prior to the end of the Customer Engagement
         Window. Transmission Provider shall study these requests for Interconnection Service,
         with the study costs borne by Interconnection Customer, using the submitted operating
         assumptions for purposes of Interconnection Facilities, Network Upgrades, and
         associated costs. These requests for Interconnection Service also may be subject to other
         studies at the full Generating Facility Capacity to ensure safety and reliability of the
         system, with the study costs borne by Interconnection Customer. Interconnection
         Customer’s Generating Facility may be subject to additional control technologies as well
         as testing and validation of such additional control technologies consistent with Article 6
         of the LGIA. The necessary control technologies and protection systems shall be set forth
         in Appendix C of the Interconnection Customer’s LGIA.

         3.2    Identification of Types of Interconnection Services.

         At the time the Interconnection Request is submitted, Interconnection Customer must
         request either Energy Resource Interconnection Service or Network Resource
         Interconnection Service, as described; provided, however, any Interconnection Customer
         requesting Network Resource Interconnection Service may also request that it be
         concurrently studied for Energy Resource Interconnection Service, up to the point when
         an Interconnection Facilit[y]ies Study Agreement is executed. Interconnection Customer
         may then elect to proceed with Network Resource Interconnection Service or to proceed
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         under a lower level of interconnection service to the extent that only certain upgrades will
         be completed.

         3.2.1 Energy Resource Interconnection Service.

         3.2.1.1 The Product.

         Energy Resource Interconnection Service allows Interconnection Customer to connect
         the Large Generating Facility to the Transmission System and be eligible to deliver the
         Large Generating Facility's output using the existing firm or non-firm capacity of the
         Transmission System on an "as available" basis. Energy Resource Interconnection
         Service does not in and of itself convey any right to deliver electricity to any specific
         customer or Point of Delivery.

         3.2.1.2 The Study.

         The study consists of short circuit/fault duty, steady state (thermal and voltage) and
         stability analyses. The short circuit/fault duty analysis would identify direct
         Interconnection Facilities required and the Network Upgrades necessary to address short
         circuit issues associated with the Interconnection Facilities. The stability and steady state
         studies would identify necessary upgrades to allow full output of the proposed Large
         Generating Facility, except for Generating Facilities that include at least one electric
         storage resource that request to use operating assumptions pursuant to Section 3.1.2,
         unless the Transmission Provider determines that Good Utility Practice, including
         Applicable Reliability Standards, otherwise requires the use of different operating
         assumptions, and would also identify the maximum allowed output, at the time the study
         is performed, of the interconnecting Large Generating Facility without requiring
         additional Network Upgrades.

         3.2.2 Network Resource Interconnection Service.

         3.2.2.1 The Product.

         Transmission Provider must conduct the necessary studies and construct the Network
         Upgrades needed to integrate the Large Generating Facility (1) in a manner comparable
         to that in which Transmission Provider integrates its generating facilities to serve native
         load customers; or (2) in an ISO or RTO with market based congestion management, in
         the same manner as Network Resources. Network Resource Interconnection Service
         Allows Interconnection Customer's Large Generating Facility to be designated as a
         Network Resource, up to the Large Generating Facility's full output, on the same basis as
         existing Network Resources interconnected to Transmission Provider's Transmission
         System, and to be studied as a Network Resource on the assumption that such a
         designation will occur.
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         3.2.2.2 The Study.

         The Interconnection Study for Network Resource Interconnection Service shall assure
         that Interconnection Customer's Large Generating Facility meets the requirements for
         Network Resource Interconnection Service and as a general matter, that such Large
         Generating Facility's interconnection is also studied with Transmission Provider's
         Transmission System at peak load, under a variety of severely stressed conditions, to
         determine whether, with the Large Generating Facility at full output, except for
         Generating Facilities that include at least one electric storage resource that request to
         use, and for which Transmission Provider approves, operating assumptions pursuant to
         Section 3.1.2, the aggregate of generation in the local area can be delivered to the
         aggregate of load on Transmission Provider's Transmission System, consistent with
         Transmission Provider's reliability criteria and procedures. This approach assumes that
         some portion of existing Network Resources are displaced by the output of
         Interconnection Customer's Large Generating Facility. Network Resource
         Interconnection Service in and of itself does not convey any right to deliver electricity to
         any specific customer or Point of Delivery. The Transmission Provider may also study
         the Transmission System under non-peak load conditions. However, upon request by the
         Interconnection Customer, the Transmission Provider must explain in writing to the
         Interconnection Customer why the study of non-peak load conditions is required for
         reliability purposes.

         3.3    Utilization of Surplus Interconnection Service.

         Transmission Provider must provide a process that allows an Interconnection Customer
         to utilize or transfer Surplus Interconnection Service at an existing Point of
         Interconnection. The original Interconnection Customer or one of its affiliates shall have
         priority to utilize Surplus Interconnection Service. If the existing Interconnection
         Customer or one of its affiliates does not exercise its priority, then that service may be
         made available to other potential Interconnection Customers.

         3.3.1 Surplus Interconnection Service Request.

         Surplus Interconnection Service requests may be made by the existing Interconnection
         Customer [whose Generating Facility is already interconnected]or one of its affiliates or
         may be submitted once Interconnection Customer has executed the LGIA or requested
         that the LGIA be filed unexecuted. Surplus Interconnection Service requests also may be
         made by another Interconnection Customer. Transmission Provider shall provide a
         process for evaluating Interconnection Requests for Surplus Interconnection Service.
         Studies for Surplus Interconnection Service shall consist of reactive power, short
         circuit/fault duty, stability analyses, and any other appropriate studies. Steady-state
         (thermal/voltage) analyses may be performed as necessary to ensure that all required
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         reliability conditions are studied. If the Surplus Interconnection Service was not studied
         under off-peak conditions, off-peak steady state analyses shall be performed to the
         required level necessary to demonstrate reliable operation of the Surplus Interconnection
         Service. If the original system impact study report or Cluster Study Report is not
         available for the Surplus Interconnection Service, both off-peak and peak analysis may
         need to be performed for the existing Generating Facility associated with the request for
         Surplus Interconnection Service. The reactive power, short circuit/fault duty, stability,
         and steady-state analyses for Surplus Interconnection Service will identify any additional
         Interconnection Facilities and/or Network Upgrades necessary.

         Transmission Provider shall study Surplus Interconnection Service requests for a
         Generating Facility that includes at least one electric storage resource using operating
         assumptions (i.e., whether the interconnecting Generating Facility will or will not charge
         at peak load) that reflect the proposed charging behavior of the Generating Facility as
         requested by Interconnection Customer, unless Transmission Provider determines that
         Good Utility Practice, including Applicable Reliability Standards, otherwise requires the
         use of different operating assumptions.

         3.4   Valid Interconnection Request.

         3.4.1 Cluster Request Window.

         Transmission Provider shall accept Interconnection Requests during a forty-five (45)
         Calendar Day period (the Cluster Request Window). The initial Cluster Request Window
         shall open for Interconnection Requests beginning {Transmission Provider to provide
         number of Calendar Days} after the conclusion of the transition process set out in
         Section 5.1 of this LGIP and successive Cluster Request Windows shall open annually
         every {Transmission Provider to provide Month and Day (e.g., January 1)} thereafter.

         3.4.[1]2 Initiating an Interconnection Request.

         An Interconnection Customer seeking to join a Cluster shall submit its Interconnection
         Request to Transmission Provider within, and no later than the close of, the Cluster
         Request Window. Interconnection Requests submitted outside of the Cluster Request
         Window will not be considered. To initiate an Interconnection Request, Interconnection
         Customer must submit all of the following:

               (i) [a $10,000 deposit,]applicable study deposit amount, pursuant to Section
               3.1.1.1 of this LGIP,

               (ii) a completed application in the form of Appendix 1, [and]
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                (iii) demonstration of no less than ninety percent (90%) Site Control or [a posting
                of an additional deposit of $10,000. Such deposits shall be applied toward any
                Interconnection Studies, pursuant to the Interconnection Request. If
                Interconnection Customer demonstrates Site Control within the cure period
                specified in Section 3.4.3 after submitting its Interconnection Request, the
                additional deposit shall be refundable; otherwise, all such deposit(s), additional
                and initial, become non-refundable.] (1) a signed affidavit from an officer of the
                company indicating that Site Control is unobtainable due to regulatory limitations
                as such term is defined by the Transmission Provider; and (2) documentation
                sufficiently describing and explaining the source and effects of such regulatory
                limitations, including a description of any conditions that must be met to satisfy
                the regulatory limitations and the anticipated time by which Interconnection
                Customer expects to satisfy the regulatory requirements and (3) a deposit in lieu
                of Site Control of $10,000 per MW, subject to a minimum of $500,000 and a
                maximum of $2,000,000. Interconnection Requests from multiple Interconnection
                Customers for multiple Generating Facilities that share a site must include a
                contract or other agreement that allows for shared land use.

                (iv) Generating Facility Capacity (MW) (and requested Interconnection Service
                level if the requested Interconnection Service is less than the Generating Facility
                Capacity),

                (v) If applicable, (1) the requested operating assumptions (i.e., whether the
                interconnecting Generating Facility will or will not charge at peak load) to be
                used by Transmission Provider that reflect the proposed charging behavior of the
                Generating Facility that includes at least one electric storage resource, and (2) a
                description of any control technologies (software and/or hardware) that will limit
                the operation of the Generating Facility to the operating assumptions submitted by
                Interconnection Customer.

                (vi) A Commercial Readiness Deposit equal to two times the study deposit
                described in Section 3.1.1.1 of this LGIP in the form of an irrevocable letter of
                credit or cash. This Commercial Readiness Deposit is refunded to Interconnection
                Customer according to Section 3.7 of this LGIP,

                (vii) A Point of Interconnection, and

                (viii) Whether the Interconnection Request shall be studied for Network Resource
                Interconnection Service or for Energy Resource Interconnection Service,
                consistent with Section 3.2 of this LGIP.

         An Interconnection Customer that submits a deposit in lieu of Site Control due to
         demonstrated regulatory limitations must demonstrate that it is taking identifiable steps
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         to secure the necessary regulatory approvals from the applicable federal, state, and/or
         tribal entities before execution of the Cluster Study Agreement. Such deposit will be held
         by Transmission Provider until Interconnection Customer provides the required Site
         Control demonstration for its point in the Cluster Study Process. Interconnection
         Customers facing qualifying regulatory limitations must demonstrate one-hundred
         percent (100%) Site Control within one-hundred eighty (180) Calendar Days of the
         effective date of the LGIA.

         Interconnection Customer shall promptly inform Transmission Provider of any material
         change to Interconnection Customer’s demonstration of Site Control under Section
         3.4.2(iii) of this LGIP. If Transmission Provider determines, based on Interconnection
         Customer’s information, that Interconnection Customer no longer satisfies the Site
         Control requirement, Transmission Provider shall give Interconnection Customer ten
         (10) Business Days to demonstrate satisfaction with the applicable requirement subject to
         Transmission Provider’s approval. Absent such, Transmission Provider shall deem the
         Interconnection Request withdrawn pursuant to Section 3.7 of this LGIP.

         The expected In-Service Date of the new Large Generating Facility or increase in
         capacity of the existing Generating Facility shall be no more than the process window for
         the regional expansion planning period (or in the absence of a regional planning process,
         the process window for Transmission Provider's expansion planning period) not to
         exceed seven years from the date the Interconnection Request is received by
         Transmission Provider, unless Interconnection Customer demonstrates that engineering,
         permitting and construction of the new Large Generating Facility or increase in capacity
         of the existing Generating Facility will take longer than the regional expansion planning
         period. The In-Service Date may succeed the date the Interconnection Request is received
         by Transmission Provider by a period up to ten years, or longer where Interconnection
         Customer and Transmission Provider agree, such agreement not to be unreasonably
         withheld.

         3.4.[2]3 Acknowledgment of Interconnection Request.

         Transmission Provider shall acknowledge receipt of the Interconnection Request within
         five (5) Business Days of receipt of the request and attach a copy of the received
         Interconnection Request to the acknowledgement.

         3.4.[3]4 Deficiencies in Interconnection Request.

         An Interconnection Request will not be considered to be a valid request until all items in
         Section [3.4.1]3.4.2 of this LGIP have been received by Transmission Provider. If an
         Interconnection Request fails to meet the requirements set forth in Section [3.4.1]3.4.2 of
         this LGIP, Transmission Provider shall notify Interconnection Customer within five (5)
         Business Days of receipt of the initial Interconnection Request of the reasons for such
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         failure and that the Interconnection Request does not constitute a valid request.
         Interconnection Customer shall provide Transmission Provider the additional requested
         information needed to constitute a valid request within ten (10) Business Days after
         receipt of such notice but no later than the close of the Cluster Request Window. At any
         time, if Transmission Provider finds that the technical data provided by Interconnection
         Customer is incomplete or contains errors, Interconnection Customer and Transmission
         Provider shall work expeditiously and in good faith to remedy such issues. In the event
         that [Failure by] Interconnection Customer fails to comply with this Section 3.4.[3]4 of
         this LGIP, Transmission Providers shall deem the Interconnection Request withdrawn
         (without the cure period provided under Section 3.7 of this LGIP), the application fee is
         forfeited to the Transmission Provider, and the study deposit and Commercial Readiness
         Deposit shall be returned to Interconnection Customer [shall be treated in accordance
         with Section 3.7].

         3.4.5 Customer Engagement Window.

         Upon the close of each Cluster Request Window, Transmission Provider shall open a
         sixty (60) Calendar Day period (Customer Engagement Window). During the Customer
         Engagement Window, Transmission Provider shall hold a Scoping Meeting with all
         interested Interconnection Customers. Notwithstanding the preceding requirements and
         upon written consent of all Interconnection Customers within the Cluster, Transmission
         Provider may shorten the Customer Engagement Window and begin the Cluster Study.
         Within ten (10) Business Days of the opening of the Customer Engagement Window,
         Transmission Provider shall post on its OASIS a list of Interconnection Requests for that
         Cluster. The list shall identify, for each anonymized Interconnection Request: (1) the
         requested amount of Interconnection Service; (2) the location by county and state; (3) the
         station or transmission line or lines where the interconnection will be made; (4) the
         projected In-Service Date; (5) the type of Interconnection Service requested; and (6) the
         type of Generating Facility or Facilities to be constructed, including fuel types, such as
         coal, natural gas, solar, or wind. The Transmission Provider must ensure that project
         information is anonymized and does not reveal the identity or commercial information of
         interconnection customers with submitted requests. During the Customer Engagement
         Window, Transmission Provider shall provide to Interconnection Customer a non-
         binding updated good faith estimate of the cost and timeframe for completing the Cluster
         Study and a Cluster Study Agreement to be executed prior to the close of the Customer
         Engagement Window.

         At the end of the Customer Engagement Window, all Interconnection Requests deemed
         valid that have executed a Cluster Study Agreement in the form of Appendix 2 to this
         LGIP shall be included in the Cluster Study. Any Interconnection Requests not deemed
         valid at the close of the Customer Engagement Window shall be deemed withdrawn
         (without the cure period provided under Section 3.7 of this LGIP) by Transmission
         Provider, the application fee shall be forfeited to the Transmission Provider, and the
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         Transmission Provider shall return the study deposit and Commercial Readiness Deposit
         to Interconnection Customer. Immediately following the Customer Engagement Window,
         Transmission Provider shall initiate the Cluster Study described in Section 7 of this
         LGIP.
         3.4.[4]6 Cluster Study Scoping Meetings.

         [Within ten (10) Business Days after receipt of a valid Interconnection Request]During
         the Customer Engagement Window, Transmission Provider shall [establish a date
         agreeable to]hold a Scoping Meeting with all Interconnection Customers whose valid
         Interconnection Requests were received in that Cluster Request Window.

         The purpose of the Cluster Study Scoping Meeting shall be to discuss alternative
         interconnection options, to exchange information including any transmission data and
         earlier study evaluations that would reasonably be expected to impact such
         interconnection options, to discuss the Cluster Study materials posted to OASIS pursuant
         to Section 3.5 of this LGIP, if applicable, and to analyze such information [and to
         determine the potential feasible Points of Interconnection]. Transmission Provider and
         Interconnection Customer(s) will bring to the meeting such technical data, including, but
         not limited to: (i) general facility loadings, (ii) general instability issues, (iii) general
         short circuit issues, (iv) general voltage issues, and (v) general reliability issues as may be
         reasonably required to accomplish the purpose of the meeting. Transmission Provider and
         Interconnection Customer(s) will also bring to the meeting personnel and other resources
         as may be reasonably required to accomplish the purpose of the meeting in the time
         allocated for the meeting. On the basis of the meeting, Interconnection Customer(s) shall
         designate its Point of Interconnection.[, pursuant to Section 6.1,] and one or more
         available alternative Point(s) of Interconnection. The duration of the meeting shall be
         sufficient to accomplish its purpose. If the Cluster Study Scoping Meeting consists of
         more than one Interconnection Customer, Transmission Provider shall issue, no later
         than fifteen (15) Business Days after the commencement of the Customer Engagement
         Window, and Interconnection Customer shall execute a non-disclosure agreement prior
         to a group Cluster Study Scoping Meeting, which will provide for confidentiality of
         identifying commercially sensitive information pertaining to any other Interconnection
         Customers.

         3.5    OASIS Posting.

         3.5.1 OASIS Posting.

         Transmission Provider will maintain on its OASIS a list of all Interconnection Requests.
         The list will identify, for each Interconnection Request: (i) the maximum summer and
         winter megawatt electrical output; (ii) the location by county and state; (iii) the station or
         transmission line or lines where the interconnection will be made; (iv) the projected In-
         Service Date; (v) the status of the Interconnection Request, including Queue Position;
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         (vi) the type of Interconnection Service being requested; and (vii) the availability of any
         studies related to the Interconnection Request; (viii) the date of the Interconnection
         Request; (ix) the type of Generating Facility to be constructed[(combined cycle, base
         load or combustion turbine and fuel type)]; and (x) for Interconnection Requests that
         have not resulted in a completed interconnection, an explanation as to why it was not
         completed. Except in the case of an Affiliate, the list will not disclose the identity of
         Interconnection Customer until Interconnection Customer executes an LGIA or requests
         that Transmission Provider file an unexecuted LGIA with FERC. Before holding a
         Scoping Meeting with its Affiliate, Transmission Provider shall post on OASIS an
         advance notice of its intent to do so. Transmission Provider shall post to its OASIS site
         any deviations from the study timelines set forth herein. Interconnection Study reports
         and Optional Interconnection Study reports shall be posted to Transmission Provider's
         OASIS site subsequent to the meeting between Interconnection Customer and
         Transmission Provider to discuss the applicable study results. Transmission Provider
         shall also post any known deviations in the Large Generating Facility’s In-Service Date.

         3.5.2 Requirement to Post Interconnection Study Metrics.

         Transmission Provider will maintain on its OASIS or its website summary statistics
         related to processing Interconnection Studies pursuant to Interconnection Requests,
         updated quarterly. If Transmission Provider posts this information on its website, a link
         to the information must be provided on Transmission Provider’s OASIS site. For each
         calendar quarter, Transmission Providers must calculate and post the information detailed
         in [sections]Sections 3.5.2.1 through 3.5.2.4 of this LGIP.

         3.5.2.1 Interconnection [Feasibility Studies]Cluster Study Processing Time.

         (A) Number of Interconnection Requests that had [Interconnection Feasibility]Cluster
         Studies completed within Transmission Provider’s coordinated region during the
         reporting quarter,

         (B) Number of Interconnection Requests that had [Interconnection Feasibility]Cluster
         Studies completed within Transmission Provider’s coordinated region during the
         reporting quarter that were completed more than [[timeline as listed in Transmission
         Provider’s LGIP]]one hundred fifty (150) Calendar Days after [receipt by Transmission
         Provider of the Interconnection Customer’s executed Interconnection Feasibility Study
         Agreement]the close of the Customer Engagement Window,

         (C) At the end of the reporting quarter, the number of active valid Interconnection
         Requests with ongoing incomplete [Interconnection Feasibility] Cluster Studies where
         such Interconnection Requests had executed [Interconnection Feasibility]a Cluster Study
         Agreement[s] received by Transmission Provider more than [[timeline as listed in
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         Transmission Provider’s LGIP]]one hundred fifty (150) Calendar Days before the
         reporting quarter end,

         (D) Mean time (in days), [Interconnection Feasibility]Cluster Studies completed within
         Transmission Provider’s coordinated region during the reporting quarter, from the [date
         when Transmission Provider received the executed Interconnection Feasibility Study
         Agreement]commencement of the Cluster Study to the date when Transmission Provider
         provided the completed [Interconnection Feasibility]Cluster Study Report to [the]
         Interconnection Customer,

         (E) Mean time (in days), Cluster Studies were completed within Transmission Provider’s
         coordinated region during the reporting quarter, from the close of the Cluster Request
         Window to the date when Transmission Provider provided the completed Cluster Study
         Report to Interconnection Customer.

         [(E)](F) Percentage of [Interconnection Feasibility]Cluster Studies exceeding [[timeline
         as listed in Transmission Provider’s LGIP]]one hundred fifty (150) Calendar Days to
         complete this reporting quarter, calculated as the sum of 3.5.2.1(B) plus 3.5.2.1(C)
         divided by the sum of 3.5.2.1(A) plus 3.5.2.1(C)[)].

         3.5.2.2 [Interconnection System Impact Studies]Cluster Restudies Processing Time.

         (A) Number of Interconnection Requests that had [Interconnection System Impact
         Studies]Cluster Restudies completed within Transmission Provider’s coordinated region
         during the reporting quarter,

         (B) Number of Interconnection Requests that had [Interconnection System Impact
         Studies]Cluster Restudies completed within Transmission Provider’s coordinated region
         during the reporting quarter that were completed more than [[timeline as listed in
         Transmission Provider’s LGIP]]one hundred fifty (150) Calendar Days after [receipt by]
         Transmission Provider notifies Interconnection Customers in the Cluster that a Cluster
         Restudy is required pursuant to Section 7.5(4) of this LGIP [of the Interconnection
         Customer’s executed Interconnection System Impact Study Agreement],

         (C) At the end of the reporting quarter, the number of active valid Interconnection
         Requests with ongoing incomplete [System Impact Studies]Cluster Restudies where
         Transmission Provider notified Interconnection Customers in the Cluster that a Cluster
         Restudy is required pursuant to Section 7.5(4) of this LGIP [such Interconnection
         Requests had executed Interconnection System Impact Study Agreements received by
         Transmission Provider] more than [[timeline as listed in Transmission Provider’s
         LGIP]]one hundred fifty (150) Calendar Days before the reporting quarter end,
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         (D) Mean time (in days), [Interconnection System Impact Studies]Cluster Restudies
         completed within Transmission Provider’s coordinated region during the reporting
         quarter, from the date when Transmission Provider notifies Interconnection Customers in
         the Cluster that a Cluster Restudy is required pursuant to Section 7.5(4) of this LGIP
         [received the executed Interconnection System Impact Study Agreement] to the date
         when Transmission Provider provided the completed [Interconnection System Impact
         Study]Cluster Restudy Report to [the]Interconnection Customer,

         (E) Mean time (in days), Cluster Restudies completed within Transmission Provider’s
         coordinated region during the reporting quarter, from the close of the Cluster Request
         Window to the date when Transmission Provider provided the completed Cluster Restudy
         Report to Interconnection Customer.

         [(E)](F) Percentage of [Interconnection System Impact Studies]Cluster Restudies
         exceeding [[timeline as listed in Transmission Provider’s LGIP]]one hundred fifty (150)
         Calendar Days to complete this reporting quarter, calculated as the sum of 3.5.2.2(B)
         plus 3.5.2.2(C) divided by the sum of 3.5.2.2(A) plus 3.5.2.2(C)).

         3.5.2.3 Interconnection Facilities Studies Processing Time.

         (A) Number of Interconnection Requests that had Interconnection Facilities Studies that
         are completed within Transmission Provider’s coordinated region during the reporting
         quarter,

         (B) Number of Interconnection Requests that had Interconnection Facilities Studies that
         are completed within Transmission Provider’s coordinated region during the reporting
         quarter that were completed more than {timeline as listed in Transmission Provider’s
         LGIP} after receipt by Transmission Provider of the Interconnection Customer’s
         executed Interconnection Facilities Study Agreement,

         (C) At the end of the reporting quarter, the number of active valid Interconnection
         Service requests with ongoing incomplete Interconnection Facilities Studies where such
         Interconnection Requests had executed Interconnection Facilities Studies Agreement
         received by Transmission Provider more than {timeline as listed in Transmission
         Provider’s LGIP} before the reporting quarter end,

         (D) Mean time (in days), for Interconnection Facilities Studies completed within
         Transmission Provider’s coordinated region during the reporting quarter, calculated from
         the date when Transmission Provider received the executed Interconnection Facilities
         Study Agreement to the date when Transmission Provider provided the completed
         Interconnection Facilities Study to the Interconnection Customer,
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         (E) Mean time (in days), Interconnection Facilities Studies completed within
         Transmission Provider’s coordinated region during the reporting quarter, from the close
         of the Cluster Request Window to the date when Transmission Provider provided the
         completed Interconnection Facilities Study to Interconnection Customer.

         [(E)](F) Percentage of delayed Interconnection Facilities Studies this reporting quarter,
         calculated as the sum of 3.5.2.3(B) plus 3.5.2.3(C) divided by the sum of 3.5.2.3(A) plus
         3.5.2.3(C)).

         3.5.2.4       Interconnection Service Requests Withdrawn from Interconnection
                       Queue.

         (A) Number of Interconnection Requests withdrawn from Transmission Provider’s
         interconnection queue during the reporting quarter,

         (B) Number of Interconnection Requests withdrawn from Transmission Provider’s
         interconnection queue during the reporting quarter before completion of any
         interconnection studies or execution of any interconnection study agreements,

         (C) Number of Interconnection Requests withdrawn from Transmission Provider’s
         interconnection queue during the reporting quarter before completion of [an
         Interconnection System Impact]a Cluster Study,

         (D) Number of Interconnection Requests withdrawn from Transmission Provider’s
         interconnection queue during the reporting quarter before completion of an
         Interconnection Facilities Study,

         (E) Number of Interconnection Requests withdrawn from Transmission Provider’s
         interconnection queue after execution of a generator interconnection agreement or
         Interconnection Customer requests the filing of an unexecuted, new interconnection
         agreement,

         (F) Mean time (in days), for all withdrawn Interconnection Requests, from the date when
         the request was determined to be valid to when Transmission Provider received the
         request to withdraw from the queue.

         3.5.3

         Transmission Provider is required to post on OASIS or its website the measures in
         paragraph 3.5.2.1(A) through paragraph 3.5.2.4(F) for each calendar quarter within 30
         days of the end of the calendar quarter. Transmission Provider will keep the quarterly
         measures posted on OASIS or its website for three calendar years with the first required
         report to be in the first quarter of 2020. If Transmission Provider retains this information
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         on its website, a link to the information must be provided on Transmission Provider’s
         OASIS site.

         3.5.4

         In the event that any of the values calculated in paragraphs 3.5.2.1(E), 3.5.2.2(E) or
         3.5.2.3(E) exceeds 25 percent for two consecutive calendar quarters, Transmission
         Provider will have to comply with the measures below for the next four consecutive
         calendar quarters and must continue reporting this information until Transmission
         Provider reports four consecutive calendar quarters without the values calculated in
         3.5.2.1(E), 3.5.2.2(E) or 3.5.2.3(E) exceeding 25 percent for two consecutive calendar
         quarters:

         (i) Transmission Provider must submit a report to the Commission describing the reason
         for each Cluster Study, Cluster Restudy, or individual Interconnection Facilities S[s]tudy
         [or group of clustered studies]pursuant to[an] one or more Interconnection Request(s)
         that exceeded its deadline (i.e., [45,]150, 90 or 180 days) for completion [(excluding any
         allowance for Reasonable Efforts)]. Transmission Provider must describe the reasons for
         each study delay and any steps taken to remedy these specific issues and, if applicable,
         prevent such delays in the future. The report must be filed at the Commission within 45
         days of the end of the calendar quarter.

         (ii) Transmission Provider shall aggregate the total number of employee-hours and third
         party consultant hours expended towards interconnection studies within its coordinated
         region that quarter and post on OASIS or its website. If Transmission Provider posts this
         information on its website, a link to the information must be provided on Transmission
         Provider’s OASIS site. This information is to be posted within 30 days of the end of the
         calendar quarter.

         3.6     Coordination with Affected Systems.

         Transmission Provider will coordinate the conduct of any studies required to determine
         the impact of the Interconnection Request on Affected Systems with Affected System
         Operators[and, if possible, include those results in its applicable Interconnection Study
         within the time frame specified in this LGIP. Transmission Provider will include such
         Affected System Operators in all meetings held with Interconnection Customer as
         required by this LGIP]. Interconnection Customer will cooperate with Transmission
         Provider and Affected System Operator in all matters related to the conduct of studies and
         the determination of modifications to Affected Systems.

         A Transmission Provider whose system may be impacted by a proposed interconnection
         on another transmission provider’s transmission system [which may be an Affected
         System] shall cooperate with the [T]transmission [P]provider with whom interconnection
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         has been requested in all matters related to the conduct of studies and the determination
         of modifications to Transmission Provider’s Transmission System[Affected Systems].

         3.6.1 Initial Notification.

         Transmission Provider must notify Affected System Operator of a potential Affected
         System impact caused by an Interconnection Request within ten (10) Business Days of the
         completion of the Cluster Study or, if the potential Affected System impact is only
         determined in the Cluster Restudy, the completion of the Cluster Restudy.

         At the time of initial notification, Transmission Provider must provide Interconnection
         Customer with a list of potential Affected Systems, along with relevant contact
         information.

         3.7 Withdrawal.

         Interconnection Customer may withdraw its Interconnection Request at any time by
         written notice of such withdrawal to Transmission Provider. In addition, if
         Interconnection Customer fails to adhere to all requirements of this LGIP, except as
         provided in Section 13.5 (Disputes), Transmission Provider shall deem the
         Interconnection Request to be withdrawn and shall provide written notice to
         Interconnection Customer of the deemed withdrawal and an explanation of the reasons
         for such deemed withdrawal. Upon receipt of such written notice, Interconnection
         Customer shall have fifteen (15) Business Days in which to either respond with
         information or actions that cures the deficiency or to notify Transmission Provider of its
         intent to pursue Dispute Resolution.

         Withdrawal shall result in the loss of Interconnection Customer’s Queue Position. If an
         Interconnection Customer disputes the withdrawal and loss of its Queue Position, then
         during Dispute Resolution, Interconnection Customer’s Interconnection Request is
         eliminated from the queue until such time that the outcome of Dispute Resolution would
         restore its Queue Position. An Interconnection Customer that withdraws or is deemed to
         have withdrawn its Interconnection Request shall pay to Transmission Provider all costs
         that Transmission Provider prudently incurs with respect to that Interconnection Request
         prior to Transmission Provider’s receipt of notice described above. Interconnection
         Customer must pay all monies due to Transmission Provider before it is allowed to obtain
         any Interconnection Study data or results.

         If Interconnection Customer withdraws its Interconnection Request or is deemed
         withdrawn by Transmission Provider under Section 3.7 of this LGIP, Transmission
         Provider shall (i) update the OASIS Queue Position posting; (ii) impose the Withdrawal
         Penalty described in Section 3.7.1 of this LGIP; and (iii) refund to Interconnection
         Customer any portion of the refundable portion of Interconnection Customer’s study
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         deposit [or study payments] that exceeds the costs that Transmission Provider has
         incurred, including interest calculated in accordance with Section 35.19a(a)(2) of FERC's
         regulations. Transmission Provider shall also refund any portion of the Commercial
         Readiness Deposit not applied to the Withdrawal Penalty and, if applicable, the deposit
         in lieu of site control. In the event of such withdrawal, Transmission Provider, subject to
         the confidentiality provisions of Section 13.1 of this LGIP, shall provide, at
         Interconnection Customer's request, all information that Transmission Provider
         developed for any completed study conducted up to the date of withdrawal of the
         Interconnection Request.

           3.7.1       Withdrawal Penalty.

         Interconnection Customer shall be subject to a Withdrawal Penalty if it withdraws its
         Interconnection Request or is deemed withdrawn, or the Generating Facility does not
         otherwise reach Commercial Operation unless: (1) the withdrawal does not have a
         material impact on the cost or timing of any Interconnection Request with an equal or
         lower Queue Position; (2) Interconnection Customer withdraws after receiving
         Interconnection Customer’s most recent Cluster Restudy Report and the Network
         Upgrade costs assigned to the Interconnection Request identified in that report have
         increased by more than twenty-five percent (25%) compared to costs identified in
         Interconnection Customer’s preceding Cluster Study Report or Cluster Restudy Report;
         or (3) Interconnection Customer withdraws after receiving Interconnection Customer’s
         Interconnection Facilities Study Report and the Network Upgrade costs assigned to the
         Interconnection Request identified in that report have increased by more than one
         hundred percent (100%) compared to costs identified in the Cluster Study Report.

         3.7.1.1 Calculation of the Withdrawal Penalty.

         If Interconnection Customer withdraws its Interconnection Request or is deemed
         withdrawn prior to the commencement of the initial Cluster Study, Interconnection
         Customer shall not be subject to a Withdrawal Penalty. If Interconnection Customer
         withdraws, is deemed withdrawn, or otherwise does not reach Commercial Operation at
         any point after the commencement of the initial Cluster Study, that Interconnection
         Customer’s Withdrawal Penalty will be the greater of: (1) the Interconnection
         Customer’s study deposit required under Section 3.1.1.1 of this LGIP; or (2) as follows in
         (a) –(d):

                (a)     If Interconnection Customer withdraws or is deemed withdrawn during the
                Cluster Study or after receipt of a Cluster Study Report, but prior to
                commencement of the Cluster Restudy or Interconnection Facilities Study,
                Interconnection Customer shall be charged two (2) times its actual allocated cost
                of all studies performed for Interconnection Customers in the Cluster up until that
                point in the interconnection study process.
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               (b)    If Interconnection Customer withdraws or is deemed withdrawn during the
               Cluster Restudy or after receipt of any applicable restudy reports issued pursuant
               to Section 7.5 of this LGIP, but prior to commencement of the Interconnection
               Facilities Study, Interconnection Customer shall be charged five percent (5%) its
               estimated Network Upgrade costs.

               (c)    If Interconnection Customer withdraws or is deemed withdrawn during the
               Interconnection Facilities Study, after receipt of the Interconnection Facilities
               Study Report issued pursuant to Section 8.3 of this LGIP, or after receipt of the
               draft LGIA but before Interconnection Customer has executed an LGIA or has
               requested that its LGIA be filed unexecuted, and has satisfied the other
               requirements described in Section 11.3 of this LGIP (i.e., Site Control
               demonstration, LGIA Deposit, reasonable evidence of one or more milestones in
               the development of the Generating Facility), Interconnection Customer shall be
               charged ten percent (10%) its estimated Network Upgrade costs.

               (d)    If Interconnection Customer has executed an LGIA or has requested that its
               LGIA be filed unexecuted and has satisfied the other requirements described in
               Section 11.3 of this LGIP (i.e., Site Control demonstration, LGIA Deposit,
               reasonable evidence of one or more milestones in the development of the
               Generating Facility) and subsequently withdraws its Interconnection Request or if
               Interconnection Customer’s Generating Facility otherwise does not reach
               Commercial Operation, that Interconnection Customer’s Withdrawal Penalty
               shall be twenty percent (20%) its estimated Network Upgrade costs.

         3.7.1.2 Distribution of the Withdrawal Penalty.

         3.7.1.2.1 Initial Distribution of Withdrawal Penalties Prior to Assessment of Network
         Upgrade Costs Previously Shared with Withdrawn Interconnection Customers in the
         Same Cluster

         For a single cluster, Transmission Provider shall hold all Withdrawal Penalty funds until
         all Interconnection Customers in that Cluster have either: (1) withdrawn or been deemed
         withdrawn; (2) executed an LGIA; or (3) requested an LGIA to be filed unexecuted. Any
         Withdrawal Penalty funds collected from the Cluster shall first be used to fund studies
         conducted under the Cluster Study Process for Interconnection Customers in the same
         Cluster that have executed the LGIA or requested the LGIA to be filed unexecuted. Next,
         after the Withdrawal Penalty funds are applied to relevant study costs in the same
         Cluster, Transmission Provider will apply the remaining Withdrawal Penalty funds to
         reduce net increases, for Interconnection Customers in the same Cluster, in
         Interconnection Customers’ Network Upgrade cost assignment and associated financial
         security requirements under Article 11.5 of the pro forma LGIA attributable to the
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         impacts of withdrawn Interconnection Customers that shared an obligation with the
         remaining Interconnection Customers to fund a Network Upgrade, as described in more
         detail in Sections 3.7.1.2.3 and 3.7.1.2.4.

         Withdrawal Penalty funds shall first be applied as a refund to invoiced study costs for
         Interconnection Customers in the same Cluster that did not withdraw within 30 Calendar
         Days of such Interconnection Customers executing their LGIA or requesting to have their
         LGIA filed unexecuted. Distribution of Withdrawal Penalty funds within one specific
         Cluster Study for study costs shall not exceed the total actual Cluster Study costs.
         Withdrawal Penalty funds applied to study costs shall be allocated within the same
         Cluster to Interconnection Customers in a manner consistent with the Transmission
         Provider’s method in Section 13.3 of this LGIP for allocating the costs of interconnection
         studies conducted on a clustered basis. Transmission Provider shall post the balance of
         Withdrawal Penalty funds held by Transmission Provider but not yet dispersed on its
         OASIS site and update this posting on a quarterly basis.

         If an Interconnection Customer withdraws after it executes, or requests the unexecuted
         filing of, its LGIA, Transmission Provider shall first apply such Interconnection
         Customer’s Withdrawal Penalty funds to any restudy costs required due to the
         Interconnection Customer’s withdrawal as a credit to as-yet-to be invoiced study costs to
         be charged to the remaining Interconnection Customers in the same Cluster in a manner
         consistent with the Transmission Provider’s method in Section 13.3 of this LGIP for
         allocating the costs of interconnection studies conducted on a clustered basis.
         Distribution of the Withdrawal Penalty funds for such restudy costs shall not exceed the
         total actual restudy costs.

         3.7.1.2.2 Assessment of Network Upgrade Costs Previously Shared with Withdrawn
         Interconnection Customers in the Same Cluster

         If Withdrawal Penalty funds remain for the same Cluster after the Withdrawal Penalty
         funds are applied to relevant study costs, Transmission Provider will determine if the
         withdrawn Interconnection Customers, at any point in the Cluster Study Process, shared
         cost assignment for one or more Network Upgrades with any remaining Interconnection
         Customers in the same Cluster based on the Cluster Study Report, Cluster Restudy
         Report(s), Interconnection Facilities Study Report, and any subsequent issued restudy
         report issued for the Cluster.

         In section 3.7.1.2 of this LGIP, shared cost assignments for Network Upgrades refers to
         the cost of Network Upgrades still needed for the same Cluster for which an
         Interconnection Customer, prior to withdrawing its Interconnection Request, shared the
         obligation to fund along with Interconnection Customers that have executed an LGIA, or
         requested the LGIA to filed unexecuted.
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         If Transmission Provider’s assessment determines that there are no shared cost
         assignments for any Network Upgrades in the same Cluster for the withdrawn
         Interconnection Customer, or determines that the withdrawn Interconnection Customer’s
         withdrawal did not cause a net increase in the shared cost assignment for any remaining
         Interconnection Customers’ Network Upgrade(s) in the same Cluster, Transmission
         Provider will return any remaining Withdrawal Penalty funds to the withdrawn
         Interconnection Customer(s). Such remaining Withdrawal Penalty funds will be returned
         to withdrawn Interconnection Customers based on the proportion of each withdrawn
         Interconnection Customer’s contribution to the total amount of Withdrawal Penalty funds
         collected for the Cluster (i.e., the total amount before the initial disbursement required
         under Section 3.7.1.2.1 of this LGIP). Transmission Provider must make such
         disbursement within sixty (60) Calendar Days of the date on which all Interconnection
         Customers in the same Cluster have either: (1) withdrawn or been deemed withdrawn;
         (2) executed an LGIA; or (3) requested an LGIA to be filed unexecuted. For the
         withdrawn Interconnection Customers that Transmission Provider determines have
         caused a net increase in the shared cost assignment for one or more Network Upgrade(s)
         in the same Cluster under subsection 3.7.1.2.3(a), Transmission Provider will determine
         each such withdrawn Interconnection Customers’ Withdrawal Penalty funds remaining
         balance that will be applied toward net increases in Network Upgrade shared costs
         calculated under subsections 3.7.1.2.3(a) and 3.7.1.2.3(b) based on each such withdrawn
         Interconnection Customer’s proportional contribution to the total amount of Withdrawal
         Penalty funds collected for the same Cluster (i.e., the total amount before the initial
         disbursement requirement under Section 3.7.1.2.1 of this LGIP).

         If the Transmission Provider’s assessment determines that there are shared cost
         assignments for Network Upgrades in the same Cluster, Transmission Provider will
         calculate the remaining Interconnection Customers’ net increase in cost assignment for
         Network Upgrades due to a shared cost assignment for Network Upgrades with the
         withdrawn Interconnection Customer and distribute Withdrawal Penalty funds as
         described in Section 3.7.1.2.3, depending on whether the withdrawal occurred before the
         withdrawing Interconnection Customer executed the LGIA (or filed unexecuted), as
         described in subsection 3.7.1.2.3(a), or after such execution (or filing unexecuted) of an
         LGIA, as described in subsection 3.7.1.2.3(b).

         As discussed in subsection 3.7.1.2.4, Transmission Provider will amend executed (or filed
         unexecuted) LGIAs of the remaining Interconnection Customers in the same Cluster to
         apply the remaining Withdrawal Penalty funds to reduce net increases in Interconnection
         Customers’ Network Upgrade cost assignment and associated financial security
         requirements under Article 11.5 of the pro forma LGIA attributable to the impacts of
         withdrawn Interconnection Customers on Interconnection Customers remaining in the
         same Cluster that had a shared cost assignment for Network Upgrades with the
         withdrawn Interconnection Customers.
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         3.7.1.2.3 Impact Calculations

         3.7.1.2.3(a) Impact Calculation for Withdrawals During the Cluster Study Process

         If an Interconnection Customer withdraws before it executes, or requests the unexecuted
         filing of, its LGIA, the Transmission Provider will distribute in the following manner the
         Withdrawal Penalty funds to reduce the Network Upgrade cost impact on the remaining
         Interconnection Customers in the same Cluster who had a shared cost assignment for a
         Network Upgrade with the withdrawn Interconnection Customer.

         To calculate the reduction in the remaining Interconnection Customers’ net increase in
         Network Upgrade costs and associated financial security requirements under Article 11.5
         of the pro forma LGIA, the Transmission Provider will determine the financial impact of
         a withdrawing Interconnection Customer on other Interconnection Customers in the
         same Cluster that shared an obligation to fund the same Network Upgrade(s).
         Transmission Provider shall calculate this financial impact once all the Interconnection
         Customers in the same Cluster either: (1) have withdrawn or have been deemed
         withdrawn; (2) executed an LGIA; or (3) request an LGIA to be filed unexecuted.
         Transmission Provider will perform the financial impact calculation using the following
         steps.

         First, Transmission Provider must determine which withdrawn Interconnection
         Customers shared an obligation to fund Network Upgrades with Interconnection
         Customers from the same Cluster that have LGIAs that are executed or have been
         requested to be filed unexecuted. Next, Transmission Provider shall perform the
         calculation of the financial impact of a withdrawal on another Interconnection Request in
         the same Cluster by performing a comparison of the Network Upgrade cost estimates
         between each of the following:

               (1) Cluster Study phase to Cluster Restudy phase (if Cluster Restudy was
         necessary);

                (2) Cluster Restudy phase to Facilities Study phase (if a Cluster Restudy was
                necessary);

                (3) Cluster Study phase to Facilities Study phase (if no Cluster Restudy was
                performed);

                (4) Facilities Study phase to any subsequent restudy that was performed before the
                execution or filing of an unexecuted LGIA;
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               (5) the restudy to the executed, or filed unexecuted, LGIA (if a restudy was
               performed after the Facilities Study phase and before the execution or filing of an
               unexecuted LGIA).

         If, based on the above calculations, Transmission Provider determines:

               (i) that the costs assigned to an Interconnection Customer in the same Cluster for
               Network Upgrades that a withdrawn Interconnection Customer shared cost
               assignment for increased between any two studies, and

               (ii) after the impacted Interconnection Customer’s LGIA was executed or filed
               unexecuted, the Interconnection Customer’s cost assignment for the relevant
               Network Upgrade is greater than it was prior to the withdrawal of the
               Interconnection Customer in the same Cluster that shared cost assignment for the
               Network Upgrade,

         then Transmission Provider shall apply the withdrawn Interconnection Customer’s
         Withdrawal Penalty funds that has not already been applied to study costs in the amount
         of the financial impact by reducing, in the same Cluster, the remaining Interconnection
         Customer’s Network Upgrade costs and associated financial security requirements under
         Article 11.5 of the pro forma LGIA.

         If Transmission Provider determines that more than one Interconnection Customer in the
         same Cluster was financially impacted by the same withdrawn Interconnection Customer,
         Transmission Provider will apply the relevant withdrawn Interconnection Customer’s
         Withdrawal Penalty funds that has not already been applied to study costs to reduce the
         financial impact to each Interconnection Customer based on each Interconnection
         Customer’s proportional share of the financial impact, as determined by either the
         proportional impact method if it is a System Network Upgrade or on a per capita basis if
         it is a Substation Network Upgrade, as described under Section 4.2.1 of this LGIP.

         3.7.1.2.3(b) Impact Calculation for Withdrawals in the Same Cluster After the Cluster
         Study Process

         If an Interconnection Customer withdraws after it executes, or requests the unexecuted
         filing of, its LGIA, Transmission Provider will distribute in the following manner the
         remaining Withdrawal Penalty funds to reduce the Network Upgrade cost impact on the
         remaining Interconnection Customers in the same Cluster who had a shared cost
         assignment with the withdrawn Interconnection Customer for one or more Network
         Upgrades.

         Transmission Provider will determine the financial impact on the remaining
         Interconnection Customers in the same Cluster within 30 calendar days after the
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         withdrawal occurs. The Transmission Provider will determine that financial impact by
         comparing the Network Upgrade cost funding obligations the Interconnection Customers
         shared with the withdrawn Interconnection Customer before the withdrawal of the
         Interconnection Customer and after the withdrawal of the Interconnection Customer. If
         that comparison indicates an increase in Network Upgrade costs for an Interconnection
         Customer, Transmission Provider shall apply the withdrawn Interconnection Customer’s
         Withdrawal Penalty funds to the increased costs each impacted Interconnection
         Customer in the same Cluster experienced associated with such Network Upgrade(s) in
         proportion to each Interconnection Customer’s increased cost assignment, as determined
         by Transmission Provider.

         3.7.1.2.4 Amending LGIA to Apply Reductions to Interconnection Customer’s
         Assigned Network Upgrade Costs and Associated Financial Security Requirement with
         Respect to Withdrawals in the Same Cluster

         Within 30 Calendar Days of all Interconnection Customers in the same Cluster having:
         (1) withdrawn or been deemed withdrawn; (2) executed an LGIA; or (3) requested an
         LGIA to be filed unexecuted, Transmission Provider must perform the calculations
         described in subsection 3.7.1.2.3(a) of this LGIP and provide such Interconnection
         Customers with an amended LGIA that provides the reduction in Network Upgrade cost
         assignment and associated reduction to the Interconnection Customer’s financial security
         requirements, under Article 11.5 of the pro forma LGIA, due from the Interconnection
         Customer to the Transmission Provider.

         Where an Interconnection Customer executes the LGIA (or requests the filing of an
         unexecuted LGIA) and is later withdrawn or its LGIA is terminated, Transmission
         Provider must, within 30 Calendar Days of such withdrawal or termination, perform the
         calculations described in subsection 3.7.1.2.3(b) of this LGIP and provide such
         Interconnection Customers in the same Cluster with an amended LGIA that provides the
         reduction in Network Upgrade cost assignment and associated reduction to the
         Interconnection Customer’s financial security requirements, under Article 11.5 of the pro
         forma LGIA, due from the Interconnection Customer to Transmission Provider.

         Any repayment by Transmission Provider to Interconnection Customer under Article 11.4
         of the pro forma LGIA of amounts advanced for Network Upgrades after the Generating
         Facility achieves Commercial Operation shall be limited to the Interconnection
         Customer’s total amount of Network Upgrade costs paid and associated financial
         security provided to Transmission Provider under Article 11.5 of the pro forma LGIA.

         3.7.1.2.5 Final Distribution of Withdrawal Penalty Funds

         If Withdrawal Penalty funds remain for the Cluster after the Withdrawal Penalty funds
         are applied to relevant study costs and net increases in shared cost assignments for
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         Network Upgrades to remaining Interconnection Customers, Transmission Provider will
         return any remaining Withdrawal Penalty funds to the withdrawn Interconnection
         Customers in the same Cluster net of the amount of each withdrawn Interconnection
         Customer’s Withdrawal Penalty funds applied to study costs and net increases in shared
         cost assignments for Network Upgrades to remaining Interconnection Customers.

         3.8 Identification of Contingent Facilities.

         Transmission Provider shall post in this section a method for identifying the Contingent
         Facilities to be provided to Interconnection Customer at the conclusion of the [System
         Impact]Cluster Study and included in Interconnection Customer’s Large Generator
         Interconnection Agreement. The method shall be sufficiently transparent to determine
         why a specific Contingent Facility was identified and how it relates to the
         Interconnection Request. Transmission Provider shall also provide, upon request of
         [the]Interconnection Customer, the estimated Interconnection Facility and/or Network
         Upgrade costs and estimated in-service completion time of each identified Contingent
         Facility when this information is readily available and not commercially sensitive.

         3.9 Penalties for Failure to Meet Study Deadlines.

         (1) Transmission Provider shall be subject to a penalty if it fails to complete a Cluster
         Study, Cluster Restudy, Interconnection Facilities Study, or Affected Systems Study by the
         applicable deadline set forth in this LGIP. Transmission Provider must pay the penalty
         for each late Cluster Study, Cluster Restudy, and Interconnection Facilities Study on a
         pro rata basis per Interconnection Request to all Interconnection Customer(s) included
         in the relevant study that did not withdraw, or were not deemed withdrawn, from
         Transmission Provider’s interconnection queue before the missed study deadline.
         Transmission Provider must pay the penalty for a late Affected Systems Study on a pro
         rata basis per interconnection request to all Affected System Interconnection Customer(s)
         included in the relevant Affected System Study that did not withdraw, or were not deemed
         withdrawn, from the host transmission provider’s interconnection queue before the
         missed study deadline. The study delay penalty for each late study shall be distributed no
         later than forty-five (45) Calendar Days after the late study has been completed.

         (2) For penalties assessed in accordance with this Section, the penalty amount will be
         equal to: $1,000 per Business Day for delays of Cluster Studies beyond the applicable
         deadline set forth in this LGIP; $2,000 per Business Day for delays of Cluster Re-Studies
         beyond the applicable deadline set forth in this LGIP; $2,000 per Business Day for
         delays of Affected System Studies beyond the applicable deadline set forth in this LGIP;
         and $2,500 per Business Day for delays of Interconnection Facilities Studies beyond the
         applicable deadline set forth in this LGIP. The total amount of a penalty assessed under
         this Section shall not exceed: (a) one hundred percent (100%) of the initial study
         deposit(s) received for all of the Interconnection Requests in the Cluster for Cluster
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         Studies and Cluster Restudies; (b) one hundred percent (100%) of the initial study
         deposit received for the single Interconnection Request in the study for Facilities Studies;
         and (c) one hundred percent (100%) of the study deposit(s) that Transmission Provider
         collects for conducting the Affected System Study.

         (3) Transmission Provider may appeal to the Commission any penalties imposed under
         this Section. Any such appeal must be filed no later than forty-five (45) Calendar Days
         after the late study has been completed. While an appeal to the Commission is pending,
         Transmission Provider shall remain liable for the penalty, but need not distribute the
         penalty until forty-five (45) Calendar Days after (1) the deadline for filing a rehearing
         request has ended, if no requests for rehearing of the appeal have been filed, or (2) the
         date that any requests for rehearing of the Commission’s decision on the appeal are no
         longer pending before the Commission. The Commission may excuse Transmission
         Provider from penalties under this Section for good cause.

         (4) No penalty will be assessed under this Section where a study is delayed by ten (10)
         Business Days or less. If the study is delayed by more than ten (10) Business Days, the
         penalty amount will be calculated from the first Business Day the Transmission Provider
         misses the applicable study deadline.

         (5) If (a) Transmission Provider needs to extend the deadline for a particular study
         subject to penalties under this Section and (b) all Interconnection Customers or Affected
         System Interconnection Customers included in the relevant study mutually agree to such
         an extension, the deadline for that study shall be extended thirty (30) Business Days from
         the original deadline. In such a scenario, no penalty will be assessed for Transmission
         Provider missing the original deadline.

         (6) No penalties shall be assessed until the third Cluster Study cycle (including any
         Transitional Cluster Study cycle, but not Transitional Serial Studies) after the
         Commission-approved effective date of Transmission Provider’s filing made in
         compliance with the Final Rule in Docket No. RM22-14-000.

         (7) Transmission Provider must maintain on its OASIS or its public website summary
         statistics related to penalties assessed under this Section, updated quarterly. For each
         calendar quarter, Transmission Provider must calculate and post (1) the total amount of
         penalties assessed under this Section during the previous reporting quarter and (2) the
         highest penalty assessed under this Section paid to a single Interconnection Customer or
         Affected System Interconnection Customer during the previous reporting quarter.
         Transmission Provider must post on its OASIS or its website these penalty amounts for
         each calendar quarter within thirty (30) Calendar Days of the end of the calendar
         quarter. Transmission Provider must maintain the quarterly measures posted on its
         OASIS or its website for three (3) calendar years with the first required posting to be the
         third Cluster Study cycle (including any Transitional Cluster Study cycle, but not
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         Transitional Serial Studies) after Transmission Provider transitions to the Cluster Study
         Process.

         Section 4. Interconnection Request Evaluation Process. [Queue Position]

         Once an Interconnection Customer has submitted a valid Interconnection Request
         pursuant to Section 3.4 of this LGIP, such Interconnection Request shall become part of
         the Transmission Provider’s interconnection queue for further processing pursuant to the
         following procedures.

         4.1 Queue Position. [General]

         4.1.1 Assignment of Queue Position.

         Transmission Provider shall assign a Queue Position as follows: the Queue Position
         within the queue shall be assigned based upon the date and time of receipt of all items
         required pursuant to the provisions of Section 3.4 of this LGIP. All Interconnection
         Requests submitted and validated in a single Cluster Request Window shall be considered
         equally queued. [based upon the date and time of receipt of the valid Interconnection
         Request; provided that, if the sole reason an Interconnection Request is not valid is the
         lack of required information on the application form, and Interconnection Customer
         provides such information in accordance with Section 3.4.3, then Transmission Provider
         shall assign Interconnection Customer a Queue Position based on the date the application
         form was originally filed. Moving a Point of Interconnection shall result in a lowering of
         Queue Position if it is deemed a Material Modification under Section 4.4.3.]

         [The Queue Position of each Interconnection Request will be used to determine the order
         of performing the Interconnection Studies and determination of cost responsibility for the
         facilities necessary to accommodate the Interconnection Request. A higher queued]

         4.1.2 Higher Queue Position.

         A higher Queue Position assigned to an Interconnection Request is one that has been
         placed “earlier” in the queue in relation to another Interconnection Request that is [lower
         queued. Transmission Provider may allocate the cost of the common upgrades for
         clustered Interconnection Requests without regard to Queue Position.]assigned a lower
         Queue Position. All requests studied in a single Cluster shall be considered equally
         queued. Interconnection Customers that are part of Clusters initiated earlier in time than
         an instant Queue shall be considered to have a higher Queue Position than
         Interconnection Customers that are part of Clusters initiated later than an instant Queue.
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         [4.2 Clustering.

         At Transmission Provider’s option, Interconnection Requests may be studied serially or
         in clusters for the purpose of the Interconnection System Impact Study.
         Clustering shall be implemented on the basis of Queue Position. If Transmission
         Provider elects to study Interconnection Requests using Clustering, all Interconnection
         Requests received within a period not to exceed one hundred and eighty (180) Calendar
         Days, hereinafter referred to as the “Queue Cluster Window” shall be studied together
         without regard to the nature of the underlying Interconnection Service, whether Energy
         Resource Interconnection Service or Network Resource Interconnection Service. The
         deadline for completing all Interconnection System Impact Studies for which an
         Interconnection System Impact Study Agreement has been executed during a Queue
         Cluster Window shall be in accordance with Section 7.4, for all Interconnection Requests
         assigned to the same Queue Cluster Window. Transmission Provider may study an
         Interconnection Request separately to the extent warranted by Good Utility Practice
         based upon the electrical remoteness of the proposed Large Generating Facility.]

         4.2. General Study Process.

         [Clustering Interconnection System Impact Studies]Interconnection Studies performed
         within the Cluster Study Process shall be conducted in such a manner to ensure the
         efficient implementation of the applicable regional transmission expansion plan in light
         of the Transmission System’s capabilities at the time of each study and consistent with
         Good Utility Practice.

         Transmission Provider may use subgroups in the Cluster Study Process. In all instances
         in which Transmission Provider elects to use subgroups in the cluster study process,
         Transmission Provider must publish the criteria used to define and determine subgroups
         on its OASIS or public website.

         [The Queue Cluster Window shall have a fixed time interval based on fixed annual
         opening and closing dates. Any changes to the established Queue Cluster Window
         interval and opening or closing dates shall be announced with a posting on Transmission
         Provider’s OASIS beginning at least one hundred and eighty (180) Calendar Days in
         advance of the change and continuing thereafter through the end date of the first Queue
         Cluster Window that is to be modified.]

         4.2.1 Cost Allocation for Interconnection Facilities and Network Upgrades.

         (1) For Network Upgrades identified in Cluster Studies, Transmission Provider shall
         calculate each Interconnection Customer’s share of the costs as follows:
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                (a) Substation Network Upgrades, including all switching stations, shall be
                allocated per capita to each Generating Facility interconnecting at the same
                substation.

                (b) System Network Upgrades shall be allocated based on the proportional impact
                of each individual Generating Facility in the Cluster Study on the need for a
                specific System Network Upgrade. {Transmission Provider shall include in this
                section a description of how cost for each facility type designated as a network
                upgrade will be allocated using its proportional impact method.}

                (c) An Interconnection Customer that funds Substation Network Upgrades and/or
                System Network Upgrades shall be entitled to transmission credits as provided in
                Article 11.4 of the LGIA.

         (2) The costs of any needed Interconnection Facilities identified in the Cluster Study
         Process will be directly assigned to the Interconnection Customer(s) using such facilities.
         Where Interconnection Customers in the Cluster agree to share Interconnection
         Facilities, the cost of such Interconnection Facilities shall be allocated based on the
         number of Generating Facilities sharing use of such Interconnection Facilities on a per
         capita basis (i.e., on a per Generating Facility basis), unless Parties mutually agree to a
         different cost sharing arrangement.

         4.3    Transferability of Queue Position.

         An Interconnection Customer may transfer its Queue Position to another entity only if
         such entity acquires the specific Generating Facility identified in the Interconnection
         Request and the Point of Interconnection does not change.

         4.4    Modifications.

         Interconnection Customer shall submit to Transmission Provider, in writing,
         modifications to any information provided in the Interconnection Request.
         Interconnection Customer shall retain its Queue Position if the modifications are in
         accordance with Sections 4.4.1, 4.4.2, or 4.4.5 of this LGIP, or are determined not to be
         Material Modifications pursuant to Section 4.4.3 of this LGIP.

         Notwithstanding the above, during the course of the Interconnection Studies, either
         Interconnection Customer or Transmission Provider may identify changes to the planned
         interconnection that may improve the costs and benefits (including reliability) of the
         interconnection, and the ability of the proposed change to accommodate the
         Interconnection Request. To the extent the identified changes are acceptable to
         Transmission Provider[,] and Interconnection Customer, such acceptance not to be
         unreasonably withheld, Transmission Provider shall modify the Point of Interconnection
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         prior to return of the executed Cluster Study Agreement, [and/or configuration in
         accordance with such changes and proceed with any re-studies necessary to do so in
         accordance with Section 6.4, Section 7.6 and Section 8.5 as applicable]and
         Interconnection Customer shall retain its Queue Position.

         4.4.1 Prior to the return of the executed [Interconnection System Impact]Cluster Study
         Agreement to Transmission Provider, modifications permitted under this Section shall
         include specifically: (a) a decrease of up to 60 percent of electrical output (MW) of the
         proposed project, through either (1) a decrease in plant size or (2) a decrease in
         Interconnection Service level (consistent with the process described in Section 3.1 of this
         LGIP) accomplished by applying Transmission Provider-approved injection-limiting
         equipment; (b) modifying the technical parameters associated with the Large Generating
         Facility technology or the Large Generating Facility step-up transformer impedance
         characteristics; and (c) modifying the interconnection configuration. For plant increases,
         the incremental increase in plant output will go [to]in the [end of the queue]next Cluster
         Study Window for the purposes of cost allocation and study analysis.

         4.4.2 Prior to the return of the executed Interconnection Facilit[y]ies Study Agreement
         to Transmission Provider, the modifications permitted under this Section shall include
         specifically: (a) additional 15 percent decrease of electrical output of the proposed project
         through either (1) a decrease in plant size (MW) or (2) a decrease in Interconnection
         Service level (consistent with the process described in Section 3.1) accomplished by
         applying Transmission Provider-approved injection-limiting equipment; (b) Large
         Generating Facility technical parameters associated with modifications to Large
         Generating Facility technology and transformer impedances; provided, however, the
         incremental costs associated with those modifications are the responsibility of the
         requesting Interconnection Customer; and (c) a Permissible Technological Advancement
         for the Large Generating Facility after the submission of the Interconnection Request.
         Section 4.4.6 specifies a separate technological change procedure including the requisite
         information and process that will be followed to assess whether the Interconnection
         Customer’s proposed technological advancement under Section 4.4.2(c) is a Material
         Modification. Section 1 contains a definition of Permissible Technological
         Advancement.

         4.4.3 Prior to making any modification other than those specifically permitted by
         Sections 4.4.1, 4.4.2, and 4.4.5 of this LGIP, Interconnection Customer may first request
         that Transmission Provider evaluate whether such modification is a Material
         Modification. In response to Interconnection Customer's request, Transmission Provider
         shall evaluate the proposed modifications prior to making them and inform
         Interconnection Customer in writing of whether the modifications would constitute a
         Material Modification. Any change to the Point of Interconnection, except those deemed
         acceptable under Sections 3.1.2 or 4.4 of this LGIP[.1, 6.1, 7.2] or so allowed elsewhere,
         shall constitute a Material Modification. Interconnection Customer may then withdraw
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         the proposed modification or proceed with a new Interconnection Request for such
         modification. Transmission Provider shall study the addition of a Generating Facility
         that includes at least one electric storage resource using operating assumptions (i.e.,
         whether the interconnecting Generating Facility will or will not charge at peak load) that
         reflect the proposed charging behavior of the Generating Facility as requested by
         Interconnection Customer, unless Transmission Provider determines that Good Utility
         Practice, including Applicable Reliability Standards, otherwise requires the use of
         different operating assumptions.

         {Transmission Providers using fuel-based dispatch assumptions in Interconnection
         Studies are not required to include Section 4.4.3.1 because it does not apply to them}

                4.4.3.1 Interconnection Customer may request, and Transmission Provider shall
         evaluate, the addition to the Interconnection Request of a Generating Facility with the
         same Point of Interconnection indicated in the initial Interconnection Request, if the
         addition of the Generating Facility does not increase the requested Interconnection
         Service level. Transmission Provider must evaluate such modifications prior to deeming
         them a Material Modification, but only if Interconnection Customer submits them prior to
         the return of the executed Facilities Study Agreement by Interconnection Customer to
         Transmission Provider. Interconnection Customers requesting that such a modification
         be evaluated must demonstrate the required Site Control at the time such request is
         made.

         4.4.4 Upon receipt of Interconnection Customer’s request for modification permitted
         under this Section 4.4, Transmission Provider shall commence and perform any
         necessary additional studies as soon as practicable, but in no event shall Transmission
         Provider commence such studies later than thirty (30) Calendar Days after receiving
         notice of Interconnection Customer’s request. Any additional studies resulting from such
         modification shall be done at Interconnection Customer’s cost. Any such request for
         modification of the Interconnection Request must be accompanied by any resulting
         updates to the models described in Attachment A to Appendix 1 of this LGIP.

         4.4.5 Extensions of less than three (3) cumulative years in the Commercial Operation
         Date of the Large Generating Facility to which the Interconnection Request relates are
         not material and should be handled through construction sequencing. For purposes of
         this section, the Commercial Operation Date reflected in the initial Interconnection
         Request shall be used to calculate the permissible extension prior to Interconnection
         Customer executing an LGIA or requesting that the LGIA be filed unexecuted. After an
         LGIA is executed or requested to be filed unexecuted, the Commercial Operation Date
         reflected in the LGIA shall be used to calculate the permissible extension. Such
         cumulative extensions may not exceed three years including both extensions requested
         after execution of the LGIA by Interconnection Customer or the filing of an unexecuted
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         LGIA by Transmission Provider and those requested prior to execution of the LGIA by
         Interconnection Customer or the filing of an unexecuted LGIA by Transmission Provider.

         4.4.6 Technological Change Procedures

         {Insert technological change procedure here}

         Section 5. Procedures for Interconnection Requests Submitted Prior to Effective
         Date of the Cluster Study Revisions[Standard Large Generator Interconnection
         Procedures]

         5.1 Procedures for Transitioning to the Cluster Study Process [Queue Position for
         Pending Requests.]

         5.1.1

         [Any Interconnection Customer assigned a Queue Position prior to the effective date of
         this LGIP shall retain that Queue Position.]
         Any Interconnection Customer assigned a Queue Position as of thirty (30) Calendar
         Days after {Transmission Provider to insert filing date} (the filing date of this LGIP)
         shall retain that Queue Position subject to the requirements in Sections 5.1.1.1 and
         5.1.1.2 of this LGIP. Any Interconnection Customer that fails to meet these requirements
         shall have its Interconnection Request deemed withdrawn by Transmission Provider
         pursuant to Section 3.7 of this LGIP. In such case, Transmission Provider shall not
         assess the Interconnection Customer any Withdrawal Penalty.

         Any Interconnection Customer that has received a final Interconnection Facilities Study
         Report before the commencement of the studies under the transition process set forth in
         this section shall be tendered an LGIA pursuant to Section 11 of this LGIP, and shall not
         be required to enter this transition process.

         5.1.1.1 Transitional Serial Study.

         [If an Interconnection Study Agreement has not been executed as of the effective date of
         this LGIP, then such Interconnection Study, and any subsequent Interconnection Studies,
         shall be processed in accordance with this LGIP.]
         An Interconnection Customer that has been tendered an Interconnection Facilities Study
         Agreement as of thirty (30) Calendar Days after {Transmission Provider to insert filing
         date} (the filing date of this LGIP) may opt to proceed with an Interconnection Facilities
         Study. Transmission Provider shall tender each eligible Interconnection Customer a
         Transitional Serial Interconnection Facilities Study Agreement, in the form of Appendix 8
         to this LGIP, no later than the Commission-approved effective date of this LGIP.
         Transmission Provider shall proceed with the Interconnection Facilities Study, provided
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         that the Interconnection Customer: (1) meets each of the following requirements; and
         (2) executes the Transitional Serial Interconnection Facilities Study Agreement within
         sixty (60) Calendar Days of the Commission-approved effective date of this LGIP. If an
         eligible Interconnection Customer does not meet these requirements, its Interconnection
         Request shall be deemed withdrawn without penalty. Transmission Provider must
         commence the Transitional Serial Interconnection Facilities Study at the conclusion of
         this sixty (60) Calendar Day period. Transitional Serial Interconnection Facilities Study
         costs shall be allocated according to the method described in Section 13.3 of this LGIP.

         All of the following must be included when an Interconnection Customer returns the
         Transitional Serial Interconnection Facilities Study Agreement:

            (1) A deposit equal to one hundred percent (100%) of the costs identified for
                Transmission Provider’s Interconnection Facilities and Network Upgrades in
                Interconnection Customer’s system impact study report. If Interconnection
                Customer does not withdraw, the deposit shall be trued up to actual costs once
                they are known and applied to future construction costs described in
                Interconnection Customer’s eventual LGIA. Any amounts in excess of the actual
                construction costs shall be returned to Interconnection Customer within thirty (30)
                Calendar Days of the issuance of a final invoice for construction costs, in
                accordance with Article 12.2 of the pro forma LGIA. If Interconnection Customer
                withdraws or otherwise does not reach Commercial Operation, Transmission
                Provider shall refund the remaining deposit after the final invoice for study costs
                and Withdrawal Penalty is settled. The deposit shall be in the form of an
                irrevocable letter of credit or cash where cash deposits shall be treated according
                to Section 3.7 of this LGIP.

            (2) Exclusive Site Control for 100% of the proposed Generating Facility.

         Transmission Provider shall conduct each Transitional Serial Interconnection Facilities
         Study and issue the associated Transitional Serial Interconnection Facilities Study
         Report within one hundred fifty (150) Calendar Days of the Commission-approved
         effective date of this LGIP.

         After Transmission Provider issues each Transitional Interconnection Facilities Study
         Report, Interconnection Customer shall proceed pursuant to Section 11 of this LGIP. If
         Interconnection Customer withdraws its Interconnection Request or if Interconnection
         Customer’s Generating Facility otherwise does not reach Commercial Operation, a
         Withdrawal Penalty shall be imposed on Interconnection Customer equal to nine
         (9) times Interconnection Customer’s total study cost incurred since entering the
         Transmission Provider’s interconnection queue (including the cost of studies conducted
         under Section 5 of this LGIP).
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         5.1.1.2 Transitional Cluster Study.

         [If an Interconnection Study Agreement has been executed prior to the effective date of
         this LGIP, such Interconnection Study shall be completed in accordance with the terms of
         such agreement. With respect to any remaining studies for which an Interconnection
         Customer has not signed an Interconnection Study Agreement prior to the effective date
         of the LGIP, Transmission Provider must offer Interconnection Customer the option of
         either continuing under Transmission Provider’s existing interconnection study process
         or going forward with the completion of the necessary Interconnection Studies (for which
         it does not have a signed Interconnection Studies Agreement) in accordance with this
         LGIP.]

         An Interconnection Customer with an assigned Queue Position as of thirty (30) Calendar
         Days after {Transmission Provider to insert filing date} (the filing date of this LGIP) may
         opt to proceed with a Transitional Cluster Study. Transmission Provider shall tender
         each eligible Interconnection Customer a Transitional Cluster Study Agreement, in the
         form of Appendix 7 to this LGIP, no later than the Commission-approved effective date of
         this LGIP. Transmission Provider shall proceed with the Transitional Cluster Study that
         includes each Interconnection Customer that: (1) meets each of the following
         requirements listed as (1) – (3) in this section; and (2) executes the Transitional Cluster
         Study Agreement within sixty (60) Calendar Days of the Commission-approved effective
         date of this LGIP. All Interconnection Requests that enter the Transitional Cluster Study
         shall be considered to have an equal Queue Position that is lower than Interconnection
         Customer(s) proceeding with Transitional Serial Interconnection Facilities Study. If an
         eligible Interconnection Customer does not meet these requirements, its Interconnection
         Request shall be deemed withdrawn without penalty. Transmission Provider must
         commence the Transitional Cluster Study at the conclusion of this sixty (60) Calendar
         Day period. All identified Transmission Provider’s Interconnection Facilities and
         Network Upgrade costs shall be allocated according to Section 4.2.1 of this LGIP.
         Transitional Cluster Study costs shall be allocated according to the method described in
         Section 13.3 of this LGIP.

         Interconnection Customer may make a one-time extension to its requested Commercial
         Operation Date upon entry into the Transitional Cluster Study, where any such extension
         shall not result in a Commercial Operation Date later than December 31, 2027.

         All of the following must be included when an Interconnection Customer returns the
         Transitional Cluster Study Agreement:

            (1) A selection of either Energy Resource Interconnection Service or Network
                Resource Interconnection Service.
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            (2) A deposit of five million dollars ($5,000,000) in the form of an irrevocable letter of
                credit or cash where cash deposits will be treated according to Section 3.7 of this
                LGIP. If Interconnection Customer does not withdraw, the deposit shall be
                reconciled with and applied towards future construction costs described in the
                LGIA. Any amounts in excess of the actual construction costs shall be returned to
                Interconnection Customer within thirty (30) Calendar Days of the issuance of a
                final invoice for construction costs, in accordance with Article 12.2 of the pro
                forma LGIA. If Interconnection Customer withdraws or otherwise does not reach
                Commercial Operation, Transmission Provider must refund the remaining deposit
                once the final invoice for study costs and Withdrawal Penalty is settled.

            (3) Exclusive Site Control for 100% of the proposed Generating Facility.

         Transmission Provider shall conduct the Transitional Cluster Study and issue both an
         associated interim Transitional Cluster Study Report and an associated final Transitional
         Cluster Study Report. The interim Transitional Cluster Study Report shall provide the
         following information:

                       -      identification of any circuit breaker short circuit capability limits
                              exceeded as a result of the interconnection;
                       -      identification of any thermal overload or voltage limit violations
                              resulting from the interconnection;
                       -      identification of any instability or inadequately damped response to
                              system disturbances resulting from the interconnection; and
                       -      Transmission Provider’s Interconnection Facilities and Network
                              Upgrades that are expected to be required as a result of the
                              Interconnection Request(s) and a non-binding, good faith estimate of
                              cost responsibility and a non-binding, good faith estimated time to
                              construct.

         In addition to the information provided in the interim Transitional Cluster Study Report,
         the final Transitional Cluster Study Report shall provide a description of, estimated cost
         of, and schedule for construction of the Transmission Provider’s Interconnection
         Facilities and Network Upgrades required to interconnect the Generating Facility to the
         Transmission System that resolve issues identified in the interim Transitional Cluster
         Study Report.

         The interim and final Transitional Cluster Study Reports shall be issued within three
         hundred (300) and three hundred sixty (360) Calendar Days of the Commission-
         approved effective date of this LGIP, respectively, and shall be posted on Transmission
         Provider’s OASIS consistent with the posting of other study results pursuant to Section
         3.5.1 of this LGIP. Interconnection Customer shall have thirty (30) Calendar Days to
         comment on the interim Transitional Cluster Study Report, once it has been received.
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         After Transmission Provider issues the final Transitional Cluster Study Report,
         Interconnection Customer shall proceed pursuant to Section 11 of this LGIP. If
         Interconnection Customer withdraws its Interconnection Request or if Interconnection
         Customer’s Generating Facility otherwise does not reach Commercial Operation, a
         Withdrawal Penalty will be imposed om Interconnection Customer equal to nine (9) times
         Interconnection Customer’s total study cost incurred since entering the Transmission
         Provider’s interconnection queue (including the cost of studies conducted under Section
         5 of this LGIP).

         [5.1.1.3 If an LGIA has been submitted to FERC for approval before the effective date of
         the LGIP, then the LGIA would be grandfathered.

         5.1.2 Transition Period.

         To the extent necessary, Transmission Provider and Interconnection Customers with an
         outstanding request (i.e., an Interconnection Request for which an LGIA has not been
         submitted to FERC for approval as of the effective date of this LGIP) shall transition to
         this LGIP within a reasonable period of time not to exceed sixty (60) Calendar Days.
         The use of the term “outstanding request” herein shall mean any Interconnection Request,
         on the effective date of this LGIP: (i) that has been submitted but not yet accepted by
         Transmission Provider; (ii) where the related interconnection agreement has not yet been
         submitted to FERC for approval in executed or unexecuted form, (iii) where the relevant
         Interconnection Study Agreements have not yet been executed, or (iv) where any of the
         relevant Interconnection Studies are in process but not yet completed. Any
         Interconnection Customer with an outstanding request as of the effective date of this
         LGIP may request a reasonable extension of any deadline, otherwise applicable, if
         necessary to avoid undue hardship or prejudice to its Interconnection Request. A
         reasonable extension shall be granted by Transmission Provider to the extent consistent
         with the intent and process provided for under this LGIP.]

         5.2   New Transmission Provider.

         If Transmission Provider transfers control of its Transmission System to a successor
         Transmission Provider during the period when an Interconnection Request is pending, the
         original Transmission Provider shall transfer to the successor Transmission Provider any
         amount of the deposit or payment with interest thereon that exceeds the cost that it
         incurred to evaluate the request for interconnection. Any difference between such net
         amount and the deposit or payment required by this LGIP shall be paid by or refunded to
         the Interconnection Customer, as appropriate. The original Transmission Provider shall
         coordinate with the successor Transmission Provider to complete any Interconnection
         Study, as appropriate, that the original Transmission Provider has begun but has not
         completed. If Transmission Provider has tendered a draft LGIA to Interconnection
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         Customer but Interconnection Customer has not either executed the LGIA or requested
         the filing of an unexecuted LGIA with FERC, unless otherwise provided, Interconnection
         Customer must complete negotiations with the successor Transmission Provider.

         Section 6. Interconnection Information Access[Feasibility Study]

         6.1 Publicly Posted Interconnection Information.

         Transmission Provider shall maintain and make publicly available: (1) an interactive
         visual representation of the estimated incremental injection capacity (in megawatts)
         available at each point of interconnection in Transmission Provider’s footprint under N-
         1 conditions, and (2) a table of metrics concerning the estimated impact of a potential
         Generating Facility on Transmission Provider’s Transmission System based on a user-
         specified addition of a particular number of megawatts at a particular voltage level at a
         particular point of interconnection. At a minimum, for each transmission facility
         impacted by the user-specified megawatt addition, the following information will be
         provided in the table: (1) the distribution factor; (2) the megawatt impact (based on the
         megawatt values of the proposed Generating Facility and the distribution factor); (3) the
         percentage impact on each impacted transmission facility (based on the megawatt values
         of the proposed Generating Facility and the facility rating); (4) the percentage of power
         flow on each impacted transmission facility before the injection of the proposed project;
         (5) the percentage power flow on each impacted transmission facility after the injection
         of the proposed Generating Facility. These metrics must be calculated based on the
         power flow model of the Transmission System with the transfer simulated from each point
         of interconnection to the whole Transmission Provider’s footprint (to approximate
         Network Resource Interconnection Service), and with the incremental capacity at each
         point of interconnection decremented by the existing and queued Generating Facilities
         (based on the existing or requested interconnection service limit of the generation).
         These metrics must be updated within thirty (30) Calendar Days after the completion of
         each Cluster Study and Cluster Restudy. This information must be publicly posted,
         without a password or a fee. The website will define all underlying assumptions,
         including the name of the most recent Cluster Study or Restudy used in the Base Case.

         [6.1 Interconnection Feasibility Study Agreement.

         Simultaneously with the acknowledgement of a valid Interconnection Request
         Transmission Provider shall provide to Interconnection Customer an Interconnection
         Feasibility Study Agreement in the form of Appendix 2. The Interconnection Feasibility
         Study Agreement shall: specify that Interconnection Customer is responsible for the
         actual cost of the Interconnection Feasibility Study. Within five (5) Business Days
         following the Scoping Meeting Interconnection Customer shall specify for inclusion in
         the attachment to the Interconnection Feasibility Study Agreement the Point(s) of
         Interconnection and any reasonable alternative Point(s) of Interconnection. Within five
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         (5) Business Days following Transmission Provider’s receipt of such designation,
         Transmission Provider shall tender to Interconnection Customer the Interconnection
         Feasibility Study Agreement signed by Transmission Provider, which includes a good
         faith estimate of the cost for completing the Interconnection Feasibility Study.
         Interconnection Customer shall execute and deliver to Transmission Provider the
         Interconnection Feasibility Study Agreement along with a $10,000 deposit no later than
         thirty (30) Calendar Days after its receipt.

         On or before the return of the executed Feasibility Study Agreement to Transmission
         Provider, Interconnection Customer shall provide the technical data called for in
         Appendix 1, Attachment A.

         If the Interconnection Feasibility Study uncovers any unexpected result(s) not
         contemplated during the Scoping Meeting, a substitute Point of Interconnection identified
         by either Interconnection Customer or Transmission Provider, and acceptable to the
         other, such acceptance not to be unreasonably withheld, will be substituted for the
         designated Point of Interconnection specified above without loss of Queue Position, and
         Re-studies shall be completed pursuant to Section 6.4 as applicable. For the purpose of
         this Section 6.1, if Transmission Provider and Interconnection Customer cannot agree on
         the substituted Point of Interconnection, then Interconnection Customer may direct that
         one of the alternatives as specified in the Interconnection Feasibility Study Agreement, as
         specified pursuant to Section 3.4.4, shall be the substitute.

         If Interconnection Customer and Transmission Provider agree to forgo the
         Interconnection Feasibility Study, Transmission Provider will initiate an Interconnection
         System Impact Study under Section 7 of this LGIP and apply the $10,000 deposit
         towards the Interconnection System Impact Study.]

         [6.2 Scope of Interconnection Feasibility Study.

         The Interconnection Feasibility Study shall preliminarily evaluate the feasibility of the
         proposed interconnection to the Transmission System.

         The Interconnection Feasibility Study will consider the Base Case as well as all
         generating facilities (and with respect to (iii), any identified Network Upgrades) that, on
         the date the Interconnection Feasibility Study is commenced: (i) are directly
         interconnected to the Transmission System; (ii) are interconnected to Affected Systems
         and may have an impact on the Interconnection Request; (iii) have a pending higher
         queued Interconnection Request to interconnect to the Transmission System; and (iv)
         have no Queue Position but have executed an LGIA or requested that an unexecuted
         LGIA be filed with FERC. The Interconnection Feasibility Study will consist of a power
         flow and short circuit analysis. The Interconnection Feasibility Study will provide a list
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         of facilities and a non-binding good faith estimate of cost responsibility and a non-
         binding good faith estimated time to construct.]

         [6.3 Interconnection Feasibility Study Procedures.

         Transmission Provider shall utilize existing studies to the extent practicable when it
         performs the study. Transmission Provider shall use Reasonable Efforts to complete the
         Interconnection Feasibility Study no later than forty-five (45) Calendar Days after
         Transmission Provider receives the fully executed Interconnection Feasibility Study
         Agreement. At the request of Interconnection Customer or at any time Transmission
         Provider determines that it will not meet the required time frame for completing the
         Interconnection Feasibility Study, Transmission Provider shall notify Interconnection
         Customer as to the schedule status of the Interconnection Feasibility Study. If
         Transmission Provider is unable to complete the Interconnection Feasibility Study
         within that time period, it shall notify Interconnection Customer and provide an
         estimated completion date with an explanation of the reasons why additional time is
         required. Upon request, Transmission Provider shall provide Interconnection Customer
         supporting documentation, workpapers and relevant power flow, short circuit and
         stability databases for the Interconnection Feasibility Study, subject to confidentiality
         arrangements consistent with Section 13.1.

         Transmission Provider shall study the Interconnection Request at the level of service
         requested by the Interconnection Customer, unless otherwise required to study the full
         Generating Facility Capacity due to safety or reliability concerns.]

         [6.3.1 Meeting with Transmission Provider.

         Within ten (10) Business Days of providing an Interconnection Feasibility Study report to
         Interconnection Customer, Transmission Provider and Interconnection Customer shall
         meet to discuss the results of the Interconnection Feasibility Study.]

         [6.4 Re-Study.

         If Re-Study of the Interconnection Feasibility Study is required due to a higher queued
         project dropping out of the queue, or a modification of a higher queued project subject to
         Section 4.4, or re-designation of the Point of Interconnection pursuant to Section 6.1
         Transmission Provider shall notify Interconnection Customer in writing. Such Re-Study
         shall take not longer than forty-five (45) Calendar Days from the date of the notice. Any
         cost of Re-Study shall be borne by the Interconnection Customer being re-studied.]
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         Section 7. [Interconnection System Impact]Cluster Study

         7.1 [Interconnection System Impact]Cluster Study Agreement.

         [Unless otherwise agreed, pursuant to the Scoping Meeting provided in Section 3.4.4,
         simultaneously with the delivery of the Interconnection Feasibility Study to
         Interconnection Customer]No later than five (5) Business Days after the close of a
         Cluster Request Window, Transmission Provider shall [provide ]tender to each
         Interconnection Customer [an]that submitted a valid Interconnection[ System Impact]
         Request a Cluster Study Agreement in the form of Appendix 2[3] to this LGIP. The
         [Interconnection System Impact]Cluster Study Agreement shall [provide that ]require
         Interconnection Customer [shall]to compensate Transmission Provider for the actual cost
         of the [Interconnection System Impact Study.]Cluster Study pursuant to Section 13.3 of
         this LGIP. The specifications, assumptions, or other provisions in the appendices of the
         Cluster Study Agreement provided pursuant to Section 7.1 of this LGIP shall be subject
         to change by Transmission Provider following the conclusion of the Scoping Meeting.
         [Within three (3) Business Days following the Interconnection Feasibility Study results
         meeting, Transmission Provider shall provide to Interconnection Customer a non-binding
         good faith estimate of the cost and timeframe for completing the Interconnection System
         Impact Study.]

         7.2 Execution of [Interconnection System Impact]Cluster Study Agreement.

         Interconnection Customer shall execute the [Interconnection System Impact]Cluster
         Study Agreement and deliver the executed [Interconnection System Impact]Cluster Study
         Agreement to Transmission Provider no later than [thirty (30) Calendar Days after its
         receipt along with demonstration of Site Control, and a $50,000 deposit]the close of the
         Customer Engagement Window.

         If Interconnection Customer does not provide all [such] required technical data when it
         delivers the [Interconnection System Impact]Cluster Study Agreement, Transmission
         Provider shall notify Interconnection Customer of the deficiency within five (5) Business
         Days of the receipt of the executed [Interconnection System Impact]Cluster Study
         Agreement and Interconnection Customer shall cure the deficiency within ten (10)
         Business Days of receipt of the notice, provided, however, such deficiency does not
         include failure to deliver the executed [Interconnection System Impact]Cluster Study
         Agreement or Study Deposit.

         [If the Interconnection System Impact Study uncovers any unexpected result(s) not
         contemplated during the Scoping Meeting and the Interconnection Feasibility Study, a
         substitute Point of Interconnection identified by either Interconnection Customer or
         Transmission Provider, and acceptable to the other, such acceptance not to be
         unreasonably withheld, will be substituted for the designated Point of Interconnection
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         specified above without loss of Queue Position, and restudies shall be completed
         pursuant to Section 7.6 as applicable. For the purpose of this Section 7.2, if Transmission
         Provider and Interconnection Customer cannot agree on the substituted Point of
         Interconnection, then Interconnection Customer may direct that one of the alternatives as
         specified in the Interconnection Feasibility Study Agreement, as specified pursuant to
         Section 3.4.4, shall be the substitute.]

         7.3 Scope of [Interconnection System Impact]Cluster Study.

         The [Interconnection System Impact]Cluster Study shall evaluate the impact of the
         proposed interconnection on the reliability of the Transmission System. The
         [Interconnection System Impact]Cluster Study will consider the Base Case as well as all
         Generating Facilities (and with respect to (iii) below, any identified Network Upgrades
         associated with such higher queued interconnection) that, on the date the [Interconnection
         System Impact]Cluster Study is commenced: (i) are directly interconnected to the
         Transmission System; (ii) are interconnected to Affected Systems and may have an
         impact on the Interconnection Request; (iii) have a pending higher queued
         Interconnection Request to interconnect to the Transmission System; and (iv) have no
         Queue Position but have executed an LGIA or requested that an unexecuted LGIA be
         filed with FERC.

         For purposes of determining necessary Interconnection Facilities and Network
         Upgrades, the Cluster Study shall use the level of Interconnection Service requested by
         Interconnection Customers in the Cluster, except where the Transmission Provider
         otherwise determines that it must study the full Generating Facility Capacity due to
         safety or reliability concerns.

         The [Interconnection System Impact]Cluster Study will consist of [a short circuit
         analysis, a]power flow, stability[analysis, and a power flow analysis. The
         Interconnection System Impact Study], and short circuit analyses, the results of which
         are documented in a single Cluster Study Report, as applicable. At the conclusion of the
         Cluster Study, Transmission Provider shall issue a Cluster Study Report. The Cluster
         Study Report will state the assumptions upon which it is based; state the results of the
         analyses; and provide the requirements or potential impediments to providing the
         requested interconnection service, including a preliminary indication of the cost and
         length of time that would be necessary to correct any problems identified in those
         analyses and implement the interconnection. [For purposes of determining necessary]The
         Cluster Study Report shall identify the Interconnection Facilities and Network Upgrades
         [, the System Impact Study shall consider the level of Interconnection Service requested
         by the Interconnection Customer, unless otherwise required to study the full Generating
         Facility Capacity due to safety or reliability concerns.]expected to be required to reliably
         interconnect the Generating Facilities in that Cluster Study at the requested
         Interconnection Service level and shall provide non-binding cost estimates for required
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         Network Upgrades. The Cluster Study Report shall identify each Interconnection
         Customer’s estimated allocated costs for Interconnection Facilities and Network
         Upgrades pursuant to the method in Section 4.2.1 of this LGIP. Transmission Provider
         shall hold an open stakeholder meeting pursuant to Section 7.4 of this LGIP.

         For purposes of determining necessary Interconnection Facilities and Network
         Upgrades, the Cluster Study shall use operating assumptions (i.e., whether the
         interconnecting Generating Facility will or will not charge at peak load) that reflect the
         proposed charging behavior of a Generating Facility that includes at least one electric
         storage resource as requested by Interconnection Customer, unless Transmission
         Provider determines that Good Utility Practice, including Applicable Reliability
         Standards, otherwise requires the use of different operating assumptions. Transmission
         Provider may require the inclusion of control technologies sufficient to limit the
         operation of the Generating Facility per the operating assumptions as set forth in the
         Interconnection Request and to respond to dispatch instructions by Transmission
         Provider. As determined by Transmission Provider, Interconnection Customer may be
         subject to testing and validation of those control technologies consistent with Article 6 of
         the LGIA.

         [The Interconnection System Impact Study]The Cluster Study Report will provide a list
         of facilities that are required as a result of the Interconnection [Request]Requests within
         the Cluster and a non-binding good faith estimate of cost responsibility and a non-
         binding good faith estimated time to construct.

         Upon issuance of a Cluster Study Report, or Cluster Restudy Report, if any, Transmission
         Provider shall simultaneously tender a draft Interconnection Facilities Study Agreement
         to each Interconnection Customer within the Cluster, subject to the conditions in Section
         8.1 of this LGIP.

         The Cluster Study shall evaluate the use of static synchronous compensators, static VAR
         compensators, advanced power flow control devices, transmission switching,
         synchronous condensers, voltage source converters, advanced conductors, and tower
         lifting. Transmission Provider shall determine whether the above technologies should be
         used, consistent with Good Utility Practice and other applicable regulatory
         requirements. Transmission Provider shall include an explanation of the results of the
         Transmission Provider’s evaluation for each technology in the Cluster Study Report.

         7.4 [Interconnection System Impact]Cluster Study Procedures.

         Transmission Provider shall coordinate the [Interconnection System Impact]Cluster
         Study with any Affected System that is affected by the Interconnection Request pursuant
         to Section 3.6 [above]of this LGIP. Transmission Provider shall utilize existing studies to
         the extent practicable when it performs the [study]Cluster Study. Interconnection
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         Requests for a Cluster Study may be submitted only within the Cluster Request Window
         and Transmission Provider shall [use Reasonable Efforts to complete the Interconnection
         System Impact Study within ninety (90) Calendar Days after the receipt of the
         Interconnection System Impact Study Agreement or notification to proceed, study
         payment, and technical data. If Transmission Provider uses Clustering, Transmission
         Provider shall use Reasonable Efforts to deliver a completed Interconnection System
         Impact Study within ninety (90) Calendar Days after the close of the Queue Cluster
         Window.]initiate the Cluster Study process pursuant to Section 7 of this LGIP.

         Transmission Provider shall complete the Cluster Study within one hundred fifty
         (150) Calendar Days of the close of the Customer Engagement Window.

         Within ten (10) Business Days of simultaneously furnishing a Cluster Study Report to
         each Interconnection Customer within the Cluster and posting such report on OASIS,
         Transmission Provider shall convene a Cluster Study Report Meeting.

         At the request of Interconnection Customer or at any time Transmission Provider
         determines that it will not meet the required time frame for completing the
         [Interconnection System Impact]Cluster Study, Transmission Provider shall notify
         Interconnection Customers as to the schedule status of the [Interconnection System
         Impact]Cluster Study. If Transmission Provider is unable to complete the
         [Interconnection System Impact]Cluster Study within the time period, it shall notify
         Interconnection Customers and provide an estimated completion date with an explanation
         of the reasons why additional time is required. Upon request, Transmission Provider
         shall provide to Interconnection Customers all supporting documentation, workpapers
         and relevant pre-Interconnection Request and post-Interconnection Request power flow,
         short circuit and stability databases for the [Interconnection System Impact]Cluster
         Study, subject to confidentiality arrangements consistent with Section 13.1 of this LGIP.

         7.5 Cluster Study Restudies.

         (1) Within twenty (20) Calendar Days after the Cluster Study Report Meeting,
         Interconnection Customer must provide the following:

            (a)   Demonstration of continued Site Control pursuant to Section 3.4.2(iii) of this
                  LGIP; and

            (b)   An additional deposit that brings the total Commercial Readiness Deposit
                  submitted to Transmission Provider to five percent (5%) of the Interconnection
                  Customer’s Network Upgrade cost assignment identified in the Cluster Study in
                  the form of an irrevocable letter of credit or cash. Transmission Provider shall
                  refund the deposit to Interconnection Customer upon withdrawal in accordance
                  with Section 3.7 of this LGIP.
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         Interconnection Customer shall promptly inform Transmission Provider of any material
         change to Interconnection Customer’s demonstration of Site Control under Section
         3.4.2(iii) of this LGIP. Upon Transmission Provider determining that Interconnection
         Customer no longer satisfies the Site Control requirement, Transmission Provider shall
         notify Interconnection Customer. Within ten (10) Business Days of such notification,
         Interconnection Customer must demonstrate compliance with the applicable requirement
         subject to Transmission Provider’s approval, not to be unreasonably withheld. Absent
         such demonstration, Transmission Provider shall deem the subject Interconnection
         Request withdrawn pursuant to Section 3.7 of this LGIP.

         (2) If no Interconnection Customer withdraws from the Cluster after completion of the
         Cluster Study or Cluster Restudy or is deemed withdrawn pursuant to Section 3.7 of this
         LGIP after completion of the Cluster Study or Cluster Restudy, Transmission Provider
         shall notify Interconnection Customers in the Cluster that a Cluster Restudy is not
         required.

         (3) If one or more Interconnection Customers withdraw from the Cluster or are deemed
         withdrawn pursuant to Section 3.7 of this LGIP, Transmission Provider shall determine if
         a Cluster Restudy is necessary within thirty (30) Calendar Days after the Cluster Study
         Report Meeting. If Transmission Provider determines a Cluster Restudy is not necessary,
         Transmission Provider shall notify Interconnection Customers in the Cluster that a
         Cluster Restudy is not required and Transmission Provider shall provide an updated
         Cluster Study Report within thirty (30) Calendar Days of such determination.

         (4) If one or more Interconnection Customers withdraws from the Cluster or is deemed
         withdrawn pursuant to Section 3.7 of this LGIP, and Transmission Provider determines a
         Cluster Restudy is necessary as a result, Transmission Provider shall notify
         Interconnection Customers in the Cluster and post on OASIS that a Cluster Restudy is
         required within thirty (30) Calendar Days after the Cluster Study Report Meeting.
         Transmission Provider shall continue with such restudies until Transmission Provider
         determines that no further restudies are required. If an Interconnection Customer
         withdraws or is deemed withdrawn pursuant to Section 3.7 of this LGIP during the
         Interconnection Facilities Study, or after other Interconnection Customers in the same
         Cluster have executed LGIAs, or requested that unexecuted LGIAs be filed, and
         Transmission Provider determines a Cluster Restudy is necessary, the Cluster shall be
         restudied.

         (5) The scope of any Cluster Restudy shall be consistent with the scope of an initial
         Cluster Study pursuant to Section 7.3 of this LGIP. Transmission Provider shall
         complete the Cluster Restudy within one hundred fifty (150) Calendar Days of the
         Transmission Provider informing the Interconnection Customers in the cluster that
         restudy is needed. The results of the Cluster Restudy shall be combined into a single
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         report (Cluster Restudy Report). Transmission Provider shall hold a meeting with the
         Interconnection Customers in the cluster (Cluster Restudy Report Meeting) within ten
         (10) Business Days of simultaneously furnishing the Cluster Restudy Report to each
         Interconnection Customer in the Cluster Restudy and publishing the Cluster Restudy
         Report on OASIS.

         If additional restudies are required, Interconnection Customer and Transmission
         Provider shall follow the procedures of this Section 7.5 of this LGIP until such time that
         Transmission Provider determines that no further restudies are required. Transmission
         Provider shall notify each Interconnection Customer within the Cluster when no further
         restudies are required.

         [Meeting with Transmission Provider.

         Within ten (10) Business Days of providing an Interconnection System Impact Study
         report to Interconnection Customer, Transmission Provider and Interconnection
         Customer shall meet to discuss the results of the Interconnection System Impact Study.

         7.6 Re-Study.

         If Re-Study of the Interconnection System Impact Study is required due to a higher
         queued project dropping out of the queue, or a modification of a higher queued project
         subject to 4.4, or re-designation of the Point of Interconnection pursuant to Section 7.2
         Transmission Provider shall notify Interconnection Customer in writing. Such Re-Study
         shall take no longer than sixty (60) Calendar Days from the date of notice. Any cost of
         Re-Study shall be borne by the Interconnection Customer being re-studied.]

         Section 8.    Interconnection Facilities Study

         8.1 Interconnection Facilities Study Agreement.

         Simultaneously with the delivery of the [Interconnection System Impact Study to
         Interconnection Customer] Cluster Study Report, or Cluster Restudy Report if applicable,
         Transmission Provider shall provide to Interconnection Customer an Interconnection
         Facilities Study Agreement in the form of Appendix 3[4] to this LGIP. [The
         Interconnection Facilities Study Agreement shall provide that] Interconnection Customer
         shall compensate Transmission Provider for the actual cost of the Interconnection
         Facilities Study. Within five (5) Business Days following the Cluster Report Meeting or
         Cluster Restudy Report Meeting if applicable,[Interconnection System Impact Study
         results meeting], Transmission Provider shall provide to Interconnection Customer a non-
         binding good faith estimate of the cost and timeframe for completing the Interconnection
         Facilities Study.
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         Interconnection Customer shall execute the Interconnection Facilities Study Agreement
         and deliver the executed Interconnection Facilities Study Agreement to Transmission
         Provider within thirty (30) Calendar Days after its receipt, together with[the]:

         (1) any required technical data[and the greater of $100,000 or Interconnection Customer's
         portion of the estimated monthly cost of conducting the Interconnection Facilities
         Study.];

         (2) Demonstration of one-hundred percent (100%) Site Control or demonstration of a
         regulatory limitation and applicable deposit in lieu of Site Control provided to the
         Transmission Provider in accordance with section 3.4.2 of this LGIP; and

         (3) An additional deposit that brings the total Commercial Readiness Deposit submitted
         to the Transmission Provider to ten percent (10%) of the Interconnection Customer’s
         Network Upgrade cost assignment identified in the Cluster Study or Cluster Restudy, if
         applicable, in the form of an irrevocable letter of credit or cash. Transmission Provider
         shall refund the deposit to Interconnection Customer upon withdrawal in accordance
         with Section 3.7 of this LGIP.

         Interconnection Customer shall promptly inform Transmission Provider of any material
         change to Interconnection Customer’s demonstration of Site Control under Section
         3.4.2(iii) of this LGIP. Upon Transmission Provider determining separately that
         Interconnection Customer no longer satisfies the Site Control requirement, Transmission
         Provider shall notify Interconnection Customer. Within ten (10) Business Days of such
         notification, Interconnection Customer must demonstrate compliance with the applicable
         requirement subject to Transmission Provider’s approval, not to be unreasonably
         withheld. Absent such demonstration, Transmission Provider shall deem the subject
         Interconnection Request withdrawn pursuant to Section 3.7 of this LGIP.

         [8.1.1 Transmission Provider shall invoice Interconnection Customer on a monthly basis
         for the work to be conducted on the Interconnection Facilities Study each month.
         Interconnection Customer shall pay invoiced amounts within thirty (30) Calendar Days of
         receipt of invoice. Transmission Provider shall continue to hold the amounts on deposit
         until settlement of the final invoice.]

         8.2 Scope of Interconnection Facilities Study.

         The Interconnection Facilities Study shall be specific to each Interconnection Request
         and performed on an individual, i.e., non-clustered, basis. The Interconnection Facilities
         Study shall specify and provide a non-binding estimate of the cost of the equipment,
         engineering, procurement and construction work needed to implement the conclusions of
         the [Interconnection System Impact Study]Cluster Study Report (and any associated
         restudies) in accordance with Good Utility Practice to physically and electrically connect
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         the Interconnection [Facility ]Facilities to the Transmission System. The Interconnection
         Facilities Study shall also identify the electrical switching configuration of the connection
         equipment, including, without limitation: the transformer, switchgear, meters, and other
         station equipment; the nature and estimated cost of any Transmission Provider’s
         Interconnection Facilities and Network Upgrades necessary to accomplish the
         interconnection; and an estimate of the time required to complete the construction and
         installation of such facilities. The Interconnection Facilities Study will also identify any
         potential control equipment for [requests for](1) requests for Interconnection Service that
         are lower than the Generating Facility Capacity[.], and/or (2) requests to study a
         Generating Facility that includes at least one electric storage resource using operating
         assumptions (i.e., whether the interconnecting Generating Facility will or will not charge
         at peak load) that reflect its proposed charging behavior, as requested by
         Interconnection Customer, unless Transmission Provider determines that Good Utility
         Practice, including Applicable Reliability Standards, otherwise require the use of
         different operating assumptions.

         8.3    Interconnection Facilities Study Procedures.

         Transmission Provider shall coordinate the Interconnection Facilities Study with any
         Affected System pursuant to Section 3.6 of this LGIP. Transmission Provider shall
         utilize existing studies to the extent practicable in performing the Interconnection
         Facilities Study. Transmission Provider shall [use Reasonable Efforts to]complete the
         study and issue a draft Interconnection Facilities Study [r]Report to Interconnection
         Customer within the following number of days after receipt of an executed
         Interconnection Facilities Study Agreement: ninety (90) Calendar Days after receipt of
         an executed Interconnection Facilities Study Agreement, with no more than a +/- 20
         percent cost estimate contained in the report; or one hundred eighty (180) Calendar Days,
         if Interconnection Customer requests a +/- 10 percent cost estimate.

         At the request of Interconnection Customer or at any time Transmission Provider
         determines that it will not meet the required time frame for completing the
         Interconnection Facilities Study, Transmission Provider shall notify Interconnection
         Customer as to the schedule status of the Interconnection Facilities Study. If
         Transmission Provider is unable to complete the Interconnection Facilities Study and
         issue a draft Interconnection Facilities Study [r]Report within the time required, it shall
         notify Interconnection Customer and provide an estimated completion date and an
         explanation of the reasons why additional time is required.

         Interconnection Customer may, within thirty (30) Calendar Days after receipt of the draft
         Interconnection Facilities Study [r]Report, provide written comments to Transmission
         Provider, which Transmission Provider shall include in completing the final
         Interconnection Facilities Study [r]Report. Transmission Provider shall issue the final
         Interconnection Facilities Study [r]Report within fifteen (15) Business Days of receiving
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         Interconnection Customer's comments or promptly upon receiving Interconnection
         Customer’s statement that it will not provide comments. Transmission Provider may
         reasonably extend such fifteen[-day] (15) Business Day period upon notice to
         Interconnection Customer if Interconnection Customer’s comments require Transmission
         Provider to perform additional analyses or make other significant modifications prior to
         the issuance of the final Interconnection Facilities Study Report. Upon request,
         Transmission Provider shall provide Interconnection Customer supporting
         documentation, workpapers, and databases or data developed in the preparation of the
         Interconnection Facilities Study, subject to confidentiality arrangements consistent with
         Section 13.1 of this LGIP.

         8.4    Meeting with Transmission Provider.

         Within ten (10) Business Days of providing a draft Interconnection Facilities Study
         [r]Report to Interconnection Customer, Transmission Provider and Interconnection
         Customer shall meet to discuss the results of the Interconnection Facilities Study.

         8.5 [Re-Study]Restudy.

         If [Re-Study]Restudy of the Interconnection Facilities Study is required due to a higher or
         equally queued project [dropping out of] withdrawing from the queue or a modification
         of a higher or equally queued project pursuant to Section 4.4 of this LGIP, Transmission
         Provider shall so notify Interconnection Customer in writing. [Such]Transmission
         Provider shall ensure that such [Re-Study]Restudy [shall]takes no longer than sixty (60)
         Calendar Days from the date of notice. Except as provided in Section 3.7 of this LGIP in
         the case of withdrawing Interconnection Customers, any cost of [Re-Study]Restudy shall
         be borne by [the]Interconnection Customer being [re-studied]restudied.

         Section 9 [Engineering & Procurement (‘E&P’) Agreement]Affected System Study.

         9.1 Applicability.

         This Section 9 outlines the duties of Transmission Provider when it receives notification
         that an Affected System Interconnection Customer’s proposed interconnection to its host
         transmission provider may impact Transmission Provider’s Transmission System.

         9.2 Response to Initial Notification

         When Transmission Provider receives notification that an Affected System Interconnection
         Customer’s proposed interconnection to its host transmission provider may impact
         Transmission Provider’s Transmission System, Transmission Provider must respond in
         writing within twenty (20) Business Days whether it intends to conduct an Affected System
         Study.
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         By fifteen (15) Business Days after the Transmission Provider responds with its
         affirmative intent to conduct an Affected System Study, Transmission Provider shall share
         with Affected System Interconnection Customer(s) and the Affected System
         Interconnection Customer’s host transmission provider a non-binding good faith estimate
         of the cost and the schedule to complete the Affected System Study.

         9.3 Affected System Queue Position.

         Transmission Provider must assign an Affected System Queue Position to Affected System
         Interconnection Customer(s) that require(s) an Affected System Study. Such Affected
         System Queue Position shall be assigned based upon the date of execution of the Affected
         System Study Agreement. Relative to the Transmission Provider’s Interconnection
         Customers, this Affected System Queue Position shall be higher-queued than any Cluster
         that has not yet received its Cluster Study Report and shall be lower-queued than any
         Cluster that has already received its Cluster Study Report. Consistent with Section 9.7 of
         this LGIP, Transmission Provider shall study the Affected System Interconnection
         Customer(s) via Clustering, and all Affected System Interconnection Customers studied
         in the same Cluster under Section 9.7 shall be equally queued. For Affected System
         Interconnection Customers that are equally queued, the Affected System Queue Position
         shall have no bearing on the assignment of Affected System Network Upgrades identified
         in the applicable Affected System Study. The costs of the Affected System Network
         Upgrades shall be allocated among the Affected System Interconnection Customers in
         accordance with Section 9.9 of this LGIP.

         9.4 Affected System Study Agreement/Multiparty Affected System Study Agreement.

         Unless otherwise agreed, Transmission Provider shall provide to Affected System
         Interconnection Customer(s) an Affected System Study Agreement/Multiparty Affected
         System Study Agreement, in the form of Appendix 9 or Appendix 10 to this LGIP, as
         applicable, within ten (10) Business Days of Transmission Provider sharing the schedule
         for the Affected System Study per Section 9.2 of this LGIP.

         Upon Affected System Interconnection Customer(s)’ receipt of the Affected System Study
         Report, Affected System Interconnection Customer(s) shall compensate Transmission
         Provider for the actual cost of the Affected System Study. Any difference between the
         study deposit and the actual cost of the Affected System Study shall be paid by or
         refunded to the Affected System Interconnection Customer(s). Any invoices for the
         Affected System Study shall include a detailed and itemized accounting of the cost of the
         study. Affected System Interconnection Customer(s) shall pay any excess costs beyond
         the already-paid Affected System Study deposit or be reimbursed for any costs collected
         over the actual cost of the Affected System Study within thirty (30) Calendar Days of
         receipt of an invoice thereof. If Affected System Interconnection Customer(s) fail to pay
         such undisputed costs within the time allotted, it shall lose its Affected System Queue
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         Position. Transmission Provider shall notify Affected System Interconnection Customer’s
         host transmission provider of such failure to pay.

         9.5 Execution of Affected System Study Agreement/Multiparty Affected System Study
         Agreement.

         Affected System Interconnection Customer(s) shall execute the Affected System Study
         Agreement/Multiparty Affected System Study Agreement, deliver the executed Affected
         System Study Agreement/Multiparty Affected System Study Agreement to Transmission
         Provider, and provide the Affected System Study deposit within ten (10) Business Days of
         receipt.

         If Affected System Interconnection Customer does not provide all required technical data
         when it delivers the Affected System Study Agreement/Multiparty Affected System Study
         Agreement, Transmission Provider shall notify the deficient Affected System
         Interconnection Customer, as well as the host transmission provider with which Affected
         System Interconnection Customer seeks to interconnect, of the deficiency within five (5)
         Business Days of the receipt of the executed Affected System Study Agreement/Multiparty
         Affected System Study Agreement and the deficient Affected System Interconnection
         Customer shall cure the deficiency within ten (10) Business Days of receipt of the notice:
         provided, however, that such deficiency does not include failure to deliver the executed
         Affected System Study Agreement/Multiparty Affected System Study Agreement or deposit
         for the Affected System Study Agreement/Multiparty Affected System Study Agreement. If
         Affected System Interconnection Customer does not cure the deficiency or fails to execute
         the Affected System Study Agreement/Multiparty Affected System Study Agreement or
         provide the deposit, the Affected System Interconnection Customer shall lose its Affected
         System Queue Position.

         9.6 Scope of Affected System Study.

         The Affected System Study shall evaluate the impact that any Affected System
         Interconnection Customer’s proposed interconnection to another transmission provider’s
         transmission system will have on the reliability of Transmission Provider’s Transmission
         System. The Affected System Study shall consider the Base Case as well as all
         Generating Facilities (and with respect to (iii) below, any identified Affected System
         Network Upgrades associated with such higher-queued Interconnection Request) that, on
         the date the Affected System Study is commenced: (i) are directly interconnected to
         Transmission Provider’s Transmission System; (ii) are directly interconnected to another
         transmission provider’s transmission system and may have an impact on Affected System
         Interconnection Customer’s interconnection request; (iii) have a pending higher-queued
         Interconnection Request to interconnect to Transmission Provider’s Transmission
         System; and (iv) have no queue position but have executed an LGIA or requested that an
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         unexecuted LGIA be filed with FERC. Transmission Provider has no obligation to study
         impacts of Affected System Interconnection Customers of which it is not notified.

         The Affected System Study shall consist of a power flow, stability, and short circuit
         analysis. The Affected System Study will: state the assumptions upon which it is based;
         state the results of the analyses; and provide the potential impediments to Affected
         System Interconnection Customer’s receipt if interconnection service on its host
         transmission provider’s transmission system, including a preliminary indication of the
         cost and length of time that would be necessary to correct any problems identified in
         those analyses and implement the interconnection. For purposes of determining
         necessary Affected System Network Upgrades, the Affected System Study shall consider
         the level of interconnection service requested in megawatts by Affected System
         Interconnection Customer, unless otherwise required to study the full generating facility
         capacity due to safety or reliability concerns. The Affected System Study shall provide a
         list of facilities that are required as a result of Affected System Interconnection
         Customer’s proposed interconnection to another transmission provider’s system, a non-
         binding good faith estimate of cost responsibility, and a non-binding good faith estimated
         time to construct. The Affected System Study may consist of a system impact study, a
         facilities study, or some combination thereof.

         9.7 Affected System Study Procedures.

         Transmission Provider shall use Clustering in conducting the Affected System Study and
         shall use existing studies to the extent practicable, when multiple Affected System
         Interconnection Customers that are part of a single Cluster may cause the need for
         Affected System Network Upgrades. Transmission Provider shall complete the Affected
         System Study and provide the Affected System Study Report to Affected System
         Interconnection Customer(s) and the host transmission provider with whom
         interconnection has been requested within one hundred fifty (150) Calendar Days after
         the receipt of the Affected System Study Agreement and deposit.

         At the request of Affected System Interconnection Customer, Transmission Provider shall
         notify Affected System Interconnection Customer as to the status of the Affected System
         Study. If Transmission Provider is unable to complete the Affected System Study within
         the requisite time period, it shall notify Affected System Interconnection Customer(s), as
         well as the transmission provider with which Affected System Interconnection Customer
         seeks to interconnect, and shall provide an estimated completion date with an
         explanation of the reasons why additional time is required. If Transmission Provider
         does not meet the deadlines in this section, Transmission Provider shall be subject to the
         financial penalties as described in Section 3.9 of this LGIP. Upon request, Transmission
         Provider shall provide Affected System Interconnection Customer(s) with all supporting
         documentation, workpapers and relevant power flow, short circuit and stability
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         databases for the Affected System Study, subject to confidentiality arrangements
         consistent with Section 13.1 of this LGIP.

         Transmission Provider must study an Affected System Interconnection Customer using
         the Energy Resource Interconnection Service modeling standard used for Interconnection
         Requests on its own Transmission System, regardless of the level of interconnection
         service that Affected System Interconnection Customer is seeking from the host
         transmission provider with whom it seeks to interconnect.

         9.8 Meeting with Transmission Provider.

         Within ten (10) Business Days of providing the Affected System Study Report to Affected
         System Interconnection Customer(s), Transmission Provider and Affected System
         Interconnection Customer(s) shall meet to discuss the results of the Affected System
         Study.

         9.9 Affected System Cost Allocation.

         Transmission Provider shall allocate Affected System Network Upgrade costs identified
         during the Affected System Study to Affected System Interconnection Customer(s) using a
         proportional impact method, consistent with Section 4.2.1(1)(b) of this LGIP.

         9.10 Tender of Affected Systems Facilities Construction Agreement/Multiparty
         Affected System Facilities Construction Agreement.

         Transmission Provider shall tender to Affected System Interconnection Customer(s) an
         Affected System Facilities Construction Agreement/Multiparty Affected System Facilities
         Construction Agreement, as applicable, in the form of Appendix 11 or 12 to this LGIP,
         within thirty (30) Calendar Days of providing the Affected System Study Report. Within
         ten (10) Business Days of the receipt of the Affected System Facilities Construction
         Agreement/Multiparty Affected System Facilities Construction Agreement, the Affected
         System Interconnection Customer(s) must execute the agreement or request the
         agreement to be filed unexecuted with FERC. Transmission Provider shall execute the
         agreement or file the agreement unexecuted within five (5) Business Days after receiving
         direction from Affected System Interconnection Customer(s). Affected System
         Interconnection Customer’s failure to execute the Affected System Facilities Construction
         Agreement/Multiparty Affected System Facilities Construction Agreement, or failure to
         request the agreement to be filed unexecuted with FERC, shall result in the loss of its
         Affected System Queue Position.
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         9.11 Restudy.

         If restudy of the Affected System Study is required, Transmission Provider shall notify
         Affected System Interconnection Customer(s) in writing within thirty (30) Calendar Days
         of discovery of the need for restudy. Such restudy shall take no longer than sixty (60)
         Calendar Days from the date of notice. Any cost of restudy shall be borne by the Affected
         System Interconnection Customer(s) being restudied.

         [Prior to executing an LGIA, an Interconnection Customer may, in order to advance the
         implementation of its interconnection, request and Transmission Provider shall offer the
         Interconnection Customer, an E&P Agreement that authorizes Transmission Provider to
         begin engineering and procurement of long lead-time items necessary for the
         establishment of the interconnection. However, Transmission Provider shall not be
         obligated to offer an E&P Agreement if Interconnection Customer is in Dispute
         Resolution as a result of an allegation that Interconnection Customer has failed to meet
         any milestones or comply with any prerequisites specified in other parts of the LGIP.
         The E&P Agreement is an optional procedure and it will not alter the Interconnection
         Customer's Queue Position or In-Service Date. The E&P Agreement shall provide for
         Interconnection Customer to pay the cost of all activities authorized by Interconnection
         Customer and to make advance payments or provide other satisfactory security for such
         costs.

         Interconnection Customer shall pay the cost of such authorized activities and any
         cancellation costs for equipment that is already ordered for its interconnection, which
         cannot be mitigated as hereafter described, whether or not such items or equipment later
         become unnecessary. If Interconnection Customer withdraws its application for
         interconnection or either Party terminates the E&P Agreement, to the extent the
         equipment ordered can be canceled under reasonable terms, Interconnection Customer
         shall be obligated to pay the associated cancellation costs. To the extent that the
         equipment cannot be reasonably canceled, Transmission Provider may elect: (i) to take
         title to the equipment, in which event Transmission Provider shall refund Interconnection
         Customer any amounts paid by Interconnection Customer for such equipment and shall
         pay the cost of delivery of such equipment, or (ii) to transfer title to and deliver such
         equipment to Interconnection Customer, in which event Interconnection Customer shall
         pay any unpaid balance and cost of delivery of such equipment.]

         Section 10. Optional Interconnection Study

         10.1   Optional Interconnection Study Agreement.

         On or after the date when Interconnection Customer receives [Interconnection System
         Impact Study] Cluster Study results, Interconnection Customer may request, and
         Transmission Provider shall perform a reasonable number of Optional Studies. The
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         request shall describe the assumptions that Interconnection Customer wishes Transmission
         Provider to study within the scope described in Section 10.2. Within five (5) Business
         Days after receipt of a request for an Optional Interconnection Study, Transmission
         Provider shall provide to Interconnection Customer an Optional Interconnection Study
         Agreement in the form of Appendix 4[5].

         The Optional Interconnection Study Agreement shall: (i) specify the technical data that
         Interconnection Customer must provide for each phase of the Optional Interconnection
         Study, (ii) specify Interconnection Customer's assumptions as to which Interconnection
         Requests with earlier queue priority dates will be excluded from the Optional
         Interconnection Study case and assumptions as to the type of interconnection service for
         Interconnection Requests remaining in the Optional Interconnection Study case, and
         (iii) Transmission Provider's estimate of the cost of the Optional Interconnection Study.
         To the extent known by Transmission Provider, such estimate shall include any costs
         expected to be incurred by any Affected System whose participation is necessary to
         complete the Optional Interconnection Study. Notwithstanding the above, Transmission
         Provider shall not be required as a result of an Optional Interconnection Study request to
         conduct any additional Interconnection Studies with respect to any other Interconnection
         Request.

         Interconnection Customer shall execute the Optional Interconnection Study Agreement
         within ten (10) Business Days of receipt and deliver the Optional Interconnection Study
         Agreement, the technical data and a $10,000 deposit to Transmission Provider.

         10.2   Scope of Optional Interconnection Study.

         The Optional Interconnection Study will consist of a sensitivity analysis based on the
         assumptions specified by Interconnection Customer in the Optional Interconnection Study
         Agreement. The Optional Interconnection Study will also identify Transmission
         Provider's Interconnection Facilities and the Network Upgrades, and the estimated cost
         thereof, that may be required to provide transmission service or Interconnection Service
         based upon the results of the Optional Interconnection Study. The Optional
         Interconnection Study shall be performed solely for informational purposes. Transmission
         Provider shall use Reasonable Efforts to coordinate the study with any Affected Systems
         that may be affected by the types of Interconnection Services that are being studied.
         Transmission Provider shall utilize existing studies to the extent practicable in conducting
         the Optional Interconnection Study.

         10.3   Optional Interconnection Study Procedures.

         The executed Optional Interconnection Study Agreement, the prepayment, and technical
         and other data called for therein must be provided to Transmission Provider within
         ten (10) Business Days of Interconnection Customer receipt of the Optional
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         Interconnection Study Agreement. Transmission Provider shall use Reasonable Efforts
         to complete the Optional Interconnection Study within a mutually agreed upon time
         period specified within the Optional Interconnection Study Agreement. If Transmission
         Provider is unable to complete the Optional Interconnection Study within such time
         period, it shall notify Interconnection Customer and provide an estimated completion date
         and an explanation of the reasons why additional time is required. Any difference
         between the study payment and the actual cost of the study shall be paid to Transmission
         Provider or refunded to Interconnection Customer, as appropriate. Upon request,
         Transmission Provider shall provide Interconnection Customer supporting documentation
         and workpapers and databases or data developed in the preparation of the Optional
         Interconnection Study, subject to confidentiality arrangements consistent with Section
         13.1.

         Section 11. Standard Large Generator Interconnection Agreement (LGIA)

         11.1 Tender.

         Interconnection Customer shall tender comments on the draft Interconnection Facilities
         Study Report within thirty (30) Calendar Days of receipt of the report. Within thirty
         (30) Calendar Days after the comments are submitted or after Interconnection Customer
         notifies Transmission Provider that it will not provide comments, Transmission Provider
         shall tender a draft LGIA, together with draft appendices. The draft LGIA shall be in the
         form of Transmission Provider’s FERC-approved standard form LGIA, which is in
         Appendix 5[6]. Interconnection Customer shall execute and return the LGIA and
         completed draft appendices within thirty (30) Calendar Days, unless (1) the sixty (60)
         Calendar Day negotiation period under Section 11.2 of this LGIP has commenced, or (2)
         LGIA execution, or filing unexecuted, has been delayed to await the Affected System
         Study Report pursuant to Section 11.2.1 of this LGIP.

         11.2   Negotiation.

         Notwithstanding Section 11.1, at the request of Interconnection Customer Transmission
         Provider shall begin negotiations with Interconnection Customer concerning the
         appendices to the LGIA at any time after Interconnection Customer executes the
         Interconnection Facilities Study Agreement. Transmission Provider and Interconnection
         Customer shall negotiate concerning any disputed provisions of the appendices to the
         draft LGIA for not more than sixty (60) Calendar Days after tender of the final
         Interconnection Facilities Study Report. If Interconnection Customer determines that
         negotiations are at an impasse, it may request termination of the negotiations at any time
         after tender of the draft LGIA pursuant to Section 11.1 and request submission of the
         unexecuted LGIA with FERC or initiate Dispute Resolution procedures pursuant to
         Section 13.5. If Interconnection Customer requests termination of the negotiations, but
         within sixty (60) Calendar Days thereafter fails to request either the filing of the
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         unexecuted LGIA or initiate Dispute Resolution, it shall be deemed to have withdrawn its
         Interconnection Request. Unless otherwise agreed by the Parties, if Interconnection
         Customer has not executed the LGIA, requested filing of an unexecuted LGIA, or
         initiated Dispute Resolution procedures pursuant to Section 13.5 within sixty (60)
         Calendar Days of tender of draft LGIA, it shall be deemed to have withdrawn its
         Interconnection Request. Transmission Provider shall provide to Interconnection
         Customer a final LGIA within fifteen (15) Business Days after the completion of the
         negotiation process.

         11.2.1 Delay in LGIA Execution, or Filing Unexecuted, to Await Affected System Study
         Report.

         If Interconnection Customer has not received its Affected System Study Report from the
         Affected System Operator prior to the date that it would be required to execute its LGIA
         (or request that its LGIA be filed unexecuted) pursuant to Section 11.1 of this LGIP,
         Transmission Provider shall, upon request of Interconnection Customer, extend this
         deadline to thirty (30) Calendar Days after Interconnection Customer’s receipt of the
         Affected System Study Report. If Interconnection Customer, after delaying LGIA
         execution, or requesting unexecuted filing, to await Affected System Study Results,
         decides to proceed to LGIA execution, or request unexecuted filing, without those results,
         it may notify Transmission Provider of its intent to proceed with LGIA execution (or
         request that its LGIA be filed unexecuted) pursuant to Section 11.1 of this LGIP. If
         Transmission Provider determines that further delay to the LGIA execution date would
         cause a material impact on the cost or timing of an equal- or lower-queued
         interconnection customer, Transmission Provider must notify Interconnection Customer
         of such impacts and set the deadline to execute the LGIA (or request that the LGIA be
         filed unexecuted) to thirty (30) Calendar Days after such notice is provided.

         11.3 Execution and Filing.

         Simultaneously with submitting the executed LGIA to Transmission Provider, or within
         ten (10) Business Days after the Interconnection Customer requests that the
         Transmission Provider file the LGIA unexecuted at the Commission, [Within fifteen (15)
         Business Days after receipt of the final executed LGIA,]Interconnection Customer shall
         provide Transmission Provider with [(A) reasonable evidence that continued Site Control
         or (B) posting of $250,000, non-refundable additional security, which shall be applied
         toward future construction costs](1) demonstration of continued Site Control pursuant to
         Section 8.1(2) of this LGIP; and (2) the LGIA Deposit equal to twenty percent (20%) of
         Interconnection Customer’s estimated Network Upgrade costs identified in the draft
         LGIA minus the total amount of Commercial Readiness Deposits that Interconnection
         Customer has provided to Transmission Provider for its Interconnection Request.
         Transmission Provider shall use LGIA Deposit as (or as a portion of) the Interconnection
         Customer’s security required under LGIA Article 11.5. Interconnection Customer may
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         not request to suspend its LGIA under LGIA Article 5.16 until Interconnection Customer
         has provided (1) and (2) to Transmission Provider. If Interconnection Customer fails to
         provide (1) and (2) to Transmission Provider within the thirty (30) Calendar Days
         allowed for returning the executed LGIA and appendices under LGIP Section 11.1, or
         within ten (10) Business Days after Interconnection Customer requests that Transmission
         Provider file the LGIA unexecuted at the Commission as allowed in this Section 11.3 of
         this LGIP, the Interconnection Request will be deemed withdrawn pursuant to Section 3.7
         of this LGIP.

         At the same time, Interconnection Customer also shall provide reasonable evidence that
         one or more of the following milestones in the development of the Large Generating
         Facility, at Interconnection Customer election, has been achieved (unless such milestone
         is inapplicable due to the characteristics of the Generating Facility): (i) the execution of
         a contract for the supply or transportation of fuel to the Large Generating Facility; (ii) the
         execution of a contract for the supply of cooling water to the Large Generating Facility;
         (iii) execution of a contract for the engineering for, procurement of major equipment for,
         or construction of, the Large Generating Facility; (iv) execution of a contract (or
         comparable evidence) for the sale of electric energy or capacity from the Large
         Generating Facility; or (v) application for an air, water, or land use permit.

         Interconnection Customer shall either: (i) execute two originals of the tendered LGIA and
         return them to Transmission Provider; or (ii) request in writing that Transmission
         Provider file with FERC an LGIA in unexecuted form. As soon as practicable, but not
         later than ten (10) Business Days after receiving either the two executed originals of the
         tendered LGIA (if it does not conform with a FERC-approved standard form of
         interconnection agreement) or the request to file an unexecuted LGIA, Transmission
         Provider shall file the LGIA with FERC, together with its explanation of any matters as
         to which Interconnection Customer and Transmission Provider disagree and support for
         the costs that Transmission Provider proposes to charge to Interconnection Customer
         under the LGIA. An unexecuted LGIA should contain terms and conditions deemed
         appropriate by Transmission Provider for the Interconnection Request. If the Parties
         agree to proceed with design, procurement, and construction of facilities and upgrades
         under the agreed-upon terms of the unexecuted LGIA, they may proceed pending FERC
         action.

         11.4   Commencement of Interconnection Activities.

         If Interconnection Customer executes the final LGIA, Transmission Provider and
         Interconnection Customer shall perform their respective obligations in accordance with
         the terms of the LGIA, subject to modification by FERC. Upon submission of an
         unexecuted LGIA, Interconnection Customer and Transmission Provider shall promptly
         comply with the unexecuted LGIA, subject to modification by FERC.
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         Section 12. Construction of Transmission Provider's Interconnection Facilities and
                     Network Upgrades

         12.1 Schedule.

         Transmission Provider and Interconnection Customer shall negotiate in good faith
         concerning a schedule for the construction of Transmission Provider's Interconnection
         Facilities and the Network Upgrades.

         12.2 Construction Sequencing.

         12.2.1 General.

         In general, the In-Service Date of an Interconnection Customers seeking interconnection
         to the Transmission System will determine the sequence of construction of Network
         Upgrades.

         12.2.2 Advance Construction of Network Upgrades that are an Obligation of an
         Entity other than Interconnection Customer.

         An Interconnection Customer with an LGIA, in order to maintain its In-Service Date,
         may request that Transmission Provider advance to the extent necessary the completion
         of Network Upgrades that: (i) were assumed in the Interconnection Studies for such
         Interconnection Customer, (ii) are necessary to support such In-Service Date, and (iii)
         would otherwise not be completed, pursuant to a contractual obligation of an entity other
         than Interconnection Customer that is seeking interconnection to the Transmission
         System, in time to support such In-Service Date. Upon such request, Transmission
         Provider will use Reasonable Efforts to advance the construction of such Network
         Upgrades to accommodate such request; provided that Interconnection Customer
         commits to pay Transmission Provider: (i) any associated expediting costs and (ii) the
         cost of such Network Upgrades. Transmission Provider will refund to Interconnection
         Customer both the expediting costs and the cost of Network Upgrades, in accordance
         with Article 11.4 of the LGIA. Consequently, the entity with a contractual obligation to
         construct such Network Upgrades shall be obligated to pay only that portion of the costs
         of the Network Upgrades that Transmission Provider has not refunded to Interconnection
         Customer. Payment by that entity shall be due on the date that it would have been due
         had there been no request for advance construction. Transmission Provider shall forward
         to Interconnection Customer the amount paid by the entity with a contractual obligation
         to construct the Network Upgrades as payment in full for the outstanding balance owed to
         Interconnection Customer. Transmission Provider then shall refund to that entity the
         amount that it paid for the Network Upgrades, in accordance with Article 11.4 of the
         LGIA.
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         12.2.3 Advancing Construction of Network Upgrades that are Part of an Expansion
         Plan of the Transmission Provider.

         An Interconnection Customer with an LGIA, in order to maintain its In-Service Date,
         may request that Transmission Provider advance to the extent necessary the completion
         of Network Upgrades that: (i) are necessary to support such In-Service Date and (ii)
         would otherwise not be completed, pursuant to an expansion plan of Transmission
         Provider, in time to support such In-Service Date. Upon such request, Transmission
         Provider will use Reasonable Efforts to advance the construction of such Network
         Upgrades to accommodate such request; provided that Interconnection Customer
         commits to pay Transmission Provider any associated expediting costs. Interconnection
         Customer shall be entitled to transmission credits, if any, for any expediting costs paid.

         12.2.4 Amended Interconnection [System Impact]Cluster Study Report.

         An Interconnection [System Impact]Cluster Study Report will be amended to determine
         the facilities necessary to support the requested In-Service Date. This amended study
         report will include those transmission and Large Generating Facilities that are expected
         to be on or before the requested In-Service Date.

         Section 13. Miscellaneous

         13.1   Confidentiality.

         Confidential Information shall include, without limitation, all information relating to a
         Party's technology, research and development, business affairs, and pricing, and any
         information supplied by either of the Parties to the other prior to the execution of an
         LGIA.

         Information is Confidential Information only if it is clearly designated or marked in
         writing as confidential on the face of the document, or, if the information is conveyed
         orally or by inspection, if the Party providing the information orally informs the Party
         receiving the information that the information is confidential.

         If requested by either Party, the other Party shall provide in writing, the basis for
         asserting that the information referred to in this Article warrants confidential treatment,
         and the requesting Party may disclose such writing to the appropriate Governmental
         Authority. Each Party shall be responsible for the costs associated with affording
         confidential treatment to its information.
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         13.1.1 Scope.

         Confidential Information shall not include information that the receiving Party can
         demonstrate: (1) is generally available to the public other than as a result of a disclosure
         by the receiving Party; (2) was in the lawful possession of the receiving Party on a non-
         confidential basis before receiving it from the disclosing Party; (3) was supplied to the
         receiving Party without restriction by a third party, who, to the knowledge of the
         receiving Party after due inquiry, was under no obligation to the disclosing Party to keep
         such information confidential; (4) was independently developed by the receiving Party
         without reference to Confidential Information of the disclosing Party; (5) is, or becomes,
         publicly known, through no wrongful act or omission of the receiving Party or Breach of
         the LGIA; or (6) is required, in accordance with Section 13.1.6, Order of Disclosure, to
         be disclosed by any Governmental Authority or is otherwise required to be disclosed by
         law or subpoena, or is necessary in any legal proceeding establishing rights and
         obligations under the LGIA. Information designated as Confidential Information will no
         longer be deemed confidential if the Party that designated the information as confidential
         notifies the other Party that it no longer is confidential.

         13.1.2 Release of Confidential Information.

         Neither Party shall release or disclose Confidential Information to any other person,
         except to its Affiliates (limited by the Standards of Conduct requirements), employees,
         consultants, or to parties who may be or considering providing financing to or equity
         participation with Interconnection Customer, or to potential purchasers or assignees of
         Interconnection Customer, on a need-to-know basis in connection with these procedures,
         unless such person has first been advised of the confidentiality provisions of this
         Section 13.1 and has agreed to comply with such provisions. Notwithstanding the
         foregoing, a Party providing Confidential Information to any person shall remain
         primarily responsible for any release of Confidential Information in contravention of this
         Section 13.1.

         13.1.3 Rights.

         Each Party retains all rights, title, and interest in the Confidential Information that each
         Party discloses to the other Party. The disclosure by each Party to the other Party of
         Confidential Information shall not be deemed a waiver by either Party or any other
         person or entity of the right to protect the Confidential Information from public
         disclosure.

         13.1.4 No Warranties.

         By providing Confidential Information, neither Party makes any warranties or
         representations as to its accuracy or completeness. In addition, by supplying Confidential
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         Information, neither Party obligates itself to provide any particular information or
         Confidential Information to the other Party nor to enter into any further agreements or
         proceed with any other relationship or joint venture.

         13.1.5 Standard of Care.

         Each Party shall use at least the same standard of care to protect Confidential Information
         it receives as it uses to protect its own Confidential Information from unauthorized
         disclosure, publication or dissemination. Each Party may use Confidential Information
         solely to fulfill its obligations to the other Party under these procedures or its regulatory
         requirements.

         13.1.6 Order of Disclosure.

         If a court or a Government Authority or entity with the right, power, and apparent
         authority to do so requests or requires either Party, by subpoena, oral deposition,
         interrogatories, requests for production of documents, administrative order, or otherwise,
         to disclose Confidential Information, that Party shall provide the other Party with prompt
         notice of such request(s) or requirement(s) so that the other Party may seek an
         appropriate protective order or waive compliance with the terms of the LGIA.
         Notwithstanding the absence of a protective order or waiver, the Party may disclose such
         Confidential Information which, in the opinion of its counsel, the Party is legally
         compelled to disclose. Each Party will use Reasonable Efforts to obtain reliable assurance
         that confidential treatment will be accorded any Confidential Information so furnished.

         13.1.7 Remedies.

         The Parties agree that monetary damages would be inadequate to compensate a Party for
         the other Party's Breach of its obligations under this Section 13.1. Each Party accordingly
         agrees that the other Party shall be entitled to equitable relief, by way of injunction or
         otherwise, if the first Party Breaches or threatens to Breach its obligations under this
         Section 13.1, which equitable relief shall be granted without bond or proof of damages,
         and the receiving Party shall not plead in defense that there would be an adequate remedy
         at law. Such remedy shall not be deemed an exclusive remedy for the Breach of this
         Section 13.1, but shall be in addition to all other remedies available at law or in equity.
         The Parties further acknowledge and agree that the covenants contained herein are
         necessary for the protection of legitimate business interests and are reasonable in scope.
         No Party, however, shall be liable for indirect, incidental, or consequential or punitive
         damages of any nature or kind resulting from or arising in connection with this Section
         13.1.
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         13.1.8 Disclosure to FERC, its Staff, or a State.

         Notwithstanding anything in this Section 13.1 to the contrary, and pursuant to 18 CFR
         section 1b.20, if FERC or its staff, during the course of an investigation or otherwise,
         requests information from one of the Parties that is otherwise required to be maintained in
         confidence pursuant to the LGIP, the Party shall provide the requested information to
         FERC or its staff, within the time provided for in the request for information. In
         providing the information to FERC or its staff, the Party must, consistent with 18 CFR
         section 388.112, request that the information be treated as confidential and non-public by
         FERC and its staff and that the information be withheld from public disclosure. Parties
         are prohibited from notifying the other Party prior to the release of the Confidential
         Information to FERC or its staff. The Party shall notify the other Party to the LGIA when
         its is notified by FERC or its staff that a request to release Confidential Information has
         been received by FERC, at which time either of the Parties may respond before such
         information would be made public, pursuant to 18 CFR section 388.112. Requests from a
         state regulatory body conducting a confidential investigation shall be treated in a similar
         manner, consistent with applicable state rules and regulations.

         13.1.9

         Subject to the exception in Section 13.1.8 of this LGIP, any information that a Party
         claims is competitively sensitive, commercial or financial information ("Confidential
         Information") shall not be disclosed by the other Party to any person not employed or
         retained by the other Party, except to the extent disclosure is (i) required by law; (ii)
         reasonably deemed by the disclosing Party to be required to be disclosed in connection
         with a dispute between or among the Parties, or the defense of litigation or dispute; (iii)
         otherwise permitted by consent of the other Party, such consent not to be unreasonably
         withheld; or (iv) necessary to fulfill its obligations under this LGIP or as a transmission
         service provider or a [Control Area]Balancing Authority Area operator including
         disclosing the Confidential Information to an RTO or ISO or to a subregional, regional or
         national reliability organization or planning group. The Party asserting confidentiality
         shall notify the other Party in writing of the information it claims is confidential. Prior to
         any disclosures of the other Party’s Confidential Information under this subparagraph, or
         if any third party or Governmental Authority makes any request or demand for any of the
         information described in this subparagraph, the disclosing Party agrees to promptly notify
         the other Party in writing and agrees to assert confidentiality and cooperate with the other
         Party in seeking to protect the Confidential Information from public disclosure by
         confidentiality agreement, protective order or other reasonable measures.

         13.1.10

         This provision shall not apply to any information that was or is hereafter in the public
         domain (except as a result of a Breach of this provision).
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         13.1.11

         Transmission Provider shall, at Interconnection Customer's election, destroy, in a
         confidential manner, or return the Confidential Information provided at the time of
         Confidential Information is no longer needed.

         13.2 Delegation of Responsibility.

         Transmission Provider may use the services of subcontractors as it deems appropriate to
         perform its obligations under this LGIP. Transmission Provider shall remain primarily
         liable to Interconnection Customer for the performance of such subcontractors and
         compliance with its obligations of this LGIP. The subcontractor shall keep all
         information provided confidential and shall use such information solely for the
         performance of such obligation for which it was provided and no other purpose.

         13.3 Obligation for Study Costs

         In the event an Interconnection Customer withdraws its Interconnection Request prior to
         the commencement of the Cluster Study, Interconnection Customer must pay
         Transmission Provider the actual costs of processing its Interconnection Request.
         In the event an Interconnection Customer withdraws after the commencement of the
         Cluster Study, Transmission Provider shall charge and Interconnection Customer shall
         pay the actual costs of the Interconnection Studies. The costs of any interconnection
         study conducted on a clustered basis shall be allocated among each Interconnection
         Customer within the cluster as follows: {Transmission Provider shall include in this
         section a description of how the cost of any clustered interconnection study will be
         allocated.}

         Any difference between the study deposit and the actual cost of the applicable
         Interconnection Study shall be paid by or refunded, except as otherwise provided herein,
         to Interconnection [Customer]Customers or offset against the cost of any future
         Interconnection Studies associated with the applicable [Interconnection Request]Cluster
         prior to beginning of any such future Interconnection Studies. Any invoices for
         Interconnection Studies shall include a detailed and itemized accounting of the cost of
         each Interconnection Study. Interconnection [Customer]Customers shall pay any such
         undisputed costs within thirty (30) Calendar Days of receipt of an invoice therefor. If an
         Interconnection Customer fails to pay such undisputed costs within the time allotted, its
         Interconnection Request shall be deemed withdrawn from the Cluster Study Process and
         will be subject to Withdrawal Penalties pursuant to Section 3.7 of this LGIP.
         [Transmission Provider shall not be obligated to perform or continue to perform any
         studies unless Interconnection Customer has paid all undisputed amounts in compliance
         herewith.]
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         13.4 Third Parties Conducting Studies.

         If (i) at the time of the signing of an Interconnection Study Agreement there is
         disagreement as to the estimated time to complete an Interconnection Study, (ii)
         Interconnection Customer receives notice pursuant to Sections 6.3, 7.4 or 8.3 that
         Transmission Provider will not complete an Interconnection Study within the applicable
         timeframe for such Interconnection Study, or (iii) Interconnection Customer receives
         neither the Interconnection Study nor a notice under Sections 6.3, 7.4 or 8.3 within the
         applicable timeframe for such Interconnection Study, then Interconnection Customer may
         require Transmission Provider to utilize a third party consultant reasonably acceptable to
         Interconnection Customer and Transmission Provider to perform such Interconnection
         Study under the direction of Transmission Provider. At other times, Transmission
         Provider may also utilize a third party consultant to perform such Interconnection Study,
         either in response to a general request of Interconnection Customer, or on its own
         volition.

         In all cases, use of a third party consultant shall be in accord with Article 26 of the LGIA
         (Subcontractors) and limited to situations where Transmission Provider determines that
         doing so will help maintain or accelerate the study process for Interconnection
         Customer's pending Interconnection Request and not interfere with Transmission
         Provider's progress on Interconnection Studies for other pending Interconnection
         Requests. In cases where Interconnection Customer requests use of a third party
         consultant to perform such Interconnection Study, Interconnection Customer and
         Transmission Provider shall negotiate all of the pertinent terms and conditions, including
         reimbursement arrangements and the estimated study completion date and study review
         deadline. Transmission Provider shall convey all workpapers, data bases, study results
         and all other supporting documentation prepared to date with respect to the
         Interconnection Request as soon as soon as practicable upon Interconnection Customer's
         request subject to the confidentiality provision in Section 13.1. In any case, such third
         party contract may be entered into with either Interconnection Customer or Transmission
         Provider at Transmission Provider's discretion. In the case of (iii) Interconnection
         Customer maintains its right to submit a claim to Dispute Resolution to recover the costs
         of such third party study. Such third party consultant shall be required to comply with this
         LGIP, Article 26 of the LGIA (Subcontractors), and the relevant Tariff procedures and
         protocols as would apply if Transmission Provider were to conduct the Interconnection
         Study and shall use the information provided to it solely for purposes of performing such
         services and for no other purposes. Transmission Provider shall cooperate with such third
         party consultant and Interconnection Customer to complete and issue the Interconnection
         Study in the shortest reasonable time.
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         13.5 Disputes.

         13.5.1 Submission.

         In the event either Party has a dispute, or asserts a claim, that arises out of or in
         connection with the LGIA, the LGIP, or their performance, such Party (the "disputing
         Party") shall provide the other Party with written notice of the dispute or claim ("Notice
         of Dispute"). Such dispute or claim shall be referred to a designated senior representative
         of each Party for resolution on an informal basis as promptly as practicable after receipt
         of the Notice of Dispute by the other Party. In the event the designated representatives are
         unable to resolve the claim or dispute through unassisted or assisted negotiations within
         thirty (30) Calendar Days of the other Party's receipt of the Notice of Dispute, such claim
         or dispute may, upon mutual agreement of the Parties, be submitted to arbitration and
         resolved in accordance with the arbitration procedures set forth below. In the event the
         Parties do not agree to submit such claim or dispute to arbitration, each Party may
         exercise whatever rights and remedies it may have in equity or at law consistent with the
         terms of this LGIA.

         13.5.2 External Arbitration Procedures.

         Any arbitration initiated under these procedures shall be conducted before a single neutral
         arbitrator appointed by the Parties. If the Parties fail to agree upon a single arbitrator
         within ten (10) Calendar Days of the submission of the dispute to arbitration, each Party
         shall choose one arbitrator who shall sit on a three-member arbitration panel. The two
         arbitrators so chosen shall within twenty (20) Calendar Days select a third arbitrator to
         chair the arbitration panel. In either case, the arbitrators shall be knowledgeable in
         electric utility matters, including electric transmission and bulk power issues, and shall
         not have any current or past substantial business or financial relationships with any party
         to the arbitration (except prior arbitration). The arbitrator(s) shall provide each of the
         Parties an opportunity to be heard and, except as otherwise provided herein, shall conduct
         the arbitration in accordance with the Commercial Arbitration Rules of the American
         Arbitration Association ("Arbitration Rules") and any applicable FERC regulations or
         RTO rules; provided, however, in the event of a conflict between the Arbitration Rules
         and the terms of this Section 13, the terms of this Section 13 shall prevail.

         13.5.3 Arbitration Decisions.

         Unless otherwise agreed by the Parties, the arbitrator(s) shall render a decision within
         ninety (90) Calendar Days of appointment and shall notify the Parties in writing of such
         decision and the reasons therefor. The arbitrator(s) shall be authorized only to interpret
         and apply the provisions of the LGIA and LGIP and shall have no power to modify or
         change any provision of the LGIA and LGIP in any manner. The decision of the
         arbitrator(s) shall be final and binding upon the Parties, and judgment on the award may
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         be entered in any court having jurisdiction. The decision of the arbitrator(s) may be
         appealed solely on the grounds that the conduct of the arbitrator(s), or the decision itself,
         violated the standards set forth in the Federal Arbitration Act or the Administrative
         Dispute Resolution Act. The final decision of the arbitrator must also be filed with FERC
         if it affects jurisdictional rates, terms and conditions of service, Interconnection Facilities,
         or Network Upgrades.

         13.5.4 Costs.

         Each Party shall be responsible for its own costs incurred during the arbitration process
         and for the following costs, if applicable: (1) the cost of the arbitrator chosen by the Party
         to sit on the three member panel and one half of the cost of the third arbitrator chosen; or
         (2) one half the cost of the single arbitrator jointly chosen by the Parties.

         13.5.5 Non-binding dispute resolution procedures.

         If a Party has submitted a Notice of Dispute pursuant to S[s]ection 13.5.1, and the Parties
         are unable to resolve the claim or dispute through unassisted or assisted negotiations
         within the thirty (30) Calendar Days provided in that section, and the Parties cannot reach
         mutual agreement to pursue the S[s]ection 13.5 arbitration process, a Party may request
         that Transmission Provider engage in Non-binding Dispute Resolution pursuant to this
         section by providing written notice to Transmission Provider (“Request for Non-binding
         Dispute Resolution”). Conversely, either Party may file a Request for Non-binding
         Dispute Resolution pursuant to this section without first seeking mutual agreement to
         pursue the S[s]ection 13.5 arbitration process. The process in S[s]ection 13.5.5 shall serve
         as an alternative to, and not a replacement of, the section 13.5 arbitration process.
         Pursuant to this process, a Transmission Provider must within 30 days of receipt of the
         Request for Non-binding Dispute Resolution appoint a neutral decision-maker that is an
         independent subcontractor that shall not have any current or past substantial business or
         financial relationships with either Party. Unless otherwise agreed by the Parties, the
         decision-maker shall render a decision within sixty (60) Calendar Days of appointment
         and shall notify the Parties in writing of such decision and reasons therefore. This
         decision-maker shall be authorized only to interpret and apply the provisions of the LGIP
         and LGIA and shall have no power to modify or change any provision of the LGIP and
         LGIA in any manner. The result reached in this process is not binding, but, unless
         otherwise agreed, the Parties may cite the record and decision in the non-binding dispute
         resolution process in future dispute resolution processes, including in a S[s]ection 13.5
         arbitration, or in a Federal Power Act section 206 complaint. Each Party shall be
         responsible for its own costs incurred during the process and the cost of the decision-
         maker shall be divided equally among each Party to the dispute
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         13.6 Local Furnishing Bonds.

         13.6.1 Transmission Providers That Own Facilities Financed by Local Furnishing
         Bonds.

         This provision is applicable only to a Transmission Provider that has financed facilities
         for the local furnishing of electric energy with tax-exempt bonds, as described in Section
         142(f) of the Internal Revenue Code ("local furnishing bonds"). Notwithstanding any
         other provision of this LGIA and LGIP, Transmission Provider shall not be required to
         provide Interconnection Service to Interconnection Customer pursuant to this LGIA and
         LGIP if the provision of such Transmission Service would jeopardize the tax-exempt
         status of any local furnishing bond(s) used to finance Transmission Provider’s facilities
         that would be used in providing such Interconnection Service.

         13.6.2 Alternative Procedures for Requesting Interconnection Service.

         If Transmission Provider determines that the provision of Interconnection Service
         requested by Interconnection Customer would jeopardize the tax-exempt status of any
         local furnishing bond(s) used to finance its facilities that would be used in providing such
         Interconnection Service, it shall advise the Interconnection Customer within thirty (30)
         Calendar Days of receipt of the Interconnection Request.

         Interconnection Customer thereafter may renew its request for interconnection using the
         process specified in Article 5.2(ii) of the Transmission Provider’s Tariff.

         Section [9]13.7 Engineering & Procurement (‘E&P’) Agreement.

         Prior to executing an LGIA, an Interconnection Customer may, in order to advance the
         implementation of its interconnection, request and Transmission Provider shall offer
         Interconnection Customer, an E&P Agreement that authorizes Transmission Provider to
         begin engineering and procurement of long lead-time items necessary for the
         establishment of the interconnection. However, Transmission Provider shall not be
         obligated to offer an E&P Agreement if Interconnection Customer is in Dispute
         Resolution as a result of an allegation that Interconnection Customer has failed to meet
         any milestones or comply with any prerequisites specified in other parts of the LGIP.
         The E&P Agreement is an optional procedure and it will not alter Interconnection
         Customer's Queue Position or In-Service Date. The E&P Agreement shall provide for
         Interconnection Customer to pay the cost of all activities authorized by Interconnection
         Customer and to make advance payments or provide other satisfactory security for such
         costs.

         Interconnection Customer shall pay the cost of such authorized activities and any
         cancellation costs for equipment that is already ordered for its interconnection, which
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         cannot be mitigated as hereafter described, whether or not such items or equipment later
         become unnecessary. If Interconnection Customer withdraws its Interconnection Request
         or either Party terminates the E&P Agreement, to the extent the equipment ordered can
         be canceled under reasonable terms, Interconnection Customer shall be obligated to pay
         the associated cancellation costs. To the extent that the equipment cannot be reasonably
         canceled, Transmission Provider may elect: (i) to take title to the equipment, in which
         event Transmission Provider shall refund Interconnection Customer any amounts paid by
         Interconnection Customer for such equipment and shall pay the cost of delivery of such
         equipment, or (ii) to transfer title to and deliver such equipment to Interconnection
         Customer, in which event Interconnection Customer shall pay any unpaid balance and
         cost of delivery of such equipment.
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                                    APPENDIX 1 to LGIP
                             INTERCONNECTION REQUEST FOR A
                               LARGE GENERATING FACILITY

         1.    The undersigned Interconnection Customer submits this request to interconnect its
               Large Generating Facility with Transmission Provider's Transmission System
               pursuant to a Tariff.
               2.
         2.    This Interconnection Request is for (check one):
               3.     _____ A proposed new Large Generating Facility.
               4.     _____ An increase in the generating capacity or a Material Modification of
               an existing Generating Facility.

         3.    The type of interconnection service requested (check one):
               5.    _____ Energy Resource Interconnection Service
               6.    _____ Network Resource Interconnection Service

         4.    _____ Check here only if Interconnection Customer requesting Network Resource
               Interconnection Service also seeks to have its Generating Facility studied for
               Energy Resource Interconnection Service
               7.
         5.    Interconnection Customer provides the following information:

               a.    Address or location or the proposed new Large Generating Facility site (to
                     the extent known) or, in the case of an existing Generating Facility, the
                     name and specific location of the existing Generating Facility;

               b.    Maximum summer at ____ degrees C and winter at _____ degrees C
                     megawatt electrical output of the proposed new Large Generating Facility
                     or the amount of megawatt increase in the generating capacity of an
                     existing Generating Facility;

               c.    General description of the equipment configuration;

               d.    Commercial Operation Date (Day, Month, and Year);

               e.    Name, address, telephone number, and e-mail address of Interconnection
                     Customer’s contact person;

               f.    Approximate location of the proposed Point of Interconnection (optional);

               g.    Interconnection Customer Data (set forth in Attachment A);
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               h.    Primary frequency response operating range for electric storage resources;

               i.    Requested capacity (in MW) of Interconnection Service (if lower than the
                     Generating Facility Capacity)[.];

               j.    If applicable, (1) the requested operating assumptions (i.e., whether the
                     interconnecting Generating Facility will or will not charge at peak load) to
                     be used by Transmission Provider that reflect the proposed charging
                     behavior of a Generating Facility that includes at least one electric storage
                     resource, and (2) a description of any control technologies (software
                     and/or hardware) that will limit the operation of the Generating Facility to
                     its intended operation.

         6.    Applicable deposit amount as specified in the LGIP.
               8.
         7.    Evidence of Site Control as specified in the LGIP (check one)
               9.
               10. ____ Is attached to this Interconnection Request
               11. ____ Will be provided at a later date in accordance with this LGIP

         8.    This Interconnection Request shall be submitted to the representative indicated
               below:
               12. {To be completed by Transmission Provider}
         9.    Representative of Interconnection Customer to contact:
               13. [To be completed by Interconnection Customer]

         10.   This Interconnection Request is submitted by:
               14.
               15. Name of Interconnection Customer:
               ___________________________________ By (signature):
               ____________________________________________________ Name (type or
               print): _______________________________________________ Title:
               ____________________________________________________________ Date:
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                                                                   Attachment A to Appendix 1
                                                                       Interconnection Request

                              LARGE GENERATING FACILITY DATA

                                            UNIT RATINGS

         kVA                        °F                  Voltage _____________
         Power Factor
         Speed (RPM)                                    Connection (e.g. Wye) _____________
         Short Circuit Ratio ________                   Frequency, Hertz ____________
         Stator Amperes at Rated kVA                    Field Volts _______________
         Max Turbine MW                   °F ______

         Primary frequency response operating range for electric storage
         resources:
         Minimum State of Charge:

         Maximum State of Charge:

                COMBINED TURBINE-GENERATOR-EXCITER INERTIA DATA

         Inertia Constant, H =                          kW sec/kVA
         Moment-of-Inertia, WR2 = ____________________ lb. ft.2


                          REACTANCE DATA (PER UNIT-RATED KVA)

                                          DIRECT AXIS          QUADRATURE AXIS

         Synchronous – saturated         Xdv                   Xqv    _______
         Synchronous – unsaturated       Xdi                   Xqi    _______
         Transient – saturated           X'dv                  X'qv   _______
         Transient – unsaturated         X'di                  X'qi   _______
         Subtransient – saturated        X"dv                  X"qv   _______
         Subtransient – unsaturated      X"di                  X"qi   _______
         Negative Sequence – saturated   X2v
         Negative Sequence – unsaturated X2i
         Zero Sequence – saturated       X0v
         Zero Sequence – unsaturated     X0i
         Leakage Reactance               Xlm
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                               FIELD TIME CONSTANT DATA (SEC)

         Open Circuit                               T'do               T'qo   _______
         Three-Phase Short Circuit Transient        T'd3               T'q    _______
         Line to Line Short Circuit Transient       T'd2
         Line to Neutral Short Circuit Transient    T'd1
         Short Circuit Subtransient                 T"d                T"q    _______
         Open Circuit Subtransient                  T"do               T"qo   _______



                            ARMATURE TIME CONSTANT DATA (SEC)

         Three Phase Short Circuit         Ta3      _______
         Line to Line Short Circuit        Ta2      _______
         Line to Neutral Short Circuit     Ta1      _______

         NOTE: If requested information is not applicable, indicate by marking "N/A."



                        MW CAPABILITY AND PLANT CONFIGURATION
                           LARGE GENERATING FACILITY DATA

                     ARMATURE WINDING RESISTANCE DATA (PER UNIT)

         Positive            R1     _______
         Negative            R2     _______
         Zero                R0     _______

         Rotor Short Time Thermal Capacity I22t = _______
         Field Current at Rated kVA, Armature Voltage and PF =            amps
         Field Current at Rated kVA and Armature Voltage, 0 PF =           amps
         Three Phase Armature Winding Capacitance =            microfarad
         Field Winding Resistance = _______ ohms _____ °C
         Armature Winding Resistance (Per Phase) =          ohms        °C


                                                   CURVES

         Provide Saturation, Vee, Reactive Capability, Capacity Temperature Correction curves.
         Designate normal and emergency Hydrogen Pressure operating range for multiple curves.
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                    GENERATOR STEP-UP TRANSFORMER DATA RATINGS

         Capacity             Self-cooled/
                              Maximum Nameplate
                          /                kVA

         Voltage Ratio(Generator Side/System side/Tertiary)
                         /                  /                    kV

         Winding Connections (Low V/High V/Tertiary V (Delta or Wye))
                        /______________/_______________

         Fixed Taps Available _____________________________________________________

         Present Tap Setting _______________________________________________________



                                              IMPEDANCE

         Positive      Z1 (on self-cooled kVA rating)                    %            X/R

         Zero          Z0 (on self-cooled kVA rating)                    %            X/R



                                    EXCITATION SYSTEM DATA

         Identify appropriate IEEE model block diagram of excitation system and power system
         stabilizer (PSS) for computer representation in power system stability simulations and the
         corresponding excitation system and PSS constants for use in the model.



                                     GOVERNOR SYSTEM DATA

         Identify appropriate IEEE model block diagram of governor system for computer
         representation in power system stability simulations and the corresponding governor
         system constants for use in the model.
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                                         WIND GENERATORS

         Number of generators to be interconnected pursuant to this Interconnection Request:
         _____________

         Elevation: _____________           _____ Single Phase _____ Three Phase

         Inverter manufacturer, model name, number, and version:
         _________________________________________________________________

         List of adjustable setpoints for the protective equipment or software:
         _________________________________________________________________

         Note: A completed General Electric Company Power Systems Load Flow (PSLF) data
         sheet or other compatible formats, such as IEEE and PTI power flow models, must be
         supplied with the Interconnection Request. If other data sheets are more appropriate to
         the proposed device, then they shall be provided and discussed at Scoping Meeting.



                                     INDUCTION GENERATORS

         (*) Field Volts: _________________
         (*) Field Amperes: ______________
         (*) Motoring Power (kW): ________
         (*) Neutral Grounding Resistor (If Applicable): ____________
         (*) I22t or K (Heating Time Constant): ____________
         (*) Rotor Resistance: ____________
         (*) Stator Resistance: ____________
         (*) Stator Reactance: _____________
         (*) Rotor Reactance: _____________
         (*) Magnetizing Reactance: ___________
         (*) Short Circuit Reactance: ___________
         (*) Exciting Current: ________________
         (*) Temperature Rise: ________________
         (*) Frame Size: _______________
         (*) Design Letter: _____________
         (*) Reactive Power Required In Vars (No Load): ________
         (*) Reactive Power Required In Vars (Full Load): ________
         (*) Total Rotating Inertia, H: ________Per Unit on KVA Base

         Note: Please consult Transmission Provider prior to submitting the Interconnection
         Request to determine if the information designated by (*) is required.
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         MODELS FOR NON-SYNCHRONOUS GENERATORS
         For a non-synchronous Large Generating Facility, Interconnection Customer shall
         provide (1) a validated user-defined root mean squared (RMS) positive sequence
         dynamics model; (2) an appropriately parameterized generic library RMS positive
         sequence dynamics model, including model block diagram of the inverter control and
         plant control systems, as defined by the selection in Table 1 or a model otherwise
         approved by the Western Electricity Coordinating Council, that corresponds to
         Interconnection Customer’s Large Generating Facility; and (3) if applicable, a validated
         electromagnetic transient model if Transmission Provider performs an electromagnetic
         transient study as part of the interconnection study process. A user-defined model is a set
         of programming code created by equipment manufacturers or developers that captures
         the latest features of controllers that are mainly software based and represents the
         entities’ control strategies but does not necessarily correspond to any generic library
         model. Interconnection Customer must also demonstrate that the model is validated by
         providing evidence that the equipment behavior is consistent with the model behavior
         (e.g., an attestation from Interconnection Customer that the model accurately represents
         the entire Large Generating Facility; attestations from each equipment manufacturer that
         the user defined model accurately represents the component of the Large Generating
         Facility; or test data).

         Table 1: Acceptable Generic Library RMS Positive Sequence Dynamics Models
          GE PSLF Siemens            PowerWorld    Description
                     PSS/E*          Simulator
          pvd1                         PVD1             Distributed PV system model
          der_a       DERAU1           DER_A            Distributed energy resource model
          regc_a      REGCAU1,         REGC_A           Generator/converter model
                      REGCA1
          regc_b      REGCBU1          REGC_B           Generator/converter model
          wt1g        WT1G1            WT1G and         Wind turbine model for Type-1 wind turbines
                                       WT1G1            (conventional directly connected induction
                                                        generator)
          wt2g        WT2G1            WT2G and         Generator model for generic Type-2 wind
                                       WT2G1            turbines
          wt2e        WT2E1            WT2E and         Rotor resistance control model for wound-
                                       WT2E1            rotor induction wind-turbine generator wt2g
          reec_a      REECAU1,         REEC_A           Renewable energy electrical control model
                      REECA1
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         GE PSLF Siemens          PowerWorld     Description
                 PSS/E*           Simulator
         reec_c     REECCU1       REEC_C         Electrical control model for battery energy
                                                 storage system
         reec_d     REECDU1       REEC_D         Renewable energy electrical control model
         wt1t       WT12T1        WT1T and       Wind turbine model for Type-1 wind turbines
                                  WT12T1         (conventional directly connected induction
                                                 generator)
         wt1p_b     wt1p_b        WT12A1U_B      Generic wind turbine pitch controller for
                                                 WTGs of Types 1 and 2
         wt2t       WT12T1        WT2T           Wind turbine model for Type-2 wind turbines
                                                 (directly connected induction generator wind
                                                 turbines with an external rotor resistance)
         wtgt_a     WTDTAU1,      WTGT_A         Wind turbine drive train model
                    WTDTA1
         wtga_a     WTARAU1,      WTGA_A         Simple aerodynamic model
                    WTARA1
         wtgp_a     WTPTAU1,      WTGPT_A        Wind Turbine Generator Pitch controller
                    WTPTA1
         wtgq_a     WTTQAU1,      WTGTRQ_A       Wind Turbine Generator Torque controller
                    WTTQA1
         wtgwgo_a WTGWGOAU WTGWGO_A              Supplementary control model for Weak Grids
         wtgibffr_a WTGIBFFRA     WTGIBFFR_A Inertial-base fast frequency response control
         wtgp_b     WTPTBU1       WTGPT_B        Wind Turbine Generator Pitch controller
         wtgt_b     WTDTBU1       WTGT_B         Drive train model
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         GE PSLF Siemens          PowerWorld     Description
                 PSS/E*           Simulator
         repc_a     Type 4:       REPC_A         Power Plant Controller
                    REPCAU1
                    (v33),
                    REPCA1
                    (v34)


                    Type 3:
                    REPCTAU1
                    (v33),
                    REPCTA1
                    (v34)
         repc_b     PLNTBU1       REPC_B         Power Plant Level Controller for controlling
                                                 several plants/devices


                                                 In regard to Siemens PSS/E*:
                                                 Names of other models for interface with other
                                                 devices:
                                                 REA3XBU1, REAX4BU1- for interface with
                                                 Type 3 and 4 renewable machines
                                                 SWSAXBU1- for interface with SVC (modeled
                                                 as switched shunt in powerflow)
                                                 SYNAXBU1- for interface with synchronous
                                                 condenser
                                                 FCTAXBU1- for interface with FACTS device
         repc_c     REPCCU        REPC_C         Power plant controller
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                                 [APPENDIX 2 to LGIP]
                   [INTERCONNECTION FEASIBILITY STUDY AGREEMENT]

                [THIS AGREEMENT is made and entered into this___ day of                     ,
         20___ by and between________________________, a
         ________________________organized and existing under the laws of the State of
         ________________________ (“Interconnection Customer”), and
         ________________________, a ________________________ existing under the laws of
         the State of ________________________ (“Transmission Provider”). Interconnection
         Customer and Transmission Provider each may be referred to as a “Party,” or collectively
         as the “Parties.”]

                                               [RECITALS]

                [WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Generating Facility
         consistent with the Interconnection Request submitted by Interconnection customer
         dated____________; and]

               [WHEREAS, Interconnection Customer desires to interconnect the Large
         Generating Facility with the Transmission System; and]

                [WHEREAS, Interconnection Customer has requested Transmission Provider to
         perform an Interconnection Feasibility Study to assess the feasibility of interconnecting
         the proposed Large Generating Facility to the Transmission System, and of any Affected
         Systems;]



                [NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein the Parties agree as follows:]

               [1.0   When used in this Agreement, with initial capitalization, the terms specified
                      shall have the meanings indicated in Transmission Provider’s FERC-
                      approved LGIP]

               [2.0   Interconnection Customer elects and Transmission Provider shall cause to
                      be performed an Interconnection Feasibility Study consistent with Section
                      6.0 of this LGIP in accordance with the Tariff].

               [3.0   The scope of the Interconnection Feasibility Study shall be subject to the
                      assumptions set forth in Attachment A to this Agreement.]
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               [4.0   The Interconnection Feasibility Study shall be based on the technical
                      information provided by Interconnection Customer in the Interconnection
                      Request, as may be modified as the result of the Scoping Meeting.
                      Transmission Provider reserves the right to request additional technical
                      information from Interconnection Customer as may reasonably become
                      necessary consistent with Good Utility Practice during the course of the
                      Interconnection Feasibility Study and as designated in accordance with
                      Section 3.4.4 of the LGIP. If, after the designation of the Point of
                      Interconnection pursuant to Section 3.4.4 of the LGIP, Interconnection
                      Customer modifies its Interconnection Request pursuant to Section 4.4, the
                      time to complete the Interconnection Feasibility Study may be extended.]

               [5.0   The Interconnection Feasibility Study report shall provide the following
                      information:]

                      -      [preliminary identification of any circuit breaker short circuit
                             capability limits exceeded as a result of the interconnection;]

                      -      [preliminary identification of any thermal overload or voltage limit
                             violations resulting from the interconnection; and]

                      -      [preliminary description and non-bonding estimated cost of facilities
                             required to interconnect the Large Generating Facility to the
                             Transmission System and to address the identified short circuit and
                             power flow issues.]

               [6.0   Interconnection Customer shall provide a deposit of $10,000 for the
                      performance of the Interconnection Feasibility Study.]

                      [Upon receipt of the Interconnection Feasibility Study, Transmission
                      Provider shall charge and Interconnection Customer shall pay the actual
                      costs of the Interconnection Feasibility Study.]

                      [Any difference between the deposit and the actual cost of the study shall
                      be paid by or refunded to Interconnection Customer, as appropriate.]

               [7.0   Miscellaneous. The Interconnection Feasibility Study Agreement shall
                      include standard miscellaneous terms including, but not limited to,
                      indemnities, representations, disclaimers, warranties, governing law,
                      amendment, execution, waiver, enforceability and assignment, that reflect
                      best practices in the electric industry, and that are consistent with regional
                      practices, Applicable Laws and Regulations, and the organizational nature
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                      of each Party. All of these provisions, to the extent practicable, shall be
                      consistent with the provisions of this LGIP and the LGIA.]

                [IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider or Transmission Owner, if applicable}
         By: ______________________________ By: ______________________________
         Title: _____________________________ Title: _____________________________
         Date: _____________________________ Date: _____________________________


         {Insert name of prospective Interconnection Customer}
         By: ______________________________
         Title: _____________________________
         Date: _____________________________]
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                                                                  [Attachment A to Appendix 2
                                                                    Interconnection Feasibility
                                                                            Study Agreement]


                          [ASSUMPTIONS USED IN CONDUCTING THE
                           INTERCONNECTION FEASIBILITY STUDY]

               [The Informational Interconnection Feasibility Study will be based upon the
         information set forth in the Interconnection Request and agreed upon in the Scoping
         Meeting held on
                        :

               Designation of Point of Interconnection and configuration to be studied.
               Designation of alternative Point(s) of Interconnection and configuration.

               {Above assumptions to be completed by Interconnection Customer and other
         assumptions to be provided by Interconnection Customer and Transmission Provider}]
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                              APPENDIX 2[3] to LGIP
           [INTERCONNECTION SYSTEM IMPACT]CLUSTER STUDY AGREEMENT

                THIS AGREEMENT is made and entered into this day of ____________, 20___
         by and between ______________, a ____________organized and existing under the laws
         of the State of _______________, (“Interconnection Customer,”) and
         ________________________, a _________________ organized and existing under the
         laws of the State of _________________ (“Transmission Provider”). Interconnection
         Customer and Transmission Provider each may be referred to as a “Party,” or collectively
         as the “Parties.”

                                                RECITALS

                WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Generating Facility
         consistent with the Interconnection Request submitted by Interconnection Customer
         dated _________________; and

               WHEREAS, Interconnection Customer desires to interconnect the Large
         Generating Facility with the Transmission System;

                [WHEREAS, Transmission Provider has completed an Interconnection Feasibility
         Study (the “[Feasibility] Study”) and provided the results of said study to Interconnection
         Customer (This recital to be omitted if Transmission Provider does not require the
         Interconnection Feasibility Study.); and]

                WHEREAS, Interconnection Customer has requested Transmission Provider to
         perform [an Interconnection System Impact]a Cluster Study to assess the impact of
         interconnecting the Large Generating Facility to the Transmission System, and of any
         Affected Systems;

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, the Parties agreed as follows:

               1.0     When used in this Agreement, with initial capitalization, the terms specified
                       shall have the meanings indicated in this LGIP.

               2.0     Interconnection Customer elects and Transmission Provider shall cause to
                       be performed [an Interconnection System Impact]a Cluster Study
                       consistent with Section 7.0 of this LGIP in accordance with the Tariff.
               16.
               3.0     The scope of the [Interconnection System Impact]Cluster Study shall be
                       subject to the assumptions set forth in Attachment A to this Agreement.
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              17.
              4.0      The [Interconnection System Impact]Cluster Study will be based upon the
                       [results of the Interconnection Feasibility Study and] the technical
                       information provided by Interconnection Customer in the Interconnection
                       Request, subject to any modifications in accordance with Section 4.4 of this
                       LGIP. Transmission Provider reserves the right to request additional
                       technical information from Interconnection Customer as may reasonably
                       become necessary consistent with Good Utility Practice during the course
                       of the [Interconnection Customer System Impact]Cluster Study. [If
                       Interconnection Customer modifies its designated Point of Interconnection,
                       Interconnection Request, or the technical information provided therein, the
                       time to complete the Interconnection System Impact Study may be
                       extended.]
              18.
              5.0      The [Interconnection System Impact]Cluster Study [report]Report shall
                       provide the following information:

                       -      identification of any circuit breaker short circuit capability limits
                              exceeded as a result of the interconnection;

                       -      identification of any thermal overload or voltage limit violations
                              resulting from the interconnection;

                       -      identification of any instability or inadequately damped response to
                              system disturbances resulting from the interconnection; and

                       -      description and non-binding, good faith estimated cost of facilities
                              required to interconnect the Large Generating Facility to the
                              Transmission System and to address the identified short circuit,
                              instability, and power flow issues.

                    6.0 [Interconnection Customer shall provide a deposit of $50,000 for the
                        performance of the Interconnection System Impact Study.]Transmission
                        Provider’s good faith estimate for the time of completion of the
                        [Interconnection System Impact]Cluster Study is {insert date}.

                       Upon receipt of the [Interconnection System Impact]Cluster Study Report,
                       Transmission Provider shall charge and Interconnection Customer shall pay
                       its share of the actual costs of the [Interconnection System Impact]Cluster
                       Study, consistent with Section 13.3 of this LGIP.

                       Any difference between the deposit and the actual cost of the study shall be
                       paid by or refunded to Interconnection Customer, as appropriate.
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                  7.0 Miscellaneous. The [Interconnection System Impact]Cluster Study
                      Agreement shall include standard miscellaneous terms including, but not
                      limited to, indemnities, representations, disclaimers, warranties, governing
                      law, amendment, execution, waiver, enforceability and assignment, that
                      reflect best practices in the electric industry, that are consistent with
                      regional practices, Applicable Laws and Regulations and the organizational
                      nature of each Party. All of these provisions, to the extent practicable, shall
                      be consistent with the provisions of this LGIP and LGIA.

                IN WITNESS THEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider or Transmission Owner, if applicable}
         By: ______________________________
         Title: _____________________________
         Date: _____________________________


         {Insert name of Interconnection Customer}
         By: ______________________________
         Title: _____________________________
         Date: _____________________________
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                                                              Attachment A to Appendix 2[3]
                                     [Interconnection System Impact]Cluster Study Agreement

              ASSUMPTIONS USED IN CONDUCTING THE [INTERCONNECTION
                          SYSTEM IMPACT]CLUSTER STUDY

         The [Interconnection System Impact]Cluster Study will be based upon the technical
         information provided by Interconnection Customer in the Interconnection Request,
         [results of the Interconnection Feasibility Study,] subject to any modifications in
         accordance with Section 4.4 of this[e] LGIP, and the following assumptions:

         Designation of Point of Interconnection and configuration to be studied.
         Designation of alternative Point(s) of Interconnection and configuration.

         {Above assumptions to be completed by Interconnection Customer and other
         assumptions to be provided by Interconnection Customer and Transmission Provider}
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                                  APPENDIX 3[4] to LGIP
                      INTERCONNECTION FACILITIES STUDY AGREEMENT


               THIS AGREEMENT is made and entered into this                 day of           ,
         20___ by and between                                     ,a
                                 organized and existing under the laws of the State of
                               , ("Interconnection Customer,") and ________________________
         a                       existing under the laws of the State of                   ,
         ("Transmission Provider "). Interconnection Customer and Transmission Provider each
         may be referred to as a "Party," or collectively as the "Parties."

                                                RECITALS

                WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Generating Facility
         consistent with the Interconnection Request submitted by Interconnection Customer
         dated          ; and

               WHEREAS, Interconnection Customer desires to interconnect the Large
         Generating Facility with the Transmission System;

                WHEREAS, Transmission Provider has completed an Interconnection [System
         Impact]Cluster Study (the “[System Impact]Cluster Study”) and provided the results of
         said study to Interconnection Customer; and

                 WHEREAS, Interconnection Customer has requested Transmission Provider to
         perform an Interconnection Facilities Study to specify and estimate the cost of the
         equipment, engineering, procurement and construction work needed to implement the
         conclusions of the [Interconnection System Impact]Cluster Study in accordance with Good
         Utility Practice to physically and electrically connect the Large Generating Facility to the
         Transmission System.

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein the Parties agreed as follows:

                1.0    When used in this Agreement, with initial capitalization, the terms specified
                       shall have the meanings indicated in Transmission Provider's FERC-
                       approved LGIP.

                2.0    Interconnection Customer elects and Transmission Provider shall cause an
                       Interconnection Facilities Study consistent with Section 8.0 of this LGIP to
                       be performed in accordance with the Tariff.
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               3.0    The scope of the Interconnection Facilities Study shall be subject to the
                      assumptions set forth in Attachment A and the data provided in Attachment
                      B to this Agreement.

               4.0    The Interconnection Facilities Study [r]Report (i) shall provide a description,
                      estimated cost of (consistent with Attachment A), schedule for required
                      facilities to interconnect the Large Generating Facility to the Transmission
                      System and (ii) shall address the short circuit, instability, and power flow
                      issues identified in the [Interconnection System Impact]Cluster Study.

               5.0    Interconnection Customer shall provide a Commercial Readiness Deposit
                      per Section 8.1 of this LGIP to enter [deposit of $100,000 for the
                      performance of] the Interconnection Facilities Study. The time for
                      completion of the Interconnection Facilities Study is specified in
                      Attachment A.

                      [Transmission Provider shall invoice Interconnection Customer on a
                      monthly basis for the work to be conducted on the Interconnection
                      Facilities Study each month. Interconnection Customer shall pay invoiced
                      amounts within thirty (30) Calendar Days of receipt of invoice.
                      Transmission Provider shall continue to hold the amounts on deposit until
                      settlement of the final invoice.]

               6.0    Miscellaneous. The Interconnection Facilit[y]ies Study Agreement shall
                      include standard miscellaneous terms including, but not limited to,
                      indemnities, representations, disclaimers, warranties, governing law,
                      amendment, execution, waiver, enforceability and assignment, that reflect
                      best practices in the electric industry, and that are consistent with regional
                      practices, Applicable Laws and Regulations, and the organizational nature
                      of each Party. All of these provisions, to the extent practicable, shall be
                      consistent with the provisions of the LGIP and the LGIA.



         IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly executed
         by their duly authorized officers or agents on the day and year first above written.



         [Insert name of Transmission Provider or Transmission Owner, if applicable]

         By:                                       By:    ______________________________
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         Title:                               Title: _____________________________

         Date:                                Date: _____________________________



         [Insert name of Interconnection Customer]


         By:

         Title:

         Date:
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                                                                Attachment A to Appendix 3[4]
                                                                     Interconnection Facilities
                                                                            Study Agreement

                   INTERCONNECTION CUSTOMER SCHEDULE ELECTION FOR
                    CONDUCTING THE INTERCONNECTION FACILITIES STUDY

                Transmission Provider shall [use Reasonable Efforts to]complete the study and
         issue a draft Interconnection Facilities Study [r]Report to Interconnection Customer
         within the following number of days after [of]receipt of an executed copy of this
         Interconnection Facilities Study Agreement:

               -      ninety (90) Calendar Days with no more than a +/- 20 percent cost estimate
                      contained in the report, or

               -      one hundred eighty (180) Calendar Days with no more than a +/- 10 percent
                      cost estimate contained in the report.
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                                                                   Attachment B to Appendix 3[4]
                                                                        Interconnection Facilities
                                                                               Study Agreement


            DATA FORM TO BE PROVIDED BY INTERCONNECTION CUSTOMER
                                  WITH THE
                 INTERCONNECTION FACILITIES STUDY AGREEMENT

         Provide location plan and simplified one-line diagram of the plant and station facilities.
         For staged projects, please indicate future generation, transmission circuits, etc.

         One set of metering is required for each generation connection to the new ring bus or
         existing Transmission Provider station. Number of generation connections:

         On the one line diagram indicate the generation capacity attached at each metering
         location. (Maximum load on CT/PT)

         On the one line diagram indicate the location of auxiliary power. (Minimum load on
         CT/PT) Amps

         Will an alternate source of auxiliary power be available during CT/PT maintenance?
               Yes           No

         Will a transfer bus on the generation side of the metering require that each meter set be
         designed for the total plant generation?         Yes           No (Please indicate on
         one line diagram).

         What type of control system or PLC will be located at Interconnection Customer's Large
         Generating Facility?
         _______________________________________________________________________

         What protocol does the control system or PLC use?
         _______________________________________________________________________

         Please provide a 7.5-minute quadrangle of the site. Sketch the plant, station, transmission
         line, and property line.

         Physical dimensions of the proposed interconnection station:
         _______________________________________________________________________

         Bus length from generation to interconnection station:
         _______________________________________________________________________
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         Line length from interconnection station to Transmission Provider's transmission line.
         _______________________________________________________________________

         Tower number observed in the field. (Painted on tower leg)* ______________________

         Number of third party easements required for transmission lines*:
         _______________________________________________________________________

                      * To be completed in coordination with Transmission Provider.

         Is the Large Generating Facility in the Transmission Provider's service area?

               Yes           No      Local provider: ___________________________________

         Please provide proposed schedule dates:

               Begin Construction                        Date: ____________________

               Generator step-up transformer             Date: ____________________
               receives back feed power

               Generation Testing                        Date: ____________________

               Commercial Operation                      Date: ____________________
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                                 APPENDIX 4[5] to LGIP
                     OPTIONAL INTERCONNECTION STUDY AGREEMENT


               THIS AGREEMENT is made and entered into this                 day of           ,
         20___ by and between                                     ,a
                                 organized and existing under the laws of the State of
                               , ("Interconnection Customer,") and ________________________
         a                       existing under the laws of the State of                   ,
         ("Transmission Provider "). Interconnection Customer and Transmission Provider each
         may be referred to as a "Party," or collectively as the "Parties."

                                                RECITALS

                WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Generating Facility
         consistent with the Interconnection Request submitted by Interconnection Customer
         dated                      ;

                WHEREAS, Interconnection Customer is proposing to establish an
         interconnection with the Transmission System; and

                WHEREAS, Interconnection Customer has submitted to Transmission Provider
         an Interconnection Request; and

                WHEREAS, on or after the date when Interconnection Customer receives the
         [Interconnection System Impact] Cluster Study results, Interconnection Customer has
         further requested that Transmission Provider prepare an Optional Interconnection Study;

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein the Parties agree as follows:

               1.0    When used in this Agreement, with initial capitalization, the terms specified
                      shall have the meanings indicated in Transmission Provider's FERC-
                      approved LGIP.

               2.0    Interconnection Customer elects and Transmission Provider shall cause an
                      Optional Interconnection Study consistent with Section 10.0 of this LGIP to
                      be performed in accordance with the Tariff.

               3.0    The scope of the Optional Interconnection Study shall be subject to the
                      assumptions set forth in Attachment A to this Agreement.
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                  4.0   The Optional Interconnection Study shall be performed solely for
                        informational purposes.

                  5.0   The Optional Interconnection Study report shall provide a sensitivity
                        analysis based on the assumptions specified by Interconnection Customer
                        in Attachment A to this Agreement. The Optional Interconnection Study
                        will identify Transmission Provider's Interconnection Facilities and the
                        Network Upgrades, and the estimated cost thereof, that may be required to
                        provide transmission service or interconnection service based upon the
                        assumptions specified by Interconnection Customer in Attachment A.

                  6.0   Interconnection Customer shall provide a deposit of $10,000 for the
                        performance of the Optional Interconnection Study. Transmission
                        Provider's good faith estimate for the time of completion of the Optional
                        Interconnection Study is [insert date].

                        Upon receipt of the Optional Interconnection Study, Transmission Provider
                        shall charge and Interconnection Customer shall pay the actual costs of the
                        Optional Study.

                        Any difference between the initial payment and the actual cost of the study
                        shall be paid by or refunded to Interconnection Customer, as appropriate.

                  7.0   Miscellaneous. The Optional Interconnection Study Agreement shall
                        include standard miscellaneous terms including, but not limited to,
                        indemnities, representations, disclaimers, warranties, governing law,
                        amendment, execution, waiver, enforceability and assignment, that reflect
                        best practices in the electric industry, and that are consistent with regional
                        practices, Applicable Laws and Regulations, and the organizational nature
                        of each Party. All of these provisions, to the extent practicable, shall be
                        consistent with the provisions of the LGIP and the LGIA.

                IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.



         [Insert name of Transmission Provider or Transmission Owner, if applicable]

         By:                                         By:    ______________________________

         Title:                                      Title: _____________________________
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         Date:                                Date: _____________________________



         [Insert name of Interconnection Customer]


         By:

         Title:

         Date:
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                              APPENDIX 5[6] to LGIP
                  LARGE GENERATOR INTERCONNECTION AGREEMENT
                                   (SEE LGIA)
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                                APPENDIX 6[7]
           INTERCONNECTION PROCEDURES FOR A WIND GENERATING PLANT

                Appendix 6[7] sets forth procedures specific to a wind generating plant. All other
         requirements of this LGIP continue to apply to wind generating plant interconnections.

         A.     Special Procedures Applicable to Wind Generators

                The wind plant Interconnection Customer, in completing the Interconnection
         Request required by S[s]ection 3.3 of this LGIP, may provide to the Transmission
         Provider a set of preliminary electrical design specifications depicting the wind plant as a
         single equivalent generator. Upon satisfying these and other applicable Interconnection
         Request conditions, the wind plant may enter the queue and receive the base case data as
         provided for in this LGIP.

                 No later than six months after submitting an Interconnection Request completed in
         this manner, the wind plant Interconnection Customer must submit completed detailed
         electrical design specifications and other data (including collector system layout data)
         needed to allow the Transmission Provider to complete the [System Impact]Cluster
         Study.
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                                    APPENDIX 7 to LGIP
                          TRANSITIONAL CLUSTER STUDY AGREEMENT

                THIS AGREEMENT is made and entered into this ____ day of ______________,
         20__ by and between ____________________, a ______________ organized and
         existing under the laws of the State of ___________________ (“Interconnection
         Customer”), and ____________________, a ___________________________________
         organized and existing under the laws of the State of __________ (“Transmission
         Provider”). Interconnection Customer and Transmission Provider each may be referred
         to as a “Party,” or collectively as the “Parties.”

                                                RECITALS

                WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Generating Facility
         consistent with the Interconnection Request submitted by Interconnection Customer dated
         ______________;

               WHEREAS, Interconnection Customer desires to interconnect the Large
         Generating Facility with the Transmission System; and

                WHEREAS, Interconnection Customer has requested Transmission Provider to
         perform a “Transitional Cluster Study,” which combines the Cluster Study and
         Interconnection Facilities Study, in a single cluster study, followed by any needed
         restudies, to specify and estimate the cost of the equipment, engineering, procurement,
         and construction work needed to physically and electrically connect the Large
         Generating Facility to Transmission Provider’s Transmission System; and

               WHEREAS, Interconnection Customer has a valid Queue Position as of the
         {Transmission Provider to insert effective date of compliance filing}.

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, the Parties agree as follows:

         1.0           When used in this Agreement, with initial capitalization, the terms specified
         shall have the meanings indicated in this LGIP.

         2.0          Interconnection Customer elects, and Transmission Provider shall cause to
         be performed, a Transitional Cluster Study.

         3.0          The Transitional Cluster Study shall be based upon the technical
         information provided by Interconnection Customer in the Interconnection Request.
         Transmission Provider reserves the right to request additional technical information
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         from Interconnection Customer as may reasonably become necessary consistent with
         Good Utility Practice during the course of the Transitional Cluster Study and
         Interconnection Customer shall provide such data as quickly as reasonable.

         4.0          Pursuant to Section 5.1.1.2 of this LGIP, the interim Transitional Cluster
         Study Report shall provide the information below:

                       -      identification of any circuit breaker short circuit capability limits
                              exceeded as a result of the interconnection;

                       -      identification of any thermal overload or voltage limit violations
                              resulting from the interconnection;
                19.

                       -      identification of any instability or inadequately damped response to
                              system disturbances resulting from the interconnection; and

                       -      Transmission Provider’s Interconnection Facilities and Network
                              Upgrades that are expected to be required as a result of the
                              Interconnection Request(s) and a non-binding, good faith estimate of
                              cost responsibility and a non-binding, good faith estimated time to
                              construct.

         5.0           Pursuant to Section 5.1.1.2 of this LGIP, the final Transitional Cluster
         Study Report shall: (1) provide all the information included in the interim Transitional
         Cluster Study Report; (2) provide a description of, estimated cost of, and schedule for
         required facilities to interconnect the Generating Facility to the Transmission System;
         and (3) address the short circuit, instability, and power flow issues identified in the
         interim Transitional Cluster Study Report.

         6.0            Interconnection Customer has met the requirements described in Section
         5.1.1.2 of this LGIP.
                20.
         7.0            Interconnection Customer previously provided a deposit for the
         performance of Interconnection Studies. Upon receipt of the final Transitional Cluster
         Study Report, Transmission Provider shall charge and Interconnection Customer shall
         pay the actual costs of the Transitional Cluster Study. Any difference between the study
         deposit and the actual cost of the study shall be paid by or refunded to Interconnection
         Customer, in accordance with the provisions of Section 13.3 of this LGIP.

         8.0           Miscellaneous. The Transitional Cluster Study Agreement shall include
         standard miscellaneous terms including, but not limited to, indemnities, representations,
         disclaimers, warranties, governing law, amendment, execution, waiver, enforceability
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         and assignment, that reflect best practices in the electric industry, and that are consistent
         with regional practices, Applicable Laws and Regulations, and the organizational nature
         of each Party. All of these provisions, to the extent practicable, shall be consistent with
         the provisions of this LGIP and the LGIA.

                IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider or Transmission Owner, if applicable}
         By:
         Title:
         Date:


         {Insert name of Interconnection Customer}
         By:
         Title:
         Date:
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                                  APPENDIX 8 to LGIP
                TRANSITIONAL SERIAL INTERCONNECTION FACILITIES STUDY
                                     AGREEMENT

                THIS AGREEMENT is made and entered into this ____ day of ___, 20__, by and
         between ____________________, a ______________ organized and existing under the
         laws of the State of ___________________ (“Interconnection Customer”) and
         __________________, a _____________________________________ organized and
         existing under the laws of the State of __________ (“Transmission Provider”).
         Interconnection Customer and Transmission Provider each may be referred to as a
         “Party,” or collectively as the “Parties.”

                                                RECITALS

                WHEREAS, Interconnection Customer is proposing to develop a Large
         Generating Facility or generating capacity addition to an existing Large Generating
         Facility consistent with the Interconnection Request submitted by Interconnection
         Customer dated ______; and

               WHEREAS, Interconnection Customer desires to interconnect the Large
         Generating Facility with the Transmission System; and

                 WHEREAS, Interconnection Customer has requested Transmission Provider to
         continue processing its Interconnection Facilities Study to specify and estimate the cost
         of the equipment, engineering, procurement, and construction work needed to implement
         the conclusions of the final interconnection system impact study (from the previously
         effective serial study process) in accordance with Good Utility Practice to physically and
         electrically connect the Large Generating Facility to the Transmission System; and

                WHEREAS, Transmission Provider has provided an Interconnection Facilities
         Study Agreement to the Interconnection Customer on or before {Transmission Provider
         to insert effective date of compliance filing}.

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, the Parties agree as follows:

         1.0           When used in this Agreement, with initial capitalization, the terms specified
         shall have the meanings indicated in this LGIP.

         2.0          Interconnection Customer elects and Transmission Provider shall cause to
         be performed an Interconnection Facilities Study consistent with Section 8 of this LGIP.
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         3.0          The scope of the Interconnection Facilities Study shall be subject to the
         assumptions set forth in Attachment A to this Agreement, which shall be the same
         assumptions as the previous Interconnection Facilities Study Agreement executed by the
         Interconnection Customer.

         4.0             The Interconnection Facilities Study Report shall: (1) provide a
         description, estimated cost of (consistent with Attachment A), and schedule for required
         facilities to interconnect the Large Generating Facility to the Transmission System; and
         (2) address the short circuit, instability, and power flow issues identified in the most
         recently published Cluster Study Report.

         5.0            Interconnection Customer has met the requirements described in Section
         5.1.1.1 of this LGIP. The time for completion of the Interconnection Facilities Study is
         specified in Attachment A, and shall be no later than 150 Calendar Days after
         {Transmission Provider to insert effective date accepted on compliance}.

         6.0        Interconnection Customer previously provided a deposit of
         ________________ dollars ($___) for the performance of the Interconnection Facilities
         Study.

         7.0          Upon receipt of the Interconnection Facilities Study results, Transmission
         Provider shall charge and Interconnection Customer shall pay the actual costs of the
         Interconnection Facilities Study.

         8.0           Any difference between the study deposit and the actual cost of the study
         shall be paid by or refunded to Interconnection Customer, as appropriate.

         9.0           Miscellaneous. The Interconnection Facilities Study Agreement shall
         include standard miscellaneous terms including, but not limited to, indemnities,
         representations, disclaimers, warranties, governing law, amendment, execution, waiver,
         enforceability and assignment, that reflect best practices in the electric industry, and that
         are consistent with regional practices, Applicable Laws and Regulations, and the
         organizational nature of each Party. All of these provisions, to the extent practicable,
         shall be consistent with the provisions of this LGIP and this LGIA.

                IN WITNESS WHEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider or Transmission Owner, if applicable}
         By:
         Title:
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         Date:


         {Insert name of Interconnection Customer}
         By:
         Title:
         Date:



                                                                   Attachment A to Appendix 8
                                Transitional Serial Interconnection Facilities Study Agreement

               ASSUMPTIONS USED IN CONDUCTING THE TRANSITIONAL SERIAL
                         INTERCONNECTION FACILITIES STUDY

         {Assumptions to be completed by Interconnection Customer and Transmission Provider}
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                                    APPENDIX 9 to LGIP
                             TWO-PARTY AFFECTED SYSTEM STUDY
                                        AGREEMENT

                THIS AGREEMENT is made and entered into this ___ day of _______________,
         20___, by and between _________________________, a ______________________
         organized and existing under the laws of the State of ______________________
         (Affected System Interconnection Customer) and ________________, a
         _________________ organized and existing under the laws of the State of
         ______________ (Transmission Provider). Affected System Interconnection Customer
         and Transmission Provider each may be referred to as a “Party,” or collectively as the
         “Parties.”

                                               RECITALS

                WHEREAS, Affected System Interconnection Customer is proposing to develop a
         {description of generating facility or generating capacity addition to an existing
         generating facility} consistent with the interconnection request submitted by Affected
         System Interconnection Customer to {name of host transmission provider}, dated
         _________________, for which {name of host transmission provider} found impacts on
         Transmission Provider’s Transmission System; and

                WHEREAS, Affected System Interconnection Customer desires to interconnect
         the {generating facility} with {name of host transmission provider}’s transmission
         system;

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, the Parties agree as follows:

               1.0    When used in this Agreement, with initial capitalization, the terms specified
                      shall have the meanings indicated in this LGIP.

               2.0    Transmission Provider shall coordinate with Affected System
                      Interconnection Customer to perform an Affected System Study consistent
                      with Section 9 of this LGIP.

               3.0    The scope of the Affected System Study shall be subject to the assumptions
                      set forth in Attachment A to this Agreement.

               4.0    The Affected System Study will be based upon the technical information
                      provided by Affected System Interconnection Customer and {name of host
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                     transmission provider}. Transmission Provider reserves the right to
                     request additional technical information from Affected System
                     Interconnection Customer as may reasonably become necessary consistent
                     with Good Utility Practice during the course of the Affected System Study.

               5.0   The Affected System Study shall provide the following information:

                     -     identification of any circuit breaker short circuit capability limits
                           exceeded as a result of the interconnection;

                     -     identification of any thermal overload or voltage limit violations
                           resulting from the interconnection;

                     -     identification of any instability or inadequately damped response to
                           system disturbances resulting from the interconnection;

                     -     non-binding, good faith estimated cost and time required to
                           construct facilities required on Transmission Provider’s
                           Transmission System to accommodate the interconnection of the
                           {generating facility} to the transmission system of the host
                           transmission provider; and

                     -     description of how such facilities will address the identified short
                           circuit, instability, and power flow issues.

               6.0   Affected System Interconnection Customer shall provide a deposit of
                     _________ for performance of the Affected System Study. Upon receipt of
                     the results of the Affected System Study by the Affected System
                     Interconnection Customer, Transmission Provider shall charge, and
                     Affected System Interconnection Customer shall pay, the actual cost of the
                     Affected System Study. Any difference between the deposit and the actual
                     cost of the Affected System Study shall be paid by or refunded to Affected
                     System Interconnection Customer, as appropriate, including interest
                     calculated in accordance with section 35.19a(a)(2) of FERC’s regulations.

               7.0   This Agreement shall include standard miscellaneous terms including, but
                     not limited to, indemnities, representations, disclaimers, warranties,
                     governing law, amendment, execution, waiver, enforceability, and
                     assignment, which reflect best practices in the electric industry, that are
                     consistent with regional practices, Applicable Laws and Regulations and
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                      the organizational nature of each Party. All of these provisions, to the
                      extent practicable, shall be consistent with the provisions of the LGIP.

                IN WITNESS THEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider}
         By: _____________________________ By: ______________________________
         Title: _____________________________ Title: _____________________________
         Date: _____________________________ Date: _____________________________

         {Insert name of Affected System Interconnection Customer}
         By: _____________________________
         Title: _____________________________
         Date: _____________________________
                                                       Project No. ____


                                                                   Attachment A to Appendix 9
                                                    Two-Party Affected System Study Agreement

                            ASSUMPTIONS USED IN CONDUCTING THE
                                  AFFECTED SYSTEM STUDY

         The Affected System Study will be based upon the following assumptions:
         {Assumptions to be completed by Affected System Interconnection Customer and
         Transmission Provider}
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                                    APPENDIX 10 to LGIP
                             MULTIPARTY AFFECTED SYSTEM STUDY
                                        AGREEMENT


                THIS AGREEMENT is made and entered into this ___ day of _______________,
         20___, by and among _________________________, a ______________________
         organized and existing under the laws of the State of ______________________
         (Affected System Interconnection Customer); ______________________, a
         ______________________ organized and existing under the laws of the State
         of______________________ (Affected System Interconnection Customer); and
         ________________, a _________________ organized and existing under the laws of the
         State of ______________ (Transmission Provider). Affected System Interconnection
         Customers and Transmission Provider each may be referred to as a “Party,” or
         collectively as the “Parties.” When it is not important to differentiate among them,
         Affected System Interconnection Customers each may be referred to as “Affected System
         Interconnection Customer” or collectively as the “Affected System Interconnection
         Customers.”

                                               RECITALS

                WHEREAS, Affected System Interconnection Customers are proposing to develop
         {description of generating facilities or generating capacity additions to an existing
         generating facility}, consistent with the interconnection requests submitted by Affected
         System Interconnection Customers to {name of host transmission provider}, dated
         _________________, for which {name of host transmission provider} found impacts on
         Transmission Provider’s Transmission System; and

                WHEREAS, Affected System Interconnection Customers desire to interconnect
         the {generating facilities} with {name of host transmission provider}’s transmission
         system;

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, the Parties agree as follows:

               1.0    When used in this Agreement, with initial capitalization, the terms specified
                      shall have the meanings indicated in this LGIP.

               2.0    Transmission Provider shall coordinate with Affected System
                      Interconnection Customers to perform an Affected System Study consistent
                      with Section 9 of this LGIP.
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               3.0   The scope of the Affected System Study shall be subject to the assumptions
                     set forth in Attachment A to this Agreement.

               4.0   The Affected System Study will be based upon the technical information
                     provided by Affected System Interconnection Customers and {name of host
                     transmission provider}. Transmission Provider reserves the right to
                     request additional technical information from Affected System
                     Interconnection Customers as may reasonably become necessary consistent
                     with Good Utility Practice during the course of the Affected System Study.

               5.0   The Affected System Study shall provide the following information:

                     -     identification of any circuit breaker short circuit capability limits
                           exceeded as a result of the interconnection;

                     -     identification of any thermal overload or voltage limit violations
                           resulting from the interconnection;

                     -     identification of any instability or inadequately damped response to
                           system disturbances resulting from the interconnection;

                     -     non-binding, good faith estimated cost and time required to
                           construct facilities required on Transmission Provider’s
                           Transmission System to accommodate the interconnection of the
                           {generating facilities} to the transmission system of the host
                           transmission provider; and

                     -     description of how such facilities will address the identified short
                           circuit, instability, and power flow issues.

               6.0   Affected System Interconnection Customers shall each provide a deposit of
                     _________ for performance of the Affected System Study. Upon receipt of
                     the results of the Affected System Study by the Affected System
                     Interconnection Customers, Transmission Provider shall charge, and
                     Affected System Interconnection Customers shall pay, the actual cost of the
                     Affected System Study. Any difference between the deposit and the actual
                     cost of the Affected System Study shall be paid by or refunded to Affected
                     System Interconnection Customers, as appropriate, including interest
                     calculated in accordance with section 35.19a(a)(2) of FERC’s regulations.
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               7.0    This Agreement shall include standard miscellaneous terms including, but
                      not limited to, indemnities, representations, disclaimers, warranties,
                      governing law, amendment, execution, waiver, enforceability, and
                      assignment, which reflect best practices in the electric industry, that are
                      consistent with regional practices, Applicable Laws and Regulations, and
                      the organizational nature of each Party. All of these provisions, to the
                      extent practicable, shall be consistent with the provisions of the LGIP.

                IN WITNESS THEREOF, the Parties have caused this Agreement to be duly
         executed by their duly authorized officers or agents on the day and year first above
         written.

         {Insert name of Transmission Provider}
         By: _____________________________ By: ______________________________
         Title: _____________________________ Title: _____________________________
         Date: _____________________________ Date: _____________________________

         {Insert name of Affected System Interconnection Customer}
         By: _____________________________
         Title: _____________________________
         Date: _____________________________
                                                       Project No. ____

         {Insert name of Affected System Interconnection Customer}
         By: _____________________________
         Title: _____________________________
         Date: _____________________________
                                                       Project No. ____




                                                                   Attachment A to Appendix 10
                                                    Multiparty Affected System Study Agreement

                            ASSUMPTIONS USED IN CONDUCTING THE
                             MULTIPARTY AFFECTED SYSTEM STUDY

         The Affected System Study will be based upon the following assumptions:
         {Assumptions to be completed by Affected System Interconnection Customers and
         Transmission Provider}
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                              APPENDIX 11 TO LGIP
         TWO-PARTY AFFECTED SYSTEM FACILITIES CONSTRUCTION AGREEMENT

         THIS AGREEMENT is made and entered into this ____ day of _________, 20__, by
         and between _______________________________, organized and existing under the
         laws of the State of __________________ (Affected System Interconnection Customer)
         and__________________, an entity organized under the laws of the State of
         ______________ (Transmission Provider). Affected System Interconnection Customer
         and Transmission Provider each may be referred to as a “Party” or collectively as the
         “Parties.”

                                                RECITALS

         WHEREAS, Affected System Interconnection Customer is proposing to develop a
         {description of generating facility or generating capacity addition to an existing
         generating facility} consistent with the interconnection request submitted by Affected
         System Interconnection Customer to {name of host transmission provider}, dated
         _________________, for which {name of host transmission provider} found impacts on
         Transmission Provider’s Transmission System; and

         WHEREAS, Affected System Interconnection Customer desires to interconnect the
         {generating facility} to {name of host transmission provider}’s transmission system; and

         WHEREAS, additions, modifications, and upgrade(s) must be made to certain existing
         facilities of Transmission Provider’s Transmission System to accommodate such
         interconnection; and

         WHEREAS, Affected System Interconnection Customer has requested, and Transmission
         Provider has agreed, to enter into this Agreement for the purpose of facilitating the
         construction of necessary Affected System Network Upgrade(s);

         NOW, THEREFORE, in consideration of and subject to the mutual covenants contained
         herein, the Parties agree as follows:

                                               ARTICLE 1
                                              DEFINITIONS

         When used in this Agreement, with initial capitalization, the terms specified and not
         otherwise defined in this Agreement shall have the meanings indicated in this LGIP.

                                             ARTICLE 2
                                        TERM OF AGREEMENT
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         2.1    Effective Date. This Agreement shall become effective upon execution by the
         Parties subject to acceptance by FERC (if applicable), or if filed unexecuted, upon the
         date specified by FERC.

         2.2    Term.

         2.2.1 General. This Agreement shall become effective as provided in Article 2.1 and
         shall continue in full force and effect until the earlier of (1) the final repayment, where
         applicable, by Transmission Provider of the amount funded by Affected System
         Interconnection Customer for Transmission Provider’s design, procurement,
         construction and installation of the Affected System Network Upgrade(s) provided in
         Appendix A; (2) the Parties agree to mutually terminate this Agreement; (3) earlier
         termination is permitted or provided for under Appendix A of this Agreement; or
         (4) Affected System Interconnection Customer terminates this Agreement after providing
         Transmission Provider with written notice at least sixty (60) Calendar Days prior to the
         proposed termination date, provided that Affected System Interconnection Customer has
         no outstanding contractual obligations to Transmission Provider under this Agreement.
         No termination of this Agreement shall be effective until the Parties have complied with
         all Applicable Laws and Regulations applicable to such termination. The term of this
         Agreement may be adjusted upon mutual agreement of the Parties if (1) the commercial
         operation date for the {generating facility} is adjusted in accordance with the rules and
         procedures established by {name of host transmission provider} or (2) the in-service date
         for the Affected System Network Upgrade(s) is adjusted in accordance with the rules and
         procedures established by Transmission Provider.

         2.2.2 Termination Upon Default. Default shall mean the failure of a Breaching Party
         to cure its Breach in accordance with Article 5 of this Agreement where Breach and
         Breaching Party are defined in Article 5. Defaulting Party shall mean the Party that is in
         Default. In the event of a Default by a Party, the non-Defaulting Party shall have the
         termination rights described in Articles 5 and 6; provided, however, Transmission
         Provider may not terminate this Agreement if Affected System Interconnection Customer
         is the Defaulting Party and compensates Transmission Provider within thirty (30)
         Calendar Days for the amount of damages billed to Affected System Interconnection
         Customer by Transmission Provider for any such damages, including costs and expenses,
         incurred by Transmission Provider as a result of such Default.

         2.2.3 Consequences of Termination. In the event of a termination by either Party,
         other than a termination by Affected System Interconnection Customer due to a Default
         by Transmission Provider, Affected System Interconnection Customer shall be
         responsible for the payment to Transmission Provider of all amounts then due and
         payable for construction and installation of the Affected System Network Upgrade(s)
         (including, without limitation, any equipment ordered related to such construction), plus
         all out-of-pocket expenses incurred by Transmission Provider in connection with the
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         construction and installation of the Affected System Network Upgrade(s), through the
         date of termination, and, in the event of the termination of the entire Agreement, any
         actual costs which Transmission Provider reasonably incurs in (1) winding up work and
         construction demobilization and (2) ensuring the safety of persons and property and the
         integrity and safe and reliable operation of Transmission Provider’s Transmission
         System. Transmission Provider shall use Reasonable Efforts to minimize such costs.

         2.2.4 Reservation of Rights. Transmission Provider shall have the right to make a
         unilateral filing with FERC to modify this Agreement with respect to any rates, terms and
         conditions, charges, classifications of service, rule or regulation under section 205 or
         any other applicable provision of the Federal Power Act and FERC’s rules and
         regulations thereunder, and Affected System Interconnection Customer shall have the
         right to make a unilateral filing with FERC to modify this Agreement pursuant to section
         206 or any other applicable provision of the Federal Power Act and FERC’s rules and
         regulations thereunder; provided that each Party shall have the right to protest any such
         filing by the other Party and to participate fully in any proceeding before FERC in which
         such modifications may be considered. Nothing in this Agreement shall limit the rights of
         the Parties or of FERC under sections 205 or 206 of the Federal Power Act and FERC’s
         rules and regulations thereunder, except to the extent that the Parties otherwise mutually
         agree as provided herein.

         2.3     Filing. Transmission Provider shall file this Agreement (and any amendment
         hereto) with the appropriate Governmental Authority, if required. Affected System
         Interconnection Customer may request that any information so provided be subject to the
         confidentiality provisions of Article 8. If Affected System Interconnection Customer has
         executed this Agreement, or any amendment thereto, Affected System Interconnection
         Customer shall reasonably cooperate with Transmission Provider with respect to such
         filing and to provide any information reasonably requested by Transmission Provider
         needed to comply with applicable regulatory requirements.

         2.4     Survival. This Agreement shall continue in effect after termination, to the extent
         necessary, to provide for final billings and payments and for costs incurred hereunder,
         including billings and payments pursuant to this Agreement; to permit the determination
         and enforcement of liability and indemnification obligations arising from acts or events
         that occurred while this Agreement was in effect; and to permit each Party to have access
         to the lands of the other Party pursuant to this Agreement or other applicable
         agreements, to disconnect, remove, or salvage its own facilities and equipment.

         2.5    Termination Obligations. Upon any termination pursuant to this Agreement,
         Affected System Interconnection Customer shall be responsible for the payment of all
         costs or other contractual obligations incurred prior to the termination date, including
         previously incurred capital costs, penalties for early termination, and costs of removal
         and site restoration.
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                                    ARTICLE 3
               CONSTRUCTION OF AFFECTED SYSTEM NETWORK UPGRADE(S)

         3.1    Construction.

         3.1.1 Transmission Provider Obligations. Transmission Provider shall (or shall cause
         such action to) design, procure, construct, and install, and Affected System
         Interconnection Customer shall pay, consistent with Article 3.2, the costs of all Affected
         System Network Upgrade(s) identified in Appendix A. All Affected System Network
         Upgrade(s) designed, procured, constructed, and installed by Transmission Provider
         pursuant to this Agreement shall satisfy all requirements of applicable safety and/or
         engineering codes and comply with Good Utility Practice, and further, shall satisfy all
         Applicable Laws and Regulations. Transmission Provider shall not be required to
         undertake any action which is inconsistent with its standard safety practices, its material
         and equipment specifications, its design criteria and construction procedures, its labor
         agreements, or any Applicable Laws and Regulations.

         3.1.2 Suspension of Work.

         3.1.2.1 Right to Suspend. Affected System Interconnection Customer must provide to
         Transmission Provider written notice of its request for suspension. Only the milestones
         described in the Appendices of this Agreement are subject to suspension under this
         Article 3.1.2. Affected System Network Upgrade(s) will be constructed on the schedule
         described in the Appendices of this Agreement unless: (1) construction is prevented by
         the order of a Governmental Authority; (2) the Affected System Network Upgrade(s) are
         not needed by any other Interconnection Customer; or (3) Transmission Provider
         determines that a Force Majeure event prevents construction. In the event of (1), (2), or
         (3), any security paid to Transmission Provider under Article 4.1 of this Agreement shall
         be released by Transmission Provider upon the determination by Transmission Provider
         that the Affected System Network Upgrade(s) will no longer be constructed. If
         suspension occurs, Affected System Interconnection Customer shall be responsible for the
         costs which Transmission Provider incurs (i) in accordance with this Agreement prior to
         the suspension; (ii) in suspending such work, including any costs incurred to perform
         such work as may be necessary to ensure the safety of persons and property and the
         integrity of Transmission Provider’s Transmission System and, if applicable, any costs
         incurred in connection with the cancellation of contracts and orders for material which
         Transmission Provider cannot reasonably avoid;, and (iii) reasonably incurs in winding
         up work and construction demobilization; provided, however, that, prior to canceling any
         such contracts or orders, Transmission Provider shall obtain Affected System
         Interconnection Customer’s authorization. Affected System Interconnection Customer
         shall be responsible for all costs incurred in connection with Affected System
         Interconnection Customer’s failure to authorize cancellation of such contracts or orders.
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         Interest on amounts paid by Affected System Interconnection Customer to Transmission
         Provider for the design, procurement, construction, and installation of the Affected
         System Network Upgrade(s) shall not accrue during periods in which Affected System
         Interconnection Customer has suspended construction under this Article 3.1.2.

         Transmission Provider shall invoice Affected System Interconnection Customer pursuant
         to Article 4 and will use Reasonable Efforts to minimize its costs. In the event Affected
         System Interconnection Customer suspends work by Affected System Transmission
         Provider required under this Agreement pursuant to this Article 3.1.2.1, and has not
         requested Affected System Transmission Provider to recommence the work required
         under this Agreement on or before the expiration of three (3) years following
         commencement of such suspension, this Agreement shall be deemed terminated. The
         three-year period shall begin on the date the suspension is requested, or the date of the
         written notice to Affected System Transmission Provider, whichever is earlier, if no
         effective date of suspension is specified.

         3.1.2.2 Recommencing of Work. If Affected System Interconnection Customer requests
         that Transmission Provider recommence construction of Affected System Network
         Upgrade(s), Transmission Provider shall have no obligation to afford such work the
         priority it would have had but for the prior actions of Affected System Interconnection
         Customer to suspend the work. In such event, Affected System Interconnection Customer
         shall be responsible for any costs incurred in recommencing the work. All recommenced
         work shall be completed pursuant to an amended schedule for the interconnection agreed
         to by the Parties. Transmission Provider has the right to conduct a restudy of the
         Affected System Study if conditions have materially changed subsequent to the request to
         suspend. Affected System Interconnection Customer shall be responsible for the costs of
         any studies or restudies required.

         3.1.2.3 Right to Suspend Due to Default. Transmission Provider reserves the right,
         upon written notice to Affected System Interconnection Customer, to suspend, at any
         time, work by Transmission Provider due to Default by Affected System Interconnection
         Customer. Affected System Interconnection Customer shall be responsible for any
         additional expenses incurred by Transmission Provider associated with the construction
         and installation of the Affected System Network Upgrade(s) (as set forth in Article 2.2.3)
         upon the occurrence of either a Breach that Affected System Interconnection Customer is
         unable to cure pursuant to Article 5 or a Default pursuant to Article 5. Any form of
         suspension by Transmission Provider shall not be barred by Articles 2.2.2, 2.2.3, or
         5.2.2, nor shall it affect Transmission Provider’s right to terminate the work or this
         Agreement pursuant to Article 6.

         3.1.3 Construction Status. Transmission Provider shall keep Affected System
         Interconnection Customer advised periodically as to the progress of its design,
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         procurement and construction efforts, as described in Appendix A. Affected System
         Interconnection Customer may, at any time and reasonably, request a progress report
         from Transmission Provider. If, at any time, Affected System Interconnection Customer
         determines that the completion of the Affected System Network Upgrade(s) will not be
         required until after the specified in-service date, Affected System Interconnection
         Customer will provide written notice to Transmission Provider of such later date upon
         which the completion of the Affected System Network Upgrade(s) would be required.
         Transmission Provider may delay the in-service date of the Affected System Network
         Upgrade(s) accordingly.

         3.1.4 Timely Completion. Transmission Provider shall use Reasonable Efforts to
         design, procure, construct, install, and test the Affected System Network Upgrade(s) in
         accordance with the schedule set forth in Appendix A, which schedule may be revised
         from time to time by mutual agreement of the Parties. If any event occurs that will affect
         the time or ability to complete the Affected System Network Upgrade(s), Transmission
         Provider shall promptly notify Affected System Interconnection Customer. In such
         circumstances, Transmission Provider shall, within fifteen (15) Calendar Days of such
         notice, convene a meeting with Affected System Interconnection Customer to evaluate the
         alternatives available to Affected System Interconnection Customer. Transmission
         Provider shall also make available to Affected System Interconnection Customer all
         studies and work papers related to the event and corresponding delay, including all
         information that is in the possession of Transmission Provider that is reasonably needed
         by Affected System Interconnection Customer to evaluate alternatives, subject to
         confidentiality arrangements consistent with Article 8. Transmission Provider shall, at
         Affected System Interconnection Customer’s request and expense, use Reasonable Efforts
         to accelerate its work under this Agreement to meet the schedule set forth in Appendix A,
         provided that (1) Affected System Interconnection Customer authorizes such actions,
         such authorization to be withheld, conditioned, or delayed by Affected System
         Interconnection Customer only if it can demonstrate that the acceleration would have a
         material adverse effect on it; and (2) the Affected System Interconnection Customer funds
         costs associated therewith in advance.

         3.2   Interconnection Costs.

         3.2.1 Costs. Affected System Interconnection Customer shall pay to Transmission
         Provider costs (including taxes and financing costs) associated with seeking and
         obtaining all necessary approvals and of designing, engineering, constructing, and
         testing the Affected System Network Upgrade(s), as identified in Appendix A, in
         accordance with the cost recovery method provided herein. Unless Transmission
         Provider elects to fund the Affected System Network Upgrade(s), they shall be initially
         funded by Affected System Interconnection Customer.
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         3.2.1.1 Lands of Other Property Owners. If any part of the Affected System Network
         Upgrade(s) is to be installed on property owned by persons other than Affected System
         Interconnection Customer or Transmission Provider, Transmission Provider shall, at
         Affected System Interconnection Customer’s expense, use efforts similar in nature and
         extent to those that it typically undertakes on its own behalf or on behalf of its Affiliates,
         including use of its eminent domain authority to the extent permitted and consistent with
         Applicable Laws and Regulations and, to the extent consistent with such Applicable Laws
         and Regulations, to procure from such persons any rights of use, licenses, rights-of-way,
         and easements that are necessary to construct, operate, maintain, test, inspect, replace,
         or remove the Affected System Network Upgrade(s) upon such property.

         3.2.2 Repayment.

         3.2.2.1 Repayment. Consistent with Articles 11.4.1 and 11.4.2 of the Transmission
         Provider’s pro forma LGIA, Affected System Interconnection Customer shall be entitled
         to a cash repayment by Transmission Provider of the amount paid to Transmission
         Provider, if any, for the Affected System Network Upgrade(s), including any tax gross-up
         or other tax-related payments associated with the Affected System Network Upgrade(s),
         and not refunded to Affected System Interconnection Customer pursuant to Article 3.3.1
         or otherwise. The Parties may mutually agree to a repayment schedule, to be outlined in
         Appendix A, not to exceed twenty (20) years from the commercial operation date, for the
         complete repayment for all applicable costs associated with the Affected System Network
         Upgrade(s). Any repayment shall include interest calculated in accordance with the
         methodology set forth in FERC’s regulations at 18 CFR 35.19 a(a)(2)(iii) from the date
         of any payment for Affected System Network Upgrade(s) through the date on which
         Affected System Interconnection Customer receives a repayment of such payment
         pursuant to this subparagraph. Interest shall not accrue during periods in which
         Affected System Interconnection Customer has suspended construction pursuant to
         Article 3.1.2. Affected System Interconnection Customer may assign such repayment
         rights to any person.

         3.2.2.2 Impact of Failure to Achieve Commercial Operation. If the Affected System
         Interconnection Customer’s generating facility fails to achieve commercial operation,
         but it or another generating facility is later constructed and makes use of the Affected
         System Network Upgrade(s), Transmission Provider shall at that time reimburse
         Affected System Interconnection Customer for the amounts advanced for the Affected
         System Network Upgrade(s). Before any such reimbursement can occur, Affected
         System Interconnection Customer (or the entity that ultimately constructs the
         generating facility, if different), is responsible for identifying the entity to which the
         reimbursement must be made.

         3.3    Taxes.
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         3.3.1 Indemnification for Contributions in Aid of Construction. With regard only to
         payments made by Affected System Interconnection Customer to Transmission Provider
         for the installation of the Affected System Network Upgrade(s), Transmission Provider
         shall not include a gross-up for income taxes in the amounts it charges Affected System
         Interconnection Customer for the installation of the Affected System Network Upgrade(s)
         unless (1) Transmission Provider has determined, in good faith, that the payments or
         property transfers made by Affected System Interconnection Customer to Transmission
         Provider should be reported as income subject to taxation, or (2) any Governmental
         Authority directs Transmission Provider to report payments or property as income
         subject to taxation. Affected System Interconnection Customer shall reimburse
         Transmission Provider for such costs on a fully grossed-up basis, in accordance with this
         Article, within thirty (30) Calendar Days of receiving written notification from
         Transmission Provider of the amount due, including detail about how the amount was
         calculated.

         The indemnification obligation shall terminate at the earlier of (1) the expiration of the
         ten (10)-year testing period and the applicable statute of limitation, as it may be extended
         by Transmission Provider upon request of the Internal Revenue Service, to keep these
         years open for audit or adjustment, or (2) the occurrence of a subsequent taxable event
         and the payment of any related indemnification obligations as contemplated by this
         Article. Notwithstanding the foregoing provisions of this Article 3.3.1, and to the extent
         permitted by law, to the extent that the receipt of such payments by Transmission
         Provider is determined by any Governmental Authority to constitute income by
         Transmission Provider subject to taxation, Affected System Interconnection Customer
         shall protect, indemnify, and hold harmless Transmission Provider and its Affiliates, from
         all claims by any such Governmental Authority for any tax, interest, and/or penalties
         associated with such determination. Upon receiving written notification of such
         determination from the Governmental Authority, Transmission Provider shall provide
         Affected System Interconnection Customer with written notification within thirty (30)
         Calendar Days of such determination and notification. Transmission Provider, upon the
         timely written request by Affected System Interconnection Customer and at Affected
         System Interconnection Customer’s expense, shall appeal, protest, seek abatement of, or
         otherwise oppose such determination. Transmission Provider reserves the right to make
         all decisions with regard to the prosecution of such appeal, protest, abatement or other
         contest, including the compromise or settlement of the claim; provided that Transmission
         Provider shall cooperate and consult in good faith with Affected System Interconnection
         Customer regarding the conduct of such contest. Affected System Interconnection
         Customer shall not be required to pay Transmission Provider for the tax, interest, and/or
         penalties prior to the seventh (7th) Calendar Day before the date on which Transmission
         Provider (1) is required to pay the tax, interest, and/or penalties or other amount in lieu
         thereof pursuant to a compromise or settlement of the appeal, protest, abatement, or
         other contest; (2) is required to pay the tax, interest, and/or penalties as the result of a
         final, non-appealable order by a Governmental Authority; or (3) is required to pay the
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         tax, interest, and/or penalties as a prerequisite to an appeal, protest, abatement, or other
         contest. In the event such appeal, protest, abatement, or other contest results in a
         determination that Transmission Provider is not liable for any portion of any tax,
         interest, and/or penalties for which Affected System Interconnection Customer has
         already made payment to Transmission Provider, Transmission Provider shall promptly
         refund to Affected System Interconnection Customer any payment attributable to the
         amount determined to be non-taxable, plus any interest (calculated in accordance with
         18 CFR 35.19a(a)(2)(iii)) or other payments Transmission Provider receives or which
         Transmission Provider may be entitled with respect to such payment. Affected System
         Interconnection Customer shall provide Transmission Provider with credit assurances
         sufficient to meet Affected System Interconnection Customer’s estimated liability for
         reimbursement of Transmission Provider for taxes, interest, and/or penalties under this
         Article 3.3.1. Such estimated liability shall be stated in Appendix A.

         To the extent that Transmission Provider is a limited liability company and not a
         corporation, and has elected to be taxed as a partnership, then the following shall apply:
         Transmission Provider represents, and the Parties acknowledge, that Transmission
         Provider is a limited liability company and is treated as a partnership for federal income
         tax purposes. Any payment made by Affected System Interconnection Customer to
         Transmission Provider for Affected System Network Upgrade(s) is to be treated as an
         upfront payment. It is anticipated by the Parties that any amounts paid by Affected
         System Interconnection Customer to Transmission Provider for Affected System Network
         Upgrade(s) will be reimbursed to Affected System Interconnection Customer in
         accordance with the terms of this Agreement, provided Affected System Interconnection
         Customer fulfills its obligations under this Agreement.

         3.3.2 Private Letter Ruling. At Affected System Interconnection Customer’s request
         and expense, Transmission Provider shall file with the Internal Revenue Service a
         request for a private letter ruling as to whether any property transferred or sums paid, or
         to be paid, by Affected System Interconnection Customer to Transmission Provider under
         this Agreement are subject to federal income taxation. Affected System Interconnection
         Customer will prepare the initial draft of the request for a private letter ruling and will
         certify under penalties of perjury that all facts represented in such request are true and
         accurate to the best of Affected System Interconnection Customer’s knowledge.
         Transmission Provider and Affected System Interconnection Customer shall cooperate in
         good faith with respect to the submission of such request.

         3.3.3 Other Taxes. Upon the timely request by Affected System Interconnection
         Customer, and at Affected System Interconnection Customer’s sole expense,
         Transmission Provider shall appeal, protest, seek abatement of, or otherwise contest any
         tax (other than federal or state income tax) asserted or assessed against Transmission
         Provider for which Affected System Interconnection Customer may be required to
         reimburse Transmission Provider under the terms of this Agreement. Affected System
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         Interconnection Customer shall pay to Transmission Provider on a periodic basis, as
         invoiced by Transmission Provider, Transmission Provider’s documented reasonable
         costs of prosecuting such appeal, protest, abatement, or other contest. Affected System
         Interconnection Customer and Transmission Provider shall cooperate in good faith with
         respect to any such contest. Unless the payment of such taxes is a prerequisite to an
         appeal or abatement or cannot be deferred, no amount shall be payable by Affected
         System Interconnection Customer to Transmission Provider for such taxes until they are
         assessed by a final, non-appealable order by any court or agency of competent
         jurisdiction. In the event that a tax payment is withheld and ultimately due and payable
         after appeal, Affected System Interconnection Customer will be responsible for all taxes,
         interest and penalties, other than penalties attributable to any delay caused by
         Transmission Provider. Each Party shall cooperate with the other Party to maintain
         each Party’s tax status. Nothing in this Agreement is intended to adversely affect any
         Party’s tax-exempt status with respect to the issuance of bonds including, but not limited
         to, local furnishing bonds, as described in section 142(f) of the Internal Revenue Code.

                                            ARTICLE 4
                                SECURITY, BILLING, AND PAYMENTS

         4.1     Provision of Security. By the earlier of (1) thirty (30) Calendar Days prior to the
         due date for Affected System Interconnection Customer’s first payment under the
         payment schedule specified in Appendix A, or (2) the first date specified in Appendix A
         for the ordering of equipment by Transmission Provider for installing the Affected System
         Network Upgrade(s), Affected System Interconnection Customer shall provide
         Transmission Provider, at Affected System Interconnection Customer's option, a
         guarantee, a surety bond, letter of credit or other form of security that is reasonably
         acceptable to Transmission Provider. Such security for payment shall be in an amount
         sufficient to cover the costs for constructing, procuring, and installing the applicable
         portion of Affected System Network Upgrade(s) and shall be reduced on a dollar-for-
         dollar basis for payments made to Transmission Provider for these purposes.

         The guarantee must be made by an entity that meets the creditworthiness requirements of
         Transmission Provider and contain terms and conditions that guarantee payment of any
         amount that may be due from Affected System Interconnection Customer, up to an
         agreed-to maximum amount. The letter of credit must be issued by a financial institution
         reasonably acceptable to Transmission Provider and must specify a reasonable
         expiration date. The surety bond must be issued by an insurer reasonably acceptable to
         Transmission Provider and must specify a reasonable expiration date.

         4.2    Invoice. Each Party shall submit to the other Party, on a monthly basis, invoices
         of amounts due, if any, for the preceding month. Each invoice shall state the month to
         which the invoice applies and fully describe the services and equipment provided. The
         Parties may discharge mutual debts and payment obligations due and owing to each
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         other on the same date through netting, in which case all amounts a Party owes to the
         other Party under this Agreement, including interest payments, shall be netted so that
         only the net amount remaining due shall be paid by the owing Party.

         4.3    Payment. Invoices shall be rendered to the paying Party at the address specified
         by the Parties. The Party receiving the invoice shall pay the invoice within thirty (30)
         Calendar Days of receipt. All payments shall be made in immediately available funds
         payable to the other Party, or by wire transfer to a bank named and account designated
         by the invoicing Party. Payment of invoices by a Party will not constitute a waiver of any
         rights or claims that Party may have under this Agreement.

         4.4     Final Invoice. Within six (6) months after completion of the construction of the
         Affected System Network Upgrade(s), Transmission Provider shall provide an invoice of
         the final cost of the construction of the Affected System Network Upgrade(s) and shall set
         forth such costs in sufficient detail to enable Affected System Interconnection Customer to
         compare the actual costs with the estimates and to ascertain deviations, if any, from the
         cost estimates. Transmission Provider shall refund, with interest (calculated in
         accordance with 18 CFR 35.19a(a)(2)(iii)), to Affected System Interconnection Customer
         any amount by which the actual payment by Affected System Interconnection Customer
         for estimated costs exceeds the actual costs of construction within thirty (30) Calendar
         Days of the issuance of such final construction invoice.

         4.5  Interest. Interest on any unpaid amounts shall be calculated in accordance with
         18 CFR 35.19a(a)(2)(iii).

         4.6    Payment During Dispute. In the event of a billing dispute among the Parties,
         Transmission Provider shall continue to construct the Affected System Network
         Upgrade(s) under this Agreement as long as Affected System Interconnection Customer:
         (1) continues to make all payments not in dispute; and (2) pays to Transmission Provider
         or into an independent escrow account the portion of the invoice in dispute, pending
         resolution of such dispute. If Affected System Interconnection Customer fails to meet
         these two requirements, then Transmission Provider may provide notice to Affected
         System Interconnection Customer of a Default pursuant to Article 5. Within thirty (30)
         Calendar Days after the resolution of the dispute, the Party that owes money to another
         Party shall pay the amount due with interest calculated in accordance with the
         methodology set forth in 18 CFR 35.19a(a)(2)(iii).

                                            ARTICLE 5
                                    BREACH, CURE AND DEFAULT

         5.1    Events of Breach. A Breach of this Agreement shall include the:

         (a)    Failure to pay any amount when due;
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         (b)    Failure to comply with any material term or condition of this Agreement,
         including but not limited to any material Breach of a representation, warranty, or
         covenant made in this Agreement;

         (c)    Failure of a Party to provide such access rights, or a Party’s attempt to revoke
         access or terminate such access rights, as provided under this Agreement; or

         (d)    Failure of a Party to provide information or data to another Party as required
         under this Agreement, provided the Party entitled to the information or data under this
         Agreement requires such information or data to satisfy its obligations under this
         Agreement.

         5.2    Definition. Breaching Party shall mean the Party that is in Breach.

         5.3 Notice of Breach, Cure, and Default. Upon the occurrence of an event of Breach,
         the Party not in Breach, when it becomes aware of the Breach, shall give written notice
         of the Breach to the Breaching Party and to any other person representing a Party to this
         Agreement identified in writing to the other Party in advance. Such notice shall set forth,
         in reasonable detail, the nature of the Breach, and where known and applicable, the steps
         necessary to cure such Breach.

         5.3.1 Upon receiving written notice of the Breach hereunder, the Breaching Party shall
         have a period to cure such Breach (hereinafter referred to as the “Cure Period”) which
         shall be sixty (60) Calendar Days.

         5.3.2 In the event the Breaching Party fails to cure within the Cure Period, the
         Breaching Party will be in Default of this Agreement, and the non- Defaulting Party may
         terminate this Agreement in accordance with Article 6.2 of this Agreement or take
         whatever action at law or in equity as may appear necessary or desirable to enforce the
         performance or observance of any rights, remedies, obligations, agreement, or covenants
         under this Agreement.

         5.4   Rights in the Event of Default. Notwithstanding the foregoing, upon the
         occurrence of a Default, the non-Defaulting Party shall be entitled to exercise all rights
         and remedies it may have in equity or at law.

                                           ARTICLE 6
                                   TERMINATION OF AGREEMENT

         6.1    Expiration of Term. Except as otherwise specified in this Article 6, the Parties’
         obligations under this Agreement shall terminate at the conclusion of the term of this
         Agreement.
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         6.2     Termination. In addition to the termination provisions set forth in Article 2.2, a
         Party may terminate this Agreement upon the Default of the other Party in accordance
         with Article 5.2.2 of this Agreement. Subject to the limitations set forth in Article 6.3, in
         the event of a Default, the termination of this Agreement by the non-Defaulting Party
         shall require a filing at FERC of a notice of termination, which filing must be accepted
         for filing by FERC.

         6.3    Disposition of Facilities Upon Termination of Agreement.

         6.3.1 Transmission Provider Obligations. Upon termination of this Agreement, unless
         otherwise agreed to by the Parties in writing, Transmission Provider:

         (a)    shall, prior to the construction and installation of any portion of the Affected
         System Network Upgrade(s) and to the extent possible, cancel any pending orders of, or
         return, such equipment or material for such Affected System Network Upgrade(s);

         (b)    may keep in place any portion of the Affected System Network Upgrade(s) already
         constructed and installed; and,

         (c)     shall perform such work as may be necessary to ensure the safety of persons and
         property and to preserve the integrity of Transmission Provider’s Transmission System
         (e.g., construction demobilization to return the system to its original state, wind-up
         work).

         6.3.2 Affected System Interconnection Customer Obligations. Upon billing by
         Transmission Provider, Affected System Interconnection Customer shall reimburse
         Transmission Provider for any costs incurred by Transmission Provider in performance
         of the actions required or permitted by Article 6.3.1 and for the cost of any Affected
         System Network Upgrade(s) described in Appendix A. Transmission Provider shall use
         Reasonable Efforts to minimize costs and shall offset the amounts owed by any salvage
         value of facilities, if applicable. Affected System Interconnection Customer shall pay
         these costs pursuant to Article 4.3 of this Agreement.

         6.3.3 Pre-construction or Installation. Upon termination of this Agreement and prior
         to the construction and installation of any portion of the Affected System Network
         Upgrade(s), Transmission Provider may, at its option, retain any portion of such Affected
         System Network Upgrade(s) not cancelled or returned in accordance with
         Article 6.3.1(a), in which case Transmission Provider shall be responsible for all costs
         associated with procuring such Affected System Network Upgrade(s). To the extent that
         Affected System Interconnection Customer has already paid Transmission Provider for
         any or all of such costs, Transmission Provider shall refund Affected System
         Interconnection Customer for those payments. If Transmission Provider elects to not
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         retain any portion of such facilities, Transmission Provider shall convey and make
         available to Affected System Interconnection Customer such facilities as soon as
         practicable after Affected System Interconnection Customer’s payment for such facilities.

         6.4    Survival of Rights. Termination or expiration of this Agreement shall not relieve
         either Party of any of its liabilities and obligations arising hereunder prior to the date
         termination becomes effective, and each Party may take whatever judicial or
         administrative actions as appear necessary or desirable to enforce its rights hereunder.
         The applicable provisions of this Agreement will continue in effect after expiration, or
         early termination hereof to the extent necessary to provide for (1) final billings, billing
         adjustments, and other billing procedures set forth in this Agreement; (2) the
         determination and enforcement of liability and indemnification obligations arising from
         acts or events that occurred while this Agreement was in effect; and (3) the
         confidentiality provisions set forth in Article 8.

                                              ARTICLE 7
                                           SUBCONTRACTORS

         7.1    Subcontractors. Nothing in this Agreement shall prevent a Party from utilizing
         the services of subcontractors, as it deems appropriate, to perform its obligations under
         this Agreement; provided, however, that each Party shall require its subcontractors to
         comply with all applicable terms and conditions of this Agreement in providing such
         services, and each Party shall remain primarily liable to the other Party for the
         performance of such subcontractor.

         7.1.1 Responsibility of Principal. The creation of any subcontract relationship shall
         not relieve the hiring Party of any of its obligations under this Agreement. In accordance
         with the provisions of this Agreement, each Party shall be fully responsible to the other
         Party for the acts or omissions of any subcontractor it hires as if no subcontract had been
         made. Any applicable obligation imposed by this Agreement upon a Party shall be
         equally binding upon, and shall be construed as having application to, any subcontractor
         of such Party.

         7.1.2 No Third-Party Beneficiary. Except as may be specifically set forth to the
         contrary herein, no subcontractor or any other party is intended to be, nor will it be
         deemed to be, a third-party beneficiary of this Agreement.

         7.1.3 No Limitation by Insurance. The obligations under this Article 7 will not be
         limited in any way by any limitation of any insurance policies or coverages, including
         any subcontractor’s insurance.
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                                              ARTICLE 8
                                           CONFIDENTIALITY

         8.1   Confidentiality. Confidential Information shall include, without limitation, all
         information relating to a Party’s technology, research and development, business affairs,
         and pricing, and any information supplied to the other Party prior to the execution of this
         Agreement.

         Information is Confidential Information only if it is clearly designated or marked in
         writing as confidential on the face of the document, or, if the information is conveyed
         orally or by inspection, if the Party providing the information orally informs the Party
         receiving the information that the information is confidential. The Parties shall maintain
         as confidential any information that is provided and identified by a Party as Critical
         Energy Infrastructure Information (CEII), as that term is defined in 18 CFR 388.113(c).

         Such confidentiality will be maintained in accordance with this Article 8. If requested by
         the receiving Party, the disclosing Party shall provide in writing, the basis for asserting
         that the information referred to in this Article warrants confidential treatment, and the
         requesting Party may disclose such writing to the appropriate Governmental Authority.
         Each Party shall be responsible for the costs associated with affording confidential
         treatment to its information.

         8.1.1 Term. During the term of this Agreement, and for a period of three (3) years after
         the expiration or termination of this Agreement, except as otherwise provided in this
         Article 8 or with regard to CEII, each Party shall hold in confidence and shall not
         disclose to any person Confidential Information. CEII shall be treated in accordance
         with FERC policies and regulations.

         8.1.2 Scope. Confidential Information shall not include information that the receiving
         Party can demonstrate: (1) is generally available to the public other than as a result of a
         disclosure by the receiving Party; (2) was in the lawful possession of the receiving Party
         on a non-confidential basis before receiving it from the disclosing Party; (3) was
         supplied to the receiving Party without restriction by a non-Party, who, to the knowledge
         of the receiving Party after due inquiry, was under no obligation to the disclosing Party
         to keep such information confidential; (4) was independently developed by the receiving
         Party without reference to Confidential Information of the disclosing Party; (5) is, or
         becomes, publicly known, through no wrongful act or omission of the receiving Party or
         Breach of this Agreement; or (6) is required, in accordance with Article 8.1.6 of this
         Agreement, to be disclosed by any Governmental Authority or is otherwise required to be
         disclosed by law or subpoena, or is necessary in any legal proceeding establishing rights
         and obligations under this Agreement. Information designated as Confidential
         Information will no longer be deemed confidential if the Party that designated the
         information as confidential notifies the receiving Party that it no longer is confidential.
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         8.1.3 Release of Confidential Information. No Party shall release or disclose
         Confidential Information to any other person, except to its Affiliates (limited by the
         Standards of Conduct requirements), subcontractors, employees, agents, consultants, or
         to non-Parties that may be or are considering providing financing to or equity
         participation with Affected System Interconnection Customer, or to potential purchasers
         or assignees of Affected System Interconnection Customer, on a need-to-know basis in
         connection with this Agreement, unless such person has first been advised of the
         confidentiality provisions of this Article 8 and has agreed to comply with such provisions.
         Notwithstanding the foregoing, a Party providing Confidential Information to any person
         shall remain primarily responsible for any release of Confidential Information in
         contravention of this Article 8.

         8.1.4 Rights. Each Party shall retain all rights, title, and interest in the Confidential
         Information that it discloses to the receiving Party. The disclosure by a Party to the
         receiving Party of Confidential Information shall not be deemed a waiver by the
         disclosing Party or any other person or entity of the right to protect the Confidential
         Information from public disclosure.

         8.1.5 Standard of Care. Each Party shall use at least the same standard of care to
         protect Confidential Information it receives as it uses to protect its own Confidential
         Information from unauthorized disclosure, publication, or dissemination. Each Party
         may use Confidential Information solely to fulfill its obligations to the other Party under
         this Agreement or its regulatory requirements.

         8.1.6 Order of Disclosure. If a court or a Government Authority or entity with the
         right, power, and apparent authority to do so requests or requires either Party, by
         subpoena, oral deposition, interrogatories, requests for production of documents,
         administrative order, or otherwise, to disclose Confidential Information, that Party shall
         provide the disclosing Party with prompt notice of such request(s) or requirement(s) so
         that the disclosing Party may seek an appropriate protective order or waive compliance
         with the terms of this Agreement. Notwithstanding the absence of a protective order or
         waiver, the Party may disclose such Confidential Information which, in the opinion of its
         counsel, the Party is legally compelled to disclose. Each Party will use Reasonable
         Efforts to obtain reliable assurance that confidential treatment will be accorded any
         Confidential Information so furnished.

         8.1.7 Termination of Agreement. Upon termination of this Agreement for any reason,
         each Party shall, within ten (10) Business Days of receipt of a written request from the
         other Party, use Reasonable Efforts to destroy, erase, or delete (with such destruction,
         erasure, and deletion certified in writing to the requesting Party) or return to the
         requesting Party any and all written or electronic Confidential Information received from
         the requesting Party, except that each Party may keep one copy for archival purposes,
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         provided that the obligation to treat it as Confidential Information in accordance with
         this Article 8 shall survive such termination.

         8.1.8 Remedies. The Parties agree that monetary damages would be inadequate to
         compensate a Party for the other Party’s Breach of its obligations under this Article 8.
         Each Party accordingly agrees that the disclosing Party shall be entitled to equitable
         relief, by way of injunction or otherwise, if the receiving Party Breaches or threatens to
         Breach its obligations under this Article 8, which equitable relief shall be granted
         without bond or proof of damages, and the breaching Party shall not plead in defense
         that there would be an adequate remedy at law. Such remedy shall not be deemed an
         exclusive remedy for the Breach of this Article 8, but it shall be in addition to all other
         remedies available at law or in equity. The Parties further acknowledge and agree that
         the covenants contained herein are necessary for the protection of legitimate business
         interests and are reasonable in scope. Neither Party, however, shall be liable for
         indirect, incidental, or consequential or punitive damages of any nature or kind resulting
         from or arising in connection with this Article 8.

         8.1.9 Disclosure to FERC, its Staff, or a State Regulatory Body. Notwithstanding
         anything in this Article 8 to the contrary, and pursuant to 18 CFR 1b.20, if FERC or its
         staff, during the course of an investigation or otherwise, requests information from a
         Party that is otherwise required to be maintained in confidence pursuant to this
         Agreement, the Party shall provide the requested information to FERC or its staff, within
         the time provided for in the request for information. In providing the information to
         FERC or its staff, the Party must, consistent with 18 CFR 388.112, request that the
         information be treated as confidential and non-public by FERC and its staff and that the
         information be withheld from public disclosure. Parties are prohibited from notifying the
         other Party to this Agreement prior to the release of the Confidential Information to
         FERC or its staff. The Party shall notify the other Party to the Agreement when it is
         notified by FERC or its staff that a request to release Confidential Information has been
         received by FERC, at which time either of the Parties may respond before such
         information would be made public, pursuant to 18 CFR 388.112. Requests from a state
         regulatory body conducting a confidential investigation shall be treated in a similar
         manner if consistent with the applicable state rules and regulations.

         8.1.10 Subject to the exception in Article 8.1.9, any information that a disclosing Party
         claims is competitively sensitive, commercial, or financial information under this
         Agreement shall not be disclosed by the receiving Party to any person not employed or
         retained by the receiving Party, except to the extent disclosure is (1) required by law; (2)
         reasonably deemed by the disclosing Party to be required to be disclosed in connection
         with a dispute between or among the Parties, or the defense of litigation or dispute;
         (3) otherwise permitted by consent of the disclosing Party, such consent not to be
         unreasonably withheld; or (4) necessary to fulfill its obligations under this Agreement or
         as the Transmission Provider or a balancing authority, including disclosing the
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         Confidential Information to a regional or national reliability organization. The Party
         asserting confidentiality shall notify the receiving Party in writing of the information that
         Party claims is confidential. Prior to any disclosures of that Party’s Confidential
         Information under this subparagraph, or if any non-Party or Governmental Authority
         makes any request or demand for any of the information described in this subparagraph,
         the Party that received the Confidential Information from the disclosing Party agrees to
         promptly notify the disclosing Party in writing and agrees to assert confidentiality and
         cooperate with the disclosing Party in seeking to protect the Confidential Information
         from public disclosure by confidentiality agreement, protective order, or other
         reasonable measures.

                                         ARTICLE 9
                            INFORMATION ACCESS AND AUDIT RIGHTS

         9.1    Information Access. Each Party shall make available to the other Party
         information necessary to verify the costs incurred by the other Party for which the
         requesting Party is responsible under this Agreement and carry out obligations and
         responsibilities under this Agreement, provided that the Parties shall not use such
         information for purposes other than those set forth in this Article 9.1 and to enforce their
         rights under this Agreement.

         9.2    Audit Rights. Subject to the requirements of confidentiality under Article 8 of this
         Agreement, the accounts and records related to the design, engineering, procurement,
         and construction of the Affected System Network Upgrade(s) shall be subject to audit
         during the period of this Agreement and for a period of twenty-four (24) months
         following Transmission Provider’s issuance of a final invoice in accordance with
         Article 4.4. Affected System Interconnection Customer at its expense shall have the right,
         during normal business hours, and upon prior reasonable notice to Transmission
         Provider, to audit such accounts and records. Any audit authorized by this Article 9.2
         shall be performed at the offices where such accounts and records are maintained and
         shall be limited to those portions of such accounts and records that relate to obligations
         under this Agreement.

                                                ARTICLE 10
                                                 NOTICES

         10.1 General. Any notice, demand, or request required or permitted to be given by a
         Party to the other Party, and any instrument required or permitted to be tendered or
         delivered by a Party in writing to another Party, may be so given, tendered, or delivered,
         as the case may be, by depositing the same with the United States Postal Service with
         postage prepaid, for transmission by certified or registered mail, addressed to the
         Parties, or personally delivered to the Parties, at the address set out below:
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         To Transmission Provider:



         To Affected System Interconnection Customer:



         10.2 Billings and Payments. Billings and payments shall be sent to the addresses
         shown in Article 10.1 unless otherwise agreed to by the Parties.

         10.3 Alternative Forms of Notice. Any notice or request required or permitted to be
         given by a Party to the other Party and not required by this Agreement to be given in
         writing may be so given by telephone, facsimile or email to the telephone numbers and
         email addresses set out below:

         To Transmission Provider:



         To Affected System Interconnection Customer:



         10.4 Execution and Filing. Affected System Interconnection Customer shall either: (i)
         execute two originals of this tendered Agreement and return them to Transmission
         Provider; or (ii) request in writing that Transmission Provider file with FERC this
         Agreement in unexecuted form. As soon as practicable, but not later than ten (10)
         Business Days after receiving either the two executed originals of this tendered
         Agreement (if it does not conform with a FERC-approved standard form of this
         Agreement) or the request to file this Agreement unexecuted, Transmission Provider shall
         file this Agreement with FERC, together with its explanation of any matters as to which
         Affected System Interconnection Customer and Transmission Provider disagree and
         support for the costs that Transmission Provider proposes to charge to Affected System
         Interconnection Customer under this Agreement. An unexecuted version of this
         Agreement should contain terms and conditions deemed appropriate by Transmission
         Provider for the Affected System Interconnection Customer’s generating facility. If the
         Parties agree to proceed with design, procurement, and construction of facilities and
         upgrades under the agreed-upon terms of the unexecuted version of this Agreement, they
         may proceed pending FERC action.
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                                              ARTICLE 11
                                            MISCELLANEOUS

         11.1 This Agreement shall include standard miscellaneous terms including, but not
         limited to, indemnities, representations, disclaimers, warranties, governing law,
         amendment, execution, waiver, enforceability and assignment, which reflect best
         practices in the electric industry, that are consistent with regional practices, Applicable
         Laws and Regulations and the organizational nature of each Party. All of these
         provisions, to the extent practicable, shall be consistent with the provisions of this LGIP.


                                         [Signature Page to Follow]
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         IN WITNESS WHEREOF, the Parties have executed this Agreement in multiple
         originals, each of which shall constitute and be an original Agreement among the
         Parties.


         Transmission Provider
         {Transmission Provider}
         By:
         Name:
         Title:


          Affected System Interconnection Customer
         {Affected System Interconnection Customer}
         By:
         Name:
         Title:


                                            Project No. ____
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                                                                 Attachment A to Appendix 11
                                  Two-Party Affected System Facilities Construction Agreement

            AFFECTED SYSTEM NETWORK UPGRADE(S), COST ESTIMATES AND
          RESPONSIBILITY, CONSTRUCTION SCHEDULE AND MONTHLY PAYMENT
                                   SCHEDULE

         This Appendix A is a part of the Affected System Facilities Construction Agreement
         between Affected System Interconnection Customer and Transmission Provider.

         1.1   Affected System Network Upgrade(s) to be installed by Transmission Provider.

         {description}


         1.2   First Equipment Order (including permitting).

         {description}


         1.2.1. Permitting and Land Rights – Transmission Provider Affected System Network
         Upgrade(s)

         {description}

         1.3   Construction Schedule. Where applicable, construction of the Affected System
         Network Upgrade(s) is scheduled as follows and will be periodically updated as
         necessary:

         Table 1: Transmission Provider Construction Activities
          MILESTONE                            START END
                           DESCRIPTION
           NUMBER                               DATE DATE




         Note: Construction schedule assumes that Transmission Provider has obtained final
         authorizations and security from Affected System Interconnection Customer and all
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         necessary permits from Governmental Authorities as necessary prerequisites to
         commence construction of any of the Affected System Network Upgrade(s).

         1.4   Payment Schedule.

         1.4.1 Timing of and Adjustments to Affected System Interconnection Customer’s
         Payments and Security.

         {description}

         1.4.2 Monthly Payment Schedule. Affected System Interconnection Customer’s
         payment schedule is as follows.

         {description}


         Table 2: Affected System Interconnection Customer’s Payment/Security Obligations
         for Affected System Network Upgrade(s).

          MILESTONE
                            DESCRIPTION         DATE
           NUMBER




         Note: Affected System Interconnection Customer’s payment or provision of security as
         provided in this Agreement operates as a condition precedent to Transmission Provider’s
         obligations to construct any Affected System Network Upgrade(s), and failure to meet
         this schedule will constitute a Breach pursuant to Article 5.1 of this Agreement.

         1.5   Permits, Licenses, and Authorizations.

         {description}
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                                                                  Attachment B to Appendix 11
                                   Two-Party Affected System Facilities Construction Agreement

                          NOTIFICATION OF COMPLETED CONSTRUCTION

         This Appendix B is a part of the Affected Systems Facilities Construction Agreement
         between Affected System Interconnection Customer and Transmission Provider. Where
         applicable, when Transmission Provider has completed construction of the Affected
         System Network Upgrade(s), Transmission Provider shall send notice to Affected System
         Interconnection Customer in substantially the form following:

         {Date}

         {Affected System Interconnection Customer Address}

         Re:      Completion of Affected System Network Upgrade(s)

         Dear {Name or Title}:

         This letter is sent pursuant to the Affected System Facilities Construction Agreement
         between {Transmission Provider} and {Affected System Interconnection Customer},
         dated ____________, 20___.

         On {Date}, Transmission Provider completed to its satisfaction all work on the Affected
         System Network Upgrade(s) required to facilitate the safe and reliable interconnection
         and operation of Affected System Interconnection Customer’s {description of generating
         facility}. Transmission Provider confirms that the Affected System Network Upgrade(s)
         are in place.

         Thank you.

          {Signature}
         {Transmission Provider Representative}
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                                                                 Attachment C to Appendix 11
                                  Two-Party Affected System Facilities Construction Agreement

                                                  EXHIBITS

           This Appendix C is a part of the Affected System Facilities Construction Agreement
             among Affected System Interconnection Customer and Transmission Provider.

                                              Exhibit A1
                                    Transmission Provider Site Map

                                                  Exhibit A2
                                                   Site Plan

                                              Exhibit A3
                           Affected System Network Upgrade(s) Plan & Profile

                                              Exhibit A4
                        Estimated Cost of Affected System Network Upgrade(s)


                               Facilities to Be
                               Constructed by        Estimate
                               Transmission             in
                Location         Provider            Dollars

                                     Total:
         ________________________________________________________________________
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                                APPENDIX 12 TO LGIP
                MULTIPARTY AFFECTED SYSTEM FACILITIES CONSTRUCTION
                                   AGREEMENT

         THIS AGREEMENT is made and entered into this ____ day of _________, 20__, by
         and among _______________________________, organized and existing under the laws
         of the State of __________________ (Affected System Interconnection Customer);
         ______________________, a ______________________ organized and existing under
         the laws of the State of __________________ (Affected System Interconnection
         Customer); and__________________, an entity organized under the laws of the State of
         ______________ (Transmission Provider). Affected System Interconnection Customers
         and Transmission Provider each may be referred to as a “Party” or collectively as the
         “Parties.” When it is not important to differentiate among them, Affected System
         Interconnection Customers each may be referred to as “Affected System Interconnection
         Customer” or collectively as “Affected System Interconnection Customers.”

                                                RECITALS

         WHEREAS, Affected System Interconnection Customers are proposing to develop
         {description of generating facilities or generating capacity additions to an existing
         generating facility}, consistent with the interconnection requests submitted by Affected
         System Interconnection Customers to {name of host transmission provider}, dated
         _________________, for which {name of host transmission provider} found impacts on
         Transmission Provider’s Transmission System; and

         WHEREAS, Affected System Interconnection Customers desire to interconnect the
         {generating facilities} to {name of host transmission provider}’s transmission system;
         and

         WHEREAS, additions, modifications, and upgrade(s) must be made to certain existing
         facilities of Transmission Provider’s Transmission System to accommodate such
         interconnection; and

         WHEREAS, Affected System Interconnection Customers have requested, and
         Transmission Provider has agreed, to enter into this Agreement for the purpose of
         facilitating the construction of necessary Affected System Network Upgrade(s);

         NOW, THEREFORE, in consideration of and subject to the mutual covenants contained
         herein, the Parties agree as follows:
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                                               ARTICLE 1
                                              DEFINITIONS

         When used in this Agreement, with initial capitalization, the terms specified and not
         otherwise defined in this Agreement shall have the meanings indicated in this LGIP.

                                             ARTICLE 2
                                        TERM OF AGREEMENT

         2.1    Effective Date. This Agreement shall become effective upon execution by the
         Parties subject to acceptance by FERC (if applicable), or if filed unexecuted, upon the
         date specified by FERC.

         2.2    Term.

         2.2.1 General. This Agreement shall become effective as provided in Article 2.1 and
         shall continue in full force and effect until the earlier of (1) the final repayment, where
         applicable, by Transmission Provider of the amount funded by Affected System
         Interconnection Customers for Transmission Provider’s design, procurement,
         construction, and installation of the Affected System Network Upgrade(s) provided in
         Appendix A; (2) the Parties agree to mutually terminate this Agreement; (3) earlier
         termination is permitted or provided for under Appendix A of this Agreement; or
         (4) Affected System Interconnection Customers terminate this Agreement after providing
         Transmission Provider with written notice at least sixty (60) Calendar Days prior to the
         proposed termination date, provided that Affected System Interconnection Customers
         have no outstanding contractual obligations to Transmission Provider under this
         Agreement. No termination of this Agreement shall be effective until the Parties have
         complied with all Applicable Laws and Regulations applicable to such termination. The
         term of this Agreement may be adjusted upon mutual agreement of the Parties if the
         commercial operation date(s) for the {generating facilities} is adjusted in accordance
         with the rules and procedures established by {name of host transmission provider} or the
         in-service date for the Affected System Network Upgrade(s) is adjusted in accordance
         with the rules and procedures established by Transmission Provider.

         2.2.2 Termination Upon Default. Default shall mean the failure of a Breaching Party
         to cure its Breach in accordance with Article 5 of this Agreement where Breach and
         Breaching Party are defined in Article 5. Defaulting Party shall mean the Party that is in
         Default. In the event of a Default by a Party, each non-Defaulting Party shall have the
         termination rights described in Articles 5 and 6; provided, however, Transmission
         Provider may not terminate this Agreement if an Affected System Interconnection
         Customer is the Defaulting Party and compensates Transmission Provider within thirty
         (30) Calendar Days for the amount of damages billed to Affected System Interconnection
         Customer(s) by Transmission Provider for any such damages, including costs and
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         expenses incurred by Transmission Provider as a result of such Default.
         Notwithstanding the foregoing, Default by one or more Affected System Interconnection
         Customers shall not provide the other Affected System Interconnection Customer(s),
         either individually or in concert, with the right to terminate the entire Agreement. The
         non-Defaulting Party/Parties may, individually or in concert, initiate the removal of an
         Affected System Interconnection Customer that is a Defaulting Party from this
         Agreement. Transmission Provider shall not terminate this Agreement or the
         participation of any Affected System Interconnection Customer without provision being
         made for Transmission Provider to be fully reimbursed for all of its costs incurred under
         this Agreement.

         2.2.3 Consequences of Termination. In the event of a termination by a Party, other
         than a termination by Affected System Interconnection Customer(s) due to a Default by
         Transmission Provider, each Affected System Interconnection Customer whose
         participation in this Agreement is terminated shall be responsible for the payment to
         Transmission Provider of all amounts then due and payable for construction and
         installation of the Affected System Network Upgrade(s) (including, without limitation,
         any equipment ordered related to such construction), plus all out-of-pocket expenses
         incurred by Transmission Provider in connection with the construction and installation
         of the Affected System Network Upgrade(s), through the date of termination, and, in the
         event of the termination of the entire Agreement, any actual costs which Transmission
         Provider reasonably incurs in (1) winding up work and construction demobilization and
         (2) ensuring the safety of persons and property and the integrity and safe and reliable
         operation of Transmission Provider’s Transmission System. Transmission Provider shall
         use Reasonable Efforts to minimize such costs. The cost responsibility of other Affected
         System Interconnection Customers shall be adjusted, as necessary, based on the
         payments by an Affected System Interconnection Customer that is terminated from the
         Agreement.

         2.2.4 Reservation of Rights. Transmission Provider shall have the right to make a
         unilateral filing with FERC to modify this Agreement with respect to any rates, terms and
         conditions, charges, classifications of service, rule or regulation under section 205 or
         any other applicable provision of the Federal Power Act and FERC’s rules and
         regulations thereunder, and Affected System Interconnection Customers shall have the
         right to make a unilateral filing with FERC to modify this Agreement pursuant to section
         206 or any other applicable provision of the Federal Power Act and FERC’s rules and
         regulations thereunder; provided that each Party shall have the right to protest any such
         filing by the other Party and to participate fully in any proceeding before FERC in which
         such modifications may be considered. Nothing in this Agreement shall limit the rights of
         the Parties or of FERC under sections 205 or 206 of the Federal Power Act and FERC’s
         rules and regulations thereunder, except to the extent that the Parties otherwise mutually
         agree as provided herein.
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         2.3    Filing. Transmission Provider shall file this Agreement (and any amendment
         hereto) with the appropriate Governmental Authority, if required. Affected System
         Interconnection Customers may request that any information so provided be subject to
         the confidentiality provisions of Article 8. Each Affected System Interconnection
         Customer that has executed this Agreement, or any amendment thereto, shall reasonably
         cooperate with Transmission Provider with respect to such filing and to provide any
         information reasonably requested by Transmission Provider needed to comply with
         applicable regulatory requirements.

         2.4     Survival. This Agreement shall continue in effect after termination, to the extent
         necessary, to provide for final billings and payments and for costs incurred hereunder,
         including billings and payments pursuant to this Agreement; to permit the determination
         and enforcement of liability and indemnification obligations arising from acts or events
         that occurred while this Agreement was in effect; and to permit each Party to have access
         to the lands of the other Party pursuant to this Agreement or other applicable
         agreements, to disconnect, remove, or salvage its own facilities and equipment.

         2.5    Termination Obligations. Upon any termination pursuant to this Agreement or
         termination of the participation in this Agreement of an Affected System Interconnection
         Customer, each Affected System Interconnection Customer shall be responsible for the
         payment of its proportionate share of all costs or other contractual obligations incurred
         prior to the termination date, including previously incurred capital costs, penalties for
         early termination, and costs of removal and site restoration. The cost responsibility of
         the other Affected System Interconnection Customers shall be adjusted as necessary.


                                    ARTICLE 3
               CONSTRUCTION OF AFFECTED SYSTEM NETWORK UPGRADE(S)

         3.1    Construction.

         3.1.1 Transmission Provider Obligations. Transmission Provider shall (or shall cause
         such action to) design, procure, construct, and install, and Affected System
         Interconnection Customers shall pay, consistent with Article 3.2, the costs of all Affected
         System Network Upgrade(s) identified in Appendix A. All Affected System Network
         Upgrade(s) designed, procured, constructed, and installed by Transmission Provider
         pursuant to this Agreement shall satisfy all requirements of applicable safety and/or
         engineering codes and comply with Good Utility Practice, and further, shall satisfy all
         Applicable Laws and Regulations. Transmission Provider shall not be required to
         undertake any action which is inconsistent with its standard safety practices, its material
         and equipment specifications, its design criteria and construction procedures, its labor
         agreements, or any Applicable Laws and Regulations.
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         3.1.2 Suspension of Work.

         3.1.2.1 Right to Suspend. Affected System Interconnection Customers must jointly
         provide to Transmission Provider written notice of their request for suspension. Only the
         milestones described in the Appendices of this Agreement are subject to suspension under
         this Article 3.1.2. Affected System Network Upgrade(s) will be constructed on the
         schedule described in the Appendices of this Agreement unless: (1) construction is
         prevented by the order of a Governmental Authority; (2) the Affected System Network
         Upgrade(s) are not needed by any other Interconnection Customer; or (3) Transmission
         Provider determines that a Force Majeure event prevents construction. In the event of
         (1), (2), or (3), any security paid to Transmission Provider under Article 4.1 of this
         Agreement shall be released by Transmission Provider upon the determination by
         Transmission Provider that the Affected System Network Upgrade(s) will no longer be
         constructed. If suspension occurs, Affected System Interconnection Customers shall be
         responsible for the costs which Transmission Provider incurs (i) in accordance with this
         Agreement prior to the suspension; (ii) in suspending such work, including any costs
         incurred to perform such work as may be necessary to ensure the safety of persons and
         property and the integrity of Transmission Provider’s Transmission System and, if
         applicable, any costs incurred in connection with the cancellation of contracts and
         orders for material which Transmission Provider cannot reasonably avoid; and (iii)
         reasonably incurs in winding up work and construction demobilization; provided,
         however, that, prior to canceling any such contracts or orders, Transmission Provider
         shall obtain Affected System Interconnection Customers’ authorization. Affected System
         Interconnection Customers shall be responsible for all costs incurred in connection with
         Affected System Interconnection Customers’ failure to authorize cancellation of such
         contracts or orders.

         Interest on amounts paid by Affected System Interconnection Customers to Transmission
         Provider for the design, procurement, construction, and installation of the Affected
         System Network Upgrade(s) shall not accrue during periods in which Affected System
         Interconnection Customers have suspended construction under this Article 3.1.2.

         Transmission Provider shall invoice Affected System Interconnection Customers pursuant
         to Article 4 and will use Reasonable Efforts to minimize its costs. In the event Affected
         System Interconnection Customers suspend work by Affected System Transmission
         Provider required under this Agreement pursuant to this Article 3.1.2.1, and have not
         requested Affected System Transmission Provider to recommence the work required
         under this Agreement on or before the expiration of three (3) years following
         commencement of such suspension, this Agreement shall be deemed terminated. The
         three-year period shall begin on the date the suspension is requested, or the date of the
         written notice to Affected System Transmission Provider, whichever is earlier, if no
         effective date of suspension is specified.
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         3.1.2.2 Recommencing of Work. If Affected System Interconnection Customers request
         that Transmission Provider recommence construction of Affected System Network
         Upgrade(s), Transmission Provider shall have no obligation to afford such work the
         priority it would have had but for the prior actions of Affected System Interconnection
         Customers to suspend the work. In such event, Affected System Interconnection
         Customers shall be responsible for any costs incurred in recommencing the work. All
         recommenced work shall be completed pursuant to an amended schedule for the
         interconnection agreed to by the Parties. Transmission Provider has the right to conduct
         a restudy of the Affected System Study if conditions have materially changed subsequent
         to the request to suspend. Affected System Interconnection Customers shall be
         responsible for the costs of any studies or restudies required.

         3.1.2.3 Right to Suspend Due to Default. Transmission Provider reserves the right,
         upon written notice to Affected System Interconnection Customers, to suspend, at any
         time, work by Transmission Provider due to a Default by Affected System Interconnection
         Customer(s). Defaulting Affected System Interconnection Customer(s) shall be
         responsible for any additional expenses incurred by Transmission Provider associated
         with the construction and installation of the Affected System Network Upgrade(s) (as set
         forth in Article 2.2.3) upon the occurrence of a Default pursuant to Article 5. Any form
         of suspension by Transmission Provider shall not be barred by Articles 2.2.2, 2.2.3, or
         5.2.2, nor shall it affect Transmission Provider’s right to terminate the work or this
         Agreement pursuant to Article 6.

         3.1.3 Construction Status. Transmission Provider shall keep Affected System
         Interconnection Customers advised periodically as to the progress of its design,
         procurement, and construction efforts, as described in Appendix A. An Affected System
         Interconnection Customer may, at any time and reasonably, request a progress report
         from Transmission Provider. If, at any time, an Affected System Interconnection
         Customer determines that the completion of the Affected System Network Upgrade(s) will
         not be required until after the specified in-service date, such Affected System
         Interconnection Customer will provide written notice to all other Parties of such later
         date for which the completion of the Affected System Network Upgrade(s) would be
         required. Transmission Provider may delay the in-service date of the Affected System
         Network Upgrade(s) accordingly, but only if agreed to by all other Affected System
         Interconnection Customers.

         3.1.4 Timely Completion. Transmission Provider shall use Reasonable Efforts to
         design, procure, construct, install, and test the Affected System Network Upgrade(s) in
         accordance with the schedule set forth in Appendix A, which schedule may be revised
         from time to time by mutual agreement of the Parties. If any event occurs that will affect
         the time or ability to complete the Affected System Network Upgrade(s), Transmission
         Provider shall promptly notify all other Parties. In such circumstances, Transmission
         Provider shall, within fifteen (15) Calendar Days of such notice, convene a meeting with
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         Affected System Interconnection Customers to evaluate the alternatives available to
         Affected System Interconnection Customers. Transmission Provider shall also make
         available to Affected System Interconnection Customers all studies and work papers
         related to the event and corresponding delay, including all information that is in the
         possession of Transmission Provider that is reasonably needed by Affected System
         Interconnection Customers to evaluate alternatives, subject to confidentiality
         arrangements consistent with Article 8. Transmission Provider shall, at any Affected
         System Interconnection Customer’s request and expense, use Reasonable Efforts to
         accelerate its work under this Agreement to meet the schedule set forth in Appendix A,
         provided that (1) Affected System Interconnection Customers jointly authorize such
         actions, such authorizations to be withheld, conditioned, or delayed by a given Affected
         System Interconnection Customer only if it can demonstrate that the acceleration would
         have a material adverse effect on it; and (2) the requesting Affected System
         Interconnection Customer(s) funds the costs associated therewith in advance, or all
         Affected System Interconnection Customers agree in advance to fund such costs based on
         such other allocation method as they may adopt.

         3.2    Interconnection Costs.

         3.2.1 Costs. Affected System Interconnection Customers shall pay to Transmission
         Provider costs (including taxes and financing costs) associated with seeking and
         obtaining all necessary approvals and of designing, engineering, constructing, and
         testing the Affected System Network Upgrade(s), as identified in Appendix A, in
         accordance with the cost recovery method provided herein. Except as expressly
         otherwise agreed, Affected System Interconnection Customers shall be collectively
         responsible for these costs, based on their proportionate share of cost responsibility, as
         provided in Appendix A. Unless Transmission Provider elects to fund the Affected System
         Network Upgrade(s), they shall be initially funded by the applicable Affected System
         Interconnection Customer.

         3.2.1.1 Lands of Other Property Owners. If any part of the Affected System Network
         Upgrade(s) is to be installed on property owned by persons other than Affected System
         Interconnection Customers or Transmission Provider, Transmission Provider shall, at
         Affected System Interconnection Customers’ expense, use efforts similar in nature and
         extent to those that it typically undertakes on its own behalf or on behalf of its Affiliates,
         including use of its eminent domain authority to the extent permitted and consistent with
         Applicable Laws and Regulations and, to the extent consistent with such Applicable Laws
         and Regulations, to procure from such persons any rights of use, licenses, rights-of-way,
         and easements that are necessary to construct, operate, maintain, test, inspect, replace,
         or remove the Affected System Network Upgrade(s) upon such property.

         3.2.2 Repayment.
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         3.2.2.1 Repayment. Consistent with articles 11.4.1 and 11.4.2 of the Transmission
         Provider’s pro forma LGIA, each Affected System Interconnection Customer shall be
         entitled to a cash repayment by Transmission Provider of the amount each Affected
         System Interconnection Customer paid to Transmission Provider, if any, for the Affected
         System Network Upgrade(s), including any tax gross-up or other tax-related payments
         associated with the Affected System Network Upgrade(s), and not refunded to Affected
         System Interconnection Customer pursuant to Article 3.3.1 or otherwise. The Parties
         may mutually agree to a repayment schedule, to be outlined in Appendix A, not to exceed
         twenty (20) years from the commercial operation date, for the complete repayment for all
         applicable costs associated with the Affected System Network Upgrade(s). Any
         repayment shall include interest calculated in accordance with the methodology set forth
         in FERC’s regulations at 18 CFR 35.19 a(a)(2)(iii) from the date of any payment for
         Affected System Network Upgrade(s) through the date on which Affected System
         Interconnection Customers receive a repayment of such payment pursuant to this
         subparagraph. Interest shall not accrue during periods in which Affected System
         Interconnection Customers have suspended construction pursuant to Article 3.1.2.1.
         Affected System Interconnection Customers may assign such repayment rights to any
         person.

         3.2.2.2 Impact of Failure to Achieve Commercial Operation. If an Affected System
         Interconnection Customer’s generating facility fails to achieve commercial operation,
         but it or another generating facility is later constructed and makes use of the Affected
         System Network Upgrade(s), Transmission Provider shall at that time reimburse such
         Affected System Interconnection Customers for the portion of the Affected System
         Network Upgrade(s) it funded. Before any such reimbursement can occur, Affected
         System Interconnection Customer (or the entity that ultimately constructs the
         generating facility, if different), is responsible for identifying the entity to which the
         reimbursement must be made.

         3.3    Taxes.

         3.3.1 Indemnification for Contributions in Aid of Construction. With regard only to
         payments made by Affected System Interconnection Customers to Transmission Provider
         for the installation of the Affected System Network Upgrade(s), Transmission Provider
         shall not include a gross-up for income taxes in the amounts it charges Affected System
         Interconnection Customers for the installation of the Affected System Network
         Upgrade(s) unless (1) Transmission Provider has determined, in good faith, that the
         payments or property transfers made by Affected System Interconnection Customers to
         Transmission Provider should be reported as income subject to taxation, or (2) any
         Governmental Authority directs Transmission Provider to report payments or property as
         income subject to taxation. Affected System Interconnection Customers shall reimburse
         Transmission Provider for such costs on a fully grossed-up basis, in accordance with this
         Article, within thirty (30) Calendar Days of receiving written notification from
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         Transmission Provider of the amount due, including detail about how the amount was
         calculated.

         The indemnification obligation shall terminate at the earlier of (1) the expiration of the
         ten (10)-year testing period and the applicable statute of limitation, as it may be extended
         by Transmission Provider upon request of the Internal Revenue Service, to keep these
         years open for audit or adjustment, or (2) the occurrence of a subsequent taxable event
         and the payment of any related indemnification obligations as contemplated by this
         Article. Notwithstanding the foregoing provisions of this Article 3.3.1, and to the extent
         permitted by law, to the extent that the receipt of such payments by Transmission
         Provider is determined by any Governmental Authority to constitute income by
         Transmission Provider subject to taxation, Affected System Interconnection Customers
         shall protect, indemnify, and hold harmless Transmission Provider and its Affiliates, from
         all claims by any such Governmental Authority for any tax, interest, and/or penalties
         associated with such determination. Upon receiving written notification of such
         determination from the Governmental Authority, Transmission Provider shall provide
         Affected System Interconnection Customers with written notification within thirty (30)
         Calendar Days of such determination and notification. Transmission Provider, upon the
         timely written request by any one or more Affected System Interconnection Customer(s)
         and at the expense of such Affected System Interconnection Customer(s), shall appeal,
         protest, seek abatement of, or otherwise oppose such determination. Transmission
         Provider reserves the right to make all decisions with regard to the prosecution of such
         appeal, protest, abatement or other contest, including the compromise or settlement of
         the claim; provided that Transmission Provider shall cooperate and consult in good faith
         with the requesting Affected System Interconnection Customer(s) regarding the conduct
         of such contest. Affected System Interconnection Customer(s) shall not be required to
         pay Transmission Provider for the tax, interest, and/or penalties prior to the seventh
         (7th) Calendar Day before the date on which Transmission Provider (1) is required to
         pay the tax, interest, and/or penalties or other amount in lieu thereof pursuant to a
         compromise or settlement of the appeal, protest, abatement, or other contest; (2) is
         required to pay the tax, interest, and/or penalties as the result of a final, non-appealable
         order by a Governmental Authority; or (3) is required to pay the tax, interest, and/or
         penalties as a prerequisite to an appeal, protest, abatement, or other contest. In the
         event such appeal, protest, abatement, or other contest results in a determination that
         Transmission Provider is not liable for any portion of any tax, interest, and/or penalties
         for which any Affected System Interconnection Customer(s) has already made payment to
         Transmission Provider, Transmission Provider shall promptly refund to such Affected
         System Interconnection Customer(s) any payment attributable to the amount determined
         to be non-taxable, plus any interest (calculated in accordance with 18 CFR
         35.19a(a)(2)(iii)) or other payments Transmission Provider receives or to which
         Transmission Provider may be entitled with respect to such payment. Each Affected
         System Interconnection Customer shall provide Transmission Provider with credit
         assurances sufficient to meet each Affected System Interconnection Customer’s estimated
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         liability for reimbursement of Transmission Provider for taxes, interest, and/or penalties
         under this Article 3.3.1. Such estimated liability shall be stated in Appendix A.

         To the extent that Transmission Provider is a limited liability company and not a
         corporation, and has elected to be taxed as a partnership, then the following shall apply:
         Transmission Provider represents, and the Parties acknowledge, that Transmission
         Provider is a limited liability company and is treated as a partnership for federal income
         tax purposes. Any payment made by Affected System Interconnection Customers to
         Transmission Provider for Affected System Network Upgrade(s) is to be treated as an
         upfront payment. It is anticipated by the Parties that any amounts paid by each Affected
         System Interconnection Customer to Transmission Provider for Affected System Network
         Upgrade(s) will be reimbursed to such Affected System Interconnection Customer in
         accordance with the terms of this Agreement, provided such Affected System
         Interconnection Customer fulfills its obligations under this Agreement.

         3.3.2 Private Letter Ruling. At the request and expense of any Affected System
         Interconnection Customer(s), Transmission Provider shall file with the Internal Revenue
         Service a request for a private letter ruling as to whether any property transferred or
         sums paid, or to be paid, by such Affected System Interconnection Customer(s) to
         Transmission Provider under this Agreement are subject to federal income taxation.
         Each Affected System Interconnection Customer desiring such a request will prepare the
         initial draft of the request for a private letter ruling and will certify under penalties of
         perjury that all facts represented in such request are true and accurate to the best of such
         Affected System Interconnection Customer’s knowledge. Transmission Provider and
         such Affected System Interconnection Customer(s) shall cooperate in good faith with
         respect to the submission of such request.

         3.3.3 Other Taxes. Upon the timely request by any one or more Affected System
         Interconnection Customer(s), and at such Affected System Interconnection Customer(s)’
         sole expense, Transmission Provider shall appeal, protest, seek abatement of, or
         otherwise contest any tax (other than federal or state income tax) asserted or assessed
         against Transmission Provider for which such Affected System Interconnection
         Customer(s) may be required to reimburse Transmission Provider under the terms of this
         Agreement. Affected System Interconnection Customer(s) who requested the action shall
         pay to Transmission Provider on a periodic basis, as invoiced by Transmission Provider,
         Transmission Provider’s documented reasonable costs of prosecuting such appeal,
         protest, abatement, or other contest. The requesting Affected System Interconnection
         Customer(s) and Transmission Provider shall cooperate in good faith with respect to any
         such contest. Unless the payment of such taxes is a prerequisite to an appeal or
         abatement or cannot be deferred, no amount shall be payable by Affected System
         Interconnection Customer(s) to Transmission Provider for such taxes until they are
         assessed by a final, non-appealable order by any court or agency of competent
         jurisdiction. In the event that a tax payment is withheld and ultimately due and payable
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         after appeal, Affected System Interconnection Customer(s) will be responsible for all
         taxes, interest, and penalties, other than penalties attributable to any delay caused by
         Transmission Provider. Each Party shall cooperate with the other Party to maintain
         each Party’s tax status. Nothing in this Agreement is intended to adversely affect any
         Party’s tax-exempt status with respect to the issuance of bonds including, but not limited
         to, local furnishing bonds, as described in section 142(f) of the Internal Revenue Code.

                                            ARTICLE 4
                                SECURITY, BILLING, AND PAYMENTS

         4.1     Provision of Security. By the earlier of (1) thirty (30) Calendar Days prior to the
         due date for each Affected System Interconnection Customer’s first payment under the
         payment schedule specified in Appendix A, or (2) the first date specified in Appendix A
         for the ordering of equipment by Transmission Provider for installing the Affected System
         Network Upgrade(s), each Affected System Interconnection Customer shall provide
         Transmission Provider, at each Affected System Interconnection Customer's option, a
         guarantee, a surety bond, letter of credit, or other form of security that is reasonably
         acceptable to Transmission Provider. Such security for payment shall be in an amount
         sufficient to cover the costs for constructing, procuring, and installing the applicable
         portion of Affected System Network Upgrade(s) and shall be reduced on a dollar-for-
         dollar basis for payments made to Transmission Provider for these purposes.

         The guarantee must be made by an entity that meets the creditworthiness requirements of
         Transmission Provider and contain terms and conditions that guarantee payment of any
         amount that may be due from such Affected System Interconnection Customer, up to an
         agreed-to maximum amount. The letter of credit must be issued by a financial institution
         reasonably acceptable to Transmission Provider and must specify a reasonable
         expiration date. The surety bond must be issued by an insurer reasonably acceptable to
         Transmission Provider and must specify a reasonable expiration date.

         4.2    Invoice. Each Party shall submit to the other Parties, on a monthly basis,
         invoices of amounts due, if any, for the preceding month. Each invoice shall state the
         month to which the invoice applies and fully describe the services and equipment
         provided. The Parties may discharge mutual debts and payment obligations due and
         owing to each other on the same date through netting, in which case all amounts a Party
         owes to another Party under this Agreement, including interest payments, shall be netted
         so that only the net amount remaining due shall be paid by the owing Party.

         4.3    Payment. Invoices shall be rendered to the paying Party at the address specified
         by the Parties. The Party receiving the invoice shall pay the invoice within thirty (30)
         Calendar Days of receipt. All payments shall be made in immediately available funds
         payable to the other Party, or by wire transfer to a bank named and account designated
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         by the invoicing Party. Payment of invoices by a Party will not constitute a waiver of any
         rights or claims that Party may have under this Agreement.

         4.4    Final Invoice. Within six (6) months after completion of the construction of the
         Affected System Network Upgrade(s) Transmission Provider shall provide an invoice of
         the final cost of the construction of the Affected System Network Upgrade(s) and shall set
         forth such costs in sufficient detail to enable each Affected System Interconnection
         Customer to compare the actual costs with the estimates and to ascertain deviations, if
         any, from the cost estimates. Transmission Provider shall refund, with interest
         (calculated in accordance with 18 CFR 35.19a(a)(2)(iii)), to each Affected System
         Interconnection Customer any amount by which the actual payment by Affected System
         Interconnection Customer for estimated costs exceeds the actual costs of construction
         within thirty (30) Calendar Days of the issuance of such final construction invoice.

         4.5  Interest. Interest on any unpaid amounts shall be calculated in accordance with
         18 CFR 35.19a(a)(2)(iii).

         4.6    Payment During Dispute. In the event of a billing dispute among the Parties,
         Transmission Provider shall continue to construct the Affected System Network
         Upgrade(s) under this Agreement as long as each Affected System Interconnection
         Customer: (1) continues to make all payments not in dispute; and (2) pays to
         Transmission Provider or into an independent escrow account the portion of the invoice
         in dispute, pending resolution of such dispute. If any Affected System Interconnection
         Customer fails to meet these two requirements, then Transmission Provider may provide
         notice to such Affected System Interconnection Customer of a Default pursuant to Article
         5. Within thirty (30) Calendar Days after the resolution of the dispute, the Party that
         owes money to another Party shall pay the amount due with interest calculated in
         accordance with the methodology set forth in 18 CFR 35.19a(a)(2)(iii).

                                           ARTICLE 5
                                   BREACH, CURE, AND DEFAULT

         5.1    Events of Breach. A Breach of this Agreement shall include the:

         (a)    Failure to pay any amount when due;

         (b)    Failure to comply with any material term or condition of this Agreement,
         including but not limited to any material Breach of a representation, warranty, or
         covenant made in this Agreement;

         (c)    Failure of a Party to provide such access rights, or a Party’s attempt to revoke
         access or terminate such access rights, as provided under this Agreement; or
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         (d)    Failure of a Party to provide information or data to another Party as required
         under this Agreement, provided the Party entitled to the information or data under this
         Agreement requires such information or data to satisfy its obligations under this
         Agreement.

         5.2 Definition. Breaching Party shall mean the Party that is in Breach.

         5.3 Notice of Breach, Cure, and Default. Upon the occurrence of an event of Breach,
         any Party aggrieved by the Breach, when it becomes aware of the Breach, shall give
         written notice of the Breach to the Breaching Party and to any other person representing
         a Party to this Agreement identified in writing to the other Party in advance. Such notice
         shall set forth, in reasonable detail, the nature of the Breach, and where known and
         applicable, the steps necessary to cure such Breach.

         5.2.1 Upon receiving written notice of the Breach hereunder, the Breaching Party shall
         have a period to cure such Breach (hereinafter referred to as the “Cure Period”) which
         shall be sixty (60) Calendar Days. If an Affected System Interconnection Customer is the
         Breaching Party and the Breach results from a failure to provide payments or security
         under Article 4.1 of this Agreement, the other Affected System Interconnection
         Customers, either individually or in concert, may cure the Breach by paying the amounts
         owed or by providing adequate security, without waiver of contribution rights against the
         breaching Affected System Interconnection Customer. Such cure for the Breach of an
         Affected System Interconnection Customer is subject to the reasonable consent of
         Transmission Provider. Transmission Provider may also cure such Breach by funding
         the proportionate share of the Affected System Network Upgrade costs related to the
         Breach of Affected System Interconnection Customer. Transmission Provider must notify
         all Parties that it will exercise this option within thirty (30) Calendar Days of notification
         that an Affected System Interconnection Customer has failed to provide payments or
         security under Article 4.1.

         5.2.2 In the event the Breach is not cured within the Cure Period, the Breaching Party
         will be in Default of this Agreement, and the non-Defaulting Parties may (1) act in
         concert to amend the Agreement to remove an Affected System Interconnection Customer
         that is in Default from this Agreement for cause and to make other changes as necessary,
         or (2) either in concert or individually take whatever action at law or in equity as may
         appear necessary or desirable to enforce the performance or observance of any rights,
         remedies, obligations, agreement, or covenants under this Agreement.

         5.3   Rights in the Event of Default. Notwithstanding the foregoing, upon the
         occurrence of Default, the non-Defaulting Parties shall be entitled to exercise all rights
         and remedies it may have in equity or at law.
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                                           ARTICLE 6
                                   TERMINATION OF AGREEMENT

         6.1    Expiration of Term. Except as otherwise specified in this Article 6, the Parties’
         obligations under this Agreement shall terminate at the conclusion of the term of this
         Agreement.

         6.2    Termination and Removal. Subject to the limitations set forth in Article 6.3, in
         the event of a Default, termination of this Agreement, as to a given Affected System
         Interconnection Customer or in its entirety, shall require a filing at FERC of a notice of
         termination, which filing must be accepted for filing by FERC.

         6.3    Disposition of Facilities Upon Termination of Agreement.

         6.3.1 Transmission Provider Obligations. Upon termination of this Agreement, unless
         otherwise agreed to by the Parties in writing, Transmission Provider:

         (a)    shall, prior to the construction and installation of any portion of the Affected
         System Network Upgrade(s) and to the extent possible, cancel any pending orders of, or
         return, such equipment or material for such Affected System Network Upgrade(s);

         (b)    may keep in place any portion of the Affected System Network Upgrade(s) already
         constructed and installed; and,

         (c)     shall perform such work as may be necessary to ensure the safety of persons and
         property and to preserve the integrity of Transmission Provider’s Transmission System
         (e.g., construction demobilization to return the system to its original state, wind-up
         work).

         6.3.2 Affected System Interconnection Customer Obligations. Upon billing by
         Transmission Provider, each Affected System Interconnection Customer shall reimburse
         Transmission Provider for its share of any costs incurred by Transmission Provider in
         performance of the actions required or permitted by Article 6.3.1 and for its share of the
         cost of any Affected System Network Upgrade(s) described in Appendix A. Transmission
         Provider shall use Reasonable Efforts to minimize costs and shall offset the amounts
         owed by any salvage value of facilities, if applicable. Each Affected System
         Interconnection Customer shall pay these costs pursuant to Article 4.3 of this Agreement.

         6.3.3 Pre-construction or Installation. Upon termination of this Agreement and prior
         to the construction and installation of any portion of the Affected System Network
         Upgrade(s), Transmission Provider may, at its option, retain any portion of such Affected
         System Network Upgrade(s) not cancelled or returned in accordance with
         Article 6.3.1(a), in which case Transmission Provider shall be responsible for all costs
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         associated with procuring such Affected System Network Upgrade(s). To the extent that
         an Affected System Interconnection Customer has already paid Transmission Provider
         for any or all of such costs, Transmission Provider shall refund Affected System
         Interconnection Customer for those payments. If Transmission Provider elects to not
         retain any portion of such facilities, and one or more of Affected System Interconnection
         Customers wish to purchase such facilities, Transmission Provider shall convey and
         make available to the applicable Affected System Interconnection Customer(s) such
         facilities as soon as practicable after Affected System Interconnection Customer(s)’
         payment for such facilities.

         6.4    Survival of Rights. Termination or expiration of this Agreement shall not relieve
         any Party of any of its liabilities and obligations arising hereunder prior to the date
         termination becomes effective, and each Party may take whatever judicial or
         administrative actions as appear necessary or desirable to enforce its rights hereunder.
         The applicable provisions of this Agreement will continue in effect after expiration, or
         early termination hereof, to the extent necessary to provide for (1) final billings, billing
         adjustments, and other billing procedures set forth in this Agreement; (2) the
         determination and enforcement of liability and indemnification obligations arising from
         acts or events that occurred while this Agreement was in effect; and (3) the
         confidentiality provisions set forth in Article 8.

                                              ARTICLE 7
                                           SUBCONTRACTORS

         7.1    Subcontractors. Nothing in this Agreement shall prevent a Party from utilizing
         the services of subcontractors, as it deems appropriate, to perform its obligations under
         this Agreement; provided, however, that each Party shall require its subcontractors to
         comply with all applicable terms and conditions of this Agreement in providing such
         services, and each Party shall remain primarily liable to the other Parties for the
         performance of such subcontractor.

         7.1.1 Responsibility of Principal. The creation of any subcontract relationship shall
         not relieve the hiring Party of any of its obligations under this Agreement. In accordance
         with the provisions of this Agreement, each Party shall be fully responsible to the other
         Parties for the acts or omissions of any subcontractor it hires as if no subcontract had
         been made. Any applicable obligation imposed by this Agreement upon a Party shall be
         equally binding upon, and shall be construed as having application to, any subcontractor
         of such Party.

         7.1.2 No Third-Party Beneficiary. Except as may be specifically set forth to the
         contrary herein, no subcontractor or any other party is intended to be, nor will it be
         deemed to be, a third-party beneficiary of this Agreement.
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         7.1.3 No Limitation by Insurance. The obligations under this Article 7 will not be
         limited in any way by any limitation of any insurance policies or coverages, including
         any subcontractor’s insurance.

                                              ARTICLE 8
                                           CONFIDENTIALITY

         8.1    Confidentiality. Confidential Information shall include, without limitation, all
         information relating to a Party’s technology, research and development, business affairs,
         and pricing, and any information supplied to the other Parties prior to the execution of
         this Agreement.

         Information is Confidential Information only if it is clearly designated or marked in
         writing as confidential on the face of the document, or, if the information is conveyed
         orally or by inspection, if the Party providing the information orally informs the Party
         receiving the information that the information is confidential. The Parties shall maintain
         as confidential any information that is provided and identified by a Party as Critical
         Energy Infrastructure Information (CEII), as that term is defined in 18 CFR 388.113(c).

         Such confidentiality will be maintained in accordance with this Article 8. If requested by
         the receiving Party, the disclosing Party shall provide in writing, the basis for asserting
         that the information referred to in this Article warrants confidential treatment, and the
         requesting Party may disclose such writing to the appropriate Governmental Authority.
         Each Party shall be responsible for the costs associated with affording confidential
         treatment to its information.

         8.1.1 Term. During the term of this Agreement, and for a period of three (3) years after
         the expiration or termination of this Agreement, except as otherwise provided in this
         Article 8 or with regard to CEII, each Party shall hold in confidence and shall not
         disclose to any person Confidential Information. CEII shall be treated in accordance
         with FERC policies and regulations.

         8.1.2 Scope. Confidential Information shall not include information that the receiving
         Party can demonstrate: (1) is generally available to the public other than as a result of a
         disclosure by the receiving Party; (2) was in the lawful possession of the receiving Party
         on a non-confidential basis before receiving it from the disclosing Party; (3) was
         supplied to the receiving Party without restriction by a non-Party, who, to the knowledge
         of the receiving Party after due inquiry, was under no obligation to the disclosing Party
         to keep such information confidential; (4) was independently developed by the receiving
         Party without reference to Confidential Information of the disclosing Party; (5) is, or
         becomes, publicly known, through no wrongful act or omission of the receiving Party or
         Breach of this Agreement; or (6) is required, in accordance with Article 8.1.6 of this
         Agreement, to be disclosed by any Governmental Authority or is otherwise required to be
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         disclosed by law or subpoena, or is necessary in any legal proceeding establishing rights
         and obligations under this Agreement. Information designated as Confidential
         Information will no longer be deemed confidential if the Party that designated the
         information as confidential notifies the receiving Party that it no longer is confidential.

         8.1.3 Release of Confidential Information. No Party shall release or disclose
         Confidential Information to any other person, except to its Affiliates (limited by the
         Standards of Conduct requirements), subcontractors, employees, agents, consultants, or
         to non-Parties that may be or are considering providing financing to or equity
         participation with Affected System Interconnection Customer(s), or to potential
         purchasers or assignees of Affected System Interconnection Customer(s), on a need-to-
         know basis in connection with this Agreement, unless such person has first been advised
         of the confidentiality provisions of this Article 8 and has agreed to comply with such
         provisions. Notwithstanding the foregoing, a Party providing Confidential Information
         to any person shall remain primarily responsible for any release of Confidential
         Information in contravention of this Article 8.

         8.1.4 Rights. Each Party shall retain all rights, title, and interest in the Confidential
         Information that it discloses to the receiving Party. The disclosure by a Party to the
         receiving Party of Confidential Information shall not be deemed a waiver by the
         disclosing Party or any other person or entity of the right to protect the Confidential
         Information from public disclosure.

         8.1.5 Standard of Care. Each Party shall use at least the same standard of care to
         protect Confidential Information it receives as it uses to protect its own Confidential
         Information from unauthorized disclosure, publication, or dissemination. Each Party
         may use Confidential Information solely to fulfill its obligations to the other Party under
         this Agreement or its regulatory requirements.

         8.1.6 Order of Disclosure. If a court or a Government Authority or entity with the
         right, power, and apparent authority to do so requests or requires any Party, by
         subpoena, oral deposition, interrogatories, requests for production of documents,
         administrative order, or otherwise, to disclose Confidential Information, that Party shall
         provide the disclosing Party with prompt notice of such request(s) or requirement(s) so
         that the disclosing Party may seek an appropriate protective order or waive compliance
         with the terms of this Agreement. Notwithstanding the absence of a protective order or
         waiver, the Party may disclose such Confidential Information which, in the opinion of its
         counsel, the Party is legally compelled to disclose. Each Party will use Reasonable
         Efforts to obtain reliable assurance that confidential treatment will be accorded any
         Confidential Information so furnished.

         8.1.7 Termination of Agreement. Upon termination of this Agreement for any reason,
         each Party shall, within ten (10) Business Days of receipt of a written request from the
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         other Party, use Reasonable Efforts to destroy, erase, or delete (with such destruction,
         erasure, and deletion certified in writing to the requesting Party) or return to the
         requesting Party any and all written or electronic Confidential Information received from
         the requesting Party, except that each Party may keep one copy for archival purposes,
         provided that the obligation to treat it as Confidential Information in accordance with
         this Article 8 shall survive such termination.

         8.1.8 Remedies. The Parties agree that monetary damages would be inadequate to
         compensate a Party for another Party’s Breach of its obligations under this Article 8.
         Each Party accordingly agrees that the disclosing Party shall be entitled to equitable
         relief, by way of injunction or otherwise, if the receiving Party Breaches or threatens to
         Breach its obligations under this Article 8, which equitable relief shall be granted
         without bond or proof of damages, and the Breaching Party shall not plead in defense
         that there would be an adequate remedy at law. Such remedy shall not be deemed an
         exclusive remedy for the Breach of this Article 8, but it shall be in addition to all other
         remedies available at law or in equity. The Parties further acknowledge and agree that
         the covenants contained herein are necessary for the protection of legitimate business
         interests and are reasonable in scope. No Party, however, shall be liable for indirect,
         incidental, or consequential or punitive damages of any nature or kind resulting from or
         arising in connection with this Article 8.

         8.1.9 Disclosure to FERC, its Staff, or a State Regulatory Body. Notwithstanding
         anything in this Article 8 to the contrary, and pursuant to 18 CFR 1b.20, if FERC or its
         staff, during the course of an investigation or otherwise, requests information from a
         Party that is otherwise required to be maintained in confidence pursuant to this
         Agreement, the Party shall provide the requested information to FERC or its staff, within
         the time provided for in the request for information. In providing the information to
         FERC or its staff, the Party must, consistent with 18 CFR 388.112, request that the
         information be treated as confidential and non-public by FERC and its staff and that the
         information be withheld from public disclosure. Parties are prohibited from notifying the
         other Parties to this Agreement prior to the release of the Confidential Information to
         FERC or its staff. The Party shall notify the other Parties to the Agreement when it is
         notified by FERC or its staff that a request to release Confidential Information has been
         received by FERC, at which time either of the Parties may respond before such
         information would be made public, pursuant to 18 CFR 388.112. Requests from a state
         regulatory body conducting a confidential investigation shall be treated in a similar
         manner if consistent with the applicable state rules and regulations.

         8.1.10 Subject to the exception in Article 8.1.9, any information that a disclosing Party
         claims is competitively sensitive, commercial, or financial information under this
         Agreement shall not be disclosed by the receiving Party to any person not employed or
         retained by the receiving Party, except to the extent disclosure is (1) required by law; (2)
         reasonably deemed by the disclosing Party to be required to be disclosed in connection
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         with a dispute between or among the Parties, or the defense of litigation or dispute;
         (3) otherwise permitted by consent of the disclosing Party, such consent not to be
         unreasonably withheld; or (4) necessary to fulfill its obligations under this Agreement or
         as Transmission Provider or a balancing authority, including disclosing the Confidential
         Information to a regional or national reliability organization. The Party asserting
         confidentiality shall notify the receiving Party in writing of the information that Party
         claims is confidential. Prior to any disclosures of that Party’s Confidential Information
         under this subparagraph, or if any non-Party or Governmental Authority makes any
         request or demand for any of the information described in this subparagraph, the Party
         that received the Confidential Information from the disclosing Party agrees to promptly
         notify the disclosing Party in writing and agrees to assert confidentiality and cooperate
         with the disclosing Party in seeking to protect the Confidential Information from public
         disclosure by confidentiality agreement, protective order, or other reasonable measures.

                                         ARTICLE 9
                            INFORMATION ACCESS AND AUDIT RIGHTS

         9.1    Information Access. Each Party shall make available to the other Parties
         information necessary to verify the costs incurred by the other Parties for which the
         requesting Party is responsible under this Agreement and carry out obligations and
         responsibilities under this Agreement, provided that the Parties shall not use such
         information for purposes other than those set forth in this Article 9.1 and to enforce their
         rights under this Agreement.

         9.2    Audit Rights. Subject to the requirements of confidentiality under Article 8 of this
         Agreement, the accounts and records related to the design, engineering, procurement,
         and construction of the Affected System Network Upgrade(s) shall be subject to audit
         during the period of this Agreement and for a period of twenty-four (24) months
         following Transmission Provider’s issuance of a final invoice in accordance with
         Article 4.4. Affected System Interconnection Customers may, jointly or individually, at
         the expense of the requesting Party(ies), during normal business hours, and upon prior
         reasonable notice to Transmission Provider, audit such accounts and records. Any audit
         authorized by this Article 9.2 shall be performed at the offices where such accounts and
         records are maintained and shall be limited to those portions of such accounts and
         records that relate to obligations under this Agreement.

                                                ARTICLE 10
                                                 NOTICES

         10.1 General. Any notice, demand, or request required or permitted to be given by a
         Party to the other Parties, and any instrument required or permitted to be tendered or
         delivered by a Party in writing to another Party, may be so given, tendered, or delivered,
         as the case may be, by depositing the same with the United States Postal Service with
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         postage prepaid, for transmission by certified or registered mail, addressed to the
         Parties, or personally delivered to the Parties, at the address set out below:

         To Transmission Provider:



         To Affected System Interconnection Customers:



         10.2 Billings and Payments. Billings and payments shall be sent to the addresses
         shown in Article 10.1 unless otherwise agreed to by the Parties.

         10.3 Alternative Forms of Notice. Any notice or request required or permitted to be
         given by a Party to the other Parties and not required by this Agreement to be given in
         writing may be so given by telephone, facsimile, or email to the telephone numbers and
         email addresses set out below:

         To Transmission Provider:



         To Affected System Interconnection Customers:



         10.4 Execution and Filing. Affected System Interconnection Customers shall either:
         (i) execute two originals of this tendered Agreement and return them to Transmission
         Provider; or (ii) request in writing that Transmission Provider file with FERC this
         Agreement in unexecuted form. As soon as practicable, but not later than ten (10)
         Business Days after receiving either the two executed originals of this tendered
         Agreement (if it does not conform with a FERC-approved standard form of this
         Agreement) or the request to file this Agreement unexecuted, Transmission Provider shall
         file this Agreement with FERC, together with its explanation of any matters as to which
         Affected System Interconnection Customers and Transmission Provider disagree and
         support for the costs that Transmission Provider proposes to charge to Affected System
         Interconnection Customers under this Agreement. An unexecuted version of this
         Agreement should contain terms and conditions deemed appropriate by Transmission
         Provider for the Affected System Interconnection Customers’ generating facilities. If the
         Parties agree to proceed with design, procurement, and construction of facilities and
         upgrades under the agreed-upon terms of the unexecuted version of this Agreement, they
         may proceed pending FERC action.
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                                              ARTICLE 11
                                            MISCELLANEOUS

         11.1 This Agreement shall include standard miscellaneous terms including, but not
         limited to, indemnities, representations, disclaimers, warranties, governing law,
         amendment, execution, waiver, enforceability, and assignment, which reflect best
         practices in the electric industry, that are consistent with regional practices, Applicable
         Laws and Regulations, and the organizational nature of each Party. All of these
         provisions, to the extent practicable, shall be consistent with the provisions of this LGIP.


                                         [Signature Page to Follow]
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         IN WITNESS WHEREOF, the Parties have executed this Agreement in multiple
         originals, each of which shall constitute and be an original Agreement among the
         Parties.


         Transmission Provider
         {Transmission Provider}
         By:
         Name:
         Title:


          Affected System Interconnection Customer
         {Affected System Interconnection Customer}
         By:
         Name:
         Title:


                                            Project No. ____

          Affected System Interconnection Customer
         {Affected System Interconnection Customer}
         By:
         Name:
         Title:


                                            Project No. ____
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                                                                  Attachment A to Appendix 12
                                  Multiparty Affected System Facilities Construction Agreement

            AFFECTED SYSTEM NETWORK UPGRADE(S), COST ESTIMATES AND
          RESPONSIBILITY, CONSTRUCTION SCHEDULE, AND MONTHLY PAYMENT
                                   SCHEDULE

         This Appendix A is a part of the Multiparty Affected System Facilities Construction
         Agreement between Affected System Interconnection Customers and Transmission
         Provider.

         1.1   Affected System Network Upgrade(s) to be installed by Transmission Provider.

         {description}


         1.2   First Equipment Order (including permitting).

         {description}


         1.2.1. Permitting and Land Rights – Transmission Provider Affected System Network
         Upgrade(s)

         {description}

         1.3   Construction Schedule. Where applicable, construction of the Affected System
         Network Upgrade(s) is scheduled as follows and will be periodically updated as
         necessary:

         Table 3: Transmission Provider Construction Activities
          MILESTONE                            START END
                           DESCRIPTION
           NUMBER                               DATE DATE
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         Note: Construction schedule assumes that Transmission Provider has obtained final
         authorizations and security from Affected System Interconnection Customers and all
         necessary permits from Governmental Authorities as necessary prerequisites to
         commence construction of any of the Affected System Network Upgrade(s).

         1.4   Payment Schedule.

         1.4.1 Timing of and Adjustments to Affected System Interconnection Customers’
         Payments and Security.
         {description}


         1.4.2 Monthly Payment Schedule. Affected System Interconnection Customers’
         payment schedule is as follows.

         {description}


         Table 4: Affected System Interconnection Customers’ Payment/Security Obligations
         for Affected System Network Upgrade(s).

          MILESTONE
                            DESCRIPTION         DATE
           NUMBER




         * Affected System Interconnection Customers’ proportionate responsibility for each
         payment is as follows:
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         Affected System Interconnection Customer 1 ___._%
         Affected System Interconnection Customer 2 ___._%
         Affected System Interconnection Customer N ___._%

         Note: Affected System Interconnection Customers’ payment or provision of security as
         provided in this Agreement operates as a condition precedent to Transmission Provider’s
         obligations to construct any Affected System Network Upgrade(s), and failure to meet
         this schedule will constitute a Breach pursuant to Article 5.1 of this Agreement.




         1.5      Permits, Licenses, and Authorizations.

         {description}



                                                                    Attachment B to Appendix 12
                                    Multiparty Affected System Facilities Construction Agreement

                          NOTIFICATION OF COMPLETED CONSTRUCTION

         This Appendix B is a part of the Multiparty Affected System Facilities Construction
         Agreement among Affected System Interconnection Customers and Transmission
         Provider. Where applicable, when Transmission Provider has completed construction of
         the Affected System Network Upgrade(s), Transmission Provider shall send notice to
         Affected System Interconnection Customers in substantially the form following:

         {Date}

         {Affected System Interconnection Customers Addresses}

         Re:      Completion of Affected System Network Upgrade(s)

         Dear {Name or Title}:

         This letter is sent pursuant to the Multiparty Affected System Facilities Construction
         Agreement among {Transmission Provider} and {Affected System Interconnection
         Customers}, dated ____________, 20___.

         On {Date}, Transmission Provider completed to its satisfaction all work on the Affected
         System Network Upgrade(s) required to facilitate the safe and reliable interconnection
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         and operation of Affected System Interconnection Customer’s generating facilities.
         Transmission Provider confirms that the Affected System Network Upgrade(s) are in
         place.

         Thank you.

          {Signature}
         {Transmission Provider Representative}
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                                                                  Attachment C to Appendix 12
                                  Multiparty Affected System Facilities Construction Agreement

                                                  EXHIBITS

           This Appendix C is a part of the Multiparty Affected System Facilities Construction
            Agreement among Affected System Interconnection Customers and Transmission
                                                Provider.

                                              Exhibit A1
                                    Transmission Provider Site Map

                                                  Exhibit A2
                                                   Site Plan

                                              Exhibit A3
                           Affected System Network Upgrade(s) Plan & Profile

                                              Exhibit A4
                        Estimated Cost of Affected System Network Upgrade(s)


                               Facilities to Be
                               Constructed by        Estimate
                               Transmission             in
                Location         Provider            Dollars

                                     Total:
         ________________________________________________________________________
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                                         Appendix D: Pro forma LGIA


         Note: Deletions are in brackets and additions are in italics.


            STANDARD LARGE GENERATOR INTERCONNECTION AGREEMENT



                THIS STANDARD LARGE GENERATOR INTERCONNECTION
         AGREEMENT ("Agreement") is made and entered into this ____ day of ___________
         20__, by and between _______________________, a ____________________________
         organized and existing under the laws of the State/Commonwealth of ________________
         ("Interconnection Customer" with a Large Generating Facility), and
         __________________________________________, a ___________________________
         organized and existing under the laws of the State/Commonwealth of ________________
         ("Transmission Provider and/or Transmission Owner"). Interconnection Customer and
         Transmission Provider each may be referred to as a "Party" or collectively as the
         "Parties."


                                                   Recitals

                WHEREAS, Transmission Provider operates the Transmission System; and

                WHEREAS, Interconnection Customer intends to own, lease and/or control and
         operate the Generating Facility identified as a Large Generating Facility in Appendix C to
         this Agreement; and,

                 WHEREAS, Interconnection Customer and Transmission Provider have agreed to
         enter into this Agreement for the purpose of interconnecting the Large Generating Facility
         with the Transmission System;

                NOW, THEREFORE, in consideration of and subject to the mutual covenants
         contained herein, it is agreed:


                When used in this Standard Large Generator Interconnection Agreement, terms
         with initial capitalization that are not defined in Article 1 shall have the meanings
         specified in the Article in which they are used or the Open Access Transmission Tariff
         (Tariff).
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         Article 1.    Definitions

                Adverse System Impact shall mean the negative effects due to technical or
         operational limits on conductors or equipment being exceeded that may compromise the
         safety and reliability of the electric system.

               Affected System shall mean an electric system other than [the] Transmission
         Provider's Transmission System that may be affected by the proposed interconnection.

               Affected System Operator shall mean the entity that operates an Affected
         System.

                Affiliate shall mean, with respect to a corporation, partnership or other entity,
         each such other corporation, partnership or other entity that directly or indirectly, through
         one or more intermediaries, controls, is controlled by, or is under common control with,
         such corporation, partnership or other entity.

                 Ancillary Services shall mean those services that are necessary to support the
         transmission of capacity and energy from resources to loads while maintaining reliable
         operation of the Transmission Provider's Transmission System in accordance with Good
         Utility Practice.

                Applicable Laws and Regulations shall mean all duly promulgated applicable
         federal, state and local laws, regulations, rules, ordinances, codes, decrees, judgments,
         directives, or judicial or administrative orders, permits and other duly authorized actions
         of any Governmental Authority.

                [Applicable Reliability Council shall mean the reliability council applicable to
         the Transmission System to which the Generating Facility is directly interconnected.]

               Applicable Reliability Standards shall mean the requirements and guidelines of
         [NERC,]the [Applicable Reliability Council]Electric Reliability Organization and the
         [Control Area]Balancing Authority Area of the Transmission System to which the
         Generating Facility is directly interconnected.

                Balancing Authority shall mean an entity that integrates resource plans ahead of
         time, maintains demand and resource balance within a Balancing Authority Area, and
         supports interconnection frequency in real time.

               Balancing Authority Area shall mean the collection of generation, transmission,
         and loads within the metered boundaries of the Balancing Authority. The Balancing
         Authority maintains load-resource balance within this area.
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                Base Case shall mean the base case power flow, short circuit, and stability data
         bases used for the Interconnection Studies by [the] Transmission Provider or
         Interconnection Customer.

               Breach shall mean the failure of a Party to perform or observe any material term
         or condition of the Standard Large Generator Interconnection Agreement.

               Breaching Party shall mean a Party that is in Breach of the Standard Large
         Generator Interconnection Agreement.

                Business Day shall mean Monday through Friday, excluding Federal Holidays.

               Calendar Day shall mean any day including Saturday, Sunday or a Federal
         Holiday.

                Cluster shall mean a group of one or more Interconnection Requests that are
         studied together for the purpose of conducting a Cluster Study.

                Cluster Restudy shall mean a restudy of a Cluster Study conducted pursuant to
         Section 7.5 of the LGIP.

                Cluster Study shall mean the evaluation of one or more Interconnection Requests
         within a Cluster as described in Section 7 of the LGIP.

                Clustering shall mean the process whereby one or more [a group
         of]Interconnection Requests [is] are studied together, instead of serially, [for the purpose
         of conducting the Interconnection System Impact Study]as described in Section 7 of the
         LGIP.

               Commercial Operation shall mean the status of a Generating Facility that has
         commenced generating electricity for sale, excluding electricity generated during Trial
         Operation.

               Commercial Operation Date of a unit shall mean the date on which the
         Generating Facility commences Commercial Operation as agreed to by the Parties
         pursuant to Appendix E to the Standard Large Generator Interconnection Agreement.

                 Confidential Information shall mean any confidential, proprietary or trade secret
         information of a plan, specification, pattern, procedure, design, device, list, concept,
         policy or compilation relating to the present or planned business of a Party, which is
         designated as confidential by the Party supplying the information, whether conveyed
         orally, electronically, in writing, through inspection, or otherwise.
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                Contingent Facilities shall mean those unbuilt Interconnection Facilities and
         Network Upgrades upon which the Interconnection Request’s costs, timing, and study
         findings are dependent, and if delayed or not built, could cause a need for restudies of the
         Interconnection Request or a reassessment of the Interconnection Facilities and/or
         Network Upgrades and/or costs and timing.

                 [Control Area shall mean an electrical system or systems bounded by
         interconnection metering and telemetry, capable of controlling generation to maintain its
         interchange schedule with other Control Areas and contributing to frequency regulation
         of the interconnection. A Control Area must be certified by an Applicable Reliability
         Council.]

               Default shall mean the failure of a Breaching Party to cure its Breach in
         accordance with Article 17 of the Standard Large Generator Interconnection Agreement.

                Dispute Resolution shall mean the procedure for resolution of a dispute between
         the Parties in which they will first attempt to resolve the dispute on an informal basis.

                Distribution System shall mean the Transmission Provider's facilities and
         equipment used to transmit electricity to ultimate usage points such as homes and
         industries directly from nearby generators or from interchanges with higher voltage
         transmission networks which transport bulk power over longer distances. The voltage
         levels at which distribution systems operate differ among areas.

                 Distribution Upgrades shall mean the additions, modifications, and upgrades to
         the Transmission Provider's Distribution System at or beyond the Point of
         Interconnection to facilitate interconnection of the Generating Facility and render the
         transmission service necessary to effect Interconnection Customer's wholesale sale of
         electricity in interstate commerce. Distribution Upgrades do not include Interconnection
         Facilities.

                Effective Date shall mean the date on which the Standard Large Generator
         Interconnection Agreement becomes effective upon execution by the Parties subject to
         acceptance by FERC, or if filed unexecuted, upon the date specified by FERC.

                Electric Reliability Organization shall mean the North American
         Electric Reliability Corporation or its successor organization.

                 Emergency Condition shall mean a condition or situation: (1) that in the
         judgment of the Party making the claim is imminently likely to endanger life or property;
         or (2) that, in the case of a Transmission Provider, is imminently likely (as determined in
         a non-discriminatory manner) to cause a material adverse effect on the security of, or
         damage to Transmission Provider's Transmission System, Transmission Provider's
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         Interconnection Facilities or the electric systems of others to which the Transmission
         Provider's Transmission System is directly connected; or (3) that, in the case of
         Interconnection Customer, is imminently likely (as determined in a non-discriminatory
         manner) to cause a material adverse effect on the security of, or damage to, the
         Generating Facility or Interconnection Customer's Interconnection Facilities. System
         restoration and black start shall be considered Emergency Conditions; provided, that
         Interconnection Customer is not obligated by the Standard Large Generator
         Interconnection Agreement to possess black start capability.

                 Energy Resource Interconnection Service shall mean an Interconnection Service
         that allows the Interconnection Customer to connect its Generating Facility to the
         Transmission Provider's Transmission System to be eligible to deliver the Generating
         Facility's electric output using the existing firm or nonfirm capacity of the Transmission
         Provider's Transmission System on an as available basis. Energy Resource
         Interconnection Service in and of itself does not convey transmission service.

                Engineering & Procurement (E&P) Agreement shall mean an agreement that
         authorizes the Transmission Provider to begin engineering and procurement of long lead-
         time items necessary for the establishment of the interconnection in order to advance the
         implementation of the Interconnection Request.

                Environmental Law shall mean Applicable Laws or Regulations relating to
         pollution or protection of the environment or natural resources.

               Federal Power Act shall mean the Federal Power Act, as amended, 16 U.S.C. §§
         791a et seq.

                 FERC shall mean the Federal Energy Regulatory Commission (Commission) or
         its successor.

                Force Majeure shall mean any act of God, labor disturbance, act of the public
         enemy, war, insurrection, riot, fire, storm or flood, explosion, breakage or accident to
         machinery or equipment, any order, regulation or restriction imposed by governmental,
         military or lawfully established civilian authorities, or any other cause beyond a Party's
         control. A Force Majeure event does not include acts of negligence or intentional
         wrongdoing by the Party claiming Force Majeure.

                Generating Facility shall mean Interconnection Customer’s [device] device(s) for
         the production and/or storage for later injection of electricity identified in the
         Interconnection Request, but shall not include [the]Interconnection Customer's
         Interconnection Facilities.
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                Generating Facility Capacity shall mean the net capacity of the Generating
         Facility [and] or the aggregate net capacity of the Generating Facility where it includes
         [multiple energy production devices] more than one device for the production and/or
         storage for later injection of electricity.

                Good Utility Practice shall mean any of the practices, methods and acts engaged
         in or approved by a significant portion of the electric industry during the relevant time
         period, or any of the practices, methods and acts which, in the exercise of reasonable
         judgment in light of the facts known at the time the decision was made, could have been
         expected to accomplish the desired result at a reasonable cost consistent with good
         business practices, reliability, safety and expedition. Good Utility Practice is not
         intended to be limited to the optimum practice, method, or act to the exclusion of all
         others, but rather to be acceptable practices, methods, or acts generally accepted in the
         region.

                Governmental Authority shall mean any federal, state, local or other
         governmental regulatory or administrative agency, court, commission, department, board,
         or other governmental subdivision, legislature, rulemaking board, tribunal, or other
         governmental authority having jurisdiction over the Parties, their respective facilities, or
         the respective services they provide, and exercising or entitled to exercise any
         administrative, executive, police, or taxing authority or power; provided, however, that
         such term does not include Interconnection Customer, Transmission Provider, or any
         Affiliate thereof.

                 Hazardous Substances shall mean any chemicals, materials or substances defined
         as or included in the definition of "hazardous substances," "hazardous wastes,"
         "hazardous materials," "hazardous constituents," "restricted hazardous materials,"
         "extremely hazardous substances," "toxic substances," "radioactive substances,"
         "contaminants," "pollutants," "toxic pollutants" or words of similar meaning and
         regulatory effect under any applicable Environmental Law, or any other chemical,
         material or substance, exposure to which is prohibited, limited or regulated by any
         applicable Environmental Law.

                Initial Synchronization Date shall mean the date upon which the Generating
         Facility is initially synchronized and upon which Trial Operation begins.

                In-Service Date shall mean the date upon which the Interconnection Customer
         reasonably expects it will be ready to begin use of the Transmission Provider's
         Interconnection Facilities to obtain back feed power.

               Interconnection Customer shall mean any entity, including the Transmission
         Provider, Transmission Owner or any of the Affiliates or subsidiaries of either, that
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         proposes to interconnect its Generating Facility with the Transmission Provider's
         Transmission System.

                 Interconnection Customer's Interconnection Facilities shall mean all facilities
         and equipment, as identified in Appendix A of the Standard Large Generator
         Interconnection Agreement, that are located between the Generating Facility and the
         Point of Change of Ownership, including any modification, addition, or upgrades to such
         facilities and equipment necessary to physically and electrically interconnect the
         Generating Facility to the Transmission Provider's Transmission System.
         Interconnection Customer's Interconnection Facilities are sole use facilities.

                Interconnection Facilities shall mean [the]Transmission Provider’s
         Interconnection Facilities and [the]Interconnection Customer’s Interconnection Facilities.
         Collectively, Interconnection Facilities include all facilities and equipment between the
         Generating Facility and the Point of Interconnection, including any modification,
         additions or upgrades that are necessary to physically and electrically interconnect the
         Generating Facility to [the]Transmission Provider's Transmission System.
         Interconnection Facilities are sole use facilities and shall not include Distribution
         Upgrades, Stand Alone Network Upgrades or Network Upgrades.

                 Interconnection Facilities Study shall mean a study conducted by
         [the]Transmission Provider or a third party consultant for [the]Interconnection Customer
         to determine a list of facilities (including Transmission Provider’s Interconnection
         Facilities and Network Upgrades as identified in the [Interconnection System
         Impact]Cluster Study), the cost of those facilities, and the time required to interconnect
         the Generating Facility with [the] Transmission Provider’s Transmission System. The
         scope of the study is defined in Section 8 of the LGIP[the Standard Large Generator
         Interconnection Procedures].

                Interconnection Facilities Study Agreement shall mean the form of agreement
         contained in Appendix 3[4] of the Standard Large Generator Interconnection Procedures
         for conducting the Interconnection Facilities Study.

               [Interconnection Feasibility Study shall mean a preliminary evaluation of the
         system impact and cost of interconnecting the Generating Facility to the Transmission
         Provider’s Transmission System, the scope of which is described in Section 6 of the
         Standard Large Generator Interconnection Procedures.]

               [Interconnection Feasibility Study Agreement shall mean the form of
         agreement contained in Appendix 2 of the Standard Large Generator Interconnection
         Procedures for conducting the Interconnection Feasibility Study.]
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                Interconnection Request shall mean an Interconnection Customer's request, in
         the form of Appendix 1 to the LGIP [the Standard Large Generator Interconnection
         Procedures], in accordance with the Tariff, to interconnect a new Generating Facility, or
         to increase the capacity of, or make a Material Modification to the operating
         characteristics of, an existing Generating Facility that is interconnected with the
         Transmission Provider's Transmission System.

                 Interconnection Service shall mean the service provided by the Transmission
         Provider associated with interconnecting the Interconnection Customer's Generating
         Facility to the Transmission Provider's Transmission System and enabling it to receive
         electric energy and capacity from the Generating Facility at the Point of Interconnection,
         pursuant to the terms of the Standard Large Generator Interconnection Agreement and, if
         applicable, the Transmission Provider's Tariff.

                Interconnection Study shall mean any of the following studies: [the
         Interconnection Feasibility Study, the Interconnection System Impact Study,] the Cluster
         Study, the Cluster Restudy, the Surplus Interconnection Service System Impact Study, and
         the Interconnection Facilities Study, described in the LGIP [the Standard Large Generator
         Interconnection Procedures].

                [Interconnection System Impact Study shall mean an engineering study that
         evaluates the impact of the proposed interconnection on the safety and reliability of
         Transmission Provider’s Transmission System and, if applicable, an Affected System.
         The study shall identify and detail the system impacts that would result if the Generating
         Facility were interconnected without project modifications or system modifications,
         focusing on the Adverse System Impacts identified in the Interconnection Feasibility
         Study, or to study potential impacts, including but not limited to those identified in the
         Scoping Meeting as described in the Standard Large Generator Interconnection
         Procedures.]

               [Interconnection System Impact Study Agreement shall mean the form of
         agreement contained in Appendix 3 of the Standard Large Generator Interconnection
         Procedures for conducting the Interconnection System Impact Study.]

                IRS shall mean the Internal Revenue Service.

                Joint Operating Committee shall be a group made up of representatives from
         Interconnection Customers and the Transmission Provider to coordinate operating and
         technical considerations of Interconnection Service.

                Large Generating Facility shall mean a Generating Facility having a Generating
         Facility Capacity of more than 20 MW.
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                LGIA Deposit shall mean the deposit Interconnection Customer submits when
         returning the executed LGIA, or within 10 Business Days of requesting that the LGIA be
         filed unexecuted at the Commission, in accordance with Section 11.3 of the LGIP.

                Loss shall mean any and all losses relating to injury to or death of any person or
         damage to property, demand, suits, recoveries, costs and expenses, court costs, attorney
         fees, and all other obligations by or to third parties, arising out of or resulting from the
         other Party's performance, or non-performance of its obligations under the Standard
         Large Generator Interconnection Agreement on behalf of the Indemnifying Party, except
         in cases of gross negligence or intentional wrongdoing by the Indemnifying Party.

                Material Modification shall mean those modifications that have a material impact
         on the cost or timing of any Interconnection Request with an equal or later Queue
         Position[queue priority date].

                 Metering Equipment shall mean all metering equipment installed or to be
         installed at the Generating Facility pursuant to the Standard Large Generator
         Interconnection Agreement at the metering points, including but not limited to instrument
         transformers, MWh-meters, data acquisition equipment, transducers, remote terminal
         unit, communications equipment, phone lines, and fiber optics.

               [NERC shall mean the North American Electric Reliability Council or its
         successor organization.]

                 Network Resource shall mean any designated generating resource owned,
         purchased, or leased by a Network Customer under the Network Integration Transmission
         Service Tariff. Network Resources do not include any resource, or any portion thereof,
         that is committed for sale to third parties or otherwise cannot be called upon to meet the
         Network Customer's Network Load on a non-interruptible basis.

                Network Resource Interconnection Service shall mean an Interconnection
         Service that allows the Interconnection Customer to integrate its Large Generating
         Facility with the Transmission Provider's Transmission System (1) in a manner
         comparable to that in which the Transmission Provider integrates its generating facilities
         to serve native load customers; or (2) in an RTO or ISO with market based congestion
         management, in the same manner as Network Resources. Network Resource
         Interconnection Service in and of itself does not convey transmission service.

                Network Upgrades shall mean the additions, modifications, and upgrades to the
         Transmission Provider's Transmission System required at or beyond the point at which
         the Interconnection Facilities connect to the Transmission Provider's Transmission
         System to accommodate the interconnection of the Large Generating Facility to the
         Transmission Provider's Transmission System.
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                 Notice of Dispute shall mean a written notice of a dispute or claim that arises out
         of or in connection with the Standard Large Generator Interconnection Agreement or its
         performance.

               Optional Interconnection Study shall mean a sensitivity analysis based on
         assumptions specified by the Interconnection Customer in the Optional Interconnection
         Study Agreement.

                Optional Interconnection Study Agreement shall mean the form of agreement
         contained in Appendix 4[5] of the LGIP [the Standard Large Generator Interconnection
         Procedures] for conducting the Optional Interconnection Study.

                Party or Parties shall mean Transmission Provider, Transmission Owner,
         Interconnection Customer or any combination of the above.

                Point of Change of Ownership shall mean the point, as set forth in Appendix A
         to the Standard Large Generator Interconnection Agreement, where the Interconnection
         Customer's Interconnection Facilities connect to the Transmission Provider's
         Interconnection Facilities.

                 Point of Interconnection shall mean the point, as set forth in Appendix A to the
         Standard Large Generator Interconnection Agreement, where the Interconnection
         Facilities connect to the Transmission Provider's Transmission System.

                Proportional Impact Method shall mean a technical analysis conducted by
         Transmission Provider to determine the degree to which each Generating Facility in the
         Cluster Study contributes to the need for a specific System Network Upgrade.

                Provisional Interconnection Service shall mean Interconnection Service
         provided by Transmission Provider associated with interconnecting the Interconnection
         Customer’s Generating Facility to Transmission Provider’s Transmission System and
         enabling that Transmission System to receive electric energy and capacity from the
         Generating Facility at the Point of Interconnection, pursuant to the terms of the
         Provisional Large Generator Interconnection Agreement and, if applicable, the Tariff.

                Provisional Large Generator Interconnection Agreement shall mean the
         interconnection agreement for Provisional Interconnection Service established between
         Transmission Provider and/or the Transmission Owner and the Interconnection
         Customer. This agreement shall take the form of the Large Generator Interconnection
         Agreement, modified for provisional purposes.

                 Queue Position shall mean the order of a valid Interconnection Request, relative
         to all other pending valid Interconnection Requests, [that is] established pursuant to
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         Section 4.1 of the LGIP. [based upon the date and time of receipt of the valid
         Interconnection Request by the Transmission Provider.]

                 Reasonable Efforts shall mean, with respect to an action required to be attempted
         or taken by a Party under the Standard Large Generator Interconnection Agreement,
         efforts that are timely and consistent with Good Utility Practice and are otherwise
         substantially equivalent to those a Party would use to protect its own interests.

                Scoping Meeting shall mean the meeting between representatives of
         [the]Interconnection Customer(s) and Transmission Provider conducted for the purpose
         of discussing the proposed Interconnection Request and any alternative interconnection
         options, [to]exchang[e]ing information including any transmission data and earlier study
         evaluations that would be reasonably expected to impact such interconnection options,
         refining information and models provided by Interconnection Customer(s), discussing the
         Cluster Study materials posted to OASIS pursuant to Section 3.5 of the LGIP, and
         [to]analyz[e]ing such information[, and to determine the potential feasible Points of
         Interconnection].

                 Site Control shall mean [documentation reasonably demonstrating] the exclusive
         land right to develop, construct, operate, and maintain the Generating Facility over the
         term of expected operation of the Generating Facility. Site Control may be demonstrated
         by documentation establishing: (1) ownership of, a leasehold interest in, or a right to
         develop a site [for the purpose of constructing]of sufficient size to construct and operate
         the Generating Facility; (2) an option to purchase or acquire a leasehold site of sufficient
         size to construct and operate the Generating Facility for such purpose; or (3) [an
         exclusivity or other business relationship between]any other documentation that clearly
         demonstrates the right of Interconnection Customer[and the entity having the right to
         sell, lease or grant Interconnection Customer the right to possess or]to exclusively occupy
         a site [for such purpose.]of sufficient size to construct and operate the Generating
         Facility. Transmission Provider will maintain acreage requirements for each Generating
         Facility type on its OASIS or public website.

                Small Generating Facility shall mean a Generating Facility that has a Generating
         Facility Capacity of no more than 20 MW.

                 Stand Alone Network Upgrades shall mean Network Upgrades that are not part
         of an Affected System that an Interconnection Customer may construct without affecting
         day-to-day operations of the Transmission System during their construction and the
         following conditions are met: (1) a Substation Network Upgrade must only be required
         for a single Interconnection Customer in the Cluster and no other Interconnection
         Customer in that Cluster is required to interconnect to the same Substation Network
         Upgrades, and (2) a System Network Upgrade must only be required for a single
         Interconnection Customer in the Cluster, as indicated under Transmission Provider’s
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         Proportional Impact Method. Both [the]Transmission Provider and [the]Interconnection
         Customer must agree as to what constitutes Stand Alone Network Upgrades and identify
         them in Appendix A to the Standard Large Generator Interconnection Agreement. If
         [the]Transmission Provider and Interconnection Customer disagree about whether a
         particular Network Upgrade is a Stand Alone Network Upgrade, [the]Transmission
         Provider must provide [the]Interconnection Customer a written technical explanation
         outlining why [the]Transmission Provider does not consider the Network Upgrade to be a
         Stand Alone Network Upgrade within 15 days of its determination.

               Standard Large Generator Interconnection Agreement (LGIA) shall mean the
         form of interconnection agreement applicable to an Interconnection Request pertaining to
         a Large Generating Facility that is included in the Transmission Provider's Tariff.

                Standard Large Generator Interconnection Procedures (LGIP) shall mean the
         interconnection procedures applicable to an Interconnection Request pertaining to a
         Large Generating Facility that are included in the Transmission Provider's Tariff.

                Substation Network Upgrades shall mean Network Upgrades that are required at
         the substation located at the Point of Interconnection.

                Surplus Interconnection Service shall mean any unneeded portion of
         Interconnection Service established in a Large Generator Interconnection Agreement,
         such that if Surplus Interconnection Service is utilized the total amount of
         Interconnection Service at the Point of Interconnection would remain the same.

               System Network Upgrades shall mean Network Upgrades that are required
         beyond the substation located at the Point of Interconnection.

                System Protection Facilities shall mean the equipment, including necessary
         protection signal communications equipment, required to protect (1) the Transmission
         Provider's Transmission System from faults or other electrical disturbances occurring at
         the Generating Facility and (2) the Generating Facility from faults or other electrical
         system disturbances occurring on the Transmission Provider's Transmission System or on
         other delivery systems or other generating systems to which the Transmission Provider's
         Transmission System is directly connected.

               Tariff shall mean the Transmission Provider's Tariff through which open access
         transmission service and Interconnection Service are offered, as filed with FERC, and as
         amended or supplemented from time to time, or any successor tariff.

               Transmission Owner shall mean an entity that owns, leases or otherwise
         possesses an interest in the portion of the Transmission System at the Point of
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         Interconnection and may be a Party to the Standard Large Generator Interconnection
         Agreement to the extent necessary.

                Transmission Provider shall mean the public utility (or its designated agent) that
         owns, controls, or operates transmission or distribution facilities used for the transmission
         of electricity in interstate commerce and provides transmission service under the Tariff.
         The term Transmission Provider should be read to include the Transmission Owner when
         the Transmission Owner is separate from the Transmission Provider.

                Transmission Provider’s Interconnection Facilities shall mean all facilities and
         equipment owned, controlled, or operated by [the]Transmission Provider from the Point
         of Change of Ownership to the Point of Interconnection as identified in Appendix A to
         the Standard Large Generator Interconnection Agreement, including any modifications,
         additions or upgrades to such facilities and equipment. Transmission Provider’s
         Interconnection Facilities are sole use facilities and shall not include Distribution
         Upgrades, Stand Alone Network Upgrades or Network Upgrades.

                Transmission System shall mean the facilities owned, controlled or operated by
         the Transmission Provider or Transmission Owner that are used to provide transmission
         service under the Tariff.

               Trial Operation shall mean the period during which Interconnection Customer is
         engaged in on-site test operations and commissioning of the Generating Facility prior to
         Commercial Operation.

                 Variable Energy Resource shall mean a device for the production of electricity
         that is characterized by an energy source that: (1) is renewable; (2) cannot be stored by
         the facility owner or operator; and (3) has variability that is beyond the control of the
         facility owner or operator.

                 Withdrawal Penalty shall mean the penalty assessed by Transmission Provider to
         an Interconnection Customer that chooses to withdraw or is deemed withdrawn from
         Transmission Provider’s interconnection queue or whose Generating Facility does not
         otherwise reach Commercial Operation. The calculation of the Withdrawal Penalty is
         set forth in Section 3.7.1 of the LGIP.


         Article 2.    Effective Date, Term, and Termination

         2.1    Effective Date. This LGIA shall become effective upon execution by the Parties
                subject to acceptance by FERC (if applicable), or if filed unexecuted, upon the
                date specified by FERC. Transmission Provider shall promptly file this LGIA
                with FERC upon execution in accordance with Article 3.1, if required.
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         2.2   Term of Agreement. Subject to the provisions of Article 2.3, this LGIA shall
               remain in effect for a period of ten (10) years from the Effective Date or such
               other longer period as Interconnection Customer may request (Term to be
               specified in individual agreements) and shall be automatically renewed for each
               successive one-year period thereafter.

         2.3   Termination Procedures.

               2.3.1 Written Notice. This LGIA may be terminated by Interconnection
                     Customer after giving Transmission Provider ninety (90) Calendar Days
                     advance written notice, or by Transmission Provider notifying FERC after
                     the Generating Facility permanently ceases Commercial Operation.

               2.3.2 Default. Either Party may terminate this LGIA in accordance with Article
                     17.

               2.3.3 Notwithstanding Articles 2.3.1 and 2.3.2, no termination shall become
                     effective until the Parties have complied with all Applicable Laws and
                     Regulations applicable to such termination, including the filing with FERC
                     of a notice of termination of this LGIA, which notice has been accepted for
                     filing by FERC.

         2.4   Termination Costs. If a Party elects to terminate this Agreement pursuant to
               Article 2.3 above, each Party shall pay all costs incurred (including any
               cancellation costs relating to orders or contracts for Interconnection Facilities and
               equipment) or charges assessed by the other Party, as of the date of the other
               Party's receipt of such notice of termination, that are the responsibility of the
               Terminating Party under this LGIA. In the event of termination by a Party, the
               Parties shall use commercially Reasonable Efforts to mitigate the costs, damages
               and charges arising as a consequence of termination. Upon termination of this
               LGIA, unless otherwise ordered or approved by FERC:

               2.4.1 With respect to any portion of Transmission Provider's Interconnection
                     Facilities that have not yet been constructed or installed, Transmission
                     Provider shall to the extent possible and with Interconnection Customer's
                     authorization cancel any pending orders of, or return, any materials or
                     equipment for, or contracts for construction of, such facilities; provided that
                     in the event Interconnection Customer elects not to authorize such
                     cancellation, Interconnection Customer shall assume all payment
                     obligations with respect to such materials, equipment, and contracts, and
                     Transmission Provider shall deliver such material and equipment, and, if
                     necessary, assign such contracts, to Interconnection Customer as soon as
                     practicable, at Interconnection Customer's expense. To the extent that
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                     Interconnection Customer has already paid Transmission Provider for any
                     or all such costs of materials or equipment not taken by Interconnection
                     Customer, Transmission Provider shall promptly refund such amounts to
                     Interconnection Customer, less any costs, including penalties incurred by
                     Transmission Provider to cancel any pending orders of or return such
                     materials, equipment, or contracts.

                     If an Interconnection Customer terminates this LGIA, it shall be
                     responsible for all costs incurred in association with that Interconnection
                     Customer's interconnection, including any cancellation costs relating to
                     orders or contracts for Interconnection Facilities and equipment, and other
                     expenses including any Network Upgrades for which Transmission
                     Provider has incurred expenses and has not been reimbursed by
                     Interconnection Customer.

               2.4.2 Transmission Provider may, at its option, retain any portion of such
                     materials, equipment, or facilities that Interconnection Customer chooses
                     not to accept delivery of, in which case Transmission Provider shall be
                     responsible for all costs associated with procuring such materials,
                     equipment, or facilities.

               2.4.3 With respect to any portion of the Interconnection Facilities, and any other
                     facilities already installed or constructed pursuant to the terms of this
                     LGIA, Interconnection Customer shall be responsible for all costs
                     associated with the removal, relocation or other disposition or retirement of
                     such materials, equipment, or facilities.

         2.5   Disconnection. Upon termination of this LGIA, the Parties will take all
               appropriate steps to disconnect the Large Generating Facility from the
               Transmission System. All costs required to effectuate such disconnection shall be
               borne by the terminating Party, unless such termination resulted from the non-
               terminating Party's Default of this LGIA or such non-terminating Party otherwise
               is responsible for these costs under this LGIA.

         2.6   Survival. This LGIA shall continue in effect after termination to the extent
               necessary to provide for final billings and payments and for costs incurred
               hereunder, including billings and payments pursuant to this LGIA; to permit the
               determination and enforcement of liability and indemnification obligations arising
               from acts or events that occurred while this LGIA was in effect; and to permit
               each Party to have access to the lands of the other Party pursuant to this LGIA or
               other applicable agreements, to disconnect, remove or salvage its own facilities
               and equipment.
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         Article 3.   Regulatory Filings

         3.1    Filing. Transmission Provider shall file this LGIA (and any amendment hereto)
                with the appropriate Governmental Authority, if required. Interconnection
                Customer may request that any information so provided be subject to the
                confidentiality provisions of Article 22. If Interconnection Customer has executed
                this LGIA, or any amendment thereto, Interconnection Customer shall reasonably
                cooperate with Transmission Provider with respect to such filing and to provide
                any information reasonably requested by Transmission Provider needed to comply
                with applicable regulatory requirements.

         Article 4.   Scope of Service

         4.1    Interconnection Product Options. Interconnection Customer has selected the
                following (checked) type of Interconnection Service:

                4.1.1 Energy Resource Interconnection Service.

                      4.1.1.1       The Product. Energy Resource Interconnection Service
                                    allows Interconnection Customer to connect the Large
                                    Generating Facility to the Transmission System and be
                                    eligible to deliver the Large Generating Facility's output using
                                    the existing firm or non-firm capacity of the Transmission
                                    System on an "as available" basis. To the extent
                                    Interconnection Customer wants to receive Energy Resource
                                    Interconnection Service, Transmission Provider shall
                                    construct facilities identified in Attachment A.

                      4.1.1.2       Transmission Delivery Service Implications. Under
                                    Energy Resource Interconnection Service, Interconnection
                                    Customer will be eligible to inject power from the Large
                                    Generating Facility into and deliver power across the
                                    interconnecting Transmission Provider's Transmission
                                    System on an "as available" basis up to the amount of MWs
                                    identified in the applicable stability and steady state studies to
                                    the extent the upgrades initially required to qualify for Energy
                                    Resource Interconnection Service have been constructed.
                                    Where eligible to do so (e.g., PJM, ISO-NE, NYISO),
                                    Interconnection Customer may place a bid to sell into the
                                    market up to the maximum identified Large Generating
                                    Facility output, subject to any conditions specified in the
                                    interconnection service approval, and the Large Generating
                                    Facility will be dispatched to the extent Interconnection
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                                  Customer's bid clears. In all other instances, no transmission
                                  delivery service from the Large Generating Facility is
                                  assured, but Interconnection Customer may obtain Point-to-
                                  Point Transmission Service, Network Integration
                                  Transmission Service, or be used for secondary network
                                  transmission service, pursuant to Transmission Provider's
                                  Tariff, up to the maximum output identified in the stability
                                  and steady state studies. In those instances, in order for
                                  Interconnection Customer to obtain the right to deliver or
                                  inject energy beyond the Large Generating Facility Point of
                                  Interconnection or to improve its ability to do so,
                                  transmission delivery service must be obtained pursuant to
                                  the provisions of Transmission Provider's Tariff. The
                                  Interconnection Customer's ability to inject its Large
                                  Generating Facility output beyond the Point of
                                  Interconnection, therefore, will depend on the existing
                                  capacity of Transmission Provider's Transmission System at
                                  such time as a transmission service request is made that
                                  would accommodate such delivery. The provision of firm
                                  Point-to-Point Transmission Service or Network Integration
                                  Transmission Service may require the construction of
                                  additional Network Upgrades.

               4.1.2 Network Resource Interconnection Service.

                     4.1.2.1      The Product. Transmission Provider must conduct the
                                  necessary studies and construct the Network Upgrades needed
                                  to integrate the Large Generating Facility (1) in a manner
                                  comparable to that in which Transmission Provider integrates
                                  its generating facilities to serve native load customers; or (2)
                                  in an ISO or RTO with market based congestion
                                  management, in the same manner as all Network Resources.
                                  To the extent Interconnection Customer wants to receive
                                  Network Resource Interconnection Service, Transmission
                                  Provider shall construct the facilities identified in Attachment
                                  A to this LGIA.

                     4.1.2.2      Transmission Delivery Service Implications. Network
                                  Resource Interconnection Service allows Interconnection
                                  Customer's Large Generating Facility to be designated by any
                                  Network Customer under the Tariff on Transmission
                                  Provider's Transmission System as a Network Resource, up to
                                  the Large Generating Facility's full output, on the same basis
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                                  as existing Network Resources interconnected to
                                  Transmission Provider's Transmission System, and to be
                                  studied as a Network Resource on the assumption that such a
                                  designation will occur. Although Network Resource
                                  Interconnection Service does not convey a reservation of
                                  transmission service, any Network Customer under the Tariff
                                  can utilize its network service under the Tariff to obtain
                                  delivery of energy from the interconnected Interconnection
                                  Customer's Large Generating Facility in the same manner as
                                  it accesses Network Resources. A Large Generating Facility
                                  receiving Network Resource Interconnection Service may
                                  also be used to provide Ancillary Services after technical
                                  studies and/or periodic analyses are performed with respect to
                                  the Large Generating Facility's ability to provide any
                                  applicable Ancillary Services, provided that such studies and
                                  analyses have been or would be required in connection with
                                  the provision of such Ancillary Services by any existing
                                  Network Resource. However, if an Interconnection
                                  Customer's Large Generating Facility has not been designated
                                  as a Network Resource by any load, it cannot be required to
                                  provide Ancillary Services except to the extent such
                                  requirements extend to all generating facilities that are
                                  similarly situated. The provision of Network Integration
                                  Transmission Service or firm Point-to-Point Transmission
                                  Service may require additional studies and the construction of
                                  additional upgrades. Because such studies and upgrades
                                  would be associated with a request for delivery service under
                                  the Tariff, cost responsibility for the studies and upgrades
                                  would be in accordance with FERC's policy for pricing
                                  transmission delivery services.

                                  Network Resource Interconnection Service does not
                                  necessarily provide Interconnection Customer with the
                                  capability to physically deliver the output of its Large
                                  Generating Facility to any particular load on Transmission
                                  Provider's Transmission System without incurring congestion
                                  costs. In the event of transmission constraints on
                                  Transmission Provider's Transmission System,
                                  Interconnection Customer's Large Generating Facility shall be
                                  subject to the applicable congestion management procedures
                                  in Transmission Provider's Transmission System in the same
                                  manner as Network Resources.
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                                   There is no requirement either at the time of study or
                                   interconnection, or at any point in the future, that
                                   Interconnection Customer's Large Generating Facility be
                                   designated as a Network Resource by a Network Service
                                   Customer under the Tariff or that Interconnection Customer
                                   identify a specific buyer (or sink). To the extent a Network
                                   Customer does designate the Large Generating Facility as a
                                   Network Resource, it must do so pursuant to Transmission
                                   Provider's Tariff.

                                   Once an Interconnection Customer satisfies the requirements
                                   for obtaining Network Resource Interconnection Service, any
                                   future transmission service request for delivery from the
                                   Large Generating Facility within Transmission Provider's
                                   Transmission System of any amount of capacity and/or
                                   energy, up to the amount initially studied, will not require that
                                   any additional studies be performed or that any further
                                   upgrades associated with such Large Generating Facility be
                                   undertaken, regardless of whether or not such Large
                                   Generating Facility is ever designated by a Network
                                   Customer as a Network Resource and regardless of changes
                                   in ownership of the Large Generating Facility. However, the
                                   reduction or elimination of congestion or redispatch costs
                                   may require additional studies and the construction of
                                   additional upgrades.

                                   To the extent Interconnection Customer enters into an
                                   arrangement for long term transmission service for deliveries
                                   from the Large Generating Facility outside Transmission
                                   Provider's Transmission System, such request may require
                                   additional studies and upgrades in order for Transmission
                                   Provider to grant such request.

         4.2   Provision of Service. Transmission Provider shall provide Interconnection
               Service for the Large Generating Facility at the Point of Interconnection.

         4.3   Performance Standards. Each Party shall perform all of its obligations under
               this LGIA in accordance with Applicable Laws and Regulations, Applicable
               Reliability Standards, and Good Utility Practice, and to the extent a Party is
               required or prevented or limited in taking any action by such regulations and
               standards, such Party shall not be deemed to be in Breach of this LGIA for its
               compliance therewith. If such Party is a Transmission Provider or Transmission
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                Owner, then that Party shall amend the LGIA and submit the amendment to FERC
                for approval.

         4.4    No Transmission Delivery Service. The execution of this LGIA does not
                constitute a request for, nor the provision of, any transmission delivery service
                under Transmission Provider's Tariff, and does not convey any right to deliver
                electricity to any specific customer or Point of Delivery.

         4.5    Interconnection Customer Provided Services. The services provided by
                Interconnection Customer under this LGIA are set forth in Article 9.6 and Article
                13.5.1. Interconnection Customer shall be paid for such services in accordance
                with Article 11.6.

         Article 5.    Interconnection Facilities Engineering, Procurement, & Construction

         5.1    Options. Unless otherwise mutually agreed to between the Parties,
                Interconnection Customer shall select the In-Service Date, Initial Synchronization
                Date, and Commercial Operation Date; and either the Standard Option or
                Alternate Option set forth below, and such dates and selected option shall be set
                forth in Appendix B, Milestones. At the same time, Interconnection Customer
                shall indicate whether it elects to exercise the Option to Build set forth in Article
                5.1.3 below. If the dates designated by Interconnection Customer are not
                acceptable to Transmission Provider, Transmission Provider shall so notify
                Interconnection Customer within thirty (30) Calendar Days. Upon receipt of the
                notification that Interconnection Customer’s designated dates are not acceptable to
                Transmission Provider, the Interconnection Customer shall notify Transmission
                Provider within thirty (30) Calendar Days whether it elects to exercise the Option
                to Build if it has not already elected to exercise the Option to Build.

                5.1.1 Standard Option. Transmission Provider shall design, procure, and
                      construct Transmission Provider's Interconnection Facilities and Network
                      Upgrades, using Reasonable Efforts to complete Transmission Provider's
                      Interconnection Facilities and Network Upgrades by the dates set forth in
                      Appendix B, Milestones. Transmission Provider shall not be required to
                      undertake any action which is inconsistent with its standard safety
                      practices, its material and equipment specifications, its design criteria and
                      construction procedures, its labor agreements, and Applicable Laws and
                      Regulations. In the event Transmission Provider reasonably expects that it
                      will not be able to complete Transmission Provider's Interconnection
                      Facilities and Network Upgrades by the specified dates, Transmission
                      Provider shall promptly provide written notice to Interconnection Customer
                      and shall undertake Reasonable Efforts to meet the earliest dates thereafter.
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               5.1.2 Alternate Option. If the dates designated by Interconnection Customer are
                     acceptable to Transmission Provider, Transmission Provider shall so notify
                     Interconnection Customer within thirty (30) Calendar Days, and shall
                     assume responsibility for the design, procurement and construction of
                     Transmission Provider's Interconnection Facilities by the designated dates.

                     If Transmission Provider subsequently fails to complete Transmission
                     Provider's Interconnection Facilities by the In-Service Date, to the extent
                     necessary to provide back feed power; or fails to complete Network
                     Upgrades by the Initial Synchronization Date to the extent necessary to
                     allow for Trial Operation at full power output, unless other arrangements
                     are made by the Parties for such Trial Operation; or fails to complete the
                     Network Upgrades by the Commercial Operation Date, as such dates are
                     reflected in Appendix B, Milestones; Transmission Provider shall pay
                     Interconnection Customer liquidated damages in accordance with Article
                     5.3, Liquidated Damages, provided, however, the dates designated by
                     Interconnection Customer shall be extended day for day for each day that
                     the applicable RTO or ISO refuses to grant clearances to install equipment.

               5.1.3 Option to Build. Interconnection Customer shall have the option to
                     assume responsibility for the design, procurement and construction of
                     Transmission Provider's Interconnection Facilities and Stand Alone
                     Network Upgrades on the dates specified in Article 5.1.2. Transmission
                     Provider and Interconnection Customer must agree as to what constitutes
                     Stand Alone Network Upgrades and identify such Stand Alone Network
                     Upgrades in Appendix A. Except for Stand Alone Network Upgrades,
                     Interconnection Customer shall have no right to construct Network
                     Upgrades under this option.

               5.1.4 Negotiated Option. If the dates designated by Interconnection Customer
                     are not acceptable to Transmission Provider, the Parties shall in good faith
                     attempt to negotiate terms and conditions (including revision of the
                     specified dates and liquidated damages, the provision of incentives, or the
                     procurement and construction of all facilities other than Transmission
                     Provider’s Interconnection Facilities and Stand Alone Network Upgrades if
                     the Interconnection Customer elects to exercise the Option to Build under
                     Article 5.1.3). If the Parties are unable to reach agreement on such terms
                     and conditions, then pursuant to Article 5.1.1 (Standard Option),
                     Transmission Provider shall assume responsibility for the design,
                     procurement and construction of all facilities other than Transmission
                     Provider’s Interconnection Facilities and Stand Alone Network Upgrades if
                     the Interconnection Customer elects to exercise the Option to Build.
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         5.2   General Conditions Applicable to Option to Build. If Interconnection
               Customer assumes responsibility for the design, procurement and construction of
               Transmission Provider's Interconnection Facilities and Stand Alone Network
               Upgrades,

                     (1) Interconnection Customer shall engineer, procure equipment, and
                     construct Transmission Provider's Interconnection Facilities and Stand
                     Alone Network Upgrades (or portions thereof) using Good Utility Practice
                     and using standards and specifications provided in advance by
                     Transmission Provider;

                     (2) Interconnection Customer's engineering, procurement and construction
                     of Transmission Provider's Interconnection Facilities and Stand Alone
                     Network Upgrades shall comply with all requirements of law to which
                     Transmission Provider would be subject in the engineering, procurement or
                     construction of Transmission Provider's Interconnection Facilities and
                     Stand Alone Network Upgrades;

                     (3) Transmission Provider shall review and approve the engineering design,
                     equipment acceptance tests, and the construction of Transmission
                     Provider's Interconnection Facilities and Stand Alone Network Upgrades;

                     (4) prior to commencement of construction, Interconnection Customer shall
                     provide to Transmission Provider a schedule for construction of
                     Transmission Provider's Interconnection Facilities and Stand Alone
                     Network Upgrades, and shall promptly respond to requests for information
                     from Transmission Provider;

                     (5) at any time during construction, Transmission Provider shall have the
                     right to gain unrestricted access to Transmission Provider's Interconnection
                     Facilities and Stand Alone Network Upgrades and to conduct inspections of
                     the same;

                     (6) at any time during construction, should any phase of the engineering,
                     equipment procurement, or construction of Transmission Provider's
                     Interconnection Facilities and Stand Alone Network Upgrades not meet the
                     standards and specifications provided by Transmission Provider,
                     Interconnection Customer shall be obligated to remedy deficiencies in that
                     portion of Transmission Provider's Interconnection Facilities and Stand
                     Alone Network Upgrades;

                     (7) Interconnection Customer shall indemnify Transmission Provider for
                     claims arising from Interconnection Customer's construction of
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                     Transmission Provider's Interconnection Facilities and Stand Alone
                     Network Upgrades under the terms and procedures applicable to Article
                     18.1 Indemnity;

                     (8) Interconnection Customer shall transfer control of Transmission
                     Provider's Interconnection Facilities and Stand Alone Network Upgrades to
                     Transmission Provider;

                     (9) Unless Parties otherwise agree, Interconnection Customer shall transfer
                     ownership of Transmission Provider's Interconnection Facilities and Stand-
                     Alone Network Upgrades to Transmission Provider;

                     (10) Transmission Provider shall approve and accept for operation and
                     maintenance Transmission Provider's Interconnection Facilities and Stand
                     Alone Network Upgrades to the extent engineered, procured, and
                     constructed in accordance with this Article 5.2; and

                     (11) Interconnection Customer shall deliver to Transmission Provider "as-
                     built" drawings, information, and any other documents that are reasonably
                     required by Transmission Provider to assure that the Interconnection
                     Facilities and Stand-Alone Network Upgrades are built to the standards and
                     specifications required by Transmission Provider.

                     (12) If Interconnection Customer exercises the Option to Build pursuant to
                     Article 5.1.3, Interconnection Customer shall pay Transmission Provider
                     the agreed upon amount of [$ PLACEHOLDER] for Transmission Provider
                     to execute the responsibilities enumerated to Transmission Provider under
                     Article 5.2. Transmission Provider shall invoice Interconnection Customer
                     for this total amount to be divided on a monthly basis pursuant to Article
                     12.

         5.3   Liquidated Damages. The actual damages to Interconnection Customer, in the
               event Transmission Provider's Interconnection Facilities or Network Upgrades are
               not completed by the dates designated by Interconnection Customer and accepted
               by Transmission Provider pursuant to subparagraphs 5.1.2 or 5.1.4, above, may
               include Interconnection Customer's fixed operation and maintenance costs and lost
               opportunity costs. Such actual damages are uncertain and impossible to determine
               at this time. Because of such uncertainty, any liquidated damages paid by
               Transmission Provider to Interconnection Customer in the event that Transmission
               Provider does not complete any portion of Transmission Provider's
               Interconnection Facilities or Network Upgrades by the applicable dates, shall be
               an amount equal to ½ of 1 percent per day of the actual cost of Transmission
               Provider's Interconnection Facilities and Network Upgrades, in the aggregate, for
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               which Transmission Provider has assumed responsibility to design, procure and
               construct.

               However, in no event shall the total liquidated damages exceed 20 percent of the
               actual cost of Transmission Provider's Interconnection Facilities and Network
               Upgrades for which Transmission Provider has assumed responsibility to design,
               procure, and construct. The foregoing payments will be made by Transmission
               Provider to Interconnection Customer as just compensation for the damages
               caused to Interconnection Customer, which actual damages are uncertain and
               impossible to determine at this time, and as reasonable liquidated damages, but not
               as a penalty or a method to secure performance of this LGIA. Liquidated
               damages, when the Parties agree to them, are the exclusive remedy for the
               Transmission Provider's failure to meet its schedule.

               No liquidated damages shall be paid to Interconnection Customer if: (1)
               Interconnection Customer is not ready to commence use of Transmission
               Provider's Interconnection Facilities or Network Upgrades to take the delivery of
               power for the Large Generating Facility's Trial Operation or to export power from
               the Large Generating Facility on the specified dates, unless Interconnection
               Customer would have been able to commence use of Transmission Provider's
               Interconnection Facilities or Network Upgrades to take the delivery of power for
               Large Generating Facility's Trial Operation or to export power from the Large
               Generating Facility, but for Transmission Provider's delay; (2) Transmission
               Provider's failure to meet the specified dates is the result of the action or inaction
               of Interconnection Customer or any other Interconnection Customer who has
               entered into an LGIA with Transmission Provider or any cause beyond
               Transmission Provider's reasonable control or reasonable ability to cure; (3) the
               Interconnection Customer has assumed responsibility for the design, procurement
               and construction of Transmission Provider's Interconnection Facilities and Stand
               Alone Network Upgrades; or (4) the Parties have otherwise agreed.

         5.4   Power System Stabilizers. [The]Interconnection Customer shall procure, install,
               maintain and operate Power System Stabilizers in accordance with the guidelines
               and procedures established by the [Applicable Reliability Council]Electric
               Reliability Organization. Transmission Provider reserves the right to reasonably
               establish minimum acceptable settings for any installed Power System Stabilizers,
               subject to the design and operating limitations of the Large Generating Facility. If
               the Large Generating Facility’s Power System Stabilizers are removed from
               service or not capable of automatic operation, Interconnection Customer shall
               immediately notify Transmission Provider’s system operator, or its designated
               representative. The requirements of this paragraph shall not apply to wind
               generators.
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         5.5   Equipment Procurement. If responsibility for construction of Transmission
               Provider's Interconnection Facilities or Network Upgrades is to be borne by
               Transmission Provider, then Transmission Provider shall commence design of
               Transmission Provider's Interconnection Facilities or Network Upgrades and
               procure necessary equipment as soon as practicable after all of the following
               conditions are satisfied, unless the Parties otherwise agree in writing:

               5.5.1 Transmission Provider has completed the Facilities Study pursuant to the
                     Facilities Study Agreement;

               5.5.2 Transmission Provider has received written authorization to proceed with
                     design and procurement from Interconnection Customer by the date
                     specified in Appendix B, Milestones; and

               5.5.3 Interconnection Customer has provided security to Transmission Provider
                     in accordance with Article 11.5 by the dates specified in Appendix B,
                     Milestones.

         5.6   Construction Commencement. Transmission Provider shall commence
               construction of Transmission Provider's Interconnection Facilities and Network
               Upgrades for which it is responsible as soon as practicable after the following
               additional conditions are satisfied:

               5.6.1 Approval of the appropriate Governmental Authority has been obtained for
                     any facilities requiring regulatory approval;

               5.6.2 Necessary real property rights and rights-of-way have been obtained, to the
                     extent required for the construction of a discrete aspect of Transmission
                     Provider's Interconnection Facilities and Network Upgrades;

               5.6.3 Transmission Provider has received written authorization to proceed with
                     construction from Interconnection Customer by the date specified in
                     Appendix B, Milestones; and

               5.6.4 Interconnection Customer has provided security to Transmission Provider
                     in accordance with Article 11.5 by the dates specified in Appendix B,
                     Milestones.

         5.7   Work Progress. The Parties will keep each other advised periodically as to the
               progress of their respective design, procurement and construction efforts. Either
               Party may, at any time, request a progress report from the other Party. If, at any
               time, Interconnection Customer determines that the completion of Transmission
               Provider's Interconnection Facilities will not be required until after the specified
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               In-Service Date, Interconnection Customer will provide written notice to
               Transmission Provider of such later date upon which the completion of
               Transmission Provider's Interconnection Facilities will be required.

         5.8   Information Exchange. As soon as reasonably practicable after the Effective
               Date, the Parties shall exchange information regarding the design and
               compatibility of the Parties' Interconnection Facilities and compatibility of the
               Interconnection Facilities with Transmission Provider's Transmission System, and
               shall work diligently and in good faith to make any necessary design changes.

         5.9   Other Interconnection Options.

               5.9.1 Limited Operation. If any of Transmission Provider's Interconnection
               Facilities or Network Upgrades are not reasonably expected to be completed prior
               to the Commercial Operation Date of the Large Generating Facility, Transmission
               Provider shall, upon the request and at the expense of Interconnection Customer,
               perform operating studies on a timely basis to determine the extent to which the
               Large Generating Facility and Interconnection Customer's Interconnection
               Facilities may operate prior to the completion of Transmission Provider's
               Interconnection Facilities or Network Upgrades consistent with Applicable Laws
               and Regulations, Applicable Reliability Standards, Good Utility Practice, and this
               LGIA. Transmission Provider shall permit Interconnection Customer to operate
               the Large Generating Facility and Interconnection Customer's Interconnection
               Facilities in accordance with the results of such studies.

               5.9.2 Provisional Interconnection Service. Upon the request of Interconnection
               Customer, and prior to completion of requisite Interconnection Facilities, Network
               Upgrades, Distribution Upgrades, or System Protection Facilities Transmission
               Provider may execute a Provisional Large Generator Interconnection Agreement
               or Interconnection Customer may request the filing of an unexecuted Provisional
               Large Generator Interconnection Agreement with the Interconnection Customer
               for limited Interconnection Service at the discretion of Transmission Provider
               based upon an evaluation that will consider the results of available studies.
               Transmission Provider shall determine, through available studies or additional
               studies as necessary, whether stability, short circuit, thermal, and/or voltage issues
               would arise if Interconnection Customer interconnects without modifications to
               the Generating Facility or Transmission System. Transmission Provider shall
               determine whether any Interconnection Facilities, Network Upgrades, Distribution
               Upgrades, or System Protection Facilities that are necessary to meet the
               requirements of [NERC] the Electric Reliability Organization, or any applicable
               Regional Entity for the interconnection of a new, modified and/or expanded
               Generating Facility are in place prior to the commencement of Interconnection
               Service from the Generating Facility. Where available studies indicate that such,
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                Interconnection Facilities, Network Upgrades, Distribution Upgrades, and/or
                System Protection Facilities that are required for the interconnection of a new,
                modified and/or expanded Generating Facility are not currently in place,
                Transmission Provider will perform a study, at the Interconnection Customer’s
                expense, to confirm the facilities that are required for Provisional Interconnection
                Service. The maximum permissible output of the Generating Facility in the
                Provisional Large Generator Interconnection Agreement shall be studied and
                updated [on a frequency determined by Transmission Provider and at the
                Interconnection Customer’s expense]. Interconnection Customer assumes all risk
                and liabilities with respect to changes between the Provisional Large Generator
                Interconnection Agreement and the Large Generator Interconnection Agreement,
                including changes in output limits and Interconnection Facilities, Network
                Upgrades, Distribution Upgrades, and/or System Protection Facilities cost
                responsibilities.

         5.10   Interconnection Customer's Interconnection Facilities ('ICIF').
                Interconnection Customer shall, at its expense, design, procure, construct, own and
                install the ICIF, as set forth in Appendix A, Interconnection Facilities, Network
                Upgrades and Distribution Upgrades.

                5.10.1        Interconnection Customer's Interconnection Facility
                              Specifications. Interconnection Customer shall submit initial
                              specifications for the ICIF, including System Protection Facilities, to
                              Transmission Provider at least one hundred eighty (180) Calendar
                              Days prior to the Initial Synchronization Date; and final
                              specifications for review and comment at least ninety (90) Calendar
                              Days prior to the Initial Synchronization Date. Transmission
                              Provider shall review such specifications to ensure that the ICIF are
                              compatible with the technical specifications, operational control, and
                              safety requirements of Transmission Provider and comment on such
                              specifications within thirty (30) Calendar Days of Interconnection
                              Customer's submission. All specifications provided hereunder shall
                              be deemed confidential.

                5.10.2        Transmission Provider's Review. Transmission Provider's review
                              of Interconnection Customer's final specifications shall not be
                              construed as confirming, endorsing, or providing a warranty as to the
                              design, fitness, safety, durability or reliability of the Large
                              Generating Facility, or the ICIF. Interconnection Customer shall
                              make such changes to the ICIF as may reasonably be required by
                              Transmission Provider, in accordance with Good Utility Practice, to
                              ensure that the ICIF are compatible with the technical specifications,
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                             operational control, and safety requirements of Transmission
                             Provider.

                5.10.3       ICIF Construction. The ICIF shall be designed and constructed in
                             accordance with Good Utility Practice. Within one hundred twenty
                             (120) Calendar Days after the Commercial Operation Date, unless
                             the Parties agree on another mutually acceptable deadline,
                             Interconnection Customer shall deliver to Transmission Provider
                             "as-built" drawings, information and documents for the ICIF, such
                             as: a one-line diagram, a site plan showing the Large Generating
                             Facility and the ICIF, plan and elevation drawings showing the
                             layout of the ICIF, a relay functional diagram, relaying AC and DC
                             schematic wiring diagrams and relay settings for all facilities
                             associated with Interconnection Customer's step-up transformers, the
                             facilities connecting the Large Generating Facility to the step-up
                             transformers and the ICIF, and the impedances (determined by
                             factory tests) for the associated step-up transformers and the Large
                             Generating Facility. The Interconnection Customer shall provide
                             Transmission Provider specifications for the excitation system,
                             automatic voltage regulator, Large Generating Facility control and
                             protection settings, transformer tap settings, and communications, if
                             applicable.

         5.11   Transmission Provider's Interconnection Facilities Construction.
                Transmission Provider's Interconnection Facilities shall be designed and
                constructed in accordance with Good Utility Practice. Upon request, within one
                hundred twenty (120) Calendar Days after the Commercial Operation Date, unless
                the Parties agree on another mutually acceptable deadline, Transmission Provider
                shall deliver to Interconnection Customer the following "as-built" drawings,
                information and documents for Transmission Provider's Interconnection Facilities
                [include appropriate drawings and relay diagrams].

                Transmission Provider will obtain control of Transmission Provider's
                Interconnection Facilities and Stand Alone Network Upgrades upon completion of
                such facilities.

         5.12   Access Rights. Upon reasonable notice and supervision by a Party, and subject to
                any required or necessary regulatory approvals, a Party ("Granting Party") shall
                furnish at no cost to the other Party ("Access Party") any rights of use, licenses,
                rights of way and easements with respect to lands owned or controlled by the
                Granting Party, its agents (if allowed under the applicable agency agreement), or
                any Affiliate, that are necessary to enable the Access Party to obtain ingress and
                egress to construct, operate, maintain, repair, test (or witness testing), inspect,
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                replace or remove facilities and equipment to: (i) interconnect the Large
                Generating Facility with the Transmission System; (ii) operate and maintain the
                Large Generating Facility, the Interconnection Facilities and the Transmission
                System; and (iii) disconnect or remove the Access Party's facilities and equipment
                upon termination of this LGIA. In exercising such licenses, rights of way and
                easements, the Access Party shall not unreasonably disrupt or interfere with
                normal operation of the Granting Party's business and shall adhere to the safety
                rules and procedures established in advance, as may be changed from time to time,
                by the Granting Party and provided to the Access Party.

         5.13   Lands of Other Property Owners. If any part of Transmission Provider or
                Transmission Owner's Interconnection Facilities and/or Network Upgrades is to be
                installed on property owned by persons other than Interconnection Customer or
                Transmission Provider or Transmission Owner, Transmission Provider or
                Transmission Owner shall at Interconnection Customer's expense use efforts,
                similar in nature and extent to those that it typically undertakes on its own behalf
                or on behalf of its Affiliates, including use of its eminent domain authority, and to
                the extent consistent with state law, to procure from such persons any rights of
                use, licenses, rights of way and easements that are necessary to construct, operate,
                maintain, test, inspect, replace or remove Transmission Provider or Transmission
                Owner's Interconnection Facilities and/or Network Upgrades upon such property.

         5.14   Permits. Transmission Provider or Transmission Owner and Interconnection
                Customer shall cooperate with each other in good faith in obtaining all permits,
                licenses, and authorizations that are necessary to accomplish the interconnection in
                compliance with Applicable Laws and Regulations. With respect to this
                paragraph, Transmission Provider or Transmission Owner shall provide permitting
                assistance to Interconnection Customer comparable to that provided to
                Transmission Provider's own, or an Affiliate's generation.

         5.15   Early Construction of Base Case Facilities. Interconnection Customer may
                request Transmission Provider to construct, and Transmission Provider shall
                construct, using Reasonable Efforts to accommodate Interconnection Customer's
                In-Service Date, all or any portion of any Network Upgrades required for
                Interconnection Customer to be interconnected to the Transmission System which
                are included in the Base Case of the Facilities Study for Interconnection Customer,
                and which also are required to be constructed for another Interconnection
                Customer, but where such construction is not scheduled to be completed in time to
                achieve Interconnection Customer's In-Service Date.

         5.16   Suspension. Interconnection Customer reserves the right, upon written notice to
                Transmission Provider, to suspend at any time all work by Transmission Provider
                associated with the construction and installation of Transmission Provider's
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                Interconnection Facilities and/or Network Upgrades required under this LGIA
                with the condition that Transmission System shall be left in a safe and reliable
                condition in accordance with Good Utility Practice and Transmission Provider's
                safety and reliability criteria. In such event, Interconnection Customer shall be
                responsible for all reasonable and necessary costs which Transmission Provider (i)
                has incurred pursuant to this LGIA prior to the suspension and (ii) incurs in
                suspending such work, including any costs incurred to perform such work as may
                be necessary to ensure the safety of persons and property and the integrity of the
                Transmission System during such suspension and, if applicable, any costs incurred
                in connection with the cancellation or suspension of material, equipment and labor
                contracts which Transmission Provider cannot reasonably avoid; provided,
                however, that prior to canceling or suspending any such material, equipment or
                labor contract, Transmission Provider shall obtain Interconnection Customer's
                authorization to do so.

                Transmission Provider shall invoice Interconnection Customer for such costs
                pursuant to Article 12 and shall use due diligence to minimize its costs. In the
                event Interconnection Customer suspends work by Transmission Provider required
                under this LGIA pursuant to this Article 5.16, and has not requested Transmission
                Provider to recommence the work required under this LGIA on or before the
                expiration of three (3) years following commencement of such suspension, this
                LGIA shall be deemed terminated. The three-year period shall begin on the date
                the suspension is requested, or the date of the written notice to Transmission
                Provider, if no effective date is specified.

         5.17   Taxes.

                5.17.1       Interconnection Customer Payments Not Taxable. The Parties
                             intend that all payments or property transfers made by
                             Interconnection Customer to Transmission Provider for the
                             installation of Transmission Provider's Interconnection Facilities and
                             the Network Upgrades shall be non-taxable, either as contributions
                             to capital, or as an advance, in accordance with the Internal Revenue
                             Code and any applicable state income tax laws and shall not be
                             taxable as contributions in aid of construction or otherwise under the
                             Internal Revenue Code and any applicable state income tax laws.

                5.17.2       Representations and Covenants. In accordance with IRS Notice
                             2001-82 and IRS Notice 88-129, Interconnection Customer
                             represents and covenants that (i) ownership of the electricity
                             generated at the Large Generating Facility will pass to another party
                             prior to the transmission of the electricity on the Transmission
                             System, (ii) for income tax purposes, the amount of any payments
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                           and the cost of any property transferred to Transmission Provider for
                           Transmission Provider's Interconnection Facilities will be capitalized
                           by Interconnection Customer as an intangible asset and recovered
                           using the straight-line method over a useful life of twenty (20) years,
                           and (iii) any portion of Transmission Provider's Interconnection
                           Facilities that is a "dual-use intertie," within the meaning of IRS
                           Notice 88-129, is reasonably expected to carry only a de minimis
                           amount of electricity in the direction of the Large Generating
                           Facility. For this purpose, "de minimis amount" means no more than
                           5 percent of the total power flows in both directions, calculated in
                           accordance with the "5 percent test" set forth in IRS Notice 88-129.
                           This is not intended to be an exclusive list of the relevant conditions
                           that must be met to conform to IRS requirements for non-taxable
                           treatment.

                           At Transmission Provider's request, Interconnection Customer shall
                           provide Transmission Provider with a report from an independent
                           engineer confirming its representation in clause (iii), above.
                           Transmission Provider represents and covenants that the cost of
                           Transmission Provider's Interconnection Facilities paid for by
                           Interconnection Customer will have no net effect on the base upon
                           which rates are determined.

               5.17.3      Indemnification for the Cost Consequences of Current Tax
                           Liability Imposed Upon the Transmission Provider.
                           Notwithstanding Article 5.17.1, Interconnection Customer shall
                           protect, indemnify and hold harmless Transmission Provider from
                           the cost consequences of any current tax liability imposed against
                           Transmission Provider as the result of payments or property transfers
                           made by Interconnection Customer to Transmission Provider under
                           this LGIA for Interconnection Facilities, as well as any interest and
                           penalties, other than interest and penalties attributable to any delay
                           caused by Transmission Provider.

                           Transmission Provider shall not include a gross-up for the cost
                           consequences of any current tax liability in the amounts it charges
                           Interconnection Customer under this LGIA unless (i) Transmission
                           Provider has determined, in good faith, that the payments or property
                           transfers made by Interconnection Customer to Transmission
                           Provider should be reported as income subject to taxation or (ii) any
                           Governmental Authority directs Transmission Provider to report
                           payments or property as income subject to taxation; provided,
                           however, that Transmission Provider may require Interconnection
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                           Customer to provide security for Interconnection Facilities, in a form
                           reasonably acceptable to Transmission Provider (such as a parental
                           guarantee or a letter of credit), in an amount equal to the cost
                           consequences of any current tax liability under this Article 5.17.
                           Interconnection Customer shall reimburse Transmission Provider for
                           such costs on a fully grossed-up basis, in accordance with Article
                           5.17.4, within thirty (30) Calendar Days of receiving written
                           notification from Transmission Provider of the amount due,
                           including detail about how the amount was calculated.

                           The indemnification obligation shall terminate at the earlier of (1)
                           the expiration of the ten year testing period and the applicable statute
                           of limitation, as it may be extended by Transmission Provider upon
                           request of the IRS, to keep these years open for audit or adjustment,
                           or (2) the occurrence of a subsequent taxable event and the payment
                           of any related indemnification obligations as contemplated by this
                           Article 5.17.

               5.17.4      Tax Gross-Up Amount. Interconnection Customer's liability for
                           the cost consequences of any current tax liability under this Article
                           5.17 shall be calculated on a fully grossed-up basis. Except as may
                           otherwise be agreed to by the parties, this means that Interconnection
                           Customer will pay Transmission Provider, in addition to the amount
                           paid for the Interconnection Facilities and Network Upgrades, an
                           amount equal to (1) the current taxes imposed on Transmission
                           Provider ("Current Taxes") on the excess of (a) the gross income
                           realized by Transmission Provider as a result of payments or
                           property transfers made by Interconnection Customer to
                           Transmission Provider under this LGIA (without regard to any
                           payments under this Article 5.17) (the "Gross Income Amount")
                           over (b) the present value of future tax deductions for depreciation
                           that will be available as a result of such payments or property
                           transfers (the "Present Value Depreciation Amount"), plus (2) an
                           additional amount sufficient to permit Transmission Provider to
                           receive and retain, after the payment of all Current Taxes, an amount
                           equal to the net amount described in clause (1).

                           For this purpose, (i) Current Taxes shall be computed based on
                           Transmission Provider's composite federal and state tax rates at the
                           time the payments or property transfers are received and
                           Transmission Provider will be treated as being subject to tax at the
                           highest marginal rates in effect at that time (the "Current Tax Rate"),
                           and (ii) the Present Value Depreciation Amount shall be computed
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                           by discounting Transmission Provider's anticipated tax depreciation
                           deductions as a result of such payments or property transfers by
                           Transmission Provider's current weighted average cost of capital.
                           Thus, the formula for calculating Interconnection Customer's
                           liability to Transmission Owner pursuant to this Article 5.17.4 can
                           be expressed as follows: (Current Tax Rate x (Gross Income
                           Amount – Present Value of Tax Depreciation))/(1-Current Tax
                           Rate). Interconnection Customer's estimated tax liability in the
                           event taxes are imposed shall be stated in Appendix A,
                           Interconnection Facilities, Network Upgrades and Distribution
                           Upgrades.

               5.17.5      Private Letter Ruling or Change or Clarification of Law. At
                           Interconnection Customer's request and expense, Transmission
                           Provider shall file with the IRS a request for a private letter ruling as
                           to whether any property transferred or sums paid, or to be paid, by
                           Interconnection Customer to Transmission Provider under this LGIA
                           are subject to federal income taxation. Interconnection Customer
                           will prepare the initial draft of the request for a private letter ruling,
                           and will certify under penalties of perjury that all facts represented in
                           such request are true and accurate to the best of Interconnection
                           Customer's knowledge. Transmission Provider and Interconnection
                           Customer shall cooperate in good faith with respect to the
                           submission of such request.

                           Transmission Provider shall keep Interconnection Customer fully
                           informed of the status of such request for a private letter ruling and
                           shall execute either a privacy act waiver or a limited power of
                           attorney, in a form acceptable to the IRS, that authorizes
                           Interconnection Customer to participate in all discussions with the
                           IRS regarding such request for a private letter ruling. Transmission
                           Provider shall allow Interconnection Customer to attend all meetings
                           with IRS officials about the request and shall permit Interconnection
                           Customer to prepare the initial drafts of any follow-up letters in
                           connection with the request.

               5.17.6      Subsequent Taxable Events. If, within 10 years from the date on
                           which the relevant Transmission Provider's Interconnection
                           Facilities are placed in service, (i) Interconnection Customer
                           Breaches the covenants contained in Article 5.17.2, (ii) a
                           "disqualification event" occurs within the meaning of IRS Notice 88-
                           129, or (iii) this LGIA terminates and Transmission Provider retains
                           ownership of the Interconnection Facilities and Network Upgrades,
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                           Interconnection Customer shall pay a tax gross-up for the cost
                           consequences of any current tax liability imposed on Transmission
                           Provider, calculated using the methodology described in Article
                           5.17.4 and in accordance with IRS Notice 90-60.

               5.17.7      Contests. In the event any Governmental Authority determines that
                           Transmission Provider's receipt of payments or property constitutes
                           income that is subject to taxation, Transmission Provider shall notify
                           Interconnection Customer, in writing, within thirty (30) Calendar
                           Days of receiving notification of such determination by a
                           Governmental Authority. Upon the timely written request by
                           Interconnection Customer and at Interconnection Customer's sole
                           expense, Transmission Provider may appeal, protest, seek abatement
                           of, or otherwise oppose such determination. Upon Interconnection
                           Customer's written request and sole expense, Transmission Provider
                           may file a claim for refund with respect to any taxes paid under this
                           Article 5.17, whether or not it has received such a determination.
                           Transmission Provider reserves the right to make all decisions with
                           regard to the prosecution of such appeal, protest, abatement or other
                           contest, including the selection of counsel and compromise or
                           settlement of the claim, but Transmission Provider shall keep
                           Interconnection Customer informed, shall consider in good faith
                           suggestions from Interconnection Customer about the conduct of the
                           contest, and shall reasonably permit Interconnection Customer or an
                           Interconnection Customer representative to attend contest
                           proceedings.

                           Interconnection Customer shall pay to Transmission Provider on a
                           periodic basis, as invoiced by Transmission Provider, Transmission
                           Provider's documented reasonable costs of prosecuting such appeal,
                           protest, abatement or other contest. At any time during the contest,
                           Transmission Provider may agree to a settlement either with
                           Interconnection Customer's consent or after obtaining written advice
                           from nationally recognized tax counsel, selected by Transmission
                           Provider, but reasonably acceptable to Interconnection Customer,
                           that the proposed settlement represents a reasonable settlement given
                           the hazards of litigation. Interconnection Customer's obligation shall
                           be based on the amount of the settlement agreed to by
                           Interconnection Customer, or if a higher amount, so much of the
                           settlement that is supported by the written advice from nationally
                           recognized tax counsel selected under the terms of the preceding
                           sentence. The settlement amount shall be calculated on a fully
                           grossed-up basis to cover any related cost consequences of the
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                           current tax liability. Any settlement without Interconnection
                           Customer's consent or such written advice will relieve
                           Interconnection Customer from any obligation to indemnify
                           Transmission Provider for the tax at issue in the contest.

               5.17.8      Refund. In the event that (a) a private letter ruling is issued to
                           Transmission Provider which holds that any amount paid or the
                           value of any property transferred by Interconnection Customer to
                           Transmission Provider under the terms of this LGIA is not subject to
                           federal income taxation, (b) any legislative change or administrative
                           announcement, notice, ruling or other determination makes it
                           reasonably clear to Transmission Provider in good faith that any
                           amount paid or the value of any property transferred by
                           Interconnection Customer to Transmission Provider under the terms
                           of this LGIA is not taxable to Transmission Provider, (c) any
                           abatement, appeal, protest, or other contest results in a determination
                           that any payments or transfers made by Interconnection Customer to
                           Transmission Provider are not subject to federal income tax, or (d) if
                           Transmission Provider receives a refund from any taxing authority
                           for any overpayment of tax attributable to any payment or property
                           transfer made by Interconnection Customer to Transmission
                           Provider pursuant to this LGIA, Transmission Provider shall
                           promptly refund to Interconnection Customer the following:

                                  (i) any payment made by Interconnection Customer under this
                                  Article 5.17 for taxes that is attributable to the amount
                                  determined to be non-taxable, together with interest thereon,

                                  (ii) interest on any amounts paid by Interconnection Customer
                                  to Transmission Provider for such taxes which Transmission
                                  Provider did not submit to the taxing authority, calculated in
                                  accordance with the methodology set forth in FERC's
                                  regulations at 18 CFR § 35.19a(a)(2)(iii) from the date
                                  payment was made by Interconnection Customer to the date
                                  Transmission Provider refunds such payment to
                                  Interconnection Customer, and

                                  (iii) with respect to any such taxes paid by Transmission
                                  Provider, any refund or credit Transmission Provider receives
                                  or to which it may be entitled from any Governmental
                                  Authority, interest (or that portion thereof attributable to the
                                  payment described in clause (i), above) owed to Transmission
                                  Provider for such overpayment of taxes (including any
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                                  reduction in interest otherwise payable by Transmission
                                  Provider to any Governmental Authority resulting from an
                                  offset or credit); provided, however, that Transmission
                                  Provider will remit such amount promptly to Interconnection
                                  Customer only after and to the extent that Transmission
                                  Provider has received a tax refund, credit or offset from any
                                  Governmental Authority for any applicable overpayment of
                                  income tax related to Transmission Provider's Interconnection
                                  Facilities.

                           The intent of this provision is to leave the Parties, to the extent
                           practicable, in the event that no taxes are due with respect to any
                           payment for Interconnection Facilities and Network Upgrades
                           hereunder, in the same position they would have been in had no such
                           tax payments been made.

               5.17.9      Taxes Other Than Income Taxes. Upon the timely request by
                           Interconnection Customer, and at Interconnection Customer's sole
                           expense, Transmission Provider may appeal, protest, seek abatement
                           of, or otherwise contest any tax (other than federal or state income
                           tax) asserted or assessed against Transmission Provider for which
                           Interconnection Customer may be required to reimburse
                           Transmission Provider under the terms of this LGIA.
                           Interconnection Customer shall pay to Transmission Provider on a
                           periodic basis, as invoiced by Transmission Provider, Transmission
                           Provider's documented reasonable costs of prosecuting such appeal,
                           protest, abatement, or other contest. Interconnection Customer and
                           Transmission Provider shall cooperate in good faith with respect to
                           any such contest. Unless the payment of such taxes is a prerequisite
                           to an appeal or abatement or cannot be deferred, no amount shall be
                           payable by Interconnection Customer to Transmission Provider for
                           such taxes until they are assessed by a final, non-appealable order by
                           any court or agency of competent jurisdiction. In the event that a tax
                           payment is withheld and ultimately due and payable after appeal,
                           Interconnection Customer will be responsible for all taxes, interest
                           and penalties, other than penalties attributable to any delay caused
                           by Transmission Provider.

               5.17.10     Transmission Owners Who Are Not Transmission Providers. If
                           Transmission Provider is not the same entity as the Transmission
                           Owner, then (i) all references in this Article 5.17 to Transmission
                           Provider shall be deemed also to refer to and to include the
                           Transmission Owner, as appropriate, and (ii) this LGIA shall not
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                              become effective until such Transmission Owner shall have agreed
                              in writing to assume all of the duties and obligations of Transmission
                              Provider under this Article 5.17 of this LGIA.

         5.18   Tax Status. Each Party shall cooperate with the other to maintain the other
                Party's tax status. Nothing in this LGIA is intended to adversely affect any
                Transmission Provider's tax exempt status with respect to the issuance of bonds
                including, but not limited to, Local Furnishing Bonds.

         5.19   Modification.

                5.19.1 General. Either Party may undertake modifications to its facilities. If a
                            Party plans to undertake a modification that reasonably may be
                            expected to affect the other Party's facilities, that Party shall provide
                            to the other Party sufficient information regarding such modification
                            so that the other Party may evaluate the potential impact of such
                            modification prior to commencement of the work. Such information
                            shall be deemed to be confidential hereunder and shall include
                            information concerning the timing of such modifications and
                            whether such modifications are expected to interrupt the flow of
                            electricity from the Large Generating Facility. The Party desiring to
                            perform such work shall provide the relevant drawings, plans, and
                            specifications to the other Party at least ninety (90) Calendar Days in
                            advance of the commencement of the work or such shorter period
                            upon which the Parties may agree, which agreement shall not
                            unreasonably be withheld, conditioned or delayed.

                              In the case of Large Generating Facility modifications that do not
                              require Interconnection Customer to submit an Interconnection
                              Request, Transmission Provider shall provide, within thirty (30)
                              Calendar Days (or such other time as the Parties may agree), an
                              estimate of any additional modifications to the Transmission System,
                              Transmission Provider's Interconnection Facilities or Network
                              Upgrades necessitated by such Interconnection Customer
                              modification and a good faith estimate of the costs thereof.

                5.19.2        Standards. Any additions, modifications, or replacements made to
                              a Party's facilities shall be designed, constructed and operated in
                              accordance with this LGIA and Good Utility Practice.

                5.19.3        Modification Costs. Interconnection Customer shall not be directly
                              assigned for the costs of any additions, modifications, or
                              replacements that Transmission Provider makes to Transmission
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                              Provider's Interconnection Facilities or the Transmission System to
                              facilitate the interconnection of a third party to Transmission
                              Provider's Interconnection Facilities or the Transmission System, or
                              to provide transmission service to a third party under Transmission
                              Provider's Tariff. Interconnection Customer shall be responsible for
                              the costs of any additions, modifications, or replacements to
                              Interconnection Customer's Interconnection Facilities that may be
                              necessary to maintain or upgrade such Interconnection Customer's
                              Interconnection Facilities consistent with Applicable Laws and
                              Regulations, Applicable Reliability Standards or Good Utility
                              Practice.

         Article 6.    Testing and Inspection

         6.1    Pre-Commercial Operation Date Testing and Modifications. Prior to the
                Commercial Operation Date, Transmission Provider shall test Transmission
                Provider's Interconnection Facilities and Network Upgrades and Interconnection
                Customer shall test the Large Generating Facility and Interconnection Customer's
                Interconnection Facilities to ensure their safe and reliable operation. Similar
                testing may be required after initial operation. Each Party shall make any
                modifications to its facilities that are found to be necessary as a result of such
                testing. Interconnection Customer shall bear the cost of all such testing and
                modifications. Interconnection Customer shall generate test energy at the Large
                Generating Facility only if it has arranged for the delivery of such test energy.

         6.2    Post-Commercial Operation Date Testing and Modifications. Each Party shall
                at its own expense perform routine inspection and testing of its facilities and
                equipment in accordance with Good Utility Practice as may be necessary to ensure
                the continued interconnection of the Large Generating Facility with the
                Transmission System in a safe and reliable manner. Each Party shall have the
                right, upon advance written notice, to require reasonable additional testing of the
                other Party's facilities, at the requesting Party's expense, as may be in accordance
                with Good Utility Practice.

         6.3    Right to Observe Testing. Each Party shall notify the other Party in advance of
                its performance of tests of its Interconnection Facilities. The other Party has the
                right, at its own expense, to observe such testing.

         6.4    Right to Inspect. Each Party shall have the right, but shall have no obligation to:
                (i) observe the other Party's tests and/or inspection of any of its System Protection
                Facilities and other protective equipment, including Power System Stabilizers;
                (ii) review the settings of the other Party's System Protection Facilities and other
                protective equipment; and (iii) review the other Party's maintenance records
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                relative to the Interconnection Facilities, the System Protection Facilities and other
                protective equipment. A Party may exercise these rights from time to time as it
                deems necessary upon reasonable notice to the other Party. The exercise or non-
                exercise by a Party of any such rights shall not be construed as an endorsement or
                confirmation of any element or condition of the Interconnection Facilities or the
                System Protection Facilities or other protective equipment or the operation
                thereof, or as a warranty as to the fitness, safety, desirability, or reliability of same.
                Any information that a Party obtains through the exercise of any of its rights under
                this Article 6.4 shall be deemed to be Confidential Information and treated
                pursuant to Article 22 of this LGIA.

         Article 7.    Metering

         7.1    General. Each Party shall comply with the[Applicable Reliability Council]
                Electric Reliability Organization requirements. Unless otherwise agreed by the
                Parties, Transmission Provider shall install Metering Equipment at the Point of
                Interconnection prior to any operation of the Large Generating Facility and shall
                own, operate, test and maintain such Metering Equipment. Power flows to and
                from the Large Generating Facility shall be measured at or, at Transmission
                Provider’s option, compensated to, the Point of Interconnection. Transmission
                Provider shall provide metering quantities, in analog and/or digital form, to
                Interconnection Customer upon request. Interconnection Customer shall bear all
                reasonable documented costs associated with the purchase, installation, operation,
                testing and maintenance of the Metering Equipment.

         7.2    Check Meters. Interconnection Customer, at its option and expense, may install
                and operate, on its premises and on its side of the Point of Interconnection, one or
                more check meters to check Transmission Provider's meters. Such check meters
                shall be for check purposes only and shall not be used for the measurement of
                power flows for purposes of this LGIA, except as provided in Article 7.4 below.
                The check meters shall be subject at all reasonable times to inspection and
                examination by Transmission Provider or its designee. The installation, operation
                and maintenance thereof shall be performed entirely by Interconnection Customer
                in accordance with Good Utility Practice.

         7.3    Standards. Transmission Provider shall install, calibrate, and test revenue quality
                Metering Equipment in accordance with applicable ANSI standards.

         7.4    Testing of Metering Equipment. Transmission Provider shall inspect and test all
                Transmission Provider-owned Metering Equipment upon installation and at least
                once every two (2) years thereafter. If requested to do so by Interconnection
                Customer, Transmission Provider shall, at Interconnection Customer's expense,
                inspect or test Metering Equipment more frequently than every two (2) years.
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                Transmission Provider shall give reasonable notice of the time when any
                inspection or test shall take place, and Interconnection Customer may have
                representatives present at the test or inspection. If at any time Metering
                Equipment is found to be inaccurate or defective, it shall be adjusted, repaired or
                replaced at Interconnection Customer's expense, in order to provide accurate
                metering, unless the inaccuracy or defect is due to Transmission Provider's failure
                to maintain, then Transmission Provider shall pay. If Metering Equipment fails to
                register, or if the measurement made by Metering Equipment during a test varies
                by more than two percent from the measurement made by the standard meter used
                in the test, Transmission Provider shall adjust the measurements by correcting all
                measurements for the period during which Metering Equipment was in error by
                using Interconnection Customer's check meters, if installed. If no such check
                meters are installed or if the period cannot be reasonably ascertained, the
                adjustment shall be for the period immediately preceding the test of the Metering
                Equipment equal to one-half the time from the date of the last previous test of the
                Metering Equipment.

         7.5    Metering Data. At Interconnection Customer's expense, the metered data shall be
                telemetered to one or more locations designated by Transmission Provider and one
                or more locations designated by Interconnection Customer. Such telemetered data
                shall be used, under normal operating conditions, as the official measurement of
                the amount of energy delivered from the Large Generating Facility to the Point of
                Interconnection.

         Article 8.    Communications

         8.1    Interconnection Customer Obligations. Interconnection Customer shall
                maintain satisfactory operating communications with Transmission Provider's
                Transmission System dispatcher or representative designated by Transmission
                Provider. Interconnection Customer shall provide standard voice line, dedicated
                voice line and facsimile communications at its Large Generating Facility control
                room or central dispatch facility through use of either the public telephone system,
                or a voice communications system that does not rely on the public telephone
                system. Interconnection Customer shall also provide the dedicated data circuit(s)
                necessary to provide Interconnection Customer data to Transmission Provider as
                set forth in Appendix D, Security Arrangements Details. The data circuit(s) shall
                extend from the Large Generating Facility to the location(s) specified by
                Transmission Provider. Any required maintenance of such communications
                equipment shall be performed by Interconnection Customer. Operational
                communications shall be activated and maintained under, but not be limited to, the
                following events: system paralleling or separation, scheduled and unscheduled
                shutdowns, equipment clearances, and hourly and daily load data.
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         8.2   Remote Terminal Unit. Prior to the Initial Synchronization Date of the Large
               Generating Facility, a Remote Terminal Unit, or equivalent data collection and
               transfer equipment acceptable to the Parties, shall be installed by Interconnection
               Customer, or by Transmission Provider at Interconnection Customer's expense, to
               gather accumulated and instantaneous data to be telemetered to the location(s)
               designated by Transmission Provider through use of a dedicated point-to-point
               data circuit(s) as indicated in Article 8.1. The communication protocol for the
               data circuit(s) shall be specified by Transmission Provider. Instantaneous bi-
               directional analog real power and reactive power flow information must be
               telemetered directly to the location(s) specified by Transmission Provider.

               Each Party will promptly advise the other Party if it detects or otherwise learns of
               any metering, telemetry or communications equipment errors or malfunctions that
               require the attention and/or correction by the other Party. The Party owning such
               equipment shall correct such error or malfunction as soon as reasonably feasible.

         8.3   No Annexation. Any and all equipment placed on the premises of a Party shall be
               and remain the property of the Party providing such equipment regardless of the
               mode and manner of annexation or attachment to real property, unless otherwise
               mutually agreed by the Parties.

         8.4     Provision of Data from a Variable Energy Resource. The Interconnection
         Customer whose Generating Facility contains at least one[is] Variable Energy Resource
         shall provide meteorological and forced outage data to the Transmission Provider to the
         extent necessary for the Transmission Provider’s development and deployment of power
         production forecasts for that class of Variable Energy Resources. The Interconnection
         Customer with a Variable Energy Resource having wind as the energy source, at a
         minimum, will be required to provide the Transmission Provider with site-specific
         meteorological data including: temperature, wind speed, wind direction, and atmospheric
         pressure. The Interconnection Customer with a Variable Energy Resource having solar
         as the energy source, at a minimum, will be required to provide the Transmission
         Provider with site-specific meteorological data including: temperature, atmospheric
         pressure, and irradiance. The Transmission Provider and Interconnection Customer
         whose Generating Facility contains [is] a Variable Energy Resource shall mutually agree
         to any additional meteorological data that are required for the development and
         deployment of a power production forecast. The Interconnection Customer whose
         Generating Facility contains [is] a Variable Energy Resource also shall submit data to the
         Transmission Provider regarding all forced outages to the extent necessary for the
         Transmission Provider’s development and deployment of power production forecasts for
         that class of Variable Energy Resources. The exact specifications of the meteorological
         and forced outage data to be provided by the Interconnection Customer to the
         Transmission Provider, including the frequency and timing of data submittals, shall be
         made taking into account the size and configuration of the Variable Energy Resource, its
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         characteristics, location, and its importance in maintaining generation resource adequacy
         and transmission system reliability in its area. All requirements for meteorological and
         forced outage data must be commensurate with the power production forecasting
         employed by the Transmission Provider. Such requirements for meteorological and
         forced outage data are set forth in Appendix C, Interconnection Details, of this LGIA, as
         they may change from time to time.

         Article 9.    Operations

         9.1    General. Each Party shall comply with the[Applicable Reliability Council]
                Electric Reliability Organization requirements. Each Party shall provide to the
                other Party all information that may reasonably be required by the other Party to
                comply with Applicable Laws and Regulations and Applicable Reliability
                Standards.

         9.2    [Control Area]Balancing Authority Area Notification. At least three months
                before Initial Synchronization Date, Interconnection Customer shall notify
                Transmission Provider in writing of the [Control Area]Balancing Authority Area
                in which the Large Generating Facility will be located. If Interconnection
                Customer elects to locate the Large Generating Facility in a[Control Area]
                Balancing Authority Area other than the [Control Area]Balancing Authority Area
                in which the Large Generating Facility is physically located, and if permitted to do
                so by the relevant transmission tariffs, all necessary arrangements, including but
                not limited to those set forth in Article 7 and Article 8 of this LGIA, and remote
                [Control Area]Balancing Authority Area generator interchange agreements, if
                applicable, and the appropriate measures under such agreements, shall be executed
                and implemented prior to the placement of the Large Generating Facility in the
                other [Control Area]Balancing Authority Area.

         9.3    Transmission Provider Obligations. Transmission Provider shall cause the
                Transmission System and Transmission Provider's Interconnection Facilities to be
                operated, maintained and controlled in a safe and reliable manner and in
                accordance with this LGIA. Transmission Provider may provide operating
                instructions to Interconnection Customer consistent with this LGIA and
                Transmission Provider's operating protocols and procedures as they may change
                from time to time. Transmission Provider will consider changes to its operating
                protocols and procedures proposed by Interconnection Customer.

         9.4     Interconnection Customer Obligations. Interconnection Customer shall at its
                own expense operate, maintain and control the Large Generating Facility and
                Interconnection Customer’s Interconnection Facilities in a safe and reliable
                manner and in accordance with this LGIA. Interconnection Customer shall
                operate the Large Generating Facility and Interconnection Customer’s
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               Interconnection Facilities in accordance with all applicable requirements of the
               [Control Area]Balancing Authority Area of which it is part, as such requirements
               are set forth in Appendix C, Interconnection Details, of this LGIA. Appendix C,
               Interconnection Details, will be modified to reflect changes to the requirements as
               they may change from time to time. Either Party may request that the other Party
               provide copies of the requirements set forth in Appendix C, Interconnection
               Details, of this LGIA.

         9.5   Start-Up and Synchronization. Consistent with the Parties' mutually acceptable
               procedures, Interconnection Customer is responsible for the proper
               synchronization of the Large Generating Facility to Transmission Provider's
               Transmission System.

         9.6   Reactive Power and Primary Frequency Response.

               9.6.1 Power Factor Design Criteria.

                      9.6.1.1       Synchronous Generation. Interconnection Customer shall
                                    design the Large Generating Facility to maintain a composite
                                    power delivery at continuous rated power output at the Point
                                    of Interconnection at a power factor within the range of 0.95
                                    leading to 0.95 lagging, unless [the]Transmission Provider
                                    has established different requirements that apply to all
                                    synchronous generators in the [Control Area]Balancing
                                    Authority Area on a comparable basis.

                      9.6.1.2       Non-Synchronous Generation. Interconnection Customer
                                    shall design the Large Generating Facility to maintain a
                                    composite power delivery at continuous rated power output at
                                    the high-side of the generator substation at a power factor
                                    within the range of 0.95 leading to 0.95 lagging, unless[the]
                                    Transmission Provider has established a different power
                                    factor range that applies to all non-synchronous generators in
                                    the [Control Area]Balancing Authority Area on a comparable
                                    basis. This power factor range standard shall be dynamic and
                                    can be met using, for example, power electronics designed to
                                    supply this level of reactive capability (taking into account
                                    any limitations due to voltage level, real power output, etc.)
                                    or fixed and switched capacitors, or a combination of the two.
                                    This requirement shall only apply to newly interconnecting
                                    non-synchronous generators that have not yet executed a
                                    Facilities Study Agreement as of the effective date of the
                                    Final Rule establishing this requirement (Order No. 827).
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               9.6.2 Voltage Schedules. Once Interconnection Customer has synchronized the
                     Large Generating Facility with the Transmission System, Transmission
                     Provider shall require Interconnection Customer to operate the
                     LargeGenerating Facility to produce or absorb reactive power within the
                     design limitations of the Large Generating Facility set forth in Article 9.6.1
                     (Power Factor Design Criteria). Transmission Provider’s voltage schedules
                     shall treat all sources of reactive power in the [Control Area]Balancing
                     Authority Area in an equitable and not unduly discriminatory manner.
                     Transmission Provider shall exercise Reasonable Efforts to provide
                     Interconnection Customer with such schedules at least one (1) day in
                     advance, and may make changes to such schedules as necessary to maintain
                     the reliability of the Transmission System. Interconnection Customer shall
                     operate the Large Generating Facility to maintain the specified output
                     voltage or power factor at the Point of Interconnection within the design
                     limitations of the Large Generating Facility set forth in Article 9.6.1 (Power
                     Factor Design Criteria). If Interconnection Customer is unable to maintain
                     the specified voltage or power factor, it shall promptly notify the System
                     Operator.

                      9.6.2.1       Voltage Regulators. Whenever the Large Generating Facility
                                    is operated in parallel with the Transmission System and
                                    voltage regulators are capable of operation, Interconnection
                                    Customer shall operate the Large Generating Facility with its
                                    voltage regulators in automatic operation. If the Large
                                    Generating Facility's voltage regulators are not capable of
                                    such automatic operation, Interconnection Customer shall
                                    immediately notify Transmission Provider’s system operator,
                                    or its designated representative, and ensure that such Large
                                    Generating Facility’s reactive power production or absorption
                                    (measured in MVARs) are within the design capability of the
                                    Large Generating Facility’s generating unit(s) and steady
                                    state stability limits. Interconnection Customer shall not cause
                                    its Large Generating Facility to disconnect automatically or
                                    instantaneously from the Transmission System or trip any
                                    generating unit comprising the Large Generating Facility for
                                    an under or over frequency condition unless the abnormal
                                    frequency condition persists for a time period beyond the
                                    limits set forth in ANSI/IEEE Standard C37.106, or such
                                    other standard as applied to other generators in the [Control
                                    Area]Balancing Authority Area on a comparable basis.

               9.6.3 Payment for Reactive Power. Transmission Provider is required to pay
                     Interconnection Customer for reactive power that Interconnection Customer
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                     provides or absorbs from the Large Generating Facility when Transmission
                     Provider requests Interconnection Customer to operate its Large Generating
                     Facility outside the range specified in Article 9.6.1, provided that if
                     Transmission Provider pays its own or affiliated generators for reactive
                     power service within the specified range, it must also pay Interconnection
                     Customer. Payments shall be pursuant to Article 11.6 or such other
                     agreement to which the Parties have otherwise agreed.

               9.6.4 Primary Frequency Response. Interconnection Customer shall
                     ensure the primary frequency response capability of its Large Generating
                     Facility by installing, maintaining, and operating a functioning governor or
                     equivalent controls. The term “functioning governor or equivalent
                     controls” as used herein shall mean the required hardware and/or software
                     that provides frequency responsive real power control with the ability to
                     sense changes in system frequency and autonomously adjust the Large
                     Generating Facility’s real power output in accordance with the droop and
                     deadband parameters and in the direction needed to correct frequency
                     deviations. Interconnection Customer is required to install a governor or
                     equivalent controls with the capability of operating: (1) with a maximum 5
                     percent droop and ±0.036 Hz deadband; or (2) in accordance with the
                     relevant droop, deadband, and timely and sustained response settings from
                     an approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for equivalent or more stringent parameters. The
                     droop characteristic shall be: (1) based on the nameplate capacity of the
                     Large Generating Facility, and shall be linear in the range of frequencies
                     between 59 to 61 Hz that are outside of the deadband parameter; or (2)
                     based an approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for an equivalent or more stringent parameter. The
                     deadband parameter shall be: the range of frequencies above and below
                     nominal (60 Hz) in which the governor or equivalent controls is not
                     expected to adjust the Large Generating Facility’s real power output in
                     response to frequency deviations. The deadband shall be implemented: (1)
                     without a step to the droop curve, that is, once the frequency deviation
                     exceeds the deadband parameter, the expected change in the Large
                     Generating Facility’s real power output in response to frequency deviations
                     shall start from zero and then increase (for under-frequency deviations) or
                     decrease (for over-frequency deviations) linearly in proportion to the
                     magnitude of the frequency deviation; or (2) in accordance with an
                     approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for an equivalent or more stringent parameter.
                     Interconnection Customer shall notify Transmission Provider that the
                     primary frequency response capability of the Large Generating Facility has
                     been tested and confirmed during commissioning. Once Interconnection
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                     Customer has synchronized the Large Generating Facility with the
                     Transmission System, Interconnection Customer shall operate the Large
                     Generating Facility consistent with the provisions specified in Sections
                     9.6.4.1 and 9.6.4.2 of this Agreement. The primary frequency response
                     requirements contained herein shall apply to both synchronous and non-
                     synchronous Large Generating Facilities.

                     9.6.4.1      Governor or Equivalent Controls. Whenever the Large
                                  Generating Facility is operated in parallel with the
                                  Transmission System, Interconnection Customer shall operate
                                  the Large Generating Facility with its governor or equivalent
                                  controls in service and responsive to frequency.
                                  Interconnection Customer shall: (1) in coordination with
                                  Transmission Provider and/or the relevant balancing
                                  authority, set the deadband parameter to: (1) a
                                  maximum of ±0.036 Hz and set the droop parameter to a
                                  maximum of 5 percent; or (2) implement the relevant droop
                                  and deadband settings from an approved [NERC] Electric
                                  Reliability Organization [R]reliability [S]standard that
                                  provides for equivalent or more stringent parameters.
                                  Interconnection Customer shall be required to provide the
                                  status and settings of the governor or equivalent controls to
                                  Transmission Provider and/or the relevant balancing authority
                                  upon request. If Interconnection
                                  Customer needs to operate the Large Generating Facility with
                                  its governor or equivalent controls not in service,
                                  Interconnection Customer shall immediately notify
                                  Transmission Provider and the relevant balancing authority,
                                  and provide both with the following information: (1) the
                                  operating status of the governor or equivalent controls (i.e.,
                                  whether it is currently out of service or when it will be taken
                                  out of service); (2) the reasons for removing the governor or
                                  equivalent controls from service; and (3) a reasonable
                                  estimate of when the governor or equivalent controls will be
                                  returned to service. Interconnection Customer shall make
                                  Reasonable Efforts to return its governor or equivalent
                                  controls into service as soon as practicable. Interconnection
                                  Customer shall make Reasonable Efforts to keep outages of
                                  the Large Generating Facility’s governor or equivalent
                                  controls to a minimum whenever the Large Generating
                                  Facility is operated in parallel with the Transmission System.
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                     9.6.4.2       Timely and Sustained Response. Interconnection Customer
                                   shall ensure that the Large Generating Facility’s real power
                                   response to sustained frequency deviations outside of the
                                   deadband setting is automatically provided and shall begin
                                   immediately after frequency deviates outside of the deadband,
                                   and to the extent the Large Generating Facility has operating
                                   capability in the direction needed to correct the frequency
                                   deviation. Interconnection Customer shall not block or
                                   otherwise inhibit the ability of the governor or equivalent
                                   controls to respond and shall ensure that the response is not
                                   inhibited, except under certain operational constraints
                                   including, but not limited to, ambient temperature limitations,
                                   physical energy limitations, outages of mechanical
                                   equipment, or regulatory requirements. The Large
                                   Generating Facility shall sustain the real power response at
                                   least until system frequency returns to a value within the
                                   deadband setting of the governor or equivalent controls. A
                                   Commission-approved [R]reliability [S]standard with
                                   equivalent or more stringent requirements shall supersede the
                                   above requirements.

                     9.6.4.3       Exemptions. Large Generating Facilities that are regulated
                                   by the United States Nuclear Regulatory Commission shall be
                                   exempt from Sections 9.6.4, 9.6.4.1, and 9.6.4.2 of this
                                   Agreement. Large Generating Facilities that are behind the
                                   meter generation that is sized-to-load (i.e., the thermal load
                                   and the generation are near-balanced in real-time operation
                                   and the generation is primarily controlled to maintain the
                                   unique thermal, chemical, or mechanical output necessary for
                                   the operating requirements of its host facility) shall be
                                   required to install primary frequency response capability in
                                   accordance with the droop and deadband capability
                                   requirements specified in Section 9.6.4, but shall be otherwise
                                   exempt from the operating requirements in Sections 9.6.4,
                                   9.6.4.1, 9.6.4.2, and 9.6.4.4 of this Agreement.

                     9.6.4.4.      Electric Storage Resources. Interconnection Customer
                                   interconnecting a Generating Facility that contains an
                                   electric storage resource shall establish an operating range in
                                   Appendix C of its LGIA that specifies a minimum state of
                                   charge and a maximum state of charge between which the
                                   electric storage resource will be required to provide primary
                                   frequency response consistent with the conditions set forth in
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                                  Sections 9.6.4, 9.6.4.1, 9.6.4.2 and 9.6.4.3 of this Agreement.
                                  Appendix C shall specify whether the operating range is static
                                  or dynamic, and shall consider (1) the expected magnitude of
                                  frequency deviations in the interconnection; (2) the expected
                                  duration that system frequency will remain outside of the
                                  deadband parameter in the interconnection; (3) the expected
                                  incidence of frequency deviations outside of the deadband
                                  parameter in the interconnection; (4) the physical capabilities
                                  of the electric storage resource; (5) operational limitations of
                                  the electric storage resource due to manufacturer
                                  specifications; and (6) any other relevant factors agreed to by
                                  Transmission Provider and Interconnection Customer, and in
                                  consultation with the relevant transmission owner or
                                  balancing authority as appropriate. If the operating range is
                                  dynamic, then Appendix C must establish how frequently the
                                  operating range will be reevaluated and the factors that may
                                  be considered during its reevaluation.

                                  Interconnection Customer’s electric storage resource is
                                  required to provide timely and sustained primary frequency
                                  response consistent with Section 9.6.4.2 of this Agreement
                                  when it is online and dispatched to inject electricity to the
                                  Transmission System and/or receive electricity from the
                                  Transmission System. This excludes circumstances when the
                                  electric storage resource is not dispatched to inject electricity
                                  to the Transmission System and/or dispatched to receive
                                  electricity from the Transmission System. If Interconnection
                                  Customer’s electric storage resource is charging at the time of
                                  a frequency deviation outside of its deadband parameter, it is
                                  to increase (for over-frequency deviations) or decrease (for
                                  under-frequency deviations) the rate at which it is charging in
                                  accordance with its droop parameter. Interconnection
                                  Customer’s electric storage resource is not required to change
                                  from charging to discharging, or vice versa, unless the
                                  response necessitated by the droop and deadband settings
                                  requires it to do so and it is technically capable of making
                                  such a transition.
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         9.7   Outages and Interruptions.

               9.7.1 Outages.

                     9.7.1.1      Outage Authority and Coordination. Each Party may in
                                  accordance with Good Utility Practice in coordination with
                                  the other Party remove from service any of its respective
                                  Interconnection Facilities or Network Upgrades that may
                                  impact the other Party's facilities as necessary to perform
                                  maintenance or testing or to install or replace equipment.
                                  Absent an Emergency Condition, the Party scheduling a
                                  removal of such facility(ies) from service will use Reasonable
                                  Efforts to schedule such removal on a date and time mutually
                                  acceptable to the Parties. In all circumstances, any Party
                                  planning to remove such facility(ies) from service shall use
                                  Reasonable Efforts to minimize the effect on the other Party
                                  of such removal.

                     9.7.1.2      Outage Schedules. Transmission Provider shall post
                                  scheduled outages of its transmission facilities on the OASIS.
                                  Interconnection Customer shall submit its planned
                                  maintenance schedules for the Large Generating Facility to
                                  Transmission Provider for a minimum of a rolling twenty-
                                  four month period. Interconnection Customer shall update its
                                  planned maintenance schedules as necessary. Transmission
                                  Provider may request Interconnection Customer to reschedule
                                  its maintenance as necessary to maintain the reliability of the
                                  Transmission System; provided, however, adequacy of
                                  generation supply shall not be a criterion in determining
                                  Transmission System reliability. Transmission Provider shall
                                  compensate Interconnection Customer for any additional
                                  direct costs that Interconnection Customer incurs as a result
                                  of having to reschedule maintenance, including any additional
                                  overtime, breaking of maintenance contracts or other costs
                                  above and beyond the cost Interconnection Customer would
                                  have incurred absent Transmission Provider's request to
                                  reschedule maintenance. Interconnection Customer will not
                                  be eligible to receive compensation, if during the twelve (12)
                                  months prior to the date of the scheduled maintenance,
                                  Interconnection Customer had modified its schedule of
                                  maintenance activities.
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                     9.7.1.3       Outage Restoration. If an outage on a Party's
                                   Interconnection Facilities or Network Upgrades adversely
                                   affects the other Party's operations or facilities, the Party that
                                   owns or controls the facility that is out of service shall use
                                   Reasonable Efforts to promptly restore such facility(ies) to a
                                   normal operating condition consistent with the nature of the
                                   outage. The Party that owns or controls the facility that is out
                                   of service shall provide the other Party, to the extent such
                                   information is known, information on the nature of the
                                   Emergency Condition, an estimated time of restoration, and
                                   any corrective actions required. Initial verbal notice shall be
                                   followed up as soon as practicable with written notice
                                   explaining the nature of the outage.

               9.7.2 Interruption of Service. If required by Good Utility Practice to do so,
                     Transmission Provider may require Interconnection Customer to interrupt
                     or reduce deliveries of electricity if such delivery of electricity could
                     adversely affect Transmission Provider's ability to perform such activities
                     as are necessary to safely and reliably operate and maintain the
                     Transmission System. The following provisions shall apply to any
                     interruption or reduction permitted under this Article 9.7.2:

                     9.7.2.1       The interruption or reduction shall continue only for so long
                                   as reasonably necessary under Good Utility Practice;

                     9.7.2.2       Any such interruption or reduction shall be made on an
                                   equitable, non-discriminatory basis with respect to all
                                   generating facilities directly connected to the Transmission
                                   System;

                     9.7.2.3       When the interruption or reduction must be made under
                                   circumstances which do not allow for advance notice,
                                   Transmission Provider shall notify Interconnection Customer
                                   by telephone as soon as practicable of the reasons for the
                                   curtailment, interruption, or reduction, and, if known, its
                                   expected duration. Telephone notification shall be followed
                                   by written notification as soon as practicable;

                     9.7.2.4       Except during the existence of an Emergency Condition,
                                   when the interruption or reduction can be scheduled without
                                   advance notice, Transmission Provider shall notify
                                   Interconnection Customer in advance regarding the timing of
                                   such scheduling and further notify Interconnection Customer
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                                   of the expected duration. Transmission Provider shall
                                   coordinate with Interconnection Customer using Good Utility
                                   Practice to schedule the interruption or reduction during
                                   periods of least impact to Interconnection Customer and
                                   Transmission Provider;

                     9.7.2.5       The Parties shall cooperate and coordinate with each other to
                                   the extent necessary in order to restore the Large Generating
                                   Facility, Interconnection Facilities, and the Transmission
                                   System to their normal operating state, consistent with system
                                   conditions and Good Utility Practice.


               9.7.3 [Under-Frequency and Over Frequency Conditions]Ride Through
                     Capability and Performance. The Transmission System is designed to
                     automatically activate a load-shed program as required by the [Applicable
                     Reliability Council]Electric Reliability Organization in the event of an
                     underfrequency system disturbance. Interconnection Customer shall
                     implement under-frequency and over-frequency relay set points for the
                     Large Generating Facility as required by the[Applicable Reliability
                     Council] Electric Reliability Organization to ensure frequency “ride
                     through” capability of the Transmission System. Large Generating Facility
                     response to frequency deviations of pre-determined magnitudes, both
                     under-frequency and over-frequency deviations, shall be studied and
                     coordinated with Transmission Provider in accordance with Good Utility
                     Practice. Interconnection Customer shall also implement under-voltage
                     and over-voltage relay set points, or equivalent electronic controls, as
                     required by the Electric Reliability Organization to ensure voltage “ride
                     through” capability of the Transmission System. The term “ride through”
                     as used herein shall mean the ability of a Large Generating Facility to stay
                     connected to and synchronized with the Transmission System during
                     system disturbances within a range of under-frequency, [and]over-
                     frequency, under-voltage, and over-voltage conditions, in accordance with
                     Good Utility Practice and consistent with any standards and guidelines that
                     are applied to other Generating Facilities in the Balancing Authority Area
                     on a comparable basis. For abnormal frequency conditions and voltage
                     conditions within the “no trip zone” defined by Reliability Standard PRC-
                     024-3 or successor mandatory ride through reliability standards, the non-
                     synchronous Large Generating Facility must ensure that, within any
                     physical limitations of the Large Generating Facility, its control and
                     protection settings are configured or set to (1) continue active power
                     production during disturbance and post disturbance periods at pre-
                     disturbance levels, unless providing primary frequency response or fast
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                     frequency response; (2) minimize reductions in active power and remain
                     within dynamic voltage and current limits, if reactive power priority mode
                     is enabled, unless providing primary frequency response or fast frequency
                     response; (3) not artificially limit dynamic reactive power capability during
                     disturbances; and (4) return to pre-disturbance active power levels without
                     artificial ramp rate limits if active power is reduced, unless providing
                     primary frequency response or fast frequency response.

         9.7.4 System Protection and Other Control Requirements.

                     9.7.4.1       System Protection Facilities. Interconnection Customer
                                   shall, at its expense, install, operate and maintain System
                                   Protection Facilities as a part of the Large Generating Facility
                                   or Interconnection Customer's Interconnection Facilities.
                                   Transmission Provider shall install at Interconnection
                                   Customer's expense any System Protection Facilities that may
                                   be required on Transmission Provider's Interconnection
                                   Facilities or the Transmission System as a result of the
                                   interconnection of the Large Generating Facility and
                                   Interconnection Customer's Interconnection Facilities.

                     9.7.4.2       Each Party's protection facilities shall be designed and
                                   coordinated with other systems in accordance with Good
                                   Utility Practice.

                     9.7.4.3       Each Party shall be responsible for protection of its facilities
                                   consistent with Good Utility Practice.

                     9.7.4.4       Each Party's protective relay design shall incorporate the
                                   necessary test switches to perform the tests required in Article
                                   6. The required test switches will be placed such that they
                                   allow operation of lockout relays while preventing breaker
                                   failure schemes from operating and causing unnecessary
                                   breaker operations and/or the tripping of Interconnection
                                   Customer's units.

                     9.7.4.5       Each Party will test, operate and maintain System Protection
                                   Facilities in accordance with Good Utility Practice.

                     9.7.4.6       Prior to the In-Service Date, and again prior to the
                                   Commercial Operation Date, each Party or its agent shall
                                   perform a complete calibration test and functional trip test of
                                   the System Protection Facilities. At intervals suggested by
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                                    Good Utility Practice and following any apparent malfunction
                                    of the System Protection Facilities, each Party shall perform
                                    both calibration and functional trip tests of its System
                                    Protection Facilities. These tests do not require the tripping
                                    of any in-service generation unit. These tests do, however,
                                    require that all protective relays and lockout contacts be
                                    activated.

               9.7.5 Requirements for Protection. In compliance with Good Utility Practice,
                     Interconnection Customer shall provide, install, own, and maintain relays,
                     circuit breakers and all other devices necessary to remove any fault
                     contribution of the Large Generating Facility to any short circuit occurring
                     on the Transmission System not otherwise isolated by Transmission
                     Provider's equipment, such that the removal of the fault contribution shall
                     be coordinated with the protective requirements of the Transmission
                     System. Such protective equipment shall include, without limitation, a
                     disconnecting device or switch with load-interrupting capability located
                     between the Large Generating Facility and the Transmission System at a
                     site selected upon mutual agreement (not to be unreasonably withheld,
                     conditioned or delayed) of the Parties. Interconnection Customer shall be
                     responsible for protection of the Large Generating Facility and
                     Interconnection Customer's other equipment from such conditions as
                     negative sequence currents, over- or under-frequency, sudden load
                     rejection, over- or under-voltage, and generator loss-of-field.
                     Interconnection Customer shall be solely responsible to disconnect the
                     Large Generating Facility and Interconnection Customer's other equipment
                     if conditions on the Transmission System could adversely affect the Large
                     Generating Facility.

               9.7.6 Power Quality. Neither Party's facilities shall cause excessive voltage
                     flicker nor introduce excessive distortion to the sinusoidal voltage or
                     current waves as defined by ANSI Standard C84.1-1989, in accordance
                     with IEEE Standard 519, or any applicable superseding electric industry
                     standard. In the event of a conflict between ANSI Standard C84.1-1989, or
                     any applicable superseding electric industry standard, ANSI Standard
                     C84.1-1989, or the applicable superseding electric industry standard, shall
                     control.

         9.8   Switching and Tagging Rules. Each Party shall provide the other Party a copy of
               its switching and tagging rules that are applicable to the other Party's activities.
               Such switching and tagging rules shall be developed on a non-discriminatory
               basis. The Parties shall comply with applicable switching and tagging rules, as
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                amended from time to time, in obtaining clearances for work or for switching
                operations on equipment.

         9.9    Use of Interconnection Facilities by Third Parties.

                9.9.1 Purpose of Interconnection Facilities. Except as may be required by
                      Applicable Laws and Regulations, or as otherwise agreed to among the
                      Parties, the Interconnection Facilities shall be constructed for the sole
                      purpose of interconnecting the Large Generating Facility to the
                      Transmission System and shall be used for no other purpose.

                9.9.2 Third Party Users. If required by Applicable Laws and Regulations or if
                      the Parties mutually agree, such agreement not to be unreasonably
                      withheld, to allow one or more third parties to use Transmission Provider's
                      Interconnection Facilities, or any part thereof, Interconnection Customer
                      will be entitled to compensation for the capital expenses it incurred in
                      connection with the Interconnection Facilities based upon the pro rata use
                      of the Interconnection Facilities by Transmission Provider, all third party
                      users, and Interconnection Customer, in accordance with Applicable Laws
                      and Regulations or upon some other mutually agreed upon methodology.
                      In addition, cost responsibility for ongoing costs, including operation and
                      maintenance costs associated with the Interconnection Facilities, will be
                      allocated between Interconnection Customer and any third party users
                      based upon the pro rata use of the Interconnection Facilities by
                      Transmission Provider, all third party users, and Interconnection Customer,
                      in accordance with Applicable Laws and Regulations or upon some other
                      mutually agreed upon methodology. If the issue of such compensation or
                      allocation cannot be resolved through such negotiations, it shall be
                      submitted to FERC for resolution.

         9.10   Disturbance Analysis Data Exchange. The Parties will cooperate with one
                another in the analysis of disturbances to either the Large Generating Facility or
                Transmission Provider's Transmission System by gathering and providing access
                to any information relating to any disturbance, including information from
                oscillography, protective relay targets, breaker operations and sequence of events
                records, and any disturbance information required by Good Utility Practice.

         Article 10.   Maintenance

         10.1   Transmission Provider Obligations. Transmission Provider shall maintain the
                Transmission System and Transmission Provider's Interconnection Facilities in a
                safe and reliable manner and in accordance with this LGIA.
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         10.2   Interconnection Customer Obligations. Interconnection Customer shall
                maintain the Large Generating Facility and Interconnection Customer's
                Interconnection Facilities in a safe and reliable manner and in accordance with this
                LGIA.

         10.3   Coordination. The Parties shall confer regularly to coordinate the planning,
                scheduling and performance of preventive and corrective maintenance on the
                Large Generating Facility and the Interconnection Facilities.

         10.4   Secondary Systems. Each Party shall cooperate with the other in the inspection,
                maintenance, and testing of control or power circuits that operate below 600 volts,
                AC or DC, including, but not limited to, any hardware, control or protective
                devices, cables, conductors, electric raceways, secondary equipment panels,
                transducers, batteries, chargers, and voltage and current transformers that directly
                affect the operation of a Party's facilities and equipment which may reasonably be
                expected to impact the other Party. Each Party shall provide advance notice to the
                other Party before undertaking any work on such circuits, especially on electrical
                circuits involving circuit breaker trip and close contacts, current transformers, or
                potential transformers.

         10.5   Operating and Maintenance Expenses. Subject to the provisions herein
                addressing the use of facilities by others, and except for operations and
                maintenance expenses associated with modifications made for providing
                interconnection or transmission service to a third party and such third party pays
                for such expenses, Interconnection Customer shall be responsible for all
                reasonable expenses including overheads, associated with: (1) owning, operating,
                maintaining, repairing, and replacing Interconnection Customer's Interconnection
                Facilities; and (2) operation, maintenance, repair and replacement of Transmission
                Provider's Interconnection Facilities.

         Article 11.   Performance Obligation

         11.1   Interconnection Customer Interconnection Facilities. Interconnection
                Customer shall design, procure, construct, install, own and/or control
                Interconnection Customer Interconnection Facilities described in Appendix A,
                Interconnection Facilities, Network Upgrades and Distribution Upgrades, at its
                sole expense.

         11.2   Transmission Provider's Interconnection Facilities. Transmission Provider or
                Transmission Owner shall design, procure, construct, install, own and/or control
                the Transmission Provider's Interconnection Facilities described in Appendix A,
                Interconnection Facilities, Network Upgrades and Distribution Upgrades, at the
                sole expense of the Interconnection Customer.
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         11.3   Network Upgrades and Distribution Upgrades. Transmission Provider or
                Transmission Owner shall design, procure, construct, install, and own the Network
                Upgrades and Distribution Upgrades described in Appendix A, Interconnection
                Facilities, Network Upgrades and Distribution Upgrades. [The]Interconnection
                Customer shall be responsible for all costs related to Distribution Upgrades.
                Unless Transmission Provider or Transmission Owner elects to fund the capital for
                the Network Upgrades, they shall be solely funded by Interconnection Customer.

         11.4   Transmission Credits.

                11.4.1       Repayment of Amounts Advanced for Network Upgrades.
                             Interconnection Customer shall be entitled to a cash repayment,
                             equal to the total amount paid to Transmission Provider and
                             Affected System Operator, if any, for the Network Upgrades,
                             including any tax gross-up or other tax-related payments associated
                             with Network Upgrades, and not refunded to Interconnection
                             Customer pursuant to Article 5.17.8 or otherwise, to be paid to
                             Interconnection Customer on a dollar-for-dollar basis for the non-
                             usage sensitive portion of transmission charges, as payments are
                             made under Transmission Provider's Tariff and Affected System's
                             Tariff for transmission services with respect to the Large Generating
                             Facility. Any repayment shall include interest calculated in
                             accordance with the methodology set forth in FERC’s regulations at
                             18 C.F.R. § 35.19a(a)(2)(iii) from the date of any payment for
                             Network Upgrades through the date on which the Interconnection
                             Customer receives a repayment of such payment pursuant to this
                             subparagraph. Interconnection Customer may assign such
                             repayment rights to any person.

                             Notwithstanding the foregoing, Interconnection Customer,
                             Transmission Provider, and Affected System Operator may adopt
                             any alternative payment schedule that is mutually agreeable so long
                             as Transmission Provider and Affected System Operator take one of
                             the following actions no later than five years from the Commercial
                             Operation Date: (1) return to Interconnection Customer any
                             amounts advanced for Network Upgrades not previously repaid, or
                             (2) declare in writing that Transmission Provider or Affected System
                             Operator will continue to provide payments to Interconnection
                             Customer on a dollar-for-dollar basis for the non-usage sensitive
                             portion of transmission charges, or develop an alternative schedule
                             that is mutually agreeable and provides for the return of all amounts
                             advanced for Network Upgrades not previously repaid; however, full
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                             reimbursement shall not extend beyond twenty (20) years from the
                             Commercial Operation Date.

                             If the Large Generating Facility fails to achieve commercial
                             operation, but it or another Generating Facility is later constructed
                             and makes use of the Network Upgrades, Transmission Provider and
                             Affected System Operator shall at that time reimburse
                             Interconnection Customer for the amounts advanced for the Network
                             Upgrades. Before any such reimbursement can occur, the
                             Interconnection Customer, or the entity that ultimately constructs the
                             Generating Facility, if different, is responsible for identifying the
                             entity to which reimbursement must be made.

                11.4.2       Special Provisions for Affected Systems. Unless Transmission
                             Provider provides, under the LGIA, for the repayment of amounts
                             advanced to Affected System Operator for Network Upgrades,
                             Interconnection Customer and Affected System Operator shall enter
                             into an agreement that provides for such repayment. The agreement
                             shall specify the terms governing payments to be made by
                             Interconnection Customer to the Affected System Operator as well
                             as the repayment by the Affected System Operator.

                11.4.3       Notwithstanding any other provision of this LGIA, nothing herein
                             shall be construed as relinquishing or foreclosing any rights,
                             including but not limited to firm transmission rights, capacity rights,
                             transmission congestion rights, or transmission credits, that
                             Interconnection Customer, shall be entitled to, now or in the future
                             under any other agreement or tariff as a result of, or otherwise
                             associated with, the transmission capacity, if any, created by the
                             Network Upgrades, including the right to obtain cash
                             reimbursements or transmission credits for transmission service that
                             is not associated with the Large Generating Facility.

         11.5   Provision of Security. At least thirty (30) Calendar Days prior to the
                commencement of the procurement, installation, or construction of a discrete
                portion of a Transmission Provider's Interconnection Facilities, Network
                Upgrades, or Distribution Upgrades, Interconnection Customer shall provide
                Transmission Provider, at Interconnection Customer's option, a guarantee, a surety
                bond, letter of credit or other form of security that is reasonably acceptable to
                Transmission Provider and is consistent with the Uniform Commercial Code of
                the jurisdiction identified in Article 14.2.1. Such security for payment, as
                specified in Appendix B of this LGIA, shall be in an amount sufficient to cover the
                costs for constructing, procuring and installing the applicable portion of
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                Transmission Provider's Interconnection Facilities, Network Upgrades, or
                Distribution Upgrades and shall be reduced on a dollar-for-dollar basis for
                payments made to Transmission Provider for these purposes. Transmission
                Provider must use the LGIA Deposit required in Section 11.3 of the LGIP before
                requiring Interconnection Customer to submit security in addition to that LGIA
                Deposit. Transmission Provider must specify, in Appendix B of this LGIA, the
                dates for which Interconnection Customer must provide additional security for
                construction of each discrete portion of Transmission Provider's Interconnection
                Facilities, Network Upgrades, or Distribution Upgrades and Interconnection
                Customer must provide such additional security.

                         In addition:

                11.5.1          The guarantee must be made by an entity that meets the
                                creditworthiness requirements of Transmission Provider, and contain
                                terms and conditions that guarantee payment of any amount that may
                                be due from Interconnection Customer, up to an agreed-to maximum
                                amount.

                11.5.2          The letter of credit must be issued by a financial institution
                                reasonably acceptable to Transmission Provider and must specify a
                                reasonable expiration date.

                11.5.3          The surety bond must be issued by an insurer reasonably acceptable
                                to Transmission Provider and must specify a reasonable expiration
                                date.

         11.6   Interconnection Customer Compensation. If Transmission Provider requests
                or directs Interconnection Customer to provide a service pursuant to Articles 9.6.3
                (Payment for Reactive Power), or 13.5.1 of this LGIA, Transmission Provider
                shall compensate Interconnection Customer in accordance with Interconnection
                Customer's applicable rate schedule then in effect unless the provision of such
                service(s) is subject to an RTO or ISO FERC-approved rate schedule.
                Interconnection Customer shall serve Transmission Provider or RTO or ISO with
                any filing of a proposed rate schedule at the time of such filing with FERC. To the
                extent that no rate schedule is in effect at the time the Interconnection Customer is
                required to provide or absorb any Reactive Power under this LGIA, Transmission
                Provider agrees to compensate Interconnection Customer in such amount as would
                have been due Interconnection Customer had the rate schedule been in effect at the
                time service commenced; provided, however, that such rate schedule must be filed
                at FERC or other appropriate Governmental Authority within sixty (60) Calendar
                Days of the commencement of service.
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                11.6.1         Interconnection Customer Compensation for Actions During
                               Emergency Condition. Transmission Provider or RTO or ISO shall
                               compensate Interconnection Customer for its provision of real and
                               reactive power and other Emergency Condition services that
                               Interconnection Customer provides to support the Transmission
                               System during an Emergency Condition in accordance with Article
                               11.6.

         Article 12.     Invoice

         12.1 General. Each Party shall submit to the other Party, on a monthly basis, invoices
         of amounts due for the preceding month. Each invoice shall state the month to which the
         invoice applies and fully describe the services and equipment provided. The Parties may
         discharge mutual debts and payment obligations due and owing to each other on the same
         date through netting, in which case all amounts a Party owes to the other Party under this
         LGIA, including interest payments or credits, shall be netted so that only the net amount
         remaining due shall be paid by the owing Party.

         12.2   Final Invoice. Within six months after completion of the construction of
                Transmission Provider's Interconnection Facilities and the Network Upgrades,
                Transmission Provider shall provide an invoice of the final cost of the construction
                of Transmission Provider's Interconnection Facilities and the Network Upgrades
                and shall set forth such costs in sufficient detail to enable Interconnection
                Customer to compare the actual costs with the estimates and to ascertain
                deviations, if any, from the cost estimates. Transmission Provider shall refund to
                Interconnection Customer any amount by which the actual payment by
                Interconnection Customer for estimated costs exceeds the actual costs of
                construction within thirty (30) Calendar Days of the issuance of such final
                construction invoice.

         12.3   Payment. Invoices shall be rendered to the paying Party at the address specified
                in Appendix F. The Party receiving the invoice shall pay the invoice within thirty
                (30) Calendar Days of receipt. All payments shall be made in immediately
                available funds payable to the other Party, or by wire transfer to a bank named and
                account designated by the invoicing Party. Payment of invoices by either Party
                will not constitute a waiver of any rights or claims either Party may have under
                this LGIA.

         12.4   Disputes. In the event of a billing dispute between Transmission Provider and
                Interconnection Customer, Transmission Provider shall continue to provide
                Interconnection Service under this LGIA as long as Interconnection Customer: (i)
                continues to make all payments not in dispute; and (ii) pays to Transmission
                Provider or into an independent escrow account the portion of the invoice in
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                dispute, pending resolution of such dispute. If Interconnection Customer fails to
                meet these two requirements for continuation of service, then Transmission
                Provider may provide notice to Interconnection Customer of a Default pursuant to
                Article 17. Within thirty (30) Calendar Days after the resolution of the dispute,
                the Party that owes money to the other Party shall pay the amount due with
                interest calculated in accord with the methodology set forth in FERC's regulations
                at 18 CFR § 35.19a(a)(2)(iii).

         Article 13.   Emergencies

         13.1 Definition. "Emergency Condition" shall mean a condition or situation: (i) that in
         the judgment of the Party making the claim is imminently likely to endanger life or
         property; or (ii) that, in the case of Transmission Provider, is imminently likely (as
         determined in a non-discriminatory manner) to cause a material adverse effect on the
         security of, or damage to the Transmission System, Transmission Provider's
         Interconnection Facilities or the Transmission Systems of others to which the
         Transmission System is directly connected; or (iii) that, in the case of Interconnection
         Customer, is imminently likely (as determined in a non-discriminatory manner) to cause
         a material adverse effect on the security of, or damage to, the Large Generating Facility
         or Interconnection Customer's Interconnection Facilities' System restoration and black
         start shall be considered Emergency Conditions; provided, that Interconnection Customer
         is not obligated by this LGIA to possess black start capability.

         13.2   Obligations. Each Party shall comply with the Emergency Condition procedures
                of the applicable ISO/RTO, [NERC,] the [Applicable Reliability Council]Electric
                Reliability Organization, Applicable Laws and Regulations, and any emergency
                procedures agreed to by the Joint Operating Committee.

         13.3   Notice. Transmission Provider shall notify Interconnection Customer promptly
                when it becomes aware of an Emergency Condition that affects Transmission
                Provider's Interconnection Facilities or the Transmission System that may
                reasonably be expected to affect Interconnection Customer's operation of the
                Large Generating Facility or Interconnection Customer's Interconnection
                Facilities. Interconnection Customer shall notify Transmission Provider promptly
                when it becomes aware of an Emergency Condition that affects the Large
                Generating Facility or Interconnection Customer's Interconnection Facilities that
                may reasonably be expected to affect the Transmission System or Transmission
                Provider's Interconnection Facilities. To the extent information is known, the
                notification shall describe the Emergency Condition, the extent of the damage or
                deficiency, the expected effect on the operation of Interconnection Customer's or
                Transmission Provider's facilities and operations, its anticipated duration and the
                corrective action taken and/or to be taken. The initial notice shall be followed as
                soon as practicable with written notice.
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         13.4   Immediate Action. Unless, in Interconnection Customer's reasonable judgment,
                immediate action is required, Interconnection Customer shall obtain the consent of
                Transmission Provider, such consent to not be unreasonably withheld, prior to
                performing any manual switching operations at the Large Generating Facility or
                Interconnection Customer's Interconnection Facilities in response to an Emergency
                Condition either declared by Transmission Provider or otherwise regarding the
                Transmission System.

         13.5   Transmission Provider Authority.

                13.5.1 General. Transmission Provider may take whatever actions or inactions
                            with regard to the Transmission System or Transmission Provider's
                            Interconnection Facilities it deems necessary during an Emergency
                            Condition in order to (i) preserve public health and safety,
                            (ii) preserve the reliability of the Transmission System or
                            Transmission Provider's Interconnection Facilities, (iii) limit or
                            prevent damage, and (iv) expedite restoration of service.

                             Transmission Provider shall use Reasonable Efforts to minimize the
                             effect of such actions or inactions on the Large Generating Facility
                             or Interconnection Customer's Interconnection Facilities.
                             Transmission Provider may, on the basis of technical considerations,
                             require the Large Generating Facility to mitigate an Emergency
                             Condition by taking actions necessary and limited in scope to
                             remedy the Emergency Condition, including, but not limited to,
                             directing Interconnection Customer to shut-down, start-up, increase
                             or decrease the real or reactive power output of the Large Generating
                             Facility; implementing a reduction or disconnection pursuant to
                             Article 13.5.2; directing Interconnection Customer to assist with
                             blackstart (if available) or restoration efforts; or altering the outage
                             schedules of the Large Generating Facility and Interconnection
                             Customer's Interconnection Facilities. Interconnection Customer
                             shall comply with all of Transmission Provider's operating
                             instructions concerning Large Generating Facility real power and
                             reactive power output within the manufacturer's design limitations of
                             the Large Generating Facility's equipment that is in service and
                             physically available for operation at the time, in compliance with
                             Applicable Laws and Regulations.

                13.5.2       Reduction and Disconnection. Transmission Provider may reduce
                             Interconnection Service or disconnect the Large Generating Facility
                             or Interconnection Customer's Interconnection Facilities, when such,
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                              reduction or disconnection is necessary under Good Utility Practice
                              due to Emergency Conditions. These rights are separate and distinct
                              from any right of curtailment of Transmission Provider pursuant to
                              Transmission Provider's Tariff. When Transmission Provider can
                              schedule the reduction or disconnection in advance, Transmission
                              Provider shall notify Interconnection Customer of the reasons,
                              timing and expected duration of the reduction or disconnection.
                              Transmission Provider shall coordinate with Interconnection
                              Customer using Good Utility Practice to schedule the reduction or
                              disconnection during periods of least impact to Interconnection
                              Customer and Transmission Provider. Any reduction or
                              disconnection shall continue only for so long as reasonably
                              necessary under Good Utility Practice. The Parties shall cooperate
                              with each other to restore the Large Generating Facility, the
                              Interconnection Facilities, and the Transmission System to their
                              normal operating state as soon as practicable consistent with Good
                              Utility Practice.

         13.6   Interconnection Customer Authority. Consistent with Good Utility Practice and
                the LGIA and the LGIP, Interconnection Customer may take actions or inactions
                with regard to the Large Generating Facility or Interconnection Customer's
                Interconnection Facilities during an Emergency Condition in order to (i) preserve
                public health and safety, (ii) preserve the reliability of the Large Generating
                Facility or Interconnection Customer's Interconnection Facilities, (iii) limit or
                prevent damage, and (iv) expedite restoration of service. Interconnection
                Customer shall use Reasonable Efforts to minimize the effect of such actions or
                inactions on the Transmission System and Transmission Provider's
                Interconnection Facilities. Transmission Provider shall use Reasonable Efforts to
                assist Interconnection Customer in such actions.

         13.7   Limited Liability. Except as otherwise provided in Article 11.6.1 of this LGIA,
                neither Party shall be liable to the other for any action it takes in responding to an
                Emergency Condition so long as such action is made in good faith and is
                consistent with Good Utility Practice.

         Article 14.   Regulatory Requirements and Governing Law

         14.1 Regulatory Requirements. Each Party's obligations under this LGIA shall be
         subject to its receipt of any required approval or certificate from one or more
         Governmental Authorities in the form and substance satisfactory to the applying Party, or
         the Party making any required filings with, or providing notice to, such Governmental
         Authorities, and the expiration of any time period associated therewith. Each Party shall
         in good faith seek and use its Reasonable Efforts to obtain such other approvals. Nothing
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         in this LGIA shall require Interconnection Customer to take any action that could result
         in its inability to obtain, or its loss of, status or exemption under the Federal Power Act,
         the Public Utility Holding Company Act of 1935, as amended, or the Public Utility
         Regulatory Policies Act of 1978.

         14.2   Governing Law.

                14.2.1         The validity, interpretation and performance of this LGIA and each
                               of its provisions shall be governed by the laws of the state where the
                               Point of Interconnection is located, without regard to its conflicts of
                               law principles.

                14.2.2         This LGIA is subject to all Applicable Laws and Regulations.

                14.2.3         Each Party expressly reserves the right to seek changes in, appeal, or
                               otherwise contest any laws, orders, rules, or regulations of a
                               Governmental Authority.


         Article 15.     Notices.

         15.1   General. Unless otherwise provided in this LGIA, any notice, demand or request
                required or permitted to be given by either Party to the other and any instrument
                required or permitted to be tendered or delivered by either Party in writing to the
                other shall be effective when delivered and may be so given, tendered or
                delivered, by recognized national courier, or by depositing the same with the
                United States Postal Service with postage prepaid, for delivery by certified or
                registered mail, addressed to the Party, or personally delivered to the Party, at the
                address set out in Appendix F, Addresses for Delivery of Notices and Billings.

                Either Party may change the notice information in this LGIA by giving five (5)
                Business Days written notice prior to the effective date of the change.

         15.2   Billings and Payments. Billings and payments shall be sent to the addresses set
                out in Appendix F.

         15.3   Alternative Forms of Notice. Any notice or request required or permitted to be
                given by a Party to the other and not required by this Agreement to be given in
                writing may be so given by telephone, facsimile or email to the telephone numbers
                and email addresses set out in Appendix F.
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         15.4   Operations and Maintenance Notice. Each Party shall notify the other Party in
                writing of the identity of the person(s) that it designates as the point(s) of contact
                with respect to the implementation of Articles 9 and 10.

         Article 16.     Force Majeure

         16.1   Force Majeure.

                16.1.1            Economic hardship is not considered a Force Majeure event.

                16.1.2            Neither Party shall be considered to be in Default with respect to any
                                  obligation hereunder, (including obligations under Article 4), other
                                  than the obligation to pay money when due, if prevented from
                                  fulfilling such obligation by Force Majeure. A Party unable to fulfill
                                  any obligation hereunder (other than an obligation to pay money
                                  when due) by reason of Force Majeure shall give notice and the full
                                  particulars of such Force Majeure to the other Party in writing or by
                                  telephone as soon as reasonably possible after the occurrence of the
                                  cause relied upon. Telephone notices given pursuant to this article
                                  shall be confirmed in writing as soon as reasonably possible and
                                  shall specifically state full particulars of the Force Majeure, the time
                                  and date when the Force Majeure occurred and when the Force
                                  Majeure is reasonably expected to cease. The Party affected shall
                                  exercise due diligence to remove such disability with reasonable
                                  dispatch, but shall not be required to accede or agree to any
                                  provision not satisfactory to it in order to settle and terminate a strike
                                  or other labor disturbance.


         Article 17.     Default

         17.1   Default

                         17.1.1           General. No Default shall exist where such failure to
                                  discharge an obligation (other than the payment of money) is the
                                  result of Force Majeure as defined in this LGIA or the result of an
                                  act of omission of the other Party. Upon a Breach, the non-
                                  breaching Party shall give written notice of such Breach to the
                                  breaching Party. Except as provided in Article 17.1.2, the breaching
                                  Party shall have thirty (30) Calendar Days from receipt of the
                                  Default notice within which to cure such Breach; provided however,
                                  if such Breach is not capable of cure within thirty (30) Calendar
                                  Days, the breaching Party shall commence such cure within thirty
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                              (30) Calendar Days after notice and continuously and diligently
                              complete such cure within ninety (90) Calendar Days from receipt of
                              the Default notice; and, if cured within such time, the Breach
                              specified in such notice shall cease to exist.

                17.1.2        Right to Terminate. If a Breach is not cured as provided in this
                              article, or if a Breach is not capable of being cured within the period
                              provided for herein, the non-breaching Party shall have the right to
                              declare a Default and terminate this LGIA by written notice at any
                              time until cure occurs, and be relieved of any further obligation
                              hereunder and, whether or not that Party terminates this LGIA, to
                              recover from the breaching Party all amounts due hereunder, plus all
                              other damages and remedies to which it is entitled at law or in
                              equity. The provisions of this article will survive termination of this
                              LGIA.

         17.2   Violation of Operating Assumptions for Generating Facilities. If Transmission
                Provider requires Interconnection Customer to memorialize the operating
                assumptions for the charging behavior of a Generating Facility that includes at
                least one electric storage resource in Appendix H of this LGIA, Transmission
                Provider may consider Interconnection Customer to be in Breach of the LGIA if
                Interconnection Customer fails to operate the Generating Facility in accordance
                with those operating assumptions for charging behavior. However, if
                Interconnection Customer operates contrary to the operating assumptions for
                charging behavior specified in Appendix H of this LGIA at the direction of
                Transmission Provider, Transmission Provider shall not consider Interconnection
                Customer in Breach of this LGIA.

         Article 18.     Indemnity, Consequential Damages and Insurance

         18.1   Indemnity. The Parties shall at all times indemnify, defend, and hold the other
                Party harmless from, any and all damages, losses, claims, including claims and
                actions relating to injury to or death of any person or damage to property, demand,
                suits, recoveries, costs and expenses, court costs, attorney fees, and all other
                obligations by or to third parties, arising out of or resulting from the other Party's
                action or inactions of its obligations under this LGIA on behalf of the
                Indemnifying Party, except in cases of gross negligence or intentional wrongdoing
                by the indemnified Party.

                18.1.1        Indemnified Person. If an Indemnified Person is entitled to
                              indemnification under this Article 18 as a result of a claim by a third
                              party, and the Indemnifying Party fails, after notice and reasonable
                              opportunity to proceed under Article 18.1, to assume the defense of
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                           such claim, such Indemnified Person may at the expense of the
                           Indemnifying Party contest, settle or consent to the entry of any
                           judgment with respect to, or pay in full, such claim.

               18.1.2      Indemnifying Party. If an Indemnifying Party is obligated to
                           indemnify and hold any Indemnified Person harmless under this
                           Article 18, the amount owing to the Indemnified Person shall be the
                           amount of such Indemnified Person's actual Loss, net of any
                           insurance or other recovery.

               18.1.3      Indemnity Procedures. Promptly after receipt by an Indemnified
                           Person of any claim or notice of the commencement of any action or
                           administrative or legal proceeding or investigation as to which the
                           indemnity provided for in Article 18.1 may apply, the Indemnified
                           Person shall notify the Indemnifying Party of such fact. Any failure
                           of or delay in such notification shall not affect a Party's
                           indemnification obligation unless such failure or delay is materially
                           prejudicial to the Indemnifying Party.

                           The Indemnifying Party shall have the right to assume the defense
                           thereof with counsel designated by such Indemnifying Party and
                           reasonably satisfactory to the Indemnified Person. If the defendants
                           in any such action include one or more Indemnified Persons and the
                           Indemnifying Party and if the Indemnified Person reasonably
                           concludes that there may be legal defenses available to it and/or
                           other Indemnified Persons which are different from or additional to
                           those available to the Indemnifying Party, the Indemnified Person
                           shall have the right to select separate counsel to assert such legal
                           defenses and to otherwise participate in the defense of such action on
                           its own behalf. In such instances, the Indemnifying Party shall only
                           be required to pay the fees and expenses of one additional attorney
                           to represent an Indemnified Person or Indemnified Persons having
                           such differing or additional legal defenses.

                           The Indemnified Person shall be entitled, at its expense, to
                           participate in any such action, suit or proceeding, the defense of
                           which has been assumed by the Indemnifying Party.
                           Notwithstanding the foregoing, the Indemnifying Party (i) shall not
                           be entitled to assume and control the defense of any such action, suit
                           or proceedings if and to the extent that, in the opinion of the
                           Indemnified Person and its counsel, such action, suit or proceeding
                           involves the potential imposition of criminal liability on the
                           Indemnified Person, or there exists a conflict or adversity of interest
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                              between the Indemnified Person and the Indemnifying Party, in such
                              event the Indemnifying Party shall pay the reasonable expenses of
                              the Indemnified Person, and (ii) shall not settle or consent to the
                              entry of any judgment in any action, suit or proceeding without the
                              consent of the Indemnified Person, which shall not be reasonably
                              withheld, conditioned or delayed.

         18.2   Consequential Damages. Other than the Liquidated Damages heretofore
                described, in no event shall either Party be liable under any provision of this LGIA
                for any losses, damages, costs or expenses for any special, indirect, incidental,
                consequential, or punitive damages, including but not limited to loss of profit or
                revenue, loss of the use of equipment, cost of capital, cost of temporary equipment
                or services, whether based in whole or in part in contract, in tort, including
                negligence, strict liability, or any other theory of liability; provided, however, that
                damages for which a Party may be liable to the other Party under another
                agreement will not be considered to be special, indirect, incidental, or
                consequential damages hereunder.

         18.3   Insurance. Each party shall, at its own expense, maintain in force throughout the
                period of this LGIA, and until released by the other Party, the following minimum
                insurance coverages, with insurers authorized to do business in the state where the
                Point of Interconnection is located:

                18.3.1        Employers' Liability and Workers' Compensation Insurance
                              providing statutory benefits in accordance with the laws and
                              regulations of the state in which the Point of Interconnection is
                              located.

                18.3.2        Commercial General Liability Insurance including premises and
                              operations, personal injury, broad form property damage, broad form
                              blanket contractual liability coverage (including coverage for the
                              contractual indemnification) products and completed operations
                              coverage, coverage for explosion, collapse and underground hazards,
                              independent contractors coverage, coverage for pollution to the
                              extent normally available and punitive damages to the extent
                              normally available and a cross liability endorsement, with minimum
                              limits of One Million Dollars ($1,000,000) per occurrence/One
                              Million Dollars ($1,000,000) aggregate combined single limit for
                              personal injury, bodily injury, including death and property damage.

                18.3.3        Comprehensive Automobile Liability Insurance for coverage of
                              owned and non-owned and hired vehicles, trailers or semi-trailers
                              designed for travel on public roads, with a minimum, combined
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                           single limit of One Million Dollars ($1,000,000) per occurrence for
                           bodily injury, including death, and property damage.

               18.3.4      Excess Public Liability Insurance over and above the Employers'
                           Liability Commercial General Liability and Comprehensive
                           Automobile Liability Insurance coverage, with a minimum
                           combined single limit of Twenty Million Dollars ($20,000,000) per
                           occurrence/Twenty Million Dollars ($20,000,000) aggregate.

               18.3.5      The Commercial General Liability Insurance, Comprehensive
                           Automobile Insurance and Excess Public Liability Insurance policies
                           shall name the other Party, its parent, associated and Affiliate
                           companies and their respective directors, officers, agents, servants
                           and employees ("Other Party Group") as additional insured. All
                           policies shall contain provisions whereby the insurers waive all
                           rights of subrogation in accordance with the provisions of this LGIA
                           against the Other Party Group and provide thirty (30) Calendar Days
                           advance written notice to the Other Party Group prior to anniversary
                           date of cancellation or any material change in coverage or condition.

               18.3.6      The Commercial General Liability Insurance, Comprehensive
                           Automobile Liability Insurance and Excess Public Liability
                           Insurance policies shall contain provisions that specify that the
                           policies are primary and shall apply to such extent without
                           consideration for other policies separately carried and shall state that
                           each insured is provided coverage as though a separate policy had
                           been issued to each, except the insurer's liability shall not be
                           increased beyond the amount for which the insurer would have been
                           liable had only one insured been covered. Each Party shall be
                           responsible for its respective deductibles or retentions.

               18.3.7      The Commercial General Liability Insurance, Comprehensive
                           Automobile Liability Insurance and Excess Public Liability
                           Insurance policies, if written on a Claims First Made Basis, shall be
                           maintained in full force and effect for two (2) years after termination
                           of this LGIA, which coverage may be in the form of tail coverage or
                           extended reporting period coverage if agreed by the Parties.

               18.3.8      The requirements contained herein as to the types and limits of all
                           insurance to be maintained by the Parties are not intended to and
                           shall not in any manner, limit or qualify the liabilities and
                           obligations assumed by the Parties under this LGIA.
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                18.3.9        Within ten (10) days following execution of this LGIA, and as soon
                              as practicable after the end of each fiscal year or at the renewal of
                              the insurance policy and in any event within ninety (90) days
                              thereafter, each Party shall provide certification of all insurance
                              required in this LGIA, executed by each insurer or by an authorized
                              representative of each insurer.

                18.3.10       Notwithstanding the foregoing, each Party may self-insure to meet
                              the minimum insurance requirements of Articles 18.3.2 through
                              18.3.8 to the extent it maintains a self-insurance program; provided
                              that, such Party's senior secured debt is rated at investment grade or
                              better by Standard & Poor's and that its self-insurance program
                              meets the minimum insurance requirements of Articles 18.3.2
                              through 18.3.8. For any period of time that a Party's senior secured
                              debt is unrated by Standard & Poor's or is rated at less than
                              investment grade by Standard & Poor's, such Party shall comply
                              with the insurance requirements applicable to it under Articles 18.3.2
                              through 18.3.9. In the event that a Party is permitted to self-insure
                              pursuant to this article, it shall notify the other Party that it meets the
                              requirements to self-insure and that its self-insurance program meets
                              the minimum insurance requirements in a manner consistent with
                              that specified in Article 18.3.9.

                18.3.11       The Parties agree to report to each other in writing as soon as
                              practical all accidents or occurrences resulting in injuries to any
                              person, including death, and any property damage arising out of this
                              LGIA.

         Article 19.     Assignment

         19.1   Assignment. This LGIA may be assigned by either Party only with the written
                consent of the other; provided that either Party may assign this LGIA without the
                consent of the other Party to any Affiliate of the assigning Party with an equal or
                greater credit rating and with the legal authority and operational ability to satisfy
                the obligations of the assigning Party under this LGIA; and provided further that
                Interconnection Customer shall have the right to assign this LGIA, without the
                consent of Transmission Provider, for collateral security purposes to aid in
                providing financing for the Large Generating Facility, provided that
                Interconnection Customer will promptly notify Transmission Provider of any such
                assignment. Any financing arrangement entered into by Interconnection Customer
                pursuant to this article will provide that prior to or upon the exercise of the secured
                party's, trustee's or mortgagee's assignment rights pursuant to said arrangement,
                the secured creditor, the trustee or mortgagee will notify Transmission Provider of
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                the date and particulars of any such exercise of assignment right(s), including
                providing the Transmission Provider with proof that it meets the requirements of
                Articles 11.5 and 18.3. Any attempted assignment that violates this article is void
                and ineffective. Any assignment under this LGIA shall not relieve a Party of its
                obligations, nor shall a Party's obligations be enlarged, in whole or in part, by
                reason thereof. Where required, consent to assignment will not be unreasonably
                withheld, conditioned or delayed.

         Article 20.   Severability

         20.1   Severability. If any provision in this LGIA is finally determined to be invalid,
                void or unenforceable by any court or other Governmental Authority having
                jurisdiction, such determination shall not invalidate, void or make unenforceable
                any other provision, agreement or covenant of this LGIA; provided that if
                Interconnection Customer (or any third party, but only if such third party is not
                acting at the direction of Transmission Provider) seeks and obtains such a final
                determination with respect to any provision of the Alternate Option (Article 5.1.2),
                or the Negotiated Option (Article 5.1.4), then none of these provisions shall
                thereafter have any force or effect and the Parties' rights and obligations shall be
                governed solely by the Standard Option (Article 5.1.1).

         Article 21.   Comparability

         21.1   Comparability. The Parties will comply with all applicable comparability and
                code of conduct laws, rules and regulations, as amended from time to time.

         Article 22.   Confidentiality

         22.1   Confidentiality. Confidential Information shall include, without limitation, all
                information relating to a Party's technology, research and development, business
                affairs, and pricing, and any information supplied by either of the Parties to the
                other prior to the execution of this LGIA.

                Information is Confidential Information only if it is clearly designated or marked
                in writing as confidential on the face of the document, or, if the information is
                conveyed orally or by inspection, if the Party providing the information orally
                informs the Party receiving the information that the information is confidential.

                If requested by either Party, the other Party shall provide in writing, the basis for
                asserting that the information referred to in this Article 22 warrants confidential
                treatment, and the requesting Party may disclose such writing to the appropriate
                Governmental Authority. Each Party shall be responsible for the costs associated
                with affording confidential treatment to its information.
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               22.1.1      Term. During the term of this LGIA, and for a period of three (3)
                           years after the expiration or termination of this LGIA, except as
                           otherwise provided in this Article 22, each Party shall hold in
                           confidence and shall not disclose to any person Confidential
                           Information.

               22.1.2      Scope. Confidential Information shall not include information that
                           the receiving Party can demonstrate: (1) is generally available to the
                           public other than as a result of a disclosure by the receiving Party;
                           (2) was in the lawful possession of the receiving Party on a non-
                           confidential basis before receiving it from the disclosing Party; (3)
                           was supplied to the receiving Party without restriction by a third
                           party, who, to the knowledge of the receiving Party after due
                           inquiry, was under no obligation to the disclosing Party to keep such
                           information confidential; (4) was independently developed by the
                           receiving Party without reference to Confidential Information of the
                           disclosing Party; (5) is, or becomes, publicly known, through no
                           wrongful act or omission of the receiving Party or Breach of this
                           LGIA; or (6) is required, in accordance with Article 22.1.7 of the
                           LGIA, Order of Disclosure, to be disclosed by any Governmental
                           Authority or is otherwise required to be disclosed by law or
                           subpoena, or is necessary in any legal proceeding establishing rights
                           and obligations under this LGIA. Information designated as
                           Confidential Information will no longer be deemed confidential if
                           the Party that designated the information as confidential notifies the
                           other Party that it no longer is confidential.

               22.1.3      Release of Confidential Information. Neither Party shall release
                           or disclose Confidential Information to any other person, except to
                           its Affiliates (limited by the Standards of Conduct requirements),
                           subcontractors, employees, consultants, or to parties who may be or
                           considering providing financing to or equity participation with
                           Interconnection Customer, or to potential purchasers or assignees of
                           Interconnection Customer, on a need-to-know basis in connection
                           with this LGIA, unless such person has first been advised of the
                           confidentiality provisions of this Article 22 and has agreed to
                           comply with such provisions. Notwithstanding the foregoing, a
                           Party providing Confidential Information to any person shall remain
                           primarily responsible for any release of Confidential Information in
                           contravention of this Article 22.
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               22.1.4      Rights. Each Party retains all rights, title, and interest in the
                           Confidential Information that each Party discloses to the other Party.
                           The disclosure by each Party to the other Party of Confidential
                           Information shall not be deemed a waiver by either Party or any
                           other person or entity of the right to protect the Confidential
                           Information from public disclosure.

               22.1.5      No Warranties. By providing Confidential Information, neither
                           Party makes any warranties or representations as to its accuracy or
                           completeness. In addition, by supplying Confidential Information,
                           neither Party obligates itself to provide any particular information or
                           Confidential Information to the other Party nor to enter into any
                           further agreements or proceed with any other relationship or joint
                           venture.

               22.1.6      Standard of Care. Each Party shall use at least the same standard
                           of care to protect Confidential Information it receives as it uses to
                           protect its own Confidential Information from unauthorized
                           disclosure, publication or dissemination. Each Party may use
                           Confidential Information solely to fulfill its obligations to the other
                           Party under this LGIA or its regulatory requirements.

               22.1.7      Order of Disclosure. If a court or a Government Authority or entity
                           with the right, power, and apparent authority to do so requests or
                           requires either Party, by subpoena, oral deposition, interrogatories,
                           requests for production of documents, administrative order, or
                           otherwise, to disclose Confidential Information, that Party shall
                           provide the other Party with prompt notice of such request(s) or
                           requirement(s) so that the other Party may seek an appropriate
                           protective order or waive compliance with the terms of this LGIA.
                           Notwithstanding the absence of a protective order or waiver, the
                           Party may disclose such Confidential Information which, in the
                           opinion of its counsel, the Party is legally compelled to disclose.
                           Each Party will use Reasonable Efforts to obtain reliable assurance
                           that confidential treatment will be accorded any Confidential
                           Information so furnished.

               22.1.8      Termination of Agreement. Upon termination of this LGIA for
                           any reason, each Party shall, within ten (10) Calendar Days of
                           receipt of a written request from the other Party, use Reasonable
                           Efforts to destroy, erase, or delete (with such destruction, erasure,
                           and deletion certified in writing to the other Party) or return to the
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                           other Party, without retaining copies thereof, any and all written or
                           electronic Confidential Information received from the other Party.

               22.1.9      Remedies. The Parties agree that monetary damages would be
                           inadequate to compensate a Party for the other Party's Breach of its
                           obligations under this Article 22. Each Party accordingly agrees that
                           the other Party shall be entitled to equitable relief, by way of
                           injunction or otherwise, if the first Party Breaches or threatens to
                           Breach its obligations under this Article 22, which equitable relief
                           shall be granted without bond or proof of damages, and the receiving
                           Party shall not plead in defense that there would be an adequate
                           remedy at law. Such remedy shall not be deemed an exclusive
                           remedy for the Breach of this Article 22, but shall be in addition to
                           all other remedies available at law or in equity. The Parties further
                           acknowledge and agree that the covenants contained herein are
                           necessary for the protection of legitimate business interests and are
                           reasonable in scope. No Party, however, shall be liable for indirect,
                           incidental, or consequential or punitive damages of any nature or
                           kind resulting from or arising in connection with this Article 22.

               22.1.10     Disclosure to FERC, its Staff, or a State. Notwithstanding
                           anything in this Article 22 to the contrary, and pursuant to 18 CFR
                           section 1b.20, if FERC or its staff, during the course of an
                           investigation or otherwise, requests information from one of the
                           Parties that is otherwise required to be maintained in confidence
                           pursuant to this LGIA, the Party shall provide the requested
                           information to FERC or its staff, within the time provided for in the
                           request for information. In providing the information to FERC or its
                           staff, the Party must, consistent with 18 CFR section 388.112,
                           request that the information be treated as confidential and non-public
                           by FERC and its staff and that the information be withheld from
                           public disclosure. Parties are prohibited from notifying the other
                           Party to this LGIA prior to the release of the Confidential
                           Information to FERC or its staff. The Party shall notify the other
                           Party to the LGIA when it is notified by FERC or its staff that a
                           request to release Confidential Information has been received by
                           FERC, at which time either of the Parties may respond before such
                           information would be made public, pursuant to 18 CFR section
                           388.112. Requests from a state regulatory body conducting a
                           confidential investigation shall be treated in a similar manner if
                           consistent with the applicable state rules and regulations.
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                22.1.11       Subject to the exception in Article 22.1.10, any information that a
                              Party claims is competitively sensitive, commercial or financial
                              information under this LGIA ("Confidential Information") shall not
                              be disclosed by the other Party to any person not employed or
                              retained by the other Party, except to the extent disclosure is (i)
                              required by law; (ii) reasonably deemed by the disclosing Party to be
                              required to be disclosed in connection with a dispute between or
                              among the Parties, or the defense of litigation or dispute; (iii)
                              otherwise permitted by consent of the other Party, such consent not
                              to be unreasonably withheld; or (iv) necessary to fulfill its
                              obligations under this LGIA or as a transmission service provider or
                              a [Control Area]Balancing Authority Area operator including
                              disclosing the Confidential Information to an RTO or ISO or to a
                              regional or national reliability organization. The Party asserting
                              confidentiality shall notify the other Party in writing of the
                              information it claims is confidential. Prior to any disclosures of the
                              other Party's Confidential Information under this subparagraph, or if
                              any third party or Governmental Authority makes any request or
                              demand for any of the information described in this subparagraph,
                              the disclosing Party agrees to promptly notify the other Party in
                              writing and agrees to assert confidentiality and cooperate with the
                              other Party in seeking to protect the Confidential Information from
                              public disclosure by confidentiality agreement, protective order or
                              other reasonable measures.

         Article 23.   Environmental Releases

         23.1   Each Party shall notify the other Party, first orally and then in writing, of the
                release of any Hazardous Substances, any asbestos or lead abatement activities, or
                any type of remediation activities related to the Large Generating Facility or the
                Interconnection Facilities, each of which may reasonably be expected to affect the
                other Party. The notifying Party shall: (i) provide the notice as soon as
                practicable, provided such Party makes a good faith effort to provide the notice no
                later than twenty-four hours after such Party becomes aware of the occurrence;
                and (ii) promptly furnish to the other Party copies of any publicly available reports
                filed with any Governmental Authorities addressing such events.

         Article 24.   Information Requirements

         24.1   Information Acquisition. Transmission Provider and Interconnection Customer
                shall submit specific information regarding the electrical characteristics of their
                respective facilities to each other as described below and in accordance with
                Applicable Reliability Standards.
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         24.2   Information Submission by Transmission Provider. The initial information
                submission by Transmission Provider shall occur no later than one hundred eighty
                (180) Calendar Days prior to Trial Operation and shall include Transmission
                System information necessary to allow Interconnection Customer to select
                equipment and meet any system protection and stability requirements, unless
                otherwise agreed to by the Parties. On a monthly basis Transmission Provider
                shall provide Interconnection Customer a status report on the construction and
                installation of Transmission Provider's Interconnection Facilities and Network
                Upgrades, including, but not limited to, the following information: (1) progress to
                date; (2) a description of the activities since the last report (3) a description of the
                action items for the next period; and (4) the delivery status of equipment ordered.

         24.3   Updated Information Submission by Interconnection Customer. The updated
                information submission by Interconnection Customer, including manufacturer
                information, shall occur no later than one hundred eighty (180) Calendar Days
                prior to the Trial Operation. Interconnection Customer shall submit a completed
                copy of the Large Generating Facility data requirements contained in Appendix 1
                to the LGIP. It shall also include any additional information provided to
                Transmission Provider for the [Feasibility]Cluster Study and Facilities Study.
                Information in this submission shall be the most current Large Generating Facility
                design or expected performance data. Information submitted for stability models
                shall be compatible with Transmission Provider standard models. If there is no
                compatible model, Interconnection Customer will work with a consultant mutually
                agreed to by the Parties to develop and supply a standard model and associated
                information.

                If Interconnection Customer’s data is materially different from what was originally
                provided to Transmission Provider pursuant to the Interconnection Study
                Agreement between Transmission Provider and Interconnection Customer, then
                Transmission Provider will conduct appropriate studies to determine the impact on
                Transmission Provider Transmission System based on the actual data submitted
                pursuant to this Article 24.3. [The]Interconnection Customer shall not begin Trial
                Operation until such studies are completed.

         24.4   Information Supplementation. Prior to the Operation Date, the Parties shall
                supplement their information submissions described above in this Article 24 with
                any and all "as-built" Large Generating Facility information or "as-tested"
                performance information that differs from the initial submissions or, alternatively,
                written confirmation that no such differences exist. The Interconnection Customer
                shall conduct tests on the Large Generating Facility as required by Good Utility
                Practice such as an open circuit "step voltage" test on the Large Generating
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                Facility to verify proper operation of the Large Generating Facility's automatic
                voltage regulator.

                Unless otherwise agreed, the test conditions shall include: (1) Large Generating
                Facility at synchronous speed; (2) automatic voltage regulator on and in voltage
                control mode; and (3) a five percent change in Large Generating Facility terminal
                voltage initiated by a change in the voltage regulators reference voltage.
                Interconnection Customer shall provide validated test recordings showing the
                responses of Large Generating Facility terminal and field voltages. In the event
                that direct recordings of these voltages is impractical, recordings of other voltages
                or currents that mirror the response of the Large Generating Facility's terminal or
                field voltage are acceptable if information necessary to translate these alternate
                quantities to actual Large Generating Facility terminal or field voltages is
                provided. Large Generating Facility testing shall be conducted and results
                provided to Transmission Provider for each individual generating unit in a station.

                Subsequent to the Operation Date, Interconnection Customer shall provide
                Transmission Provider any information changes due to equipment replacement,
                repair, or adjustment. Transmission Provider shall provide Interconnection
                Customer any information changes due to equipment replacement, repair or
                adjustment in the directly connected substation or any adjacent Transmission
                Provider-owned substation that may affect Interconnection Customer's
                Interconnection Facilities equipment ratings, protection or operating requirements.
                The Parties shall provide such information no later than thirty (30) Calendar Days
                after the date of the equipment replacement, repair or adjustment.

         Article 25.   Information Access and Audit Rights

         25.1   Information Access. Each Party (the "disclosing Party") shall make available to
                the other Party information that is in the possession of the disclosing Party and is
                necessary in order for the other Party to: (i) verify the costs incurred by the
                disclosing Party for which the other Party is responsible under this LGIA; and
                (ii) carry out its obligations and responsibilities under this LGIA. The Parties shall
                not use such information for purposes other than those set forth in this Article 25.1
                and to enforce their rights under this LGIA.

         25.2   Reporting of Non-Force Majeure Events. Each Party (the "notifying Party")
                shall notify the other Party when the notifying Party becomes aware of its inability
                to comply with the provisions of this LGIA for a reason other than a Force
                Majeure event. The Parties agree to cooperate with each other and provide
                necessary information regarding such inability to comply, including the date,
                duration, reason for the inability to comply, and corrective actions taken or
                planned to be taken with respect to such inability to comply. Notwithstanding the
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                foregoing, notification, cooperation or information provided under this article shall
                not entitle the Party receiving such notification to allege a cause for anticipatory
                breach of this LGIA.

         25.3   Audit Rights. Subject to the requirements of confidentiality under Article 22 of
                this LGIA, each Party shall have the right, during normal business hours, and upon
                prior reasonable notice to the other Party, to audit at its own expense the other
                Party's accounts and records pertaining to either Party's performance or either
                Party's satisfaction of obligations under this LGIA. Such audit rights shall include
                audits of the other Party's costs, calculation of invoiced amounts, Transmission
                Provider's efforts to allocate responsibility for the provision of reactive support to
                the Transmission System, Transmission Provider's efforts to allocate responsibility
                for interruption or reduction of generation on the Transmission System, and each
                Party's actions in an Emergency Condition. Any audit authorized by this article
                shall be performed at the offices where such accounts and records are maintained
                and shall be limited to those portions of such accounts and records that relate to
                each Party's performance and satisfaction of obligations under this LGIA. Each
                Party shall keep such accounts and records for a period equivalent to the audit
                rights periods described in Article 25.4.

         25.4   Audit Rights Periods.

                25.4.1        Audit Rights Period for Construction-Related Accounts and
                              Records. Accounts and records related to the design, engineering,
                              procurement, and construction of Transmission Provider's
                              Interconnection Facilities and Network Upgrades shall be subject to
                              audit for a period of twenty-four months following Transmission
                              Provider's issuance of a final invoice in accordance with Article
                              12.2.

                25.4.2        Audit Rights Period for All Other Accounts and Records.
                              Accounts and records related to either Party's performance or
                              satisfaction of all obligations under this LGIA other than those
                              described in Article 25.4.1 shall be subject to audit as follows: (i)
                              for an audit relating to cost obligations, the applicable audit rights
                              period shall be twenty-four months after the auditing Party's receipt
                              of an invoice giving rise to such cost obligations; and (ii) for an audit
                              relating to all other obligations, the applicable audit rights period
                              shall be twenty-four months after the event for which the audit is
                              sought.

         25.5   Audit Results. If an audit by a Party determines that an overpayment or an
                underpayment has occurred, a notice of such overpayment or underpayment shall
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                be given to the other Party together with those records from the audit which
                support such determination.

         Article 26.   Subcontractors

         26.1   General. Nothing in this LGIA shall prevent a Party from utilizing the services of
                any subcontractor as it deems appropriate to perform its obligations under this
                LGIA; provided, however, that each Party shall require its subcontractors to
                comply with all applicable terms and conditions of this LGIA in providing such
                services and each Party shall remain primarily liable to the other Party for the
                performance of such subcontractor.

         26.2   Responsibility of Principal. The creation of any subcontract relationship shall
                not relieve the hiring Party of any of its obligations under this LGIA. The hiring
                Party shall be fully responsible to the other Party for the acts or omissions of any
                subcontractor the hiring Party hires as if no subcontract had been made; provided,
                however, that in no event shall Transmission Provider be liable for the actions or
                inactions of Interconnection Customer or its subcontractors with respect to
                obligations of Interconnection Customer under Article 5 of this LGIA. Any
                applicable obligation imposed by this LGIA upon the hiring Party shall be equally
                binding upon, and shall be construed as having application to, any subcontractor of
                such Party.

         26.3   No Limitation by Insurance. The obligations under this Article 26 will not be
                limited in any way by any limitation of subcontractor's insurance.

         Article 27.   Disputes

         27.1   Submission. In the event either Party has a dispute, or asserts a claim, that arises
                out of or in connection with this LGIA or its performance, such Party (the
                "disputing Party") shall provide the other Party with written notice of the dispute
                or claim ("Notice of Dispute"). Such dispute or claim shall be referred to a
                designated senior representative of each Party for resolution on an informal basis
                as promptly as practicable after receipt of the Notice of Dispute by the other Party.
                In the event the designated representatives are unable to resolve the claim or
                dispute through unassisted or assisted negotiations within thirty (30) Calendar
                Days of the other Party's receipt of the Notice of Dispute, such claim or dispute
                may, upon mutual agreement of the Parties, be submitted to arbitration and
                resolved in accordance with the arbitration procedures set forth below. In the
                event the Parties do not agree to submit such claim or dispute to arbitration, each
                Party may exercise whatever rights and remedies it may have in equity or at law
                consistent with the terms of this LGIA.
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         27.2   External Arbitration Procedures. Any arbitration initiated under this LGIA
                shall be conducted before a single neutral arbitrator appointed by the Parties. If
                the Parties fail to agree upon a single arbitrator within ten (10) Calendar Days of
                the submission of the dispute to arbitration, each Party shall choose one arbitrator
                who shall sit on a three-member arbitration panel. The two arbitrators so chosen
                shall within twenty (20) Calendar Days select a third arbitrator to chair the
                arbitration panel. In either case, the arbitrators shall be knowledgeable in electric
                utility matters, including electric transmission and bulk power issues, and shall not
                have any current or past substantial business or financial relationships with any
                party to the arbitration (except prior arbitration). The arbitrator(s) shall provide
                each of the Parties an opportunity to be heard and, except as otherwise provided
                herein, shall conduct the arbitration in accordance with the Commercial
                Arbitration Rules of the American Arbitration Association ("Arbitration Rules")
                and any applicable FERC regulations or RTO rules; provided, however, in the
                event of a conflict between the Arbitration Rules and the terms of this Article 27,
                the terms of this Article 27 shall prevail.

         27.3   Arbitration Decisions. Unless otherwise agreed by the Parties, the arbitrator(s)
                shall render a decision within ninety (90) Calendar Days of appointment and shall
                notify the Parties in writing of such decision and the reasons therefor. The
                arbitrator(s) shall be authorized only to interpret and apply the provisions of this
                LGIA and shall have no power to modify or change any provision of this
                Agreement in any manner. The decision of the arbitrator(s) shall be final and
                binding upon the Parties, and judgment on the award may be entered in any court
                having jurisdiction. The decision of the arbitrator(s) may be appealed solely on
                the grounds that the conduct of the arbitrator(s), or the decision itself, violated the
                standards set forth in the Federal Arbitration Act or the Administrative Dispute
                Resolution Act. The final decision of the arbitrator must also be filed with FERC
                if it affects jurisdictional rates, terms and conditions of service, Interconnection
                Facilities, or Network Upgrades.

         27.4   Costs. Each Party shall be responsible for its own costs incurred during the
                arbitration process and for the following costs, if applicable: (1) the cost of the
                arbitrator chosen by the Party to sit on the three member panel and one half of the
                cost of the third arbitrator chosen; or (2) one half the cost of the single arbitrator
                jointly chosen by the Parties.

         Article 28.   Representations, Warranties, and Covenants

         28.1   General. Each Party makes the following representations, warranties and
                covenants:
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                28.1.1        Good Standing. Such Party is duly organized, validly existing and
                              in good standing under the laws of the state in which it is organized,
                              formed, or incorporated, as applicable; that it is qualified to do
                              business in the state or states in which the Large Generating Facility,
                              Interconnection Facilities and Network Upgrades owned by such
                              Party, as applicable, are located; and that it has the corporate power
                              and authority to own its properties, to carry on its business as now
                              being conducted and to enter into this LGIA and carry out the
                              transactions contemplated hereby and perform and carry out all
                              covenants and obligations on its part to be performed under and
                              pursuant to this LGIA.

                28.1.2        Authority. Such Party has the right, power and authority to enter
                              into this LGIA, to become a Party hereto and to perform its
                              obligations hereunder. This LGIA is a legal, valid and binding
                              obligation of such Party, enforceable against such Party in
                              accordance with its terms, except as the enforceability thereof may
                              be limited by applicable bankruptcy, insolvency, reorganization or
                              other similar laws affecting creditors' rights generally and by general
                              equitable principles (regardless of whether enforceability is sought
                              in a proceeding in equity or at law).


                28.1.3        No Conflict. The execution, delivery and performance of this LGIA
                              does not violate or conflict with the organizational or formation
                              documents, or bylaws or operating agreement, of such Party, or any
                              judgment, license, permit, order, material agreement or instrument
                              applicable to or binding upon such Party or any of its assets.

                28.1.4        Consent and Approval. Such Party has sought or obtained, or, in
                              accordance with this LGIA will seek or obtain, each consent,
                              approval, authorization, order, or acceptance by any Governmental
                              Authority in connection with the execution, delivery and
                              performance of this LGIA, and it will provide to any Governmental
                              Authority notice of any actions under this LGIA that are required by
                              Applicable Laws and Regulations.

         Article 29.     Joint Operating Committee

         29.1   Joint Operating Committee. Except in the case of ISOs and RTOs,
                Transmission Provider shall constitute a Joint Operating Committee to coordinate
                operating and technical considerations of Interconnection Service. At least six (6)
                months prior to the expected Initial Synchronization Date, Interconnection
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                Customer and Transmission Provider shall each appoint one representative and
                one alternate to the Joint Operating Committee. Each Interconnection Customer
                shall notify Transmission Provider of its appointment in writing. Such
                appointments may be changed at any time by similar notice. The Joint Operating
                Committee shall meet as necessary, but not less than once each calendar year, to
                carry out the duties set forth herein. The Joint Operating Committee shall hold a
                meeting at the request of either Party, at a time and place agreed upon by the
                representatives. The Joint Operating Committee shall perform all of its duties
                consistent with the provisions of this LGIA. Each Party shall cooperate in
                providing to the Joint Operating Committee all information required in the
                performance of the Joint Operating Committee's duties. All decisions and
                agreements, if any, made by the Joint Operating Committee, shall be evidenced in
                writing. The duties of the Joint Operating Committee shall include the following:

                29.1.1         Establish data requirements and operating record requirements.

                29.1.2         Review the requirements, standards, and procedures for data
                               acquisition equipment, protective equipment, and any other
                               equipment or software.

                29.1.3         Annually review the one (1) year forecast of maintenance and
                               planned outage schedules of Transmission Provider's and
                               Interconnection Customer's facilities at the Point of Interconnection.

                29.1.4         Coordinate the scheduling of maintenance and planned outages on
                               the Interconnection Facilities, the Large Generating Facility and
                               other facilities that impact the normal operation of the
                               interconnection of the Large Generating Facility to the Transmission
                               System.

                29.1.5         Ensure that information is being provided by each Party regarding
                               equipment availability.

                29.1.6         Perform such other duties as may be conferred upon it by mutual
                               agreement of the Parties.

         Article 30.     Miscellaneous

         30.1   Binding Effect. This LGIA and the rights and obligations hereof, shall be binding
                upon and shall inure to the benefit of the successors and assigns of the Parties
                hereto.
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         30.2   Conflicts. In the event of a conflict between the body of this LGIA and any
                attachment, appendices or exhibits hereto, the terms and provisions of the body of
                this LGIA shall prevail and be deemed the final intent of the Parties.

         30.3   Rules of Interpretation. This LGIA, unless a clear contrary intention appears,
                shall be construed and interpreted as follows: (1) the singular number includes the
                plural number and vice versa; (2) reference to any person includes such person's
                successors and assigns but, in the case of a Party, only if such successors and
                assigns are permitted by this LGIA, and reference to a person in a particular
                capacity excludes such person in any other capacity or individually; (3) reference
                to any agreement (including this LGIA), document, instrument or tariff means
                such agreement, document, instrument, or tariff as amended or modified and in
                effect from time to time in accordance with the terms thereof and, if applicable,
                the terms hereof; (4) reference to any Applicable Laws and Regulations means
                such Applicable Laws and Regulations as amended, modified, codified, or
                reenacted, in whole or in part, and in effect from time to time, including, if
                applicable, rules and regulations promulgated thereunder; (5) unless expressly
                stated otherwise, reference to any Article, Section or Appendix means such Article
                of this LGIA or such Appendix to this LGIA, or such Section to the LGIP or such
                Appendix to the LGIP, as the case may be; (6) "hereunder", "hereof", "herein",
                "hereto" and words of similar import shall be deemed references to this LGIA as a
                whole and not to any particular Article or other provision hereof or thereof; (7)
                "including" (and with correlative meaning "include") means including without
                limiting the generality of any description preceding such term; and (8) relative to
                the determination of any period of time, "from" means "from and including", "to"
                means "to but excluding" and "through" means "through and including".

         30.4   Entire Agreement. This LGIA, including all Appendices and Schedules attached
                hereto, constitutes the entire agreement between the Parties with reference to the
                subject matter hereof, and supersedes all prior and contemporaneous
                understandings or agreements, oral or written, between the Parties with respect to
                the subject matter of this LGIA. There are no other agreements, representations,
                warranties, or covenants which constitute any part of the consideration for, or any
                condition to, either Party's compliance with its obligations under this LGIA.

         30.5   No Third Party Beneficiaries. This LGIA is not intended to and does not create
                rights, remedies, or benefits of any character whatsoever in favor of any persons,
                corporations, associations, or entities other than the Parties, and the obligations
                herein assumed are solely for the use and benefit of the Parties, their successors in
                interest and, where permitted, their assigns.
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         30.6   Waiver. The failure of a Party to this LGIA to insist, on any occasion, upon strict
                performance of any provision of this LGIA will not be considered a waiver of any
                obligation, right, or duty of, or imposed upon, such Party.

                Any waiver at any time by either Party of its rights with respect to this LGIA shall
                not be deemed a continuing waiver or a waiver with respect to any other failure to
                comply with any other obligation, right, duty of this LGIA. Termination or
                Default of this LGIA for any reason by Interconnection Customer shall not
                constitute a waiver of Interconnection Customer's legal rights to obtain an
                interconnection from Transmission Provider. Any waiver of this LGIA shall, if
                requested, be provided in writing.

         30.7   Headings. The descriptive headings of the various Articles of this LGIA have
                been inserted for convenience of reference only and are of no significance in the
                interpretation or construction of this LGIA.

         30.8   Multiple Counterparts. This LGIA may be executed in two or more
                counterparts, each of which is deemed an original but all constitute one and the
                same instrument.

         30.9   Amendment. The Parties may by mutual agreement amend this LGIA by a
                written instrument duly executed by the Parties.

         30.10 Modification by the Parties. The Parties may by mutual agreement amend the
               Appendices to this LGIA by a written instrument duly executed by the Parties.
               Such amendment shall become effective and a part of this LGIA upon satisfaction
               of all Applicable Laws and Regulations.

         30.11 Reservation of Rights. Transmission Provider shall have the right to make a
               unilateral filing with FERC to modify this LGIA with respect to any rates, terms
               and conditions, charges, classifications of service, rule or regulation under section
               205 or any other applicable provision of the Federal Power Act and FERC's rules
               and regulations thereunder, and Interconnection Customer shall have the right to
               make a unilateral filing with FERC to modify this LGIA pursuant to section 206 or
               any other applicable provision of the Federal Power Act and FERC's rules and
               regulations thereunder; provided that each Party shall have the right to protest any
               such filing by the other Party and to participate fully in any proceeding before
               FERC in which such modifications may be considered. Nothing in this LGIA
               shall limit the rights of the Parties or of FERC under sections 205 or 206 of the
               Federal Power Act and FERC's rules and regulations thereunder, except to the
               extent that the Parties otherwise mutually agree as provided herein.
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         30.12 No Partnership. This LGIA shall not be interpreted or construed to create an
               association, joint venture, agency relationship, or partnership between the Parties
               or to impose any partnership obligation or partnership liability upon either Party.
               Neither Party shall have any right, power or authority to enter into any agreement
               or undertaking for, or act on behalf of, or to act as or be an agent or representative
               of, or to otherwise bind, the other Party.
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                IN WITNESS WHEREOF, the Parties have executed this LGIA in duplicate
         originals, each of which shall constitute and be an original effective Agreement between
         the Parties.

         [Insert name of Transmission Provider or Transmission Owner, if applicable]

         By:                                      By:    ______________________________

         Title:                                   Title: _____________________________

         Date:                                    Date: _____________________________



         [Insert name of Interconnection Customer]


         By:

         Title:

         Date:
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                                          Appendix A to LGIA

              Interconnection Facilities, Network Upgrades and Distribution Upgrades

         1. Interconnection Facilities:

               (a) {insert Interconnection Customer's Interconnection Facilities}:


               (b) {insert Transmission Provider's Interconnection Facilities}:


         2. Network Upgrades:

               (a) {insert Stand Alone Network Upgrades}:


               (b) {insert Substation Network Upgrades [Other Network Upgrades]}:

               (c) {insert System Network Upgrades}:


         3. Distribution Upgrades:
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                                            Appendix B to LGIA

                                                    Milestones

         Site Control

         Check box if applicable     [ ]

         Interconnection Customer with qualifying regulatory limitations must demonstrate 100%
         Site Control by {Transmission Provider to insert date 180 days from the effective date of
         this LGIA} or the LGIA may be terminated per Article 17 (Default) of this LGIA and the
         Interconnection Customer may be subject to Withdrawal Penalties per Section 3.7.1.1 of
         the Transmission Provider’s LGIP (Calculation of the Withdrawal Penalty).




                                            Appendix C to LGIA

                                           Interconnection Details




                                            Appendix D to LGIA

                                     Security Arrangements Details


         Infrastructure security of Transmission System equipment and operations and control
         hardware and software is essential to ensure day-to-day Transmission System reliability
         and operational security. FERC will expect all Transmission Providers, market
         participants, and Interconnection Customers interconnected to the Transmission System
         to comply with the recommendations offered by the President's Critical Infrastructure
         Protection Board and, eventually, best practice recommendations from the electric
         reliability authority. All public utilities will be expected to meet basic standards for
         system infrastructure and operational security, including physical, operational, and cyber-
         security practices.
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                                         Appendix E to LGIA

                                     Commercial Operation Date


         This Appendix E is a part of the LGIA between Transmission Provider and
         Interconnection Customer.

               {Date}

               {Transmission Provider Address}

               Re:    _____________ Large Generating Facility

               Dear _______________:

               On {Date} {Interconnection Customer} has completed Trial Operation of Unit
         No. ___. This letter confirms that {Interconnection Customer} commenced Commercial
         Operation of Unit No. ___ at the Large Generating Facility, effective as of {Date plus
         one day}.

               Thank you.

               {Signature}

               {Interconnection Customer Representative}
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                                           Appendix F to LGIA

                            Addresses for Delivery of Notices and Billings


         Notices:.

               Transmission Provider:

               {To be supplied.}


               Interconnection Customer:

               {To be supplied.}


         Billings and Payments:


               Transmission Provider:

               {To be supplied.}


               Interconnection Customer:

               {To be supplied.}


         Alternative Forms of Delivery of Notices (telephone, facsimile or email):


               Transmission Provider:

               {To be supplied.}


               Interconnection Customer:

               {To be supplied.}
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                                              APPENDIX G

         INTERCONNECTION REQUIREMENTS FOR A WIND GENERATING PLANT


                Appendix G sets forth requirements and provisions specific to a wind generating

         plant or a Generating Facility that contains a wind generating plant. All other

         requirements of this LGIA continue to apply to wind generating plant interconnections.

                A.     Technical Standards Applicable to a Wind Generating Plant

                      i.      Low Voltage Ride-Through (LVRT) Capability

                A wind generating plant shall be able to remain online during voltage disturbances

         up to the time periods and associated voltage levels set forth in the standard below. The

         LVRT standard provides for a transition period standard and a post-transition period

         standard.

                Transition Period LVRT Standard

                The transition period standard applies to wind generating plants subject to FERC

         Order 661 that have either: (i) interconnection agreements signed and filed with the

         Commission, filed with the Commission in unexecuted form, or filed with the

         Commission as non-conforming agreements between January 1, 2006 and December 31,

         2006, with a scheduled in-service date no later than December 31, 2007, or (ii) wind

         generating turbines subject to a wind turbine procurement contract executed prior to

         December 31, 2005, for delivery through 2007.

         1.     Wind generating plants are required to remain in-service during three-phase faults

                with normal clearing (which is a time period of approximately 4 – 9 cycles) and
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               single line to ground faults with delayed clearing, and subsequent post-fault

               voltage recovery to prefault voltage unless clearing the fault effectively

               disconnects the generator from the system. The clearing time requirement for a

               three-phase fault will be specific to the wind generating plant substation location,

               as determined by and documented by the transmission provider. The maximum

               clearing time the wind generating plant shall be required to withstand for a three-

               phase fault shall be 9 cycles at a voltage as low as 0.15 p.u., as measured at the

               high side of the wind generating plant step-up transformer(i.e. the transformer that

               steps the voltage up to the transmission interconnection voltage or “GSU”), after

               which, if the fault remains following the location-specific normal clearing time for

               three-phase faults, the wind generating plant may disconnect from the

               transmission system.

         2.    This requirement does not apply to faults that would occur between the wind

               generator terminals and the high side of the GSU or to faults that would result in a

               voltage lower than 0.15 per unit on the high side of the GSU serving the facility.

         3.    Wind generating plants may be tripped after the fault period if this action is

               intended as part of a special protection system.

         4.    Wind generating plants may meet the LVRT requirements of this standard by the

               performance of the generators or by installing additional equipment (e.g., Static

               VAr Compensator, etc.) within the wind generating plant or by a combination of

               generator performance and additional equipment.
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         5.    Existing individual generator units that are, or have been, interconnected to the

               network at the same location at the effective date of the Appendix G LVRT

               Standard are exempt from meeting the Appendix G LVRT Standard for the

               remaining life of the existing generation equipment. Existing individual generator

               units that are replaced are required to meet the Appendix G LVRT Standard.

         Post-transition Period LVRT Standard

         All wind generating plants subject to FERC Order No. 661 and not covered by the

         transition period described above must meet the following requirements:

         1.    Wind generating plants are required to remain in-service during three-phase faults

               with normal clearing (which is a time period of approximately 4 – 9 cycles) and

               single line to ground faults with delayed clearing, and subsequent post-fault

               voltage recovery to prefault voltage unless clearing the fault effectively

               disconnects the generator from the system. The clearing time requirement for a

               three-phase fault will be specific to the wind generating plant substation location,

               as determined by and documented by the transmission provider. The maximum

               clearing time the wind generating plant shall be required to withstand for a three-

               phase fault shall be 9 cycles after which, if the fault remains following the

               location-specific normal clearing time for three-phase faults, the wind generating

               plant may disconnect from the transmission system. A wind generating plant shall

               remain interconnected during such a fault on the transmission system for a voltage

               level as low as zero volts, as measured at the high voltage side of the wind GSU.
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         2.     This requirement does not apply to faults that would occur between the wind

                generator terminals and the high side of the GSU.

         3.     Wind generating plants may be tripped after the fault period if this action is

                intended as part of a special protection system.

         4.     Wind generating plants may meet the LVRT requirements of this standard by the

                performance of the generators or by installing additional equipment (e.g., Static

                VAr Compensator) within the wind generating plant or by a combination of

                generator performance and additional equipment.

         Existing individual generator units that are, or have been, interconnected to the network

         at the same location at the effective date of the Appendix G LVRT Standard are exempt

         from meeting the Appendix G LVRT Standard for the remaining life of the existing

         generation equipment. Existing individual generator units that are replaced are required to

         meet the Appendix G LVRT Standard.

                       ii.    Power Factor Design Criteria (Reactive Power)

                The following reactive power requirements apply only to a newly interconnecting

         wind generating plant that has executed a Facilities Study Agreement as of the effective

         date of the Final Rule establishing the reactive power requirements for non-synchronous

         generators in S[s]ection 9.6.1 of this LGIA (Order No. 827). A wind generating plant to

         which this provision applies shall maintain a power factor within the range of 0.95

         leading to 0.95 lagging, measured at the Point of Interconnection as defined in this LGIA,

         if the Transmission Provider’s [System Impact] Cluster Study shows that such a

         requirement is necessary to ensure safety or reliability. The power factor range standard
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         can be met by using, for example, power electronics designed to supply this level of

         reactive capability 606 (taking into account any limitations due to voltage level, real

         power output, etc.) or fixed and switched capacitors if agreed to by the Transmission

         Provider, or a combination of the two. The Interconnection Customer shall not disable

         power factor equipment while the wind plant is in operation. Wind plants shall also be

         able to provide sufficient dynamic voltage support in lieu of the power system stabilizer

         and automatic voltage regulation at the generator excitation system if the System Impact

         Study shows this to be required for system safety or reliability.

                       iii.   Supervisory Control and Data Acquisition (SCADA) Capability

                The wind plant shall provide SCADA capability to transmit data and receive

         instructions from the Transmission Provider to protect system reliability. The

         Transmission Provider and the wind plant Interconnection Customer shall determine what

         SCADA information is essential for the proposed wind plant, taking into account the size

         of the plant and its characteristics, location, and importance in maintaining generation

         resource adequacy and transmission system reliability in its area.
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                                          Appendix H to LGIA

                             Operating Assumptions for Generating Facility


         Check box if applicable   [ ]

         Operating Assumptions:

         {insert operating assumptions that reflect the charging behavior of the Generating
         Facility that includes at least one electric storage resource}
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                                        Appendix E: Pro Forma SGIP


         Note: Deletions are in brackets and additions are in italics.

         Section 1. Application

         ***

         1.4   Modification of the Interconnection Request

                Any modification to machine data or equipment configuration or to the
                interconnection site of the Small Generating Facility not agreed to in writing by
                the Transmission Provider and the Interconnection Customer may be deemed a
                withdrawal of the Interconnection Request and may require submission of a new
                Interconnection Request, unless proper notification of each Party by the other and
                a reasonable time to cure the problems created by the changes are undertaken.
                Any such modification of the Interconnection Request must be accompanied by
                any resulting updates to the models described in Attachment 2 of this SGIP.

         ***

         Section 3. Study Process

         ***

         3.3    Feasibility Study

                3.3.1 The feasibility study shall identify any potential adverse system impacts
                      that would result from the interconnection of the Small Generating Facility.

                3.3.2 A deposit of the lesser of 50 percent of the good faith estimated feasibility
                      study costs or earnest money of $1,000 may be required from the
                      Interconnection Customer.

                3.3.3 The scope of and cost responsibilities for the feasibility study are described
                      in the attached feasibility study agreement (Attachment 6).

                3.3.4 If the feasibility study shows no potential for adverse system impacts, the
                      Transmission Provider shall send the Interconnection Customer a facilities
                      study agreement, including an outline of the scope of the study and a non-
                      binding good faith estimate of the cost to perform the study. If no
                      additional facilities are required, the Transmission Provider shall send the
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                      Interconnection Customer an executable interconnection agreement within
                      five Business Days.

               3.3.5 If the feasibility study shows the potential for adverse system impacts, the
                     review process shall proceed to the appropriate system impact study(s).

               3.3.6 The feasibility study shall evaluate static synchronous compensators, static
                     VAR compensators, advanced power flow control devices, transmission
                     switching, synchronous condensers, voltage source converters, advanced
                     conductors, and tower lifting. Transmission Provider shall evaluate each
                     identified alternative transmission technology and determine whether it
                     should be used, consistent with Good Utility Practice and other applicable
                     regulatory requirements. Transmission Provider shall include an
                     explanation of the results of Transmission Provider’s evaluation for each
                     technology in the feasibility study report.

         3.4   System Impact Study

               3.4.1 A system impact study shall identify and detail the electric system impacts
                     that would result if the proposed Small Generating Facility were
                     interconnected without project modifications or electric system
                     modifications, focusing on the adverse system impacts identified in the
                     feasibility study, or to study potential impacts, including but not limited to
                     those identified in the scoping meeting. A system impact study shall
                     evaluate the impact of the proposed interconnection on the reliability of the
                     electric system.

               3.4.2 If no transmission system impact study is required, but potential electric
                     power Distribution System adverse system impacts are identified in the
                     scoping meeting or shown in the feasibility study, a distribution system
                     impact study must be performed. The Transmission Provider shall send the
                     Interconnection Customer a distribution system impact study agreement
                     within 15 Business Days of transmittal of the feasibility study report,
                     including an outline of the scope of the study and a non-binding good faith
                     estimate of the cost to perform the study, or following the scoping meeting
                     if no feasibility study is to be performed.

               3.4.3 In instances where the feasibility study or the distribution system impact
                     study shows potential for transmission system adverse system impacts,
                     within five Business Days following transmittal of the feasibility study
                     report, the Transmission Provider shall send the Interconnection Customer
                     a transmission system impact study agreement, including an outline of the
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                     scope of the study and a non-binding good faith estimate of the cost to
                     perform the study, if such a study is required.

               3.4.4 If a transmission system impact study is not required, but electric power
                     Distribution System adverse system impacts are shown by the feasibility
                     study to be possible and no distribution system impact study has been
                     conducted, [the]Transmission Provider shall send [the]Interconnection
                     Customer a distribution system impact study agreement.

               3.4.5 If the feasibility study shows no potential for transmission system or
                     Distribution System adverse system impacts, the Transmission Provider
                     shall send the Interconnection Customer either a facilities study agreement
                     (Attachment 8), including an outline of the scope of the study and a non-
                     binding good faith estimate of the cost to perform the study, or an
                     executable interconnection agreement, as applicable.

               3.4.6 In order to remain under consideration for interconnection, the
                     Interconnection Customer must return executed system impact study
                     agreements, if applicable, within 30 Business Days.

               3.4.7 A deposit of the good faith estimated costs for each system impact study
                     may be required from the Interconnection Customer.

               3.4.8 The scope of and cost responsibilities for a system impact study are
                     described in the attached system impact study agreement.

               3.4.9 Where transmission systems and Distribution Systems have separate
                     owners, such as is the case with transmission-dependent utilities (“TDUs”)
                     – whether investor-owned or not – the Interconnection Customer may apply
                     to the nearest Transmission Provider (Transmission Owner, Regional
                     Transmission Operator, or Independent Transmission Provider) providing
                     transmission service to the TDU to request project coordination. Affected
                     Systems shall participate in the study and provide all information necessary
                     to prepare the study.

               3.4.10 The system impact study shall evaluate static synchronous compensators,
                      static VAR compensators, advanced power flow control devices,
                      transmission switching, synchronous condensers, voltage source
                      converters, advanced conductors, and tower lifting. Transmission Provider
                      shall evaluate each identified alternative transmission technology and
                      determine whether it should be used, consistent with Good Utility Practice
                      and other applicable regulatory requirements. Transmission Provider
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                       shall include an explanation of the results of Transmission Provider’s
                       evaluation for each technology in the system impact study report.

         ***


                                     Attachment 2
                      SMALL GENERATOR INTERCONNECTION REQUEST
                                   (Application Form)

         ***

         Models for Non-synchronous Small Generating Facilities

         For a non-synchronous Small Generating Facility, Interconnection Customer shall
         provide (1) a validated user-defined root mean squared (RMS) positive sequence
         dynamics model; (2) an appropriately parameterized generic library RMS positive
         sequence dynamics model, including model block diagram of the inverter control and
         plant control systems, as defined by the selection in Table 1 or a model otherwise
         approved by the Western Electricity Coordinating Council, that corresponds to
         Interconnection Customer’s Small Generating Facility; and (3) if applicable, a validated
         electromagnetic transient model if Transmission Provider performs an electromagnetic
         transient study as part of the interconnection study process. A user-defined model is a set
         of programming code created by equipment manufacturers or developers that captures
         the latest features of controllers that are mainly software based and represents the
         entities’ control strategies but does not necessarily correspond to any generic library
         model. Interconnection Customer must also demonstrate that the model is validated by
         providing evidence that the equipment behavior is consistent with the model behavior
         (e.g., an attestation from Interconnection Customer that the model accurately represents
         the entire Small Generating Facility; attestations from each equipment manufacturer that
         the user defined model accurately represents the component of the Small Generating
         Facility; or test data).

         Table 1: Acceptable Generic Library RMS Positive Sequence Dynamics Models
          GE PSLF Siemens               PowerWorld      Description
                  PSS/E*                Simulator
          pvd1                          PVD1            Distributed PV system model
          der_a       DERAU1            DER_A           Distributed energy resource model
          regc_a      REGCAU1,          REGC_A          Generator/converter model
                      REGCA1
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         GE PSLF Siemens              PowerWorld    Description
                 PSS/E*               Simulator
         regc_b     REGCBU1           REGC_B        Generator/converter model
         wt1g       WT1G1             WT1G and      Wind turbine model for Type-1 wind turbines
                                      WT1G1         (conventional directly connected induction
                                                    generator)
         wt2g       WT2G1             WT2G and      Generator model for generic Type-2 wind
                                      WT2G1         turbines
         wt2e       WT2E1             WT2E and      Rotor resistance control model for wound-
                                      WT2E1         rotor induction wind-turbine generator wt2g
         reec_a     REECAU1,          REEC_A        Renewable energy electrical control model
                    REECA1
         reec_c     REECCU1           REEC_C        Electrical control model for battery energy
                                                    storage system
         reec_d     REECDU1           REEC_D        Renewable energy electrical control model
         wt1t       WT12T1            WT1T and      Wind turbine model for Type-1 wind turbines
                                      WT12T1        (conventional directly connected induction
                                                    generator)
         wt1p_b     wt1p_b            WT12A1U_B Generic wind turbine pitch controller for
                                                WTGs of Types 1 and 2
         wt2t       WT12T1            WT2T          Wind turbine model for Type-2 wind turbines
                                                    (directly connected induction generator wind
                                                    turbines with an external rotor resistance)
         wtgt_a     WTDTAU1,          WTGT_A        Wind turbine drive train model
                    WTDTA1
         wtga_a     WTARAU1,          WTGA_A        Simple aerodynamic model
                    WTARA1
         wtgp_a     WTPTAU1,          WTGPT_A       Wind Turbine Generator Pitch controller
                    WTPTA1
         wtgq_a     WTTQAU1,          WTGTRQ_A      Wind Turbine Generator Torque controller
                    WTTQA1
         wtgwgo_a WTGWGOAU            WTGWGO_       Supplementary control model for Weak Grids
                                      A
         wtgibffr_a WTGIBFFRA         WTGIBFFR_ Inertial-base fast frequency response control
                                      A
         wtgp_b     WTPTBU1           WTGPT_B       Wind Turbine Generator Pitch controller
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         GE PSLF Siemens              PowerWorld   Description
                 PSS/E*               Simulator
         wtgt_b     WTDTBU1           WTGT_B       Drive train model
         repc_a     Type 4:       REPC_A           Power Plant Controller
                    REPCAU1
                    (v33), REPCA1
                    (v34)
                    Type 3:
                    REPCTAU1
                    (v33),
                    REPCTA1
                    (v34)
         repc_b     PLNTBU1           REPC_B       Power Plant Level Controller for controlling
                                                   several plants/devices
                                                   In regard to Siemens PSS/E*:
                                                   Names of other models for interface with other
                                                   devices: REA3XBU1, REAX4BU1- for
                                                   interface with Type 3 and 4 renewable
                                                   machines
                                                   SWSAXBU1- for interface with SVC (modeled
                                                   as switched shunt in powerflow)
                                                   SYNAXBU1- for interface with synchronous
                                                   condenser
                                                   FCTAXBU1- for interface with FACTS device
         repc_c     REPCCU            REPC_C       Power plant controller

         *     *     *
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                                        Appendix F: Pro Forma SGIA


         Note: Deletions are in brackets and additions are in italics.
         ***


         Article 1. Scope and Limitations of Agreement.

         ***

         1.5    Responsibilities of the Parties

                1.5.1 The Parties shall perform all obligations of this Agreement in accordance
                      with all Applicable Laws and Regulations, Operating Requirements, and
                      Good Utility Practice.

                1.5.2 The Interconnection Customer shall construct, interconnect, operate and
                      maintain its Small Generating Facility and construct, operate, and maintain
                      its Interconnection Facilities in accordance with the applicable
                      manufacturer's recommended maintenance schedule, and in accordance
                      with this Agreement, and with Good Utility Practice.

                1.5.3 The Transmission Provider shall construct, operate, and maintain its
                      Transmission System and Interconnection Facilities in accordance with this
                      Agreement, and with Good Utility Practice.

                1.5.4 The Interconnection Customer agrees to construct its facilities or systems in
                      accordance with applicable specifications that meet or exceed those
                      provided by the National Electrical Safety Code, the American National
                      Standards Institute, IEEE, Underwriter's Laboratory, and Operating
                      Requirements in effect at the time of construction and other applicable
                      national and state codes and standards. The Interconnection Customer
                      agrees to design, install, maintain, and operate its Small Generating Facility
                      so as to reasonably minimize the likelihood of a disturbance adversely
                      affecting or impairing the system or equipment of the Transmission
                      Provider and any Affected Systems.

                1.5.5 Each Party shall operate, maintain, repair, and inspect, and shall be fully
                      responsible for the facilities that it now or subsequently may own unless
                      otherwise specified in the Attachments to this Agreement. Each Party shall
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                     be responsible for the safe installation, maintenance, repair and condition of
                     their respective lines and appurtenances on their respective sides of the
                     point of change of ownership. The Transmission Provider and the
                     Interconnection Customer, as appropriate, shall provide Interconnection
                     Facilities that adequately protect the Transmission Provider's Transmission
                     System, personnel, and other persons from damage and injury. The
                     allocation of responsibility for the design, installation, operation,
                     maintenance and ownership of Interconnection Facilities shall be delineated
                     in the Attachments to this Agreement.

               1.5.6 The Transmission Provider shall coordinate with all Affected Systems to
                     support the interconnection.

               1.5.7 The Interconnection Customer shall ensure “frequency ride through”
                     capability and “voltage ride through” capability of its Small Generating
                     Facility. The Interconnection Customer shall enable these capabilities such
                     that its Small Generating Facility shall not disconnect automatically or
                     instantaneously from the system or equipment of the Transmission Provider
                     and any Affected Systems for a defined under-frequency or over-frequency
                     condition, or an under-voltage or over-voltage condition, as tested pursuant
                     to S[s]ection 2.1 of this agreement. The defined conditions shall be in
                     accordance with Good Utility Practice and consistent with any standards
                     and guidelines that are applied to other generating facilities in the
                     Balancing Authority Area on a comparable basis. The Small Generating
                     Facility’s protective equipment settings shall comply with the Transmission
                     Provider’s automatic load-shed program. The Transmission Provider shall
                     review the protective equipment settings to confirm compliance with the
                     automatic load-shed program. The term “ride through” as used herein shall
                     mean the ability of a Small Generating Facility to stay connected to and
                     synchronized with the system or equipment of the Transmission Provider
                     and any Affected Systems during system disturbances within a range of
                     conditions, in accordance with Good Utility Practice and consistent with
                     any standards and guidelines that are applied to other generating facilities
                     in the Balancing Authority Area on a comparable basis. The term
                     “frequency ride through” as used herein shall mean the ability of a Small
                     Generating Facility to stay connected to and synchronized with the system
                     or equipment of the Transmission Provider and any Affected Systems
                     during system disturbances within a range of under-frequency and over-
                     frequency conditions, in accordance with Good Utility Practice and
                     consistent with any standards and guidelines that are applied to other
                     generating facilities in the Balancing Authority Area on a comparable basis.
                     The term “voltage ride through” as used herein shall mean the ability of a
                     Small Generating Facility to stay connected to and synchronized with the
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                      system or equipment of the Transmission Provider and any Affected
                      Systems during system disturbances within a range of under-voltage and
                      over-voltage conditions, in accordance with Good Utility Practice and
                      consistent with any standards and guidelines that are applied to other
                      generating facilities in the Balancing Authority Area on a comparable basis.
                      For abnormal frequency conditions and voltage conditions within the “no
                      trip zone” defined by Reliability Standard PRC-024-3 or successor
                      mandatory ride through Applicable Reliability Standards, the non-
                      synchronous Small Generating Facility must ensure that, within any
                      physical limitations of the Small Generating Facility, its control and
                      protection settings are configured or set to (1) continue active power
                      production during disturbance and post disturbance periods at pre-
                      disturbance levels unless providing primary frequency response or fast
                      frequency response; (2) minimize reductions in active power and remain
                      within dynamic voltage and current limits, if reactive power priority mode
                      is enabled, unless providing primary frequency response or fast frequency
                      response; (3) not artificially limit dynamic reactive power capability during
                      disturbances; and (4) return to pre-disturbance active power levels without
                      artificial ramp rate limits if active power is reduced, unless providing
                      primary frequency response or fast frequency response.

         1.6   Parallel Operation Obligations. Once the Small Generating Facility has been
               authorized to commence parallel operation, the Interconnection Customer shall
               abide by all rules and procedures pertaining to the parallel operation of the Small
               Generating Facility in the applicable [control area]Balancing Authority Area,
               including, but not limited to; 1) the rules and procedures concerning the operation
               of generation set forth in the Tariff or by the applicable system operator(s) for the
               Transmission Provider's Transmission System and; 2) the Operating Requirements
               set forth in Attachment 5 of this Agreement.

         ***

         1.8   Reactive Power and Primary Frequency Response

               1.8.1 Power Factor Design Criteria

                      1.8.1.1 Synchronous Generation. The Interconnection Customer shall
                              design its Small Generating Facility to maintain a composite power
                              delivery at continuous rated power output at the Point of
                              Interconnection at a power factor within the range of 0.95 leading
                              to 0.95 lagging, unless the Transmission Provider has established
                              different requirements that apply to all similarly situated
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                              synchronous generators in the [control area]Balancing Authority
                              Area on a comparable basis.

                     1.8.1.2 Non-Synchronous Generation. The Interconnection Customer
                             shall design its Small Generating Facility to maintain a composite
                             power delivery at continuous rated power output at the high-side of
                             the generator substation at a power factor within the range of 0.95
                             leading to 0.95 lagging, unless the Transmission Provider has
                             established a different power factor range that applies to all
                             similarly situated non-synchronous generators in the [control
                             area]Balancing Authority Area on a comparable basis. This power
                             factor range standard shall be dynamic and can be met using, for
                             example, power electronics designed to supply this level of
                             reactive capability (taking into account any limitations due to
                             voltage level, real power output, etc.) or fixed and switched
                             capacitors, or a combination of the two. This requirement shall
                             only apply to newly interconnecting non-synchronous generators
                             that have not yet executed a Facilities Study Agreement as of the
                             effective date of the Final Rule establishing this requirement
                             (Order No. 827).

               1.8.2 The Transmission Provider is required to pay the Interconnection Customer
                     for reactive power that the Interconnection Customer provides or absorbs
                     from the Small Generating Facility when the Transmission Provider
                     requests the Interconnection Customer to operate its Small Generating
                     Facility outside the range specified in A[a]rticle 1.8.1. In addition, if the
                     Transmission Provider pays its own or affiliated generators for reactive
                     power service within the specified range, it must also pay the
                     Interconnection Customer.

               1.8.3 Payments shall be in accordance with the Interconnection Customer's
                     applicable rate schedule then in effect unless the provision of such
                     service(s) is subject to a regional transmission organization or independent
                     system operator FERC-approved rate schedule. To the extent that no rate
                     schedule is in effect at the time the Interconnection Customer is required to
                     provide or absorb reactive power under this Agreement, the Parties agree to
                     expeditiously file such rate schedule and agree to support any request for
                     waiver of the Commission's prior notice requirement in order to
                     compensate the Interconnection Customer from the time service
                     commenced.

               1.8.4 Primary Frequency Response. Interconnection Customer shall ensure the
                     primary frequency response capability of its Small Generating Facility by
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                     installing, maintaining, and operating a functioning governor or equivalent
                     controls. The term “functioning governor or equivalent controls” as used
                     herein shall mean the required hardware and/or software that provides
                     frequency responsive real power control with the ability to sense changes in
                     system frequency and autonomously adjust the Small Generating Facility’s
                     real power output in accordance with the droop and deadband parameters
                     and in the direction needed to correct frequency deviations.
                     Interconnection Customer is required to install a governor or equivalent
                     controls with the capability of operating: (1) with a maximum 5 percent
                     droop and ±0.036 Hz deadband; or (2) in accordance with the relevant
                     droop, deadband, and timely and sustained response settings from an
                     approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for equivalent or more stringent parameters. The
                     droop characteristic shall be: (1) based on the nameplate capacity of the
                     Small Generating Facility, and shall be linear in the range of frequencies
                     between 59 to 61 Hz that are outside of the deadband parameter; or (2)
                     based an approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for an equivalent or more stringent parameter. The
                     deadband parameter shall be: the range of frequencies above and below
                     nominal (60 Hz) in which the governor or equivalent controls is not
                     expected to adjust the Small Generating Facility’s real power output in
                     response to frequency deviations. The deadband shall be implemented: (1)
                     without a step to the droop curve, that is, once the frequency deviation
                     exceeds the deadband parameter, the expected change in the Small
                     Generating Facility’s real power output in response to frequency deviations
                     shall start from zero and then increase (for under-frequency deviations) or
                     decrease (for over-frequency deviations) linearly in proportion to the
                     magnitude of the frequency deviation; or (2) in accordance with an
                     approved [NERC] Electric Reliability Organization [R]reliability
                     [S]standard providing for an equivalent or more stringent parameter.
                     Interconnection Customer shall notify Transmission Provider that the
                     primary frequency response capability of the Small Generating Facility has
                     been tested and confirmed during commissioning. Once Interconnection
                     Customer has synchronized the Small Generating Facility with the
                     Transmission System, Interconnection Customer shall operate the Small
                     Generating Facility consistent with the provisions specified in Sections
                     1.8.4.1 and 1.8.4.2 of this Agreement. The primary frequency response
                     requirements contained herein shall apply to both synchronous and non-
                     synchronous Small Generating Facilities.

                     1.8.4.1 Governor or Equivalent Controls. Whenever the Small Generating
                            Facility is operated in parallel with the Transmission System,
                            Interconnection Customer shall operate the Small Generating
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                            Facility with its governor or equivalent controls in service and
                            responsive to frequency. Interconnection Customer shall: (1) in
                            coordination with Transmission Provider and/or the relevant
                            [b]Balancing [a]Authority, set the deadband parameter to: (1) a
                            maximum of ±0.036 Hz and set the droop parameter to a maximum
                            of 5 percent; or (2) implement the relevant droop and deadband
                            settings from an approved [NERC] Electric Reliability Organization
                            [R]reliability [S]standard that provides for equivalent or more
                            stringent parameters. Interconnection Customer shall be required to
                            provide the status and settings of the governor or equivalent controls
                            to Transmission Provider and/or the relevant [b]Balancing
                            [a]Authority upon request. If Interconnection Customer needs to
                            operate the Small Generating Facility with its governor or equivalent
                            controls not in service, Interconnection Customer shall immediately
                            notify Transmission Provider and the relevant [b]Balancing
                            [a]Authority, and provide both with the following information: (1)
                            the operating status of the governor or equivalent controls (i.e.,
                            whether it is currently out of service or when it will be taken out of
                            service); (2) the reasons for removing the governor or equivalent
                            controls from service; and (3) a reasonable estimate of when the
                            governor or equivalent controls will be returned to service.
                            Interconnection Customer shall make Reasonable Efforts to return
                            its governor or equivalent controls into service as soon as
                            practicable. Interconnection Customer shall make Reasonable
                            Efforts to keep outages of the Small Generating Facility’s governor
                            or equivalent controls to a minimum whenever the Small Generating
                            Facility is operated in parallel with the Transmission System.

                     1.8.4.2 Timely and Sustained Response. Interconnection Customer shall
                            ensure that the Small Generating Facility’s real power response to
                            sustained frequency deviations outside of the deadband setting is
                            automatically provided and shall begin immediately after frequency
                            deviates outside of the deadband, and to the extent the Small
                            Generating Facility has operating capability in the direction needed
                            to correct the frequency deviation. Interconnection Customer shall
                            not block or otherwise inhibit the ability of the governor or
                            equivalent controls to respond and shall ensure that the response is
                            not inhibited, except under certain operational constraints including,
                            but not limited to, ambient temperature limitations, physical energy
                            limitations, outages of mechanical equipment, or regulatory
                            requirements. The Small Generating Facility shall sustain the real
                            power response at least until system frequency returns to a value
                            within the deadband setting of the governor or equivalent controls.
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                            A Commission-approved Reliability Standard with equivalent or
                            more stringent requirements shall supersede the above requirements.

                     1.8.4.3 Exemptions. Small Generating Facilities that are regulated by the
                            United States Nuclear Regulatory Commission shall be exempt from
                            Sections 1.8.4, 1.8.4.1, and 1.8.4.2 of this Agreement. Small
                            Generating Facilities that are behind the meter generation that is
                            sized-to-load (i.e., the thermal load and the generation are near-
                            balanced in real-time operation and the generation is primarily
                            controlled to maintain the unique thermal, chemical, or mechanical
                            output necessary for the operating requirements of its host facility)
                            shall be required to install primary frequency response capability in
                            accordance with the droop and deadband capability requirements
                            specified in Section 1.8.4, but shall be otherwise exempt from the
                            operating requirements in Sections 1.8.4, 1.8.4.1, 1.8.4.2, and 1.8.4.4
                            of this Agreement.

                     1.8.4.4 Electric Storage Resources. Interconnection Customer
                            interconnecting an electric storage resource shall establish an
                            operating range in Attachment 5 of its SGIA that specifies a
                            minimum state of charge and a maximum state of charge between
                            which the electric storage resource will be required to provide
                            primary frequency response consistent with the conditions set forth
                            in Sections 1.8.4, 1.8.4.1, 1.8.4.2 and 1.8.4.3 of this Agreement.
                            Attachment 5 shall specify whether the operating range is static or
                            dynamic, and shall consider: (1) the expected magnitude of
                            frequency deviations in the interconnection; (2) the expected
                            duration that system frequency will remain outside of the deadband
                            parameter in the interconnection; (3) the expected incidence of
                            frequency deviations outside of the deadband parameter in the
                            interconnection; (4) the physical capabilities of the electric storage
                            resource; (5) operational limitations of the electric storage resource
                            due to manufacturer specifications; and (6) any other relevant factors
                            agreed to by Transmission Provider and Interconnection Customer,
                            and in consultation with the relevant transmission owner or
                            [b]Balancing [a]Authority as appropriate. If the operating range is
                            dynamic, then Attachment 5 must establish how frequently the
                            operating range will be reevaluated and the factors that may be
                            considered during its reevaluation.

                            Interconnection Customer’s electric storage resource is required to
                            provide timely and sustained primary frequency response consistent
                            with Section 1.8.4.2 of this Agreement when it is online and
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                             dispatched to inject electricity to the Transmission System and/or
                             receive electricity from the Transmission System. This excludes
                             circumstances when the electric storage resource is not dispatched to
                             inject electricity to the Transmission System and/or dispatched to
                             receive electricity from the Transmission System. If Interconnection
                             Customer’s electric storage resource is charging at the time of a
                             frequency deviation outside of its deadband parameter, it is to
                             increase (for over-frequency deviations) or decrease (for under-
                             frequency deviations) the rate at which it is charging in accordance
                             with its droop parameter. Interconnection Customer’s electric
                             storage resource is not required to change from charging to
                             discharging, or vice versa, unless the response necessitated by the
                             droop and deadband settings requires it to do so and it is technically
                             capable of making such a transition.

         ***

                                                                                    Attachment 1

                                            Glossary of Terms

         Affected System – An electric system other than the Transmission Provider's
         Transmission System that may be affected by the proposed interconnection.

         Applicable Laws and Regulations – All duly promulgated applicable federal, state and
         local laws, regulations, rules, ordinances, codes, decrees, judgments, directives, or
         judicial or administrative orders, permits and other duly authorized actions of any
         Governmental Authority.

         Balancing Authority shall mean an entity that integrates resource plans ahead of time,
         maintains demand and resource balance within a Balancing Authority Area, and
         supports interconnection frequency in real time.

         Balancing Authority Area shall mean the collection of generation, transmission, and
         loads within the metered boundaries of the Balancing Authority. The Balancing
         Authority maintains load-resource balance within this area.

         Business Day – Monday through Friday, excluding Federal Holidays.

         Default – The failure of a breaching Party to cure its breach under the Small Generator
         Interconnection Agreement.

         Distribution System – The Transmission Provider's facilities and equipment used to
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         transmit electricity to ultimate usage points such as homes and industries directly from
         nearby generators or from interchanges with higher voltage transmission networks which
         transport bulk power over longer distances. The voltage levels at which Distribution
         Systems operate differ among areas.

         Distribution Upgrades – The additions, modifications, and upgrades to the Transmission
         Provider's Distribution System at or beyond the Point of Interconnection to facilitate
         interconnection of the Small Generating Facility and render the transmission service
         necessary to effect the Interconnection Customer's wholesale sale of electricity in
         interstate commerce. Distribution Upgrades do not include Interconnection Facilities.

         Good Utility Practice – Any of the practices, methods and acts engaged in or approved
         by a significant portion of the electric industry during the relevant time period, or any of
         the practices, methods and acts which, in the exercise of reasonable judgment in light of
         the facts known at the time the decision was made, could have been expected to
         accomplish the desired result at a reasonable cost consistent with good business practices,
         reliability, safety and expedition. Good Utility Practice is not intended to be limited to
         the optimum practice, method, or act to the exclusion of all others, but rather to be
         acceptable practices, methods, or acts generally accepted in the region.

         Governmental Authority – Any federal, state, local or other governmental regulatory or
         administrative agency, court, commission, department, board, or other governmental
         subdivision, legislature, rulemaking board, tribunal, or other governmental authority
         having jurisdiction over the Parties, their respective facilities, or the respective services
         they provide, and exercising or entitled to exercise any administrative, executive, police,
         or taxing authority or power; provided, however, that such term does not include the
         Interconnection Customer, the Interconnection Provider, or any Affiliate thereof.

         Interconnection Customer – Any entity, including the Transmission Provider, the
         Transmission Owner or any of the affiliates or subsidiaries of either, that proposes to
         interconnect its Small Generating Facility with the Transmission Provider's Transmission
         System.

         Interconnection Facilities – The Transmission Provider's Interconnection Facilities and
         the Interconnection Customer's Interconnection Facilities. Collectively, Interconnection
         Facilities include all facilities and equipment between the Small Generating Facility and
         the Point of Interconnection, including any modification, additions or upgrades that are
         necessary to physically and electrically interconnect the Small Generating Facility to the
         Transmission Provider's Transmission System. Interconnection Facilities are sole use
         facilities and shall not include Distribution Upgrades or Network Upgrades.

         Interconnection Request – The Interconnection Customer's request, in accordance with
         the Tariff, to interconnect a new Small Generating Facility, or to increase the capacity of,
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         or make a Material Modification to the operating characteristics of, an existing Small
         Generating Facility that is interconnected with the Transmission Provider’s Transmission
         System.

         Material Modification – A modification that has a material impact on the cost or timing
         of any Interconnection Request with a later queue priority date.

         Network Upgrades – Additions, modifications, and upgrades to the Transmission
         Provider's Transmission System required at or beyond the point at which the Small
         Generating Facility interconnects with the Transmission Provider’s Transmission System
         to accommodate the interconnection of the Small Generating Facility with the
         Transmission Provider’s Transmission System. Network Upgrades do not include
         Distribution Upgrades.

         Operating Requirements – Any operating and technical requirements that may be
         applicable due to Regional Transmission Organization, Independent System Operator,
         [control area]Balancing Authority Area, or [the]Transmission Providers requirements,
         including those set forth in the Small Generator Interconnection Agreement.

         Party or Parties – The Transmission Provider, Transmission Owner, Interconnection
         Customer or any combination of the above.

         Point of Interconnection – The point where the Interconnection Facilities connect with
         the Transmission Provider's Transmission System.

         Reasonable Efforts – With respect to an action required to be attempted or taken by a
         Party under the Small Generator Interconnection Agreement, efforts that are timely and
         consistent with Good Utility Practice and are otherwise substantially equivalent to those a
         Party would use to protect its own interests.

         Small Generating Facility – The Interconnection Customer's device for the production
         and/or storage for later injection of electricity identified in the Interconnection Request,
         but shall not include the Interconnection Customer's Interconnection Facilities.

         Tariff – The Transmission Provider or Affected System's Tariff through which open
         access transmission service and Interconnection Service are offered, as filed with the
         FERC, and as amended or supplemented from time to time, or any successor tariff.

         Transmission Owner – The entity that owns, leases or otherwise possesses an interest in
         the portion of the Transmission System at the Point of Interconnection and may be a
         Party to the Small Generator Interconnection Agreement to the extent necessary.

         Transmission Provider – The public utility (or its designated agent) that owns, controls,
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         or operates transmission or distribution facilities used for the transmission of electricity in
         interstate commerce and provides transmission service under the Tariff. The term
         Transmission Provider should be read to include the Transmission Owner when the
         Transmission Owner is separate from the Transmission Provider.

         Transmission System – The facilities owned, controlled or operated by the Transmission
         Provider or the Transmission Owner that are used to provide transmission service under
         the Tariff.

         Upgrades – The required additions and modifications to the Transmission Provider's
         Transmission System at or beyond the Point of Interconnection. Upgrades may be
         Network Upgrades or Distribution Upgrades. Upgrades do not include Interconnection
         Facilities.

         ***
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                                   UNITED STATES OF AMERICA
                            FEDERAL ENERGY REGULATORY COMMISSION

          Improvements to Generator Interconnection                   Docket No.      RM22-14-000
          Procedures and Agreements


                                             (Issued July 28, 2023)

         DANLY, Commissioner, concurring:

                 I concur in the issuance of today’s final rule. I write separately to state that, while
         I continue to harbor misgivings about the Commission’s power to implement far-
         reaching, uniform policies based on our authority under FPA section 206,1 I am satisfied
         on this record that existing interconnection procedures in both RTO and non-RTO
         regions have been shown to be unjust and unreasonable, and that we take today’s action
         consistent with the standards articulated in precedent.2 Though I am not convinced that
         this precedent will ultimately be proven correct in declaring that “the Commission may
         rely on ‘generic’ or ‘general’ findings of a systemic problem to support imposition of an
         industry-wide solution,” the Commission is entitled to act under prevailing case law.3

                I also agree that the relatively narrow reforms contemplated in this final rule
         appear, based on this record, to be a just and reasonable replacement rate. I am pleased
         that most of that which I considered to be the most problematic elements in the Notice of
         Proposed Rulemaking have been excluded from this rule.4 I also remind parties of the
         availability of “the independent entity variation standard for regional transmission
         organizations (RTO) and independent system operators (ISO) and the consistent with or




                1
                    16 U.S.C. § 824e.
                2
                  Improvements to Generator Interconnection Procedures & Agreements, 184
         FERC ¶ 61,054, at P 57 & n.149 (2023) (Interconnection Rule) (citing S.C. Pub. Serv.
         Auth. v. FERC, 762 F.3d 41, 67 (D.C. Cir. 2014) (quoting Interstate Nat. Gas Ass’n v.
         FERC, 285 F.3d 18, 37 (D.C. Cir. 2002))).
                3
                    Id.
                4
                Improvements to Generator Interconnection Procedures & Agreements, 179
         FERC ¶ 61,194 (2022) (Danly, Comm’r, concurring at PP 6-10) (NOPR Concurrence).
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         superior to standard for non-RTO/ISO transmission providers” should they choose to
         seek variations from these rules.5

                While I vote to approve today’s order, I will also thoroughly review any requests
         for rehearing, particularly to the extent to which parties to the proceeding wish to
         advance arguments that we have exceeded our authority under FPA section 206, or that
         we have failed to carry our evidentiary burden, either generally, or in a sufficient number
         of specific cases that our order amounts to an unlawful exercise of our powers.

                 I would have preferred to receive section 2056 filings from utilities proposing
         interconnection reforms—and indeed we have received and ruled upon a number of such
         filings. Failing that, I would have preferred for the Commission or interested parties to
         have initiated FPA section 206 complaints against the RTOs or other entities with
         interconnection delays, rather than to have proceeded generically in an effort to establish
         uniformity.7 However, my preferences do not make this rule unlawful, and I am satisfied
         that today’s rule is consistent with our legal obligations.

                For these reasons, I respectfully concur.


         ________________________
         James P. Danly
         Commissioner




                5
                    Interconnection Rule, 184 FERC ¶ 61,054 at P 10 (citation omitted).
                6
                    16 U.S.C. § 824d.
                7
                    See NOPR Concurrence at PP 1, 4.
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                                       UNITED STATES OF AMERICA
                                FEDERAL ENERGY REGULATORY COMMISSION

         Improvements to Generator Interconnection Procedures               Docket No. RM22-14-000
         and Agreements


                                             (Issued July 28, 2023)


         CLEMENTS, Commissioner, concurring:

         1.      As the findings of this final rule illustrate, our nation is facing a grid infrastructure
         crisis. Five years ago, the Commission issued Order No. 845 in an effort to improve
         interconnection queue delays, noting that “despite Commission efforts to improve the
         interconnection process . . . many interconnection customers experience delays, and some
         interconnection queues have significant backlogs and long timelines.”1 Unfortunately,
         the same observation can be made today, only the problem has gotten far worse.2 As of
         the end of 2022, a staggering 10,000 projects representing over 2,000 GW of potential
         generation and storage capacity are stuck in line to connect to the grid.3 That is nearly
         double the 1,250 GW of total installed capacity in the United States today.4 Wait times
         have “increased markedly,” with Lawrence Berkeley National Lab reporting that “[t]he
         typical project built in 2022 took 5 years from the interconnection request to commercial
         operations, compared to 3 years in 2015 and [less than] 2 years in 2008.”5 Meanwhile,



                1
                 Reform of Generator Interconnection Procs. & Agreements, Order No. 845, 83
         FR 21342 (May 9, 2018), 163 FERC ¶ 61,043, at P 24 (2018), order on
         reh’g, Order No. 845-A, 166 FERC ¶ 61,137, 84 FR 8156 (Mar. 6, 2019), order on
         reh’g, Order No. 845-B, 168 FERC ¶ 61,092 (2019).
                2
                See Improvements to Generator Interconnection Procedures and Agreements,
         Order No. 2023, 184 FERC ¶ 61,054, at PP 37-40 (2023) [hereinafter Final Rule].
                3
                 Joseph Rand et al., Lawrence Berkeley Nat’l Lab’y, Queued Up: Characteristics
         of Power Plants Seeking Transmission Interconnection As of the End of 2022, at 7-8
         (Apr. 2023), https://emp.lbl.gov/sites/default/files/queued_up_2022_04-06-2023.pdf
         [hereinafter Queued Up 2023].
                4
                    Id. at 10.
                5
                    Id. at 3.
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         interconnection costs have increased significantly.6 Project completion rates are very
         low,7 and late-stage withdrawal is becoming more common.8 In addition, the typical
         timespan between the execution of a project’s interconnection agreement and its
         commercial operations date has also increased, from roughly 17 months for projects built
         between 2007-2014 to around 22 months for projects built between 2015-2022.9

         2.      Ultimately, the dysfunction of the interconnection process harms consumers. It
         prevents low-cost generation from coming online that could have reduced the cost of
         electricity,10 and it harms reliability. Several of the nation’s largest grid operators have
         stated that they could face resource adequacy problems if new resource entry does not
         occur rapidly enough to match the pace of resource retirements.11 Given these
         challenges and their attendant impacts on consumers, I enthusiastically support this final
         rule, which includes a number of helpful reforms that will improve interconnection
         processes across the country. The bulk of these reforms will widely extend proven best
         practices to utilities around the country.

         3.    What we have learned through consideration of comments to and stakeholder
         engagement about the Commission’s Notice of Proposed Rulemaking, however, is that

                6
                  See Final Rule at P 41 (detailing interconnection cost increases seen across
         different regions).
                7
                    See Queued Up 2023 at 18-20.
                8
                    Id. at 22.
                9
                    Id. at 30.
                10
                  See, e.g., T. Bruce Tsuchida et al., The Brattle Grp., Unlocking the Queue with
         Grid-Enhancing Technologies: Case Study of the Southwest Power Pool at 9 (Feb. 1,
         2021), https://watt-transmission.org/wp-content/uploads/2021/02/Brattle__Unlocking-
         the-Queue-with-Grid-Enhancing-Technologies__Final-Report_Public-Version.pdf90.pdf
         (estimating that integrating 2,670 MW of new generation in the Southwest Power Pool
         would yield annual production cost savings of $175 million).
                11
                   See PJM Interconnection, LLC, Energy Transition in PJM: Resource
         Retirements, Replacements & Risks at 2 (Feb. 24, 2023), energy-transition-in-pjm-
         resource-retirements-replacements-and-risks.ashx; Midcontinent Indep. Sys. Operator,
         2022 Regional Resource Assessment at 4, 20 (Nov. 2022),
         https://cdn.misoenergy.org/2022%
         20Regional%20Resource%20Assessment%20Report627163.pdf; California Indep. Sys.
         Operator, Summer Loads and Resources Assessment at 20 (May 18, 2022),
         http://www.caiso.com/Documents/2022-Summer-Loads-and-Resources-Assessment.pdf.
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         while this rule can be expected to improve matters, more will be necessary to solve the
         problem. What was perhaps considered a straightforward kitchen renovation has become
         more complicated. After we have removed the cabinets and taken out the drywall, we
         have discovered outdated wires, rusted pipes and cracks in the foundation. None of these
         additional challenges are insurmountable, but they are in some ways more fundamental to
         getting that modern, working kitchen up and running.

         4.     I therefore write separately to highlight some of the remaining issues and potential
         solutions parties have brought forward that may address the remainder of the full
         interconnection reform challenge, as well as to encourage stakeholders to remain focused
         on taking additional critical steps toward addressing these issues.

         5.     I do not suggest that solving the remaining challenges related to interconnection
         will be easy. The record reveals quite the opposite. A comprehensive solution set will
         require out-of-the-box thinking in some areas and continued incremental improvements
         in others.

         6.    Fortunately, we have received many thoughtful suggestions for further reforms,
         which serve as the seeds for future solutions. Below, I discuss two categories of
         promising ideas meriting further discussion: (1) deeper reforms that get at some of the
         remaining fundamental challenges with interconnection processes; and (2) additional nuts
         and bolts changes that could enhance the effectiveness of a variety of interconnection
         processes, but which were not part of the proposal giving rise to this final rule.

         7.    I urge stakeholders to examine these and related suggestions, and for transmission
         planners to adopt regionally appropriate solutions beyond those required by this final
         rule.

         I.     Deeper reforms


         8.      In considering interconnection processes across the country, twin challenges
         emerge as the most fundamental problems. First, interconnection studies initially
         examine clusters of projects that often bear little resemblance to what ultimately
         interconnects to the system. They rely on a long and painful process of attrition to arrive
         at a final set of projects along with corresponding network upgrades.

         9.     More specifically, processes that rely solely on interconnection applications to
         determine study scope, and which require substantial study work for each customer based
         on inputs that depend on other projects in the queue, have become overwhelmed. For
         example, S&P reports that the California Independent System Operator (CAISO)
         received more than 350 GW of projects in its latest application window, driving its total
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         queue to over 500 GW.12 Meanwhile, the Midcontinent Independent System Operator’s
         (MISO) queue has ballooned to 339 GW, while PJM Interconnection, LLC’s (PJM) has
         risen to 298 GW, both comfortably greater than the present installed capacity of either
         region.13 According to a recent CAISO stakeholder presentation, “[t]he massive increase
         in interconnection requests seeking to meet the accelerated cadence of resource
         development . . . has overwhelmed critical planning and engineering resources across the
         industry. . . . The current generator interconnection processes simply cannot efficiently
         accommodate the latest level of interconnection requests received.”14 Other queues are
         similarly overwhelmed.15

         10.     Second, project developers face enormous cost uncertainty.16 Initial study results
         may be far different from final costs because the number of projects reaching the
         facilities study stage (the final stage before the execution of a generator interconnection
         agreement) can be far fewer than those earlier examined in the cluster study stage. As
         CAISO observed in a recent stakeholder presentation, its “[s]tudy results lose accuracy,
         meaning and utility when the level of cluster [Interconnection Resource] capacity [is]
         multiple times the existing or planned transmission capacity for an area.”17


                12
                  Garrett Hering, California ISO Tackles ‘Broken’ Interconnection Process as
         Queue Tops 500 GW, S&P GLOBAL (July 19, 2023); see also CAISO, Cluster 15
         Interconnection Requests, http://www.caiso.com/planning/Pages/Generator
         Interconnection/Default.aspx (last visited July 26, 2023).
                13
                     Queued Up 2023 at 9-10.
                14
                   CAISO, 2023 Interconnection Process Enhancements: Summary of June 20 &
         21 Track 2 Working Group Meeting – Revised Principles and Problem Statements 1 and
         2, at 4 (June 23, 2023), http://www.caiso.com/InitiativeDocuments/Revised-Principles-
         and-Problem-Statements-Interconnection-Process-Enhancements-2023-Track
         %202-Jun%2020-212023.pdf.
                15
                   See Queued Up 2023 at 9 (showing very large amounts of queue capacity across
         several regions).
                16
                   See Final Rule at P 43 (“Cost uncertainty poses an especially significant
         obstacle because interconnection customers may not be able to finance substantial
         increases in unexpected interconnection costs.”). For example, in one relatively recent
         interconnection cluster in MISO, the preliminary system impact study estimated $3.2
         billion in network upgrades for 31 projects, but that estimate was cut to only $330 million
         by Decision Point I after more than half of the projects withdrew. See Midcontinent
         Indep. Sys. Operator, 169 FERC ¶ 61,173, at P 11 (2019).
                17
                     CAISO, 2023 Interconnection Process Enhancements Track 2 Working Group
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         11.     Today’s final rule will help to ameliorate these problems. In particular, the rule’s
         site control requirements,18 requirement for an interconnection customer to select a
         definitive point of interconnection,19 commercial readiness requirements,20 and
         withdrawal penalty framework21 will each contribute to more streamlined study clusters.
         As we have learned through this proceeding, however, they will likely be inadequate, on
         their own, to fully solve these deep challenges.22

         12.     In my estimation, the record of this proceeding, as well as recent stakeholder
         initiatives, suggest several options for further improvement. They are not necessarily
         exclusive of one another, and appropriate application may depend on the particular
         regional context. They include: (1) linking the interconnection process to proactive
         transmission system planning; (2) in applicable regions, aligning the interconnection
         process more closely with competitive resource solicitations; and (3) transitioning to a
         “focused” interconnection process or “connect and manage” approach for all energy-only
         resources.

                A.       Link the interconnection process to proactive transmission system
                         planning

         13.   Foundationally, it should be acknowledged that for interconnection reform to
         succeed, holistic, forward-looking transmission planning, as included in the


         at 10 (July 11, 2023), http://www.caiso.com/InitiativeDocuments/Presentation-
         Interconnection-Process-Enhancements-2023-Track-2-Working-Group-Jul112023.pdf.
                18
                     See Final Rule at PP 583-612.
                19
                     Id. at PP 200-03.
                20
                     Id. at PP 690-707.
                21
                     Id. at PP 780-813].
                22
                   The Arizona Corporation Commission, for example, argues that ‘“first-ready’
         queue reforms that are not explicitly linked to an effective rationing process will likely
         fail to help resolve the growing backlog. Some mechanism to prioritize projects and
         allocate scarce interconnection access to the highest quality projects is likely needed.”
         Arizona Commission Initial Comments at 1-2. Similarly, a coalition of consumer groups
         and the R Street Institute argues that the Commission’s notice of proposed rulemaking in
         this proceeding “leaves many critical reforms unresolved.” R Street Institute et al. June
         8, 2023 Comments in Support of Generator Interconnection Reform Under RM22-14, at
         2. See also Cypress Creek Initial Comments at 12 (arguing that “a cluster-based
         approach alone, without further changes, will not provide adequate reform”).
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         Commission’s notice of proposed rulemaking on regional planning and cost allocation,23
         must also succeed. Interconnection processes are overloaded in part because they are
         being relied on to build out core transmission system infrastructure that should be
         considered in regional planning processes. We know interconnection processes were not
         intended for, and are ill suited to perform, this task. As a coalition of consumer groups
         and the R Street Institute argues in a recent letter to the Commission, “[t]he cost of
         network upgrades can be dramatically reduced through proactive regional transmission
         planning, which enables major reductions in [Generator Interconnection] requirements
         and delays.”24 Even prior to the adoption of any final rule in the Commission’s regional
         transmission planning proceeding, individual transmission providers can make significant
         strides toward the cost-effective construction of new transmission infrastructure via
         regionally tailored proposals and initiatives.25

         14.    There may also be opportunities to streamline the interconnection process by more
         closely linking it to the transmission system planning process,26 or to carry out forward-
         looking interconnection studies driven by a more holistic assessment of interconnection
         needs.

         15.    Southwest Power Pool (SPP) and its stakeholders have embarked on a potentially
         promising initiative along these lines, which proposes a “Consolidated Planning Process”
         that would connect SPP’s interconnection process to its regional transmission planning
         process.27 Similarly, CAISO is seeking to “[p]rioritize interconnection in zones where

               23
                  See Building for the Future Through Elec. Reg'l Transmission Planning & Cost
         Allocation & Generator Interconnection, 179 FERC ¶ 61,028 (2022).
               24
                  R Street Institute et al. June 8, 2023 Comments in Support of Generator
         Interconnection Reform Under RM22-14, at 2.
               25
                   See, e.g., MISO, MTEP21 Report Addendum: Long Range Transmission
         Planning Tranche 1 Executive Summary at 1 (2022),
         https://cdn.misoenergy.org/MTEP21%
         20Addendum-LRTP%20Tranche%201%20Report%20with%20Executive%20Summary
         625790.pdf (describing a proposed “portfolio of 18 transmission projects located in the
         MISO Midwest Subregions with a total investment of $10.3 billion, and benefit-to-cost
         ratios average of 2.6”).
               26
                 See, e.g., AEE Initial Comments at 10-13 (advocating for a closer linkage
         between transmission planning and generator interconnection).
               27
                  See Southwest Power Pool, Consolidated Planning Process Task Force,
         https://www.spp.org/stakeholder-groups-list/organizational-groups/board-of-
         directorsmembers-committee/consolidated-planning-process-task-force/ (last visited July
         26, 2023); Southwest Power Pool, Consolidated Planning Process: Phase 1
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         transmission capacity exists or new transmission has been approved, while providing
         opportunities to identify and provide alternative points of interconnection or upgrades.”28
         Like SPP, CAISO aims to overhaul a bloated queue that requires initial studies that bear
         little relation to transmission system reality, and instead chart a course to a new process
         that produces “meaningful study results that take into account system capability, resource
         planning and procurement.”29

         16.     The promise of a forward-looking approach is also becoming clear through the
         ongoing effort that MISO and SPP are pioneering in the affected systems context. That
         effort, known as the Joint Targeted Interconnection Queue (JTIQ), examines a larger
         portfolio of projects to identify solutions that more efficiently solve their collective




         Recommendations (May 17, 2023), https://www.spp.org/spp-documents-filings/?id
         =297513 (when accessing “CPPTF Meeting Materials 20230621”). SPP proposes to
         calculate an “entry fee,” which would involve per-MW costs of any “regional” or “sub-
         regional” interconnection network infrastructure, along with a “local” component derived
         from a narrower reliability assessment examining any necessary facilities at the point of
         interconnection. See Southwest Power Pool, CPP Entry Fee Rate Structure, at 20 (July
         14, 2023), https://www.spp.org/spp-documents-filings/?id=297513 (when accessing
         “CPPTF Meeting Materials 20230714”) (setting forth entry fee components). The key to
         SPP’s proposal, as I understand it, is that the regional and sub-regional components of the
         entry fee would be identified by “forward-casting,” a “longer-term assessment” derived
         from estimated costs of interconnecting resources in a fashion that is integrated with
         SPP’s long-term regional plan. Id. By assessing costs across a broader range of projects
         than any individual cluster, and by calculating it based on SPP’s proactive planning
         vision rather than calculating costs for a hypothetical cluster of initial applicants that will
         not all reach commercial operation, SPP may be able to offer far greater cost certainty for
         project developers and thereby greatly streamline and accelerate the interconnection
         process. Id. at 11, 19 (illustrating a greatly simplified flow chart for the consolidated
         planning approach as compared to SPP’s status quo).
                28
                   CAISO, 2023 Interconnection Process Enhancements Track 2 Working Group
         at 9 (July 11, 2023), http://www.caiso.com/InitiativeDocuments/Presentation-
         Interconnection-Process-Enhancements-2023-Track-2-Working-Group-Jul112023.pdf.
                29
                     Id.
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         needs.30 By assessing larger, long-term system needs across study clusters, this approach
         identifies efficiencies that could not be captured on a more project-specific basis.31

         17.   As these regions’ proposals are still in flux and have yet to be filed with the
         Commission, I do not prejudge them. But, at a high level, it appears that these types of
         approaches may hold the potential to provide developers more certainty; avoid a dynamic
         whereby large upgrades are assigned to individual projects that then drop from the queue,
         causing a cascading need for restudy; and deliver benefits to consumers by identifying
         more efficient infrastructure solutions than would be delivered on a piecemeal basis.

         18.   Questions worth exploring as these types of processes develop include:

                    a. How can the process ensure that fees charged to interconnection customers
                       provide the funds needed for the relevant proactively-planned network
                       upgrades, while providing developers with a reasonable degree of cost
                       certainty?;

                    b. Would a mechanism such as a competitive auction or open season
                       administered by the transmission provider be an effective tool for allocating
                       scarce interconnection capacity identified by the forward-looking plans,
                       and/or are there other processes that can effectively streamline the study
                       process?;

                    c. How can such processes be designed in a manner that is not unduly
                       discriminatory and is consistent with open access principles?; and

                    d. What process is appropriate for interconnection applications that do not
                       align with the transmission provider’s forward-looking regional
                       transmission plan?


               30
                   See generally SPP & MISO, SPP-MISO Joint Targeted Interconnection Queue
         Cost Allocation and Affected System Study Process Changes White Paper (Dec. 20,
         2022), https://www.spp.org/documents/68518/spp-miso%20jtiq%20study%20updated
         %20white%20paper%2020221220.pdf. Because this approach looks at projects that have
         reached the affected systems study stage, it does not provide a template for narrowing the
         initial pool of projects to facilitate meaningful study results. But the forward-looking
         nature of the initiative may nevertheless provide valuable insights to regional
         interconnection processes more broadly.
               31
                 See SPP & MISO, MISO-SPP Joint Targeted Interconnection Queue Update at
         7 (March 27, 2023), https://cdn.misoenergy.org/20230337%20MISO%20SPP%20JTIQ%
         20Update628357.pdf.
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                B.         Align interconnection processes with competitive resource solicitations

         19.    In some regions of the country, it may be appropriate to link aspects of the
         interconnection process to resource solicitation.32 The Colorado Public Utilities
         Commission (Colorado Commission), for example, characterizes the interconnection
         queue management processes of transmission providers in its state as “highly
         functional.”33 The key, it says, is that its “existing FERC-approved tariffs and bilateral
         market structure . . . ensures that projects selected in [its] competitive resource planning
         and acquisition process obtain scarce interconnection in a cost-effective and timely
         manner.”34

         20.    The Colorado Commission and Arizona Corporation Commission (Arizona
         Commission) argue that a mechanism to allocate scarce interconnection capacity is
         needed.35 The Colorado Commission explains that if there is 400 MW of low-cost
         headroom on the system, for instance, several commercially viable projects that
         collectively exceed that amount may compete for that headroom yet be unviable on a
         collective basis if all proceed.36 It contends that, lacking a mechanism to allocate the
         headroom, a cluster study process may result in an inefficient cycle of study, re-study and
         delay, without necessarily ensuring that the 400 MW of headroom is used efficiently.37 It
         argues that facilitating a process where state-jurisdictional competitive solicitation can be
         used to allocate scarce interconnection capacity is appropriate given “state priorities
         involving reliability, customer, and environmental preferences.”38


                32
                   See, e.g., Clean Energy Associations Initial Comments at 38 (urging the
         acceptance of “regionally specific proposals that would align the interconnection process
         with competitive procurements associated with resource planning, rather than placing
         them at odds”). Such alignment may not be appropriate or feasible, of course, in certain
         multi-state regions in which the bulk of resource development is driven by anticipated
         market revenues.
                33
                     Colorado Commission Initial Comments at 2.
                34
                     Id.
                35
               Arizona Commission Initial Comments at 1-2; Colorado Commission Initial
         Comments at 21-27.
                36
                     Colorado Commission Initial Comments at 21-27.
                37
                     Id.
                38
                     Id. at 29.
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         21.     FERC proposed a similar “optional resource solicitation” study in this proceeding.
         Our proposed process differed in a critical respect: the resource solicitation was not
         granted a queue position,39 and being selected in the resource solicitation would not serve
         as a mechanism for allocating scarce interconnection capacity. The possibility of more
         comprehensively aligning the interconnection process with competitive resource
         solicitations (beyond the jurisdictions where such an approach is currently used) raises
         many questions, such as:

                a. How can competitive solicitations and interconnection processes be designed
                   to effectively coordinate with one another, especially where the soliciting
                   entity (e.g., a state) is different from the transmission provider (e.g., an RTO)?

                b. To be effective as a mechanism to allocate scarce interconnection capacity,
                   must a competitive solicitation be paired with a mechanism such as further
                   strengthened commercial readiness requirements to limit the pool of resources
                   in the queue not responding to solicitations, or be designed in a fashion that
                   limits the interactions in the study process between resources responding to the
                   relevant solicitation(s) and those that do not?40 Can such requirements be
                   designed in a manner that is not unduly discriminatory, and if so, how?

                39
                   Commenters argue that the Commission should have proposed to grant a queue
         position to the resource solicitation. See, e.g., Colorado Commission Reply Comments at
         6; EEI Initial Comments at 5-6; Xcel Initial Comments at 11-14; Clean Energy
         Associations Initial Comments at 51. Without a queue position for the resource
         solicitation, the costs identified in the study may not hold true for the various queue
         positions of underlying resources.
                40
                   The Colorado Commission argues that if projects to be studied as part of a
         competitive solicitation request are “comingled with a much broader pool of speculative
         projects,” the process could become “unworkable.” Colorado Commission Reply
         Comments at 5. It argues that, in the RTO context, commercial readiness requirements
         will be inadequate for this task, and suggests that the Commission allow transmission
         providers to prioritize native load, using solicitations as a mechanism to allocate scarce
         interconnection capacity. See Colorado Commission Initial Comments at 21-30. In
         contrast, the Interwest Energy Alliance argues that while competitive resource
         solicitations could be a useful tool to organize a portion of the interconnection process,
         they should not “becom[e] the only pathway through the cluster study process,” because
         “alternative pathways with reasonable commercial readiness requirements may . . . reveal
         opportunities for independent transmission companies (potentially associated with
         independent generation developers) to discover cost-effective ways to add much-needed
         transmission expansion through additional lines along with additional interconnection
         capacity.” Interwest Initial Comments at 11-12. Alternatives may be available that allow
         for other development opportunities alongside resources solicitation clusters. For
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                c. Are safeguards necessary to render not unduly discriminatory an
                   interconnection process closely linked to a competitive solicitation process,
                   and if so, what safeguards are necessary or appropriate?41

                d. Is linking the interconnection process to competitive solicitations a viable
                     option in RTO regions, in which state solicitation processes play a large role
                     in supporting new market entrants but other paths to commercial viability
                     may also exist?

                C.     Facilitate a “focused” interconnection process

         22.    Other promising ideas for improving cost certainty and reducing delays were put
         forward to the Commission in this proceeding. In particular, several commenters endorse
         a more “focused” interconnection process that streamlines study scope and reduces the
         need for restudies for projects requesting energy-only service.42 As Enel observes, the

         example, a resource solicitation might be granted its own cluster (so as to allow the
         soliciting entity to understand the interconnection costs for its combination of resources),
         while providing for serial processing of clusters composed of resources not participating
         in the resource solicitation. See Enel Initial Comments at 72 (arguing that if the
         Commission were to adopt an optional resource solicitation process that designated a
         queue position, it “should be a separate queue cycle with an intermediate queue priority
         between the Transmission Provider’s annual study clusters”).
                41
                   Several entities highlighted the need for guardrails to prevent undue
         discrimination with regard to the Commission’s proposal of an optional resource
         solicitation study. See, e.g., R Street Initial Comments at 15-16 (“Guardrails may be
         helpful to prevent inefficiencies, preference or undue discrimination”); NARUC Initial
         Comments at 26 (“NARUC strongly supports FERC’s proposal to limit the applicability
         of the optional resource solicitation study to instances where the resource acquisition is
         overseen by a state regulatory authority and is competitive and open. Without this
         requirement, NARUC is concerned about the opportunity for load-serving entities to
         potentially use the process in a way that would inappropriately favor the interconnection
         of company-owned resources.”); Pine Gate Initial Comments at 43 (advocating for
         “appropriate safeguards”). This concern is heightened in the context where the
         solicitation is granted a queue position, and/or where inclusion in the solicitation serves
         as a commercial readiness indicator.
                42
                   See, e.g., R Street Institute et al. June 8, 2023 Comments in Support of
         Generator Interconnection Reform, at 2 (urging the Commission to “[c]onsider a focused
         interconnection study approach”); Public Interest Organizations Initial Comments at 50-
         52 (highlighting the potential for a narrow study process for ERIS resources to produce
         significantly faster interconnection timelines); ACORE Initial Comments at 2-3
         (identifying potential benefits from an interconnection process “focused on local
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         dilemma of unwieldy studies and cascading restudy needs, and the delay and cost
         uncertainty that stems from these challenges, is ultimately caused by “the
         interdependence amongst Interconnection Customers.”43 Cypress Creek notes that “[i]n
         one extreme example, a group of non-firm, energy-only resource interconnection service
         (‘ERIS’) requests triggered the need for upgrades up to 1,000 miles away on three
         different systems.”44 Accordingly, another way to facilitate a more workable
         interconnection process could be to focus study of new projects on their immediate
         impact to the system. While the number of studies pursuant to such a process could still
         be large, their scope would be smaller and the potential for cascading restudies would be
         greatly reduced.

         23.    Johannes Pfeifenberger of The Brattle Group notes that, using a “connect and
         manage” approach, the Electric Reliability Council of Texas (ERCOT) has
         interconnected more generation more quickly than other regions.45 Under its system,
         which “limits restudy needs,” “[p]rojects can be developed and interconnected within 2-3
         years,” while “in other regions, the interconnection study process itself may take longer
         than that.”46 Public Interest Organizations state that “[t]he UK’s ‘Connect and Manage’
         approach has reduced lead times by 5 years compared to its previous ‘Invest and
         Connect’ approach.”47




         transmission needs only”); R Street Initial Comments at 6-7 (arguing that ERCOT’s
         “connect and manage” approach is “perhaps the most effective” domestic interconnection
         process).
               43
                    Enel Initial Comments at 2.
               44
                  Cypress Creek Initial Comments at 3-4 (citing Pfeifenberger, Generation
         Interconnection and Transmission Planning (Aug. 9, 2022), https://www.esig.energy/
         download/generation-interconnection-and-transmission-planning-johannespfeifenberger
         /?wpdmdl=9241&refresh=62f38b6a0e44a1660128106).
               45
                  See Pfeifenberger, Planning for Generation Interconnection 2 (May 31, 2022),
         https://www.brattle.com/wp-content/uploads/2022/05/Planning-for-Generation-
         Interconnection.pdf (showing that ERCOT has interconnected more than 8 GW of
         capacity since 2021, significantly more than all other RTOs, even those with considerably
         greater peak load); see also Cypress Creek Initial Comments at 7.
               46
                    Pfeifenberger, Planning for Generation Interconnection at 4.
               47
                    Public Interest Organizations Initial Comments at 51.
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         24.    While ERCOT’s system, which treats all generators as energy-only resources,48
         may not provide a model for capacity resources, it could provide a template for ERIS
         interconnection. Enel argues that a “focused” approach to interconnection is appropriate
         for resources seeking ERIS because “the Transmission Provider is not obligated to
         maintain the transmission system such that ERIS generators can maintain the same level
         of as available injection throughout the life of the generator,” and accordingly, “it would
         be unreasonable to expect an ERIS generator to mitigate every constraint identified” in a
         more expansive study that uses a lower transfer distribution factor (TDF) threshold to
         identify more remote impacts of the project.49 Streamlining ERIS interconnection
         assessment could allow transmission providers to focus their study resources on a smaller
         number of requests seeking network resource interconnection service (NRIS).50

         25.     Cypress Creek argues that a more focused study approach could be implemented
         across the many regions that provide an NRIS interconnection option through use of a
         “two-step ERIS-NRIS” process by which the transmission provider could by default
         study all resources for ERIS and provide a subsequent process by which an
         interconnection customer can add firm rights.51 Such a process might even feasibly
         provide a faster path to commercial operation while still facilitating deliverable resources
         in the long run if “NRIS requests [could] be connected more quickly on an ERIS basis
         while NRIS-related network upgrade study and construction work is still pending.”52
         While the final rule did not adopt the recommendation for a two-step study process
         because it was outside the scope of this proceeding,53 individual transmission providers
         could propose to implement such a process on their own initiative or the Commission
         could take up this suggestion in a subsequent rulemaking.


                48
                     See Cypress Creek Initial Comments at 7-8.
                49
                     Enel Initial Comments at 23.
                50
                     See Public Interest Organizations Initial Comments at 50-52.
                51
                     Cypress Creek Initial Comments at 8-9.
                52
                   Public Interest Organizations Initial Comments at 52. Cypress Creek highlights
         that SPP currently allows for interim energy-only injection service, providing for a
         subsequent process by which a generator can add firm rights. Cypress Creek Initial
         Comments at 8-9. Such a process to add deliverability rights to ERIS resources may hold
         potential to facilitate immediate contributions to system reliability by these resources,
         even if such resources are not fully deliverable or compensated in capacity markets or
         accounted for in applicable resource adequacy analysis.
                53
                     Final Rule at P 183.
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         26.    Key questions that this approach raises include:

                 a. What is the appropriate mechanism to narrow the scope of ERIS studies to
                    limit the interdependence of projects in the study process? For example, Enel
                    argues that ERIS resources should be studied using a minimum TDF threshold
                    of 20 percent,54 and that transmission providers should replace power flow
                    models that assume extreme grid conditions with more realistic economic
                    dispatch models reflecting security constrained economic dispatch.55 How do
                    these approaches interact and are they mutually exclusive? Are there other
                    appropriate mechanisms?

                 b. To the extent that ERIS studies are narrowed, are changes to market dispatch
                    rules or other measures appropriate to account for the possibility that NRIS
                    resources or resources with long-term firm transmission service may be
                    curtailed before them?56

                 c. If a two-step study process that considers ERIS analysis first is appropriate,
                    how should it be designed?57 Would it be effective to provide for a process
                    that allows ERIS resources to be converted to NRIS after they are
                    constructed?58


                54
                  Enel Initial Comments at 21-25; see also AEE Reply Comments at 10
         (supporting a minimum impact threshold); SEIA Initial Comments at 11 (same); Clean
         Energy Associations Initial Comments at 27 (same); Pine Gate Initial Comments at 19
         (supporting a minimum distribution factor impact threshold of 20 percent).
                55
                     Enel Initial Comments at 73-74.
                56
                   Xcel objects to the treatment of ERIS resources in RTO markets because
         “[t]hese resources do not bear the costs necessary to ensure that they are deliverable to
         load as NRIS resources or ERIS resources that have acquired long term firm transmission
         service do,” and suggests that, as a consequence, it may be appropriate for “ERIS-only
         service [to] receive a lower dispatch priority.” Xcel Initial Comments at 15-16.
                57
                   Some regions currently employ a similar two-step process that considers local
         project needs prior to considering deliverability analysis non-local upgrades based on
         project interactions. See, e.g., New York State Department Initial Comments at 5-6
         (describing NYISO’s Class Year study process).
                58
                   See Public Interest Organizations Initial Comments at 52 (arguing that
         “[i]deally, the interconnecting customer would receive an upfront estimate of typical
         curtailment levels to be expected under ERIS and would have the option to apply for
         NRIS at a later date if experienced curtailment levels rise above acceptable levels”).
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                     d. Could a focused interconnection approach for ERIS resources be combined
                        with approaches above that may align the interconnection process more
                        closely with long-term transmission planning, and/or use competitive
                        selection processes to allocate scarce interconnection capacity?59

         II. General interconnection process improvements

         27.    In addition to these deeper reforms, commenters identified several potential
         incremental improvements to interconnection processes that were not proposed in the
         Commission’s notice of proposed rulemaking. I discuss some of the most promising
         ideas below, which in some or most cases may be applicable on a generic basis.60

                A.       Further refine study assumptions


         28.     Commenters identified a number of ways that study assumptions could be further
         clarified, which may help to streamline and improve the accuracy of the interconnection
         process.

                         1.     Clarify ERIS and NRIS assumptions


         29.    As Enel points out, the Commission has not to date clarified what ERIS studies
         should entail, and it has “observed vastly different treatments of” resources seeking ERIS
         by different transmission providers.61 As discussed above, a narrow approach to ERIS
         studies may facilitate a more streamlined interconnection process. In addition, some
         developers contend that grid operators deploy widely varying study assumptions on
         issues such as whether the models used allow for resource re-dispatch to mitigate any


         Might such a process be able to efficiently examine a large number of projects, while still
         requiring significantly fewer restudies than existing interconnection processes by
         examining only projects that have already secured ERIS?
                59
                  For example, might a transmission provider efficiently assess ERIS upgrades by
         studying them using a distribution factor of 20 percent, while simultaneously developing
         an “entry fee” or open season process aligned with its forward-looking transmission plan
         to fund upgrades to guarantee deliverability of NRIS resources?
                60
                  The discussion herein is not intended to comprehensively capture all potential
         reforms, but rather to highlight some of the ideas that may be appropriate for further
         stakeholder discussion.
                61
                     Enel Initial Comments at 26-27.
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         reliability issues that are identified.62 They argue that requiring “a uniform set of
         minimum interconnection study requirements” would “facilitate effective, efficient
         interconnection queue processing.”63

         30.     While the Commission declined to provide direction on how ERIS should be
         studied because such requests were outside the scope of this final rule,64 the Commission
         could take up this topic as part of a subsequent rulemaking. As an initial step, the
         Commission could solicit information from transmission providers documenting what
         assumptions and processes are used for ERIS and NRIS, respectively, to provide a
         starting point for dialogue around what study assumptions may be appropriate.65 Topics
         that may benefit from further clarification include: (1) the definition and scope of ERIS;
         (2) the study assumptions that should be implemented in examining ERIS requests; and
         (3) the proper scope of study results and other information that must be provided by
         transmission providers to interconnection customers so that they can understand the
         results.

                         2.     Provide for more accurate assumptions regarding injection of
                                energy by resources

         31.    The final rule clarifies that its requirement to more accurately reflect the proposed
         charging behavior of electric storage resources extends only to “the operating


                62
                  See, e.g., Cypress Creek Initial Comments at 6 n.11 (“Some RTOs conduct
         power flow analyses that consider redispatch opportunities (e.g., NYISO via a manual
         process, PJM via a simplified approach) but many do not check if generation redispatch
         can address an identified criteria violation.”); Pine Gate Initial Comments at 54 (“The
         primary issues identified relative to current study assumptions are extreme contingency
         scenarios and overly conservative operational characteristics and strategies (i.e.,
         redispatch protocols).”).
                63
                  Pine Gate Initial Comments at 55; see also Cypress Creek Initial Comments at 6
         (“re-dispatch should be a standard approach”); Clean Energy Associations Initial
         Comments at 28 (“[T]he study approach to re-dispatching the system to account for
         proposed injections . . . is a crucial assumption that is not well understood or defined, but
         can trigger significant upgrades and increase complexity of interconnection process, even
         for energy-only (non-firm) interconnection requests. . . . Economic redispatch should be
         a standard approach to limit regional upgrades identified in the study process, particularly
         for energy-only interconnection requests.”).
                64
                     Final Rule at P 1291.
                65
                     See Enel Initial Comments at 26-27.
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         assumptions for withdrawals of energy.”66 In part due to concerns regarding the
         administrative burden of extending the proposal to injections or other resource types, the
         final rule declines to extend the reform in these areas.67 But while the Commission
         determined that this record did not support adopting a structure where such assumptions
         would be studied at the request of individual generators, further examination of how to
         render operating assumptions more accurate is warranted.

         32.    Many commenters argued that the Commission should also require more accurate
         assumptions regarding injections of storage.68 And as the final rule acknowledges, many
         commenters “support eliminating unrealistic interconnection study assumptions for
         resource types other than electric storage resources, such as assuming that a solar facility
         will operate at night, or that a wind resource will produce maximum output during low-
         wind seasons.”69 Further, several commenters highlighted the benefits of using realistic
         fuel-based dispatch assumptions in studies, as demonstrated by MISO.70 The final rule
                66
                     Final Rule at PP 1509, 1524.
                67
                     Final Rule at P 1529.
                68
                   See, e.g., Clean Energy Associations Initial Comments at 53 (“[T]he Clean
         Energy Associations recommend that the Commission specify that transmission providers
         should also not study electric storage resources as 100% injecting energy during low load
         periods by default.”) (emphasis in original); NextEra Initial Comments at 37
         (“Transmission providers should not study electric storage resources as . . . injecting
         energy during low load and shoulder periods, as [this does] not reasonably reflect typical
         operations of such units.”); Pine Gate Initial Comments at 51 (arguing that the
         Commission should prohibit transmission providers from using unrealistic operating
         assumptions, which includes “assuming that electric storage resources will . . . discharge
         during light load periods”).
                69
                   Final Rule at P 1480 (citing Enel Initial Comments at 74; AES Clean Energy
         Initial Comments at 24-25; Ameren Initial Comments at 29; CREA and NewSun Initial
         Comments at 92; Cypress Creek Initial Comments at 9-10; Invenergy Initial Comments at
         59-61; Microgrid Resources Initial Comments at 7-8; Pine Gate Initial Comments at 54;
         Public Interest Organizations Initial Comments at 48-49; R Street Initial Comments at 16;
         rPlus Initial Comments at 6); see also id. (“Ameren, Cypress Creek, Microgrid
         Resources, NARUC, Pine Gate, and rPlus all request that the Commission extend this
         reform to allow any resource type, not just electric storage or co-located resources, to
         request that interconnection studies be based on their particular operating assumptions
         and characteristics.”).
                70
                   See Invenergy Initial Comments at 59-61 (highlighting MISO’s practice, as well
         as “recently approved more realistic fuel-based dispatch” assumptions in SPP); see also
         Enel Initial Comments at 77-78 (arguing that the Commission should require fuel-based
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         “acknowledge[s] that fuel-based dispatch assumptions may be able to address some of the
         identified challenges associated with inaccurate modeling assumptions for all resource
         types and encourage[s] transmission providers to evaluate the merits of adopting it.”71
         Individual transmission providers remain free to advance such assumptions on an
         individual basis, and further examination of this concept could create a record adequate
         for the Commission to determine whether to require fuel-based operating assumptions on
         a generic basis, and if so, how to precisely structure such a requirement.

               B.       Use automation to facilitate more efficient interconnection


         33.    Currently, the interconnection study and queue process is heavily labor-intensive,
         and market participants frequently suffer from shortages of qualified study staff,
         including transmission planners and engineers, in the face of a high volume of
         interconnection requests.72 Accordingly, numerous commenters noted the great potential
         of automation to conserve staffing resources and speed up this process.73 The broad term
         “automation” in this context can refer to a wide variety of time-saving steps to bring the

         dispatch of generators in modeling “[i]f Power flow analyses are not replaced with SCED
         studies”); Interwest Reply Comment at 15 (urging the adoption of “realistic fuel-based
         dispatch assumptions”).
               71
                    Final Rule at P 1529.
               72
                  See, e.g., Cal. Indep. Sys. Operator Corp., 176 FERC ¶ 61,207, at PP 7, 21
         (2021) (noting CAISO’s statement of its difficulty in finding sufficient expert staff and
         consultants to timely process a large cluster study); MISO, Informational Report, Docket
         No. ER19-1960, at 12 (filed Nov. 16, 2020) (noting similar delays); see also Akielly Hu,
         US Clean Energy Rollout Continues to Be Hamstrung by Grid Challenges, CANARY
         MEDIA (June 13, 2023), https://www.canarymedia.com/articles/transmission/us-clean-
         energy-rollout-continues-to-be-hamstrung-by-grid-challenges (noting that
         “interconnection studies rely on a workforce of engineers at grid operators, and experts
         say there are not enough to get the job done,” and quoting the author of Lawrence
         Berkeley National Laboratory’s Queued Up study as saying this staffing issue represents
         a “fundamental constraint” on queue processing); Avangrid Reply Comments at 12
         (“Transmission providers are processing unprecedented numbers of interconnection
         requests at a time when these qualified transmission planners and engineers are scarce.”);
         APPA-LPPC Initial Comments at 13 (noting that “available industry system simulation
         tools” can in some cases ameliorate “labor-intensive study obligations”).
               73
                   See, e.g., California Energy Storage Alliance Initial Comments at 5; NextEra
         Initial Comments at 14, 40; MISO Initial Comments at 26 n.107; ACORE Initial
         Comments at 5; ACE-NY Initial Comments at 2-3; Pine Gate Reply Comments at 5.
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         queue process fully into the digital age, such as standardized data entry and collection; a
         web-based application process and data submission with automated validation; automated
         study model construction and study processes; and pre-population of manufacturer
         models for relevant equipment.74 Commenters requested steps, including the convening
         of a technical conference, to study how the interconnection process might become more
         robustly automated to save resources75 and facilitate other benefits, such as the more
         robust integration of grid enhancing technologies (referred to as “alternative transmission
         technologies” in the final rule) into the bulk power system.76 Of course, continuing to
         support career path development in this area will remain critical. At the same time, as we
         have seen in many other industries, automation done right has the potential to save a great
         deal of unnecessary time, effort, and expense. I support more deeply exploring the range
         of options available in this domain.

                C.       Reduce delay and cost overruns in network upgrade construction


         34.    While there appears to be a lack of good data about the timing and cost of
         construction of network upgrades once an interconnection agreement is executed,77
         developers have raised concerns that they have little recourse if such upgrades are
         delayed or subject to cost increases.78 As noted above, the Lawrence Berkeley National
         Laboratory’s Queued Up report does not trace the cause of delays between execution of a
         project’s interconnection agreement and commercial operation, but shows that the
         average timespan for this period has increased from roughly 17 months for projects built
         between 2007-2014 to around 22 months for projects built between 2015-2022, with
         projects in CAISO showing particularly heightened delays.79 Enel contends that

                74
                     NextEra Initial Comments at 14, 40.
                75
                     See NextEra Initial Comments at 14; Pine Gate Reply Comments at 5.
                76
                     See, e.g., WATT Coalition Reply Comments at 2-3.
                77
                  See Queued Up 2023 at 30 (“[L]imited data were available to analyze typical
         durations from interconnection agreement to commercial operations.”).
                78
                    See, e.g., Enel Initial Comments at 50 (“Under the current standard[] of . . . good
         utility practice, there is a notable lack of incentive, and often a disincentive, for
         Transmission Owners to perform . . . EPC work in a timely and cost-conscious
         manner.”); Pine Gate Initial Comments at 64 (expressing concern that limiting the option
         for interconnection customers to self build will “further exacerbate construction delays
         and . . . ultimately harm consumers”).
                79
                 See Queued Up 2023 at 30. “The typical solar project built in CAISO since
         2018 took over 4 years to reach commercial operations after securing an interconnection
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         “upgrades for Interconnection Customers are only overseen by the Commission for
         adherence to good utility practice standards,” and “[t]he Commission does not review the
         timeliness or cost of upgrades unless an Interconnection Customer elects to file an LGIA
         in unexecuted form and challenge these specific assumptions,” a choice that could result
         in “costly delays in project timelines that often outweigh any benefit that might be gained
         from a favorable Commission decision.”80

         35.     Accordingly, it may be appropriate for the Commission to take action to facilitate
         more timely and cost-conscious construction of such upgrades. One initial step could be
         for the Commission to gather more data concerning delays that may affect the
         commercial operation date of a generating facility, and to establish “metrics associated
         with the delayed construction of facilities.”81 The Commission could also consider
         adopting penalties for delays or cost overruns, or an incentive structure for transmission
         providers that carry out construction on time and on budget.82

         36.     Finally, it may be appropriate to reconsider the scope of “stand alone network
         upgrades” to include facilities that may be needed for multiple interconnection customers,
         and to develop a process that either designates an interconnection customer to build such
         upgrades, or competitively solicits bids to award construction rights. While this final rule
         “clarif[ies] that, for a network upgrade to be eligible for treatment as a stand alone
         network upgrade, the network upgrade must be required for only one interconnection



         agreement; those built in 2022 averaged over 6 years.” Id. (emphasis in original).
                80
                     Enel Initial Comments at 50-51.
                81
                     Pine Gate Initial Comments at 64.
                82
                   This issue has also arisen in the context of the Commission’s docket on
         transmission planning and cost management. See, e.g., Advanced Energy Economy, Pre-
         Conference Comments, Docket No. AD22-8, at 2-3 (filed Oct. 4, 2022) (noting that a
         “major driver[] of transmission cost increases in recent years [has] been . . . incremental
         network upgrades identified in generator interconnection studies”). In that docket, the
         Commission has considered, and some commenters have supported, among other
         measures, new independent entities to monitor transmission planning. See, e.g.,
         Electricity Transmission Competition Coalition, Comments, Docket No. AD22-8, at 6
         (filed Oct. 4, 2022); Harvard Electricity Law Initiative, Comment, Docket No. AD22-8,
         at 18-31 (filed Mar. 23, 2023); R Street Institute, Comments, Docket No. AD22-8, at 6-7
         (filed Mar. 23, 2023). To the extent that such entities are established, the Commission
         could also consider tasking them with monitoring the timely and cost-conscious
         construction of network upgrades.
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         customer,”83 it does so in order to “explicitly maintain[] the status quo.”84 The
         Commission’s Notice of Proposed Rulemaking examined changes to the definition of
         stand alone network upgrade necessary “to implement a first-ready, first-served cluster
         study process,”85 and did not contemplate any mechanism to “prevent lengthy conflict
         and negotiations in instances where multiple interconnection requests trigger the need for
         a network upgrade” beyond restricting such upgrades to those that are required for only
         one interconnection customer.86

         37.    Ideas were put forth in this proceeding, however, that may hold potential to
         efficiently allocate construction rights and obligations. In particular, one idea is that “the
         Commission should consider establishing a new third-party construction option” pursuant
         to which stand alone network upgrades could “be bid out and built by third parties, such
         as non-incumbent utilities, independent transmission developers or contractors.”87 To
         develop such an option, the Commission would need to consider “details such as the
         posting of minimum design standards that must be met, the criteria for choosing a
         winning bidder, the incentives to hold the winning bidder to cost and schedule estimates,
         responsibility for cost overruns, rights to own, operate and maintain the Stand-Alone
         Network Upgrades, and the profit awarded to the winning bidder.”88 Further process is
         warranted to examine this concept.89 I encourage transmission providers to work with


                83
                     Final Rule at P 192.
                84
                     Id. at P 193.
                85
                  Improvements to Generator Interconnection Procedures and Agreements,
         Notice of Proposed Rulemaking, 179 FERC ¶ 61,194, at P 65 (2022).
                86
                  Id.; see Final Rule at P 194 (requests to “expand the definition of stand alone
         network upgrade . . . are outside the scope of this proceeding, which is not proposing to
         modify the scope of interconnection customers’ option to build certain stand alone
         network upgrades but rather is only revising definitions insofar as is necessary to
         implement reforms adopted elsewhere in this final rule”).
                87
                   Enel Initial Comments at 52; see also Pine Gate Initial Comments at 63-64
         (proposing that “the Commission should grant the interconnection customer with the
         largest projected impact on a potential Stand Alone Network Upgrade facility the ability
         to elect the option to build with priority falling to each interconnection customer based on
         their interconnection request having the next largest impact on the Stand Alone Network
         Upgrade”).
                88
                     Enel Initial Comments at 52.
                89
                     Enel notes that “[t]he Commission could establish workshops or other
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         interconnection customers and other stakeholders to explore structures such as this that
         may provide greater certainty surrounding the timing and cost of certain network
         upgrades.

                D.        Address challenges faced by projects serving Tribes and Tribal
                          communities

         38.    Beyond these recommendations to further facilitate efficient interconnection of
         new resources, I encourage transmission providers to examine potential changes to
         address important considerations of equity and fairness related to interconnection of
         resources serving or developed by Tribes. In particular, I encourage transmission
         providers to examine whether any exceptions or waivers to the commercial readiness
         requirements or withdrawal penalties framework are appropriate for certain projects
         serving Tribal nations or their communities. While the commercial readiness deposit and
         withdrawal framework adopted in this final rule hold the potential to make
         interconnection processes more efficient, they may act as a barrier to projects serving or
         developed by Tribes in cases where such projects adopt unique ownership and financing
         structures.90 This may also be a concern with regard to projects developed by, or in
         partnership with, communities that have been historically marginalized or overburdened
         by pollution, and I encourage further dialogue examining whether that is the case.

         39.    For example, the Commission recently granted a waiver to the SAGE
         Development Authority (SAGE), an entity developing a wind generation project on
         Tribal land, to allow it more time to post financial security as required by SPP.91 SAGE
         was created by the Standing Rock Sioux Tribe and is developing the project through “a
         community-led process designed to, among other things, implement Tribal values and
         ensure that the financial benefits of the Project will in turn support further community
         projects intended to address disparities around public health and other issues.”92 The
         Commission granted SAGE’s requested waiver in part because “due to its unique Tribal
         business structure, it [was] unable to secure credit in advance” of the relevant security




         mechanisms to further explore and develop these details.” Id.
                90
                   See OSPA Initial Comments at 8, 15-16 (arguing that SPP’s current security
         deposit regime has been “an insuperable barrier to renewable energy development on
         Tribal lands”).
                91
                     See SAGE Development Authority, 182 FERC ¶ 61,180 (2023).
                92
                     Id. at P 4.
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         deposit deadline.93 Waiver “provide[d] SAGE the time necessary to secure additional
         credit.”94

         40.     To the extent this rule’s deposit requirements subject Tribal projects to greater
         risk, the need for similar waivers could be heightened. Accordingly, I encourage further
         inquiry into whether certain projects developed to serve Tribal communities or
         disadvantaged communities may have other characteristics that uniquely demonstrate
         commercial readiness as alternatives to the new deposit requirements. The inquiry could
         also consider other measures that may allow such projects to overcome any unique
         barriers that they face.95

         41.     While challenges remain, the Commission’s issuance of a final rule today is an
         important step forward in the effort to address interconnection backlogs around the
         country. The ideas for continuing reform that I describe in this concurrence represent
         best practices and innovative thinking by regions and stakeholders considering how to
         solve the challenges the final rule does not address. I encourage transmission providers,
         interconnection customers and other stakeholders to consider the rule’s requirements a
         strong baseline and not a ceiling, and to continue to engage on the topics I have addressed
         herein.


                For these reasons, I respectfully concur.


         ________________________
         Allison Clements
         Commissioner




                93
                     Id. at P 20.
                94
                     Id.
                95
                  See also Energy Keepers Initial Comments at 2-3 (arguing that it would not be
         “unduly discriminatory or preferential for transmission providers to expedite the
         processing of Native American interconnection requests,” considering “prior
         environmental justice inequities.”).
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                                  UNITED STATES OF AMERICA
                           FEDERAL ENERGY REGULATORY COMMISSION

        Improvements to Generator Interconnection Procedures            Docket No. RM22-14-000
        and Agreements


                                            (Issued July 28, 2023)

         CHRISTIE, Commissioner, concurring:

               I concur to this final rule,1 which represents major progress towards the primary
         goal we set out to accomplish last year when we issued the NOPR: To move from a
         system of “first come, first served” to a system of “first ready, first served” by identifying
         generation projects in the interconnection queues that are commercially more viable and
         then moving them ahead of requests that are speculative and which have been causing
         major backlogs. I write separately about four issues contained within:

         I.     Evaluation of Alternative Transmission Technologies (Section III.C.2.iii)

                Alternative transmission technologies, or grid-enhancing technologies (GETs), is a
         short-hand categorical term that covers a sweeping array of very different technologies.
         A GET may hold the potential of squeezing more juice – literally – out of the existing
         transmission grid. By increasing the capacity of the existing grid, a GET could reduce or
         even eliminate the need for the future construction of new transmission assets. So the
         potential for cost-savings from the use of GETs is too important to ignore.

                One of the most promising GETs – dynamic line ratings (DLRs) – could
         potentially save billions of dollars in avoided costs for new transmission assets. DLRs
         are not covered by this final rule, but are the subject of a separate proceeding,2 and I hope
         we will use the record of that proceeding to move forward on a proposed rule to require
         implementation of DLRs when and where DLRs will be technologically sound and cost-
         effective.

                While DLRs have tremendous potential and should be pursued, there is a problem
         with any categorical regulatory mandate to use GETs, which is this: Some GETs work
         somewhere but not everywhere; some work sometimes but not all the time; some only
         work under certain weather conditions; some don’t work at all, or at least not as

                1
                Improvements to Generator Interconnection Procedures and Agreements,
         184 FERC ¶ 61,054 (2023) (Final Rule).
                2
                    Implementation of Dynamic Line Ratings, 178 FERC ¶ 61,110 (2022).
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         advertised; and some are only cost-effective where the congestion costs are greater than
         the cost of the GET itself.

                 Given these engineering and economic realities, some knowledgeable transmission
         planning experts have argued that GETs categorically are not planning tools, but rather
         are operational applications that should be deployed when and where their efficacy is
         likely and can be appropriately proven. If they work in the real world as advertised, they
         could reduce or eliminate the need for future network upgrades or even backbone
         transmission assets, but they should not be mandated as planning tools or as potential
         substitutes for network upgrades caused by interconnection requests.3

                Against this cautious view of GETs, I recognize the counterargument that
         transmission owners themselves have an economic incentive to favor the construction of
         costly new transmission assets rather than deploy GETs to squeeze out more capacity.
         New transmission assets can be rate-based, and the transmission owner can take
         advantage of the very generous formula rate treatment offered here at the Commission
         (another issue I have raised concerns about).4 So to overcome this incentive against
         GETs deployment, proponents argue that the Commission should require it.


                3
                  See PJM Initial Comments at 68 (“PJM therefore cautions the Commission not to
         conflate the operational benefits of alternative transmission technologies . . . with the
         need to address significant capacity enhancement needs (short and long-term) or long-
         range transmission needs under rapid growth or changing resource mix scenarios.”);
         MISO Initial Comments at 121-22 (“Further, although these technologies may be
         evaluated, the technologies identified by the Commission still may not provide the
         appropriate solution from a planning perspective. Many of the technologies identified
         are appropriately considered as operational tools or short-term solutions but are not
         necessarily appropriate for planning to support a particular generator interconnection.”)
         (emphases added, footnote omitted).
                4
                  See, e.g., Sw. Power Pool, Inc., 183 FERC ¶ 61,151 (2023) (Clements, Comm’r,
         and Christie, Comm’r, concurring at P 4) (“Indeed, the Commission grants formula rate
         treatment, including a presumption of prudence, to filings from transmission owners
         seeking cost recovery for transmission projects without regard to whether such projects
         have been subject to a serious vetting in any proceeding in which both need and prudence
         of cost must be demonstrated by the transmission developer. We have expressed
         concerns about this lack of oversight previously, and this filing by SPP illustrates exactly
         why that is a major problem pertinent to the issue of rising consumer costs for
         transmission.”), https://www.ferc.gov/news-events/news/commissioner-clements-and-
         commissioner-christies-joint-concurrence-spp-project; Transmission Planning and Cost
         Management, Technical Conference, Docket No. AD22-8-000, Tr. 16:4-20:11 (Comm’r
         Mark Christie) (Oct. 6, 2022).
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                But – as usual – the economic incentives argument has more than one side. The
         companies that sell GETs (and the organizations they fund) stand to profit from any
         regulation mandating that their products must be used. And generation developers (and
         the organizations they fund) have every incentive to lobby for a regulation mandating the
         use of GETS as a way to avoid paying the costs of the traditional network upgrades made
         necessary by their interconnections. This incentive is particularly salient in RTOs/ISOs
         that use participant funding to pay for the costs of network upgrades caused by the
         interconnecting customers (i.e., developers).

                So – again, as usual with sweeping Commission regulations – there is plenty of
         rent-seeking to go around. Striking the appropriate balance – one that is in the public
         interest – is a challenge. I believe this final rule – unlike the NOPR – does strike the right
         balance, in terms of a requirement simply to evaluate GETs in determining the
         appropriate network upgrade.

                Importantly, the final rule makes it explicitly clear that while it is requiring the
         evaluation of certain listed GETs in the interconnection studies process, it is not requiring
         – nor even suggesting – that a GET must be deployed as an alternative to a necessary
         network upgrade. Indeed, the final rule explicitly says:

                       This final rule does not create a presumption in favor
                       of substituting alternative transmission technologies
                       for necessary traditional network upgrades, either
                       categorically or in specific cases. This final rule is
                       agnostic as to whether, in a specific case, an alternative
                       transmission technology is an acceptable alternative to
                       a traditional network upgrade . . . .

                 The final rule also makes it explicitly clear that the determination in each case is to
         be made at the sole discretion of the transmission provider (i.e., RTO/ISOs or non-RTO
         transmission providers), applying good utility practices, applicable reliability standards,
         and other applicable regulatory requirements. To avoid continual litigation aimed at the
         transmission provider’s determination in specific cases when a generation developer does
         not want to pay the costs of a network upgrade, the final rule explicitly makes clear that it
         is requiring a process of evaluation, not mandating outcomes in specific cases. And it
         makes clear that if the transmission provider performs the evaluation as required in the
         final rule, it has complied with the final rule.

                 This agnosticism as to outcomes in specific cases is critically important.
         Transmission providers must require the appropriate network upgrade necessary to fix the
         reliability issue caused by the interconnection request. If a GET is used instead, and it
         fails to fix the reliability issue caused by the interconnection, a later network upgrade will
         be required, one potentially more costly than the network upgrade originally required.
         And who will pay those costs? Certainly in RTOs/ISOs using participant funding, load
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         (retail consumers) should not. Sticking those costs on consumers would raise a serious
         question of unjust and unreasonable rates.

                In summary though, I believe that this final rule strikes the appropriate balance
         between requiring the evaluation of GETs, but not mandating the use of a GET in specific
         cases unless the transmission provider – and only the transmission provider – determines
         it would work from a real-world applicability standpoint. In all cases, the transmission
         provider should apply its engineering expertise to come to the right determination as to
         the necessary network upgrades. This final rule requires nothing less.

         II.    Repayment of Affected Systems Network Upgrade Costs
                (Section III.B.2.c.iii(c))

                The final rule essentially codifies existing precedent as to the repayment of
         affected systems network upgrade costs when a generation developer interconnects at or
         near a seam between an RTO (which uses participant funding to pay for interconnection
         costs) and a non-RTO, vertically integrated load-serving utility that uses a crediting
         mechanism.

                Three recent cases involving Duke Energy Progress, LLC (Duke) in North
         Carolina5 illustrate my concern about the Commission’s repayment policy.6 In these
         cases, generation developers located within the PJM footprint, which extends into a
         corner of northeastern North Carolina due to Dominion Energy, Inc.’s PJM membership,

                5
                  Duke Energy Progress, LLC, 181 FERC ¶ 61,229 (2022), reh’g deemed denied,
         182 FERC ¶ 62,088 (2023); Duke Energy Progress, LLC, 180 FERC ¶ 61,005, order on
         reh’g, 181 FERC ¶ 61,197 (2022) (Edgecombe Rehearing Order); Duke Energy
         Progress, LLC, 177 FERC ¶ 61,001 (2021), order on reh’g, 179 FERC ¶ 61,007 (2022)
         (American Beech Rehearing Order). My concurrences to the Edgecombe Rehearing
         Order and American Beech Rehearing Order set forth my concerns as well. See
         Edgecombe Rehearing Order, 181 FERC ¶ 61,197 (Christie, Comm’r, concurring)
         (Edgecombe Concurrence), https://www.ferc.gov/news-events/news/commissioner-
         christies-concurrence-concerning-rehearing-duke-energy-progress; American Beech
         Rehearing Order, 179 FERC ¶ 61,007 (Christie, Comm’r, concurring).
                6
                 See Standardization of Generator Interconnection Agreements & Procs., Order
         No. 2003, 68 FR 49846 (Aug. 19, 2003), 104 FERC ¶ 61,103, at PP 693-696, 720-739
         (2003), order on reh’g, Order No. 2003-A, 69 FR 15932, 106 FERC ¶ 61,220, at PP 584-
         586, order on reh’g, Order No. 2003-B, 70 FR 265 (Jan. 19, 2005), 109 FERC ¶ 61,287
         (2004), order on reh’g, Order No. 2003-C, 70 FR 37661 (July 18, 2005), 111 FERC
         ¶ 61,401 (2005), aff’d sub nom. Nat’l Ass’n of Regul. Util. Comm’rs v. FERC, 475 F.3d
         1277 (D.C. Cir. 2007). I note that this policy applies not just to affected systems network
         upgrades but also network upgrades on the host transmission provider’s system.
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         chose to interconnect very close to the seam with Duke’s North Carolina territory. Duke
         is a vertically integrated utility regulated by the North Carolina Utilities Commission
         (NCUC) on an Integrated Resource Plan (IRP) model. Duke builds transmission (and
         generation) subject to an IRP approved by the NCUC, and the costs of network upgrades
         caused by that new generation are paid by retail consumers. Since the NCUC approves
         new generation through its IRP process, which includes the costs to interconnect that new
         generation, the NCUC decides the generation and interconnection costs that are
         appropriately paid for by retail consumers.

                In these three cases, however, Duke was considered an “affected system” for the
         interconnection costs caused by the generation developers located just across the seam in
         PJM’s footprint. So the affected systems network upgrades were not paid by the
         developer (creating an incentive to locate close to the seam), but by Duke’s retail
         consumers through crediting pursuant to Commission policy. And unlike the costs of
         transmission and network upgrades built with the prior approval of the NCUC, no state-
         approved IRP controls the construction of generation in the PJM footprint in North
         Carolina. Not surprisingly, the NCUC and the NCUC Public Staff, which represents
         consumers in North Carolina, filed vigorous – and in my opinion, persuasive – comments
         in several proceedings on these issues.7


                7
                  See NCUC and NCUC Public Staff Initial Comments at 6; NCUC and NCUC
         Public Staff, Joint Comments, Docket No. RM21-17-000, at 12 (filed Aug. 17, 2022);
         NCUC Public Staff, Comments, Docket No. RM21-17-000, at 13-15 (filed Oct. 12,
         2021); NCUC Public Staff Reply Comments, Docket No. RM21-17-000, at 6 (filed Nov.
         30, 2021) (“[U]nder the crediting policy, ratepayers are left paying the bill regardless of
         the benefits, or lack thereof, they received from the network upgrades. Further, the
         [NCUC] Public Staff believes that [interconnection customers] are beginning to ‘game’
         the system by placing large merchant plants into the interconnection queue in congested
         areas to take advantage of the crediting policy and fill what excess capacity is then
         created with state jurisdictional projects that would normally have to fund the upgrades
         themselves.”); see also NCUC Public Staff, Motion to Intervene Out-of-Time and
         Comment, Docket No. ER21-1955-003, at 1-9 (filed Nov. 9, 2021) (generally
         arguing, inter alia, that Duke customers will not or will only minimally benefit from
         upgrading its system to accommodate power being interconnected and delivering to PJM;
         that Duke ratepayers are subsidizing costs that should be paid for by the developer, the
         party that is both causing the costs to be incurred and reaping the resulting benefits; that
         given the proliferation of merchant generation trying to locate in this area of North
         Carolina, the NCUC Public Staff is concerned that Duke ratepayers will be burdened with
         potentially hundreds of millions of dollars in affected systems network upgrade cost as a
         result of the Commission’s actions; and that the project in American Beech had not yet
         received a CPCN from North Carolina so any decision put the “cart before the horse.”).
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                  While I recognize that the results in these cases were consistent with prior
         precedent and Order No. 2003,8 I think that precedent and, if necessary, Order No. 2003
         itself, should be revisited as to the affected systems repayment policy. I concur to the
         issuance of this final rule because this final rule is not the appropriate place to revisit the
         issue and because the final rule by its own terms does not go beyond existing precedent.

         III.   Inappropriate Allocation of Certain Costs to Consumers

                 As described below, while I support the final rule, I am concerned that study delay
         penalties on RTOs/ISOs and the costs of transmission provider heatmaps used as a tool
         for interconnection customers will be inappropriately allocated to consumers even though
         they both appear to provide much more of a benefit to generation developers than
         consumers. I address each in turn.

                A.       Study Delay Penalties on RTO/ISOs (Section III.B.1.c.x)

                The final rule adopts the NOPR proposal to eliminate the reasonable efforts
         standard from the pro forma LGIP, and it adds a new section to the pro forma LGIP that
         imposes penalties on transmission providers who miss study deadlines. I have no qualms
         about assessing penalties on non-RTO/ISO transmission providers and transmission-
         owning members of RTOs/ISOs. These are generally investor-owned companies and
         stockholders will bear such costs. On the other hand, I have concerns about assessing
         study penalties on RTOs/ISOs, as they are not-for-profit entities who do not have
         stockholders. In my concurrence to the NOPR, I explained:

                         [T]he penalty provisions do not answer definitively the most
                         important question of all: Who will pay these penalties in an
                         RTO or ISO which has no stockholders? Consumers
                         certainly should not pay, directly or indirectly.9

         The final rule does not fully address this question and does not provide complete
         assurance that consumers will be protected.

               However, the final rule does have some protections in place to protect against
         consumers ultimately having to pay for study delay penalties. First, the final rule
         modifies the NOPR proposal to prohibit non-RTO/ISO transmission providers and

                8
                    See, e.g., Edgecombe Concurrence.
                9
                  Improvements to Generator Interconnection Procs. & Agreements, 87 FR 39934
         (July 5, 2022), 179 FERC ¶ 61,194 (2022) (Christie, Comm’r, concurring at P 3) (NOPR
         Concurrence), https://www.ferc.gov/news-events/news/e-1-commissioner-christies-
         concurrence-improvements-generator-interconnection.
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         transmission-owning members of RTOs/ISOs from recovering study delay penalty
         amounts through transmission rates.10 Second, the final rule modifies the NOPR proposal
         to adopt a new provision in our regulations specifying that, for RTOs/ISOs in which the
         transmission-owning members perform certain interconnection studies, the study delay
         penalties will automatically be imposed directly on the transmission-owning member(s)
         that conducted the late study.

                But these provisions still leave open the question of how RTOs/ISOs will recover
         those study delay penalties that are not automatically imposed on a transmission-owning
         member. The final rule essentially punts on this question, explaining that RTOs/ISOs
         may submit an FPA section 205 filing to propose a default structure for recovering study
         delay penalties and/or make individual FPA section 205 filings to recover the costs of any
         specific study delay penalties. I urge that any such RTO/ISO filing make protections to
         consumers paramount.

                B.       Cost of Heatmap (Section III.A.1.c.iii)

                This final rule requires transmission providers to publicly post a “heatmap” with
         certain information after the completion of each cluster study and cluster restudy period.
         The final rule finds that the heatmap will benefit interconnection customers, including
         prospective interconnection customers, by providing them further transparency as to
         expected congestion and potential network upgrades and therefore will reduce the
         number of speculative interconnection requests. I agree that a requirement to post a
         heatmap will greatly benefit interconnection customers and support the requirement’s
         addition to the pro forma LGIP.

                 Where I am concerned, however, is how the heatmap should be funded. The final
         rule clarifies that transmission providers, not interconnection customers, are responsible
         for paying the costs associated with the heatmap requirement. Further, the final rule
         contemplates transmission providers recovering the costs of the heatmap from
         transmission customers and ex ante determines that such rate treatment is appropriate
         because interconnection queue efficiency benefits transmission customers. Commission
         policy may dictate that interconnection queue efficiency benefits transmission
         customers;11 however, that should not result in the costs of a requirement that best
         benefits interconnection customers, and really prospective interconnection customers that
         may ultimately not seek to interconnect, being recovered from consumers through
         transmission rates carte blanche. The Commission simply cannot ask retail consumers to
         foot the bill for every single “efficiency,” especially where many of these “efficiencies”

                10
                     Final Rule, Section III.B.1.c.ix.
                11
                   Whether or not I agree with Commission policy is another matter entirely. See,
         e.g., supra PP 13-16.
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         largely benefit generation developers and then get folded into transmission rates and
         receive an ROE.12

                I believe this issue merits further scrutiny, and I look forward to future comments
         on this issue.

         IV.    “Hold Harmless” Provisions (Sections I, III.A.6.c.iii, IV.C)

               In my concurrence to the NOPR, I wrote that while I supported the proposed
         queue reforms (subject, of course, to comment):

                         I also caution strongly that we should avoid undermining
                         through this NOPR what the RTOs/ISOs, working through
                         their stakeholder processes, are already doing to fix their own
                         queue problems. We should recognize that each RTO/ISO is
                         different and faces unique local challenges and needs. The
                         queue reforms proposed in today’s NOPR should be seen
                         more as guideposts or general standards rather than
                         unyielding mandates that refuse to take local solutions into
                         consideration. I would allow RTOs/ISOs the opportunity to
                         demonstrate that if their own efforts to enact queue reforms
                         achieve the same goals in a different, but equally effective
                         manner, their individual reform may be acceptable in
                         complying with any final rule. While this NOPR currently
                         recognizes the potential for regional flexibility, I hope the
                         need for such flexibility is explicitly memorialized in any
                         final rule.13

               This final rule contains language that is intended to recognize the earnest and
         good-faith efforts undertaken by the RTOs to enact queue reforms. Some RTOs, such as


                12
                   Joint Fed.-State Task Force on Elec. Transmission, Technical Conference,
         Docket No. AD21-15-000, Tr. 37:9-20 (Comm’r Mark Christie) (Nov. 15, 2022) (“Let’s
         put this in context, and talk about what’s really at stake here. Last year national
         transmission rate base went up over 9 percent. That’s the third consecutive year it’s gone
         up over 9 percent. What goes into rate base, goes into consumer’s bills. Every nickel.
         And in the last decade, national transmission rate base has almost tripled, and . . . at 9
         percent it’s going to double again in the next eight years. This is all going into
         customer’s bills. So this is a hugely important issue. This is a ton of money, this is big,
         big money.”).
                13
                     NOPR Concurrence at P 4 (emphasis added, footnote omitted).
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         PJM, have already launched extensive queue reforms; others, such as CAISO, are hard at
         work on developing queue reforms.

                I concur because this final rule does contain language that is at least intended to
         recognize the efforts of RTOs to act on their own queue reforms without waiting on a
         Commission rulemaking. Whether the language of this final rule adequately recognizes
         or “holds harmless” those efforts will be an issue for compliance filings.

                For these reasons, I concur.



         ______________________________
         Mark C. Christie
         Commissioner
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                              Attachment B
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                                      184 FERC ¶ 62,163
                                 UNITED STATES OF AMERICA
                          FEDERAL ENERGY REGULATORY COMMISSION

         Improvements to Generator Interconnection Procedures         Docket No. RM22-14-001
         and Agreements

               NOTICE OF DENIAL OF REHEARING BY OPERATION OF LAW AND
                        PROVIDING FOR FURTHER CONSIDERATION

                                            (September 28, 2023)

                Rehearing has been timely requested of the Commission’s order issued on
         July 28, 2023, in this proceeding. Improvements to Generator Interconnection
         Procedures and Agreements, Order No. 2023, 184 FERC ¶ 61,054 (2023). In the absence
         of Commission action on a request for rehearing within 30 days from the date it is filed,
         the request for rehearing may be deemed to have been denied. 16 U.S.C. § 825l(a);
         18 C.F.R. § 385.713 (2022); Allegheny Def. Project v. FERC, 964 F.3d 1
         (D.C. Cir. 2020) (en banc).

                As provided in 16 U.S.C. § 825l(a), the requests for rehearing of the above-cited
         order filed in this proceeding will be addressed in a future order to be issued consistent
         with the requirements of such section. As also provided in 16 U.S.C. § 825l(a), the
         Commission may modify or set aside its above-cited order, in whole or in part, in such
         manner as it shall deem proper.



                                                        Kimberly D. Bose,
                                                           Secretary.
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                              Attachment C
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               CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit

  Rule 26.1, Petitioner provides the following corporate disclosure

  statement:

        PacifiCorp is a business incorporated in the State of Oregon and a

  public utility for purposes of the Federal Power Act. PacifiCorp is a

  subsidiary of PPW Holdings, LLC. PPW Holdings, LLC, is a subsidiary

  of Berkshire Hathaway Energy Company, which in turn is a consolidated

  subsidiary of Berkshire Hathaway, Inc.           Other than Berkshire

  Hathaway, Inc., there are no publicly held corporations that own any

  common stock of, or any other voting interest in, PacifiCorp.

        Dated: October 17, 2023

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                              Attachment D
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               CERTIFICATE OF FILING AND SERVICE

        I hereby certify that on October 17, 2023, I filed the foregoing

  Petition For Review with the Clerk of the U.S. Court of Appeals for the

  District of Columbia Circuit using the CM/ECF System.

        Pursuant to Federal Rules of Appellate Procedure 15(c) and 25(d),

  I certify that on October 17, 2023, a true and accurate copy of this Petition

  For Review was served on the official service lists compiled by the

  Secretary in the agency proceeding below (RM22-14-000; RM22-14-001)

  and on the FERC solicitor. Service was accomplished by electronic mail

  or by first class mail if no consent to electronic mail service was provided.

        I further certify that, upon receiving a file-stamped copy of this

  Petition For Review, I will cause a paper copy of the stamped Petition to

  be served via first class mail on the following parties that participated in

  the agency sub-docket proceeding below (RM22-14-000; RM22-14-001):

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        Washington, D.C. 20426

        Robert Solomon, Solicitor
        Federal Energy Regulatory Commission
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        I declare the above to be true and correct under penalty of perjury.

        Dated: October 17, 2023

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